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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                      Chapter      7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          06/24
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                The University of the Arts

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                    Mailing address, if different from principal place of
                                                                                                 business

                                  320 South Broad Street
                                  Philadelphia, PA 19102
                                  Number, Street, City, State & ZIP Code                         P.O. Box, Number, Street, City, State & ZIP Code

                                  Philadelphia                                                   Location of principal assets, if different from principal
                                  County                                                         place of business

                                                                                                 Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://www.uarts.edu


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    The University of the Arts                                                                  Case number (if known)
          Name



7.   Describe debtor's business       A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                      B. Check all that apply
                                         Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                      C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                        http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                              6113

8.   Under which chapter of the       Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9
                                          Chapter 11. Check all that apply:
                                                                Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                are less than $3,024,725 (amount subject to adjustment on 4/01/25 and every 3 years after that).
                                                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                procedure in 11 U.S.C. § 1116(1)(B).
                                                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it chooses to
                                                                proceed under Subchapter V of Chapter 11.
                                                                A plan is being filed with this petition.
                                                                Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                accordance with 11 U.S.C. § 1126(b).
                                                                The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                (Official Form 201A) with this form.
                                                                The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy               No.
     cases filed by or against           Yes.
     the debtor within the last 8
     years?
     If more than 2 cases, attach a
     separate list.                             District                                 When                                  Case number
                                                District                                 When                                  Case number

10. Are any bankruptcy cases             No
    pending or being filed by a          Yes.
    business partner or an
    affiliate of the debtor?




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Debtor    The University of the Arts                                                                         Case number (if known)
          Name

     List all cases. If more than 1,                                                                                                                      wholly owned
     attach a separate list                          Debtor      U of Arts Finance, LLC                                           Relationship            subsidiary

                                                     District    Delaware                      When        09/13/24               Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                        It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes. Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                              1,000-5,000                                  25,001-50,000
    creditors                              50-99                                             5001-10,000                                  50,001-100,000
                                           100-199                                           10,001-25,000                                More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                      $1,000,001 - $10 million                     $500,000,001 - $1 billion
                                           $50,001 - $100,000                                $10,000,001 - $50 million                    $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                               $50,000,001 - $100 million*                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                             $100,000,001 - $500 million                  More than $50 billion
                                                                                         *Not including assets held for others

16. Estimated liabilities                  $0 - $50,000                                      $1,000,001 - $10 million                     $500,000,001 - $1 billion
                                           $50,001 - $100,000                                $10,000,001 - $50 million                    $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                               $50,000,001 - $100 million                   $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                             $100,000,001 - $500 million                  More than $50 billion




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Debtor    The University of the Arts                                                               Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      September 12, 2024
                                                  MM / DD / YYYY


                             X /s/ Judson Aaron                                                           Judson Aaron
                                 Signature of authorized representative of debtor                         Printed name

                                         Chair of the Board of The University of
                                 Title   the Arts




18. Signature of attorney    X /s/ Richard G. Placey No.                                                   Date September 13, 2024
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Richard G. Placey No. 4206
                                 Printed name

                                 Montgomery McCracken Walker & Rhoads LLP
                                 Firm name

                                 1105 North Market Street
                                 15th Floor
                                 Wilmington, DE 19801
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (302) 504-7800                Email address      rplacey@mmwr.com

                                 No. 4206 DE
                                 Bar number and State




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                                         United States Bankruptcy Court
                                                   District of Delaware
 In re   The University of the Arts                                                  Case No.
                                                            Debtor(s)                Chapter    7




                              CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for The University of the Arts in the above captioned action, certifies that the following
is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of
any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



   None [Check if applicable]




September 13, 2024                             /s/ Richard G. Placey No.
Date                                           Richard G. Placey No. 4206
                                               Signature of Attorney or Litigant
                                               Counsel for The University of the Arts
                                               Montgomery McCracken Walker & Rhoads LLP
                                               1105 North Market Street
                                               15th Floor
                                               Wilmington, DE 19801
                                               (302) 504-7800
                                               rplacey@mmwr.com
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B2030 (Form 2030) (12/15)
                                                        United States Bankruptcy Court
                                                                     District of Delaware
 In re       The University of the Arts and U of Arts Finance, LLC                                             Case No.
                                                                               Debtor(s)                       Chapter       7

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
     be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                   $           $ 1,272,672.61
             Prior to the filing of this statement I have received                                         $           $ 1,105,833.00
             Balance Due                                                                                   $              $ 166,839.61

              Note: Retainer of $50,000 held for post-filing services.

2.   The source of the compensation paid to me was:
                  Debtor             Other (specify):

3.   The source of compensation to be paid to me is:
                  Debtor             Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the filing of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
     b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
     d. [Other provisions as needed]

                All pre-bankruptcy services (e.g., analysis of restructuring alternatives and options available to the debtors;
                representation in connection with multiple forbearance agreements with bondholders and other creditors and
                repeated extensions of same; representation in connection with multiple sets of loan (and extensive supporting)
                documents with bondholders and others; coordinating effort with transactional co-counsel on discussions with
                prospective purchasers; bankruptcy-related guidance on negotiations with potential buyers, non-disclosure
                agreements and bankruptcy revisions to proposed APA; preparing for a Chapter 11 (363 sale) filing, including
                negotiating DIP loan commitment documentation and preparing multiple first day motions in support; participation
                in multiple board/committee meetings and meetings with investment bankers, potential buyer, Attorney General,
                regulators and other interested parties; representation in connection with demands and lawsuits from certain
                creditors; representation in connection with preparation of the chapter 7 filing, including PII motion.)
                The following post-filing services: post-filing representation at the meeting of creditors and in connection with the
                transition to a chapter 7 trustee (up to the amount of the retainer).

6.   By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                Representation in any post-petition matters not specifically listed in part 5.d above, including, but not limited to,
                (a) any bankruptcy-related matters, whether in the debtor’s bankruptcy case or the bankruptcy case of another
                entity, including, but not limited to, any adversary proceedings, contested matters, or other litigation, and (b) any
                non-bankruptcy matters, including, but not limited to, litigation, and other legal proceedings and transactions.
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In re     The University of the Arts and U of Arts Finance, LLC                                     Case No.
                                                  Debtor(s)

                    DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
                                       (Continuation Sheet)
                                                                CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

   September 13, 2024                                                    /s/ Richard G. Placey
   Date                                                                  Richard G. Placey
                                                                         Signature of Attorney
                                                                         Montgomery McCracken Walker & Rhoads LLP
                                                                         1105 North Market Street
                                                                         15th Floor
                                                                         Wilmington, DE 19801
                                                                         (302) 504-7800
                                                                         rplacey@mmwr.com
                                                                         Name of law firm
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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE

                                                    )
 In re:                                             )       Chapter 7
 The University of the Arts                         )
 U of Arts Finance, LLC                             )       Case No. 24- ()
                                                    )
                        Debtors.                    )
                                                    )

               GLOBAL NOTES, METHODOLOGY AND SPECIFIC
          DISCLOSURES REGARDING THE DEBTORS’ SCHEDULES OF
      ASSETS AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

                                           Introduction

         The above captioned debtors and debtors-in-possession (collectively, the “Debtors”), with
the assistance of their advisors, have filed their respective Schedules of Assets and Liabilities
(the “Schedules”) and Statements of Financial Affairs (the “Statements”) with the United States
Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”), pursuant to section 521
of title 11 of the United States Code (the “Bankruptcy Code”) and Rule 1007 of the Federal Rules
of Bankruptcy Procedure (the “Bankruptcy Rules”).

        These Global Notes, Methodology, and Specific Disclosures Regarding the Debtors’
Schedules of Assets and Liabilities and Statements of Financial Affairs (the “Global Notes”)
pertain to, are incorporated by reference in, and comprise an integral part of all of the Debtors’
Schedules and Statements. The Global Notes should be referred to, considered, and reviewed in
connection with any review of the Schedules and Statements.

         The Schedules and Statements do not purport to represent financial statements prepared in
accordance with Generally Accepted Accounting Principles in the United States (“GAAP”), nor
are they intended to be fully reconciled with the financial statements of each Debtor. Additionally,
the Schedules and Statements contain unaudited information that is subject to further review and
potential adjustment and reflect the Debtors’ reasonable best efforts to report the assets and
liabilities of each Debtor on an unconsolidated basis.

       In preparing the Schedules and Statements, the Debtors relied upon information derived
from their books and records that was available at the time of such preparation. Although the
Debtors have made reasonable efforts to ensure the accuracy and completeness of such financial
information, inadvertent errors or omissions, as well as the discovery of conflicting, revised, or
subsequent information, may cause a material change to the Schedules and Statements.
Accordingly, the Debtors reserve all of their rights to amend, supplement, or otherwise modify the
Schedules and Statements as is necessary and appropriate. Notwithstanding the foregoing, the
Debtors shall not be required to update the Schedules and Statements.
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        Judson Aaron has signed each of the Schedules and Statements. Mr. Aaron is the Chair of
the Board of The University of the Arts and has signing authority for each of the Debtor entities.
In reviewing and signing the Schedules and Statements, Mr. Aaron has relied upon the efforts,
statements and representations of various personnel employed by the Debtors and advisors. Mr.
Aaron has not (and could not have) personally verified the accuracy of each statement and
representation contained in the Schedules and Statements, including statements and
representations concerning amounts owed to creditors.

        The Global Notes are in addition to any specific notes contained in any Debtor’s Schedules
or Statements. Furthermore, the fact that the Debtors have prepared Global Notes or specific notes
with respect to any information in the Schedules and Statements and not to other information in
the Schedules and Statements should not be interpreted as a decision by the Debtors to exclude the
applicability of such Global Notes or specific notes to the rest of the Debtors’ Schedules and
Statements, as appropriate.

      Disclosure of information in one or more Schedules, one or more Statements, or one or
more exhibits or attachments to the Schedules or Statements, even if incorrectly placed, shall be
deemed to be disclosed in the correct Schedules, Statements, exhibits, or attachments.

                          Global Notes and Overview of Methodology

Global Notes Control. In the event that the Schedules and Statements differ from the
Global Notes, the Global Notes shall control.


Reservation of Rights. Reasonable efforts have been made to prepare and file complete and
accurate Schedules and Statements; however, inadvertent errors or omissions may exist. The
Debtors reserve all rights to amend or supplement the Schedules and Statements from time to time,
in all respects, as may be necessary or appropriate, including, without limitation, the right to amend
the Schedules and Statements with respect to any claim (“Claim”) description, designation, or
Debtor against which the Claim is asserted; dispute or otherwise assert offsets or defenses to any
Claim reflected in the Schedules and Statements as to amount, liability, priority, status, or
classification; subsequently designate any Claim as “disputed,” “contingent,” or “unliquidated;”
or object to the extent, validity, enforceability, priority, or avoidability of any Claim. Any failure
to designate a Claim in the Schedules and Statements as “disputed,” “contingent,” or
“unliquidated” does not constitute an admission by the Debtors that such Claim or amount is not
“disputed,” “contingent,” or “unliquidated.” Listing a Claim does not constitute an admission of
liability by the Debtor against which the Claim is listed or against any of the Debtors. Furthermore,
nothing contained in the Schedules and Statements shall constitute a waiver of rights with respect
to the Debtors’ chapter 7 cases, including, without limitation, issues involving Claims, substantive
consolidation, defenses, equitable subordination, recharacterization, and/or causes of action
arising under the provisions of chapter 5 of the Bankruptcy Code and any other relevant non-
bankruptcy laws to recover assets or avoid transfers. Any specific reservation of rights contained
elsewhere in the Global Notes does not limit in any respect the general reservation of rights
contained in this paragraph.




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The listing in the Schedules or Statements by the Debtors of any obligation between a Debtor and
another Debtor is a statement of what appears in a particular Debtor’s books and records and does
not reflect any admission or conclusion of the Debtors regarding whether such amount would be
allowed as a Claim or how such obligations may be classified and/or characterized in a plan of
reorganization or by the Bankruptcy Court. The Debtors reserve all rights with respect to such
obligations.

Description of Cases. On September 13, 2024 (the “Petition Date”), the Debtors filed voluntary
petitions for relief under chapter 7 of the Bankruptcy Code.

Net Book Value of Assets. It would be prohibitively expensive, unduly burdensome and an
inefficient use of estate assets for the Debtors to obtain current market valuations for all of their
assets. Accordingly, unless otherwise indicated, the Debtors’ Schedules and Statements reflect net
book values as of June 30, 2024. Additionally, because the book values of assets such as patents,
trademarks and copyrights may materially differ from their fair market values, they are listed as
unknown amounts as of the Petition Date. Furthermore, assets which have fully depreciated or
were expensed for accounting purposes do not appear in these Schedules and Statements, as they
have no net book value.

Personal Property – Leased. In the ordinary course of operations, the Debtors may lease
furniture, fixtures and office equipment from certain third-party lessors for use in the daily
operation of their businesses. Nothing in the Schedules and Statements is or shall be construed as
an admission regarding any determination as to the legal status of any lease (including whether
any lease is a true lease or a financing arrangement), and the Debtors reserve all of their rights with
respect to any such issue.

Recharacterization. Notwithstanding the Debtors’ reasonable best efforts to properly
characterize, classify, categorize or designate certain Claims, assets, executory contracts,
unexpired leases and other items reported in the Schedules and Statements, the Debtors may
nevertheless have improperly characterized, classified, categorized, designated, or omitted certain
items due to the complexity and size of the Debtors’ operations. Accordingly, the Debtors reserve
all rights to recharacterize, reclassify, recategorize, redesignate, add or delete items reported in the
Schedules and Statements at a later time as is necessary or appropriate as additional information
becomes available, including, without limitation, whether contracts or leases listed herein were
deemed executory or unexpired as of the Petition Date and remain executory and unexpired
postpetition.

Identified Property. Because the official forms of the Schedules do not distinguish if an asset is
unavailable to satisfy creditor claims, the Debtors have endeavored in these Global Notes and
accompanying Statement to highlight restricted assets wherever possible, to provide creditors
more accurate information as to the assets available to satisfy their claims. The Debtors
determined the best way to capture the restricted assets, while at the same time providing
meaningful disclosure, is to report restricted assets in response to question 21 of the Statement as
assets held for another. While some of the restricted assets are not “held for another” strictly
speaking (e.g., as in a formal trust structure), the Debtors believe reporting restricted assets on
the Statement, rather than on Schedule A/B is more appropriate given that their inclusion on
Schedule A/B would result in a significant overstatement of assets available for distribution to


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creditors. While the Debtors and its professionals have used their good faith best efforts to
bifurcate restricted assets in these disclosures, the review of the Debtor’s records is ongoing and
may reveal additional restrictions. Accordingly, failure to identify an asset as restricted in these
Global Notes, Statement or Schedules does not constitute an admission by the Debtor such asset
is available to satisfy creditor claims.


Liabilities. The Debtors allocated liabilities between the prepetition and postpetition periods
based on the information and research conducted in connection with the preparation of the
Schedules and Statements. As additional information becomes available and further research is
conducted, the allocation of liabilities between the prepetition and postpetition periods may
change. Accordingly, the Debtors reserve all of rights to amend, supplement or otherwise modify
the Schedules and Statements as is necessary and appropriate.

The liabilities listed on the Schedules do not reflect any analysis of claims under section 503(b)(9)
of the Bankruptcy Code. Accordingly, the Debtors reserve all of their rights to dispute or challenge
the validity of any asserted claims under section 503(b)(9) of the Bankruptcy Code or the
characterization of the structure of any such transaction or any document or instrument related to
any creditor’s claim.

Insiders. For purposes of the Schedules and Statements, the Debtors define “insiders” to include
the following: (a) directors; (b) officers; (c) relatives of directors or officers of the Debtors (to the
extent known by the Debtors); and (e) Debtor/non-Debtor affiliates.

Academic Deans are not included as persons listed as an “insider” because they had no corporate
management responsibility and are not viewed as officers of the University.

Persons listed as “insiders” have been included for informational purposes only. The Debtors do
not take any position with respect to: (a) such person’s influence over the control of the Debtors;
(b) the management responsibilities or functions of such individual; (c) the decision-making or
authority of such individual; or (d) whether such individual could successfully argue that he or she
is not an “insider” under applicable law, including the federal securities laws, or with respect to
any theories of liability or for any other purpose. The listing or omission of a party as an insider
for purposes of the Schedules and Statements is for informational purposes and is not intended to
be, nor should it be, construed as an admission that those parties are insiders for purpose of section
101(31) of the Bankruptcy Code.

Intellectual Property Rights. Exclusion of certain intellectual property shall not be construed as
an admission that such intellectual property rights have been abandoned, terminated, assigned,
expired by their terms or otherwise transferred pursuant to a sale, acquisition or other transaction.
Conversely, inclusion of certain intellectual property shall not be construed to be an admission that
such intellectual property rights have not been abandoned, terminated, assigned, expired by their
terms or otherwise transferred pursuant to a sale, acquisition or other transaction.

Executory Contracts. Although the Debtors have made diligent attempts to properly identify
executory contracts and unexpired leases, the inclusion of a contract or lease on Schedule G does
not constitute an admission as to the executory or unexpired nature (or non-executory or expired



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nature) of the contract or lease, or an admission as to the existence or validity of any claims held
by any counterparty to such contract or lease. Furthermore, while the Debtors have made diligent
attempts to properly identify all executory contracts and unexpired leases, inadvertent errors,
omissions, or over inclusion may have occurred.

Classifications. Listing a claim on (a) Schedule D as “secured,” (b) Schedule E as “priority,”
(c) Schedule F as “unsecured” or (d) listing a contract or lease on Schedule G as “executory” or
“unexpired,” does not constitute an admission by the Debtors of the legal rights of the claimant or
a waiver of the Debtors’ rights to recharacterize or reclassify such claims or contracts or leases or
to setoff of such claims.

Claims Description. Schedules D, E and F permit each of the Debtors to designate a claim as
“disputed,” “contingent” and/or “unliquidated.” Any failure to designate a claim on a given
Debtor’s Schedules as “disputed,” “contingent” or “unliquidated” does not constitute an admission
by that Debtor that such amount is not “disputed,” “contingent” or “unliquidated,” or that such
claim is not subject to objection. The Debtors reserve all of their rights to dispute, or assert offsets
or defenses to, any claim reflected on their respective Schedules and Statements on any grounds,
including liability or classification. Additionally, the Debtors expressly reserve all of their rights
to subsequently designate such claims as “disputed,” “contingent” or “unliquidated.” Moreover,
listing a claim does not constitute an admission of liability by the Debtors.

Causes of Action. Despite their reasonable efforts to identify all known assets, the Debtors may
not have listed all of their causes of action or potential causes of action against third-parties as
assets in the Schedules and Statements, including, without limitation, causes of action arising
under the provisions of chapter 5 of the Bankruptcy Code and any other relevant non-bankruptcy
laws to recover assets or avoid transfers. The Debtors reserve all of their rights with respect to any
cause of action (including avoidance actions), controversy, right of setoff, cross-Claim, counter-
Claim, or recoupment and any Claim on account of a contract or for breaches of duty imposed by
law or in equity, demand, right, action, lien, indemnity, guaranty, suit, obligation, liability,
damage, judgment, account, defense, power, privilege, license, and franchise of any kind or
character whatsoever, known, unknown, fixed or contingent, matured or unmatured, suspected or
unsuspected, liquidated or unliquidated, disputed or undisputed, secured or unsecured, whether
asserted directly or derivatively, whether arising before, on, or after the Petition Date, in contract
or in tort, in law, or in equity, or pursuant to any other theory of law (collectively, “Causes of
Action”) they may have, and neither these Global Notes nor the Schedules and Statements shall
be deemed a waiver of any Claims or Causes of Action or in any way prejudice or impair the
assertion of such Claims or Causes of Action.

Summary of Significant Reporting Policies. The following is a summary of significant reporting
policies:

               a.      Unknown Amounts. The description of an amount as
                       “unknown,” “TBD” or “undetermined” is not intended to
                       reflect upon the materiality of such amount.

               b.      Totals. All totals that are included in the Schedules and
                       Statements represent totals of all known amounts. To the


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                        extent there are unknown or undetermined amounts, the
                        actual total may be different than the listed total.

               c.       Liens. Property and equipment listed in the Schedules are
                        presented without consideration of any liens that may attach
                        (or have attached) to such property and equipment.

               d.       Currency. Unless otherwise indicated, all amounts are
                        reflected in U.S. dollars.

Credits and Adjustments. The claims of individual creditors for, among other things, goods,
services, tuition deposits or taxes are listed as the amounts entered on the Debtors’ books and
records and may not reflect credits, allowances, or other adjustments due from such creditors to
the Debtors. The Debtors reserve all of their rights with regard to such credits, allowances, and
other adjustments, including the right to assert claims objections and/or setoffs with respect to the
same.

Setoffs. The Debtors incur certain setoffs, net payments, and other similar rights during the
ordinary course of operations. These offsets and other similar rights are consistent with the
ordinary course of operations at a university and are not tracked separately. Therefore, although
such offsets and other similar rights may have been accounted for when certain amounts were
included in the Schedules, offsets are not independently accounted for, and as such, are excluded
from the Schedules.

Estimates. To comply with the court forms, the Debtors were required to make estimates,
allocations, and assumptions that affect the reported amounts of assets, liabilities, revenue and
expenses as of the Petition Date. The Debtors reserve all rights, but shall not be required, to
amend the reported amounts of assets, revenue, and expenses to reflect changes in those
estimates and assumptions.

                    Specific Disclosures with Respect to the Debtors’ Schedules

        Schedules Summary. Except as otherwise noted, the asset information provided herein
represents the Debtors’ data regarding their assets as of June 30, 2024, unless values as of the
Petition Date were readily available, and the liability information provided herein represents the
Debtors’ data regarding their liabilities as of the close of business prior to the Petition Date.

         The Schedules do not purport to represent financial statements prepared in accordance with
GAAP, nor are they intended to be fully reconciled with the financial statements of each Debtor.
Additionally, the Schedules contain unaudited information that is subject to further review and
potential adjustment, and reflect the Debtors’ reasonable best efforts to report the assets and
liabilities of each Debtor on an unconsolidated basis. Moreover, given, among other things, the
uncertainty surrounding the collection and ownership of certain assets and the valuation and nature
of certain liabilities, to the extent that a Debtor shows more assets than liabilities, this is not an
admission that the Debtor was solvent as of the Petition Date or at any time before the Petition
Date.

Schedule A/B 2 and A/B 3. Cash balances are listed as of September 12, 2024.


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Schedules A/B 59-69. Intangibles and Intellectual Property listed in Schedules A/B 59-69 are
listed as an unknown amount. The fair market value of such ownership is dependent on numerous
variables and factors and may differ significantly from their net book value.

Schedule A/B 73. The Debtors have included a listing of their insurance policies in response to
Question 73, however, a determination as to the surrender or refund value of each of the insurance
policies has not been made and, therefore, the balance is listed as undetermined.

Schedules A/B 74 and A/B 75. In the ordinary course of their businesses, the Debtors may have
accrued, or may subsequently accrue, certain rights to counterclaims, setoffs, credits, refunds, or
rebates. Additionally, certain of the Debtors may be a party to pending litigation in which the
Debtors have asserted, or may assert, Claims as a plaintiff or counterclaims as a defendant.
Because such Claims are unknown to the Debtors and not quantifiable as of the Petition Date, they
may not be listed in the Schedules. The Debtors’ failure to list any cause of action, claim, or right
of any nature is not an admission that such cause of action, claim, or right does not exist, and
should not be construed as a waiver of such cause of action, claim, or right.

Schedule D. The Debtors have not included parties that may believe their Claims are secured
through setoff rights or inchoate statutory lien rights. The amounts outstanding under the Debtors’
prepetition secured credit facilities reflect principal amounts as of the Petition Date.

With respect to the Claims listed on Schedule D, reference to the applicable loan agreements and
related documents is necessary for a complete description of the collateral and the nature, extent,
and priority of liens. Nothing in the Global Notes or the Schedules and Statements shall be deemed
a modification or interpretation of the terms of such agreements. Except as specifically stated on
Schedule D, real property lessors, utility companies, and other parties that may hold security
deposits have not been listed on Schedule D. In addition, unless otherwise stated, the Debtors have
not included on Schedule D parties that may hold liens on personal property or in connection with
equipment leases. The Debtors reserve all of their rights to amend Schedule D. Nothing herein
shall be construed as an admission by the Debtors of the legal rights of the claimant or a waiver of
the Debtors’ rights to recharacterize or reclassify such Claim or contract.

Schedule E/F. The Debtors’ analysis of potential priority claims is ongoing and may take
significant time to complete. Accordingly, some amounts on Schedule E/F may have been
classified as non-priority pending conclusion of that analysis. The listing of any claim on Schedule
E/F does not constitute an admission by the Debtors that such claim is entitled to priority treatment
under section 507 of the Bankruptcy Code. The Debtors reserve their right to dispute the priority
status of any claim on any basis.

The Debtors have used reasonable efforts to report all general unsecured Claims against the
Debtors on Schedule E/F, based upon the Debtors’ books and records as of the Petition Date.

Determining the date upon which each Claim on Schedule E/F was incurred or arose would be
unduly burdensome and cost prohibitive and, therefore, the Debtors do not list a date for each
Claim listed on Schedule E/F. Furthermore, claims listed on Schedule E/F have been aggregated
by unique creditor name and remit to address and may include several dates of incurrence for the
aggregate balance listed.



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Schedule E/F may contain potential claims on account of pending litigation involving the Debtors.
Each potential claim associated with any such pending litigation is marked as contingent,
unliquidated, and disputed in the Schedules and Statements. Some of the potential litigation claims
listed on Schedule E/F may be subject to subordination pursuant to section 510 of the Bankruptcy
Code.

Schedule E/F may also include potential or threatened litigation claims. Any information contained
in Schedule E/F with respect to such potential litigation shall not be a binding representation of
the Debtors’ liabilities with respect to any of the potential suits and proceedings included therein.

Schedule E/F reflects the prepetition amounts owing to counterparties to executory contracts and
unexpired leases. Additionally, Schedule E/F does not include potential rejection damage Claims,
of the counterparties to executory contracts and unexpired leases that may be rejected.

Schedule E/F may reflect certain tuition deposits that were provided to the Debtors prepetition by
students for future classes. Certain of these deposits may have been honored or given consideration
by an unrelated third-party institution. The deposits listed here do not reflect the reduction for such
consideration.

Schedule G. Although reasonable efforts have been made to ensure the accuracy of each Debtor’s
Schedule G, inadvertent errors may have occurred. Certain information, such as the contact
information of the counterparty, may not be included where such information could not be obtained
using the Debtors’ reasonable efforts. Listing a contract or agreement on Schedule G does not
constitute an admission that such contract or agreement was an executory contract or unexpired
lease as of the Petition Date or is valid or enforceable. The Debtors hereby reserve all of their
rights to dispute the validity, status or enforceability of any contracts, agreements or leases set
forth on Schedule G and to amend or supplement Schedule G as necessary. Certain of the leases
and contracts listed on Schedule G may contain certain renewal options, guarantees of payment,
indemnifications, options to purchase, rights of first refusal and other miscellaneous rights. Such
rights, powers, duties and obligations are not set forth separately on Schedule G.

Certain of the contracts and agreements listed on Schedule G may consist of several parts,
including, purchase orders, amendments, restatements, waivers, letters and other documents that
may not be listed on Schedule G or that may be listed as a single entry. In some cases, the same
supplier or provider appears multiple times on Schedule G. This multiple listing is intended to
reflect distinct agreements between the applicable Debtor and such supplier or provider. The
Debtors expressly reserve their rights to challenge whether such related materials constitute an
executory contract, a single contract or agreement or multiple, severable or separate contracts. The
contracts, agreements, and leases listed on Schedule G may have expired or may have been
modified, amended or supplemented from time to time by various amendments, restatements,
waivers, estoppel certificates, letters, memoranda and other documents, instruments, and
agreements that may not be listed therein despite the Debtors’ use of reasonable efforts to identify
such documents. Further, unless otherwise specified on Schedule G, each executory contract or
unexpired lease listed thereon shall include all exhibits, schedules, riders, modifications,
declarations, amendments, supplements, attachments, restatements, or other agreements made
directly or indirectly by any agreement, instrument, or other document that in any manner affects



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such executory contract or unexpired lease, without respect to whether such agreement, instrument,
or other document is listed thereon.

In addition, the Debtors may have entered into various other types of agreements in the ordinary
course of their businesses, such as subordination, nondisturbance, and attornment agreements,
supplemental agreements, settlement agreements, amendments/letter agreements, title agreements
and confidentiality agreements. Such documents may not be set forth on Schedule G. Further, the
Debtors reserve all of their rights to alter or amend these Schedules to the extent that additional
information regarding the Debtor obligor to such executory contracts becomes available. Certain
of the executory agreements may not have been memorialized and could be subject to dispute.
Executory agreements that are oral in nature have not been included on Schedule G.

The Debtors reserve all of their rights, Claims and causes of action with respect to the contracts on
Schedule G, including the right to dispute or challenge the characterization of the structure of any
transaction or any document or instrument related to a creditor’s Claim.

Omission of a contract or agreement from Schedule G does not constitute an admission that such
omitted contract or agreement is not an executory contract or unexpired lease. The Debtors’ rights
under the Bankruptcy Code with respect to any such omitted contracts or agreements are not
impaired by the omission. Schedule G may be amended at any time to add any omitted contract,
agreement or lease.

The listing of any contract on Schedule G does not constitute an admission by the Debtors as to
the validity of any such contract or that such contract is an executory contract or unexpired lease.
The Debtors reserve all of their rights to dispute the effectiveness of any such contract listed on
Schedule G or to amend Schedule G at any time to remove any contract.

Schedule H. For purposes of Schedule H, the Debtors that are either the principal obligors or
guarantors under the prepetition debt facilities are listed as Co-Debtors on Schedule H. The
Debtors may not have identified certain guarantees associated with the Debtors’ executory
contracts, unexpired leases, secured financings, debt instruments and other such agreements. The
Debtors reserve all of their rights to amend the Schedules to the extent that additional guarantees
are identified or such guarantees are discovered to have expired or be unenforceable.

 In the ordinary course of their businesses, the Debtors may be involved in pending or threatened
litigation. These matters may involve multiple plaintiffs and defendants, some or all of whom may
assert cross-Claims and counter-Claims against other parties. Because all such Claims are
contingent, disputed, or unliquidated, such Claims have not been set forth individually on Schedule
H. Litigation matters can be found on each Debtor’s Schedule E/F and Statement 7, as applicable.

                 Specific Disclosures with Respect to the Debtors’ Statements

Statement 1 & 2. Revenue amounts listed are through September 12, 2024

Statement 3. Statement 3 includes any disbursement or other transfer made by the Debtors within
90 days before the Petition Date except for those made to insiders (which payments appear in
response to Statement 4), employees, and bankruptcy professionals (which payments appear in
response to Statement 11). The amounts listed in Statement 3 reflect the Debtors’ disbursements


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netted against any check level detail; thus, to the extent a disbursement was made to pay for
multiple invoices, only one entry has been listed on Statement 3. All disbursements listed on
Statement 3 are made through the Debtors’ cash management system.

Statement 4. With respect to individuals, the amounts listed reflect certain payments and transfers
to such individuals, including, without limitation, compensation, bonus (if any), expense
reimbursement, and/or severance and the like.

Academic Deans are not included as persons listed as an “insider” because they had no corporate
management responsibility and are not viewed as officers of the University.

Solely for purposes of the Schedules and Statements, the Debtors define “Insiders” to include the
following: (a) directors; (b) officers; (c) relatives of directors or officers; and (e) Debtor/non-
Debtor affiliates. The listing of a party as an Insider in the Schedules and Statements, however, is
not intended to be, nor shall be, construed as a legal characterization or determination of such party
as an actual insider and does not act as an admission of any fact, claim, right or defense, and all
such rights, claims, and defenses are hereby expressly reserved.

Statement 6. There may be instances where such a setoff has occurred without the Debtors’
knowledge.

Statement 7. The Debtors reserve all rights with respect to the suits and proceedings included in
Statement. 7. Nothing contained herein shall be construed as an admission of liability or waiver
of any right or defense.

Statement 11. Payments related to bankruptcy are reflected on the Statement of the Debtor entity
that made the payment, but are for the benefit of all Debtors. Furthermore, certain payments to
professionals included on Statement 11 may not have been made in relation to bankruptcy
preparation and may be included on this response.

Statement 26d. The Debtors have provided unaudited financial statements in the ordinary course
of their businesses to numerous financial institutions, creditors, and other parties within two years
immediately before the Petition Date. The disclosure of each of such parties would be impractical
and burdensome as the Debtors generally do not track such sharing. Moreover, the parties with
which the Debtors have shared such financial statements may be in turn further shared the financial
statements with other entities without the Debtors’ knowledge or consent.

Statement 30. The responses to this item are included in Statement 4.




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 Fill in this information to identify the case:

 Debtor name: The University of the Arts

 United States Bankruptcy Court for the: District of Delaware
                                                                                                                      Check if this is an
 Case number: 24-
                                                                                                                      amended filing


Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals

 1. Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B)
  1a. Real property:                                                                                                    $87,066,196.29
          Copy line 88 from Schedule A/B
  1b. Total personal property:                                                                                           $6,257,555.08
          Copy line 91A from Schedule A/B
  1c. Total of all property:                                                                                            $93,323,751.37
          Copy line 92 from Schedule A/B


 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)                                      $68,957,500.00
 Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
  3a. Total claim amounts of priority unsecured claims:                                                                  $1,130,906.33
          Copy the total claims from Part 1 from line 5a of Schedule E/F
  3b. Total amount of claims of nonpriority amount of unsecured claims:                                                  $4,089,338.31
          Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F


 4. Total Liabilities                                                                                                   $74,177,744.64
 Lines 2 + 3a + 3b
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   Fill in this information to identify the case:

   Debtor name: The University of the Arts

   United States Bankruptcy Court for the: District of Delaware
                                                                                                                                                         Check if this is an
   Case number: 24-
                                                                                                                                                         amended filing


 Official Form 206A/B
 Schedule A/B: Assets — Real and Personal Property 12/15

  Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all property in which the
  debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have no book value, such as fully depreciated assets
  or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired
  Leases (Official Form 206G).
  Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the debtor’s name and case
  number (if known). Also identify the form and line number to which the additional information applies. If an additional sheet is attached, include the amounts from the
  attachment in the total for the pertinent part.
  For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset schedule or depreciation
  schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the debtor’s interest, do not deduct the value of secured
  claims. See the instructions to understand the terms used in this form.

 Part 1:     Cash and Cash Equivalents

1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.

       Yes. Fill in the information below.

  All cash or cash equivalents owned or controlled by the debtor                                                                        Current value of debtor’s interest

 2. Cash on hand

 2.1
                                                                                                                                                                        $0.00

 3. Checking, savings, money market, or financial brokerage accounts (Identify all)
 Name of institution (bank or brokerage firm)                           Type of account                  Last 4 digits of account #


 3.1
           Fidelity Brokerage Services LLC                                  Investment Account           6206                                                       $3,457.84


 3.2
           Hyperion                                                         Operating Account            1480                                                     $76,455.49

 3.3
           TD Bank                                                          Investment Account           1460                                                           $0.00


 3.4
           TD Bank                                                          Operating Account            0329                                                           $0.00

 3.5
           TD Bank                                                          Operating Account            0956                                                  $1,353,021.27


 3.6
           TD Bank                                                          Operating Account            1206                                                           $0.00


 3.7
           TD Bank                                                          Payroll Account              1338                                                       $1,793.41
Debtor     The University of the Arts_______________________________________________               Case number (if known) 24-_____________________________________________
           Name
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  3.8
            TD Bank                                                         Payroll Account              1214                                                         $0.00

  3.9
            TD Bank                                                         Payroll Account              4719                                                         $0.00


  3.10
            TD Bank                                                         Payroll Account              5450                                                        $20.00

  3.11
            TD Bank                                                         Restricted                   0923                                                     $6,427.22

  3.12
            BNY Mellon (See Note)                                           Debt Service Fund            2354                                                  $173,982.36

 Funds were transferred to UMB after June 30, 2024. Bank statements were requested, but were not received at the time of this report. The balance above is as of 6/30/24
 and is indicative of the balance as of the petition date.


  3.13
            BNY Mellon (See Note)                                           Debt Service Fund            2063                                                $1,965,602.72

 Funds were transferred to UMB after June 30, 2024. Bank statements were requested, but were not received at the time of this report. The balance above is as of 6/30/24
 and is indicative of the balance as of the petition date.

  4. Other cash equivalents (Identify all)
  4.1
            None                                                                                                                                                      $0.00

  5. Total of Part 1
  Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.
                                                                                                                                                            $3,580,760.31


  Part 2:     Deposits and prepayments

  6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.

        Yes. Fill in the information below.

                                                                                                                                       Current value of debtor’s interest

  7. Deposits, including security deposits and utility deposits
  Description, including name of holder of deposit


  7.1
            Lease Deposit - 1401 Walnut Unit C, LLC                                                                                                             $25,000.00

  7.2
            Other Deposits                                                                                                                                      $35,743.00

  8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
  Description, including name of holder of prepayment


  8.1
            Prepaid Rent - Metro Commercial Real Estate, Inc.                                                                                                  $298,625.98

  8.2
            Prepaid Postage - Pitney Bowes                                                                                                                      $18,553.05

  8.3
            Prepaid Insurance - D&O - Westchester (Chubb)                                                                                                      $289,583.33

  8.4
            Prepaid Insurance - D&O - Continental Casualty Company (CAN)                                                                                       $275,000.00
Debtor     The University of the Arts_______________________________________________                    Case number (if known) 24-_____________________________________________
           Name
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  8.5
            Prepaid Insurance - D&O - Continental Casualty Company (CAN)                                                                                                 $9,166.67

  8.6
            Prepaid Insurance - D&O - National Union Fire Insurance Company of Pittsburgh                                                                             $174,166.67

  8.7
            Prepaid Insurance - Property - CrossCover (Lloyd's)                                                                                                       $815,933.25

  8.8
            Prepaid Insurance - Property - MSIG Specialty Insurance USA Inc                                                                                            $59,583.33

  8.9
            Prepaid Insurance - Property - Bridgeway Insurance Company                                                                                                 $32,083.33

  8.10
            Prepaid Insurance - Property - Arch Specialty Insurance Company                                                                                            $27,500.00

  8.11
            Prepaid Insurance - Property - Kinsale Insurance Company                                                                                                   $22,916.67

  8.12
            Prepaid Insurance - Property - Great American                                                                                                             $140,557.08

  8.13
            Prepaid Insurance - Excess Liability - United Educators Insurance                                                                                          $85,726.75

  8.14
            Prepaid Insurance - Property - Liberty Mutual                                                                                                                $7,583.58

  8.15
            Prepaid Insurance - Legacy D&O/EPL - Philadelphia Insurance Companies                                                                                      $16,643.71

  8.16
            Prepaid Insurance - Legacy D&O/EPL -                                                                                                                       $31,818.85

  8.17
            Retainer - Alvarez & Marsal North America, LLC                                                                                                             $50,000.00


  8.18
            Retainer - Montgomery McCracken Walker Rhoads LLP                                                                                                          $50,000.00

  9. Total of Part 2
  Add lines 7 through 8. Copy the total to line 81.
                                                                                                                                                                   $2,466,185.25


  Part 3:     Accounts receivable

  10. Does the debtor have any accounts receivable?

        No. Go to Part 4.

        Yes. Fill in the information below.

                                                                                                                                              Current value of debtor’s interest
  11. Accounts receivable
  11a.      90 days old or                                        $0.00   —                                          $0.00   = ........                                     $0.00
            less:
                                     face amount                                doubtful or uncollectible accounts

  11b.      Over 90 days old:                               $996,935.54   —                                    $996,935.54   = ........                                     $0.00

                                     face amount                                doubtful or uncollectible accounts
Debtor   The University of the Arts_______________________________________________               Case number (if known) 24-_____________________________________________
         Name
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  12. Total of Part 3
  Current value on lines 11a + 11b = line 12. Copy the total to line 82.
                                                                                                                                                                   $0.00


  Part 4:    Investments

  13. Does the debtor own any investments?

     No. Go to Part 5.

     Yes. Fill in the information below.

                                                                                          Valuation method used for current          Current value of debtor’s interest
                                                                                          value
  14. Mutual funds or publicly traded stocks not included in Part 1
  Name of fund or stock:


  14.1
                                                                                                                                                                    $0.00

  15. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
  partnership, or joint venture
  Name of entity:                                           % of ownership:


  15.1
                                                                                                                                                                    $0.00

  16. Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
  Describe:


  16.1
                                                                                                                                                                    $0.00

  17. Total of Part 4
  Add lines 14 through 16. Copy the total to line 83.
                                                                                                                                                                   $0.00


  Part 5:    Inventory, excluding agriculture assets

  18. Does the debtor own any inventory (excluding agriculture assets)?

     No. Go to Part 6.

     Yes. Fill in the information below.

   General description                                          Date of      Net book value of           Valuation method used       Current value of debtor’s interest
                                                                the last     debtor's interest           for current value
                                                                physical     (Where available)
                                                                inventory
  19. Raw materials
  19.1
            None                                                                                                                                                    $0.00

  20. Work in progress
  20.1
            None                                                                                                                                                    $0.00

  21. Finished goods, including goods held for resale
  21.1
            Book Store Inventory                               N/A                          $0.00      N/A                          Undetermined
Debtor     The University of the Arts_______________________________________________                Case number (if known) 24-_____________________________________________
           Name
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  22. Other inventory or supplies
  22.1
               Misc. Art and School Supplies                   N/A            Unknown                     N/A                           Undetermined

  23. Total of Part 5
  Add lines 19 through 22. Copy the total to line 84.
                                                                                                                                                                       $0.00


  24. Is any of the property listed in Part 5 perishable?

     No

     Yes

  25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

         No
                       Book value                                    Valuation method                                        Current value
         Yes

  26. Has any of the property listed in Part 5 been appraised by a professional within the last year?

     No

     Yes

  Part 6:       Farming and fishing-related assets (other than titled motor vehicles and land)

  27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No. Go to Part 7.

     Yes. Fill in the information below.

   General description                                                          Net book value of           Valuation method used        Current value of debtor’s interest
                                                                                debtor's interest           for current value
                                                                                (Where available)

  28. Crops—either planted or harvested
  28.1
                                                                                                                                                                        $0.00

  29. Farm animals Examples: Livestock, poultry, farm-raised fish
  29.1
                                                                                                                                                                        $0.00

  30. Farm machinery and equipment (Other than titled motor vehicles)
  30.1
                                                                                                                                                                        $0.00

  31. Farm and fishing supplies, chemicals, and feed
  31.1
                                                                                                                                                                        $0.00

  32. Other farming and fishing-related property not already listed in Part 6
  32.1
                                                                                                                                                                        $0.00

  33. Total of Part 6
  Add lines 28 through 32. Copy the total to line 85.
                                                                                                                                                                       $0.00
Debtor     The University of the Arts_______________________________________________                          Case number (if known) 24-_____________________________________________
           Name
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  34. Is the debtor a member of an agricultural cooperative?

         No

         Yes. Is any of the debtor’s property stored at the cooperative?

                           No

                           Yes

  35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

         No
                      Book value                                        Valuation method                                                  Current value
         Yes

  36. Is a depreciation schedule available for any of the property listed in Part 6?

     No

     Yes

  37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

     No

     Yes

  Part 7:       Office furniture, fixtures, and equipment; and collectibles

  38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No. Go to Part 8.

     Yes. Fill in the information below.

   General description                                                                Net book value of                 Valuation method used            Current value of debtor’s interest
                                                                                      debtor's interest                 for current value
                                                                                      (Where available)
  39. Office furniture
  39.1
               Furniture                                                                         $958,575.35          N/A                               Undetermined

  40. Office fixtures
  40.1
               None                                                                                                                                                                         $0.00

  41. Office equipment, including all computer equipment and communication systems equipment and software
  41.1
               Computers                                                                         $530,353.58          N/A                               Undetermined

  42. Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card collections; other
  collections, memorabilia, or collectibles

  42.1
               Various Artwork and Books                                             Unknown                          N/A                               Undetermined

  43. Total of Part 7
  Add lines 39 through 42. Copy the total to line 86.
                                                                                                                                                                                          $0.00


  44. Is a depreciation schedule available for any of the property listed in Part 7?

     No

     Yes
Debtor    The University of the Arts_______________________________________________                      Case number (if known) 24-_____________________________________________
          Name
                                       Case 24-12140-BLS                      Doc 1          Filed 09/13/24               Page 28 of 1042
  45. Has any of the property listed in Part 7 been appraised by a professional within the last year?

     No

     Yes

  Part 8:    Machinery, equipment, and vehicles

  46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No. Go to Part 9.

     Yes. Fill in the information below.


   General description                                                            Net book value of               Valuation method used          Current value of debtor’s interest
   Include year, make, model, and identification numbers (i.e., VIN,              debtor's interest               for current value
   HIN, or N-number)                                                              (Where available)
  47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles
  47.1
  2003 Ford F150; VIN 1FTRF17213NA24978                                                            $0.00        N/A                             Undetermined


  47.2
  2011 Ford Transit Connect; VIN NM0LS7DNXBT052305                                                 $0.00        N/A                             Undetermined

  48. Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors, floating homes, personal watercraft, and fishing vessels
  48.1
  None                                                                                                                                                                          $0.00

  49. Aircraft and accessories
  49.1
  None                                                                                                                                                                          $0.00

  50. Other machinery, fixtures, and equipment (excluding farm machinery and equipment)
  50.1
  Construction in Progress                                                                  $140,830.00         N/A                             Undetermined

  50.2
  Construction in Progress - Arts Bank                                                      $163,070.14         N/A                             Undetermined


  50.3
  Construction in Progress - Furness Hall                                                   $305,322.88         N/A                             Undetermined


  50.4
  Construction in Progress - Gersham Hall                                                   $233,909.87         N/A                             Undetermined


  50.5
  Construction in Progress - PAA                                                                 $200.00        N/A                             Undetermined


  50.6
  Construction in Progress - Spruce Hall                                                    $817,187.68         N/A                             Undetermined


  50.7
  Construction in Progress - Terra                                                        $1,918,257.86         N/A                             Undetermined


  50.8
  Equipment/Instruments                                                                     $634,979.13         N/A                             Undetermined


  50.9
  Telecom                                                                                   $343,956.72         N/A                             Undetermined
Debtor    The University of the Arts_______________________________________________               Case number (if known) 24-_____________________________________________
          Name
                                       Case 24-12140-BLS                   Doc 1       Filed 09/13/24                 Page 29 of 1042
  51. Total of Part 8.
  Add lines 47 through 50. Copy the total to line 87.
                                                                                                                                          Undetermined


  52. Is a depreciation schedule available for any of the property listed in Part 8?

     No

     Yes

  53. Has any of the property listed in Part 8 been appraised by a professional within the last year?

     No

     Yes

  Part 9:    Real Property

  54. Does the debtor own or lease any real property?

     No. Go to Part 10.

     Yes. Fill in the information below.

  55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
   Description and location of property                        Nature and extent of        Net book value of             Valuation method used       Current value of
   Include street address or other description such as         debtor’s interest in        debtor's interest             for current value           debtor’s interest
   Assessor Parcel Number (APN), and type of property          property                    (Where available)
   (for example, acreage, factory, warehouse,
   apartment or office building), if available.

  55.1
            Administrative - Hamilton Hall, 320 S. Broad      Owned                                $2,516,477.26         Net Book Value                      $2,516,477.26
            Street, Philadelphia, PA (7/10/2024 Appraised
            Value $4,100,000)


  55.2
            Dance Studio - 1401 Walnut Street,                Leased                      N/A                            N/A                         N/A
            Philadelphia, PA

  55.3
            Performing Arts Venue - Arts Bank, 601 S.         Owned                                     $538,066.43      Net Book Value                       $538,066.43
            Broad Street, Philadelphia, PA (6/25/24
            Appraised Value $1,825,000)


  55.4
            Performing Arts Venue - Gershman Hall, 401 S.     Owned                                $8,595,052.52         Net Book Value                      $8,595,052.52
            Broad Street, Philadelphia, PA (6/25/24
            Appraised Value $7,550,000)


  55.5
            Performing Arts Venue - Philadelphia Art          Owned                               $11,101,612.82         Net Book Value                    $11,101,612.82
            Alliance , 251 S. 18th Street, Philadelphia, PA
            (6/25/24 Appraised Value $6,250,000)


  55.6
            Performing Arts Venue - Terra Hall, 211 S.        Owned                               $48,417,708.88         Net Book Value                    $48,417,708.88
            Broad Street, Philadelphia, PA (6/25/24
            Appraised Value $33,800,000)


  55.7
            Residence Hall - Anderson Hall, 329-335 S.        Owned                                $1,787,362.40         Net Book Value                      $1,787,362.40
            Broad Street, Philadelphia, PA (7/10/2024
            Appraised Value $10,400,000)
Debtor    The University of the Arts_______________________________________________                  Case number (if known) 24-_____________________________________________
          Name
                                       Case 24-12140-BLS                    Doc 1         Filed 09/13/24                 Page 30 of 1042

  55.8
             Residence Hall - Furness Hall, 320R S. Broad     Owned                                      $529,065.99        Net Book Value                           $529,065.99
             Street, Philadelphia, PA (7/10/2024 Appraised
             Value $8,025,000)


  55.9
             Residence Hall - Spruce Hall, 1224-34 Spruce     Owned                                     $4,299,237.03       Net Book Value                         $4,299,237.03
             Street, Philadelphia, PA (6/25/24 Appraised
             Value $15,600,000)


  55.10
             Residence Hall- Juniper Hall, 311 S. Juniper     Owned                                     $9,281,612.96       Net Book Value                         $9,281,612.96
             Street, Philadelphia, PA (6/25/24 Appraised
             Value $12,000,000)

  56. Total of Part 9.
  Add the current value of all lines in question 55 and entries from any additional sheets. Copy the total to line 88.
                                                                                                                                                                 $87,066,196.29


  57. Is a depreciation schedule available for any of the property listed in Part 9?

     No

     Yes

  58. Has any of the property listed in Part 9 been appraised by a professional within the last year?

     No

     Yes

  Part 10:       Intangibles and intellectual property

  59. Does the debtor have any interests in intangibles or intellectual property?

     No. Go to Part 11.

     Yes. Fill in the information below.

   General description                                                         Net book value of              Valuation method used          Current value of debtor’s interest
                                                                               debtor's interest              for current value
                                                                               (Where available)
  60. Patents, copyrights, trademarks, and trade secrets
  60.1
             See Schedule AB 60 Attachment                                                      $0.00        N/A                         Undetermined

  61. Internet domain names and websites
  61.1
             www.uarts.edu                                                                      $0.00        N/A                         Undetermined

  62. Licenses, franchises, and royalties
  62.1
             None                                                                                                                                                           $0.00

  63. Customer lists, mailing lists, or other compilations
  63.1
             None                                                                                                                                                           $0.00

  64. Other intangibles, or intellectual property
  64.1
             None                                                                                                                                                           $0.00

  65. Goodwill
  65.1
             None                                                                                                                                                           $0.00
Debtor    The University of the Arts_______________________________________________                    Case number (if known) 24-_____________________________________________
          Name
                                      Case 24-12140-BLS                    Doc 1             Filed 09/13/24               Page 31 of 1042
  66. Total of Part 10.
  Add lines 60 through 65. Copy the total to line 89.
                                                                                                                                           Undetermined


  67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?

     No

     Yes

  68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?

     No

     Yes

  69. Has any of the property listed in Part 10 been appraised by a professional within the last year?

     No

     Yes

  Part 11:       All other assets

  70. Does the debtor own any other assets that have not yet been reported on this form?
  Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No. Go to Part 12.

     Yes. Fill in the information below.


                                                                                                                                           Current value of debtor’s interest
  71. Notes receivable
  Description (include name of obligor)
  71.1
             None                                                                                                            =                                           $0.00
                                                                                         -
                                               total face amount                              doubtful or uncollectible
                                                                                              amount

  72. Tax refunds and unused net operating losses (NOLs)
  Description (for example, federal, state, local)
  72.1
             None                                                                                      Tax year                                                           $0.00

  73. Interests in insurance policies or annuities
  73.1
             See Schedule AB 73 Attachment                                                                                                Undetermined

  74. Causes of action against third parties (whether or not a lawsuit has been filed)
  74.1
             None                                                                                                                                                         $0.00
  Nature of Claim

  Amount requested

  75. Other contingent and unliquidated claims or causes of action of every nature, including counterclaims of the debtor and rights to set off claims
  75.1
             None                                                                                                                                                         $0.00
  Nature of Claim

  Amount requested

  76. Trusts, equitable or future interests in property
  76.1
             Charitable Lead Trust Receivable from Hamilton Trust                                                                         Undetermined
Debtor     The University of the Arts_______________________________________________               Case number (if known) 24-_____________________________________________
           Name
                                         Case 24-12140-BLS                  Doc 1       Filed 09/13/24              Page 32 of 1042
  77. Other property of any kind not already listed Examples: Season tickets, country club membership
  77.1
             Check in transit from Equiniti                                                                                                                   $185,609.52

  77.2
             Contribution Receivable                                                                                                                                $0.00


  77.3
             Misc. Receivable - Commonwealth of PA - RACP                                                                                                      $25,000.00

  77.4
             Student Loan Receivable                                                                                                                                $0.00

  78. Total of Part 11.
  Add lines 71 through 77. Copy the total to line 90.
                                                                                                                                                             $210,609.52


  79. Has any of the property listed in Part 11 been appraised by a professional within the last year?

      No

      Yes

  Part 12:        Summary

    In Part 12 copy all of the totals from the earlier parts of the form.

   Type of property                                                          Current value of               Current value of real
                                                                             personal property              property

  80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.             $3,580,760.31


  81. Deposits and prepayments. Copy line 9, Part 2.                                 $2,466,185.25


  82. Accounts receivable. Copy line 12, Part 3.                                              $0.00

  83. Investments. Copy line 17, Part 4.                                                      $0.00


  84. Inventory. Copy line 23, Part 5.                                                        $0.00

  85. Farming and fishing-related assets. Copy line 33, Part 6.                               $0.00


  86. Office furniture, fixtures, and equipment; and collectibles. Copy                       $0.00
  line 43, Part 7.

  87. Machinery, equipment, and vehicles. Copy line 51, Part 8.              Undetermined

  88. Real property. Copy line 56, Part 9.                                                                       $87,066,196.29


  89. Intangibles and intellectual property.. Copy line 66, Part 10.         Undetermined

  90. All other assets. Copy line 78, Part 11.                                         $210,609.52
Debtor   The University of the Arts_______________________________________________              Case number (if known) 24-_____________________________________________
         Name
                                     Case 24-12140-BLS                      Doc 1    Filed 09/13/24            Page 33 of 1042

  91. Total. Add lines 80 through 90 for each column                 91a.                                          91b.
                                                                                $6,257,555.08                                                $87,066,196.29


  92. Total of all property on Schedule A/B. Lines 91a + 91b = 92.
                                                                                                                                                       $93,323,751.37
                                    Case 24-12140-BLS              Doc 1      Filed 09/13/24         Page 34 of 1042
                                                                SCHEDULE AB 60 ATTACHMENT
                                                       Patents, Copyrights, Trademarks, and Trade Secrets

                                                          Registration
                                                         No./Application  Registration/                                             Valuation
                         Mark           Jurisdiction           No.       Application Date     Record Owner         Net Book Value    Method     Current Value
                                       United States        6136023        08/25/2020     Board of Trustees of The          $0.00      N/A       Undetermined
                                                              (Live)                      University of the Arts

                                       United States         2467766          07/10/2001     Board of Trustees of The      $0.00      N/A        Undetermined
                                                              (Live)                         University of the Arts

                                       United States         2341258          04/11/2000     Board of Trustees of The      $0.00      N/A        Undetermined
                                                              (Live)                         University of
                                                                                             the Arts

                                       United States         2677865          01/21/2003     Board of Trustees of The      $0.00      N/A        Undetermined
                                                              (Live)                         University of
                                                                                             the Arts
                                       United States         3494493          09/02/2008     Board of Trustees of The      $0.00      N/A        Undetermined
                                                              (Dead)                         University of
                                                                                             the Arts
                                       United States         3474506          07/29/2008     Board of Trustees of The      $0.00      N/A        Undetermined
                                                              (Dead)                         University of
                                                                                             the Arts
                                       United States         2486892          08/19/2008     Board of Trustees of The      $0.00      N/A        Undetermined
                                                              (Dead)                         University of
                                                                                             the Arts
TO ADVANCE HUMAN CREATIVITY            United States        02/12/2020        02/12/2020     Board of Trustees of The      $0.00      N/A        Undetermined
                                                                                             University of
                                                                                             the Arts




In re: The University of the Arts                                         Page 1 of 1
                                                    Case 24-12140-BLS                    Doc 1         Filed 09/13/24             Page 35 of 1042
                                                                                       SCHEDULE AB 73 ATTACHMENT
                                                                                   Interests in Insurance Policies or Annuities


                                                                                                                                                                                        Begin
           Type of Policy                                         Coverage                                                        Provider                             Policy #          Date   End Date
 Auto                               Auto                                                                    Progressive                                         984928931              8/9/2024 8/9/2025
 D&O                                Side A D&O, Excess Side A D&O and Employment Practices Liability        Continental Casualty Company (CAN)                  794121112              8/9/2024 8/9/2025
 D&O                                EPL                                                                     Continental Casualty Company (CAN)                  7094286514             8/9/2024 8/9/2025
 D&O                                Excess D&O                                                              National Union Fire Insurance Company of Pittsburgh 01-464-63-59           8/9/2024 8/9/2025
 D&O                                Supplemental Officer Policy                                             Westchester (Chubb)                                 G48691274 001          6/3/2024 6/3/2030
 Excess Liability                   Umbrella                                                                United Educators Insurance                          T22-51H                6/1/2024 6/1/2025
 General Liability                  General Liability                                                       Berkley                                             CGL 0234568            8/9/2024 8/9/2025
 Legacy D&O/EPL                     Educators Legal Liability and Employment Practices Liability            Philadelphia Insurance Companies                    PHPK2558789-003        6/1/2024 6/1/2025
 Legacy D&O/EPL                     Tail for Educators Legal Liability and Employment Practices Liability   Philadelphia Insurance Companies                                           6/1/2024 6/1/2027
 Property                           $5M p/o $25M x $25M                                                     Arch Specialty Insurance Company                    ESP1053443-00         8/12/2024 8/12/2025
 Property                           $5M p/o $25M x $25M                                                     Bridgeway Insurance Company                         7EA7XP1004052-00      8/12/2024 8/12/2025
 Property                           Primary $25M                                                            CrossCover (Lloyd's)                                TCC0001183-00         8/12/2024 8/12/2025
 Property                           Flood & Earthquake                                                      Great American                                      IMP F230276-00-00     8/12/2024 8/12/2025
 Property                           $5M p/o $25M x $25M                                                     Kinsale Insurance Company                           0100317184-0          8/12/2024 8/12/2025
 Property                           Boiler & Machinery                                                      Liberty Mutual                                      YB2-L9L-478511-014    8/12/2024 8/12/2025
 Property                           $10M p/o $25M x $25M                                                    MSIG Specialty Insurance USA Inc                    ENS1000925            8/12/2024 8/12/2025
 Workers Comp                       Workers Comp                                                            Phoenix Insurance Company                           UB-1S558869-24-14-G    6/1/2024 6/1/2025




In re: The University of the Arts                                                                  Page 1 of 1
                                        Case 24-12140-BLS                       Doc 1      Filed 09/13/24           Page 36 of 1042

  Fill in this information to identify the case:

  Debtor name: The University of the Arts

  United States Bankruptcy Court for the: District of Delaware
                                                                                                                                                        Check if this is an
  Case number: 24-
                                                                                                                                                        amended filing


Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property

Be as complete and accurate as possible.

Part 1:     List Creditors Who Have Claims Secured by Property

1. Do any creditors have claims secured by debtor's property?

      No. Check this box and submit page 1 of this form to the court with debtor`s other schedules. Debtor has nothing else to report on this form.

      Yes. Fill in the information below.

2. List creditors who have secured claims.If a creditor has more than one secured claim, list the creditor   Column A                          Column B
separately for each claim.
                                                                                                             Amount of Claim                   Value of collateral that
                                                                                                             Do not deduct the value of        supports this claim
                                                                                                             collateral.

2.1
                                                        Describe debtor's property that is subject to        $6,000,000 + ACCRUED             UNDETERMINED
            TD BANK, N.A                                the lien:                                            INTERREST
            ATTN: MICHAEL J. GERS                       SEE NOTE B
            2005 MARKET STREET, 2ND FLOOR
            PHILADELPHIA, PA 19103                      Describe the lien
                                                        OPEN END MORTGAGE

           Date debt was incurred?                      Is the creditor an insider or related party?
           6/19/2020                                       No
           Last 4 digits of account number
                                                           Yes

                                                        Is anyone else liable on this claim?
           Do multiple creditors have an interest
                                                           No
           in the same property?
               No                                          Yes. Fill out Schedule H: Codebtors(Official

               Yes. Specify each creditor, including   Form 206H)
                                                        As of the petition filing date, the claim is:
          this creditor, and its relative priority.
                                                        Check all that apply.
           AS PROVIDED IN THE INTER
                                                             Contingent
           CREDITOR CONTRACTS
                                                             Unliquidated

                                                             Disputed
Debtor   The University of the Arts_______________________________________________                       Case number (if known) 24-_____________________________________________
         Name
                                        Case 24-12140-BLS                        Doc 1      Filed 09/13/24              Page 37 of 1042

  2.2
                                                         Describe debtor's property that is subject to          $850,000 + ACCRUED                 UNDETERMINED
            TD BANK, N.A                                 the lien:                                              INTEREST
            ATTN: MICHAEL J. GERS                        SEE NOTE B
            2005 MARKET STREET, 2ND FLOOR
            PHILADELPHIA, PA 19103                       Describe the lien
                                                         OPEN END MORTGAGE

           Date debt was incurred?                       Is the creditor an insider or related party?
           6/19/2023                                        No
           Last 4 digits of account number
                                                            Yes

                                                         Is anyone else liable on this claim?
           Do multiple creditors have an interest
                                                            No
           in the same property?
                No                                          Yes. Fill out Schedule H: Codebtors(Official

                Yes. Specify each creditor, including   Form 206H)
                                                         As of the petition filing date, the claim is:
          this creditor, and its relative priority.
                                                         Check all that apply.
           AS PROVIDED IN THE INTER
                                                              Contingent
           CREDITOR CONTRACTS
                                                              Unliquidated

                                                              Disputed


  2.3
                                                         Describe debtor's property that is subject to          $1,972,500 + ACCRUED               UNDETERMINED
            UA AGENCY, LLC                               the lien:                                              INTEREST
            ATT.: SETH LEHR                              311 SOUTH JUNIPER STREET PARCEL/OPA
            1735 MARKET STREET, 9TH FLOOR                881015550
            PHILADELPHIA, PA 19103
                                                         Describe the lien
                                                         OPEN END MORTGAGE
           Date debt was incurred?
           6/20/2024                                     Is the creditor an insider or related party?
           Last 4 digits of account number                  No

                                                            Yes
           Do multiple creditors have an interest
                                                         Is anyone else liable on this claim?
           in the same property?
                                                            No
                No
                                                            Yes. Fill out Schedule H: Codebtors(Official
                Yes. Specify each creditor, including
                                                        Form 206H)
          this creditor, and its relative priority.
                                                         As of the petition filing date, the claim is:
           UA AGENCY, LLC - FIRST PRIORITY
                                                         Check all that apply.
           UMB BANK, TD BANK - SEE
                                                              Contingent
           INTERCREDITOR AGREEMENT
                                                              Unliquidated

                                                              Disputed
Debtor   The University of the Arts_______________________________________________                       Case number (if known) 24-_____________________________________________
         Name
                                        Case 24-12140-BLS                        Doc 1      Filed 09/13/24              Page 38 of 1042

  2.4
                                                         Describe debtor's property that is subject to          $10,000,000 +ACCRUED               UNDETERMINED
            UMB BANK N.A., AS                            the lien:                                              INTEREST
            REPRESENTATIVE FOR                           SEE NOTE C
            NOTEHOLDERS
            ATTN: GORDON GENDLER                         Describe the lien
            120 SOUTH SIXTH STREET, SUITE                OPEN END MORTGAGE
            1400                                         Is the creditor an insider or related party?
            MINNEAPOLIS, MN 55402                           No

           Date debt was incurred?                          Yes
           7/19/2024                                     Is anyone else liable on this claim?
           Last 4 digits of account number                  No

                                                            Yes. Fill out Schedule H: Codebtors(Official
           Do multiple creditors have an interest
           in the same property?                        Form 206H)
                                                         As of the petition filing date, the claim is:
                No
                                                         Check all that apply.
                Yes. Specify each creditor, including         Contingent

          this creditor, and its relative priority.           Unliquidated
           AS PROVIDED IN THE INTER
           CREDITOR CONTRACTS                                 Disputed


  2.5
                                                         Describe debtor's property that is subject to          $900,000 + ACCRUED                 UNDETERMINED
            UMB BANK N.A., AS                            the lien:                                              INTEREST
            REPRESENTATIVE FOR                           SEE NOTE C
            NOTEHOLDERS
            ATTN: GORDON GENDLER                         Describe the lien
            120 SOUTH SIXTH STREET, SUITE                OPEN END MORTGAGE
            1400                                         Is the creditor an insider or related party?
            MINNEAPOLIS, MN 55402                           No

           Date debt was incurred?                          Yes
           7/25/2024                                     Is anyone else liable on this claim?
           Last 4 digits of account number                  No

                                                            Yes. Fill out Schedule H: Codebtors(Official
           Do multiple creditors have an interest
           in the same property?                        Form 206H)
                                                         As of the petition filing date, the claim is:
                No
                                                         Check all that apply.
                Yes. Specify each creditor, including         Contingent

          this creditor, and its relative priority.           Unliquidated
           AS PROVIDED IN THE INTER
           CREDITOR CONTRACTS                                 Disputed
Debtor   The University of the Arts_______________________________________________                       Case number (if known) 24-_____________________________________________
         Name
                                        Case 24-12140-BLS                        Doc 1      Filed 09/13/24              Page 39 of 1042

  2.6
                                                         Describe debtor's property that is subject to          $3,800,000 + ACCRUED               UNDETERMINED
            UMB BANK N.A., AS                            the lien:                                              INTEREST
            REPRESENTATIVE FOR                           SEE NOTE C
            NOTEHOLDERS
            ATTN: GORDON GENDLER                         Describe the lien
            120 SOUTH SIXTH STREET, SUITE                OPEN END MORTGAGE
            1400                                         Is the creditor an insider or related party?
            MINNEAPOLIS, MN 55402                           No

           Date debt was incurred?                          Yes
           8/9/2024                                      Is anyone else liable on this claim?
           Last 4 digits of account number                  No

                                                            Yes. Fill out Schedule H: Codebtors(Official
           Do multiple creditors have an interest
           in the same property?                        Form 206H)
                                                         As of the petition filing date, the claim is:
                No
                                                         Check all that apply.
                Yes. Specify each creditor, including         Contingent

          this creditor, and its relative priority.           Unliquidated
           AS PROVIDED IN THE INTER
           CREDITOR CONTRACTS                                 Disputed


  2.7
                                                         Describe debtor's property that is subject to          $3,000,000 + ACCRUED               UNDETERMINED
            UMB BANK N.A., AS                            the lien:                                              INTEREST
            REPRESENTATIVE FOR                           SEE NOTE C
            NOTEHOLDERS
            ATTN: GORDON GENDLER                         Describe the lien
            120 SOUTH SIXTH STREET, SUITE                OPEN END MORTGAGE
            1400                                         Is the creditor an insider or related party?
            MINNEAPOLIS, MN 55402                           No

           Date debt was incurred?                          Yes
           9/10/2024                                     Is anyone else liable on this claim?
           Last 4 digits of account number                  No

                                                            Yes. Fill out Schedule H: Codebtors(Official
           Do multiple creditors have an interest
           in the same property?                        Form 206H)
                                                         As of the petition filing date, the claim is:
                No
                                                         Check all that apply.
                Yes. Specify each creditor, including         Contingent

          this creditor, and its relative priority.           Unliquidated
           AS PROVIDED IN THE INTER
           CREDITOR CONTRACTS                                 Disputed
Debtor   The University of the Arts_______________________________________________                       Case number (if known) 24-_____________________________________________
         Name
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  2.8
                                                         Describe debtor's property that is subject to          $42,435,000 + ACCRUED              UNDETERMINED
            UMB BANK, N.A.                               the lien:                                              INTEREST
            ATTN: GLOBAL CORPORATE TRUST                 SEE NOTE A
            500 ROSS STREET, 12TH FLOOR
            PITTSBURGH , PA 15262                        Describe the lien
                                                         OPEN END MORTGAGE
           Date debt was incurred?                       Is the creditor an insider or related party?
           12/19/2017                                       No
           Last 4 digits of account number
                                                            Yes

                                                         Is anyone else liable on this claim?
           Do multiple creditors have an interest
           in the same property?                            No

                No                                          Yes. Fill out Schedule H: Codebtors(Official

                Yes. Specify each creditor, including   Form 206H)
                                                         As of the petition filing date, the claim is:
          this creditor, and its relative priority.
                                                         Check all that apply.
           AS PROVIDED IN THE INTER
                                                              Contingent
           CREDITOR CONTRACTS
                                                              Unliquidated

                                                              Disputed

 (A) Original Mortgage: Broad Street, 320 S. (Hamilton Hall) Broad Street, 320 R S. (Furness Hall) Broad Street, 319-335 S (Anderson Hall). Including but not limited to Land
 premises and property
 New Mortgaged Property: as security for the Bridge Loan , TD Bank and Bondholders acquired a second lien with respect to the New Mortgaged Property which includes:
 Property and land located Philadelphia, PA at the following street addresses 311 South Juniper Street (Juniper Hall), 1224-34 Spruce Street (Spruce Hall), 401 S. Broad Street
 (Gershman Hall), 601 S. Broad Street (Arts Bank), 251 S. 18th Street (Philadelphia Art Alliance), 201-211 S. Broad Street (Terra Hall)
 (B) Original Mortgage: Broad Street, 320 S. (Hamilton Hall) Broad Street, 320 R S. (Furness Hall) Broad Street, 319-335 S (Anderson Hall). Collateral description is described
 as, but no limited to "Leases, land, improvements, real estate, xtures, machinery, furniture, equipment, tenements, hereditaments, and appurtenances, agreements, and other
 documents, and other property interests"
 New Mortgaged Property: as security for the Bridge Loan , TD Bank and Bondholders acquired a second lien with respect to the New Mortgaged Property which includes:
 Property and land located Philadelphia, PA at the following street addresses 311 South Juniper Street (Juniper Hall), 1224-34 Spruce Street (Spruce Hall), 401 S. Broad Street
 (Gershman Hall), 601 S. Broad Street (Arts Bank), 251 S. 18th Street (Philadelphia Art Alliance), 201-211 S. Broad Street (Terra Hall)
 (C) Property and land located Philadelphia, PA at the following street addresses 311 South Juniper Street (Juniper Hall), 1224-34 Spruce Street (Spruce Hall), 401 S. Broad
 Street (Gershman Hall), 601 S. Broad Street (Arts Bank), 251 S. 18th Street (Philadelphia Art Alliance), 201-211 S. Broad Street (Terra Hall), 320 S. Broad Street (Hamilton
 Hall), 320 R S. Broad Street (Furness Hall), 333 S. Broad Street (Anderson Hall) and any improvements, easements and other bene cial interests, equipment related to
 improvements or located in the properties, xtures, leases and rents, insurance proceeds, real estate tax proceeds, condemnation awards, related to these properties.
 As collateral security for the payment of the Secure Obligations, there is an existing pledge in bene t of the Noteholders (collectively, the “Pledged Collateral”), which includes
 all the below to the extent is not Excluded Property

 As collateral security for the payment of the Secure Obligations, there is an existing pledge in benefit of the Noteholders (collectively, the “Pledged Collateral”), which includes
 all the below to the extent is not Excluded Property:
 (a) all Accounts; (b) all Equipment, Goods, Inventory and Fixtures; (c) all Documents, Instruments and Chattel Paper; (d) all Letters of Credit and Letter-of-Credit Rights; (e) all
 Securities Collateral; (f) all Investment Property; (g) all Intellectual Property Collateral;,(h) the Commercial Tort Claims described on Schedule 9 hereof as supplemented by
 any written notification given by a Grantor to the Collateral Agent pursuant to Section 3.04(f); (i) all General Intangibles; (j) all Money and all Deposit Accounts; (k) all
 Unrestricted University Revenues; (l) all Supporting Obligations; (m) all books and records, customer lists, credit files, computer files, programs, printouts and other computer
 materials and records relating to the Pledged Collateral and any General Intangibles at any time evidencing or relating to any of the foregoing; (n) all Motor Vehicles; and, (o)
 to the extent not covered by clauses (a) through (n) of this sentence, all other assets, personal property and rights of such Grantor, whether tangible or intangible, all Proceeds
 and products of each of the foregoing and all accessions of and to, substitutions and replacements for, and rents, profits and products of, each of the foregoing, and any and
 all Proceeds of any insurance, indemnity, warranty or guaranty payable to such Grantor from time to time with respect to any of the foregoing.


  3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                    $68,957,500.00
  Page, if any.
Debtor   The University of the Arts_______________________________________________                Case number (if known) 24-_____________________________________________
         Name
                                    Case 24-12140-BLS                     Doc 1        Filed 09/13/24              Page 41 of 1042
  Part 2:   List Others to Be Notified for a Debt That You Already Listed

  List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies, assignees of
  claims listed above, and attorneys for secured creditors.
  If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
   Name and address                                                                         On which line in Part 1 did you enter       Last 4 digits of account number for
                                                                                            the related creditor?                       this entity

  3.1
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  Fill in this information to identify the case:

  Debtor name: The University of the Arts

  United States Bankruptcy Court for the: District of Delaware
                                                                                                                                                               Check if this is an
  Case number: 24-
                                                                                                                                                               amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims. List
the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and Personal
Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes
on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:     List All Creditors with PRIORITY Unsecured Claims

1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

      No. Go to Part 2.

      Yes. Go to line 2.

2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors with priority unsecured
claims, fill out and attach the Additional Page of Part 1.

                                                                                                                              Total claim                    Priority amount

2.1
                                                                         As of the petition filing date, the claim is:       UNDETERMINED                                      $0.00
           ACCHIONE, SARAH                                               Check all that apply.
           [ADDRESS ON FILE]
                                                                              Contingent

           Date or dates debt was incurred                                    Unliquidated

                                                                              Disputed
           Last 4 digits of account number
                                                                         Basis for the claim:
                                                                         POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                         Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                            No

                                                                             Yes


2.2
                                                                         As of the petition filing date, the claim is:       UNDETERMINED                                      $0.00
           ADORNETTO, MIRA                                               Check all that apply.
           [ADDRESS ON FILE]
                                                                              Contingent

           Date or dates debt was incurred                                    Unliquidated

                                                                              Disputed
           Last 4 digits of account number
                                                                         Basis for the claim:
                                                                         POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                         Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                            No

                                                                             Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
         Name
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  2.3
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           ALLEN, AANIKA                                           Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes

  2.4
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           ALVARO, KIKAU                                           Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes

  2.5
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           ANDRUSKI, NEIL                                          Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
         Name
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  2.6
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           ANTHONY, KATHLEEN                                       Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes

  2.7
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           APPLE, KRISTA                                           Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes

  2.8
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           ATTIE, MICHAEL                                          Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
         Name
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  2.9
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           AVNER, CHARLES                                          Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes

  2.10
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           BARDZIK, RICHARD                                        Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes

  2.11
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           BARTHOLOMEW, TRACY                                      Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.12
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           BATSON-EDWARDS, CURTIS                                  Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes

  2.13
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           BAURIEDEL, GABRIEL                                      Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes

  2.14
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           BEARS-BAILEY, KIM                                       Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
         Name
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  2.15
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           BEAUMONT, BARBARA                                       Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes


  2.16
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           BEITER, JEFFREY                                         Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes

  2.17
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           BELL, LARISA                                            Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.18
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           BLANK, RANDE                                            Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes


  2.19
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           BLANKE, SCOTT                                           Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes


  2.20
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           BLATT, CAROLINA                                         Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.21
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           BOGDANOFF CENTURION, GABRIELA                           Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes


  2.22
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           BRENNA, ARIEL                                           Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes


  2.23
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           BRENT, JACOB                                            Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
         Name
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  2.24
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           BROWN, AMY                                              Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes


  2.25
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           BUCK, SARA                                              Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes


  2.26
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           BURCHERI, CHRISTOPHER                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
         Name
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  2.27
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           BURCHFIELD, DONNA FAYE                                  Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes


  2.28
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           BURKE, HANNAH                                           Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes


  2.29
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           BURKETT, KRISTEN                                        Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
         Name
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  2.30
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           BURLAN, NANCY                                           Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes


  2.31
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           BUSH, HANNAH                                            Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes


  2.32
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           BYRNE, ISAAC                                            Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
         Name
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  2.33
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           CABA, CHRISTIAN                                         Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes

  2.34
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           CALABRO, KAITLIN MARIE                                  Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes

  2.35
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           CANTOR, FRANKLYN                                        Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
         Name
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  2.36
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           CARDONICK, MARIANN                                      Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes

  2.37
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           CASON, THOMAS                                           Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes


  2.38
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           CHENERY, MATTHEW                                        Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
         Name
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  2.39
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           CHILDS, CAMERON                                         Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes


  2.40
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           CIERVO, MICHAEL                                         Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes

  2.41
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           CIRINO, STEPHEN                                         Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
         Name
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  2.42
                                                                   As of the petition filing date, the claim is:      UNDETERMINED              UNDETERMINED
           PHILADELPHIA                                            Check all that apply.
           PA, 19102
                                                                       Contingent
           ,8
                                                                       Unliquidated
           Date or dates debt was incurred
                                                                       Disputed
                                                                   Basis for the claim:
           Last 4 digits of account number
                                                                   TAXES

           Specify Code subsection of PRIORITY unsecured           Is the claim subject to offset?
           claim:                                                     No
           11 U.S.C. § 507(a) ( 8 )
                                                                      Yes

  2.43
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           CLARK, DINITA                                           Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes


  2.44
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           CLAUS, MADISON                                          Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
         Name
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  2.45
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           COOPER, CHARLES                                         Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes


  2.46
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           COUTURE, BETH                                           Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes

  2.47
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           COWEN, JAMES                                            Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
         Name
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  2.48
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           CRAM, LINDSAY                                           Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes

  2.49
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           DAVENPORT, GEHIA                                        Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes


  2.50
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           DAVID, WAYNE                                            Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
         Name
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  2.51
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           DEASY, KELLY                                            Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes


  2.52
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           DEFILIPPIS, JOSEPH                                      Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes

  2.53
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           DEVERS GREEN, JEFFREY                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
         Name
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  2.54
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           DI VENTI, JONATHAN                                      Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes

  2.55
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           DICCIANI, MARC                                          Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes


  2.56
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           DIGIACOMO, MELISSA                                      Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
         Name
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  2.57
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           DIMARCO, CHRISTA                                        Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes


  2.58
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           DIMEDIO, ANNETTE                                        Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes

  2.59
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           DUFFY, DEBORAH                                          Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
         Name
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  2.60
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           DUGAN, JACQUELINE                                       Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes

  2.61
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           DUKE, CHARIS                                            Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes


  2.62
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           DULIK, JOHN                                             Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
         Name
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  2.63
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           DUNN, COURTNEY                                          Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes


  2.64
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           DUONG, VINCENT                                          Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes

  2.65
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           EINHORN, JEFFREY                                        Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
         Name
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  2.66
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           ELMAN, ERIN                                             Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes


  2.67
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           EMBREE, NICK                                            Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes

  2.68
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           ESCOTO DE LEON, DAIRYS                                  Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
         Name
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  2.69
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           EVANS, STEPHANIE                                        Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes

  2.70
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           EVANS, TOMMIE                                           Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes

  2.71
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           FARR, CHRIS                                             Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
         Name
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  2.72
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           FASCIANO, JOSEPH                                        Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes

  2.73
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           FEJKO, PAUL                                             Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes

  2.74
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           FIELO, HANNAH                                           Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.75
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           FINEBERG, JONATHAN                                      Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes

  2.76
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           FISHEL, DANIEL                                          Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes


  2.77
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           FISHER, SARA                                            Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.78
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           FLAMM, MARA                                             Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes


  2.79
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           FLEMING, KELLY                                          Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes

  2.80
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           FLOWER, SAMANTHA                                        Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.81
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           FOSNOCHT, THOMAS                                        Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes

  2.82
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           FOSTER, JULIANNA                                        Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes

  2.83
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           FRAATZ, JAMES                                           Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.84
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           FRAZURE, LAURA                                          Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes

  2.85
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           FROMAN, OLIVE                                           Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes

  2.86
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           GALLAGHER, MATTHEW                                      Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.87
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           GANNON, MIRRANDA                                        Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes

  2.88
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           GARSIDE, JOANNE                                         Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes

  2.89
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           GEORGE, ROBERT                                          Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.90
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           GIAMO, CHRISTOPHER                                      Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes


  2.91
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           GLANDEN, WILLIAM                                        Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes

  2.92
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           GOLDMAN, JEFFREY                                        Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
         Name
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  2.93
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           GONZALEZ, CHRISTY                                       Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes

  2.94
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           GRANEY, CAROL                                           Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes

  2.95
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           GRATER, DIANA                                           Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
         Name
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  2.96
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           GREENBURG, JENNIFER                                     Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes

  2.97
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           GROTHUSEN, MICHAEL                                      Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes

  2.98
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           GRUTZECK, LAURA                                         Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.99
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            GUIDO, ANTHONY                                          Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes

  2.100
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            HADEN, KEVIN                                            Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes

  2.101
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            HALASY, KRISA                                           Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.102
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            HAWORTH, CURT                                           Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes

  2.103
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            HODGSON, KEITH                                          Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes

  2.104
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            HOEFLER, PETER                                          Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.105
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            HOPELY, RYAN                                            Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes

  2.106
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            HSU, SAINE                                              Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes

  2.107
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            HURLEY, JOHN                                            Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.108
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            HUTCHISON HARRIS, HEATHER                               Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes

  2.109
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            HYDE, RYAN                                              Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes

  2.110
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            JANIS, MELINDA                                          Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.111
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            JENKINS, SHAYLA-VIE                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes

  2.112
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            JETER, DENNIS                                           Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes

  2.113
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            JOHN, PREYA                                             Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.114
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            JOHNSON, CHRISTOPHER                                    Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes

  2.115
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            JOHNSON, LONELL                                         Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes

  2.116
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            JOHNSON, MICHAEL                                        Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.117
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            JOHNSON, SARAH                                          Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes

  2.118
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            JOHNSON-WOOTEN, TAMIA                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes

  2.119
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            JONES, MICAH                                            Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.120
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            JONES-OBRIEN, ANGELA                                    Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes

  2.121
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            JOSEPH, ZACHARY                                         Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes

  2.122
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            JUSKA, ELISE                                            Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.123
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            KAHLE, JESSICA                                          Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes

  2.124
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            KAMINSKI, MARY KATHERINE                                Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes

  2.125
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            KANE, BRIGETTE                                          Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.126
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            KARUSTIS, ANJALI                                        Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes

  2.127
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            KAULFERS, MEGAN                                         Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes

  2.128
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            KENNEDY, JOSEPH                                         Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.129
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            KENNEY, COLIN                                           Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes

  2.130
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            KERN, JEFFREY                                           Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes

  2.131
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            KISHITA, MICHELE                                        Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.132
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            KISLER, JEFFREY                                         Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes

  2.133
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            KLEINMAN, STEVEN                                        Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes

  2.134
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            KROMCHAD, JAIME                                         Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.135
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            LANGFORD, ZACHARY                                       Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes

  2.136
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            LEACH, ZACHARY                                          Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes

  2.137
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            LEAL, ERIC                                              Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.138
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            LEE, TONYA                                              Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes

  2.139
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            LEVIS, JOHN                                             Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes

  2.140
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            LINDSEY, RAY                                            Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.141
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            LIPKIN, LEONARD                                         Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes

  2.142
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            MANHIRE, MATTHEW                                        Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes

  2.143
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            MANNI, JACQUELINE                                       Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.144
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            MARTIN-O'SHIA, TROY                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes

  2.145
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            MASRI, JULIUS                                           Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes

  2.146
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            MATTESON, PAUL                                          Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.147
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            MATTINGLY, EMILY                                        Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes

  2.148
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            MATUSHESKI, JAMES                                       Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes

  2.149
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            MCDONNELL, CHRISTOPHER                                  Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.150
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            MCGILL, KAYLA                                           Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes

  2.151
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            MEHTA, RAHUL                                            Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes

  2.152
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            MEKARZEL, ALEC                                          Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.153
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            MERCER, KEVIN                                           Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes

  2.154
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            MERINSKY, KEVIN                                         Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes

  2.155
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            METZGER, KYLE                                           Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.156
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            MINICH, DOREEN                                          Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes

  2.157
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            MOHARRAM, DU'AA                                         Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes


  2.158
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            MOORE, RHONDA                                           Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.159
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            MORO, DIANA                                             Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes


  2.160
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            MORRIS, ERICA                                           Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes

  2.161
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            MOTZER, TIMOTHY                                         Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.162
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            MURPHY, REBECCA                                         Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes

  2.163
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            NARODITSKIY, ALEKSANDR                                  Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes

  2.164
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            NEFF, JENNY                                             Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.165
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            NEWMAN, SCOTT                                           Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes

  2.166
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            NOWELL, JANICE                                          Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes

  2.167
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            O'DOHERTY, KAITLYND                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.168
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            OREDIPE, OLUDARE                                        Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes

  2.169
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            ORING, SHERYL                                           Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes

  2.170
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            OWENS, SARAH                                            Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.171
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            PACK, ANDREW                                            Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes

  2.172
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            PADILIONI, JEANETTE                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes

  2.173
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            PADILLA, ARIANA                                         Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.174
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            PARADA, JUAN                                            Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes

  2.175
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            PAUP, ROSEMARY                                          Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes

  2.176
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            PAZ, MARIA JIMENA                                       Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.177
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            PENN, RYAN                                              Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes

  2.178
                                                                    As of the petition filing date, the claim is:      UNDETERMINED              UNDETERMINED
            HARRISBURG                                              Check all that apply.
            PA, 17128
                                                                        Contingent
            ,8
                                                                        Unliquidated
            Date or dates debt was incurred
                                                                        Disputed

            Last 4 digits of account number                         Basis for the claim:
                                                                    TAXES
                                                                    Is the claim subject to offset?
            Specify Code subsection of PRIORITY unsecured
            claim:                                                     No
            11 U.S.C. § 507(a) ( 8 )
                                                                       Yes

  2.179
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            PEPE, DIANE                                             Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.180
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            PETERSON, MICHAELA                                      Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes

  2.181
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            PIETRUSKO, MICHAEL                                      Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes


  2.182
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            PIRES, JESSE                                            Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.183
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            POSTLEWAITE, CHRISTOPHER                                Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes


  2.184
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            POWELL, MIRANDA                                         Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes

  2.185
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            PRICE, ALAN                                             Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.186
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            QUINN, KAITLIN                                          Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes

  2.187
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            RADIGONDA, ELIZABETH                                    Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes

  2.188
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            RAHA, MARIA                                             Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.189
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            RAMSEY, SAMANTHA                                        Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes

  2.190
                                                                    As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
            RAPONE, JOSEPH                                          Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( )                                     No

                                                                       Yes

  2.191
                                                                    As of the petition filing date, the claim is:                  $225.00                     $225.00
            REDACTED STUDENT 0006                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            5189                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.192
                                                                    As of the petition filing date, the claim is:                   $13.00                      $13.00
            REDACTED STUDENT 0008                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            0168
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.193
                                                                    As of the petition filing date, the claim is:                $3,240.00                   $3,240.00
            REDACTED STUDENT 0020                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6501
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.194
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 0052                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            7864                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.195
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 0052                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7864
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.196
                                                                    As of the petition filing date, the claim is:                  $450.00                     $450.00
            REDACTED STUDENT 0055                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            6718                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.197
                                                                    As of the petition filing date, the claim is:                  $300.00                     $300.00
            REDACTED STUDENT 0070                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            3297
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.198
                                                                    As of the petition filing date, the claim is:                  $450.00                     $450.00
            REDACTED STUDENT 0082                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            5976
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.199
                                                                    As of the petition filing date, the claim is:                $6,325.00                   $3,350.00
            REDACTED STUDENT 0089                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            5571
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.200
                                                                    As of the petition filing date, the claim is:                  $300.00                     $300.00
            REDACTED STUDENT 0117                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            6130                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.201
                                                                    As of the petition filing date, the claim is:                  $705.00                     $705.00
            REDACTED STUDENT 0119                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            8328
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.202
                                                                    As of the petition filing date, the claim is:                  $450.00                     $450.00
            REDACTED STUDENT 0120                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            0824                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.203
                                                                    As of the petition filing date, the claim is:                $4,200.00                   $3,350.00
            REDACTED STUDENT 0129                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            2535
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.204
                                                                    As of the petition filing date, the claim is:                  $105.00                     $105.00
            REDACTED STUDENT 0132                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            1833
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.205
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 0141                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            4088                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.206
                                                                    As of the petition filing date, the claim is:                  $150.00                     $150.00
            REDACTED STUDENT 0145                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7358
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.207
                                                                    As of the petition filing date, the claim is:                  $705.00                     $705.00
            REDACTED STUDENT 0150                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            4235
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.208
                                                                    As of the petition filing date, the claim is:                  $150.00                     $150.00
            REDACTED STUDENT 0159                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6602
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.209
                                                                    As of the petition filing date, the claim is:                  $300.00                     $300.00
            REDACTED STUDENT 0164                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            4123                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.210
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 0170                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            4891
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.211
                                                                    As of the petition filing date, the claim is:                $2,200.00                   $2,200.00
            REDACTED STUDENT 0173                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            2196                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.212
                                                                    As of the petition filing date, the claim is:                $1,150.00                   $1,150.00
            REDACTED STUDENT 0182                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7508
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.213
                                                                    As of the petition filing date, the claim is:                  $150.00                     $150.00
            REDACTED STUDENT 0194                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7276
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.214
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 0203                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            5395
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.215
                                                                    As of the petition filing date, the claim is:                  $450.00                     $450.00
            REDACTED STUDENT 0204                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            6139                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.216
                                                                    As of the petition filing date, the claim is:                  $450.00                     $450.00
            REDACTED STUDENT 0205                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            3427
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.217
                                                                    As of the petition filing date, the claim is:                  $705.00                     $705.00
            REDACTED STUDENT 0212                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            0545
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.218
                                                                    As of the petition filing date, the claim is:                $3,000.00                   $3,000.00
            REDACTED STUDENT 0225                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            4142                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.219
                                                                    As of the petition filing date, the claim is:                  $150.00                     $150.00
            REDACTED STUDENT 0232                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6567
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.220
                                                                    As of the petition filing date, the claim is:                $1,650.00                   $1,650.00
            REDACTED STUDENT 0238                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            1655                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.221
                                                                    As of the petition filing date, the claim is:                $2,533.00                   $2,533.00
            REDACTED STUDENT 0242                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            5640
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.222
                                                                    As of the petition filing date, the claim is:                  $705.00                     $705.00
            REDACTED STUDENT 0247                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            4781
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.223
                                                                    As of the petition filing date, the claim is:                $1,100.00                   $1,100.00
            REDACTED STUDENT 0250                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            0929
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.224
                                                                    As of the petition filing date, the claim is:                    $2.00                       $2.00
            REDACTED STUDENT 0264                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            2831                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.225
                                                                    As of the petition filing date, the claim is:                $9,427.00                   $3,350.00
            REDACTED STUDENT 0278                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            4255
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.226
                                                                    As of the petition filing date, the claim is:                  $705.00                     $705.00
            REDACTED STUDENT 0279                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            5057                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.227
                                                                    As of the petition filing date, the claim is:                $4,200.00                   $3,350.00
            REDACTED STUDENT 0288                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7094
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.228
                                                                    As of the petition filing date, the claim is:                $4,200.00                   $3,350.00
            REDACTED STUDENT 0294                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7736
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.229
                                                                    As of the petition filing date, the claim is:                $4,250.00                   $3,350.00
            REDACTED STUDENT 0295                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            7232                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.230
                                                                    As of the petition filing date, the claim is:                $8,540.00                   $3,350.00
            REDACTED STUDENT 0300                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            0288
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.231
                                                                    As of the petition filing date, the claim is:                $3,000.00                   $3,000.00
            REDACTED STUDENT 0301                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            2188
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.232
                                                                    As of the petition filing date, the claim is:                $2,115.00                   $2,115.00
            REDACTED STUDENT 0305                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            1405
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.233
                                                                    As of the petition filing date, the claim is:                   $50.00                      $50.00
            REDACTED STUDENT 0313                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            8975                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.234
                                                                    As of the petition filing date, the claim is:                $1,125.00                   $1,125.00
            REDACTED STUDENT 0340                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6965
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.235
                                                                    As of the petition filing date, the claim is:               $10,900.00                   $3,350.00
            REDACTED STUDENT 0343                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            8951                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.236
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 0373                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            5260
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.237
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 0374                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7846
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.238
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 0391                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6924
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.239
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 0394                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            4460                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.240
                                                                    As of the petition filing date, the claim is:                  $150.00                     $150.00
            REDACTED STUDENT 0396                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7751
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.241
                                                                    As of the petition filing date, the claim is:                $8,400.00                   $3,350.00
            REDACTED STUDENT 0396                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            7751                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.242
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 0398                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            0491
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.243
                                                                    As of the petition filing date, the claim is:                  $300.00                     $300.00
            REDACTED STUDENT 0411                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            9245
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.244
                                                                    As of the petition filing date, the claim is:                  $300.00                     $300.00
            REDACTED STUDENT 0421                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            7543                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.245
                                                                    As of the petition filing date, the claim is:                $1,410.00                   $1,410.00
            REDACTED STUDENT 0433                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            4853
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.246
                                                                    As of the petition filing date, the claim is:                  $150.00                     $150.00
            REDACTED STUDENT 0443                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7295
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.247
                                                                    As of the petition filing date, the claim is:                  $150.00                     $150.00
            REDACTED STUDENT 0444                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7301
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.248
                                                                    As of the petition filing date, the claim is:                  $300.00                     $300.00
            REDACTED STUDENT 0445                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            3797                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.249
                                                                    As of the petition filing date, the claim is:                  $150.00                     $150.00
            REDACTED STUDENT 0448                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7030
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.250
                                                                    As of the petition filing date, the claim is:                  $450.00                     $450.00
            REDACTED STUDENT 0449                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            6025                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.251
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 0463                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            1093
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.252
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 0465                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            0307
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.253
                                                                    As of the petition filing date, the claim is:                $1,100.00                   $1,100.00
            REDACTED STUDENT 0485                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7608
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.254
                                                                    As of the petition filing date, the claim is:                $1,150.00                   $1,150.00
            REDACTED STUDENT 0511                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            7891                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.255
                                                                    As of the petition filing date, the claim is:                $1,650.00                   $1,650.00
            REDACTED STUDENT 0525                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7063
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.256
                                                                    As of the petition filing date, the claim is:                $2,500.00                   $2,500.00
            REDACTED STUDENT 0536                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            2123
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.257
                                                                    As of the petition filing date, the claim is:                  $705.00                     $705.00
            REDACTED STUDENT 0543                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            0761                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.258
                                                                    As of the petition filing date, the claim is:                  $300.00                     $300.00
            REDACTED STUDENT 0546                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            5292
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.259
                                                                    As of the petition filing date, the claim is:                  $300.00                     $300.00
            REDACTED STUDENT 0566                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            5835                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.260
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 0573                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            1701
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.261
                                                                    As of the petition filing date, the claim is:                  $538.00                     $538.00
            REDACTED STUDENT 0575                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            9557
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.262
                                                                    As of the petition filing date, the claim is:                  $150.00                     $150.00
            REDACTED STUDENT 0585                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7745
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.263
                                                                    As of the petition filing date, the claim is:                $1,000.00                   $1,000.00
            REDACTED STUDENT 0599                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            2635                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.264
                                                                    As of the petition filing date, the claim is:                $1,000.00                   $1,000.00
            REDACTED STUDENT 0621                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7086
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.265
                                                                    As of the petition filing date, the claim is:                  $705.00                     $705.00
            REDACTED STUDENT 0625                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            9445                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.266
                                                                    As of the petition filing date, the claim is:                $1,490.00                   $1,490.00
            REDACTED STUDENT 0631                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            5452
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.267
                                                                    As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            REDACTED STUDENT 0634                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            8736
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.268
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 0635                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            4177
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.269
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 0637                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            6801                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.270
                                                                    As of the petition filing date, the claim is:                $3,375.00                   $3,350.00
            REDACTED STUDENT 0649                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            4755
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.271
                                                                    As of the petition filing date, the claim is:                  $300.00                     $300.00
            REDACTED STUDENT 0653                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            5688                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.272
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 0662                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            4588                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.273
                                                                    As of the petition filing date, the claim is:                $2,250.00                   $2,250.00
            REDACTED STUDENT 0670                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7596
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.274
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 0692                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            7752                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.275
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 0702                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            6889                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.276
                                                                    As of the petition filing date, the claim is:                  $150.00                     $150.00
            REDACTED STUDENT 0722                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            5429
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.277
                                                                    As of the petition filing date, the claim is:                $1,100.00                   $1,100.00
            REDACTED STUDENT 0726                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            7797                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.278
                                                                    As of the petition filing date, the claim is:                $1,000.00                   $1,000.00
            REDACTED STUDENT 0728                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            3208
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.279
                                                                    As of the petition filing date, the claim is:                  $300.00                     $300.00
            REDACTED STUDENT 0738                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            1829
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.280
                                                                    As of the petition filing date, the claim is:                $8,370.00                   $3,350.00
            REDACTED STUDENT 0744                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            4288                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.281
                                                                    As of the petition filing date, the claim is:                $1,550.00                   $1,550.00
            REDACTED STUDENT 0766                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7640
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.282
                                                                    As of the petition filing date, the claim is:                  $575.00                     $575.00
            REDACTED STUDENT 0768                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            3358
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.283
                                                                    As of the petition filing date, the claim is:                $2,100.00                   $2,100.00
            REDACTED STUDENT 0772                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7636
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.284
                                                                    As of the petition filing date, the claim is:                  $300.00                     $300.00
            REDACTED STUDENT 0789                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            7517                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.285
                                                                    As of the petition filing date, the claim is:                $8,400.00                   $3,350.00
            REDACTED STUDENT 0793                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            2296
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.286
                                                                    As of the petition filing date, the claim is:                $4,200.00                   $3,350.00
            REDACTED STUDENT 0803                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            6967                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.287
                                                                    As of the petition filing date, the claim is:                  $300.00                     $300.00
            REDACTED STUDENT 0807                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            4092                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.288
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 0808                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            3674
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.289
                                                                    As of the petition filing date, the claim is:                $3,375.00                   $3,350.00
            REDACTED STUDENT 0820                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            8925                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.290
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 0825                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            3315                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.291
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 0829                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            3827
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.292
                                                                    As of the petition filing date, the claim is:                  $150.00                     $150.00
            REDACTED STUDENT 0847                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            2297                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.293
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 0848                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            4935                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.294
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 0861                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            3321
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.295
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 0863                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            9098                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.296
                                                                    As of the petition filing date, the claim is:               $10,000.00                   $3,350.00
            REDACTED STUDENT 0881                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            4253
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.297
                                                                    As of the petition filing date, the claim is:                  $300.00                     $300.00
            REDACTED STUDENT 0901                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            4652
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.298
                                                                    As of the petition filing date, the claim is:                  $150.00                     $150.00
            REDACTED STUDENT 0910                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            5394
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.299
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 0917                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            5461                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.300
                                                                    As of the petition filing date, the claim is:                $2,550.00                   $2,550.00
            REDACTED STUDENT 0921                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6615
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.301
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 0925                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            5287                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.302
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 0946                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            7635                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.303
                                                                    As of the petition filing date, the claim is:                $3,350.00                   $3,350.00
            REDACTED STUDENT 0953                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7637
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.304
                                                                    As of the petition filing date, the claim is:                $3,350.00                   $3,350.00
            REDACTED STUDENT 0973                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            7644                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.305
                                                                    As of the petition filing date, the claim is:                $1,125.00                   $1,125.00
            REDACTED STUDENT 0974                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            7916                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.306
                                                                    As of the petition filing date, the claim is:                $1,410.00                   $1,410.00
            REDACTED STUDENT 0979                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            2746
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.307
                                                                    As of the petition filing date, the claim is:                  $705.00                     $705.00
            REDACTED STUDENT 0980                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            3752                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.308
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 0987                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            6005                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.309
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 0999                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6450
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.310
                                                                    As of the petition filing date, the claim is:                  $300.00                     $300.00
            REDACTED STUDENT 1014                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            5412                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.311
                                                                    As of the petition filing date, the claim is:                  $150.00                     $150.00
            REDACTED STUDENT 1024                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7843
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.312
                                                                    As of the petition filing date, the claim is:                  $705.00                     $705.00
            REDACTED STUDENT 1028                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6175
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.313
                                                                    As of the petition filing date, the claim is:                $1,125.00                   $1,125.00
            REDACTED STUDENT 1040                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6164
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.314
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 1046                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            1719                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.315
                                                                    As of the petition filing date, the claim is:                $2,904.00                   $2,904.00
            REDACTED STUDENT 1062                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            5124
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.316
                                                                    As of the petition filing date, the claim is:                  $705.00                     $705.00
            REDACTED STUDENT 1071                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            4634
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.317
                                                                    As of the petition filing date, the claim is:                $2,275.00                   $2,275.00
            REDACTED STUDENT 1093                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            6260                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.318
                                                                    As of the petition filing date, the claim is:                $2,115.00                   $2,115.00
            REDACTED STUDENT 1115                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            9577
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.319
                                                                    As of the petition filing date, the claim is:                $1,410.00                   $1,410.00
            REDACTED STUDENT 1142                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            5467                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.320
                                                                    As of the petition filing date, the claim is:                  $150.00                     $150.00
            REDACTED STUDENT 1147                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            7285                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.321
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 1160                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            1590
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.322
                                                                    As of the petition filing date, the claim is:                $3,350.00                   $3,350.00
            REDACTED STUDENT 1174                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            7309                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.323
                                                                    As of the petition filing date, the claim is:                  $705.00                     $705.00
            REDACTED STUDENT 1187                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            6106                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.324
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 1195                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            4748
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.325
                                                                    As of the petition filing date, the claim is:                $9,030.00                   $3,350.00
            REDACTED STUDENT 1213                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            5229                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.326
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 1229                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            4919
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.327
                                                                    As of the petition filing date, the claim is:                $4,200.00                   $3,350.00
            REDACTED STUDENT 1246                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6599
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.328
                                                                    As of the petition filing date, the claim is:                $1,850.00                   $1,850.00
            REDACTED STUDENT 1255                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            6050                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.329
                                                                    As of the petition filing date, the claim is:                $1,000.00                   $1,000.00
            REDACTED STUDENT 1281                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7547
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.330
                                                                    As of the petition filing date, the claim is:                $2,450.00                   $2,450.00
            REDACTED STUDENT 1303                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7686
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.331
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 1304                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            4179
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.332
                                                                    As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            REDACTED STUDENT 1319                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            8588                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.333
                                                                    As of the petition filing date, the claim is:                $1,410.00                   $1,410.00
            REDACTED STUDENT 1326                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            0838
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.334
                                                                    As of the petition filing date, the claim is:                $1,125.00                   $1,125.00
            REDACTED STUDENT 1353                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            6253                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.335
                                                                    As of the petition filing date, the claim is:                $2,250.00                   $2,250.00
            REDACTED STUDENT 1362                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            5252                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.336
                                                                    As of the petition filing date, the claim is:                $3,400.00                   $3,350.00
            REDACTED STUDENT 1365                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            0036
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.337
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 1366                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            5550                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.338
                                                                    As of the petition filing date, the claim is:                $4,200.00                   $3,350.00
            REDACTED STUDENT 1377                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            3073                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.339
                                                                    As of the petition filing date, the claim is:                $3,500.00                   $3,350.00
            REDACTED STUDENT 1379                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            9715
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.340
                                                                    As of the petition filing date, the claim is:                  $450.00                     $450.00
            REDACTED STUDENT 1398                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            5011                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.341
                                                                    As of the petition filing date, the claim is:                  $705.00                     $705.00
            REDACTED STUDENT 1402                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            5896                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.342
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 1414                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            4026
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.343
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 1420                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            5019                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.344
                                                                    As of the petition filing date, the claim is:                  $480.00                     $480.00
            REDACTED STUDENT 1421                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            4199
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.345
                                                                    As of the petition filing date, the claim is:                  $737.50                     $737.50
            REDACTED STUDENT 1425                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            8246
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.346
                                                                    As of the petition filing date, the claim is:                  $150.00                     $150.00
            REDACTED STUDENT 1428                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7347
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.347
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 1435                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            4955                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.348
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 1436                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            2471
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.349
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 1451                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            4458                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.350
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 1459                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            4498                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.351
                                                                    As of the petition filing date, the claim is:                  $695.00                     $695.00
            REDACTED STUDENT 1466                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            1144
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.352
                                                                    As of the petition filing date, the claim is:                  $705.00                     $705.00
            REDACTED STUDENT 1475                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            5958                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.353
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 1479                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            5093                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.354
                                                                    As of the petition filing date, the claim is:                $5,050.00                   $3,350.00
            REDACTED STUDENT 1506                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6811
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.355
                                                                    As of the petition filing date, the claim is:                  $705.00                     $705.00
            REDACTED STUDENT 1540                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            4789                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.356
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 1556                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            2138                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.357
                                                                    As of the petition filing date, the claim is:                $6,300.00                   $3,350.00
            REDACTED STUDENT 1558                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            9129
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.358
                                                                    As of the petition filing date, the claim is:                $3,500.00                   $3,350.00
            REDACTED STUDENT 1568                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            1008                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.359
                                                                    As of the petition filing date, the claim is:                $1,410.00                   $1,410.00
            REDACTED STUDENT 1569                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            0328
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.360
                                                                    As of the petition filing date, the claim is:                $1,125.00                   $1,125.00
            REDACTED STUDENT 1574                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            9739
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.361
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 1589                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            4805
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.362
                                                                    As of the petition filing date, the claim is:                  $300.00                     $300.00
            REDACTED STUDENT 1594                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            6804                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.363
                                                                    As of the petition filing date, the claim is:                  $300.00                     $300.00
            REDACTED STUDENT 1598                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            9416
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.364
                                                                    As of the petition filing date, the claim is:                $1,100.00                   $1,100.00
            REDACTED STUDENT 1619                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            5056                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.365
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 1623                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            5170                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.366
                                                                    As of the petition filing date, the claim is:                  $705.00                     $705.00
            REDACTED STUDENT 1624                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            0174
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.367
                                                                    As of the petition filing date, the claim is:                  $150.00                     $150.00
            REDACTED STUDENT 1626                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            2327                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.368
                                                                    As of the petition filing date, the claim is:                $8,425.00                   $3,350.00
            REDACTED STUDENT 1626                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            2327                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.369
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 1628                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            5470
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.370
                                                                    As of the petition filing date, the claim is:                $2,200.00                   $2,200.00
            REDACTED STUDENT 1644                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            7777                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.371
                                                                    As of the petition filing date, the claim is:                $6,300.00                   $3,350.00
            REDACTED STUDENT 1649                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            6723                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.372
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 1670                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            3910
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.373
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 1677                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            4782                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.374
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 1685                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7470
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.375
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 1718                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            4582
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.376
                                                                    As of the petition filing date, the claim is:                $2,700.00                   $2,700.00
            REDACTED STUDENT 1719                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7410
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.377
                                                                    As of the petition filing date, the claim is:                $1,100.00                   $1,100.00
            REDACTED STUDENT 1724                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            0618                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.378
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 1746                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            4451
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.379
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 1747                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            9522
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.380
                                                                    As of the petition filing date, the claim is:                $2,250.00                   $2,250.00
            REDACTED STUDENT 1756                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            7104                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.381
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 1758                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            4185
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.382
                                                                    As of the petition filing date, the claim is:                $1,650.00                   $1,650.00
            REDACTED STUDENT 1769                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            6032                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.383
                                                                    As of the petition filing date, the claim is:                  $300.00                     $300.00
            REDACTED STUDENT 1782                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            3216                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.384
                                                                    As of the petition filing date, the claim is:                $1,100.00                   $1,100.00
            REDACTED STUDENT 1799                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            2521
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.385
                                                                    As of the petition filing date, the claim is:                $2,550.00                   $2,550.00
            REDACTED STUDENT 1811                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            5059                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.386
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 1826                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            5112                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.387
                                                                    As of the petition filing date, the claim is:                $1,125.00                   $1,125.00
            REDACTED STUDENT 1843                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            2819
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.388
                                                                    As of the petition filing date, the claim is:                $1,125.00                   $1,125.00
            REDACTED STUDENT 1850                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            5164                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.389
                                                                    As of the petition filing date, the claim is:                  $300.00                     $300.00
            REDACTED STUDENT 1861                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            4812
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.390
                                                                    As of the petition filing date, the claim is:                  $150.00                     $150.00
            REDACTED STUDENT 1871                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7274
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.391
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 1882                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            1804                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.392
                                                                    As of the petition filing date, the claim is:                  $300.00                     $300.00
            REDACTED STUDENT 1887                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7298
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.393
                                                                    As of the petition filing date, the claim is:                  $705.00                     $705.00
            REDACTED STUDENT 1912                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            1129
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.394
                                                                    As of the petition filing date, the claim is:                  $450.00                     $450.00
            REDACTED STUDENT 1929                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            0439
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.395
                                                                    As of the petition filing date, the claim is:                  $150.00                     $150.00
            REDACTED STUDENT 1933                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            6915                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.396
                                                                    As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            REDACTED STUDENT 1955                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            2865
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.397
                                                                    As of the petition filing date, the claim is:                $2,200.00                   $2,200.00
            REDACTED STUDENT 1960                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            2349                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.398
                                                                    As of the petition filing date, the claim is:                  $705.00                     $705.00
            REDACTED STUDENT 1972                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            0355                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.399
                                                                    As of the petition filing date, the claim is:                  $242.00                     $242.00
            REDACTED STUDENT 1976                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            0449
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.400
                                                                    As of the petition filing date, the claim is:                  $300.00                     $300.00
            REDACTED STUDENT 1997                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            4989                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.401
                                                                    As of the petition filing date, the claim is:                  $705.00                     $705.00
            REDACTED STUDENT 2005                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            7458                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.402
                                                                    As of the petition filing date, the claim is:                  $705.00                     $705.00
            REDACTED STUDENT 2009                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            9153
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.403
                                                                    As of the petition filing date, the claim is:                  $150.00                     $150.00
            REDACTED STUDENT 2011                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            7742                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.404
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 2034                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            6891                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.405
                                                                    As of the petition filing date, the claim is:                  $650.00                     $650.00
            REDACTED STUDENT 2037                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7494
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.406
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 2039                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            0044                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.407
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 2046                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            5166
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.408
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 2064                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6545
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.409
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 2067                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6653
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.410
                                                                    As of the petition filing date, the claim is:                  $300.00                     $300.00
            REDACTED STUDENT 2068                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            3525                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.411
                                                                    As of the petition filing date, the claim is:                $1,125.00                   $1,125.00
            REDACTED STUDENT 2078                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6687
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.412
                                                                    As of the petition filing date, the claim is:                $1,100.00                   $1,100.00
            REDACTED STUDENT 2103                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            2552                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.413
                                                                    As of the petition filing date, the claim is:                $1,100.00                   $1,100.00
            REDACTED STUDENT 2110                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            2537                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.414
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 2114                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            1327
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.415
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 2116                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            4401                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.416
                                                                    As of the petition filing date, the claim is:                  $300.00                     $300.00
            REDACTED STUDENT 2117                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            5347                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.417
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 2118                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6154
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.418
                                                                    As of the petition filing date, the claim is:                $3,400.00                   $3,350.00
            REDACTED STUDENT 2119                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            2079                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.419
                                                                    As of the petition filing date, the claim is:                $4,200.00                   $3,350.00
            REDACTED STUDENT 2130                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            7200                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.420
                                                                    As of the petition filing date, the claim is:                $1,100.00                   $1,100.00
            REDACTED STUDENT 2135                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7904
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.421
                                                                    As of the petition filing date, the claim is:                $2,250.00                   $2,250.00
            REDACTED STUDENT 2141                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            7057                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.422
                                                                    As of the petition filing date, the claim is:                $2,950.00                   $2,950.00
            REDACTED STUDENT 2152                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7061
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.423
                                                                    As of the petition filing date, the claim is:                $2,275.00                   $2,275.00
            REDACTED STUDENT 2168                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7394
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.424
                                                                    As of the petition filing date, the claim is:                $1,500.00                   $1,500.00
            REDACTED STUDENT 2181                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7412
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.425
                                                                    As of the petition filing date, the claim is:                $4,200.00                   $3,350.00
            REDACTED STUDENT 2191                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            7344                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.426
                                                                    As of the petition filing date, the claim is:                  $300.00                     $300.00
            REDACTED STUDENT 2192                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            1694
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.427
                                                                    As of the petition filing date, the claim is:                $2,428.86                   $2,428.86
            REDACTED STUDENT 2193                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            2132
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.428
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 2199                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            6401                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.429
                                                                    As of the petition filing date, the claim is:                $1,150.00                   $1,150.00
            REDACTED STUDENT 2217                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7384
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.430
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 2230                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            5827                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.431
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 2243                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            4753                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.432
                                                                    As of the petition filing date, the claim is:                $1,500.00                   $1,500.00
            REDACTED STUDENT 2281                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7214
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.433
                                                                    As of the petition filing date, the claim is:                $4,200.00                   $3,350.00
            REDACTED STUDENT 2283                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            6056                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.434
                                                                    As of the petition filing date, the claim is:                $1,000.00                   $1,000.00
            REDACTED STUDENT 2286                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            7143                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.435
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 2288                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            9991
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.436
                                                                    As of the petition filing date, the claim is:                $2,325.00                   $2,325.00
            REDACTED STUDENT 2292                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            3945                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.437
                                                                    As of the petition filing date, the claim is:                $1,100.00                   $1,100.00
            REDACTED STUDENT 2295                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            2322
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.438
                                                                    As of the petition filing date, the claim is:                   $29.00                      $29.00
            REDACTED STUDENT 2298                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            9405
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.439
                                                                    As of the petition filing date, the claim is:                $4,750.00                   $3,350.00
            REDACTED STUDENT 2306                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6996
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.440
                                                                    As of the petition filing date, the claim is:                $3,300.00                   $3,300.00
            REDACTED STUDENT 2326                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            2933
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.441
                                                                    As of the petition filing date, the claim is:                   $62.00                      $62.00
            REDACTED STUDENT 2328                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7516
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.442
                                                                    As of the petition filing date, the claim is:                $3,350.00                   $3,350.00
            REDACTED STUDENT 2332                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6752
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.443
                                                                    As of the petition filing date, the claim is:                $1,100.00                   $1,100.00
            REDACTED STUDENT 2347                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            6923                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.444
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 2352                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            3527
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.445
                                                                    As of the petition filing date, the claim is:                  $450.00                     $450.00
            REDACTED STUDENT 2361                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            7695                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.446
                                                                    As of the petition filing date, the claim is:                   $50.00                      $50.00
            REDACTED STUDENT 2367                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            7550                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.447
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 2372                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            9481
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.448
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 2380                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            6830                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.449
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 2384                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            3429                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.450
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 2386                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            9679
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.451
                                                                    As of the petition filing date, the claim is:                $2,200.00                   $2,200.00
            REDACTED STUDENT 2388                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            3074                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.452
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 2393                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            5871
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.453
                                                                    As of the petition filing date, the claim is:                  $300.00                     $300.00
            REDACTED STUDENT 2397                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            1140
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.454
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 2399                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            4045                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.455
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 2404                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            5610
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.456
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 2406                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6136
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.457
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 2417                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            4096
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.458
                                                                    As of the petition filing date, the claim is:                  $705.00                     $705.00
            REDACTED STUDENT 2418                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            5593                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.459
                                                                    As of the petition filing date, the claim is:                $2,200.00                   $2,200.00
            REDACTED STUDENT 2432                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            8765
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.460
                                                                    As of the petition filing date, the claim is:                $3,195.00                   $3,195.00
            REDACTED STUDENT 2462                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            2770                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.461
                                                                    As of the petition filing date, the claim is:                  $450.00                     $450.00
            REDACTED STUDENT 2477                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            6699                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.462
                                                                    As of the petition filing date, the claim is:                $1,150.00                   $1,150.00
            REDACTED STUDENT 2480                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            9024
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.463
                                                                    As of the petition filing date, the claim is:                  $450.00                     $450.00
            REDACTED STUDENT 2481                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            4811                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.464
                                                                    As of the petition filing date, the claim is:                $6,300.00                   $3,350.00
            REDACTED STUDENT 2513                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            5569                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.465
                                                                    As of the petition filing date, the claim is:                $7,337.50                   $3,350.00
            REDACTED STUDENT 2519                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            2521
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.466
                                                                    As of the petition filing date, the claim is:                  $705.00                     $705.00
            REDACTED STUDENT 2526                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            5521                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.467
                                                                    As of the petition filing date, the claim is:                $9,040.00                   $3,350.00
            REDACTED STUDENT 2528                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            0203                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.468
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 2539                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7157
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.469
                                                                    As of the petition filing date, the claim is:                  $705.00                     $705.00
            REDACTED STUDENT 2559                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            0537                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.470
                                                                    As of the petition filing date, the claim is:                  $705.00                     $705.00
            REDACTED STUDENT 2564                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            5917
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.471
                                                                    As of the petition filing date, the claim is:                  $450.00                     $450.00
            REDACTED STUDENT 2565                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            0721
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.472
                                                                    As of the petition filing date, the claim is:                $1,125.00                   $1,125.00
            REDACTED STUDENT 2575                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            2487
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.473
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 2587                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            4294                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.474
                                                                    As of the petition filing date, the claim is:                $8,495.00                   $3,350.00
            REDACTED STUDENT 2589                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7447
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.475
                                                                    As of the petition filing date, the claim is:                $2,900.00                   $2,900.00
            REDACTED STUDENT 2597                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            9117                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.476
                                                                    As of the petition filing date, the claim is:                  $270.00                     $270.00
            REDACTED STUDENT 2601                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            6583                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.477
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 2618                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            2189
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.478
                                                                    As of the petition filing date, the claim is:                  $440.00                     $440.00
            REDACTED STUDENT 2621                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            5330                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.479
                                                                    As of the petition filing date, the claim is:                  $705.00                     $705.00
            REDACTED STUDENT 2629                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            2038                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.480
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 2651                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            4191
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.481
                                                                    As of the petition filing date, the claim is:                  $450.00                     $450.00
            REDACTED STUDENT 2667                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            6725                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.482
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 2682                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            4594                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.483
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 2687                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            3633
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.484
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 2689                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            4824                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.485
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 2693                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            3503
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.486
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 2717                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6111
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.487
                                                                    As of the petition filing date, the claim is:                $9,030.00                   $3,350.00
            REDACTED STUDENT 2735                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            0473
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.488
                                                                    As of the petition filing date, the claim is:                  $300.00                     $300.00
            REDACTED STUDENT 2749                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            6322                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.489
                                                                    As of the petition filing date, the claim is:                  $300.00                     $300.00
            REDACTED STUDENT 2776                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6548
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.490
                                                                    As of the petition filing date, the claim is:                  $650.00                     $650.00
            REDACTED STUDENT 2781                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7036
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.491
                                                                    As of the petition filing date, the claim is:                  $705.00                     $705.00
            REDACTED STUDENT 2783                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            6868                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.492
                                                                    As of the petition filing date, the claim is:                  $150.00                     $150.00
            REDACTED STUDENT 2789                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7824
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.493
                                                                    As of the petition filing date, the claim is:                $1,125.00                   $1,125.00
            REDACTED STUDENT 2797                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            0923                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.494
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 2802                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            3947                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.495
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 2818                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            4640
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.496
                                                                    As of the petition filing date, the claim is:                  $300.00                     $300.00
            REDACTED STUDENT 2830                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            7650                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.497
                                                                    As of the petition filing date, the claim is:                $1,125.00                   $1,125.00
            REDACTED STUDENT 2839                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            9296                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.498
                                                                    As of the petition filing date, the claim is:                  $300.00                     $300.00
            REDACTED STUDENT 2845                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            5011
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.499
                                                                    As of the petition filing date, the claim is:                  $150.00                     $150.00
            REDACTED STUDENT 2848                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            0986                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.500
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 2859                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            3638
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.501
                                                                    As of the petition filing date, the claim is:                $3,350.00                   $3,350.00
            REDACTED STUDENT 2875                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7625
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.502
                                                                    As of the petition filing date, the claim is:                $1,410.00                   $1,410.00
            REDACTED STUDENT 2877                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            0940                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.503
                                                                    As of the petition filing date, the claim is:                $1,650.00                   $1,650.00
            REDACTED STUDENT 2880                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7303
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.504
                                                                    As of the petition filing date, the claim is:                $1,731.00                   $1,731.00
            REDACTED STUDENT 2895                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            4100
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.505
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 2910                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7749
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.506
                                                                    As of the petition filing date, the claim is:                  $150.00                     $150.00
            REDACTED STUDENT 2920                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            7257                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.507
                                                                    As of the petition filing date, the claim is:                   $50.00                      $50.00
            REDACTED STUDENT 2921                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            0907
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.508
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 2927                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            3258                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.509
                                                                    As of the petition filing date, the claim is:                $2,500.00                   $2,500.00
            REDACTED STUDENT 2929                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            7361                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.510
                                                                    As of the petition filing date, the claim is:                $5,050.00                   $3,350.00
            REDACTED STUDENT 2930                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6574
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.511
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 2944                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            6389                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.512
                                                                    As of the petition filing date, the claim is:                $3,300.00                   $3,300.00
            REDACTED STUDENT 2951                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            6624                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.513
                                                                    As of the petition filing date, the claim is:                   $53.60                      $53.60
            REDACTED STUDENT 2956                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            9889
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.514
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 2957                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            2105                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.515
                                                                    As of the petition filing date, the claim is:                  $300.00                     $300.00
            REDACTED STUDENT 2970                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            5896                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.516
                                                                    As of the petition filing date, the claim is:                $6,475.00                   $3,350.00
            REDACTED STUDENT 2976                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            4567
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.517
                                                                    As of the petition filing date, the claim is:                  $705.00                     $705.00
            REDACTED STUDENT 2978                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            0543                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.518
                                                                    As of the petition filing date, the claim is:                $1,410.00                   $1,410.00
            REDACTED STUDENT 2979                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            9421
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.519
                                                                    As of the petition filing date, the claim is:                $1,860.00                   $1,860.00
            REDACTED STUDENT 2983                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            5008
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.520
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 2987                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            2201
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.521
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 3002                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            5819                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.522
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 3004                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7187
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.523
                                                                    As of the petition filing date, the claim is:                $2,800.00                   $2,800.00
            REDACTED STUDENT 3029                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            7199                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.524
                                                                    As of the petition filing date, the claim is:                  $300.00                     $300.00
            REDACTED STUDENT 3030                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            7069                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.525
                                                                    As of the petition filing date, the claim is:                  $300.00                     $300.00
            REDACTED STUDENT 3033                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            5902
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.526
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 3035                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            6503                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.527
                                                                    As of the petition filing date, the claim is:                  $300.00                     $300.00
            REDACTED STUDENT 3040                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            5740                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.528
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 3056                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            4655
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.529
                                                                    As of the petition filing date, the claim is:                  $705.00                     $705.00
            REDACTED STUDENT 3057                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            0702                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.530
                                                                    As of the petition filing date, the claim is:                  $150.00                     $150.00
            REDACTED STUDENT 3094                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            7682                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.531
                                                                    As of the petition filing date, the claim is:                  $575.00                     $575.00
            REDACTED STUDENT 3103                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            2137
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.532
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 3138                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            4526                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.533
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 3151                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            5791
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.534
                                                                    As of the petition filing date, the claim is:                  $705.00                     $705.00
            REDACTED STUDENT 3157                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6654
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.535
                                                                    As of the petition filing date, the claim is:                  $705.00                     $705.00
            REDACTED STUDENT 3159                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            8762
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.536
                                                                    As of the petition filing date, the claim is:                $1,125.00                   $1,125.00
            REDACTED STUDENT 3188                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            7766                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.537
                                                                    As of the petition filing date, the claim is:                $2,200.00                   $2,200.00
            REDACTED STUDENT 3191                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            2655
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.538
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 3192                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6226
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.539
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 3229                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            3413                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.540
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 3232                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6041
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.541
                                                                    As of the petition filing date, the claim is:                  $307.37                     $307.37
            REDACTED STUDENT 3242                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6145
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.542
                                                                    As of the petition filing date, the claim is:                $1,150.00                   $1,150.00
            REDACTED STUDENT 3243                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7722
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.543
                                                                    As of the petition filing date, the claim is:                $3,250.00                   $3,250.00
            REDACTED STUDENT 3246                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            1125
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.544
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 3266                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7432
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.545
                                                                    As of the petition filing date, the claim is:                $2,500.00                   $2,500.00
            REDACTED STUDENT 3277                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6613
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.546
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 3280                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6438
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.547
                                                                    As of the petition filing date, the claim is:                  $300.00                     $300.00
            REDACTED STUDENT 3281                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            5950                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.548
                                                                    As of the petition filing date, the claim is:                  $150.00                     $150.00
            REDACTED STUDENT 3309                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7270
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.549
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 3336                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            5115
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.550
                                                                    As of the petition filing date, the claim is:                $3,000.00                   $3,000.00
            REDACTED STUDENT 3339                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            4875                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.551
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 3350                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            4003
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.552
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 3379                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            4688
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.553
                                                                    As of the petition filing date, the claim is:                $2,360.00                   $2,360.00
            REDACTED STUDENT 3399                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            2660                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.554
                                                                    As of the petition filing date, the claim is:                  $300.00                     $300.00
            REDACTED STUDENT 3404                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            5635
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.555
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 3414                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            3803
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.556
                                                                    As of the petition filing date, the claim is:                $2,800.00                   $2,800.00
            REDACTED STUDENT 3431                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            5218                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.557
                                                                    As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            REDACTED STUDENT 3436                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            1589
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.558
                                                                    As of the petition filing date, the claim is:                $3,350.00                   $3,350.00
            REDACTED STUDENT 3474                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6569
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.559
                                                                    As of the petition filing date, the claim is:                $3,350.00                   $3,350.00
            REDACTED STUDENT 3499                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6059
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.560
                                                                    As of the petition filing date, the claim is:                  $150.00                     $150.00
            REDACTED STUDENT 3509                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            2220                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.561
                                                                    As of the petition filing date, the claim is:                  $705.00                     $705.00
            REDACTED STUDENT 3557                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            4320
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.562
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 3564                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            5943
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.563
                                                                    As of the petition filing date, the claim is:                  $650.00                     $650.00
            REDACTED STUDENT 3575                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            5169                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.564
                                                                    As of the petition filing date, the claim is:                  $300.00                     $300.00
            REDACTED STUDENT 3580                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            0452
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.565
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 3589                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            5272
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.566
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 3611                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            5122                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.567
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 3631                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7251
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.568
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 3632                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            4609
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.569
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 3637                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            9653                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.570
                                                                    As of the petition filing date, the claim is:                $4,200.00                   $3,350.00
            REDACTED STUDENT 3640                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            5998
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.571
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 3651                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            4060
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.572
                                                                    As of the petition filing date, the claim is:                $4,200.00                   $3,350.00
            REDACTED STUDENT 3665                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6318
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.573
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 3666                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7190
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.574
                                                                    As of the petition filing date, the claim is:                  $300.00                     $300.00
            REDACTED STUDENT 3670                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7631
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.575
                                                                    As of the petition filing date, the claim is:                  $718.00                     $718.00
            REDACTED STUDENT 3677                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6988
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.576
                                                                    As of the petition filing date, the claim is:                  $225.00                     $225.00
            REDACTED STUDENT 3687                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            0232
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.577
                                                                    As of the petition filing date, the claim is:                $1,125.00                   $1,125.00
            REDACTED STUDENT 3694                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            5275
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.578
                                                                    As of the petition filing date, the claim is:                $1,150.00                   $1,150.00
            REDACTED STUDENT 3712                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6876
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.579
                                                                    As of the petition filing date, the claim is:                  $150.00                     $150.00
            REDACTED STUDENT 3713                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6970
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.580
                                                                    As of the petition filing date, the claim is:                $1,850.00                   $1,850.00
            REDACTED STUDENT 3726                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            7312                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.581
                                                                    As of the petition filing date, the claim is:                $1,100.00                   $1,100.00
            REDACTED STUDENT 3732                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7552
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.582
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 3734                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            4863
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.583
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 3743                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            5833                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.584
                                                                    As of the petition filing date, the claim is:                  $150.00                     $150.00
            REDACTED STUDENT 3758                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7681
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.585
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 3768                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6697
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.586
                                                                    As of the petition filing date, the claim is:                $2,250.00                   $2,250.00
            REDACTED STUDENT 3770                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            1321                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.587
                                                                    As of the petition filing date, the claim is:                $1,100.00                   $1,100.00
            REDACTED STUDENT 3774                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            8948
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.588
                                                                    As of the petition filing date, the claim is:                $4,200.00                   $3,350.00
            REDACTED STUDENT 3779                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7004
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.589
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 3780                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            5039                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.590
                                                                    As of the petition filing date, the claim is:                  $300.00                     $300.00
            REDACTED STUDENT 3793                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7046
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.591
                                                                    As of the petition filing date, the claim is:                  $300.00                     $300.00
            REDACTED STUDENT 3798                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            3533
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.592
                                                                    As of the petition filing date, the claim is:                $4,200.00                   $3,350.00
            REDACTED STUDENT 3802                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            5367
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.593
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 3805                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            4816                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.594
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 3832                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            5189
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.595
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 3841                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            2332
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.596
                                                                    As of the petition filing date, the claim is:                $1,850.00                   $1,850.00
            REDACTED STUDENT 3845                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            7195                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.597
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 3852                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            4404
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.598
                                                                    As of the petition filing date, the claim is:                $2,100.00                   $2,100.00
            REDACTED STUDENT 3860                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            8099
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.599
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 3864                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            9005                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.600
                                                                    As of the petition filing date, the claim is:                  $150.00                     $150.00
            REDACTED STUDENT 3867                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            2081
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.601
                                                                    As of the petition filing date, the claim is:                  $150.00                     $150.00
            REDACTED STUDENT 3868                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7374
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.602
                                                                    As of the petition filing date, the claim is:                $1,000.00                   $1,000.00
            REDACTED STUDENT 3881                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            3076                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.603
                                                                    As of the petition filing date, the claim is:                $6,755.00                   $3,350.00
            REDACTED STUDENT 3887                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            0183
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.604
                                                                    As of the petition filing date, the claim is:                $3,375.00                   $3,350.00
            REDACTED STUDENT 3891                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            8115
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.605
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 3892                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7629
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
                                   Case 24-12140-BLS                  Doc 1         Filed 09/13/24                  Page 244 of 1042

  2.606
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 3897                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            5993
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.607
                                                                    As of the petition filing date, the claim is:                $8,530.00                   $3,350.00
            REDACTED STUDENT 3899                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6096
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.608
                                                                    As of the petition filing date, the claim is:                $3,550.00                   $3,350.00
            REDACTED STUDENT 3902                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7131
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.609
                                                                    As of the petition filing date, the claim is:                $4,550.00                   $3,350.00
            REDACTED STUDENT 3907                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6604
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.610
                                                                    As of the petition filing date, the claim is:                $3,550.00                   $3,350.00
            REDACTED STUDENT 3913                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            7032                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.611
                                                                    As of the petition filing date, the claim is:                  $300.00                     $300.00
            REDACTED STUDENT 3914                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            5722
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.612
                                                                    As of the petition filing date, the claim is:                   $25.00                      $25.00
            REDACTED STUDENT 3923                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            9180
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.613
                                                                    As of the petition filing date, the claim is:                  $684.00                     $684.00
            REDACTED STUDENT 3926                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            5764                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.614
                                                                    As of the petition filing date, the claim is:                  $150.00                     $150.00
            REDACTED STUDENT 3942                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7305
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.615
                                                                    As of the petition filing date, the claim is:                  $650.00                     $650.00
            REDACTED STUDENT 3952                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7791
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.616
                                                                    As of the petition filing date, the claim is:                  $705.00                     $705.00
            REDACTED STUDENT 3953                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            7625                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.617
                                                                    As of the petition filing date, the claim is:                $9,974.00                   $3,350.00
            REDACTED STUDENT 3954                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            4661
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.618
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 3959                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            4467
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.619
                                                                    As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            REDACTED STUDENT 3964                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            4763                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.620
                                                                    As of the petition filing date, the claim is:                $4,200.00                   $3,350.00
            REDACTED STUDENT 3977                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6597
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.621
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 3978                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            8407
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.622
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 3980                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            5108
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.623
                                                                    As of the petition filing date, the claim is:                $2,250.00                   $2,250.00
            REDACTED STUDENT 3989                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            7567                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.624
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 3996                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            3956
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.625
                                                                    As of the petition filing date, the claim is:                  $150.00                     $150.00
            REDACTED STUDENT 4007                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7672
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.626
                                                                    As of the petition filing date, the claim is:                $2,325.00                   $2,325.00
            REDACTED STUDENT 4008                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            7468                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.627
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 4012                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6007
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.628
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 4040                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            2245
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.629
                                                                    As of the petition filing date, the claim is:                  $705.00                     $705.00
            REDACTED STUDENT 4049                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            5914                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.630
                                                                    As of the petition filing date, the claim is:                    $4.00                       $4.00
            REDACTED STUDENT 4055                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            9345
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.631
                                                                    As of the petition filing date, the claim is:                $1,125.00                   $1,125.00
            REDACTED STUDENT 4063                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6724
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.632
                                                                    As of the petition filing date, the claim is:                  $705.00                     $705.00
            REDACTED STUDENT 4077                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            0390                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.633
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 4084                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            1468
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.634
                                                                    As of the petition filing date, the claim is:                  $150.00                     $150.00
            REDACTED STUDENT 4102                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7316
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.635
                                                                    As of the petition filing date, the claim is:                  $650.00                     $650.00
            REDACTED STUDENT 4111                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7851
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.636
                                                                    As of the petition filing date, the claim is:                  $705.00                     $705.00
            REDACTED STUDENT 4131                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7785
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.637
                                                                    As of the petition filing date, the claim is:                  $705.00                     $705.00
            REDACTED STUDENT 4135                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            9249
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.638
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 4157                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            4897
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.639
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 4168                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7024
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.640
                                                                    As of the petition filing date, the claim is:                $1,650.00                   $1,650.00
            REDACTED STUDENT 4179                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7675
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.641
                                                                    As of the petition filing date, the claim is:                $2,500.00                   $2,500.00
            REDACTED STUDENT 4185                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            8869
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.642
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 4186                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            3312
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.643
                                                                    As of the petition filing date, the claim is:                $4,318.00                   $3,350.00
            REDACTED STUDENT 4202                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            5756                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.644
                                                                    As of the petition filing date, the claim is:                  $100.00                     $100.00
            REDACTED STUDENT 4222                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6005
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.645
                                                                    As of the petition filing date, the claim is:                  $150.00                     $150.00
            REDACTED STUDENT 4238                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7648
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.646
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 4255                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            4910                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.647
                                                                    As of the petition filing date, the claim is:                $2,150.00                   $2,150.00
            REDACTED STUDENT 4260                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            9342
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.648
                                                                    As of the petition filing date, the claim is:                  $300.00                     $300.00
            REDACTED STUDENT 4274                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6462
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.649
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 4285                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            3958                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.650
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 4286                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            5861
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.651
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 4305                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            4029
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.652
                                                                    As of the petition filing date, the claim is:                $1,410.00                   $1,410.00
            REDACTED STUDENT 4329                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            1464                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.653
                                                                    As of the petition filing date, the claim is:                $1,125.00                   $1,125.00
            REDACTED STUDENT 4344                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7921
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.654
                                                                    As of the petition filing date, the claim is:                  $705.00                     $705.00
            REDACTED STUDENT 4352                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            1410
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.655
                                                                    As of the petition filing date, the claim is:                  $300.00                     $300.00
            REDACTED STUDENT 4356                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            5754
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.656
                                                                    As of the petition filing date, the claim is:                  $145.00                     $145.00
            REDACTED STUDENT 4360                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            2813                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.657
                                                                    As of the petition filing date, the claim is:                  $300.00                     $300.00
            REDACTED STUDENT 4365                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7811
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.658
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 4385                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7082
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.659
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 4389                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            4694                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.660
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 4395                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            3953
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.661
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 4404                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6910
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.662
                                                                    As of the petition filing date, the claim is:                $1,125.00                   $1,125.00
            REDACTED STUDENT 4411                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            7944                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.663
                                                                    As of the petition filing date, the claim is:                  $705.00                     $705.00
            REDACTED STUDENT 4418                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            4544
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.664
                                                                    As of the petition filing date, the claim is:                  $150.00                     $150.00
            REDACTED STUDENT 4461                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6958
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.665
                                                                    As of the petition filing date, the claim is:                $1,650.00                   $1,650.00
            REDACTED STUDENT 4464                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            4967                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.666
                                                                    As of the petition filing date, the claim is:                $2,200.00                   $2,200.00
            REDACTED STUDENT 4471                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            3153
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.667
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 4484                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            4758
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.668
                                                                    As of the petition filing date, the claim is:                $3,337.50                   $3,337.50
            REDACTED STUDENT 4500                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            0754
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.669
                                                                    As of the petition filing date, the claim is:                  $225.00                     $225.00
            REDACTED STUDENT 4528                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            5518
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.670
                                                                    As of the petition filing date, the claim is:                  $300.00                     $300.00
            REDACTED STUDENT 4532                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            4997
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.671
                                                                    As of the petition filing date, the claim is:                $2,200.00                   $2,200.00
            REDACTED STUDENT 4539                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7351
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.672
                                                                    As of the petition filing date, the claim is:                $1,125.00                   $1,125.00
            REDACTED STUDENT 4540                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7038
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.673
                                                                    As of the petition filing date, the claim is:                  $150.00                     $150.00
            REDACTED STUDENT 4543                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            7422                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.674
                                                                    As of the petition filing date, the claim is:                $1,125.00                   $1,125.00
            REDACTED STUDENT 4552                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7718
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.675
                                                                    As of the petition filing date, the claim is:                  $300.00                     $300.00
            REDACTED STUDENT 4556                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            5856
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.676
                                                                    As of the petition filing date, the claim is:                $2,200.00                   $2,200.00
            REDACTED STUDENT 4562                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            2226                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.677
                                                                    As of the petition filing date, the claim is:                  $300.00                     $300.00
            REDACTED STUDENT 4567                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6129
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.678
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 4572                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            5135
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.679
                                                                    As of the petition filing date, the claim is:                  $575.00                     $575.00
            REDACTED STUDENT 4575                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            5603                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.680
                                                                    As of the petition filing date, the claim is:                  $300.00                     $300.00
            REDACTED STUDENT 4586                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            5906
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.681
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 4598                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            5383
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.682
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 4611                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            1581                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.683
                                                                    As of the petition filing date, the claim is:                  $300.00                     $300.00
            REDACTED STUDENT 4612                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            2756
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.684
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 4636                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            0420
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.685
                                                                    As of the petition filing date, the claim is:                  $150.00                     $150.00
            REDACTED STUDENT 4638                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            5133
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.686
                                                                    As of the petition filing date, the claim is:                $1,150.00                   $1,150.00
            REDACTED STUDENT 4641                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            6681                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.687
                                                                    As of the petition filing date, the claim is:                   $50.00                      $50.00
            REDACTED STUDENT 4643                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            3512
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.688
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 4644                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            1755
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.689
                                                                    As of the petition filing date, the claim is:                  $150.00                     $150.00
            REDACTED STUDENT 4656                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            4264                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.690
                                                                    As of the petition filing date, the claim is:                  $650.00                     $650.00
            REDACTED STUDENT 4679                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            5734
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.691
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 4715                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            3852
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.692
                                                                    As of the petition filing date, the claim is:                  $300.00                     $300.00
            REDACTED STUDENT 4716                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            5743                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.693
                                                                    As of the petition filing date, the claim is:                $2,700.00                   $2,700.00
            REDACTED STUDENT 4717                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7217
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.694
                                                                    As of the petition filing date, the claim is:                  $300.00                     $300.00
            REDACTED STUDENT 4718                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            1603
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.695
                                                                    As of the petition filing date, the claim is:                $4,000.00                   $3,350.00
            REDACTED STUDENT 4740                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            4684                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.696
                                                                    As of the petition filing date, the claim is:                  $300.00                     $300.00
            REDACTED STUDENT 4742                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7879
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.697
                                                                    As of the petition filing date, the claim is:                $2,200.00                   $2,200.00
            REDACTED STUDENT 4758                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7770
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.698
                                                                    As of the petition filing date, the claim is:                  $450.00                     $450.00
            REDACTED STUDENT 4780                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            2085
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.699
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 4782                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6928
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.700
                                                                    As of the petition filing date, the claim is:                  $300.00                     $300.00
            REDACTED STUDENT 4788                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            3849
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.701
                                                                    As of the petition filing date, the claim is:                  $150.00                     $150.00
            REDACTED STUDENT 4789                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7243
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.702
                                                                    As of the petition filing date, the claim is:                  $300.00                     $300.00
            REDACTED STUDENT 4811                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            3300
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.703
                                                                    As of the petition filing date, the claim is:                $3,550.00                   $3,350.00
            REDACTED STUDENT 4821                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6974
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.704
                                                                    As of the petition filing date, the claim is:                $1,000.00                   $1,000.00
            REDACTED STUDENT 4825                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7364
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.705
                                                                    As of the petition filing date, the claim is:                $2,200.00                   $2,200.00
            REDACTED STUDENT 4828                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6256
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.706
                                                                    As of the petition filing date, the claim is:                  $300.00                     $300.00
            REDACTED STUDENT 4831                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            5037                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.707
                                                                    As of the petition filing date, the claim is:                  $300.00                     $300.00
            REDACTED STUDENT 4842                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            4503
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.708
                                                                    As of the petition filing date, the claim is:                $1,000.00                   $1,000.00
            REDACTED STUDENT 4847                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            3376
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.709
                                                                    As of the petition filing date, the claim is:                $1,650.00                   $1,650.00
            REDACTED STUDENT 4852                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            7220                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.710
                                                                    As of the petition filing date, the claim is:                $2,325.00                   $2,325.00
            REDACTED STUDENT 4853                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6214
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.711
                                                                    As of the petition filing date, the claim is:                  $650.00                     $650.00
            REDACTED STUDENT 4856                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6818
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.712
                                                                    As of the petition filing date, the claim is:                $8,740.00                   $3,350.00
            REDACTED STUDENT 4859                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            4731                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.713
                                                                    As of the petition filing date, the claim is:                $1,850.00                   $1,850.00
            REDACTED STUDENT 4865                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7382
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.714
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 4894                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            5632
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.715
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 4896                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            7458                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.716
                                                                    As of the petition filing date, the claim is:                $1,410.00                   $1,410.00
            REDACTED STUDENT 4903                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            5668
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.717
                                                                    As of the petition filing date, the claim is:                  $150.00                     $150.00
            REDACTED STUDENT 4908                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            2941
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.718
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 4931                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            9674
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.719
                                                                    As of the petition filing date, the claim is:                $3,210.00                   $3,210.00
            REDACTED STUDENT 4932                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            9656                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.720
                                                                    As of the petition filing date, the claim is:                  $150.00                     $150.00
            REDACTED STUDENT 4946                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6976
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.721
                                                                    As of the petition filing date, the claim is:                  $450.00                     $450.00
            REDACTED STUDENT 4958                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            4738
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.722
                                                                    As of the petition filing date, the claim is:                $2,700.00                   $2,700.00
            REDACTED STUDENT 4961                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            7074                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.723
                                                                    As of the petition filing date, the claim is:                  $300.00                     $300.00
            REDACTED STUDENT 4992                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6851
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.724
                                                                    As of the petition filing date, the claim is:                $1,125.00                   $1,125.00
            REDACTED STUDENT 5002                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            0155
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.725
                                                                    As of the petition filing date, the claim is:                  $450.00                     $450.00
            REDACTED STUDENT 5014                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            2192                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.726
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 5031                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6762
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.727
                                                                    As of the petition filing date, the claim is:                $1,150.00                   $1,150.00
            REDACTED STUDENT 5038                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7762
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.728
                                                                    As of the petition filing date, the claim is:                $2,250.00                   $2,250.00
            REDACTED STUDENT 5041                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            7700                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.729
                                                                    As of the petition filing date, the claim is:                  $300.00                     $300.00
            REDACTED STUDENT 5059                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6900
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.730
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 5092                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7784
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.731
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 5100                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            3309
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.732
                                                                    As of the petition filing date, the claim is:                  $705.00                     $705.00
            REDACTED STUDENT 5102                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            1148
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.733
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 5106                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            5154
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.734
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 5108                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            3547
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.735
                                                                    As of the petition filing date, the claim is:                  $150.00                     $150.00
            REDACTED STUDENT 5127                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7100
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.736
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 5133                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7950
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.737
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 5139                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7549
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.738
                                                                    As of the petition filing date, the claim is:                $1,125.00                   $1,125.00
            REDACTED STUDENT 5167                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7564
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.739
                                                                    As of the petition filing date, the claim is:                $2,200.00                   $2,200.00
            REDACTED STUDENT 5177                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            2460                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.740
                                                                    As of the petition filing date, the claim is:                  $300.00                     $300.00
            REDACTED STUDENT 5190                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            5956
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.741
                                                                    As of the petition filing date, the claim is:                $1,650.00                   $1,650.00
            REDACTED STUDENT 5197                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7077
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.742
                                                                    As of the petition filing date, the claim is:                $2,350.00                   $2,350.00
            REDACTED STUDENT 5198                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            7314                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.743
                                                                    As of the petition filing date, the claim is:                $1,155.00                   $1,155.00
            REDACTED STUDENT 5221                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            0613
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.744
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 5227                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7710
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.745
                                                                    As of the petition filing date, the claim is:                $1,000.00                   $1,000.00
            REDACTED STUDENT 5233                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            3724                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.746
                                                                    As of the petition filing date, the claim is:                  $450.00                     $450.00
            REDACTED STUDENT 5243                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            4971
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.747
                                                                    As of the petition filing date, the claim is:                $5,050.00                   $3,350.00
            REDACTED STUDENT 5249                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6954
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.748
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 5254                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            2210
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.749
                                                                    As of the petition filing date, the claim is:                  $150.00                     $150.00
            REDACTED STUDENT 5259                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7874
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.750
                                                                    As of the petition filing date, the claim is:                  $150.00                     $150.00
            REDACTED STUDENT 5271                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6920
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.751
                                                                    As of the petition filing date, the claim is:                $6,300.00                   $3,350.00
            REDACTED STUDENT 5282                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            2233
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.752
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 5285                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            7455                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.753
                                                                    As of the petition filing date, the claim is:                $3,950.00                   $3,350.00
            REDACTED STUDENT 5289                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6777
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.754
                                                                    As of the petition filing date, the claim is:                  $150.00                     $150.00
            REDACTED STUDENT 5290                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7211
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.755
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 5297                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            6453                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.756
                                                                    As of the petition filing date, the claim is:                $2,200.00                   $2,200.00
            REDACTED STUDENT 5303                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7554
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.757
                                                                    As of the petition filing date, the claim is:                $2,950.00                   $2,950.00
            REDACTED STUDENT 5310                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7079
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.758
                                                                    As of the petition filing date, the claim is:                  $650.00                     $650.00
            REDACTED STUDENT 5313                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            5799                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.759
                                                                    As of the petition filing date, the claim is:                $1,410.00                   $1,410.00
            REDACTED STUDENT 5319                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            2868
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.760
                                                                    As of the petition filing date, the claim is:                  $450.00                     $450.00
            REDACTED STUDENT 5321                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            5513
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.761
                                                                    As of the petition filing date, the claim is:                $3,500.00                   $3,350.00
            REDACTED STUDENT 5329                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7488
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.762
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 5365                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            5006
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.763
                                                                    As of the petition filing date, the claim is:                  $150.00                     $150.00
            REDACTED STUDENT 5377                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            4287
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.764
                                                                    As of the petition filing date, the claim is:                  $300.00                     $300.00
            REDACTED STUDENT 5393                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7449
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.765
                                                                    As of the petition filing date, the claim is:                $2,250.00                   $2,250.00
            REDACTED STUDENT 5396                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            4168
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.766
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 5415                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            3582
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.767
                                                                    As of the petition filing date, the claim is:                  $150.00                     $150.00
            REDACTED STUDENT 5419                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7340
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.768
                                                                    As of the petition filing date, the claim is:                  $300.00                     $300.00
            REDACTED STUDENT 5420                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6177
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.769
                                                                    As of the petition filing date, the claim is:                $4,450.00                   $3,350.00
            REDACTED STUDENT 5421                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            6593                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.770
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 5425                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            9854
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.771
                                                                    As of the petition filing date, the claim is:                $1,125.00                   $1,125.00
            REDACTED STUDENT 5427                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7052
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.772
                                                                    As of the petition filing date, the claim is:                $1,550.00                   $1,550.00
            REDACTED STUDENT 5433                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            7822                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.773
                                                                    As of the petition filing date, the claim is:                  $150.00                     $150.00
            REDACTED STUDENT 5436                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            4117
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.774
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 5440                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            1666
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.775
                                                                    As of the petition filing date, the claim is:                $1,410.00                   $1,410.00
            REDACTED STUDENT 5451                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            1174                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.776
                                                                    As of the petition filing date, the claim is:                $2,250.00                   $2,250.00
            REDACTED STUDENT 5467                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            5289
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.777
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 5469                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            4740
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.778
                                                                    As of the petition filing date, the claim is:                $1,650.00                   $1,650.00
            REDACTED STUDENT 5483                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            7384                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.779
                                                                    As of the petition filing date, the claim is:                $1,650.00                   $1,650.00
            REDACTED STUDENT 5490                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6283
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.780
                                                                    As of the petition filing date, the claim is:                  $450.00                     $450.00
            REDACTED STUDENT 5498                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            0738
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.781
                                                                    As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            REDACTED STUDENT 5500                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            9780
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.782
                                                                    As of the petition filing date, the claim is:                $4,000.00                   $3,350.00
            REDACTED STUDENT 5510                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            5922                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.783
                                                                    As of the petition filing date, the claim is:                $1,125.00                   $1,125.00
            REDACTED STUDENT 5514                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            9841
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.784
                                                                    As of the petition filing date, the claim is:                $2,250.00                   $2,250.00
            REDACTED STUDENT 5527                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7898
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.785
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 5543                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            4830                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.786
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 5552                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7060
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.787
                                                                    As of the petition filing date, the claim is:                  $100.00                     $100.00
            REDACTED STUDENT 5553                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.788
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 5555                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            2948                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.789
                                                                    As of the petition filing date, the claim is:               $10,922.00                   $3,350.00
            REDACTED STUDENT 5558                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6899
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.790
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 5560                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            0631
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.791
                                                                    As of the petition filing date, the claim is:                $2,500.00                   $2,500.00
            REDACTED STUDENT 5572                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            6750                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.792
                                                                    As of the petition filing date, the claim is:                  $450.00                     $450.00
            REDACTED STUDENT 5587                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            5773
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.793
                                                                    As of the petition filing date, the claim is:                  $450.00                     $450.00
            REDACTED STUDENT 5593                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6229
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.794
                                                                    As of the petition filing date, the claim is:                  $150.00                     $150.00
            REDACTED STUDENT 5598                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7180
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.795
                                                                    As of the petition filing date, the claim is:                  $300.00                     $300.00
            REDACTED STUDENT 5605                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6179
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.796
                                                                    As of the petition filing date, the claim is:                  $300.00                     $300.00
            REDACTED STUDENT 5608                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            4012
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.797
                                                                    As of the petition filing date, the claim is:                    $8.00                       $8.00
            REDACTED STUDENT 5649                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            2155
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.798
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 5670                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            2095
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.799
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 5682                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7184
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.800
                                                                    As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
            REDACTED STUDENT 5684                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            2244
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.801
                                                                    As of the petition filing date, the claim is:                  $450.00                     $450.00
            REDACTED STUDENT 5692                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6353
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.802
                                                                    As of the petition filing date, the claim is:                $2,500.00                   $2,500.00
            REDACTED STUDENT 5700                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            7670                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.803
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 5701                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6505
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.804
                                                                    As of the petition filing date, the claim is:                  $150.00                     $150.00
            REDACTED STUDENT 5731                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7828
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.805
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 5738                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            6349                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.806
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 5759                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            5210
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.807
                                                                    As of the petition filing date, the claim is:                $3,350.00                   $3,350.00
            REDACTED STUDENT 5765                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7173
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.808
                                                                    As of the petition filing date, the claim is:                $1,125.00                   $1,125.00
            REDACTED STUDENT 5793                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            0745                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.809
                                                                    As of the petition filing date, the claim is:                  $300.00                     $300.00
            REDACTED STUDENT 5809                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            1607
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
                                   Case 24-12140-BLS                  Doc 1         Filed 09/13/24                  Page 312 of 1042

  2.810
                                                                    As of the petition filing date, the claim is:                $1,900.00                   $1,900.00
            REDACTED STUDENT 5812                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6650
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.811
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 5826                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            7149                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.812
                                                                    As of the petition filing date, the claim is:                $3,000.00                   $3,000.00
            REDACTED STUDENT 5836                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            5020
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.813
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 5839                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            4169
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.814
                                                                    As of the petition filing date, the claim is:                  $300.00                     $300.00
            REDACTED STUDENT 5843                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            5964
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.815
                                                                    As of the petition filing date, the claim is:                  $300.00                     $300.00
            REDACTED STUDENT 5871                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            4236                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.816
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 5883                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            4907
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.817
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 5884                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            4063
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.818
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 5901                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            3991                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.819
                                                                    As of the petition filing date, the claim is:                  $450.00                     $450.00
            REDACTED STUDENT 5902                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7768
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.820
                                                                    As of the petition filing date, the claim is:                  $225.00                     $225.00
            REDACTED STUDENT 5903                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            4108
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.821
                                                                    As of the petition filing date, the claim is:                  $887.50                     $887.50
            REDACTED STUDENT 5905                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            6231                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.822
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 5917                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            5238
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.823
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 5926                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            3769
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.824
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 5952                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            3985                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.825
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 5967                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            4140
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.826
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 5975                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            5991
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.827
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 5990                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6194
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.828
                                                                    As of the petition filing date, the claim is:                $3,350.00                   $3,350.00
            REDACTED STUDENT 5991                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7869
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.829
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 5992                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6170
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.830
                                                                    As of the petition filing date, the claim is:                  $575.00                     $575.00
            REDACTED STUDENT 6002                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            8460
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.831
                                                                    As of the petition filing date, the claim is:                  $300.00                     $300.00
            REDACTED STUDENT 6015                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            3542
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.832
                                                                    As of the petition filing date, the claim is:                  $300.00                     $300.00
            REDACTED STUDENT 6016                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            3523                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.833
                                                                    As of the petition filing date, the claim is:                $3,950.00                   $3,350.00
            REDACTED STUDENT 6024                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6998
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.834
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 6027                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7850
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.835
                                                                    As of the petition filing date, the claim is:                  $450.00                     $450.00
            REDACTED STUDENT 6032                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            5721                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.836
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 6045                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6420
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.837
                                                                    As of the petition filing date, the claim is:                  $300.00                     $300.00
            REDACTED STUDENT 6053                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            4815
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.838
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 6069                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            6429                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.839
                                                                    As of the petition filing date, the claim is:                $4,200.00                   $3,350.00
            REDACTED STUDENT 6087                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6606
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.840
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 6102                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7028
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.841
                                                                    As of the petition filing date, the claim is:                  $450.00                     $450.00
            REDACTED STUDENT 6115                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            7892                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.842
                                                                    As of the petition filing date, the claim is:                $2,500.00                   $2,500.00
            REDACTED STUDENT 6123                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7806
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.843
                                                                    As of the petition filing date, the claim is:                $1,650.00                   $1,650.00
            REDACTED STUDENT 6126                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6047
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.844
                                                                    As of the petition filing date, the claim is:                $4,450.00                   $3,350.00
            REDACTED STUDENT 6142                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7778
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.845
                                                                    As of the petition filing date, the claim is:                  $705.00                     $705.00
            REDACTED STUDENT 6143                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            6094                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.846
                                                                    As of the petition filing date, the claim is:                $2,700.00                   $2,700.00
            REDACTED STUDENT 6146                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7618
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.847
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 6148                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            3360
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.848
                                                                    As of the petition filing date, the claim is:                  $300.00                     $300.00
            REDACTED STUDENT 6149                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            6070                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.849
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 6151                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6467
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.850
                                                                    As of the petition filing date, the claim is:                  $150.00                     $150.00
            REDACTED STUDENT 6156                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7803
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.851
                                                                    As of the petition filing date, the claim is:                  $150.00                     $150.00
            REDACTED STUDENT 6161                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            7380                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.852
                                                                    As of the petition filing date, the claim is:                  $300.00                     $300.00
            REDACTED STUDENT 6164                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            3519
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.853
                                                                    As of the petition filing date, the claim is:                $4,200.00                   $3,350.00
            REDACTED STUDENT 6173                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7292
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.854
                                                                    As of the petition filing date, the claim is:                $1,650.00                   $1,650.00
            REDACTED STUDENT 6188                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            7222                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.855
                                                                    As of the petition filing date, the claim is:                  $450.00                     $450.00
            REDACTED STUDENT 6189                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            5694
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.856
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 6193                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            1482
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.857
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 6194                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            5970
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.858
                                                                    As of the petition filing date, the claim is:                $5,050.00                   $3,350.00
            REDACTED STUDENT 6211                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7175
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.859
                                                                    As of the petition filing date, the claim is:                $3,550.00                   $3,350.00
            REDACTED STUDENT 6215                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7329
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.860
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 6223                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            3371
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.861
                                                                    As of the petition filing date, the claim is:                $1,000.00                   $1,000.00
            REDACTED STUDENT 6264                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            2842
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.862
                                                                    As of the petition filing date, the claim is:                  $150.00                     $150.00
            REDACTED STUDENT 6269                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            5572
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.863
                                                                    As of the petition filing date, the claim is:                  $837.50                     $837.50
            REDACTED STUDENT 6276                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            3738
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.864
                                                                    As of the petition filing date, the claim is:                $2,275.00                   $2,275.00
            REDACTED STUDENT 6305                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7598
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.865
                                                                    As of the petition filing date, the claim is:                  $300.00                     $300.00
            REDACTED STUDENT 6308                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            6854                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.866
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 6315                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6072
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.867
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 6334                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            5358
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.868
                                                                    As of the petition filing date, the claim is:                  $450.00                     $450.00
            REDACTED STUDENT 6341                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            5860                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.869
                                                                    As of the petition filing date, the claim is:                $3,375.00                   $3,350.00
            REDACTED STUDENT 6368                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6640
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.870
                                                                    As of the petition filing date, the claim is:                $1,150.00                   $1,150.00
            REDACTED STUDENT 6378                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6879
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.871
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 6380                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            7066                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.872
                                                                    As of the petition filing date, the claim is:                $2,250.00                   $2,250.00
            REDACTED STUDENT 6401                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            1968
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.873
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 6402                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            5014
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.874
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 6407                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            6935                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.875
                                                                    As of the petition filing date, the claim is:                  $450.00                     $450.00
            REDACTED STUDENT 6419                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            9177
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.876
                                                                    As of the petition filing date, the claim is:                  $450.00                     $450.00
            REDACTED STUDENT 6420                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            1036
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.877
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 6423                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6944
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.878
                                                                    As of the petition filing date, the claim is:                  $150.00                     $150.00
            REDACTED STUDENT 6426                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            7894                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.879
                                                                    As of the petition filing date, the claim is:                  $150.00                     $150.00
            REDACTED STUDENT 6430                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7900
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.880
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 6440                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6103
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.881
                                                                    As of the petition filing date, the claim is:                $2,700.00                   $2,700.00
            REDACTED STUDENT 6446                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            5530                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.882
                                                                    As of the petition filing date, the claim is:                $8,500.00                   $3,350.00
            REDACTED STUDENT 6451                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            5023
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.883
                                                                    As of the petition filing date, the claim is:                $9,030.00                   $3,350.00
            REDACTED STUDENT 6453                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6108
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.884
                                                                    As of the petition filing date, the claim is:                $2,250.00                   $2,250.00
            REDACTED STUDENT 6517                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            2400                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.885
                                                                    As of the petition filing date, the claim is:                $2,700.00                   $2,700.00
            REDACTED STUDENT 6518                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7226
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.886
                                                                    As of the petition filing date, the claim is:                $1,650.00                   $1,650.00
            REDACTED STUDENT 6530                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7377
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.887
                                                                    As of the petition filing date, the claim is:                $4,200.00                   $3,350.00
            REDACTED STUDENT 6531                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            5520                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.888
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 6540                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            5664
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.889
                                                                    As of the petition filing date, the claim is:                $1,125.00                   $1,125.00
            REDACTED STUDENT 6542                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            9928
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.890
                                                                    As of the petition filing date, the claim is:                $2,500.00                   $2,500.00
            REDACTED STUDENT 6546                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7330
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.891
                                                                    As of the petition filing date, the claim is:                $3,450.00                   $3,350.00
            REDACTED STUDENT 6549                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7600
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.892
                                                                    As of the petition filing date, the claim is:                  $150.00                     $150.00
            REDACTED STUDENT 6579                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            4973
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.893
                                                                    As of the petition filing date, the claim is:                $1,125.00                   $1,125.00
            REDACTED STUDENT 6583                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6087
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.894
                                                                    As of the petition filing date, the claim is:                $4,200.00                   $3,350.00
            REDACTED STUDENT 6613                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7366
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.895
                                                                    As of the petition filing date, the claim is:                $1,125.00                   $1,125.00
            REDACTED STUDENT 6631                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            4798                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.896
                                                                    As of the petition filing date, the claim is:                $1,200.00                   $1,200.00
            REDACTED STUDENT 6640                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            5321
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.897
                                                                    As of the petition filing date, the claim is:                  $300.00                     $300.00
            REDACTED STUDENT 6655                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            5440
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.898
                                                                    As of the petition filing date, the claim is:                $4,430.00                   $3,350.00
            REDACTED STUDENT 6661                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            6286                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.899
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 6667                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            5977
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.900
                                                                    As of the petition filing date, the claim is:                $5,050.00                   $3,350.00
            REDACTED STUDENT 6689                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            5033
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.901
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 6709                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            3595                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.902
                                                                    As of the petition filing date, the claim is:                  $150.00                     $150.00
            REDACTED STUDENT 6713                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            5570
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.903
                                                                    As of the petition filing date, the claim is:                  $300.00                     $300.00
            REDACTED STUDENT 6718                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6465
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.904
                                                                    As of the petition filing date, the claim is:                $1,650.00                   $1,650.00
            REDACTED STUDENT 6719                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            7143                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.905
                                                                    As of the petition filing date, the claim is:                $3,050.00                   $3,050.00
            REDACTED STUDENT 6726                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7171
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.906
                                                                    As of the petition filing date, the claim is:                  $300.00                     $300.00
            REDACTED STUDENT 6748                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            4802
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.907
                                                                    As of the petition filing date, the claim is:                  $150.00                     $150.00
            REDACTED STUDENT 6750                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7338
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.908
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 6758                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            4509                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.909
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 6776                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            5451
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.910
                                                                    As of the petition filing date, the claim is:                  $300.00                     $300.00
            REDACTED STUDENT 6784                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            5347
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.911
                                                                    As of the petition filing date, the claim is:                  $300.00                     $300.00
            REDACTED STUDENT 6800                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            6370                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.912
                                                                    As of the petition filing date, the claim is:                $3,000.00                   $3,000.00
            REDACTED STUDENT 6815                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            2582
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.913
                                                                    As of the petition filing date, the claim is:                $1,150.00                   $1,150.00
            REDACTED STUDENT 6904                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            2470
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.914
                                                                    As of the petition filing date, the claim is:                  $450.00                     $450.00
            REDACTED STUDENT 6910                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            6921                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.915
                                                                    As of the petition filing date, the claim is:                  $150.00                     $150.00
            REDACTED STUDENT 6921                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            3036
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.916
                                                                    As of the petition filing date, the claim is:                $2,200.00                   $2,200.00
            REDACTED STUDENT 6926                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6277
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.917
                                                                    As of the petition filing date, the claim is:                $2,700.00                   $2,700.00
            REDACTED STUDENT 6927                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            7289                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.918
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 6944                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            9003
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.919
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 6961                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            5151
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.920
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 6982                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6469
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.921
                                                                    As of the petition filing date, the claim is:                  $150.00                     $150.00
            REDACTED STUDENT 6984                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7612
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.922
                                                                    As of the petition filing date, the claim is:                $4,200.00                   $3,350.00
            REDACTED STUDENT 6985                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7830
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.923
                                                                    As of the petition filing date, the claim is:                  $150.00                     $150.00
            REDACTED STUDENT 6996                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6689
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.924
                                                                    As of the petition filing date, the claim is:                $1,650.00                   $1,650.00
            REDACTED STUDENT 7017                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6774
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.925
                                                                    As of the petition filing date, the claim is:                $1,125.00                   $1,125.00
            REDACTED STUDENT 7019                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            9410
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.926
                                                                    As of the petition filing date, the claim is:                   $90.00                      $90.00
            REDACTED STUDENT 7028                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            2599
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.927
                                                                    As of the petition filing date, the claim is:                $4,200.00                   $3,350.00
            REDACTED STUDENT 7029                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7407
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.928
                                                                    As of the petition filing date, the claim is:                $1,100.00                   $1,100.00
            REDACTED STUDENT 7030                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            7889                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.929
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 7032                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            4657
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.930
                                                                    As of the petition filing date, the claim is:                $2,200.00                   $2,200.00
            REDACTED STUDENT 7035                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            2520
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.931
                                                                    As of the petition filing date, the claim is:                $3,050.00                   $3,050.00
            REDACTED STUDENT 7037                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            7224                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.932
                                                                    As of the petition filing date, the claim is:                $3,375.00                   $3,350.00
            REDACTED STUDENT 7057                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            2097
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.933
                                                                    As of the petition filing date, the claim is:                $9,030.00                   $3,350.00
            REDACTED STUDENT 7059                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6097
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.934
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 7071                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            5514                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.935
                                                                    As of the petition filing date, the claim is:                  $300.00                     $300.00
            REDACTED STUDENT 7073                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6281
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.936
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 7081                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            4256
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.937
                                                                    As of the petition filing date, the claim is:                  $890.00                     $890.00
            REDACTED STUDENT 7086                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            4235                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.938
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 7090                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6098
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.939
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 7102                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            3203
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.940
                                                                    As of the petition filing date, the claim is:                $4,200.00                   $3,350.00
            REDACTED STUDENT 7110                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7391
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.941
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 7126                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            6718                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.942
                                                                    As of the petition filing date, the claim is:                $2,200.00                   $2,200.00
            REDACTED STUDENT 7138                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            2279
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.943
                                                                    As of the petition filing date, the claim is:                  $200.00                     $200.00
            REDACTED STUDENT 7147                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            8379
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.944
                                                                    As of the petition filing date, the claim is:                  $150.00                     $150.00
            REDACTED STUDENT 7152                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            7740                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.945
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 7161                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6992
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.946
                                                                    As of the petition filing date, the claim is:                    $0.50                       $0.50
            REDACTED STUDENT 7174                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            4292
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.947
                                                                    As of the petition filing date, the claim is:                  $300.00                     $300.00
            REDACTED STUDENT 7176                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            6354                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.948
                                                                    As of the petition filing date, the claim is:                   $50.00                      $50.00
            REDACTED STUDENT 7179                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            2783
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.949
                                                                    As of the petition filing date, the claim is:                $2,200.00                   $2,200.00
            REDACTED STUDENT 7197                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            4564
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.950
                                                                    As of the petition filing date, the claim is:                $2,950.00                   $2,950.00
            REDACTED STUDENT 7203                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            7240                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.951
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 7207                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6002
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.952
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 7209                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6026
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.953
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 7213                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7353
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.954
                                                                    As of the petition filing date, the claim is:                $3,240.00                   $3,240.00
            REDACTED STUDENT 7214                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            0604
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.955
                                                                    As of the petition filing date, the claim is:                $2,370.00                   $2,370.00
            REDACTED STUDENT 7232                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6948
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.956
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 7255                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            4396
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.957
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 7258                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            5777
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.958
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 7262                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            4926                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.959
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 7266                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7737
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.960
                                                                    As of the petition filing date, the claim is:                  $705.00                     $705.00
            REDACTED STUDENT 7270                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            4284
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.961
                                                                    As of the petition filing date, the claim is:                $6,325.00                   $3,350.00
            REDACTED STUDENT 7271                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            3932                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.962
                                                                    As of the petition filing date, the claim is:                  $150.00                     $150.00
            REDACTED STUDENT 7285                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7137
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.963
                                                                    As of the petition filing date, the claim is:                  $650.00                     $650.00
            REDACTED STUDENT 7300                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            4828
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.964
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 7306                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            8995                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.965
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 7311                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            5795
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.966
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 7312                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            4949
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.967
                                                                    As of the petition filing date, the claim is:                  $300.00                     $300.00
            REDACTED STUDENT 7324                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            5756                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.968
                                                                    As of the petition filing date, the claim is:                  $300.00                     $300.00
            REDACTED STUDENT 7325                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            5814
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.969
                                                                    As of the petition filing date, the claim is:                  $150.00                     $150.00
            REDACTED STUDENT 7347                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7113
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.970
                                                                    As of the petition filing date, the claim is:                $1,350.00                   $1,350.00
            REDACTED STUDENT 7349                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            5528
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.971
                                                                    As of the petition filing date, the claim is:                  $300.00                     $300.00
            REDACTED STUDENT 7361                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            4506                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.972
                                                                    As of the petition filing date, the claim is:                  $300.00                     $300.00
            REDACTED STUDENT 7376                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6019
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.973
                                                                    As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
            REDACTED STUDENT 7401                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            3627
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.974
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 7402                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            5755                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.975
                                                                    As of the petition filing date, the claim is:                  $575.00                     $575.00
            REDACTED STUDENT 7405                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            3139
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.976
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 7408                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            4616
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.977
                                                                    As of the petition filing date, the claim is:                $5,050.00                   $3,350.00
            REDACTED STUDENT 7409                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            6972                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.978
                                                                    As of the petition filing date, the claim is:                $1,100.00                   $1,100.00
            REDACTED STUDENT 7422                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7730
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.979
                                                                    As of the petition filing date, the claim is:                  $705.00                     $705.00
            REDACTED STUDENT 7428                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6178
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.980
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 7433                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            3832                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.981
                                                                    As of the petition filing date, the claim is:                $4,200.00                   $3,350.00
            REDACTED STUDENT 7445                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6783
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.982
                                                                    As of the petition filing date, the claim is:                $1,125.00                   $1,125.00
            REDACTED STUDENT 7457                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            8395
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.983
                                                                    As of the petition filing date, the claim is:                  $450.00                     $450.00
            REDACTED STUDENT 7462                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            5806
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.984
                                                                    As of the petition filing date, the claim is:                $1,000.00                   $1,000.00
            REDACTED STUDENT 7473                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7818
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.985
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 7474                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6118
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.986
                                                                    As of the petition filing date, the claim is:                  $705.00                     $705.00
            REDACTED STUDENT 7477                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            3531
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.987
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 7502                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            9639
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.988
                                                                    As of the petition filing date, the claim is:                  $300.00                     $300.00
            REDACTED STUDENT 7505                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6133
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.989
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 7518                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            3534
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.990
                                                                    As of the petition filing date, the claim is:                $3,950.00                   $3,350.00
            REDACTED STUDENT 7569                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7318
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.991
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 7597                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            3510                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.992
                                                                    As of the petition filing date, the claim is:                  $150.00                     $150.00
            REDACTED STUDENT 7613                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6028
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.993
                                                                    As of the petition filing date, the claim is:                $4,200.00                   $3,350.00
            REDACTED STUDENT 7623                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            7388
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes


  2.994
                                                                    As of the petition filing date, the claim is:                $5,050.00                   $3,350.00
            REDACTED STUDENT 7629                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            6785                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.995
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 7635                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            4927
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.996
                                                                    As of the petition filing date, the claim is:                $4,400.00                   $3,350.00
            REDACTED STUDENT 7655                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            9361
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.997
                                                                    As of the petition filing date, the claim is:                  $450.00                     $450.00
            REDACTED STUDENT 7669                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            7732                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.998
                                                                    As of the petition filing date, the claim is:                  $300.00                     $300.00
            REDACTED STUDENT 7676                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            6192
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  2.999
                                                                    As of the petition filing date, the claim is:                $1,100.00                   $1,100.00
            REDACTED STUDENT 7677                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            8511
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.1000
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 7696                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
            4810                                                    Basis for the claim:
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes

  2.1001
                                                                    As of the petition filing date, the claim is:                  $500.00                     $500.00
            REDACTED STUDENT 7699                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                        Contingent

            Date or dates debt was incurred                             Unliquidated

                                                                        Disputed
            Last 4 digits of account number
                                                                    Basis for the claim:
            9642
                                                                    STUDENT DEPOSIT
            Specify Code subsection of PRIORITY unsecured
                                                                    Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( 7 )                                   No

                                                                       Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.1002
                                                                   As of the petition filing date, the claim is:                  $500.00                     $500.00
           REDACTED STUDENT 7701                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           6870
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes

  2.1003
                                                                   As of the petition filing date, the claim is:                  $300.00                     $300.00
           REDACTED STUDENT 7705                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           3333
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1004
                                                                   As of the petition filing date, the claim is:                $1,410.00                   $1,410.00
           REDACTED STUDENT 7710                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
           0601                                                    Basis for the claim:
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.1005
                                                                   As of the petition filing date, the claim is:                $5,050.00                   $3,350.00
           REDACTED STUDENT 7714                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           6787
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1006
                                                                   As of the petition filing date, the claim is:                  $450.00                     $450.00
           REDACTED STUDENT 7744                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           1858
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1007
                                                                   As of the petition filing date, the claim is:                $1,000.00                   $1,000.00
           REDACTED STUDENT 7753                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
           2839                                                    Basis for the claim:
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.1008
                                                                   As of the petition filing date, the claim is:                $8,165.00                   $3,350.00
           REDACTED STUDENT 7758                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           0475
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1009
                                                                   As of the petition filing date, the claim is:                  $500.00                     $500.00
           REDACTED STUDENT 7769                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           4762
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1010
                                                                   As of the petition filing date, the claim is:                  $300.00                     $300.00
           REDACTED STUDENT 7793                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
           7896                                                    Basis for the claim:
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.1011
                                                                   As of the petition filing date, the claim is:                $1,530.00                   $1,530.00
           REDACTED STUDENT 7794                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           6609
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1012
                                                                   As of the petition filing date, the claim is:                  $500.00                     $500.00
           REDACTED STUDENT 7808                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           5261
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1013
                                                                   As of the petition filing date, the claim is:                  $500.00                     $500.00
           REDACTED STUDENT 7811                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
           3692                                                    Basis for the claim:
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
         Name
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  2.1014
                                                                   As of the petition filing date, the claim is:                  $500.00                     $500.00
           REDACTED STUDENT 7818                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           5445
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1015
                                                                   As of the petition filing date, the claim is:                  $500.00                     $500.00
           REDACTED STUDENT 7822                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           2121
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1016
                                                                   As of the petition filing date, the claim is:                $1,150.00                   $1,150.00
           REDACTED STUDENT 7825                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           6648
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.1017
                                                                   As of the petition filing date, the claim is:                $1,150.00                   $1,150.00
           REDACTED STUDENT 7826                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           7720
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1018
                                                                   As of the petition filing date, the claim is:                  $500.00                     $500.00
           REDACTED STUDENT 7854                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           4842
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1019
                                                                   As of the petition filing date, the claim is:                $1,650.00                   $1,650.00
           REDACTED STUDENT 7869                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           7116
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.1020
                                                                   As of the petition filing date, the claim is:                $2,250.00                   $2,250.00
           REDACTED STUDENT 7870                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           6332
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1021
                                                                   As of the petition filing date, the claim is:                  $450.00                     $450.00
           REDACTED STUDENT 7879                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           7035
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1022
                                                                   As of the petition filing date, the claim is:                  $300.00                     $300.00
           REDACTED STUDENT 7922                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           3536
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.1023
                                                                   As of the petition filing date, the claim is:                  $300.00                     $300.00
           REDACTED STUDENT 7923                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           3133
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1024
                                                                   As of the petition filing date, the claim is:                  $500.00                     $500.00
           REDACTED STUDENT 7928                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
           6514                                                    Basis for the claim:
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1025
                                                                   As of the petition filing date, the claim is:                  $100.00                     $100.00
           REDACTED STUDENT 7938                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           7870
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.1026
                                                                   As of the petition filing date, the claim is:                  $500.00                     $500.00
           REDACTED STUDENT 7939                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           4149
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1027
                                                                   As of the petition filing date, the claim is:                  $150.00                     $150.00
           REDACTED STUDENT 7950                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
           7193                                                    Basis for the claim:
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes

  2.1028
                                                                   As of the petition filing date, the claim is:                  $500.00                     $500.00
           REDACTED STUDENT 7985                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           3544
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.1029
                                                                   As of the petition filing date, the claim is:                  $150.00                     $150.00
           REDACTED STUDENT 7988                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           7320
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes

  2.1030
                                                                   As of the petition filing date, the claim is:                $2,200.00                   $2,200.00
           REDACTED STUDENT 8002                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
           2657                                                    Basis for the claim:
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes

  2.1031
                                                                   As of the petition filing date, the claim is:                  $500.00                     $500.00
           REDACTED STUDENT 8007                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           6420
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.1032
                                                                   As of the petition filing date, the claim is:                $2,350.00                   $2,350.00
           REDACTED STUDENT 8033                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           7178
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes

  2.1033
                                                                   As of the petition filing date, the claim is:                  $300.00                     $300.00
           REDACTED STUDENT 8042                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
           5457                                                    Basis for the claim:
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1034
                                                                   As of the petition filing date, the claim is:                  $300.00                     $300.00
           REDACTED STUDENT 8043                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           5326
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.1035
                                                                   As of the petition filing date, the claim is:                  $500.00                     $500.00
           REDACTED STUDENT 8064                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           7168
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1036
                                                                   As of the petition filing date, the claim is:                $2,275.00                   $2,275.00
           REDACTED STUDENT 8082                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           2255
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1037
                                                                   As of the petition filing date, the claim is:                $1,100.00                   $1,100.00
           REDACTED STUDENT 8084                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
           7283                                                    Basis for the claim:
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.1038
                                                                   As of the petition filing date, the claim is:                $1,150.00                   $1,150.00
           REDACTED STUDENT 8087                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           3577
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1039
                                                                   As of the petition filing date, the claim is:                  $300.00                     $300.00
           REDACTED STUDENT 8091                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           5484
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1040
                                                                   As of the petition filing date, the claim is:                  $500.00                     $500.00
           REDACTED STUDENT 8092                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
           6732                                                    Basis for the claim:
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.1041
                                                                   As of the petition filing date, the claim is:                  $500.00                     $500.00
           REDACTED STUDENT 8127                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           3557
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1042
                                                                   As of the petition filing date, the claim is:                  $500.00                     $500.00
           REDACTED STUDENT 8131                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           6882
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1043
                                                                   As of the petition filing date, the claim is:                  $500.00                     $500.00
           REDACTED STUDENT 8157                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
           3397                                                    Basis for the claim:
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.1044
                                                                   As of the petition filing date, the claim is:                $1,125.00                   $1,125.00
           REDACTED STUDENT 8171                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           1176
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1045
                                                                   As of the petition filing date, the claim is:                  $150.00                     $150.00
           REDACTED STUDENT 8172                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           7333
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1046
                                                                   As of the petition filing date, the claim is:                $3,350.00                   $3,350.00
           REDACTED STUDENT 8173                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
           7141                                                    Basis for the claim:
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.1047
                                                                   As of the petition filing date, the claim is:                  $300.00                     $300.00
           REDACTED STUDENT 8176                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           5552
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1048
                                                                   As of the petition filing date, the claim is:                  $500.00                     $500.00
           REDACTED STUDENT 8177                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           5447
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1049
                                                                   As of the petition filing date, the claim is:                  $500.00                     $500.00
           REDACTED STUDENT 8183                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           0487
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.1050
                                                                   As of the petition filing date, the claim is:                  $500.00                     $500.00
           REDACTED STUDENT 8192                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           1789
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1051
                                                                   As of the petition filing date, the claim is:                  $450.00                     $450.00
           REDACTED STUDENT 8215                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           7512
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1052
                                                                   As of the petition filing date, the claim is:                $1,100.00                   $1,100.00
           REDACTED STUDENT 8216                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           7919
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
         Name
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  2.1053
                                                                   As of the petition filing date, the claim is:                $1,650.00                   $1,650.00
           REDACTED STUDENT 8251                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           6126
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1054
                                                                   As of the petition filing date, the claim is:                  $150.00                     $150.00
           REDACTED STUDENT 8253                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
           1967                                                    Basis for the claim:
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1055
                                                                   As of the petition filing date, the claim is:                $1,100.00                   $1,100.00
           REDACTED STUDENT 8259                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           7513
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
         Name
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  2.1056
                                                                   As of the petition filing date, the claim is:                  $650.00                     $650.00
           REDACTED STUDENT 8264                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           4368
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1057
                                                                   As of the petition filing date, the claim is:                  $300.00                     $300.00
           REDACTED STUDENT 8267                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
           6372                                                    Basis for the claim:
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes

  2.1058
                                                                   As of the petition filing date, the claim is:                $3,350.00                   $3,350.00
           REDACTED STUDENT 8278                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           7664
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.1059
                                                                   As of the petition filing date, the claim is:                  $500.00                     $500.00
           REDACTED STUDENT 8291                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           3981
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes

  2.1060
                                                                   As of the petition filing date, the claim is:                $1,125.00                   $1,125.00
           REDACTED STUDENT 8308                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
           0812                                                    Basis for the claim:
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes

  2.1061
                                                                   As of the petition filing date, the claim is:                  $500.00                     $500.00
           REDACTED STUDENT 8323                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           5958
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
         Name
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  2.1062
                                                                   As of the petition filing date, the claim is:                $3,000.00                   $3,000.00
           REDACTED STUDENT 8327                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           1732
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes

  2.1063
                                                                   As of the petition filing date, the claim is:                $3,375.00                   $3,350.00
           REDACTED STUDENT 8330                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
           0763                                                    Basis for the claim:
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes

  2.1064
                                                                   As of the petition filing date, the claim is:                  $500.00                     $500.00
           REDACTED STUDENT 8335                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           4743
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.1065
                                                                   As of the petition filing date, the claim is:                  $500.00                     $500.00
           REDACTED STUDENT 8365                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           6739
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes

  2.1066
                                                                   As of the petition filing date, the claim is:                $1,150.00                   $1,150.00
           REDACTED STUDENT 8366                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           1795
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1067
                                                                   As of the petition filing date, the claim is:                  $300.00                     $300.00
           REDACTED STUDENT 8370                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
           6196                                                    Basis for the claim:
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.1068
                                                                   As of the petition filing date, the claim is:                $2,500.00                   $2,500.00
           REDACTED STUDENT 8380                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           6532
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1069
                                                                   As of the petition filing date, the claim is:                  $300.00                     $300.00
           REDACTED STUDENT 8401                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
           7230                                                    Basis for the claim:
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1070
                                                                   As of the petition filing date, the claim is:                  $300.00                     $300.00
           REDACTED STUDENT 8414                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           3402
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.1071
                                                                   As of the petition filing date, the claim is:                  $500.00                     $500.00
           REDACTED STUDENT 8427                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           3513
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1072
                                                                   As of the petition filing date, the claim is:                  $500.00                     $500.00
           REDACTED STUDENT 8430                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
           5398                                                    Basis for the claim:
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1073
                                                                   As of the petition filing date, the claim is:                  $300.00                     $300.00
           REDACTED STUDENT 8452                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           7499
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.1074
                                                                   As of the petition filing date, the claim is:                $3,500.00                   $3,350.00
           REDACTED STUDENT 8477                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           6173
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1075
                                                                   As of the petition filing date, the claim is:                  $150.00                     $150.00
           REDACTED STUDENT 8481                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
           6052                                                    Basis for the claim:
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1076
                                                                   As of the petition filing date, the claim is:                $5,275.00                   $3,350.00
           REDACTED STUDENT 8510                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           6239
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.1077
                                                                   As of the petition filing date, the claim is:                $1,100.00                   $1,100.00
           REDACTED STUDENT 8522                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           2656
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1078
                                                                   As of the petition filing date, the claim is:                  $500.00                     $500.00
           REDACTED STUDENT 8548                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
           5235                                                    Basis for the claim:
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1079
                                                                   As of the petition filing date, the claim is:                $1,125.00                   $1,125.00
           REDACTED STUDENT 8556                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           7588
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
         Name
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  2.1080
                                                                   As of the petition filing date, the claim is:                  $300.00                     $300.00
           REDACTED STUDENT 8557                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           9054
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1081
                                                                   As of the petition filing date, the claim is:                  $500.00                     $500.00
           REDACTED STUDENT 8562                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           9236
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1082
                                                                   As of the petition filing date, the claim is:                  $500.00                     $500.00
           REDACTED STUDENT 8586                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
           5995                                                    Basis for the claim:
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.1083
                                                                   As of the petition filing date, the claim is:                $2,250.00                   $2,250.00
           REDACTED STUDENT 8588                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           7129
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1084
                                                                   As of the petition filing date, the claim is:                  $450.00                     $450.00
           REDACTED STUDENT 8602                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           2686
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1085
                                                                   As of the petition filing date, the claim is:                $3,050.00                   $3,050.00
           REDACTED STUDENT 8610                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
           7132                                                    Basis for the claim:
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.1086
                                                                   As of the petition filing date, the claim is:                $1,125.00                   $1,125.00
           REDACTED STUDENT 8622                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           0108
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1087
                                                                   As of the petition filing date, the claim is:                $5,050.00                   $3,350.00
           REDACTED STUDENT 8623                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           6790
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1088
                                                                   As of the petition filing date, the claim is:                  $500.00                     $500.00
           REDACTED STUDENT 8632                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
           6796                                                    Basis for the claim:
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
         Name
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  2.1089
                                                                   As of the petition filing date, the claim is:                  $500.00                     $500.00
           REDACTED STUDENT 8635                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           1998
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1090
                                                                   As of the petition filing date, the claim is:                  $300.00                     $300.00
           REDACTED STUDENT 8638                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           5043
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1091
                                                                   As of the petition filing date, the claim is:                  $300.00                     $300.00
           REDACTED STUDENT 8667                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
           8436                                                    Basis for the claim:
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
         Name
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  2.1092
                                                                   As of the petition filing date, the claim is:                  $500.00                     $500.00
           REDACTED STUDENT 8670                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           5817
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1093
                                                                   As of the petition filing date, the claim is:                $1,150.00                   $1,150.00
           REDACTED STUDENT 8680                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           9214
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1094
                                                                   As of the petition filing date, the claim is:                $1,150.00                   $1,150.00
           REDACTED STUDENT 8685                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           4907
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
         Name
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  2.1095
                                                                   As of the petition filing date, the claim is:                $4,400.00                   $3,350.00
           REDACTED STUDENT 8694                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           2922
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1096
                                                                   As of the petition filing date, the claim is:                  $500.00                     $500.00
           REDACTED STUDENT 8726                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           6221
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1097
                                                                   As of the petition filing date, the claim is:                  $500.00                     $500.00
           REDACTED STUDENT 8772                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           6702
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
         Name
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  2.1098
                                                                   As of the petition filing date, the claim is:                    $5.00                       $5.00
           REDACTED STUDENT 8777                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           0097
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1099
                                                                   As of the petition filing date, the claim is:                  $500.00                     $500.00
           REDACTED STUDENT 8779                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           2456
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1100
                                                                   As of the petition filing date, the claim is:                  $500.00                     $500.00
           REDACTED STUDENT 8782                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           4619
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.1101
                                                                   As of the petition filing date, the claim is:                  $500.00                     $500.00
           REDACTED STUDENT 8794                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           5821
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1102
                                                                   As of the petition filing date, the claim is:                $1,150.00                   $1,150.00
           REDACTED STUDENT 8799                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           0553
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1103
                                                                   As of the petition filing date, the claim is:                  $500.00                     $500.00
           REDACTED STUDENT 8801                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           7451
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.1104
                                                                   As of the petition filing date, the claim is:                  $150.00                     $150.00
           REDACTED STUDENT 8810                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           5046
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1105
                                                                   As of the petition filing date, the claim is:                  $300.00                     $300.00
           REDACTED STUDENT 8816                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           3522
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes

  2.1106
                                                                   As of the petition filing date, the claim is:                  $500.00                     $500.00
           REDACTED STUDENT 8817                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           3293
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.1107
                                                                   As of the petition filing date, the claim is:                $2,200.00                   $2,200.00
           REDACTED STUDENT 8820                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           3132
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes

  2.1108
                                                                   As of the petition filing date, the claim is:                  $500.00                     $500.00
           REDACTED STUDENT 8828                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           4386
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes

  2.1109
                                                                   As of the petition filing date, the claim is:                  $300.00                     $300.00
           REDACTED STUDENT 8877                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           3527
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.1110
                                                                   As of the petition filing date, the claim is:                  $300.00                     $300.00
           REDACTED STUDENT 8880                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           2386
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes

  2.1111
                                                                   As of the petition filing date, the claim is:                  $450.00                     $450.00
           REDACTED STUDENT 8883                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           4240
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes

  2.1112
                                                                   As of the petition filing date, the claim is:                  $100.00                     $100.00
           REDACTED STUDENT 8893                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           2460
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.1113
                                                                   As of the petition filing date, the claim is:                $2,250.00                   $2,250.00
           REDACTED STUDENT 8898                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           8529
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes

  2.1114
                                                                   As of the petition filing date, the claim is:                  $500.00                     $500.00
           REDACTED STUDENT 8945                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           5320
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1115
                                                                   As of the petition filing date, the claim is:                  $500.00                     $500.00
           REDACTED STUDENT 8958                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           1116
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.1116
                                                                   As of the petition filing date, the claim is:                $1,200.00                   $1,200.00
           REDACTED STUDENT 8965                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           9221
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1117
                                                                   As of the petition filing date, the claim is:                  $500.00                     $500.00
           REDACTED STUDENT 8977                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           5493
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1118
                                                                   As of the petition filing date, the claim is:                $3,350.00                   $3,350.00
           REDACTED STUDENT 8992                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           1596
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.1119
                                                                   As of the petition filing date, the claim is:                  $300.00                     $300.00
           REDACTED STUDENT 8996                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           4081
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1120
                                                                   As of the petition filing date, the claim is:                  $300.00                     $300.00
           REDACTED STUDENT 9000                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           1101
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1121
                                                                   As of the petition filing date, the claim is:                  $500.00                     $500.00
           REDACTED STUDENT 9004                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           3606
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.1122
                                                                   As of the petition filing date, the claim is:                $1,125.00                   $1,125.00
           REDACTED STUDENT 9006                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           9256
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1123
                                                                   As of the petition filing date, the claim is:                  $150.00                     $150.00
           REDACTED STUDENT 9010                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           6292
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1124
                                                                   As of the petition filing date, the claim is:                $2,700.00                   $2,700.00
           REDACTED STUDENT 9024                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           7106
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.1125
                                                                   As of the petition filing date, the claim is:                  $500.00                     $500.00
           REDACTED STUDENT 9030                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           6907
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1126
                                                                   As of the petition filing date, the claim is:                  $300.00                     $300.00
           REDACTED STUDENT 9049                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           2108
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1127
                                                                   As of the petition filing date, the claim is:                $3,350.00                   $3,350.00
           REDACTED STUDENT 9064                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           7601
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.1128
                                                                   As of the petition filing date, the claim is:                  $500.00                     $500.00
           REDACTED STUDENT 9070                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           5754
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1129
                                                                   As of the petition filing date, the claim is:                  $705.00                     $705.00
           REDACTED STUDENT 9071                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           5522
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1130
                                                                   As of the petition filing date, the claim is:                $1,900.00                   $1,900.00
           REDACTED STUDENT 9078                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           4687
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.1131
                                                                   As of the petition filing date, the claim is:                $5,050.00                   $3,350.00
           REDACTED STUDENT 9086                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           5532
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1132
                                                                   As of the petition filing date, the claim is:                $3,350.00                   $3,350.00
           REDACTED STUDENT 9107                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           7602
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1133
                                                                   As of the petition filing date, the claim is:                $1,100.00                   $1,100.00
           REDACTED STUDENT 9114                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           3038
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.1134
                                                                   As of the petition filing date, the claim is:                  $500.00                     $500.00
           REDACTED STUDENT 9117                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           6109
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1135
                                                                   As of the petition filing date, the claim is:                  $500.00                     $500.00
           REDACTED STUDENT 9120                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
           6799                                                    Basis for the claim:
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1136
                                                                   As of the petition filing date, the claim is:                $1,125.00                   $1,125.00
           REDACTED STUDENT 9131                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           8001
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.1137
                                                                   As of the petition filing date, the claim is:                  $450.00                     $450.00
           REDACTED STUDENT 9135                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           5672
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1138
                                                                   As of the petition filing date, the claim is:                  $500.00                     $500.00
           REDACTED STUDENT 9153                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
           3694                                                    Basis for the claim:
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1139
                                                                   As of the petition filing date, the claim is:                  $500.00                     $500.00
           REDACTED STUDENT 9177                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           7809
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.1140
                                                                   As of the petition filing date, the claim is:                  $500.00                     $500.00
           REDACTED STUDENT 9179                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           3399
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1141
                                                                   As of the petition filing date, the claim is:                  $500.00                     $500.00
           REDACTED STUDENT 9186                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
           3987                                                    Basis for the claim:
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1142
                                                                   As of the petition filing date, the claim is:                  $500.00                     $500.00
           REDACTED STUDENT 9188                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           4084
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.1143
                                                                   As of the petition filing date, the claim is:                $3,050.00                   $3,050.00
           REDACTED STUDENT 9194                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           7336
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1144
                                                                   As of the petition filing date, the claim is:                  $500.00                     $500.00
           REDACTED STUDENT 9196                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           4995
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1145
                                                                   As of the petition filing date, the claim is:                  $500.00                     $500.00
           REDACTED STUDENT 9200                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           3888
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.1146
                                                                   As of the petition filing date, the claim is:                $1,650.00                   $1,650.00
           REDACTED STUDENT 9208                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           7759
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1147
                                                                   As of the petition filing date, the claim is:                  $500.00                     $500.00
           REDACTED STUDENT 9210                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           7790
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1148
                                                                   As of the petition filing date, the claim is:                $1,650.00                   $1,650.00
           REDACTED STUDENT 9219                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
           5072                                                    Basis for the claim:
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.1149
                                                                   As of the petition filing date, the claim is:                  $500.00                     $500.00
           REDACTED STUDENT 9238                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           4093
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1150
                                                                   As of the petition filing date, the claim is:                  $150.00                     $150.00
           REDACTED STUDENT 9248                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           5536
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1151
                                                                   As of the petition filing date, the claim is:                  $300.00                     $300.00
           REDACTED STUDENT 9277                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
           5929                                                    Basis for the claim:
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.1152
                                                                   As of the petition filing date, the claim is:                  $450.00                     $450.00
           REDACTED STUDENT 9286                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           5169
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1153
                                                                   As of the petition filing date, the claim is:                  $500.00                     $500.00
           REDACTED STUDENT 9290                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           2287
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1154
                                                                   As of the petition filing date, the claim is:                  $300.00                     $300.00
           REDACTED STUDENT 9297                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
           5985                                                    Basis for the claim:
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.1155
                                                                   As of the petition filing date, the claim is:                  $150.00                     $150.00
           REDACTED STUDENT 9312                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           7441
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1156
                                                                   As of the petition filing date, the claim is:                $2,250.00                   $2,250.00
           REDACTED STUDENT 9314                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           7909
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1157
                                                                   As of the petition filing date, the claim is:                  $300.00                     $300.00
           REDACTED STUDENT 9316                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           7565
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.1158
                                                                   As of the petition filing date, the claim is:                  $500.00                     $500.00
           REDACTED STUDENT 9322                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           4037
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1159
                                                                   As of the petition filing date, the claim is:                  $450.00                     $450.00
           REDACTED STUDENT 9325                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           2866
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1160
                                                                   As of the petition filing date, the claim is:                  $300.00                     $300.00
           REDACTED STUDENT 9345                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           6062
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.1161
                                                                   As of the petition filing date, the claim is:                  $500.00                     $500.00
           REDACTED STUDENT 9350                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           4544
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1162
                                                                   As of the petition filing date, the claim is:                $1,000.00                   $1,000.00
           REDACTED STUDENT 9357                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           3281
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1163
                                                                   As of the petition filing date, the claim is:                  $300.00                     $300.00
           REDACTED STUDENT 9370                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           6738
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.1164
                                                                   As of the petition filing date, the claim is:                $2,250.00                   $2,250.00
           REDACTED STUDENT 9375                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           6804
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1165
                                                                   As of the petition filing date, the claim is:                  $300.00                     $300.00
           REDACTED STUDENT 9390                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           4431
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1166
                                                                   As of the petition filing date, the claim is:                  $300.00                     $300.00
           REDACTED STUDENT 9403                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           4532
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.1167
                                                                   As of the petition filing date, the claim is:                $2,250.00                   $2,250.00
           REDACTED STUDENT 9408                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           6271
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1168
                                                                   As of the petition filing date, the claim is:                $1,650.00                   $1,650.00
           REDACTED STUDENT 9423                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           6038
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes

  2.1169
                                                                   As of the petition filing date, the claim is:                $3,550.00                   $3,350.00
           REDACTED STUDENT 9461                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           7264
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.1170
                                                                   As of the petition filing date, the claim is:                  $500.00                     $500.00
           REDACTED STUDENT 9463                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           6866
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes

  2.1171
                                                                   As of the petition filing date, the claim is:                $4,550.00                   $3,350.00
           REDACTED STUDENT 9479                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           7119
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes

  2.1172
                                                                   As of the petition filing date, the claim is:                  $500.00                     $500.00
           REDACTED STUDENT 9480                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           5870
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.1173
                                                                   As of the petition filing date, the claim is:                $5,050.00                   $3,350.00
           REDACTED STUDENT 9481                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           7110
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes

  2.1174
                                                                   As of the petition filing date, the claim is:                $1,150.00                   $1,150.00
           REDACTED STUDENT 9486                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           1727
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes

  2.1175
                                                                   As of the petition filing date, the claim is:                $2,275.00                   $2,275.00
           REDACTED STUDENT 9516                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           6743
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.1176
                                                                   As of the petition filing date, the claim is:                   $13.00                      $13.00
           REDACTED STUDENT 9541                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           7104
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes

  2.1177
                                                                   As of the petition filing date, the claim is:                  $500.00                     $500.00
           REDACTED STUDENT 9544                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           5052
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1178
                                                                   As of the petition filing date, the claim is:                $1,100.00                   $1,100.00
           REDACTED STUDENT 9549                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           3430
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.1179
                                                                   As of the petition filing date, the claim is:                  $575.00                     $575.00
           REDACTED STUDENT 9551                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           2146
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1180
                                                                   As of the petition filing date, the claim is:                $2,500.00                   $2,500.00
           REDACTED STUDENT 9552                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           7102
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1181
                                                                   As of the petition filing date, the claim is:                $4,200.00                   $3,350.00
           REDACTED STUDENT 9556                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           7386
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.1182
                                                                   As of the petition filing date, the claim is:                  $500.00                     $500.00
           REDACTED STUDENT 9558                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           5876
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1183
                                                                   As of the petition filing date, the claim is:                  $500.00                     $500.00
           REDACTED STUDENT 9560                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           6475
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1184
                                                                   As of the petition filing date, the claim is:                $1,650.00                   $1,650.00
           REDACTED STUDENT 9571                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           7121
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.1185
                                                                   As of the petition filing date, the claim is:                  $500.00                     $500.00
           REDACTED STUDENT 9581                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           3968
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1186
                                                                   As of the petition filing date, the claim is:                  $300.00                     $300.00
           REDACTED STUDENT 9597                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           2880
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1187
                                                                   As of the petition filing date, the claim is:                  $500.00                     $500.00
           REDACTED STUDENT 9619                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           7841
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.1188
                                                                   As of the petition filing date, the claim is:                  $500.00                     $500.00
           REDACTED STUDENT 9621                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           4675
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1189
                                                                   As of the petition filing date, the claim is:                  $300.00                     $300.00
           REDACTED STUDENT 9628                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           7021
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1190
                                                                   As of the petition filing date, the claim is:                  $300.00                     $300.00
           REDACTED STUDENT 9647                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           1442
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.1191
                                                                   As of the petition filing date, the claim is:                  $150.00                     $150.00
           REDACTED STUDENT 9658                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           6035
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1192
                                                                   As of the petition filing date, the claim is:                  $150.00                     $150.00
           REDACTED STUDENT 9661                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           6530
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1193
                                                                   As of the petition filing date, the claim is:                $1,500.00                   $1,500.00
           REDACTED STUDENT 9662                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           6344
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.1194
                                                                   As of the petition filing date, the claim is:                  $500.00                     $500.00
           REDACTED STUDENT 9668                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           3528
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1195
                                                                   As of the petition filing date, the claim is:                  $300.00                     $300.00
           REDACTED STUDENT 9675                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           4929
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1196
                                                                   As of the petition filing date, the claim is:                   $50.00                      $50.00
           REDACTED STUDENT 9696                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           2654
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.1197
                                                                   As of the petition filing date, the claim is:                  $500.00                     $500.00
           REDACTED STUDENT 9702                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           4102
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1198
                                                                   As of the petition filing date, the claim is:                  $500.00                     $500.00
           REDACTED STUDENT 9723                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
           4841                                                    Basis for the claim:
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1199
                                                                   As of the petition filing date, the claim is:                  $500.00                     $500.00
           REDACTED STUDENT 9727                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           5864
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.1200
                                                                   As of the petition filing date, the claim is:                $2,200.00                   $2,200.00
           REDACTED STUDENT 9735                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           7416
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1201
                                                                   As of the petition filing date, the claim is:                $1,150.00                   $1,150.00
           REDACTED STUDENT 9739                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
           6881                                                    Basis for the claim:
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1202
                                                                   As of the petition filing date, the claim is:                $2,200.00                   $2,200.00
           REDACTED STUDENT 9740                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           2415
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.1203
                                                                   As of the petition filing date, the claim is:                  $500.00                     $500.00
           REDACTED STUDENT 9746                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           4378
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1204
                                                                   As of the petition filing date, the claim is:                  $500.00                     $500.00
           REDACTED STUDENT 9775                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
           6481                                                    Basis for the claim:
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1205
                                                                   As of the petition filing date, the claim is:                  $500.00                     $500.00
           REDACTED STUDENT 9787                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           7165
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.1206
                                                                   As of the petition filing date, the claim is:                  $500.00                     $500.00
           REDACTED STUDENT 9797                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           7065
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1207
                                                                   As of the petition filing date, the claim is:                $4,200.00                   $3,350.00
           REDACTED STUDENT 9804                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
           6288                                                    Basis for the claim:
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1208
                                                                   As of the petition filing date, the claim is:                  $300.00                     $300.00
           REDACTED STUDENT 9808                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           9074
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.1209
                                                                   As of the petition filing date, the claim is:                  $150.00                     $150.00
           REDACTED STUDENT 9817                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           7008
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1210
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
           REDACTED STUDENT 9825                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           2494
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1211
                                                                   As of the petition filing date, the claim is:                  $300.00                     $300.00
           REDACTED STUDENT 9844                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
           5323                                                    Basis for the claim:
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.1212
                                                                   As of the petition filing date, the claim is:                  $300.00                     $300.00
           REDACTED STUDENT 9856                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           6494
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1213
                                                                   As of the petition filing date, the claim is:                  $500.00                     $500.00
           REDACTED STUDENT 9876                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           3969
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1214
                                                                   As of the petition filing date, the claim is:                  $500.00                     $500.00
           REDACTED STUDENT 9888                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
           6671                                                    Basis for the claim:
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.1215
                                                                   As of the petition filing date, the claim is:                $1,125.00                   $1,125.00
           REDACTED STUDENT 9890                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           7946
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1216
                                                                   As of the petition filing date, the claim is:                $5,050.00                   $3,350.00
           REDACTED STUDENT 9897                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           5050
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1217
                                                                   As of the petition filing date, the claim is:                $3,350.00                   $3,350.00
           REDACTED STUDENT 9899                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
           7833                                                    Basis for the claim:
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.1218
                                                                   As of the petition filing date, the claim is:                  $300.00                     $300.00
           REDACTED STUDENT 9912                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           5003
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1219
                                                                   As of the petition filing date, the claim is:                $4,550.00                   $3,350.00
           REDACTED STUDENT 9984                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           7103
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1220
                                                                   As of the petition filing date, the claim is:                  $500.00                     $500.00
           REDACTED STUDENT 9986                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
           5265                                                    Basis for the claim:
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.1221
                                                                   As of the petition filing date, the claim is:                $4,550.00                   $3,350.00
           REDACTED STUDENT 9987                                   Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
           6916
                                                                   STUDENT DEPOSIT
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( 7 )                                   No

                                                                      Yes


  2.1222
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           REEDER, BROOKE                                          Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes


  2.1223
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           REEDER, ROSAE                                           Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.1224
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           REESE, PETER                                            Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes


  2.1225
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           REINFURT, JONATHAN                                      Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes


  2.1226
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           REYER, STEPHANIE                                        Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.1227
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           RHOADES, MATTHEW                                        Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes


  2.1228
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           RICE, JOSEPH                                            Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes


  2.1229
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           RICE, JULIANNA                                          Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.1230
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           RIECHERS, ANGELA                                        Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes


  2.1231
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           RINDISBACHER, ALEXANDER                                 Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes

  2.1232
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           ROBBINS, OWEN                                           Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.1233
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           ROBERTS, JOSHUA                                         Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes

  2.1234
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           ROBERTSON, CHRISTOPHER                                  Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes

  2.1235
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           ROBERTS-REILLEY, JENNIFER                               Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.1236
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           RODGERS, CHRISTOPHER                                    Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes

  2.1237
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           RODRIGUEZ, LUZ                                          Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes

  2.1238
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           ROMANSKY, HAYLEY                                        Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
         Name
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  2.1239
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           ROMAY, MELANIE                                          Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes

  2.1240
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           ROMERO, RAUL                                            Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes


  2.1241
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           ROONEY, WILLIAM                                         Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
         Name
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  2.1242
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           SACHS, SIDNEY                                           Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes


  2.1243
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           SACK, REBECCA                                           Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes


  2.1244
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           SAIZ PEREZ, TANIA                                       Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.1245
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           SANDERS, LAKIESHA                                       Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes


  2.1246
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           SANFORD, SARAH                                          Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes


  2.1247
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           SANSONE, KIRA                                           Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.1248
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           SAVOIA, ROSEMARY                                        Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes


  2.1249
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           SCHEINER, JACLYN                                        Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes


  2.1250
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           SCHUETTE, PAUL                                          Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.1251
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           SCHULTZ, JUDITH                                         Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes


  2.1252
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           SCHUTTS, BRAD                                           Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes


  2.1253
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           SCHWARTZ, DAVID                                         Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.1254
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           SCOTT, SUZANNE                                          Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes


  2.1255
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           SEEHERMAN, ELISA                                        Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes


  2.1256
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           SEN, PRIYANJALI                                         Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
         Name
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  2.1257
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           SETRAKIAN, EDWARD                                       Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes


  2.1258
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           SEWELL, JUSTIN                                          Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes


  2.1259
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           SHERIDAN, MICHAEL                                       Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  2.1260
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           SIDLOW, STEPHANIE                                       Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes


  2.1261
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           SKOOG, SUSAN                                            Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes


  2.1262
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           SMART, JOSEPH                                           Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
         Name
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  2.1263
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           SMITH, CODY                                             Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes


  2.1264
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           SONSINO, MICHELLE                                       Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes


  2.1265
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           SORRENTINO, ANNA                                        Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
         Name
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  2.1266
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           SPENCER, LORI                                           Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes


  2.1267
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           SQUADRITO, JAMES                                        Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes


  2.1268
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           STAUFFER, ANNE                                          Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
         Name
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  2.1269
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           STAVEN, KARL                                            Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes


  2.1270
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           STUHMER, MARCELINO                                      Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes


  2.1271
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           SYLVESTER, GINA                                         Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
         Name
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  2.1272
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           TATE, CAROLINE                                          Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes


  2.1273
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           THOMAS, DAVID                                           Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes


  2.1274
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           THOMPSON, JULIA                                         Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
         Name
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  2.1275
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           THURMAN, KATHRYN                                        Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes


  2.1276
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           TOCCHET, MARK                                           Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes


  2.1277
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           TORRES, JOELY                                           Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
         Name
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  2.1278
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           TUCKER, DANIEL                                          Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes


  2.1279
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           VANHORN, ERIK                                           Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes


  2.1280
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           VIEIRA DA CUNHA, ELIZABETH                              Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
         Name
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  2.1281
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           WALBRIDGE, MORGAN                                       Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes


  2.1282
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           WALK, KERRY                                             Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes


  2.1283
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           WALKER, KAITLYN                                         Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
         Name
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  2.1284
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           WALL, MICHELLE                                          Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes


  2.1285
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           WANG, XIAOFENG                                          Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes


  2.1286
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           WEAVER, THOMAS                                          Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
         Name
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  2.1287
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           WHITE, MIRIAM                                           Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes


  2.1288
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           WICHRYK, ADAM                                           Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes


  2.1289
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           WILSON, CARLA                                           Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
         Name
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  2.1290
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           WOODARD, JULIANA                                        Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes


  2.1291
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           YEH, LI-CHIU                                            Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes


  2.1292
                                                                   As of the petition filing date, the claim is:      UNDETERMINED                              $0.00
           YODER, JOANNA                                           Check all that apply.
           [ADDRESS ON FILE]
                                                                       Contingent

           Date or dates debt was incurred                             Unliquidated

                                                                       Disputed
           Last 4 digits of account number
                                                                   Basis for the claim:
                                                                   POTENTIAL WARN ACT CLAIM
           Specify Code subsection of PRIORITY unsecured
                                                                   Is the claim subject to offset?
           claim:
           11 U.S.C. § 507(a) ( )                                     No

                                                                      Yes
Debtor   The University of the Arts_______________________________________________                       Case number (if known) 24-_____________________________________________
         Name
                                      Case 24-12140-BLS                       Doc 1          Filed 09/13/24                 Page 473 of 1042

  2.1293
                                                                            As of the petition filing date, the claim is:         UNDETERMINED                                     $0.00
            YURKANIN, MARK                                                  Check all that apply.
            [ADDRESS ON FILE]
                                                                                 Contingent

            Date or dates debt was incurred                                      Unliquidated

                                                                                 Disputed
            Last 4 digits of account number
                                                                            Basis for the claim:
                                                                            POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
                                                                            Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( )                                              No

                                                                                Yes


  2.1294
                                                                            As of the petition filing date, the claim is:         UNDETERMINED                                     $0.00
            ZARITT, JESSE                                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                                 Contingent

            Date or dates debt was incurred                                      Unliquidated

                                                                                 Disputed
            Last 4 digits of account number
                                                                            Basis for the claim:
                                                                            POTENTIAL WARN ACT CLAIM
            Specify Code subsection of PRIORITY unsecured
                                                                            Is the claim subject to offset?
            claim:
            11 U.S.C. § 507(a) ( )                                              No

                                                                                Yes

  Part 2:   List All Creditors with NONPRIORITY Unsecured Claims

  3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill out and attach the
  Additional Page of Part 2.

                                                                                                                                                                  Amount of claim

  3.1
                                                                                               As of the petition filing date, the claim is:                                 $18,724.04
            12TH STREET CATERING                                                               Check all that apply.
            3312 SPRING GARDEN ST # 20
                                                                                                    Contingent
            PHILADELPHIA, PA 19104-2552
                                                                                                    Unliquidated
            Date or dates debt was incurred
                                                                                                    Disputed

                                                                                               Basis for the claim:
                                                                                               OTHER A/P

                                                                                               Is the claim subject to offset?
                                                                                                   No

                                                                                                   Yes
Debtor   The University of the Arts_______________________________________________      Case number (if known) 24-_____________________________________________
         Name
                                  Case 24-12140-BLS                  Doc 1       Filed 09/13/24       Page 474 of 1042
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
         Name
                                  Case 24-12140-BLS                  Doc 1       Filed 09/13/24                Page 475 of 1042

  3.2
                                                                                     As of the petition filing date, the claim is:              UNDETERMINED
           14 WA PARTNERS LP                                                         Check all that apply.
           ATTN: JACOB W. SEGAL
                                                                                         Contingent
           1425 WALNUT STREET
           SUITE 300                                                                     Unliquidated
           PHILADELPIA, PA 19102
                                                                                         Disputed
           Date or dates debt was incurred                                           Basis for the claim:
           7/29/2024                                                                 LITIGATION

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.3
                                                                                     As of the petition filing date, the claim is:                         $44,028.91
           1401 WALNUT RETAIL ACQUISITION, LP                                        Check all that apply.
           110 SOUTH 19TH ST
                                                                                         Contingent
           STE 300
           PHILADELPHIA, PA 19103                                                        Unliquidated

                                                                                         Disputed
           Date or dates debt was incurred
                                                                                     Basis for the claim:
                                                                                     OTHER A/P
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.4
                                                                                     As of the petition filing date, the claim is:                            $670.00
           AAA SUNFLOWER FLORIST, INC.                                               Check all that apply.
           449 NORTH 12TH ST.
                                                                                         Contingent
           UNIT A
           PHILADELPHIA, PA 19123                                                        Unliquidated

                                                                                         Disputed
           Date or dates debt was incurred
                                                                                     Basis for the claim:
                                                                                     OTHER A/P

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.5
                                                                                     As of the petition filing date, the claim is:                            $450.00
           AARON VADERS-COLLINS                                                      Check all that apply.
           [ADDRESS ON FILE]
                                                                                         Contingent

           Date or dates debt was incurred                                               Unliquidated

                                                                                         Disputed
                                                                                     Basis for the claim:
                                                                                     OUTSTANDING CHECK

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
         Name
                                  Case 24-12140-BLS                  Doc 1       Filed 09/13/24                Page 476 of 1042

  3.6
                                                                                     As of the petition filing date, the claim is:              UNDETERMINED
           ABBY MOORHOUSE                                                            Check all that apply.
           C/O LYNCH CARPENTER, LLP
                                                                                         Contingent
           ATTN: GARY F. LYNCH
           1133 PENN AVENUE, 5TH FLOOR                                                   Unliquidated
           PITTSBURGH, PA 15222
                                                                                         Disputed

           Date or dates debt was incurred                                           Basis for the claim:
           8/13/2024                                                                 LITIGATION

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.7
                                                                                     As of the petition filing date, the claim is:              UNDETERMINED
           ABBY MOORHOUSE                                                            Check all that apply.
           WELLS MOORE SIMMONS & HUBBARD PLLC
                                                                                         Contingent
           ATTN: SETH C. LITTLE
           4450 OLD CANTON RD, POBOX 1970                                                Unliquidated
           JACKSON, MS 39215
                                                                                         Disputed
           Date or dates debt was incurred                                           Basis for the claim:
           8/13/2024                                                                 LITIGATION

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.8
                                                                                     As of the petition filing date, the claim is:                          $8,000.00
           ACE METAPHOR PODCAST TOUR/NATASHA MORELAND SPEARS                         Check all that apply.
                                                                                         Contingent
           Date or dates debt was incurred
                                                                                         Unliquidated

                                                                                         Disputed
                                                                                     Basis for the claim:
                                                                                     RENTAL EVENT REFUNDS
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.9
                                                                                     As of the petition filing date, the claim is:              UNDETERMINED
           ACKER ET AL V. UNIVERSITY OF THE ARTS                                     Check all that apply.
           C/O LEVIN SEDRAN & BERMAN PA
                                                                                         Contingent
           ATTN: NICHOLAS ELIA & DAVID C. LEVIN
           510 WALNUT STREET, STE. 500                                                   Unliquidated
           PHILADELPIA, PA 19106
                                                                                         Disputed
           Date or dates debt was incurred                                           Basis for the claim:
           6/6/2024                                                                  LITIGATION

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
         Name
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  3.10
                                                                                     As of the petition filing date, the claim is:                         $18,780.00
           ACS SERVICES, LLC                                                         Check all that apply.
           831 LINCOLN AVE
                                                                                         Contingent
           UNIT D-14
           W. CHESTER, PA 19380                                                          Unliquidated

                                                                                         Disputed
           Date or dates debt was incurred
                                                                                     Basis for the claim:
                                                                                     TRADE PAYABLE

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.11
                                                                                     As of the petition filing date, the claim is:                          $1,517.04
           ADSTRA                                                                    Check all that apply.
                                                                                         Contingent
           Date or dates debt was incurred
                                                                                         Unliquidated

                                                                                         Disputed

                                                                                     Basis for the claim:
                                                                                     OTHER A/P
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.12
                                                                                     As of the petition filing date, the claim is:                             $25.25
           AH-YOUNG KIM                                                              Check all that apply.
           [ADDRESS ON FILE]
                                                                                         Contingent

           Date or dates debt was incurred                                               Unliquidated

                                                                                         Disputed
                                                                                     Basis for the claim:
                                                                                     EMPLOYEE REIMBURSEMENTS
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.13
                                                                                     As of the petition filing date, the claim is:              UNDETERMINED
           AIDEN ANKLI                                                               Check all that apply.
           C/O LEVIN SEDRAN & BERMAN PA
                                                                                         Contingent
           ATTN: NICHOLAS ELIA & DAVID C. LEVIN
           510 WALNUT STREET, STE. 500                                                   Unliquidated
           PHILADELPIA, PA 19106
                                                                                         Disputed
           Date or dates debt was incurred                                           Basis for the claim:
           6/6/2024                                                                  LITIGATION

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
         Name
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  3.14
                                                                                     As of the petition filing date, the claim is:                            $839.84
           ALEXANDRA K. COLBURN                                                      Check all that apply.
           [ADDRESS ON FILE]
                                                                                         Contingent

           Date or dates debt was incurred                                               Unliquidated

                                                                                         Disputed

                                                                                     Basis for the claim:
                                                                                     OUTSTANDING CHECK

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.15
                                                                                     As of the petition filing date, the claim is:                             $56.00
           ALISON MARTINE                                                            Check all that apply.
           [ADDRESS ON FILE]
                                                                                         Contingent

           Date or dates debt was incurred                                               Unliquidated

                                                                                         Disputed
                                                                                     Basis for the claim:
                                                                                     OTHER 1099 - INDIVIDUALS CONTRACT WORK

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes


  3.16
                                                                                     As of the petition filing date, the claim is:                          $2,580.00
           ALLIED PIANO & FINISH LLC                                                 Check all that apply.
           3096 BRISTOL RD
                                                                                         Contingent
           WARRINGTON, PA 18976
                                                                                         Unliquidated
           Date or dates debt was incurred
                                                                                         Disputed

                                                                                     Basis for the claim:
                                                                                     OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.17
                                                                                     As of the petition filing date, the claim is:                         $13,357.00
           ALLIED UNIVERSAL SECURITY SRVS.                                           Check all that apply.
           PO BOX 828854
                                                                                         Contingent
           PHILADELPHIA, PA 19182-8854
                                                                                         Unliquidated
           Date or dates debt was incurred
                                                                                         Disputed
                                                                                     Basis for the claim:
                                                                                     TRADE PAYABLE

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
         Name
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  3.18
                                                                                     As of the petition filing date, the claim is:                             $23.85
           ALLISON F. WRIGHT                                                         Check all that apply.
           [ADDRESS ON FILE]
                                                                                         Contingent

           Date or dates debt was incurred                                               Unliquidated

                                                                                         Disputed

                                                                                     Basis for the claim:
                                                                                     OUTSTANDING CHECK

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.19
                                                                                     As of the petition filing date, the claim is:              UNDETERMINED
           ALVAREZ & MARSAL NORTH AMERICA, LLC                                       Check all that apply.
           600 MADISON AVENUE
                                                                                         Contingent
           NEW YORK, NY 10022
                                                                                         Unliquidated
           Date or dates debt was incurred
                                                                                         Disputed
                                                                                     Basis for the claim:
                                                                                     PROFESSIONAL FEES

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.20
                                                                                     As of the petition filing date, the claim is:                            $300.00
           AMY ANDERS                                                                Check all that apply.
           [ADDRESS ON FILE]
                                                                                         Contingent

           Date or dates debt was incurred                                               Unliquidated

                                                                                         Disputed

                                                                                     Basis for the claim:
                                                                                     OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.21
                                                                                     As of the petition filing date, the claim is:                            $100.00
           AMY M. BURNS                                                              Check all that apply.
           [ADDRESS ON FILE]
                                                                                         Contingent

           Date or dates debt was incurred                                               Unliquidated

                                                                                         Disputed
                                                                                     Basis for the claim:
                                                                                     OTHER 1099 - INDIVIDUALS CONTRACT WORK

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
         Name
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  3.22
                                                                                     As of the petition filing date, the claim is:                            $137.50
           AMY TIGHE                                                                 Check all that apply.
           [ADDRESS ON FILE]
                                                                                         Contingent

           Date or dates debt was incurred                                               Unliquidated

                                                                                         Disputed
                                                                                     Basis for the claim:
                                                                                     OTHER 1099 - INDIVIDUALS CONTRACT WORK

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.23
                                                                                     As of the petition filing date, the claim is:                            $113.00
           ANDREA SCOTT-HARRIS                                                       Check all that apply.
           [ADDRESS ON FILE]
                                                                                         Contingent

           Date or dates debt was incurred                                               Unliquidated

                                                                                         Disputed

                                                                                     Basis for the claim:
                                                                                     OUTSTANDING CHECK

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.24
                                                                                     As of the petition filing date, the claim is:                             $56.00
           ANDREW E. LE                                                              Check all that apply.
           [ADDRESS ON FILE]
                                                                                         Contingent

           Date or dates debt was incurred                                               Unliquidated

                                                                                         Disputed
                                                                                     Basis for the claim:
                                                                                     OTHER 1099 - INDIVIDUALS CONTRACT WORK

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes


  3.25
                                                                                     As of the petition filing date, the claim is:                             $67.16
           ANDREW M. PACK                                                            Check all that apply.
           [ADDRESS ON FILE]
                                                                                         Contingent

           Date or dates debt was incurred                                               Unliquidated

                                                                                         Disputed

                                                                                     Basis for the claim:
                                                                                     OUTSTANDING CHECK

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
         Name
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  3.26
                                                                                     As of the petition filing date, the claim is:              UNDETERMINED
           ANDREW PACK                                                               Check all that apply.
           [ADDRESS ON FILE]
                                                                                         Contingent

           Date or dates debt was incurred                                               Unliquidated

                                                                                         Disputed

                                                                                     Basis for the claim:
                                                                                     SEVERENCE

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes


  3.27
                                                                                     As of the petition filing date, the claim is:                          $3,304.00
           ANNA CRUSIS FEMINIST CHOIR                                                Check all that apply.
           PO BOX 42277
                                                                                         Contingent
           PHILADELPHIA, PA 19101
                                                                                         Unliquidated
           Date or dates debt was incurred
                                                                                         Disputed
                                                                                     Basis for the claim:
                                                                                     RENTAL EVENT REFUNDS
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.28
                                                                                     As of the petition filing date, the claim is:                            $500.00
           ANNA MARIA YEAKLEY                                                        Check all that apply.
           [ADDRESS ON FILE]
                                                                                         Contingent

           Date or dates debt was incurred                                               Unliquidated

                                                                                         Disputed
                                                                                     Basis for the claim:
                                                                                     OTHER 1099 - INDIVIDUALS CONTRACT WORK

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes


  3.29
                                                                                     As of the petition filing date, the claim is:                            $170.00
           ANSELM DASTNER                                                            Check all that apply.
           [ADDRESS ON FILE]
                                                                                         Contingent

           Date or dates debt was incurred                                               Unliquidated

                                                                                         Disputed

                                                                                     Basis for the claim:
                                                                                     EMPLOYEE REIMBURSEMENTS

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
         Name
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  3.30
                                                                                     As of the petition filing date, the claim is:                            $100.00
           ANTONIA HOWARD                                                            Check all that apply.
           [ADDRESS ON FILE]
                                                                                         Contingent

           Date or dates debt was incurred                                               Unliquidated

                                                                                         Disputed

                                                                                     Basis for the claim:
                                                                                     OUTSTANDING CHECK

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes


  3.31
                                                                                     As of the petition filing date, the claim is:                            $150.00
           ANTWAN JONES                                                              Check all that apply.
           [ADDRESS ON FILE]
                                                                                         Contingent

           Date or dates debt was incurred                                               Unliquidated

                                                                                         Disputed
                                                                                     Basis for the claim:
                                                                                     OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.32
                                                                                     As of the petition filing date, the claim is:                            $200.00
           ANUKAM EDWARD OPARA                                                       Check all that apply.
           [ADDRESS ON FILE]
                                                                                         Contingent

           Date or dates debt was incurred                                               Unliquidated

                                                                                         Disputed
                                                                                     Basis for the claim:
                                                                                     OUTSTANDING CHECK

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes


  3.33
                                                                                     As of the petition filing date, the claim is:                            $300.00
           ARAM KIM                                                                  Check all that apply.
           [ADDRESS ON FILE]
                                                                                         Contingent

           Date or dates debt was incurred                                               Unliquidated

                                                                                         Disputed

                                                                                     Basis for the claim:
                                                                                     OTHER 1099 - INDIVIDUALS CONTRACT WORK

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
         Name
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  3.34
                                                                                     As of the petition filing date, the claim is:                       $228,790.38
           ARAMARK SERVICES, INC.                                                    Check all that apply.
           ARAMARK DALLAS LOCKBOX
                                                                                         Contingent
           PO BOX 978839
           DALLAS, TX 75397-8839                                                         Unliquidated

                                                                                         Disputed
           Date or dates debt was incurred
                                                                                     Basis for the claim:
                                                                                     TRADE PAYABLE

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes


  3.35
                                                                                     As of the petition filing date, the claim is:                         $45,853.36
           ARCHER & GREINER P.C.                                                     Check all that apply.
           [ADDRESS ON FILE]
                                                                                         Contingent

           Date or dates debt was incurred                                               Unliquidated

                                                                                         Disputed
                                                                                     Basis for the claim:
                                                                                     OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.36
                                                                                     As of the petition filing date, the claim is:                          $1,000.00
           ARDEN THEATRE CO                                                          Check all that apply.
           40 N 2ND ST
                                                                                         Contingent
           PHILADELPHIA, PA 19106-4504
                                                                                         Unliquidated
           Date or dates debt was incurred
                                                                                         Disputed
                                                                                     Basis for the claim:
                                                                                     OUTSTANDING CHECK

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.37
                                                                                     As of the petition filing date, the claim is:              UNDETERMINED
           ARIANNA OLIVIERI                                                          Check all that apply.
           C/O LEVIN SEDRAN & BERMAN PA
                                                                                         Contingent
           ATTN: NICHOLAS ELIA & DAVID C. LEVIN
           510 WALNUT STREET, STE. 500                                                   Unliquidated
           PHILADELPIA, PA 19106
                                                                                         Disputed
           Date or dates debt was incurred                                           Basis for the claim:
           6/6/2024                                                                  LITIGATION

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
         Name
                                  Case 24-12140-BLS                  Doc 1       Filed 09/13/24                Page 484 of 1042

  3.38
                                                                                     As of the petition filing date, the claim is:                            $100.00
           ARRAYA SOLUTIONS, INC                                                     Check all that apply.
           518 TOWNSHIP LINE RD
                                                                                         Contingent
           STE 250
           BLUE BELL, PA 19422                                                           Unliquidated

                                                                                         Disputed
           Date or dates debt was incurred
                                                                                     Basis for the claim:
                                                                                     OUTSTANDING CHECK

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes


  3.39
                                                                                     As of the petition filing date, the claim is:                            $273.71
           ASHON T. CRAWLEY                                                          Check all that apply.
           [ADDRESS ON FILE]
                                                                                         Contingent

           Date or dates debt was incurred                                               Unliquidated

                                                                                         Disputed
                                                                                     Basis for the claim:
                                                                                     OUTSTANDING CHECK
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.40
                                                                                     As of the petition filing date, the claim is:                            $828.25
           AT&T MOBILITY                                                             Check all that apply.
                                                                                         Contingent
           Date or dates debt was incurred
                                                                                         Unliquidated

                                                                                         Disputed
                                                                                     Basis for the claim:
                                                                                     OTHER A/P

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.41
                                                                                     As of the petition filing date, the claim is:                          $1,500.00
           AUDREY L. ELLIS                                                           Check all that apply.
           [ADDRESS ON FILE]
                                                                                         Contingent

           Date or dates debt was incurred                                               Unliquidated

                                                                                         Disputed

                                                                                     Basis for the claim:
                                                                                     1099 - PHD ADVISORS

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
         Name
                                  Case 24-12140-BLS                  Doc 1       Filed 09/13/24                Page 485 of 1042

  3.42
                                                                                     As of the petition filing date, the claim is:                            $435.00
           AZALEA V DIOMEDE                                                          Check all that apply.
           [ADDRESS ON FILE]
                                                                                         Contingent

           Date or dates debt was incurred                                               Unliquidated

                                                                                         Disputed

                                                                                     Basis for the claim:
                                                                                     OTHER 1099 - INDIVIDUALS CONTRACT WORK

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes


  3.43
                                                                                     As of the petition filing date, the claim is:              UNDETERMINED
           BALLARD SPAHR                                                             Check all that apply.
           PO BOX 825465
                                                                                         Contingent
           PHILADELPHIA, PA 19182-5465
                                                                                         Unliquidated
           Date or dates debt was incurred
                                                                                         Disputed
                                                                                     Basis for the claim:
                                                                                     PROFESSIONAL FEES
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.44
                                                                                     As of the petition filing date, the claim is:                            $400.00
           BAYMOND ANDREW MACEDONIA                                                  Check all that apply.
           [ADDRESS ON FILE]
                                                                                         Contingent

           Date or dates debt was incurred                                               Unliquidated

                                                                                         Disputed
                                                                                     Basis for the claim:
                                                                                     OUTSTANDING CHECK

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.45
                                                                                     As of the petition filing date, the claim is:                          $7,704.20
           BELLEVUE STRATEGIES, LLC                                                  Check all that apply.
           [ADDRESS ON FILE]
                                                                                         Contingent

           Date or dates debt was incurred                                               Unliquidated

                                                                                         Disputed
                                                                                     Basis for the claim:
                                                                                     OTHER 1099 - INDIVIDUALS CONTRACT WORK

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
         Name
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  3.46
                                                                                     As of the petition filing date, the claim is:                          $1,344.00
           BENJAMIN BARNETT                                                          Check all that apply.
                                                                                         Contingent
           Date or dates debt was incurred
                                                                                         Unliquidated

                                                                                         Disputed

                                                                                     Basis for the claim:
                                                                                     RENTAL EVENT REFUNDS

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.47
                                                                                     As of the petition filing date, the claim is:              UNDETERMINED
           BETH COUTURE                                                              Check all that apply.
           C/O EDELSON LECHTZIN LLP
                                                                                         Contingent
           ATTN: MARC H. EDELSON, SHOSHANA MICHELLE SAVETT, ERIC
           LECHTZIN                                                                      Unliquidated
           411 S. STATE STREET, SUITE N-300
           NEWTOWN, PA 18940                                                             Disputed
                                                                                     Basis for the claim:
           Date or dates debt was incurred                                           LITIGATION
           6/4/2024
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes


  3.48
                                                                                     As of the petition filing date, the claim is:              UNDETERMINED
           BETH COUTURE                                                              Check all that apply.
           C/O WILLIG WILLIAMS & DAVIDSON
                                                                                         Contingent
           ATTN: RYAN ALLEN HANCOCK, JORDAN KONELL
           1845 WALNUT STREET, 24TH FLOOR                                                Unliquidated
           PHILADELPIA, PA 19103
                                                                                         Disputed
           Date or dates debt was incurred                                           Basis for the claim:
           6/4/2024                                                                  LITIGATION
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.49
                                                                                     As of the petition filing date, the claim is:                          $4,624.00
           BLACKSTAR FILM FESTIVAL                                                   Check all that apply.
           1901 SOUTH 9TH STREET
                                                                                         Contingent
           BOK 414
           PHILADELPHIA, PA 19148                                                        Unliquidated

           Date or dates debt was incurred                                               Disputed
                                                                                     Basis for the claim:
                                                                                     RENTAL EVENT REFUNDS
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
         Name
                                  Case 24-12140-BLS                  Doc 1       Filed 09/13/24                Page 487 of 1042

  3.50
                                                                                     As of the petition filing date, the claim is:                            $100.00
           BLUE WIZARD MUSIC LLC                                                     Check all that apply.
           [ADDRESS ON FILE]
                                                                                         Contingent

           Date or dates debt was incurred                                               Unliquidated

                                                                                         Disputed
                                                                                     Basis for the claim:
                                                                                     OTHER 1099 - INDIVIDUALS CONTRACT WORK

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.51
                                                                                     As of the petition filing date, the claim is:              UNDETERMINED
           BRAD M. SCHUTTS                                                           Check all that apply.
           C/O EDELSON LECHTZIN LLP
                                                                                         Contingent
           ATTN: MARC H. EDELSON, SHOSHANA MICHELLE SAVETT, ERIC
           LECHTZIN                                                                      Unliquidated
           411 S. STATE STREET, SUITE N-300
           NEWTOWN, PA 18940                                                             Disputed
                                                                                     Basis for the claim:
           Date or dates debt was incurred                                           LITIGATION
           6/4/2024
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.52
                                                                                     As of the petition filing date, the claim is:              UNDETERMINED
           BRAD M. SCHUTTS                                                           Check all that apply.
           C/O WILLIG WILLIAMS & DAVIDSON
                                                                                         Contingent
           ATTN: RYAN ALLEN HANCOCK, JORDAN KONELL
           1845 WALNUT STREET, 24TH FLOOR                                                Unliquidated
           PHILADELPIA, PA 19103
                                                                                         Disputed
           Date or dates debt was incurred                                           Basis for the claim:
           6/4/2024                                                                  LITIGATION
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes


  3.53
                                                                                     As of the petition filing date, the claim is:              UNDETERMINED
           BRADLEY PHILBERT                                                          Check all that apply.
           C/O EDELSON LECHTZIN LLP
                                                                                         Contingent
           ATTN: MARC H. EDELSON, SHOSHANA MICHELLE SAVETT, ERIC
           LECHTZIN                                                                      Unliquidated
           411 S. STATE STREET, SUITE N-300
           NEWTOWN, PA 18940                                                             Disputed
                                                                                     Basis for the claim:
           Date or dates debt was incurred                                           LITIGATION
           6/4/2024
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
         Name
                                  Case 24-12140-BLS                  Doc 1       Filed 09/13/24                Page 488 of 1042

  3.54
                                                                                     As of the petition filing date, the claim is:              UNDETERMINED
           BRADLEY PHILBERT                                                          Check all that apply.
           C/O WILLIG WILLIAMS & DAVIDSON
                                                                                         Contingent
           ATTN: RYAN ALLEN HANCOCK, JORDAN KONELL, SAMUEL H. DATLOF
           1845 WALNUT STREET, 24TH FLOOR                                                Unliquidated
           PHILADELPIA, PA 19103
                                                                                         Disputed
           Date or dates debt was incurred                                           Basis for the claim:
           6/5/2024                                                                  LITIGATION

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.55
                                                                                     As of the petition filing date, the claim is:              UNDETERMINED
           BRADLEY PHILBERT                                                          Check all that apply.
           C/O WILLIG WILLIAMS & DAVIDSON
                                                                                         Contingent
           ATTN: RYAN ALLEN HANCOCK, JORDAN KONELL
           1845 WALNUT STREET, 24TH FLOOR                                                Unliquidated
           PHILADELPIA, PA 19103
                                                                                         Disputed
           Date or dates debt was incurred                                           Basis for the claim:
           6/4/2024                                                                  LITIGATION
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.56
                                                                                     As of the petition filing date, the claim is:                            $192.00
           BREE KLAUSER                                                              Check all that apply.
           [ADDRESS ON FILE]
                                                                                         Contingent

           Date or dates debt was incurred                                               Unliquidated

                                                                                         Disputed

                                                                                     Basis for the claim:
                                                                                     OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.57
                                                                                     As of the petition filing date, the claim is:                             $25.25
           BRENNA M. GEFFERS                                                         Check all that apply.
           [ADDRESS ON FILE]
                                                                                         Contingent

           Date or dates debt was incurred                                               Unliquidated

                                                                                         Disputed
                                                                                     Basis for the claim:
                                                                                     OUTSTANDING CHECK
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
         Name
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  3.58
                                                                                     As of the petition filing date, the claim is:                            $335.00
           BRIAN GRAZIANI                                                            Check all that apply.
           [ADDRESS ON FILE]
                                                                                         Contingent

           Date or dates debt was incurred                                               Unliquidated

                                                                                         Disputed
                                                                                     Basis for the claim:
                                                                                     OUTSTANDING CHECK

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.59
                                                                                     As of the petition filing date, the claim is:                         $24,847.22
           BRILLIANT GRAPHICS                                                        Check all that apply.
           400 EAGLEVIEW BLVD.
                                                                                         Contingent
           STE. 104
           EXTON, PA 19341                                                               Unliquidated

           Date or dates debt was incurred                                               Disputed
                                                                                     Basis for the claim:
                                                                                     OTHER A/P

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.60
                                                                                     As of the petition filing date, the claim is:                          $4,000.00
           BROAD STREET COMMUNICATIONS                                               Check all that apply.
           99 WALL ST
                                                                                         Contingent
           NEW YORK, NY 10005
                                                                                         Unliquidated
           Date or dates debt was incurred
                                                                                         Disputed
                                                                                     Basis for the claim:
                                                                                     OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes


  3.61
                                                                                     As of the petition filing date, the claim is:                          $4,000.00
           BROADWAY ARTISTS ALLIANCE, LLC                                            Check all that apply.
           55 LEONARDVILLE RD. STE101
                                                                                         Contingent
           BELFORD, NJ 07718
                                                                                         Unliquidated
           Date or dates debt was incurred
                                                                                         Disputed
                                                                                     Basis for the claim:
                                                                                     OTHER A/P
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
         Name
                                  Case 24-12140-BLS                  Doc 1       Filed 09/13/24                Page 490 of 1042

  3.62
                                                                                     As of the petition filing date, the claim is:                          $3,311.50
           BROADWAY INBOUND, INC.                                                    Check all that apply.
           [ADDRESS ON FILE]
                                                                                         Contingent

           Date or dates debt was incurred                                               Unliquidated

                                                                                         Disputed
                                                                                     Basis for the claim:
                                                                                     OUTSTANDING CHECK

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.63
                                                                                     As of the petition filing date, the claim is:                          $2,723.00
           BRUCE FELTON                                                              Check all that apply.
           [ADDRESS ON FILE]
                                                                                         Contingent

           Date or dates debt was incurred                                               Unliquidated

                                                                                         Disputed
                                                                                     Basis for the claim:
                                                                                     OUTSTANDING CHECK
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.64
                                                                                     As of the petition filing date, the claim is:                          $2,376.00
           BUILDING INDUSTRY ASSOCIATION OF PHILADELPHIA                             Check all that apply.
           1735 MARKET STREET, SUITE 432A
                                                                                         Contingent
           PHILADELPHIA, PA 19103
                                                                                         Unliquidated
           Date or dates debt was incurred
                                                                                         Disputed

                                                                                     Basis for the claim:
                                                                                     RENTAL EVENT REFUNDS
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.65
                                                                                     As of the petition filing date, the claim is:              UNDETERMINED
           CAROLINA BLATT                                                            Check all that apply.
           C/O EDELSON LECHTZIN LLP
                                                                                         Contingent
           ATTN: MARC H. EDELSON, SHOSHANA MICHELLE SAVETT, ERIC
           LECHTZIN                                                                      Unliquidated
           411 S. STATE STREET, SUITE N-300
           NEWTOWN, PA 18940                                                             Disputed

                                                                                     Basis for the claim:
           Date or dates debt was incurred                                           LITIGATION
           6/4/2024
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
         Name
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  3.66
                                                                                     As of the petition filing date, the claim is:              UNDETERMINED
           CAROLINA BLATT                                                            Check all that apply.
           C/O WILLIG WILLIAMS & DAVIDSON
                                                                                         Contingent
           ATTN: RYAN ALLEN HANCOCK, JORDAN KONELL
           1845 WALNUT STREET, 24TH FLOOR                                                Unliquidated
           PHILADELPIA, PA 19103
                                                                                         Disputed
           Date or dates debt was incurred                                           Basis for the claim:
           6/4/2024                                                                  LITIGATION

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.67
                                                                                     As of the petition filing date, the claim is:                            $300.00
           CAROLYN L. ANELLO                                                         Check all that apply.
           [ADDRESS ON FILE]
                                                                                         Contingent

           Date or dates debt was incurred                                               Unliquidated

                                                                                         Disputed
                                                                                     Basis for the claim:
                                                                                     OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.68
                                                                                     As of the petition filing date, the claim is:                            $300.00
           CASEY MOSES                                                               Check all that apply.
           [ADDRESS ON FILE]
                                                                                         Contingent

           Date or dates debt was incurred                                               Unliquidated

                                                                                         Disputed
                                                                                     Basis for the claim:
                                                                                     OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes


  3.69
                                                                                     As of the petition filing date, the claim is:                            $800.00
           CATHERINE COONEY                                                          Check all that apply.
           [ADDRESS ON FILE]
                                                                                         Contingent

           Date or dates debt was incurred                                               Unliquidated

                                                                                         Disputed
                                                                                     Basis for the claim:
                                                                                     OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
         Name
                                  Case 24-12140-BLS                  Doc 1       Filed 09/13/24                Page 492 of 1042

  3.70
                                                                                     As of the petition filing date, the claim is:                            $300.00
           CATHERINE HORAN                                                           Check all that apply.
           [ADDRESS ON FILE]
                                                                                         Contingent

           Date or dates debt was incurred                                               Unliquidated

                                                                                         Disputed
                                                                                     Basis for the claim:
                                                                                     OTHER 1099 - INDIVIDUALS CONTRACT WORK

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.71
                                                                                     As of the petition filing date, the claim is:                          $2,100.00
           CATHERINE RAMIREZ                                                         Check all that apply.
           [ADDRESS ON FILE]
                                                                                         Contingent

           Date or dates debt was incurred                                               Unliquidated

                                                                                         Disputed
                                                                                     Basis for the claim:
                                                                                     OUTSTANDING CHECK
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.72
                                                                                     As of the petition filing date, the claim is:              UNDETERMINED
           CAWLEY ET AL V. THE UNIVERSITY OF THE ARTS                                Check all that apply.
           C/O WILLIG WILLIAMS & DAVIDSON
                                                                                         Contingent
           ATTN: RYAN ALLEN HANCOCK, JORDAN KONELL, SAMUEL H. DATLOF
           1845 WALNUT STREET, 24TH FLOOR                                                Unliquidated
           PHILADELPIA, PA 19103
                                                                                         Disputed
           Date or dates debt was incurred                                           Basis for the claim:
           6/5/2024                                                                  LITIGATION

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.73
                                                                                     As of the petition filing date, the claim is:                            $235.19
           CCS                                                                       Check all that apply.
           PO BOX 419560
                                                                                         Contingent
           BOSTON, MA 02241-9560
                                                                                         Unliquidated
           Date or dates debt was incurred
                                                                                         Disputed

                                                                                     Basis for the claim:
                                                                                     OTHER A/P
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
         Name
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  3.74
                                                                                     As of the petition filing date, the claim is:                         $16,000.00
           CEISLER MEDIA & ISSUE ADVOCACY                                            Check all that apply.
           130 NORTH 18TH STREET
                                                                                         Contingent
           STE 1300
           PHILADELPHIA, PA 19103                                                        Unliquidated

                                                                                         Disputed
           Date or dates debt was incurred
                                                                                     Basis for the claim:
                                                                                     OTHER 1099 - INDIVIDUALS CONTRACT WORK

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.75
                                                                                     As of the petition filing date, the claim is:                          $1,125.00
           CFEVA                                                                     Check all that apply.
           237 SOUTH 18TH ST.
                                                                                         Contingent
           STE 3A
           PHILADELPHIA OPEN STUDIO TOURS                                                Unliquidated
           PHILADELPHIA, PA 19103
                                                                                         Disputed
           Date or dates debt was incurred                                           Basis for the claim:
                                                                                     OUTSTANDING CHECK
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.76
                                                                                     As of the petition filing date, the claim is:              UNDETERMINED
           CHARIS DUKE                                                               Check all that apply.
           C/O EDELSON LECHTZIN LLP
                                                                                         Contingent
           ATTN: MARC H. EDELSON, SHOSHANA MICHELLE SAVETT, ERIC
           LECHTZIN                                                                      Unliquidated
           411 S. STATE STREET, SUITE N-300
           NEWTOWN, PA 18940                                                             Disputed
                                                                                     Basis for the claim:
           Date or dates debt was incurred                                           LITIGATION
           6/4/2024
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes


  3.77
                                                                                     As of the petition filing date, the claim is:              UNDETERMINED
           CHARIS DUKE                                                               Check all that apply.
           C/O WILLIG WILLIAMS & DAVIDSON
                                                                                         Contingent
           ATTN: RYAN ALLEN HANCOCK, JORDAN KONELL, SAMUEL H. DATLOF
           1845 WALNUT STREET, 24TH FLOOR                                                Unliquidated
           PHILADELPIA, PA 19103
                                                                                         Disputed
           Date or dates debt was incurred                                           Basis for the claim:
           6/5/2024                                                                  LITIGATION
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
         Name
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  3.78
                                                                                     As of the petition filing date, the claim is:              UNDETERMINED
           CHARIS DUKE                                                               Check all that apply.
           C/O WILLIG WILLIAMS & DAVIDSON
                                                                                         Contingent
           ATTN: RYAN ALLEN HANCOCK, JORDAN KONELL
           1845 WALNUT STREET, 24TH FLOOR                                                Unliquidated
           PHILADELPIA, PA 19103
                                                                                         Disputed
           Date or dates debt was incurred                                           Basis for the claim:
           6/4/2024                                                                  LITIGATION

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.79
                                                                                     As of the petition filing date, the claim is:                            $350.00
           CHARLES C. BAUERMANN                                                      Check all that apply.
           [ADDRESS ON FILE]
                                                                                         Contingent

           Date or dates debt was incurred                                               Unliquidated

                                                                                         Disputed
                                                                                     Basis for the claim:
                                                                                     EMPLOYEE REIMBURSEMENTS
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.80
                                                                                     As of the petition filing date, the claim is:                            $100.00
           CHARLES HARTUNG, JR.                                                      Check all that apply.
           [ADDRESS ON FILE]
                                                                                         Contingent

           Date or dates debt was incurred                                               Unliquidated

                                                                                         Disputed

                                                                                     Basis for the claim:
                                                                                     OTHER 1099 - INDIVIDUALS CONTRACT WORK

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.81
                                                                                     As of the petition filing date, the claim is:                             $75.00
           CHARLES L. MILLER, JR.                                                    Check all that apply.
           [ADDRESS ON FILE]
                                                                                         Contingent

           Date or dates debt was incurred                                               Unliquidated

                                                                                         Disputed

                                                                                     Basis for the claim:
                                                                                     OUTSTANDING CHECK
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
         Name
                                  Case 24-12140-BLS                  Doc 1       Filed 09/13/24                Page 495 of 1042

  3.82
                                                                                     As of the petition filing date, the claim is:                            $980.04
           CHARLIE H. ETIENNE                                                        Check all that apply.
           [ADDRESS ON FILE]
                                                                                         Contingent

           Date or dates debt was incurred                                               Unliquidated

                                                                                         Disputed

                                                                                     Basis for the claim:
                                                                                     OTHER 1099 - INDIVIDUALS CONTRACT WORK

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.83
                                                                                     As of the petition filing date, the claim is:                            $150.00
           CHARLOTTE PROCTER                                                         Check all that apply.
           [ADDRESS ON FILE]
                                                                                         Contingent

           Date or dates debt was incurred                                               Unliquidated

                                                                                         Disputed
                                                                                     Basis for the claim:
                                                                                     OUTSTANDING CHECK
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.84
                                                                                     As of the petition filing date, the claim is:                             $25.00
           CHELSEA M. DAVIS                                                          Check all that apply.
           [ADDRESS ON FILE]
                                                                                         Contingent

           Date or dates debt was incurred                                               Unliquidated

                                                                                         Disputed
                                                                                     Basis for the claim:
                                                                                     OUTSTANDING CHECK
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes


  3.85
                                                                                     As of the petition filing date, the claim is:                          $1,478.00
           CHESTER COUNTY INTERMEDIATE UNIT                                          Check all that apply.
           455 BOOT ROAD
                                                                                         Contingent
           DOWNINGTOWN, PA 19335
                                                                                         Unliquidated
           Date or dates debt was incurred
                                                                                         Disputed
                                                                                     Basis for the claim:
                                                                                     RENTAL EVENT REFUNDS
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
         Name
                                  Case 24-12140-BLS                  Doc 1       Filed 09/13/24                Page 496 of 1042

  3.86
                                                                                     As of the petition filing date, the claim is:                            $350.00
           CHISOMO SELEMANI                                                          Check all that apply.
           [ADDRESS ON FILE]
                                                                                         Contingent

           Date or dates debt was incurred                                               Unliquidated

                                                                                         Disputed
                                                                                     Basis for the claim:
                                                                                     OUTSTANDING CHECK

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.87
                                                                                     As of the petition filing date, the claim is:                          $2,254.38
           CHRIS J. GASH                                                             Check all that apply.
           [ADDRESS ON FILE]
                                                                                         Contingent

           Date or dates debt was incurred                                               Unliquidated

                                                                                         Disputed
                                                                                     Basis for the claim:
                                                                                     EMPLOYEE REIMBURSEMENTS
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.88
                                                                                     As of the petition filing date, the claim is:                          $2,330.00
           CHRISTMAS, ROOSEVELT                                                      Check all that apply.
           5131 W. 139TH ST.
                                                                                         Contingent
           HAWTHORNE, CA 90250
                                                                                         Unliquidated
           Date or dates debt was incurred
                                                                                         Disputed
                                                                                     Basis for the claim:
                                                                                     OUTSTANDING CHECK

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.89
                                                                                     As of the petition filing date, the claim is:                          $1,019.00
           CHRISTOPHER A. TOCCHET                                                    Check all that apply.
           [ADDRESS ON FILE]
                                                                                         Contingent

           Date or dates debt was incurred                                               Unliquidated

                                                                                         Disputed

                                                                                     Basis for the claim:
                                                                                     OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
         Name
                                  Case 24-12140-BLS                  Doc 1       Filed 09/13/24                Page 497 of 1042

  3.90
                                                                                     As of the petition filing date, the claim is:                            $470.98
           CHRISTOPHER P. BLUEMEL                                                    Check all that apply.
           [ADDRESS ON FILE]
                                                                                         Contingent

           Date or dates debt was incurred                                               Unliquidated

                                                                                         Disputed

                                                                                     Basis for the claim:
                                                                                     OUTSTANDING CHECK

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes


  3.91
                                                                                     As of the petition filing date, the claim is:                            $215.85
           CINTAS                                                                    Check all that apply.
           PO BOX 631025
                                                                                         Contingent
           CINCINNATI, OH 45263-1025
                                                                                         Unliquidated
           Date or dates debt was incurred
                                                                                         Disputed
                                                                                     Basis for the claim:
                                                                                     OTHER A/P
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.92
                                                                                     As of the petition filing date, the claim is:                          $7,651.14
           CITY OF PHILADELPHIA                                                      Check all that apply.
                                                                                         Contingent
           Date or dates debt was incurred
                                                                                         Unliquidated

                                                                                         Disputed
                                                                                     Basis for the claim:
                                                                                     OUTSTANDING CHECK

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.93
                                                                                     As of the petition filing date, the claim is:                            $122.65
           CITY OF PHILADELPHIA                                                      Check all that apply.
           DEPARTMENT OF REVENUE / WATER
                                                                                         Contingent
           PO BOX 41496
           PHILADELPHIA, PA 19101-1496                                                   Unliquidated

           Date or dates debt was incurred                                               Disputed

                                                                                     Basis for the claim:
                                                                                     PRO FEES / UTILITIES / OTHER RECURRING

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes
Debtor   The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
         Name
                                  Case 24-12140-BLS                  Doc 1       Filed 09/13/24                Page 498 of 1042

  3.94
                                                                                     As of the petition filing date, the claim is:                          $3,346.00
           CLOUD CANVAS/PARIVEDA SOLUTIONS                                           Check all that apply.
           2811 MCKINNEY AVE
                                                                                         Contingent
           SUITE 320
           DALLAS, TX 75204                                                              Unliquidated

                                                                                         Disputed
           Date or dates debt was incurred
                                                                                     Basis for the claim:
                                                                                     RENTAL EVENT REFUNDS

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes


  3.95
                                                                                     As of the petition filing date, the claim is:                          $1,500.00
           COGENT COMMUNICATIONS, INC.                                               Check all that apply.
           PO BOX 791087
                                                                                         Contingent
           BALTIMORE, MD 21279-1087
                                                                                         Unliquidated
           Date or dates debt was incurred
                                                                                         Disputed
                                                                                     Basis for the claim:


                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.96
                                                                                     As of the petition filing date, the claim is:              UNDETERMINED
           COLIN KENNEY                                                              Check all that apply.
           C/O EDELSON LECHTZIN LLP
                                                                                         Contingent
           ATTN: MARC H. EDELSON, SHOSHANA MICHELLE SAVETT, ERIC
           LECHTZIN                                                                      Unliquidated
           411 S. STATE STREET, SUITE N-300
           NEWTOWN, PA 18940                                                             Disputed
                                                                                     Basis for the claim:
           Date or dates debt was incurred                                           LITIGATION
           6/4/2024
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes


  3.97
                                                                                     As of the petition filing date, the claim is:              UNDETERMINED
           COLIN KENNEY                                                              Check all that apply.
           C/O WILLIG WILLIAMS & DAVIDSON
                                                                                         Contingent
           ATTN: RYAN ALLEN HANCOCK, JORDAN KONELL, SAMUEL H. DATLOF
           1845 WALNUT STREET, 24TH FLOOR                                                Unliquidated
           PHILADELPIA, PA 19103
                                                                                         Disputed
           Date or dates debt was incurred                                           Basis for the claim:
           6/5/2024                                                                  LITIGATION
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.98
                                                                                      As of the petition filing date, the claim is:              UNDETERMINED
            COLIN KENNEY                                                              Check all that apply.
            C/O WILLIG WILLIAMS & DAVIDSON
                                                                                          Contingent
            ATTN: RYAN ALLEN HANCOCK, JORDAN KONELL
            1845 WALNUT STREET, 24TH FLOOR                                                Unliquidated
            PHILADELPIA, PA 19103
                                                                                          Disputed
            Date or dates debt was incurred                                           Basis for the claim:
            6/4/2024                                                                  LITIGATION

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.99
                                                                                      As of the petition filing date, the claim is:                          $8,123.75
            COLLEGENET, INC.                                                          Check all that apply.
            ATTN ACCOUNTS RECEIVABLE
                                                                                          Contingent
            805 SW BROADWAY
            STE 1600                                                                      Unliquidated
            PORTLAND, OR 97205
                                                                                          Disputed
            Date or dates debt was incurred                                           Basis for the claim:
                                                                                      OTHER A/P
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.100
                                                                                      As of the petition filing date, the claim is:                          $2,502.78
            COMPASS GROUP USA, INC.                                                   Check all that apply.
            TREASURY DEPARTMENT
                                                                                          Contingent
            2400 YORKMONT RD.
            CHARLOTTE, NC 28217                                                           Unliquidated

            Date or dates debt was incurred                                               Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER A/P
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.101
                                                                                      As of the petition filing date, the claim is:                         $23,776.51
            COMPASS GROUP                                                             Check all that apply.
            2400 YORKMONT ROAD
                                                                                          Contingent
            CHARLOTTE, NC 28217
                                                                                          Unliquidated
            Date or dates debt was incurred
                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      LAVERSON ANNUITY PAA MERGER
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
                                   Case 24-12140-BLS                  Doc 1       Filed 09/13/24                Page 500 of 1042

  3.102
                                                                                      As of the petition filing date, the claim is:                          $4,200.00
            COMPUTER DESIGN & INTEGRATION                                             Check all that apply.
            PO BOX 23246
                                                                                          Contingent
            NEW YORK, NY 10087-3246
                                                                                          Unliquidated
            Date or dates debt was incurred
                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      OTHER A/P

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.103
                                                                                      As of the petition filing date, the claim is:                            $300.00
            CONSTANCE MENSH                                                           Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.104
                                                                                      As of the petition filing date, the claim is:              UNDETERMINED
            COOLEY LLP                                                                Check all that apply.
            3 EMBARCADERO CENTER
                                                                                          Contingent
            20TH FLOOR
            SAN FRANCISCO, CA 94111-4004                                                  Unliquidated

            Date or dates debt was incurred                                               Disputed
                                                                                      Basis for the claim:
                                                                                      PROFESSIONAL FEES
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.105
                                                                                      As of the petition filing date, the claim is:              UNDETERMINED
            COZEN O'CONNOR                                                            Check all that apply.
            1200 19TH STREET NW
                                                                                          Contingent
            WASHINGTON , DC 20036
                                                                                          Unliquidated
            Date or dates debt was incurred
                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      PROFESSIONAL FEES
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.106
                                                                                      As of the petition filing date, the claim is:                            $500.00
            CRISTINE CHORY                                                            Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      EMPLOYEE REIMBURSEMENTS

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.107
                                                                                      As of the petition filing date, the claim is:                            $840.00
            CRITERION PICTURES                                                        Check all that apply.
            106 SAUNDERS RD. UNIT 6
                                                                                          Contingent
            BARRIE, ON L4N 9A8
                                                                                          Unliquidated
            Date or dates debt was incurred
                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER A/P
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.108
                                                                                      As of the petition filing date, the claim is:                         $16,774.39
            CRW GRAPHICS                                                              Check all that apply.
            9100 PENNSAUKEN HIGHWAY
                                                                                          Contingent
            PENNSAUKEN, NJ 08110
                                                                                          Unliquidated
            Date or dates debt was incurred
                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER A/P

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.109
                                                                                      As of the petition filing date, the claim is:                            $157.00
            CRYSTAL RIDLEY                                                            Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.110
                                                                                      As of the petition filing date, the claim is:                         $13,336.88
            D.C. HUMPHRYS CO INC.                                                     Check all that apply.
            5000 PASCHALL AVENUE
                                                                                          Contingent
            PHILADELPHIA, PA 19143-5136
                                                                                          Unliquidated
            Date or dates debt was incurred
                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER A/P

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.111
                                                                                      As of the petition filing date, the claim is:                            $868.95
            DAIRYS ESCOTO DE LEON                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      EMPLOYEE REIMBURSEMENTS
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.112
                                                                                      As of the petition filing date, the claim is:                         $10,929.00
            DANA GREGG                                                                Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.113
                                                                                      As of the petition filing date, the claim is:                          $2,318.10
            DANIEL C. HERTZBERG                                                       Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      EMPLOYEE REIMBURSEMENTS
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.114
                                                                                      As of the petition filing date, the claim is:              UNDETERMINED
            DANIEL O. TUCKER                                                          Check all that apply.
            C/O EDELSON LECHTZIN LLP
                                                                                          Contingent
            ATTN: MARC H. EDELSON, SHOSHANA MICHELLE SAVETT, ERIC
            LECHTZIN                                                                      Unliquidated
            411 S. STATE STREET, SUITE N-300
            NEWTOWN, PA 18940                                                             Disputed
                                                                                      Basis for the claim:
            Date or dates debt was incurred                                           LITIGATION
            6/4/2024
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.115
                                                                                      As of the petition filing date, the claim is:              UNDETERMINED
            DANIEL O. TUCKER                                                          Check all that apply.
            C/O WILLIG WILLIAMS & DAVIDSON
                                                                                          Contingent
            ATTN: RYAN ALLEN HANCOCK, JORDAN KONELL
            1845 WALNUT STREET, 24TH FLOOR                                                Unliquidated
            PHILADELPIA, PA 19103
                                                                                          Disputed
            Date or dates debt was incurred                                           Basis for the claim:
            6/4/2024                                                                  LITIGATION
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.116
                                                                                      As of the petition filing date, the claim is:                            $100.00
            DANIEL R. FISHBACK                                                        Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.117
                                                                                      As of the petition filing date, the claim is:                             $50.00
            DARYA KHRISTICH                                                           Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.118
                                                                                      As of the petition filing date, the claim is:                            $150.00
            DAVID A. SCHWARTZ                                                         Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.119
                                                                                      As of the petition filing date, the claim is:                            $100.00
            DAVID BRITTON                                                             Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.120
                                                                                      As of the petition filing date, the claim is:                            $100.00
            DAVID BRONSON SMITH                                                       Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.121
                                                                                      As of the petition filing date, the claim is:              UNDETERMINED
            DE LAGE LANDEN FINANCIAL SERVICES INC.                                    Check all that apply.
            C/O/ STARK & STARK
                                                                                          Contingent
            ATTN: MARSHALL T. KIZNER
            100 AMERICAN METRO BLVD                                                       Unliquidated
            HAMILTON, NJ 08619
                                                                                          Disputed
            Date or dates debt was incurred                                           Basis for the claim:
            7/23/2024                                                                 LITIGATION
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.122
                                                                                      As of the petition filing date, the claim is:                             $50.00
            DEBORAH BLOCK                                                             Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.123
                                                                                      As of the petition filing date, the claim is:                          $2,500.00
            DECA MUSIC                                                                Check all that apply.
                                                                                          Contingent
            Date or dates debt was incurred
                                                                                          Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.124
                                                                                      As of the petition filing date, the claim is:                          $1,500.00
            DENIZ ORTACTEPE HART                                                      Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      1099 - PHD ADVISORS
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.125
                                                                                      As of the petition filing date, the claim is:              UNDETERMINED
            DEREK SMITH                                                               Check all that apply.
            C/O LEVIN SEDRAN & BERMAN PA
                                                                                          Contingent
            ATTN: NICHOLAS ELIA & DAVID C. LEVIN
            510 WALNUT STREET, STE. 500                                                   Unliquidated
            PHILADELPIA, PA 19106
                                                                                          Disputed
            Date or dates debt was incurred                                           Basis for the claim:
            6/6/2024                                                                  LITIGATION

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.126
                                                                                      As of the petition filing date, the claim is:                            $300.00
            DIANE BURKO                                                               Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.127
                                                                                      As of the petition filing date, the claim is:                              $1.00
            DONNA GOODMAN                                                             Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.128
                                                                                      As of the petition filing date, the claim is:              UNDETERMINED
            DUCERA PARTNERS LLC                                                       Check all that apply.
            11 TIMES SQ
                                                                                          Contingent
            NEW YORK, NY 10036
                                                                                          Unliquidated
            Date or dates debt was incurred
                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      PROFESSIONAL FEES
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.129
                                                                                      As of the petition filing date, the claim is:                            $165.37
            EDITH GUTIERREZ-HAWBAKER                                                  Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      EMPLOYEE REIMBURSEMENTS
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.130
                                                                                      As of the petition filing date, the claim is:                             $77.00
            EDUCAUSE                                                                  Check all that apply.
                                                                                          Contingent
            Date or dates debt was incurred
                                                                                          Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER A/P

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.131
                                                                                      As of the petition filing date, the claim is:                            $150.00
            EDWARD L. VARNER                                                          Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.132
                                                                                      As of the petition filing date, the claim is:                            $100.00
            ELI GOLDBERG                                                              Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.133
                                                                                      As of the petition filing date, the claim is:              UNDETERMINED
            ELISA M. SEEHERMAN                                                        Check all that apply.
            C/O EDELSON LECHTZIN LLP
                                                                                          Contingent
            ATTN: MARC H. EDELSON, SHOSHANA MICHELLE SAVETT, ERIC
            LECHTZIN                                                                      Unliquidated
            411 S. STATE STREET, SUITE N-300
            NEWTOWN, PA 18940                                                             Disputed
                                                                                      Basis for the claim:
            Date or dates debt was incurred                                           LITIGATION
            6/4/2024
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.134
                                                                                      As of the petition filing date, the claim is:              UNDETERMINED
            ELISA M. SEEHERMAN                                                        Check all that apply.
            C/O WILLIG WILLIAMS & DAVIDSON
                                                                                          Contingent
            ATTN: RYAN ALLEN HANCOCK, JORDAN KONELL
            1845 WALNUT STREET, 24TH FLOOR                                                Unliquidated
            PHILADELPIA, PA 19103
                                                                                          Disputed
            Date or dates debt was incurred                                           Basis for the claim:
            6/4/2024                                                                  LITIGATION

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.135
                                                                                      As of the petition filing date, the claim is:                            $225.00
            ELIZABETH A. CONTESSA                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.136
                                                                                      As of the petition filing date, the claim is:              UNDETERMINED
            ELIZABETH FEINSCHREIBER                                                   Check all that apply.
            C/O LEVIN SEDRAN & BERMAN PA
                                                                                          Contingent
            ATTN: NICHOLAS ELIA & DAVID C. LEVIN
            510 WALNUT STREET, STE. 500                                                   Unliquidated
            PHILADELPIA, PA 19106
                                                                                          Disputed
            Date or dates debt was incurred                                           Basis for the claim:
            6/6/2024                                                                  LITIGATION
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.137
                                                                                      As of the petition filing date, the claim is:                             $25.25
            ELIZABETH VIEIRA DA CUNHA                                                 Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      EMPLOYEE REIMBURSEMENTS
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.138
                                                                                      As of the petition filing date, the claim is:                            $110.00
            ELLEN W. REYNOLDS                                                         Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.139
                                                                                      As of the petition filing date, the claim is:                       $398,097.60
            ELLUCIAN COMPANY, LLC                                                     Check all that apply.
            62578 COLLECTIONS CENTER DR.
                                                                                          Contingent
            CHICAGO, IL 60693
                                                                                          Unliquidated
            Date or dates debt was incurred
                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      TRADE PAYABLE
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.140
                                                                                      As of the petition filing date, the claim is:                            $500.00
            EMILIO ROJAS                                                              Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.141
                                                                                      As of the petition filing date, the claim is:                             $50.00
            EMILY CARRIS-DUNCAN                                                       Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
                                   Case 24-12140-BLS                  Doc 1       Filed 09/13/24                Page 510 of 1042

  3.142
                                                                                      As of the petition filing date, the claim is:                             $48.00
            EMILY REYNOLDS                                                            Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.143
                                                                                      As of the petition filing date, the claim is:                            $150.00
            ERIC FAVELA                                                               Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.144
                                                                                      As of the petition filing date, the claim is:                            $200.00
            ERIC FRIEDENSOHN                                                          Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.145
                                                                                      As of the petition filing date, the claim is:                            $120.88
            ERICA PEREZ                                                               Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      EMPLOYEE REIMBURSEMENTS
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
                                   Case 24-12140-BLS                  Doc 1       Filed 09/13/24                Page 511 of 1042

  3.146
                                                                                      As of the petition filing date, the claim is:                             $25.25
            ERICA PEREZ                                                               Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.147
                                                                                      As of the petition filing date, the claim is:              UNDETERMINED
            EVA SOLANO                                                                Check all that apply.
            C/O LEVIN SEDRAN & BERMAN PA
                                                                                          Contingent
            ATTN: NICHOLAS ELIA & DAVID C. LEVIN
            510 WALNUT STREET, STE. 500                                                   Unliquidated
            PHILADELPIA, PA 19106
                                                                                          Disputed
            Date or dates debt was incurred                                           Basis for the claim:
            6/6/2024                                                                  LITIGATION
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.148
                                                                                      As of the petition filing date, the claim is:                            $100.00
            EZRA R. POPKY-GOUSIE                                                      Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.149
                                                                                      As of the petition filing date, the claim is:                          $1,500.00
            FADI SKEIKER                                                              Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      1099 - PHD ADVISORS
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
                                   Case 24-12140-BLS                  Doc 1       Filed 09/13/24                Page 512 of 1042

  3.150
                                                                                      As of the petition filing date, the claim is:                             $44.02
            FALL, SOULEYE                                                             Check all that apply.
            1428 W MASTER ST.
                                                                                          Contingent
            PHILADELPHIA, PA 19121
                                                                                          Unliquidated
            Date or dates debt was incurred
                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.151
                                                                                      As of the petition filing date, the claim is:                          $2,788.54
            FAST SIGNS                                                                Check all that apply.
            1701 WELSH RD
                                                                                          Contingent
            PHILADELPHIA, PA 19115
                                                                                          Unliquidated
            Date or dates debt was incurred
                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.152
                                                                                      As of the petition filing date, the claim is:                          $1,125.00
            FOX ROTHSCHILD LLP                                                        Check all that apply.
            ATTN ACCOUNTS RECEIVABLE
                                                                                          Contingent
            2000 MARKET ST.
            20TH FL                                                                       Unliquidated
            PHILADELPHIA, PA 19103-3222
                                                                                          Disputed
            Date or dates debt was incurred                                           Basis for the claim:
                                                                                      OTHER A/P
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.153
                                                                                      As of the petition filing date, the claim is:              UNDETERMINED
            FRANCIS GORMLEY                                                           Check all that apply.
            C/O LEVIN SEDRAN & BERMAN PA
                                                                                          Contingent
            ATTN: NICHOLAS ELIA & DAVID C. LEVIN
            510 WALNUT STREET, STE. 500                                                   Unliquidated
            PHILADELPIA, PA 19106
                                                                                          Disputed
            Date or dates debt was incurred                                           Basis for the claim:
            6/6/2024                                                                  LITIGATION
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.154
                                                                                      As of the petition filing date, the claim is:                            $150.00
            FRANCISCO BELLO                                                           Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.155
                                                                                      As of the petition filing date, the claim is:                            $800.00
            FRIENDS OF RITTENHOUSE                                                    Check all that apply.
            201 SOUTH 18TH STREET, UNIT 411
                                                                                          Contingent
            PHILADELPHIA, PA 19103
                                                                                          Unliquidated
            Date or dates debt was incurred
                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      RENTAL EVENT REFUNDS

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.156
                                                                                      As of the petition filing date, the claim is:                          $2,363.56
            GABRIEL D. LAWRENCE                                                       Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      EMPLOYEE REIMBURSEMENTS
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.157
                                                                                      As of the petition filing date, the claim is:                            $182.00
            GABRIELLE MAHLER                                                          Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.158
                                                                                      As of the petition filing date, the claim is:                          $2,500.00
            GEE WESLEY                                                                Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.159
                                                                                      As of the petition filing date, the claim is:                            $300.00
            GILAD I. HEKSELMAN                                                        Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.160
                                                                                      As of the petition filing date, the claim is:                             $28.56
            GIVECAMPUS, INC.                                                          Check all that apply.
            99 M ST SE
                                                                                          Contingent
            STE 233
            WASHINGTON, DC 20003                                                          Unliquidated

            Date or dates debt was incurred                                               Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER A/P
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.161
                                                                                      As of the petition filing date, the claim is:                          $1,245.69
            GOBI LIBRARY SOLUTIONS                                                    Check all that apply.
            10 ESTES ST
                                                                                          Contingent
            IPSWICH, MA 01938
                                                                                          Unliquidated
            Date or dates debt was incurred
                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER A/P
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.162
                                                                                      As of the petition filing date, the claim is:              UNDETERMINED
            GRAHAM COOK                                                               Check all that apply.
            C/O LEVIN SEDRAN & BERMAN PA
                                                                                          Contingent
            ATTN: NICHOLAS ELIA & DAVID C. LEVIN
            510 WALNUT STREET, STE. 500                                                   Unliquidated
            PHILADELPIA, PA 19106
                                                                                          Disputed
            Date or dates debt was incurred                                           Basis for the claim:
            6/6/2024                                                                  LITIGATION

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.163
                                                                                      As of the petition filing date, the claim is:                            $100.00
            GRANT C. BOUVIER                                                          Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.164
                                                                                      As of the petition filing date, the claim is:                          $1,500.00
            GREATER GOOD STUDIO, LLC                                                  Check all that apply.
            3600 NORTH KEELER AVENUE
                                                                                          Contingent
            CHICAGO, IL 60641
                                                                                          Unliquidated
            Date or dates debt was incurred
                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      1099 - PHD ADVISORS
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.165
                                                                                      As of the petition filing date, the claim is:                            $900.00
            HANDS UP PRODUCTIONS LLC                                                  Check all that apply.
            22 MORNINGSTAR CT.
                                                                                          Contingent
            SICKLERVILLE, NJ 08081
                                                                                          Unliquidated
            Date or dates debt was incurred
                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.166
                                                                                      As of the petition filing date, the claim is:                          $1,500.00
            HANNAH B. HIGGINS                                                         Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      1099 - PHD ADVISORS

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.167
                                                                                      As of the petition filing date, the claim is:                            $224.76
            HANNAH L. BUSH                                                            Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      EMPLOYEE REIMBURSEMENTS
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.168
                                                                                      As of the petition filing date, the claim is:                             $23.85
            HANNAH L. BUSH                                                            Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.169
                                                                                      As of the petition filing date, the claim is:                          $2,336.13
            HARPERCOLLINS PUBLISHERS LLC                                              Check all that apply.
            PO BOX 21091
                                                                                          Contingent
            NEW YORK, NY 10087-1091
                                                                                          Unliquidated
            Date or dates debt was incurred
                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER A/P
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.170
                                                                                      As of the petition filing date, the claim is:                            $100.00
            HEATHER CHRISTIAN                                                         Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.171
                                                                                      As of the petition filing date, the claim is:                             $15.00
            HEATHER PASTOR                                                            Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.172
                                                                                      As of the petition filing date, the claim is:                          $1,500.00
            HENRY THREADGILL                                                          Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      1099 - PHD ADVISORS
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.173
                                                                                      As of the petition filing date, the claim is:                         $10,000.00
            HER PLACE SUPPER CLUB                                                     Check all that apply.
            ATTN: AMANDA SHULMAN
                                                                                          Contingent
            1740 SAMSON STREET
            PHILADELPHIA, PA 19103                                                        Unliquidated

                                                                                          Disputed
            Date or dates debt was incurred                                           Basis for the claim:
                                                                                      DEPOSIT
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.174
                                                                                      As of the petition filing date, the claim is:                            $700.00
            HIBBARD L. NASH, JR.                                                      Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.175
                                                                                      As of the petition filing date, the claim is:                            $761.12
            HIRERIGHT, LLC                                                            Check all that apply.
            PO BOX 847891
                                                                                          Contingent
            DALLAS, TX 75284-7891
                                                                                          Unliquidated
            Date or dates debt was incurred
                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER A/P
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.176
                                                                                      As of the petition filing date, the claim is:                         $10,134.00
            HOBART ROWLAND                                                            Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.177
                                                                                      As of the petition filing date, the claim is:              UNDETERMINED
            HOGAN LOVELLS US LLP                                                      Check all that apply.
            555 THIRTEENTH ST.
                                                                                          Contingent
            WASHINGTON, WA 20004
                                                                                          Unliquidated
            Date or dates debt was incurred
                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      PROFESSIONAL FEES
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.178
                                                                                      As of the petition filing date, the claim is:                             $25.25
            HOLLY FASCIANO                                                            Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.179
                                                                                      As of the petition filing date, the claim is:                       $105,070.83
            HURON CONSULTING SERVICES LLC                                             Check all that apply.
            PO BOX 71223
                                                                                          Contingent
            CHICAGO, IL 60694-1223
                                                                                          Unliquidated
            Date or dates debt was incurred
                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER A/P
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.180
                                                                                      As of the petition filing date, the claim is:              UNDETERMINED
            IAN CALLAGHAN-KENNA                                                       Check all that apply.
            C/O SAUDER SCHELKOPF LLC
                                                                                          Contingent
            ATTN: JOSEPH G. SAUDER
            1109 LANCASTER AVE                                                            Unliquidated
            BERWYN, PA 19312
                                                                                          Disputed
            Date or dates debt was incurred                                           Basis for the claim:
            6/12/2024                                                                 LITIGATION
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.181
                                                                                      As of the petition filing date, the claim is:                          $3,500.00
            IAN E. SAMPSON                                                            Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.182
                                                                                      As of the petition filing date, the claim is:                            $350.00
            IAN WINSCOM                                                               Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.183
                                                                                      As of the petition filing date, the claim is:                          $3,295.42
            INNOVA ART USA                                                            Check all that apply.
                                                                                          Contingent
            Date or dates debt was incurred
                                                                                          Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER A/P
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.184
                                                                                      As of the petition filing date, the claim is:                             $28.00
            IRA HORANSKY                                                              Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.185
                                                                                      As of the petition filing date, the claim is:                          $2,293.41
            ISAAC J. BYRNE                                                            Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      EMPLOYEE REIMBURSEMENTS
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.186
                                                                                      As of the petition filing date, the claim is:                             $75.00
            ISAIAH ROTHFELDT                                                          Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.187
                                                                                      As of the petition filing date, the claim is:                            $850.00
            JACOB METZGER                                                             Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.188
                                                                                      As of the petition filing date, the claim is:                         $26,249.63
            JACOBSWYPER ARCHITECTS, LLP                                               Check all that apply.
            1232 CHANCELLOR STREET
                                                                                          Contingent
            PHILADELPHIA, PA 19107
                                                                                          Unliquidated
            Date or dates debt was incurred
                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.189
                                                                                      As of the petition filing date, the claim is:              UNDETERMINED
            JACQUELINE MANNI                                                          Check all that apply.
            C/O EDELSON LECHTZIN LLP
                                                                                          Contingent
            ATTN: MARC H. EDELSON, SHOSHANA MICHELLE SAVETT, ERIC
            LECHTZIN                                                                      Unliquidated
            411 S. STATE STREET, SUITE N-300
            NEWTOWN, PA 18940                                                             Disputed
                                                                                      Basis for the claim:
            Date or dates debt was incurred                                           LITIGATION
            6/4/2024
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
                                   Case 24-12140-BLS                  Doc 1       Filed 09/13/24                Page 522 of 1042

  3.190
                                                                                      As of the petition filing date, the claim is:              UNDETERMINED
            JACQUELINE MANNI                                                          Check all that apply.
            C/O WILLIG WILLIAMS & DAVIDSON
                                                                                          Contingent
            ATTN: RYAN ALLEN HANCOCK, JORDAN KONELL, SAMUEL H. DATLOF
            1845 WALNUT STREET, 24TH FLOOR                                                Unliquidated
            PHILADELPIA, PA 19103
                                                                                          Disputed
            Date or dates debt was incurred                                           Basis for the claim:
            6/5/2024                                                                  LITIGATION

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.191
                                                                                      As of the petition filing date, the claim is:              UNDETERMINED
            JACQUELINE MANNI                                                          Check all that apply.
            C/O WILLIG WILLIAMS & DAVIDSON
                                                                                          Contingent
            ATTN: RYAN ALLEN HANCOCK, JORDAN KONELL
            1845 WALNUT STREET, 24TH FLOOR                                                Unliquidated
            PHILADELPIA, PA 19103
                                                                                          Disputed
            Date or dates debt was incurred                                           Basis for the claim:
            6/4/2024                                                                  LITIGATION
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.192
                                                                                      As of the petition filing date, the claim is:                            $100.00
            JAMES D. WEDAA                                                            Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.193
                                                                                      As of the petition filing date, the claim is:                          $1,500.00
            JAMES MCNEELY                                                             Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      1099 - PHD ADVISORS
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.194
                                                                                      As of the petition filing date, the claim is:                          $2,500.00
            JANUS FILMS                                                               Check all that apply.
            250 EAST HARTSDALE AVE
                                                                                          Contingent
            STE 42
            HARTSDALE, NY 10530                                                           Unliquidated

                                                                                          Disputed
            Date or dates debt was incurred
                                                                                      Basis for the claim:
                                                                                      OTHER A/P

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.195
                                                                                      As of the petition filing date, the claim is:                            $250.00
            JARRET MCCREARY                                                           Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.196
                                                                                      As of the petition filing date, the claim is:                            $500.00
            JEANETTE L. PADILIONI                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.197
                                                                                      As of the petition filing date, the claim is:              UNDETERMINED
            JEANETTE L. PADILIONI                                                     Check all that apply.
            C/O EDELSON LECHTZIN LLP
                                                                                          Contingent
            ATTN: MARC H. EDELSON, SHOSHANA MICHELLE SAVETT, ERIC
            LECHTZIN                                                                      Unliquidated
            411 S. STATE STREET, SUITE N-300
            NEWTOWN, PA 18940                                                             Disputed
                                                                                      Basis for the claim:
            Date or dates debt was incurred                                           LITIGATION
            6/4/2024
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.198
                                                                                      As of the petition filing date, the claim is:              UNDETERMINED
            JEANETTE L. PADILIONI                                                     Check all that apply.
            C/O WILLIG WILLIAMS & DAVIDSON
                                                                                          Contingent
            ATTN: RYAN ALLEN HANCOCK, JORDAN KONELL
            1845 WALNUT STREET, 24TH FLOOR                                                Unliquidated
            PHILADELPIA, PA 19103
                                                                                          Disputed
            Date or dates debt was incurred                                           Basis for the claim:
            6/4/2024                                                                  LITIGATION

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.199
                                                                                      As of the petition filing date, the claim is:                            $600.00
            JEANINE M. VIVONA                                                         Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.200
                                                                                      As of the petition filing date, the claim is:                            $812.08
            JEFFREY L. PAGE                                                           Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      EMPLOYEE REIMBURSEMENTS

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.201
                                                                                      As of the petition filing date, the claim is:                            $938.00
            JEFFREY RUBENSTEIN                                                        Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.202
                                                                                      As of the petition filing date, the claim is:                          $3,772.00
            JEFFREY STEWARD                                                           Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.203
                                                                                      As of the petition filing date, the claim is:                          $1,130.00
            JEFFREY T. JOHNSON                                                        Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.204
                                                                                      As of the petition filing date, the claim is:                            $100.00
            JENNIFER KAUFFMAN                                                         Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.205
                                                                                      As of the petition filing date, the claim is:                          $2,000.00
            JENNIFER SILVERMAN MITZVAH                                                Check all that apply.
                                                                                          Contingent
            Date or dates debt was incurred
                                                                                          Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      RENTAL EVENT REFUNDS
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.206
                                                                                      As of the petition filing date, the claim is:              UNDETERMINED
            JENNY L. NEFF                                                             Check all that apply.
            C/O EDELSON LECHTZIN LLP
                                                                                          Contingent
            ATTN: MARC H. EDELSON, SHOSHANA MICHELLE SAVETT, ERIC
            LECHTZIN                                                                      Unliquidated
            411 S. STATE STREET, SUITE N-300
            NEWTOWN, PA 18940                                                             Disputed
                                                                                      Basis for the claim:
            Date or dates debt was incurred                                           LITIGATION
            6/4/2024
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.207
                                                                                      As of the petition filing date, the claim is:              UNDETERMINED
            JENNY L. NEFF                                                             Check all that apply.
            C/O WILLIG WILLIAMS & DAVIDSON
                                                                                          Contingent
            ATTN: RYAN ALLEN HANCOCK, JORDAN KONELL
            1845 WALNUT STREET, 24TH FLOOR                                                Unliquidated
            PHILADELPIA, PA 19103
                                                                                          Disputed
            Date or dates debt was incurred                                           Basis for the claim:
            6/4/2024                                                                  LITIGATION
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.208
                                                                                      As of the petition filing date, the claim is:                             $50.00
            JILL MCDONALD                                                             Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.209
                                                                                      As of the petition filing date, the claim is:                             $50.00
            JOEL W. WORFORD                                                           Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.210
                                                                                      As of the petition filing date, the claim is:                          $1,250.00
            JOHANNA DUNPHY                                                            Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.211
                                                                                      As of the petition filing date, the claim is:                             $25.25
            JOHNATHAN T. O'DEA                                                        Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      EMPLOYEE REIMBURSEMENTS
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.212
                                                                                      As of the petition filing date, the claim is:                            $158.47
            JONAH EVANS                                                               Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.213
                                                                                      As of the petition filing date, the claim is:                            $594.86
            JONATHAN D. FINEBERG                                                      Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      EMPLOYEE REIMBURSEMENTS
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.214
                                                                                      As of the petition filing date, the claim is:                            $182.00
            JONATHAN DELGADO                                                          Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.215
                                                                                      As of the petition filing date, the claim is:                             $23.85
            JONATHAN GONZALEZ                                                         Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.216
                                                                                      As of the petition filing date, the claim is:                            $350.00
            JORDAN SONDLER ILLUSTRATION                                               Check all that apply.
                                                                                          Contingent
            Date or dates debt was incurred
                                                                                          Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      OTHER A/P
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.217
                                                                                      As of the petition filing date, the claim is:                            $365.57
            JOSEPH A. CORDARO                                                         Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      EMPLOYEE REIMBURSEMENTS
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.218
                                                                                      As of the petition filing date, the claim is:                          $1,664.00
            JOSEPH COVONE                                                             Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.219
                                                                                      As of the petition filing date, the claim is:                          $1,854.00
            JPG PHOTOGRAPHY, LLC                                                      Check all that apply.
            180 GREEN LANE
                                                                                          Contingent
            PHILADELPHIA, PA 19127-1212
                                                                                          Unliquidated
            Date or dates debt was incurred
                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER A/P
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.220
                                                                                      As of the petition filing date, the claim is:                            $364.69
            JUAN M. PARADA                                                            Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      EMPLOYEE REIMBURSEMENTS
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.221
                                                                                      As of the petition filing date, the claim is:                             $25.25
            JULIANNA E. RICE                                                          Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.222
                                                                                      As of the petition filing date, the claim is:                              $6.00
            JUSTIN DUNCAN                                                             Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.223
                                                                                      As of the petition filing date, the claim is:                             $23.85
            JUSTIN K. BERNARD                                                         Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.224
                                                                                      As of the petition filing date, the claim is:                          $2,538.00
            KALO' MEDIA, LLC                                                          Check all that apply.
            14 MIDDLEGROUND RD.
                                                                                          Contingent
            OCALA, FL 34482
                                                                                          Unliquidated
            Date or dates debt was incurred
                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER A/P
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.225
                                                                                      As of the petition filing date, the claim is:                            $318.89
            KAMEELAH J. RASHEED                                                       Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.226
                                                                                      As of the petition filing date, the claim is:                          $1,840.00
            KANOPY, INC.                                                              Check all that apply.
                                                                                          Contingent
            Date or dates debt was incurred
                                                                                          Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      OTHER A/P

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.227
                                                                                      As of the petition filing date, the claim is:                             $11.00
            KAREN JEAN LOUIS                                                          Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.228
                                                                                      As of the petition filing date, the claim is:              UNDETERMINED
            KARL STAVEN                                                               Check all that apply.
            C/O EDELSON LECHTZIN LLP
                                                                                          Contingent
            ATTN: MARC H. EDELSON, SHOSHANA MICHELLE SAVETT, ERIC
            LECHTZIN                                                                      Unliquidated
            411 S. STATE STREET, SUITE N-300
            NEWTOWN, PA 18940                                                             Disputed
                                                                                      Basis for the claim:
            Date or dates debt was incurred                                           LITIGATION
            6/4/2024
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.229
                                                                                      As of the petition filing date, the claim is:              UNDETERMINED
            KARL STAVEN                                                               Check all that apply.
            C/O WILLIG WILLIAMS & DAVIDSON
                                                                                          Contingent
            ATTN: RYAN ALLEN HANCOCK, JORDAN KONELL, SAMUEL H. DATLOF
            1845 WALNUT STREET, 24TH FLOOR                                                Unliquidated
            PHILADELPIA, PA 19103
                                                                                          Disputed
            Date or dates debt was incurred                                           Basis for the claim:
            6/5/2024                                                                  LITIGATION
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.230
                                                                                      As of the petition filing date, the claim is:              UNDETERMINED
            KARL STAVEN                                                               Check all that apply.
            C/O WILLIG WILLIAMS & DAVIDSON
                                                                                          Contingent
            ATTN: RYAN ALLEN HANCOCK, JORDAN KONELL
            1845 WALNUT STREET, 24TH FLOOR                                                Unliquidated
            PHILADELPIA, PA 19103
                                                                                          Disputed
            Date or dates debt was incurred                                           Basis for the claim:
            6/4/2024                                                                  LITIGATION

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.231
                                                                                      As of the petition filing date, the claim is:                            $241.00
            KARMELA STOHR                                                             Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.232
                                                                                      As of the petition filing date, the claim is:                            $200.00
            KATHERINE A. OFFUTT                                                       Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.233
                                                                                      As of the petition filing date, the claim is:              UNDETERMINED
            KATHERINE ANDERSON                                                        Check all that apply.
            C/O SAUDER SCHELKOPF LLC
                                                                                          Contingent
            ATTN: JOSEPH G. SAUDER
            1109 LANCASTER AVE                                                            Unliquidated
            BERWYN, PA 19312
                                                                                          Disputed
            Date or dates debt was incurred                                           Basis for the claim:
            6/12/2024                                                                 LITIGATION

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.234
                                                                                      As of the petition filing date, the claim is:                            $200.00
            KATHERINE GARTH                                                           Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.235
                                                                                      As of the petition filing date, the claim is:                         $30,715.00
            KEAST & HOOD CO.                                                          Check all that apply.
            1635 MARKET STREET
                                                                                          Contingent
            STE 1705
            PHILADELPHIA, PA 19103                                                        Unliquidated

                                                                                          Disputed
            Date or dates debt was incurred
                                                                                      Basis for the claim:
                                                                                      OTHER A/P
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.236
                                                                                      As of the petition filing date, the claim is:                          $1,708.60
            KEITH W. HODGSON                                                          Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      EMPLOYEE REIMBURSEMENTS
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.237
                                                                                      As of the petition filing date, the claim is:                          $1,500.00
            KEITH W. MINES                                                            Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      1099 - PHD ADVISORS
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.238
                                                                                      As of the petition filing date, the claim is:                          $1,841.00
            KENNETH MCGHEE                                                            Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.239
                                                                                      As of the petition filing date, the claim is:              UNDETERMINED
            KEVIN MERCER                                                              Check all that apply.
            C/O EDELSON LECHTZIN LLP
                                                                                          Contingent
            ATTN: MARC H. EDELSON, SHOSHANA MICHELLE SAVETT, ERIC
            LECHTZIN                                                                      Unliquidated
            411 S. STATE STREET, SUITE N-300
            NEWTOWN, PA 18940                                                             Disputed
                                                                                      Basis for the claim:
            Date or dates debt was incurred                                           LITIGATION
            6/4/2024
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.240
                                                                                      As of the petition filing date, the claim is:              UNDETERMINED
            KEVIN MERCER                                                              Check all that apply.
            C/O WILLIG WILLIAMS & DAVIDSON
                                                                                          Contingent
            ATTN: RYAN ALLEN HANCOCK, JORDAN KONELL, SAMUEL H. DATLOF
            1845 WALNUT STREET, 24TH FLOOR                                                Unliquidated
            PHILADELPIA, PA 19103
                                                                                          Disputed
            Date or dates debt was incurred                                           Basis for the claim:
            6/5/2024                                                                  LITIGATION
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.241
                                                                                      As of the petition filing date, the claim is:              UNDETERMINED
            KEVIN MERCER                                                              Check all that apply.
            C/O WILLIG WILLIAMS & DAVIDSON
                                                                                          Contingent
            ATTN: RYAN ALLEN HANCOCK, JORDAN KONELL
            1845 WALNUT STREET, 24TH FLOOR                                                Unliquidated
            PHILADELPIA, PA 19103
                                                                                          Disputed
            Date or dates debt was incurred                                           Basis for the claim:
            6/4/2024                                                                  LITIGATION
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.242
                                                                                      As of the petition filing date, the claim is:                             $11.00
            KIAMESHIA MCPHERSON                                                       Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.243
                                                                                      As of the petition filing date, the claim is:                          $1,051.87
            KIM BEARS-BAILEY                                                          Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      EMPLOYEE REIMBURSEMENTS
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.244
                                                                                      As of the petition filing date, the claim is:                            $250.00
            KIM KELTER NEU                                                            Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.245
                                                                                      As of the petition filing date, the claim is:                         $19,037.55
            KIMMEL CENTER INC.                                                        Check all that apply.
            ATTN ACCOUNTS RECEIVABLE
                                                                                          Contingent
            1500 WALNUT ST.
            17TH FL                                                                       Unliquidated
            PHILADELPHIA, PA 19102
                                                                                          Disputed
            Date or dates debt was incurred                                           Basis for the claim:
                                                                                      OTHER A/P
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.246
                                                                                      As of the petition filing date, the claim is:                          $5,000.00
            KIRSTEN BEHLING                                                           Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.247
                                                                                      As of the petition filing date, the claim is:              UNDETERMINED
            KLEHR, HARRISON, HARVEY, BRANZBURG & ELLERS LLP                           Check all that apply.
            1835 MARKET ST STE 1400
                                                                                          Contingent
            PHILADELPHIA, PA 19103-2945
                                                                                          Unliquidated
            Date or dates debt was incurred
                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      PROFESSIONAL FEES
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.248
                                                                                      As of the petition filing date, the claim is:                            $164.98
            KOASHINNIE S. DUPONT                                                      Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      EMPLOYEE REIMBURSEMENTS
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.249
                                                                                      As of the petition filing date, the claim is:                          $1,903.00
            KORESH SCHOOL OF DANCE/ALON KORESH                                        Check all that apply.
            2002 RITTENHOUSE SQUARE
                                                                                          Contingent
            PHILADELPHIA, PA 19103
                                                                                          Unliquidated
            Date or dates debt was incurred
                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      RENTAL EVENT REFUNDS
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.250
                                                                                      As of the petition filing date, the claim is:              UNDETERMINED
            KRAMER LEVIN NAFTALIS & FRANKEL, LLP                                      Check all that apply.
            1177 AVENUE OF THE AMERICAS
                                                                                          Contingent
            NEW YORK, NY 10036
                                                                                          Unliquidated
            Date or dates debt was incurred
                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      PROFESSIONAL FEES

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.251
                                                                                      As of the petition filing date, the claim is:                            $100.00
            KRISTINA KNIGHT                                                           Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.252
                                                                                      As of the petition filing date, the claim is:                             $25.25
            L. AUTUMN GNADINGER                                                       Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.253
                                                                                      As of the petition filing date, the claim is:                             $10.00
            LAJOYCE BROOKSHIRE                                                        Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.254
                                                                                      As of the petition filing date, the claim is:                             $80.23
            LANCER CATERING                                                           Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.255
                                                                                      As of the petition filing date, the claim is:              UNDETERMINED
            LAURA FRAZURE                                                             Check all that apply.
            C/O EDELSON LECHTZIN LLP
                                                                                          Contingent
            ATTN: MARC H. EDELSON, SHOSHANA MICHELLE SAVETT, ERIC
            LECHTZIN                                                                      Unliquidated
            411 S. STATE STREET, SUITE N-300
            NEWTOWN, PA 18940                                                             Disputed
                                                                                      Basis for the claim:
            Date or dates debt was incurred                                           LITIGATION
            6/4/2024
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.256
                                                                                      As of the petition filing date, the claim is:              UNDETERMINED
            LAURA FRAZURE                                                             Check all that apply.
            C/O WILLIG WILLIAMS & DAVIDSON
                                                                                          Contingent
            ATTN: RYAN ALLEN HANCOCK, JORDAN KONELL, SAMUEL H. DATLOF
            1845 WALNUT STREET, 24TH FLOOR                                                Unliquidated
            PHILADELPIA, PA 19103
                                                                                          Disputed
            Date or dates debt was incurred                                           Basis for the claim:
            6/5/2024                                                                  LITIGATION
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.257
                                                                                      As of the petition filing date, the claim is:              UNDETERMINED
            LAURA FRAZURE                                                             Check all that apply.
            C/O WILLIG WILLIAMS & DAVIDSON
                                                                                          Contingent
            ATTN: RYAN ALLEN HANCOCK, JORDAN KONELL
            1845 WALNUT STREET, 24TH FLOOR                                                Unliquidated
            PHILADELPIA, PA 19103
                                                                                          Disputed
            Date or dates debt was incurred                                           Basis for the claim:
            6/4/2024                                                                  LITIGATION
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
                                   Case 24-12140-BLS                  Doc 1       Filed 09/13/24                Page 539 of 1042

  3.258
                                                                                      As of the petition filing date, the claim is:              UNDETERMINED
            LAURA GRUTZECK                                                            Check all that apply.
            C/O EDELSON LECHTZIN LLP
                                                                                          Contingent
            ATTN: MARC H. EDELSON, SHOSHANA MICHELLE SAVETT, ERIC
            LECHTZIN                                                                      Unliquidated
            411 S. STATE STREET, SUITE N-300
            NEWTOWN, PA 18940                                                             Disputed
                                                                                      Basis for the claim:
            Date or dates debt was incurred                                           LITIGATION
            6/4/2024
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.259
                                                                                      As of the petition filing date, the claim is:              UNDETERMINED
            LAURA GRUTZECK                                                            Check all that apply.
            C/O WILLIG WILLIAMS & DAVIDSON
                                                                                          Contingent
            ATTN: RYAN ALLEN HANCOCK, JORDAN KONELL
            1845 WALNUT STREET, 24TH FLOOR                                                Unliquidated
            PHILADELPIA, PA 19103
                                                                                          Disputed
            Date or dates debt was incurred                                           Basis for the claim:
            6/4/2024                                                                  LITIGATION
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.260
                                                                                      As of the petition filing date, the claim is:                             $25.25
            LAURIN TALESE                                                             Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.261
                                                                                      As of the petition filing date, the claim is:                            $100.00
            LEYNA M. BOHNING                                                          Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor   The University of the Arts_______________________________________________      Case number (if known) 24-_____________________________________________
         Name
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Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.262
                                                                                      As of the petition filing date, the claim is:                            $104.63
            LILY ALI-OSHATZ                                                           Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.263
                                                                                      As of the petition filing date, the claim is:                          $1,362.02
            LINDSAY A. CRAM                                                           Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      EMPLOYEE REIMBURSEMENTS
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.264
                                                                                      As of the petition filing date, the claim is:                            $182.00
            LISA D. WHITE JONES                                                       Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.265
                                                                                      As of the petition filing date, the claim is:              UNDETERMINED
            LITTLER MENDELSON PC                                                      Check all that apply.
            THREE PARKWAY, 1601 CHERRY STREE
                                                                                          Contingent
            SUITE 1400
            PHILADELPHIA, PA 19102-1321                                                   Unliquidated

            Date or dates debt was incurred                                               Disputed
                                                                                      Basis for the claim:
                                                                                      PROFESSIONAL FEES

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.266
                                                                                      As of the petition filing date, the claim is:              UNDETERMINED
            LONGINO PUBLIC FINANCE                                                    Check all that apply.
            1401 LAWRENCE STREET
                                                                                          Contingent
            SUITE 1600
            DENVER, CO 80202                                                              Unliquidated

                                                                                          Disputed
            Date or dates debt was incurred
                                                                                      Basis for the claim:
                                                                                      PROFESSIONAL FEES

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.267
                                                                                      As of the petition filing date, the claim is:                            $185.59
            LORI SPENCER                                                              Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      EMPLOYEE REIMBURSEMENTS

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.268
                                                                                      As of the petition filing date, the claim is:              UNDETERMINED
            LYRA BUTLER-DENMAN                                                        Check all that apply.
            C/O LEVIN SEDRAN & BERMAN PA
                                                                                          Contingent
            ATTN: NICHOLAS ELIA & DAVID C. LEVIN
            510 WALNUT STREET, STE. 500                                                   Unliquidated
            PHILADELPIA, PA 19106
                                                                                          Disputed
            Date or dates debt was incurred                                           Basis for the claim:
            6/6/2024                                                                  LITIGATION
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.269
                                                                                      As of the petition filing date, the claim is:                            $185.90
            MACMILLAN HOLDINGS, LLC                                                   Check all that apply.
                                                                                          Contingent
            Date or dates debt was incurred
                                                                                          Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER A/P

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.270
                                                                                      As of the petition filing date, the claim is:                            $315.00
            MAKAEL E. EXUM                                                            Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.271
                                                                                      As of the petition filing date, the claim is:                          $2,200.00
            MAMADELE FOUNDATION                                                       Check all that apply.
            224 WEST WALNUT LANE
                                                                                          Contingent
            PHILADELPHIA, PA 19144
                                                                                          Unliquidated
            Date or dates debt was incurred
                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      OTHER A/P
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.272
                                                                                      As of the petition filing date, the claim is:                            $299.07
            MARIA J. CHRISTENSEN                                                      Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      EMPLOYEE REIMBURSEMENTS
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.273
                                                                                      As of the petition filing date, the claim is:                            $182.00
            MARIA L. RAUSA                                                            Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.274
                                                                                      As of the petition filing date, the claim is:                            $394.23
            MARIA RENEE ISABEL ALFONSO                                                Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      EMPLOYEE REIMBURSEMENTS

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.275
                                                                                      As of the petition filing date, the claim is:                            $350.00
            MARISSA PEREL                                                             Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.276
                                                                                      As of the petition filing date, the claim is:                            $600.07
            MARK D. KOBASZ                                                            Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.277
                                                                                      As of the petition filing date, the claim is:                            $182.00
            MARLENE RICE-WHITTAKER GAINES                                             Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.278
                                                                                      As of the petition filing date, the claim is:                            $136.00
            MARTA SICINSKA                                                            Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.279
                                                                                      As of the petition filing date, the claim is:                            $100.00
            MATTHEW DAVIS WITHAM                                                      Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.280
                                                                                      As of the petition filing date, the claim is:                            $200.00
            MAXWELL J. CARTER                                                         Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.281
                                                                                      As of the petition filing date, the claim is:                         $30,000.00
            MCCLINTOCK & ASSOCIATES PC                                                Check all that apply.
                                                                                          Contingent
            Date or dates debt was incurred
                                                                                          Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
                                   Case 24-12140-BLS                  Doc 1       Filed 09/13/24                Page 546 of 1042

  3.282
                                                                                      As of the petition filing date, the claim is:                         $24,231.00
            MCDONALD HOPKINS LLC                                                      Check all that apply.
            600 SUPERIOR AVENUE
                                                                                          Contingent
            E STE 2100
            CLEVELAND, OH 44114                                                           Unliquidated

                                                                                          Disputed
            Date or dates debt was incurred
                                                                                      Basis for the claim:
                                                                                      OTHER A/P

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.283
                                                                                      As of the petition filing date, the claim is:                         $15,000.00
            MERCURY PUBLIC AFFAIRS                                                    Check all that apply.
            218 E BEARSS AVENUE
                                                                                          Contingent
            #405
            TAMPA, FL 33613                                                               Unliquidated

            Date or dates debt was incurred                                               Disputed

                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.284
                                                                                      As of the petition filing date, the claim is:                       $298,625.97
            METRO COMMERCIAL REAL ESTATE, INC.                                        Check all that apply.
            ACCOUNTS RECEIVABLE
                                                                                          Contingent
            307 FELLOWSHIP RD
            STE 300                                                                       Unliquidated
            MOUNT LAUREL, NJ 08054
                                                                                          Disputed
            Date or dates debt was incurred                                           Basis for the claim:
                                                                                      OTHER A/P

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.285
                                                                                      As of the petition filing date, the claim is:              UNDETERMINED
            MICHAEL AMENDOLA                                                          Check all that apply.
            C/O LEVIN SEDRAN & BERMAN PA
                                                                                          Contingent
            ATTN: NICHOLAS ELIA & DAVID C. LEVIN
            510 WALNUT STREET, STE. 500                                                   Unliquidated
            PHILADELPIA, PA 19106
                                                                                          Disputed
            Date or dates debt was incurred                                           Basis for the claim:
            6/6/2024                                                                  LITIGATION

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.286
                                                                                      As of the petition filing date, the claim is:                            $100.00
            MICHAEL BRENNAN                                                           Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.287
                                                                                      As of the petition filing date, the claim is:                            $203.60
            MICHAEL FEGREUS                                                           Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.288
                                                                                      As of the petition filing date, the claim is:                          $4,737.49
            MICHAEL SCHNAIDT                                                          Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.289
                                                                                      As of the petition filing date, the claim is:                            $100.00
            MICHAEL TRUONG                                                            Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.290
                                                                                      As of the petition filing date, the claim is:                             $25.25
            MICHELE BEGLEY                                                            Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      EMPLOYEE REIMBURSEMENTS

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.291
                                                                                      As of the petition filing date, the claim is:                            $436.00
            MICHELLE C. SONSINO                                                       Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      EMPLOYEE REIMBURSEMENTS
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.292
                                                                                      As of the petition filing date, the claim is:                          $1,800.00
            MIDTOWN VILLAGE MERCHANTS ASSOCIATION                                     Check all that apply.
            137 SOUTH 13TH ST.
                                                                                          Contingent
            PHILADELPHIA, PA 19107
                                                                                          Unliquidated
            Date or dates debt was incurred
                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.293
                                                                                      As of the petition filing date, the claim is:                             $23.85
            MIKEL MORADO                                                              Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
                                   Case 24-12140-BLS                  Doc 1       Filed 09/13/24                Page 549 of 1042

  3.294
                                                                                      As of the petition filing date, the claim is:              UNDETERMINED
            MIKHAIL SERGEEV                                                           Check all that apply.
            C/O EDELSON LECHTZIN LLP
                                                                                          Contingent
            ATTN: MARC H. EDELSON, SHOSHANA MICHELLE SAVETT, ERIC
            LECHTZIN                                                                      Unliquidated
            411 S. STATE STREET, SUITE N-300
            NEWTOWN, PA 18940                                                             Disputed

                                                                                      Basis for the claim:
            Date or dates debt was incurred                                           LITIGATION
            6/4/2024
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.295
                                                                                      As of the petition filing date, the claim is:              UNDETERMINED
            MIKHAIL SERGEEV                                                           Check all that apply.
            C/O WILLIG WILLIAMS & DAVIDSON
                                                                                          Contingent
            ATTN: RYAN ALLEN HANCOCK, JORDAN KONELL
            1845 WALNUT STREET, 24TH FLOOR                                                Unliquidated
            PHILADELPIA, PA 19103
                                                                                          Disputed
            Date or dates debt was incurred                                           Basis for the claim:
            6/4/2024                                                                  LITIGATION
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.296
                                                                                      As of the petition filing date, the claim is:              UNDETERMINED
            MIRANDA KRAMER                                                            Check all that apply.
            C/O LEVIN SEDRAN & BERMAN PA
                                                                                          Contingent
            ATTN: NICHOLAS ELIA & DAVID C. LEVIN
            510 WALNUT STREET, STE. 500                                                   Unliquidated
            PHILADELPIA, PA 19106
                                                                                          Disputed
            Date or dates debt was incurred                                           Basis for the claim:
            6/6/2024                                                                  LITIGATION

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.297
                                                                                      As of the petition filing date, the claim is:                             $25.25
            MIRRANDA A. GANNON                                                        Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
                                   Case 24-12140-BLS                  Doc 1       Filed 09/13/24                Page 550 of 1042

  3.298
                                                                                      As of the petition filing date, the claim is:                          $2,500.00
            MOBILE ARTS, INC.                                                         Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.299
                                                                                      As of the petition filing date, the claim is:                            $741.00
            MONIQUE JOHNS                                                             Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.300
                                                                                      As of the petition filing date, the claim is:                             $50.00
            MONROE ISENBERG                                                           Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.301
                                                                                      As of the petition filing date, the claim is:              UNDETERMINED
            MONTGOMERY MCCRACKEN WALKER RHOADS LLP                                    Check all that apply.
            1105 NORTH MARKET STREET
                                                                                          Contingent
            WILMINGTON, DE 19801
                                                                                          Unliquidated
            Date or dates debt was incurred
                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      PROFESSIONAL FEES

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.302
                                                                                      As of the petition filing date, the claim is:              UNDETERMINED
            MOREHOUSE ET AL V. THE UNIVERSITY OF THE ARTS                             Check all that apply.
            C/O LYNCH CARPENTER, LLP
                                                                                          Contingent
            ATTN: GARY F. LYNCH
            1133 PENN AVENUE, 5TH FLOOR                                                   Unliquidated
            PITTSBURGH, PA 15222
                                                                                          Disputed

            Date or dates debt was incurred                                           Basis for the claim:
            8/13/2024                                                                 LITIGATION

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.303
                                                                                      As of the petition filing date, the claim is:              UNDETERMINED
            MOREHOUSE ET AL V. THE UNIVERSITY OF THE ARTS                             Check all that apply.
            WELLS MOORE SIMMONS & HUBBARD PLLC
                                                                                          Contingent
            ATTN: SETH C. LITTLE
            4450 OLD CANTON RD, POBOX 1970                                                Unliquidated
            JACKSON, MS 39215
                                                                                          Disputed
            Date or dates debt was incurred                                           Basis for the claim:
            8/13/2024                                                                 LITIGATION
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.304
                                                                                      As of the petition filing date, the claim is:                            $250.00
            MORGAN HOBBS                                                              Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.305
                                                                                      As of the petition filing date, the claim is:                          $1,563.30
            MORGAN, LEWIS & BOCKIUS LLP                                               Check all that apply.
            PO BOX 8500 S-6050
                                                                                          Contingent
            PHILADELPHIA, PA 19178-6050
                                                                                          Unliquidated
            Date or dates debt was incurred
                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.306
                                                                                      As of the petition filing date, the claim is:                            $100.00
            MR DANIEL E. PETERS                                                       Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.307
                                                                                      As of the petition filing date, the claim is:                             $23.85
            MR. DARRYL SMITH                                                          Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.308
                                                                                      As of the petition filing date, the claim is:                            $150.00
            MR. DYLAN NEUSTADTER                                                      Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.309
                                                                                      As of the petition filing date, the claim is:                             $50.00
            MR. JAMAL T. ABRAMS                                                       Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.310
                                                                                      As of the petition filing date, the claim is:                            $151.20
            MR. LONNIE PETERSHEIM                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.311
                                                                                      As of the petition filing date, the claim is:                            $100.00
            MR. MATTHEW S. ZIGLER                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.312
                                                                                      As of the petition filing date, the claim is:                             $74.58
            MR. MICHAEL P. KEYS                                                       Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.313
                                                                                      As of the petition filing date, the claim is:                            $803.76
            MR. WENDELL M. GRAY, II                                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.314
                                                                                      As of the petition filing date, the claim is:                             $94.00
            MS JODI SABRA                                                             Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.315
                                                                                      As of the petition filing date, the claim is:                             $23.85
            MS. ELIZABETH R. RADIGONDA                                                Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.316
                                                                                      As of the petition filing date, the claim is:                            $142.19
            MS. HALEY MILLOWAY                                                        Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.317
                                                                                      As of the petition filing date, the claim is:                            $151.52
            MS. LINDSAY N. MATTER                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.318
                                                                                      As of the petition filing date, the claim is:                            $250.00
            MS. MAYA ROCHE                                                            Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.319
                                                                                      As of the petition filing date, the claim is:                             $23.85
            MS. MEGAN H. WADDINGTON                                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.320
                                                                                      As of the petition filing date, the claim is:                            $150.00
            MS. OLIVIA C. JIA                                                         Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.321
                                                                                      As of the petition filing date, the claim is:                             $50.00
            MS. SKYLER P. BRADFORD                                                    Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.322
                                                                                      As of the petition filing date, the claim is:                             $53.47
            MS. ZIA F. JAMISON-FRANK                                                  Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.323
                                                                                      As of the petition filing date, the claim is:                          $3,600.00
            MUSIC THEATRE PHILLY/TIMOTHY POPP                                         Check all that apply.
            1301 LOCUST STREET
                                                                                          Contingent
            PHILADELPHIA, PA 19107
                                                                                          Unliquidated
            Date or dates debt was incurred
                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      RENTAL EVENT REFUNDS
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.324
                                                                                      As of the petition filing date, the claim is:                            $597.87
            NATALIE DUVALL                                                            Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      EMPLOYEE REIMBURSEMENTS
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.325
                                                                                      As of the petition filing date, the claim is:                       $120,811.30
            NELNET BUSINESS SERVICES                                                  Check all that apply.
            ATTN ACCOUNTS RECEIVABLE
                                                                                          Contingent
            PO BOX 82528
            LINCOLN, NE 68501-2528                                                        Unliquidated

            Date or dates debt was incurred                                               Disputed

                                                                                      Basis for the claim:
                                                                                      NELNET - TUITION CONSUMER DISPUTES
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
                                   Case 24-12140-BLS                  Doc 1       Filed 09/13/24                Page 557 of 1042

  3.326
                                                                                      As of the petition filing date, the claim is:                          $1,243.52
            NIALL N. JONES                                                            Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      EMPLOYEE REIMBURSEMENTS

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.327
                                                                                      As of the petition filing date, the claim is:                             $32.00
            NICHOLAS ALEXANDER THOMSON                                                Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.328
                                                                                      As of the petition filing date, the claim is:              UNDETERMINED
            NICK EMBREE                                                               Check all that apply.
            C/O EDELSON LECHTZIN LLP
                                                                                          Contingent
            ATTN: MARC H. EDELSON, SHOSHANA MICHELLE SAVETT, ERIC
            LECHTZIN                                                                      Unliquidated
            411 S. STATE STREET, SUITE N-300
            NEWTOWN, PA 18940                                                             Disputed
                                                                                      Basis for the claim:
            Date or dates debt was incurred                                           LITIGATION
            6/4/2024
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.329
                                                                                      As of the petition filing date, the claim is:              UNDETERMINED
            NICK EMBREE                                                               Check all that apply.
            C/O WILLIG WILLIAMS & DAVIDSON
                                                                                          Contingent
            ATTN: RYAN ALLEN HANCOCK, JORDAN KONELL, SAMUEL H. DATLOF
            1845 WALNUT STREET, 24TH FLOOR                                                Unliquidated
            PHILADELPIA, PA 19103
                                                                                          Disputed
            Date or dates debt was incurred                                           Basis for the claim:
            6/5/2024                                                                  LITIGATION
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
                                   Case 24-12140-BLS                  Doc 1       Filed 09/13/24                Page 558 of 1042

  3.330
                                                                                      As of the petition filing date, the claim is:              UNDETERMINED
            NICK EMBREE                                                               Check all that apply.
            C/O WILLIG WILLIAMS & DAVIDSON
                                                                                          Contingent
            ATTN: RYAN ALLEN HANCOCK, JORDAN KONELL
            1845 WALNUT STREET, 24TH FLOOR                                                Unliquidated
            PHILADELPIA, PA 19103
                                                                                          Disputed
            Date or dates debt was incurred                                           Basis for the claim:
            6/4/2024                                                                  LITIGATION

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.331
                                                                                      As of the petition filing date, the claim is:                            $100.00
            NICOLE PEAK                                                               Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.332
                                                                                      As of the petition filing date, the claim is:                         $15,437.50
            NILE GLOBAL, INC.                                                         Check all that apply.
            3590 NORTH FIRST STREET
                                                                                          Contingent
            STE. 300
            SAN JOSE, CA 95134                                                            Unliquidated

            Date or dates debt was incurred                                               Disputed

                                                                                      Basis for the claim:
                                                                                      OTHER A/P

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.333
                                                                                      As of the petition filing date, the claim is:                             $25.25
            NINA BRACA                                                                Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
                                   Case 24-12140-BLS                  Doc 1       Filed 09/13/24                Page 559 of 1042

  3.334
                                                                                      As of the petition filing date, the claim is:                            $500.00
            NOMADUMA MASILELA                                                         Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.335
                                                                                      As of the petition filing date, the claim is:                            $350.00
            NORA GAIR                                                                 Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.336
                                                                                      As of the petition filing date, the claim is:                             $50.00
            NORA GAIR                                                                 Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.337
                                                                                      As of the petition filing date, the claim is:                            $601.95
            OAK HALL INDUSTRIES, L.P.                                                 Check all that apply.
            840 UNION STREET
                                                                                          Contingent
            PO BOX 1078
            SALEM, VA 24153                                                               Unliquidated

            Date or dates debt was incurred                                               Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER A/P
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
                                   Case 24-12140-BLS                  Doc 1       Filed 09/13/24                Page 560 of 1042

  3.338
                                                                                      As of the petition filing date, the claim is:                            $631.52
            ODP BUSINESS SOLUTIONS LLC                                                Check all that apply.
            ATT BOX 633204
                                                                                          Contingent
            5050 KINGSLEY DRIVE
            CINCINNATI, OH 45227                                                          Unliquidated

                                                                                          Disputed
            Date or dates debt was incurred
                                                                                      Basis for the claim:
                                                                                      OTHER A/P

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.339
                                                                                      As of the petition filing date, the claim is:                         $58,285.00
            ONE IDENTITY LLC                                                          Check all that apply.
            PO BOX 733542
                                                                                          Contingent
            DALLAS, TX 75373-3542
                                                                                          Unliquidated
            Date or dates debt was incurred
                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER A/P
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.340
                                                                                      As of the petition filing date, the claim is:                          $2,945.85
            PAOLA I. NOGUERAS                                                         Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.341
                                                                                      As of the petition filing date, the claim is:                          $8,307.37
            PARADIGM, INC.                                                            Check all that apply.
            2600 PERFORMANCE COURT
                                                                                          Contingent
            VIRGINIA BEACH, VA 23453
                                                                                          Unliquidated
            Date or dates debt was incurred
                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      OTHER A/P
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
                                   Case 24-12140-BLS                  Doc 1       Filed 09/13/24                Page 561 of 1042

  3.342
                                                                                      As of the petition filing date, the claim is:                       $775,162.00
            PARKHURST DINING SERVICES                                                 Check all that apply.
            PO BOX 644091
                                                                                          Contingent
            PITTSBURGH, PA 15264-4091
                                                                                          Unliquidated
            Date or dates debt was incurred
                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      OTHER A/P

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.343
                                                                                      As of the petition filing date, the claim is:              UNDETERMINED
            PARKHUST DINING LLC                                                       Check all that apply.
            C/O DENTONS, COHEN & GRIGSBY PC
                                                                                          Contingent
            ATTN: LAURA E. HILL
            625 LIBERTY AVE, 5TH FLOOR                                                    Unliquidated
            PITTSBURGH, PA 15222-3152
                                                                                          Disputed
            Date or dates debt was incurred                                           Basis for the claim:
            8/19/2024                                                                 LITIGATION
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.344
                                                                                      As of the petition filing date, the claim is:                             $15.00
            PATRICIA SACKS                                                            Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.345
                                                                                      As of the petition filing date, the claim is:                            $300.00
            PAUL MATUSZ                                                               Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
                                   Case 24-12140-BLS                  Doc 1       Filed 09/13/24                Page 562 of 1042

  3.346
                                                                                      As of the petition filing date, the claim is:                          $1,023.48
            PECO                                                                      Check all that apply.
                                                                                          Contingent
            Date or dates debt was incurred
                                                                                          Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.347
                                                                                      As of the petition filing date, the claim is:                       $104,160.24
            PECO                                                                      Check all that apply.
            SUMMARY BILL PROCESSING CNTR
                                                                                          Contingent
            PO BOX 7888
            PHILADELPHIA, PA 19162                                                        Unliquidated

            Date or dates debt was incurred                                               Disputed
                                                                                      Basis for the claim:


                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.348
                                                                                      As of the petition filing date, the claim is:                          $1,248.00
            PENLAND SCHOOL OF CRAFTS                                                  Check all that apply.
            67 DORAS TRAIL
                                                                                          Contingent
            PO BOX 37
            PENLAND, NC 28765                                                             Unliquidated

            Date or dates debt was incurred                                               Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.349
                                                                                      As of the petition filing date, the claim is:                            $918.22
            PHILADELPHIA GAS WORKS                                                    Check all that apply.
                                                                                          Contingent
            Date or dates debt was incurred
                                                                                          Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.350
                                                                                      As of the petition filing date, the claim is:                            $300.00
            PHILADELPHIA MUSEUM OF ART                                                Check all that apply.
                                                                                          Contingent
            Date or dates debt was incurred
                                                                                          Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.351
                                                                                      As of the petition filing date, the claim is:                          $1,099.00
            PHILADELPHIA MUSEUM OF ART                                                Check all that apply.
            PO BOX 7646
                                                                                          Contingent
            PHILADELPHIA, PA 19101-7646
                                                                                          Unliquidated
            Date or dates debt was incurred
                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER A/P
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.352
                                                                                      As of the petition filing date, the claim is:                          $1,774.00
            PHILLY ASIAN FILM FESTIVAL/ARZHANG ZAFAR                                  Check all that apply.
            1229 CHESTNUT ST #142
                                                                                          Contingent
            PHILADELPHIA, PA 19107
                                                                                          Unliquidated
            Date or dates debt was incurred
                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      RENTAL EVENT REFUNDS

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.353
                                                                                      As of the petition filing date, the claim is:                          $2,250.00
            PHILLY FAT CON/DONNELLE JAGEMAN                                           Check all that apply.
                                                                                          Contingent
            Date or dates debt was incurred
                                                                                          Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      RENTAL EVENT REFUNDS

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.354
                                                                                      As of the petition filing date, the claim is:                          $2,553.00
            PI GAMMA MU INTERNATIONAL/UMGC                                            Check all that apply.
            1001 MILLINGTON ST., SUITE B
                                                                                          Contingent
            WINFIELD, KS 67156
                                                                                          Unliquidated
            Date or dates debt was incurred
                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      RENTAL EVENT REFUNDS

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.355
                                                                                      As of the petition filing date, the claim is:                       $264,251.48
            PIG IRON THEATRE COMPANY                                                  Check all that apply.
            1417 N 2ND ST
                                                                                          Contingent
            PHILADELPHIA, PA 19122
                                                                                          Unliquidated
            Date or dates debt was incurred
                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER A/P
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.356
                                                                                      As of the petition filing date, the claim is:                       $312,056.23
            PNC BANK                                                                  Check all that apply.
                                                                                          Contingent
            Date or dates debt was incurred
                                                                                          Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      P- CARD LIABILITY
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.357
                                                                                      As of the petition filing date, the claim is:                            $200.00
            PNC BANK, N.A.                                                            Check all that apply.
                                                                                          Contingent
            Date or dates debt was incurred
                                                                                          Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.358
                                                                                      As of the petition filing date, the claim is:                            $100.00
            PNC BANK, N.A.                                                            Check all that apply.
            PO BOX 821523
                                                                                          Contingent
            PHILADELPHIA, PA 19182-1523
                                                                                          Unliquidated
            Date or dates debt was incurred
                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER A/P

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.359
                                                                                      As of the petition filing date, the claim is:                          $1,500.00
            PRATYUSHA TUMMALA-NARRA                                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      1099 - PHD ADVISORS
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.360
                                                                                      As of the petition filing date, the claim is:                            $500.00
            PRELUDE SOLUTIONS, LLC                                                    Check all that apply.
            101 LINDENWOOD DR.
                                                                                          Contingent
            #225
            MALVERN, PA 19355                                                             Unliquidated

            Date or dates debt was incurred                                               Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.361
                                                                                      As of the petition filing date, the claim is:                          $4,089.00
            PRIYANJALI SEN                                                            Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      EMPLOYEE REIMBURSEMENTS
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.362
                                                                                      As of the petition filing date, the claim is:                          $7,500.00
            PUMA TELECOMM                                                             Check all that apply.
            ATTN ACCOUNTING
                                                                                          Contingent
            PO BOX 278408
            MIRAMAR, FL 33027                                                             Unliquidated

                                                                                          Disputed
            Date or dates debt was incurred
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.363
                                                                                      As of the petition filing date, the claim is:                         $10,122.19
            PURCHASE POWER                                                            Check all that apply.
            PO BOX 981026
                                                                                          Contingent
            BOSTON, MA 02298-1026
                                                                                          Unliquidated
            Date or dates debt was incurred
                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER A/P
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.364
                                                                                      As of the petition filing date, the claim is:                          $1,020.80
            RACHEL CAREY                                                              Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      EMPLOYEE REIMBURSEMENTS
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.365
                                                                                      As of the petition filing date, the claim is:                            $182.00
            RACHEL SHERMAN                                                            Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.366
                                                                                      As of the petition filing date, the claim is:                            $250.00
            RAIR, INC.                                                                Check all that apply.
            7333 MILNOR ST
                                                                                          Contingent
            PHILADELPHIA, PA 19136
                                                                                          Unliquidated
            Date or dates debt was incurred
                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER A/P

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.367
                                                                                      As of the petition filing date, the claim is:                          $1,500.00
            RAMON J. VARGAS                                                           Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.368
                                                                                      As of the petition filing date, the claim is:                            $100.00
            REBECCA A. WIZOV                                                          Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.369
                                                                                      As of the petition filing date, the claim is:              UNDETERMINED
            REBECCA JEAN MURPHY                                                       Check all that apply.
            C/O EDELSON LECHTZIN LLP
                                                                                          Contingent
            ATTN: MARC H. EDELSON, SHOSHANA MICHELLE SAVETT, ERIC
            LECHTZIN                                                                      Unliquidated
            411 S. STATE STREET, SUITE N-300
            NEWTOWN, PA 18940                                                             Disputed

                                                                                      Basis for the claim:
            Date or dates debt was incurred                                           LITIGATION
            6/4/2024
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.370
                                                                                      As of the petition filing date, the claim is:              UNDETERMINED
            REBECCA JEAN MURPHY                                                       Check all that apply.
            C/O WILLIG WILLIAMS & DAVIDSON
                                                                                          Contingent
            ATTN: RYAN ALLEN HANCOCK, JORDAN KONELL, SAMUEL H. DATLOF
            1845 WALNUT STREET, 24TH FLOOR                                                Unliquidated
            PHILADELPIA, PA 19103
                                                                                          Disputed
            Date or dates debt was incurred                                           Basis for the claim:
            6/5/2024                                                                  LITIGATION

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.371
                                                                                      As of the petition filing date, the claim is:              UNDETERMINED
            REBECCA JEAN MURPHY                                                       Check all that apply.
            C/O WILLIG WILLIAMS & DAVIDSON
                                                                                          Contingent
            ATTN: RYAN ALLEN HANCOCK, JORDAN KONELL
            1845 WALNUT STREET, 24TH FLOOR                                                Unliquidated
            PHILADELPIA, PA 19103
                                                                                          Disputed
            Date or dates debt was incurred                                           Basis for the claim:
            6/4/2024                                                                  LITIGATION
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.372
                                                                                      As of the petition filing date, the claim is:                          $2,202.66
            REBECCA MARIMUTU                                                          Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      EMPLOYEE REIMBURSEMENTS
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.373
                                                                                      As of the petition filing date, the claim is:                          $1,000.00
            REDACTED STUDENT 0001                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT STIPENDS
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.374
                                                                                      As of the petition filing date, the claim is:                            $200.00
            REDACTED STUDENT 0002                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.375
                                                                                      As of the petition filing date, the claim is:                            $100.00
            REDACTED STUDENT 0020                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.376
                                                                                      As of the petition filing date, the claim is:                            $500.00
            REDACTED STUDENT 0051                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.377
                                                                                      As of the petition filing date, the claim is:                             $68.00
            REDACTED STUDENT 0074                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.378
                                                                                      As of the petition filing date, the claim is:                            $750.00
            REDACTED STUDENT 0085                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      STUDENT STIPENDS

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.379
                                                                                      As of the petition filing date, the claim is:                          $2,975.00
            REDACTED STUDENT 0089                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.380
                                                                                      As of the petition filing date, the claim is:                          $1,000.00
            REDACTED STUDENT 0120                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT STIPENDS
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.381
                                                                                      As of the petition filing date, the claim is:                            $850.00
            REDACTED STUDENT 0129                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.382
                                                                                      As of the petition filing date, the claim is:                            $339.50
            REDACTED STUDENT 0130                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.383
                                                                                      As of the petition filing date, the claim is:                             $77.00
            REDACTED STUDENT 0172                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.384
                                                                                      As of the petition filing date, the claim is:                            $103.00
            REDACTED STUDENT 0174                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.385
                                                                                      As of the petition filing date, the claim is:                            $225.00
            REDACTED STUDENT 0205                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.386
                                                                                      As of the petition filing date, the claim is:                          $6,077.00
            REDACTED STUDENT 0278                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.387
                                                                                      As of the petition filing date, the claim is:                            $850.00
            REDACTED STUDENT 0288                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.388
                                                                                      As of the petition filing date, the claim is:                            $850.00
            REDACTED STUDENT 0294                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.389
                                                                                      As of the petition filing date, the claim is:                            $900.00
            REDACTED STUDENT 0295                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.390
                                                                                      As of the petition filing date, the claim is:                          $5,190.00
            REDACTED STUDENT 0300                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.391
                                                                                      As of the petition filing date, the claim is:                            $200.00
            REDACTED STUDENT 0301                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.392
                                                                                      As of the petition filing date, the claim is:                             $75.00
            REDACTED STUDENT 0308                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.393
                                                                                      As of the petition filing date, the claim is:                            $122.50
            REDACTED STUDENT 0330                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.394
                                                                                      As of the petition filing date, the claim is:                          $7,550.00
            REDACTED STUDENT 0343                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.395
                                                                                      As of the petition filing date, the claim is:                            $125.00
            REDACTED STUDENT 0367                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.396
                                                                                      As of the petition filing date, the claim is:                             $70.00
            REDACTED STUDENT 0389                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.397
                                                                                      As of the petition filing date, the claim is:                          $5,050.00
            REDACTED STUDENT 0396                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.398
                                                                                      As of the petition filing date, the claim is:                             $75.00
            REDACTED STUDENT 0413                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.399
                                                                                      As of the petition filing date, the claim is:                             $50.00
            REDACTED STUDENT 0416                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.400
                                                                                      As of the petition filing date, the claim is:                             $50.00
            REDACTED STUDENT 0440                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.401
                                                                                      As of the petition filing date, the claim is:                            $100.00
            REDACTED STUDENT 0453                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  3.402
                                                                                      As of the petition filing date, the claim is:                            $350.00
            REDACTED STUDENT 0536                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.403
                                                                                      As of the petition filing date, the claim is:                          $1,000.00
            REDACTED STUDENT 0554                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT STIPENDS
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.404
                                                                                      As of the petition filing date, the claim is:                             $25.00
            REDACTED STUDENT 0649                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.405
                                                                                      As of the petition filing date, the claim is:                            $125.00
            REDACTED STUDENT 0652                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  3.406
                                                                                      As of the petition filing date, the claim is:                             $23.85
            REDACTED STUDENT 0655                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.407
                                                                                      As of the petition filing date, the claim is:                            $250.00
            REDACTED STUDENT 0680                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.408
                                                                                      As of the petition filing date, the claim is:                             $98.00
            REDACTED STUDENT 0714                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.409
                                                                                      As of the petition filing date, the claim is:                            $100.00
            REDACTED STUDENT 0725                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.410
                                                                                      As of the petition filing date, the claim is:                          $5,020.00
            REDACTED STUDENT 0744                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.411
                                                                                      As of the petition filing date, the claim is:                             $50.00
            REDACTED STUDENT 0783                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.412
                                                                                      As of the petition filing date, the claim is:                          $5,050.00
            REDACTED STUDENT 0793                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.413
                                                                                      As of the petition filing date, the claim is:                            $100.00
            REDACTED STUDENT 0798                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  3.414
                                                                                      As of the petition filing date, the claim is:                            $781.84
            REDACTED STUDENT 0800                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      EMPLOYEE REIMBURSEMENTS

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.415
                                                                                      As of the petition filing date, the claim is:                            $850.00
            REDACTED STUDENT 0803                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.416
                                                                                      As of the petition filing date, the claim is:                             $25.00
            REDACTED STUDENT 0820                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.417
                                                                                      As of the petition filing date, the claim is:                             $37.45
            REDACTED STUDENT 0826                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      EMPLOYEE REIMBURSEMENTS
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  3.418
                                                                                      As of the petition filing date, the claim is:                            $200.00
            REDACTED STUDENT 0852                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.419
                                                                                      As of the petition filing date, the claim is:                            $176.25
            REDACTED STUDENT 0870                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.420
                                                                                      As of the petition filing date, the claim is:                          $6,650.00
            REDACTED STUDENT 0881                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.421
                                                                                      As of the petition filing date, the claim is:                            $100.00
            REDACTED STUDENT 0883                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.422
                                                                                      As of the petition filing date, the claim is:                            $200.00
            REDACTED STUDENT 0950                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.423
                                                                                      As of the petition filing date, the claim is:                            $100.00
            REDACTED STUDENT 0979                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.424
                                                                                      As of the petition filing date, the claim is:                          $1,000.00
            REDACTED STUDENT 0988                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT STIPENDS
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.425
                                                                                      As of the petition filing date, the claim is:                            $190.00
            REDACTED STUDENT 0994                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.426
                                                                                      As of the petition filing date, the claim is:                            $100.00
            REDACTED STUDENT 1028                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.427
                                                                                      As of the petition filing date, the claim is:                            $200.00
            REDACTED STUDENT 1036                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.428
                                                                                      As of the petition filing date, the claim is:                            $200.00
            REDACTED STUDENT 1091                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.429
                                                                                      As of the petition filing date, the claim is:                            $500.00
            REDACTED STUDENT 1097                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.430
                                                                                      As of the petition filing date, the claim is:                            $190.00
            REDACTED STUDENT 1161                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.431
                                                                                      As of the petition filing date, the claim is:                            $800.00
            REDACTED STUDENT 1175                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.432
                                                                                      As of the petition filing date, the claim is:                            $300.00
            REDACTED STUDENT 1187                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.433
                                                                                      As of the petition filing date, the claim is:                             $25.00
            REDACTED STUDENT 1206                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.434
                                                                                      As of the petition filing date, the claim is:                            $807.00
            REDACTED STUDENT 1210                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.435
                                                                                      As of the petition filing date, the claim is:                          $5,680.00
            REDACTED STUDENT 1213                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.436
                                                                                      As of the petition filing date, the claim is:                            $850.00
            REDACTED STUDENT 1246                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.437
                                                                                      As of the petition filing date, the claim is:                            $200.00
            REDACTED STUDENT 1256                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.438
                                                                                      As of the petition filing date, the claim is:                            $100.00
            REDACTED STUDENT 1274                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.439
                                                                                      As of the petition filing date, the claim is:                             $80.00
            REDACTED STUDENT 1282                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.440
                                                                                      As of the petition filing date, the claim is:                             $25.00
            REDACTED STUDENT 1302                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.441
                                                                                      As of the petition filing date, the claim is:                            $375.00
            REDACTED STUDENT 1310                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.442
                                                                                      As of the petition filing date, the claim is:                            $200.00
            REDACTED STUDENT 1315                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.443
                                                                                      As of the petition filing date, the claim is:                            $200.00
            REDACTED STUDENT 1326                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.444
                                                                                      As of the petition filing date, the claim is:                             $50.00
            REDACTED STUDENT 1365                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.445
                                                                                      As of the petition filing date, the claim is:                            $250.00
            REDACTED STUDENT 1371                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.446
                                                                                      As of the petition filing date, the claim is:                            $850.00
            REDACTED STUDENT 1377                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.447
                                                                                      As of the petition filing date, the claim is:                            $150.00
            REDACTED STUDENT 1379                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.448
                                                                                      As of the petition filing date, the claim is:                            $500.00
            REDACTED STUDENT 1438                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.449
                                                                                      As of the petition filing date, the claim is:                            $375.00
            REDACTED STUDENT 1448                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.450
                                                                                      As of the petition filing date, the claim is:                            $250.00
            REDACTED STUDENT 1452                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.451
                                                                                      As of the petition filing date, the claim is:                            $100.00
            REDACTED STUDENT 1474                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.452
                                                                                      As of the petition filing date, the claim is:                            $200.00
            REDACTED STUDENT 1497                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.453
                                                                                      As of the petition filing date, the claim is:                             $38.00
            REDACTED STUDENT 1500                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.454
                                                                                      As of the petition filing date, the claim is:                          $1,700.00
            REDACTED STUDENT 1506                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.455
                                                                                      As of the petition filing date, the claim is:                             $90.00
            REDACTED STUDENT 1510                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.456
                                                                                      As of the petition filing date, the claim is:                          $1,139.25
            REDACTED STUDENT 1530                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.457
                                                                                      As of the petition filing date, the claim is:                            $200.00
            REDACTED STUDENT 1537                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.458
                                                                                      As of the petition filing date, the claim is:                             $71.09
            REDACTED STUDENT 1538                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.459
                                                                                      As of the petition filing date, the claim is:                             $30.00
            REDACTED STUDENT 1549                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.460
                                                                                      As of the petition filing date, the claim is:                            $243.00
            REDACTED STUDENT 1555                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.461
                                                                                      As of the petition filing date, the claim is:                          $2,950.00
            REDACTED STUDENT 1558                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.462
                                                                                      As of the petition filing date, the claim is:                            $150.00
            REDACTED STUDENT 1568                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.463
                                                                                      As of the petition filing date, the claim is:                            $100.00
            REDACTED STUDENT 1599                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.464
                                                                                      As of the petition filing date, the claim is:                          $5,075.00
            REDACTED STUDENT 1626                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.465
                                                                                      As of the petition filing date, the claim is:                          $2,950.00
            REDACTED STUDENT 1649                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.466
                                                                                      As of the petition filing date, the claim is:                            $100.00
            REDACTED STUDENT 1666                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.467
                                                                                      As of the petition filing date, the claim is:                            $200.00
            REDACTED STUDENT 1680                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.468
                                                                                      As of the petition filing date, the claim is:                            $200.00
            REDACTED STUDENT 1710                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.469
                                                                                      As of the petition filing date, the claim is:                            $200.00
            REDACTED STUDENT 1877                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.470
                                                                                      As of the petition filing date, the claim is:                             $30.00
            REDACTED STUDENT 1897                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.471
                                                                                      As of the petition filing date, the claim is:                            $100.00
            REDACTED STUDENT 1945                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.472
                                                                                      As of the petition filing date, the claim is:                            $125.00
            REDACTED STUDENT 1953                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.473
                                                                                      As of the petition filing date, the claim is:                             $30.00
            REDACTED STUDENT 1957                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.474
                                                                                      As of the petition filing date, the claim is:                             $23.85
            REDACTED STUDENT 2093                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.475
                                                                                      As of the petition filing date, the claim is:                            $400.00
            REDACTED STUDENT 2113                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.476
                                                                                      As of the petition filing date, the claim is:                             $50.00
            REDACTED STUDENT 2119                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.477
                                                                                      As of the petition filing date, the claim is:                            $850.00
            REDACTED STUDENT 2130                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.478
                                                                                      As of the petition filing date, the claim is:                          $1,894.37
            REDACTED STUDENT 2132                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      EMPLOYEE REIMBURSEMENTS

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.479
                                                                                      As of the petition filing date, the claim is:                            $150.00
            REDACTED STUDENT 2134                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.480
                                                                                      As of the petition filing date, the claim is:                            $100.00
            REDACTED STUDENT 2155                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.481
                                                                                      As of the petition filing date, the claim is:                             $50.00
            REDACTED STUDENT 2187                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.482
                                                                                      As of the petition filing date, the claim is:                            $850.00
            REDACTED STUDENT 2191                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.483
                                                                                      As of the petition filing date, the claim is:                            $850.00
            REDACTED STUDENT 2283                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.484
                                                                                      As of the petition filing date, the claim is:                            $500.00
            REDACTED STUDENT 2287                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.485
                                                                                      As of the petition filing date, the claim is:                            $150.00
            REDACTED STUDENT 2290                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  3.486
                                                                                      As of the petition filing date, the claim is:                          $1,400.00
            REDACTED STUDENT 2306                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.487
                                                                                      As of the petition filing date, the claim is:                             $50.00
            REDACTED STUDENT 2345                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.488
                                                                                      As of the petition filing date, the claim is:                            $150.00
            REDACTED STUDENT 2363                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.489
                                                                                      As of the petition filing date, the claim is:                            $250.00
            REDACTED STUDENT 2392                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.490
                                                                                      As of the petition filing date, the claim is:                            $100.00
            REDACTED STUDENT 2430                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.491
                                                                                      As of the petition filing date, the claim is:                             $25.25
            REDACTED STUDENT 2436                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      EMPLOYEE REIMBURSEMENTS
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.492
                                                                                      As of the petition filing date, the claim is:                            $200.00
            REDACTED STUDENT 2438                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.493
                                                                                      As of the petition filing date, the claim is:                            $810.00
            REDACTED STUDENT 2457                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.494
                                                                                      As of the petition filing date, the claim is:                            $180.00
            REDACTED STUDENT 2457                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.495
                                                                                      As of the petition filing date, the claim is:                            $375.00
            REDACTED STUDENT 2462                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.496
                                                                                      As of the petition filing date, the claim is:                            $395.00
            REDACTED STUDENT 2466                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.497
                                                                                      As of the petition filing date, the claim is:                            $350.00
            REDACTED STUDENT 2487                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.498
                                                                                      As of the petition filing date, the claim is:                          $2,950.00
            REDACTED STUDENT 2513                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.499
                                                                                      As of the petition filing date, the claim is:                             $72.00
            REDACTED STUDENT 2519                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.500
                                                                                      As of the petition filing date, the claim is:                          $3,987.50
            REDACTED STUDENT 2519                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.501
                                                                                      As of the petition filing date, the claim is:                            $750.00
            REDACTED STUDENT 2528                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT STIPENDS
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.502
                                                                                      As of the petition filing date, the claim is:                          $5,690.00
            REDACTED STUDENT 2528                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.503
                                                                                      As of the petition filing date, the claim is:                             $25.00
            REDACTED STUDENT 2543                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.504
                                                                                      As of the petition filing date, the claim is:                            $165.44
            REDACTED STUDENT 2550                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      EMPLOYEE REIMBURSEMENTS
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.505
                                                                                      As of the petition filing date, the claim is:                            $200.00
            REDACTED STUDENT 2556                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.506
                                                                                      As of the petition filing date, the claim is:                            $415.00
            REDACTED STUDENT 2561                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.507
                                                                                      As of the petition filing date, the claim is:                             $75.00
            REDACTED STUDENT 2564                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.508
                                                                                      As of the petition filing date, the claim is:                            $200.00
            REDACTED STUDENT 2570                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.509
                                                                                      As of the petition filing date, the claim is:                          $5,145.00
            REDACTED STUDENT 2589                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.510
                                                                                      As of the petition filing date, the claim is:                            $200.00
            REDACTED STUDENT 2595                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.511
                                                                                      As of the petition filing date, the claim is:                            $200.00
            REDACTED STUDENT 2606                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.512
                                                                                      As of the petition filing date, the claim is:                          $1,000.00
            REDACTED STUDENT 2621                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT STIPENDS
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.513
                                                                                      As of the petition filing date, the claim is:                            $515.00
            REDACTED STUDENT 2631                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.514
                                                                                      As of the petition filing date, the claim is:                            $255.00
            REDACTED STUDENT 2659                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.515
                                                                                      As of the petition filing date, the claim is:                            $193.75
            REDACTED STUDENT 2711                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.516
                                                                                      As of the petition filing date, the claim is:                          $5,680.00
            REDACTED STUDENT 2735                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.517
                                                                                      As of the petition filing date, the claim is:                            $200.00
            REDACTED STUDENT 2746                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.518
                                                                                      As of the petition filing date, the claim is:                            $200.00
            REDACTED STUDENT 2757                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.519
                                                                                      As of the petition filing date, the claim is:                            $100.00
            REDACTED STUDENT 2787                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.520
                                                                                      As of the petition filing date, the claim is:                             $23.85
            REDACTED STUDENT 2822                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.521
                                                                                      As of the petition filing date, the claim is:                            $200.00
            REDACTED STUDENT 2837                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor   The University of the Arts_______________________________________________      Case number (if known) 24-_____________________________________________
         Name
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Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.522
                                                                                      As of the petition filing date, the claim is:                            $375.00
            REDACTED STUDENT 2863                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.523
                                                                                      As of the petition filing date, the claim is:                            $200.00
            REDACTED STUDENT 2890                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.524
                                                                                      As of the petition filing date, the claim is:                          $1,700.00
            REDACTED STUDENT 2930                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.525
                                                                                      As of the petition filing date, the claim is:                             $72.00
            REDACTED STUDENT 2956                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.526
                                                                                      As of the petition filing date, the claim is:                            $100.00
            REDACTED STUDENT 2975                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.527
                                                                                      As of the petition filing date, the claim is:                          $3,125.00
            REDACTED STUDENT 2976                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.528
                                                                                      As of the petition filing date, the claim is:                            $100.00
            REDACTED STUDENT 3077                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.529
                                                                                      As of the petition filing date, the claim is:                              $9.05
            REDACTED STUDENT 3082                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER A/P

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.530
                                                                                      As of the petition filing date, the claim is:                            $100.00
            REDACTED STUDENT 3157                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.531
                                                                                      As of the petition filing date, the claim is:                            $500.00
            REDACTED STUDENT 3165                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.532
                                                                                      As of the petition filing date, the claim is:                            $300.00
            REDACTED STUDENT 3181                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.533
                                                                                      As of the petition filing date, the claim is:                              $8.10
            REDACTED STUDENT 3201                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.534
                                                                                      As of the petition filing date, the claim is:                             $40.00
            REDACTED STUDENT 3231                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.535
                                                                                      As of the petition filing date, the claim is:                            $150.00
            REDACTED STUDENT 3234                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.536
                                                                                      As of the petition filing date, the claim is:                            $325.00
            REDACTED STUDENT 3263                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      EMPLOYEE REIMBURSEMENTS
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.537
                                                                                      As of the petition filing date, the claim is:                            $221.37
            REDACTED STUDENT 3329                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      EMPLOYEE REIMBURSEMENTS

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.538
                                                                                      As of the petition filing date, the claim is:                          $1,000.00
            REDACTED STUDENT 3428                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      EMPLOYEE REIMBURSEMENTS

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.539
                                                                                      As of the petition filing date, the claim is:                            $100.00
            REDACTED STUDENT 3453                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.540
                                                                                      As of the petition filing date, the claim is:                            $100.00
            REDACTED STUDENT 3485                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.541
                                                                                      As of the petition filing date, the claim is:                             $75.00
            REDACTED STUDENT 3500                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.542
                                                                                      As of the petition filing date, the claim is:                             $25.25
            REDACTED STUDENT 3513                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      EMPLOYEE REIMBURSEMENTS

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.543
                                                                                      As of the petition filing date, the claim is:                             $84.00
            REDACTED STUDENT 3516                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.544
                                                                                      As of the petition filing date, the claim is:                            $100.00
            REDACTED STUDENT 3530                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.545
                                                                                      As of the petition filing date, the claim is:                            $350.00
            REDACTED STUDENT 3588                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.546
                                                                                      As of the petition filing date, the claim is:                             $20.00
            REDACTED STUDENT 3614                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.547
                                                                                      As of the petition filing date, the claim is:                            $263.49
            REDACTED STUDENT 3638                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.548
                                                                                      As of the petition filing date, the claim is:                            $157.60
            REDACTED STUDENT 3638                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.549
                                                                                      As of the petition filing date, the claim is:                            $850.00
            REDACTED STUDENT 3640                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.550
                                                                                      As of the petition filing date, the claim is:                            $100.00
            REDACTED STUDENT 3654                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.551
                                                                                      As of the petition filing date, the claim is:                            $850.00
            REDACTED STUDENT 3665                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.552
                                                                                      As of the petition filing date, the claim is:                            $530.00
            REDACTED STUDENT 3744                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.553
                                                                                      As of the petition filing date, the claim is:                            $225.00
            REDACTED STUDENT 3769                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.554
                                                                                      As of the petition filing date, the claim is:                            $850.00
            REDACTED STUDENT 3779                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.555
                                                                                      As of the petition filing date, the claim is:                            $850.00
            REDACTED STUDENT 3802                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.556
                                                                                      As of the petition filing date, the claim is:                             $47.70
            REDACTED STUDENT 3838                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.557
                                                                                      As of the petition filing date, the claim is:                             $23.88
            REDACTED STUDENT 3851                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.558
                                                                                      As of the petition filing date, the claim is:                            $200.00
            REDACTED STUDENT 3875                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.559
                                                                                      As of the petition filing date, the claim is:                             $25.25
            REDACTED STUDENT 3886                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.560
                                                                                      As of the petition filing date, the claim is:                          $3,405.00
            REDACTED STUDENT 3887                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.561
                                                                                      As of the petition filing date, the claim is:                             $25.00
            REDACTED STUDENT 3891                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.562
                                                                                      As of the petition filing date, the claim is:                          $5,180.00
            REDACTED STUDENT 3899                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.563
                                                                                      As of the petition filing date, the claim is:                            $200.00
            REDACTED STUDENT 3902                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.564
                                                                                      As of the petition filing date, the claim is:                          $1,200.00
            REDACTED STUDENT 3907                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.565
                                                                                      As of the petition filing date, the claim is:                            $200.00
            REDACTED STUDENT 3913                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
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  3.566
                                                                                      As of the petition filing date, the claim is:                            $100.00
            REDACTED STUDENT 3937                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.567
                                                                                      As of the petition filing date, the claim is:                          $4,861.00
            REDACTED STUDENT 3946                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.568
                                                                                      As of the petition filing date, the claim is:                            $150.00
            REDACTED STUDENT 3953                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.569
                                                                                      As of the petition filing date, the claim is:                          $6,624.00
            REDACTED STUDENT 3954                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.570
                                                                                      As of the petition filing date, the claim is:                            $850.00
            REDACTED STUDENT 3977                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.571
                                                                                      As of the petition filing date, the claim is:                            $375.00
            REDACTED STUDENT 4055                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.572
                                                                                      As of the petition filing date, the claim is:                            $125.00
            REDACTED STUDENT 4070                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.573
                                                                                      As of the petition filing date, the claim is:                            $100.00
            REDACTED STUDENT 4083                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.574
                                                                                      As of the petition filing date, the claim is:                            $405.00
            REDACTED STUDENT 4089                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.575
                                                                                      As of the petition filing date, the claim is:                            $200.00
            REDACTED STUDENT 4101                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.576
                                                                                      As of the petition filing date, the claim is:                             $30.00
            REDACTED STUDENT 4116                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.577
                                                                                      As of the petition filing date, the claim is:                            $150.00
            REDACTED STUDENT 4144                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.578
                                                                                      As of the petition filing date, the claim is:                            $100.00
            REDACTED STUDENT 4155                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.579
                                                                                      As of the petition filing date, the claim is:                          $1,592.00
            REDACTED STUDENT 4176                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.580
                                                                                      As of the petition filing date, the claim is:                             $50.00
            REDACTED STUDENT 4185                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.581
                                                                                      As of the petition filing date, the claim is:                            $968.00
            REDACTED STUDENT 4202                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.582
                                                                                      As of the petition filing date, the claim is:                            $250.00
            REDACTED STUDENT 4223                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.583
                                                                                      As of the petition filing date, the claim is:                            $500.00
            REDACTED STUDENT 4294                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.584
                                                                                      As of the petition filing date, the claim is:                            $200.00
            REDACTED STUDENT 4310                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.585
                                                                                      As of the petition filing date, the claim is:                             $30.00
            REDACTED STUDENT 4400                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.586
                                                                                      As of the petition filing date, the claim is:                             $50.00
            REDACTED STUDENT 4408                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.587
                                                                                      As of the petition filing date, the claim is:                            $233.92
            REDACTED STUDENT 4409                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      EMPLOYEE REIMBURSEMENTS
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.588
                                                                                      As of the petition filing date, the claim is:                             $30.00
            REDACTED STUDENT 4412                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.589
                                                                                      As of the petition filing date, the claim is:                            $220.00
            REDACTED STUDENT 4423                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.590
                                                                                      As of the petition filing date, the claim is:                             $23.85
            REDACTED STUDENT 4430                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.591
                                                                                      As of the petition filing date, the claim is:                             $65.00
            REDACTED STUDENT 4444                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.592
                                                                                      As of the petition filing date, the claim is:                            $190.00
            REDACTED STUDENT 4485                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.593
                                                                                      As of the petition filing date, the claim is:                             $45.85
            REDACTED STUDENT 4491                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      EMPLOYEE REIMBURSEMENTS
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.594
                                                                                      As of the petition filing date, the claim is:                            $100.00
            REDACTED STUDENT 4514                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.595
                                                                                      As of the petition filing date, the claim is:                             $50.51
            REDACTED STUDENT 4528                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.596
                                                                                      As of the petition filing date, the claim is:                            $200.00
            REDACTED STUDENT 4563                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.597
                                                                                      As of the petition filing date, the claim is:                            $495.00
            REDACTED STUDENT 4569                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.598
                                                                                      As of the petition filing date, the claim is:                             $23.85
            REDACTED STUDENT 4584                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.599
                                                                                      As of the petition filing date, the claim is:                            $200.00
            REDACTED STUDENT 4659                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.600
                                                                                      As of the petition filing date, the claim is:                            $300.00
            REDACTED STUDENT 4687                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.601
                                                                                      As of the petition filing date, the claim is:                            $200.00
            REDACTED STUDENT 4732                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.602
                                                                                      As of the petition filing date, the claim is:                             $32.93
            REDACTED STUDENT 4737                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.603
                                                                                      As of the petition filing date, the claim is:                            $650.00
            REDACTED STUDENT 4740                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.604
                                                                                      As of the petition filing date, the claim is:                            $100.00
            REDACTED STUDENT 4754                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.605
                                                                                      As of the petition filing date, the claim is:                            $200.00
            REDACTED STUDENT 4763                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
                                   Case 24-12140-BLS                  Doc 1       Filed 09/13/24                Page 628 of 1042

  3.606
                                                                                      As of the petition filing date, the claim is:                             $30.00
            REDACTED STUDENT 4812                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.607
                                                                                      As of the petition filing date, the claim is:                            $200.00
            REDACTED STUDENT 4821                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.608
                                                                                      As of the petition filing date, the claim is:                            $200.00
            REDACTED STUDENT 4843                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.609
                                                                                      As of the petition filing date, the claim is:                            $200.00
            REDACTED STUDENT 4844                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.610
                                                                                      As of the petition filing date, the claim is:                          $5,390.00
            REDACTED STUDENT 4859                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.611
                                                                                      As of the petition filing date, the claim is:                            $100.00
            REDACTED STUDENT 4862                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.612
                                                                                      As of the petition filing date, the claim is:                             $50.00
            REDACTED STUDENT 4899                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.613
                                                                                      As of the petition filing date, the claim is:                            $100.00
            REDACTED STUDENT 4951                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.614
                                                                                      As of the petition filing date, the claim is:                            $150.00
            REDACTED STUDENT 4960                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.615
                                                                                      As of the petition filing date, the claim is:                             $20.00
            REDACTED STUDENT 4996                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.616
                                                                                      As of the petition filing date, the claim is:                            $100.00
            REDACTED STUDENT 5010                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      EMPLOYEE REIMBURSEMENTS
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.617
                                                                                      As of the petition filing date, the claim is:                          $3,534.56
            REDACTED STUDENT 5025                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.618
                                                                                      As of the petition filing date, the claim is:                            $200.00
            REDACTED STUDENT 5063                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.619
                                                                                      As of the petition filing date, the claim is:                            $443.96
            REDACTED STUDENT 5129                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      EMPLOYEE REIMBURSEMENTS
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.620
                                                                                      As of the petition filing date, the claim is:                            $200.00
            REDACTED STUDENT 5129                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.621
                                                                                      As of the petition filing date, the claim is:                            $125.00
            REDACTED STUDENT 5183                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.622
                                                                                      As of the petition filing date, the claim is:                            $500.00
            REDACTED STUDENT 5222                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.623
                                                                                      As of the petition filing date, the claim is:                            $200.00
            REDACTED STUDENT 5231                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.624
                                                                                      As of the petition filing date, the claim is:                            $187.50
            REDACTED STUDENT 5242                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.625
                                                                                      As of the petition filing date, the claim is:                          $1,700.00
            REDACTED STUDENT 5249                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.626
                                                                                      As of the petition filing date, the claim is:                          $2,950.00
            REDACTED STUDENT 5282                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.627
                                                                                      As of the petition filing date, the claim is:                            $600.00
            REDACTED STUDENT 5289                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.628
                                                                                      As of the petition filing date, the claim is:                             $90.00
            REDACTED STUDENT 5314                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.629
                                                                                      As of the petition filing date, the claim is:                            $150.00
            REDACTED STUDENT 5329                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.630
                                                                                      As of the petition filing date, the claim is:                             $30.00
            REDACTED STUDENT 5333                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.631
                                                                                      As of the petition filing date, the claim is:                             $20.00
            REDACTED STUDENT 5335                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.632
                                                                                      As of the petition filing date, the claim is:                          $1,100.00
            REDACTED STUDENT 5421                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.633
                                                                                      As of the petition filing date, the claim is:                          $5,914.75
            REDACTED STUDENT 5428                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.634
                                                                                      As of the petition filing date, the claim is:                            $200.00
            REDACTED STUDENT 5434                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.635
                                                                                      As of the petition filing date, the claim is:                            $100.00
            REDACTED STUDENT 5445                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.636
                                                                                      As of the petition filing date, the claim is:                            $200.00
            REDACTED STUDENT 5459                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.637
                                                                                      As of the petition filing date, the claim is:                             $25.00
            REDACTED STUDENT 5460                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.638
                                                                                      As of the petition filing date, the claim is:                             $45.67
            REDACTED STUDENT 5491                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      EMPLOYEE REIMBURSEMENTS

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.639
                                                                                      As of the petition filing date, the claim is:                            $125.00
            REDACTED STUDENT 5507                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.640
                                                                                      As of the petition filing date, the claim is:                            $650.00
            REDACTED STUDENT 5510                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.641
                                                                                      As of the petition filing date, the claim is:                            $100.00
            REDACTED STUDENT 5534                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.642
                                                                                      As of the petition filing date, the claim is:                            $100.00
            REDACTED STUDENT 5546                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.643
                                                                                      As of the petition filing date, the claim is:                             $50.00
            REDACTED STUDENT 5546                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.644
                                                                                      As of the petition filing date, the claim is:                              $0.00
            REDACTED STUDENT 5553                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.645
                                                                                      As of the petition filing date, the claim is:                          $7,572.00
            REDACTED STUDENT 5558                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.646
                                                                                      As of the petition filing date, the claim is:                            $100.00
            REDACTED STUDENT 5566                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.647
                                                                                      As of the petition filing date, the claim is:                             $40.38
            REDACTED STUDENT 5667                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.648
                                                                                      As of the petition filing date, the claim is:                          $1,650.00
            REDACTED STUDENT 5684                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.649
                                                                                      As of the petition filing date, the claim is:                             $20.00
            REDACTED STUDENT 5764                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.650
                                                                                      As of the petition filing date, the claim is:                          $1,500.00
            REDACTED STUDENT 5817                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT STIPENDS

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.651
                                                                                      As of the petition filing date, the claim is:                            $140.00
            REDACTED STUDENT 5859                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.652
                                                                                      As of the petition filing date, the claim is:                          $1,800.00
            REDACTED STUDENT 5903                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT STIPENDS
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.653
                                                                                      As of the petition filing date, the claim is:                            $600.00
            REDACTED STUDENT 6024                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.654
                                                                                      As of the petition filing date, the claim is:                            $300.00
            REDACTED STUDENT 6043                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.655
                                                                                      As of the petition filing date, the claim is:                            $125.00
            REDACTED STUDENT 6043                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.656
                                                                                      As of the petition filing date, the claim is:                            $200.00
            REDACTED STUDENT 6076                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.657
                                                                                      As of the petition filing date, the claim is:                            $850.00
            REDACTED STUDENT 6087                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.658
                                                                                      As of the petition filing date, the claim is:                          $1,100.00
            REDACTED STUDENT 6142                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.659
                                                                                      As of the petition filing date, the claim is:                            $850.00
            REDACTED STUDENT 6173                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.660
                                                                                      As of the petition filing date, the claim is:                            $100.00
            REDACTED STUDENT 6196                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.661
                                                                                      As of the petition filing date, the claim is:                          $4,092.23
            REDACTED STUDENT 6208                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      EMPLOYEE REIMBURSEMENTS
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
                                   Case 24-12140-BLS                  Doc 1       Filed 09/13/24                Page 642 of 1042

  3.662
                                                                                      As of the petition filing date, the claim is:                          $1,700.00
            REDACTED STUDENT 6211                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.663
                                                                                      As of the petition filing date, the claim is:                            $200.00
            REDACTED STUDENT 6212                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.664
                                                                                      As of the petition filing date, the claim is:                            $200.00
            REDACTED STUDENT 6215                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.665
                                                                                      As of the petition filing date, the claim is:                            $200.00
            REDACTED STUDENT 6231                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.666
                                                                                      As of the petition filing date, the claim is:                            $182.00
            REDACTED STUDENT 6245                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.667
                                                                                      As of the petition filing date, the claim is:                            $100.00
            REDACTED STUDENT 6259                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.668
                                                                                      As of the petition filing date, the claim is:                          $1,000.00
            REDACTED STUDENT 6272                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT STIPENDS
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.669
                                                                                      As of the petition filing date, the claim is:                            $200.00
            REDACTED STUDENT 6338                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.670
                                                                                      As of the petition filing date, the claim is:                             $25.00
            REDACTED STUDENT 6368                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.671
                                                                                      As of the petition filing date, the claim is:                             $15.00
            REDACTED STUDENT 6373                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.672
                                                                                      As of the petition filing date, the claim is:                            $400.00
            REDACTED STUDENT 6375                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.673
                                                                                      As of the petition filing date, the claim is:                          $1,700.00
            REDACTED STUDENT 6445                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT STIPENDS
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.674
                                                                                      As of the petition filing date, the claim is:                            $185.00
            REDACTED STUDENT 6445                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.675
                                                                                      As of the petition filing date, the claim is:                          $5,150.00
            REDACTED STUDENT 6451                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.676
                                                                                      As of the petition filing date, the claim is:                          $5,680.00
            REDACTED STUDENT 6453                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.677
                                                                                      As of the petition filing date, the claim is:                            $200.00
            REDACTED STUDENT 6463                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
                                   Case 24-12140-BLS                  Doc 1       Filed 09/13/24                Page 646 of 1042

  3.678
                                                                                      As of the petition filing date, the claim is:                            $850.00
            REDACTED STUDENT 6531                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.679
                                                                                      As of the petition filing date, the claim is:                            $100.00
            REDACTED STUDENT 6549                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.680
                                                                                      As of the petition filing date, the claim is:                            $100.00
            REDACTED STUDENT 6557                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.681
                                                                                      As of the petition filing date, the claim is:                             $84.00
            REDACTED STUDENT 6593                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.682
                                                                                      As of the petition filing date, the claim is:                            $850.00
            REDACTED STUDENT 6613                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.683
                                                                                      As of the petition filing date, the claim is:                            $200.00
            REDACTED STUDENT 6625                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.684
                                                                                      As of the petition filing date, the claim is:                          $1,080.00
            REDACTED STUDENT 6661                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.685
                                                                                      As of the petition filing date, the claim is:                            $250.00
            REDACTED STUDENT 6662                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
                                   Case 24-12140-BLS                  Doc 1       Filed 09/13/24                Page 648 of 1042

  3.686
                                                                                      As of the petition filing date, the claim is:                          $1,700.00
            REDACTED STUDENT 6689                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.687
                                                                                      As of the petition filing date, the claim is:                             $50.00
            REDACTED STUDENT 6729                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.688
                                                                                      As of the petition filing date, the claim is:                             $45.00
            REDACTED STUDENT 6777                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.689
                                                                                      As of the petition filing date, the claim is:                             $25.25
            REDACTED STUDENT 6795                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      EMPLOYEE REIMBURSEMENTS
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.690
                                                                                      As of the petition filing date, the claim is:                             $25.25
            REDACTED STUDENT 6807                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      EMPLOYEE REIMBURSEMENTS

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.691
                                                                                      As of the petition filing date, the claim is:                          $2,500.00
            REDACTED STUDENT 6808                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT STIPENDS

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.692
                                                                                      As of the petition filing date, the claim is:                            $275.00
            REDACTED STUDENT 6816                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.693
                                                                                      As of the petition filing date, the claim is:                            $300.00
            REDACTED STUDENT 6836                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
                                   Case 24-12140-BLS                  Doc 1       Filed 09/13/24                Page 650 of 1042

  3.694
                                                                                      As of the petition filing date, the claim is:                            $725.00
            REDACTED STUDENT 6837                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.695
                                                                                      As of the petition filing date, the claim is:                            $200.00
            REDACTED STUDENT 6911                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.696
                                                                                      As of the petition filing date, the claim is:                            $100.00
            REDACTED STUDENT 6928                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.697
                                                                                      As of the petition filing date, the claim is:                            $395.75
            REDACTED STUDENT 6928                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.698
                                                                                      As of the petition filing date, the claim is:                            $850.00
            REDACTED STUDENT 6985                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.699
                                                                                      As of the petition filing date, the claim is:                             $26.00
            REDACTED STUDENT 7006                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.700
                                                                                      As of the petition filing date, the claim is:                            $850.00
            REDACTED STUDENT 7029                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.701
                                                                                      As of the petition filing date, the claim is:                             $25.00
            REDACTED STUDENT 7057                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.702
                                                                                      As of the petition filing date, the claim is:                          $5,680.00
            REDACTED STUDENT 7059                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.703
                                                                                      As of the petition filing date, the claim is:                            $850.00
            REDACTED STUDENT 7110                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.704
                                                                                      As of the petition filing date, the claim is:                            $338.51
            REDACTED STUDENT 7131                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.705
                                                                                      As of the petition filing date, the claim is:                            $200.00
            REDACTED STUDENT 7143                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
                                   Case 24-12140-BLS                  Doc 1       Filed 09/13/24                Page 653 of 1042

  3.706
                                                                                      As of the petition filing date, the claim is:                            $200.00
            REDACTED STUDENT 7145                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.707
                                                                                      As of the petition filing date, the claim is:                            $200.00
            REDACTED STUDENT 7160                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.708
                                                                                      As of the petition filing date, the claim is:                          $1,000.00
            REDACTED STUDENT 7265                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT STIPENDS
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.709
                                                                                      As of the petition filing date, the claim is:                          $2,975.00
            REDACTED STUDENT 7271                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
                                   Case 24-12140-BLS                  Doc 1       Filed 09/13/24                Page 654 of 1042

  3.710
                                                                                      As of the petition filing date, the claim is:                             $72.00
            REDACTED STUDENT 7322                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.711
                                                                                      As of the petition filing date, the claim is:                          $1,650.00
            REDACTED STUDENT 7401                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.712
                                                                                      As of the petition filing date, the claim is:                          $1,317.47
            REDACTED STUDENT 7406                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT STIPENDS
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.713
                                                                                      As of the petition filing date, the claim is:                          $1,700.00
            REDACTED STUDENT 7409                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
                                   Case 24-12140-BLS                  Doc 1       Filed 09/13/24                Page 655 of 1042

  3.714
                                                                                      As of the petition filing date, the claim is:                            $850.00
            REDACTED STUDENT 7445                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.715
                                                                                      As of the petition filing date, the claim is:                            $600.00
            REDACTED STUDENT 7569                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.716
                                                                                      As of the petition filing date, the claim is:                            $850.00
            REDACTED STUDENT 7623                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.717
                                                                                      As of the petition filing date, the claim is:                          $1,700.00
            REDACTED STUDENT 7629                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.718
                                                                                      As of the petition filing date, the claim is:                          $1,050.00
            REDACTED STUDENT 7655                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.719
                                                                                      As of the petition filing date, the claim is:                             $90.03
            REDACTED STUDENT 7681                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      EMPLOYEE REIMBURSEMENTS
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.720
                                                                                      As of the petition filing date, the claim is:                          $1,700.00
            REDACTED STUDENT 7714                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.721
                                                                                      As of the petition filing date, the claim is:                             $50.00
            REDACTED STUDENT 7748                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.722
                                                                                      As of the petition filing date, the claim is:                          $4,815.00
            REDACTED STUDENT 7758                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.723
                                                                                      As of the petition filing date, the claim is:                            $250.00
            REDACTED STUDENT 7761                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.724
                                                                                      As of the petition filing date, the claim is:                             $50.00
            REDACTED STUDENT 7767                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.725
                                                                                      As of the petition filing date, the claim is:                            $160.00
            REDACTED STUDENT 7785                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.726
                                                                                      As of the petition filing date, the claim is:                             $75.00
            REDACTED STUDENT 7832                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.727
                                                                                      As of the petition filing date, the claim is:                            $460.13
            REDACTED STUDENT 7835                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.728
                                                                                      As of the petition filing date, the claim is:                            $100.00
            REDACTED STUDENT 7891                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.729
                                                                                      As of the petition filing date, the claim is:                             $87.00
            REDACTED STUDENT 8009                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.730
                                                                                      As of the petition filing date, the claim is:                            $200.00
            REDACTED STUDENT 8125                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.731
                                                                                      As of the petition filing date, the claim is:                          $1,000.00
            REDACTED STUDENT 8169                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT STIPENDS
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.732
                                                                                      As of the petition filing date, the claim is:                            $300.00
            REDACTED STUDENT 8169                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.733
                                                                                      As of the petition filing date, the claim is:                            $575.00
            REDACTED STUDENT 8190                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.734
                                                                                      As of the petition filing date, the claim is:                             $25.00
            REDACTED STUDENT 8330                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.735
                                                                                      As of the petition filing date, the claim is:                             $75.00
            REDACTED STUDENT 8337                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.736
                                                                                      As of the petition filing date, the claim is:                            $100.00
            REDACTED STUDENT 8464                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.737
                                                                                      As of the petition filing date, the claim is:                            $150.00
            REDACTED STUDENT 8477                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.738
                                                                                      As of the petition filing date, the claim is:                            $158.34
            REDACTED STUDENT 8490                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.739
                                                                                      As of the petition filing date, the claim is:                            $450.00
            REDACTED STUDENT 8507                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.740
                                                                                      As of the petition filing date, the claim is:                            $200.00
            REDACTED STUDENT 8507                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.741
                                                                                      As of the petition filing date, the claim is:                          $1,925.00
            REDACTED STUDENT 8510                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.742
                                                                                      As of the petition filing date, the claim is:                            $350.00
            REDACTED STUDENT 8523                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.743
                                                                                      As of the petition filing date, the claim is:                            $500.00
            REDACTED STUDENT 8524                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.744
                                                                                      As of the petition filing date, the claim is:                            $100.00
            REDACTED STUDENT 8572                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.745
                                                                                      As of the petition filing date, the claim is:                          $1,700.00
            REDACTED STUDENT 8623                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.746
                                                                                      As of the petition filing date, the claim is:                          $1,360.10
            REDACTED STUDENT 8644                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      EMPLOYEE REIMBURSEMENTS

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.747
                                                                                      As of the petition filing date, the claim is:                             $52.41
            REDACTED STUDENT 8650                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.748
                                                                                      As of the petition filing date, the claim is:                          $1,050.00
            REDACTED STUDENT 8694                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.749
                                                                                      As of the petition filing date, the claim is:                            $165.00
            REDACTED STUDENT 8707                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.750
                                                                                      As of the petition filing date, the claim is:                          $1,000.00
            REDACTED STUDENT 8715                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT STIPENDS

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.751
                                                                                      As of the petition filing date, the claim is:                            $150.00
            REDACTED STUDENT 8777                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.752
                                                                                      As of the petition filing date, the claim is:                            $400.00
            REDACTED STUDENT 8777                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.753
                                                                                      As of the petition filing date, the claim is:                          $1,000.00
            REDACTED STUDENT 8832                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT STIPENDS

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.754
                                                                                      As of the petition filing date, the claim is:                            $150.00
            REDACTED STUDENT 8875                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.755
                                                                                      As of the petition filing date, the claim is:                            $200.00
            REDACTED STUDENT 8931                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.756
                                                                                      As of the petition filing date, the claim is:                             $20.00
            REDACTED STUDENT 8968                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.757
                                                                                      As of the petition filing date, the claim is:                             $50.00
            REDACTED STUDENT 9046                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.758
                                                                                      As of the petition filing date, the claim is:                          $1,700.00
            REDACTED STUDENT 9086                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.759
                                                                                      As of the petition filing date, the claim is:                            $200.00
            REDACTED STUDENT 9206                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.760
                                                                                      As of the petition filing date, the claim is:                            $225.00
            REDACTED STUDENT 9286                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.761
                                                                                      As of the petition filing date, the claim is:                            $100.00
            REDACTED STUDENT 9381                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.762
                                                                                      As of the petition filing date, the claim is:                             $45.00
            REDACTED STUDENT 9439                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.763
                                                                                      As of the petition filing date, the claim is:                             $25.00
            REDACTED STUDENT 9447                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.764
                                                                                      As of the petition filing date, the claim is:                            $500.00
            REDACTED STUDENT 9459                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.765
                                                                                      As of the petition filing date, the claim is:                            $200.00
            REDACTED STUDENT 9461                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.766
                                                                                      As of the petition filing date, the claim is:                          $1,200.00
            REDACTED STUDENT 9479                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.767
                                                                                      As of the petition filing date, the claim is:                          $1,700.00
            REDACTED STUDENT 9481                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.768
                                                                                      As of the petition filing date, the claim is:                          $1,749.99
            REDACTED STUDENT 9498                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.769
                                                                                      As of the petition filing date, the claim is:                            $850.00
            REDACTED STUDENT 9556                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
                                   Case 24-12140-BLS                  Doc 1       Filed 09/13/24                Page 669 of 1042

  3.770
                                                                                      As of the petition filing date, the claim is:                            $190.00
            REDACTED STUDENT 9600                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.771
                                                                                      As of the petition filing date, the claim is:                            $108.56
            REDACTED STUDENT 9612                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      EMPLOYEE REIMBURSEMENTS
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.772
                                                                                      As of the petition filing date, the claim is:                            $375.00
            REDACTED STUDENT 9654                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.773
                                                                                      As of the petition filing date, the claim is:                            $200.00
            REDACTED STUDENT 9705                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
                                   Case 24-12140-BLS                  Doc 1       Filed 09/13/24                Page 670 of 1042

  3.774
                                                                                      As of the petition filing date, the claim is:                            $622.02
            REDACTED STUDENT 9707                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.775
                                                                                      As of the petition filing date, the claim is:                            $850.00
            REDACTED STUDENT 9804                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.776
                                                                                      As of the petition filing date, the claim is:                             $81.20
            REDACTED STUDENT 9810                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      EMPLOYEE REIMBURSEMENTS
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.777
                                                                                      As of the petition filing date, the claim is:                          $1,700.00
            REDACTED STUDENT 9897                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
                                   Case 24-12140-BLS                  Doc 1       Filed 09/13/24                Page 671 of 1042

  3.778
                                                                                      As of the petition filing date, the claim is:                            $200.00
            REDACTED STUDENT 9910                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.779
                                                                                      As of the petition filing date, the claim is:                             $25.00
            REDACTED STUDENT 9972                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.780
                                                                                      As of the petition filing date, the claim is:                          $1,200.00
            REDACTED STUDENT 9984                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.781
                                                                                      As of the petition filing date, the claim is:                          $1,200.00
            REDACTED STUDENT 9987                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      STUDENT DEPOSIT
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor   The University of the Arts_______________________________________________      Case number (if known) 24-_____________________________________________
         Name
                                  Case 24-12140-BLS                  Doc 1       Filed 09/13/24       Page 672 of 1042
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
                                   Case 24-12140-BLS                  Doc 1       Filed 09/13/24                Page 673 of 1042

  3.782
                                                                                      As of the petition filing date, the claim is:                            $291.67
            RELX INC.                                                                 Check all that apply.
            DBA LEXISNEXIS
                                                                                          Contingent
            PO BOX 9584
            NEW YORK, NY 10087-4584                                                       Unliquidated

                                                                                          Disputed
            Date or dates debt was incurred
                                                                                      Basis for the claim:
                                                                                      OTHER A/P

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.783
                                                                                      As of the petition filing date, the claim is:                            $487.96
            REVOLUTION RECOVERY LLC                                                   Check all that apply.
            7333 MILNOR ST
                                                                                          Contingent
            PHILADELPHIA, PA 19136
                                                                                          Unliquidated
            Date or dates debt was incurred
                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      OTHER A/P
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.784
                                                                                      As of the petition filing date, the claim is:                            $113.30
            RICH ART                                                                  Check all that apply.
                                                                                          Contingent
            Date or dates debt was incurred
                                                                                          Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      OTHER A/P

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.785
                                                                                      As of the petition filing date, the claim is:                          $1,432.00
            RICHARD C. MOYER                                                          Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
                                   Case 24-12140-BLS                  Doc 1       Filed 09/13/24                Page 674 of 1042

  3.786
                                                                                      As of the petition filing date, the claim is:                          $1,500.00
            RICHARD H. HERMAN                                                         Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      1099 - PHD ADVISORS

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.787
                                                                                      As of the petition filing date, the claim is:              UNDETERMINED
            RICHARD REIN                                                              Check all that apply.
            C/O EDELSON LECHTZIN LLP
                                                                                          Contingent
            ATTN: MARC H. EDELSON, SHOSHANA MICHELLE SAVETT, ERIC
            LECHTZIN                                                                      Unliquidated
            411 S. STATE STREET, SUITE N-300
            NEWTOWN, PA 18940                                                             Disputed

                                                                                      Basis for the claim:
            Date or dates debt was incurred                                           LITIGATION
            6/4/2024
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.788
                                                                                      As of the petition filing date, the claim is:              UNDETERMINED
            RICHARD REIN                                                              Check all that apply.
            C/O WILLIG WILLIAMS & DAVIDSON
                                                                                          Contingent
            ATTN: RYAN ALLEN HANCOCK, JORDAN KONELL, SAMUEL H. DATLOF
            1845 WALNUT STREET, 24TH FLOOR                                                Unliquidated
            PHILADELPIA, PA 19103
                                                                                          Disputed
            Date or dates debt was incurred                                           Basis for the claim:
            6/5/2024                                                                  LITIGATION
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.789
                                                                                      As of the petition filing date, the claim is:              UNDETERMINED
            RICHARD REIN                                                              Check all that apply.
            C/O WILLIG WILLIAMS & DAVIDSON
                                                                                          Contingent
            ATTN: RYAN ALLEN HANCOCK, JORDAN KONELL
            1845 WALNUT STREET, 24TH FLOOR                                                Unliquidated
            PHILADELPIA, PA 19103
                                                                                          Disputed
            Date or dates debt was incurred                                           Basis for the claim:
            6/4/2024                                                                  LITIGATION

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
                                   Case 24-12140-BLS                  Doc 1       Filed 09/13/24                Page 675 of 1042

  3.790
                                                                                      As of the petition filing date, the claim is:                            $100.00
            RICHARD TENGOWSKI                                                         Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.791
                                                                                      As of the petition filing date, the claim is:                          $1,500.00
            ROBIN WAGNER-PACIFICI                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      1099 - PHD ADVISORS
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.792
                                                                                      As of the petition filing date, the claim is:                            $146.56
            ROGER G. BERLIN                                                           Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.793
                                                                                      As of the petition filing date, the claim is:                             $75.00
            ROSANE MUNIZ ROCHA                                                        Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
                                   Case 24-12140-BLS                  Doc 1       Filed 09/13/24                Page 676 of 1042

  3.794
                                                                                      As of the petition filing date, the claim is:                            $965.00
            ROSEMARY ROMETT                                                           Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.795
                                                                                      As of the petition filing date, the claim is:              UNDETERMINED
            ROSEMARY SAVOIA                                                           Check all that apply.
            C/O EDELSON LECHTZIN LLP
                                                                                          Contingent
            ATTN: MARC H. EDELSON, SHOSHANA MICHELLE SAVETT, ERIC
            LECHTZIN                                                                      Unliquidated
            411 S. STATE STREET, SUITE N-300
            NEWTOWN, PA 18940                                                             Disputed
                                                                                      Basis for the claim:
            Date or dates debt was incurred                                           LITIGATION
            6/4/2024
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.796
                                                                                      As of the petition filing date, the claim is:              UNDETERMINED
            ROSEMARY SAVOIA                                                           Check all that apply.
            C/O WILLIG WILLIAMS & DAVIDSON
                                                                                          Contingent
            ATTN: RYAN ALLEN HANCOCK, JORDAN KONELL, SAMUEL H. DATLOF
            1845 WALNUT STREET, 24TH FLOOR                                                Unliquidated
            PHILADELPIA, PA 19103
                                                                                          Disputed
            Date or dates debt was incurred                                           Basis for the claim:
            6/5/2024                                                                  LITIGATION
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.797
                                                                                      As of the petition filing date, the claim is:              UNDETERMINED
            ROSEMARY SAVOIA                                                           Check all that apply.
            C/O WILLIG WILLIAMS & DAVIDSON
                                                                                          Contingent
            ATTN: RYAN ALLEN HANCOCK, JORDAN KONELL
            1845 WALNUT STREET, 24TH FLOOR                                                Unliquidated
            PHILADELPIA, PA 19103
                                                                                          Disputed
            Date or dates debt was incurred                                           Basis for the claim:
            6/4/2024                                                                  LITIGATION

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
                                   Case 24-12140-BLS                  Doc 1       Filed 09/13/24                Page 677 of 1042

  3.798
                                                                                      As of the petition filing date, the claim is:                              $8.00
            ROXANA AGHASSI                                                            Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.799
                                                                                      As of the petition filing date, the claim is:              UNDETERMINED
            RPA ADVISORS, LLC                                                         Check all that apply.
            311 S. WACKER DRIVE,
                                                                                          Contingent
            SUITE 510
            CHICAGO, IL 60606                                                             Unliquidated

            Date or dates debt was incurred                                               Disputed
                                                                                      Basis for the claim:
                                                                                      PROFESSIONAL FEES

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.800
                                                                                      As of the petition filing date, the claim is:              UNDETERMINED
            RYANN COOPER                                                              Check all that apply.
            C/O LEVIN SEDRAN & BERMAN PA
                                                                                          Contingent
            ATTN: NICHOLAS ELIA & DAVID C. LEVIN
            510 WALNUT STREET, STE. 500                                                   Unliquidated
            PHILADELPIA, PA 19106
                                                                                          Disputed
            Date or dates debt was incurred                                           Basis for the claim:
            6/6/2024                                                                  LITIGATION
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.801
                                                                                      As of the petition filing date, the claim is:                             $25.25
            SARA L. OUTING                                                            Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
                                   Case 24-12140-BLS                  Doc 1       Filed 09/13/24                Page 678 of 1042

  3.802
                                                                                      As of the petition filing date, the claim is:                            $616.43
            SARAH E. JOHNSON                                                          Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      EMPLOYEE REIMBURSEMENTS

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.803
                                                                                      As of the petition filing date, the claim is:                          $1,500.00
            SARAH FINEBERG                                                            Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      1099 - PHD ADVISORS

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.804
                                                                                      As of the petition filing date, the claim is:                          $1,500.00
            SARAH KONRATH                                                             Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      1099 - PHD ADVISORS

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.805
                                                                                      As of the petition filing date, the claim is:                         $87,657.73
            SAXBYS                                                                    Check all that apply.
            2005 MARKET ST
                                                                                          Contingent
            STE 810
            PHILADELPHIA, PA 19103                                                        Unliquidated

            Date or dates debt was incurred                                               Disputed

                                                                                      Basis for the claim:
                                                                                      OTHER A/P

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
                                   Case 24-12140-BLS                  Doc 1       Filed 09/13/24                Page 679 of 1042

  3.806
                                                                                      As of the petition filing date, the claim is:                         $59,195.31
            SCHULTZ & WILLIAMS, INC.                                                  Check all that apply.
            ONE PENN CENTER @ SUB STATION
                                                                                          Contingent
            1617 JFK BLVD.
            STE 1700                                                                      Unliquidated
            PHILADELPHIA, PA 19103
                                                                                          Disputed

            Date or dates debt was incurred                                           Basis for the claim:
                                                                                      OTHER A/P

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.807
                                                                                      As of the petition filing date, the claim is:              UNDETERMINED
            SCHUTTS ET AL V. THE UNIVERSITY OF THE ARTS                               Check all that apply.
            C/O EDELSON LECHTZIN LLP
                                                                                          Contingent
            ATTN: MARC H. EDELSON, SHOSHANA MICHELLE SAVETT, ERIC
            LECHTZIN                                                                      Unliquidated
            411 S. STATE STREET, SUITE N-300
            NEWTOWN, PA 18940                                                             Disputed
                                                                                      Basis for the claim:
            Date or dates debt was incurred                                           LITIGATION
            6/4/2024
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.808
                                                                                      As of the petition filing date, the claim is:              UNDETERMINED
            SCHUTTS ET AL V. THE UNIVERSITY OF THE ARTS                               Check all that apply.
            C/O WILLIG WILLIAMS & DAVIDSON
                                                                                          Contingent
            ATTN: RYAN ALLEN HANCOCK, JORDAN KONELL
            1845 WALNUT STREET, 24TH FLOOR                                                Unliquidated
            PHILADELPIA, PA 19103
                                                                                          Disputed
            Date or dates debt was incurred                                           Basis for the claim:
            6/4/2024                                                                  LITIGATION

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.809
                                                                                      As of the petition filing date, the claim is:                          $1,500.00
            SCOTT F. KIESLING                                                         Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      1099 - PHD ADVISORS

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
                                   Case 24-12140-BLS                  Doc 1       Filed 09/13/24                Page 680 of 1042

  3.810
                                                                                      As of the petition filing date, the claim is:                          $1,050.00
            SDC - LEAGUE HEALTH FUND                                                  Check all that apply.
            140 SYLVAN AVE.
                                                                                          Contingent
            STE 303
            ENGLEWOOD CLIFFS, NJ 07632                                                    Unliquidated

                                                                                          Disputed
            Date or dates debt was incurred
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.811
                                                                                      As of the petition filing date, the claim is:                            $180.00
            SDC - LEAGUE PENSION FUND                                                 Check all that apply.
            140 SYLVAN AVE.
                                                                                          Contingent
            STE 303
            ENGLEWOOD CLIFFS, NJ 07632                                                    Unliquidated

            Date or dates debt was incurred                                               Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.812
                                                                                      As of the petition filing date, the claim is:                            $100.00
            SHANE HANDAL                                                              Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      EMPLOYEE REIMBURSEMENTS

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.813
                                                                                      As of the petition filing date, the claim is:                            $461.99
            SHANE MASTRONARDI                                                         Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      EMPLOYEE REIMBURSEMENTS

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
                                   Case 24-12140-BLS                  Doc 1       Filed 09/13/24                Page 681 of 1042

  3.814
                                                                                      As of the petition filing date, the claim is:                            $100.00
            SHANNON SEARS-RIVERA                                                      Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.815
                                                                                      As of the petition filing date, the claim is:                          $2,000.00
            SHARRONA PEARL MITZVAH                                                    Check all that apply.
                                                                                          Contingent
            Date or dates debt was incurred
                                                                                          Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      RENTAL EVENT REFUNDS
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.816
                                                                                      As of the petition filing date, the claim is:                          $4,813.00
            SHERRY DYE                                                                Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.817
                                                                                      As of the petition filing date, the claim is:              UNDETERMINED
            SHERYL ORING                                                              Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      SEVERENCE

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
                                   Case 24-12140-BLS                  Doc 1       Filed 09/13/24                Page 682 of 1042

  3.818
                                                                                      As of the petition filing date, the claim is:                         $18,959.00
            SHOWORKS AUDIO - VISUAL, INC                                              Check all that apply.
            730 PHILADELPHIA PIKE
                                                                                          Contingent
            WILMINGTON, DE 19809
                                                                                          Unliquidated
            Date or dates debt was incurred
                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      OTHER A/P

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.819
                                                                                      As of the petition filing date, the claim is:                          $2,223.00
            SIDRA BELL                                                                Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      EMPLOYEE REIMBURSEMENTS
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.820
                                                                                      As of the petition filing date, the claim is:                             $75.00
            SIMON BONENFANT                                                           Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.821
                                                                                      As of the petition filing date, the claim is:                          $1,800.00
            SIX2ENTERTAINMENT PRODUCTIONS/PHILLIP MITCHELL                            Check all that apply.
                                                                                          Contingent
            Date or dates debt was incurred
                                                                                          Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      RENTAL EVENT REFUNDS

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
                                   Case 24-12140-BLS                  Doc 1       Filed 09/13/24                Page 683 of 1042

  3.822
                                                                                      As of the petition filing date, the claim is:                          $1,392.56
            SKILLSURVEY, INC                                                          Check all that apply.
            PO BOX 737313
                                                                                          Contingent
            DALLAS, TX 75373-7313
                                                                                          Unliquidated
            Date or dates debt was incurred
                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      OTHER A/P

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.823
                                                                                      As of the petition filing date, the claim is:                          $6,785.10
            SNACKTIME PHILLY, LLC                                                     Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.824
                                                                                      As of the petition filing date, the claim is:                         $13,796.00
            SOFI LENDING                                                              Check all that apply.
            P.O.BOX 654158
                                                                                          Contingent
            DALLAS, TX 75265-4150
                                                                                          Unliquidated
            Date or dates debt was incurred
                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.825
                                                                                      As of the petition filing date, the claim is:                            $600.00
            SPIRAL Q LLC                                                              Check all that apply.
            1315 WALNUT STREET
                                                                                          Contingent
            PHILADELPHIA, PA 19107
                                                                                          Unliquidated
            Date or dates debt was incurred
                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.826
                                                                                      As of the petition filing date, the claim is:              UNDETERMINED
            STEPHANIE CAWLEY                                                          Check all that apply.
            C/O EDELSON LECHTZIN LLP
                                                                                          Contingent
            ATTN: MARC H. EDELSON, SHOSHANA MICHELLE SAVETT, ERIC
            LECHTZIN                                                                      Unliquidated
            411 S. STATE STREET, SUITE N-300
            NEWTOWN, PA 18940                                                             Disputed

                                                                                      Basis for the claim:
            Date or dates debt was incurred                                           LITIGATION
            6/4/2024
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.827
                                                                                      As of the petition filing date, the claim is:              UNDETERMINED
            STEPHANIE CAWLEY                                                          Check all that apply.
            C/O WILLIG WILLIAMS & DAVIDSON
                                                                                          Contingent
            ATTN: RYAN ALLEN HANCOCK, JORDAN KONELL, SAMUEL H. DATLOF
            1845 WALNUT STREET, 24TH FLOOR                                                Unliquidated
            PHILADELPIA, PA 19103
                                                                                          Disputed
            Date or dates debt was incurred                                           Basis for the claim:
            6/5/2024                                                                  LITIGATION
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.828
                                                                                      As of the petition filing date, the claim is:              UNDETERMINED
            STEPHANIE CAWLEY                                                          Check all that apply.
            C/O WILLIG WILLIAMS & DAVIDSON
                                                                                          Contingent
            ATTN: RYAN ALLEN HANCOCK, JORDAN KONELL
            1845 WALNUT STREET, 24TH FLOOR                                                Unliquidated
            PHILADELPIA, PA 19103
                                                                                          Disputed
            Date or dates debt was incurred                                           Basis for the claim:
            6/4/2024                                                                  LITIGATION
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.829
                                                                                      As of the petition filing date, the claim is:                          $1,323.62
            STEPHANIE REYER                                                           Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      EMPLOYEE REIMBURSEMENTS
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
                                   Case 24-12140-BLS                  Doc 1       Filed 09/13/24                Page 685 of 1042

  3.830
                                                                                      As of the petition filing date, the claim is:                             $63.00
            STEPHEN JONES                                                             Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.831
                                                                                      As of the petition filing date, the claim is:                            $500.00
            STEPHEN MICHAEL MACFARLANE                                                Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.832
                                                                                      As of the petition filing date, the claim is:                            $150.00
            STEPHEN R. COOKE                                                          Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.833
                                                                                      As of the petition filing date, the claim is:                         $12,722.07
            STEWART BUSINESS SYSTEMS, LLC                                             Check all that apply.
            PO BOX 936763
                                                                                          Contingent
            ATLANTA, GA 31193-6763
                                                                                          Unliquidated
            Date or dates debt was incurred
                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER A/P
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
                                   Case 24-12140-BLS                  Doc 1       Filed 09/13/24                Page 686 of 1042

  3.834
                                                                                      As of the petition filing date, the claim is:              UNDETERMINED
            STRADLEY RONON STEVENS & YOUNG LLP                                        Check all that apply.
            2005 MARKET STREET
                                                                                          Contingent
            SUITE 2600
            PHILADELPHIA, PA 19103-7018                                                   Unliquidated

                                                                                          Disputed
            Date or dates debt was incurred
                                                                                      Basis for the claim:
                                                                                      PROFESSIONAL FEES

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.835
                                                                                      As of the petition filing date, the claim is:                             $49.00
            STUDENT-CURRENT                                                           Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.836
                                                                                      As of the petition filing date, the claim is:                            $400.00
            SUNGRIM PARK                                                              Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.837
                                                                                      As of the petition filing date, the claim is:                         $12,269.92
            TECHNOLUTIONS, INC.                                                       Check all that apply.
            157 CHURCH STREET
                                                                                          Contingent
            22ND FL
            NEW HAVEN, CT 06510                                                           Unliquidated

            Date or dates debt was incurred                                               Disputed
                                                                                      Basis for the claim:
                                                                                      TRADE PAYABLE
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.838
                                                                                      As of the petition filing date, the claim is:              UNDETERMINED
            TENARA CALEM                                                              Check all that apply.
            C/O LEVIN SEDRAN & BERMAN PA
                                                                                          Contingent
            ATTN: NICHOLAS ELIA & DAVID C. LEVIN
            510 WALNUT STREET, STE. 500                                                   Unliquidated
            PHILADELPIA, PA 19106
                                                                                          Disputed
            Date or dates debt was incurred                                           Basis for the claim:
            6/6/2024                                                                  LITIGATION

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.839
                                                                                      As of the petition filing date, the claim is:                            $500.00
            THE COLLEGE OF PHYSICIANS OF PHILADELPHIA                                 Check all that apply.
            19 SOUTH 22ND STREET
                                                                                          Contingent
            PHILADELPHIA, PA 19103
                                                                                          Unliquidated
            Date or dates debt was incurred
                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.840
                                                                                      As of the petition filing date, the claim is:                          $2,464.00
            THE EVOLUER HOUSE/CHERYL WADLINGTON                                       Check all that apply.
            104 CHURCH ST
                                                                                          Contingent
            PHILADELPHIA, PA 19106-2201
                                                                                          Unliquidated
            Date or dates debt was incurred
                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      RENTAL EVENT REFUNDS
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.841
                                                                                      As of the petition filing date, the claim is:                          $1,462.50
            THE MITCHELL ALLEN GROUP, LLC                                             Check all that apply.
            10066 WYECLIFF DRIVE
                                                                                          Contingent
            HIGHLANDS RANCH, CO 80126
                                                                                          Unliquidated
            Date or dates debt was incurred
                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.842
                                                                                      As of the petition filing date, the claim is:                            $248.60
            THE WILMA THEATER                                                         Check all that apply.
            265 S BROAD ST
                                                                                          Contingent
            PHILADELPHIA, PA 19107
                                                                                          Unliquidated
            Date or dates debt was incurred
                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER A/P

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.843
                                                                                      As of the petition filing date, the claim is:                          $6,058.12
            THOMAS F. DEFRANTZ                                                        Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.844
                                                                                      As of the petition filing date, the claim is:                            $100.00
            THOMAS KERSHAW                                                            Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.845
                                                                                      As of the petition filing date, the claim is:                            $800.00
            TIA BLASSINGAME                                                           Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.846
                                                                                      As of the petition filing date, the claim is:                             $25.25
            TONYA D. LEE                                                              Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      EMPLOYEE REIMBURSEMENTS

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.847
                                                                                      As of the petition filing date, the claim is:                          $1,352.87
            TRACY BARTHOLOMEW                                                         Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      EMPLOYEE REIMBURSEMENTS
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.848
                                                                                      As of the petition filing date, the claim is:              UNDETERMINED
            TREYSHAWN HOSKINS                                                         Check all that apply.
            C/O LYNCH CARPENTER, LLP
                                                                                          Contingent
            ATTN: GARY F. LYNCH
            1133 PENN AVENUE, 5TH FLOOR                                                   Unliquidated
            PITTSBURGH, PA 15222
                                                                                          Disputed
            Date or dates debt was incurred                                           Basis for the claim:
            8/13/2024                                                                 LITIGATION
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.849
                                                                                      As of the petition filing date, the claim is:              UNDETERMINED
            TREYSHAWN HOSKINS                                                         Check all that apply.
            WELLS MOORE SIMMONS & HUBBARD PLLC
                                                                                          Contingent
            ATTN: SETH C. LITTLE
            4450 OLD CANTON RD, POBOX 1970                                                Unliquidated
            JACKSON, MS 39215
                                                                                          Disputed
            Date or dates debt was incurred                                           Basis for the claim:
            8/13/2024                                                                 LITIGATION
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
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  3.850
                                                                                      As of the petition filing date, the claim is:              UNDETERMINED
            TYLER CATANELLA                                                           Check all that apply.
            C/O LEVIN SEDRAN & BERMAN PA
                                                                                          Contingent
            ATTN: NICHOLAS ELIA & DAVID C. LEVIN
            510 WALNUT STREET, STE. 500                                                   Unliquidated
            PHILADELPIA, PA 19106
                                                                                          Disputed
            Date or dates debt was incurred                                           Basis for the claim:
            6/6/2024                                                                  LITIGATION

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.851
                                                                                      As of the petition filing date, the claim is:                          $1,738.00
            TYMEYA THOMPSON/MONAE'S MODERN DANCE                                      Check all that apply.
            7594A HAVEFORD AVE
                                                                                          Contingent
            PHILADELPHIA, PA 19151
                                                                                          Unliquidated
            Date or dates debt was incurred
                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      RENTAL EVENT REFUNDS
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.852
                                                                                      As of the petition filing date, the claim is:                          $1,192.70
            UGI ENERGY SERVICES, LLC                                                  Check all that apply.
            PO BOX 827032
                                                                                          Contingent
            PHILADELPHIA, PA 19182
                                                                                          Unliquidated
            Date or dates debt was incurred
                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      PRO FEES / UTILITIES / OTHER RECURRING

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.853
                                                                                      As of the petition filing date, the claim is:                          $1,833.60
            UNISA INC.                                                                Check all that apply.
            7400 E. ARAPAHOE RD.
                                                                                          Contingent
            STE 10
            ENGLEWOOD, CO 80112                                                           Unliquidated

            Date or dates debt was incurred                                               Disputed

                                                                                      Basis for the claim:
                                                                                      OTHER A/P
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
                                   Case 24-12140-BLS                  Doc 1       Filed 09/13/24                Page 691 of 1042

  3.854
                                                                                      As of the petition filing date, the claim is:              UNDETERMINED
            UNITED STATES NATIONAL LABOR RELATIONS BOARD, REGION 4                    Check all that apply.
            ATTN: KIMBERLY E, EDWARDS
                                                                                          Contingent
            100 E. PENN SQUARE, SUITE 403
            PHILADELPIA, PA 19107                                                         Unliquidated

                                                                                          Disputed
            Date or dates debt was incurred
            6/5/2024                                                                  Basis for the claim:
                                                                                      LITIGATION

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.855
                                                                                      As of the petition filing date, the claim is:                          $5,555.79
            UPS                                                                       Check all that apply.
            55 GLENLAKE PARKWAY, NE
                                                                                          Contingent
            ATLANTA, GA 30328
                                                                                          Unliquidated
            Date or dates debt was incurred
                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER A/P
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.856
                                                                                      As of the petition filing date, the claim is:                          $2,228.00
            VANITY ELITE MODELS/REGINALD BUCKNER                                      Check all that apply.
                                                                                          Contingent
            Date or dates debt was incurred
                                                                                          Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      RENTAL EVENT REFUNDS
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.857
                                                                                      As of the petition filing date, the claim is:                          $3,054.87
            VICINITY ENERGY PHILADELPHIA,                                             Check all that apply.
                                                                                          Contingent
            Date or dates debt was incurred
                                                                                          Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
                                   Case 24-12140-BLS                  Doc 1       Filed 09/13/24                Page 692 of 1042

  3.858
                                                                                      As of the petition filing date, the claim is:                         $18,783.52
            VILLANOVA UNIVERSITY                                                      Check all that apply.
            OFFICE OF CONFERENCE SERVICES
                                                                                          Contingent
            800 LANCASTER AVENUE
            VILLANOVA, PA 19085                                                           Unliquidated

                                                                                          Disputed
            Date or dates debt was incurred
                                                                                      Basis for the claim:
                                                                                      OTHER A/P

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.859
                                                                                      As of the petition filing date, the claim is:                          $8,955.00
            VISION GRAPHICS                                                           Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.860
                                                                                      As of the petition filing date, the claim is:                          $1,000.00
            VK PRESTON                                                                Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.861
                                                                                      As of the petition filing date, the claim is:                            $150.00
            WARREN C. LONGMIRE                                                        Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
                                   Case 24-12140-BLS                  Doc 1       Filed 09/13/24                Page 693 of 1042

  3.862
                                                                                      As of the petition filing date, the claim is:                            $592.00
            WERT BOOKBINDING, INC.                                                    Check all that apply.
            9975 ALLENTOWN BLVD.
                                                                                          Contingent
            GRANTVILLE, PA 17028
                                                                                          Unliquidated
            Date or dates debt was incurred
                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      OTHER A/P

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.863
                                                                                      As of the petition filing date, the claim is:                            $550.00
            WHITNEY MCGUIRE                                                           Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.864
                                                                                      As of the petition filing date, the claim is:              UNDETERMINED
            WILLIAM ACKER                                                             Check all that apply.
            C/O LEVIN SEDRAN & BERMAN PA
                                                                                          Contingent
            ATTN: NICHOLAS ELIA & DAVID C. LEVIN
            510 WALNUT STREET, STE. 500                                                   Unliquidated
            PHILADELPIA, PA 19106
                                                                                          Disputed
            Date or dates debt was incurred                                           Basis for the claim:
            6/6/2024                                                                  LITIGATION
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.865
                                                                                      As of the petition filing date, the claim is:                            $350.00
            WILLIAM C. FINNEGAN                                                       Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
                                   Case 24-12140-BLS                  Doc 1       Filed 09/13/24                Page 694 of 1042

  3.866
                                                                                      As of the petition filing date, the claim is:                            $500.00
            WILLIAM C. HENDRIX                                                        Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OUTSTANDING CHECK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.867
                                                                                      As of the petition filing date, the claim is:                            $250.00
            WILLIAM M. MORRELL, III                                                   Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.868
                                                                                      As of the petition filing date, the claim is:                          $2,575.15
            WORLDWIDE INSURANCE                                                       Check all that apply.
            PO BOX 536417
                                                                                          Contingent
            PITTSBURGH, PA 15253-5906
                                                                                          Unliquidated
            Date or dates debt was incurred
                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      OTHER A/P

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.869
                                                                                      As of the petition filing date, the claim is:                       $120,284.00
            XEROX FINANCIAL SERVICES LLC                                              Check all that apply.
            PO BOX 202882
                                                                                          Contingent
            DALLAS, TX 75320-2882
                                                                                          Unliquidated
            Date or dates debt was incurred
                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      OTHER A/P
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________             Case number (if known) 24-_____________________________________________
          Name
                                   Case 24-12140-BLS                  Doc 1       Filed 09/13/24                Page 695 of 1042

  3.870
                                                                                      As of the petition filing date, the claim is:                            $575.93
            YEKATERINA MEZHIBOVSKAYA                                                  Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      OTHER 1099 - INDIVIDUALS CONTRACT WORK

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.871
                                                                                      As of the petition filing date, the claim is:                            $625.00
            YUCHEN CHANG                                                              Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      EMPLOYEE REIMBURSEMENTS
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.872
                                                                                      As of the petition filing date, the claim is:                          $3,000.00
            ZACHARY SAVICH                                                            Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      1099 - PHD ADVISORS

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.873
                                                                                      As of the petition filing date, the claim is:                            $270.96
            ZENA M. TREDINNICK-KIRBY                                                  Check all that apply.
            [ADDRESS ON FILE]
                                                                                          Contingent

            Date or dates debt was incurred                                               Unliquidated

                                                                                          Disputed

                                                                                      Basis for the claim:
                                                                                      EMPLOYEE REIMBURSEMENTS

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    The University of the Arts_______________________________________________                      Case number (if known) 24-_____________________________________________
          Name
                                       Case 24-12140-BLS                    Doc 1          Filed 09/13/24                Page 696 of 1042

  3.874
                                                                                             As of the petition filing date, the claim is:                                   $100.00
            ZHEN ZHANG                                                                       Check all that apply.
            [ADDRESS ON FILE]
                                                                                                  Contingent

            Date or dates debt was incurred                                                       Unliquidated

                                                                                                  Disputed
                                                                                             Basis for the claim:
                                                                                             OUTSTANDING CHECK

                                                                                             Is the claim subject to offset?
                                                                                                 No

                                                                                                 Yes

  Part 3:    List Others to Be Notified About Unsecured Claims

  4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies, assignees of claims
  listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.
   Name and mailing address                                                                     On which line in Part 1 or Part 2 is the related               Last 4 digits of
                                                                                                creditor (if any) listed?                                      account number, if any

  4.1
                                                                                                Line



                                                                                                       Not listed. Explain



  Part 4:    Total Amounts of the Priority and Nonpriority Unsecured Claims

  5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                                               Total of claim amounts

  5a. Total claims from Part 1                                                                                                         5a.                            $1,130,906.33
  5b. Total claims from Part 2                                                                                                         5b.                            $4,089,338.31

  5c. Total of Parts 1 and 2                                                                                                           5c.
                                                                                                                                                                     $5,220,244.64
  Lines 5a + 5b = 5c.
                                   Case 24-12140-BLS                   Doc 1         Filed 09/13/24              Page 697 of 1042

  Fill in this information to identify the case:

  Debtor name: The University of the Arts

  United States Bankruptcy Court for the: District of Delaware
                                                                                                                                                        Check if this is an
  Case number: 24-
                                                                                                                                                        amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

Schedule G:    Executory Contracts and Unexpired Leases

1. Does the debtor have any executory contracts or unexpired leases?

   No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.

   Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B).

 2. List all contracts and unexpired leases                                                State the name and mailing address for all other parties with whom the debtor
                                                                                           has an executory contract or unexpired lease

2.1     State what the contract        APPOINTMENT LETTER
        or lease is for and the                                                           KEVIN HADEN
        nature of the debtor’s                                                            [ADDRESS ON FILE]
        interest
        State the term                 8/14/2027
        remaining
        List the contract number
        of any government
        contract

2.2     State what the contract        MASTER SOFTWARE LICENSE, SERVICES AND
        or lease is for and the        SUPPORT AGREEMENT                                  HYLAND SOFTWARE, INC.
        nature of the debtor’s                                                            HYLAND SOFTWARE, INC.
        interest                                                                          28500 CLEMENS RD
        State the term                 UNKNOWN                                            28500 CLEMENS RD
        remaining                                                                         WESTLAKE, OH 44145
        List the contract number
        of any government
        contract

2.3     State what the contract        MASTER SERVICES AGREEMENT
                                                                                          TECHNOLUTIONS, INC.
        or lease is for and the
        nature of the debtor’s                                                            234 CHURCH STREET
        interest                                                                          15TH FL
        State the term                 6/30/2025                                          NEW HAVEN, CT 06510
        remaining
        List the contract number
        of any government
        contract
Debtor   The University of the Arts_______________________________________________         Case number (if known) 24-_____________________________________________
         Name
                                      Case 24-12140-BLS              Doc 1       Filed 09/13/24          Page 698 of 1042

  2.4      State what the contract     WORKERS COMP INSURANCE POLICYNO. UB-
           or lease is for and the     1S558869-24-14-G                              PHOENIX INSURANCE COMPANY
           nature of the debtor’s                                                    PHILADELPHIA INSURANCE COMPANIES
           interest                                                                  ATTN: JOHN W. GLOMB JR.
           State the term              6/1/2025                                      ONE BALA PLAZA
           remaining                                                                 BALA CYNWYD, PA 19004
           List the contract number
           of any government
           contract

  2.5      State what the contract     APPOINTMENT LETTER
           or lease is for and the                                                   KIKAU ALVARO
           nature of the debtor’s                                                    [ADDRESS ON FILE]
           interest
           State the term              UNKNOWN
           remaining
           List the contract number
           of any government
           contract

  2.6      State what the contract     EQUIPMENT SERVICES CONTRACT - TERRA
           or lease is for and the     CHILLER                                       ENGIE RESOURCES LLC
           nature of the debtor’s                                                    ATTN: DANIELLE OWEN
           interest                                                                  1360 POST OAK BLVD.
           State the term              UNKNOWN                                       SUITE 400
           remaining                                                                 HOUSTON, TX 77056
           List the contract number
           of any government
           contract

  2.7      State what the contract     LEASE AGREEMENT - ARTS ALLIANCE LEASE
           or lease is for and the                                                   HER PLACE SUPPER CLUB
           nature of the debtor’s                                                    ATTN: AMANDA SHULMAN
           interest                                                                  1740 SAMSON STREET
           State the term              12/15/2024                                    PHILADELPHIA, PA 19103
           remaining
           List the contract number
           of any government
           contract

  2.8      State what the contract     LEASE AGREEMENT - CHOI'S DELI LEASE
           or lease is for and the                                                   JONGMI CHOI C/O JAY'S DELI
           nature of the debtor’s                                                    ATTN: JONGMI CHOI
           interest                                                                  1228 SPRUCE ST.
           State the term              7/31/2026                                     PHILADELPHIA, PA 19102
           remaining
           List the contract number
           of any government
           contract

  2.9      State what the contract     PROPERTY INSURANCE POLICYNO.
           or lease is for and the     ESP1053443-00                                 ARCH SPECIALTY INSURANCE COMPANY
           nature of the debtor’s                                                    RYAN TURNER SPECIALTY
           interest                                                                  1650 ARCH STREET
           State the term              8/12/2025                                     26TH FLOOR
           remaining                                                                 PHILADELPHIA, PA 19103
           List the contract number
           of any government
           contract
Debtor   The University of the Arts_______________________________________________         Case number (if known) 24-_____________________________________________
         Name
                                      Case 24-12140-BLS              Doc 1       Filed 09/13/24          Page 699 of 1042

  2.10     State what the contract     PROFESSIONALS SERVICE AGREEMENT
           or lease is for and the                                                   ON DEMAND URGENT CARE GROUP, PC / VYBE URGENT CARE
           nature of the debtor’s                                                    6060 RIDGE AVE, STE 100
           interest                                                                  PHILADELPHIA, PA 19120-1659
           State the term              7/15/2024
           remaining
           List the contract number
           of any government
           contract

  2.11     State what the contract     ONEIDENTITY QUOTATION
           or lease is for and the                                                   ONE IDENTITY LLC
           nature of the debtor’s                                                    ATTN: JOE KRAVITZ
           interest                                                                  20 ENTERPRISE
           State the term              8/7/2025                                      SUITE 100
           remaining                                                                 ALISO VIEJO, CA 92656
           List the contract number
           of any government
           contract

  2.12     State what the contract     COOPERATIVE AGREEMENT, AS AMENDED
           or lease is for and the                                                   LIBRARY OF CONGRESS
           nature of the debtor’s                                                    ATTN: GEORGE L. DAVES
           interest                                                                  101 INDEPENDENCE AVENUE, S.E.
           State the term              9/30/2024                                     WASHINGTON, DC 20540-9410
           remaining
           List the contract number
           of any government
           contract

  2.13     State what the contract     ADIRONDACK SOLUTIONS MASTER HOSTED
           or lease is for and the     SERVICES AGREEMENT                            ADIRONDACK SOLUTIONS, INC.
           nature of the debtor’s                                                    ATTN: RANDI SCHWERINER, CFO
           interest                                                                  P.O. BOX 8102
           State the term              UNKNOWN                                       BRIDGEWATER, NJ 08807
           remaining
           List the contract number
           of any government
           contract

  2.14     State what the contract     APPOINTMENT LETTER
           or lease is for and the                                                   DONNA FAYE BURCHFIELD
           nature of the debtor’s                                                    [ADDRESS ON FILE]
           interest
           State the term              7/31/2026
           remaining
           List the contract number
           of any government
           contract

  2.15     State what the contract     LEASE AGREEMENT - JPMC BROAD STREET
           or lease is for and the     LEASE                                         JPMORGAN CHASE BANK, NATIONAL ASSOCIATION
           nature of the debtor’s                                                    ATTN: LEASE ADMINISTRATION MANAGER
           interest                                                                  1111 POLARIS PARKWAY
           State the term              1 YEAR LATER                                  MAIL CODE OH1-0241
           remaining                                                                 COLUMBUS, OH 43240-2050
           List the contract number
           of any government
           contract
Debtor   The University of the Arts_______________________________________________         Case number (if known) 24-_____________________________________________
         Name
                                      Case 24-12140-BLS              Doc 1       Filed 09/13/24           Page 700 of 1042

  2.16     State what the contract     D&O INSURANCE POLICYNO. 794121112
           or lease is for and the                                                   CONTINENTAL CASUALTY COMPANY (CAN)
           nature of the debtor’s                                                    CNA
           interest                                                                  ATTN: RYAN RICHARDSON
           State the term              8/9/2025                                      100 MATSONFORD ROAD
           remaining                                                                 RADNOR, PA 19807
           List the contract number
           of any government
           contract

  2.17     State what the contract     LEASE AGREEMENT - INTELIGENT LOCKERS
           or lease is for and the                                                   PITNEY BOWES INC
           nature of the debtor’s                                                    3001 SUMMER ST
           interest                                                                  STAMFORD, CT 06905
           State the term              4/30/2029
           remaining
           List the contract number
           of any government
           contract

  2.18     State what the contract     GENERAL LIABILITY INSURANCE POLICYNO.
           or lease is for and the     CGL 0234568                                   BERKLEY SPECIALY INSURANCE COMPANY
           nature of the debtor’s                                                    MAIN ADMINISTRATIVE OFFICE
           interest                                                                  7233 EAST BUTHERUS
           State the term              8/9/2025                                      SCOTTSDALE, AZ 85260
           remaining
           List the contract number
           of any government
           contract

  2.19     State what the contract     GROUP INSURANCE POLICY FOR DENTAL
           or lease is for and the     BENEFITS                                      UNITED CONCORDIA INSURANCE COMPANY
           nature of the debtor’s                                                    1800 CENTER STREET
           interest                                                                  SUITE 2B 220
           State the term              UNKNOWN                                       CAMP HILL, PA 17011
           remaining
           List the contract number
           of any government
           contract

  2.20     State what the contract     SEPARATION AGREEMENT
           or lease is for and the                                                   RANDE BLANK
           nature of the debtor’s                                                    [ADDRESS ON FILE]
           interest
           State the term              12/31/2024
           remaining
           List the contract number
           of any government
           contract

  2.21     State what the contract     SOFTDOCS ORDER FORM
           or lease is for and the                                                   SOFTDOCS SC, LLC
           nature of the debtor’s                                                    PO BOX 121999
           interest                                                                  DALLAS, TX 75312-1999
           State the term              10/31/2026
           remaining
           List the contract number
           of any government
           contract
Debtor   The University of the Arts_______________________________________________         Case number (if known) 24-_____________________________________________
         Name
                                      Case 24-12140-BLS              Doc 1       Filed 09/13/24            Page 701 of 1042

  2.22     State what the contract     MANAGEMENT SERVICES AGREEMENT, AS
           or lease is for and the     AMENDED                                       ARAMARK MANAGEMENT SERVICES LIMITED PARTNERSHIP
           nature of the debtor’s                                                    ATTN: VP, FINANCE, ARAMARK EDUCATION
           interest                                                                  ARAMARK TOWER, 24TH FLOOR
           State the term              6/30/2026                                     ARAMARK TOWER, 24TH FLOOR
           remaining                                                                 1101 MARKET STREET
           List the contract number                                                  PHILADELPHIA, PA 19107-2988
           of any government
           contract

  2.23     State what the contract     LICENSE EXCHANGE AND ENHANCEMENT
           or lease is for and the     ORDER FORM                                    ELLUCIAN COMPANY, L.P.
           nature of the debtor’s                                                    2003 EDMUND HALLEY DRIVE
           interest                                                                  RESTON, VA 20191
           State the term              UNKNOWN
           remaining
           List the contract number
           of any government
           contract

  2.24     State what the contract     PROPERTY INSURANCE POLICYNO.
           or lease is for and the     TCC0001183-00                                 CROSSCOVER (LLOYD'S)
           nature of the debtor’s                                                    RYAN TURNER SPECIALTY
           interest                                                                  1650 ARCH STREET
           State the term              8/12/2025                                     26TH FLOOR
           remaining                                                                 PHILADELPHIA, PA 19103
           List the contract number
           of any government
           contract

  2.25     State what the contract     SETTLEMENT AGREEMENT
           or lease is for and the                                                   THE TRAVELERS INDEMNITY COMPANY
           nature of the debtor’s                                                    ONE TOWER SQUARE
           interest                                                                  HARTFORD, CT 06183
           State the term              UNKNOWN
           remaining
           List the contract number
           of any government
           contract

  2.26     State what the contract     ENTERPRISE PLAN AGREEMENT
           or lease is for and the                                                   8TH WALL, INC.
           nature of the debtor’s                                                    ATTN: KEVIN STRAW
           interest                                                                  318 CAMBRIDGE AVE.
           State the term              8/31/2023                                     PALO ALTO, CA 94306
           remaining
           List the contract number
           of any government
           contract

  2.27     State what the contract     D&O INSURANCE POLICYNO. 01-464-63-59
           or lease is for and the                                                   NATIONAL UNION FIRE INSURANCE COMPANY OF PITTSBURGH, PA.
           nature of the debtor’s                                                    1271 AVE. OF THE AMERICAS
           interest                                                                  FL 37
           State the term              8/9/2025                                      NEW YORK, NY 10020-1304
           remaining
           List the contract number
           of any government
           contract
Debtor   The University of the Arts_______________________________________________         Case number (if known) 24-_____________________________________________
         Name
                                      Case 24-12140-BLS              Doc 1       Filed 09/13/24          Page 702 of 1042

  2.28     State what the contract     VISA COMMNERCIAL CARD AGREEMENT
           or lease is for and the                                                   PNC BANK, NATIONAL ASSOCIATION
           nature of the debtor’s                                                    TREASURY MANAGEMENT, ATTN: COMMERCIAL CARD OPERATIONS
           interest                                                                  FIRSTSIDE CENTER
           State the term              UNKNOWN                                       500 FIRST AVENUE
           remaining                                                                 PITTSBURGH, PA 15219
           List the contract number
           of any government
           contract

  2.29     State what the contract     STATEMENT OF WORK FOR SERVICEELITE
           or lease is for and the                                                   IBM CORPORATION
           nature of the debtor’s                                                    6303 BARFIELD RD NE
           interest                                                                  ATLANTA , GA 30328-4233
           State the term              UNKNOWN
           remaining
           List the contract number
           of any government
           contract

  2.30     State what the contract     LEASE AGREEMENT - JAY'S LEASE
           or lease is for and the                                                   JONGMI CHOI C/O JAY'S DELI
           nature of the debtor’s                                                    ATTN: JONGMI CHOI
           interest                                                                  1228 SPRUCE ST.
           State the term              7/31/2016                                     PHILADELPHIA, PA 19102
           remaining
           List the contract number
           of any government
           contract

  2.31     State what the contract     INFORMER LICENSE AGREEMENT
           or lease is for and the                                                   ENTRINSIK, INC.
           nature of the debtor’s                                                    ENTRINSIK, INC.
           interest                                                                  7501 CREEDMOOR RD.
           State the term              UNKNOWN                                       7501 CREEDMOOR RD.
           remaining                                                                 SUITE 102
           List the contract number                                                  RALEIGH, NC 27613
           of any government
           contract

  2.32     State what the contract     SEPARATION AGREEMENT
           or lease is for and the                                                   JEFFREY KERN
           nature of the debtor’s                                                    [ADDRESS ON FILE]
           interest
           State the term              6/30/2024
           remaining
           List the contract number
           of any government
           contract

  2.33     State what the contract     D&O INSURANCE POLICYNO. G48691274 001
           or lease is for and the                                                   WESTCHESTER (CHUBB)
           nature of the debtor’s                                                    WESTCHESTER PROFESSIONAL RISK
           interest                                                                  ATTN: NATALIE KANDUL
           State the term              6/3/2025                                      11575 GREAT OAKS WAY
           remaining                                                                 SUITE 200
           List the contract number                                                  ALPHARETTA, GA 30022
           of any government
           contract
Debtor   The University of the Arts_______________________________________________          Case number (if known) 24-_____________________________________________
         Name
                                      Case 24-12140-BLS              Doc 1       Filed 09/13/24           Page 703 of 1042

  2.34     State what the contract     EXCESS LIABILITY INSURANCE POLICYNO.
           or lease is for and the     T22-51H                                       UNITED EDUCATORS INSURANCE
           nature of the debtor’s                                                    UNITED EDUCATORS INSURANCE
           interest                                                                  ATTN: LAUREN YEDLIN
           State the term              6/1/2024                                      7700 WISCONSIN AVE.
           remaining                                                                 #500
           List the contract number                                                  BETHESDA, MD 20814
           of any government
           contract

  2.35     State what the contract     LEGACY D&O/EPL INSURANCE POLICYNO.
           or lease is for and the     PHPK2558789-003                               PHILADELPHIA INSURANCE COMPANIES
           nature of the debtor’s                                                    ATTN: JOHN W. GLOMB JR.
           interest                                                                  ONE BALA PLAZA
           State the term              6/1/2025                                      SUITE 100
           remaining                                                                 BALA CYNWYD, PA 19004
           List the contract number
           of any government
           contract

  2.36     State what the contract     PROPERTY INSURANCE POLICYNO.
           or lease is for and the     ENS1000925                                    MSIG SPECIALTY INSURANCE USA INC
           nature of the debtor’s                                                    RYAN TURNER SPECIALTY
           interest                                                                  1650 ARCH STREET
           State the term              8/12/2025                                     26TH FLOOR
           remaining                                                                 PHILADELPHIA, PA 19103
           List the contract number
           of any government
           contract

  2.37     State what the contract     REGROUP SUBSCRIPTION AGREEMENT
           or lease is for and the                                                   REGROUP
           nature of the debtor’s                                                    ATTN: MARIA FIGUEROA
           interest                                                                  709 NOE ST.
           State the term              UNKNOWN                                       709 NOE ST.
           remaining                                                                 SAN FRANCISCO , CA 94114
           List the contract number
           of any government
           contract

  2.38     State what the contract     MASTER SERVICE AGREEMENT, AS AMENDED
           or lease is for and the                                                   ADP, INC.
           nature of the debtor’s                                                    ATTN: TARA ALBRITTON, SVP HCM SERVICES
           interest                                                                  PO BOX 842875
           State the term              3/4/2027                                      PO BOX 842875
           remaining                                                                 BOSTON, MA 02284-2875
           List the contract number
           of any government
           contract

  2.39     State what the contract     APPOINTMENT LETTER
           or lease is for and the                                                   ANTHONY GUIDO
           nature of the debtor’s                                                    [ADDRESS ON FILE]
           interest
           State the term              8/31/2013
           remaining
           List the contract number
           of any government
           contract
Debtor   The University of the Arts_______________________________________________         Case number (if known) 24-_____________________________________________
         Name
                                      Case 24-12140-BLS              Doc 1       Filed 09/13/24          Page 704 of 1042

  2.40     State what the contract     LICENSE AGREEMENT
           or lease is for and the                                                   POWERSCHOOL GROUP LLC (PEOPLE ADMIN)
           nature of the debtor’s                                                    ATTN: GENERAL COUNSEL
           interest                                                                  150 PARKSHORE DRIVE
           State the term              6/30/2024                                     150 PARKSHORE DRIVE
           remaining                                                                 FOLSOM, CA 95630
           List the contract number
           of any government
           contract

  2.41     State what the contract     D&O INSURANCE POLICYNO. 7094286514
           or lease is for and the                                                   CONTINENTAL CASUALTY COMPANY (CAN)
           nature of the debtor’s                                                    CNA
           interest                                                                  ATTN: RYAN RICHARDSON
           State the term              8/9/2025                                      THREE RADNOR CORPORATE CENTER
           remaining                                                                 100 MATSONFORD ROAD, SUITE 200
           List the contract number                                                  RADNOR, PA 19087
           of any government
           contract

  2.42     State what the contract     AUTO INSURANCE POLICYNO. 984928931
           or lease is for and the                                                   PROGRESSIVE
           nature of the debtor’s                                                    WTW SOUTHEAST INC.
           interest                                                                  3407 W. DR. MLK JR.
           State the term              8/9/2025                                      200
           remaining                                                                 TAMPA, FL 33607
           List the contract number
           of any government
           contract

  2.43     State what the contract     APPOINTMENT LETTER
           or lease is for and the                                                   MARK TOCCHET
           nature of the debtor’s                                                    [ADDRESS ON FILE]
           interest
           State the term              6/30/2026
           remaining
           List the contract number
           of any government
           contract

  2.44     State what the contract     PROFESSIONALS SERVICE AGREEMENT
           or lease is for and the                                                   ON DEMAND URGENT CARE GROUP, PC,
           nature of the debtor’s                                                    6060 RIDGE AVE, STE 100
           interest                                                                  PHILADELPHIA, PA 19120-1659
           State the term              7/21/2024
           remaining
           List the contract number
           of any government
           contract

  2.45     State what the contract     HEALTH BENEFIT PLAN / AMENDMENT
           or lease is for and the                                                   PAISBOA
           nature of the debtor’s                                                    301 IVEN AVENUE
           interest                                                                  301 IVEN AVENUE
           State the term              UNKNOWN                                       SUITE 315-B
           remaining                                                                 WAYNE, PA 19087
           List the contract number
           of any government
           contract
Debtor   The University of the Arts_______________________________________________         Case number (if known) 24-_____________________________________________
         Name
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  2.46     State what the contract     ORDER FORM
           or lease is for and the                                                   PANTHEON SYSTEMS, INC.
           nature of the debtor’s                                                    ATTN: DARIN WOLTER
           interest                                                                  717 CALIFORNIA STREET
           State the term              UNKNOWN                                       717 CALIFORNIA STREET
           remaining                                                                 SAN FRANCISCO , CA 94108
           List the contract number
           of any government
           contract

  2.47     State what the contract     PROPERTY INSURANCE POLICYNO.
           or lease is for and the     0100317184-0                                  KINSALE INSURANCE COMPANY
           nature of the debtor’s                                                    RYAN TURNER SPECIALTY
           interest                                                                  1650 ARCH STREET
           State the term              8/12/2025                                     26TH FLOOR
           remaining                                                                 PHILADELPHIA, PA 19103
           List the contract number
           of any government
           contract

  2.48     State what the contract     APPOINTMENT LETTER
           or lease is for and the                                                   ELIN ELMAN
           nature of the debtor’s                                                    [ADDRESS ON FILE]
           interest
           State the term              UNKNOWN
           remaining
           List the contract number
           of any government
           contract

  2.49     State what the contract     LEASE AGREEMENT - PROP SERIES
           or lease is for and the                                                   PITNEY BOWES INC
           nature of the debtor’s                                                    JOSEPH DORAN
           interest                                                                  3001 SUMMER ST
           State the term              3/31/2029                                     STAMFORD, CT 06905
           remaining
           List the contract number
           of any government
           contract

  2.50     State what the contract     EMPLOYMENT AGREEMENT
                                                                                     ANDREW PACK
           or lease is for and the
           nature of the debtor’s                                                    [ADDRESS ON FILE]
           interest
           State the term              UNKNOWN
           remaining
           List the contract number
           of any government
           contract

  2.51     State what the contract     MASTER LICENSE AND SERVICES
           or lease is for and the     AGREEMENT / AMEDNMENT                         UNIFYED (CAMPUS CONSORTIUM)
           nature of the debtor’s                                                    125 SOUTH CLARK STREET
           interest                                                                  17TH FLOOR
           State the term              4/24/2022                                     CHICAGO , IL 60603
           remaining
           List the contract number
           of any government
           contract
Debtor   The University of the Arts_______________________________________________         Case number (if known) 24-_____________________________________________
         Name
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  2.52     State what the contract     APPOINTMENT LETTER
           or lease is for and the                                                   SHERYL ORING
           nature of the debtor’s                                                    [ADDRESS ON FILE]
           interest
           State the term              6/30/2028
           remaining
           List the contract number
           of any government
           contract

  2.53     State what the contract     LEASE AGREEMENT, AS AMENDED
           or lease is for and the                                                   1401 WALNUT UNIT C, LLC
           nature of the debtor’s                                                    PEARL PROPERTIES COMMERCIAL MANAGMENT, LLC
           interest                                                                  ATTN: REED J. SLOGOFF
           State the term              6/10/2027                                     1425 WALNUT STREET
           remaining                                                                 SUITE 300
                                                                                     PHILADELPHIA, PA 19102
           List the contract number
           of any government
           contract

  2.54     State what the contract     CBA
           or lease is for and the                                                   UNITED ACADEMICS OF PHILADELPHIA AFT-PA, AFL-CIO, LOCAL 9608
           nature of the debtor’s                                                    601 N 12TH ST
           interest                                                                  PHILADELPHIA, PA 19123
           State the term              UNKNOWN
           remaining
           List the contract number
           of any government
           contract

  2.55     State what the contract     MANAGEMENT SERVICES AGREEMENT, AS
           or lease is for and the     AMENDED                                       ALLIEDBARTON SECURITY SERVICES LLC
           nature of the debtor’s                                                    1760 MARKET STREET
           interest                                                                  PHILADELPHIA, PA 19103
           State the term              UNKNOWN
           remaining
           List the contract number
           of any government
           contract

  2.56     State what the contract     APPOINTMENT LETTER
                                                                                     SUSAN SKOOG
           or lease is for and the
           nature of the debtor’s                                                    [ADDRESS ON FILE]
           interest
           State the term              6/30/2029
           remaining
           List the contract number
           of any government
           contract

  2.57     State what the contract     AGREEMENT AND PLAN OF MERGER
           or lease is for and the                                                   THE PHILADELPHIA ART ALLIANCE
           nature of the debtor’s                                                    251 S. 18TH STREET
           interest                                                                  PHILADELPHIA, PA 19103
           State the term              UNKNOWN
           remaining
           List the contract number
           of any government
           contract
Debtor   The University of the Arts_______________________________________________         Case number (if known) 24-_____________________________________________
         Name
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  2.58     State what the contract     DENTAL PLAN CERTIFICATE OF COVERAGE
           or lease is for and the                                                   UNITED CONCORDIA DENTAL PLANS OF PENNSYLVANIA, INC.
           nature of the debtor’s                                                    1800 CENTER STREET
           interest                                                                  SUITE 2B 220
           State the term              UNKNOWN                                       CAMP HILL, PA 17011
           remaining
           List the contract number
           of any government
           contract

  2.59     State what the contract     PROPERTY INSURANCE POLICYNO.
           or lease is for and the     7EA7XP1004052-00                              BRIDGEWAY INSURANCE COMPANY
           nature of the debtor’s                                                    BRIDGEWAY INSURANCE COMPANY
           interest                                                                  555 COLLEGE ROAD EAST
           State the term              8/12/2025                                     PRINCETON, NJ 08543
           remaining
           List the contract number
           of any government
           contract

  2.60     State what the contract     LEGACY D&O/EPL INSURANCE POLICYNO.
           or lease is for and the                                                   PHILADELPHIA INSURANCE COMPANIES
           nature of the debtor’s                                                    ATTN: JOHN W. GLOMB JR.
           interest                                                                  ONE BALA PLAZA
           State the term              6/1/2027                                      SUITE 100
           remaining                                                                 BALA CYNWYD, PA 19004
           List the contract number
           of any government
           contract

  2.61     State what the contract     FOOD SERVICE AGREEEMENT / AMENDMENT
           or lease is for and the                                                   PARKHURST DINING
           nature of the debtor’s                                                    285 E WATERFRONT DR STE 200
           interest                                                                  HOMSTREAD, PA 15120-5017
           State the term              7/31/2026
           remaining
           List the contract number
           of any government
           contract

  2.62     State what the contract     APPOINTMENT LETTER
                                                                                     DIMEDIO ANNETTE
           or lease is for and the
           nature of the debtor’s                                                    [ADDRESS ON FILE]
           interest
           State the term              8/31/2011
           remaining
           List the contract number
           of any government
           contract

  2.63     State what the contract     APPOINTMENT LETTER
           or lease is for and the                                                   KARL STAVEN
           nature of the debtor’s                                                    [ADDRESS ON FILE]
           interest
           State the term              8/31/2014
           remaining
           List the contract number
           of any government
           contract
Debtor   The University of the Arts_______________________________________________         Case number (if known) 24-_____________________________________________
         Name
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  2.64     State what the contract     CONSTITUO SAAS AGREEMENT
           or lease is for and the                                                   CONSTITUO SOFTWARE LLC
           nature of the debtor’s                                                    PO BOX 458
           interest                                                                  PO BOX 458
           State the term              UNKNOWN                                       W. SIMSBURY, CT 06092
           remaining
           List the contract number
           of any government
           contract

  2.65     State what the contract     MASTER LEASE AGREEMENT
           or lease is for and the                                                   XEROX FINANCIAL SERVICES LLC
           nature of the debtor’s                                                    201 MERRITT 7
           interest                                                                  NORWALK, CT 06851
           State the term              10/31/2025
           remaining
           List the contract number
           of any government
           contract

  2.66     State what the contract     CASH MANAGEMENT MASTER AGREEMENT /
           or lease is for and the     AMENDMENT                                     TD BANK, N.A
           nature of the debtor’s                                                    ONE COMMERCE SQUARE
           interest                                                                  UNIFYED
           State the term              UNKNOWN                                       2005 MARKET ST.
           remaining                                                                 2ND FLOOR
           List the contract number                                                  PHILADELPHIA, PA 19103
           of any government
           contract

  2.67     State what the contract     PROPERTY INSURANCE POLICYNO. YB2-L9L-
           or lease is for and the     478511-014                                    LIBERTY MUTUAL
           nature of the debtor’s                                                    RYAN TURNER SPECIALTY
           interest                                                                  1650 ARCH STREET
           State the term              UNKNOWN                                       26TH FLOOR
           remaining                                                                 PHILADELPHIA, PA 19103
           List the contract number
           of any government
           contract

  2.68     State what the contract     SERVICE AGREEMENT
           or lease is for and the                                                   DORM ROOM MOVERS, LLC.
           nature of the debtor’s                                                    5111 N SCOTTSDALE RD STE 200
           interest                                                                  SCTOTTSDALE, AZ 85250
           State the term              UNKNOWN
           remaining
           List the contract number
           of any government
           contract

  2.69     State what the contract     EXCLUSIVE LEASING LISTING AGREEMENT
           or lease is for and the                                                   METRO COMMERCIAL REAL ESTATE, INC.
           nature of the debtor’s                                                    ATTN: MICHAEL GORMAN
           interest                                                                  50 S. 16TH STREET
           State the term              3/26/2024                                     SUITE 1700
           remaining                                                                 PHILADELPHIA, PA 19102
           List the contract number
           of any government
           contract
Debtor   The University of the Arts_______________________________________________         Case number (if known) 24-_____________________________________________
         Name
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  2.70     State what the contract     PROPERTY INSURANCE POLICYNO. IMP
           or lease is for and the     F230276-00-00                                 GREAT AMERICAN
           nature of the debtor’s                                                    RYAN TURNER SPECIALTY
           interest                                                                  1650 ARCH STREET
           State the term              8/12/2025                                     26TH FLOOR
           remaining                                                                 PHILADELPHIA, PA 19103
           List the contract number
           of any government
           contract
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  Fill in this information to identify the case:

  Debtor name: The University of the Arts

  United States Bankruptcy Court for the: District of Delaware
                                                                                                                                                                        Check if this is an
  Case number: 24-
                                                                                                                                                                        amended filing


Official Form 206H
Schedule H: Codebtors

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the Additional Page to this
page.

1. Does the debtor have any codebtors?

   No. Check this box and submit this form to the court with the debtor’s other schedules. Nothing else needs to be reported on this form.

   Yes

2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of creditors, Schedules D-G. Include all
guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one
creditor, list each creditor separately in Column 2.

 Column 1: Codebtor                                                                                 Column 2: Creditor


 Name                              Mailing Address                                                  Name                                                              Check all schedules
                                                                                                                                                                      that apply:

2.1
U OF ARTS FINANCE, LLC                                                                             UMB BANK, N.A.                                                          D
                                  320 S. BROAD STREET
                                  PHILADELPHIA, PA 19102                                                                                                                   E/F

                                                                                                                                                                           G


2.2
U OF ARTS FINANCE, LLC                                                                             TD BANK, N.A                                                            D
                                  320 S. BROAD STREET
                                  PHILADELPHIA, PA 19102                                                                                                                   E/F

                                                                                                                                                                           G

2.3
U OF ARTS FINANCE, LLC                                                                             UMB BANK N.A., AS REPRESENTATIVE FOR                                    D
                                  320 S. BROAD STREET                                              NOTEHOLDERS
                                  PHILADELPHIA, PA 19102                                                                                                                   E/F

                                                                                                                                                                           G
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  Fill in this information to identify the case:

  Debtor name: The University of the Arts

  United States Bankruptcy Court for the: District of Delaware
                                                                                                                                                     Check if this is an
  Case number: 24-
                                                                                                                                                     amended filing


Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form for the schedules of
assets and liabilities, any other document that requires a declaration that is not included in the document, and any amendments of those documents. This form must
state the individual’s position or relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.
WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with a
bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


  I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another individual serving as a
  representative of the debtor in this case.

  I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


       Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

       Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

       Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

       Schedule H: Codebtors (Official Form 206H)

       Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

       Amended Schedule

       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

       Other document that requires a
  declaration

I declare under penalty of perjury that the foregoing is true and correct.

09/12/2024                                                                             /s/Judson. Aaron

Executed on                                                                            Signature of individual signing on behalf of debtor
                                                                                       Judson. Aaron

                                                                                       Printed name
                                                                                       Chair of the Board of The University of the Arts

                                                                                       Position or relationship to debtor
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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE

                                                    )
 In re:                                             )       Chapter 7
 The University of the Arts                         )
 U of Arts Finance, LLC                             )       Case No. 24- ()
                                                    )
                        Debtors.                    )
                                                    )

               GLOBAL NOTES, METHODOLOGY AND SPECIFIC
          DISCLOSURES REGARDING THE DEBTORS’ SCHEDULES OF
      ASSETS AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

                                           Introduction

         The above captioned debtors and debtors-in-possession (collectively, the “Debtors”), with
the assistance of their advisors, have filed their respective Schedules of Assets and Liabilities
(the “Schedules”) and Statements of Financial Affairs (the “Statements”) with the United States
Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”), pursuant to section 521
of title 11 of the United States Code (the “Bankruptcy Code”) and Rule 1007 of the Federal Rules
of Bankruptcy Procedure (the “Bankruptcy Rules”).

        These Global Notes, Methodology, and Specific Disclosures Regarding the Debtors’
Schedules of Assets and Liabilities and Statements of Financial Affairs (the “Global Notes”)
pertain to, are incorporated by reference in, and comprise an integral part of all of the Debtors’
Schedules and Statements. The Global Notes should be referred to, considered, and reviewed in
connection with any review of the Schedules and Statements.

         The Schedules and Statements do not purport to represent financial statements prepared in
accordance with Generally Accepted Accounting Principles in the United States (“GAAP”), nor
are they intended to be fully reconciled with the financial statements of each Debtor. Additionally,
the Schedules and Statements contain unaudited information that is subject to further review and
potential adjustment and reflect the Debtors’ reasonable best efforts to report the assets and
liabilities of each Debtor on an unconsolidated basis.

       In preparing the Schedules and Statements, the Debtors relied upon information derived
from their books and records that was available at the time of such preparation. Although the
Debtors have made reasonable efforts to ensure the accuracy and completeness of such financial
information, inadvertent errors or omissions, as well as the discovery of conflicting, revised, or
subsequent information, may cause a material change to the Schedules and Statements.
Accordingly, the Debtors reserve all of their rights to amend, supplement, or otherwise modify the
Schedules and Statements as is necessary and appropriate. Notwithstanding the foregoing, the
Debtors shall not be required to update the Schedules and Statements.
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        Judson Aaron has signed each of the Schedules and Statements. Mr. Aaron is the Chair of
the Board of The University of the Arts and has signing authority for each of the Debtor entities.
In reviewing and signing the Schedules and Statements, Mr. Aaron has relied upon the efforts,
statements and representations of various personnel employed by the Debtors and advisors. Mr.
Aaron has not (and could not have) personally verified the accuracy of each statement and
representation contained in the Schedules and Statements, including statements and
representations concerning amounts owed to creditors.

        The Global Notes are in addition to any specific notes contained in any Debtor’s Schedules
or Statements. Furthermore, the fact that the Debtors have prepared Global Notes or specific notes
with respect to any information in the Schedules and Statements and not to other information in
the Schedules and Statements should not be interpreted as a decision by the Debtors to exclude the
applicability of such Global Notes or specific notes to the rest of the Debtors’ Schedules and
Statements, as appropriate.

      Disclosure of information in one or more Schedules, one or more Statements, or one or
more exhibits or attachments to the Schedules or Statements, even if incorrectly placed, shall be
deemed to be disclosed in the correct Schedules, Statements, exhibits, or attachments.

                          Global Notes and Overview of Methodology

Global Notes Control. In the event that the Schedules and Statements differ from the
Global Notes, the Global Notes shall control.


Reservation of Rights. Reasonable efforts have been made to prepare and file complete and
accurate Schedules and Statements; however, inadvertent errors or omissions may exist. The
Debtors reserve all rights to amend or supplement the Schedules and Statements from time to time,
in all respects, as may be necessary or appropriate, including, without limitation, the right to amend
the Schedules and Statements with respect to any claim (“Claim”) description, designation, or
Debtor against which the Claim is asserted; dispute or otherwise assert offsets or defenses to any
Claim reflected in the Schedules and Statements as to amount, liability, priority, status, or
classification; subsequently designate any Claim as “disputed,” “contingent,” or “unliquidated;”
or object to the extent, validity, enforceability, priority, or avoidability of any Claim. Any failure
to designate a Claim in the Schedules and Statements as “disputed,” “contingent,” or
“unliquidated” does not constitute an admission by the Debtors that such Claim or amount is not
“disputed,” “contingent,” or “unliquidated.” Listing a Claim does not constitute an admission of
liability by the Debtor against which the Claim is listed or against any of the Debtors. Furthermore,
nothing contained in the Schedules and Statements shall constitute a waiver of rights with respect
to the Debtors’ chapter 7 cases, including, without limitation, issues involving Claims, substantive
consolidation, defenses, equitable subordination, recharacterization, and/or causes of action
arising under the provisions of chapter 5 of the Bankruptcy Code and any other relevant non-
bankruptcy laws to recover assets or avoid transfers. Any specific reservation of rights contained
elsewhere in the Global Notes does not limit in any respect the general reservation of rights
contained in this paragraph.




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The listing in the Schedules or Statements by the Debtors of any obligation between a Debtor and
another Debtor is a statement of what appears in a particular Debtor’s books and records and does
not reflect any admission or conclusion of the Debtors regarding whether such amount would be
allowed as a Claim or how such obligations may be classified and/or characterized in a plan of
reorganization or by the Bankruptcy Court. The Debtors reserve all rights with respect to such
obligations.

Description of Cases. On September 13, 2024 (the “Petition Date”), the Debtors filed voluntary
petitions for relief under chapter 7 of the Bankruptcy Code.

Net Book Value of Assets. It would be prohibitively expensive, unduly burdensome and an
inefficient use of estate assets for the Debtors to obtain current market valuations for all of their
assets. Accordingly, unless otherwise indicated, the Debtors’ Schedules and Statements reflect net
book values as of June 30, 2024. Additionally, because the book values of assets such as patents,
trademarks and copyrights may materially differ from their fair market values, they are listed as
unknown amounts as of the Petition Date. Furthermore, assets which have fully depreciated or
were expensed for accounting purposes do not appear in these Schedules and Statements, as they
have no net book value.

Personal Property – Leased. In the ordinary course of operations, the Debtors may lease
furniture, fixtures and office equipment from certain third-party lessors for use in the daily
operation of their businesses. Nothing in the Schedules and Statements is or shall be construed as
an admission regarding any determination as to the legal status of any lease (including whether
any lease is a true lease or a financing arrangement), and the Debtors reserve all of their rights with
respect to any such issue.

Recharacterization. Notwithstanding the Debtors’ reasonable best efforts to properly
characterize, classify, categorize or designate certain Claims, assets, executory contracts,
unexpired leases and other items reported in the Schedules and Statements, the Debtors may
nevertheless have improperly characterized, classified, categorized, designated, or omitted certain
items due to the complexity and size of the Debtors’ operations. Accordingly, the Debtors reserve
all rights to recharacterize, reclassify, recategorize, redesignate, add or delete items reported in the
Schedules and Statements at a later time as is necessary or appropriate as additional information
becomes available, including, without limitation, whether contracts or leases listed herein were
deemed executory or unexpired as of the Petition Date and remain executory and unexpired
postpetition.

Identified Property. Because the official forms of the Schedules do not distinguish if an asset is
unavailable to satisfy creditor claims, the Debtors have endeavored in these Global Notes and
accompanying Statement to highlight restricted assets wherever possible, to provide creditors
more accurate information as to the assets available to satisfy their claims. The Debtors
determined the best way to capture the restricted assets, while at the same time providing
meaningful disclosure, is to report restricted assets in response to question 21 of the Statement as
assets held for another. While some of the restricted assets are not “held for another” strictly
speaking (e.g., as in a formal trust structure), the Debtors believe reporting restricted assets on
the Statement, rather than on Schedule A/B is more appropriate given that their inclusion on
Schedule A/B would result in a significant overstatement of assets available for distribution to


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creditors. While the Debtors and its professionals have used their good faith best efforts to
bifurcate restricted assets in these disclosures, the review of the Debtor’s records is ongoing and
may reveal additional restrictions. Accordingly, failure to identify an asset as restricted in these
Global Notes, Statement or Schedules does not constitute an admission by the Debtor such asset
is available to satisfy creditor claims.


Liabilities. The Debtors allocated liabilities between the prepetition and postpetition periods
based on the information and research conducted in connection with the preparation of the
Schedules and Statements. As additional information becomes available and further research is
conducted, the allocation of liabilities between the prepetition and postpetition periods may
change. Accordingly, the Debtors reserve all of rights to amend, supplement or otherwise modify
the Schedules and Statements as is necessary and appropriate.

The liabilities listed on the Schedules do not reflect any analysis of claims under section 503(b)(9)
of the Bankruptcy Code. Accordingly, the Debtors reserve all of their rights to dispute or challenge
the validity of any asserted claims under section 503(b)(9) of the Bankruptcy Code or the
characterization of the structure of any such transaction or any document or instrument related to
any creditor’s claim.

Insiders. For purposes of the Schedules and Statements, the Debtors define “insiders” to include
the following: (a) directors; (b) officers; (c) relatives of directors or officers of the Debtors (to the
extent known by the Debtors); and (e) Debtor/non-Debtor affiliates.

Academic Deans are not included as persons listed as an “insider” because they had no corporate
management responsibility and are not viewed as officers of the University.

Persons listed as “insiders” have been included for informational purposes only. The Debtors do
not take any position with respect to: (a) such person’s influence over the control of the Debtors;
(b) the management responsibilities or functions of such individual; (c) the decision-making or
authority of such individual; or (d) whether such individual could successfully argue that he or she
is not an “insider” under applicable law, including the federal securities laws, or with respect to
any theories of liability or for any other purpose. The listing or omission of a party as an insider
for purposes of the Schedules and Statements is for informational purposes and is not intended to
be, nor should it be, construed as an admission that those parties are insiders for purpose of section
101(31) of the Bankruptcy Code.

Intellectual Property Rights. Exclusion of certain intellectual property shall not be construed as
an admission that such intellectual property rights have been abandoned, terminated, assigned,
expired by their terms or otherwise transferred pursuant to a sale, acquisition or other transaction.
Conversely, inclusion of certain intellectual property shall not be construed to be an admission that
such intellectual property rights have not been abandoned, terminated, assigned, expired by their
terms or otherwise transferred pursuant to a sale, acquisition or other transaction.

Executory Contracts. Although the Debtors have made diligent attempts to properly identify
executory contracts and unexpired leases, the inclusion of a contract or lease on Schedule G does
not constitute an admission as to the executory or unexpired nature (or non-executory or expired



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nature) of the contract or lease, or an admission as to the existence or validity of any claims held
by any counterparty to such contract or lease. Furthermore, while the Debtors have made diligent
attempts to properly identify all executory contracts and unexpired leases, inadvertent errors,
omissions, or over inclusion may have occurred.

Classifications. Listing a claim on (a) Schedule D as “secured,” (b) Schedule E as “priority,”
(c) Schedule F as “unsecured” or (d) listing a contract or lease on Schedule G as “executory” or
“unexpired,” does not constitute an admission by the Debtors of the legal rights of the claimant or
a waiver of the Debtors’ rights to recharacterize or reclassify such claims or contracts or leases or
to setoff of such claims.

Claims Description. Schedules D, E and F permit each of the Debtors to designate a claim as
“disputed,” “contingent” and/or “unliquidated.” Any failure to designate a claim on a given
Debtor’s Schedules as “disputed,” “contingent” or “unliquidated” does not constitute an admission
by that Debtor that such amount is not “disputed,” “contingent” or “unliquidated,” or that such
claim is not subject to objection. The Debtors reserve all of their rights to dispute, or assert offsets
or defenses to, any claim reflected on their respective Schedules and Statements on any grounds,
including liability or classification. Additionally, the Debtors expressly reserve all of their rights
to subsequently designate such claims as “disputed,” “contingent” or “unliquidated.” Moreover,
listing a claim does not constitute an admission of liability by the Debtors.

Causes of Action. Despite their reasonable efforts to identify all known assets, the Debtors may
not have listed all of their causes of action or potential causes of action against third-parties as
assets in the Schedules and Statements, including, without limitation, causes of action arising
under the provisions of chapter 5 of the Bankruptcy Code and any other relevant non-bankruptcy
laws to recover assets or avoid transfers. The Debtors reserve all of their rights with respect to any
cause of action (including avoidance actions), controversy, right of setoff, cross-Claim, counter-
Claim, or recoupment and any Claim on account of a contract or for breaches of duty imposed by
law or in equity, demand, right, action, lien, indemnity, guaranty, suit, obligation, liability,
damage, judgment, account, defense, power, privilege, license, and franchise of any kind or
character whatsoever, known, unknown, fixed or contingent, matured or unmatured, suspected or
unsuspected, liquidated or unliquidated, disputed or undisputed, secured or unsecured, whether
asserted directly or derivatively, whether arising before, on, or after the Petition Date, in contract
or in tort, in law, or in equity, or pursuant to any other theory of law (collectively, “Causes of
Action”) they may have, and neither these Global Notes nor the Schedules and Statements shall
be deemed a waiver of any Claims or Causes of Action or in any way prejudice or impair the
assertion of such Claims or Causes of Action.

Summary of Significant Reporting Policies. The following is a summary of significant reporting
policies:

               a.      Unknown Amounts. The description of an amount as
                       “unknown,” “TBD” or “undetermined” is not intended to
                       reflect upon the materiality of such amount.

               b.      Totals. All totals that are included in the Schedules and
                       Statements represent totals of all known amounts. To the


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                        extent there are unknown or undetermined amounts, the
                        actual total may be different than the listed total.

               c.       Liens. Property and equipment listed in the Schedules are
                        presented without consideration of any liens that may attach
                        (or have attached) to such property and equipment.

               d.       Currency. Unless otherwise indicated, all amounts are
                        reflected in U.S. dollars.

Credits and Adjustments. The claims of individual creditors for, among other things, goods,
services, tuition deposits or taxes are listed as the amounts entered on the Debtors’ books and
records and may not reflect credits, allowances, or other adjustments due from such creditors to
the Debtors. The Debtors reserve all of their rights with regard to such credits, allowances, and
other adjustments, including the right to assert claims objections and/or setoffs with respect to the
same.

Setoffs. The Debtors incur certain setoffs, net payments, and other similar rights during the
ordinary course of operations. These offsets and other similar rights are consistent with the
ordinary course of operations at a university and are not tracked separately. Therefore, although
such offsets and other similar rights may have been accounted for when certain amounts were
included in the Schedules, offsets are not independently accounted for, and as such, are excluded
from the Schedules.

Estimates. To comply with the court forms, the Debtors were required to make estimates,
allocations, and assumptions that affect the reported amounts of assets, liabilities, revenue and
expenses as of the Petition Date. The Debtors reserve all rights, but shall not be required, to
amend the reported amounts of assets, revenue, and expenses to reflect changes in those
estimates and assumptions.

                    Specific Disclosures with Respect to the Debtors’ Schedules

        Schedules Summary. Except as otherwise noted, the asset information provided herein
represents the Debtors’ data regarding their assets as of June 30, 2024, unless values as of the
Petition Date were readily available, and the liability information provided herein represents the
Debtors’ data regarding their liabilities as of the close of business prior to the Petition Date.

         The Schedules do not purport to represent financial statements prepared in accordance with
GAAP, nor are they intended to be fully reconciled with the financial statements of each Debtor.
Additionally, the Schedules contain unaudited information that is subject to further review and
potential adjustment, and reflect the Debtors’ reasonable best efforts to report the assets and
liabilities of each Debtor on an unconsolidated basis. Moreover, given, among other things, the
uncertainty surrounding the collection and ownership of certain assets and the valuation and nature
of certain liabilities, to the extent that a Debtor shows more assets than liabilities, this is not an
admission that the Debtor was solvent as of the Petition Date or at any time before the Petition
Date.

Schedule A/B 2 and A/B 3. Cash balances are listed as of September 12, 2024.


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Schedules A/B 59-69. Intangibles and Intellectual Property listed in Schedules A/B 59-69 are
listed as an unknown amount. The fair market value of such ownership is dependent on numerous
variables and factors and may differ significantly from their net book value.

Schedule A/B 73. The Debtors have included a listing of their insurance policies in response to
Question 73, however, a determination as to the surrender or refund value of each of the insurance
policies has not been made and, therefore, the balance is listed as undetermined.

Schedules A/B 74 and A/B 75. In the ordinary course of their businesses, the Debtors may have
accrued, or may subsequently accrue, certain rights to counterclaims, setoffs, credits, refunds, or
rebates. Additionally, certain of the Debtors may be a party to pending litigation in which the
Debtors have asserted, or may assert, Claims as a plaintiff or counterclaims as a defendant.
Because such Claims are unknown to the Debtors and not quantifiable as of the Petition Date, they
may not be listed in the Schedules. The Debtors’ failure to list any cause of action, claim, or right
of any nature is not an admission that such cause of action, claim, or right does not exist, and
should not be construed as a waiver of such cause of action, claim, or right.

Schedule D. The Debtors have not included parties that may believe their Claims are secured
through setoff rights or inchoate statutory lien rights. The amounts outstanding under the Debtors’
prepetition secured credit facilities reflect principal amounts as of the Petition Date.

With respect to the Claims listed on Schedule D, reference to the applicable loan agreements and
related documents is necessary for a complete description of the collateral and the nature, extent,
and priority of liens. Nothing in the Global Notes or the Schedules and Statements shall be deemed
a modification or interpretation of the terms of such agreements. Except as specifically stated on
Schedule D, real property lessors, utility companies, and other parties that may hold security
deposits have not been listed on Schedule D. In addition, unless otherwise stated, the Debtors have
not included on Schedule D parties that may hold liens on personal property or in connection with
equipment leases. The Debtors reserve all of their rights to amend Schedule D. Nothing herein
shall be construed as an admission by the Debtors of the legal rights of the claimant or a waiver of
the Debtors’ rights to recharacterize or reclassify such Claim or contract.

Schedule E/F. The Debtors’ analysis of potential priority claims is ongoing and may take
significant time to complete. Accordingly, some amounts on Schedule E/F may have been
classified as non-priority pending conclusion of that analysis. The listing of any claim on Schedule
E/F does not constitute an admission by the Debtors that such claim is entitled to priority treatment
under section 507 of the Bankruptcy Code. The Debtors reserve their right to dispute the priority
status of any claim on any basis.

The Debtors have used reasonable efforts to report all general unsecured Claims against the
Debtors on Schedule E/F, based upon the Debtors’ books and records as of the Petition Date.

Determining the date upon which each Claim on Schedule E/F was incurred or arose would be
unduly burdensome and cost prohibitive and, therefore, the Debtors do not list a date for each
Claim listed on Schedule E/F. Furthermore, claims listed on Schedule E/F have been aggregated
by unique creditor name and remit to address and may include several dates of incurrence for the
aggregate balance listed.



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Schedule E/F may contain potential claims on account of pending litigation involving the Debtors.
Each potential claim associated with any such pending litigation is marked as contingent,
unliquidated, and disputed in the Schedules and Statements. Some of the potential litigation claims
listed on Schedule E/F may be subject to subordination pursuant to section 510 of the Bankruptcy
Code.

Schedule E/F may also include potential or threatened litigation claims. Any information contained
in Schedule E/F with respect to such potential litigation shall not be a binding representation of
the Debtors’ liabilities with respect to any of the potential suits and proceedings included therein.

Schedule E/F reflects the prepetition amounts owing to counterparties to executory contracts and
unexpired leases. Additionally, Schedule E/F does not include potential rejection damage Claims,
of the counterparties to executory contracts and unexpired leases that may be rejected.

Schedule E/F may reflect certain tuition deposits that were provided to the Debtors prepetition by
students for future classes. Certain of these deposits may have been honored or given consideration
by an unrelated third-party institution. The deposits listed here do not reflect the reduction for such
consideration.

Schedule G. Although reasonable efforts have been made to ensure the accuracy of each Debtor’s
Schedule G, inadvertent errors may have occurred. Certain information, such as the contact
information of the counterparty, may not be included where such information could not be obtained
using the Debtors’ reasonable efforts. Listing a contract or agreement on Schedule G does not
constitute an admission that such contract or agreement was an executory contract or unexpired
lease as of the Petition Date or is valid or enforceable. The Debtors hereby reserve all of their
rights to dispute the validity, status or enforceability of any contracts, agreements or leases set
forth on Schedule G and to amend or supplement Schedule G as necessary. Certain of the leases
and contracts listed on Schedule G may contain certain renewal options, guarantees of payment,
indemnifications, options to purchase, rights of first refusal and other miscellaneous rights. Such
rights, powers, duties and obligations are not set forth separately on Schedule G.

Certain of the contracts and agreements listed on Schedule G may consist of several parts,
including, purchase orders, amendments, restatements, waivers, letters and other documents that
may not be listed on Schedule G or that may be listed as a single entry. In some cases, the same
supplier or provider appears multiple times on Schedule G. This multiple listing is intended to
reflect distinct agreements between the applicable Debtor and such supplier or provider. The
Debtors expressly reserve their rights to challenge whether such related materials constitute an
executory contract, a single contract or agreement or multiple, severable or separate contracts. The
contracts, agreements, and leases listed on Schedule G may have expired or may have been
modified, amended or supplemented from time to time by various amendments, restatements,
waivers, estoppel certificates, letters, memoranda and other documents, instruments, and
agreements that may not be listed therein despite the Debtors’ use of reasonable efforts to identify
such documents. Further, unless otherwise specified on Schedule G, each executory contract or
unexpired lease listed thereon shall include all exhibits, schedules, riders, modifications,
declarations, amendments, supplements, attachments, restatements, or other agreements made
directly or indirectly by any agreement, instrument, or other document that in any manner affects



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such executory contract or unexpired lease, without respect to whether such agreement, instrument,
or other document is listed thereon.

In addition, the Debtors may have entered into various other types of agreements in the ordinary
course of their businesses, such as subordination, nondisturbance, and attornment agreements,
supplemental agreements, settlement agreements, amendments/letter agreements, title agreements
and confidentiality agreements. Such documents may not be set forth on Schedule G. Further, the
Debtors reserve all of their rights to alter or amend these Schedules to the extent that additional
information regarding the Debtor obligor to such executory contracts becomes available. Certain
of the executory agreements may not have been memorialized and could be subject to dispute.
Executory agreements that are oral in nature have not been included on Schedule G.

The Debtors reserve all of their rights, Claims and causes of action with respect to the contracts on
Schedule G, including the right to dispute or challenge the characterization of the structure of any
transaction or any document or instrument related to a creditor’s Claim.

Omission of a contract or agreement from Schedule G does not constitute an admission that such
omitted contract or agreement is not an executory contract or unexpired lease. The Debtors’ rights
under the Bankruptcy Code with respect to any such omitted contracts or agreements are not
impaired by the omission. Schedule G may be amended at any time to add any omitted contract,
agreement or lease.

The listing of any contract on Schedule G does not constitute an admission by the Debtors as to
the validity of any such contract or that such contract is an executory contract or unexpired lease.
The Debtors reserve all of their rights to dispute the effectiveness of any such contract listed on
Schedule G or to amend Schedule G at any time to remove any contract.

Schedule H. For purposes of Schedule H, the Debtors that are either the principal obligors or
guarantors under the prepetition debt facilities are listed as Co-Debtors on Schedule H. The
Debtors may not have identified certain guarantees associated with the Debtors’ executory
contracts, unexpired leases, secured financings, debt instruments and other such agreements. The
Debtors reserve all of their rights to amend the Schedules to the extent that additional guarantees
are identified or such guarantees are discovered to have expired or be unenforceable.

 In the ordinary course of their businesses, the Debtors may be involved in pending or threatened
litigation. These matters may involve multiple plaintiffs and defendants, some or all of whom may
assert cross-Claims and counter-Claims against other parties. Because all such Claims are
contingent, disputed, or unliquidated, such Claims have not been set forth individually on Schedule
H. Litigation matters can be found on each Debtor’s Schedule E/F and Statement 7, as applicable.

                 Specific Disclosures with Respect to the Debtors’ Statements

Statement 1 & 2. Revenue amounts listed are through September 12, 2024

Statement 3. Statement 3 includes any disbursement or other transfer made by the Debtors within
90 days before the Petition Date except for those made to insiders (which payments appear in
response to Statement 4), employees, and bankruptcy professionals (which payments appear in
response to Statement 11). The amounts listed in Statement 3 reflect the Debtors’ disbursements


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netted against any check level detail; thus, to the extent a disbursement was made to pay for
multiple invoices, only one entry has been listed on Statement 3. All disbursements listed on
Statement 3 are made through the Debtors’ cash management system.

Statement 4. With respect to individuals, the amounts listed reflect certain payments and transfers
to such individuals, including, without limitation, compensation, bonus (if any), expense
reimbursement, and/or severance and the like.

Academic Deans are not included as persons listed as an “insider” because they had no corporate
management responsibility and are not viewed as officers of the University.

Solely for purposes of the Schedules and Statements, the Debtors define “Insiders” to include the
following: (a) directors; (b) officers; (c) relatives of directors or officers; and (e) Debtor/non-
Debtor affiliates. The listing of a party as an Insider in the Schedules and Statements, however, is
not intended to be, nor shall be, construed as a legal characterization or determination of such party
as an actual insider and does not act as an admission of any fact, claim, right or defense, and all
such rights, claims, and defenses are hereby expressly reserved.

Statement 6. There may be instances where such a setoff has occurred without the Debtors’
knowledge.

Statement 7. The Debtors reserve all rights with respect to the suits and proceedings included in
Statement. 7. Nothing contained herein shall be construed as an admission of liability or waiver
of any right or defense.

Statement 11. Payments related to bankruptcy are reflected on the Statement of the Debtor entity
that made the payment, but are for the benefit of all Debtors. Furthermore, certain payments to
professionals included on Statement 11 may not have been made in relation to bankruptcy
preparation and may be included on this response.

Statement 26d. The Debtors have provided unaudited financial statements in the ordinary course
of their businesses to numerous financial institutions, creditors, and other parties within two years
immediately before the Petition Date. The disclosure of each of such parties would be impractical
and burdensome as the Debtors generally do not track such sharing. Moreover, the parties with
which the Debtors have shared such financial statements may be in turn further shared the financial
statements with other entities without the Debtors’ knowledge or consent.

Statement 30. The responses to this item are included in Statement 4.




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  Fill in this information to identify the case:

  Debtor name: The University of the Arts

  United States Bankruptcy Court for the: District of Delaware
                                                                                                                                                    Check if this is an
  Case number: 24-
                                                                                                                                                    amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                              04/22


The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and
case number (if known).

Part 1:   Income

1. Gross revenue from business
     None

 Identify the beginning and ending dates of the debtor’s fiscal year, which may be      Sources of revenue                                        Gross revenue
 a calendar year                                                                        Check all that apply                                      (before deductions and
                                                                                                                                                  exclusions)


From the beginning of           From                      to     Petition Date             Operating a business                                                   $0.00
the fiscal year to filing       7/1/2024
date:                                                                                      Other




For prior year:                 From                      to                               Operating a business                                         $68,332,500.00
                                7/1/2023                  6/30/2024
                                                                                           Other




For the year before that:       From                      to                               Operating a business                                         $62,922,334.00
                                7/1/2022                  6/30/2023
                                                                                           Other




2. Non-business revenue
Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits, and royalties. List each
source and the gross revenue for each separately. Do not include revenue listed in line 1.
     None

                                                                                        Description of sources of revenue                         Gross revenue from
                                                                                                                                                  each source
                                                                                                                                                  (before deductions and
                                                                                                                                                  exclusions)

From the beginning of          From                       to     Petition              Revenue from sale of Fixed Assets **                                 $657,921.35
the fiscal year to filing      7/1/2024
date:

For prior year:                From                       to                           Change in Market Value of Investments                                $119,168.00
                               7/1/2023                   6/30/2024


For the year before that:      From                       to                           Private Gifts $444,127, Change in Market Value of                 $13,572,540.00
                               7/1/2022                   6/30/2023                    Investments $4,358,325, Gain on Sale of Real Estate
                                                                                       $8,770,088
Debtor    The University of the Arts_______________________________________________                  Case number (if known) 24-_____________________________________________
          Name
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  **

    (**) The Debtor did not have the gain on sale calculated at the time of filing these Schedules. The amount reported represents gross proceeds.



  Part 2:    List Certain Transfers Made Before Filing for Bankruptcy

  3. Certain payments or transfers to creditors within 90 days before filing this case
  List payments or transfers - including expense reimbursements - to any creditor, other than regular employee compensation, within 90 days before filing this case unless the
  aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25 and every 3 years after that with respect to cases
  filed on or after the date of adjustment.)
         None

   Creditor’s name and address                                  Dates                          Total amount or value         Reasons for payment or transfer
                                                                                                                             Check all that apply

  3.1
                                                                                                     $10,786,753.66              Secured debt
            See SOFA 3 Attachment
                                                                                                                                 Unsecured loan repayments

                                                                                                                                 Suppliers or vendors

                                                                                                                                 Services

                                                                                                                                 Other




  4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
  List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed or cosigned by an
  insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount may be adjusted on 4/01/25 and every 3
  years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in
  control of a corporate debtor and their relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any
  managing agent of the debtor. 11 U.S.C. § 101(31).
         None

   Insider’s name and address                                   Dates                          Total amount or value         Reasons for payment or transfer

  4.1
                                                                                                       $1,222,740.61             Secured debt
            See SOFA 4 Attachment
                                                                                                                                 Unsecured loan repayments
            Relationship to debtor
                                                                                                                                 Suppliers or vendors

                                                                                                                                 Services

                                                                                                                                 Other



  5. Repossessions, foreclosures, and returns
  List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at a foreclosure sale,
  transferred by a deed in lieu of foreclosure, or returned to the seller.
  Do not include property listed in line 6.
         None

   Creditor’s name and address                                  Description of the property                                  Date                            Value of property

  5.1
Debtor    The University of the Arts_______________________________________________                       Case number (if known) 24-_____________________________________________
          Name
                                      Case 24-12140-BLS                    Doc 1         Filed 09/13/24                 Page 724 of 1042
  6. Setoffs
  List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of the debtor without
  permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
         None

   Creditor’s name and address                                  Description of the action creditor took                         Date action was taken       Amount

  6.1


                                                               Last 4 digits of account number

  Part 3:    Legal Actions or Assignments

  7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
  List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved in any capacity—within 1
  year before filing this case.
         None

   Case title                                    Nature of case                                  Court or agency’s name and address                         Status of case

  7.1
            Name                                Landlord and Tenant Complaint                    Name                                                          Pending
            14 WA Partners LP v. The                                                             Philadelphia Municipal Court First Judicial District of
                                                                                                                                                               On appeal
            University of the Arts                                                               Pennsylvania
                                                                                                                                                               Concluded
            Case number                                                                          Street
            LT-24-07-29-5954                                                                     1139 Chestnut Street, 10th Floor
                                                                                                 City                               State    Zip
                                                                                                 Philadelphia                       PA       19107

  7.2
            Name                                Class Action                                     Name                                                          Pending
            Acker et al v. University of The                                                     United States District Court Eastern District of
                                                                                                                                                               On appeal
            Arts                                                                                 Pennsylvania
                                                                                                                                                               Concluded
            Case number                                                                          Street
            2:24-cv-02468                                                                        601 Market St #2609
                                                                                                 City                               State    Zip
                                                                                                 Philadelphia                       PA       19106

  7.3
            Name                                Class Action                                     Name                                                          Pending
            Anderson et al v. The University                                                     United States District Court Eastern District of
                                                                                                                                                               On appeal
            of The Arts                                                                          Pennsylvania (Philadelphia)
                                                                                                                                                               Concluded
            (Former Students)
                                                                                                 Street
            Case number                                                                          601 Market St #2609
            2:24-cv-02586
                                                                                                 City                               State    Zip
                                                                                                 Philadelphia                       PA       19106


  7.4
            Name                                Warn Act Class Action                            Name                                                          Pending
            Cawley et al v. The University Of                                                    United States District Court Eastern District of
                                                                                                                                                               On appeal
            The Arts                                                                             Pennsylvania
                                                                                                                                                               Concluded
            Case number                                                                          Street
            2:24-cv-02445                                                                        601 Market St #2609

                                                                                                 City                               State    Zip
                                                                                                 Philadelphia                       PA       19106
Debtor   The University of the Arts_______________________________________________                 Case number (if known) 24-_____________________________________________
         Name
                                     Case 24-12140-BLS                   Doc 1          Filed 09/13/24           Page 725 of 1042

  7.5
           Name                                 Breach of Contract                        Name                                                          Pending
           De Lage Landen Financial                                                       Court of Common Pleas of Philadelphia County Trial
                                                                                                                                                        On appeal
           Services Inc. v. University of the                                             Division
                                                                                                                                                        Concluded
           Arts
                                                                                          Street
           Case number                                                                    Philadelphia City Hall, Room 415
           240702419
                                                                                           City                              State    Zip
                                                                                           Philadelphia                      PA       19107

  7.6
           Name                                 Class Action                              Name                                                          Pending
           Morehouse et al v. The                                                         United States District Court Eastern District of
                                                                                                                                                        On appeal
           University of the Arts                                                         Pennsylvania
                                                                                                                                                        Concluded
           Case number                                                                    Street
           2:24-cv-04164                                                                  601 Market St #2609
                                                                                           City                              State    Zip
                                                                                           Philadelphia                      PA       19106

  7.7
           Name                                 Breach of Contract                        Name                                                          Pending
           Parkhurst Dining, LLC v. The                                                   Court of Common Pleas, Allegheny County
                                                                                                                                                        On appeal
           University of the Arts
                                                                                          Street                                                        Concluded
           Case number                                                                    1700 Frick Building 437 Grant St
           GD-24-009326
                                                                                           City                              State    Zip
                                                                                           Pittsburgh                        PA       15291

  7.8
           Name                                 Warn Act Class Action                     Name                                                          Pending
           Schutts et al v. The University                                                United States District Court Eastern District of
                                                                                                                                                        On appeal
           of the Arts                                                                    Pennsylvania
                                                                                                                                                        Concluded
           Case number                                                                    Street
           2:24-cv-02420                                                                  601 Market St #2609

                                                                                           City                              State    Zip
                                                                                           Philadelphia                      PA       19106

  7.9
           Name                                 Petition to transfer endowment assets     Name                                                          Pending
           The University Of The Arts, Non                                                Court of Common Pleas of Philadelphia County Trial
                                                                                                                                                        On appeal
           Profit Corporation                                                             Division
                                                                                                                                                        Concluded
           Case number                                                                    Street
           1092NP of 2024                                                                 Philadelphia City Hall, Room 415

                                                                                           City                              State    Zip
                                                                                           Philadelphia                      PA       19107

  7.10
           Name                                 Unfair Labor Practice                     Name                                                          Pending
           Unfair Labor Practice                                                          United States National Labor Relations Board, Region
                                                                                                                                                        On appeal
                                                                                          4
           Case number                                                                                                                                  Concluded
           04-CA-343706                                                                   Street
                                                                                          100 E. Penn Square, Suite 403

                                                                                           City                              State    Zip
                                                                                           Philadelphia                      PA       19107
Debtor    The University of the Arts_______________________________________________                      Case number (if known) 24-_____________________________________________
          Name
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  7.11
            Name                                 Slip and Fall                                  Name                                                            Pending
            Weslenette Webb v. The                                                              Court of Common Pleas of Philadelphia County Trial
                                                                                                                                                                On appeal
            University of the Arts, et al                                                       Division
                                                                                                                                                                Concluded
            Case number                                                                         Street
                                                                                                Philadelphia City Hall, Room 415
                                                                                                 City                                State    Zip
                                                                                                 Philadelphia                        PA       19107

  8. Assignments and receivership
  List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a receiver, custodian, or
  other court-appointed officer within 1 year before filing this case.
         None

   Custodian’s name and address                                  Description of the property                                   Value

  8.1
            Custodian's name and address

                                                                 Case title                                                   Court name and address
            Street                                                                                                            Name

                                                                 Case number
            City                        State    Zip                                                                          Street

                                                                 Date of order or assignment
                                                                                                                              City                              State       Zip



  Part 4:    Certain Gifts and Charitable Contributions

  9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of the gifts to that recipient is
  less than $1,000
         None

   Recipient’s name and address                                  Description of the gifts or contributions                     Dates given                  Value

  9.1
            Recipient's name


            Street


            City                        State    Zip


            Recipient’s relationship to debtor



  Part 5:    Losses

  10. All losses from fire, theft, or other casualty within 1 year before filing this case
         None

   Description of the property lost and how the loss             Amount of payments received for the loss                      Date of loss                 Value of property lost
   occurred                                                      If you have received payments to cover the loss, for
                                                                 example, from insurance, government
                                                                 compensation, or tort liability, list the total received.
                                                                 List unpaid claims on Official Form 106A/B
                                                                 (Schedule A/B: Assets – Real and Personal
                                                                 Property).

  10.1
  Roof of elevator room damaged by strong winds                  $145,477.00                                                  1/9/2024                                  $145,477.00
Debtor    The University of the Arts_______________________________________________               Case number (if known) 24-_____________________________________________
          Name
                                       Case 24-12140-BLS                 Doc 1        Filed 09/13/24              Page 727 of 1042
  Part 6:    Certain Payments or Transfers

  11. Payments related to bankruptcy
  List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing of this case to another
  person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy relief, or filing a bankruptcy case.
         None

   Who was paid or who received the transfer?                 If not money, describe any property transferred            Dates                         Total amount or value

  11.1
                                                                                                                        7/26/2024                              $2,550,000.00
            Alvarez & Marsal North America, LLC, 600
            Madison Avenue, New York, NY 10022

            Email or website address
            https://www.alvarezandmarsal.com/
            Who made the payment, if not debtor?



  11.2
                                                                                                                        9/11/2024                              $1,195,000.00
            Alvarez & Marsal North America, LLC, 600
            Madison Avenue, New York, NY 10022

            Email or website address
            https://www.alvarezandmarsal.com/

            Who made the payment, if not debtor?



  11.3
                                                                                                                        7/26/2024                                $332,727.48
            Ducera Partners LLC, 11 Times Sq, New York,
            NY 10036

            Email or website address
            https://ducerapartners.com/

            Who made the payment, if not debtor?



  11.4
                                                                                                                        9/11/2024                                 $29,500.00
            Ducera Partners LLC, 11 Times Sq, New York,
            NY 10036


            Email or website address
            https://ducerapartners.com/
            Who made the payment, if not debtor?



  11.5
                                                                                                                        7/26/2024                                $515,000.00
            Hogan Lovells US LLP, 555 Thirteenth St.,
            Washington, WA 20004


            Email or website address
            https://www.hoganlovells.com/

            Who made the payment, if not debtor?
Debtor    The University of the Arts_______________________________________________      Case number (if known) 24-_____________________________________________
          Name
                                       Case 24-12140-BLS              Doc 1       Filed 09/13/24       Page 728 of 1042

  11.6
                                                                                                              9/11/2024                             $292,500.00
            Hogan Lovells US LLP, 555 Thirteenth St.,
            Washington, WA 20004

            Email or website address
            https://www.hoganlovells.com/

            Who made the payment, if not debtor?



  11.7
                                                                                                              6/25/2024                             $100,000.00
            Montgomery McCracken Walker Rhoads LLP,
            1105 North Market Street, Wilmington, DE
            19801

            Email or website address
            https://www.mmwr.com/
            Who made the payment, if not debtor?




  11.8
                                                                                                              7/26/2024                             $607,833.00
            Montgomery McCracken Walker Rhoads LLP,
            1105 North Market Street, Wilmington, DE
            19801


            Email or website address
            https://www.mmwr.com/

            Who made the payment, if not debtor?



  11.9
                                                                                                              9/11/2024                             $448,000.00
            Montgomery McCracken Walker Rhoads LLP,
            1105 North Market Street, Wilmington, DE
            19801

            Email or website address
            https://www.mmwr.com/
            Who made the payment, if not debtor?



  11.10
                                                                                                              6/25/2024                             $100,000.00
            Stradley Ronon Stevens & Young LLP, 2005
            Market Street, Suite 2600, Philadelphia, PA
            19103-7018

            Email or website address
            https://www.stradley.com/

            Who made the payment, if not debtor?
Debtor    The University of the Arts_______________________________________________                 Case number (if known) 24-_____________________________________________
          Name
                                       Case 24-12140-BLS                  Doc 1         Filed 09/13/24              Page 729 of 1042

  11.11
                                                                                                                           7/26/2024                                $223,851.00
            Stradley Ronon Stevens & Young LLP, 2005
            Market Street, Suite 2600, Philadelphia, PA
            19103-7018


            Email or website address
            https://www.stradley.com/

            Who made the payment, if not debtor?



  11.12
                                                                                                                           7/16/2024                                 $10,000.00
            Stretto, 410 Exchange, Suite 100, Irvine, CA
            92602

            Email or website address
            https://www.stretto.com/
            Who made the payment, if not debtor?




  11.13
                                                                                                                           9/11/2024                                 $25,000.00
            Stretto, 410 Exchange, Suite 100, Irvine, CA
            92602

            Email or website address
            https://www.stretto.com/
            Who made the payment, if not debtor?



  12. Self-settled trusts of which the debtor is a beneficiary
  List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to a self-settled trust or
  similar device.
  Do not include transfers already listed on this statement.
         None

   Name of trust or device                                     Describe any property transferred                            Dates transfers were          Total amount or value
                                                                                                                            made

  12.1


            Trustee


  13. Transfers not already listed on this statement
  List any transfers of money or other propertyby sale, trade, or any other meansmade by the debtor or a person acting on behalf of the debtor within 2 years before the filing
  of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include both outright transfers and transfers made as
  security. Do not include gifts or transfers previously listed on this statement.
         None

   Who received transfer?                                      Description of property transferred or payments              Date transfer was             Total amount or value
                                                               received or debts paid in exchange                           made

  13.1
                                                                                                                                                                    $657,921.35
            See SOFA 13 Attachment

            Relationship to debtor
Debtor     The University of the Arts_______________________________________________                        Case number (if known) 24-_____________________________________________
           Name
                                            Case 24-12140-BLS                Doc 1            Filed 09/13/24                  Page 730 of 1042
  Part 7:      Previous Locations

  14. Previous addresses
  List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.
         Does not apply

   Address                                                                                                            Dates of occupancy

  14.1
             Street                                                                                                  From                              to
             1500-02 Pine Street                                                                                     1989                              January
                                                                                                                                                       2023
               City                                                 State             Zip
               Philadelphia                                         PA                19102

  Part 8:      Health Care Bankruptcies

  15. Health Care bankruptcies
  Is the debtor primarily engaged in offering services and facilities for:
         diagnosing or treating injury, deformity, or disease, or

         providing any surgical, psychiatric, drug treatment, or obstetric care?

         No. Go to part 9.

         Yes. Fill in the information below.

   Facility name and address                                                       Nature of the business operation, including type of services the              If debtor provides
                                                                                   debtor provides                                                               meals and housing,
                                                                                                                                                                 number of patients in
                                                                                                                                                                 debtor's care

  15.1
             Street

                                                                                   Location where patient records are maintained(if different from facility   How are records kept?
               City                              State       Zip                   address). If electronic, identify any service provider                     Check all that apply:
                                                                                                                                                                    Electronically

                                                                                                                                                                    Paper

  Part 9:      Personally Identifiable Information

  16. Does the debtor collect and retain personally identifiable information of customers?

         No.

         Yes. State the nature of the information collected and retained.     Student information is collected and retained, including transcripts and other
                                                                              academic records, certain housing records, health information, and other general
                                                                              personally identifiable information.
                  Does the debtor have a privacy policy about that information?
                      No

                      Yes

  17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or profit-sharing plan made
  available by the debtor as an employee benefit?
         No. Go to Part 10.
         Yes. Does the debtor serve as plan administrator?
                      No. Go to Part 10.
                      Yes. Fill in below:
Debtor    The University of the Arts_______________________________________________                 Case number (if known) 24-_____________________________________________
          Name
                                      Case 24-12140-BLS                   Doc 1            Filed 09/13/24           Page 731 of 1042

  Name of plan                                                                               Employer identification number of the plan


  Has the plan been terminated?
         No

         Yes

  Part 10:       Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

  18. Closed financial accounts
  Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold, moved, or transferred?
  Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses, cooperatives,
  associations, and other financial institutions.
         None

   Financial institution name and address                                      Last 4         Type of account               Date account was               Last balance before
                                                                               digits of                                    closed, sold, moved, or        closing or transfer
                                                                               account                                      transferred
                                                                               number

  18.1
              Name                                                           0001                Checking                  9/5/2024                                 $185,609.52
              Equiniti Trust Company, LLC
                                                                                                 Savings
              Street
              Operations Center, PO Box 500                                                      Money market
               City                           State       Zip                                    Brokerage
               Newark                         NJ          07101
                                                                                                  Other


                                                                                             Investment

  19. Safe deposit boxes
  List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.
         None

   Depository institution name and address                      Names of anyone with access to it            Description of the contents                   Does debtor still have
                                                                                                                                                           it?

  19.1
              Name                                                                                                                                           No
                                                                Address
                                                                                                                                                             Yes
              Street


               City                   State    Zip
Debtor    The University of the Arts_______________________________________________                  Case number (if known) 24-_____________________________________________
          Name
                                       Case 24-12140-BLS                   Doc 1         Filed 09/13/24              Page 732 of 1042
  20. Off-premises storage
  List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in which the debtor does
  business.
         None

   Facility name and address                                    Names of anyone with access to it             Description of the contents                   Does debtor still have
                                                                                                                                                            it?

  20.1
             Name                                              Franklyn Cantor, Chief of Staff               Digital Storage                                  No
             Google
                                                               Address
                                                                                                                                                              Yes
             Street                                            [Address on File]
             1600 Amphitheatre Parkway
             City                      State   Zip
             Mountain View             CA      94043

  20.2
             Name                                              Franklyn Cantor, Chief of Staff               Digital Storage                                  No
             Ellucian
                                                               Address
                                                                                                                                                              Yes
             Street                                            [Address on File]
             2003 Edmund Halley Drive
             City                      State   Zip
             Reston                    VA      20191

  Part 11:       Property the Debtor Holds or Controls that the Debtor Does Not Own

  21. Property held for another
  List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do not list leased or rented
  property
         None

   Owner’s name and address                                     Location of the property                      Description of the property                   Value

  21.1
                                                               SEI                                           Investments                                            $63,319,886.49
             Endowment


  21.2
                                                               Charles Schwab                                Investments                                             $1,534,143.77
             Foulke Investment Trust
             C/O Bryn Mawr Tr
             1 E Chocolate Ave
             Hershey, PA 17033


  21.3
                                                               Wells Fargo Bank                              Investments                                              $326,713.97
             John Morris Trust
             C/O Wells Fargo Wealth Management
             One West Fourth Street
             D4000-062
             Winston-Salem, NC 27101
Debtor    The University of the Arts_______________________________________________                                Case number (if known) 24-_____________________________________________
          Name
                                           Case 24-12140-BLS                          Doc 1            Filed 09/13/24               Page 733 of 1042
  Part 12:       Details About Environmental Information

  For the purpose of Part 12, the following definitions apply:
           Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the medium affected (air, land, water,
               or any other medium).


               Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly owned, operated, or utilized.

               Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a similarly harmful substance.

  Report all notices, releases, and proceedings known, regardless of when they occurred.

  22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders

         No.

         Yes. Provide details below.

   Case title                                           Court or agency name and address                                    Nature of the case                                 Status of case

  22.1
                                                        Name                                                                                                                       Pending
             Case Number
                                                                                                                                                                                   On appeal
                                                        Street
                                                                                                                                                                                   Concluded
                                                        City                                   State      Zip



  23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an environmental law?
         No

         Yes. Provide details below.

   Site name and address                                Governmental unit name and address                                  Environmental law, if known                        Date of notice

  23.1
              Name                                      Name


              Street                                    Street


               City               State   Zip           City                                   State      Zip



  24. Has the debtor notified any governmental unit of any release of hazardous material?
         No

         Yes. Provide details below.

   Site name and address                                Governmental unit name and address                                  Environmental law, if known                        Date of notice

  24.1
              Name                                      Name


              Street                                    Street


               City               State   Zip           City                                   State      Zip
Debtor    The University of the Arts_______________________________________________                 Case number (if known) 24-_____________________________________________
          Name
                                      Case 24-12140-BLS                     Doc 1         Filed 09/13/24          Page 734 of 1042
  Part 13:       Details About the Debtor's Business or Connections to Any Business

  25. Other businesses in which the debtor has or has had an interest
  List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case. Include this information even if
  already listed in the Schedules.

         None

   Business name and address                                      Describe the nature of the business                     Employer Identification number
                                                                                                                          Do not include Social Security number or ITIN.

  25.1
                                                               Not for Profit/Education                                   EIN        XX-XXXXXXX
             U of Arts Finance, LLC
             241 Little Falls Drive                                                                                       Dates business existed
             Wilmington, DE 19808                                                                                         From                         to
                                                                                                                          7/16/2024                    Present

  26. Books, records, and financial statements
  26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
         None

   Name and address                                                                                                       Dates of service

  26a.1
                                                                                                                          From                         to
             Chuck Avner, Assistant Vice President & Controller                                                           June                         Present
             [Address on File]                                                                                            2024


  26a.2
                                                                                                                          From                         to
             Eric Leal, Vice President for Finance & Administration                                                       February                     June
             [Address on File]                                                                                            2024                         2024


  26a.3
                                                                                                                          From                         to
             Bryant Morgan, Interim CFO                                                                                   April                        January
             [Address on File]                                                                                            2023                         2024


  26a.4
                                                                                                                          From                         to
             Stephen Lightcap, CFO                                                                                        Jaunary                      April
             [Address on File]                                                                                            2019                         2023

  26b. List all firms or individuals who have audited, compiled, or reviewed debtor's books of account and records or prepared a financial statement within 2 years before filing
  this case.
         None

   Name and address                                                                                                       Dates of service

  26b.1
                                                                                                                          From                         to
             Baker Tilly US LLP                                                                                           See                          Present
             PO Box 78975                                                                                                 Note
             Milwaukee, WI 53278-8975


  Note: Baker Tilly was auditor for the reporting period and longer
Debtor    The University of the Arts_______________________________________________                  Case number (if known) 24-_____________________________________________
          Name
                                        Case 24-12140-BLS                 Doc 1         Filed 09/13/24              Page 735 of 1042
  26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
         None

   Name and address                                                                                                         If any books of account and records are unavailable,
                                                                                                                            explain why

  26c.1

              Chuck Avner, Assistant Vice President & Controller
              [Address on File]


  26c.2

              Franklyn Cantor, Chief of Staff
              [Address on File]


  26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement within 2 years before
  filing this case.
         None

   Name and address

  26d.1

              See Global Notes


  27. Inventories
  Have any inventories of the debtor’s property been taken within 2 years before filing this case?
         No

         Yes. Give the details about the two most recent inventories.

   Name of the person who supervised the taking of the inventory                             Date of inventory              The dollar amount and basis (cost, market, or other
                                                                                                                            basis) of each inventory

  28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people in control of the debtor at the
  time of the filing of this case.
   Name and Address                                                                          Position and nature of any interest           % of interest, if any

  28.1
                                                                                            VP of Academic Affairs                        0
              Carol Graney [Address on File]


  28.2
                                                                                            Member, Board of Trustees                     0
              Deanna S. DeCherney [Address on File]



  28.3
                                                                                            Member, Board of Trustees                     0
              Doug Kreitzberg [Address on File]


  28.4
                                                                                            Emeritus Member, Board of Trustees            0
              Dr. Noel Mayo [Address on File]


  28.5
                                                                                            Emeritus Member, Board of Trustees            0
              Elaine Levitt [Address on File]



  28.6
                                                                                            Member, Board of Trustees                     0
              Eleanor L. Davis [Address on File]
Debtor    The University of the Arts_______________________________________________          Case number (if known) 24-_____________________________________________
          Name
                                     Case 24-12140-BLS                Doc 1       Filed 09/13/24            Page 736 of 1042

  28.7
                                                                                      Chief of Staff                            0
            Franklyn Cantor [Address on File]


  28.8
                                                                                      Member, Board of Trustees                 0
            Harriet Weiss [Address on File]


  28.9
                                                                                      Member, Board of Trustees                 0
            Joe Aristone [Address on File]


  28.10
                                                                                      Chair, Board of Trustees                  0
            Judson A. Aaron [Address on File]


  28.11
                                                                                      Member, Board of Trustees                 0
            Kenneth Wong [Address on File]


  28.12
                                                                                      Member, Board of Trustees                 0
            Larry Reichlin [Address on File]


  28.13
                                                                                      Emeritus Member, Board of Trustees        0
            Laurie Wagman [Address on File]



  28.14
                                                                                      Member, Board of Trustees                 0
            Megan Nicoletti-Walsh [Address on File]


  28.15
                                                                                      Member, Board of Trustees                 0
            Nathaniel Hamilton [Address on File]


  28.16
                                                                                      Member, Board of Trustees                 0
            Patricia Fowler [Address on File]



  28.17
                                                                                      Member, Board of Trustees                 0
            Peter Haas [Address on File]



  28.18
                                                                                      Member, Board of Trustees                 0
            Raj Tewari [Address on File]


  28.19
                                                                                      Member, Board of Trustees                 0
            Ralph Citino [Address on File]



  28.20
                                                                                      Member, Board of Trustees                 0
            Seth Lehr [Address on File]



  28.21
                                                                                      Member, Board of Trustees                 0
            Stephen Sypherd [Address on File]
Debtor    The University of the Arts_______________________________________________              Case number (if known) 24-_____________________________________________
          Name
                                        Case 24-12140-BLS               Doc 1         Filed 09/13/24             Page 737 of 1042

  28.22
                                                                                          Member, Board of Trustees                   0
              Travis Gaylord [Address on File]



  28.23
                                                                                          Secretary, Board of Trustees                0
              William Gast [Address on File]


  29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control of the debtor, or
  shareholders in control of the debtor who no longer hold these positions?
         No

         Yes. Identify below.

   Name and Address                                                                        Position and nature of any interest         Period during which position or
                                                                                                                                       interest was held

  29.1
                                                                                          Former VP of Advancement                    From                  to
              Andrew Pack [Address on File]                                                                                           January               July
                                                                                                                                      2019                  2024


  29.2
                                                                                          Former Vice Chair, Board of Trustees        From                  to
              Brian Effron [Address on File]                                                                                          2010                  8/15/2024


  29.3
                                                                                          Former Treasurer, Board of Trustees         From                  to
              Bruce Kardon [Address on File]                                                                                          2015                  7/15/2024


  29.4
                                                                                          Former Interim VP of Finance                From                  to
              Bryant Morgan [Address on File]                                                                                         April                 January
                                                                                                                                      2023                  2024

  29.5
                                                                                          Former Member, Board of Trustees            From                  to
              Ebonne Leaphart [Address on File]                                                                                       2017                  July
                                                                                                                                                            2024

  29.6
                                                                                          Former VP of Finance                        From                  to
              Eric Leal [Address on File]                                                                                             February              June
                                                                                                                                      2024                  2024

  29.7
                                                                                          Chief Restructuring Officer                 From                  to
              James Grady                                                                                                             June                  August
              c/o Alvarez & Marsal North America, LLC                                                                                 2024                  2024
              600 Madison Ave
              New York, NY 10012


  29.8
                                                                                          Former Interim President                    From                  to
              Judson A. Aaron [Address on File]                                                                                       July                  August
                                                                                                                                      2023                  2023


  29.9
                                                                                          Assistant Treasurer                         From                  to
              Katherine Gerdes                                                                                                        August                Petition
              c/o Alvarez & Marsal North America, LLC                                                                                 2024                  Date
              600 Madison Ave
              New York, NY 10012
Debtor    The University of the Arts_______________________________________________                 Case number (if known) 24-_____________________________________________
          Name
                                      Case 24-12140-BLS                   Doc 1         Filed 09/13/24              Page 738 of 1042

  29.10
                                                                                            Former President & Ex Officio Member,         From                  to
              Kerry Walk [Address on File]                                                  Board of Trustees                             August                June
                                                                                                                                          2023                  2024


  29.11
                                                                                            Chief Transition Officer                      From                  to
              Raymond Dombrowski                                                                                                          June                  Petition
              c/o Alvarez & Marsal North America, LLC                                                                                     2024                  Date
              600 Madison Ave
              New York, NY 10012


  29.12
                                                                                            Former Member, Board of Trustees              From                  to
              Ronald Naples [Address on File]                                                                                             1978                  June
                                                                                                                                                                2024


    * The University does not deem academic deans to be officers. Therefore, they are excluded from this schedule.



  30. Payments, distributions, or withdrawals credited or given to insiders
  Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses, loans, credits on loans,
  stock redemptions, and options exercised?
         No

         Yes. Identify below.

   Name and address of recipient                                              Amount of money or description and            Dates                         Reason for providing
                                                                              value of property                                                           the value

  30.1

              See SOFA 4 Attachment


   Relationship To Debtor




  31.Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
         No

         Yes. Identify below.

   Name of the parent corporation                                                                                           Employer Identification number of the parent
                                                                                                                            corporation

  31.1
                                                                                                                           EIN

  32.Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
         No

         Yes. Identify below.

   Name of the pension fund                                                                                                 Employer Identification number of the pension fund

  32.1
                                                                                                                           EIN
                                                                                         Case 24-12140-BLS            Doc 1     Filed 09/13/24     Page 739 of 1042

                                                                                                               SOFA 3 ATTACHMENT
                                                                                     Certain payments or transfers to creditors within 90 days before filing this case


   Creditor's Name (*)                         Address 1                                 Address 2                                  Address 3       City           State   ZIP          Country Reason for Payment or Transfer   Payment Date Payment Amount
   ACBS                                        c/o Berkley Specialty Insurance Company   Main Administrative Office           7233 East Butherus    Scottsdale     AZ      85260                Vendor Payments                     6/17/2024       $4,202.84
   ACBS                                        c/o Berkley Specialty Insurance Company   Main Administrative Office           7233 East Butherus    Scottsdale     AZ      85260                Vendor Payments                     7/15/2024       $5,261.52
   ACBS                                        c/o Berkley Specialty Insurance Company   Main Administrative Office           7233 East Butherus    Scottsdale     AZ      85260                Vendor Payments                     8/15/2024       $5,437.47
   ACBS Total                                                                                                                                                                                                                                      $14,901.83

   ADP, Inc.                                   PO Box 842875                                                                                        Boston         MA      02284-2875           Payroll & Related                    7/1/2024       $1,726.96
   ADP, Inc.                                   PO Box 842875                                                                                        Boston         MA      02284-2875           Payroll & Related                    7/1/2024       $3,871.03
   ADP, Inc.                                   PO Box 842875                                                                                        Boston         MA      02284-2875           Payroll & Related                    8/5/2024       $1,726.96
   ADP, Inc.                                   PO Box 842875                                                                                        Boston         MA      02284-2875           Payroll & Related                    8/5/2024       $1,369.78
   ADP, Inc.                                   PO Box 842875                                                                                        Boston         MA      02284-2875           Payroll & Related                    9/3/2024       $1,726.96
   ADP, Inc.                                   PO Box 842875                                                                                        Boston         MA      02284-2875           Payroll & Related                    9/3/2024        $622.24
   ADP, Inc. Total                                                                                                                                                                                                                                 $11,043.93

   Allied Universal                            PO Box 828854                                                                                        Philadelphia   PA      19182-8854           Vendor Payments                     7/12/2024     $157,310.72
   Allied Universal                            PO Box 828854                                                                                        Philadelphia   PA      19182-8854           Vendor Payments                     8/15/2024     $118,106.72
   Allied Universal                            PO Box 828854                                                                                        Philadelphia   PA      19182-8854           Vendor Payments                      9/5/2024     $126,966.09
   Allied Universal Total                                                                                                                                                                                                                         $402,383.53

   Aramark                                     Aramark Dallas Lockbox                    PO Box 978839                                              Dallas         TX      75397-8839           Vendor Payments                      7/5/2024     $224,000.00
   Aramark                                     Aramark Dallas Lockbox                    PO Box 978839                                              Dallas         TX      75397-8839           Vendor Payments                     8/12/2024     $224,000.00
   Aramark                                     Aramark Dallas Lockbox                    PO Box 978839                                              Dallas         TX      75397-8839           Vendor Payments                      9/6/2024     $224,000.00
   Aramark Total                                                                                                                                                                                                                                  $672,000.00

   Ballard Spahr                               PO Box 825465                                                                                        Philadelphia   PA      19182-5465           Professional Fees                   7/19/2024     $200,050.27
   Ballard Spahr                               PO Box 825465                                                                                        Philadelphia   PA      19182-5465           Professional Fees                   7/26/2024       $5,000.00
   Ballard Spahr                               PO Box 825465                                                                                        Philadelphia   PA      19182-5465           Professional Fees                   8/16/2024       $5,000.00
   Ballard Spahr                               PO Box 825465                                                                                        Philadelphia   PA      19182-5465           Professional Fees                   9/10/2024       $5,000.00
   Ballard Spahr Total                         PO Box 825465                                                                                        Philadelphia   PA      19182-5465                                                             $215,050.27

   Berkley Specialty Insurance Company         c/o Berkley Specialty Insurance Company   Main Administrative Office           7233 East Butherus    Scottsdale     AZ      85260                Vendor Payments                     6/17/2024       $4,202.84
   Berkley Specialty Insurance Company         c/o Berkley Specialty Insurance Company   Main Administrative Office           7233 East Butherus    Scottsdale     AZ      85260                Vendor Payments                     7/15/2024       $5,261.52
   Berkley Specialty Insurance Company         c/o Berkley Specialty Insurance Company   Main Administrative Office           7233 East Butherus    Scottsdale     AZ      85260                Insurance Premiums                  8/14/2024      $17,372.40
   Berkley Specialty Insurance Company         c/o Berkley Specialty Insurance Company   Main Administrative Office           7233 East Butherus    Scottsdale     AZ      85260                Vendor Payments                     8/15/2024       $5,437.47
   Berkley Specialty Insurance Company         c/o Berkley Specialty Insurance Company   Main Administrative Office           7233 East Butherus    Scottsdale     AZ      85260                Vendor Payments                      9/9/2024       $5,775.00
   Berkley Specialty Insurance Company Total                                                                                                                                                                                                       $38,049.23

   BSIC Financial Bank                         c/o Berkley Specialty Insurance Company Main Administrative Office             7233 East Butherus    Scottsdale     AZ      85260                Insurance Premiums                  8/14/2024      $17,372.40
   BSIC Financial Bank Total                                                                                                                                                                                                                       $17,372.40

   Buckeye Telecom                             1 Miranova Place                                                                                     Columbus       OH      43215                Vendor Payments                     7/18/2024      $10,759.59
   Buckeye Telecom Total                                                                                                                                                                                                                           $10,759.59

   C. Erickson And Sons, Inc.                  2200 Arch St                              Ste 200                                                    Philadelphia   PA      19103                Vendor Payments                     7/19/2024     $100,000.00
   C. Erickson And Sons, Inc.                  2200 Arch St                              Ste 200                                                    Philadelphia   PA      19103                Vendor Payments                     7/26/2024      $75,171.18
   C. Erickson And Sons, Inc.                  2200 Arch St                              Ste 200                                                    Philadelphia   PA      19103                Vendor Payments                     8/15/2024     $141,712.11
   C. Erickson And Sons, Inc.                  2200 Arch St                              Ste 200                                                    Philadelphia   PA      19103                Vendor Payments                     8/23/2024     $141,712.11
   C. Erickson And Sons, Inc.                  2200 Arch St                              Ste 200                                                    Philadelphia   PA      19103                Vendor Payments                     9/11/2024     $283,424.22
   C. Erickson And Sons, Inc. Total                                                                                                                                                                                                               $742,019.62

   CBRE                                        50 South 16th Street, Suite 3000          Suite 3000                                                 Philadelphia   PA      19102                Vendor Payments                     8/15/2024      $30,000.00
   CBRE Total                                                                                                                                                                                                                                      $30,000.00

   City Of Philadelphia                        1401 John F Kennedy Boulevardfl 6                                                                    Philadelphia   PA      19102-1617           Vendor Payments                     6/26/2024       $5,957.10
   City Of Philadelphia                        1401 John F Kennedy Boulevardfl 6                                                                    Philadelphia   PA      19102-1617           Vendor Payments                     6/26/2024          $78.03
   City Of Philadelphia                        1401 John F Kennedy Boulevardfl 6                                                                    Philadelphia   PA      19102-1617           Vendor Payments                     6/26/2024          $78.03
   City Of Philadelphia                        1401 John F Kennedy Boulevardfl 6                                                                    Philadelphia   PA      19102-1617           Vendor Payments                     6/26/2024          $51.85
   City Of Philadelphia                        1401 John F Kennedy Boulevardfl 6                                                                    Philadelphia   PA      19102-1617           Vendor Payments                     6/26/2024          $51.85
   City Of Philadelphia                        1401 John F Kennedy Boulevardfl 6                                                                    Philadelphia   PA      19102-1617           Vendor Payments                     6/26/2024          $51.85
   City Of Philadelphia                        1401 John F Kennedy Boulevardfl 6                                                                    Philadelphia   PA      19102-1617           Vendor Payments                     6/26/2024          $51.85
   City Of Philadelphia                        1401 John F Kennedy Boulevardfl 6                                                                    Philadelphia   PA      19102-1617           Vendor Payments                      7/9/2024        $487.62
   City Of Philadelphia                        1401 John F Kennedy Boulevardfl 6                                                                    Philadelphia   PA      19102-1617           Vendor Payments                     7/16/2024       $4,803.47
   City Of Philadelphia                        1401 John F Kennedy Boulevardfl 6                                                                    Philadelphia   PA      19102-1617           Vendor Payments                     7/16/2024       $1,818.13
   City Of Philadelphia                        1401 John F Kennedy Boulevardfl 6                                                                    Philadelphia   PA      19102-1617           Vendor Payments                     7/16/2024        $487.62
   City Of Philadelphia                        1401 John F Kennedy Boulevardfl 6                                                                    Philadelphia   PA      19102-1617           Vendor Payments                     7/16/2024          $78.03




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                                                                                                  SOFA 3 ATTACHMENT
                                                                        Certain payments or transfers to creditors within 90 days before filing this case


   Creditor's Name (*)              Address 1                              Address 2                              Address 3        City           State     ZIP        Country   Reason for Payment or Transfer   Payment Date Payment Amount
   City Of Philadelphia             1401 John F Kennedy Boulevardfl 6                                                              Philadelphia   PA        19102-1617           Utilities                           7/26/2024         $159.28
   City Of Philadelphia             1401 John F Kennedy Boulevardfl 6                                                              Philadelphia   PA        19102-1617           Utilities                           7/26/2024       $4,587.81
   City Of Philadelphia             1401 John F Kennedy Boulevardfl 6                                                              Philadelphia   PA        19102-1617           Utilities                           7/26/2024         $308.06
   City Of Philadelphia             1401 John F Kennedy Boulevardfl 6                                                              Philadelphia   PA        19102-1617           Utilities                           7/26/2024         $997.63
   City Of Philadelphia             1401 John F Kennedy Boulevardfl 6                                                              Philadelphia   PA        19102-1617           Utilities                           7/26/2024         $466.11
   City Of Philadelphia             1401 John F Kennedy Boulevardfl 6                                                              Philadelphia   PA        19102-1617           Utilities                           7/26/2024       $1,300.92
   City Of Philadelphia             1401 John F Kennedy Boulevardfl 6                                                              Philadelphia   PA        19102-1617           Utilities                           7/26/2024       $3,637.88
   City Of Philadelphia             1401 John F Kennedy Boulevardfl 6                                                              Philadelphia   PA        19102-1617           Utilities                           7/26/2024       $2,853.79
   City Of Philadelphia             1401 John F Kennedy Boulevardfl 6                                                              Philadelphia   PA        19102-1617           Utilities                           7/26/2024       $1,158.62
   City Of Philadelphia             1401 John F Kennedy Boulevardfl 6                                                              Philadelphia   PA        19102-1617           Utilities                           7/26/2024         $915.39
   City Of Philadelphia             1401 John F Kennedy Boulevardfl 6                                                              Philadelphia   PA        19102-1617           Utilities                           7/26/2024         $137.94
   City Of Philadelphia             1401 John F Kennedy Boulevardfl 6                                                              Philadelphia   PA        19102-1617           Utilities                           8/15/2024          $78.03
   City Of Philadelphia             1401 John F Kennedy Boulevardfl 6                                                              Philadelphia   PA        19102-1617           Utilities                           8/15/2024          $78.03
   City Of Philadelphia             1401 John F Kennedy Boulevardfl 6                                                              Philadelphia   PA        19102-1617           Utilities                           8/15/2024          $51.85
   City Of Philadelphia             1401 John F Kennedy Boulevardfl 6                                                              Philadelphia   PA        19102-1617           Utilities                           8/15/2024          $51.85
   City Of Philadelphia             1401 John F Kennedy Boulevardfl 6                                                              Philadelphia   PA        19102-1617           Utilities                           8/15/2024          $51.85
   City Of Philadelphia             1401 John F Kennedy Boulevardfl 6                                                              Philadelphia   PA        19102-1617           Utilities                           8/15/2024         $487.62
   City Of Philadelphia             1401 John F Kennedy Boulevardfl 6                                                              Philadelphia   PA        19102-1617           Vendor Payments                     8/26/2024         $300.00
   City of Philadelphia             1401 John F Kennedy Boulevardfl 6                                                              Philadelphia   PA        19102-1617           Utilities                            9/5/2024       $1,488.71
   City of Philadelphia             1401 John F Kennedy Boulevardfl 6                                                              Philadelphia   PA        19102-1617           Utilities                            9/5/2024       $1,530.14
   City of Philadelphia             1401 John F Kennedy Boulevardfl 6                                                              Philadelphia   PA        19102-1617           Utilities                            9/5/2024       $2,030.20
   City of Philadelphia             1401 John F Kennedy Boulevardfl 6                                                              Philadelphia   PA        19102-1617           Utilities                            9/5/2024         $444.08
   City of Philadelphia             1401 John F Kennedy Boulevardfl 6                                                              Philadelphia   PA        19102-1617           Utilities                            9/5/2024         $777.96
   City of Philadelphia             1401 John F Kennedy Boulevardfl 6                                                              Philadelphia   PA        19102-1617           Utilities                            9/5/2024       $1,094.57
   City of Philadelphia             1401 John F Kennedy Boulevardfl 6                                                              Philadelphia   PA        19102-1617           Utilities                            9/5/2024          $78.04
   City of Philadelphia             1401 John F Kennedy Boulevardfl 6                                                              Philadelphia   PA        19102-1617           Utilities                            9/5/2024          $51.86
   City of Philadelphia             1401 John F Kennedy Boulevardfl 6                                                              Philadelphia   PA        19102-1617           Utilities                            9/5/2024          $51.86
   City of Philadelphia             1401 John F Kennedy Boulevardfl 6                                                              Philadelphia   PA        19102-1617           Utilities                            9/5/2024          $51.86
   City of Philadelphia             1401 John F Kennedy Boulevardfl 6                                                              Philadelphia   PA        19102-1617           Utilities                            9/5/2024          $51.86
   City Of Philadelphia Total                                                                                                                                                                                                       $39,269.23

   Cooley LLP                       3 Embarcadero Center                   20th Floor                                              San Francisco CA         94111-4004           Professional Fees                   6/12/2024      $20,000.00
   Cooley LLP Total                                                                                                                                                                                                                 $20,000.00

   Cozen O'Connor                   1200 19th Street NW                                                                            Washington     DC        20036                Professional Fees                   7/26/2024     $204,703.30
   Cozen O'Connor                   1200 19th Street NW                                                                            Washington     DC        20036                Professional Fees                   9/11/2024     $115,000.00
   Cozen O'Connor Total                                                                                                                                                                                                            $319,703.30

   Crown Castle Fiber LLC           PO Box 32102                                                                                   New York       NY        10087-2102           Utilities                           7/26/2024      $10,875.32
   Crown Castle Fiber LLC           PO Box 32102                                                                                   New York       NY        10087-2102           Vendor Payments                     8/22/2024      $37,189.02
   Crown Castle Fiber LLC Total                                                                                                                                                                                                     $48,064.34

   Ellucian                         62578 Collections Center Dr.                                                                   Chicago        IL        60693                Vendor Payments                     7/16/2024      $79,619.52
   Ellucian                         62578 Collections Center Dr.                                                                   Chicago        IL        60693                Vendor Payments                     7/16/2024      $79,619.52
   Ellucian Total                                                                                                                                                                                                                  $159,239.04

   Heartland Payment Systems, LLC   3550 Lenox Rd NE, Suite 3000                                                                   Atlanta        GA        30326                Vendor Payments                     6/10/2024       $3,375.00
   Heartland Payment Systems, LLC   3550 Lenox Rd NE, Suite 3000                                                                   Atlanta        GA        30326                Vendor Payments                     6/10/2024       $2,250.00
   Heartland Payment Systems, LLC   3550 Lenox Rd NE, Suite 3000                                                                   Atlanta        GA        30326                Vendor Payments                     6/10/2024       $1,125.00
   Heartland Payment Systems, LLC   3550 Lenox Rd NE, Suite 3000                                                                   Atlanta        GA        30326                Vendor Payments                     6/10/2024       $1,100.00
   Heartland Payment Systems, LLC   3550 Lenox Rd NE, Suite 3000                                                                   Atlanta        GA        30326                Vendor Payments                     6/10/2024       $1,000.00
   Heartland Payment Systems, LLC   3550 Lenox Rd NE, Suite 3000                                                                   Atlanta        GA        30326                Vendor Payments                     6/12/2024       $1,125.00
   Heartland Payment Systems, LLC   3550 Lenox Rd NE, Suite 3000                                                                   Atlanta        GA        30326                Vendor Payments                     6/13/2024       $2,250.00
   Heartland Payment Systems, LLC   3550 Lenox Rd NE, Suite 3000                                                                   Atlanta        GA        30326                Vendor Payments                     6/14/2024       $2,000.00
   Heartland Payment Systems, LLC   3550 Lenox Rd NE, Suite 3000                                                                   Atlanta        GA        30326                Vendor Payments                     6/14/2024       $1,900.00
   Heartland Payment Systems, LLC   3550 Lenox Rd NE, Suite 3000                                                                   Atlanta        GA        30326                Vendor Payments                     6/14/2024       $1,000.00
   Heartland Payment Systems, LLC   3550 Lenox Rd NE, Suite 3000                                                                   Atlanta        GA        30326                Vendor Payments                     6/14/2024        $575.00
   Heartland Payment Systems, LLC   3550 Lenox Rd NE, Suite 3000                                                                   Atlanta        GA        30326                Vendor Payments                     6/17/2024       $4,500.00
   Heartland Payment Systems, LLC   3550 Lenox Rd NE, Suite 3000                                                                   Atlanta        GA        30326                Vendor Payments                     6/17/2024       $2,300.00
   Heartland Payment Systems, LLC   3550 Lenox Rd NE, Suite 3000                                                                   Atlanta        GA        30326                Vendor Payments                     6/17/2024       $2,250.00
   Heartland Payment Systems, LLC   3550 Lenox Rd NE, Suite 3000                                                                   Atlanta        GA        30326                Vendor Payments                     6/17/2024       $2,200.00
   Heartland Payment Systems, LLC   3550 Lenox Rd NE, Suite 3000                                                                   Atlanta        GA        30326                Vendor Payments                     6/17/2024       $2,200.00
   Heartland Payment Systems, LLC   3550 Lenox Rd NE, Suite 3000                                                                   Atlanta        GA        30326                Vendor Payments                     6/17/2024       $2,000.00
   Heartland Payment Systems, LLC   3550 Lenox Rd NE, Suite 3000                                                                   Atlanta        GA        30326                Vendor Payments                     6/17/2024       $1,150.00
   Heartland Payment Systems, LLC   3550 Lenox Rd NE, Suite 3000                                                                   Atlanta        GA        30326                Vendor Payments                     6/17/2024       $1,125.00




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                                                                                                                        SOFA 3 ATTACHMENT
                                                                                              Certain payments or transfers to creditors within 90 days before filing this case


   Creditor's Name (*)                                     Address 1                             Address 2                                 Address 3     City           State     ZIP          Country Reason for Payment or Transfer   Payment Date Payment Amount
   Heartland Payment Systems, LLC                          3550 Lenox Rd NE, Suite 3000                                                                  Atlanta        GA        30326                Vendor Payments                     6/17/2024       $1,000.00
   Heartland Payment Systems, LLC                          3550 Lenox Rd NE, Suite 3000                                                                  Atlanta        GA        30326                Vendor Payments                     6/20/2024         $575.00
   Heartland Payment Systems, LLC                          3550 Lenox Rd NE, Suite 3000                                                                  Atlanta        GA        30326                Vendor Payments                     6/20/2024       $1,125.00
   Heartland Payment Systems, LLC                          3550 Lenox Rd NE, Suite 3000                                                                  Atlanta        GA        30326                Vendor Payments                     6/20/2024       $1,900.00
   Heartland Payment Systems, LLC                          3550 Lenox Rd NE, Suite 3000                                                                  Atlanta        GA        30326                Vendor Payments                     6/20/2024       $2,250.00
   Heartland Payment Systems, LLC                          3550 Lenox Rd NE, Suite 3000                                                                  Atlanta        GA        30326                Vendor Payments                     6/20/2024       $2,250.00
   Heartland Payment Systems, LLC                          3550 Lenox Rd NE, Suite 3000                                                                  Atlanta        GA        30326                Vendor Payments                     6/20/2024       $2,325.00
   Heartland Payment Systems, LLC                          3550 Lenox Rd NE, Suite 3000                                                                  Atlanta        GA        30326                Vendor Payments                     6/20/2024       $3,375.00
   Heartland Payment Systems, LLC                          3550 Lenox Rd NE, Suite 3000                                                                  Atlanta        GA        30326                Vendor Payments                     6/20/2024       $4,000.00
   Heartland Payment Systems, LLC                          3550 Lenox Rd NE, Suite 3000                                                                  Atlanta        GA        30326                Vendor Payments                     6/21/2024         $420.55
   Heartland Payment Systems, LLC                          3550 Lenox Rd NE, Suite 3000                                                                  Atlanta        GA        30326                Vendor Payments                     6/21/2024         $666.13
   Heartland Payment Systems, LLC                          3550 Lenox Rd NE, Suite 3000                                                                  Atlanta        GA        30326                Vendor Payments                     6/21/2024         $904.53
   Heartland Payment Systems, LLC                          3550 Lenox Rd NE, Suite 3000                                                                  Atlanta        GA        30326                Vendor Payments                     6/21/2024         $975.42
   Heartland Payment Systems, LLC                          3550 Lenox Rd NE, Suite 3000                                                                  Atlanta        GA        30326                Vendor Payments                     6/21/2024       $1,028.71
   Heartland Payment Systems, LLC                          3550 Lenox Rd NE, Suite 3000                                                                  Atlanta        GA        30326                Vendor Payments                     6/21/2024       $1,031.08
   Heartland Payment Systems, LLC                          3550 Lenox Rd NE, Suite 3000                                                                  Atlanta        GA        30326                Vendor Payments                     6/21/2024       $1,111.79
   Heartland Payment Systems, LLC                          3550 Lenox Rd NE, Suite 3000                                                                  Atlanta        GA        30326                Vendor Payments                     6/21/2024       $2,301.89
   Heartland Payment Systems, LLC                          3550 Lenox Rd NE, Suite 3000                                                                  Atlanta        GA        30326                Vendor Payments                     6/21/2024       $2,305.69
   Heartland Payment Systems, LLC                          3550 Lenox Rd NE, Suite 3000                                                                  Atlanta        GA        30326                Vendor Payments                     6/21/2024       $3,200.14
   Heartland Payment Systems, LLC                          3550 Lenox Rd NE, Suite 3000                                                                  Atlanta        GA        30326                Vendor Payments                     6/21/2024       $4,799.02
   Heartland Payment Systems, LLC                          3550 Lenox Rd NE, Suite 3000                                                                  Atlanta        GA        30326                Vendor Payments                     6/21/2024       $5,200.36
   Heartland Payment Systems, LLC                          3550 Lenox Rd NE, Suite 3000                                                                  Atlanta        GA        30326                Vendor Payments                     6/21/2024       $7,000.00
   Heartland Payment Systems, LLC                          3550 Lenox Rd NE, Suite 3000                                                                  Atlanta        GA        30326                Vendor Payments                     6/21/2024       $9,054.69
   Heartland Payment Systems, LLC                          3550 Lenox Rd NE, Suite 3000                                                                  Atlanta        GA        30326                Vendor Payments                     6/21/2024      $10,000.00
   Heartland Payment Systems, LLC                          3550 Lenox Rd NE, Suite 3000                                                                  Atlanta        GA        30326                Vendor Payments                     6/25/2024       $3,375.00
   Heartland Payment Systems, LLC                          3550 Lenox Rd NE, Suite 3000                                                                  Atlanta        GA        30326                Vendor Payments                     6/25/2024       $2,850.00
   Heartland Payment Systems, LLC                          3550 Lenox Rd NE, Suite 3000                                                                  Atlanta        GA        30326                Vendor Payments                     6/25/2024       $2,325.00
   Heartland Payment Systems, LLC                          3550 Lenox Rd NE, Suite 3000                                                                  Atlanta        GA        30326                Vendor Payments                     6/25/2024       $2,250.00
   Heartland Payment Systems, LLC                          3550 Lenox Rd NE, Suite 3000                                                                  Atlanta        GA        30326                Vendor Payments                     6/25/2024       $2,250.00
   Heartland Payment Systems, LLC                          3550 Lenox Rd NE, Suite 3000                                                                  Atlanta        GA        30326                Vendor Payments                     6/25/2024       $2,200.00
   Heartland Payment Systems, LLC                          3550 Lenox Rd NE, Suite 3000                                                                  Atlanta        GA        30326                Vendor Payments                     6/25/2024       $1,800.00
   Heartland Payment Systems, LLC                          3550 Lenox Rd NE, Suite 3000                                                                  Atlanta        GA        30326                Vendor Payments                     6/25/2024       $1,650.00
   Heartland Payment Systems, LLC                          3550 Lenox Rd NE, Suite 3000                                                                  Atlanta        GA        30326                Vendor Payments                     6/25/2024       $1,150.00
   Heartland Payment Systems, LLC                          3550 Lenox Rd NE, Suite 3000                                                                  Atlanta        GA        30326                Vendor Payments                     6/25/2024       $1,150.00
   Heartland Payment Systems, LLC                          3550 Lenox Rd NE, Suite 3000                                                                  Atlanta        GA        30326                Vendor Payments                     6/25/2024       $1,125.00
   Heartland Payment Systems, LLC                          3550 Lenox Rd NE, Suite 3000                                                                  Atlanta        GA        30326                Vendor Payments                     6/25/2024       $1,100.00
   Heartland Payment Systems, LLC                          3550 Lenox Rd NE, Suite 3000                                                                  Atlanta        GA        30326                Vendor Payments                     6/25/2024       $1,100.00
   Heartland Payment Systems, LLC                          3550 Lenox Rd NE, Suite 3000                                                                  Atlanta        GA        30326                Vendor Payments                     6/25/2024       $1,050.00
   Heartland Payment Systems, LLC                          3550 Lenox Rd NE, Suite 3000                                                                  Atlanta        GA        30326                Vendor Payments                     6/25/2024         $509.94
   Heartland Payment Systems, LLC Total                                                                                                                                                                                                                  $130,109.94

   Klehr, Harrison, Harvey, Branzburg & Ellers LLP         1835 Market St Ste 1400                                                                       Philadelphia   PA        19103-2945                                               7/19/2024      $70,000.00
   Klehr, Harrison, Harvey, Branzburg & Ellers LLP Total   1835 Market St Ste 1400                                                                       Philadelphia   PA        19103-2945                                                              $70,000.00

   Kramer Levin Naftalis & Frankel, LLP                    1177 Avenue of the Americas                                                                   New York       NY        10036                                                    7/19/2024    $1,700,000.00
   Kramer Levin Naftalis & Frankel, LLP Total              1177 Avenue of the Americas                                                                   New York       NY        10036                                                                 $1,700,000.00

   Littler Mendelson PC                                    Three Parkway, 1601 Cherry Stree      Suite 1400                                              Philadelphia   PA        19102-1321           Professional Fees                   7/26/2024      $86,434.45
   Littler Mendelson PC                                    Three Parkway, 1601 Cherry Stree      Suite 1400                                              Philadelphia   PA        19102-1321           Professional Fees                   7/26/2024      $17,657.90
   Littler Mendelson PC                                    Three Parkway, 1601 Cherry Stree      Suite 1400                                              Philadelphia   PA        19102-1321           Professional Fees                   7/26/2024      $23,587.05
   Littler Mendelson PC                                    Three Parkway, 1601 Cherry Stree      Suite 1400                                              Philadelphia   PA        19102-1321           Professional Fees                   9/11/2024      $20,000.00
   Littler Mendelson PC Total                                                                                                                                                                                                                            $147,679.40

   Longino Public Finance                                  1401 Lawrence Street                  Suite 1600                                              Denver         CO        80202                Professional Fees                   7/19/2024      $68,167.00
   Longino Public Finance Total                                                                                                                                                                                                                           $68,167.00

   McClintock & Associates PC                              1370 Washington Pike                                                                          Bridgeville    PA        15107                Vendor Payments                      9/5/2024      $30,000.00
   McClintock & Associates PC Total                                                                                                                                                                                                                       $30,000.00

   Padliuccon                                              Department of Labor & Industry        Office of UC Tax Services           651 Boas Street     Harrisburg     pa        17121-0750           Payroll & Related                   6/14/2024       $2,543.49
   Padliuccon                                              Department of Labor & Industry        Office of UC Tax Services           651 Boas Street     Harrisburg     pa        17121-0750           Payroll & Related                   7/18/2024      $36,598.11
   Padliuccon Total                                                                                                                                                                                                                                       $39,141.60

   PAISBOA Health Benefit Trust                            301 Iven Avenue                       Ste 315                                                 Wayne          PA        19087                Payroll & Related                   6/26/2024     $180,611.90
   PAISBOA Health Benefit Trust                            301 Iven Avenue                       Ste 315                                                 Wayne          PA        19087                Payroll & Related                   6/28/2024     $180,611.90




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                                                                                             SOFA 3 ATTACHMENT
                                                                   Certain payments or transfers to creditors within 90 days before filing this case


   Creditor's Name (*)                    Address 1                   Address 2                              Address 3        City           State     ZIP          Country Reason for Payment or Transfer   Payment Date Payment Amount
   PAISBOA Health Benefit Trust           301 Iven Avenue             Ste 315                                                 Wayne          PA        19087                Payroll & Related                   7/30/2024     $169,133.06
   PAISBOA Health Benefit Trust           301 Iven Avenue             Ste 315                                                 Wayne          PA        19087                Payroll & Related                   8/26/2024      $10,543.36
   PAISBOA Health Benefit Trust           301 Iven Avenue             Ste 315                                                 Wayne          PA        19087                Vendor Payments                     9/11/2024       $1,066.25
   PAISBOA Health Benefit Trust           301 Iven Avenue             Ste 315                                                 Wayne          PA        19087                Vendor Payments                     9/12/2024      $21,417.04
   PAISBOA Health Benefit Trust Total                                                                                                                                                                                         $563,383.51

   Peco Energy Company                    2301 Market St # S14-2                                                              Philadelphia   PA        19103-1338           Vendor Payments                     6/26/2024        $727.87
   Peco Energy Company                    2301 Market St # S14-2                                                              Philadelphia   PA        19103-1338           Vendor Payments                     6/26/2024        $236.29
   Peco Energy Company                    2301 Market St # S14-2                                                              Philadelphia   PA        19103-1338           Utilities                           7/26/2024     $112,408.40
   Peco Energy Company                    2301 Market St # S14-2                                                              Philadelphia   PA        19103-1338           Vendor Payments                      8/5/2024      $17,908.36
   Peco Energy Company                    2301 Market St # S14-2                                                              Philadelphia   PA        19103-1338           Utilities                           8/15/2024       $1,471.33
   Peco Energy Company                    2301 Market St # S14-2                                                              Philadelphia   PA        19103-1338           Utilities                           8/15/2024        $677.97
   Peco Energy Company                    2301 Market St # S14-2                                                              Philadelphia   PA        19103-1338           Utilities                           8/15/2024      $42,330.43
   Peco Energy Company                    2301 Market St # S14-2                                                              Philadelphia   PA        19103-1338           Utilities                           8/15/2024       $5,920.95
   Peco Energy Company                    2301 Market St # S14-2                                                              Philadelphia   PA        19103-1338           Utilities                            9/5/2024      $42,175.36
   Peco Energy Company                    2301 Market St # S14-2                                                              Philadelphia   PA        19103-1338           Utilities                            9/5/2024        $720.38
   Peco Energy Company                    2301 Market St # S14-2                                                              Philadelphia   PA        19103-1338           Utilities                            9/5/2024        $303.10
   Peco Energy Company Total                                                                                                                                                                                                  $224,880.44

   Philadelphia Insurance Company         One Bala Plaza              Ste 100                                                 Bala Cynwyd    PA        19004                Insurance Premiums                   7/1/2024      $32,572.25
   Philadelphia Insurance Company         One Bala Plaza              Ste 100                                                 Bala Cynwyd    PA        19004                Insurance Premiums                  7/31/2024      $35,245.50
   Philadelphia Insurance Company         One Bala Plaza              Ste 100                                                 Bala Cynwyd    PA        19004                Utilities                           8/15/2024      $16,731.67
   Philadelphia Insurance Company Total                                                                                                                                                                                        $84,549.42

   PlanSource                             PO Box 1313                                                                         Orlando        FL        32802                Payroll & Related                   6/10/2024       $1,368.07
   PlanSource                             PO Box 1313                                                                         Orlando        FL        32802                Payroll & Related                   6/11/2024       $7,292.51
   PlanSource                             PO Box 1313                                                                         Orlando        FL        32802                Payroll & Related                   6/12/2024          $76.09
   PlanSource                             PO Box 1313                                                                         Orlando        FL        32802                Payroll & Related                   6/13/2024        $242.00
   PlanSource                             PO Box 1313                                                                         Orlando        FL        32802                Payroll & Related                   6/14/2024       $5,184.14
   PlanSource                             PO Box 1313                                                                         Orlando        FL        32802                Payroll & Related                   6/17/2024        $545.10
   Plansource                             PO Box 1313                                                                         Orlando        FL        32802                Payroll & Related                   6/17/2024      $10,625.79
   PlanSource                             PO Box 1313                                                                         Orlando        FL        32802                Payroll & Related                   6/18/2024       $2,256.90
   PlanSource                             PO Box 1313                                                                         Orlando        FL        32802                Payroll & Related                   6/20/2024          $33.01
   PlanSource                             PO Box 1313                                                                         Orlando        FL        32802                Payroll & Related                   6/21/2024        $779.71
   PlanSource                             PO Box 1313                                                                         Orlando        FL        32802                Payroll & Related                   6/24/2024          $51.93
   PlanSource                             PO Box 1313                                                                         Orlando        FL        32802                Payroll & Related                   6/25/2024        $378.34
   PlanSource                             PO Box 1313                                                                         Orlando        FL        32802                Payroll & Related                   6/26/2024          $18.00
   PlanSource                             PO Box 1313                                                                         Orlando        FL        32802                Payroll & Related                   6/27/2024        $772.67
   PlanSource                             PO Box 1313                                                                         Orlando        FL        32802                Payroll & Related                   6/28/2024       $1,152.37
   Plansource                             PO Box 1313                                                                         Orlando        FL        32802                Payroll & Related                   6/28/2024       $1,349.99
   PlanSource                             PO Box 1313                                                                         Orlando        FL        32802                Payroll & Related                    7/1/2024        $486.95
   PlanSource                             PO Box 1313                                                                         Orlando        FL        32802                Payroll & Related                    7/2/2024       $1,894.86
   PlanSource                             PO Box 1313                                                                         Orlando        FL        32802                Payroll & Related                    7/3/2024        $195.63
   PlanSource                             PO Box 1313                                                                         Orlando        FL        32802                Payroll & Related                    7/5/2024        $336.61
   PlanSource                             PO Box 1313                                                                         Orlando        FL        32802                Payroll & Related                    7/8/2024       $4,306.94
   PlanSource                             PO Box 1313                                                                         Orlando        FL        32802                Payroll & Related                    7/9/2024          $20.80
   PlanSource                             PO Box 1313                                                                         Orlando        FL        32802                Payroll & Related                   7/10/2024          $90.28
   PlanSource                             PO Box 1313                                                                         Orlando        FL        32802                Payroll & Related                   7/11/2024        $493.98
   PlanSource                             PO Box 1313                                                                         Orlando        FL        32802                Payroll & Related                   7/12/2024       $1,153.54
   PlanSource                             PO Box 1313                                                                         Orlando        FL        32802                Payroll & Related                   7/15/2024        $217.19
   Plansource                             PO Box 1313                                                                         Orlando        FL        32802                Payroll & Related                   7/15/2024      $10,786.15
   PlanSource                             PO Box 1313                                                                         Orlando        FL        32802                Payroll & Related                   7/16/2024        $461.20
   PlanSource                             PO Box 1313                                                                         Orlando        FL        32802                Payroll & Related                   7/17/2024          $68.02
   PlanSource                             PO Box 1313                                                                         Orlando        FL        32802                Payroll & Related                   7/18/2024        $147.50
   PlanSource                             PO Box 1313                                                                         Orlando        FL        32802                Payroll & Related                   7/19/2024        $232.10
   PlanSource                             PO Box 1313                                                                         Orlando        FL        32802                Payroll & Related                   7/23/2024        $595.87
   PlanSource                             PO Box 1313                                                                         Orlando        FL        32802                Payroll & Related                   7/25/2024        $940.05
   PlanSource                             PO Box 1313                                                                         Orlando        FL        32802                Payroll & Related                   7/26/2024          $55.98
   PlanSource                             PO Box 1313                                                                         Orlando        FL        32802                Payroll & Related                   7/29/2024          $45.00
   PlanSource                             PO Box 1313                                                                         Orlando        FL        32802                Payroll & Related                   7/30/2024        $709.00
   Plansource                             PO Box 1313                                                                         Orlando        FL        32802                Payroll & Related                   7/31/2024       $1,354.85
   PlanSource                             PO Box 1313                                                                         Orlando        FL        32802                Payroll & Related                    8/1/2024          $60.69
   PlanSource                             PO Box 1313                                                                         Orlando        FL        32802                Payroll & Related                    8/5/2024          $23.00
   PlanSource                             PO Box 1313                                                                         Orlando        FL        32802                Payroll & Related                    8/6/2024        $839.49
   PlanSource                             PO Box 1313                                                                         Orlando        FL        32802                Payroll & Related                    8/9/2024          $57.78




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                                                                                                            SOFA 3 ATTACHMENT
                                                                                  Certain payments or transfers to creditors within 90 days before filing this case


   Creditor's Name (*)                                Address 1                      Address 2                              Address 3        City           State     ZIP     Country Reason for Payment or Transfer   Payment Date Payment Amount
   PlanSource                                         PO Box 1313                                                                            Orlando        FL        32802           Payroll & Related                   8/12/2024          $67.00
   PlanSource                                         PO Box 1313                                                                            Orlando        FL        32802           Payroll & Related                   8/13/2024         $650.87
   PlanSource                                         PO Box 1313                                                                            Orlando        FL        32802           Payroll & Related                   8/14/2024          $90.00
   PlanSource                                         PO Box 1313                                                                            Orlando        FL        32802           Payroll & Related                   8/15/2024         $428.22
   Plansource                                         PO Box 1313                                                                            Orlando        FL        32802           Payroll & Related                   8/15/2024      $10,851.73
   PlanSource                                         PO Box 1313                                                                            Orlando        FL        32802           Payroll & Related                   8/16/2024          $51.65
   PlanSource                                         PO Box 1313                                                                            Orlando        FL        32802           Payroll & Related                   8/19/2024          $75.00
   PlanSource                                         PO Box 1313                                                                            Orlando        FL        32802           Payroll & Related                   8/20/2024         $215.19
   PlanSource                                         PO Box 1313                                                                            Orlando        FL        32802           Payroll & Related                   8/21/2024         $149.71
   PlanSource                                         PO Box 1313                                                                            Orlando        FL        32802           Payroll & Related                   8/22/2024       $2,526.69
   PlanSource                                         PO Box 1313                                                                            Orlando        FL        32802           Payroll & Related                   8/23/2024          $64.06
   PlanSource                                         PO Box 1313                                                                            Orlando        FL        32802           Payroll & Related                   8/26/2024          $30.00
   PlanSource                                         PO Box 1313                                                                            Orlando        FL        32802           Payroll & Related                   8/27/2024          $10.00
   PlanSource                                         PO Box 1313                                                                            Orlando        FL        32802           Payroll & Related                   8/29/2024          $50.63
   PlanSource                                         PO Box 1313                                                                            Orlando        FL        32802           Payroll & Related                   8/30/2024         $510.71
   Plansource                                         PO Box 1313                                                                            Orlando        FL        32802           Payroll & Related                   8/30/2024       $1,272.85
   PlanSource                                         PO Box 1313                                                                            Orlando        FL        32802           Payroll & Related                    9/3/2024         $479.80
   PlanSource                                         PO Box 1313                                                                            Orlando        FL        32802           Payroll & Related                    9/4/2024         $310.49
   PlanSource                                         PO Box 1313                                                                            Orlando        FL        32802           Payroll & Related                    9/9/2024         $106.45
   PlanSource Total                                                                                                                                                                                                                      $75,641.13

   Puma Telecommunications                            Attn Accounting                PO Box 278408                                           Miramar        FL        33027           Vendor Payments                      7/2/2024       $5,106.00
   Puma Telecommunications                            Attn Accounting                PO Box 278408                                           Miramar        FL        33027           Vendor Payments                     7/26/2024      $38,723.00
   Puma Telecommunications                            Attn Accounting                PO Box 278408                                           Miramar        FL        33027           Vendor Payments                     7/31/2024      $15,331.25
   Puma Telecommunications                            Attn Accounting                PO Box 278408                                           Miramar        FL        33027           Vendor Payments                      9/3/2024      $15,031.25
   Puma Telecommunications Total                                                                                                                                                                                                         $74,191.50

   RPA Advisors, LLC                                  311 S. Wacker Drive,           Suite 510                                               Chicago        IL        60606                                               7/19/2024     $393,752.00
   RPA Advisors, LLC Total                                                                                                                                                                                                              $393,752.00

   Stephano Slack, LLC                                125 Strafford Ave,                                                                     Wayne          PA        19087           Vendor Payments                      9/5/2024      $16,000.00
   Stephano Slack, LLC Total                                                                                                                                                                                                             $16,000.00

   TD Bank                                            One Commerce Square            2005 Market St., 2nd Fl                                 Philadelphia   PA        19103           Vendor Payments                     6/17/2024       $2,520.84
   TD Bank                                            One Commerce Square            2005 Market St., 2nd Fl                                 Philadelphia   PA        19103           Vendor Payments                     7/15/2024       $3,964.87
   TD Bank                                            One Commerce Square            2005 Market St., 2nd Fl                                 Philadelphia   PA        19103           Vendor Payments                     8/12/2024        $825.00
   TD Bank                                            One Commerce Square            2005 Market St., 2nd Fl                                 Philadelphia   PA        19103           Vendor Payments                     8/15/2024       $3,626.81
   TD Bank                                            One Commerce Square            2005 Market St., 2nd Fl                                 Philadelphia   PA        19103           Vendor Payments                     8/15/2024       $1,722.30
   TD Bank                                            One Commerce Square            2005 Market St., 2nd Fl                                 Philadelphia   PA        19103           Vendor Payments                     8/15/2024        $900.00
   TD Bank Total                                                                                                                                                                                                                         $13,559.82

   Technolutions, Inc.                                157 Church Street              22nd Fl                                                 New Haven      CT        06510           Other Operating Disbursements       6/10/2024       $3,638.38
   Technolutions, Inc.                                157 Church Street              22nd Fl                                                 New Haven      CT        06510           Other Operating Disbursements       6/13/2024        $168.84
   Technolutions, Inc.                                157 Church Street              22nd Fl                                                 New Haven      CT        06510           Other Operating Disbursements       6/14/2024        $168.84
   Technolutions, Inc.                                157 Church Street              22nd Fl                                                 New Haven      CT        06510           Other Operating Disbursements       6/14/2024       $1,054.16
   Technolutions, Inc.                                157 Church Street              22nd Fl                                                 New Haven      CT        06510           Other Operating Disbursements       6/17/2024        $849.45
   Technolutions, Inc.                                157 Church Street              22nd Fl                                                 New Haven      CT        06510           Other Operating Disbursements       6/18/2024       $1,325.35
   Technolutions, Inc.                                157 Church Street              22nd Fl                                                 New Haven      CT        06510           Other Operating Disbursements       6/20/2024       $1,698.90
   Technolutions, Inc.                                157 Church Street              22nd Fl                                                 New Haven      CT        06510           Other Operating Disbursements       6/20/2024        $767.34
   Technolutions, Inc.                                157 Church Street              22nd Fl                                                 New Haven      CT        06510           Other Operating Disbursements       6/21/2024        $168.84
   Technolutions, Inc.                                157 Church Street              22nd Fl                                                 New Haven      CT        06510           Other Operating Disbursements       6/21/2024       $2,635.40
   Technolutions, Inc.                                157 Church Street              22nd Fl                                                 New Haven      CT        06510           Other Operating Disbursements       6/24/2024       $1,376.53
   Technolutions, Inc.                                157 Church Street              22nd Fl                                                 New Haven      CT        06510           Other Operating Disbursements       6/25/2024        $527.08
   Technolutions, Inc.                                157 Church Street              22nd Fl                                                 New Haven      CT        06510           Other Operating Disbursements       6/26/2024       $1,376.53
   Technolutions, Inc.                                157 Church Street              22nd Fl                                                 New Haven      CT        06510           Vendor Payments                     7/26/2024       $7,671.00
   Technolutions, Inc. Total                                                                                                                                                                                                             $23,426.64

   TIAA                                               8500 Andrew Carnegie Blvd                                                              Charlotte      NC        28201           Payroll & Related                   6/18/2024      $10,768.86
   TIAA                                               8500 Andrew Carnegie Blvd                                                              Charlotte      NC        28201           Payroll & Related                   6/24/2024        $284.09
   TIAA                                               8500 Andrew Carnegie Blvd                                                              Charlotte      NC        28201           Payroll & Related                   6/27/2024     $155,076.00
   TIAA                                               8500 Andrew Carnegie Blvd                                                              Charlotte      NC        28201           Payroll & Related                    7/2/2024       $1,835.71
   TIAA                                               8500 Andrew Carnegie Blvd                                                              Charlotte      NC        28201           Payroll & Related                   7/16/2024       $1,835.23
   TIAA                                               8500 Andrew Carnegie Blvd                                                              Charlotte      NC        28201           Payroll & Related                   7/26/2024        $284.09
   TIAA                                               8500 Andrew Carnegie Blvd                                                              Charlotte      NC        28201           Payroll & Related                   7/29/2024     $160,727.84
   TIAA                                               8500 Andrew Carnegie Blvd                                                              Charlotte      NC        28201           Payroll & Related                   7/30/2024       $3,357.82




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                                                                                                                               SOFA 3 ATTACHMENT
                                                                                                     Certain payments or transfers to creditors within 90 days before filing this case


   Creditor's Name (*)                                        Address 1                                 Address 2                               Address 3       City           State     ZIP          Country Reason for Payment or Transfer   Payment Date Payment Amount
   TIAA                                                       8500 Andrew Carnegie Blvd                                                                         Charlotte      NC        28201                Payroll & Related                   8/13/2024         $412.88
   TIAA                                                       8500 Andrew Carnegie Blvd                                                                         Charlotte      NC        28201                Payroll & Related                   8/27/2024      $62,416.91
   TIAA                                                       8500 Andrew Carnegie Blvd                                                                         Charlotte      NC        28201                Payroll & Related                   8/27/2024         $412.88
   TIAA                                                       8500 Andrew Carnegie Blvd                                                                         Charlotte      NC        28201                Payroll & Related                   8/28/2024         $284.09
   TIAA Total                                                                                                                                                                                                                                                   $397,696.40

   UMB as Collateral Agent                                    Attn: Global Corporate Trust              500 Ross Street                   12th Floor            Pittsburgh     PA        15262                Bridge Fees                         7/19/2024    $1,062,173.28
   UMB as Collateral Agent                                    Attn: Global Corporate Trust              500 Ross Street                   12th Floor            Pittsburgh     PA        15262                Bridge Fees                         7/26/2024     $218,000.00
   UMB as Collateral Agent                                    Attn: Global Corporate Trust              500 Ross Street                   12th Floor            Pittsburgh     PA        15262                Bridge Fees                         8/16/2024       $76,000.00
   UMB as Collateral Agent                                    Attn: Global Corporate Trust              500 Ross Street                   12th Floor            Pittsburgh     PA        15262                Professional Fees                   9/10/2024       $60,000.00
   UMB as Collateral Agent Total                                                                                                                                                                                                                               $1,416,173.28

   United Concordia                                           PO Box 827366                                                                                     Philadephia    PA        19182-7366           Payroll & Related                   7/10/2024      $12,366.89
   United Concordia                                           PO Box 827366                                                                                     Philadephia    PA        19182-7366           Payroll & Related                   7/10/2024          $71.92
   United Concordia                                           PO Box 827366                                                                                     Philadephia    PA        19182-7366           Payroll & Related                   7/30/2024      $11,980.22
   United Concordia                                           PO Box 827366                                                                                     Philadephia    PA        19182-7366           Payroll & Related                   7/30/2024          $35.96
   United Concordia                                           PO Box 827366                                                                                     Philadephia    PA        19182-7366           Payroll & Related                   9/12/2014       $2,757.13
   United Concordia Total                                                                                                                                                                                                                                        $27,212.12

   Vanbridge                                                  1140 Avenue of the Americas               8th Floor                                               New York       NY        10036                Insurance Premiums                  7/26/2024     $311,250.00
   Vanbridge Total                                                                                                                                                                                                                                              $311,250.00

   Vicinity Energy                                            PO Box 5018                                                                                       New York       NY        10087-5018           Vendor Payments                     6/26/2024       $9,585.69
   Vicinity Energy                                            PO Box 5018                                                                                       New York       NY        10087-5018           Vendor Payments                     7/16/2024       $2,740.12
   Vicinity Energy                                            PO Box 5018                                                                                       New York       NY        10087-5018           Utilities                           8/15/2024       $2,846.95
   Vicinity Energy Total                                                                                                                                                                                                                                         $15,172.76

   Willis Towers Watson Northeast, Inc                        PO Box 32090                                                                                      New York       NY        10087-2090           Insurance Premiums                  6/25/2024     $120,785.20
   Willis Towers Watson Northeast, Inc                        PO Box 32090                                                                                      New York       NY        10087-2090           Insurance Premiums                  6/28/2024     $329,233.60
   Willis Towers Watson Northeast, Inc                        PO Box 32090                                                                                      New York       NY        10087-2090           Insurance Premiums                   8/2/2024        $8,085.16
   Willis Towers Watson Northeast, Inc                        PO Box 32090                                                                                      New York       NY        10087-2090           Insurance Premiums                  8/15/2024    $1,758,721.27
   Willis Towers Watson Northeast, Inc                        PO Box 32090                                                                                      New York       NY        10087-2090           Insurance Premiums                  8/27/2024        $8,085.16
   Willis Towers Watson Northeast, Inc Total                                                                                                                                                                                                                   $2,224,910.39

   Grand Total                                                                                                                                                                                                                                                $10,786,753.66



   * Payments to insiders and bankruptcy professionals appear on SOFA 4 and SOFA 11, respectively.




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                                                                                 SOFA 4 ATTACHMENT
                                        Payments or other transfers of property made within 1 year before filing this case that benefited any insider

                                                                                                                      Payment         Payment
 Insider's Name (*)                 Address 1                           Relationship to the Debtor                       Date         Amount      Reason for Payment or Transfer
 Andrew Pack                        [Address on File]                   Former VP of Advancement                      9/25/2023        $17,500.00 Gross Regular Pay
 Andrew Pack                        [Address on File]                   Former VP of Advancement                     10/25/2023        $17,500.00 Gross Regular Pay
 Andrew Pack                        [Address on File]                   Former VP of Advancement                     11/24/2023        $17,500.00 Gross Regular Pay
 Andrew Pack                        [Address on File]                   Former VP of Advancement                     12/18/2023        $17,500.00 Gross Regular Pay
 Andrew Pack                        [Address on File]                   Former VP of Advancement                      1/25/2024        $17,500.00 Gross Regular Pay
 Andrew Pack                        [Address on File]                   Former VP of Advancement                      2/23/2024        $17,500.00 Gross Regular Pay
 Andrew Pack                        [Address on File]                   Former VP of Advancement                      3/25/2024        $17,529.17 Gross Regular Pay
 Andrew Pack                        [Address on File]                   Former VP of Advancement                      4/25/2024        $17,529.17 Gross Regular Pay
 Andrew Pack                        [Address on File]                   Former VP of Advancement                      4/25/2024            $90.00 Stipend
 Andrew Pack                        [Address on File]                   Former VP of Advancement                      5/24/2024        $17,529.17 Gross Regular Pay
 Andrew Pack                        [Address on File]                   Former VP of Advancement                      5/24/2024            $90.00 Stipend
 Andrew Pack                        [Address on File]                   Former VP of Advancement                      6/25/2024        $17,529.17 Gross Regular Pay
 Andrew Pack                        [Address on File]                   Former VP of Advancement                      6/25/2024            $90.00 Stipend
 Andrew Pack                        [Address on File]                   Former VP of Advancement                      7/25/2024        $34,788.66 Vacation
 Andrew Pack Total                                                                                                                    $210,175.34
 Carol Graney                       [Address on File]                     VP of Academic Affairs                      9/25/2023        $17,062.50 Gross Regular Pay
 Carol Graney                       [Address on File]                     VP of Academic Affairs                     10/25/2023        $17,062.50 Gross Regular Pay
 Carol Graney                       [Address on File]                     VP of Academic Affairs                     11/24/2023        $17,062.50 Gross Regular Pay
 Carol Graney                       [Address on File]                     VP of Academic Affairs                     12/18/2023        $17,062.50 Gross Regular Pay
 Carol Graney                       [Address on File]                     VP of Academic Affairs                      1/25/2024        $17,062.50 Gross Regular Pay
 Carol Graney                       [Address on File]                     VP of Academic Affairs                      2/23/2024        $17,062.50 Gross Regular Pay
 Carol Graney                       [Address on File]                     VP of Academic Affairs                      3/25/2024        $17,062.50 Gross Regular Pay
 Carol Graney                       [Address on File]                     VP of Academic Affairs                      4/25/2024        $17,062.50 Gross Regular Pay
 Carol Graney                       [Address on File]                     VP of Academic Affairs                      5/24/2024        $17,062.50 Gross Regular Pay
 Carol Graney                       [Address on File]                     VP of Academic Affairs                      6/25/2024        $17,062.50 Gross Regular Pay
 Carol Graney                       [Address on File]                     VP of Academic Affairs                      7/25/2024        $17,062.50 Gross Regular Pay
 Carol Graney                       [Address on File]                     VP of Academic Affairs                      7/25/2024        $32,681.25 Vacation
 Carol Graney                       [Address on File]                     VP of Academic Affairs                      8/23/2024        $17,062.50 Gross Regular Pay
 Carol Graney                       [Address on File]                     VP of Academic Affairs                      9/10/2024        $17,062.50 Gross Regular Pay
 Carol Graney                       [Address on File]                     VP of Academic Affairs                      9/10/2024         $2,362.50 Vacation
 Carol Graney Total                                                                                                                   $256,856.25
 Eric Leal                          [Address on File]                      Former VP of Finance                       2/23/2024        $21,666.67 Gross Regular Pay
 Eric Leal                          [Address on File]                      Former VP of Finance                       3/25/2024        $21,666.67 Gross Regular Pay
 Eric Leal                          [Address on File]                      Former VP of Finance                       4/25/2024        $21,666.67 Gross Regular Pay
 Eric Leal                          [Address on File]                      Former VP of Finance                       5/24/2024        $21,666.67 Gross Regular Pay
 Eric Leal                          [Address on File]                      Former VP of Finance                       6/25/2024        $11,000.00 Gross Regular Pay
 Eric Leal                          [Address on File]                      Former VP of Finance                       6/25/2024         $8,000.00 Vacation
 Eric Leal Total                                                                                                                      $105,666.68
 Franklyn Cantor                    [Address on File]                           Chief of Staff                       9/25/2023         $11,666.67 Gross Regular Pay
 Franklyn Cantor                    [Address on File]                           Chief of Staff                       10/25/2023        $11,666.67 Gross Regular Pay
 Franklyn Cantor                    [Address on File]                           Chief of Staff                       11/24/2023        $11,666.67 Gross Regular Pay
 Franklyn Cantor                    [Address on File]                           Chief of Staff                       12/18/2023        $11,666.67 Gross Regular Pay
 Franklyn Cantor                    [Address on File]                           Chief of Staff                       1/25/2024         $11,666.67 Gross Regular Pay
 Franklyn Cantor                    [Address on File]                           Chief of Staff                       2/23/2024         $11,666.67 Gross Regular Pay


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                                                                                 SOFA 4 ATTACHMENT
                                        Payments or other transfers of property made within 1 year before filing this case that benefited any insider

                                                                                                                      Payment         Payment
 Insider's Name (*)                 Address 1                           Relationship to the Debtor                       Date         Amount      Reason for Payment or Transfer
 Franklyn Cantor                    [Address on File]                          Chief of Staff                         3/25/2024        $11,666.67 Gross Regular Pay
 Franklyn Cantor                    [Address on File]                          Chief of Staff                          4/9/2024           $100.00 Expense Reimbursement
 Franklyn Cantor                    [Address on File]                          Chief of Staff                         4/25/2024        $11,666.67 Gross Regular Pay
 Franklyn Cantor                    [Address on File]                          Chief of Staff                         5/24/2024        $11,666.67 Gross Regular Pay
 Franklyn Cantor                    [Address on File]                          Chief of Staff                         6/25/2024        $11,666.67 Gross Regular Pay
 Franklyn Cantor                    [Address on File]                          Chief of Staff                         7/25/2024        $11,666.67 Gross Regular Pay
 Franklyn Cantor                    [Address on File]                          Chief of Staff                         7/25/2024        $13,999.96 Vacation
 Franklyn Cantor                    [Address on File]                          Chief of Staff                         8/23/2024        $11,666.67 Gross Regular Pay
 Franklyn Cantor                    [Address on File]                          Chief of Staff                         9/10/2024        $11,666.67 Gross Regular Pay
 Franklyn Cantor                    [Address on File]                          Chief of Staff                         9/10/2024         $2,153.85 Vacation
 Franklyn Cantor                    [Address on File]                          Chief of Staff                         9/10/2024        $25,000.00 Stipend
 Franklyn Cantor Total                                                                                                                $192,920.52
 Kerry Walk                         [Address on File]                        Former President                         9/25/2023        $43,750.00 Gross Regular Pay
 Kerry Walk                         [Address on File]                        Former President                         9/25/2023         $5,000.00 Stipend
 Kerry Walk                         [Address on File]                        Former President                         9/25/2023         $2,577.88 Tax Relocation
 Kerry Walk                         [Address on File]                        Former President                        10/25/2023        $43,750.00 Gross Regular Pay
 Kerry Walk                         [Address on File]                        Former President                        10/25/2023         $5,000.00 Stipend
 Kerry Walk                         [Address on File]                        Former President                        11/24/2023        $43,750.00 Gross Regular Pay
 Kerry Walk                         [Address on File]                        Former President                        11/24/2023         $5,000.00 Stipend
 Kerry Walk                         [Address on File]                        Former President                        12/15/2023           $736.25 Expense Reimbursement
 Kerry Walk                         [Address on File]                        Former President                        12/18/2023        $43,750.00 Gross Regular Pay
 Kerry Walk                         [Address on File]                        Former President                        12/18/2023         $5,000.00 Stipend
 Kerry Walk                         [Address on File]                        Former President                         1/25/2024        $43,750.00 Gross Regular Pay
 Kerry Walk                         [Address on File]                        Former President                         1/25/2024         $5,000.00 Stipend
 Kerry Walk                         [Address on File]                        Former President                         2/23/2024        $43,750.00 Gross Regular Pay
 Kerry Walk                         [Address on File]                        Former President                         2/23/2024         $5,000.00 Stipend
 Kerry Walk                         [Address on File]                        Former President                         3/25/2024        $43,750.00 Gross Regular Pay
 Kerry Walk                         [Address on File]                        Former President                         3/25/2024         $5,000.00 Stipend
 Kerry Walk                         [Address on File]                        Former President                         4/25/2024        $43,750.00 Gross Regular Pay
 Kerry Walk                         [Address on File]                        Former President                         4/25/2024         $5,000.00 Stipend
 Kerry Walk                         [Address on File]                        Former President                         5/24/2024        $43,750.00 Gross Regular Pay
 Kerry Walk                         [Address on File]                        Former President                         5/24/2024         $5,000.00 Stipend
 Kerry Walk                         [Address on File]                        Former President                         6/25/2024         $4,038.46 Gross Regular Pay
 Kerry Walk                         [Address on File]                        Former President                         6/25/2024           $923.08 Stipend
 Kerry Walk                         [Address on File]                        Former President                         6/25/2024        $10,096.15 Vacation
 Kerry Walk Total                                                                                                                     $457,121.82
 Grand Total                                                                                                                        $1,222,740.61


 * The University does not deem academic deans to be officers. Therefore, they are excluded from this schedule.




In re: The University of the Arts
                                                                                        Page 2 of 2
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                                                                          Transfers not already listed on this statement

                                                                                                                                                         p          p y
                                                                                                                                                  Transferred or Payments
                                                                                                                              Relationship to    Received or Debts Paid In   Dates Transfer   Total Amount
   Who Received the Transfer?            Address 1       Address 2   Address 3          City       State    ZIP    Country      the Debtor               Exchange              Was Made            or Value
Alexandra Rella / Mudslingers       [Email on file]                                                                                             Ceramics Equipment             8/30/2024          $6,090.00
Alexandra Rella / Mudslingers                                                                                                                                                                     $6,090.00
Total
Allexis Nutini                      [Email on file]                                                                                             Metal Foundry Equipment        8/30/2024           $600.00

Allexis Nutini Total                                                                                                                                                                               $600.00
Amze Emmons / Temple                [Email on file]                                                                                             Printmaking/Wood Equipment     8/29/2024         $5,300.00
Amze Emmons / Temple Total                                                                                                                                                                       $5,300.00

Angelique Kopacz                    [Email on file]                                                                                             Printmaking/Wood Equipment     6/27/2024           $200.00
Angelique Kopacz Total                                                                                                                                                                             $200.00

Anne Aspinwall                      [Email on file]                                                                                             Printmaking/Wood Equipment     6/27/2024         $1,535.00
Anne Aspinwall Total                                                                                                                                                                             $1,535.00

Ben Quinn-Kerins                    [Email on file]                                                                                             Metal Foundry Equipment        8/22/2024         $1,810.00

Ben Quinn-Kerins Total                                                                                                                                                                           $1,810.00
Brickbat Books                      [Email on file]                                                                                             Assorted new books             6/24/2024         $1,800.00
                                                                                                                                                                                                 $1,800.00
Brickbat Books Total
Caitlin Perkins / Lyme Academy      [Email on file]                                                                                             Printmaking/Wood Equipment     6/24/2024         $1,625.00
Caitlin Perkins / Lyme Academy                                                                                                                                                                   $1,625.00
Total
Charles Cooper                      [Email on file]                                                                                             Printmaking/Wood Equipment     6/25/2024           $100.00
Charles Cooper Total                                                                                                                                                                               $100.00

Chris Robertson                     [Email on file]                                                                                             Printmaking/Wood Equipment     8/14/2024           $960.00
Chris Robertson Total                                                                                                                                                                              $960.00

Delaware Theater Company            [Email on file]                                                                                             Media Resource Equipment       8/22/2024        $10,000.00

Delaware Theater Company Total                                                                                                                                                                  $10,000.00
Dorie Minich                   [Email on file]                                                                                                  Printmaking/Wood Equipment                          $50.00
Dorie Minich Total                                                                                                                                                                                  $50.00

Doug Bucci / Tyler                                                                                                                              Metal Foundry Equipment        8/28/2024        $13,000.00

Doug Bucci / Tyler Total                                                                                                                                                                        $13,000.00
Greg Pizzoli                        [Email on file]                                                                                             Printmaking/Wood Equipment     6/24/2024          $600.00
Greg Pizzoli Total                                                                                                                                                                                $600.00

Gunars Prande                       [Email on file]                                                                                             Printmaking/Wood Equipment      7/3/2024         $8,000.00
Gunars Prande Total                                                                                                                                                                              $8,000.00

Izzie Ashley                                                                                                                                    Printmaking/Wood Equipment     7/23/2024            $40.00
Izzie Ashley Total                                                                                                                                                                                  $40.00

Jason Roberts                       [Email on file]                                                                                             Metal Foundry Equipment        8/30/2024        $21,900.00
                                                                                                                                                                                                $21,900.00
Jason Roberts Total
Jesse Solberg                       [Email on file]                                                                                             Printmaking/Wood Equipment     6/24/2024         $5,950.00
Jesse Solberg Total                                                                                                                                                                              $5,950.00

Jessica Kahle                       [Email on file]                                                                                             Printmaking/Wood Equipment     8/30/2024           $785.00




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                                                                                                                              Relationship to    Received or Debts Paid In   Dates Transfer   Total Amount
  Who Received the Transfer?              Address 1      Address 2   Address 3          City       State    ZIP    Country      the Debtor              Exchange               Was Made            or Value
Jessica Kahle Total                                                                                                                                                                                 $785.00

                                                                                                                                                                               7/8/2024,        $22,935.00
John Staack                         [Email on file]                                                                                             Metal Foundry Equipment        8/30/2024
John Staack Total                                                                                                                                                                               $22,935.00

Josh Rickards                                                                                                                                   Printmaking/Wood Equipment     6/28/2024,        $1,250.00
                                    [Email on file]                                                                                                                            7/22/2024
Josh Rickards Total                                                                                                                                                                              $1,250.00

Jung Hahn                           [Email on file]                                                                                             Printmaking/Wood Equipment     6/25/2024         $1,125.00
Jung Hahn Total                                                                                                                                                                                  $1,125.00

Katie Baldwin                       [Email on file]                                                                                             Printmaking/Wood Equipment     6/27/2024         $2,111.00
Katie Baldwin Total                                                                                                                                                                              $2,111.00

Keith Crawford                      [Email on file]                                                                                             Metal Foundry Equipment        8/22/2024           $510.00
                                                                                                                                                                                                   $510.00
Keith Crawford Total
Laura Frazure                                                                                                                                   Printmaking/Wood Equipment      7/5/2024           $200.00
Laura Frazure Total                                                                                                                                                                                $200.00

Lauren Whearty                      [Email on file]                                                                                             Printmaking/Wood Equipment      8/5/2024         $1,600.00
Lauren Whearty Total                                                                                                                                                                             $1,600.00

Lisa Scarpello                      [Email on file]                                                                                             Printmaking/Wood Equipment     6/24/2024           $130.00
Lisa Scarpello Total                                                                                                                                                                               $130.00

Lori Reinhardt                      [Email on file]                                                                                             Printmaking/Wood Equipment      7/3/2024         $6,700.00
Lori Reinhardt Total                                                                                                                                                                             $6,700.00

Marco Federico                      [Email on file]                                                                                             Metal Foundry Equipment        8/29/2024         $2,585.00

Marco Federico Total                                                                                                                                                                             $2,585.00
Maria Welch                         [Email on file]                                                                                             Printmaking/Wood Equipment                        $125.00
Maria Welch Total                                                                                                                                                                                 $125.00

Marisha Simons                                                                                                                                  Printmaking/Wood Equipment     7/3/2024,        $10,951.00
                                    [Email on file]                                                                                                                            8/15/2024
Marisha Simons Total                                                                                                                                                                            $10,951.00

Mark Gibson                         [Email on file]                                                                                             Printmaking/Wood Equipment      7/3/2024           $100.00
Mark Gibson Total                                                                                                                                                                                  $100.00

Melanie Bilenker                                                                                                                                Printmaking/Wood Equipment     8/21/2024           $370.00
Melanie Bilenker Total                                                                                                                                                                             $370.00

Michael Grothusen                   [Email on file]                                                                                             Metal Foundry Equipment         7/8/2024           $320.00
                                                                                                                                                                                                   $320.00
Michael Grothusen Total
Michele Kishita                                                                                                                                 Printmaking/Wood Equipment                          $25.00
Michele Kishita Total                                                                                                                                                                               $25.00

Miguel Horn                         [Email on file]                                                                                             Metal Foundry Equipment        8/29/2024         $2,375.00




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                                                                                                                                                 Transferred or Payments
                                                                                                                              Relationship to    Received or Debts Paid In   Dates Transfer   Total Amount
   Who Received the Transfer?             Address 1      Address 2   Address 3          City       State    ZIP    Country      the Debtor              Exchange               Was Made            or Value

Miguel Horn Total                                                                                                                                                                                $2,375.00
Njena Jarvis                        [Email on file]                                                                                             Metal Foundry Equipment        8/30/2024         $3,620.00

Njena Jarvis Total                                                                                                                                                                               $3,620.00
Patty Smith                         [Email on file]                                                                                             Printmaking/Wood Equipment     6/24/2024          $600.00
Patty Smith Total                                                                                                                                                                                 $600.00

Peter Kruty                         [Email on file]                                                                                             Printmaking/Wood Equipment      7/3/2024           $665.00
Peter Kruty Total                                                                                                                                                                                  $665.00

Peter Reese                         [Email on file]                                                                                             Printmaking/Wood Equipment                         $225.00
Peter Reese Total                                                                                                                                                                                  $225.00

Rachel Snack                        [Email on file]                                                                                             Printmaking/Wood Equipment      7/2/2024         $6,000.00
Rachel Snack Total                                                                                                                                                                               $6,000.00

Rebecca Gilbert                     [Email on file]                                                                                             Printmaking/Wood Equipment      7/3/2024        $17,135.00
Rebecca Gilbert Total                                                                                                                                                                           $17,135.00

Rebecca Sack                        [Email on file]                                                                                             Printmaking/Wood Equipment      7/1/2024           $250.00
Rebecca Sack Total                                                                                                                                                                                 $250.00

Sandra Davis                                                                                                                                    Printmaking/Wood Equipment     6/27/2024           $700.00
                                    [Email on file]
Sandra Davis Total                                                                                                                                                                                 $700.00

Sarah Bourne Rafferty               [Email on file]                                                                                             Printmaking/Wood Equipment     6/27/2024           $725.00
Sarah Bourne Rafferty Total                                                                                                                                                                        $725.00

Sarah Moody                         [Email on file]                                                                                             Printmaking/Wood Equipment     7/11/2024           $200.00
Sarah Moody Total                                                                                                                                                                                  $200.00

Scott Newman                        [Email on file]                                                                                             Metal Foundry Equipment        7/17/2024         $2,600.00

Scott Newman Total                                                                                                                                                                               $2,600.00
Sherif Habashi                      [Email on file]                                                                                             Printmaking/Wood Equipment     6/24/2024         $9,275.00
Sherif Habashi Total                                                                                                                                                                             $9,275.00

Starlite                            [Email on file]                                                                                             Media Resource Equipment       8/26/2024        $39,500.00

Starlite Total                                                                                                                                                                                  $39,500.00
Steven Corey                        [Email on file]                                                                                             Printmaking/Wood Equipment                       $1,550.00
Steven Corey Total                                                                                                                                                                               $1,550.00

Sue White                                                                                                                                       Printmaking/Wood Equipment     6/27/2024,          $885.00
                                                                                                                                                                                7/3/2024,
                                    [Email on file]                                                                                                                            8/22/2024
Sue White Total                                                                                                                                                                                    $885.00

Tara O'Brien                                                                                                                                    Printmaking/Wood Equipment     6/26/2024,        $6,420.00
                                                                                                                                                                               7/12/2024,
                                    [Email on file]                                                                                                                            7/23/2024
Tara O'Brien Total                                                                                                                                                                               $6,420.00




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                                                                                                                                                                    Transferred or Payments
                                                                                                                                               Relationship to     Received or Debts Paid In     Dates Transfer   Total Amount
  Who Received the Transfer?              Address 1             Address 2           Address 3            City       State    ZIP    Country      the Debtor                Exchange                Was Made            or Value
TBD                                                                                                                                                              Printmaking/Wood Equipment         Various           $1,725.00
TBD                                                                                                                                                              Metal Foundry Equipment            Various           $4,028.00
TBD                                                                                                                                                              Ceramics Equipment                 Various           $5,300.00
TBD Total                                                                                                                                                                                                           $11,053.00

Tyler Seelig / Cardinal Camera      [Email on file]                                                                                                              Media Resource Equipment          8/21/2024        $276,811.35
Tyler Seelig / Cardinal Camera      [Email on file]                                                                                                              Computers                         8/21/2024        $145,950.00

Tyler Seelig / Cardinal Camera Total                                                                                                                                                                               $422,761.35
                                                                                                                                                                 Security Interests in Certain     6/19/2023,     Undetermined
TD Bank, N.A                        Attn: Michael J. Gers   2005 Market Street 2nd Floor             Philadelphia PA        19103                                Property (see Schedule D)         7/102024

TD Bank, N.A Total                                                                                                                                                                                                Undetermined
                                                                                                                                                                 Security Interests in Certain                     Undetermined
UA Agency, LLC                      Att.: Seth Lehr         1735 Market Street 9th Floor             Philadelphia PA        19103                                Property (see Schedule D)         6/20/2024

UA Agency, LLC Total                                                                                                                                                                                              Undetermined
                                                                                                                                                                                                   7/19/2024,      Undetermined
                                                                                                                                                                                                   7/25/2024,
UMB Bank N.A., as representative                                                                                                                                 Security Interests in Certain     8/9/2024,
for Noteholders                     Attn: Gordon Gendler 120 South Sixth St. Suite 1400              Minneapolis MN         55402                                Property (see Schedule D)         9/10/2024

UMB Bank N.A., as representative for Noteholders Total                                                                                                                                                            Undetermined

Grand Total                                                                                                                                                                                                         $657,921.35




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Fill in this information to identify the case:

Debtor name: The University of the Arts

United States Bankruptcy Court for the: District of Delaware
                                                                                                                                                               Check if this is an
Case number: 24-
                                                                                                                                                               amended filing




WARNING - Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result
in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.
I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true and correct.
I declare under penalty of perjury that the foregoing is true and correct.

Executed on
09/12/2024



/s/Judson. Aaron                                                                               Judson Aaron
Signature of individual signing on behalf of debtor                                            Printed name

Chair of the Board of The University of the Arts

Position or relationship to debtor


Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?

     No

     Yes
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                                               United States Bankruptcy Court
                                                          District of Delaware
 In re   The University of the Arts                                                            Case No.
                                                                    Debtor(s)                  Chapter      7




                                   VERIFICATION OF CREDITOR MATRIX


I, the Chair of the Board of The University of the Arts of the corporation named as the debtor in this case, hereby verify that the

attached list of creditors is true and correct to the best of my knowledge.




Date:     September 12, 2024                            /s/ Judson Aaron
                                                        Judson Aaron/Chair of the Board of The University of the Arts
                                                        Signer/Title
                                                            Case 24-12140-BLS                   Doc  1 Filed 09/13/24
                                                                                                  The University of the Arts
                                                                                                                                                 Page 753 of 1042
                                                                                                       Creditor Matrix - Redacted



              Creditor Name                                Attention                            Address 1                          Address 2               Address 3             City           State       Zip         Country
10TH FLOOR PRODUCTIONS                                                            4558 WORTH ST                             STUDIO D1-B                                PHILADELPHIA        PA           19124
12TH STREET CATERING                                                              3312 SPRING GARDEN ST # 20                                                           PHILADELPHIA        PA           19104-2552
12TH STREET CATERING                                                              3312 SPRING GARDEN STREET                                                            PHILADELPHIA        PA           19104
14 WA PARTNERS LP                       ATTN: JACOB W. SEGAL                      1425 WALNUT STREET                        SUITE 300                                  PHILADELPIA         PA           19102
1401 WALNUT RETAIL ACQUISITION                                                    110 SOUTH 19TH ST                         STE 300                                    PHILADELPHIA        PA           19103
                                        PEARL PROPERTIES COMMERCIAL
1401 WALNUT UNIT C, LLC                 MANAGMENT, LLC                            ATTN: REED J. SLOGOFF                     1425 WALNUT STREET      SUITE 300          PHILADELPHIA        PA           19102
1401 WALNUT UNIT C, LLC                                                           1401 WALNUT STREET                                                                   PHILADELPHIA        PA           19102
1608 WALNUT STREET ASSOC, LP                                                      1608 WALNUT ST                            #903                                       PHILADELPHIA        PA           19103
1675 FOUNDATION                         C/O PEMBROKE PHILANTHROPY ADVISORS        16 E LANCASTER AVE STE 102                                                           ARDMORE             PA           19003-2228
1838 BLACK METROPOLIS INC                                                         4537 CANNING AVE                                                                     PENNSAUKEN          NJ           08109
1976 FOUNDATION                                                                   200 EAGLE RD STE 308                                                                 WAYNE               PA           19087-3115
32 SOUNDS LLC                                                                     2764 ORLEANS AVE                                                                     NEW ORLEANS         LA           70119
47 BRAND LLC                                                                      PO BOX 419648                                                                        BOSTON              MA           02241-9648
503 CORPORATION                                                                   5019 MULBERRY ST                                                                     PHILADELPHIA        PA           19124-1348
8TH WALL, INC.                          ATTN: KEVIN STRAW                         318 CAMBRIDGE AVE.                                                                   PALO ALTO           CA           94306
8TH WALL, LLC                                                                     318 CAMBRIDGE AVENUE                                                                 PALO ALTO           CA           94306
A. R. WOLFSON ASSOC                                                               409 SALISBURY RD                                                                     WYNCOTE             PA           19095-2023
A. S. JENKS SCHOOL                                                                13TH & PORTER STREETS                                                                PHILADELPHIA        PA           19148
AAA SUNFLOWER FLORIST, INC                                                        449 NORTH 12TH ST.                        UNIT A                                     PHILADELPHIA        PA           19123
AAJDESIGN                                                                         124 NORTH 3RD ST.                         2ND FL                                     PHILADELPHIA        PA           19106-1803
AANIKA ALLEN                                                                      ADDRESS ON FILE
AARON WEBER                                                                       ADDRESS ON FILE
AARON, JUDSON A.                                                                  ADDRESS ON FILE
ABAMONT AND ASSOC                                                                 200 GARDEN CITY PLZ STE 400                                                          GARDEN CITY         NY           11530-3340
ABBEY CAMERA, INC.                                                                1417 MELON ST                                                                        PHILADELPHIA        PA           19130
ABBY LYNCH                                                                        ADDRESS ON FILE
                                                                                                                            1133 PENN AVENUE, 5TH
ABBY MOORHOUSE                          C/O LYNCH CARPENTER, LLP                  ATTN: GARY F. LYNCH                       FLOOR                                      PITTSBURGH          PA           15222
ABBY MOORHOUSE                          WELLS MOORE SIMMONS & HUBBARD PLLC        ATTN: SETH C. LITTLE                      4450 OLD CANTON RD      POBOX 1970         JACKSON             MS           39215
ABC - ILO LANGUES                                                                 65 PLACE DE THESSALIE                                                                34000 MONTPELLIER                             FRANCE
ABEL, ANNIKA                                                                      ADDRESS ON FILE
ABERDEEN STANDARD INVESTMENTS INC.                                                1900 MARKET ST                            SUITE 200                                  PHILADELPHIA        PA           19103
ABHI TARANATH                                                                     ADDRESS ON FILE
ABIR SHUKRI                                                                       ADDRESS ON FILE
ABRAHAM IN MOTION, INC                                                            PO BOX 986                                                                           NEW YORK            NY           10113
ACADEMIC HEALTHPLANS, INC                                                         PO BOX 1605                                                                          COLLEYVILLE         TX           76034-1605
ACBS                                    c/o Berkley Specialty Insurance Company   Main Administrative Office                7233 East Butherus                         Scottsdale          AZ           85260
ACCELERATION NETWORK FAMILY                                                       440 N. BROAD ST                                                                      PHILADELPHIA        PA           19130
ACCHIONE, SARAH                                                                   ADDRESS ON FILE
ACCOMMODATION MOLLEN, INC                                                         2829 CEDAR ST                                                                        PHILADELPHIA        PA           19134-4211
ACKER ET AL V. UNIVERSITY OF THE ARTS   C/O LEVIN SEDRAN & BERMAN PA              ATTN: NICHOLAS ELIA & DAVID C. LEVIN      510 WALNUT STREET       STE. 500           PHILADELPIA         PA           19106
ACKERMAN, CHARLEEN                                                                ADDRESS ON FILE
ACOGNY, GERMAINE                                                                  ADDRESS ON FILE
ACS SERVICES, LLC                                                                 831 LINCOLN AVE                           UNIT D-14                                  W. CHESTER          PA           19380
ADAIR, WILLIAM                                                                    ADDRESS ON FILE
ADAM JENKINS CONSERVATION                                                         ADDRESS ON FILE
ADAMS, CARA BLUE                                                                  ADDRESS ON FILE
ADAMS, MICHAEL                                                                    ADDRESS ON FILE
ADAMS, PATRESHETTARLINI                                                           ADDRESS ON FILE
ADDIE, MAYA                                                                       ADDRESS ON FILE
ADELA COTA-GOMEZ                                                                  ADDRESS ON FILE
ADIRONDACK SOLUTIONS, INC.              ATTN: RANDI SCHWERINER, CFO               P.O. BOX 8102                                                                        BRIDGEWATER         NJ           08807
ADMK                                                                              204 E WILLOW GROVE AVE                                                               PHILADELPHIA        PA           19118-2905
ADOBE SYSTEMS, INC                                                                801 N 34TH ST                                                                        SEATTLE             WA           98103-8882
ADP, INC                                                                          PO BOX 842875                                                                        BOSTON              MA           02284-2875

ADP, INC.                               ATTN: TARA ALBRITTON, SVP HCM SERVICES    PO BOX 842875                             PO BOX 842875                              BOSTON              MA           02284-2875
ADRIANA MENDEZ                                                                    ADDRESS ON FILE
ADRIEL A. GONZALEZ                                                                ADDRESS ON FILE
ADRIEN BRAIM                                                                      ADDRESS ON FILE
ADRIENNE WESTWOOD                                                                 ADDRESS ON FILE
ADT COMMERCIAL                                                                    PO BOX 382109                                                                        PITTSBURGH          PA           15251-8109
AENJ                                                                              19 SEDGEWICK DRIVE                                                                   MAGNOLIA            DE           19962
AGB MEMBERSHIP                                                                    PO BOX 418687                                                                        BOSTON              MA           02241-8687
AGB SEARCH, LLC                                                                   1666 K STREET N.W.                        STE 1200                                   WASHINGTON          DC           20006
AGHAZARIAN, ARAM A.                                                               ADDRESS ON FILE
AGUDA, OLUWAPEMI                                                                  ADDRESS ON FILE




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                                                                       Creditor Matrix - Redacted



                Creditor Name         Attention                   Address 1                          Address 2         Address 3             City         State      Zip       Country
AGUGLIA, PHILIP M.                                ADDRESS ON FILE
AHMED, DILRUBA                                    ADDRESS ON FILE
AHMED, SABA                                       ADDRESS ON FILE
AICAD                                             236 HOPE STREET                                                                  PROVIDENCE        RI           02906
AICUP                                             101 NORTH FRONT STREET                                                           HARRISBURG        PA           17101-1405
AIDAN MCGINTY                                     ADDRESS ON FILE
AIMEE CONSOLE                                     ADDRESS ON FILE
AI-WARRAK                                         ADDRESS ON FILE
AKULIN-LIDERT, OLIVER J.                          ADDRESS ON FILE
ALAM, RAFAEL EMILIO                               ADDRESS ON FILE
ALAN BERNSTEIN                                    ADDRESS ON FILE
ALANA HOFFMAN                                     ADDRESS ON FILE
ALANA JONES                                       ADDRESS ON FILE
ALBERT APPLE                                      ADDRESS ON FILE
ALBERT CHAPPELL                                   ADDRESS ON FILE
ALBERTA GIBSON                                    ADDRESS ON FILE
ALBERTSON-ROGERS, WREN                            ADDRESS ON FILE
ALCOA FOUNDATION                                  201 ISABELLA ST                                                                  PITTSBURGH        PA           15212-5827
ALEX DA CORTE LLC                                 ADDRESS ON FILE
ALEXANDER LOVERDE                                 ADDRESS ON FILE
ALEXANDER, ANDREW P.                              ADDRESS ON FILE
ALEXANDRA DI TROLIO                               ADDRESS ON FILE
ALEXANDRA LORINO                                  ADDRESS ON FILE
ALEXIS H. NUTINI                                  ADDRESS ON FILE
ALFONSO, MARIA RENEE ISABEL                       ADDRESS ON FILE
ALFRED UNIVERSITY                                 1 SAXON DRIVE                                                                    ALFRED            NY           14802
ALICIA A. ROPER                                   ADDRESS ON FILE
ALI-OSHATZ, LILY                                  ADDRESS ON FILE
ALISON RAINEY                                     ADDRESS ON FILE
ALISSA WALKER                                     ADDRESS ON FILE
ALITA A. JOSEPH                                   ADDRESS ON FILE
ALLAN DOMB REAL ESTATE                            1845 WALNUT STREET                        STE. 2200                              PHILADELPHIA      PA           19103
ALLAN PACK                                        ADDRESS ON FILE
ALLEGHENY EDUCATIONAL                             320 E. 3RD AVE.                                                                  TARENTUM          PA           15084
ALLEMANN ALMQUIST & JONES                         124 N 3RD ST FL 2                                                                PHILADELPHIA      PA           19106-1861
ALLEN & ASSOC                                     830 WILMINGTON RD                                                                SAN MATEO         CA           94402-3334
ALLEN J. SWIRZ                                    ADDRESS ON FILE
ALLEN, AANIKA                                     ADDRESS ON FILE
ALLEN, DAVID                                      ADDRESS ON FILE
ALLEN, DAVID F.                                   ADDRESS ON FILE
ALLEN, KATHERINE L.                               ADDRESS ON FILE
ALLEN, MARK                                       ADDRESS ON FILE
ALLERGIC DISEASE ASSOC, PC                        210 ARK RD STE 109                                                               MOUNT LAUREL      NJ           08054-3188
ALLIED PIANO & FINISH LLC                         3096 BRISTOL RD                                                                  WARRINGTON        PA           18976
ALLIED UNIVERSAL SECURITY SRVS.                   PO BOX 828854                                                                    PHILADELPHIA      PA           19182-8854
ALLIEDBARTON SECURITY SERVICES LLC                1760 MARKET STREET                        1760 MARKET STREET                     PHILADELPHIA      PA           19103
ALLISON F. WRIGHT                                 ADDRESS ON FILE
ALLURE PARTY RENTALS                              1326 WEST MCNAB RD                                                               FORT LAUDERDALE   FL           33309
ALOUSH, ABEER                                     ADDRESS ON FILE
ALPHEX INFORMATION SOLUTIONS                      458 WEST ONTARIO AVE SW                                                          ATLANTA           GA           30310
ALPHONSE BOULOS                                   ADDRESS ON FILE
ALSTON-WARD, TAMIA                                ADDRESS ON FILE
ALTERED INNOCENCE LLC                             543 NORTH MADISON AVE                     APT 10                                 LOS ANGELED       CA           90004
ALTIMEZE KING                                     ADDRESS ON FILE
ALTINORDU, HAYAL                                  ADDRESS ON FILE
ALUSIV, INC                                       123 CHESTNUT ST STE 200                                                          PHILADELPHIA      PA           19106-3051
ALVAREZ & MARSAL NORTH AMERICA, LLC               600 MADISON AVENUE                                                               NEW YORK          NY           10022
ALVAREZ, JAIME                                    ADDRESS ON FILE
ALVARO, KIKAU                                     ADDRESS ON FILE
ALVERNIA UNIVERSITY                               400 SAINT BERNARDINE ST                                                          READING           PA           19607
ALVOID, TIFFANY                                   ADDRESS ON FILE
ALYSSA REISE                                      ADDRESS ON FILE
AMANDA ALFINEZ                                    ADDRESS ON FILE
AMANDA CLAUSEN                                    ADDRESS ON FILE
AMANDA GARGIULO                                   ADDRESS ON FILE
AMANDA MELCZER                                    ADDRESS ON FILE
AMANDA PIROLA                                     ADDRESS ON FILE
AMATO, RACHEL                                     ADDRESS ON FILE




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              Creditor Name                          Attention                     Address 1                          Address 2         Address 3            City        State       Zip      Country
AMAZE DESIGN, INC                                                   171 MILK STREET                                                                 BOSTON          MA           02109
AMBASSADOR TRAVEL                                                   5236 VOGEL RD                             STE B                                 EVANSVILLE      IN           47715
AMBER AMOROSO                                                       ADDRESS ON FILE
AMBER PARK                                                          ADDRESS ON FILE
AMBRON, MICHAEL                                                     ADDRESS ON FILE
AMDA COLLEGE OF PERFORMING ARTS                                     6305 YUCCA STREET                                                               LOS ANGELES     CA           90028
AMER HANINI                                                         ADDRESS ON FILE
AMERICAN CASUALTY COMPANY OF READING,
PENNSYLVANIA                           C/O HPSO CNA                 151 N FRANKLIN STREET                                                           CHICAGO         IL           60606
AMERICAN COLLEGE DANCE                                              15 WEST MONTGOMERY AVE.                   #301                                  ROCKVILLE       MD           20850
AMERICAN DANCE FESTIVAL, INC                                        PO BOX 90772                                                                    DURHAM          NC           27708
AMERICAN ENDOWMENT FOUNDATION                                       5700 DARROW RD STE 118                                                          HUDSON          OH           44236-5026
AMERICAN INTERNATIONAL GROUP, INC.                                  1271 AVE OF THE AMERICAS                  FL 37                                 NEW YORK        NY           10020-1304
AMERICAN MASTERPIECES DANCE COLLEGE
COMPONENT                                                           1156 15TH ST NW STE 820                                                         WASHINGTON      DC           20005-1773
AMERICAN RED CROSS                                                  TRAINING SERVICES                         25688 NETWORK PLACE                   CHICAGO         IL           60673-1256
AMERICAN REGISTRY FOR INTERNET                                      PO BOX 719477                                                                   PHILADELPHIA    PA           19171-9477
AMERICAN UNIVERSITY                    STUDENT ACCOUNTS             4400 MASSACHUSETTS AVE NW                                                       WASHINGTON      DC           20016-8017
AMERICAN UNIVERSITY                                                 4400 MASSACHUSETTS AVENUE, NW                                                   WASHINGTON      DC           20016
AMIEE SALVAGGIO                                                     ADDRESS ON FILE
AMUDIPES BEHAVIORAL HEALTH                                          90 NORRISTOWN RD                                                                BLUE BELL       PA           19422-2802
AMUNEAL MANUFACTURING CORP.                                         4737 DARRAH ST                                                                  PHILADELPHIA    PA           19124-2705
AMY DEFRUSCIO                                                       ADDRESS ON FILE
AMY GILLETTE                                                        ADDRESS ON FILE
AMY HERTZ                                                           ADDRESS ON FILE
AMY K. NORDSTROM                                                    ADDRESS ON FILE
AMY K. SCHUTT                                                       ADDRESS ON FILE
AMY METROKA                                                         ADDRESS ON FILE
AMY PARADISE                                                        ADDRESS ON FILE
ANANYA M. SAXENA                                                    ADDRESS ON FILE
AND IM THE DAME THAT CAN PROVE IT, INC                              855 S SERRANO AVE APT 41                                                        LOS ANGELES     CA           90005-2770
ANDERSON, ARIK B.                                                   ADDRESS ON FILE
ANDERSON, ASHLEY                                                    ADDRESS ON FILE
ANDERSON, CALVIN                                                    ADDRESS ON FILE
ANDERSON, JOSEPH                                                    ADDRESS ON FILE
ANDERSON, MELISSA                                                   ADDRESS ON FILE
ANDERSON-KOSOKO, JAAMIL OLAWALE                                     ADDRESS ON FILE
ANDRA MEADOWS                                                       ADDRESS ON FILE
ANDRE BROWN                                                         ADDRESS ON FILE
ANDREA CORLEY                                                       ADDRESS ON FILE
ANDREA M. YORITA                                                    ADDRESS ON FILE
ANDREA MEAD                                                         ADDRESS ON FILE
                                                                                                              30 VALLEY STREAM
ANDREW B. YOUNG FOUNDATION             C/O EDWIN R. BOYNTON, ESQ.   GREAT VALLEY CORPORATE CENTER             PARKWAY                               MALVERN         PA           19355-1481
ANDREW LEUSNER                                                      ADDRESS ON FILE
ANDREW MULLIN                                                       ADDRESS ON FILE
ANDREW SAXE                                                         ADDRESS ON FILE
ANDREW STERN                                                        ADDRESS ON FILE
ANDREW W. MELLON FOUNDATION                                         ADDRESS ON FILE
ANDY WARHOL FOUNDATION                                              ADDRESS ON FILE
ANGELA BOONE                                                        ADDRESS ON FILE
ANGELA ESPINOSA                                                     ADDRESS ON FILE
ANGELA PACK                                                         ADDRESS ON FILE
ANGELA RIECHERS                                                     ADDRESS ON FILE
ANGELINA DEVLIN                                                     ADDRESS ON FILE
ANITA HILL                                                          ADDRESS ON FILE
ANKAMAH, ANDREW K. JR.                                              ADDRESS ON FILE
ANN MARIE HERDMAN                                                   ADDRESS ON FILE
ANN RUCKER                                                          ADDRESS ON FILE
ANNA CRUSIS FEMINIST CHOIR                                          PO BOX 42277                                                                    PHILADELPHIA    PA           19101
ANNA GLEITZ                                                         ADDRESS ON FILE
ANNA KIRSTEIN                                                       ADDRESS ON FILE
ANNA MARIES ACADEMY OF DANCE                                        7201 MARSDEN ST                                                                 PHILADELPHIA    PA           19135-1224
ANNABEL SHERON                                                      ADDRESS ON FILE
ANNE GAGNON                                                         ADDRESS ON FILE
ANNE MILOT                                                          ADDRESS ON FILE
ANNE OSWALD                                                         ADDRESS ON FILE
ANNELISE DAHLIN                                                     ADDRESS ON FILE




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                Creditor Name                          Attention                            Address 1                            Address 2              Address 3                 City        State      Zip          Country
ANNETTE GRDEN                                                                 ADDRESS ON FILE
ANNIE FLEISCH                                                                 ADDRESS ON FILE
ANNIE MCKENNA                                                                 ADDRESS ON FILE
ANTENEN, EMMA                                                                 ADDRESS ON FILE
ANTHOLOGY FILM ARCHIVES                                                       32 SECOND AVE                                                                            NEW YORK          NY           10003
ANTHONY BILELLO                                                               ADDRESS ON FILE
ANTHONY FRANK GIGANTE                                                         ADDRESS ON FILE
ANTHONY HARDIN                                                                ADDRESS ON FILE
ANTOINE GARRETT                                                               ADDRESS ON FILE
ANTONIA HOWARD                                                                ADDRESS ON FILE
ANTONIO AGOSTINI                                                              ADDRESS ON FILE
ANTWANE MEADOWS                                                               ADDRESS ON FILE
ANYA S. TRETIAKOVA                                                            ADDRESS ON FILE
APA MUSIC & PICTURES                                                          948 THOMAS DR                                                                            WARMINSTER        PA           18974-2883
APFELBAUM, ALEXIS                                                             ADDRESS ON FILE
APPEL, JONATHAN                                                               ADDRESS ON FILE
APPELL MUSIC, LP                                                              28 KNOLLWOOD DR                                                                          CHERRY HILL       NJ           08002-1618
APPLE FARM ARTS & MUSIC CENTER                                                PO BOX 888                               457 SHIRLEY RD                                  ELMER             NJ           08318
APPLE PRESS LTD                                                               307 COMMERCE DRIVE                                                                       EXTON             PA           19341
APPLE, INC                                                                    PO BOX 281877                                                                            ATLANTA           GA           30384-1877
APPLE, KRISTA                                                                 ADDRESS ON FILE
APPLEGATE, ANDREW R.                                                          ADDRESS ON FILE
APPLES STEWART                                                                ADDRESS ON FILE
APPLIANCE BROKERS, LTD                                                        2B CORN RD                                                                               DAYTON            NJ           08810-1527
APPLIGENT, INC                                                                22 EAST BALTIMORE AVE.                                                                   LANSDOWNE         PA           19050
APRIL INGRAM                                                                  ADDRESS ON FILE
APRIL WHITE                                                                   ADDRESS ON FILE
AQUATHIN CORPORATION                                                          2800 W CYPRESS CREEK RD                                                                  FT LAUDERDALE     FL           33309-1706
ARAMARK MANAGEMENT SERVICES LIMITED                                                                                    ARAMARK TOWER, 24TH
PARTNERSHIP                            ATTN: VP, FINANCE, ARAMARK EDUCATION   ARAMARK TOWER, 24TH FLOOR                FLOOR                      1101 MARKET STREET   PHILADELPHIA      PA           19107-2988
ARAMARK SERVICES, INC.                                                        ARAMARK DALLAS LOCKBOX                   PO BOX 978839                                   DALLAS            TX           75397-8839
ARCADIA UNIVERSITY                     COLL OF GLOBAL STUDIES                 CL # 4465                                PO BOX 95000                                    PHILADELPHIA      PA           19195-4465
ARCADIA UNIVERSITY                                                            450 S. EASTON RD                                                                         GLENSIDE          PA           19038
ARCH SPECIALTY INSURANCE COMPANY       RYAN TURNER SPECIALTY                  1650 ARCH STREET                         26TH FLOOR                                      PHILADELPHIA      PA           19103
ARCHER & GREINER P.C.                                                         1025 LAUREL OAK RD                                                                       VOORHEES          NJ           08043
ARCHER & GREINER, P.C.                                                        1 CENTENNIAL SQ                                                                          HADDONFIELD       NJ           08033-2454
ARCHITECTURAL FINISHES, INC                                                   PO BOX 3297                                                                              SCRANTON          PA           18505-0297
ARDEN THEATRE CO                                                              40 N 2ND ST                                                                              PHILADELPHIA      PA           19106-4504
ARDEN THEATRE CO                                                              40 NORTH 2ND STREET                                                                      PHILADELPHIA      PA           19106
ARENTS-JACKSON, CAROL                                                         ADDRESS ON FILE
ARGERAKIS, CHRISOSTOMOS                                                       ADDRESS ON FILE
ARISTONE, JOE                                                                 ADDRESS ON FILE
ARKINSTALL, ELIZABETH                                                         ADDRESS ON FILE
ARMSTEAD, TYMBRE                                                              ADDRESS ON FILE
ARMSTRONG WORLD INDUSTRIES, INC                                               PO BOX 3001                                                                              LANCASTER         PA           17604-3001
ARNOLD, SARA                                                                  ADDRESS ON FILE
ARNOLD, SARA J.                                                               ADDRESS ON FILE
ARRAYA SOLUTIONS, INC                                                         518 TOWNSHIP LINE RD                     STE 250                                         BLUE BELL         PA           19422
ART ACADEMY OF CINCINNATI                                                     1212 JACKSON STREET                                                                      CINCINNATI        OH           45202
ART IN TRANSIT INC                                                            254 ROSES BROOK RD                                                                       S. KORTRIGHT      NY           13842
ART OF EDUCATION UNIVERSITY                                                   518 MAIN STREET                          STE A                                           OSAGE             IA           50461
ART SERVICES                                                                  3600 SW 110TH AVE                                                                        MIAMI             FL           33165-3538
ART SPIKOL, INC                                                               1616 WALNUT ST APT 906                                                                   PHILADELPHIA      PA           19103-5303
ARTHUR CARDONICK                                                              ADDRESS ON FILE
ASHLEIGH HOWARD                                                               ADDRESS ON FILE
ASHLEY D. BLACK                                                               ADDRESS ON FILE
ASHLEY LOMERY                                                                 ADDRESS ON FILE
ASHLEY SCHWAB                                                                 ADDRESS ON FILE

ASOCIACION PUERTORRIQUENOS EN MARCHA                                          1900 N 9TH ST STE 102                                                                    PHILADELPHIA      PA           19122-2028
ASSOCIATED SPECIALTY CONTRACTING                                              98 LACRUE AVE STE 110                                                                    GLEN MILLS        PA           19342-1010
ASSOCIATION THANH LOAN - COMPA                                                182 RUE LA FAYETTE                                                                       75010 PARIS                                 FRANCE
ASTEROID B612                                                                 914 MOUNTAIN STREET                                                                      PHILADELPHIA      PA           19148
ATELIER                                                                       PO BOX 56316                                                                             PHILADELPHIA      PA           19130
ATI RESTORATION, LLC                                                          PO BOX 8318                                                                              PASADENA          CA           91109-8318
ATLANTIC CITY MUSICIANS UNION                                                 322 WEST 48TH ST                         LOCAL 661-708 A.F. OF M.                        NEW YORK          NY           10036
ATLAS INTERPRETING                                                            1120 BELFIELD AVE                                                                        DREXEL HILL       PA           19026-4210
ATTIE, DOROTHY                                                                ADDRESS ON FILE




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                Creditor Name   Attention                   Address 1                        Address 2         Address 3             City        State      Zip       Country
ATTIE, MICHAEL                              ADDRESS ON FILE
ATTIE, MICHAEL S.                           ADDRESS ON FILE
AUBREY YOUNG                                ADDRESS ON FILE
AUDIO VIDEO REPAIR INC                      9105 COLLINS AVE                                                               PENNSAUKEN       NJ           08110
AUDIO VISUAL CENTER                         220 N LEXINGTON AVE                                                            HAVERTOWN        PA           19083-5006
AUDREY KLEEMAN                              ADDRESS ON FILE
AUGUSTO ECONA TORRES                        ADDRESS ON FILE
AUSTIN LAMONT RESIDUARY TRUST               DECHERT LLPCIRA CENTRE                   2929 ARCH ST STE 400                  PHILADELPHIA     PA           19104-2808
AUTHORITY MEDIA                             2500 SILVERADO TRAIL NORTH                                                     ST. HELENA       CA           94574
AUTISM EXPRESSED                            1549 S. 13TH STREET                                                            PHILADELPHIA     PA           19147
AUTOMATIC DATA PROCESSING                   1125 VIRGINIA DRIVE                                                            FT WASHINGTON    PA           19034-3203
AUTUMN YEARS MAGAZINE                       51 BERKSHIRE PL                                                                ALLENDALE        NJ           07401-2005
AVENUE OF THE ARTS, INC                     123 SOUTH BROAD STREET                   STE 2035                              PHILADELPHIA     PA           19109
AVERY MARTIN                                ADDRESS ON FILE
AWEAU, TANYA A.                             ADDRESS ON FILE
AYDEN S. FLINT                              ADDRESS ON FILE
AZEEZ, DAVID M.                             ADDRESS ON FILE
B AND K ARTS, LLC                           527 SOUTH 16TH STREET                                                          PHILADELPHIA     PA           19146-1646
B&H PHOTO-VIDEO                             REMITTANCE PROCESSING CENTER             PO BOX 28072                          NEW YORK         NY           10087-8072
B. PROUD PHOTOGRAPHY, INC                   1420 HAMILTON STREET                                                           WILMINGTON       DE           19806
B.W. BASTIAN FOUNDATION                     ADDRESS ON FILE
BACHMAN, TREVOR                             ADDRESS ON FILE
BACON, BRIAN                                ADDRESS ON FILE
BAI BRANDS LLC                              1800 EAST STATE STREET                                                         TRENTON          NJ           08609
BAILEY, REN                                 ADDRESS ON FILE
BAKER SOUND STUDIOS                         1821 RANSTEAD ST                                                               PHILADELPHIA     PA           19103
BAKER TILLY US, LLP                         PO BOX 78975                                                                   MILWAUKEE        WI           53278-8975
BAKER, ANNELISE                             ADDRESS ON FILE
BAKER, DASHAWN                              ADDRESS ON FILE
BAKST, LAUREN                               ADDRESS ON FILE
BAKST, LAUREN G.                            ADDRESS ON FILE
BALDWIN WALLACE UNIVERSITY                  275 EASTLAND RD                                                                BEREA            OH           44017
BALL, SHERONDA                              ADDRESS ON FILE
BALLARD SPAHR LLP                           PO BOX 825465                                                                  PHILADELPHIA     PA           19182-5465
BALLARD, KIRSTYN C.                         ADDRESS ON FILE
BALLETX                                     1923 WASHINGTON AVENUE                                                         PHILADELPHIA     PA           19146
BAMKOLE, KAREN                              ADDRESS ON FILE
BANG-JENSEN, NELL                           ADDRESS ON FILE
BANK OF AMERICA                             1600 JOHN F KENNEDY BLVD STE 1100                                              PHILADELPHIA     PA           19103-2807
BANK OF NEW YORK MELLON                     ONE WALL STREET                                                                NEW YORK         NY           10286
BANK ONE FOUNDATION                         PO BOX 7396                                                                    PRINCETON        NJ           08543-7396
BARBARA AND EDWARD LESHIN                   ADDRESS ON FILE
BARBARA BARTHOLOMEW                         ADDRESS ON FILE
BARBARA BAYLIFF                             ADDRESS ON FILE
BARBARA G. RAINVILLE                        ADDRESS ON FILE
BARBARA GEMS                                ADDRESS ON FILE
BARBARA I. FINDLER                          ADDRESS ON FILE
BARBARA IVES                                ADDRESS ON FILE
BARBARA MARTYSKA                            ADDRESS ON FILE
BARBARA RUBY                                ADDRESS ON FILE
BARBARA WINKLER                             ADDRESS ON FILE
BARBOUR, TIFFANI K.                         ADDRESS ON FILE
BARDZIK, RICHARD                            ADDRESS ON FILE
BARGER, JOHN                                ADDRESS ON FILE
BARGER, JOHN W.                             ADDRESS ON FILE
BARLAND, DANIEL                             ADDRESS ON FILE
BARNETT, GEORGIA                            ADDRESS ON FILE
BARRAS, SUSAN                               ADDRESS ON FILE
BARRE, SUSAN B.                             ADDRESS ON FILE
BARRETT, LISA                               ADDRESS ON FILE
BARRINGTON, ERIKA                           ADDRESS ON FILE
BARRY YACHES                                ADDRESS ON FILE
BARRY, MARINA                               ADDRESS ON FILE
BARTHOLOMEW, TRACY                          ADDRESS ON FILE
BASON, TIMOTHY N.                           ADDRESS ON FILE
BASS, BENJAMIN                              ADDRESS ON FILE
BASS, BENJAMIN HARRY                        ADDRESS ON FILE
BATASTINI ORTHODONTICS                      69 BERLIN RD                                                                   CHERRY HILL      NJ           08034-3572




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               Creditor Name                          Attention                         Address 1                           Address 2         Address 3             City        State      Zip       Country
BATSON-EDWARDS, CURTIS                                                   ADDRESS ON FILE
BATTLE, NANIRIAH R.                                                      ADDRESS ON FILE
BAUDER AUDIO SYSTEMS INC                                                 1196 EASTON RD.                                                                  HORSHAM          PA           19044
BAUMGARTNER, CHRISTOPHER                                                 ADDRESS ON FILE
BAURIEDEL, GABRIEL                                                       ADDRESS ON FILE
BAYNARD, MAURICE                                                         ADDRESS ON FILE
BAYONA, CLAUDIA                                                          ADDRESS ON FILE
BAZEMORE ENTERPRISES                                                     324 FAWN HILL LN                                                                 PENN VALLEY      PA           19072-1107
BC&B GRAPHICS, INC                                                       7040 COLONICAL HIGHWAY                                                           PENNSAUKEN       NJ           08109
BDH FOUNDATION                                                           10025 CEDARFIELD CT                                                              HENRICO          VA           23233-1935
BEAL, ANDREW LYCH                                                        ADDRESS ON FILE
BEARS-BAILEY, KIM                                                        ADDRESS ON FILE
BEATRIS STOWELL                                                          ADDRESS ON FILE
BEAUMONT, BARBARA                                                        ADDRESS ON FILE
BEAVER, JESSICA                                                          ADDRESS ON FILE
BECCA MATHESON                                                           ADDRESS ON FILE
BECK, MELINDA                                                            ADDRESS ON FILE
BECK, MEREDITH                                                           ADDRESS ON FILE
BECK, TRACEY RAE                                                         ADDRESS ON FILE
BECKER & FRONDORF                                                        1500 WALNUT ST STE 1910                                                          PHILADELPHIA     PA           19102-3509
BECKER, JAMES                                                            ADDRESS ON FILE
BECKMAN, RICHARD                                                         ADDRESS ON FILE
BECKY HORANSKY                                                           ADDRESS ON FILE
BECKY LINSZ                                                              ADDRESS ON FILE
BECKY LYNCH                                                              ADDRESS ON FILE
BEEKS, SHAWN C.                                                          ADDRESS ON FILE
BEGLEY, MICHELE                                                          ADDRESS ON FILE
BEHLING, KIRSTEN                                                         ADDRESS ON FILE
BEISWENGER, RACHEL L.                                                    ADDRESS ON FILE
BEITER, JEFFREY                                                          ADDRESS ON FILE
BELL, LARISA                                                             ADDRESS ON FILE
BELL, PATRICIA                                                           ADDRESS ON FILE
BELL, SIDRA                                                              ADDRESS ON FILE
BELLENOIT, ROSS                                                          ADDRESS ON FILE
BELLEVUE STRATEGIES, LLC                                                 200 SOUTH BROAD STREET                   STE 410                                 PHILADELPHIA     PA           19102
BELLINGER SOUNDS LLC                                                     1910 MCCLELLAN ST.                                                               PHILADELPHIA     PA           19145
BELLINGER, TYLER J.                                                      ADDRESS ON FILE
BELLO, FRANCISCO                                                         ADDRESS ON FILE
BEN FRANKLIN TECHNOLOGY CENTER OF SE
PA.                                                                      3526 MARKET ST                                                                   PHILADELPHIA     PA           19104-3303
BENALCAZAR, GINA                                                         ADDRESS ON FILE
BENBASSAT, JULIE                                                         ADDRESS ON FILE
BENDER, HAYLEY                                                           ADDRESS ON FILE
BENDER, JEFFREY                                                          ADDRESS ON FILE
BENDER, TAMARA J.                                                        ADDRESS ON FILE
BENEFICIAL BANK                                                          1818 MARKET STREET                                                               PHILADELPHIA     PA           19103
BENJAMIN STERN                                                           ADDRESS ON FILE
BENJAMIN, NIA-SAMARA C.                                                  ADDRESS ON FILE
BENNINGTON COLLEGE                                                       ONE COLLEGE DRIVE                                                                BENNINGTON       VT           05201-6003
BENSON, CHAKA                                                            ADDRESS ON FILE
BERENS-TATE CONSULTING GROUP,                                            10050 REGENCY CIRCLE                     STE 110                                 OMAHA            NE           68114-3721
BERESIN, ANNA                                                            ADDRESS ON FILE
BERGMAN, MATTHEW                                                         ADDRESS ON FILE
BERKE, NORMA                                                             ADDRESS ON FILE
BERKLEE ONLINE                                                           855 BOYLSTON ST                                                                  BOSTON           MA           02116
BERKLEY SPECIALTY INSURANCE COMPANY    C/O BERKLEY SPECIALTY INSURANCE                                                                                                     AZ           85260
                                                                                                                  7233 EAST BUTHERUS
                                       COMPANY                           MAIN ADMINISTRATIVE OFFICE                                                       SCOTTSDALE
BERKLEY SPECIALY INSURANCE COMPANY                                       MAIN ADMINISTRATIVE OFFICE               7233 EAST BUTHERUS                      SCOTTSDALE       AZ           85260
BERKOWITZ, MARNI B.                                                      ADDRESS ON FILE
BERLEANT, ARNOLD                                                         ADDRESS ON FILE
BERLIN BELL-LEVAN                                                        ADDRESS ON FILE
BERLIN, ROGER G.                                                         ADDRESS ON FILE
BERLIN, ROGER G.                                                         ADDRESS ON FILE
BERMAN, MARY                                                             ADDRESS ON FILE
BERNARD, CARA                                                            ADDRESS ON FILE
BERNSTEIN, PETER                                                         ADDRESS ON FILE
                                                                         1500 MARKET STREET3000 CENTRE
BERWIND CORPORATION                                                      SQUARE WEST                                                                      PHILADELPHIA     PA           19102-2107




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               Creditor Name     Attention                 Address 1                          Address 2          Address 3               City        State      Zip       Country
BESKRONE, STEVE                              ADDRESS ON FILE
BEST, MARK                                   ADDRESS ON FILE
BEST, PAUL D.                                ADDRESS ON FILE
BETH FOREMAN                                 ADDRESS ON FILE
BETTS, ELANA                                 ADDRESS ON FILE
BETTS, JAMES                                 ADDRESS ON FILE
BEVELY PELLETIER                             ADDRESS ON FILE
BEVERLY MURPHY                               ADDRESS ON FILE
BEVINGTON, EMILY L.                          ADDRESS ON FILE
BEY, ANGELA A.                               ADDRESS ON FILE
BEYONDTRUST CORPORATION                      PO BOX 734433                                                                   DALLAS             TX           75373-4433
BIALEK HEALTHCARE & RESEARCH
ENVIRONMENTS                                 30 W GUDE DR STE 150                                                            ROCKVILLE          MD           20850-1167
BIESIADECKI, LAURA                           ADDRESS ON FILE
BIG WORLD PICTURES                           2501 SOUTH LA SALLE GARDENS                                                     DETROIT            MI           48206
BILGER, LUKE                                 ADDRESS ON FILE
BILL REILLY                                  ADDRESS ON FILE
BILLIAU, ANDREW                              ADDRESS ON FILE
BINDING101.COM                               ONE MALTESE DRIVE                                                               TOTOWA             NJ           07512
BINSWANGER CO                                THREE LOGAN SQ                           1717 ARCH ST FL 51                     PHILADELPHIA       PA           19103-2725
BIZICH, JASON                                ADDRESS ON FILE
BLACKBAUD, INC                               PO BOX 844827                                                                   BOSTON             MA           02284-4827
BLACKNEY HAYES ARCHITECTS                    150 S INDEPENDENCE MALL W STE 1250                                              PHILADELPHIA       PA           19106-3404
BLACKSTAR FILM FESTIVAL                      1901 SOUTH 9TH STREET                    BOK 414                                PHILADELPHIA       PA           19148
                                                                                      3711 MARKET STREET, 8TH
BLACKSTONE LAUNCHPAD                         UNIVERSITY CITY SCIENCE CENTER           FL                                     PHILADELPHIA       PA           19104
BLAGRAVE, PATRICK                            ADDRESS ON FILE
BLAKE, SEAMUS                                ADDRESS ON FILE
BLANK, RANDE                                 ADDRESS ON FILE
BLASSER, KATHLEEN                            ADDRESS ON FILE
BLASSINGAME, TIA                             ADDRESS ON FILE
BLERD LLC                                    1000 DIXON RD                                                                   ELKINS PARK        PA           19027
BLICK ART MATERIALS                          1849 GREEN BAY RD STE 310                                                       HIGHLAND PARK      IL           60035-3168
BLICK ART MATERIALS                          6910 EAGLE WAY                                                                  CHICAGO            IL           60678-1069
BLOCK, DEBORAH                               ADDRESS ON FILE
BLOOMFIELD, ANTHONY                          ADDRESS ON FILE
BLOSSOM KAN                                  ADDRESS ON FILE
BLUE FLOWER ARTS, LLC                        PO BOX 461                                                                      NORTHAMPTON        MA           01061
BLUE WIZARD MUSIC LLC                        49 E MAIN ST, NO. 1                                                             BEACON             NY           12508
BLUEMEL, CHRISTOPHER                         ADDRESS ON FILE
BLUEMEL, CHRISTOPHER P.                      ADDRESS ON FILE
BLUM, LESLIE                                 ADDRESS ON FILE
BLUPATH DESIGN                               1005 S 7TH ST                                                                   PHILADELPHIA       PA           19147-4804
BO BREDA                                     ADDRESS ON FILE
BOB GREENE                                   ADDRESS ON FILE
BODDY, WENDY                                 ADDRESS ON FILE
BOEING CO                                    PO BOX 3723                                                                     PRINCETON          NJ           08543-3723
BOGGAN, SHANNON                              ADDRESS ON FILE
BOHRENS MOVING & STORAGE                     3 APPLEGATE DRIVE SOUTH                                                         ROBBINSVILLE       NJ           08691
BOLGER, JAMES                                ADDRESS ON FILE
BOLLENBACK, PAUL                             ADDRESS ON FILE
BONDON, ELIZABETH                            ADDRESS ON FILE
BONEFANT, SIMON                              ADDRESS ON FILE
BONENFANT, SIMON                             ADDRESS ON FILE
BONNIE BOYCE                                 ADDRESS ON FILE
BOOKER, LLOYD E.                             ADDRESS ON FILE
BOOTH HERITAGE FOUNDATION, INC               4107 LAKEPLACE LN                                                               AUSTIN             TX           78746-1623
BORISH, JENNIFER                             ADDRESS ON FILE
BOROWER, JESSE                               ADDRESS ON FILE
BORRELLI, KATHLEEN M.                        ADDRESS ON FILE
BOSMAN, CORIE                                ADDRESS ON FILE
BOSTON, LOWELL                               ADDRESS ON FILE
BOURGAULT, THOMAS                            ADDRESS ON FILE
BOUVIER, GRANT C.                            ADDRESS ON FILE
BOWDEN, AMBER                                ADDRESS ON FILE
BOWEN, HALEY                                 ADDRESS ON FILE
BOWEN, SHERYL P.                             ADDRESS ON FILE
BOWIE, JESSICA M.                            ADDRESS ON FILE




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             Creditor Name                       Attention                       Address 1                            Address 2             Address 3              City        State      Zip          Country
BOWMAN, CHRISTINE E.                                              ADDRESS ON FILE
BOYKIN, HOPE                                                      ADDRESS ON FILE
BOYLAN, EAMON                                                     ADDRESS ON FILE
BRACA, NINA                                                       ADDRESS ON FILE
                                                                  ATTN: MARC H. EDELSON, SHOSHANA
BRAD M. SCHUTTS                  C/O EDELSON LECHTZIN LLP         MICHELLE SAVETT, ERIC LECHTZIN           411 S. STATE STREET       SUITE N-300        NEWTOWN           PA           18940
                                                                  ATTN: RYAN ALLEN HANCOCK, JORDAN         1845 WALNUT STREET,
BRAD M. SCHUTTS                  C/O WILLIG WILLIAMS & DAVIDSON   KONELL                                   24TH FLOOR                                   PHILADELPIA       PA           19103
BRAD PAUL                                                         ADDRESS ON FILE
BRAD SIMMONS                                                      ADDRESS ON FILE
                                                                  ATTN: MARC H. EDELSON, SHOSHANA
BRADLEY PHILBERT                 C/O EDELSON LECHTZIN LLP         MICHELLE SAVETT, ERIC LECHTZIN           411 S. STATE STREET       SUITE N-300        NEWTOWN           PA           18940
                                                                  ATTN: RYAN ALLEN HANCOCK, JORDAN         1845 WALNUT STREET,
BRADLEY PHILBERT                 C/O WILLIG WILLIAMS & DAVIDSON   KONELL                                   24TH FLOOR                                   PHILADELPIA       PA           19103
                                                                  ATTN: RYAN ALLEN HANCOCK, JORDAN         1845 WALNUT STREET,
BRADLEY PHILBERT                 C/O WILLIG WILLIAMS & DAVIDSON   KONELL, SAMUEL H. DATLOF                 24TH FLOOR                                   PHILADELPIA       PA           19103
BRADSHAW, PHIL                                                    ADDRESS ON FILE
BRANDON M. LEVENTHAL                                              ADDRESS ON FILE
BRANDON, LUKE                                                     ADDRESS ON FILE
BRASLAVSKY, ALEX                                                  ADDRESS ON FILE
BRENDA CRUTCHER                                                   ADDRESS ON FILE
BRENNA, ARIEL                                                     ADDRESS ON FILE
BRENNAN, JOSEPH                                                   ADDRESS ON FILE
BRENNAN, KEVIN                                                    ADDRESS ON FILE
BRENNAN, KRISTEN                                                  ADDRESS ON FILE
BRENNAN, TERRENCE                                                 ADDRESS ON FILE
BRENNTAG SPECIALTIES                                              5700 TACONY ST                                                                        PHILADELPHIA      PA           19135-4312
BRENT, JACOB                                                      ADDRESS ON FILE
BRENT, JACOB                                                      ADDRESS ON FILE
                                                                                                           2400 MARKET STREET, STE
BRESSLERGROUP                                                     THE MARKETPLACE DESIGN CENTER            1-2                                          PHILADELPHIA      PA           19103-3031
BRETT FELDMAN                                                     ADDRESS ON FILE
BREWER, APRIL                                                     ADDRESS ON FILE
BREWER, ROBIN                                                     ADDRESS ON FILE
BREWER, ROBIN C.                                                  ADDRESS ON FILE
BREY, TIMOTHY                                                     ADDRESS ON FILE
BREY, TIMOTHY J.                                                  ADDRESS ON FILE
BREYMEIER, JOSEPH A.                                              ADDRESS ON FILE
BREZINSKI PROJECT, LLC                                            64 EAST 11TH ST.                         APT 1203                                     NEW YORK          NY           10029
BRIAN C. SCHMIDT                                                  ADDRESS ON FILE
BRIAN M. KELLY                                                    ADDRESS ON FILE
BRIAN RODIN                                                       ADDRESS ON FILE
BRIAN SLEZAK                                                      ADDRESS ON FILE
BRIANA MASON                                                      ADDRESS ON FILE
BRIANNA KING                                                      ADDRESS ON FILE
BRIDGES, WILLIAM I.                                               ADDRESS ON FILE
BRIDGET DENNIN                                                    ADDRESS ON FILE
BRIDGET FARRELL                                                   ADDRESS ON FILE
BRIDGET OMASTA                                                    ADDRESS ON FILE
BRIDGEWAY INSURANCE COMPANY      BRIDGEWAY INSURANCE COMPANY      555 COLLEGE ROAD EAST                                                                 PRINCETON         NJ           08543
BRILLIANT GRAPHICS                                                400 EAGLEVIEW BLVD.                      STE. 104                                     EXTON             PA           19341
BRIND, IRA                                                        ADDRESS ON FILE
BRINNEL, HAILEY                                                   ADDRESS ON FILE
BRISTOL-MYERS SQUIBB CO                                           245 PARK AVENUE                                                                       NEW YORK          NY           10154
                                                                                                                                                                                                    UNITED
BRITISH FILM INSTITUTE                                            21 STEPHEN ST.                                                                        LONDON                                      KINGDOM
BRITT, JAMES                                                      ADDRESS ON FILE
BRITT, JAMES E. JR.                                               ADDRESS ON FILE
BRITTON, LOIS                                                     ADDRESS ON FILE
BRO ROCK, INC                                                     18 STATION AVE                                                                        BERWYN            PA           19312-1323
BROAD STREET COMMUNICATIONS                                       99 WALL ST                                                                            NEW YORK          NY           10005
BROADWAY ARTISTS ALLIANCE, LLC                                    55 LEONARDVILLE RD. STE101                                                            BELFORD           NJ           07718
BROADWAY INBOUND, INC                                             234 WEST 44TH ST.                        5TH FL                                       NEW YORK          NY           10036
BROCK, ASHLEY R.                                                  ADDRESS ON FILE
BROCKS FIRE PROTECTION                                            3529 W 3RD ST                                                                         TRAINER           PA           19061-5109
BRODART CO.                                                       L-3544                                                                                COLUMBUS          OH           43260-0001
BRODERICK, PETER                                                  ADDRESS ON FILE
BRONWYN LLEWELLYN                                                 ADDRESS ON FILE




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               Creditor Name                      Attention                        Address 1                            Address 2           Address 3                 City        State      Zip       Country
BROOKE REEDER                                                        ADDRESS ON FILE
BROOKS, KELSEY                                                       ADDRESS ON FILE
BROOKS, LEONARD                                                      ADDRESS ON FILE
BROOKSHIRE, LAJOYCE                                                  ADDRESS ON FILE
BROOMFIELD, CHAUNDRE                                                 ADDRESS ON FILE
BROWN BROTHERS HARRIMAN & CO.                                        1013 CENTRE RD STE 101                                                                WILMINGTON        DE           19805-1265
BROWN, AMY                                                           ADDRESS ON FILE
BROWN, BRIAN                                                         ADDRESS ON FILE
BROWN, COADY                                                         ADDRESS ON FILE
BROWN, ELIZABETH                                                     ADDRESS ON FILE
BROWN, KATHLEEN                                                      ADDRESS ON FILE
BROWN, KATHLEEN N.                                                   ADDRESS ON FILE
BROWN, KIMBERLY                                                      ADDRESS ON FILE
BROWN, LUCAS                                                         ADDRESS ON FILE
BROWN, LYNETTE                                                       ADDRESS ON FILE
BROWN, TIMOTHY                                                       ADDRESS ON FILE
BROWNING, ARDEN BENDLER                                              ADDRESS ON FILE
BROWNING, CHARLES                                                    ADDRESS ON FILE
BROWNPARTNERS                                                        1616 WALNUT ST STE 1918                                                               PHILADELPHIA      PA           19103
BRUBAKER, STEVEN                                                     ADDRESS ON FILE
BRUCE E. BROOKS & ASSOC                                              2209 CHESTNUT ST.                                                                     PHILADELPHIA      PA           19103
BRUCE FISCHER                                                        ADDRESS ON FILE
BRUCE FOSTER                                                         ADDRESS ON FILE
BRUINSMA, HAILEY                                                     ADDRESS ON FILE
BRUNO BARROS                                                         ADDRESS ON FILE
BRYANT, MARCUS A.                                                    ADDRESS ON FILE
BSIC FINANCIAL BANK                C/O BERKLEY SPECIALTY INSURANCE                                                                                                           AZ           85260
                                                                                                              7233 EAST BUTHERUS
                                   COMPANY                           MAIN ADMINISTRATIVE OFFICE                                                            SCOTTSDALE
BT INSTALLATIONS                                                     168 CHARLES STREET                                                                    SOUTHAMPTON       PA           18966
BUCCI, LISBETH                                                       ADDRESS ON FILE
BUCCI, LISBETH M.                                                    ADDRESS ON FILE
BUCHANAN, CLAUDIA                                                    ADDRESS ON FILE
BUCHANAN, CLAUDIA E.                                                 ADDRESS ON FILE
BUCHMAN, LINDSAY                                                     ADDRESS ON FILE
BUCK BAYLIFF                                                         ADDRESS ON FILE
BUCKEYE TELECOM                                                      1 MIRANOVA PLACE                                                                      COLUMBUS          OH           43215
BUCKS COUNTY COMMUNITY COLLEGE                                       275 SWAMP RD                                                                          NEWTON            PA           18940
BUDDENDORF, WILLIAM                                                  ADDRESS ON FILE
BUDDHA STRETCH LLC                                                   108-136 DR. MARTIN LUTHER                KING JR. BLVD 509B                           NEWARK            NJ           07104
BUDNER, JEFFREY D.                                                   ADDRESS ON FILE
BUETTLER, JEFFREY                                                    ADDRESS ON FILE
BUILDING INDUSTRY ASSOCIATION OF
PHILADELPHIA                                                         1735 MARKET STREET, SUITE 432A                                                        PHILADELPHIA      PA           19103
BURCHERI, CHRISTOPHER                                                ADDRESS ON FILE
BURCHFIELD, DONNA FAYE                                               ADDRESS ON FILE

BUREAU OF CONSUMER PROTECTION                                        HARRISBURG OFFICE                        15TH FL                  STRAWBERRY SQUARE   HARRISBURG        PA           17120
BURGESS, MATTHEW J.                                                  ADDRESS ON FILE
BURKE, HANNAH                                                        ADDRESS ON FILE
BURKE, SIOBHAN                                                       ADDRESS ON FILE
BURKO, DIANE                                                         ADDRESS ON FILE
BURLAN, NANCY                                                        ADDRESS ON FILE
BURNHAM, LAUREN                                                      ADDRESS ON FILE
BURNS, LOREN                                                         ADDRESS ON FILE
BURNS, LOREN CHRISTOPHER                                             ADDRESS ON FILE
BURNSOO SONG                                                         ADDRESS ON FILE
BURSESE, STEPHANIE                                                   ADDRESS ON FILE
BURT, STEPHANIE                                                      ADDRESS ON FILE
BURTON, DECCLAN                                                      ADDRESS ON FILE
BURTON, GEORGE III                                                   ADDRESS ON FILE
BUSH, HANNAH                                                         ADDRESS ON FILE
BUSHEY, TRISTAN T.                                                   ADDRESS ON FILE
BUTLER, FRED                                                         ADDRESS ON FILE
BY, CHARLENNA                                                        ADDRESS ON FILE
BYARD, JILLIAN                                                       ADDRESS ON FILE
BYNDER LLC                                                           321 SUMMER ST.                           1ST FL                                       BOSTON            MA           02210
BYRDSONG, SAMANTHA                                                   ADDRESS ON FILE
BYRNE, ISAAC                                                         ADDRESS ON FILE




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                Creditor Name      Attention                   Address 1                           Address 2         Address 3              City          State      Zip       Country
BYRNE, ISAAC J.                                ADDRESS ON FILE
BYRON KARABATSOS                               ADDRESS ON FILE
C&G PARTNERS                                   116 E 16TH ST FL 10                                                               NEW YORK            NY           10003-2112
C. ERICKSON AND SONS, INC                      2200 ARCH ST                             STE 200                                  PHILADELPHIA        PA           19103
C. R. WALDMAN GRAPHIC COMM                     9100 PENNSAUKEN HWY                                                               PENNSAUKEN          NJ           08110-1206
C. TED KALTWASSER                              ADDRESS ON FILE
CADE, MAYA                                     ADDRESS ON FILE
CAILIN DALEY                                   ADDRESS ON FILE
CAITLIN CREWS                                  ADDRESS ON FILE
CAITLIN MCLAUGHLIN                             ADDRESS ON FILE
CALABRO, KAITLIN                               ADDRESS ON FILE
CALABRO, KAITLIN MARIE                         ADDRESS ON FILE
CALHOUN ASSOC, INC                             6850 HIBBS LN                                                                     LEVITTOWN           PA           19057-4309
CALIFORNIA COLLEGE OF THE ARTS                 1111 EIGHTH ST                                                                    SAN FRANCISCO       CA           94107
CALIFORNIA INSTITUTE OF THE ARTS               24700 MCBEAN PARKWAY                                                              VALENCIA            CA           91355
CALLISON, DAVID                                ADDRESS ON FILE
CALLOWAY, NATHANIEL O. II                      ADDRESS ON FILE
CALLOWHILL CAPITAL ADVISORS,                   325 CHESTNUT STREET                      STE. 800                                 PHILADELPHIA        PA           19106
CALVIN WATSON                                  ADDRESS ON FILE
CAMILLE GRANT                                  ADDRESS ON FILE
CAMPAIGN MONITOR PTY LTD                       DEPT LA 24535                                                                     PASADENA            CA           91185-4535
CAMPBELL SOUP CO                               1 CAMPBELL PL                                                                     CAMDEN              NJ           08103-1701
CAMPBELL, JOSHUA                               ADDRESS ON FILE
CAMPBELL, JOSHUA A.                            ADDRESS ON FILE
CAMPUS PHILLY                                  1515 MARKET ST STE 830                                                            PHILADELPHIA        PA           19102-1909
CAMYAR, ISA                                    ADDRESS ON FILE
CANALES, TAYSHA                                ADDRESS ON FILE
CANDY MAGGIONCALDA                             ADDRESS ON FILE
CANTOR, FRANKLYN                               ADDRESS ON FILE
CAPITAL AREA INTERMEDIATE UNIT                 55 MILLER ST.                                                                     ENOLA               PA           17025-1640
CAPONE PRODUCTIONS                             967 QUEENS HIGHWAY                                                                ACCORD              NY           12404
CAPORASO, RUDOLPH                              ADDRESS ON FILE
CAPPY, MATTHEW R.                              ADDRESS ON FILE
CARBONE SMOLAN ASSOC                           22 WEST 19TH STREET10TH FL                                                        NEW YORK            NY           10011-4204
CARBONE, DENISE                                ADDRESS ON FILE
CARDONICK, MARIANN                             ADDRESS ON FILE
CAREER CONCEPTS, INC                           721 ARBOR WAY - STE. 180                                                          BLUE BELL           PA           19422
CAREERSPOTS LLC                                PO BOX 154                                                                        NEWTOWN SQUARE      PA           19073
CAREN DEMYEN                                   ADDRESS ON FILE
CARESSE FERRARO                                ADDRESS ON FILE
CAREY DEPALMA                                  ADDRESS ON FILE
CAREY, RACHEL                                  ADDRESS ON FILE
CARFAGNO, ANDREW                               ADDRESS ON FILE
CARIBOU CAFE                                   1126 WALNUT STREET                                                                PHILADELPHIA        PA           19107
CARL N. FOLTZ 196                              ADDRESS ON FILE
CARLANO, JOHN J.                               ADDRESS ON FILE
CARMEN BIGIO                                   ADDRESS ON FILE
CARMONA, JENNICA                               ADDRESS ON FILE
CARNARD, TRACEY                                ADDRESS ON FILE
CAROL ABRUZZI                                  ADDRESS ON FILE
CAROL ARENTS-JACKSON                           ADDRESS ON FILE
CAROL CONTE                                    ADDRESS ON FILE
CAROL PROVINE                                  ADDRESS ON FILE
CAROL RAINEY                                   ADDRESS ON FILE
CAROL SONSINO                                  ADDRESS ON FILE
CAROLINE PROVINE                               ADDRESS ON FILE
CAROLYN JOHNSON                                ADDRESS ON FILE
CAROLYN ONEILL                                 ADDRESS ON FILE
CAROLYN RAINVILLE                              ADDRESS ON FILE
CARPENTER, PAUL                                ADDRESS ON FILE
CARPETSMITH                                    7819 TORRESDALE AVENUE                                                            PHILADELPHIA        PA           19136-3333
CARR & DUFF, INC                               2100 BYBERRY RD.                                                                  HUNTINGDON VALLEY   PA           19006-3598
CARRIE A. REID                                 ADDRESS ON FILE
CARROLL, DANIEL JOSEPH GILES                   ADDRESS ON FILE
CARTAGENA, MELANIE                             ADDRESS ON FILE
CARTER, MAXWELL J.                             ADDRESS ON FILE
CARUTHERS, DONALD M.                           ADDRESS ON FILE
CARY, LORENE                                   ADDRESS ON FILE




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               Creditor Name                            Attention                      Address 1                            Address 2             Address 3               City        State      Zip       Country
CASERTA, MARK                                                            ADDRESS ON FILE
CASERTA, MARK F.                                                         ADDRESS ON FILE
CASON, THOMAS                                                            ADDRESS ON FILE
CASSANDRA WHETSTONE                                                      ADDRESS ON FILE
CASTELLANOS, JAQUEN                                                      ADDRESS ON FILE
CASTILLO, SEBASTIAN                                                      ADDRESS ON FILE
CASTRO, ECEM K.                                                          ADDRESS ON FILE
CAT R. RAMIREZ                                                           ADDRESS ON FILE
CATANOSO, HANNAH                                                         ADDRESS ON FILE
CATE SEWALL                                                              ADDRESS ON FILE
CATERERS IN THE PARK, LLC                                                540 MILL ST                                                                           BELLEVILLE        NJ           07109-1604
CATHERINE CANNELLA                                                       ADDRESS ON FILE
CATHERINE NAVARRO                                                        ADDRESS ON FILE
CATHERINE R. AND ANTHONY A. CLIFTON
FOUNDATION                                                               ADDRESS ON FILE
CATHRYN MCCLOSKEY                                                        ADDRESS ON FILE
CAVIN-MORRIS GALLERY                                                     210 11TH AVE RM 201                                                                   NEW YORK          NY           10001-1210
CAWLEY ET AL V. THE UNIVERSITY OF THE                                    ATTN: RYAN ALLEN HANCOCK, JORDAN         1845 WALNUT STREET,
ARTS                                    C/O WILLIG WILLIAMS & DAVIDSON   KONELL, SAMUEL H. DATLOF                 24TH FLOOR                                   PHILADELPIA       PA           19103
CAWLEY, STEPHANIE                                                        ADDRESS ON FILE
CAWLEY, STEPHANIE                                                        ADDRESS ON FILE
CCS                                                                      PO BOX 419560                                                                         BOSTON            MA           02241-9560
CDW COMPUTER CENTERS, INC                                                200 N MILWAUKEE AVE                                                                   VERNON HILLS      IL           60061-1577
CDW GOVERNMENT                                                           75 REMITTANCE DRIVE                      STE 1515                                     CHICAGO           IL           60675-1515
CEDAR CREST COLLEGE                                                      100 COLLEGE DR                                                                        ALLENTOWN         PA           18104-6132
CEDAR HOLLOW SALES, INC                                                  1101 CHURCH RD                                                                        MALVERN           PA           19355
CEISLER MEDIA & ISSUE ADVOCACY                                           130 NORTH 18TH STREET                    STE 1300                                     PHILADELPHIA      PA           19103
CELESTE WOHL                                                             ADDRESS ON FILE
CERTAPRO PAINTERS                                                        910 NORTH YORK RD                                                                     WILLOW GROVE      PA           19090
                                                                                                                                           PHILADELPHIA OPEN
CFEVA                                                                    237 SOUTH 18TH ST.                       STE 3A                   STUDIO TOURS        PHILADELPHIA      PA           19103
CHACON, JOSE ANTONIO D.                                                  ADDRESS ON FILE
CHAMBER OF COMMERCE FOR                                                  200 SOUTH BROAD ST                       STE 700                                      PHILADELPHIA      PA           19102
CHAMBERLAIN, MARTHA                                                      ADDRESS ON FILE
CHANCELLOR APARTMENTS                                                    206 S 13TH ST                                                                         PHILADELPHIA      PA           19107
CHANDRA HANCOCK                                                          ADDRESS ON FILE
CHANG, ASHLEY                                                            ADDRESS ON FILE
CHANG, YUCHEN                                                            ADDRESS ON FILE
CHANGE PARTNERS                                                          219 GREENBRIAR LN                                                                     HAVERTOWN         PA           19083-2847
CHAPIN, JULIE K.                                                         ADDRESS ON FILE
                                                                         ATTN: MARC H. EDELSON, SHOSHANA
CHARIS DUKE                             C/O EDELSON LECHTZIN LLP         MICHELLE SAVETT, ERIC LECHTZIN           411 S. STATE STREET      SUITE N-300         NEWTOWN           PA           18940
                                                                         ATTN: RYAN ALLEN HANCOCK, JORDAN         1845 WALNUT STREET,
CHARIS DUKE                             C/O WILLIG WILLIAMS & DAVIDSON   KONELL                                   24TH FLOOR                                   PHILADELPIA       PA           19103
                                                                         ATTN: RYAN ALLEN HANCOCK, JORDAN         1845 WALNUT STREET,
CHARIS DUKE                             C/O WILLIG WILLIAMS & DAVIDSON   KONELL, SAMUEL H. DATLOF                 24TH FLOOR                                   PHILADELPIA       PA           19103
CHARLES D. OLIVO                                                         ADDRESS ON FILE
CHARLES E. ELLIS TRUST                                                   ADDRESS ON FILE
CHARLES HARRIS                                                           ADDRESS ON FILE
CHARLES HARTUNG, CHARLES JR.                                             ADDRESS ON FILE
CHARLES HONEYMAN                                                         ADDRESS ON FILE
CHARLES L. MILLER, JR.                                                   ADDRESS ON FILE
CHARLES MCMONAGLE                                                        ADDRESS ON FILE
CHARLIE FLIPPEN                                                          ADDRESS ON FILE
CHARLOTTE DALEY                                                          ADDRESS ON FILE
CHARON, ALEC                                                             ADDRESS ON FILE
CHARY, ELLAROSE                                                          ADDRESS ON FILE
CHECA-GISMERO, PALOMA                                                    ADDRESS ON FILE
CHELLISHA TURNER                                                         ADDRESS ON FILE
CHELSEA M. DAVIS                                                         ADDRESS ON FILE
CHENERY, MATTHEW                                                         ADDRESS ON FILE
CHENG PRESTON, GABRIEL YI                                                ADDRESS ON FILE
CHENKIN, BEATRICE                                                        ADDRESS ON FILE
CHERYL THOMAS                                                            ADDRESS ON FILE
CHESTER COUNTY INTERMEDIATE UNIT                                         455 BOOT ROAD                                                                         DOWNINGTOWN       PA           19335
CHESTER, JORDAN                                                          ADDRESS ON FILE
CHEZ DANCE STUDIO                                                        224 FRIES MILL RD                                                                     TURNERSVILLE      NJ           08012-2025
CHIPOTLE MEXICAN GRILL                                                   1401 WYNKOOP ST STE 500                                                               DENVER            CO           80202-1729




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               Creditor Name                           Attention                  Address 1                          Address 2            Address 3                 City             State      Zip          Country
CHLOE DEON                                                          ADDRESS ON FILE
CHORY, CRISTINE                                                     ADDRESS ON FILE
CHRIS LAMBO                                                         ADDRESS ON FILE
CHRIS MCDONNELL                                                     ADDRESS ON FILE
CHRIS NORDSTROM                                                     ADDRESS ON FILE
CHRIS ROE                                                           ADDRESS ON FILE
CHRISTENSEN, MARIA                                                  ADDRESS ON FILE
CHRISTENSEN, MARIA J.                                               ADDRESS ON FILE
CHRISTIAN J. OATTS                                                  ADDRESS ON FILE
CHRISTIAN R. & MARY F. LINDBACK
FOUNDATION                              C/O DUANE MORRIS LLP        30 S 17TH ST FL 5                                                                      PHILADELPHIA         PA           19103-4196
CHRISTIAN, HEATHER                                                  ADDRESS ON FILE
CHRISTINA MEADOWS                                                   ADDRESS ON FILE
CHRISTINA ZANI                                                      ADDRESS ON FILE
CHRISTINE DEFEO                                                     ADDRESS ON FILE
CHRISTINE DYE                                                       ADDRESS ON FILE
CHRISTINE EISENMANN                                                 ADDRESS ON FILE
CHRISTINE FREY                                                      ADDRESS ON FILE
CHRISTINE JANSEN                                                    ADDRESS ON FILE
CHRISTINE PAVLICEK                                                  ADDRESS ON FILE
CHRISTINE RADCLIFF                                                  ADDRESS ON FILE
CHRISTINE REILLY                                                    ADDRESS ON FILE
CHRISTINE WRIGHT                                                    ADDRESS ON FILE
CHRISTINE ZERANCE                                                   ADDRESS ON FILE
CHRISTMAS, ROOSEVELT                                                ADDRESS ON FILE
CHRISTOPHER ADORNATO                                                ADDRESS ON FILE
CHRISTOPHER BONCIMINO                                               ADDRESS ON FILE
CHRISTOPHER M. CASAZZA                                              ADDRESS ON FILE
CHUBB                                                               436 WALNUT ST                                                                          PHILADELPHIA         PA           19106-3703
CHUBB GROUP OF INSURANCE COMPANIES                                  202B HALL'S MILL ROAD                                                                  WHITEHOUSE STATION   NJ           08889
CHUNG, BELINDA                                                      ADDRESS ON FILE
CHUNG, CHRISTINA                                                    ADDRESS ON FILE
CHUONG, JASON                                                       ADDRESS ON FILE
CHUTE MASTER ENVIRONMENTAL                                          1640 VAUXHALL RD                                                                       UNION                NJ           07083-3413
CIANFRANO, VERONICA                                                 ADDRESS ON FILE
CICCONI, ASHLEIGH                                                   ADDRESS ON FILE
CIERVO, MICHAEL                                                     ADDRESS ON FILE
CIERVO, MICHAEL J.                                                  ADDRESS ON FILE
CINDY ARCHER                                                        ADDRESS ON FILE
CINDY HOOSE                                                         ADDRESS ON FILE
CINEDELPHIA ENTERTAINMENT LLC                                       531 NORTH 12TH STREET                                                                  PHILADELPHIA         PA           19123
CINESPEAK                                                           6251 WEBSTER STREET                                                                    PHILADELPHIA         PA           19143
CIRCLE SQUARE STUDIOS                                               812 E THOMPSON ST                                                                      PHILADELPHIA         PA           19125
CIRCO ZERO                                                          2842 FOLSOM ST.                                                                        SAN FRANCISCO        CA           94110
CIRINO, STEPHEN                                                     ADDRESS ON FILE
CIRINO, STEPHEN R.                                                  ADDRESS ON FILE
CIRO ELECTRICAL SUPPLY CO.                                          1740 JACKSON ST                                                                        PHILADELPHIA         PA           19145-3835
CITATION GRAPHICS, INC                                              7025 CENTRAL HWY                                                                       PENNSAUKEN           NJ           08109-4312
CITE DE MEMOIRE                                                     30-32 RUE DE LA PLAINE                                                                 75020 PARIS                                    FRANCE
CITINO, RALPH                                                       ADDRESS ON FILE
CITIZENS BANK                                                       1701 JOHN F KENNEDY BLVD FL 22                                                         PHILADELPHIA         PA           19103-2849
CITIZENS FOR THE ARTS IN PENNSYLVANIA                               100 NORTH CAMERON STREETSTE 108-A                                                      HARRISBURG           PA           17102-2179
CITRIX SYSTEMS, INC                                                 CLOUD COLLECTIONS                        PO BOX 936497                                 ATLANTA              GA           31193-6497
CITY OF PHILADELPHIA                                                1401 JOHN F KENNEDY BOULEVARDFL 6                                                      PHILADELPHIA         PA           19102-1617
CITY OF PHILADELPHIA                                                DEPARTMENT OF REVENUE / WATER            PO BOX 41496                                  PHILADELPHIA         PA           19101-1496
                                                                                                             PUBLIC SERVICES        1401 JOHN F. KENNEDY
CITY OF PHILADELPHIA                                                MUNICIPAL SERVICES BUILDING              CONCOURSE              BLVD                   PHILADELPHIA         PA           19102

CITY OF PHILADELPHIA                                                PHILADELPHIA DEPARTMENT OF REVENUE PO BOX 8409                                         PHILADELPHIA         PA           19105
CITY OF PHILADELPHIA DEPARTMENT OF
REVENUE                                                             PO BOX 8409                                                                            PHILADELPHIA         PA           19105
CITY OF PHILADELPHIA DEPT. OF                                       B61 CITY HALL                                                                          PHILADELPHIA         PA           19107
CITY PLANTER                                                        814 NORTH 4TH STREET                                                                   PHILADELPHIA         PA           19123
CLAIBORNE, JAMES E. JR.                                             ADDRESS ON FILE
CLAIR ODELL GROUP                                                   1620 BETHLEHEM PIKE                                                                    FLOURTOWN            PA           19031
CLARK, CORNELL                                                      ADDRESS ON FILE
CLAUDIA PAUL                                                        ADDRESS ON FILE
CLAUS, MADISON                                                      ADDRESS ON FILE




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               Creditor Name                          Attention                       Address 1                          Address 2             Address 3               City             State      Zip       Country
CLAYBORN, CAMERON                                                      ADDRESS ON FILE
CLEAR SOUND INC                                                        546 PENN STREET                                                                      YEADON                 PA           19050
CLEAR TOUCH INTERACTIVE INC                                            1100 THOUSAND OAKS BLVD                                                              GREENVILLE             SC           29607
CLEIGHTON, KAREN                                                       ADDRESS ON FILE
CLEIGHTON, KAREN A.                                                    ADDRESS ON FILE
CLEMENS CONSTUCTION CO., INC                                           1438 WALNUT ST                                                                       PHILADELPHIA           PA           19102-4016
CLEMENS, NOBUHLE R.                                                    ADDRESS ON FILE
CLIFT, JULIA                                                           ADDRESS ON FILE
CLINTON HILL/ALLEN TRAN FOUNDATION                                     37545 LOS COCOS DR E                                                                 RANCHO MIRAGE          CA           92270-2119
CLOUD CANVAS/PARIVEDA SOLUTIONS                                        2811 MCKINNEY AVE                       SUITE 320                                    DALLAS                 TX           75204
CLOUD GEHSHAN ASSOC                                                    444 N 3RD ST STE 601                                                                 PHILADELPHIA           PA           19123-4151
CM BURROUGHS                                                           4250 NORTH MARINE DRIVE                 APT #2707                                    CHICAGO                IL           60613
CMS GILBRETH PACKAGING SYSTEMS, INC                                    8 INTERPLEX DR STE 219                                                               FEASTERVILLE TREVOSE   PA           19053-6980
CMW ENTERTAINMENT LLC                                                  1500 WILLOWBROOK BLVD                   STE 110 #4606                                WAYNE                  NJ           07470
CNI SALES, INC                        CORPORATE NETWORKING             PO BOX 180                              2960 SKIPPACK PIKE                           WORCESTER              PA           19490
CNI SALES, INC                                                         2960 SKIPPACK PIKEPO BOX 180                                                         WORCESTER              PA           19490-0180
COASTAL COMM GROUP                                                     6820C N CRESCENT BLVD                                                                PENNSAUKEN             NJ           08110-1540
COCKERM, SHEMEKA                                                       ADDRESS ON FILE
COFFEY, DEBORAH                                                        ADDRESS ON FILE
COGENT COMMUNICATIONS, INC.                                            2450 N ST NW                                                                         WASHINGTON             DC           20037
COGENT COMMUNICATIONS, INC.                                            PO BOX 791087                                                                        BALTIMORE              MD           21279-1087
COHEN KOTLER                                                           ADDRESS ON FILE
COHEN, STEPHANIE OSIN                                                  ADDRESS ON FILE
COHEN, YVE LARIS                                                       ADDRESS ON FILE
COLADONATO, STEPHANIE                                                  ADDRESS ON FILE
COLANERI, CHRISTOPHER                                                  ADDRESS ON FILE
COLBURN, ALEXANDRA                                                     ADDRESS ON FILE
COLBURN, ALEXANDRA K.                                                  ADDRESS ON FILE
COLE, ALYSSA                                                           ADDRESS ON FILE
COLEMAN CAMPBELL INC                                                   PO BOX 354                                                                           HIGHLAND FALLS         NY           10928
COLEMAN, MARGARET                                                      ADDRESS ON FILE
COLGATE-PALMOLIVE CO                                                   300 PARK AVENUE                                                                      NEW YORK               NY           10022
                                                                       ATTN: MARC H. EDELSON, SHOSHANA
COLIN KENNEY                          C/O EDELSON LECHTZIN LLP         MICHELLE SAVETT, ERIC LECHTZIN          411 S. STATE STREET      SUITE N-300         NEWTOWN                PA           18940
                                                                       ATTN: RYAN ALLEN HANCOCK, JORDAN        1845 WALNUT STREET,
COLIN KENNEY                          C/O WILLIG WILLIAMS & DAVIDSON   KONELL                                  24TH FLOOR                                   PHILADELPIA            PA           19103
                                                                       ATTN: RYAN ALLEN HANCOCK, JORDAN        1845 WALNUT STREET,
COLIN KENNEY                          C/O WILLIG WILLIAMS & DAVIDSON   KONELL, SAMUEL H. DATLOF                24TH FLOOR                                   PHILADELPIA            PA           19103
COLLALTO, LAUREN                                                       ADDRESS ON FILE
COLLECTIVE SPEAKERS LLC                                                PO BOX 803                                                                           WINDSOR                CO           80550
COLLEGE FOR CREATIVE STUDIES                                           201 E KIRBY                                                                          DETROIT                MI           48202
COLLEGENET, INC.                      ATTN ACCOUNTS RECEIVABLE         805 SW BROADWAY                         STE 1600                                     PORTLAND               OR           97205
COLLEGIATE ENTERPRISE                                                  3 CENTENNIAL DRIVE                      STE. 320                                     PEABODY                MA           01960
COLLIER, BRANDY NICOLE                                                 ADDRESS ON FILE
COLLINS, ARDITH                                                        ADDRESS ON FILE
COLLINS, ARDITH J.                                                     ADDRESS ON FILE
COLLINS, JAKE                                                          ADDRESS ON FILE
COLLINS, LAUREN J.                                                     ADDRESS ON FILE
COLLINS-ACHILLE, SHANI                                                 ADDRESS ON FILE
COLONIAL ELECTRIC SUPPLY CO.                                           417 CALLOWHILL STREET                                                                PHILADELPHIA           PA           19123-4018
COLON-NAVA, AMALIA G.                                                  ADDRESS ON FILE
COLORADO STATE BANK AND TRUST                                          BOKF, NA                                                                             TULSA                  OK           74192-0001
COLWES, BRANDON                                                        ADDRESS ON FILE
COMMANDER JAMES H. BATEMAN                                             ADDRESS ON FILE
COMMERCE CAPITAL MARKETS, INC                                          2005 MARKET ST                                                                       PHILADELPHIA           PA           19103-7042
COMMONWEALTH CONSULTING GROUPS                                         210 W WASHINGTON SQ APT 11SW                                                         PHILADELPHIA           PA           19106-3509
COMMONWEALTH OF PA-USTIF                                               901 NORTH 7TH STREET                                                                 HARRISBURG             PA           17102
COMMONWEALTH OF PENNSYLVANIA                                           333 MARKET STREET                                                                    HARRISBURG             PA           17120-0001
COMMONWEALTH OF PENNSYLVANIA                                           DEPARTMENT OF STATE                     UNCLAIMED PROPERTY       PO BOX 783473       PHILADELPHIA           PA           19178-3473
COMMONWEALTH OF PENNSYLVANIA OFFICE                                    CHARITABLE TRUSTS AND
OF ATTORNEY GENERAL                                                    ORGANIZATIONS SECTION                   14TH FL                  STRAWBERRY SQUARE   HARRISBURG             PA           17120
COMMUNITY COLLEGE OF PHILADELPHIA                                      1700 SPRING GARDEN STREET                                                            PHILADELPHIA           PA           19130
COMMUNITY FIRST ABSTRACT                                               550 TOWNSHIP LINE RD STE 350                                                         BLUE BELL              PA           19422-2734
COMPASS GROUP                                                          2400 YORKMONT ROAD                                                                   CHARLOTTE              NC           28217
COMPASS GROUP USA, INC.                                                TREASURY DEPARTMENT                     2400 YORKMONT RD.                            CHARLOTTE              NC           28217
COMPOSING ROOM, INC.                                                   5001 SOUTHWEST AVE                                                                   ST. LOUIS              MO           63110
COMPUTER DESIGN & INTEGRATION                                          PO BOX 23246                                                                         NEW YORK               NY           10087-3246
CONCETTA MATTIONI                                                      ADDRESS ON FILE




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              Creditor Name                Attention                  Address 1                           Address 2            Address 3             City        State       Zip      Country
CONESTOGA VALLEY HIGH SCHOOL                           2110 HORSESHOE RD                                                                    LANCASTER       PA           17601
CONNELLY FOUNDATION                                    100 FRONT ST STE 1450                                                                W CNSHOHOCKEN   PA           19428-2873
CONNIE WOOLFORD                                        ADDRESS ON FILE
CONQUER THE SOIL                                       1993 BRIAN WAY                                                                       DECATUR         GA           30033
CONSERVEST CAPITAL ADVISORS, INC                       257 E. LANCASTER AVE.                                                                WYNNEWOOD       PA           19096
CONSOLATI, CLAUDIA                                     ADDRESS ON FILE
CONSTANCE MENSH                                        1241 EAST FLETCHER STREET                                                            PHILADELPHIA    PA           19125
CONSTITUO SOFTWARE LLC                                 PO BOX 458                               PO BOX 458                                  W. SIMSBURY     CT           06092
CONSTITUO SOFTWARE LLC                                 PO BOX 458                                                                           W. SIMSBURY     CT           06092
CONSTON FOUNDATION                                     41 CONSHOHOCKEN STATE RD APT 612                                                     BALA CYNWYD     PA           19004-2417
CONSULATE GENERAL OF SWITZERLAND                       633 3RD AVE FL 30                                                                    NEW YORK        NY           10017-8164
CONTESSA, ELIZABETH A.                                 ADDRESS ON FILE
CONTINENTAL CASUALTY COMPANY (CAN)   CNA               ATTN: RYAN RICHARDSON                    100 MATSONFORD ROAD                         RADNOR          PA           19807
                                                                                                THREE RADNOR
CONTINENTAL CASUALTY COMPANY (CAN)   CNA               ATTN: RYAN RICHARDSON                    CORPORATE CENTER         100 MATSONFORD ROAD RADNOR         PA           19087
CONTINUING THE LEGACY DANCE
FOUNDATION                                             330 SHADYBROOK LANE                      UNIT D                                      LAS VEGAS       NV           89107
COOKE BROWN LLC                                        871 SEVEN OAKS BLVD.                     STE 220                                     SMYMA           TN           37167
COOKE, COURTNEY                                        ADDRESS ON FILE
COOLEY LLP                                             3 EMBARCADERO CENTER                     20TH FLOOR                                  SAN FRANCISCO   CA           94111-4004
COONEY, CATHERINE                                      ADDRESS ON FILE
COOPER, JACOB                                          ADDRESS ON FILE
COOPER-HACKMAN, ANAIS                                  ADDRESS ON FILE
COOPER-RAMSEY, SAVANNAH                                ADDRESS ON FILE
COOVER, RODERICK                                       ADDRESS ON FILE
COPY, MEDIA                                            ADDRESS ON FILE
CORDARO, JOSEPH                                        ADDRESS ON FILE
CORDARO, JOSEPH A.                                     ADDRESS ON FILE
COREY SCIARRILLO                                       ADDRESS ON FILE
CORRALES, LANA                                         ADDRESS ON FILE
CORSILLI, JENNIFER                                     ADDRESS ON FILE
CORTI, DANIEL                                          ADDRESS ON FILE
COSMIC RAYS FOUNDATION                                 16 DAVIE CIRCLE                                                                      CHAPE HILL      NC           27514
COSTA, NICHOLAS M.                                     ADDRESS ON FILE
COTTMAN, RUFUS A.                                      ADDRESS ON FILE
COUNCIL OF INDEPENDENT                                 ONE DUPONT CIRCLE                        NW                       STE 320            WASHINGTON      DC           20036-1142
COURTNEY E. TUCKER                                     ADDRESS ON FILE
COURTNEY, MATTHEW                                      ADDRESS ON FILE
COURTNEY, MATTHEW N.                                   ADDRESS ON FILE
COURTNEY, MICHAEL                                      ADDRESS ON FILE
COURTNEY, MICHAEL L.                                   ADDRESS ON FILE
COUWENBERG, ANNET                                      ADDRESS ON FILE
COVERDALE, BRANCHE                                     ADDRESS ON FILE
COVERDALE, BRANCHE K.                                  ADDRESS ON FILE
COVONE, JOSEPH                                         ADDRESS ON FILE
COWARD-GILMORE, ANTOINETTE                             ADDRESS ON FILE
COWEN, JAMES                                           ADDRESS ON FILE
COX, AIMEE M.                                          ADDRESS ON FILE
COX, CHRISTINE                                         ADDRESS ON FILE
CRAFT IN AMERICA                                       1120 S ROBERTSON BLVD STE 301                                                        LOS ANGELES     CA           90035-1471
CRAFT PRO MASONRY RESTORATION INC                      69 ZIMMERMAN LANE                        UNIT A                                      HULMEVILLE      PA           19047
CRAFTNOW PHILADELPHIA                                  100 SOUTH JUNIPER ST.                    OFFICE 510                                  PHILADELPHIA    PA           19107
CRAIG DARE                                             ADDRESS ON FILE
CRAIG KAISAND                                          ADDRESS ON FILE
CRAM, LINDSAY                                          ADDRESS ON FILE
CRAM, LINDSAY A.                                       ADDRESS ON FILE
CRAWFORD-SILVA, PIA E.                                 ADDRESS ON FILE
CRAWLEY, ASHON T.                                      ADDRESS ON FILE
CREATIVE ACTS LEARNING CENTER                          6634 EASTON AVE                          NW                                          WAHINGTON       DC           20012
CREATIVE CORPORATE TRAINING                            909 10TH AVENUE                          APT 2                                       PROSPECT PARK   PA           19076
CREDITS AND INCENTIVES CORP.                           155 CANDELERO DR APT B7                                                              HUMACAO         PR           00791-6175
CRERAND, PAUL                                          ADDRESS ON FILE
CRESA PARTNERS BOSTON                                  200 STATE ST FL 13                                                                   BOSTON          MA           02109-2605
CRESS, RICHARD                                         ADDRESS ON FILE
CRESS, RICHARD B.                                      ADDRESS ON FILE
CRESTLEA FOUNDATION                                    100 W 10TH ST STE 1109                                                               WILMINGTON      DE           19801-1694
CREWS, CAITLIN                                         ADDRESS ON FILE
CRICHTON, KYLE                                         ADDRESS ON FILE




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CRISTOFARO, MARC                                                       ADDRESS ON FILE
CRITERION LABORATORIES INC                                             400 STREET RD                                                                        BENSALEM            PA           19020
CRITERION PICTURES                                                     106 SAUNDERS RD. UNIT 6                                                              BARRIE              ON           L4N 9A8      CANADA
CROSSCOVER (LLOYD'S)                  RYAN TURNER SPECIALTY            1650 ARCH STREET                        26TH FLOOR                                   PHILADELPHIA        PA           19103
CROTHAMEL, JENNIFER                                                    ADDRESS ON FILE
CROTHAMEL, NICHOLAS                                                    ADDRESS ON FILE
CROWN CASTLE FIBER LLC                                                 8020 KATY FREEWAY                                                                    HOUSTON             TX           77024
CROWN CASTLE FIBER LLC                                                 PO BOX 32102                                                                         NEW YORK            NY           10087-2102
CRUICKSHANK, NICHOLAS                                                  ADDRESS ON FILE
CRW GRAPHICS                                                           9100 PENNSAUKEN HIGHWAY                                                              PENNSAUKEN          NJ           08110
CRW GRAPHICS                                                           9100 PENNSAUKEN HWY                                                                  PENNSAUKEN          NJ           08110-1206
CRYER, ANNA                                                            ADDRESS ON FILE
CRYSTAL DUKES                                                          ADDRESS ON FILE
CRYSTAL GRAY                                                           ADDRESS ON FILE
CRYSTAL RIDLEY                                                         ADDRESS ON FILE
CSG GLOBAL CONSULTING                                                  5185 CAMPUS DRIVE                       STE. 400                                     PLYMOUTH MEETING    PA           19462
CUMBERBATCH, CHANTEL T.                                                ADDRESS ON FILE
CUNNINGHAM PIANO CO, INC                                               5423 GERMANTOWN AVE                                                                  PHILADELPHIA        PA           19144-2223
CUNZO, CAROLINE DE                                                     ADDRESS ON FILE
CURCIO, PAUL                                                           ADDRESS ON FILE
CURRIE, BENJAMIN                                                       ADDRESS ON FILE
CURTIS INSTITUTE OF MUSIC                                              1726 LOCUST ST                                                                       PHILADELPHIA        PA           19103-6107
CURTIS, DAVID E.                                                       ADDRESS ON FILE
CURTIUS, MATTHEW                                                       ADDRESS ON FILE

CUSHMAN & WAKEFIELD OF PENNSYLVANIA                                    1717 ARCH ST FL 30                                                                   PHILADELPHIA        PA           19103-2749
CUTTING EDGE ENTERTAINMENT                                             161 TOMLINSON RD.                                                                    HUNTINGDON VALLEY   PA           19006
CYNTHIA LANDRUM                                                        ADDRESS ON FILE
CYNTHIA WILSON                                                         ADDRESS ON FILE
CYNTHIA WYSE                                                           ADDRESS ON FILE
D. HENDRICK EZERMAN FOUNDATION                                         PO BOX 3226                                                                          LANCASTER           PA           17604-3226
D.C. HUMPHRYS CO INC.                                                  5000 PASCHALL AVENUE                                                                 PHILADELPHIA        PA           19143-5136
D3 DEVELOPMENT                                                         1714 MEMPHIS ST APT 114                                                              PHILADELPHIA        PA           19125-2714
DAFNE YACHIN                                                           ADDRESS ON FILE
DAGILIS, HELEN                                                         ADDRESS ON FILE
DAHAB, SOPHIA                                                          ADDRESS ON FILE
DAHLGREN, ANDREW                                                       ADDRESS ON FILE
DAMERON, WILLIAM                                                       ADDRESS ON FILE
DAMIAN CAMPBELL                                                        ADDRESS ON FILE
DAMICO, AMANDA                                                         ADDRESS ON FILE
DAMIEN MCCAFFERY                                                       ADDRESS ON FILE
DAN & CHERYL GRABON                                                    ADDRESS ON FILE
DAN AND ANITA JONES                                                    ADDRESS ON FILE
DAN BOSIN ASSOC                                                        136 NORTH 3RD STREET                                                                 PHILADELPHIA        PA           19106
DANA, ZAINA                                                            ADDRESS ON FILE
DANCEMEDIA PUBLICATIONS, LLC                                           PO BOX 96441                                                                         CHARLOTTE           NC           28296-0441
DANFORD, AMY K.                                                        ADDRESS ON FILE
DANGELO, ADRIENNE                                                      ADDRESS ON FILE
DANIEL BASSO                                                           ADDRESS ON FILE
DANIEL D. WEEKES                                                       ADDRESS ON FILE
DANIEL DUFFY                                                           ADDRESS ON FILE
DANIEL GINN                                                            ADDRESS ON FILE
DANIEL HERTZBERG                                                       ADDRESS ON FILE
DANIEL J. MCCARTHY                                                     ADDRESS ON FILE
DANIEL M. TABAS FAMILY FOUNDATION                                      ADDRESS ON FILE
DANIEL MARTZ                                                           ADDRESS ON FILE
DANIEL NUTTERS                                                         ADDRESS ON FILE
                                                                       ATTN: MARC H. EDELSON, SHOSHANA
DANIEL O. TUCKER                      C/O EDELSON LECHTZIN LLP         MICHELLE SAVETT, ERIC LECHTZIN          411 S. STATE STREET       SUITE N-300        NEWTOWN             PA           18940
                                                                       ATTN: RYAN ALLEN HANCOCK, JORDAN        1845 WALNUT STREET,
DANIEL O. TUCKER                      C/O WILLIG WILLIAMS & DAVIDSON   KONELL                                  24TH FLOOR                                   PHILADELPIA         PA           19103
DANIEL WORTH                                                           ADDRESS ON FILE
DANIELLE AMATO                                                         ADDRESS ON FILE
DANIELLE KLAVINS                                                       ADDRESS ON FILE
DANIELS, DAVID                                                         ADDRESS ON FILE
DANIELSEN, SARA                                                        ADDRESS ON FILE
DANIN, BARBARA                                                         ADDRESS ON FILE
DANTONIO, SAMANTHA                                                     ADDRESS ON FILE




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              Creditor Name                              Attention                  Address 1                          Address 2         Address 3              City        State      Zip       Country
DAPHNE WILLIAMS FOX                                                   ADDRESS ON FILE
DARIA KULAKOVA                                                        ADDRESS ON FILE
DARIAN SCALAMONI                                                      ADDRESS ON FILE
DARLENE JAMESON                                                       ADDRESS ON FILE
DARNAIL LYLES                                                         ADDRESS ON FILE
DARRYL DICKERSON                                                      ADDRESS ON FILE
DARYN DAVIDSON                                                        ADDRESS ON FILE
DAS, JAYATRI                                                          ADDRESS ON FILE
DASTNER, ANSELM                                                       ADDRESS ON FILE
DÄSTNER, ANSELM                                                       ADDRESS ON FILE
DAURIA, NICHOLAS L.                                                   ADDRESS ON FILE
DAVE DEHART                                                           ADDRESS ON FILE
DAVENPORT, GEHIA                                                      ADDRESS ON FILE
DAVID BAYLIFF                                                         ADDRESS ON FILE
DAVID BRONSON SMITH                                                   ADDRESS ON FILE
DAVID C. MARKOWSKI                                                    ADDRESS ON FILE
DAVID CUTLER INDUSTRIES                                               PO BOX 218                               124 GREENWOOD AVE                     WYNCOTE           PA           19095-1514
DAVID GIBSON                                                          ADDRESS ON FILE
DAVID GREENBERG                                                       ADDRESS ON FILE
DAVID HART                                                            ADDRESS ON FILE
DAVID KRAGSETH                                                        ADDRESS ON FILE
DAVID LOVE                                                            ADDRESS ON FILE
DAVID MADSON                                                          ADDRESS ON FILE
DAVID MCBROWN                                                         ADDRESS ON FILE
DAVID OCCHINO                                                         ADDRESS ON FILE
DAVID SAMBOLIN                                                        ADDRESS ON FILE
DAVID TOMASSI                                                         ADDRESS ON FILE
DAVID VALENTINO                                                       ADDRESS ON FILE
DAVID, WAYNE                                                          ADDRESS ON FILE
DAVIDSON, RACHEL                                                      ADDRESS ON FILE
DAVIES, CYNTHIA                                                       ADDRESS ON FILE
DAVIS, AKEEM                                                          ADDRESS ON FILE
DAVIS, AKEEM                                                          ADDRESS ON FILE
DAVIS, BRIDGETT                                                       ADDRESS ON FILE
DAVIS, ELEANOR L.                                                     ADDRESS ON FILE
DAVIS, MATTHEW                                                        ADDRESS ON FILE
DAWN MCALLISTER                                                       ADDRESS ON FILE
DAWN SPRINGER                                                         ADDRESS ON FILE
DAWNA NERON                                                           ADDRESS ON FILE
DAWSON, MICHAEL                                                       ADDRESS ON FILE
DAWSON, MICHAEL                                                       ADDRESS ON FILE
DCA, INC                                                              1250 EASTON RD                                                                 HORSHAM           PA           19044-1416
DE LA TORRE, NATALIA                                                  ADDRESS ON FILE
                                                                                                               100 AMERICAN METRO
DE LAGE LANDEN FINANCIAL SERVICES INC.   C/O/ STARK & STARK           ATTN: MARSHALL T. KIZNER                 BLVD                                  HAMILTON          NJ           08619
DE LEON, DAIRYS ESCOTO                                                ADDRESS ON FILE
DE SEVE, KAREN                                                        ADDRESS ON FILE
DEAL, JORDAN E. JR.                                                   ADDRESS ON FILE
DEAN BARBARA ELLIOTT                                                  ADDRESS ON FILE
DEANN MCDANIEL                                                        ADDRESS ON FILE
DEASY, KELLY                                                          ADDRESS ON FILE
DEBBI LYN GREBLER                                                     ADDRESS ON FILE
DEBBIE COFFEY                                                         ADDRESS ON FILE
DEBBIE FRATTARI                                                       ADDRESS ON FILE
DEBBIE WINKELMAN                                                      ADDRESS ON FILE
DEBI SCHWARTZ                                                         ADDRESS ON FILE
DEBONIS, JOSHUA                                                       ADDRESS ON FILE
DEBORAH A. LOVE                                                       ADDRESS ON FILE
DEBORAH C. WOODBURY                                                   ADDRESS ON FILE
DEBORAH DUFFY                                                         ADDRESS ON FILE
DEBORAH LOEBACH                                                       ADDRESS ON FILE
DEBORAH YOUNG                                                         ADDRESS ON FILE
DEBRA GIOIA                                                           ADDRESS ON FILE
DEBRA SANCHEZ                                                         ADDRESS ON FILE
DECAUMETTE, PATRICK                                                   ADDRESS ON FILE
DECLAN BURTON                                                         ADDRESS ON FILE
DEEP FOCUS PRODUCTIONS, INC                                           2506 MICHELTORENA ST.                                                          LOS ANGELES       CA           90039
DEFRANTZ, THOMAS F.                                                   ADDRESS ON FILE




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               Creditor Name                          Attention                   Address 1                        Address 2         Address 3            City        State       Zip      Country
DEGLER-WHITING, INC                                               PO BOX 26683                                                                   COLLEGEVILLE    PA           19426
DEKANALOG INC                                                     194 LEFFERTS AVENUE                                                            BROOKLYN        NY           11225
DEKEISHA HOWARD                                                   ADDRESS ON FILE
DEL VALLE PRODUCTIONS, INC                                        4775 COLLIINS AVENUE                     STE 3603                              MIAMI BEACH     FL           33140
DELAWARE ART MUSEUM                                               2301 KENTMERE PKWY                                                             WILMINGTON      DE           19806-2019
DELAWARE COUNTY COMMUNITY COLLEGE                                 901 S MEDIA LINE RD                                                            MEDIA           PA           19063
DELAWARE VALLEY LEGACY FUND                                       1234 MARKET ST STE 1800                                                        PHILADELPHIA    PA           19107-3704
DEL-CON ELECTRIC                                                  7 MATHER AVE                                                                   BROOMALL        PA           19008-3032
DELGADO, JONATHAN                                                 ADDRESS ON FILE
DELICH, JOSEPH                                                    ADDRESS ON FILE
DELL MARKETING LP                   C/O DELL USA LP               PO BOX 643561                                                                  PITTSBURGH      PA           15264-3561
DELOPOULOS, ELENI                                                 ADDRESS ON FILE
DELUCA, DESIREE                                                   ADDRESS ON FILE
DEMIAN RESNICK                                                    ADDRESS ON FILE
DENIA LASSO                                                       ADDRESS ON FILE
DENISE ALLEN                                                      ADDRESS ON FILE
DENISE MCFADDEN                                                   ADDRESS ON FILE
DENISE ROCKTASCHEL                                                ADDRESS ON FILE
DENMAN, JOHN                                                      ADDRESS ON FILE
DENNIS MCLAUGHLIN                                                 ADDRESS ON FILE
DENNIS SUTTON                                                     ADDRESS ON FILE
DENSON, ROBERT                                                    ADDRESS ON FILE
DENZER, BENJAMIN A.                                               ADDRESS ON FILE
DEON BERLACK                                                      ADDRESS ON FILE
DEPAUL, ADAM                                                      ADDRESS ON FILE
DEREK TUCKER                                                      ADDRESS ON FILE
DERMIK LABORATORIES, IN                                           PO BOX 1200                                                                    COLLEGEVILLE    PA           19426-0107
DERRICK C. JAQUES                                                 ADDRESS ON FILE
DESANTIS, ANTHONY J.                                              ADDRESS ON FILE
DESIDERIO, JOHN                                                   ADDRESS ON FILE
DESIREE COLLINS                                                   ADDRESS ON FILE
DESOUZA, AMANDA                                                   ADDRESS ON FILE
DETWILER, DAVID                                                   ADDRESS ON FILE
DEUTSCH, CAITLIN                                                  ADDRESS ON FILE
DEVINE, MATTHEW                                                   ADDRESS ON FILE
DEVITO, THERESA                                                   ADDRESS ON FILE
DEVOE, BRENNAN                                                    ADDRESS ON FILE
DEVON KAJATT                                                      ADDRESS ON FILE
DEZELON, NICOLE                                                   ADDRESS ON FILE
DG ENERGY SOLUTIONS                                               1669 UNION ST, STE 200                                                         SAN DIEGO       CA           92101
DI VENTI, JONATHAN                                                ADDRESS ON FILE
DI VENTI, JONATHAN J.                                             ADDRESS ON FILE
DIACONT, HEATHER                                                  ADDRESS ON FILE
DIANA MCBRIDE                                                     ADDRESS ON FILE
DIANE ABLES                                                       ADDRESS ON FILE
DIANE R. RUFF                                                     ADDRESS ON FILE
DIAZ, ALEX DOS                                                    ADDRESS ON FILE
DIAZ, DARREN                                                      ADDRESS ON FILE
DIAZ, DORIANA                                                     ADDRESS ON FILE
DIAZ, FRANK                                                       ADDRESS ON FILE
DIBBLE, BENJAMIN                                                  ADDRESS ON FILE
DIBBLE, BENJAMIN D.                                               ADDRESS ON FILE
DIBERARDINIS, MAURA R.                                            ADDRESS ON FILE
DICCIANI, MARC                                                    ADDRESS ON FILE
DICKER, ERICA                                                     ADDRESS ON FILE
DIDOMENICO, JOSEPH                                                ADDRESS ON FILE
DIEGO RIVERA PRIHODOVA, BARBORA                                   ADDRESS ON FILE
DIEHL, JACQUELYN                                                  ADDRESS ON FILE
DIERKSHEIDE, ALEXIS B.                                            ADDRESS ON FILE
DIGITAL ARCHITECTURE, LLC                                         PO BOX 674728                                                                  DALLAS          TX           75267-4704
DIGITAL THETRE (US) LLC                                           DEPT CH 14499                                                                  PALATINE        IL           60055-4499
DIGITAS HEALTH                                                    100 E PENN SQ FL 11 SOUTH                                                      PHILADELPHIA    PA           19107-3325
DILLON RAND                                                       ADDRESS ON FILE
DILLON, ROBERT E.                                                 ADDRESS ON FILE
DIMARCO, CHRISTA                                                  ADDRESS ON FILE
DIMARCO, CHRISTA R.                                               ADDRESS ON FILE
DIMEDIO, ANNETTE                                                  ADDRESS ON FILE
DINA KRESSLER                                                     ADDRESS ON FILE




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                Creditor Name                    Attention                    Address 1                          Address 2         Address 3              City        State      Zip       Country
DINA LAURA                                                    ADDRESS ON FILE
DINEEN, NORAH                                                 ADDRESS ON FILE
DIOMEDE, AZALEA V.                                            ADDRESS ON FILE
DIONYSIA CLOVIS                                               ADDRESS ON FILE
DIRECT AIR LLC                                                2431 REED ST                                                                     PHILADELPHIA      PA           19146-4000
DISABILITY PRIDE PHILADELPHIA                                 1500 PAGE STREET                         338                                     PHILADELPHIA      PA           19121
DISPENZA, RACHEL A.                                           ADDRESS ON FILE
DIXIE JUNK                                                    ADDRESS ON FILE
DIXON, TAMASHA                                                ADDRESS ON FILE
DJANA BELL                                                    ADDRESS ON FILE
DJS ASSOC                                                     10 MERION WAY                                                                    W. DEPTFORD       NJ           08051
DK ROCKWELL                                                   ADDRESS ON FILE
DLT SOLUTIONS, LLC.                                           PO BOX 743359                                                                    ATLANTA           GA           30374-3359
DOHERTY, SARAH                                                ADDRESS ON FILE
DOLAN, BARBARA                                                ADDRESS ON FILE
DOLCI PECCATI LLC                                             274 NE 59TH STREET                                                               MIAMI             FL           33137
DOLFINGER-MCMAHON FOUNDATION     C/O DUANE MORRIS, LLP        30 S 17TH ST FL 5                                                                PHILADELPHIA      PA           19103-4196
DOLIVEUX, MAELLE                                              ADDRESS ON FILE
DOLLARTON CONSTRUCTION CO.                                    PO BOX 219                                                                       CHELTENHAM        PA           19012-0219
DOLORES UNK                                                   ADDRESS ON FILE
DOMINGUEZ, PATRICIA                                           ADDRESS ON FILE
DON GLANDEN                                                   ADDRESS ON FILE
DON LOWING                                                    ADDRESS ON FILE
DON WALDMAN                                                   ADDRESS ON FILE
DONA KRYSTOSEK                                                ADDRESS ON FILE
DONAHUE, JOHN M.                                              ADDRESS ON FILE
DONALD A. DEVLIN & ASSOC, P.C.                                417 N HADDON AVE                                                                 HADDONFIELD       NJ           08033-1701
DONALD SMITH                                                  ADDRESS ON FILE
DONALDSON-WHEATLEY, SHARON                                    ADDRESS ON FILE
DONALDSON-WHEATLEY, SHARON S.                                 ADDRESS ON FILE
DONNA BERNIER                                                 ADDRESS ON FILE
DONNA DELICH                                                  ADDRESS ON FILE
DONNA LYMPER                                                  ADDRESS ON FILE
DONNAMARIE ALCOTT                                             ADDRESS ON FILE
DONNELLY, NICOLE                                              ADDRESS ON FILE
DONNELLY, SHELBY                                              ADDRESS ON FILE
DONNELLY, SHELBY                                              ADDRESS ON FILE
DONNETT, NATHANIEL                                            ADDRESS ON FILE
DONNIE MCCLESKEY                                              ADDRESS ON FILE
DONOVAN, CHRISTINE                                            ADDRESS ON FILE
DOOLITTLE, JAMES E.                                           ADDRESS ON FILE
DOREEN MINICH                                                 ADDRESS ON FILE
DOREEN SAYEGH                                                 ADDRESS ON FILE
DORM ROOM MOVERS, LLC.                                        5111 N SCOTTSDALE RD STE 200                                                     SCTOTTSDALE       AZ           85250
DOROTHEA FIELDS                                               ADDRESS ON FILE
DOROTHY ATKINSON                                              ADDRESS ON FILE
DOUBLE ARROW INC                 C/O DIPERNA ASSOCIATES       31 HUSON YARDS                           FL 11, STE 26                           NEW YORK          NY           10001
DOUCETTE, PHILIP A.                                           ADDRESS ON FILE
DOUGHERTY ELECTRIC, INC                                       145 MORRIS ST                                                                    PHILADELPHIA      PA           19148-1312
DOUGLAS BOHR                                                  ADDRESS ON FILE
DOUGLAS FYFE                                                  ADDRESS ON FILE
DOUGLAS PURCELL                                               ADDRESS ON FILE
DOUGLAS WILLIAMS                                              ADDRESS ON FILE
DOUGLAS, ALBERTA                                              ADDRESS ON FILE
DOUGLAS, MARGARET                                             ADDRESS ON FILE
DOUGLAS, MARGARET E.                                          ADDRESS ON FILE
DOVE, ALFRED L.                                               ADDRESS ON FILE
DOW JONES & CO., INC                                          PO BOX 8857                                                                      PRINCETON         NJ           08543-8857
DOWELL, JOHN E. JR.                                           ADDRESS ON FILE
DOWNBEAT                                                      188 WEST INDUSTRIAL DRIVE                STE 310                                 ELMHURST          IL           60126
DOWNING, LAUREN E.                                            ADDRESS ON FILE
DR. A. R. CRANE-OKADA, PH.D.                                  ADDRESS ON FILE
DR. ABELARDO LECHTER, PH.D.                                   ADDRESS ON FILE
DR. ADELE SCHEELE, PH.D.                                      ADDRESS ON FILE
DR. ADELINE C. BETHANY 1957                                   ADDRESS ON FILE
DR. ALAN J. MILLER                                            ADDRESS ON FILE
DR. ALAN P. BERG                                              ADDRESS ON FILE
DR. ALLAN S. ABRAMS, M.D.                                     ADDRESS ON FILE




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                Creditor Name          Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
DR. AND MRS. ALLEN H. ALEXANDER                    ADDRESS ON FILE
DR. AND MRS. ALLEN HAIMES                          ADDRESS ON FILE
DR. AND MRS. HERBERT MOSS                          ADDRESS ON FILE
DR. AND MRS. HERMAN H. GOLDSTINE                   ADDRESS ON FILE
DR. AND MRS. IRWIN BECKER                          ADDRESS ON FILE
DR. AND MRS. JOSEPH KOZIELSKI, M.D.                ADDRESS ON FILE
DR. AND MRS. JOSEPH NEWMEYER                       ADDRESS ON FILE
DR. AND MRS. JULIAN D. FREEMAN                     ADDRESS ON FILE
DR. AND MRS. KENNETH H. MAURER                     ADDRESS ON FILE
DR. AND MRS. LAWRENCE ROSNER                       ADDRESS ON FILE
DR. AND MRS. LEONARD M. LODISH                     ADDRESS ON FILE
DR. AND MRS. LEONARD S. RUBIN                      ADDRESS ON FILE
DR. AND MRS. LESTER LUBORSKY                       ADDRESS ON FILE
DR. AND MRS. MARK SIRKIN                           ADDRESS ON FILE
DR. AND MRS. MARVIN FUCHS                          ADDRESS ON FILE
DR. AND MRS. MICHAEL B. FINEBERG                   ADDRESS ON FILE
DR. AND MRS. MILTON GOODSTEIN                      ADDRESS ON FILE
DR. AND MRS. PAUL C. BRUCKER                       ADDRESS ON FILE
DR. AND MRS. PERRY OTTENBERG                       ADDRESS ON FILE
DR. AND MRS. RAYMOND BERKOWITZ                     ADDRESS ON FILE
DR. AND MRS. RICHARD M. JAY                        ADDRESS ON FILE
DR. AND MRS. ROBERT DREYFUSS                       ADDRESS ON FILE
DR. AND MRS. ROBERT M. SCHWARTZMAN                 ADDRESS ON FILE
DR. AND MRS. RONALD LIEBMAN                        ADDRESS ON FILE
DR. AND MRS. SIDNEY SAULL                          ADDRESS ON FILE
DR. ANDREA J. CLEARFIELD 1984                      ADDRESS ON FILE
DR. ANDREW ORDOVER                                 ADDRESS ON FILE
DR. ANGELO A. ANDONAKAKIS, D.O. 1979               ADDRESS ON FILE
DR. ANNE I. DAVENPORT                              ADDRESS ON FILE
DR. ANNETTE DIMEDIO                                ADDRESS ON FILE
DR. ARNON DREYFUSS                                 ADDRESS ON FILE
DR. B. SCHNEIDER, M.D.                             ADDRESS ON FILE
DR. BARBARA J. LORRY                               ADDRESS ON FILE
DR. BRAD FENTON                                    ADDRESS ON FILE
DR. BRIAN MARKEY                                   ADDRESS ON FILE
DR. BRUCE NORTHRUP                                 ADDRESS ON FILE
DR. BRUCE ROMANCZUK, M.D.                          ADDRESS ON FILE
DR. BURTON EISENBERG                               ADDRESS ON FILE
DR. BYRON M. GASTON                                ADDRESS ON FILE
DR. CARL J. MINNITI, JR.                           ADDRESS ON FILE
DR. CARLENE LAWSON                                 ADDRESS ON FILE
DR. CAROL D. LEWIS                                 ADDRESS ON FILE
DR. CHARLES F. PENNACCHIO, PH.D.                   ADDRESS ON FILE
DR. CHARLES W. NICHOLS, M.D.                       ADDRESS ON FILE
DR. CONSTANTIN COPE                                ADDRESS ON FILE
DR. CRYSTAL L. SAMUELS 2007                        ADDRESS ON FILE
DR. D. J. MALDONATO                                ADDRESS ON FILE
DR. DALE FAIGENBAUM 1969                           ADDRESS ON FILE
DR. DOUGLAS MEDLIN                                 ADDRESS ON FILE
DR. DWIGHT J. HARTZELL                             ADDRESS ON FILE
DR. EDWARD SLEEPER                                 ADDRESS ON FILE
DR. ELIZABETH SWING                                ADDRESS ON FILE
DR. FEI GAO                                        ADDRESS ON FILE
DR. FRANCINE DEUTSCH                               ADDRESS ON FILE
DR. FRANÇOIS LOUIS                                 ADDRESS ON FILE
DR. FRANK TIBILETTI, M.D.                          ADDRESS ON FILE
DR. GARY J. ANDERSON                               ADDRESS ON FILE
DR. GENE E. TODD                                   ADDRESS ON FILE
DR. GERALD ENTINE                                  ADDRESS ON FILE
DR. GLORIA B. BALABAN                              ADDRESS ON FILE
DR. GREGORY DAUGUSTINE                             ADDRESS ON FILE
DR. GREGORY NAYOR                                  ADDRESS ON FILE
DR. HARRIS P. MILLER                               ADDRESS ON FILE
DR. HARRY GLASS                                    ADDRESS ON FILE
DR. HARRY ROSENTHAL                                ADDRESS ON FILE
DR. HARVEY EISENBERG                               ADDRESS ON FILE
DR. HERBERT KEAN                                   ADDRESS ON FILE
DR. HILARY KOPROWSKI                               ADDRESS ON FILE




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                 Creditor Name         Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
DR. HOPE BLECHER                                   ADDRESS ON FILE
DR. ISAAC DJERASSI                                 ADDRESS ON FILE
DR. JAMES KARUSTIS                                 ADDRESS ON FILE
DR. JAY S. ROSEN, M.D.                             ADDRESS ON FILE
DR. JERRY WIND                                     ADDRESS ON FILE
DR. JOHANNA SCHOSS 1995                            ADDRESS ON FILE
DR. JOHN A. DULIK 1965                             ADDRESS ON FILE
DR. JOHN B. KLOMP 1967                             ADDRESS ON FILE
DR. JOHN M. BAKER, JR.                             ADDRESS ON FILE
DR. JOHN W. ZAMARRA, M.D.                          ADDRESS ON FILE
DR. JORDAN LIEBERMAN                               ADDRESS ON FILE
DR. JOSEPH E. MCGRORY                              ADDRESS ON FILE
DR. JOSEPH G. ROSENFELD                            ADDRESS ON FILE
DR. JOSEPH S. GONNELLA                             ADDRESS ON FILE
DR. JULIET LUTHER                                  ADDRESS ON FILE
DR. KARL F. RUGART, JR.                            ADDRESS ON FILE
DR. KATHERINE M. GORDON-CLARK, PH.D.               ADDRESS ON FILE
DR. KATHRYN G. LEE 1974                            ADDRESS ON FILE
DR. KATHY U. MARTIN                                ADDRESS ON FILE
DR. KENNETH C. KALETA                              ADDRESS ON FILE
DR. KERRI HAUPT 2001                               ADDRESS ON FILE
DR. KIM S. MOLLO 1991                              ADDRESS ON FILE
DR. KIRK E. PILLOW, PH.D.                          ADDRESS ON FILE
DR. LEE A. BENDER                                  ADDRESS ON FILE
DR. LESTER H. WURTELE                              ADDRESS ON FILE
DR. LLOYD BROTMAN                                  ADDRESS ON FILE
DR. LORRAINE C. KING, M.D.                         ADDRESS ON FILE
DR. LOUIS W. SCHWARTZ                              ADDRESS ON FILE
DR. M. L. BURKE                                    ADDRESS ON FILE
DR. MARC S. LEVINE                                 ADDRESS ON FILE
DR. MARGARET RUSH                                  ADDRESS ON FILE
DR. MARIA DE SANTIS                                ADDRESS ON FILE
DR. MARK GENTILE                                   ADDRESS ON FILE
DR. MARTIN A. NOVELLI                              ADDRESS ON FILE
DR. MARY L. POLAN                                  ADDRESS ON FILE
DR. MICHAEL L. PEDICIN 1968                        ADDRESS ON FILE
DR. MICHAEL ZUCKERMAN                              ADDRESS ON FILE
DR. MILTON L. ROCK                                 ADDRESS ON FILE
DR. MYRNA N. LINSENBERG                            ADDRESS ON FILE
DR. MYRON E. RESNICK                               ADDRESS ON FILE
DR. NATHAN SCHNALL                                 ADDRESS ON FILE
DR. NEIL D. WETZEL 1982                            ADDRESS ON FILE
DR. NEIL J. KLEINMAN                               ADDRESS ON FILE
DR. NOEL MAYO 1960                                 ADDRESS ON FILE
DR. PATRICK M. JONES, PH.D.                        ADDRESS ON FILE
DR. PATSY B. ROWE 1970                             ADDRESS ON FILE
DR. PAUL BOGOSIAN                                  ADDRESS ON FILE
DR. PAUL PETERSEN                                  ADDRESS ON FILE
DR. PAUL R. HERMANY                                ADDRESS ON FILE
DR. PETER STAMBLER                                 ADDRESS ON FILE
DR. PORTIA HAMILTON-SPERR                          ADDRESS ON FILE
DR. R. B. NOONE                                    ADDRESS ON FILE
DR. RACHEL RONDINELLI                              ADDRESS ON FILE
DR. RAMONA WIS                                     ADDRESS ON FILE
DR. RICHARD F. SPARK, M.D.                         ADDRESS ON FILE
DR. RICHARD SATAVA                                 ADDRESS ON FILE
DR. RICHARD THOMAS                                 ADDRESS ON FILE
DR. RICHARD VIGILANTE                              ADDRESS ON FILE
DR. ROBERT A. LEFFERS                              ADDRESS ON FILE
DR. ROBERT BALL                                    ADDRESS ON FILE
DR. ROBERT HILBRONNER                              ADDRESS ON FILE
DR. ROBERT L. SIEGLE, M.D.                         ADDRESS ON FILE
DR. ROBERT ST. CYR                                 ADDRESS ON FILE
DR. ROBERT STEINER                                 ADDRESS ON FILE
DR. ROBERT STERN                                   ADDRESS ON FILE
DR. ROBERT WALDECK                                 ADDRESS ON FILE
DR. ROGER H. SHEINKIN                              ADDRESS ON FILE
DR. ROSEMARY A. STEVENS                            ADDRESS ON FILE




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                Creditor Name                      Attention                   Address 1                          Address 2            Address 3               City        State      Zip       Country
DR. RUSSEL E. KAUFMAN                                           ADDRESS ON FILE
DR. RUSSELL W. SCHAEDLER                                        ADDRESS ON FILE
DR. RUTH PERLMUTTER                                             ADDRESS ON FILE
DR. SHARON GILBERT                                              ADDRESS ON FILE
DR. SHIRNETT WILLIAMSON                                         ADDRESS ON FILE
DR. SOL LUBIN                                                   ADDRESS ON FILE
DR. STEPHEN KOCH                                                ADDRESS ON FILE
DR. SUSAN K. LESHNOFF 1972                                      ADDRESS ON FILE
DR. TERRY APPLEBAUM                                             ADDRESS ON FILE
DR. THERESA DOLAN                                               ADDRESS ON FILE
DR. TIM LACHMAN                                                 ADDRESS ON FILE
DR. TOBY ZINMAN                                                 ADDRESS ON FILE
DR. TODD BJERKE                                                 ADDRESS ON FILE
DR. VIVEK SAILAM                                                ADDRESS ON FILE
DR. WILLIAM S. TASMAN                                           ADDRESS ON FILE
DR. WILLYS K. SILVERS                                           ADDRESS ON FILE
DR. YALE E. GOLDMAN                                             ADDRESS ON FILE
DRANOFF FAMILY FOUNDATION                                       ADDRESS ON FILE
DRANOFF PROPERTIES                                              755 S BROAD ST                                                                        PHILADELPHIA    PA           19147-2571
DRASS, JESSICA                                                  ADDRESS ON FILE
DREXEL UNIVERSITY                                               3141 CHESTNUT ST, MAIN 102                                                            PHILADELPHIA    PA           19104-2816

DREXEL UNIVERSITY                                               MAIN BUILDING                             ROOM 212               3141 CHESTNUT STREET PHILADELPHIA    PA           19104
DRISCOLL FAMILY FOUNDATION                                      ADDRESS ON FILE
DRUCKER, VICTORIA                                               ADDRESS ON FILE
DSOUZA, RHEA MICHELLE                                           ADDRESS ON FILE
DUCERA PARTNERS LLC                                             11 TIMES SQ                                                                           NEW YORK        NY           10036
DUFFY PIANO MOVING & STORAGE                                    1206 AMOSLAND RD                                                                      PROSPECT PARK   PA           19076
DUFFY, DEBORAH                                                  ADDRESS ON FILE
DUFFY, MARIANNE                                                 ADDRESS ON FILE
DUFFY, MARTIN                                                   ADDRESS ON FILE
DUGAN, JACQUELINE                                               ADDRESS ON FILE
DUGGAN, SCOTT                                                   ADDRESS ON FILE
DUGUID, LAUREN                                                  ADDRESS ON FILE
DUKE, CHARIS                                                    ADDRESS ON FILE
DUKE, CHARIS                                                    ADDRESS ON FILE
DUKE, MARIELLE                                                  ADDRESS ON FILE
DULIK, JOHN                                                     ADDRESS ON FILE
DUNN, MEAGHAN                                                   ADDRESS ON FILE
DUNPHY, JOHANNA                                                 ADDRESS ON FILE
DUNYA, JEANNINE OSAYANDE                                        ADDRESS ON FILE
DUPONT, SIDNEY                                                  ADDRESS ON FILE
DUSTYN HALL                                                     ADDRESS ON FILE
DUVALL, MATTHEW                                                 ADDRESS ON FILE
DUVALL, NATALIE                                                 ADDRESS ON FILE
DUWON, NAJEE                                                    ADDRESS ON FILE
DYLAN, JACK                                                     ADDRESS ON FILE
DYNAMIC VISUAL SOLUTIONS LLC                                    257 BRYAN RD                                                                          DANIA BEACH     FL           33004
E. I. DUPONT DE NEMOURS & CO                                    DUPONT PAYMENT SERVICES                   PO BOX 80040                                WILMINGTON      DE           19880-0040
EAGLES TOURING CO II FOREIGN,                                   15760 VENTURA BLVD.                       STE 1020                                    ENCINO          CA           91436
EARL C. STOCKDON                                                ADDRESS ON FILE
EASTECH CHEMICAL, INC                                           5700 TACONY ST                                                                        PHILADELPHIA    PA           19135-4312
EBARVIA, TRICIA M.                                              ADDRESS ON FILE
EBSCO INFORMATION SERVICES                                      PAYMENT PROCESSING CENTER                 PO BOX 204661                               DALLAS          TX           75320-4661
ECKERT, SARAH                                                   ADDRESS ON FILE
ECKMAN-LAWN, ALEXANDER                                          ADDRESS ON FILE
ECOLE FRANCAISE INTERNATIONALE DE
PHILADELPHIE                                                    150 N HIGHLAND AVE                                                                    BALA CYNWYD     PA           19004-3026
ECONA, AUGUSTO                                                  ADDRESS ON FILE
ED SAMBUCCI                                                     ADDRESS ON FILE
EDISON J. LOPEZ                                                 ADDRESS ON FILE
EDMUND CROOKS                                                   ADDRESS ON FILE
EDNEY, HARBOUR                                                  ADDRESS ON FILE
EDWARD AMENDOLA                                                 ADDRESS ON FILE
EDWARD DUNCAN                                                   ADDRESS ON FILE
EDWARD HESTON ELEMENTARY SCHOOL                                 1621 N. 54TH ST                                                                       PHILADELPHIA    PA           19131
EDWARD L. VARNER                                                ADDRESS ON FILE
EDWIN B. GARRIGUES FOUNDATION       C/O DUANE MORRIS LLP        30 S 17TH ST FL 5                                                                     PHILADELPHIA    PA           19103-4196




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               Creditor Name                              Attention                      Address 1                            Address 2             Address 3                 City        State      Zip          Country
EDWIN CINTRON                                                              ADDRESS ON FILE
EDWIN SANTIAGO                                                             ADDRESS ON FILE
EF INSTITUTE FOR CULTURAL EXCH EF STUDY
ABROAD                                                                     2 EDUCATION CIRCLE                                                                     CAMBRIDGE          MA           02141
EFFRON, BRIAN                                                              ADDRESS ON FILE
EGGERS, LINZI M.                                                           ADDRESS ON FILE
EGNER, JESSE J.                                                            ADDRESS ON FILE
EIES, MARTHA                                                               ADDRESS ON FILE
EILEEN BERNSTEIN                                                           ADDRESS ON FILE
EILEEN SALAZAR                                                             ADDRESS ON FILE
EILEEN TARITY                                                              ADDRESS ON FILE
EINHORN, JEFFREY                                                           ADDRESS ON FILE
EINSTEIN HEALTHCARE NETWORK                                                5501 OLD YORK RD                                                                       PHILADELPHIA       PA           19141
EISENBERG CASTING LLC                                                      115 OAKWOOD RD EAST                                                                    WATCHUNG           NJ           07069
EISENMANN, CHRISTINE                                                       ADDRESS ON FILE
ELAINE BOWMAN                                                              ADDRESS ON FILE
ELAINE TURNER                                                              ADDRESS ON FILE
ELANA BETTS                                                                ADDRESS ON FILE
ELDREDGE, INC                                                              898 FERNHILL RD.                                                                       W. CHESTER         PA           19380-4256
ELEANOR OUDSHOORN                                                          ADDRESS ON FILE
ELECTRONIC INK                                                             1 SOUTH BROAD STREET, FL 19                                                            PHILADELPHIA       PA           19107
ELFANT WISSAHICKON REALTORS                                                8039 GERMANTOWN AVE                                                                    PHILADELPHIA       PA           19118
ELI D. GOSS                                                                ADDRESS ON FILE
ELI, QUINN                                                                 ADDRESS ON FILE
ELIAS HILL                                                                 ADDRESS ON FILE
                                                                           ATTN: MARC H. EDELSON, SHOSHANA
ELISA M. SEEHERMAN                        C/O EDELSON LECHTZIN LLP         MICHELLE SAVETT, ERIC LECHTZIN           411 S. STATE STREET      SUITE N-300          NEWTOWN            PA           18940
                                                                           ATTN: RYAN ALLEN HANCOCK, JORDAN         1845 WALNUT STREET,
ELISA M. SEEHERMAN                        C/O WILLIG WILLIAMS & DAVIDSON   KONELL                                   24TH FLOOR                                    PHILADELPIA        PA           19103
ELISA PHILLIPS                                                             ADDRESS ON FILE
ELISE DANH                                                                 ADDRESS ON FILE
ELIZABETH GUTIERREZ                                                        ADDRESS ON FILE
ELIZABETH MARCHESE                                                         ADDRESS ON FILE
ELIZABETH MONAGHAN                                                         ADDRESS ON FILE
ELIZABETH RAINVILLE                                                        ADDRESS ON FILE
ELLEN K. MARTIN                                                            ADDRESS ON FILE
ELLEN ROSENBERG NUTTERS                                                    ADDRESS ON FILE
ELLIOT JACOBY                                                              ADDRESS ON FILE
ELLIOTT, DOUGLAS E.                                                        ADDRESS ON FILE
ELLIOTT-LEWIS CORPORATION                                                  2900 BLACK LAKE PL                                                                     PHILADELPHIA       PA           19154-1018
ELLIS, AUDREY L.                                                           ADDRESS ON FILE
                                                                                                                    2003 EDMUND HALLEY
ELLUCIAN COMPANY, L.P.                                                     2003 EDMUND HALLEY DRIVE                 DRIVE                                         RESTON             VA           20191
ELLUCIAN COMPANY, LP                                                       62578 COLLECTIONS CENTER DR.                                                           CHICAGO            IL           60693
ELY, WAYNE A.                                                              ADDRESS ON FILE
EMANUEL, SUSAN                                                             ADDRESS ON FILE
EMBREE, NICK                                                               ADDRESS ON FILE
EMBREE, NICK                                                               ADDRESS ON FILE
EMCOR GROUP, FLUIDICS, INC                                                 9815 ROOSEVELT BLVD STE A                                                              PHILADELPHIA       PA           19114-1035
EMERGENT, LLC                                                              4525 MAIN STREET                         STE. 1500                                     VIRGINIA BEACH     VA           23462
EMERSON GROUP                                                              304 HARPER DR.                           STE 100                                       MOORESTOWN         NJ           08057
EMERSON, REID & CO                                                         630 W GERMANTOWN PIKE STE 215                                                          PLYMOUTH MTNG      PA           19462-1069
EMILIO ROJAS                                                               ADDRESS ON FILE
EMILY CARRIS-DUNCAN                                                        ADDRESS ON FILE
                                                                                                                    MEZZANINE FL, AL                                                                           UNITED ARAB
EMIRATES FOUNDATION                                                        PO BOX 111445                            MAMOURA BUILDING         4TH & 15TH STREETS   ABU DHABI                                    EMIRATES
EMMETT, RYAN M.                                                            ADDRESS ON FILE
EMOND, DANIEL HENRI                                                        ADDRESS ON FILE
EMPLOYEES COMMUNITY SERVICE FUND                                           PO BOX 61826                                                                           KING OF PRUSSIA    PA           19406-8826
ENCORE SERIES, INC                                                         252 S 16TH ST                                                                          PHILADELPHIA       PA           19102-3334
ENCOURA LLC                                                                75 REMITTANCE DR. DEPT 1020                                                            CHICAGO            IL           60675-1020
ENGIE RESOURCES LLC                       ATTN: DANIELLE OWEN              1360 POST OAK BLVD.                      SUITE 400                                     HOUSTON            TX           77056
ENGIE RESOURCES LLC                                                        1111 OLD EAGLE SCHOOL RD                                                               WAYNE              PA           19087
ENGIE RESOURCES LLC                                                        1360 POST OAK                            STE 400                                       HOUSTON            TX           77056-3831
ENGIE RESOURCES LLC                                                        PO BOX 841680                                                                          DALLAS             TX           75284-1680
ENOS, ANTHONY                                                              ADDRESS ON FILE
ENOS, VIENNA                                                               ADDRESS ON FILE
ENPOINTE MANAGEMENT, LLC                                                   102 NE 109TH STREET                                                                    MIAMI SHORES       FL           33161




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                Creditor Name                           Attention                         Address 1                          Address 2            Address 3           City         State       Zip         Country
ENTERTAINMENT TRANSPORT                                                    218 BEACH 100 STREET                                                               ROCKAWAY PARK   NY           11694
ENTRINSIK, INC                                                             7721 SIX FORKS RD.                        STE 100                                  RALEIGH         NC           27615
ENTRINSIK, INC.                       ENTRINSIK, INC.                      7501 CREEDMOOR RD.                        7501 CREEDMOOR RD.     SUITE 102         RALEIGH         NC           27613
ENVIRONMENTAL INTERNATIONAL
CORPORATION                                                                4350 FAIRFAX DR STE 300                                                            ARLINGTON       VA           22203-1619
ENVIRONMENTAL PROTECTION AGENCY                                            1200 PENNSYLVANIA AVENUE N.W.                                                      WASHINGTON      DC           20460
ENVISION                                                                   25 STATE ST STE 301                                                                NEWBURYPORT     MA           01950-6611
ERIC ASCALON                                                               ADDRESS ON FILE
ERIC FRIEDENSOHN                                                           ADDRESS ON FILE
ERIC H. BUTTELMAN                                                          ADDRESS ON FILE
ERIC PORTER DESIGN                                                         PO BOX 416                                                                         CHERRY HILL     NJ           08003-0416
ERIC QUINN                                                                 ADDRESS ON FILE
ERIC SEIDEL                                                                ADDRESS ON FILE
ERIC STAPLER                                                               ADDRESS ON FILE
ERICA BLANTON                                                              ADDRESS ON FILE
ERICA RAWLS                                                                ADDRESS ON FILE
ERIK DULOISY                                                               ADDRESS ON FILE
ERIKA ZELLER                                                               ADDRESS ON FILE
ERIN BENDER                                                                ADDRESS ON FILE
ERNE, ELAINE                                                               ADDRESS ON FILE
ERNIE KARPOLAS                                                             ADDRESS ON FILE
ESCOTO DE LEON, DAIRYS                                                     ADDRESS ON FILE
ESPIE, DANIEL                                                              ADDRESS ON FILE
ESPIE, DANIEL JAMES                                                        ADDRESS ON FILE
ESPIE, STEPHANIE                                                           ADDRESS ON FILE
ESTATE OF HARRIET P. HUGHES                                                ADDRESS ON FILE
                                                                           ALEXAND & PELLI, LLC1608 WALNUT ST
ESTATE OF HOWARD AND ELAINE ALBER                                          STE 900                                                                            PHILADELPHIA    PA           19103-5451
ESTATE OF JOHN W. MERRIAM                                                  ADDRESS ON FILE
ESTATE OF MARIAN C. SMITH             C/O GERHARD & GERHARD                222 S EASTON RD STE 104                                                            GLENSIDE        PA           19038-3918
ESTATE OF MICHAEL F. MOREKEN          C/O LAW OFFICE OF TURREY A. KEPLER   534 SWEDE ST                                                                       NORRISTOWN      PA           19401-4807
ESTATE OF MIRIAM ROTHMAN                                                   PO BOX 679                                                                         READING         PA           19603-0679
ESTATE OF OSCAR E. MERTZ, JR.                                              ADDRESS ON FILE
ESTATE OF SYLVIA EGNAL                                                     ADDRESS ON FILE
ESTEVEZ-MCMURTRY, OLGA                                                     ADDRESS ON FILE

ESTHER GOWEN HOOD MUSIC SCHOLARSHIP                                        PO BOX 185                                                                         PITTSBURGH      PA           15230-0185
ESTHER GOWEN HOOD MUSIC SCHOLARSHIP
FUND                                                                       ADDRESS ON FILE
ESTHER SIDDIQUIE                                                           ADDRESS ON FILE
ETABLISSEMENT NATIONAL DU CENT                                             1 RUE VICTOR HUGO                                                                  93507 PANTIN                              FRANCE
ETIENNE, CHARLIE H.                                                        ADDRESS ON FILE
EUBANKS, ROBIN                                                             ADDRESS ON FILE
EUGENE ONEILL THEATER CENTER                                               305 GREAT NECK RD                                                                  WATERFORD       CT           06385-3825
EVA MOORE                                                                  ADDRESS ON FILE
EVAN SCHONER                                                               ADDRESS ON FILE
EVANS, ALEXANDRA N.                                                        ADDRESS ON FILE
EVANS, JONAH                                                               ADDRESS ON FILE
EVANS, STEPHANIE                                                           ADDRESS ON FILE
EVANS, STEPHANIE E.                                                        ADDRESS ON FILE
EVANS, TOMMIE                                                              ADDRESS ON FILE
EVELYN CARTER                                                              ADDRESS ON FILE
EVERETT, SANDRA                                                            ADDRESS ON FILE
EVERYTHING BUT SOUND                                                       1255 NORTH FAIRFIELD RD                   STE. 201-2                               BEAVERCREEK     OH           45432
EWING, BRIAN L.                                                            ADDRESS ON FILE
EWING, SAMUEL                                                              ADDRESS ON FILE
EXECUTIVE LIFT LLC                                                         7 BURRELL LANE                                                                     CINNAMINSON     NJ           08077
EXPRESSWAY CINEMA RENTALS                                                  3449 WEST INDIANA AVE                                                              PHILADELPHIA    PA           19132
EXUM, MAKAEL E.                                                            ADDRESS ON FILE
EZ LIVING CONCEPTS, LLC                                                    2947 DUTTON MILL RD.                                                               ASTON           PA           19014
EZOLD, ERICA                                                               ADDRESS ON FILE
EZRA R. POPKY-GOUSIE                                                       ADDRESS ON FILE
F.C. HAAB                                                                  ADDRESS ON FILE
FADI SKEIKER                                                               ADDRESS ON FILE
FAIR, KENNETH S.                                                           ADDRESS ON FILE
FALL, SOULEYE                                                              ADDRESS ON FILE
FALLON WARD                                                                ADDRESS ON FILE
FALLON, SUZANNE                                                            ADDRESS ON FILE




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              Creditor Name                           Attention                      Address 1                            Address 2         Address 3           City           State       Zip      Country
FALVEY ENERGY ENGINEERING, PC                                         142 DECATUR RD                                                                    HAVERTOWN         PA           19083-1106
FAMILY PLANNING COUNCIL                                               ADDRESS ON FILE
FANTASMA, INC                                                         1 EAST ERIE STREET                       STE. 525-2298                            CHICAGO           IL           60611
FARAH, DANIEL                                                         ADDRESS ON FILE
FARLEY, MELANIE                                                       ADDRESS ON FILE
FARR, CHRIS                                                           ADDRESS ON FILE
FASCIANO, HOLLY                                                       ADDRESS ON FILE
FASCIANO, JOSEPH                                                      ADDRESS ON FILE
FAST SIGNS                                                            1701 WELSH RD                                                                     PHILADELPHIA      PA           19115
FASTRACK CONSTRUCTION                                                 175 COMMERCE DR STE 200                                                           FORT WASHINGTON   PA           19034-2424
FATIMA CONTEH                                                         ADDRESS ON FILE
FAYE, MALICK                                                          ADDRESS ON FILE
FEDERAL DEPARTMENT OF ENERGY                                          1000 INDEPENDENCE AVE SW                                                          WASHINGTON        DC           20585-0001
                                       C/O CHUBB GROUP OF INSURANCE
FEDERAL INSURANCE COMPANY              COMPANIES                      436 WALNUT STREET                                                                 PHILADELPHIA      PA           19106
                                                                                                               251 NORTH ILLINOIS, STE
FEDERAL INSURANCE COMPANY                                             CAPITAL CENTER                           1100                                     INDIANAPOLIS      IN           46204-1927
FEDOROWYCZ, NORA L.                                                   ADDRESS ON FILE
FEGREUS, MICHAEL                                                      ADDRESS ON FILE
FEIN, MICHAEL                                                         ADDRESS ON FILE
FEINGOLD, JUDITH MARIAN                                               ADDRESS ON FILE
FEJKO, PAUL                                                           ADDRESS ON FILE
FELDMAN, KHAI                                                         ADDRESS ON FILE
FELICIA MAYO                                                          ADDRESS ON FILE
FELICITY ZHANG                                                        ADDRESS ON FILE
FELMETH, DEBORAH H.                                                   ADDRESS ON FILE
FELTMAN, MATTHEW                                                      ADDRESS ON FILE
FELTON, BRUCE                                                         ADDRESS ON FILE
FENTON, MIKAELA                                                       ADDRESS ON FILE
FERGUSON, CHARLES                                                     ADDRESS ON FILE
FERRELL, ALEC                                                         ADDRESS ON FILE
FERRI, DAVID A.                                                       ADDRESS ON FILE
FERRON, ANTONIO TROY                                                  ADDRESS ON FILE
FESSENDEN HALL INCORPORATED                                           1050 SHERMAN AVE                                                                  PENNSAUKEN        NJ           08110-2617
FIDELITY INVESTMENTS CHARITABLE GIFT
FUND                                                                  PO BOX 770001                                                                     CINCINNATI        OH           45277-0053
FIDYK, STEVE                                                          ADDRESS ON FILE
FIELD, NINA                                                           ADDRESS ON FILE
FIELDS, DEVON S.                                                      ADDRESS ON FILE
FIFIELD, JASON                                                        ADDRESS ON FILE
FIFTYFIVE DESIGN ASSOC                                                55 MOUNT AIRY RD                                                                  BASKING RIDGE     NJ           07920-2013
FIGUERAS, DAMIEN T.                                                   ADDRESS ON FILE
FILIOS, ELIZABETH A.                                                  ADDRESS ON FILE
FILIPOWSKA, ROKSANA                                                   ADDRESS ON FILE
FILM MOVEMENT LLC                                                     237 WEST 35TH ST.                        STE. 303                                 NEW YORK          NY           10001
FINEBERG, JONATHAN                                                    ADDRESS ON FILE
FINEBERG, JONATHAN D.                                                 ADDRESS ON FILE
FINEBERG, SARAH                                                       ADDRESS ON FILE
FINNAREN & HALEY, INC                                                 2041 W OREGON AVE                                                                 PHILADELPHIA      PA           19145-4224
FIRNHABER, JAMES                                                      ADDRESS ON FILE
FIRNHABER, JAMES R.                                                   ADDRESS ON FILE
FIRST UNION FOUNDATION, PA 4385                                       1339 CHESTNUT ST FL 13                                                            PHILADELPHIA      PA           19107-3520
FISHBACK, DANIEL R.                                                   ADDRESS ON FILE
FISHEL, DANIEL K.                                                     ADDRESS ON FILE
FISHER, SARA                                                          ADDRESS ON FILE
FITCH RATINGS, INC                                                    PO BOX 14580                                                                      DES MOINES        IA           50306
FIVE TOWNS COLLEGE                                                    305 NORTH SERVICE RD                                                              DIX HILLS         NY           11746
FLAK, JOHN                                                            ADDRESS ON FILE
FLAMM, MARA                                                           ADDRESS ON FILE
FLANNEL & HAMMER LLC                                                  259 SOUTH FARRAGUT ST.                                                            PHILADELPHIA      PA           19139
FLANNERY, KATE                                                        ADDRESS ON FILE
FLASH GRAPHICS, INC                                                   3682 DOGWOOD LANE                                                                 DOYLESTOWN        PA           18902
FLATH, REGINA                                                         ADDRESS ON FILE
FLORENCE KUPFERER                                                     ADDRESS ON FILE
FLORIDA STATE UNIVERSITY                                              A2500 UNIVERSITY CENTER                  282 CHAMPIONS WAY                        TALLAHASSEE       FL           32306-2400
FLOWER, SAMANTHA                                                      ADDRESS ON FILE
FLOWER, SANDRA                                                        ADDRESS ON FILE
FMI DIRECT MAIL ADVERTISING                                           2100 KUBACH RD.                                                                   PHILADELPHIA      PA           19116




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                Creditor Name                    Attention                  Address 1                            Address 2            Address 3             City        State      Zip       Country
FOGLE, DAVID W.                                              ADDRESS ON FILE
FOLEY, THOMAS                                                ADDRESS ON FILE
FOREMAN, JAMISON                                             ADDRESS ON FILE
FORSELL, VINCENT                                             ADDRESS ON FILE
FORSELL, VINCENT E.                                          ADDRESS ON FILE
FORTUNE, HEATHER                                             ADDRESS ON FILE
FOSNOCHT THOMAS A. III                                       ADDRESS ON FILE
FOSNOCHT, THOMAS                                             ADDRESS ON FILE
FOSTER, BRIAN                                                ADDRESS ON FILE
FOSTER, CAITLIN                                              ADDRESS ON FILE
FOSTER, JULIANNA                                             ADDRESS ON FILE
FOSTER, STEPHEN                                              ADDRESS ON FILE
FOWLER, LARRY                                                ADDRESS ON FILE
FOWLER, PATRICIA                                             ADDRESS ON FILE
FOX ROTHSCHILD                                               ADDRESS ON FILE
FOX ROTHSCHILD LLP                ATTN ACCOUNTS RECEIVABLE   2000 MARKET ST.                           20TH FL                                    PHILADELPHIA     PA           19103-3222
FOX, AMY L.                                                  ADDRESS ON FILE
FOX, KRISTINA M.                                             ADDRESS ON FILE
FOX, ROBERT                                                  ADDRESS ON FILE
FRAATZ, JAMES                                                ADDRESS ON FILE
FRAMELINE, INC                                               145 9TH STREET                            STE 300                                    SAN FRANCISCO    CA           94103
FRAN CIOCARI                                                 ADDRESS ON FILE
FRANCIS A. MOLENDA, JR.                                      ADDRESS ON FILE
FRANK BRESNAN                                                ADDRESS ON FILE
FRANK CLAY                                                   ADDRESS ON FILE
FRANK, CHARLES                                               ADDRESS ON FILE
FRANKLIN SECURITY SYSTEMS                                    30 BELTZ RD                                                                          TELFORD          PA           18969-1401
FRANKLYN CANTOR                                              ADDRESS ON FILE
FRASER, FANA                                                 ADDRESS ON FILE
FRAZURE, LAURA                                               ADDRESS ON FILE
FRED CURCHACK                                                ADDRESS ON FILE
FREDERICK J. ROSENAU FOUNDATION                              ADDRESS ON FILE
FREDERICK, VELONZA                                           ADDRESS ON FILE
FREEMAN MATHIS & GARY LLP                                    ACCOUNTS RECEIVABLES                      100 GALLERIA PKWY        STE 1600          ATLANTA          GA           30339-5948
FREEMAN, ROSE                                                ADDRESS ON FILE
FREEMAN, TANIKA                                              ADDRESS ON FILE
FREQUENCY PRODUCTIONS LLC                                    201 HINKSON BLVD                          STE 100                                    RIDLEY PARK      PA           19078
FREYJA SACK                                                  ADDRESS ON FILE
FRIED BROTHERS INC                                           467 NORTH 7TH STREET                                                                 PHILADELPHIA     PA           19123
FRIED, MARGARET                                              ADDRESS ON FILE
FRIEDMAN, LESLIE                                             ADDRESS ON FILE
FRIEDMAN, LESLIE A.                                          ADDRESS ON FILE
FRIENDS OF RITTENHOUSE                                       201 SOUTH 18TH STREET, UNIT 411                                                      PHILADELPHIA     PA           19103
FRIERSON, LAURIN                                             ADDRESS ON FILE
FRINGEARTS                                                   140 N COLUMBUS BLVD                                                                  PHILADELPHIA     PA           19106-2001
FRINGEARTS                                                   140 NORTH COLUMBUS BLVD                                                              PHILADELPHIA     PA           19106
FRISBEE, JOHN K.                                             ADDRESS ON FILE
FRISCH, MEGAN                                                ADDRESS ON FILE
FRITZ, ABAGAIL                                               ADDRESS ON FILE
FRITZ, KATHERINE                                             ADDRESS ON FILE
FRITZ, KATHERINE                                             ADDRESS ON FILE
FRYE, LESLEE J.                                              ADDRESS ON FILE
FS INVESTMENTS                                               201 ROUSE BLVD                                                                       PHILADELPHIA     PA           19112-1902
FULL FORCE PROMOTIONS, LLC                                   239 RACE STREET                           1ST FL                                     PHILADELPHIA     PA           19106
FULL SAIL UNIVERSITY                                         3300 UNIVERSITY BLVD                                                                 WINTER PARK      FL           32792
FULLER, ANINA P.                                             ADDRESS ON FILE
FULLERTON, TRACY                                             ADDRESS ON FILE
FUMAGALLI, ALESSANDRA                                        ADDRESS ON FILE
FUNG, ALBERT                                                 ADDRESS ON FILE
FUNG, ALBERT                                                 ADDRESS ON FILE
FUNKY SOLE FUNDAMENTALS LLC                                  5622 CHRISTIAN STREET                                                                PHILADELPHIA     PA           19143
G&T ERECTORS, L.L.C.                                         8 ROBERT DR                                                                          WEST WINDSOR     NJ           08550-3021
GABRIELLE MANDEL                                             ADDRESS ON FILE
GABRIELLE ROULHAC                                            ADDRESS ON FILE
GAGIS, JENNIFER                                              ADDRESS ON FILE
GAIL A. TUCKER                                               ADDRESS ON FILE
GAIL BARRINGER                                               ADDRESS ON FILE
GAIL ELLIS                                                   ADDRESS ON FILE




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GAIL HAMLETT                                  ADDRESS ON FILE
GAINES, MARLENE RICE-WHITTAKER                ADDRESS ON FILE
GAIR, NORA                                    ADDRESS ON FILE
GALASSO, CHRISTINA                            ADDRESS ON FILE
GALERIE LELONG                                ADDRESS ON FILE
GALES MEDIA, LLC                              1575 FOOTE STREET                        NE UNIT B                                      ATLANTA           GA           30307
GALLAGHER BENEFITS SERVICES                   ONE COMMERCE SQUARE                      2005 MARKET ST STE 710                         PHILADELPHIA      PA           19103
GALLAGHER, MATTHEW                            ADDRESS ON FILE
GALLAGHER, SIOBHAN                            ADDRESS ON FILE
GALLANT, ELISE                                ADDRESS ON FILE
GAMBONE, LINDSAY                              ADDRESS ON FILE
GAMERO SANTOS, DILMAR                         ADDRESS ON FILE
GAMERO SANTOS, DILMAR M.                      ADDRESS ON FILE
GANESH, CHITRA                                ADDRESS ON FILE
GANNON, MIRRANDA                              ADDRESS ON FILE
GANNON, MIRRANDA A.                           ADDRESS ON FILE
GANSKI, JASON                                 ADDRESS ON FILE
GANSKY, JOSHUA                                ADDRESS ON FILE
GARCIA, ANA                                   ADDRESS ON FILE
GARDNER, CIERA J.                             ADDRESS ON FILE
GARFIELD REFINING CO                          810 E CAYUGA ST                                                                         PHILADELPHIA      PA           19124-3857
GARRARD, KELLEY                               ADDRESS ON FILE
GARSIDE, JOANNE                               ADDRESS ON FILE
GARTH, KATHERINE                              ADDRESS ON FILE
GARTNER, TROY R.                              ADDRESS ON FILE
GARY HONABACH                                 ADDRESS ON FILE
GARY JETER                                    ADDRESS ON FILE
GARY SINGER                                   ADDRESS ON FILE
GARY TURNER                                   ADDRESS ON FILE
GARZON, LUCIA                                 ADDRESS ON FILE
GASH, CHRIS                                   ADDRESS ON FILE
GASH, CHRIS J.                                ADDRESS ON FILE
GASPARSKA, AGNIESZKA                          ADDRESS ON FILE
GAST, WILLIAM                                 ADDRESS ON FILE
GATES, HENRY L. JR.                           ADDRESS ON FILE
GATLIN, RENEE                                 ADDRESS ON FILE
GAWEL, BRENDON J.                             ADDRESS ON FILE
GAY, ANDREA                                   ADDRESS ON FILE
GAYLE ERICKSON                                ADDRESS ON FILE
GAYLE VANGROFSKY                              ADDRESS ON FILE
GAYLORD, TRAVIS                               ADDRESS ON FILE
GAZDOWICZ, GREGORY                            ADDRESS ON FILE
GBAKIMA, JASSARATU                            ADDRESS ON FILE
                                                                                                                1400 NORTH AMERICAN
GDLOFT, LLC                                   CRANE ARTS BLDG                          STUDIO 402               STREET                PHILADELPHIA      PA           19122
GE AUDIO VISUAL                               121 SW NORTH RIVER DRIVE                                                                MIAMI             FL           33130
GEE, MARTIN                                   ADDRESS ON FILE
GEE, MARTIN T.                                ADDRESS ON FILE
GEFFERS, BRENNA                               ADDRESS ON FILE
GEFFERS, BRENNA M.                            ADDRESS ON FILE
GELB FOUNDATION                               111 PELLER AVE                                                                          SCRANTON          PA           18505-2833
GELLERSTEIN, SAM L.                           ADDRESS ON FILE
GENE KUPFERER                                 ADDRESS ON FILE
GENERAL ELECTRIC COMPANY                      1 NEUMANN WAY                                                                           CINCINNATI        OH           45215
GENERAL EXHIBITS, INC                         2038 WASHINGTON AVE                                                                     PHILADELPHIA      PA           19146-2832
GENSERVE LLC                                  PO BOX 23974                                                                            NEW YORK          NY           10087-3974
GEOFFREY MCKONLY FURNITURE                    11 MAPLE STREET                                                                         SOUTHAMPTON       MA           01073
GEORGE BENO                                   ADDRESS ON FILE
GEORGE W. RENTSCHLER FOUNDATION               ADDRESS ON FILE
GEORGE, MICHAEL                               ADDRESS ON FILE
GEORGE, RAMI                                  ADDRESS ON FILE
GEORGIAN COURT UNIVERSITY                     900 LAKEWOOD AVE                                                                        LAKEWOOD          NJ           08701
GEPHART, SARAH                                ADDRESS ON FILE
GERALD KIM                                    ADDRESS ON FILE
GERALD MERGEN                                 ADDRESS ON FILE
GERALYN SCHAD                                 ADDRESS ON FILE
GERARD EISTERHOLD                             ADDRESS ON FILE
GERASIMOS KARABATSOS                          ADDRESS ON FILE




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                Creditor Name                          Attention                  Address 1                           Address 2         Address 3             City              State      Zip          Country
GERSHMAN, ERIC                                                      ADDRESS ON FILE
GERTH, JEANNIE                                                      ADDRESS ON FILE
GETACCEPTD LLC                                                      PO BOX 935823                                                                   ATLANTA                GA           31193-5823
GETZ, DANIEL                                                        ADDRESS ON FILE
GHANT, MARIAH                                                       ADDRESS ON FILE
GHANT, MARIAH T.                                                    ADDRESS ON FILE
GIAMO, CHRISTOPHER                                                  ADDRESS ON FILE
GIAMO, CHRISTOPHER W.                                               ADDRESS ON FILE
GIANGRANDI, DANIEL                                                  ADDRESS ON FILE
GIANT DREAM PRODUCTION                                              220 ROSENHAYN AVE                                                               BRIDGETON              NJ           00802
GIGUERE, RALPH                                                      ADDRESS ON FILE
GIL ISAACS                                                          ADDRESS ON FILE
GILAD I. HEKSELMAN                                                  ADDRESS ON FILE
GILBERT, CATHERINE                                                  ADDRESS ON FILE
GILBERT, CHARLES                                                    ADDRESS ON FILE
GILBERT, CHARLES                                                    ADDRESS ON FILE
GILBERT, DYLAN                                                      ADDRESS ON FILE
GILBERT, REBECCA                                                    ADDRESS ON FILE
GILBERT-MERRILL, JENA                                               ADDRESS ON FILE
GILLIGAN, YANCEY                                                    ADDRESS ON FILE
GINSBERG, TATIANA S.                                                ADDRESS ON FILE
GIORDANO, LUCAS                                                     ADDRESS ON FILE
GIOVANNI WHITE                                                      ADDRESS ON FILE
GIQUINTO, ALISON                                                    ADDRESS ON FILE
GIROUX, CHLOE M.                                                    ADDRESS ON FILE
GITTELSOHN, ELLIOTT                                                 ADDRESS ON FILE
GIUSEPPE SCATURCHIO                                                 ADDRESS ON FILE
GIUSTO, GINA                                                        ADDRESS ON FILE
GIUSTO, GINA M.                                                     ADDRESS ON FILE
GIVECAMPUS, INC.                                                    99 M ST SE                                STE 233                               WASHINGTON             DC           20003
GIVESMART US, INC                                                   DEPT 2145                                 PO BOX 122145                         DALLAS                 TX           75312-2145
GLACCUM, KEVIN                                                      ADDRESS ON FILE
GLACE, JILLIAN                                                      ADDRESS ON FILE
GLACE, JILLIAN L.                                                   ADDRESS ON FILE
GLANDEN, WILLIAM                                                    ADDRESS ON FILE
GLASS ALLIANCE OF LOS ANGELES                                       1505 SKYLARK LN                                                                 LOS ANGELES            CA           90069-1233
GLAUBITZ, JOHN T.                                                   ADDRESS ON FILE
GLAXOSMITHKLINE                          MATCHING GIFTS PROGRAM     PO BOX 7185                                                                     PRINCETON              NJ           08543-7185
GLAZE, SEAN D.                                                      ADDRESS ON FILE
GLENN KNIGHT                                                        ADDRESS ON FILE
GLENN RINNIER                                                       ADDRESS ON FILE
GLENN TAMERIUS                                                      ADDRESS ON FILE

GLICKMAN, BERKOVITZ, LEVINSON & WEINER                              7111 VALLEY GREEN RD                                                            FT WASHINGTON          PA           19034-2207
GLISSON, MEREDITH                                                   ADDRESS ON FILE
                                                                                                                                                    BANKSIDE LONDON, SEI                             UNITED
GLOBE THEATRE                                                       21 NEW GLOBE WALK                                                               9DT                                              KINGDOM
GLORIA EASLEY                                                       ADDRESS ON FILE
GLYDER, KIMBERLY                                                    ADDRESS ON FILE
GNADINGER, L                                                        ADDRESS ON FILE
GNADINGER, L. AUTUMN                                                ADDRESS ON FILE
GO WELSH, INC                                                       PO BOX 4103                                                                     LANCASTER              PA           17604-4103
GOBI LIBRARY SOLUTIONS                                              10 ESTES ST                                                                     IPSWICH                MA           01938
GODDARD, GILLIAN                                                    ADDRESS ON FILE
GOETTNER, JENNIFER                                                  ADDRESS ON FILE
GOINDEN, MARIE L. WILLIAMS                                          ADDRESS ON FILE
GOLD MEDAL DISPOSAL                                                 1770 HURFFVILLE RD                                                              SEWELL                 NJ           08080-4260
GOLDEN, JACK                                                        ADDRESS ON FILE
GOLDEN, JACK C.                                                     ADDRESS ON FILE
GOLDENBERG, LEIGH                                                   ADDRESS ON FILE
GOLDMAN, JEFFREY                                                    ADDRESS ON FILE
GOLDMAN, JEFFREY S.                                                 ADDRESS ON FILE
GOLDMAN, MADELAINE                                                  ADDRESS ON FILE
GOLDMAN, SANDER                                                     ADDRESS ON FILE
GOLDMAN, TYLER                                                      ADDRESS ON FILE
                                                                                                                                                                                                     UNITED
GOLDSMITHS COLLEGE - UNIVERSIT                                      LEWISHAM WAY                              NEW CROSS                             LONDON SE14 6NW                                  KINGDOM
GOLDSTEIN-LEVITAS, NATASHA                                          ADDRESS ON FILE




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              Creditor Name                             Attention                    Address 1                  Address 2                  Address 3              City             State      Zip       Country
GOMEZ, MARIA                                                         ADDRESS ON FILE
GONZALEZ, CANDY A.                                                   ADDRESS ON FILE
GONZALEZ, CHRISTY                                                    ADDRESS ON FILE
GONZALEZ, JEZABETH                                                   ADDRESS ON FILE
GONZALEZ, JONATHAN                                                   ADDRESS ON FILE
GOODWIN, DEBORAH                                                     ADDRESS ON FILE
GOODWIN, JUNE                                                        ADDRESS ON FILE
GOPIE-SALEEM, KERECE                                                 ADDRESS ON FILE
GORDIN & BERGER                                                      1760 MARKET ST STE 600                                                            PHILADELPHIA           PA           19103-4105
GORDON GROUP ELECTRIC                                                1701A LORETTA AVE                                                                 FEASTERVILLE TREVOSE   PA           19053-7312
GORDON, TRACY                                                        ADDRESS ON FILE
GRAHAM PARTNERS, INC                                                 3811 W CHESTER PIKE BLDG 2 STE 200                                                NEWTOWN SQ             PA           19073-2323
GRAHAM, LAKESHA                                                      ADDRESS ON FILE
GRANATO, JOSEPH                                                      ADDRESS ON FILE
GRANEY, CAROL                                                        ADDRESS ON FILE
GRANT MCCLURE                                                        ADDRESS ON FILE
                                                                     2001 MARKET STREETTWO COMMERCE SQ
GRANT THORNTON LLP                                                   STE 3100                                                                          PHILADELPHIA           PA           19103
GRANT, HENRY                                                         ADDRESS ON FILE
GRAPHIC ARTS, INC                                                    4100 CHESTNUT ST                                                                  PHILADELPHIA           PA           19104-3013
GRAPHICS, VISION                                                     ADDRESS ON FILE
GRASS, BERRY                                                         ADDRESS ON FILE
GRASS, CAMELLIA-BERRY                                                ADDRESS ON FILE
GRASSHOPPER FILM, LLC                                                420 EAST 54 ST.                    #3503                                          NEW YORK               NY           10022
GRAVINA-WOHLLEB, JACQUELINE                                          ADDRESS ON FILE
GRAY DAY SYSTEMS LLC                                                 613 PELICAN CRST                                                                  BELLE CHASSE           LA           70037-1831
GRAY, JACK                                                           ADDRESS ON FILE
GRAY, MS NAOMI                                                       ADDRESS ON FILE
GRAY, SEAN                                                           ADDRESS ON FILE
GRAY, WENDELL M. II                                                  ADDRESS ON FILE
GRAZIANI, BRIAN                                                      ADDRESS ON FILE
GREAT AMERICAN                           RYAN TURNER SPECIALTY       1650 ARCH STREET                   26TH FLOOR                                     PHILADELPHIA           PA           19103
GREAT AMERICAN INSURANCE GROUP                                       ENVIRONMENTAL DIVISION             111 BROADWAY                                   NEW YORK               NY           10006
GREATER GOOD STUDIO, LLC                                             3600 NORTH KEELER AVENUE                                                          CHICAGO                IL           60641
GREATER HOUSTON COMMUNITY
FOUNDATION                                                           5120 WOODWAY DR STE 6000                                                          HOUSTON                TX           77056-1791
GREATER PHILADELPHIA CULTURAL                                        1315 WALNUT ST                               STE 732                              PHILADELPHIA           PA           19107

GREATER PHILADELPHIA CULTURAL ALLIANCE                               1315 WALNUT ST STE 732                                                            PHILADELPHIA           PA           19107-4733
                                                                                                                  1515 ARCH STREET, 11TH
GREATER PHILADELPHIA FILM OFFICE                                     ONE PARKWAY BUILDING                         FL                                   PHILADELPHIA           PA           19102
GREATER PHILADELPHIA TOURISM
MARKETING CORPORATION                                                30 S 17TH ST STE 2010                                                             PHILADELPHIA           PA           19103-4005
GRECO, JOANN                                                         ADDRESS ON FILE
GREEN FIG NYC LLC                                                    570 10TH AVENUE                                                                   NEW YORK               NY           10036
GREEN, JULIE                                                         ADDRESS ON FILE
GREEN, JULIE-ANN C.                                                  ADDRESS ON FILE
GREEN, SAMUEL                                                        ADDRESS ON FILE
GREENBERG, DAVID                                                     ADDRESS ON FILE
GREENBURG, JENNIFER                                                  ADDRESS ON FILE
GREENBURG, JENNIFER                                                  ADDRESS ON FILE
GREENE, DOUG                                                         ADDRESS ON FILE
GREENLAND, THERESE                                                   ADDRESS ON FILE
GREENLAND, THERESE B.                                                ADDRESS ON FILE
GREENWALD, MAGGIE                                                    ADDRESS ON FILE
GREG HYDE                                                            ADDRESS ON FILE
GREG STRASSBERG                                                      ADDRESS ON FILE
GREGG, DANA                                                          ADDRESS ON FILE
GREGORY CORRADO                                                      ADDRESS ON FILE
GREGORY WILSON                                                       ADDRESS ON FILE
GRETCHEN FOSTER                                                      ADDRESS ON FILE
GRETJEN CLAUSING                                                     ADDRESS ON FILE
GRINBERG, BENJAMIN R.                                                ADDRESS ON FILE
GRINBERG, MELANIE                                                    ADDRESS ON FILE
GROEN, AMANDA                                                        ADDRESS ON FILE
GRUTZA, JENNIFER                                                     ADDRESS ON FILE
GRUTZECK, LAURA                                                      ADDRESS ON FILE
GRUTZECK, LAURA                                                      ADDRESS ON FILE




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               Creditor Name            Attention                 Address 1                          Address 2         Address 3            City          State       Zip      Country
GRYPHON ENTERTAINMENT INC                           251 DAFFODIL DRIVE                                                             E. STROUDSBURG    PA           18301
GU, YIKUI                                           ADDRESS ON FILE
GUARDIOLA, MATTHEW                                  ADDRESS ON FILE
GUAY, RICHARD                                       ADDRESS ON FILE
GUBIN, HARRIS                                       ADDRESS ON FILE
GUEDES, KODY                                        ADDRESS ON FILE
GUERRO, HARRY S.                                    ADDRESS ON FILE
GUIDO, ANTHONY                                      ADDRESS ON FILE
GUIDO, ANTHONY                                      ADDRESS ON FILE
GUIGAR, BRADLEY                                     ADDRESS ON FILE
GUILIANO, CHRISTINE R.                              ADDRESS ON FILE
GUILMARTIN, STEPHANIE                               ADDRESS ON FILE
GURRY, SAMANTHA L.                                  ADDRESS ON FILE
GURTON-WATCHER, ANNA                                ADDRESS ON FILE
GURY, ALBERT                                        ADDRESS ON FILE
GUTIERREZ, NAPOLEON                                 ADDRESS ON FILE
GUTIERREZ, STEVEN                                   ADDRESS ON FILE
GUTIERREZ-HAWBAKER, EDITH                           ADDRESS ON FILE
GUYER, MICHAEL E.                                   ADDRESS ON FILE
GWINN, BRANDON J.                                   ADDRESS ON FILE
H. GRACE FULLER                                     ADDRESS ON FILE
H.F. LENFEST FOUNDATION                             ADDRESS ON FILE
HAAS, PETER                                         ADDRESS ON FILE
HAAVIK-MACKINNON, AMY                               ADDRESS ON FILE
HACHETTE BOOK GROUP                                 PO BOX 8828                              JFK STATION                           BOSTON            MA           02114-8828
HADDON HEIGHTS BOARD OF EDUCATION AND
ADMINISTRATION                                      316 7TH AVE # A                                                                HADDON HGTS       NJ           08035-1828
HADDON SECURITY, INC                                PO BOX 8665                                                                    HADDON TOWNSHIP   NJ           08108-8665
HADEN, KEVIN                                        ADDRESS ON FILE
HAGAN & ASSOC                                       502 DARBY RD                                                                   HAVERTOWN         PA           19083-4604
HAGAN, ANNE                                         ADDRESS ON FILE
HAHN, TAMARA                                        ADDRESS ON FILE
HAIDLE, ELIZABETH                                   ADDRESS ON FILE
HAIRSTON, AMY                                       ADDRESS ON FILE
HAL JONES                                           ADDRESS ON FILE
HALEY HARTLINE                                      ADDRESS ON FILE
HALF, ROBERT                                        ADDRESS ON FILE
HAMILTON FAMILY FOUNDATION                          ADDRESS ON FILE
HAMILTON, HANNA                                     ADDRESS ON FILE
HAMILTON, KEVIN                                     ADDRESS ON FILE
HAMILTON, LARRY                                     ADDRESS ON FILE
HAMMEL, ALICE                                       ADDRESS ON FILE
HAMMILL & GILLESPIE, INC                            PO BOX 104                                                                     LIVINGSTON        NJ           07039-0104
HAMMOND, VALERIE A.                                 ADDRESS ON FILE
HANDLEY-BYRNE, KEAVY                                ADDRESS ON FILE
HANDS UP PRODUCTIONS LLC                            22 MORNINGSTAR CT.                                                             SICKLERVILLE      NJ           08081
HANGLEY ARONCHICK SEGAL & PUDLIN                    1 LOGAN SQ FL 27                                                               PHILADELPHIA      PA           19103-6910
HANNAH ALLEN                                        ADDRESS ON FILE
HANSON, KEVIN                                       ADDRESS ON FILE
HARABARU, NICOLE F.                                 ADDRESS ON FILE
HARBISON, PATRICK LEWIS                             ADDRESS ON FILE
HARCUM COLLEGE                                      750 MONTGOMERY AVENUE                                                          BRYN MAWR         PA           19010
HARMONY LODGE NO. 5                                 PO BOX 22384                                                                   PHILADELPHIA      PA           19110-2384
HARNTICHEK, HARRY                                   ADDRESS ON FILE
HARPERCOLLINS PUBLISHERS LLC                        PO BOX 21091                                                                   NEW YORK          NY           10087-1091
HARRIETTS BOOKSHOP                                  258 EAST GIRARD AVE                                                            PHILADELPHIA      PA           19125
HARRINGTON DESIGN STUDIO, LLC                       PO BOX 38                                                                      BIRCHRUNVILLE     PA           19421
HARRINGTON, DYLAN                                   ADDRESS ON FILE
HARRIS, CHARYN                                      ADDRESS ON FILE
HARRIS, JORDAN                                      ADDRESS ON FILE
HARRIS, MORA                                        ADDRESS ON FILE
HARRIS, ZAKIYA                                      ADDRESS ON FILE
HARRISON, JONAH                                     ADDRESS ON FILE
HARTLEY, NEILL                                      ADDRESS ON FILE
HARTMAN, JOSHUA                                     ADDRESS ON FILE
HARTT, DAVID                                        ADDRESS ON FILE
HARVEY STEFANOWICZ                                  ADDRESS ON FILE
HASEGAWA, RIE                                       ADDRESS ON FILE




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HAWORTH, CURT                                                      ADDRESS ON FILE
HAY, ROSEMARY                                                      ADDRESS ON FILE
HAYES, KELLY ANNE                                                  ADDRESS ON FILE
HAYLEY MCKNIGHT                                                    ADDRESS ON FILE
HAYNES, ROCHELLE                                                   ADDRESS ON FILE
HEADHUNTER SYSTEMS LTD                                             LOCKBOX #5313                             PO BOX 660367                            DALLAS            TX           75266-0367
HEALEY, JAIMIE                                                     ADDRESS ON FILE
HEALTHCARE ADMINISTRATIVE PARTNERS,
LLC                                                                112 CHESLEY DRIVE                                                                  MEDIA             PA           19063
HEALTHCARE PROVIDERS SERVICE
ORGANIZATION                                                       1100 VIRGINIA DRIVE                       STE. 250                                 FORT WASHINGTON   PA           19034
HEALTHEQUITY, INC                                                  15 W SCENIC POINTE DR                                                              DRAPER            UT           84020
HEALY, KATHARINE                                                   ADDRESS ON FILE
HEAPS, SAMANTHA                                                    ADDRESS ON FILE
HEARTLAND PAYMENT SYSTEMS, LLC                                     3550 LENOX RD NE, SUITE 3000                                                       ATLANTA           GA           30326
HEATHER BRITTAIN                                                   ADDRESS ON FILE
HEATHER MCKAY                                                      ADDRESS ON FILE
HEAVEY, CAL E.                                                     ADDRESS ON FILE
HEAVY WATER LTD                                                    270 NORTH AVE STE 709                                                              NEW ROCHELLE      NY           10801-5130
HECKSTALL, MIA                                                     ADDRESS ON FILE
HEDDEN, THOMAS                                                     ADDRESS ON FILE
HEETER, JENNIFER                                                   ADDRESS ON FILE
HEISHMAN, ALLISON                                                  ADDRESS ON FILE
HELEN GREEN                                                        ADDRESS ON FILE
HELEN H. ZUCKERMAN                                                 ADDRESS ON FILE
HELEN SIMONEAU DANSE, INC                                          193 MESEROLE STREET                       #1                                       BROOKLYN          NY           11206
HELENA A. GRADY                                                    ADDRESS ON FILE
HELENA RAINVILLE                                                   ADDRESS ON FILE
HELENE ABRAMOWITZ                                                  ADDRESS ON FILE
HELMSTETTER, CYNTHIA R.                                            ADDRESS ON FILE
HEMMINGS, MARGUERITE                                               ADDRESS ON FILE
HENAGHAN, ADAM                                                     ADDRESS ON FILE
HENDERSHOT, JOHN                                                   ADDRESS ON FILE
HENDERSON, JOSEPH                                                  ADDRESS ON FILE
HENDRIX, WILLIAM C.                                                ADDRESS ON FILE
HENDRY, JENNIFER D.                                                ADDRESS ON FILE
HENRIETTA HEISLER                                                  ADDRESS ON FILE
HENRY BERNSTEIN                                                    ADDRESS ON FILE
HENRY NIAS FOUNDATION SCHOLARSHIP                                  ADDRESS ON FILE
HENRY NIAS FOUNDATION, INC                                         2636 W MORSE AVE                                                                   CHICAGO           IL           60645-4517
HENRY WINNIK                                                       ADDRESS ON FILE
HENRY, SHELDON                                                     ADDRESS ON FILE
HER PLACE                               ATTN: AMANDA SHULMAN       1740 SAMSON STREET                                                                 PHILADELPHIA      PA           19103
HER PLACE SUPPER CLUB                   ATTN AMANDA SHULMAN        1740 SAMSON STREET                                                                 PHILADELPHIA      PA           19103
HER PLACE SUPPER CLUB                   ATTN: AMANDA SHULMAN       1740 SAMSON STREET                                                                 PHILADELPHIA      PA           19103
HERB ALPERT FOUNDATION                                             1414 6TH ST                                                                        SANTA MONICA      CA           90401-2510
HERMAN, DAKOTA                                                     ADDRESS ON FILE
HERMAN, GLENN                                                      ADDRESS ON FILE
HERMAN, RICHARD H.                                                 ADDRESS ON FILE
HERMAN, TERRY                                                      ADDRESS ON FILE
HERNANDEZ, SCARLET                                                 ADDRESS ON FILE
HERTZBERG, DANIEL                                                  ADDRESS ON FILE
HERTZBERG, DANIEL C.                                               ADDRESS ON FILE
HESSERT CONSTRUCTION                                               15 W STOW RD                                                                       MARLTON           NJ           08053-3116
HETHERINGTON, CHRISTOPHER J                                        ADDRESS ON FILE
HIIBEL, MILLIE                                                     ADDRESS ON FILE
HIRERIGHT, LLC                                                     PO BOX 847891                                                                      DALLAS            TX           75284-7891
                                                                                                             300 BARR HARBOR DR STE
HIRTLE, CALLAGHAN & CO., INC                                       FIVE TOWER BRIDGE                         500                                      W CNSHOHOCKEN     PA           19428-2984
HISLOP, TERI L.                                                    ADDRESS ON FILE
HISTORIC GERMANTOWN                                                5501 GERMANTOWN AVE                                                                PHILADELPHIA      PA           19144-2225
HISTORICAL SOCIETY OF TACONY                                       4819 LONGSHORE AVE FL 2                                                            PHILADELPHIA      PA           19135-2333
HMS SCHOOL FOR CHILDREN WITH CEREBRAL
PALSY                                                              4400 BALTIMORE AVE                                                                 PHILADELPHIA      PA           19104
HO, JESSICA                                                        ADDRESS ON FILE
HO, WING-SZE                                                       ADDRESS ON FILE
HOBERMAN, MUNRO                                                    ADDRESS ON FILE
HODGSON, KEITH                                                     ADDRESS ON FILE




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               Creditor Name                       Attention                       Address 1                                 Address 2         Address 3              City          State      Zip       Country
HOEVENAAR, JEREMY F.                                                 ADDRESS ON FILE
HOFF, JAMES                                                          ADDRESS ON FILE
HOFFMANN, PETER                                                      ADDRESS ON FILE
HOFFMANN, PETER A.                                                   ADDRESS ON FILE
HOGAN LOVELLS US LLP                                                 555 THIRTEENTH ST.                                                                    WASHINGTON          WA           20004
HOKE, RACHEL                                                         ADDRESS ON FILE
HOKE, VALERIE                                                        ADDRESS ON FILE
HOLLANDER, JENNIFER                                                  ADDRESS ON FILE
HOLLEMAN, TROY                                                       ADDRESS ON FILE
HOLLY L. LENTZ                                                       ADDRESS ON FILE
HOLLY MOLENDA                                                        ADDRESS ON FILE
HOLLY N. GILBREATH                                                   ADDRESS ON FILE
HOLLY SCHOR                                                          ADDRESS ON FILE
HOLT, ROBERT B.                                                      ADDRESS ON FILE
HOLT-BILES, RACHEL                                                   ADDRESS ON FILE
HOLUM, SOLVEIG                                                       ADDRESS ON FILE
HOMELAND INSURANCE COMPANY OF       C/O RESILIENCE CYBER INSURANCE
DELAWARE                            SOLUTIONS                        275 MADISON AVE                              STE 902                                  NEW YORK            NY           10016
HOO, AUDREY                                                          ADDRESS ON FILE
HOOD, COLLEEN                                                        ADDRESS ON FILE
HOOVER, THERESA                                                      ADDRESS ON FILE
HOOVER, THERESA A.                                                   ADDRESS ON FILE
HOPE ANNE HART                                                       ADDRESS ON FILE
HOPELY, RYAN                                                         ADDRESS ON FILE
HORAN, CATHERINE                                                     ADDRESS ON FILE
HORANSKY, IRA                                                        ADDRESS ON FILE
HORI, ALLEN                                                          ADDRESS ON FILE
HORI, ALLEN                                                          ADDRESS ON FILE
HORN, MIGUEL                                                         ADDRESS ON FILE
HOUCK, REBECCA                                                       ADDRESS ON FILE
HOVE, CHARLETTE                                                      ADDRESS ON FILE
HOWARD A. WOLF AND MARTHA R. WOLF
FUND                                C/O COZEN OCONNOR                1900 MARKET ST                                                                        PHILADELPHIA        PA           19103-3508
HOWARD, DEANNA CHARLOTTE                                             ADDRESS ON FILE
HOWARD, JUDITH A.                                                    ADDRESS ON FILE
HOWZE, WHITNEY                                                       ADDRESS ON FILE
HSU, JASON                                                           ADDRESS ON FILE
HSU, SAINE                                                           ADDRESS ON FILE
HU, JOSEPH                                                           ADDRESS ON FILE
HUANG, YINGHENG                                                      ADDRESS ON FILE
HUDSON B. SCATTERGOOD                                                ADDRESS ON FILE
HUDSON, SUZANNE                                                      ADDRESS ON FILE
HUGHES AND ASSOC                                                     COURT PLAZA NORTH                            25 MAIN ST STE 205                       HACKENSACK          NJ           07601-7085
HUGHES, NICHOLAS                                                     ADDRESS ON FILE
HUMAN+NATURE                                                         870 N 28TH ST APT 201                                                                 PHILADELPHIA        PA           19130-1729
HUNT, LOREN                                                          ADDRESS ON FILE
HUNTER, JARED                                                        ADDRESS ON FILE
HUONG RASHID                                                         ADDRESS ON FILE
HURLEY, JOHN                                                         ADDRESS ON FILE
HURLEY, JOHN M. JR.                                                  ADDRESS ON FILE
HURON CONSULTING SERVICES LLC                                        PO BOX 71223                                                                          CHICAGO             IL           60694-1223
HUTCH TRAVER                                                         ADDRESS ON FILE
HUTCHISON HARRIS, HEATHER                                            ADDRESS ON FILE
HYDE, RYAN                                                           ADDRESS ON FILE
HYDE, RYAN A.                                                        ADDRESS ON FILE
HYLAND SOFTWARE, INC                                                 PO BOX 846261                                                                         DALLAS              TX           75284-6261
HYLAND SOFTWARE, INC.               HYLAND SOFTWARE, INC.            28500 CLEMENS RD                             28500 CLEMENS RD                         WESTLAKE            OH           44145
HYMAN, DENISE                                                        ADDRESS ON FILE
HYPERALLERGIC MEDIA, INC                                             181 NORTH 11TH ST.                           STE. 302                                 BROOKLYN            NY           11211
HYPERION BANK                                                        199 W GIRARD AVE                                                                      PHILADELPHIA        PA           19123
HYUN-JOU LEE                                                         ADDRESS ON FILE
IATSE NATIONAL BENEFIT FUNDS                                         29 WEST 38TH ST.                             15TH FL                                  NEW YORK            NY           10018
IBARLUCEA, BIANCA                                                    ADDRESS ON FILE
IBM CORPORATION                                                      6303 BARFIELD RD NE                          6303 BARFIELD RD NE                      ATLANTA             GA           30328-4233
IBM CORPORATION MATCHING GRANT                                                                                                                             RESEARCH TRIANGLE
PROGRAM                                                              BLDG 203PO BOX 12195                                                                  PARK                NC           27709-2195
IBOY, DAVID                                                          ADDRESS ON FILE
IBOY, DAVID S.                                                       ADDRESS ON FILE




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                 Creditor Name                       Attention                  Address 1                           Address 2            Address 3            City            State       Zip         Country
ICEBOX PROJECT SPACE LLC                                         1400 NORTH AMERICAN ST.                                                             PHILADELPHIA        PA           19122
ICI-CENTRE CHOREGRAPHIQUE NATI                                   AGORA BLVD                                LOUIS BALNC                               34000 MONTPELLIER                             FRANCE
IDA TRAMMELL                                                     ADDRESS ON FILE
IDALIA VASQUEZ PHOTOGRAPHY                                       267 LAURISTON ST.                                                                   PHILADELPHIA        PA           19128
IFDA PHILADELPHIA                                                2400 MARKET STREET, STE 400A                                                        PHILADELPHIA        PA           19103
IGNARRI-LUMMIS ARCHITECTS                                        601 CHAPEL AVE E                                                                    CHERRY HILL         NJ           08034-1454
IKON OFFICE SOLUTIONS                                            1760 MARKET STREET                                                                  PHILADELPHIA        PA           19103-4134
ILLADEL ALL STARS                                                1718 SOUTH 4TH STREET                                                               PHILADELPHIA        PA           19148
ILLUMINATE HOLLYWOOD                  ATTN ACCOUNTS RECEIVABLE   10900 VENTURA BLVD                                                                  STUDIO CITY         CA           91604
IMAGINE STONE PRODUCTIONS, LLC                                   200 ROBAT ST.                                                                       PHILADELPHIA        PA           19120
IMAGING SYSTEMS, INC                                             7040 COLONIAL HWY                                                                   PENNSAUKEN          NJ           08109-4306
IMEG CONSULTANTS CORP                 ATTN ACCOUNTS RECEIVABLE   623 26TH STREET                                                                     ROCK ISLAND         IL           61201
IMS TECHNOLOGY SERVICE, INC                                      3055 MCCANN FARM DRIVE                                                              GARNET VALLEY       PA           19060
IMSO CHOI                                                        ADDRESS ON FILE
INCLUSION, INC                                                   8014 OLSON MEMORIAL HWY                   #602                                      MINNEAPOLIS         MN           55427
INDEPENDENCE BLUE CROSS                                          1901 MARKET ST FL 38                                                                PHILADELPHIA        PA           19103-1465
INDEPENDENCE SEAPORT MUSEUM                                      211 SOUTH COLUMBUS BLVD                                                             PHILADELPHIA        PA           19106
INDEPENDENCE VISITOR CENTER
CORPORATION                                                      1 N INDEPENDENCE MALL W                                                             PHILADELPHIA        PA           19106-1518
INDEPENDENT CONTRACT FLOORING LLC                                2705 CLEMENS RD                           STE A102                                  HATFIELD            PA           19440
INGRAM, ANGEL                                                    ADDRESS ON FILE
INITIATIVE, ASIAN ARTS                                           ADDRESS ON FILE
INNISS, CHARLES                                                  ADDRESS ON FILE
INNISS, CHRISTOPHER                                              ADDRESS ON FILE
INNOVATIVE INTERFACE INC                                         PO BOX 74008010                                                                     CHICAGO             IL           60674-8010
INSPIRED IMPACT, INC                                             180 CYPRESS WAY                           E F241                                    NAPLES              FL           34110
INSTITUTE FOR THE ARTS                                           PO BOX 10610                                                                        WINSTON SALEM       NC           27108-0610
INSTRUCTURE, INC                                                 PO BOX 7410958                                                                      CHICAGO             IL           60674-0958
INTELLECTSPACE CORPORATION                                       133 QUEEN ANNE AVE N. STE. 100                                                      SEATTLE             WA           98109
INTERNATIONAL BROTHERHOOD OF
ELECTRICAL WORKERS LOCAL 98                                      1719 SPRING GARDEN ST                                                               PHILADELPHIA        PA           19130-3915
INTERNATIONAL HOUSE OF PHILADELPHIA                              3701 CHESTNUT ST                                                                    PHILADELPHIA        PA           19104-3104
INTERROBANG DESIGN                                               2385 HUNTINGTON RD                                                                  RICHMOND            VT           05477-9750
INTERSCHOLASTIC ESPORTS, LLC                                     100 PINE ST.                              PO BOX 1166                               HARRISBURG          PA           17108
INTERSECTION MEDIA, LLC                                          PO BOX 5465                                                                         WHITE PLAINS        NY           10602-5465
INWOOD, MICHAEL                                                  ADDRESS ON FILE
INWOOD, MICHAEL P.                                               ADDRESS ON FILE
IRELAND, BETH                                                    ADDRESS ON FILE
IRENE PEREZ KOSTRZEWA                                            ADDRESS ON FILE
ISAAC & CAROL AUERBACH FAMILY
FOUNDATION                                                       ADDRESS ON FILE
ISAAC C. ATTIE                                                   ADDRESS ON FILE
ISAACSON MILLER, INC                                             DEPARTMENT 1700                           PO BOX 4106                               WOBURN              MA           01888-4106
ISABEL A. AGOSTINI                                               ADDRESS ON FILE
ISABEL OVESCA                                                    ADDRESS ON FILE
ISELY, SAMANTHA                                                  ADDRESS ON FILE
ISIAHNETTA BURTON                                                ADDRESS ON FILE
I-SITE WEB DESIGN                                                15 S 3RD ST STE 200                                                                 PHILADELPHIA        PA           19106-2848
ISON, DANIEL                                                     ADDRESS ON FILE
ITALIAN BISTRO                                                   211 S BROAD ST                                                                      PHILADELPHIA        PA           19107-5324
IV, WILMER WILSON                                                ADDRESS ON FILE
IVEY, CACHET                                                     ADDRESS ON FILE
IZZY GIBSON                                                      ADDRESS ON FILE
J. N. PHILLIPS CASTING                                           5535 LENA ST                                                                        PHILADELPHIA        PA           19144-2232
J.E. CALDWELL & CO.                                              JUNIPER & CHESTNUT STREETS                                                          PHILADELPHIA        PA           19102
J.F. MARTIN, INC                                                 4170 RICHMOND STREET                                                                PHILADELPHIA        PA           19137-1908
J.J. WHITE INCORPORATED                                          5500 BINGHAM ST                                                                     PHILADELPHIA        PA           19120-2103
J.P. JAY ASSOC, INC                                              1313 ROTH AVE.                                                                      ALLENTOWN           PA           18102
J.P. MORGAN SECURITIES, INC                                      60 WALL ST                                                                          NEW YORK            NY           10005-2807
J.P. MORGAN TRUST CO, NATIONAL
ASSOCIATION                                                      ONE LIBERTY PLACE                         1650 MARKET ST          STE 4700          PHILADELPHIA        PA           19103
JACK & JILL OF AMERICA                                           PO BOX 27094                                                                        PHILADELPHIA        PA           19118-0094
JACK FIDLER                                                      ADDRESS ON FILE
JACKI PHIPPS                                                     ADDRESS ON FILE
JACKIE BARNUM                                                    ADDRESS ON FILE
JACKSON, DANIEL                                                  ADDRESS ON FILE
JACKSON, JEHBREAL MUHAMMAD                                       ADDRESS ON FILE
JACKSON, KATHI                                                   ADDRESS ON FILE




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              Creditor Name                              Attention                        Address 1                        Address 2             Address 3             City        State      Zip       Country
JACKSON, KEENYA                                                           ADDRESS ON FILE
JACKSON, SHAWN                                                            ADDRESS ON FILE
JACKSON, TANNA                                                            ADDRESS ON FILE
JACKSON, TANYA                                                            ADDRESS ON FILE
JACLYN CONNELL                                                            ADDRESS ON FILE
JACOBS MUSIC CO                                                           1718 CHESTNUT ST                                                                   PHILADELPHIA     PA           19103-5120
JACOBS MUSIC CO., INC                                                     90 BARCLAY FARM                         SHOPPING CENTER                            CHERRY HILL      NJ           08034
JACOBS, BRYAN                                                             ADDRESS ON FILE
JACOBSWYPER ARCHITECTS, LLP                                               1232 CHANCELLOR STREET                                                             PHILADELPHIA     PA           19107
JACQUELINE DIFRANCO                                                       ADDRESS ON FILE
                                                                          ATTN: MARC H. EDELSON, SHOSHANA
JACQUELINE MANNI                         C/O EDELSON LECHTZIN LLP         MICHELLE SAVETT, ERIC LECHTZIN          411 S. STATE STREET     SUITE N-300        NEWTOWN          PA           18940
                                                                          ATTN: RYAN ALLEN HANCOCK, JORDAN        1845 WALNUT STREET,
JACQUELINE MANNI                         C/O WILLIG WILLIAMS & DAVIDSON   KONELL                                  24TH FLOOR                                 PHILADELPIA      PA           19103
                                                                          ATTN: RYAN ALLEN HANCOCK, JORDAN        1845 WALNUT STREET,
JACQUELINE MANNI                         C/O WILLIG WILLIAMS & DAVIDSON   KONELL, SAMUEL H. DATLOF                24TH FLOOR                                 PHILADELPIA      PA           19103
JACQUELINE MCDOUGALL                                                      ADDRESS ON FILE
JACQUELINE MCGHEE-RUTLEDGE                                                ADDRESS ON FILE
JACQUELINE OAKES                                                          ADDRESS ON FILE
JAFFE, ERIC W.                                                            ADDRESS ON FILE
JAFFE, FRANK                                                              ADDRESS ON FILE
JAIN, JUSTIN                                                              ADDRESS ON FILE
JAMES BEEBE                                                               ADDRESS ON FILE
JAMES CHAPPELL                                                            ADDRESS ON FILE
JAMES D. DEAN                                                             ADDRESS ON FILE
JAMES DOWD                                                                ADDRESS ON FILE
JAMES EGINS                                                               ADDRESS ON FILE
JAMES JENNINGS                                                            ADDRESS ON FILE
JAMES LARSON PAINITING                                                    316 MINCK AVE                                                                      WEST BERLIN      NJ           08091-1405
JAMES NOWELL                                                              ADDRESS ON FILE
JAMES PARRISH                                                             ADDRESS ON FILE
JAMES T. SHEFFER                                                          ADDRESS ON FILE
JAMES TURK                                                                ADDRESS ON FILE
JAMF SOFTWARE, LLC                                                        PO BOX 74007550                                                                    CHICAGO          IL           60674-7550
JAMIE CARDOSI                                                             ADDRESS ON FILE
JAMIE NAVONE                                                              ADDRESS ON FILE
JAN HILDRETH                                                              ADDRESS ON FILE
JAN LAFLEUR                                                               ADDRESS ON FILE
JAN STOUT                                                                 ADDRESS ON FILE
JANE BUTLER                                                               ADDRESS ON FILE
JANE STAUD                                                                ADDRESS ON FILE
JANELL GOTIER                                                             ADDRESS ON FILE
JANIS, MELINDA                                                            ADDRESS ON FILE
JANNEY MONTGOMERY SCOTT LLC                                               1717 ARCH ST LBBY 3                                                                PHILADELPHIA     PA           19103-2713
JANUS FILMS                                                               250 EAST HARTSDALE AVE                  STE 42                                     HARTSDALE        NY           10530
JARBOE, JOHN                                                              ADDRESS ON FILE
JARRET MCCREARY                                                           ADDRESS ON FILE
JARRETT, JAIME                                                            ADDRESS ON FILE
JARROD MADARA                                                             ADDRESS ON FILE
JASON CIACCIA                                                             ADDRESS ON FILE
JASON FARRAR                                                              ADDRESS ON FILE
JASON HSU                                                                 ADDRESS ON FILE
JASON KARABATSOS                                                          ADDRESS ON FILE
JASON LEACH                                                               ADDRESS ON FILE
JASON PLETT                                                               ADDRESS ON FILE
JASON SCHULER                                                             ADDRESS ON FILE
JAVIAN, MARY                                                              ADDRESS ON FILE
JAY DELLA VALLE                                                           ADDRESS ON FILE
JAY-MARIA BAR, INC                                                        347 S 13TH ST # 49                                                                 PHILADELPHIA     PA           19107-5918
JAYS DELI INC                                                             1228 SPRUCE ST                                                                     PHILADELPHIA     PA           19107-5919
JAYS DELI, INC                           ATTN JONGMI CHOI                 1228 SPRUCE ST                                                                     PHILADELPHIA     PA           19107
                                                                                                                  1831 CHESTNUT ST, STE
JAYS DELI, INC                           C/O SHAW & ROSEMAN, P.C.         ATTN ANDREW B. SHAW                     802                                        PHILADELPHIA     PA           19103
JDM SONSULTANTS LLC                                                       601 LIBERTY STREET                                                                 WATSONTOWN       PA           17777
JDOG CORPORATE SERVICES, LLC                                              605 LAKESIDE AVE                                                                   HAVERTOWN        PA           19083
J-DOGS, INC                                                               413 BLOOMFIELD DRIVE                    STE 5                                      W. BERLIN        NJ           08091
JEAN E. BRUBAKER CHARITABLE GIFT FUND AT
SCHWAB CHARITABLE                        C/O JEAN E. BRUBAKER             2125 CYPRESS ST                                                                    PHILADELPHIA     PA           19103-6507




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              Creditor Name                           Attention                       Address 1                            Address 2             Address 3             City        State      Zip       Country
JEAN M. BENTLEY                                                        ADDRESS ON FILE
JEAN SHEKHTER                                                          ADDRESS ON FILE
                                                                       ATTN: MARC H. EDELSON, SHOSHANA
JEANETTE L. PADILIONI                 C/O EDELSON LECHTZIN LLP         MICHELLE SAVETT, ERIC LECHTZIN           411 S. STATE STREET       SUITE N-300        NEWTOWN          PA           18940
                                                                       ATTN: RYAN ALLEN HANCOCK, JORDAN         1845 WALNUT STREET,
JEANETTE L. PADILIONI                 C/O WILLIG WILLIAMS & DAVIDSON   KONELL                                   24TH FLOOR                                   PHILADELPIA      PA           19103
JEANNETTE NORRIS                                                       ADDRESS ON FILE
JEAN-PIERRE, RALPH                                                     ADDRESS ON FILE
JEDLINSKI, TAYLOR R.                                                   ADDRESS ON FILE
JEFF GOLDMAN                                                           ADDRESS ON FILE
JEFF WATKINSON                                                         ADDRESS ON FILE
JEFFERSON FAMILY & COMMUNITY MEDICE                                    1015 WALNUT ST.                          STE. 405                                     PHILADELPHIA     PA           19107
JEFFREY A. BROWN                                                       ADDRESS ON FILE
JEFFREY BONFIELD                                                       ADDRESS ON FILE
JEFFREY BRUSH                                                          ADDRESS ON FILE
JEFFREY GALL                                                           ADDRESS ON FILE
JEFFREY MESSIER                                                        ADDRESS ON FILE
JEFFREY RUBENSTEIN                                                     ADDRESS ON FILE
JEFFREY S. SPENCER                                                     ADDRESS ON FILE
JEFFREY SCHNEIDER                                                      ADDRESS ON FILE
JEFFREY YOUNG                                                          ADDRESS ON FILE
JELKS, LEVITICUS                                                       ADDRESS ON FILE
JEN MCNEW                                                              ADDRESS ON FILE
JENKINS, ANGELA                                                        ADDRESS ON FILE
JENKINS, ANGELA R.                                                     ADDRESS ON FILE
JENKINS, KIMBERLY                                                      ADDRESS ON FILE
JENKINS, SHAYLA-VIE                                                    ADDRESS ON FILE
JENNIE ALWOOD                                                          ADDRESS ON FILE
JENNIE BERKSON                                                         ADDRESS ON FILE
JENNIFER COKER                                                         ADDRESS ON FILE
JENNIFER EVANS                                                         ADDRESS ON FILE
JENNIFER KIM                                                           ADDRESS ON FILE
JENNIFER LEMING                                                        ADDRESS ON FILE
JENNIFER MCGINN                                                        ADDRESS ON FILE
JENNIFER MORRISSEY                                                     ADDRESS ON FILE
JENNIFER NICHOLS                                                       ADDRESS ON FILE
JENNIFER NIESSNER                                                      ADDRESS ON FILE
JENNIFER R. REYNOLDS                                                   ADDRESS ON FILE
JENNIFER UIHLEIN                                                       ADDRESS ON FILE
JENNINGS, KELLY                                                        ADDRESS ON FILE
JESSICA SHEPHERD                                                       ADDRESS ON FILE
JESSIE OLDHAM                                                          ADDRESS ON FILE
JESUS SANCHEZ                                                          ADDRESS ON FILE
JEWISH FEDERATION OF GREATER
PHILADELPHIA                                                           2100 ARCH ST FL 1                                                                     PHILADELPHIA     PA           19103-1300
JIKYUNG KIM                                                            ADDRESS ON FILE
JILL BIALY                                                             ADDRESS ON FILE
JILL LEVY                                                              ADDRESS ON FILE
JILL MANNES                                                            ADDRESS ON FILE
JILL ONEIL                                                             ADDRESS ON FILE
JILL SOMER                                                             ADDRESS ON FILE
JILMA LASSO                                                            ADDRESS ON FILE
JIM CARDOSI                                                            ADDRESS ON FILE
JIMENA PAZ                                                             ADDRESS ON FILE
JIMÉNEZ, ANA G.                                                        ADDRESS ON FILE
JIMMY R WILSON                                                         ADDRESS ON FILE
JIRGIL FINESTONE                                                       ADDRESS ON FILE
JIYOUNG CHUNG                                                          ADDRESS ON FILE
JK ENTERPRISE                                                          656 DELSEA DR N                                                                       GLASSBORO        NJ           08028-1419
JO T. SWORDS                                                           ADDRESS ON FILE
JOAN FEIGHAN                                                           ADDRESS ON FILE
JOAN KELLY                                                             ADDRESS ON FILE
JOANNE KRUMEL                                                          ADDRESS ON FILE
JOCELYN M. GOODE                                                       ADDRESS ON FILE
JODI MATA                                                              ADDRESS ON FILE
JOE CAMPBELL                                                           ADDRESS ON FILE
JOEL A. KRACKOW                                                        ADDRESS ON FILE
JOEL R. MARUCHECK                                                      ADDRESS ON FILE




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                Creditor Name                          Attention                          Address 1                           Address 2         Address 3            City        State      Zip       Country
JOEL W. WORFORD                                                            ADDRESS ON FILE
JOHANNA MARSHALL                                                           ADDRESS ON FILE
JOHN CALVITTI CO                                                           3200 SCOTTS LN                                                                   PHILADELPHIA    PA           19129-1527
JOHN FLAK                                                                  ADDRESS ON FILE
JOHN MAHER                                                                 ADDRESS ON FILE
JOHN MORRIS TRUST                      C/O WELLS FARGO WEALTH MANAGEMENT   ONE WEST FOURTH STREETD4000-062                                                  WINSTON-SALEM   NC           27101
JOHN ODONNELL                                                              ADDRESS ON FILE
JOHN ROTONDO                                                               ADDRESS ON FILE
JOHN SCHAFFER                                                              ADDRESS ON FILE
JOHN SPOONER                                                               ADDRESS ON FILE
JOHN, PREYA                                                                ADDRESS ON FILE
JOHNS, DARYL                                                               ADDRESS ON FILE
JOHNS, MONIQUE                                                             ADDRESS ON FILE
JOHNSON, CHRISTOPHER                                                       ADDRESS ON FILE
JOHNSON, DION                                                              ADDRESS ON FILE
JOHNSON, GREGORY E.                                                        ADDRESS ON FILE
JOHNSON, JASMINE                                                           ADDRESS ON FILE
JOHNSON, JEFFREY T.                                                        ADDRESS ON FILE
JOHNSON, JOHNNY                                                            ADDRESS ON FILE
JOHNSON, KENDALL & JOHNSON                                                 ROUTE 413 & DOUBLEWOODS                                                          LANGHORNE       PA           19047
JOHNSON, RYAN                                                              ADDRESS ON FILE
JOHNSON, SARAH                                                             ADDRESS ON FILE
JOHNSON, SARAH E.                                                          ADDRESS ON FILE
JOHNSON, SARENA                                                            ADDRESS ON FILE
JOHNSON, SARENA L.                                                         ADDRESS ON FILE
JOHNSON-WOOTEN, TAMIA                                                      ADDRESS ON FILE
JOHNSON-WOOTEN, TAMIA Y.                                                   ADDRESS ON FILE
JOJO KARLIN                                                                ADDRESS ON FILE
JOLENE M. MOLLERICK                                                        ADDRESS ON FILE
JO-LOUISE ALLEN                                                            ADDRESS ON FILE
JON BJORNSON                                                               ADDRESS ON FILE
JONATHAN GONZALEZ                                                          ADDRESS ON FILE
JONATHAN LOVITZ                                                            ADDRESS ON FILE
JONES, CHARLES                                                             ADDRESS ON FILE
JONES, CHARLES HOUSTON                                                     ADDRESS ON FILE
JONES, CYEDAH                                                              ADDRESS ON FILE
JONES, JESSE                                                               ADDRESS ON FILE
JONES, LANCIA                                                              ADDRESS ON FILE
JONES, MICAH                                                               ADDRESS ON FILE
JONES, NATHANIEL                                                           ADDRESS ON FILE
JONES, NIALL                                                               ADDRESS ON FILE
JONES, NIALL N.                                                            ADDRESS ON FILE
JONES, REBECCA A.                                                          ADDRESS ON FILE
JONES, WAYSON R.                                                           ADDRESS ON FILE
JONES, WESLEY                                                              ADDRESS ON FILE
JONES, WESLEY M.                                                           ADDRESS ON FILE
JONES-OBRIEN, ANGELA                                                       ADDRESS ON FILE
JONETTA WALKER                                                             ADDRESS ON FILE
JONGMI CHOI C/O JAY'S DELI             ATTN: JONGMI CHOI                   1228 SPRUCE ST.                                                                  PHILADELPHIA    PA           19102
JORDAN, VERNON A. III                                                      ADDRESS ON FILE
JOSE P. INVESTORS LP                                                       263 S. 15TH STREET                                                               PHILADELPHIA    PA           19102
JOSEPH CAIRNS, JR. & ERNESTINE BACON
CAIRNS TRUST                           C/O BNY MELLON WEALTH MANAGEMENT    1735 MARKET ST FL 8                                                              PHILADELPHIA    PA           19103-7505
JOSEPH CORREALE                                                            ADDRESS ON FILE
JOSEPH CRANE                                                               ADDRESS ON FILE
JOSEPH DABBAH                                                              ADDRESS ON FILE
JOSEPH MIZZONI                                                             ADDRESS ON FILE
JOSEPH SCHWARTZ                                                            ADDRESS ON FILE
JOSEPH SERNIO                                                              ADDRESS ON FILE
JOSEPH TALBOT                                                              ADDRESS ON FILE
JOSEPH WERBICKAS                                                           ADDRESS ON FILE
JOSEPH, BARRY                                                              ADDRESS ON FILE
JOSEPH, ZACHARY                                                            ADDRESS ON FILE
JOSEPH, ZACHARY                                                            ADDRESS ON FILE
JOSH WEINBERG                                                              ADDRESS ON FILE
JOSHUA YOUNG                                                               ADDRESS ON FILE
JOURNEYED.COM. INC                     ATTN ACCOUNTS RECEIVABLE            PO BOX 732357                                                                    DALLAS          TX           75373-2357
JOVIN, NAOMIEH                                                             ADDRESS ON FILE




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               Creditor Name                        Attention                           Address 1                             Address 2         Address 3              City        State      Zip       Country
JOY FOX                                                                   ADDRESS ON FILE
JOY LAI                                                                   ADDRESS ON FILE
JOY MANNING                                                               ADDRESS ON FILE
JOY REEDER                                                                ADDRESS ON FILE
JOYCE & SEWARD JOHNSON                                                    ADDRESS ON FILE
JP VARADY                                                                 ADDRESS ON FILE
JPG PHOTOGRAPHY, LLC                                                      180 GREEN LANE                                                                    PHILADELPHIA      PA           19127-1212
JPMORGAN CHASE BANK, NATIONAL
ASSOCIATION                          ATTN LEASE ADMINISTRATION MANAGER    1111 POLARIS PARKWAY                     STE 1J, OH1-0241                         COLUMBUS          OH           43240
JPMORGAN CHASE BANK, NATIONAL
ASSOCIATION                          ATTN REAL ESTATE COUNSEL             1111 POLARIS PARKWAY                     STE 1J, OH1-0241                         COLUMBUS          OH           43240
JPMORGAN CHASE BANK, NATIONAL        ATTN REAL ESTATE STRATEGIC PLAN
ASSOCIATION                          DIRECTOR                             237 PARK AVENUE                          12TH FL, NY1-R120                        NEW YORK          NY           10017-3140
JPMORGAN CHASE BANK, NATIONAL
ASSOCIATION                          ATTN: LEASE ADMINISTRATION MANAGER   1111 POLARIS PARKWAY                     MAIL CODE OH1-0241                       COLUMBUS          OH           43240-2050
JPMORGAN CHASE FOUNDATION MATCHING
GIFT PROGRAM                                                              PO BOX 7899                                                                       PRINCETON         NJ           08543-7899
JUDD, THOMAS                                                              ADDRESS ON FILE
JUDE MCGINN                                                               ADDRESS ON FILE
JUDGE GREGORY SLEET                                                       ADDRESS ON FILE
JUDITH COY                                                                ADDRESS ON FILE
JUDITH FRAZURE                                                            ADDRESS ON FILE
JUDSON AARON FUND AT SCHWAB
CHARITABLE                           C/O AARON JUDSON                     815 FITZWATER ST                                                                  PHILADELPHIA      PA           19147-2836
JUDY SILLEN ALLENCREST LOCATIONS                                          41 EASTPORT CT                                                                    RED BANK          NJ           07701-5431
JULIA STAAS                                                               ADDRESS ON FILE
JULIAN DRUCKER                                                            ADDRESS ON FILE
JULIAN, MELANIE                                                           ADDRESS ON FILE
JULIANNE ALZAMORA                                                         ADDRESS ON FILE
JULIETTE ANGOVE                                                           ADDRESS ON FILE
JUMATATU M POE                                                            ADDRESS ON FILE
JUNIOR, NICOLE                                                            ADDRESS ON FILE
JURGLANIS, MARLA                                                          ADDRESS ON FILE
JURI CHINCHILLA                                                           ADDRESS ON FILE
JUSKA, ELISE                                                              ADDRESS ON FILE
JUSTIN C. PANDELO                                                         ADDRESS ON FILE
JUSTIN C. SCHILLING                                                       ADDRESS ON FILE
JUSTIN K. BERNARD                                                         ADDRESS ON FILE
JUSTIN KRON                                                               ADDRESS ON FILE
JUSTIN ZOCHOWSKI                                                          ADDRESS ON FILE
KAGAN IMPORTS LLC                                                         3500 SCOTTS LANE                         UNIT A09                                 PHILADELPHIA      PA           19129
KAHLE, JESSICA                                                            ADDRESS ON FILE
KAI CHAN                                                                  ADDRESS ON FILE
KAILA C. THOMAS                                                           ADDRESS ON FILE
KAILEI CAGGINS                                                            ADDRESS ON FILE
KAITLIN CALABRÒ                                                           ADDRESS ON FILE
KAL & LUCILLE RUDMAN FOUNDATION                                           ADDRESS ON FILE
KALO' MEDIA, LLC                                                          14 MIDDLEGROUND RD.                                                               OCALA             FL           34482
KAMINSKI, MARY KATHERINE                                                  ADDRESS ON FILE
KAMPERT, ROSE                                                             ADDRESS ON FILE
KAMPERT, ROSE M.                                                          ADDRESS ON FILE
KAMYA, KALULE                                                             ADDRESS ON FILE
KANACH, REBECCA                                                           ADDRESS ON FILE
KANE COMM, LLC                                                            572 WHITEHEAD RD                         STE. 201                                 TRENTON           NJ           08619
KANE, BRIGETTE                                                            ADDRESS ON FILE
KANI RELEASING LLC                                                        100 CONGRESS STREET                                                               BRIDGEPORT        CT           06604
KANI, HEATHER M.                                                          ADDRESS ON FILE
KARABATSOS, BYRON                                                         ADDRESS ON FILE
KARDON, BRUCE                                                             ADDRESS ON FILE
KAREN & HERBERT LOTMAN FOUNDATION                                         ONE TOWER BRIDGE                         100 FRONT ST STE 300                     W CNSHOHOCKEN     PA           19428-2894
KAREN CALLOW                                                              ADDRESS ON FILE
KAREN COFFIELD                                                            ADDRESS ON FILE
KAREN DOYLE                                                               ADDRESS ON FILE
KAREN LAROCCO                                                             ADDRESS ON FILE
KAREN MATTESSICH                                                          ADDRESS ON FILE
KAREN OLDHAM                                                              ADDRESS ON FILE
KAREN ROCCO                                                               ADDRESS ON FILE
KAREN STAUB                                                               ADDRESS ON FILE




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              Creditor Name                     Attention                       Address 1                        Address 2             Address 3             City        State      Zip       Country
KAREN TITUS                                                      ADDRESS ON FILE
KAREN VUILLERMET                                                 ADDRESS ON FILE
KAREN WHITE RICKETTS                                             ADDRESS ON FILE
KAREN WYMAN                                                      ADDRESS ON FILE
KARL FLESCH                                                      ADDRESS ON FILE
                                                                 ATTN: MARC H. EDELSON, SHOSHANA
KARL STAVEN                     C/O EDELSON LECHTZIN LLP         MICHELLE SAVETT, ERIC LECHTZIN          411 S. STATE STREET    SUITE N-300        NEWTOWN          PA           18940
                                                                 ATTN: RYAN ALLEN HANCOCK, JORDAN        1845 WALNUT STREET,
KARL STAVEN                     C/O WILLIG WILLIAMS & DAVIDSON   KONELL                                  24TH FLOOR                                PHILADELPIA      PA           19103
                                                                 ATTN: RYAN ALLEN HANCOCK, JORDAN        1845 WALNUT STREET,
KARL STAVEN                     C/O WILLIG WILLIAMS & DAVIDSON   KONELL, SAMUEL H. DATLOF                24TH FLOOR                                PHILADELPIA      PA           19103
KARYN HOBFOLL                                                    ADDRESS ON FILE
KATE MORROW                                                      ADDRESS ON FILE
KATE QUINN                                                       ADDRESS ON FILE
KATHARINE FARRELL                                                ADDRESS ON FILE
KATHERINE BULIFANT                                               ADDRESS ON FILE
KATHERINE OGILVIE                                                ADDRESS ON FILE
KATHERINEALEXANDRA FOUNDATION                                    PO BOX 431                                                                        DEVAULT          PA           19432-0431
KATHLEEN ACHENBACH                                               ADDRESS ON FILE
KATHLEEN BURKE                                                   ADDRESS ON FILE
KATHLEEN BUTLER                                                  ADDRESS ON FILE
KATHLEEN DESTEFANO                                               ADDRESS ON FILE
KATHLEEN RHEIN                                                   ADDRESS ON FILE
KATHLEEN STRUBLE                                                 ADDRESS ON FILE
KATHRYN TORNELLI                                                 ADDRESS ON FILE
KATIE CLARK                                                      ADDRESS ON FILE
KATIE DEVINE                                                     ADDRESS ON FILE
KATIE GRAZIER                                                    ADDRESS ON FILE
KATIE MANCHER                                                    ADDRESS ON FILE
KATIE MCQUAIL                                                    ADDRESS ON FILE
KATIE PAONE                                                      ADDRESS ON FILE
KATIE SULLIVAN                                                   ADDRESS ON FILE
KATRINA DOUGAN                                                   ADDRESS ON FILE
KAULFERS, MEGAN                                                  ADDRESS ON FILE
KAULFERS, MEGAN A.                                               ADDRESS ON FILE
KB VANHORN                                                       ADDRESS ON FILE
KEARNS, TYLER J.                                                 ADDRESS ON FILE
KEAST & HOOD CO.                                                 1635 MARKET STREET                      STE 1705                                  PHILADELPHIA     PA           19103
KEENE, ELIZABETH                                                 ADDRESS ON FILE
KEGLER-BRANCH, MARCUS K.                                         ADDRESS ON FILE
KEIDY CALDWELL                                                   ADDRESS ON FILE
KEISHA BYRD                                                      ADDRESS ON FILE
KEITH GORDON                                                     ADDRESS ON FILE
KEITH SHARP                                                      ADDRESS ON FILE
KELBERG, MICHAEL                                                 ADDRESS ON FILE
KELIILIKI, KRISTINE                                              ADDRESS ON FILE
KELLI SIMONS                                                     ADDRESS ON FILE
KELLI SUMMERS                                                    ADDRESS ON FILE
KELLUM, GLENN                                                    ADDRESS ON FILE
KELLY & MASSA PHOTOGRAPHY                                        407 HARRISON ST.                                                                  RIDLEY PARK      PA           19078
KELLY QUINN                                                      ADDRESS ON FILE
KELLY SHAW                                                       ADDRESS ON FILE
KELLY SWORDS                                                     ADDRESS ON FILE
KELLY, AIME                                                      ADDRESS ON FILE
KELLY, BONNIE L.                                                 ADDRESS ON FILE
KELLY, DANIEL                                                    ADDRESS ON FILE
KEN RICHMAN                                                      ADDRESS ON FILE
KENDORSKI, HOLLY L.                                              ADDRESS ON FILE
KENNEDY HEALTH SYSTEM                                            18 E LAUREL RD                                                                    STRATFORD        NJ           08084-1327
KENNEDY LE                                                       ADDRESS ON FILE
KENNEDY, CANDRA                                                  ADDRESS ON FILE
KENNETH BUTLER                                                   ADDRESS ON FILE
KENNEY, COLIN                                                    ADDRESS ON FILE
KENNEY, COLIN                                                    ADDRESS ON FILE
KENNEY, COLIN M.                                                 ADDRESS ON FILE
KENT, ALEXA                                                      ADDRESS ON FILE
KEPPLE, DUANE                                                    ADDRESS ON FILE
KERBER, RONALD                                                   ADDRESS ON FILE




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              Creditor Name                           Attention                          Address 1                            Address 2             Address 3               City        State      Zip          Country
KERI KOMORN                                                               ADDRESS ON FILE
KERN, JEFFREY                                                             ADDRESS ON FILE
KERSHETSKY, JULIA                                                         ADDRESS ON FILE
KERSHETSKY, JULIA L.                                                      ADDRESS ON FILE
KEVA MILLER                                                               ADDRESS ON FILE
KEVIN BOYLE                                                               ADDRESS ON FILE
KEVIN HADEN                                                               ADDRESS ON FILE
KEVIN HANSON                                                              ADDRESS ON FILE
KEVIN MCDONNELL                                                           ADDRESS ON FILE
                                                                          ATTN: MARC H. EDELSON, SHOSHANA
KEVIN MERCER                          C/O EDELSON LECHTZIN LLP            MICHELLE SAVETT, ERIC LECHTZIN            411 S. STATE STREET      SUITE N-300        NEWTOWN            PA           18940
                                                                          ATTN: RYAN ALLEN HANCOCK, JORDAN          1845 WALNUT STREET,
KEVIN MERCER                          C/O WILLIG WILLIAMS & DAVIDSON      KONELL                                    24TH FLOOR                                  PHILADELPIA        PA           19103
                                                                          ATTN: RYAN ALLEN HANCOCK, JORDAN          1845 WALNUT STREET,
KEVIN MERCER                          C/O WILLIG WILLIAMS & DAVIDSON      KONELL, SAMUEL H. DATLOF                  24TH FLOOR                                  PHILADELPIA        PA           19103
KEVIN ROSENFIELD                                                          ADDRESS ON FILE
KEY CHANGE INC                                                            255 SOUTH 46TH STREET                                                                 PHILADELPHIA       PA           19139

KEYSTONE FIRE & SECURITY LOCKBOX ALARM                                    PO BOX 737545                                                                         DALLAS             TX           75373
KEYSTONE PROPERTY GROUP LP                                                601 WALNUT STREET                                                                     PHILADELPHIA       PA           19106
KHRISTICH, DARYA                                                          ADDRESS ON FILE
KIAH MUSIC, LLC                                                           49 MUSIC SQ. W. STE 503                                                               NASHVILLE          TN           37203
KIDD, SUSANNAH L.                                                         ADDRESS ON FILE
KIERAN, JONATHAN                                                          ADDRESS ON FILE
KIESLING, SCOTT F.                                                        ADDRESS ON FILE
KILEY, MICHAEL                                                            ADDRESS ON FILE
KILPATRICK, JEFFREY                                                       ADDRESS ON FILE
KIM HANSEN-OHMAN                                                          ADDRESS ON FILE
KIM LEONE                                                                 ADDRESS ON FILE
KIM ROWLAND                                                               ADDRESS ON FILE
KIM, AH-YOUNG                                                             ADDRESS ON FILE
KIM, ARAM                                                                 ADDRESS ON FILE
KIM, EUGEN                                                                ADDRESS ON FILE
KIM, JIHYE                                                                ADDRESS ON FILE
KIM, JONATHAN                                                             ADDRESS ON FILE
KIM, JUNG-EUN                                                             ADDRESS ON FILE
KIM, RA                                                                   ADDRESS ON FILE
KIM, SIMON Y.                                                             ADDRESS ON FILE
KIMBERLY FELTNER                                                          ADDRESS ON FILE
KIMBERLY H. & DOUGLAS B. WENDELL DONOR
ACCOUNT @ MS GIFT INC                  C/O KIMBERLY AND DOUGLAS WENDELL   31 FRANKLIN RODGERS RD                                                                HINGHAM            MA           02043-2665
KIMBERLY KEPPLE                                                           ADDRESS ON FILE
KIMBERLY LADLEY                                                           ADDRESS ON FILE
KIMBERLY LOFTUS                                                           ADDRESS ON FILE
KIMBERLY MAKOE                                                            ADDRESS ON FILE
KIMMEL CENTER INC.                     ATTN ACCOUNTS RECEIVABLE           1500 WALNUT ST.                           17TH FL                                     PHILADELPHIA       PA           19102
KIMMEL, CHRISTINA A.                                                      ADDRESS ON FILE
KINDERMAN, WILLIAM A.                                                     ADDRESS ON FILE
KINEMATHEK, STIFTUNG DEUTSCHE                                             POTSDAMER STR.2                                                                       10785 BERLIN                                 GERMANY
KINETIC SOFTWARE, INC                                                     4000 WEST MONTROSE AVE.                   #505                                        CHICAGO            IL           60641
KING, ALONZO                                                              ADDRESS ON FILE
KINLAW, SARAH                                                             ADDRESS ON FILE
KINSALE INSURANCE COMPANY              RYAN TURNER SPECIALTY              1650 ARCH STREET                          26TH FLOOR                                  PHILADELPHIA       PA           19103
KIRKWOOD PRINTING CO LLC                                                  904 MAIN STREET                                                                       WILMINGTON         MA           01887
KIRSTEN MEGGINSON                                                         ADDRESS ON FILE
KITINAY PRODUCTIONS, INC                                                  PO BOX 56533                                                                          PHILADELPHIA       PA           19111
KLAUSER, BREE                                                             ADDRESS ON FILE
KLEEMAN, ZOE                                                              ADDRESS ON FILE
KLEEMAN, ZOE A.                                                           ADDRESS ON FILE
KLEHR, HARRISON, HARVEY, BRANZBURG &
ELLERS LLP                                                                1835 MARKET ST STE 1400                                                               PHILADELPHIA       PA           19103-2945
KLEIMAN, MICHELLE                                                         ADDRESS ON FILE
KLEINMAN, STEVEN                                                          ADDRESS ON FILE
KLENZOID, INC                                                             PO BOX 389                                                                            CONSHOHOCKEN       PA           19428-0389
KLOPFENSTEIN ART EQUIPMENT
MANUFACTURING                                                             201 EAST FIFTH STREET                                                                 MANSFIELD          OH           44902
KLORFINE FOUNDATION                                                       1450 MADRONA DR                                                                       SEATTLE            WA           98122-3518
KLUSENER, ANTON                                                           ADDRESS ON FILE




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                Creditor Name          Attention                  Address 1                        Address 2          Address 3              City        State      Zip       Country
KNAPTON, WILLIAM                                   ADDRESS ON FILE
KNIGHT, HOPE                                       ADDRESS ON FILE
KNIGHT, JOAQUIN                                    ADDRESS ON FILE
KNOBLAUCH, KIRSTEN                                 ADDRESS ON FILE
KNOTT, DAVID                                       ADDRESS ON FILE
KNOTT, DAVID E.                                    ADDRESS ON FILE
KO NIIZUMA                                         ADDRESS ON FILE
KOBASA, RACHEL                                     ADDRESS ON FILE
KOBASZ, MARK                                       ADDRESS ON FILE
KOBASZ, MARK D.                                    ADDRESS ON FILE
KOCH, JEFFREY                                      ADDRESS ON FILE
KOCIBA, MAYA                                       ADDRESS ON FILE
KOLB, LENA                                         ADDRESS ON FILE
KOLBINSKI, JOHN W.                                 ADDRESS ON FILE
KOLLAR, JACQUELIN                                  ADDRESS ON FILE
KOMORN, KRIS                                       ADDRESS ON FILE
KONNER, CAMERON J.                                 ADDRESS ON FILE
KONNOR, CAMERON                                    ADDRESS ON FILE
KOON, MATTHEW                                      ADDRESS ON FILE
KOPLIN, JOSHUA                                     ADDRESS ON FILE
KOPPE, CONNIE                                      ADDRESS ON FILE
KOREAN CULTURAL SERVICE NEW YORK                   460 PARK AVE                                                                   NEW YORK          NY           10022
KORESH SCHOOL OF DANCE/ALON KORESH                 2002 RITTENHOUSE SQUARE                                                        PHILADELPHIA      PA           19103
KOSIK, ALLISON                                     ADDRESS ON FILE
KOSOKO, JAAMIL OLAWALE                             ADDRESS ON FILE
KOUMARAS, ALYSSA M.                                ADDRESS ON FILE
KRACHT, LAUREN                                     ADDRESS ON FILE
KRAHL, HOLLI                                       ADDRESS ON FILE
KRAINES, THOMAS                                    ADDRESS ON FILE
KRAJC, ZDENO                                       ADDRESS ON FILE
KRAMER FAMILY FUND, INC                            1900 FROST RD STE 111                                                          BRISTOL           PA           19007-1519
KRAMER LEVIN NAFTALIS & FRANKEL, LLP               1177 AVENUE OF THE AMERICAS                                                    NEW YORK          NY           10036
KRAMER/MARKS ARCHITECTS                            8203 GLADSTONE RD                                                              WYNDMOOR          PA           19118
KRASNER, DREW                                      ADDRESS ON FILE
KRAUSE, JON                                        ADDRESS ON FILE
KREG SPEIRS                                        ADDRESS ON FILE
KREINER, TROY C.                                   ADDRESS ON FILE
KREITZBERG, DOUG                                   ADDRESS ON FILE
KREMMYDA, ERATO A.                                 ADDRESS ON FILE
KREMP FLORIST, INC                                 PO BOX 457                              220 DAVISVILLE RD.                     WILLOW GROVE      PA           19090
KREMSER, VALERIA                                   ADDRESS ON FILE
KREMSER, VALERIA H.                                ADDRESS ON FILE
KRI PROJECTS LLC                                   41 EICHELBERGER STREET                                                         SAINT LOUIS       MO           63111
KRIS KOMORN                                        ADDRESS ON FILE
KRIS MORAN LLC                                     13 SOUTH ELLIOTT PLACE                                                         BROOKLYN          NY           11217
KRISTEN HOOTON                                     ADDRESS ON FILE
KRISTIN NEWPHER                                    ADDRESS ON FILE
KRISTINA E. ROBOLD                                 ADDRESS ON FILE
KRISTINA JOHNSON                                   ADDRESS ON FILE
KROM, NICOLE                                       ADDRESS ON FILE
KROMCHAD, JAIME                                    ADDRESS ON FILE
KROMCHAD, JAIME M.                                 ADDRESS ON FILE
KUENZI, NATALIE                                    ADDRESS ON FILE
KUHNE, DAFI                                        ADDRESS ON FILE
KUNIK, TESS M.                                     ADDRESS ON FILE
KURT FEDDE                                         ADDRESS ON FILE
KURTAS, BRIAN D.                                   ADDRESS ON FILE
KUTZTOWN UNIVERSITY OF PENNSYLVANIA                15200 KUTZTOWN RD                                                              KUTZTOWN          PA           19530
KYU, ILYSSA                                        ADDRESS ON FILE
L2 PARTRIDGE INC                                   THREE LOGAN SQUARE                      1717 ARCH ST #200                      PHILADELPHIA      PA           19103
LA NAPOULE ART FOUNDATION                          191 UNIVERSITY BOULE                    STE 576                                DENVOR            CO           80206
LA SALLE UNIVERSITY                                1900 WEST OLNEY AVENUE                                                         PHILADELPHIA      PA           19141
LAB GRAPHICS                                       ADDRESS ON FILE
LACAVA, VINCENT                                    ADDRESS ON FILE
LACAVA, VINCENT F.                                 ADDRESS ON FILE
LACHANCE-DUFFY, CATHERINE                          ADDRESS ON FILE
LADIES OF HIP-HOP                                  23 PRESCOTT STREET                                                             JERSEY CITY       NJ           07304
LADLEY, KIMBERLY                                   ADDRESS ON FILE




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               Creditor Name                   Attention                       Address 1                         Address 2             Address 3             City        State      Zip       Country
LADYMAN, ASHLEY                                                 ADDRESS ON FILE
LAHNEMANN, LORI                                                 ADDRESS ON FILE
LAIDLER, YAZZMEEN Z.                                            ADDRESS ON FILE
LAKE RESEARCH PARTNERS                                          1101 17TH ST. NW                         SUITE 301                                 WASHINGTON       DC           20036
LAKE, BRANDON                                                   ADDRESS ON FILE
LALENA SARTON                                                   ADDRESS ON FILE
LAM, AARON                                                      ADDRESS ON FILE
LAMB, KIRSTIN                                                   ADDRESS ON FILE
LAMB-CASON, WUNNEANATSU                                         ADDRESS ON FILE
LAMBELET, ANNE M.                                               ADDRESS ON FILE
LAMEO, JENNIFER                                                 ADDRESS ON FILE
LANCER CATERING                                                 AT THE PHILADELPHIA ZOO                  3400 WEST GIRARD AVE                      PHILADELPHIA     PA           19104
LAND SERVICES USA, INC                                          1835 MARKET STREET                       STE 420                                   PHILADELPHIA     PA           19103
LANE, JUEL D.                                                   ADDRESS ON FILE
LANE, JUEL DEMETRIUS                                            ADDRESS ON FILE
LANETTE BLACK                                                   ADDRESS ON FILE
LANGFORD, ZACHARY                                               ADDRESS ON FILE
LANGFORD, ZACHARY F.                                            ADDRESS ON FILE
LANGHORNE CARPET CO                                             PO BOX 7175                                                                        PENNDEL          PA           19047-7175
LANGOL, STEFANI                                                 ADDRESS ON FILE
LANGOL, STEFANI M.                                              ADDRESS ON FILE
LANGONE, SIRI C.                                                ADDRESS ON FILE
LANZI BURKE & ASSOC                                             449 HURFFVILLE CROSSKEYS RD UNIT 2                                                 SEWELL           NJ           08080-9369
LARA HARTIN                                                     ADDRESS ON FILE
LARRY FRANKLIN                                                  ADDRESS ON FILE
LARRY HORODNER                                                  ADDRESS ON FILE
LARRY LOCKE FILMS, LLC                                          77 NORTH WATER STREET                    #202                                      NORWALK          CT           06854
LARRY STAUB                                                     ADDRESS ON FILE
LARSEN, CHRISTINE                                               ADDRESS ON FILE
LASSEN, FELIPE A.                                               ADDRESS ON FILE
LASTER, MARIE C.                                                ADDRESS ON FILE
LAUCKS, SETH                                                    ADDRESS ON FILE
LAURA DEFEO                                                     ADDRESS ON FILE
LAURA DOLL                                                      ADDRESS ON FILE
                                                                ATTN: MARC H. EDELSON, SHOSHANA
LAURA FRAZURE                  C/O EDELSON LECHTZIN LLP         MICHELLE SAVETT, ERIC LECHTZIN           411 S. STATE STREET    SUITE N-300        NEWTOWN          PA           18940
                                                                ATTN: RYAN ALLEN HANCOCK, JORDAN         1845 WALNUT STREET,
LAURA FRAZURE                  C/O WILLIG WILLIAMS & DAVIDSON   KONELL                                   24TH FLOOR                                PHILADELPIA      PA           19103
                                                                ATTN: RYAN ALLEN HANCOCK, JORDAN         1845 WALNUT STREET,
LAURA FRAZURE                  C/O WILLIG WILLIAMS & DAVIDSON   KONELL, SAMUEL H. DATLOF                 24TH FLOOR                                PHILADELPIA      PA           19103
                                                                ATTN: MARC H. EDELSON, SHOSHANA
LAURA GRUTZECK                 C/O EDELSON LECHTZIN LLP         MICHELLE SAVETT, ERIC LECHTZIN           411 S. STATE STREET    SUITE N-300        NEWTOWN          PA           18940
                                                                ATTN: RYAN ALLEN HANCOCK, JORDAN         1845 WALNUT STREET,
LAURA GRUTZECK                 C/O WILLIG WILLIAMS & DAVIDSON   KONELL                                   24TH FLOOR                                PHILADELPIA      PA           19103
LAURA JUELKE                                                    ADDRESS ON FILE
LAURA SMYCZEK                                                   ADDRESS ON FILE
LAUREL TUCKER                                                   ADDRESS ON FILE
LAUREN ANDERSON                                                 ADDRESS ON FILE
LAUREN BAKST                                                    ADDRESS ON FILE
LAUREN CONCAR-SHEEDY                                            ADDRESS ON FILE
LAUREN TUCKER                                                   ADDRESS ON FILE
LAURINO, MARIA                                                  ADDRESS ON FILE
LAWRENCE, GABRIEL                                               ADDRESS ON FILE
LAWRENCE, GABRIEL D.                                            ADDRESS ON FILE
LAWTON, SAADIA                                                  ADDRESS ON FILE
LAWTON, SAADIA N.                                               ADDRESS ON FILE
LAWTON, THOMAS                                                  ADDRESS ON FILE
LE PAPILLON BEAUTY SALON INC                                    610 OLD YORK RD, STE 110                                                           JENKINTOWN       PA           19046
LE, ANDREW E.                                                   ADDRESS ON FILE
LEACH, JENNIFER                                                 ADDRESS ON FILE
LEACH, ZACHARY                                                  ADDRESS ON FILE
LEACH, ZACHARY A. JR.                                           ADDRESS ON FILE
LEAGUE OF WOMEN VOTERS                                          123 SOUTH BROAD ST.                      STE 2830                                  PHILADELPHIA     PA           19109
LEAH MACDONALD                                                  ADDRESS ON FILE
LEAH PAYNE                                                      ADDRESS ON FILE
LEAL, ERIC                                                      ADDRESS ON FILE
LEAPHART, EBONNE                                                ADDRESS ON FILE
LEASCA, CATHERINE C.                                            ADDRESS ON FILE




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               Creditor Name                              Attention                  Address 1                            Address 2         Address 3            City           State      Zip          Country
LEAYM-FERNANDEZ, MELISSA J.                                           ADDRESS ON FILE
LEE BUSH                                                              ADDRESS ON FILE
LEE KAZISTA                                                           ADDRESS ON FILE
LEE, CHERYL                                                           ADDRESS ON FILE
LEE, SUEYEUN JULIETTE                                                 ADDRESS ON FILE
LEE, TONYA                                                            ADDRESS ON FILE
LEE, TONYA D.                                                         ADDRESS ON FILE
LEHR, SETH                                                            ADDRESS ON FILE
LEIGH ENGELHARDT                                                      ADDRESS ON FILE
LEILA CARTIER                                                         ADDRESS ON FILE
LEKCHAUM, CHAIDAN                                                     ADDRESS ON FILE
LEMONADE PRODUCTION CO                                                3118 RICHMOND STREET                      UNIT 7                                  PHILADELPHIA       PA           19134
LEMONS LLC                                                            244 5TH AVENUE                            N290                                    NEW YORK           NY           10001
LENORE G. TAWNEY FOUNDATION                                           ADDRESS ON FILE
LENT, PATRICIA NEIL                                                   ADDRESS ON FILE
LEONARD SCHWALM                                                       ADDRESS ON FILE
LEONARD SPLENDORIA                                                    ADDRESS ON FILE
LEONARD, AMY                                                          ADDRESS ON FILE
LEONARD, THOMAS                                                       ADDRESS ON FILE
LEONARDO FERNANDEZ                                                    ADDRESS ON FILE
LEONARDO LOPEZ                                                        ADDRESS ON FILE
LEONOV-KENNY, INNA                                                    ADDRESS ON FILE
LES FINCHER                                                           ADDRESS ON FILE
LESEUR, LEANDRA                                                       ADDRESS ON FILE
LESEUR, LEANDRA R.                                                    ADDRESS ON FILE
LESLIE FRIEDMAN                                                       ADDRESS ON FILE
LESLIE GORDON                                                         ADDRESS ON FILE
LESLIE KAHAN                                                          ADDRESS ON FILE
LESLIE MORISSETTE                                                     ADDRESS ON FILE
LESLIE WISE                                                           ADDRESS ON FILE
LESLYE FRIEDBERG                                                      ADDRESS ON FILE
LEVIN TRAVER                                                          ADDRESS ON FILE
LEVINE, EVAN COREY                                                    ADDRESS ON FILE
LEVIS, JOHN                                                           ADDRESS ON FILE
LEWIS, CHRISTIAN M.                                                   ADDRESS ON FILE
LEWIS, DONNA                                                          ADDRESS ON FILE
LEX VAUTRIN                                                           ADDRESS ON FILE
LEYBA, ASHLEY                                                         ADDRESS ON FILE
LIACOURAS & SMITH, LLP                                                1515 MARKET STREET                        STE 810                                 PHILADELPHIA       PA           19102
LIAM TRAVER                                                           ADDRESS ON FILE
LIBERATORE, LINDA                                                     ADDRESS ON FILE

LIBERTY BUILDING SUPPLY & MILLWORK, INC                               1116 S 7TH ST # 20                                                                PHILADELPHIA       PA           19147-4830
LIBERTY FILM GROUP INC                                                790 RIVERSIDE DRIVE                       #9J                                     NEW YORK           NY           10032
LIBERTY MUTUAL                            RYAN TURNER SPECIALTY       1650 ARCH STREET                          26TH FLOOR                              PHILADELPHIA       PA           19103
LIBERTY MUTUAL                                                        150 LIBERTY WAY                                                                   DOVER              NH           03820-9320
LIBERTY PROPERTY TRUST                                                500 CHESTERFIELD PKWY                                                             MALVERN            PA           19355-8707
LIBERTY VENTURE PARTNERS                                              2005 MARKET ST # 1                                                                PHILADELPHIA       PA           19103-7042
LIBRARTS                                                              17 RUE DU REFUGE                                                                  3400 MONTPELLIER                             FRANCE
LIBRARY OF CONGRESS                       ATTN: GEORGE L. DAVES       101 INDEPENDENCE AVENUE, S.E.                                                     WASHINGTON         DC           20540-9410
LIBRARY OF CONGRESS                                                   101 INDEPENDENCE AVENUE, S.E.                                                     WASHINGTON         DC           20540-1300
LIBRARY PASS INC                                                      5114 BALCONES WOODS DR.                   STE. 307-311                            AUSTIN             TX           78759
LICENSE TO LOVE LLC                                                   6311 KENNEDY BLVD                         #1                                      N. BERGEN          NJ           07047
LIEBERMAN, VALERIE H.                                                 ADDRESS ON FILE
LIGHTCAP, STEPHEN                                                     ADDRESS ON FILE
LIGIA RAVE-SLOVIC                                                     ADDRESS ON FILE
LIMA CO                                                               9050 STATE RD                                                                     PHILADELPHIA       PA           19136-1615
LINCKE, PATRICK                                                       ADDRESS ON FILE
LINDA BURRELL-WARR                                                    ADDRESS ON FILE
LINDA LIBERATORE                                                      ADDRESS ON FILE
LINDA WALCK                                                           ADDRESS ON FILE
LINDNER, JOHN                                                         ADDRESS ON FILE
LINDNER, JOHN B.                                                      ADDRESS ON FILE
LINDO, LEILA N.                                                       ADDRESS ON FILE
LINDSAY, LEVONNE                                                      ADDRESS ON FILE
LINDSAY, LEVONNE D.                                                   ADDRESS ON FILE
LINDSEY, RAY                                                          ADDRESS ON FILE
LINEMAN, MARGARET A.                                                  ADDRESS ON FILE




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               Creditor Name                        Attention                   Address 1                        Address 2            Address 3              City        State      Zip       Country
LIPKIN, LEONARD                                                  ADDRESS ON FILE
LIPMAN, ROSS                                                     ADDRESS ON FILE
LISA BOLAND                                                      ADDRESS ON FILE
LISA BUTLER                                                      ADDRESS ON FILE
LISA CHILDS                                                      ADDRESS ON FILE
LISA DEFEO                                                       ADDRESS ON FILE
LISA HENRIQUES                                                   ADDRESS ON FILE
LISA M VASQUEZ                                                   ADDRESS ON FILE
LISA ROSE                                                        ADDRESS ON FILE
LISA SOLOMON                                                     ADDRESS ON FILE
LISA YOUNG                                                       ADDRESS ON FILE
LISS GLOBAL                                                      7746 DUNGAN RD                                                                   PHILADELPHIA      PA           19111-2733
LITTLE RED FISH                                                  2026 SPRUCE ST                                                                   PHILADELPHIA      PA           19103-6524
LITTLER MENDELSON P.C.                                           1601 CHERRY ST                          UNIT 1400                                PHILADELPHIA      PA           19102
LITTLER MENDELSON PC                                             PO BOX 207137                                                                    DALLAS            TX           75320-7137
LIU, ANNI                                                        ADDRESS ON FILE
LIZ INK, INC                                                     561 SPRING MILLS RD                                                              MILFORD           NJ           08848-1949
LIZANN LEUSNER                                                   ADDRESS ON FILE
LLOYD, JORDAN                                                    ADDRESS ON FILE
LLOYD, JORDAN D.                                                 ADDRESS ON FILE
LLOYD'S AMERICA, INC                 ATTN: LEGAL DEPARTMENT      280 PARK AVENUE                         EAST TOWER             25TH FL           NEW YORK          NY           10017
LOAIZA, ALEXIS                                                   ADDRESS ON FILE
LOCKS FAMILY FOUNDATION                                          ADDRESS ON FILE
LOCKSTADT, ALLEGRA                                               ADDRESS ON FILE
LOEPER AND ASSOC                                                 604 N 3RD ST                                                                     HARRISBURG        PA           17101
LOEWEN, DANIELLE                                                 ADDRESS ON FILE
LOKADOT                                                          2101 MARKET ST UNIT 806                                                          PHILADELPHIA      PA           19103-1357
LOMAX FAMILY FOUNDATION                                          ADDRESS ON FILE
LOMAX, MELISSA                                                   ADDRESS ON FILE
LOMAX, MELISSA A.                                                ADDRESS ON FILE
LOMBARDELLI, NICHOLAS                                            ADDRESS ON FILE
LOMBARDELLI, NICHOLAS P.                                         ADDRESS ON FILE
LON WOLF                                                         ADDRESS ON FILE
LONG LIFE TREATED WOOD, INC                                      PO BOX 340                                                                       HEBRON            MD           21830-0340
LONGINO PUBLIC FINANCE                                           1401 LAWRENCE STREET                    SUITE 1600                               DENVER            CO           80202
LONGMIRE, WARREN C.                                              ADDRESS ON FILE
LONGO, KIT A.                                                    ADDRESS ON FILE
LOOM PRODUCTIONS NYC LLC                                         1416 SOUTH BANCROFT STREET                                                       PHILADELPHIA      PA           19146
LOPEZ, DAMARIS                                                   ADDRESS ON FILE
LOPRESTI, PAUL C.                                                ADDRESS ON FILE
LORI PETERSEN                                                    ADDRESS ON FILE
LOR-MAR MECHANICAL SERVICE LLC                                   6710-A WESTFIELD AVE.                                                            PENNSAUKEN        NJ           08110
LORRAINE KISSLING                                                ADDRESS ON FILE
LORRAINE MILLER                                                  ADDRESS ON FILE
LOTZ, TERESA                                                     ADDRESS ON FILE
LOUDEN, SHARON                                                   ADDRESS ON FILE
LOUIS J. CATALDO, JR.                                            ADDRESS ON FILE
LOUIS N. CASSETT FOUNDATION                                      ADDRESS ON FILE
LOUIS NAYOVITZ FOUNDATION                                        ADDRESS ON FILE
LOUIS SERLENGA                                                   ADDRESS ON FILE
LOUIS, KAREN JEAN                                                ADDRESS ON FILE
LOURDES MEDICAL GROUP                                            63 KRESSON RD                                                                    CHERRY HILL       NJ           08034
LOURDES ROMERO                                                   ADDRESS ON FILE
LOVEIS H. WISE                                                   ADDRESS ON FILE
LOWER MERION HIGH SCHOOL JAZZ BAND                               547 SUSSEX RD                                                                    WYNNEWOOD         PA           19096
LOZITO, CINDY                                                    ADDRESS ON FILE
LUCA, ALYSSA                                                     ADDRESS ON FILE
LUCY C. SWORDS                                                   ADDRESS ON FILE
LUDWIG, DAVID                                                    ADDRESS ON FILE
LUDWIG, ELISA                                                    ADDRESS ON FILE
LUDWIG, STEVE                                                    ADDRESS ON FILE
LUJAN, JUSTIN                                                    ADDRESS ON FILE
LUNA, BRITTANY A.                                                ADDRESS ON FILE
LUNSFORD, DONALD                                                 ADDRESS ON FILE
LURA-SMITH, LESLIE                                               ADDRESS ON FILE
LURA-SMITH, LESLIE S.                                            ADDRESS ON FILE
LUTES, JENNIFER                                                  ADDRESS ON FILE
LUTRON ELECTRONICS CO., INC                                      7200 SUTER RD                                                                    COOPERSBURG       PA           18036-1249




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              Creditor Name          Attention                  Address 1                        Address 2         Address 3             City        State      Zip       Country
LUTTRELL, CAROL                                  ADDRESS ON FILE
LYFORD, GEORGE                                   ADDRESS ON FILE
LYNN JANKIEWICZ                                  ADDRESS ON FILE
LYNN MARSDEN-ATLASS                              ADDRESS ON FILE
LYNN TOMLINSON                                   ADDRESS ON FILE
                                                 1100 CONNECTICUT AVENUE, NORTH
LYNX INVESTMENT ADVISORY, INC                    WEST                                                                          WASHINGTON       DC           20036-4101
LYONS, ROBERT                                    ADDRESS ON FILE
LYRASIS                                          CL #900077                              PO BOX 100125                         COLUMBIA         SC           29202-3125
M&M LODGING, LLC                                 435 LAUREL STREET                                                             LEE              MA           01238
M. CRAMER & ASSOC LLC                            229 NORTH 12TH STREET                                                         PHILADELPHIA     PA           19107
M. HOLLAND CO                                    400 SKOKIE BLVD STE 600                                                       NORTHBROOK       IL           60062-7906
M. SCHNOLL AND SONS, INCORPORATED                3151 WEIKEL ST                                                                PHILADELPHIA     PA           19134-3809
M.L. SHEAN                                       ADDRESS ON FILE
MA, EUGENE                                       ADDRESS ON FILE
MAAS, JEREMY                                     ADDRESS ON FILE
MACBAIN, ANTHONY                                 ADDRESS ON FILE
MACDONALD, BLAIR                                 ADDRESS ON FILE
MACEDONIA, BAYMOND ANDREW                        ADDRESS ON FILE
MACFARLANE, STEPHEN MICHAEL                      ADDRESS ON FILE
MACK, TASHINA                                    ADDRESS ON FILE
MACKIN IMAGING SYSTEMS CORP.                     2500 PEARL BUCK RD                                                            BRISTOL          PA           19007-6811
MACKLIN, SOPHIE                                  ADDRESS ON FILE
MACLAREN, RONALD                                 ADDRESS ON FILE
MACYS FOUNDATION                                 7 WEST 7TH STREET                                                             CINCINNATI       OH           45202
MADAK, CHRISTOPHER                               ADDRESS ON FILE
MADELAINE MILLER-STRAUSS                         ADDRESS ON FILE
MADELINE PANELLI                                 ADDRESS ON FILE
MADELON ISBELL                                   ADDRESS ON FILE
MAGGIE A. NORDSTROM                              ADDRESS ON FILE
MAHER, WILLIAM                                   ADDRESS ON FILE
MAHER, WILLIAM E.                                ADDRESS ON FILE
MAHLER, GABRIELLE                                ADDRESS ON FILE
MAIN LINE ART CENTER                             OLD BUCK RD & LANCASTERUE                                                     HAVERFORD        PA           19041
MAIN LINE KETTLEBELLS                            17 S VALLEY RD                                                                PAOLI            PA           19301-1407
MAINE COLLEGE OF ART AND DESIGN                  522 CONGRESS STREET                                                           PORTLAND         ME           04101
MAIRA, DESIREE B.                                ADDRESS ON FILE
MAISEY, DANIELLE                                 ADDRESS ON FILE
MAJIK FOUNDATION                                 1106 STACKHOUSE MILL RD                                                       NEWTOWN SQUARE   PA           19073-2726
MAJULE, GLORIA P.                                ADDRESS ON FILE
MALANDRA, ALLYSON                                ADDRESS ON FILE
MALIK BURNETT                                    ADDRESS ON FILE
MALISZEWSKI, MARY                                ADDRESS ON FILE
MALISZEWSKI, MARY E.                             ADDRESS ON FILE
MALMARK BELLS INC                                5712 EASTON RD.                         PO BOX 1200                           PLUMSTEADVILLE   PA           18949
MALONE, GREG                                     ADDRESS ON FILE
MAMADELE FOUNDATION                              ADDRESS ON FILE
MANBECK, ZACHARY A.                              ADDRESS ON FILE
MANCHESS, GREGORY                                ADDRESS ON FILE
MANCINA FAMILY TRUST                             ADDRESS ON FILE
MANDALA, ADAM M.                                 ADDRESS ON FILE
MANDRACCHIA, CHRISTEN                            ADDRESS ON FILE
MANDY MUNNELL                                    ADDRESS ON FILE
MANFREDIE GONZALEZ                               ADDRESS ON FILE
MANN, STACEY                                     ADDRESS ON FILE
MANNI, JACQUELINE                                ADDRESS ON FILE
MANNI, JACQUELINE                                ADDRESS ON FILE
MAPLE, JAMON                                     ADDRESS ON FILE
MAPLES, BREYANNA                                 ADDRESS ON FILE
MAPSON, JESSE W. III                             ADDRESS ON FILE
MARCIA CARNES                                    ADDRESS ON FILE
MARCIA L. DIAMANT                                ADDRESS ON FILE
MARCIVE, INC                                     PO BOX 47508                                                                  SAN ANTONIO      TX           78265-7508
MARGARET ANNE BUTTERFIELD                        ADDRESS ON FILE
MARGARET FREELS                                  ADDRESS ON FILE
MARGARET STEVENS                                 ADDRESS ON FILE
MARGARET WHITFORD                                ADDRESS ON FILE
MARGUERITE RODGERS INTERIOR DESIGN               2131 N AMERICAN ST                                                            PHILADELPHIA     PA           19122-1606




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                Creditor Name          Attention                 Address 1                          Address 2         Address 3              City        State      Zip       Country
MARIA HILL                                         ADDRESS ON FILE
MARIA KERRIDGE                                     ADDRESS ON FILE
MARIA RAHA                                         ADDRESS ON FILE
MARIAH VAN SCIVER                                  ADDRESS ON FILE
MARIAN MAIER                                       ADDRESS ON FILE
MARIANNA KARABATSOS                                ADDRESS ON FILE
MARIANNE PANKOK                                    ADDRESS ON FILE
MARICLE, SHARON                                    ADDRESS ON FILE
MARIE GIBSON                                       ADDRESS ON FILE
MARIE LOPRESTI                                     ADDRESS ON FILE
MARIMUTU, REBECCA                                  ADDRESS ON FILE
MARINO, ANTHONY                                    ADDRESS ON FILE
MARK & LEONA TAYLOR TRUST FUND                     ADDRESS ON FILE
MARK GAZZILLI                                      ADDRESS ON FILE
MARK GOLCZEWSKI                                    ADDRESS ON FILE
MARK KANIEFF                                       ADDRESS ON FILE
MARK LUDAS                                         ADDRESS ON FILE
MARK R. NICOLETTI, SR.                             ADDRESS ON FILE
MARK, JAMES                                        ADDRESS ON FILE
MARK, SUSAN A.                                     ADDRESS ON FILE
MARLENE OMLOR                                      ADDRESS ON FILE
MARLIN MILLER, JR. FAMILY FOUNDATION               ADDRESS ON FILE
MARLO GADDIS                                       ADDRESS ON FILE
MARLO TUATY                                        ADDRESS ON FILE
MARRERO, CHRISTINA                                 ADDRESS ON FILE
MARRIE WATTS                                       ADDRESS ON FILE
MARSH U. S.                                        ADDRESS ON FILE
MARTHA CROSS                                       ADDRESS ON FILE
MARTHA GRAHAM CENTER OF
CONTEMPORARY DANCE INC                             55 BETHUNE STREET                                                              NEW YORK          NY           10014
MARTIN, CELESTE                                    ADDRESS ON FILE
MARTIN, JOANNE                                     ADDRESS ON FILE
MARTIN, SEAN                                       ADDRESS ON FILE
MARTINE, ALISON                                    ADDRESS ON FILE
MARTINEZ, TIRESIA                                  ADDRESS ON FILE
MARTINEZ-BRIGGS, ANTHONY                           ADDRESS ON FILE
MARTIN-OSHIA, TROY                                 ADDRESS ON FILE
MARTZ, JOSEPH                                      ADDRESS ON FILE
MARY ARNDTSEN                                      ADDRESS ON FILE
MARY BERMAN                                        ADDRESS ON FILE
MARY FISHER                                        ADDRESS ON FILE
MARY GLASSCOCK                                     ADDRESS ON FILE
MARY K. HEGARTY                                    ADDRESS ON FILE
MARY MORISSETTE                                    ADDRESS ON FILE
MARYANN MCKENNA                                    ADDRESS ON FILE
MARYDENISE APPIO                                   ADDRESS ON FILE
MARYJO W. COVELLONE                                ADDRESS ON FILE
MARYLAND INSTITUTE COLLEGE OF ART                  1300 W MOUNT ROYAL AVE                                                         BALTIMORE         MD           21217
MARYWOOD UNIVERSITY                                2300 ADAMS AVENUE                                                              SCRANTON          PA           18509
MARZELL, REGINA                                    ADDRESS ON FILE
MASONRY PRESERVATION GROUP, INC                    706 W MAPLE AVE                                                                MERCHANTVILLE     NJ           08109-1822
MASRI, JULIUS                                      ADDRESS ON FILE
MASRI, JULIUS                                      ADDRESS ON FILE
MASTERS LEGACY PLANNING, INC                       650 NEW RD STE B                                                               LINWOOD           NJ           08221-1252
MASTIN, AARON                                      ADDRESS ON FILE
MASTRONARDI, SHANE                                 ADDRESS ON FILE
MATARAZZO, DANIEL                                  ADDRESS ON FILE
MATE, DANIEL B.                                    ADDRESS ON FILE
MATTEI, CHRISTINA                                  ADDRESS ON FILE
MATTESON, PAUL                                     ADDRESS ON FILE
MATTHEW E. KANIA                                   ADDRESS ON FILE
MATTHEW FLEISCHMAN                                 ADDRESS ON FILE
MATTHEW GREENWALD & ASSOC                          4201 CONNECTICUT AVE NW STE 620                                                WASHINGTON        DC           20008-1163
MATTHEW I. LEWIS                                   ADDRESS ON FILE
MATTHEW J. LAMB                                    ADDRESS ON FILE
MATTHEW WITSCHONKE                                 ADDRESS ON FILE
MATTHEW, JOANN                                     ADDRESS ON FILE
MATTHEWS, PAUL                                     ADDRESS ON FILE




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              Creditor Name                        Attention                               Address 1                             Address 2         Address 3                City        State      Zip       Country
MATTHEWS, SARAH                                                             ADDRESS ON FILE
MATTINGLY, EMILY                                                            ADDRESS ON FILE
MATTIONI, CONCETTA                                                          ADDRESS ON FILE
MATUSHESKI, JAMES                                                           ADDRESS ON FILE
MAU, ELIZABETH SOUTHARD                                                     ADDRESS ON FILE
MAUCKINGBIRD THEATRE CO                                                     209 N 4TH ST APT E5                                                                PHILADELPHIA        PA           19106-1857
MAUNDER, PATRICIA                                                           ADDRESS ON FILE
MAURICE BAYNARD                                                             ADDRESS ON FILE
MAURICE HAYNES                                                              ADDRESS ON FILE
MAURICE ROHRBACH FUND FOR SWISS-   C/O NEW HELVETIC SOCIETY, PENNSYLVANIA
AMERICAN CULTURAL EXCHANGE         CHAPTER                                  142 COMMONWEALTH DR                                                                NEWTOWN             PA           18940-2316
MAURY CLAY                                                                  ADDRESS ON FILE
MAXON COMPUTER, INC                                                         515 MARIN STREET                          STE. 322                                 THOUSAND OAKS       CA           91360

MAXWELL STRAWBRIDGE FOUNDATION     C/O WOLF, BLOCK, SCHORR & SOLIS-COHEN    1650 ARCH ST FL 22                                                                 PHILADELPHIA        PA           19103-2003
MAYO, NOEL                                                                  ADDRESS ON FILE
MAZZA, NICHOLAS F.                                                          ADDRESS ON FILE
MAZZOCCHI, LUIGI F.                                                         ADDRESS ON FILE
MAZZOTTA, SALVATORE A. JR.                                                  ADDRESS ON FILE
MAZZY FAYE TRAVER                                                           ADDRESS ON FILE
MCALISTER LAMASCUS, KENNEDY                                                 ADDRESS ON FILE
MCALISTER, KENNEDY                                                          ADDRESS ON FILE
MCALLISTER, MICHAEL M.                                                      ADDRESS ON FILE
MCANALLY, ELIZABETH ANN                                                     ADDRESS ON FILE
MCBRIDE, NICHOLAS                                                           ADDRESS ON FILE
MCBRIDE, NICHOLAS R.                                                        ADDRESS ON FILE
MCCLENDON, FORREST                                                          ADDRESS ON FILE
MCCLINTOCK & ASSOCIATES PC                                                  1370 WASHINGTON PIKE                                                               BRIDGEVILLE         PA           15107
MCCORMACK, CAITLIN T.                                                       ADDRESS ON FILE
MCCORMACK, THOMAS A.                                                        ADDRESS ON FILE
MCCREA, CATHERINE                                                           ADDRESS ON FILE
MCCREARY, CHRISTOPHER                                                       ADDRESS ON FILE
MCCREE, JORDAN M.                                                           ADDRESS ON FILE
MCDANIEL, PATRICK                                                           ADDRESS ON FILE
MCDEVITT, FRANCIS T.                                                        ADDRESS ON FILE
MCDONALD HOPKINS LLC                                                        600 SUPERIOR AVENUE                       E STE 2100                               CLEVELAND           OH           44114
MCDONALD UNIFORM CO.                                                        3019 DARNELL ROAD                                                                  PHILADELPHIA        PA           19154
MCDONALD, JILL                                                              ADDRESS ON FILE
MCDONALD, MATTHEW                                                           ADDRESS ON FILE
MCDONALD, MEREDITH                                                          ADDRESS ON FILE
MCDONNELL, CHRISTOPHER                                                      ADDRESS ON FILE
MCDONOUGH, CASEY                                                            ADDRESS ON FILE
MCDONOUGH, CASEY M.                                                         ADDRESS ON FILE
MCFARLANE, TIMOTHY                                                          ADDRESS ON FILE
MCGAHEY, ANNA N.                                                            ADDRESS ON FILE
MCGILLINS OLDE ALE HOUSE                                                    1310 DRURY ST                                                                      PHILADELPHIA        PA           19107-4520
MCGINN, JENNIFER                                                            ADDRESS ON FILE
MCGINNIS, LUCAS                                                             ADDRESS ON FILE
MCGLYNN, JUSTIN                                                             ADDRESS ON FILE
MCGONIGAL TRUST                                                             233 ELEANOR RD                                                                     PITTSFIELD          MA           01201-5837
MCGRATH MUNIZ, PATRICK V.                                                   ADDRESS ON FILE
MCGREEVEY, JOHN F.                                                          ADDRESS ON FILE
MCJONES DESIGN LLC                                                          185 STINE DRIVE                                                                    COLLEGEVILLE        PA           19426
MCKENZIE, LATISHA                                                           ADDRESS ON FILE
MCKENZIE, MOBRIE                                                            ADDRESS ON FILE
MCKESSON MEDICAL-SURGICAL                                                   PO BOX 936279                                                                      ATLANTA             GA           31193-6279
MCLAUGHLIN, TIMOTHY                                                         ADDRESS ON FILE
MCLEAN CONTRIBUTIONSHIP                                                     945 EAST HAVERFORD RD                                                              BRYN MAWR           PA           19010-3814
MCLEAN, TYEESHA                                                             ADDRESS ON FILE
MCLEARY, ERIN                                                               ADDRESS ON FILE
MCLEARY, ERIN H.                                                            ADDRESS ON FILE
MCM BRANDS                                                                  145 CANE CREEK INDUSTRIAL PARK RD         STE 315                                  FLETCHER            NC           28732
MCMILLAN, OZANA                                                             ADDRESS ON FILE
MCNEELY, JAMES                                                              ADDRESS ON FILE
MCNEESE, KANDYCE                                                            ADDRESS ON FILE
MCNETT, DENNIS                                                              ADDRESS ON FILE
MCPHERSON, KIAMESHIA                                                        ADDRESS ON FILE
MCQUEEN, MATTHEW D.                                                         ADDRESS ON FILE




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               Creditor Name                          Attention                    Address 1                            Address 2            Address 3            City        State      Zip       Country
MCQUISTON, ANDREW                                                  ADDRESS ON FILE
MCQUISTON, ANDREW E.                                               ADDRESS ON FILE
MCRAE, LAUREN M.                                                   ADDRESS ON FILE
MDS CARPET AND FLOORING INC                                        457 PENN STREET                                                                       YEADON          PA           19050
MEAD, ELIZABETH                                                    ADDRESS ON FILE
MECHANICS, AUDIO                                                   ADDRESS ON FILE
MECLEARY, KELLIE A.                                                ADDRESS ON FILE
MEDAREX                                                            PO BOX 2236                                                                           PRINCETON       NJ           08543-2236
MEDICAL BILLING GROUP                                              1719 E 12TH ST, #3                                                                    BROOKLYN        NY           11229
MEDINA, NICOLE                                                     ADDRESS ON FILE
MEDLOCK, CELESTE                                                   ADDRESS ON FILE
MEGAN MCLAUGHLIN                                                   ADDRESS ON FILE
MEGAN MONAGHAN                                                     ADDRESS ON FILE
MEGAN S. DOLDRON                                                   ADDRESS ON FILE
MEHGAN ABDEL-MONEIM                                                ADDRESS ON FILE
MEHRTENS, SEAN                                                     ADDRESS ON FILE
MEHTA, RAHUL                                                       ADDRESS ON FILE
MEHTA, RAHUL K.                                                    ADDRESS ON FILE
MEISHAN PAN                                                        ADDRESS ON FILE
MELANIE MILLAND                                                    ADDRESS ON FILE
MELBA LURIA                                                        ADDRESS ON FILE
MELE, CHRISTOPHER                                                  ADDRESS ON FILE
MELINDA CIVITELLA                                                  ADDRESS ON FILE
MELISSA HIGGINS                                                    ADDRESS ON FILE
MELISSA MORALES                                                    ADDRESS ON FILE
MELISSA RADA                                                       ADDRESS ON FILE
MELISSA WILSON                                                     ADDRESS ON FILE
MELLO-HEMSLEY, CHRISTINE                                           ADDRESS ON FILE
MELLON BANK                                                        1735 MARKET STREET                                                                    PHILADELPHIA    PA           19103-7501
MERCEDES BENZ OF DEVON                                             214 W LANCASTER AVE                                                                   DEVON           PA           19333-1506
MERCEDES KORTZ                                                     ADDRESS ON FILE
MERCER, KEVIN                                                      ADDRESS ON FILE
MERCER, KEVIN                                                      ADDRESS ON FILE
MERCIER, DOMINIC                                                   ADDRESS ON FILE
MERCURY PUBLIC AFFAIRS                                             218 E BEARSS AVENUE                        #405                                       TAMPA           FL           33613
MEREDITH DIDDERICH                                                 ADDRESS ON FILE

MEREDITH HOME AND SCHOOL ASSOCIATION                               5TH AND FITZWATER STREETS                                                             PHILADELPHIA    PA           19147
MERINSKY, KEVIN                                                    ADDRESS ON FILE
MERLIN THURMAN                                                     ADDRESS ON FILE
MERON LITTLE                                                       ADDRESS ON FILE
MERTZ, CAROLYN                                                     ADDRESS ON FILE
METCALFE ARCHITECTURE & DESIGN                                     211 N 13TH ST STE 503                                                                 PHILADELPHIA    PA           19107-1628
METRO BUILDING, INC                                                3025 DICKINSON ST                                                                     PHILADELPHIA    PA           19146-3530
METRO COMMERCIAL REAL ESTATE, INC.     ATTN: MICHAEL GORMAN        50 S. 16TH STREET                          SUITE 1700                                 PHILADELPHIA    PA           19102
METRO COMMERCIAL REAL ESTATE, INC.                                 ACCOUNTS RECEIVABLE                        307 FELLOWSHIP RD        STE 300           MOUNT LAUREL    NJ           08054
METROPOLIS POST INC                                                115 WEST 30TH ST                           ROOM 1209                                  NEW YORK        NY           10001
METROPOLITAN FLAG & BANNER CO.                                     PO BOX 585                                                                            WESTTOWN        PA           19395-0585
MEYER AND ASSOC                                                    18 WASHINGTON AVE                                                                     CHATHAM         NJ           07928-2101
MEYER, STEVEN                                                      ADDRESS ON FILE
MEZHIBOVSKAYA, YEKATERINA                                          ADDRESS ON FILE
MGA PARTNERS ARCHITECTS                                            234 MARKET STREET                                                                     PHILADELPHIA    PA           19106-2816
MGG CONCEPTS, INC                                                  PO BOX 171                                                                            BELLMAWR        NJ           08099-0171
MICAHS PRINTING                                                    1055 WESTLAKES DRIVE                       STE 300                                    BERWYN          PA           19312
MICELI, ANTHONY                                                    ADDRESS ON FILE
MICHAEL A. FUCCI                                                   ADDRESS ON FILE

MICHAEL BAKER CORPORATION                                          AIRSIDE BUSINESS PARK100 AIRSIDE DR                                                   MOON TOWNSHIP   PA           15108-2783
MICHAEL BRENNAN                                                    ADDRESS ON FILE
MICHAEL COLLINS                                                    ADDRESS ON FILE
MICHAEL DAVIS                                                      ADDRESS ON FILE
MICHAEL DEFEO                                                      ADDRESS ON FILE
MICHAEL DEPRETA                                                    ADDRESS ON FILE
MICHAEL HEATH                                                      ADDRESS ON FILE
MICHAEL HORSBURGH                                                  ADDRESS ON FILE
MICHAEL LAYTON                                                     ADDRESS ON FILE
MICHAEL LIDDY EVENT FUND                                           ADDRESS ON FILE
MICHAEL MCGRAIL                                                    ADDRESS ON FILE




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              Creditor Name                             Attention                           Address 1                            Address 2             Address 3              City        State      Zip       Country
MICHAEL MERGEN                                                                ADDRESS ON FILE
MICHAEL PARANICH                                                              ADDRESS ON FILE
MICHAEL QUINSLER                                                              ADDRESS ON FILE
MICHAEL SINGLETON                                                             ADDRESS ON FILE
MICHAEL TRUONG                                                                ADDRESS ON FILE
MICHAEL VEZZA                                                                 ADDRESS ON FILE
MICHAEL WEINBERG                                                              ADDRESS ON FILE
MICHELE MANGINI                                                               ADDRESS ON FILE
MICHELE MARTINEZ-SINGER                                                       ADDRESS ON FILE
MICHELLE AND ERIC FLATT                                                       ADDRESS ON FILE
MICHELLE SAMPSON                                                              ADDRESS ON FILE
MICHELLE SETTLES                                                              ADDRESS ON FILE
MICKELSON, EMILY MORGAN                                                       ADDRESS ON FILE
MICROSOFT MATCHING GIFTS PROGRAM                                              PO BOX 7405                                                                          PRINCETON         NJ           08543-7405
MID AMERICA GROUP                                                             ONE COMMERCE SQUARE                      2005 MARKET ST FL 7                         PHILADELPHIA      PA           19103-7062
MIDDLE STATES COMMISSION ON HIGHER
EDUCATION                               C/O NORTHWEST REGISTERED AGENT, LLC   502 W. 7TH STREET                        STE 100                                     ERIE              PA           16502
MIDDLE STATES COMMISSION ON HIGHER
EDUCATION                                                                     3624 MARKET ST                           STE 2 WEST                                  PHILADELPHIA      PA           19104-2680

MIDTOWN VILLAGE MERCHANTS ASSOCIATION                                         137 SOUTH 13TH ST.                                                                   PHILADELPHIA      PA           19107
MIKE MULLEN                                                                   ADDRESS ON FILE
MIKEL MORADO                                                                  ADDRESS ON FILE
MIKEY MORADO                                                                  ADDRESS ON FILE
MIKEY SMITH                                                                   ADDRESS ON FILE
                                                                              ATTN: MARC H. EDELSON, SHOSHANA
MIKHAIL SERGEEV                         C/O EDELSON LECHTZIN LLP              MICHELLE SAVETT, ERIC LECHTZIN           411 S. STATE STREET      SUITE N-300        NEWTOWN           PA           18940
                                                                              ATTN: RYAN ALLEN HANCOCK, JORDAN         1845 WALNUT STREET,
MIKHAIL SERGEEV                         C/O WILLIG WILLIAMS & DAVIDSON        KONELL                                   24TH FLOOR                                  PHILADELPIA       PA           19103
MIKSITZ, ANTHONY                                                              ADDRESS ON FILE
MILBANK MEMORIAL FUND                                                         645 MADISON AVE FL 15                                                                NEW YORK          NY           10022-1010
MILBLY, JESSICA A.                                                            ADDRESS ON FILE
MILEKIC, SLAVOLJUB                                                            ADDRESS ON FILE
MILESTONE FILM & VIDEO, INC                                                   38 GEORGE STREET                                                                     HARRINGTON PARK   NJ           07640
MILEY WALKER                                                                  ADDRESS ON FILE
MILLER DRAKE 197                                                              ADDRESS ON FILE
MILLER, DON R.                                                                ADDRESS ON FILE
MILLER, TERESA                                                                ADDRESS ON FILE
MINES, KEITH W.                                                               ADDRESS ON FILE
MINICH, DOREEN                                                                ADDRESS ON FILE
MINICH, DOREEN M.                                                             ADDRESS ON FILE

MINNEAPOLIS COLLEGE OF ART AND DESIGN                                         2501 STEVENS AVENUE                                                                  MINNEAPOLIS       MN           55404
MINOU MINOUSKI                                                                ADDRESS ON FILE
MIRA BELLE                                                                    ADDRESS ON FILE
MIRABILE, MONICA J.                                                           ADDRESS ON FILE
MIRIAM MORTKO                                                                 ADDRESS ON FILE
MISHA NEIDORFLER                                                              ADDRESS ON FILE
MISRA, RUPANANDA                                                              ADDRESS ON FILE
MISS ALISON BRUYETTE                                                          ADDRESS ON FILE
MISS MARILYN L. STEINBRIGHT                                                   ADDRESS ON FILE
MISS MAUDE T. DE SCHAUENSEE                                                   ADDRESS ON FILE
MITCHELL, JEFFREY L.                                                          ADDRESS ON FILE
MLP ENTERPRISES, INC                                                          PO BOX 11611                                                                         PHILADELPHIA      PA           19116-0611
MMPARTNERS LLC                                                                2517-19 WEST GIRARD AVE                                                              PHILADELPHIA      PA           19130
MOBILE ARTS, INC                                                              801 NORTH VENETIAN DR                    APT 906                                     MIAMI BEACH       FL           33139
MOBLEY, BRIDGET                                                               ADDRESS ON FILE
MOCK, KIERSTEN                                                                ADDRESS ON FILE
MOCKRIN, JESSICA                                                              ADDRESS ON FILE
MOE, HSIANG CHIN                                                              ADDRESS ON FILE
MOKGOTHO, NARE                                                                ADDRESS ON FILE
MOLHOLT, ANDREW BALAZS                                                        ADDRESS ON FILE
MOLLYSUE WEDDING                                                              ADDRESS ON FILE
MOMOH, NAOMI I.                                                               ADDRESS ON FILE
MONAGHAN, ELIZABETH                                                           ADDRESS ON FILE
MONARCH BOILER CONSTRUCTION CO. INC                                           PO BOX 282                                                                           BLACKWOOD         NJ           08012-0282
MONFITZ CONSULTING LLC                                                        PO BOX 3193                                                                          ALLENTOWN         PA           18106
MONICA MONIZ                                                                  ADDRESS ON FILE




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                Creditor Name                           Attention                            Address 1                           Address 2             Address 3             City           State      Zip          Country
MONIQUE REESE                                                                 ADDRESS ON FILE
MONO CASES                                                                    ADDRESS ON FILE
MONROE ISENBERG                                                               ADDRESS ON FILE
MONTCLAIR FILM FESTIVAL, INC                                                  41 WATCHUNG PLAZA                          #345                                      MONTCLAIR           NJ           07042
MONTCLAIR STATE UNIVERSITY                                                    1 NORMAL AVE                                                                         MONTCLAIR           NJ           07043
MONTECARLO, JASMINE                                                           ADDRESS ON FILE
MONTEIRO, CHALVAR                                                             ADDRESS ON FILE
MONTGOMERY, CONRAD                                                            ADDRESS ON FILE
MONTGOMERY, MCCRACKEN, WALKER                                                 1735 MARKET ST                                                                       PHILADELPHIA        PA           19103-7505
MONTGOMERY, MCCRACKEN, WALKER &
RHOADS                                                                        1735 MARKET ST FL 21                                                                 PHILADELPHIA        PA           19103-7505
MONTGOMERY, MONICA                                                            ADDRESS ON FILE
MONTGOMERY, MONICA O.                                                         ADDRESS ON FILE
MONTICCHIO, DAVID                                                             ADDRESS ON FILE
MONTPELLIER DANSE ASSOCIATION                                                 18 RUE SAINTE URSULE 117                                                             34000 MONTPELLIER                             CANADA
MONTSERRAT COLLEGE OF ART                                                     23 ESSEX STREET                                                                      BEVERLY             MA           01915
MONUMENT LAB, INC                                                             1617 JFK BLVD.                             FL 20                                     PHILADELPHIA        PA           19103
MOON, CYBELE E.                                                               ADDRESS ON FILE
MOORE COLLEGE OF ART & DESIGN            ATTN REFOCUS                         1916 RACE STREET                                                                     PHILDELPHIA         PA           19103
MOORE COLLEGE OF ART AND DESIGN                                               1916 RACE STREET                                                                     PHILADELPHIA        PA           19103
MOORE, H. GREGORY                                                             ADDRESS ON FILE
MOORE, LAWRENCE                                                               ADDRESS ON FILE
MOORE, RHONDA                                                                 ADDRESS ON FILE
MOQTADERI, EMILY MITRA                                                        ADDRESS ON FILE
MOQTADERI, HEATHER                                                            ADDRESS ON FILE
MOQTADERI, HEATHER G.                                                         ADDRESS ON FILE
MORADO, MIKEL                                                                 ADDRESS ON FILE
MORALES, MELISSA                                                              ADDRESS ON FILE
MORAVIAN UNIVERSITY                                                           1200 MAIN STREET                                                                     BETHLEHEM           PA           18018
MORCOS KEY                                                                    213 WEIRFIELD STREET                                                                 BROOKLYN            NY           11221
MOREHOUSE ET AL V. THE UNIVERSITY OF THE                                                                                 1133 PENN AVENUE, 5TH
ARTS                                     C/O LYNCH CARPENTER, LLP             ATTN: GARY F. LYNCH                        FLOOR                                     PITTSBURGH          PA           15222
MOREHOUSE ET AL V. THE UNIVERSITY OF THE
ARTS                                     WELLS MOORE SIMMONS & HUBBARD PLLC   ATTN: SETH C. LITTLE                       4450 OLD CANTON RD      POBOX 1970        JACKSON             MS           39215
MORENO, ALFONSO GUTIERREZ                                                     ADDRESS ON FILE
MORGAN SHEKHTER                                                               ADDRESS ON FILE
MORGAN STANLEY                                                                1650 MARKET ST FL 42                                                                 PHILADELPHIA        PA           19103-7232
MORGAN STANLEY SMITH BARNEY                                                   2 LOGAN SQ FL 14                                                                     PHILADELPHIA        PA           19103-2742
MORGAN, BRYANT T.                                                             ADDRESS ON FILE
MORGAN, GARRICK VAUGHAN                                                       ADDRESS ON FILE
MORGAN, LATANYA                                                               ADDRESS ON FILE
MORO, DIANA                                                                   ADDRESS ON FILE
MORO, DIANA L.                                                                ADDRESS ON FILE
MORRELL, WILLIAM M. III                                                       ADDRESS ON FILE
MORRIS, CATHERINE                                                             ADDRESS ON FILE
MORRIS, ERICA                                                                 ADDRESS ON FILE
MORRIS, ERICA W.                                                              ADDRESS ON FILE
MORRIS, LATASHA S.                                                            ADDRESS ON FILE
MORRIS, TAYLOR                                                                ADDRESS ON FILE
MORRISON, MICHAEL                                                             ADDRESS ON FILE
MORTON, MONNA                                                                 ADDRESS ON FILE
MOSES, CASEY                                                                  ADDRESS ON FILE
MOTZER, TIMOTHY                                                               ADDRESS ON FILE
MOUHAMMAD TORSHIZI                                                            ADDRESS ON FILE
MOVEMENT RESEARCH, INC                                                        150 FIRST AVE                                                                        NEW YORK            NY           10009
MOVERS SPECIALTY SERVICE, INC                                                 211 COMMERCE DR                                                                      MONTGOMERYVILLE     PA           18936-9641
MOWERY, SUNNYLEE                                                              ADDRESS ON FILE
MOYER DESIGN INC                                                              17301 REDWOOD SPRINGS DR                                                             FORT BRAGG          CA           95437-7722
MOYER, STEVEN T.                                                              ADDRESS ON FILE
MR. A. L. DOERING                                                             ADDRESS ON FILE
MR. A. ROBERT GLOESER                                                         ADDRESS ON FILE
MR. AARON S. GOLDBLATT 1980                                                   ADDRESS ON FILE
MR. AARON WEBER 2014                                                          ADDRESS ON FILE
MR. ABIB S. JOHNSON 2000                                                      ADDRESS ON FILE
MR. ADAM BAKER 2003                                                           ADDRESS ON FILE
MR. ADAM COWLES                                                               ADDRESS ON FILE
MR. ADAM F. KANTORSKI, JR. 1985                                               ADDRESS ON FILE
MR. ADAM KAUFFMAN                                                             ADDRESS ON FILE




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                Creditor Name         Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
MR. ADAM Z. TANSKI 2006                           ADDRESS ON FILE
MR. ADRIAN J. MOODY, ESQ.                         ADDRESS ON FILE
MR. AL PASCHALL                                   ADDRESS ON FILE
MR. ALAN B. LUNDY 1962                            ADDRESS ON FILE
MR. ALAN B. MILLER                                ADDRESS ON FILE
MR. ALAN E. COON 1995                             ADDRESS ON FILE
MR. ALAN FRANKEL                                  ADDRESS ON FILE
MR. ALAN HERMAN 1966                              ADDRESS ON FILE
MR. ALAN I. RUBIN                                 ADDRESS ON FILE
MR. ALAN J. KLAWANS 1954                          ADDRESS ON FILE
MR. ALAN L. REED, ESQ.                            ADDRESS ON FILE
MR. ALAN L. SPIELMAN, ESQ.                        ADDRESS ON FILE
MR. ALAN M. RUBIN                                 ADDRESS ON FILE
MR. ALAN S. GOLDSTEIN 1962                        ADDRESS ON FILE
MR. ALAN SMITH                                    ADDRESS ON FILE
MR. ALBERT C. DEVITO 1958                         ADDRESS ON FILE
MR. ALBERT D. WAGMAN                              ADDRESS ON FILE
MR. ALBERT S. LANDSMAN                            ADDRESS ON FILE
MR. ALBERT WACHLIN                                ADDRESS ON FILE
MR. ALEX ISBELL                                   ADDRESS ON FILE
MR. ALEX P. DAKOGLOU 2002                         ADDRESS ON FILE
MR. ALEX TJOUMAKARIS                              ADDRESS ON FILE
MR. ALEXANDER B. GLOVER                           ADDRESS ON FILE
MR. ALEXANDER DERKAS 1949                         ADDRESS ON FILE
MR. ALEXANDER POLAKOV 1996                        ADDRESS ON FILE
MR. ALEXANDER SILVERMAN                           ADDRESS ON FILE
MR. ALFRED HARRISON, III                          ADDRESS ON FILE
MR. ALFRED HOWARD, JR.                            ADDRESS ON FILE
MR. ALFRED O. DRECHSEL                            ADDRESS ON FILE
MR. ALFRED W. BLATTER                             ADDRESS ON FILE
MR. ALLAN WEINBERG 1956                           ADDRESS ON FILE
MR. ALLEN C. YOUNG 1962                           ADDRESS ON FILE
MR. ALLEN H. HALBER 1969                          ADDRESS ON FILE
MR. ALLEN P. RADWAY 1999                          ADDRESS ON FILE
MR. ALLEN R. WEXLER 1961                          ADDRESS ON FILE
MR. ALVIN P. GUTMAN                               ADDRESS ON FILE
MR. AMERICO J. TADDEO 1956                        ADDRESS ON FILE
MR. AND DR. RANDY GOLD                            ADDRESS ON FILE
MR. AND DR. STEVEN H. PURDY                       ADDRESS ON FILE
MR. AND MRS. ADOLPH PIPERNO                       ADDRESS ON FILE
MR. AND MRS. ADRIAN DEMARCO                       ADDRESS ON FILE
MR. AND MRS. AL C. RINALDI                        ADDRESS ON FILE
MR. AND MRS. AL STEFAN                            ADDRESS ON FILE
MR. AND MRS. ALAN J. KAPLAN                       ADDRESS ON FILE
MR. AND MRS. ALAN P. SMITH                        ADDRESS ON FILE
MR. AND MRS. ALAN W. MARGOLIS                     ADDRESS ON FILE
MR. AND MRS. ALBERT E. ROEMER                     ADDRESS ON FILE
MR. AND MRS. ALBERT M. GUTMAKER                   ADDRESS ON FILE
MR. AND MRS. ALBERT REIGER, JR.                   ADDRESS ON FILE
MR. AND MRS. ALBERT RIEGER                        ADDRESS ON FILE
MR. AND MRS. ALBERT SCHWAB                        ADDRESS ON FILE
MR. AND MRS. ALBERT T. FRENZEL, JR.               ADDRESS ON FILE
MR. AND MRS. ALFRED R. PIETRZAK                   ADDRESS ON FILE
MR. AND MRS. ALLAN KATZ                           ADDRESS ON FILE
MR. AND MRS. ALLYN JACOBSON                       ADDRESS ON FILE
MR. AND MRS. ANDREW J. WALKO, JR.                 ADDRESS ON FILE
MR. AND MRS. ANGELO A. DIGIACOMO                  ADDRESS ON FILE
MR. AND MRS. ANGELO A. TRUGLIO                    ADDRESS ON FILE
MR. AND MRS. ANGELO P. BENEDETTO                  ADDRESS ON FILE
MR. AND MRS. ANISS AZZOUNI                        ADDRESS ON FILE
MR. AND MRS. ANTHONY BIANCOSINO                   ADDRESS ON FILE
MR. AND MRS. ANTHONY C. SALICANDRO                ADDRESS ON FILE
MR. AND MRS. ANTHONY C. ZAMPINO                   ADDRESS ON FILE
MR. AND MRS. ANTHONY L. ALAIMO                    ADDRESS ON FILE
MR. AND MRS. ANTHONY PLAKIS                       ADDRESS ON FILE
MR. AND MRS. ANTHONY SCARDINO                     ADDRESS ON FILE
MR. AND MRS. ARMOND A. NOVELLI                    ADDRESS ON FILE
MR. AND MRS. ARNOLD HOFFMAN                       ADDRESS ON FILE




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               Creditor Name           Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
MR. AND MRS. ARNOLD M. HARRIS                      ADDRESS ON FILE
MR. AND MRS. ARNULF REICHERT                       ADDRESS ON FILE
MR. AND MRS. ARTHUR BEAUMONT                       ADDRESS ON FILE
MR. AND MRS. ARTHUR HADLEY                         ADDRESS ON FILE
MR. AND MRS. ARTHUR HATTLER                        ADDRESS ON FILE
MR. AND MRS. ARTHUR J. BLATT                       ADDRESS ON FILE
MR. AND MRS. ARTHUR J. MOMJIAN                     ADDRESS ON FILE
MR. AND MRS. ARTHUR L. YOUNG                       ADDRESS ON FILE
MR. AND MRS. ARTHUR MORGAN                         ADDRESS ON FILE
MR. AND MRS. ARTHUR ROGOT                          ADDRESS ON FILE
MR. AND MRS. BERNARD B. BROWNSTEIN                 ADDRESS ON FILE
MR. AND MRS. BERNARD DIAMOND                       ADDRESS ON FILE
MR. AND MRS. BERNARD HAFTEL                        ADDRESS ON FILE
MR. AND MRS. BERNARD M. SEKULA                     ADDRESS ON FILE
MR. AND MRS. BERNARD SCHWARTZ                      ADDRESS ON FILE
MR. AND MRS. BERNARD THOMPSON                      ADDRESS ON FILE
MR. AND MRS. BERNERD GREENBAUM                     ADDRESS ON FILE
MR. AND MRS. BILL BERENATO                         ADDRESS ON FILE
MR. AND MRS. BILL NORRIS                           ADDRESS ON FILE
MR. AND MRS. BOBBY RYDELL                          ADDRESS ON FILE
MR. AND MRS. BRIAN G. HARRISON                     ADDRESS ON FILE
MR. AND MRS. BRIAN P. SHEEHAN                      ADDRESS ON FILE
MR. AND MRS. BRIAN R. MOORES                       ADDRESS ON FILE
MR. AND MRS. BRUCE L. EUGLEY                       ADDRESS ON FILE
MR. AND MRS. BURTON ROSAN                          ADDRESS ON FILE
MR. AND MRS. BYRON BELL                            ADDRESS ON FILE
MR. AND MRS. C.D. SELL                             ADDRESS ON FILE
MR. AND MRS. CARL H. MEYER                         ADDRESS ON FILE
MR. AND MRS. CARL RUZICKA                          ADDRESS ON FILE
MR. AND MRS. CHARLES A. RIZZI, JR.                 ADDRESS ON FILE
MR. AND MRS. CHARLES F. DEL ROSSO                  ADDRESS ON FILE
MR. AND MRS. CHARLES F. GUINAN                     ADDRESS ON FILE
MR. AND MRS. CHARLES G. ROETZ                      ADDRESS ON FILE
MR. AND MRS. CHARLES J. GRECO                      ADDRESS ON FILE
MR. AND MRS. CHARLES KAHN, JR.                     ADDRESS ON FILE
MR. AND MRS. CHARLES L. WOODRUFF                   ADDRESS ON FILE
MR. AND MRS. CHARLES NAGELE                        ADDRESS ON FILE
MR. AND MRS. CHARLES O. SIMPSON                    ADDRESS ON FILE
MR. AND MRS. CHARLES P. RAUSCHER                   ADDRESS ON FILE
MR. AND MRS. CHARLES W. MAGNESON                   ADDRESS ON FILE
MR. AND MRS. CHRIS BARONE                          ADDRESS ON FILE
MR. AND MRS. CHRISTOPHER G. MARTUCCI               ADDRESS ON FILE
MR. AND MRS. CHRISTOPHER J. COSGROVE               ADDRESS ON FILE
MR. AND MRS. CLEMENT DEROSA                        ADDRESS ON FILE
MR. AND MRS. CURT J. STROHACKER                    ADDRESS ON FILE
MR. AND MRS. D. DONALD JAMIESON                    ADDRESS ON FILE
MR. AND MRS. DANIEL HORNE                          ADDRESS ON FILE
MR. AND MRS. DANIEL J. EGAN                        ADDRESS ON FILE
MR. AND MRS. DANIEL J. MCCARDLE                    ADDRESS ON FILE
MR. AND MRS. DANIEL SHAPIRO                        ADDRESS ON FILE
MR. AND MRS. DANIEL T. BOWEN                       ADDRESS ON FILE
MR. AND MRS. DANNY NOBLE                           ADDRESS ON FILE
MR. AND MRS. DAVE PENNOCK                          ADDRESS ON FILE
MR. AND MRS. DAVID D. DUFFIN                       ADDRESS ON FILE
MR. AND MRS. DAVID H. LIPSON, JR.                  ADDRESS ON FILE
MR. AND MRS. DAVID J. HALBE                        ADDRESS ON FILE
MR. AND MRS. DAVID J. ROBKIN                       ADDRESS ON FILE
MR. AND MRS. DAVID K. ERICKSON                     ADDRESS ON FILE
MR. AND MRS. DAVID KETTNER                         ADDRESS ON FILE
MR. AND MRS. DAVID M. SKLAROFF                     ADDRESS ON FILE
MR. AND MRS. DAVID PATINO                          ADDRESS ON FILE
MR. AND MRS. DAVID PERRY                           ADDRESS ON FILE
MR. AND MRS. DAVID SALABA                          ADDRESS ON FILE
MR. AND MRS. DENNIS CARTER                         ADDRESS ON FILE
MR. AND MRS. DENNIS R. SUPLEE                      ADDRESS ON FILE
MR. AND MRS. DOMINIC M. AQUILINO                   ADDRESS ON FILE
MR. AND MRS. DOMINICK BENEDETTO                    ADDRESS ON FILE
MR. AND MRS. DOMINICK CANCELLARICH                 ADDRESS ON FILE




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               Creditor Name           Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
MR. AND MRS. DONALD AMON                           ADDRESS ON FILE
MR. AND MRS. DONALD G. HUGUES                      ADDRESS ON FILE
MR. AND MRS. DONALD J. ROEMER                      ADDRESS ON FILE
MR. AND MRS. DONALD J. WOLFE                       ADDRESS ON FILE
MR. AND MRS. DONALD M. ATKINSON                    ADDRESS ON FILE
MR. AND MRS. DORON M. TISSER                       ADDRESS ON FILE
MR. AND MRS. E. L. COATES                          ADDRESS ON FILE
MR. AND MRS. EARL GARDNER                          ADDRESS ON FILE
MR. AND MRS. EARNEST L. BROWN                      ADDRESS ON FILE
MR. AND MRS. EDWARD C. DOBROWOLSKI                 ADDRESS ON FILE
MR. AND MRS. EDWARD C. PHILLIPS                    ADDRESS ON FILE
MR. AND MRS. EDWARD G. CYZEWSKI                    ADDRESS ON FILE
MR. AND MRS. EDWARD G. MORRISON, JR.               ADDRESS ON FILE
MR. AND MRS. EDWARD M. ZAMISKIE                    ADDRESS ON FILE
MR. AND MRS. EDWARD R. MANLEY                      ADDRESS ON FILE
MR. AND MRS. EDWARD SCHWARTZ                       ADDRESS ON FILE
MR. AND MRS. EDWARD SNITZER                        ADDRESS ON FILE
MR. AND MRS. EDWIN GOLDSTEIN                       ADDRESS ON FILE
MR. AND MRS. EDWIN MAHONEY                         ADDRESS ON FILE
MR. AND MRS. ELLIOT MARKOFF                        ADDRESS ON FILE
MR. AND MRS. ELLIOT UNTERBERGER                    ADDRESS ON FILE
MR. AND MRS. EMANUEL WEINSTEIN                     ADDRESS ON FILE
MR. AND MRS. ERNEST ELGART                         ADDRESS ON FILE
MR. AND MRS. ERWIN STRASMICH                       ADDRESS ON FILE
MR. AND MRS. EUGENE S. SMITH                       ADDRESS ON FILE
MR. AND MRS. FADLOU SHEHADI                        ADDRESS ON FILE
MR. AND MRS. FRANCIS J. DIETER                     ADDRESS ON FILE
MR. AND MRS. FRANCIS M. POWER                      ADDRESS ON FILE
MR. AND MRS. FRANCIS M. SMITH                      ADDRESS ON FILE
MR. AND MRS. FRANK AGOSTINO                        ADDRESS ON FILE
MR. AND MRS. FRANK AMBROSE                         ADDRESS ON FILE
MR. AND MRS. FRANK C. MC GLINN                     ADDRESS ON FILE
MR. AND MRS. FREDERICK BOWEN                       ADDRESS ON FILE
MR. AND MRS. FREDERICK JOHNSON                     ADDRESS ON FILE
MR. AND MRS. FREDRIC J. ROBINSON                   ADDRESS ON FILE
MR. AND MRS. G. LEE BOHS, JR.                      ADDRESS ON FILE
MR. AND MRS. G. WAYNE RENNEISEN                    ADDRESS ON FILE
MR. AND MRS. GARY CARDAMONE                        ADDRESS ON FILE
MR. AND MRS. GARY D. CHARLESWORTH                  ADDRESS ON FILE
MR. AND MRS. GARY M. WALSKO                        ADDRESS ON FILE
MR. AND MRS. GARY PLEFKA                           ADDRESS ON FILE
MR. AND MRS. GARY T. SMITH                         ADDRESS ON FILE
MR. AND MRS. GARY VINCIGUERRA                      ADDRESS ON FILE
MR. AND MRS. GENE DI VINCENZO                      ADDRESS ON FILE
MR. AND MRS. GEORGE CAIN                           ADDRESS ON FILE
MR. AND MRS. GEORGE GOLDSTONE                      ADDRESS ON FILE
MR. AND MRS. GEORGE H. BLOOM, JR.                  ADDRESS ON FILE
MR. AND MRS. GEORGE H. ISPHORDING                  ADDRESS ON FILE
MR. AND MRS. GEORGE H. MARCUS                      ADDRESS ON FILE
MR. AND MRS. GEORGE M. DAVIS                       ADDRESS ON FILE
MR. AND MRS. GERALD J. MCLAUGHLIN                  ADDRESS ON FILE
MR. AND MRS. GERALD KLUGMAN                        ADDRESS ON FILE
MR. AND MRS. GERARD KELLY                          ADDRESS ON FILE
MR. AND MRS. GORDON B. HEAL                        ADDRESS ON FILE
MR. AND MRS. GORDON B. HEAL, JR.                   ADDRESS ON FILE
MR. AND MRS. GREGG FRANCIS                         ADDRESS ON FILE
MR. AND MRS. GREGGORY B. MENDENHALL                ADDRESS ON FILE
MR. AND MRS. GREGORY V. MELITI                     ADDRESS ON FILE
MR. AND MRS. HANS KOMPAUER                         ADDRESS ON FILE
MR. AND MRS. HARRIS ZIMMERMAN                      ADDRESS ON FILE
MR. AND MRS. HARRISON K. MILLER                    ADDRESS ON FILE
MR. AND MRS. HARRY C. LAWLOR                       ADDRESS ON FILE
MR. AND MRS. HARRY COHEN                           ADDRESS ON FILE
MR. AND MRS. HARRY R. RIVELL                       ADDRESS ON FILE
MR. AND MRS. HARRY W. MURRAY                       ADDRESS ON FILE
MR. AND MRS. HARVEY LEVITAN                        ADDRESS ON FILE
MR. AND MRS. HARVEY N. SHAPIRO                     ADDRESS ON FILE
MR. AND MRS. HELMUT ADAMIETZ                       ADDRESS ON FILE




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                Creditor Name        Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
MR. AND MRS. HENRY F. OREILLY, III               ADDRESS ON FILE
MR. AND MRS. HENRY J. BROWN                      ADDRESS ON FILE
MR. AND MRS. HERBERT LEWIS                       ADDRESS ON FILE
MR. AND MRS. HERBERT M. HADLEY                   ADDRESS ON FILE
MR. AND MRS. HERBERT S. WILF                     ADDRESS ON FILE
MR. AND MRS. HILLARD MADWAY                      ADDRESS ON FILE
MR. AND MRS. HOWARD E. HORENSTEIN                ADDRESS ON FILE
MR. AND MRS. HOWARD HATOFF                       ADDRESS ON FILE
MR. AND MRS. HOWARD HURTIG                       ADDRESS ON FILE
MR. AND MRS. HOWARD M. CASPER                    ADDRESS ON FILE
MR. AND MRS. HOWARD M. JAFFE                     ADDRESS ON FILE
MR. AND MRS. HOWARD SITRON                       ADDRESS ON FILE
MR. AND MRS. HUGH M. BULLARD                     ADDRESS ON FILE
MR. AND MRS. HUGO J. FINARELLI                   ADDRESS ON FILE
MR. AND MRS. HY ROSNER                           ADDRESS ON FILE
MR. AND MRS. IAN COMISKY                         ADDRESS ON FILE
MR. AND MRS. IRA KATZ                            ADDRESS ON FILE
MR. AND MRS. IRVING BOGEN                        ADDRESS ON FILE
MR. AND MRS. IRVING MAITIN                       ADDRESS ON FILE
MR. AND MRS. IRWIN SHAPIRO                       ADDRESS ON FILE
MR. AND MRS. J. MORTON SORK                      ADDRESS ON FILE
MR. AND MRS. JACK FARBER                         ADDRESS ON FILE
MR. AND MRS. JACK RUBIN                          ADDRESS ON FILE
MR. AND MRS. JAMES A. SCHRIVER                   ADDRESS ON FILE
MR. AND MRS. JAMES F. MULLER                     ADDRESS ON FILE
MR. AND MRS. JAMES F. SOUKUP                     ADDRESS ON FILE
MR. AND MRS. JAMES H. GODSEY                     ADDRESS ON FILE
MR. AND MRS. JAMES HARP                          ADDRESS ON FILE
MR. AND MRS. JAMES J. CREEDON                    ADDRESS ON FILE
MR. AND MRS. JAMES J. EDELEN                     ADDRESS ON FILE
MR. AND MRS. JAMES J. MC GUGAN                   ADDRESS ON FILE
MR. AND MRS. JAMES JEFFERS                       ADDRESS ON FILE
MR. AND MRS. JAMES L. CHAPMAN                    ADDRESS ON FILE
MR. AND MRS. JAMES L. RYAN, JR.                  ADDRESS ON FILE
MR. AND MRS. JAMES M. MCNEILL                    ADDRESS ON FILE
MR. AND MRS. JAMES R. COCHRAN                    ADDRESS ON FILE
MR. AND MRS. JAMES R. MEYER                      ADDRESS ON FILE
MR. AND MRS. JAMES R. RIVELL, SR.                ADDRESS ON FILE
MR. AND MRS. JAMES R. WARD                       ADDRESS ON FILE
MR. AND MRS. JAMES RIVELL, JR.                   ADDRESS ON FILE
MR. AND MRS. JAMES RIZZO                         ADDRESS ON FILE
MR. AND MRS. JAMES SCHWARZWALDER                 ADDRESS ON FILE
MR. AND MRS. JASON SIMON                         ADDRESS ON FILE
MR. AND MRS. JAY BARSKY                          ADDRESS ON FILE
MR. AND MRS. JAY H. TOLSON                       ADDRESS ON FILE
MR. AND MRS. JAY NICHOLS                         ADDRESS ON FILE
MR. AND MRS. JAY O. HARTIG                       ADDRESS ON FILE
MR. AND MRS. JAY SEGAL                           ADDRESS ON FILE
MR. AND MRS. JEFF P. PINYAN                      ADDRESS ON FILE
MR. AND MRS. JEROME D. GLUCKMAN                  ADDRESS ON FILE
MR. AND MRS. JEROME J. NEFF                      ADDRESS ON FILE
MR. AND MRS. JEROME MARSHALL                     ADDRESS ON FILE
MR. AND MRS. JERRY ALTUS                         ADDRESS ON FILE
MR. AND MRS. JESSEL ROTHFIELD                    ADDRESS ON FILE
MR. AND MRS. JIM & TRISHA NOWICKI                ADDRESS ON FILE
MR. AND MRS. JIM THORNTON                        ADDRESS ON FILE
MR. AND MRS. JOE C. GOWDEY                       ADDRESS ON FILE
MR. AND MRS. JOEL A. VANUCCI                     ADDRESS ON FILE
MR. AND MRS. JOHN A. KEANE                       ADDRESS ON FILE
MR. AND MRS. JOHN B. MUELLER                     ADDRESS ON FILE
MR. AND MRS. JOHN BECKER                         ADDRESS ON FILE
MR. AND MRS. JOHN BRINDEL                        ADDRESS ON FILE
MR. AND MRS. JOHN C. CARR                        ADDRESS ON FILE
MR. AND MRS. JOHN C. PALMER                      ADDRESS ON FILE
MR. AND MRS. JOHN C. SHATTUCK                    ADDRESS ON FILE
MR. AND MRS. JOHN D. PITNEY                      ADDRESS ON FILE
MR. AND MRS. JOHN DURANTE                        ADDRESS ON FILE
MR. AND MRS. JOHN E. FLAHERTY                    ADDRESS ON FILE




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               Creditor Name          Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
MR. AND MRS. JOHN F. BURKE                        ADDRESS ON FILE
MR. AND MRS. JOHN HEE                             ADDRESS ON FILE
MR. AND MRS. JOHN J. BIELEC, III                  ADDRESS ON FILE
MR. AND MRS. JOHN J. FRIEL                        ADDRESS ON FILE
MR. AND MRS. JOHN J. RASMUS                       ADDRESS ON FILE
MR. AND MRS. JOHN K. HOOTEN                       ADDRESS ON FILE
MR. AND MRS. JOHN K. OBRIEN                       ADDRESS ON FILE
MR. AND MRS. JOHN L. DEMPSEY                      ADDRESS ON FILE
MR. AND MRS. JOHN P. BINGENHEIMER                 ADDRESS ON FILE
MR. AND MRS. JOHN P. DAVEY, JR.                   ADDRESS ON FILE
MR. AND MRS. JOHN R. MCCLERNAN                    ADDRESS ON FILE
MR. AND MRS. JOHN ROSOLIA                         ADDRESS ON FILE
MR. AND MRS. JOHN SAMMET                          ADDRESS ON FILE
MR. AND MRS. JOHN SCHUSTER, III                   ADDRESS ON FILE
MR. AND MRS. JOHN SERAFIN                         ADDRESS ON FILE
MR. AND MRS. JOHN T. MCLOUGHLIN                   ADDRESS ON FILE
MR. AND MRS. JOHN W. JAMISON                      ADDRESS ON FILE
MR. AND MRS. JOHN W. PARKER                       ADDRESS ON FILE
MR. AND MRS. JONATHAN SCHULL                      ADDRESS ON FILE
MR. AND MRS. JOSEPH BOWMAN                        ADDRESS ON FILE
MR. AND MRS. JOSEPH C. LAGROSSA                   ADDRESS ON FILE
MR. AND MRS. JOSEPH C. MOGILL                     ADDRESS ON FILE
MR. AND MRS. JOSEPH COOPER                        ADDRESS ON FILE
MR. AND MRS. JOSEPH D. TARSIA                     ADDRESS ON FILE
MR. AND MRS. JOSEPH E. DANGELO                    ADDRESS ON FILE
MR. AND MRS. JOSEPH HELMLINGER                    ADDRESS ON FILE
MR. AND MRS. JOSEPH J. DEVINE                     ADDRESS ON FILE
MR. AND MRS. JOSEPH J. KELLY                      ADDRESS ON FILE
MR. AND MRS. JOSEPH J. MEINTEL                    ADDRESS ON FILE
MR. AND MRS. JOSEPH J. NEALIS                     ADDRESS ON FILE
MR. AND MRS. JOSEPH JONIEC                        ADDRESS ON FILE
MR. AND MRS. JOSEPH M. KRAMMER                    ADDRESS ON FILE
MR. AND MRS. JOSEPH NERO                          ADDRESS ON FILE
MR. AND MRS. JOSEPH O. BENNETT                    ADDRESS ON FILE
MR. AND MRS. JOSEPH R. SIMON                      ADDRESS ON FILE
MR. AND MRS. JOSEPH ROSEN                         ADDRESS ON FILE
MR. AND MRS. JOSEPH SHEKEL                        ADDRESS ON FILE
MR. AND MRS. JOSEPH T. BURNS                      ADDRESS ON FILE
MR. AND MRS. JOSEPH T. FALLON, SR.                ADDRESS ON FILE
MR. AND MRS. JULIUS GINSBURG                      ADDRESS ON FILE
MR. AND MRS. KENNETH DEROLF                       ADDRESS ON FILE
MR. AND MRS. KENNETH ROSENBERG                    ADDRESS ON FILE
MR. AND MRS. KENNETH S. KAISERMAN                 ADDRESS ON FILE
MR. AND MRS. KEVIN C. COSTELLO                    ADDRESS ON FILE
MR. AND MRS. KEVIN CARACCIOLO                     ADDRESS ON FILE
MR. AND MRS. KEVIN F. BEATTY                      ADDRESS ON FILE
MR. AND MRS. KINGSLEY SEMLER                      ADDRESS ON FILE
MR. AND MRS. KULENDU BOLE                         ADDRESS ON FILE
MR. AND MRS. LANCE FUNSTON                        ADDRESS ON FILE
MR. AND MRS. LARRY GOLDBERG                       ADDRESS ON FILE
MR. AND MRS. LAWRENCE A. NESS                     ADDRESS ON FILE
MR. AND MRS. LAWRENCE CASCIANO                    ADDRESS ON FILE
MR. AND MRS. LAWRENCE DOUGHERTY                   ADDRESS ON FILE
MR. AND MRS. LAWRENCE F. ABRAMOVITZ               ADDRESS ON FILE
MR. AND MRS. LEE L. ROMM                          ADDRESS ON FILE
MR. AND MRS. LEE SHAFER                           ADDRESS ON FILE
MR. AND MRS. LEO KATZ                             ADDRESS ON FILE
MR. AND MRS. LEON LUSTERMAN                       ADDRESS ON FILE
MR. AND MRS. LEONARD C. PLOENER                   ADDRESS ON FILE
MR. AND MRS. LEONARD FELDMAN                      ADDRESS ON FILE
MR. AND MRS. LEONARD R. KLAUS                     ADDRESS ON FILE
MR. AND MRS. LEONARD VOYNOW                       ADDRESS ON FILE
MR. AND MRS. LEWIS G. LAMPLUGH                    ADDRESS ON FILE
MR. AND MRS. LOU DORFSMAN                         ADDRESS ON FILE
MR. AND MRS. LOUIS A. MANCINI                     ADDRESS ON FILE
MR. AND MRS. LOUIS E. SELTZER                     ADDRESS ON FILE
MR. AND MRS. LOUIS F. DEVLIEGER                   ADDRESS ON FILE
MR. AND MRS. LOUIS R. LIBERIO                     ADDRESS ON FILE




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               Creditor Name           Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
MR. AND MRS. LUKE RICHARDSON                       ADDRESS ON FILE
MR. AND MRS. M. F. PARRISH                         ADDRESS ON FILE
MR. AND MRS. M. WAYNE JOHNSON                      ADDRESS ON FILE
MR. AND MRS. MALCOLM M. BLUMBERG                   ADDRESS ON FILE
MR. AND MRS. MANFRED GALGON                        ADDRESS ON FILE
MR. AND MRS. MANFRED P. SCHURER                    ADDRESS ON FILE
MR. AND MRS. MARC S. CORNBLATT                     ADDRESS ON FILE
MR. AND MRS. MARK C. BEATTY                        ADDRESS ON FILE
MR. AND MRS. MARK C. WESOSKI                       ADDRESS ON FILE
MR. AND MRS. MARK DRIADON                          ADDRESS ON FILE
MR. AND MRS. MARK E. RUBENSTEIN                    ADDRESS ON FILE
MR. AND MRS. MARK I. KLUGER                        ADDRESS ON FILE
MR. AND MRS. MARK L. KIRSZNER                      ADDRESS ON FILE
MR. AND MRS. MARK W. OBRIEN                        ADDRESS ON FILE
MR. AND MRS. MARSHALL A. BERNSTEIN                 ADDRESS ON FILE
MR. AND MRS. MARSHALL LITTMAN                      ADDRESS ON FILE
MR. AND MRS. MARTIN B. MALONY                      ADDRESS ON FILE
MR. AND MRS. MARTIN B. RAAB                        ADDRESS ON FILE
MR. AND MRS. MARTIN H. SCHULTZ                     ADDRESS ON FILE
MR. AND MRS. MARTIN SHINDLER                       ADDRESS ON FILE
MR. AND MRS. MARTIN SUSSMAN                        ADDRESS ON FILE
MR. AND MRS. MARVIN E. BLACK                       ADDRESS ON FILE
MR. AND MRS. MATT CLARK                            ADDRESS ON FILE
MR. AND MRS. MATTHEW D. DUPEE                      ADDRESS ON FILE
MR. AND MRS. MATTHEW J. FANELLI, JR.               ADDRESS ON FILE
MR. AND MRS. MAURICE W. HAHN                       ADDRESS ON FILE
MR. AND MRS. MAX A. KOCH, JR.                      ADDRESS ON FILE
MR. AND MRS. MAX COHEN                             ADDRESS ON FILE
MR. AND MRS. MELVIN ROBERTSON                      ADDRESS ON FILE
MR. AND MRS. MICHAEL B. ALBERT                     ADDRESS ON FILE
MR. AND MRS. MICHAEL B. PAVEL                      ADDRESS ON FILE
MR. AND MRS. MICHAEL DRAKE                         ADDRESS ON FILE
MR. AND MRS. MICHAEL F. DAILEY                     ADDRESS ON FILE
MR. AND MRS. MICHAEL F. WRIGHT                     ADDRESS ON FILE
MR. AND MRS. MICHAEL J. MANZI                      ADDRESS ON FILE
MR. AND MRS. MICHAEL J. MCGUGAN                    ADDRESS ON FILE
MR. AND MRS. MICHAEL J. MCKENNA                    ADDRESS ON FILE
MR. AND MRS. MICHAEL MCCURDY                       ADDRESS ON FILE
MR. AND MRS. MICHAEL R. GROTHMAN                   ADDRESS ON FILE
MR. AND MRS. MICHAEL ROTKO                         ADDRESS ON FILE
MR. AND MRS. MICHAEL W. LAPERGOLA                  ADDRESS ON FILE
MR. AND MRS. MICHAEL W. SPEIDEL                    ADDRESS ON FILE
MR. AND MRS. MOREYE NUSBAUM                        ADDRESS ON FILE
MR. AND MRS. MORT WALKER                           ADDRESS ON FILE
MR. AND MRS. MYER SCHWARTZ                         ADDRESS ON FILE
MR. AND MRS. NEIL CARVER                           ADDRESS ON FILE
MR. AND MRS. NEWLIN BOOTH                          ADDRESS ON FILE
MR. AND MRS. NICHOLAS J. HILOSKY                   ADDRESS ON FILE
MR. AND MRS. NORMAN D. LEEBRON                     ADDRESS ON FILE
MR. AND MRS. NORMAN GROSS                          ADDRESS ON FILE
MR. AND MRS. NORMAN MARINOFF                       ADDRESS ON FILE
MR. AND MRS. OREST KINDRACHUK                      ADDRESS ON FILE
MR. AND MRS. OZZIE KRUG                            ADDRESS ON FILE
MR. AND MRS. P.J. BAGLEY                           ADDRESS ON FILE
MR. AND MRS. PAUL DEEGAN                           ADDRESS ON FILE
MR. AND MRS. PAUL HORNING                          ADDRESS ON FILE
MR. AND MRS. PAUL J. SIERACKI                      ADDRESS ON FILE
MR. AND MRS. PAUL J. SYNNAMON                      ADDRESS ON FILE
MR. AND MRS. PAUL K. GOLDBERG                      ADDRESS ON FILE
MR. AND MRS. PAUL MCKELVIE                         ADDRESS ON FILE
MR. AND MRS. PAUL SILBERBERG                       ADDRESS ON FILE
MR. AND MRS. PAUL TAUFER                           ADDRESS ON FILE
MR. AND MRS. PERRY F. RICHMAN                      ADDRESS ON FILE
MR. AND MRS. PETER D. CRAWFORD                     ADDRESS ON FILE
MR. AND MRS. PETER HEARN                           ADDRESS ON FILE
MR. AND MRS. PETER NOCITO                          ADDRESS ON FILE
MR. AND MRS. PETER T. FALCHETTA                    ADDRESS ON FILE
MR. AND MRS. R. HYMAN                              ADDRESS ON FILE




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               Creditor Name           Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
MR. AND MRS. RANDY AYOOB                           ADDRESS ON FILE
MR. AND MRS. RAYMOND J. HANSELL                    ADDRESS ON FILE
MR. AND MRS. RAYMOND J. SHOEMAKER                  ADDRESS ON FILE
MR. AND MRS. RICHARD A. SWINNEY                    ADDRESS ON FILE
MR. AND MRS. RICHARD COLLIER                       ADDRESS ON FILE
MR. AND MRS. RICHARD F. GULAS                      ADDRESS ON FILE
MR. AND MRS. RICHARD FALCONE                       ADDRESS ON FILE
MR. AND MRS. RICHARD FOWLER                        ADDRESS ON FILE
MR. AND MRS. RICHARD J. FLASTER                    ADDRESS ON FILE
MR. AND MRS. RICHARD L. TREVLYN                    ADDRESS ON FILE
MR. AND MRS. RICHARD M. BROWN                      ADDRESS ON FILE
MR. AND MRS. RICHARD M. MELTZER                    ADDRESS ON FILE
MR. AND MRS. RICHARD N. DOWNING                    ADDRESS ON FILE
MR. AND MRS. RICHARD PRENDERGAST                   ADDRESS ON FILE
MR. AND MRS. RICHARD R. MOORE                      ADDRESS ON FILE
MR. AND MRS. RICHARD ROMANO                        ADDRESS ON FILE
MR. AND MRS. RICHARD S. WEBB                       ADDRESS ON FILE
MR. AND MRS. RICHARD SALAMAN                       ADDRESS ON FILE
MR. AND MRS. RICHARD SCHAD                         ADDRESS ON FILE
MR. AND MRS. RICHARD W. STRAUSS                    ADDRESS ON FILE
MR. AND MRS. ROBERT A. GRIFFITH                    ADDRESS ON FILE
MR. AND MRS. ROBERT A. SICA                        ADDRESS ON FILE
MR. AND MRS. ROBERT A. SNODGRASS                   ADDRESS ON FILE
MR. AND MRS. ROBERT BENSON                         ADDRESS ON FILE
MR. AND MRS. ROBERT BILLER                         ADDRESS ON FILE
MR. AND MRS. ROBERT BLUMENTHAL                     ADDRESS ON FILE
MR. AND MRS. ROBERT CLASTER                        ADDRESS ON FILE
MR. AND MRS. ROBERT DE HAAN                        ADDRESS ON FILE
MR. AND MRS. ROBERT DECKER                         ADDRESS ON FILE
MR. AND MRS. ROBERT E. DANIELS                     ADDRESS ON FILE
MR. AND MRS. ROBERT EAMER                          ADDRESS ON FILE
MR. AND MRS. ROBERT F. HASKELL                     ADDRESS ON FILE
MR. AND MRS. ROBERT GRANT, JR.                     ADDRESS ON FILE
MR. AND MRS. ROBERT H. STROUSE                     ADDRESS ON FILE
MR. AND MRS. ROBERT J. CORCORAN                    ADDRESS ON FILE
MR. AND MRS. ROBERT J. LEONETTI                    ADDRESS ON FILE
MR. AND MRS. ROBERT J. OLDRATI                     ADDRESS ON FILE
MR. AND MRS. ROBERT KELLY                          ADDRESS ON FILE
MR. AND MRS. ROBERT L. AMON                        ADDRESS ON FILE
MR. AND MRS. ROBERT L. HARTLEY                     ADDRESS ON FILE
MR. AND MRS. ROBERT L. STRAIGHT                    ADDRESS ON FILE
MR. AND MRS. ROBERT MCFADDEN                       ADDRESS ON FILE
MR. AND MRS. ROBERT MCINTYRE                       ADDRESS ON FILE
MR. AND MRS. ROBERT P. KRAUSS                      ADDRESS ON FILE
MR. AND MRS. ROBERT POLLACK                        ADDRESS ON FILE
MR. AND MRS. ROBERT S. BASS                        ADDRESS ON FILE
MR. AND MRS. ROBERT SHERMAN                        ADDRESS ON FILE
MR. AND MRS. ROBERT WEINBERG                       ADDRESS ON FILE
MR. AND MRS. ROBERT WEKLER                         ADDRESS ON FILE
MR. AND MRS. ROGER H. STANLEY                      ADDRESS ON FILE
MR. AND MRS. ROLAND WEINERT                        ADDRESS ON FILE
MR. AND MRS. RON TUCKER                            ADDRESS ON FILE
MR. AND MRS. RONALD ADELMAN                        ADDRESS ON FILE
MR. AND MRS. RONALD DUBIN                          ADDRESS ON FILE
MR. AND MRS. RONALD E. RICE                        ADDRESS ON FILE
MR. AND MRS. RONALD F. SMITH                       ADDRESS ON FILE
MR. AND MRS. RONALD J. PRITCHETT                   ADDRESS ON FILE
MR. AND MRS. RONALD MELTZER                        ADDRESS ON FILE
MR. AND MRS. RONALD POLLACK                        ADDRESS ON FILE
MR. AND MRS. RONALD R. HARDY                       ADDRESS ON FILE
MR. AND MRS. RONALD S. LIEBMAN                     ADDRESS ON FILE
MR. AND MRS. RONN AKINS                            ADDRESS ON FILE
MR. AND MRS. ROY A. SUPERIOR                       ADDRESS ON FILE
MR. AND MRS. ROY ALLEN                             ADDRESS ON FILE
MR. AND MRS. ROY PEREZ-DAPLE                       ADDRESS ON FILE
MR. AND MRS. ROY R. BITTERLICH                     ADDRESS ON FILE
MR. AND MRS. RUSSELL D. MEHRTENS                   ADDRESS ON FILE
MR. AND MRS. S. PHILIP RANDOLPH, III               ADDRESS ON FILE




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              Creditor Name             Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
MR. AND MRS. SAL A. PAOLANTONIO                     ADDRESS ON FILE
MR. AND MRS. SAM DENNIS                             ADDRESS ON FILE
MR. AND MRS. SAMUEL A. LEIBMAN                      ADDRESS ON FILE

MR. AND MRS. SAMUEL AND MIALSHA BROWN               ADDRESS ON FILE
MR. AND MRS. SAMUEL CURCHACK                        ADDRESS ON FILE
MR. AND MRS. SAMUEL NASH                            ADDRESS ON FILE
MR. AND MRS. SAMUEL RABINOWITZ                      ADDRESS ON FILE
MR. AND MRS. SAMUEL WELCOVITZ                       ADDRESS ON FILE
MR. AND MRS. SCOTT MCCAW                            ADDRESS ON FILE
MR. AND MRS. SENDER HOFFMAN                         ADDRESS ON FILE
MR. AND MRS. SEYMOUR Z. MANN                        ADDRESS ON FILE
MR. AND MRS. SHELDON M. LEWIS                       ADDRESS ON FILE
MR. AND MRS. SHERMAN FRANK                          ADDRESS ON FILE
MR. AND MRS. SIDNEY E. GOSSER                       ADDRESS ON FILE
MR. AND MRS. SIDNEY OFFIT                           ADDRESS ON FILE
MR. AND MRS. SIDNEY W. ALBERT                       ADDRESS ON FILE
MR. AND MRS. SOL KATZ                               ADDRESS ON FILE
MR. AND MRS. SOL STEINGARD                          ADDRESS ON FILE
MR. AND MRS. SPENCER H. HERMAN                      ADDRESS ON FILE
MR. AND MRS. STANLEY BORNSTEIN                      ADDRESS ON FILE
MR. AND MRS. STANLEY W. COHEN                       ADDRESS ON FILE
MR. AND MRS. STEPHEN C. REICH                       ADDRESS ON FILE
MR. AND MRS. STEPHEN FINGERET                       ADDRESS ON FILE
MR. AND MRS. STEPHEN GREENBERG                      ADDRESS ON FILE
MR. AND MRS. STEPHEN I. GOLDSTEIN                   ADDRESS ON FILE
MR. AND MRS. STEPHEN J. MILLER                      ADDRESS ON FILE
MR. AND MRS. STEPHEN LAROUCHE                       ADDRESS ON FILE
MR. AND MRS. STEPHEN N. SHAPIRO                     ADDRESS ON FILE
MR. AND MRS. STEPHEN W. WOLFROM                     ADDRESS ON FILE
MR. AND MRS. STEVE JUSICK                           ADDRESS ON FILE
MR. AND MRS. STEVE PASQUINI                         ADDRESS ON FILE
MR. AND MRS. STEVEN J. COPER                        ADDRESS ON FILE
MR. AND MRS. STEVEN J. MYNAUGH                      ADDRESS ON FILE
MR. AND MRS. STEVEN M. KOSZELAK                     ADDRESS ON FILE
MR. AND MRS. STEVEN R. WILLIAMS                     ADDRESS ON FILE
MR. AND MRS. THOMAS C. MOORE, JR.                   ADDRESS ON FILE
MR. AND MRS. THOMAS DOWNING, JR.                    ADDRESS ON FILE
MR. AND MRS. THOMAS DUNNE                           ADDRESS ON FILE
MR. AND MRS. THOMAS E. MAAS                         ADDRESS ON FILE
MR. AND MRS. THOMAS F. MCLAUGHLIN                   ADDRESS ON FILE
MR. AND MRS. THOMAS FLEMING                         ADDRESS ON FILE
MR. AND MRS. THOMAS H. BAKER                        ADDRESS ON FILE
MR. AND MRS. THOMAS J. DIROCCO                      ADDRESS ON FILE
MR. AND MRS. THOMAS J. FARRELL                      ADDRESS ON FILE
MR. AND MRS. THOMAS J. GIACABETTI                   ADDRESS ON FILE
MR. AND MRS. THOMAS W. GRUNSTRA                     ADDRESS ON FILE
MR. AND MRS. THOMAS WALLACE                         ADDRESS ON FILE
MR. AND MRS. TIMOTHY J. BURNAZ                      ADDRESS ON FILE
MR. AND MRS. TIMOTHY P. MCGOVERN                    ADDRESS ON FILE
MR. AND MRS. TOM MAKOVSKY                           ADDRESS ON FILE
MR. AND MRS. VINCENT E. CANNIZZARO                  ADDRESS ON FILE
MR. AND MRS. VINCENT SCULLI                         ADDRESS ON FILE
MR. AND MRS. VITO CASIELLO                          ADDRESS ON FILE
MR. AND MRS. WALTER FAIR                            ADDRESS ON FILE
MR. AND MRS. WALTER J. FOX, JR.                     ADDRESS ON FILE
MR. AND MRS. WALTER R. SZYCHULSKI                   ADDRESS ON FILE
MR. AND MRS. WARREN RIVELL                          ADDRESS ON FILE
MR. AND MRS. WILBUR A. GEIGER                       ADDRESS ON FILE
MR. AND MRS. WILBUR L. KIPNES                       ADDRESS ON FILE
MR. AND MRS. WILBUR S. HALL                         ADDRESS ON FILE
MR. AND MRS. WILFRED WILLIAMS                       ADDRESS ON FILE
MR. AND MRS. WILLIAM A. ROSOFF                      ADDRESS ON FILE
MR. AND MRS. WILLIAM AUST                           ADDRESS ON FILE
MR. AND MRS. WILLIAM BOWMAN                         ADDRESS ON FILE
MR. AND MRS. WILLIAM C. BUSARELLO                   ADDRESS ON FILE
MR. AND MRS. WILLIAM CHAMBERS                       ADDRESS ON FILE
MR. AND MRS. WILLIAM DIFLORIO                       ADDRESS ON FILE




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               Creditor Name          Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
MR. AND MRS. WILLIAM E. ROCHELLE                  ADDRESS ON FILE
MR. AND MRS. WILLIAM E. SONON                     ADDRESS ON FILE
MR. AND MRS. WILLIAM F. GARTON                    ADDRESS ON FILE
MR. AND MRS. WILLIAM H. HALLAHAN                  ADDRESS ON FILE
MR. AND MRS. WILLIAM H. HELFAND                   ADDRESS ON FILE
MR. AND MRS. WILLIAM KREWSON                      ADDRESS ON FILE
MR. AND MRS. WILLIAM L. BAY                       ADDRESS ON FILE
MR. AND MRS. WILLIAM M. OAKES                     ADDRESS ON FILE
MR. AND MRS. WILLIAM MEURER                       ADDRESS ON FILE
MR. AND MRS. WILLIAM MOORE                        ADDRESS ON FILE
MR. AND MRS. WILLIAM MUNICH                       ADDRESS ON FILE
MR. AND MRS. WILLIAM P. KLAUDER                   ADDRESS ON FILE
MR. AND MRS. WILLIAM P. MORRISON                  ADDRESS ON FILE
MR. AND MRS. WILLIAM QUAILE                       ADDRESS ON FILE
MR. AND MRS. WILLIAM SWIFT                        ADDRESS ON FILE
MR. AND MRS. WOLFGANG RAPP                        ADDRESS ON FILE
MR. AND MRS. ZDZISLAW J. KONOPELSKY               ADDRESS ON FILE
MR. ANDRE V. DANAO 1972                           ADDRESS ON FILE
MR. ANDRES GONZALEZ 2011                          ADDRESS ON FILE
MR. ANDREW BUTRICA                                ADDRESS ON FILE
MR. ANDREW CARR                                   ADDRESS ON FILE
MR. ANDREW COX                                    ADDRESS ON FILE
MR. ANDREW D. REMENTER 2004                       ADDRESS ON FILE
MR. ANDREW E. BROWN 1978                          ADDRESS ON FILE
MR. ANDREW E. MCQUISTON 2011                      ADDRESS ON FILE
MR. ANDREW FRIED                                  ADDRESS ON FILE
MR. ANDREW ISKOWITZ 1990                          ADDRESS ON FILE
MR. ANDREW J. BASILE                              ADDRESS ON FILE
MR. ANDREW KLEEMAN                                ADDRESS ON FILE
MR. ANDREW MOCERI, JR.                            ADDRESS ON FILE
MR. ANDREW PACK                                   ADDRESS ON FILE
MR. ANDREW PAP                                    ADDRESS ON FILE
MR. ANDREW PEARLSTEIN                             ADDRESS ON FILE
MR. ANDREW R. HOROWITZ                            ADDRESS ON FILE
MR. ANDREW R. WHEELER 2001                        ADDRESS ON FILE
MR. ANDREW S. KAHN                                ADDRESS ON FILE
MR. ANDREW VELASQUEZ                              ADDRESS ON FILE
MR. ANDY KEISER                                   ADDRESS ON FILE
MR. ANGELO BIER                                   ADDRESS ON FILE
MR. ANTHONY A. DEGREGORIO, IV 2011                ADDRESS ON FILE
MR. ANTHONY B. CLARK                              ADDRESS ON FILE
MR. ANTHONY B. MUIDERMAN                          ADDRESS ON FILE
MR. ANTHONY C. SALICANDRO 1975                    ADDRESS ON FILE
MR. ANTHONY CELENZA                               ADDRESS ON FILE
MR. ANTHONY COCCIA 1987                           ADDRESS ON FILE
MR. ANTHONY CULPEPPER                             ADDRESS ON FILE
MR. ANTHONY D. CARDILLO                           ADDRESS ON FILE
MR. ANTHONY D. CORCETTO 1954                      ADDRESS ON FILE
MR. ANTHONY DAMIANI                               ADDRESS ON FILE
MR. ANTHONY G. KYRIAKAKIS                         ADDRESS ON FILE
MR. ANTHONY J. BONANNO                            ADDRESS ON FILE
MR. ANTHONY J. DESANTIS 1985                      ADDRESS ON FILE
MR. ANTHONY J. SCIOLLA, JR.                       ADDRESS ON FILE
MR. ANTHONY L. MICELI 1982                        ADDRESS ON FILE
MR. ANTHONY LEVATO, JR.                           ADDRESS ON FILE
MR. ANTHONY PIRES                                 ADDRESS ON FILE
MR. ANTHONY R. ALBERTO                            ADDRESS ON FILE
MR. ANTHONY SANSOTTA 1969                         ADDRESS ON FILE
MR. ANTHONY SINISCALCO                            ADDRESS ON FILE
MR. ANTHONY VISCO 1970                            ADDRESS ON FILE
MR. ANTHONY W. DARNELL 1999                       ADDRESS ON FILE
MR. ANTHONY YOUNG                                 ADDRESS ON FILE
MR. ANTONIO C. SCOTT 1989                         ADDRESS ON FILE
MR. ANTONIO C. WRIGHT 2018                        ADDRESS ON FILE
MR. ARNOLD NEWMAN                                 ADDRESS ON FILE
MR. ARNOLD ROTH 1950                              ADDRESS ON FILE
MR. ART SPIKOL 1962                               ADDRESS ON FILE
MR. ARTHUR EDELL                                  ADDRESS ON FILE




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                Creditor Name     Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
MR. ARTHUR KARAFIN                            ADDRESS ON FILE
MR. ARTHUR KLEIN                              ADDRESS ON FILE
MR. ARTHUR L. TAYLOR 1990                     ADDRESS ON FILE
MR. ARTHUR M. CHARRINGTON, III                ADDRESS ON FILE
MR. ARTHUR P. LEIBY 1979                      ADDRESS ON FILE
MR. ARTHUR S. HILLMAN 1966                    ADDRESS ON FILE
MR. AUGUSTE ELDER 1992                        ADDRESS ON FILE
MR. AUGUSTINO J. RUSSO                        ADDRESS ON FILE
MR. AVE PILDAS                                ADDRESS ON FILE
MR. B. ANDREW SCHMUCKER                       ADDRESS ON FILE
MR. BAIN ZIETLOW 1997                         ADDRESS ON FILE
MR. BARRY E. MOSCOWITZ                        ADDRESS ON FILE
MR. BARRY FEINBERG                            ADDRESS ON FILE
MR. BARRY G. SEELIG 1966                      ADDRESS ON FILE
MR. BARRY J. HALLENBECK 1983                  ADDRESS ON FILE
MR. BARRY L. WEISMAN                          ADDRESS ON FILE
MR. BARRY M. EISENBERG                        ADDRESS ON FILE
MR. BARRY MILBERG                             ADDRESS ON FILE
MR. BARRY PARKER                              ADDRESS ON FILE
MR. BARRY R. CASTLE 1965                      ADDRESS ON FILE
MR. BASIL A. BALDINO                          ADDRESS ON FILE
MR. BAZIL A. FINDLAY 1991                     ADDRESS ON FILE
MR. BEAU VAN DONKELAAR 1998                   ADDRESS ON FILE
MR. BEN FISCHER                               ADDRESS ON FILE
MR. BEN HAWKINS                               ADDRESS ON FILE
MR. BEN P. KUYPER 2011                        ADDRESS ON FILE
MR. BENEDICT R. DANGIO 1955                   ADDRESS ON FILE
MR. BENJAMIN ALEXANDER                        ADDRESS ON FILE
MR. BENJAMIN D. DIBBLE 2000                   ADDRESS ON FILE
MR. BENJAMIN D. GREENFIELD 1991               ADDRESS ON FILE
MR. BENJAMIN E. ZUCKERMAN                     ADDRESS ON FILE
MR. BENJAMIN F. BROTMAN 2013                  ADDRESS ON FILE
MR. BENJAMIN HARTER-MURPHY 2014               ADDRESS ON FILE
MR. BENJAMIN MICALE                           ADDRESS ON FILE
MR. BENJAMIN PRAGER 1998                      ADDRESS ON FILE
MR. BENJAMIN STRAUSS                          ADDRESS ON FILE
MR. BERNARD D. GOLLOTTI 1985                  ADDRESS ON FILE
MR. BERNARD JACOBSON                          ADDRESS ON FILE
MR. BERNARD M. CORONA 1960                    ADDRESS ON FILE
MR. BERNARD N. BROWNSTEIN 1957                ADDRESS ON FILE
MR. BERNARD W. GROFF                          ADDRESS ON FILE
MR. BERWYN HUNG 1997                          ADDRESS ON FILE
MR. BETH MCELROY                              ADDRESS ON FILE
MR. BILL KELLER                               ADDRESS ON FILE
MR. BILL PILLING 1970                         ADDRESS ON FILE
MR. BILL ROSE                                 ADDRESS ON FILE
MR. BLAKE JENNELLE                            ADDRESS ON FILE
MR. BOB W. WESCOTT 1953                       ADDRESS ON FILE
MR. BRAD CANNING                              ADDRESS ON FILE
MR. BRADFORD A. KEAR 1991                     ADDRESS ON FILE
MR. BRADFORD G. BAL                           ADDRESS ON FILE
MR. BRADLEY E. GAST 1973                      ADDRESS ON FILE
MR. BRADLEY K. MOSS                           ADDRESS ON FILE
MR. BRAHM WENGER                              ADDRESS ON FILE
MR. BRANDON R. SAX 2014                       ADDRESS ON FILE
MR. BRENT FRIEDMAN                            ADDRESS ON FILE
MR. BRENTON MCCLOSKEY                         ADDRESS ON FILE
MR. BRETT BARENHOLTZ                          ADDRESS ON FILE
MR. BRETT BARRICK                             ADDRESS ON FILE
MR. BRETT FOXMAN                              ADDRESS ON FILE
MR. BRETT KRASNOV                             ADDRESS ON FILE
MR. BRIAN A. STONE 2011                       ADDRESS ON FILE
MR. BRIAN BIGGS                               ADDRESS ON FILE
MR. BRIAN C. JOHNS                            ADDRESS ON FILE
MR. BRIAN C. OBERG 2004                       ADDRESS ON FILE
MR. BRIAN D. VASILIK 1989                     ADDRESS ON FILE
MR. BRIAN DEMBOW                              ADDRESS ON FILE
MR. BRIAN DEROSS                              ADDRESS ON FILE




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                Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
MR. BRIAN EFFRON                            ADDRESS ON FILE
MR. BRIAN G. BAGNALL                        ADDRESS ON FILE
MR. BRIAN HAINSTOCK                         ADDRESS ON FILE
MR. BRIAN HAMILTON                          ADDRESS ON FILE
MR. BRIAN J. CALLAHAN 1988                  ADDRESS ON FILE
MR. BRIAN J. VOGT                           ADDRESS ON FILE
MR. BRIAN L. CLEMENTS 2010                  ADDRESS ON FILE
MR. BRIAN LINCICOME                         ADDRESS ON FILE
MR. BRIAN M. ELSTEIN 2012                   ADDRESS ON FILE
MR. BRIAN P. MULVIHILL                      ADDRESS ON FILE
MR. BRIAN PASTOR                            ADDRESS ON FILE
MR. BRIAN PETERSON                          ADDRESS ON FILE
MR. BRIAN STONE 1985                        ADDRESS ON FILE
MR. BRIAN YETZER                            ADDRESS ON FILE
MR. BRITTON MURDOCH                         ADDRESS ON FILE
MR. BROOK J. LENFEST                        ADDRESS ON FILE
MR. BRUCE A. STIGLICH 1973                  ADDRESS ON FILE
MR. BRUCE F. BOGNER                         ADDRESS ON FILE
MR. BRUCE I. MEADER                         ADDRESS ON FILE
MR. BRUCE J. RANSONE 1999                   ADDRESS ON FILE
MR. BRUCE J. SANTINO 1980                   ADDRESS ON FILE
MR. BRUCE JERNICK                           ADDRESS ON FILE
MR. BRUCE KARDON                            ADDRESS ON FILE
MR. BRUCE KARLIN                            ADDRESS ON FILE
MR. BRUCE LETO                              ADDRESS ON FILE
MR. BRUCE LEVSON                            ADDRESS ON FILE
MR. BRUCE M. BAKER 1968                     ADDRESS ON FILE
MR. BRUCE R. IACONO 1978                    ADDRESS ON FILE
MR. BRUCE RAUFFENBART 1973                  ADDRESS ON FILE
MR. BRUCE SCHIMMEL                          ADDRESS ON FILE
MR. BRUCE W. BULGER 1971                    ADDRESS ON FILE
MR. BRYAN DANSBERRY                         ADDRESS ON FILE
MR. BRYAN PRINCIPE                          ADDRESS ON FILE
MR. BRYN BARNARD                            ADDRESS ON FILE
MR. BURTON E. VAN DEUSEN 1971               ADDRESS ON FILE
MR. BURTON HERSH                            ADDRESS ON FILE
MR. C. BAIRD BROWN                          ADDRESS ON FILE
MR. C. R. CLIFTON                           ADDRESS ON FILE
MR. C. R. WYSS                              ADDRESS ON FILE
MR. C. T. LEWIS 1988                        ADDRESS ON FILE
MR. CALVIN WATSON                           ADDRESS ON FILE
MR. CAMERON J. ZONFRILLI 2005               ADDRESS ON FILE
MR. CARL ANDERSON                           ADDRESS ON FILE
MR. CARL E. HANSON                          ADDRESS ON FILE
MR. CARL G. MAGNUSSON                       ADDRESS ON FILE
MR. CARL GILBERT                            ADDRESS ON FILE
MR. CARL J. GENNA, JR. 1960                 ADDRESS ON FILE
MR. CARLOS GARCIA                           ADDRESS ON FILE
MR. CARMEN DEE                              ADDRESS ON FILE
MR. CARSON FOX                              ADDRESS ON FILE
MR. CASEY M. MCDONOUGH 2015                 ADDRESS ON FILE
MR. CEDRIC N. ELMER 1966                    ADDRESS ON FILE
MR. CHAD L. SCHEIFELE 2009                  ADDRESS ON FILE
MR. CHARLES A. KEENAN 1988                  ADDRESS ON FILE
MR. CHARLES A. PHILLIPS 1993                ADDRESS ON FILE
MR. CHARLES B. GRACE, JR.                   ADDRESS ON FILE
MR. CHARLES BROWNING                        ADDRESS ON FILE
MR. CHARLES CONWELL                         ADDRESS ON FILE
MR. CHARLES DALY                            ADDRESS ON FILE
MR. CHARLES E. HOLLINGER                    ADDRESS ON FILE
MR. CHARLES E. MATHER, III                  ADDRESS ON FILE
MR. CHARLES E. ROSNER 1966                  ADDRESS ON FILE
MR. CHARLES FIGLOW                          ADDRESS ON FILE
MR. CHARLES J. EISER                        ADDRESS ON FILE
MR. CHARLES J. ESSIG 1963                   ADDRESS ON FILE
MR. CHARLES J. GALLAGHER                    ADDRESS ON FILE
MR. CHARLES J. ORTIZ 2004                   ADDRESS ON FILE
MR. CHARLES J. WALTER, III                  ADDRESS ON FILE




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                 Creditor Name        Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
MR. CHARLES K. WHITE                              ADDRESS ON FILE
MR. CHARLES L. GILBERT                            ADDRESS ON FILE
MR. CHARLES MCCAFFERTY, JR.                       ADDRESS ON FILE
MR. CHARLES N. MORE 1976                          ADDRESS ON FILE
MR. CHARLES R. FLEXON, JR.                        ADDRESS ON FILE
MR. CHARLES R. LEWIS, JR. 1983                    ADDRESS ON FILE
MR. CHARLES S. TOTARO, JR. 1968                   ADDRESS ON FILE
MR. CHARLES SEELIG                                ADDRESS ON FILE
MR. CHARLES W. RUDY, III 1991                     ADDRESS ON FILE
MR. CHRIS B. WEHBA 2014                           ADDRESS ON FILE
MR. CHRIS HALLENBECK                              ADDRESS ON FILE
MR. CHRIS J. MEYER                                ADDRESS ON FILE
MR. CHRIS MOORE                                   ADDRESS ON FILE
MR. CHRIS MYERS                                   ADDRESS ON FILE
MR. CHRIS OATES                                   ADDRESS ON FILE
MR. CHRIS OLSEN                                   ADDRESS ON FILE
MR. CHRIS PESOTSKI                                ADDRESS ON FILE
MR. CHRIS T. FARR 1994                            ADDRESS ON FILE
MR. CHRISOPHER ALBANESE                           ADDRESS ON FILE
MR. CHRISTIAN C. PATCHELL, JR. 1995               ADDRESS ON FILE
MR. CHRISTIAN G. WISE 1987                        ADDRESS ON FILE
MR. CHRISTIAN M. MUNOZ 1996                       ADDRESS ON FILE
MR. CHRISTINE MORRIS 2010                         ADDRESS ON FILE
MR. CHRISTOPHER A. CASTILLO 2014                  ADDRESS ON FILE
MR. CHRISTOPHER BECHEN                            ADDRESS ON FILE
MR. CHRISTOPHER C. DARWAY 1970                    ADDRESS ON FILE
MR. CHRISTOPHER ERTELT                            ADDRESS ON FILE
MR. CHRISTOPHER G. MURRAY                         ADDRESS ON FILE
MR. CHRISTOPHER H. MICH 1994                      ADDRESS ON FILE
MR. CHRISTOPHER J. HOUSTON 2006                   ADDRESS ON FILE
MR. CHRISTOPHER J. ROBERTSON 2012                 ADDRESS ON FILE
MR. CHRISTOPHER J. ROONEY 2001                    ADDRESS ON FILE
MR. CHRISTOPHER JANIS                             ADDRESS ON FILE
MR. CHRISTOPHER M. MANION                         ADDRESS ON FILE
MR. CHRISTOPHER P. GARVIN                         ADDRESS ON FILE
MR. CHRISTOPHER QUAILE                            ADDRESS ON FILE
MR. CHRISTOPHER R. HOWIE                          ADDRESS ON FILE
MR. CHRISTOPHER R. TAYLOR                         ADDRESS ON FILE
MR. CHRISTOPHER RANSOM 1982                       ADDRESS ON FILE
MR. CHRISTOPHER SACCO                             ADDRESS ON FILE
MR. CLARENCE E. COX                               ADDRESS ON FILE
MR. CLARENCE TRENDA                               ADDRESS ON FILE
MR. CLEMMER MONTAGUE                              ADDRESS ON FILE
MR. CLIFFORD BERMAN                               ADDRESS ON FILE
MR. CLIFFORD STEVENS                              ADDRESS ON FILE
MR. CLIFTON H. ANDERSON 1969                      ADDRESS ON FILE
MR. CLINTON G. SHARMAN                            ADDRESS ON FILE
MR. COLLETTE A. TOMPKINS 2014                     ADDRESS ON FILE
MR. CONNOR B. SENNING 2013                        ADDRESS ON FILE
MR. CRAIG BROWNLIE                                ADDRESS ON FILE
MR. CRAIG D. THOMAS 1976                          ADDRESS ON FILE
MR. CRAIG T. PARRILLO 2005                        ADDRESS ON FILE
MR. CURTIS A. NOUCHI 2012                         ADDRESS ON FILE
MR. CURTIS E. BROWN 1970                          ADDRESS ON FILE
MR. D. C. LE VINE                                 ADDRESS ON FILE
MR. DALE E. MOYER 1969                            ADDRESS ON FILE
MR. DALE E. SHIFFER                               ADDRESS ON FILE
MR. DAMASO GALLMAN                                ADDRESS ON FILE
MR. DAN DRAKE                                     ADDRESS ON FILE
MR. DAN H. ONEIL 2010                             ADDRESS ON FILE
MR. DAN HALBERSTADT                               ADDRESS ON FILE
MR. DAN HOLMES                                    ADDRESS ON FILE
MR. DAN O. DAILEY 1969                            ADDRESS ON FILE
MR. DANIEL A. LEVINSON 1982                       ADDRESS ON FILE
MR. DANIEL A. ORLOCK                              ADDRESS ON FILE
MR. DANIEL A. SINGER 1995                         ADDRESS ON FILE
MR. DANIEL A. SLOANE 2001                         ADDRESS ON FILE
MR. DANIEL B. KESSLER                             ADDRESS ON FILE




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                Creditor Name    Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
MR. DANIEL CLAYMAN                           ADDRESS ON FILE
MR. DANIEL DISKIN                            ADDRESS ON FILE
MR. DANIEL E. BACINE                         ADDRESS ON FILE
MR. DANIEL FANTY, JR.                        ADDRESS ON FILE
MR. DANIEL G. DESLAURIER 2000                ADDRESS ON FILE
MR. DANIEL G. RUVIN                          ADDRESS ON FILE
MR. DANIEL H. FARR, SR.                      ADDRESS ON FILE
MR. DANIEL H. JOCZ 1966                      ADDRESS ON FILE
MR. DANIEL J. GALLAGHER                      ADDRESS ON FILE
MR. DANIEL J. MARAKOWSKI                     ADDRESS ON FILE
MR. DANIEL K. CROSS 2014                     ADDRESS ON FILE
MR. DANIEL K. FISHEL 2009                    ADDRESS ON FILE
MR. DANIEL KWON 2008                         ADDRESS ON FILE
MR. DANIEL M. KELLY 2004                     ADDRESS ON FILE
MR. DANIEL NOWAKOWSKI                        ADDRESS ON FILE
MR. DANIEL OBRIEN                            ADDRESS ON FILE
MR. DANIEL P. MULLER 1998                    ADDRESS ON FILE
MR. DANIEL P. SACKS                          ADDRESS ON FILE
MR. DANIEL PARSONS                           ADDRESS ON FILE
MR. DANIEL SACK                              ADDRESS ON FILE
MR. DANIEL SAVIN                             ADDRESS ON FILE
MR. DANIEL SMURLO                            ADDRESS ON FILE
MR. DANIEL SOUTHERLAND                       ADDRESS ON FILE
MR. DANIEL TUCKER                            ADDRESS ON FILE
MR. DANIELLE BODINE                          ADDRESS ON FILE
MR. DANNE A. WOO 2004                        ADDRESS ON FILE
MR. DARRYL SMITH                             ADDRESS ON FILE
MR. DAVE WALDRON                             ADDRESS ON FILE
MR. DAVID A. HORNING, JR.                    ADDRESS ON FILE
MR. DAVID A. HORNING, SR.                    ADDRESS ON FILE
MR. DAVID A. MILLER                          ADDRESS ON FILE
MR. DAVID A. RHODES 1963                     ADDRESS ON FILE
MR. DAVID ABELSOHN                           ADDRESS ON FILE
MR. DAVID BELITSKY                           ADDRESS ON FILE
MR. DAVID BERENBAUM                          ADDRESS ON FILE
MR. DAVID C. ST. JOHN 1979                   ADDRESS ON FILE
MR. DAVID CHILKOTOWSKY                       ADDRESS ON FILE
MR. DAVID COFF                               ADDRESS ON FILE
MR. DAVID COLMAN                             ADDRESS ON FILE
MR. DAVID COMBERG                            ADDRESS ON FILE
MR. DAVID COX                                ADDRESS ON FILE
MR. DAVID CUKOR                              ADDRESS ON FILE
MR. DAVID D. MERRILL                         ADDRESS ON FILE
MR. DAVID D. OLDHAM, ESQ. 2001               ADDRESS ON FILE
MR. DAVID E. RUE 1962                        ADDRESS ON FILE
MR. DAVID E. SCHPOK 1988                     ADDRESS ON FILE
MR. DAVID F. LOWE 1978                       ADDRESS ON FILE
MR. DAVID FEIGENBAUM                         ADDRESS ON FILE
MR. DAVID G. BOOTH                           ADDRESS ON FILE
MR. DAVID G. BRAGIN                          ADDRESS ON FILE
MR. DAVID GUTWIRTH                           ADDRESS ON FILE
MR. DAVID H. BURTON                          ADDRESS ON FILE
MR. DAVID H. SUTCLIFFE                       ADDRESS ON FILE
MR. DAVID H. WICE                            ADDRESS ON FILE
MR. DAVID HARTL                              ADDRESS ON FILE
MR. DAVID HOLVECK                            ADDRESS ON FILE
MR. DAVID HOPKINS                            ADDRESS ON FILE
MR. DAVID J. BENDER 2003                     ADDRESS ON FILE
MR. DAVID J. CUNEO                           ADDRESS ON FILE
MR. DAVID J. SCHLEINKOFER 1973               ADDRESS ON FILE
MR. DAVID J. WINIGRAD                        ADDRESS ON FILE
MR. DAVID L. DAVIS 1963                      ADDRESS ON FILE
MR. DAVID LOVE                               ADDRESS ON FILE
MR. DAVID M. BOLLAR 1995                     ADDRESS ON FILE
MR. DAVID M. EWING 1968                      ADDRESS ON FILE
MR. DAVID M. FEHR 1999                       ADDRESS ON FILE
MR. DAVID M. FIEDLER 1988                    ADDRESS ON FILE
MR. DAVID M. MCFADDEN                        ADDRESS ON FILE




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                Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
MR. DAVID NOBLE                             ADDRESS ON FILE
MR. DAVID PACHMAN 1962                      ADDRESS ON FILE
MR. DAVID PILLOW                            ADDRESS ON FILE
MR. DAVID R. GLYN                           ADDRESS ON FILE
MR. DAVID RAPONE                            ADDRESS ON FILE
MR. DAVID RASNER                            ADDRESS ON FILE
MR. DAVID RIESSEN                           ADDRESS ON FILE
MR. DAVID ROSS                              ADDRESS ON FILE
MR. DAVID S. LORRY                          ADDRESS ON FILE
MR. DAVID S. MCCAFFERTY                     ADDRESS ON FILE
MR. DAVID SCHONER                           ADDRESS ON FILE
MR. DAVID SCHONER, SR.                      ADDRESS ON FILE
MR. DAVID SCHWARTZ 2016                     ADDRESS ON FILE
MR. DAVID SELTZER                           ADDRESS ON FILE
MR. DAVID SLATOFF 1983                      ADDRESS ON FILE
MR. DAVID SUISMAN                           ADDRESS ON FILE
MR. DAVID T. LEHMAN 1935                    ADDRESS ON FILE
MR. DAVID TIMBERLINE                        ADDRESS ON FILE
MR. DAVID TOSHER 1970                       ADDRESS ON FILE
MR. DAVID VASSALLO                          ADDRESS ON FILE
MR. DAVID WASHINGTON 1954                   ADDRESS ON FILE
MR. DENIS T. WETTLAUFER 1976                ADDRESS ON FILE
MR. DENNIS DEICHERT                         ADDRESS ON FILE
MR. DENNIS E. KELLY                         ADDRESS ON FILE
MR. DENNIS L. LORELL                        ADDRESS ON FILE
MR. DENNIS R. WASKO 1979                    ADDRESS ON FILE
MR. DEREK K. HARGREAVES                     ADDRESS ON FILE
MR. DEREK WESTFALL                          ADDRESS ON FILE
MR. DERRICK MANCINI                         ADDRESS ON FILE
MR. DERRICK WEST                            ADDRESS ON FILE
MR. DEVIN A. SIDELL 2007                    ADDRESS ON FILE
MR. DOMINIC M. MERCIER                      ADDRESS ON FILE
MR. DON D. SALKALN                          ADDRESS ON FILE
MR. DONALD A. BANKS                         ADDRESS ON FILE
MR. DONALD A. DEVLIN                        ADDRESS ON FILE
MR. DONALD ASTON                            ADDRESS ON FILE
MR. DONALD B. COHEN                         ADDRESS ON FILE
MR. DONALD C. MOYER 1970                    ADDRESS ON FILE
MR. DONALD COOPER                           ADDRESS ON FILE
MR. DONALD D. DEENEY                        ADDRESS ON FILE
MR. DONALD E. BEATTY                        ADDRESS ON FILE
MR. DONALD E. BEINEMAN, ED.D                ADDRESS ON FILE
MR. DONALD J. SHANOSKY 1959                 ADDRESS ON FILE
MR. DONALD JAMES HAGER                      ADDRESS ON FILE
MR. DONALD KREUTZER                         ADDRESS ON FILE
MR. DONALD R. CHITTUM, JR.                  ADDRESS ON FILE
MR. DONALD RHOADS                           ADDRESS ON FILE
MR. DONALD T T. WILLIAMS 1992               ADDRESS ON FILE
MR. DONALD T. CAMERA 1977                   ADDRESS ON FILE
MR. DOUG KREITZBERG                         ADDRESS ON FILE
MR. DOUGLAS W. MELLOR                       ADDRESS ON FILE
MR. DUSTIN C. REAM 2008                     ADDRESS ON FILE
MR. DWAYNE EDGHILL                          ADDRESS ON FILE
MR. DWIGHT SULLIVAN                         ADDRESS ON FILE
MR. DYLAN NEUSTADTER                        ADDRESS ON FILE
MR. E. JAMES MAURER                         ADDRESS ON FILE
MR. E. JOSEPH HUMMEL, JR.                   ADDRESS ON FILE
MR. EARL B. LEWIS                           ADDRESS ON FILE
MR. EARL PARKER                             ADDRESS ON FILE
MR. ED E. GOLDBERG 1968                     ADDRESS ON FILE
MR. ED MCBRIDE                              ADDRESS ON FILE
MR. EDDIE WINSTEAD                          ADDRESS ON FILE
MR. EDGARDO BURGOS                          ADDRESS ON FILE
MR. EDMOND H. CARTER, JR.                   ADDRESS ON FILE
MR. EDMUND D. VEZINHO                       ADDRESS ON FILE
MR. EDMUND PUCHES 1972                      ADDRESS ON FILE
MR. EDMUND R. NICHOLS 1954                  ADDRESS ON FILE
MR. EDWARD A. FELDMAN 1976                  ADDRESS ON FILE




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                Creditor Name    Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
MR. EDWARD A. WILLIAMS 2000                  ADDRESS ON FILE
MR. EDWARD B. LEE                            ADDRESS ON FILE
MR. EDWARD B. PUTNAM                         ADDRESS ON FILE
MR. EDWARD BECKER                            ADDRESS ON FILE
MR. EDWARD BORIA 1985                        ADDRESS ON FILE
MR. EDWARD C. DICENZO                        ADDRESS ON FILE
MR. EDWARD CICCORICCO                        ADDRESS ON FILE
MR. EDWARD COLKER 1949                       ADDRESS ON FILE
MR. EDWARD DIGIANDOMENICO, JR.               ADDRESS ON FILE
MR. EDWARD ETKINS 1969                       ADDRESS ON FILE
MR. EDWARD F. COHEN                          ADDRESS ON FILE
MR. EDWARD FLANAGAN                          ADDRESS ON FILE
MR. EDWARD G. BAKER                          ADDRESS ON FILE
MR. EDWARD J. HARTMANN 1949                  ADDRESS ON FILE
MR. EDWARD J. SKIRKIE, JR.                   ADDRESS ON FILE
MR. EDWARD KAISER                            ADDRESS ON FILE
MR. EDWARD L. VANDENBERG 1991                ADDRESS ON FILE
MR. EDWARD L. WITKOWSKI                      ADDRESS ON FILE
MR. EDWARD LAWLER                            ADDRESS ON FILE
MR. EDWARD M. CUNNINGHAM                     ADDRESS ON FILE
MR. EDWARD M. DRINKER                        ADDRESS ON FILE
MR. EDWARD M. LETVEN 1954                    ADDRESS ON FILE
MR. EDWARD M. SATELL                         ADDRESS ON FILE
MR. EDWARD M. ZUCZEK                         ADDRESS ON FILE
MR. EDWARD MCMAHON                           ADDRESS ON FILE
MR. EDWARD O. MCERLEAN                       ADDRESS ON FILE
MR. EDWARD OBRIEN 1973                       ADDRESS ON FILE
MR. EDWARD P. CHALLENGER 1958                ADDRESS ON FILE
MR. EDWARD P. CHESLOCK 1965                  ADDRESS ON FILE
MR. EDWARD P. COXEY 1963                     ADDRESS ON FILE
MR. EDWARD P. GLISSON                        ADDRESS ON FILE
MR. EDWARD PANEK                             ADDRESS ON FILE
MR. EDWARD R. TUFTE                          ADDRESS ON FILE
MR. EDWARD R. ZUCCA, JR. 1968                ADDRESS ON FILE
MR. EDWARD W. MACKIN                         ADDRESS ON FILE
MR. EDWARD W. MOONEY 2010                    ADDRESS ON FILE
MR. EDWARD WHEELER                           ADDRESS ON FILE
MR. EDWARD WIGGIN                            ADDRESS ON FILE
MR. EDWARD YOUNG                             ADDRESS ON FILE
MR. EDWARD ZARITT                            ADDRESS ON FILE
MR. EGIDIO DIMARCANTONIO                     ADDRESS ON FILE
MR. ELLIOT G. BAUM 1995                      ADDRESS ON FILE
MR. ELLIOT I. RHODESIDE 1966                 ADDRESS ON FILE
MR. ELLIOTT BERGER                           ADDRESS ON FILE
MR. ELLIOTT CAGGINS                          ADDRESS ON FILE
MR. ERIC D. GRAY 2008                        ADDRESS ON FILE
MR. ERIC FISHER                              ADDRESS ON FILE
MR. ERIC J. SHELTON 2014                     ADDRESS ON FILE
MR. ERIC R. BRADDOCK 2008                    ADDRESS ON FILE
MR. ERIC T. FRANTZ                           ADDRESS ON FILE
MR. ERICK SAHLER                             ADDRESS ON FILE
MR. ERIK A. SAYLES 1993                      ADDRESS ON FILE
MR. ERIK A. TORKELLS                         ADDRESS ON FILE
MR. ERNEST R. SHAPIRO                        ADDRESS ON FILE
MR. ERNEST SCHELLER, JR.                     ADDRESS ON FILE
MR. ERNEST TEDINO                            ADDRESS ON FILE
MR. ERWIN GALGON                             ADDRESS ON FILE
MR. ESTEVAN MAAS                             ADDRESS ON FILE
MR. EUGENE A. BOLT, JR.                      ADDRESS ON FILE
MR. EUGENE FLEISHMAN                         ADDRESS ON FILE
MR. EUGENE H. BAYARD                         ADDRESS ON FILE
MR. EUGENE H. GOSFIELD                       ADDRESS ON FILE
MR. EUGENE J. KRALL 1965                     ADDRESS ON FILE
MR. EUGENE L. CLEAVER                        ADDRESS ON FILE
MR. EUGENE ORLANDO 2008                      ADDRESS ON FILE
MR. EUGENE R. SAMUELSON 1961                 ADDRESS ON FILE
MR. EVAN AUCHARD                             ADDRESS ON FILE
MR. EVAN E. SOLOT 1967                       ADDRESS ON FILE




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                Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
MR. EVAN H. WOLDOW 1992                     ADDRESS ON FILE
MR. EVERETT W. FRANK 1987                   ADDRESS ON FILE
MR. FABIAN A. BROWN 2001                    ADDRESS ON FILE
MR. FABIAN ULITSKY                          ADDRESS ON FILE
MR. FABIO PEREZ-POLO 1970                   ADDRESS ON FILE
MR. FARHUD BATMANGLICH 1974                 ADDRESS ON FILE
MR. FERNANDO RODRIGUEZ                      ADDRESS ON FILE
MR. FLOYD A. HASKINS                        ADDRESS ON FILE
MR. FORREST J. SNYDER                       ADDRESS ON FILE
MR. FRAN MCLAUGHLIN                         ADDRESS ON FILE
MR. FRANCIS ABBOTT, JR.                     ADDRESS ON FILE
MR. FRANCIS IACOBUCCI                       ADDRESS ON FILE
MR. FRANCIS J. COTE                         ADDRESS ON FILE
MR. FRANCIS J. MIRABELLO                    ADDRESS ON FILE
MR. FRANCIS X. ZANE                         ADDRESS ON FILE
MR. FRANK A. MAZZEO                         ADDRESS ON FILE
MR. FRANK DEMONSI                           ADDRESS ON FILE
MR. FRANK FARNSCHLADER                      ADDRESS ON FILE
MR. FRANK G. CHESTER                        ADDRESS ON FILE
MR. FRANK GALUSZKA                          ADDRESS ON FILE
MR. FRANK GILL                              ADDRESS ON FILE
MR. FRANK GROBELNY 1963                     ADDRESS ON FILE
MR. FRANK GUINAN                            ADDRESS ON FILE
MR. FRANK J. HUTTINGER 1970                 ADDRESS ON FILE
MR. FRANK J. NOSEK                          ADDRESS ON FILE
MR. FRANK J. ZADLO 1966                     ADDRESS ON FILE
MR. FRANK K. SCIMONE                        ADDRESS ON FILE
MR. FRANK K. UPHAM                          ADDRESS ON FILE
MR. FRANK KEY                               ADDRESS ON FILE
MR. FRANK M. ANZALONE                       ADDRESS ON FILE
MR. FRANK M. THOMAS, JR.                    ADDRESS ON FILE
MR. FRANK NARDI                             ADDRESS ON FILE
MR. FRANK P. MORABITO                       ADDRESS ON FILE
MR. FRANK R. METZ 1949                      ADDRESS ON FILE
MR. FRANK RIVELLINI                         ADDRESS ON FILE
MR. FRANK RUBINO                            ADDRESS ON FILE
MR. FRANK SCHLUPP                           ADDRESS ON FILE
MR. FRANK T. DASCANIO                       ADDRESS ON FILE
MR. FRANK TOMASSETTI                        ADDRESS ON FILE
MR. FRANK ZACHARY                           ADDRESS ON FILE
MR. FRANKLYN RODGERS                        ADDRESS ON FILE
MR. FRANZ RABAUER                           ADDRESS ON FILE
MR. FRED J. LIVEZEY 1967                    ADDRESS ON FILE
MR. FRED L. HUDSON                          ADDRESS ON FILE
MR. FRED W. WILSON 1978                     ADDRESS ON FILE
MR. FREDERIC BROWN                          ADDRESS ON FILE
MR. FREDERICK A. HOFFMAN                    ADDRESS ON FILE
MR. FREDERICK R. ERK                        ADDRESS ON FILE
MR. FREDRIC A. TATOR 1970                   ADDRESS ON FILE
MR. G. M. STAKIAS                           ADDRESS ON FILE
MR. GAETANO VITTI                           ADDRESS ON FILE
MR. GARRETT L. HENDRICKS 1999               ADDRESS ON FILE
MR. GARY A. WILLIAMS 1960                   ADDRESS ON FILE
MR. GARY BRYANT                             ADDRESS ON FILE
MR. GARY FUJITA 1978                        ADDRESS ON FILE
MR. GARY H. MITCHELL                        ADDRESS ON FILE
MR. GARY L. ANDERSON 1967                   ADDRESS ON FILE
MR. GARY L. LEHMAN 1970                     ADDRESS ON FILE
MR. GARY SAMPSON                            ADDRESS ON FILE
MR. GARY SEGAL                              ADDRESS ON FILE
MR. GARY T. SKUTNIK                         ADDRESS ON FILE
MR. GENE TERRUSO                            ADDRESS ON FILE
MR. GEOFFERY P. NICHOLS                     ADDRESS ON FILE
MR. GEOFFREY BEATTY 1999                    ADDRESS ON FILE
MR. GEOFFREY W. KERSHNER 2000               ADDRESS ON FILE
MR. GEORGE A. BEACH 1958                    ADDRESS ON FILE
MR. GEORGE A. SCHWAB 2008                   ADDRESS ON FILE
MR. GEORGE A. WEYMOUTH                      ADDRESS ON FILE




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                Creditor Name     Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
MR. GEORGE AKERLEY 1973                       ADDRESS ON FILE
MR. GEORGE C. HOEZ                            ADDRESS ON FILE
MR. GEORGE DUHIGG                             ADDRESS ON FILE
MR. GEORGE E. OBREMSKI 1970                   ADDRESS ON FILE
MR. GEORGE FISHER, III                        ADDRESS ON FILE
MR. GEORGE H. KENTON 1963                     ADDRESS ON FILE
MR. GEORGE HEIN                               ADDRESS ON FILE
MR. GEORGE HOLEY                              ADDRESS ON FILE
MR. GEORGE I. TYNDALL, JR. 1970               ADDRESS ON FILE
MR. GEORGE J. BRILTS 1969                     ADDRESS ON FILE
MR. GEORGE M. PLESKO 1993                     ADDRESS ON FILE
MR. GEORGE M. SCHWAB                          ADDRESS ON FILE
MR. GEORGE R. RISER                           ADDRESS ON FILE
MR. GEORGE ROWLAND, III                       ADDRESS ON FILE
MR. GEORGE W. MOORE                           ADDRESS ON FILE
MR. GEORGE W. PITRA                           ADDRESS ON FILE
MR. GERALD B. RORER                           ADDRESS ON FILE
MR. GERALD F. BECKER 1963                     ADDRESS ON FILE
MR. GERALD MAYO                               ADDRESS ON FILE
MR. GERALD R. GREENFIELD                      ADDRESS ON FILE
MR. GERALD VEASLEY                            ADDRESS ON FILE
MR. GERALD VUOCOLO                            ADDRESS ON FILE
MR. GERARD H. HOVAGIMYAN 1972                 ADDRESS ON FILE
MR. GERARD J. QUINLAN                         ADDRESS ON FILE
MR. GIACOMO F. CIMINELLO 1999                 ADDRESS ON FILE
MR. GILBERT B. COHEN 1953                     ADDRESS ON FILE
MR. GILBERTO GONZALEZ 1999                    ADDRESS ON FILE
MR. GLENN DAVIES                              ADDRESS ON FILE
MR. GLENN DOERRMAN                            ADDRESS ON FILE
MR. GLENN MANKO                               ADDRESS ON FILE
MR. GLENN PORTER                              ADDRESS ON FILE
MR. GOETZ UNGER                               ADDRESS ON FILE
MR. GORDON H. LACHEEN 1963                    ADDRESS ON FILE
MR. GREG CUCCO                                ADDRESS ON FILE
MR. GREG E. JOHNSON, MPA                      ADDRESS ON FILE
MR. GREGG R. KLEIN                            ADDRESS ON FILE
MR. GREGORY C. PAONE 1990                     ADDRESS ON FILE
MR. GREGORY GRIMES                            ADDRESS ON FILE
MR. GREGORY M. MURPHY                         ADDRESS ON FILE
MR. GREGORY P. LEEBER                         ADDRESS ON FILE
MR. H. BERNARD CLEFF 1950                     ADDRESS ON FILE
MR. H. CLEVE CORNER, JR.                      ADDRESS ON FILE
MR. H. DANIEL WEBSTER                         ADDRESS ON FILE
MR. H. E. CURTIS 1953                         ADDRESS ON FILE
MR. H. J. CLINE                               ADDRESS ON FILE
MR. H. J. FOSTER                              ADDRESS ON FILE
MR. H. WILLIAM CYPHERS, III                   ADDRESS ON FILE
MR. HAL YOH                                   ADDRESS ON FILE
MR. HANS BOMBECK                              ADDRESS ON FILE
MR. HANS U. ALLEMANN                          ADDRESS ON FILE
MR. HARLAN WILSON                             ADDRESS ON FILE
MR. HAROLD B. STEVENS                         ADDRESS ON FILE
MR. HAROLD BERESIN                            ADDRESS ON FILE
MR. HAROLD HAMBROSE                           ADDRESS ON FILE
MR. HAROLD HONICKMAN                          ADDRESS ON FILE
MR. HAROLD L. YOH, JR.                        ADDRESS ON FILE
MR. HAROLD M. WILLIAMS                        ADDRESS ON FILE
MR. HAROLD ROSENBLUTH                         ADDRESS ON FILE
MR. HARRIS A. KIVITZ 1969                     ADDRESS ON FILE
MR. HARRIS FOGEL                              ADDRESS ON FILE
MR. HARRY A. SHORT, JR.                       ADDRESS ON FILE
MR. HARRY E. HILL, III                        ADDRESS ON FILE
MR. HARRY HAAGEN                              ADDRESS ON FILE
MR. HARRY I. NAAR 1968                        ADDRESS ON FILE
MR. HARRY L. EABY 1963                        ADDRESS ON FILE
MR. HARRY MAZOK                               ADDRESS ON FILE
MR. HARRY MCNAUGHT 1949                       ADDRESS ON FILE
MR. HARRY SATINSKY                            ADDRESS ON FILE




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                Creditor Name    Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
MR. HARRY W. RIVKIN                          ADDRESS ON FILE
MR. HARVEY D. BONNER 1952                    ADDRESS ON FILE
MR. HARVEY KIMMEL                            ADDRESS ON FILE
MR. HAVEN S. KESLING, JR.                    ADDRESS ON FILE
MR. HENRI F. MAMET 1967                      ADDRESS ON FILE
MR. HENRY F. MORLEY                          ADDRESS ON FILE
MR. HENRY ISBELL, JR.                        ADDRESS ON FILE
MR. HENRY J. EVANS 1966                      ADDRESS ON FILE
MR. HENRY JONES                              ADDRESS ON FILE
MR. HENRY OREJUELA                           ADDRESS ON FILE
MR. HERB J. BASS                             ADDRESS ON FILE
MR. HERB LIPTON                              ADDRESS ON FILE
MR. HERBERT B. SMITH, JR.                    ADDRESS ON FILE
MR. HERBERT FINKELSTEIN                      ADDRESS ON FILE
MR. HERBERT HIGHFIELD                        ADDRESS ON FILE
MR. HERBERT J. JACOBS 1956                   ADDRESS ON FILE
MR. HERBERT MANDEL 1948                      ADDRESS ON FILE
MR. HERBERT R. QUAILE                        ADDRESS ON FILE
MR. HERIBERTO PEREZ 1998                     ADDRESS ON FILE
MR. HERMAN ROTTENBERG                        ADDRESS ON FILE
MR. HERMAN STEIN                             ADDRESS ON FILE
MR. HOWARD A. GOLDBERG 1971                  ADDRESS ON FILE
MR. HOWARD C. TURNER                         ADDRESS ON FILE
MR. HOWARD DOSSICK                           ADDRESS ON FILE
MR. HOWARD FISCHER                           ADDRESS ON FILE
MR. HOWARD G. BELK 1981                      ADDRESS ON FILE
MR. HOWARD H. SILVERMAN                      ADDRESS ON FILE
MR. HOWARD I. GROSSMAN                       ADDRESS ON FILE
MR. HOWARD J. CAPLAN                         ADDRESS ON FILE
MR. HOWARD J. SACKS                          ADDRESS ON FILE
MR. HOWARD KRAMER                            ADDRESS ON FILE
MR. HOWARD LIEBOFF                           ADDRESS ON FILE
MR. HOYT EMMONS                              ADDRESS ON FILE
MR. HRATCH BABIKIAN 1983                     ADDRESS ON FILE
MR. HUGH D. SCOTT                            ADDRESS ON FILE
MR. HUGH M. PURCELL, JR. 1952                ADDRESS ON FILE
MR. HUGO SANCHEZ                             ADDRESS ON FILE
MR. I. M. COSLOV                             ADDRESS ON FILE
MR. IAN BOHORQUEZ                            ADDRESS ON FILE
MR. IAN FROMAN                               ADDRESS ON FILE
MR. ILSE VIEHWEGER                           ADDRESS ON FILE
MR. IMRI J. MERRITT 2003                     ADDRESS ON FILE
MR. IRA BRIND                                ADDRESS ON FILE
MR. ISAAC J. RUTH 2012                       ADDRESS ON FILE
MR. IVAN GURAL                               ADDRESS ON FILE
MR. IVAN M. POPKIN                           ADDRESS ON FILE
MR. JACK BLISS 1959                          ADDRESS ON FILE
MR. JACK HURDES 1977                         ADDRESS ON FILE
MR. JACK I. WEAVER 1946                      ADDRESS ON FILE
MR. JACK LINDGASTER                          ADDRESS ON FILE
MR. JACK POLSENBERG                          ADDRESS ON FILE
MR. JACK WILLIS                              ADDRESS ON FILE
MR. JACOB GRUBER                             ADDRESS ON FILE
MR. JACOB P. SOMMERS 2013                    ADDRESS ON FILE
MR. JACOB SCHULZ                             ADDRESS ON FILE
MR. JAIME A. HERRERA 2008                    ADDRESS ON FILE
MR. JAIME SALM 2001                          ADDRESS ON FILE
MR. JAKE P. GARRISON                         ADDRESS ON FILE
MR. JAMAL T. ABRAMS                          ADDRESS ON FILE
MR. JAMES A. CAPUTO                          ADDRESS ON FILE
MR. JAMES A. GODORECCI                       ADDRESS ON FILE
MR. JAMES A. MAHONEY, JR. 1958               ADDRESS ON FILE
MR. JAMES B. FLYNN 2010                      ADDRESS ON FILE
MR. JAMES B. JORDAN 1962                     ADDRESS ON FILE
MR. JAMES BACON 2009                         ADDRESS ON FILE
MR. JAMES BATTLE                             ADDRESS ON FILE
MR. JAMES BLUMENSTOCK                        ADDRESS ON FILE
MR. JAMES BYRD                               ADDRESS ON FILE




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               Creditor Name    Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
MR. JAMES C. KILIK                          ADDRESS ON FILE
MR. JAMES CAVUNIS                           ADDRESS ON FILE
MR. JAMES D. HOWEY                          ADDRESS ON FILE
MR. JAMES D. MAKINS 1968                    ADDRESS ON FILE
MR. JAMES D. MAST                           ADDRESS ON FILE
MR. JAMES DIMAURO                           ADDRESS ON FILE
MR. JAMES DODDY 1969                        ADDRESS ON FILE
MR. JAMES E. GEHRINGER                      ADDRESS ON FILE
MR. JAMES E. JONES 1960                     ADDRESS ON FILE
MR. JAMES E. MCCRONE                        ADDRESS ON FILE
MR. JAMES E. THOMAS 1963                    ADDRESS ON FILE
MR. JAMES EISEMAN, JR.                      ADDRESS ON FILE
MR. JAMES ENGELBART 1995                    ADDRESS ON FILE
MR. JAMES F. BEACH                          ADDRESS ON FILE
MR. JAMES F. NORTH                          ADDRESS ON FILE
MR. JAMES G. FULTON, JR. 1972               ADDRESS ON FILE
MR. JAMES G. MALLOY 1978                    ADDRESS ON FILE
MR. JAMES G. STEVENS 1996                   ADDRESS ON FILE
MR. JAMES GRYBOWSKI                         ADDRESS ON FILE
MR. JAMES H. BROMLEY                        ADDRESS ON FILE
MR. JAMES H. PEPE                           ADDRESS ON FILE
MR. JAMES J. DOTZMAN                        ADDRESS ON FILE
MR. JAMES J. DOUGHERTY                      ADDRESS ON FILE
MR. JAMES J. MCATEE                         ADDRESS ON FILE
MR. JAMES J. ONEILL                         ADDRESS ON FILE
MR. JAMES K. GOODWIN                        ADDRESS ON FILE
MR. JAMES KOBAK                             ADDRESS ON FILE
MR. JAMES KORSH                             ADDRESS ON FILE
MR. JAMES L. ABRAMSON                       ADDRESS ON FILE
MR. JAMES L. BURROUGH                       ADDRESS ON FILE
MR. JAMES MARCHISELLO, JR.                  ADDRESS ON FILE
MR. JAMES MIGLIORI                          ADDRESS ON FILE
MR. JAMES P. COSTELLO                       ADDRESS ON FILE
MR. JAMES P. COWEN 2001                     ADDRESS ON FILE
MR. JAMES P. OMALLEY 1984                   ADDRESS ON FILE
MR. JAMES P. VAIL                           ADDRESS ON FILE
MR. JAMES P. VESEY, C.P.A.                  ADDRESS ON FILE
MR. JAMES PENZA                             ADDRESS ON FILE
MR. JAMES PICKETT                           ADDRESS ON FILE
MR. JAMES QUAILE                            ADDRESS ON FILE
MR. JAMES R. LANDGRAF                       ADDRESS ON FILE
MR. JAMES ROE                               ADDRESS ON FILE
MR. JAMES ROWE 1987                         ADDRESS ON FILE
MR. JAMES STRATTON                          ADDRESS ON FILE
MR. JAMES TOPPER                            ADDRESS ON FILE
MR. JAMES V. PRICE                          ADDRESS ON FILE
MR. JAMES W. CUMMINGS                       ADDRESS ON FILE
MR. JAMES W. PAQUET                         ADDRESS ON FILE
MR. JAMES WELLS                             ADDRESS ON FILE
MR. JAMES YARMIE                            ADDRESS ON FILE
MR. JAMIL A. MANGAN 2002                    ADDRESS ON FILE
MR. JAN C. ALMQUIST 1981                    ADDRESS ON FILE
MR. JARED LOFTUS                            ADDRESS ON FILE
MR. JASON ANDERSON                          ADDRESS ON FILE
MR. JASON CEVERA 2005                       ADDRESS ON FILE
MR. JASON CHUONG 2008                       ADDRESS ON FILE
MR. JASON CULLEN                            ADDRESS ON FILE
MR. JASON KNOUFT                            ADDRESS ON FILE
MR. JASON ROBINSON 1992                     ADDRESS ON FILE
MR. JAY J. BOWDEN, III 1990                 ADDRESS ON FILE
MR. JAY K. SNYDERMAN                        ADDRESS ON FILE
MR. JAY THOMAS                              ADDRESS ON FILE
MR. JEFF CARPENTER                          ADDRESS ON FILE
MR. JEFF EINHORN                            ADDRESS ON FILE
MR. JEFF HAYWARD                            ADDRESS ON FILE
MR. JEFF M. CARMI 2008                      ADDRESS ON FILE
MR. JEFF TUJETSCH                           ADDRESS ON FILE
MR. JEFFREY A. LUTSKY                       ADDRESS ON FILE




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                Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
MR. JEFFREY BEACHELL                        ADDRESS ON FILE
MR. JEFFREY C. RYDER                        ADDRESS ON FILE
MR. JEFFREY COOPER                          ADDRESS ON FILE
MR. JEFFREY CREWE                           ADDRESS ON FILE
MR. JEFFREY D. PETTY 1964                   ADDRESS ON FILE
MR. JEFFREY E. GOULD 1988                   ADDRESS ON FILE
MR. JEFFREY H. BIRNBAUM                     ADDRESS ON FILE
MR. JEFFREY HONICKMAN                       ADDRESS ON FILE
MR. JEFFREY J. HECKEL                       ADDRESS ON FILE
MR. JEFFREY KRAMER                          ADDRESS ON FILE
MR. JEFFREY M. DARROHN 1983                 ADDRESS ON FILE
MR. JEFFREY P. ORLEANS                      ADDRESS ON FILE
MR. JEFFREY ROTWITT                         ADDRESS ON FILE
MR. JEFFREY S. BERENBAUM                    ADDRESS ON FILE
MR. JEFFREY S. ENSSLEN 1989                 ADDRESS ON FILE
MR. JEFFREY S. THOMAS 1969                  ADDRESS ON FILE
MR. JEFFREY VERNAM                          ADDRESS ON FILE
MR. JEFFREY WESTPHAL                        ADDRESS ON FILE
MR. JEFFREY ZARNOCH 1984                    ADDRESS ON FILE
MR. JERALD BROWNSTEIN                       ADDRESS ON FILE
MR. JEREMY C. LARDIERI 2007                 ADDRESS ON FILE
MR. JEREMY HEYMSFELD                        ADDRESS ON FILE
MR. JEREMY J. GRENHART 2003                 ADDRESS ON FILE
MR. JEREMY LYAUTEY                          ADDRESS ON FILE
MR. JEROME CLOUD 1978                       ADDRESS ON FILE
MR. JEROME KAPLAN, ESQ.                     ADDRESS ON FILE
MR. JEROME KELLNER                          ADDRESS ON FILE
MR. JEROME KURTZ                            ADDRESS ON FILE
MR. JEROME MANDEL                           ADDRESS ON FILE
MR. JEROME P. MULHERN 1980                  ADDRESS ON FILE
MR. JEROME ROBBINS                          ADDRESS ON FILE
MR. JERROLD ELKINS 1967                     ADDRESS ON FILE
MR. JERRY ALTEN 1955                        ADDRESS ON FILE
MR. JERRY BUCKLEY                           ADDRESS ON FILE
MR. JERRY L. KUYPER                         ADDRESS ON FILE
MR. JERRY S. ABRAMS 1973                    ADDRESS ON FILE
MR. JESS A. WEINER                          ADDRESS ON FILE
MR. JIM M. KRAUS                            ADDRESS ON FILE
MR. JIMMY BRUNO                             ADDRESS ON FILE
MR. JIRI SEGER 2004                         ADDRESS ON FILE
MR. JOE A. FELICETTI                        ADDRESS ON FILE
MR. JOE MARRELLA                            ADDRESS ON FILE
MR. JOE MOONEY                              ADDRESS ON FILE
MR. JOE STEWART 1976                        ADDRESS ON FILE
MR. JOE ZINK                                ADDRESS ON FILE
MR. JOEL BAKER-FELTY                        ADDRESS ON FILE
MR. JOEL E. REALBERG                        ADDRESS ON FILE
MR. JOEL KATZ                               ADDRESS ON FILE
MR. JOHN & LEONE YERKES                     ADDRESS ON FILE
MR. JOHN A. DVI-VARDHANA 1993               ADDRESS ON FILE
MR. JOHN A. HUBER                           ADDRESS ON FILE
MR. JOHN A. JESURUN 1972                    ADDRESS ON FILE
MR. JOHN A. KRYNICK 1980                    ADDRESS ON FILE
MR. JOHN A. ROSS 2017                       ADDRESS ON FILE
MR. JOHN A. SMITH                           ADDRESS ON FILE
MR. JOHN ANDREACIO                          ADDRESS ON FILE
MR. JOHN AUSTIN                             ADDRESS ON FILE
MR. JOHN BASTIAN 1984                       ADDRESS ON FILE
MR. JOHN BIANCHI                            ADDRESS ON FILE
MR. JOHN BLANKE, III                        ADDRESS ON FILE
MR. JOHN BORGES 1965                        ADDRESS ON FILE
MR. JOHN C. BYTHROW 1953                    ADDRESS ON FILE
MR. JOHN C. KENNEDY 1978                    ADDRESS ON FILE
MR. JOHN C. OBERG                           ADDRESS ON FILE
MR. JOHN C. WARE 1988                       ADDRESS ON FILE
MR. JOHN CRAYTON                            ADDRESS ON FILE
MR. JOHN D. SIMON, JR. 1982                 ADDRESS ON FILE
MR. JOHN DERHAM                             ADDRESS ON FILE




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                 Creditor Name    Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
MR. JOHN DEWITT                               ADDRESS ON FILE
MR. JOHN DOYLE                                ADDRESS ON FILE
MR. JOHN E. CONNOLLY 1988                     ADDRESS ON FILE
MR. JOHN E. OLLMAN 1967                       ADDRESS ON FILE
MR. JOHN F. BOSIO 1989                        ADDRESS ON FILE
MR. JOHN F. FLANAGAN                          ADDRESS ON FILE
MR. JOHN F. NEBESNEY 1963                     ADDRESS ON FILE
MR. JOHN F. TROXELL, JR. 1971                 ADDRESS ON FILE
MR. JOHN FINLEY                               ADDRESS ON FILE
MR. JOHN FRIEL                                ADDRESS ON FILE
MR. JOHN G. DELOOF                            ADDRESS ON FILE
MR. JOHN G. ESPOSITO                          ADDRESS ON FILE
MR. JOHN G. FINK                              ADDRESS ON FILE
MR. JOHN G. GIST 1961                         ADDRESS ON FILE
MR. JOHN G. KRUPPA 1979                       ADDRESS ON FILE
MR. JOHN G. MCKERNAN 2010                     ADDRESS ON FILE
MR. JOHN GROTHUSEN                            ADDRESS ON FILE
MR. JOHN H. DAVIES                            ADDRESS ON FILE
MR. JOHN H. DONALDSON                         ADDRESS ON FILE
MR. JOHN H. MCFADDEN                          ADDRESS ON FILE
MR. JOHN HARE                                 ADDRESS ON FILE
MR. JOHN J. BURNS 1993                        ADDRESS ON FILE
MR. JOHN J. CARLANO 1978                      ADDRESS ON FILE
MR. JOHN J. COLL, JR.                         ADDRESS ON FILE
MR. JOHN J. FILIZZOLA 2004                    ADDRESS ON FILE
MR. JOHN J. HUBBARD 1961                      ADDRESS ON FILE
MR. JOHN J. HULKA                             ADDRESS ON FILE
MR. JOHN J. KORMANSKI 1979                    ADDRESS ON FILE
MR. JOHN J. MCTAGUE                           ADDRESS ON FILE
MR. JOHN J. MOKE, JR.                         ADDRESS ON FILE
MR. JOHN J. RENDZIA, JR. 1986                 ADDRESS ON FILE
MR. JOHN J. SANDONE                           ADDRESS ON FILE
MR. JOHN J. VAN DER WATER 1964                ADDRESS ON FILE
MR. JOHN JONES                                ADDRESS ON FILE
MR. JOHN K. BINSWANGER                        ADDRESS ON FILE
MR. JOHN KIRBY                                ADDRESS ON FILE
MR. JOHN L. CHINNERY 1985                     ADDRESS ON FILE
MR. JOHN LANGEL                               ADDRESS ON FILE
MR. JOHN MANZONI                              ADDRESS ON FILE
MR. JOHN MCCUSKER                             ADDRESS ON FILE
MR. JOHN MEICHT                               ADDRESS ON FILE
MR. JOHN NICOLL-SENFT                         ADDRESS ON FILE
MR. JOHN P. FORRESTEL, JR. 1981               ADDRESS ON FILE
MR. JOHN P. SHACOCHIS                         ADDRESS ON FILE
MR. JOHN P. TALBOT                            ADDRESS ON FILE
MR. JOHN PFAHL                                ADDRESS ON FILE
MR. JOHN POGLINCO                             ADDRESS ON FILE
MR. JOHN R. FARINA                            ADDRESS ON FILE
MR. JOHN R. FROCK                             ADDRESS ON FILE
MR. JOHN R. LEONE                             ADDRESS ON FILE
MR. JOHN R. MCGAHEY 1965                      ADDRESS ON FILE
MR. JOHN R. NOONAN                            ADDRESS ON FILE
MR. JOHN R. SEBASTIAN 1963                    ADDRESS ON FILE
MR. JOHN R. UROFSKY                           ADDRESS ON FILE
MR. JOHN S. LEVIS 1980                        ADDRESS ON FILE
MR. JOHN S. MIDDLETON                         ADDRESS ON FILE
MR. JOHN SKIDMORE 1985                        ADDRESS ON FILE
MR. JOHN SLIVINSKI                            ADDRESS ON FILE
MR. JOHN STACHNIK                             ADDRESS ON FILE
MR. JOHN T. CORRADO                           ADDRESS ON FILE
MR. JOHN T. COULTER                           ADDRESS ON FILE
MR. JOHN T. CULLEN                            ADDRESS ON FILE
MR. JOHN T. EBY                               ADDRESS ON FILE
MR. JOHN T. WELSH, III 2005                   ADDRESS ON FILE
MR. JOHN THOMPKINS                            ADDRESS ON FILE
MR. JOHN WOODIN                               ADDRESS ON FILE
MR. JOHN ZUCCARINI 1970                       ADDRESS ON FILE
MR. JOHNNIE HOBBS                             ADDRESS ON FILE




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                Creditor Name          Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
MR. JOHNNY IRIZARRY 1983                           ADDRESS ON FILE
MR. JON E. RIIS                                    ADDRESS ON FILE
MR. JON G. LUTTER 1957                             ADDRESS ON FILE
MR. JONATHAN BASSMAN                               ADDRESS ON FILE
MR. JONATHAN BRAMS                                 ADDRESS ON FILE
MR. JONATHAN D. REINFURT 2002                      ADDRESS ON FILE
MR. JONATHAN FINEBERG                              ADDRESS ON FILE
MR. JONATHAN M. ELLIS 1982                         ADDRESS ON FILE
MR. JONATHAN R. BALLARD                            ADDRESS ON FILE
MR. JONATHAN R. BARKAT 1994                        ADDRESS ON FILE
MR. JONATHON FRANCIS                               ADDRESS ON FILE
MR. JONNY R. SHAW 1989                             ADDRESS ON FILE
MR. JORDAN A. ROCKFORD 2000                        ADDRESS ON FILE
MR. JORDAN BEIL                                    ADDRESS ON FILE
MR. JOSE CLAUDIO 1983                              ADDRESS ON FILE
MR. JOSE RODRIGUEZ                                 ADDRESS ON FILE
MR. JOSEPH A. CAPUTO                               ADDRESS ON FILE
MR. JOSEPH A. CHIARO, JR.                          ADDRESS ON FILE
MR. JOSEPH A. DANGELO                              ADDRESS ON FILE
MR. JOSEPH A. DOUGHERTY, JR. 1984                  ADDRESS ON FILE
MR. JOSEPH A. NICHOLSON, A.I.A. 1971               ADDRESS ON FILE
MR. JOSEPH ACCETTA 1982                            ADDRESS ON FILE
MR. JOSEPH B. JULIAN                               ADDRESS ON FILE
MR. JOSEPH B. TOBENS 2003                          ADDRESS ON FILE
MR. JOSEPH BOBROWICZ                               ADDRESS ON FILE
MR. JOSEPH BOLES, JR.                              ADDRESS ON FILE
MR. JOSEPH D. JACKSON                              ADDRESS ON FILE
MR. JOSEPH DICARO                                  ADDRESS ON FILE
MR. JOSEPH G. SEIDMAN                              ADDRESS ON FILE
MR. JOSEPH GILBERG                                 ADDRESS ON FILE
MR. JOSEPH H. BURKE                                ADDRESS ON FILE
MR. JOSEPH H. WEISS                                ADDRESS ON FILE
MR. JOSEPH HOGAN                                   ADDRESS ON FILE
MR. JOSEPH J. BENDINGER                            ADDRESS ON FILE
MR. JOSEPH J. BURKE                                ADDRESS ON FILE
MR. JOSEPH J. VETTORI 1978                         ADDRESS ON FILE
MR. JOSEPH J. ZIEMBA                               ADDRESS ON FILE
MR. JOSEPH L. DACREMA 2005                         ADDRESS ON FILE
MR. JOSEPH L. SANTORO 1974                         ADDRESS ON FILE
MR. JOSEPH L. WENRICH 2007                         ADDRESS ON FILE
MR. JOSEPH LOIACONO, JR.                           ADDRESS ON FILE
MR. JOSEPH M. DIRAGO, JR. 1962                     ADDRESS ON FILE
MR. JOSEPH M. KRAMER 1947                          ADDRESS ON FILE
MR. JOSEPH M. MANKO                                ADDRESS ON FILE
MR. JOSEPH M. ONEILL                               ADDRESS ON FILE
MR. JOSEPH M. SMITH                                ADDRESS ON FILE
MR. JOSEPH P. KEARNS                               ADDRESS ON FILE
MR. JOSEPH P. NIDOH                                ADDRESS ON FILE
MR. JOSEPH P. OBRIEN                               ADDRESS ON FILE
MR. JOSEPH P. WALSH                                ADDRESS ON FILE
MR. JOSEPH R. DIDOMENICO 1993                      ADDRESS ON FILE
MR. JOSEPH R. SOPRANI 1972                         ADDRESS ON FILE
MR. JOSEPH RISHEL                                  ADDRESS ON FILE
MR. JOSEPH ROTELLA 1970                            ADDRESS ON FILE
MR. JOSEPH ROTH                                    ADDRESS ON FILE
MR. JOSEPH T. FALLON, JR. 1974                     ADDRESS ON FILE
MR. JOSEPH T. QUAILE                               ADDRESS ON FILE
MR. JOSEPH W. DEVINE                               ADDRESS ON FILE
MR. JOSEPH W. OBRIEN                               ADDRESS ON FILE
MR. JOSEPH W. RAPONE 1978                          ADDRESS ON FILE
MR. JOSEPH WAKS                                    ADDRESS ON FILE
MR. JOSH E. LEVITAS 2000                           ADDRESS ON FILE
MR. JOSHUA A. BANKES 2001                          ADDRESS ON FILE
MR. JOSHUA J. MCKIBBIN 2007                        ADDRESS ON FILE
MR. JP BEATTIE 2010                                ADDRESS ON FILE
MR. JUDSON A. AARON 1981                           ADDRESS ON FILE
MR. JUSTIN A. MITCHELL 2001                        ADDRESS ON FILE
MR. JUSTIN D. PEKERA 2002                          ADDRESS ON FILE




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                Creditor Name     Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
MR. JUSTIN E. JAIN 2004                       ADDRESS ON FILE
MR. JUSTIN FORGET                             ADDRESS ON FILE
MR. JUSTIN LUJAN                              ADDRESS ON FILE
MR. JUSTIN R. PETERS 1991                     ADDRESS ON FILE
MR. KA MAN CHEUNG                             ADDRESS ON FILE
MR. KAL RUDMAN                                ADDRESS ON FILE
MR. KARL CLOUTING 1984                        ADDRESS ON FILE
MR. KARL E. CARTER 1986                       ADDRESS ON FILE
MR. KARL G. KOSLOWSKI 1963                    ADDRESS ON FILE
MR. KARL STAVEN                               ADDRESS ON FILE
MR. KARL V. WESTMAN 1977                      ADDRESS ON FILE
MR. KEITH A. SPAAR 1986                       ADDRESS ON FILE
MR. KEITH B. FRED 1977                        ADDRESS ON FILE
MR. KEITH GODARD                              ADDRESS ON FILE
MR. KEITH H. WATANABE 2002                    ADDRESS ON FILE
MR. KEITH HODGSON                             ADDRESS ON FILE
MR. KEITH J. THOMPSON 2002                    ADDRESS ON FILE
MR. KEITH N. KERMIZIAN                        ADDRESS ON FILE
MR. KELLY D. BRYAN 1976                       ADDRESS ON FILE
MR. KEN BURK 1980                             ADDRESS ON FILE
MR. KENNETH BODZIOCH                          ADDRESS ON FILE
MR. KENNETH C. OHLBAUM 1963                   ADDRESS ON FILE
MR. KENNETH C. WILSEY, JR. 1978               ADDRESS ON FILE
MR. KENNETH D. CARBONE 1973                   ADDRESS ON FILE
MR. KENNETH G. DALEY 1963                     ADDRESS ON FILE
MR. KENNETH GOLDENBERG                        ADDRESS ON FILE
MR. KENNETH HANSON                            ADDRESS ON FILE
MR. KENNETH HIEBERT                           ADDRESS ON FILE
MR. KENNETH J. YANOVIAK                       ADDRESS ON FILE
MR. KENNETH LEWIS                             ADDRESS ON FILE
MR. KENNETH LLOYD                             ADDRESS ON FILE
MR. KENNETH M. BIEBER                         ADDRESS ON FILE
MR. KENNETH P. BALIN                          ADDRESS ON FILE
MR. KENNETH PLAGEMAN                          ADDRESS ON FILE
MR. KENNETH WONG                              ADDRESS ON FILE
MR. KEVIN B. KORN 2007                        ADDRESS ON FILE
MR. KEVIN B. MURPHY                           ADDRESS ON FILE
MR. KEVIN BLUM                                ADDRESS ON FILE
MR. KEVIN CARROLL                             ADDRESS ON FILE
MR. KEVIN F. DONOHOE                          ADDRESS ON FILE
MR. KEVIN GILLESPIE                           ADDRESS ON FILE
MR. KEVIN GRIESE                              ADDRESS ON FILE
MR. KEVIN J. COOPER                           ADDRESS ON FILE
MR. KEVIN J. LYONS                            ADDRESS ON FILE
MR. KEVIN J. NICHOLAS 2000                    ADDRESS ON FILE
MR. KEVIN J. QUINN 1973                       ADDRESS ON FILE
MR. KEVIN KENNEDY                             ADDRESS ON FILE
MR. KEVIN LISEWSKI                            ADDRESS ON FILE
MR. KEVIN LUONG 2005                          ADDRESS ON FILE
MR. KEVIN MACCONNELL                          ADDRESS ON FILE
MR. KEVIN MCCANDLESS                          ADDRESS ON FILE
MR. KEVIN MCMILLAN                            ADDRESS ON FILE
MR. KEVIN MERINSKY                            ADDRESS ON FILE
MR. KEVIN P. BRENNAN                          ADDRESS ON FILE
MR. KEVIN P. RAY                              ADDRESS ON FILE
MR. KEVIN R. WRIGHT 2012                      ADDRESS ON FILE
MR. KHYBER C. JONES 2011                      ADDRESS ON FILE
MR. KIKAU ALVARO                              ADDRESS ON FILE
MR. KIRK MAZZEO 2003                          ADDRESS ON FILE
MR. KLAUS ABENDROTH                           ADDRESS ON FILE
MR. KURT M. SCHANBACHER                       ADDRESS ON FILE
MR. KURT M. SOUKUP                            ADDRESS ON FILE
MR. KYLE SKRINAK 1984                         ADDRESS ON FILE
MR. LAMMERT B. EDZAENGA                       ADDRESS ON FILE
MR. LANCE KENNEY                              ADDRESS ON FILE
MR. LARRY CHIRLIN                             ADDRESS ON FILE
MR. LARRY J. DONAHUE 1975                     ADDRESS ON FILE
MR. LARRY ROBIN                               ADDRESS ON FILE




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                Creditor Name       Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
MR. LARRY ROTH                                  ADDRESS ON FILE
MR. LARRY S. KRAMER                             ADDRESS ON FILE
MR. LARRY S. REICHLIN                           ADDRESS ON FILE
MR. LARRY SLESINGER                             ADDRESS ON FILE
MR. LARRY WILSON                                ADDRESS ON FILE
MR. LAURENCE BACH 1969                          ADDRESS ON FILE
MR. LAURENCE KATZ                               ADDRESS ON FILE
MR. LAVONNE E. STRAND 1989                      ADDRESS ON FILE
MR. LAWRENCE A. FOSTER                          ADDRESS ON FILE
MR. LAWRENCE CALLAWAY                           ADDRESS ON FILE
MR. LAWRENCE F. MAGID                           ADDRESS ON FILE
MR. LAWRENCE LUDWIG                             ADDRESS ON FILE
MR. LAWRENCE TOLLIVER                           ADDRESS ON FILE
MR. LEE SANDERSON                               ADDRESS ON FILE
MR. LEE SEELIG                                  ADDRESS ON FILE
MR. LEE SHUGHART                                ADDRESS ON FILE
MR. LEO WEISZ 1933                              ADDRESS ON FILE
MR. LEON A. ZMROCZEK                            ADDRESS ON FILE
MR. LEON H. SPEROW                              ADDRESS ON FILE
MR. LEON L. RONES                               ADDRESS ON FILE
MR. LEON ROWE                                   ADDRESS ON FILE
MR. LEON TRZASKAWKA 2027                        ADDRESS ON FILE
MR. LEONARD CICCOTELLO                          ADDRESS ON FILE
MR. LEONARD D. FURMAN                           ADDRESS ON FILE
MR. LEONARD EVELEV                              ADDRESS ON FILE
MR. LEONARD I. KORMAN                           ADDRESS ON FILE
MR. LEONARD LANIVICH 1970                       ADDRESS ON FILE
MR. LEONARD LIPKIN                              ADDRESS ON FILE
MR. LEONARD ROSENFELD                           ADDRESS ON FILE
MR. LEONARD SHORE                               ADDRESS ON FILE
MR. LEONARD STRAUSE                             ADDRESS ON FILE
MR. LEONARDO C. GONZALES, II 1993               ADDRESS ON FILE
MR. LERIUS LOUISSAINT                           ADDRESS ON FILE
MR. LESTER ROSENFELD                            ADDRESS ON FILE
MR. LEW EPSTEIN                                 ADDRESS ON FILE
MR. LEWIS C. PELL                               ADDRESS ON FILE
MR. LEWIS CHAPMAN                               ADDRESS ON FILE
MR. LEWIS H. TRAVER                             ADDRESS ON FILE
MR. LEWIS KEPPOL                                ADDRESS ON FILE
MR. LEWIS M. EPSTEIN 1976                       ADDRESS ON FILE
MR. LEWIS SILVER                                ADDRESS ON FILE
MR. LONNIE PETERSHEIM                           ADDRESS ON FILE
MR. LOUIS BLUVER                                ADDRESS ON FILE
MR. LOUIS BROAD                                 ADDRESS ON FILE
MR. LOUIS C. MARTINO, JR. 1952                  ADDRESS ON FILE
MR. LOUIS KUNTZ                                 ADDRESS ON FILE
MR. LOUIS M. MARINARO 1974                      ADDRESS ON FILE
MR. LOUIS M. RICCIO 1961                        ADDRESS ON FILE
MR. LOUIS MAURER                                ADDRESS ON FILE
MR. LOUIS P. BERNEMAN                           ADDRESS ON FILE
MR. LOUIS P. DAMORE                             ADDRESS ON FILE
MR. LOUIS R. MARRANI 1963                       ADDRESS ON FILE
MR. LOUIS ROGNONI, III                          ADDRESS ON FILE
MR. LOWELL J. BOSTON 1988                       ADDRESS ON FILE
MR. LOWELL MORGEN                               ADDRESS ON FILE
MR. LUIGI BOGNI                                 ADDRESS ON FILE
MR. LUIS CASTANEDA                              ADDRESS ON FILE
MR. LUIS M. DUARTE 1992                         ADDRESS ON FILE
MR. LUIS MELO                                   ADDRESS ON FILE
MR. MALCOLM L. LAZIN                            ADDRESS ON FILE
MR. MANNY D. POKOTILOW                          ADDRESS ON FILE
MR. MANUEL FERNANDEZ                            ADDRESS ON FILE
MR. MARC A. WILLIAMS 1977                       ADDRESS ON FILE
MR. MARC BARNETT 1968                           ADDRESS ON FILE
MR. MARC CROUSILLAT 2013                        ADDRESS ON FILE
MR. MARC FERTIK                                 ADDRESS ON FILE
MR. MARC G. CANNON 2008                         ADDRESS ON FILE
MR. MARC GRAINER                                ADDRESS ON FILE




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               Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
MR. MARC J. DICCIANI 1975                  ADDRESS ON FILE
MR. MARC S. LEVITT 1996                    ADDRESS ON FILE
MR. MARCELINO STUHMER                      ADDRESS ON FILE
MR. MARCELLO A. LUZI                       ADDRESS ON FILE
MR. MARCO NOCELLA                          ADDRESS ON FILE
MR. MARDIG BOYADJIAN                       ADDRESS ON FILE
MR. MARIO PELUSO                           ADDRESS ON FILE
MR. MARIO RUGERIO                          ADDRESS ON FILE
MR. MARK A. DONNOLO 1985                   ADDRESS ON FILE
MR. MARK A. JAMES 1987                     ADDRESS ON FILE
MR. MARK A. MUROWANY                       ADDRESS ON FILE
MR. MARK A. ROMERO 2012                    ADDRESS ON FILE
MR. MARK D. SYLVESTER 1987                 ADDRESS ON FILE
MR. MARK E. HENION 1979                    ADDRESS ON FILE
MR. MARK F. ANDREW                         ADDRESS ON FILE
MR. MARK F. CANTWELL                       ADDRESS ON FILE
MR. MARK F. CASERTA 2010                   ADDRESS ON FILE
MR. MARK GARGIULO 1985                     ADDRESS ON FILE
MR. MARK GOLDSTEIN 1960                    ADDRESS ON FILE
MR. MARK J. MURPHY 1979                    ADDRESS ON FILE
MR. MARK J. TOCCHET                        ADDRESS ON FILE
MR. MARK KASPER                            ADDRESS ON FILE
MR. MARK L. SCHNAPPER                      ADDRESS ON FILE
MR. MARK LANGFORD                          ADDRESS ON FILE
MR. MARK LYNDERS                           ADDRESS ON FILE
MR. MARK MCCALLUM                          ADDRESS ON FILE
MR. MARK MCGONIGLE                         ADDRESS ON FILE
MR. MARK MONACELLI                         ADDRESS ON FILE
MR. MARK MONTAGUE                          ADDRESS ON FILE
MR. MARK MORRIS                            ADDRESS ON FILE
MR. MARK NEWPORT                           ADDRESS ON FILE
MR. MARK PAUL                              ADDRESS ON FILE
MR. MARK RISING                            ADDRESS ON FILE
MR. MARK S. COOPERSTEIN 1979               ADDRESS ON FILE
MR. MARK SPILLER                           ADDRESS ON FILE
MR. MARK STECKEL                           ADDRESS ON FILE
MR. MARK T. WANGBERG 1999                  ADDRESS ON FILE
MR. MARK W. HASTINGS 1981                  ADDRESS ON FILE
MR. MARK W. REIFSNYDER                     ADDRESS ON FILE
MR. MARK W. ZABEL                          ADDRESS ON FILE
MR. MARK WEINBERG                          ADDRESS ON FILE
MR. MARK WEISS                             ADDRESS ON FILE
MR. MARSHALL HAMMER                        ADDRESS ON FILE
MR. MARSHALL J. MALTZMAN                   ADDRESS ON FILE
MR. MARTIN A. SNYDER                       ADDRESS ON FILE
MR. MARTIN COHEN                           ADDRESS ON FILE
MR. MARTIN FISHER                          ADDRESS ON FILE
MR. MARTIN J. ZELDIN                       ADDRESS ON FILE
MR. MARTIN MAGER                           ADDRESS ON FILE
MR. MARTIN RAYALA                          ADDRESS ON FILE
MR. MARTIN W. FIELD                        ADDRESS ON FILE
MR. MARVIN A. GROSS                        ADDRESS ON FILE
MR. MARVIN ALBERT                          ADDRESS ON FILE
MR. MARVIN BERMAN                          ADDRESS ON FILE
MR. MARVIN BROWN 1965                      ADDRESS ON FILE
MR. MARVIN COMISKY, ESQ.                   ADDRESS ON FILE
MR. MARVIN D. GINSBERG                     ADDRESS ON FILE
MR. MARVIN F. MITCHNECK 1951               ADDRESS ON FILE
MR. MARVIN FINK                            ADDRESS ON FILE
MR. MARVIN GREENBAUM                       ADDRESS ON FILE
MR. MARVIN H. FISHER                       ADDRESS ON FILE
MR. MARVIN LEVIN                           ADDRESS ON FILE
MR. MARVIN WERMAN                          ADDRESS ON FILE
MR. MARY GRAHAM                            ADDRESS ON FILE
MR. MATHEW E. BUONOMANO                    ADDRESS ON FILE
MR. MATHEW MELTZER                         ADDRESS ON FILE
MR. MATT CIEPLINSKI                        ADDRESS ON FILE
MR. MATT CURTIUS                           ADDRESS ON FILE




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                Creditor Name        Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
MR. MATTHEW ALLEN                                ADDRESS ON FILE
MR. MATTHEW BENNETT 1961                         ADDRESS ON FILE
MR. MATTHEW D. MARHEFKA 1970                     ADDRESS ON FILE
MR. MATTHEW E. HLUBNY 1999                       ADDRESS ON FILE
MR. MATTHEW H. LIDDLE 1991                       ADDRESS ON FILE
MR. MATTHEW H. VARRATO 2002                      ADDRESS ON FILE
MR. MATTHEW J. CUNNIFF 1965                      ADDRESS ON FILE
MR. MATTHEW JACKS 1986                           ADDRESS ON FILE
MR. MATTHEW M. GALLAGHER 2001                    ADDRESS ON FILE
MR. MATTHEW N. COURTNEY 1984                     ADDRESS ON FILE
MR. MATTHEW S. SCHNEIDER 2007                    ADDRESS ON FILE
MR. MAURICE BARTIKOFSKY 1972                     ADDRESS ON FILE
MR. MAURICE CALHOUN                              ADDRESS ON FILE
MR. MAURICE E. GREEN                             ADDRESS ON FILE
MR. MEL MARMER 1970                              ADDRESS ON FILE
MR. MELVIN N. MILLER                             ADDRESS ON FILE
MR. MERRILL A. SPECTOR 1977                      ADDRESS ON FILE
MR. MERVYN J. MELROSE                            ADDRESS ON FILE
MR. MICAH C. JONES 1999                          ADDRESS ON FILE
MR. MICAH ZIMRING 1985                           ADDRESS ON FILE
MR. MICHAEL A. BIELLO 1973                       ADDRESS ON FILE
MR. MICHAEL A. GRUBER 1973                       ADDRESS ON FILE
MR. MICHAEL A. KLOPP 1998                        ADDRESS ON FILE
MR. MICHAEL A. TYSON 2011                        ADDRESS ON FILE
MR. MICHAEL A. ZACCAGNI                          ADDRESS ON FILE
MR. MICHAEL ATTIE                                ADDRESS ON FILE
MR. MICHAEL BURKE 2014                           ADDRESS ON FILE
MR. MICHAEL C. LEBLANC                           ADDRESS ON FILE
MR. MICHAEL CHARLES 1968                         ADDRESS ON FILE
MR. MICHAEL CIERVO                               ADDRESS ON FILE
MR. MICHAEL COCHRAN                              ADDRESS ON FILE
MR. MICHAEL D. CEFARATTI, JR. 1996               ADDRESS ON FILE
MR. MICHAEL D. TRANQUILLO                        ADDRESS ON FILE
MR. MICHAEL DONDIEGO                             ADDRESS ON FILE
MR. MICHAEL E. GUINN 1966                        ADDRESS ON FILE
MR. MICHAEL FARINA                               ADDRESS ON FILE
MR. MICHAEL FINUOLI 1997                         ADDRESS ON FILE
MR. MICHAEL FIORILLO                             ADDRESS ON FILE
MR. MICHAEL G. GALAN 1976                        ADDRESS ON FILE
MR. MICHAEL G. MCFADDEN 2009                     ADDRESS ON FILE
MR. MICHAEL GUMENY                               ADDRESS ON FILE
MR. MICHAEL HOGAN                                ADDRESS ON FILE
MR. MICHAEL INTOCCIA                             ADDRESS ON FILE
MR. MICHAEL J. BARBELLA 1987                     ADDRESS ON FILE
MR. MICHAEL J. CEMPROLA 2006                     ADDRESS ON FILE
MR. MICHAEL J. FOY, IV 1997                      ADDRESS ON FILE
MR. MICHAEL J. FRAIN                             ADDRESS ON FILE
MR. MICHAEL J. FRIED                             ADDRESS ON FILE
MR. MICHAEL J. GOOCH                             ADDRESS ON FILE
MR. MICHAEL J. PACIFICO 2015                     ADDRESS ON FILE
MR. MICHAEL J. PAULLEY                           ADDRESS ON FILE
MR. MICHAEL J. SCHELLER                          ADDRESS ON FILE
MR. MICHAEL J. WARD 2005                         ADDRESS ON FILE
MR. MICHAEL K. NEWMAN 2005                       ADDRESS ON FILE
MR. MICHAEL KUNCEVICH 1945                       ADDRESS ON FILE
MR. MICHAEL KUNCIO                               ADDRESS ON FILE
MR. MICHAEL KURGANSKY 1971                       ADDRESS ON FILE
MR. MICHAEL L. COURTNEY 2001                     ADDRESS ON FILE
MR. MICHAEL L. NORRIS                            ADDRESS ON FILE
MR. MICHAEL L. TEMIN                             ADDRESS ON FILE
MR. MICHAEL MADIGAN                              ADDRESS ON FILE
MR. MICHAEL MARIE                                ADDRESS ON FILE
MR. MICHAEL MILLER                               ADDRESS ON FILE
MR. MICHAEL MIZRAHI 2014                         ADDRESS ON FILE
MR. MICHAEL MOOSLIN                              ADDRESS ON FILE
MR. MICHAEL NEFF                                 ADDRESS ON FILE
MR. MICHAEL NERO                                 ADDRESS ON FILE
MR. MICHAEL OBERLE                               ADDRESS ON FILE




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                Creditor Name     Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
MR. MICHAEL P. CINQUE 1983                    ADDRESS ON FILE
MR. MICHAEL P. HENEGHAN 2006                  ADDRESS ON FILE
MR. MICHAEL P. KEYS                           ADDRESS ON FILE
MR. MICHAEL P. LUCAS 1967                     ADDRESS ON FILE
MR. MICHAEL POSNER                            ADDRESS ON FILE
MR. MICHAEL R. CATALANO                       ADDRESS ON FILE
MR. MICHAEL R. TECOSKY                        ADDRESS ON FILE
MR. MICHAEL ROHDE                             ADDRESS ON FILE
MR. MICHAEL ROMERO                            ADDRESS ON FILE
MR. MICHAEL ROSSMAN                           ADDRESS ON FILE
MR. MICHAEL S. KENNEDY 1991                   ADDRESS ON FILE
MR. MICHAEL S. LERNER                         ADDRESS ON FILE
MR. MICHAEL S. PRENDERGAST 2006               ADDRESS ON FILE
MR. MICHAEL S. PROTEVI                        ADDRESS ON FILE
MR. MICHAEL SEELIG                            ADDRESS ON FILE
MR. MICHAEL T. QUAILE 1980                    ADDRESS ON FILE
MR. MICHAEL WILTZ                             ADDRESS ON FILE
MR. MICHAEL WOLLMAN 1942                      ADDRESS ON FILE
MR. MICHAEL WOODS                             ADDRESS ON FILE
MR. MIGUEL ANGEL CORZO                        ADDRESS ON FILE
MR. MIKE ROMANKIEWICZ                         ADDRESS ON FILE
MR. MIKHAIL SERGEEV                           ADDRESS ON FILE
MR. MILES E. YEUNG 2014                       ADDRESS ON FILE
MR. MILTON ROSS                               ADDRESS ON FILE
MR. MITCHELL BENSON                           ADDRESS ON FILE
MR. MITCHELL GERBER                           ADDRESS ON FILE
MR. MITCHELL SCHWARZER                        ADDRESS ON FILE
MR. MITCHELL WEIN                             ADDRESS ON FILE
MR. MORRIS A. CHOMITZ                         ADDRESS ON FILE
MR. MORTON B. STEIN                           ADDRESS ON FILE
MR. MORTON L. SOFFER                          ADDRESS ON FILE
MR. MOSES M. RODRIGUES 2008                   ADDRESS ON FILE
MR. MURRAY SPAIN                              ADDRESS ON FILE
MR. MYREON B. ARSLAN 1995                     ADDRESS ON FILE
MR. MYRON R. BRODY 1965                       ADDRESS ON FILE
MR. NATHAN ECKSTUT                            ADDRESS ON FILE
MR. NEAL M. KRUGER 1974                       ADDRESS ON FILE
MR. NED P. IANACONE 2015                      ADDRESS ON FILE
MR. NEIL BOROWSKY                             ADDRESS ON FILE
MR. NHIEU D. DO 2006                          ADDRESS ON FILE
MR. NICHOLAS C. HUHN 2014                     ADDRESS ON FILE
MR. NICHOLAS C. MONTENEGRO                    ADDRESS ON FILE
MR. NICHOLAS CARDILLO 2002                    ADDRESS ON FILE
MR. NICHOLAS J. SPADACCINI                    ADDRESS ON FILE
MR. NICHOLAS J. WHITTAKER 2010                ADDRESS ON FILE
MR. NICHOLAS P. MURPHY 2007                   ADDRESS ON FILE
MR. NICHOLAS SPADACCINI                       ADDRESS ON FILE
MR. NICK EMBREE                               ADDRESS ON FILE
MR. NICK KLINE                                ADDRESS ON FILE
MR. NICK SELCH                                ADDRESS ON FILE
MR. NIJEL C. TAYLOR 2014                      ADDRESS ON FILE
MR. NILES LEWANDOWSKI                         ADDRESS ON FILE
MR. NOAH HERMAN                               ADDRESS ON FILE
MR. NOEL G. MILES, JR. 1962                   ADDRESS ON FILE
MR. NORMAN C. SPRATT 1992                     ADDRESS ON FILE
MR. NORMAN J. BRODY                           ADDRESS ON FILE
MR. NORMAN L. BARR, JR.                       ADDRESS ON FILE
MR. NORMAN MICHAELS                           ADDRESS ON FILE
MR. NORMAN SPIELBERG 1975                     ADDRESS ON FILE
MR. NORMAN THOMASES                           ADDRESS ON FILE
MR. NORMAN TOMASES 1952                       ADDRESS ON FILE
MR. NORMAN U. COHN                            ADDRESS ON FILE
MR. OLA CANNON 1975                           ADDRESS ON FILE
MR. OLEG DJIMBINOV 2007                       ADDRESS ON FILE
MR. OLIVER B. TOMLIN                          ADDRESS ON FILE
MR. OSWALDO ZACCAGNI                          ADDRESS ON FILE
MR. OSWIN B. FINDLAY                          ADDRESS ON FILE
MR. OWEN MCGOLDRICK 1983                      ADDRESS ON FILE




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                Creditor Name           Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
MR. P. CARPENTER DEWEY                              ADDRESS ON FILE
MR. P. RICHARD FRIEDER                              ADDRESS ON FILE
MR. PABLO BAUTISTA                                  ADDRESS ON FILE
MR. PANAGIOTIS KALLINTERIS 1997                     ADDRESS ON FILE
MR. PARRY JONES                                     ADDRESS ON FILE
MR. PAT CANNING                                     ADDRESS ON FILE
MR. PATRICK A. CARLIN                               ADDRESS ON FILE
MR. PATRICK A. DETWILER 1990                        ADDRESS ON FILE
MR. PATRICK A. SHIRK 1997                           ADDRESS ON FILE
MR. PATRICK B. HURLEY                               ADDRESS ON FILE
MR. PATRICK CASERTA                                 ADDRESS ON FILE
MR. PATRICK DEMARCO                                 ADDRESS ON FILE
MR. PATRICK M. MCDONOUGH                            ADDRESS ON FILE
MR. PATRICK M. MERCURI 1975                         ADDRESS ON FILE
MR. PATRICK MANION                                  ADDRESS ON FILE
MR. PATRICK MCDONNELL                               ADDRESS ON FILE
MR. PATRICK MCKAY                                   ADDRESS ON FILE
MR. PATRICK R. FORTE                                ADDRESS ON FILE
MR. PATRICK SCHARFF                                 ADDRESS ON FILE
MR. PATRICK T. CABRY 2017                           ADDRESS ON FILE
MR. PATRICK TYNE                                    ADDRESS ON FILE
MR. PATRICK Z. GARNER 2005                          ADDRESS ON FILE
MR. PAUL A. MARRO 2002                              ADDRESS ON FILE
MR. PAUL ATKINS 1986                                ADDRESS ON FILE
MR. PAUL BUCKLEY                                    ADDRESS ON FILE
MR. PAUL CAHN                                       ADDRESS ON FILE
MR. PAUL D. SNYDER 1966                             ADDRESS ON FILE
MR. PAUL D. SPIKER 1979                             ADDRESS ON FILE
MR. PAUL E. HECK                                    ADDRESS ON FILE
MR. PAUL E. ROHSNER, JR., A.I.A. 1977               ADDRESS ON FILE
MR. PAUL EFROS                                      ADDRESS ON FILE
MR. PAUL F. COLOMBO 1998                            ADDRESS ON FILE
MR. PAUL GANSKY                                     ADDRESS ON FILE
MR. PAUL H. KING 1978                               ADDRESS ON FILE
MR. PAUL J. ANGELONI 1992                           ADDRESS ON FILE
MR. PAUL J. EMMA 1967                               ADDRESS ON FILE
MR. PAUL K. MILLER                                  ADDRESS ON FILE
MR. PAUL M. CURCI                                   ADDRESS ON FILE
MR. PAUL M. SNIDER                                  ADDRESS ON FILE
MR. PAUL MANGIONE                                   ADDRESS ON FILE
MR. PAUL MELMON                                     ADDRESS ON FILE
MR. PAUL O. WILSON 1962                             ADDRESS ON FILE
MR. PAUL ORSELLI                                    ADDRESS ON FILE
MR. PAUL POLAKOW                                    ADDRESS ON FILE
MR. PAUL RUBIN                                      ADDRESS ON FILE
MR. PAUL SMITH                                      ADDRESS ON FILE
MR. PAUL W. NIEMCZURA                               ADDRESS ON FILE
MR. PAULA PANTANO                                   ADDRESS ON FILE
MR. PERRIN C. HAMILTON                              ADDRESS ON FILE
MR. PERRY MONASTERO                                 ADDRESS ON FILE
MR. PETER A. BENOLIEL                               ADDRESS ON FILE
MR. PETER A. NACCARATO                              ADDRESS ON FILE
MR. PETER A. PIVEN                                  ADDRESS ON FILE
MR. PETER BERTINI 1979                              ADDRESS ON FILE
MR. PETER C. ZIMMERMAN                              ADDRESS ON FILE
MR. PETER COMPO                                     ADDRESS ON FILE
MR. PETER COTTER                                    ADDRESS ON FILE
MR. PETER F. WONSOWSKI 2002                         ADDRESS ON FILE
MR. PETER G. KALIVAS 1988                           ADDRESS ON FILE
MR. PETER H. ZIMMERMAN                              ADDRESS ON FILE
MR. PETER HAAS                                      ADDRESS ON FILE
MR. PETER J. BERGERIS                               ADDRESS ON FILE
MR. PETER KASPER                                    ADDRESS ON FILE
MR. PETER KRUTY                                     ADDRESS ON FILE
MR. PETER MERCHANT                                  ADDRESS ON FILE
MR. PETER R. GASCOYNE 1987                          ADDRESS ON FILE
MR. PETER R. KERY 1984                              ADDRESS ON FILE
MR. PETER R. REYNOLDS                               ADDRESS ON FILE




                                                                                                                                                          Page 76 of 290
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                 Creditor Name        Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
MR. PETER ROSE                                    ADDRESS ON FILE
MR. PETER VASQUEZ                                 ADDRESS ON FILE
MR. PETER Y. SOLMSSEN                             ADDRESS ON FILE
MR. PHIL GIORDANO                                 ADDRESS ON FILE
MR. PHIL LEVY                                     ADDRESS ON FILE
MR. PHILIP ALPERSON                               ADDRESS ON FILE
MR. PHILIP C. BURTON 1968                         ADDRESS ON FILE
MR. PHILIP C. HENDERSON                           ADDRESS ON FILE
MR. PHILIP COPELAND                               ADDRESS ON FILE
MR. PHILIP J. EITZEN 1952                         ADDRESS ON FILE
MR. PHILIP J. HARVEY                              ADDRESS ON FILE
MR. PHILIP MOMBERGER                              ADDRESS ON FILE
MR. PHILIP S. PANG                                ADDRESS ON FILE
MR. PHILIP SCHULMAN 1959                          ADDRESS ON FILE
MR. PHILIP V. TASCONE 1961                        ADDRESS ON FILE
MR. PHILLIPS ENGELKE 1967                         ADDRESS ON FILE
MR. PRABHAKAR MARUVADA                            ADDRESS ON FILE
MR. QUINN BAURIEDEL                               ADDRESS ON FILE
MR. QUINN D. TETTERTON 1987                       ADDRESS ON FILE
MR. R. DAVID OREHOWSKY, JR. 1984                  ADDRESS ON FILE
MR. RAJ TEWARI                                    ADDRESS ON FILE
MR. RALPH A. BUCK                                 ADDRESS ON FILE
MR. RALPH C. GIGUERE 1980                         ADDRESS ON FILE
MR. RALPH CITINO, C.P.A.                          ADDRESS ON FILE
MR. RALPH COOK                                    ADDRESS ON FILE
MR. RALPH M. QUINN                                ADDRESS ON FILE
MR. RALPH PALLARINO                               ADDRESS ON FILE
MR. RALPH V. CLAYMAN                              ADDRESS ON FILE
MR. RANDY FLYNN                                   ADDRESS ON FILE
MR. RANDY M. ATKINSON                             ADDRESS ON FILE
MR. RANDY W. GRANGER 1970                         ADDRESS ON FILE
MR. RAY DORMAN                                    ADDRESS ON FILE
MR. RAYMOND ALLISON                               ADDRESS ON FILE
MR. RAYMOND E. MAJEWSKI                           ADDRESS ON FILE
MR. RAYMOND G. PERELMAN                           ADDRESS ON FILE
MR. RAYMOND K. DAVIS 2011                         ADDRESS ON FILE
MR. REID N. CARRESCIA 2012                        ADDRESS ON FILE
MR. RICHARD A. DEFEO 1956                         ADDRESS ON FILE
MR. RICHARD A. FINK                               ADDRESS ON FILE
MR. RICHARD B. CLIFF 1961                         ADDRESS ON FILE
MR. RICHARD BILLINGS                              ADDRESS ON FILE
MR. RICHARD BRAEMER                               ADDRESS ON FILE
MR. RICHARD C. STEVENS                            ADDRESS ON FILE
MR. RICHARD CAVALLARO                             ADDRESS ON FILE
MR. RICHARD CUNEO                                 ADDRESS ON FILE
MR. RICHARD D. COSSENTINO 2006                    ADDRESS ON FILE
MR. RICHARD D. MECHANIK 1968                      ADDRESS ON FILE
MR. RICHARD E. SMITH-BEVERLY 2006                 ADDRESS ON FILE
MR. RICHARD F. FANELLI 1977                       ADDRESS ON FILE
MR. RICHARD F. WAGNER 1981                        ADDRESS ON FILE
MR. RICHARD FARNUM                                ADDRESS ON FILE
MR. RICHARD FELTON                                ADDRESS ON FILE
MR. RICHARD FLINT                                 ADDRESS ON FILE
MR. RICHARD G. GIACONIA                           ADDRESS ON FILE
MR. RICHARD G. MONTELEONE 2002                    ADDRESS ON FILE
MR. RICHARD GALLO                                 ADDRESS ON FILE
MR. RICHARD HEINRICH                              ADDRESS ON FILE
MR. RICHARD HOUGH, III                            ADDRESS ON FILE
MR. RICHARD J. BOVA 1963                          ADDRESS ON FILE
MR. RICHARD J. CATTAFESTA, JR. 1983               ADDRESS ON FILE
MR. RICHARD J. GELLES                             ADDRESS ON FILE
MR. RICHARD J. GROLLER 1975                       ADDRESS ON FILE
MR. RICHARD J. HILLMAN                            ADDRESS ON FILE
MR. RICHARD J. SNYDER                             ADDRESS ON FILE
MR. RICHARD KASILOWSKI                            ADDRESS ON FILE
MR. RICHARD L. STOPPLEWORTH                       ADDRESS ON FILE
MR. RICHARD LARZELERE                             ADDRESS ON FILE
MR. RICHARD LAWN                                  ADDRESS ON FILE




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               Creditor Name     Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
MR. RICHARD M. ANDERSON 1985                 ADDRESS ON FILE
MR. RICHARD M. KLINGAMAN                     ADDRESS ON FILE
MR. RICHARD M. LONGO                         ADDRESS ON FILE
MR. RICHARD MAYO                             ADDRESS ON FILE
MR. RICHARD MILLER                           ADDRESS ON FILE
MR. RICHARD MINA                             ADDRESS ON FILE
MR. RICHARD N. LENTINO                       ADDRESS ON FILE
MR. RICHARD NOE                              ADDRESS ON FILE
MR. RICHARD O. ROLAND 1976                   ADDRESS ON FILE
MR. RICHARD P. BEW 1965                      ADDRESS ON FILE
MR. RICHARD S. FRANK                         ADDRESS ON FILE
MR. RICHARD S. LAW 2008                      ADDRESS ON FILE
MR. RICHARD S. WOLFE                         ADDRESS ON FILE
MR. RICHARD SHREVE                           ADDRESS ON FILE
MR. RICHARD STULMAN                          ADDRESS ON FILE
MR. RICHARD T. WALTER 1955                   ADDRESS ON FILE
MR. RICHARD V. HOTCHKISS 1987                ADDRESS ON FILE
MR. RICHARD W. LINDSTROM                     ADDRESS ON FILE
MR. RICHARD W. LOWNES 1972                   ADDRESS ON FILE
MR. RICHARD W. STRAUSS                       ADDRESS ON FILE
MR. RICK R. LANDESBERG 1973                  ADDRESS ON FILE
MR. ROBERT A. BARISH 1966                    ADDRESS ON FILE
MR. ROBERT A. FISHER                         ADDRESS ON FILE
MR. ROBERT A. MUZERALL                       ADDRESS ON FILE
MR. ROBERT A. PEDRO                          ADDRESS ON FILE
MR. ROBERT A. WINEMILLER                     ADDRESS ON FILE
MR. ROBERT A. ZIEGLER 1992                   ADDRESS ON FILE
MR. ROBERT ALIG                              ADDRESS ON FILE
MR. ROBERT BARROWAY                          ADDRESS ON FILE
MR. ROBERT C. HENNING 1982                   ADDRESS ON FILE
MR. ROBERT C. HUNSICKER 1963                 ADDRESS ON FILE
MR. ROBERT CASSETTA                          ADDRESS ON FILE
MR. ROBERT D. GORCHOV                        ADDRESS ON FILE
MR. ROBERT D. JONES 1985                     ADDRESS ON FILE
MR. ROBERT D. LURYE 1982                     ADDRESS ON FILE
MR. ROBERT D. MCNEIL                         ADDRESS ON FILE
MR. ROBERT D. SCHAEFFER                      ADDRESS ON FILE
MR. ROBERT DEVLIN                            ADDRESS ON FILE
MR. ROBERT E. CLARKE                         ADDRESS ON FILE
MR. ROBERT E. ENDERS 1961                    ADDRESS ON FILE
MR. ROBERT E. GROSSMAN 1964                  ADDRESS ON FILE
MR. ROBERT E. HAUT 1990                      ADDRESS ON FILE
MR. ROBERT E. ROUSE, JR.                     ADDRESS ON FILE
MR. ROBERT G. ALLEN, III 1985                ADDRESS ON FILE
MR. ROBERT G. LITTLE, JR. 1981               ADDRESS ON FILE
MR. ROBERT G. MCCURDY                        ADDRESS ON FILE
MR. ROBERT GALLOP                            ADDRESS ON FILE
MR. ROBERT GARFINKLE                         ADDRESS ON FILE
MR. ROBERT GIARDINI                          ADDRESS ON FILE
MR. ROBERT GREENE                            ADDRESS ON FILE
MR. ROBERT GREGORY                           ADDRESS ON FILE
MR. ROBERT H. FINNIGAN                       ADDRESS ON FILE
MR. ROBERT HALLENBECK                        ADDRESS ON FILE
MR. ROBERT HANNUM, JR.                       ADDRESS ON FILE
MR. ROBERT J. BYRD 1966                      ADDRESS ON FILE
MR. ROBERT J. FLECK 1947                     ADDRESS ON FILE
MR. ROBERT J. IGNARRI                        ADDRESS ON FILE
MR. ROBERT J. MCNAMARA                       ADDRESS ON FILE
MR. ROBERT K. YAGURA 1965                    ADDRESS ON FILE
MR. ROBERT KETTELL                           ADDRESS ON FILE
MR. ROBERT L. BURCH                          ADDRESS ON FILE
MR. ROBERT L. FISCHER 1976                   ADDRESS ON FILE
MR. ROBERT L. KEIGHTON                       ADDRESS ON FILE
MR. ROBERT L. SMITH 1967                     ADDRESS ON FILE
MR. ROBERT LEE                               ADDRESS ON FILE
MR. ROBERT LIEBERMAN                         ADDRESS ON FILE
MR. ROBERT LIMA                              ADDRESS ON FILE
MR. ROBERT M. CAPLAN                         ADDRESS ON FILE




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               Creditor Name     Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
MR. ROBERT M. DIETER                         ADDRESS ON FILE
MR. ROBERT M. SCHWARTZ, ESQ.                 ADDRESS ON FILE
MR. ROBERT MOSS-VREELAND 1972                ADDRESS ON FILE
MR. ROBERT N. DEVINCENT                      ADDRESS ON FILE
MR. ROBERT OPPECKER 1982                     ADDRESS ON FILE
MR. ROBERT P. CHACKO 1997                    ADDRESS ON FILE
MR. ROBERT P. LOVETT, JR. 1972               ADDRESS ON FILE
MR. ROBERT P. MANSILLA                       ADDRESS ON FILE
MR. ROBERT PERIH                             ADDRESS ON FILE
MR. ROBERT PERKINS                           ADDRESS ON FILE
MR. ROBERT PICKERING                         ADDRESS ON FILE
MR. ROBERT POLLACK                           ADDRESS ON FILE
MR. ROBERT R. BACHMAN                        ADDRESS ON FILE
MR. ROBERT S. BEERMAN 1988                   ADDRESS ON FILE
MR. ROBERT S. MCALLISTER 1979                ADDRESS ON FILE
MR. ROBERT SACK                              ADDRESS ON FILE
MR. ROBERT SAULS                             ADDRESS ON FILE
MR. ROBERT SCHROEDER 1993                    ADDRESS ON FILE
MR. ROBERT SHOMO                             ADDRESS ON FILE
MR. ROBERT STEIN                             ADDRESS ON FILE
MR. ROBERT TIFFANY                           ADDRESS ON FILE
MR. ROBERT W. ARNOLD                         ADDRESS ON FILE
MR. ROBERT W. MOORE                          ADDRESS ON FILE
MR. ROBERT W. QUAILE, JR. 1975               ADDRESS ON FILE
MR. ROBERT W. ROBAR                          ADDRESS ON FILE
MR. ROBERT W. SCHREITER                      ADDRESS ON FILE
MR. ROBERTO HAYER                            ADDRESS ON FILE
MR. RODNEY A. WILSON, JR. 1992               ADDRESS ON FILE
MR. RODNEY GREEN                             ADDRESS ON FILE
MR. RODRIGO SALVINO                          ADDRESS ON FILE
MR. ROGER A. LEONARD, JR.                    ADDRESS ON FILE
MR. ROGER A. PETERSEN 1996                   ADDRESS ON FILE
MR. ROGER L. BOMGARDNER                      ADDRESS ON FILE
MR. ROGER R. REMINGTON                       ADDRESS ON FILE
MR. ROGER ROTH                               ADDRESS ON FILE
MR. ROGER W. HERRELL, ESQ.                   ADDRESS ON FILE
MR. ROGER W. LACY                            ADDRESS ON FILE
MR. ROLAND E. BYE                            ADDRESS ON FILE
MR. RON RUMFORD 1984                         ADDRESS ON FILE
MR. RONALD C. QUAVE                          ADDRESS ON FILE
MR. RONALD E. SPICER 1957                    ADDRESS ON FILE
MR. RONALD GOLUB                             ADDRESS ON FILE
MR. RONALD J. CHRZANOWSKI                    ADDRESS ON FILE
MR. RONALD J. NAPLES                         ADDRESS ON FILE
MR. RONALD L. CANTOR                         ADDRESS ON FILE
MR. RONALD L. CAPLAN                         ADDRESS ON FILE
MR. RONALD L. KOLBE                          ADDRESS ON FILE
MR. RONALD L. SMITH 1994                     ADDRESS ON FILE
MR. RONALD MARCHESSAULT, JR.                 ADDRESS ON FILE
MR. RONALD MARTIN                            ADDRESS ON FILE
MR. RONALD P. KERBER 1980                    ADDRESS ON FILE
MR. RONALD REIGHN                            ADDRESS ON FILE
MR. RONALD RUMFORD                           ADDRESS ON FILE
MR. RONALD S. ELOWITZ 1986                   ADDRESS ON FILE
MR. ROREE IRIS-WILLIAMS                      ADDRESS ON FILE
MR. RORY T. DONOVAN 2010                     ADDRESS ON FILE
MR. ROSS H. LEVINE 1994                      ADDRESS ON FILE
MR. ROSS RICHARDS                            ADDRESS ON FILE
MR. ROWLAND RICKETTS                         ADDRESS ON FILE
MR. ROY E. ROBERTSON                         ADDRESS ON FILE
MR. RUBEN C. GASPAR 1972                     ADDRESS ON FILE
MR. RUSSEL SALVINO                           ADDRESS ON FILE
MR. RYAN A. BERARDI 2014                     ADDRESS ON FILE
MR. RYAN D. COBOURN 1999                     ADDRESS ON FILE
MR. RYAN D. LAUER 2006                       ADDRESS ON FILE
MR. RYAN E. THACKER 2004                     ADDRESS ON FILE
MR. RYAN EBERSOLE                            ADDRESS ON FILE
MR. RYAN M. DUNLEAVY 2002                    ADDRESS ON FILE




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                Creditor Name     Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
MR. RYAN M. PENN 2012                         ADDRESS ON FILE
MR. RYAN T. TOUHEY 2009                       ADDRESS ON FILE
MR. S. E. RHOADS                              ADDRESS ON FILE
MR. S. RONALD MORLEY 1950                     ADDRESS ON FILE
MR. SALVADOR B. ORARA 2005                    ADDRESS ON FILE
MR. SALVATORE D. FANELLI                      ADDRESS ON FILE
MR. SALVATORE L. NISTICO 2001                 ADDRESS ON FILE
MR. SALVATORE POLIZZOTTO                      ADDRESS ON FILE
MR. SAM MINTZ-STRAUS                          ADDRESS ON FILE
MR. SAMUEL A. SCHAFER 1953                    ADDRESS ON FILE
MR. SAMUEL E. NALBAND 2007                    ADDRESS ON FILE
MR. SAMUEL HERB                               ADDRESS ON FILE
MR. SAMUEL J. SHIAVO                          ADDRESS ON FILE
MR. SAMUEL MACKEY                             ADDRESS ON FILE
MR. SAMUEL PEREZ                              ADDRESS ON FILE
MR. SAMUEL R. MARSHALL                        ADDRESS ON FILE
MR. SAMUEL W. BUTTERMORE                      ADDRESS ON FILE
MR. SANDERS FRITH-BROWN                       ADDRESS ON FILE
MR. SANDERSON CAESAR 1969                     ADDRESS ON FILE
MR. SANDY AUSTIN                              ADDRESS ON FILE
MR. SAUL A. FINEMAN 1978                      ADDRESS ON FILE
MR. SCOTT A. KASSELMANN 1985                  ADDRESS ON FILE
MR. SCOTT A. MIKUS 1986                       ADDRESS ON FILE
MR. SCOTT BARSKY                              ADDRESS ON FILE
MR. SCOTT BENDER                              ADDRESS ON FILE
MR. SCOTT CALDWELL                            ADDRESS ON FILE
MR. SCOTT D. BARNABIE                         ADDRESS ON FILE
MR. SCOTT F. DEFELICE                         ADDRESS ON FILE
MR. SCOTT FOXMAN                              ADDRESS ON FILE
MR. SCOTT KIP 1999                            ADDRESS ON FILE
MR. SCOTT KLAUM                               ADDRESS ON FILE
MR. SCOTT M. JENKINS                          ADDRESS ON FILE
MR. SCOTT MOTTER                              ADDRESS ON FILE
MR. SCOTT MURRAY                              ADDRESS ON FILE
MR. SCOTT R. FEUER 1976                       ADDRESS ON FILE
MR. SCOTT RANTOVICH                           ADDRESS ON FILE
MR. SCOTT SCHECHTER                           ADDRESS ON FILE
MR. SCOTT SHERMAN                             ADDRESS ON FILE
MR. SCOTT STAHLER 1970                        ADDRESS ON FILE
MR. SEAN BECKER                               ADDRESS ON FILE
MR. SEAN F. URIE 2005                         ADDRESS ON FILE
MR. SEAN G. RYNKEWICZ 2018                    ADDRESS ON FILE
MR. SEAN LENNON                               ADDRESS ON FILE
MR. SEAN M. BRADLEY 2009                      ADDRESS ON FILE
MR. SEAN N. ELIAS 2008                        ADDRESS ON FILE
MR. SEAN P. NIXON 1983                        ADDRESS ON FILE
MR. SEAN T. BUFFINGTON                        ADDRESS ON FILE
MR. SETH D. KRAMER 1996                       ADDRESS ON FILE
MR. SETH GERSHBERG                            ADDRESS ON FILE
MR. SETH J. LEHR                              ADDRESS ON FILE
MR. SEYMOUR MEDNICK 1948                      ADDRESS ON FILE
MR. SEYMOUR WOODNICK 1949                     ADDRESS ON FILE
MR. SHELDON H. KREVIT 1977                    ADDRESS ON FILE
MR. SHELDON PINE                              ADDRESS ON FILE
MR. SHELDON STEINBERG                         ADDRESS ON FILE
MR. SHEPARD HARRIS 1983                       ADDRESS ON FILE
MR. SHERIF B. HABASHI 1994                    ADDRESS ON FILE
MR. SIDNEY LEVOV                              ADDRESS ON FILE
MR. SIDNEY WALLACE                            ADDRESS ON FILE
MR. SIMON D. PRIOLEAU 1957                    ADDRESS ON FILE
MR. SOL SHAMILZADEH                           ADDRESS ON FILE
MR. STACEY GILL                               ADDRESS ON FILE
MR. STACY A. BLOCK                            ADDRESS ON FILE
MR. STAMATIS N. BURPULIS 1968                 ADDRESS ON FILE
MR. STANLEY B. REICHLIN                       ADDRESS ON FILE
MR. STANLEY G. TIMSON, JR. 1958               ADDRESS ON FILE
MR. STANLEY J. LASKOWSKI                      ADDRESS ON FILE
MR. STANLEY JANUS                             ADDRESS ON FILE




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               Creditor Name      Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
MR. STEFAN KUNZ                               ADDRESS ON FILE
MR. STEFF GEISSBUHLER                         ADDRESS ON FILE
MR. STEPHEN A. CRYSTAL                        ADDRESS ON FILE
MR. STEPHEN B. GEER                           ADDRESS ON FILE
MR. STEPHEN BERENSON                          ADDRESS ON FILE
MR. STEPHEN D. MIGNOGNA 1980                  ADDRESS ON FILE
MR. STEPHEN DIMARCO                           ADDRESS ON FILE
MR. STEPHEN DOWICZ                            ADDRESS ON FILE
MR. STEPHEN F. MOPPERT 1979                   ADDRESS ON FILE
MR. STEPHEN IWANCZUK 1973                     ADDRESS ON FILE
MR. STEPHEN J. ERDODY                         ADDRESS ON FILE
MR. STEPHEN JAY                               ADDRESS ON FILE
MR. STEPHEN LIGHTCAP                          ADDRESS ON FILE
MR. STEPHEN M. BOYLES, SR.                    ADDRESS ON FILE
MR. STEPHEN M. BUCHKO                         ADDRESS ON FILE
MR. STEPHEN M. DEPINO 2000                    ADDRESS ON FILE
MR. STEPHEN M. GUNTER 2013                    ADDRESS ON FILE
MR. STEPHEN M. SINCLAIR                       ADDRESS ON FILE
MR. STEPHEN M. TARANTAL                       ADDRESS ON FILE
MR. STEPHEN MAIOCCO                           ADDRESS ON FILE
MR. STEPHEN MULLIN                            ADDRESS ON FILE
MR. STEPHEN R. BASHORE 2006                   ADDRESS ON FILE
MR. STEPHEN R. BECKER                         ADDRESS ON FILE
MR. STEPHEN R. SCHAFFZIN 1966                 ADDRESS ON FILE
MR. STEPHEN Z. COHEN 1964                     ADDRESS ON FILE
MR. STEPHEN ZABLOTNY 1970                     ADDRESS ON FILE
MR. STEVE HARBERGER                           ADDRESS ON FILE
MR. STEVE M. RESNICK                          ADDRESS ON FILE
MR. STEVEN ANTINOFF                           ADDRESS ON FILE
MR. STEVEN BESKRONE                           ADDRESS ON FILE
MR. STEVEN C. FLAMM 1985                      ADDRESS ON FILE
MR. STEVEN G. PRUSKY                          ADDRESS ON FILE
MR. STEVEN KLEINMAN                           ADDRESS ON FILE
MR. STEVEN L. GRAF                            ADDRESS ON FILE
MR. STEVEN M. KATZ                            ADDRESS ON FILE
MR. STEVEN MIKAMI                             ADDRESS ON FILE
MR. STEVEN P. MCKENNA                         ADDRESS ON FILE
MR. STEVEN PANCHERI 1985                      ADDRESS ON FILE
MR. STEVEN SOOJIAN                            ADDRESS ON FILE
MR. STEVENS E. BROOKS                         ADDRESS ON FILE
MR. STEWART JOON J. THOMAS 1987               ADDRESS ON FILE
MR. STU L. SATALOF                            ADDRESS ON FILE
MR. STUART D. ZIMRING                         ADDRESS ON FILE
MR. STUART SAMUELS                            ADDRESS ON FILE
MR. SUSAN THOMPSON                            ADDRESS ON FILE
MR. SYDNEY THAYER                             ADDRESS ON FILE
MR. TAEWAN AN 2010                            ADDRESS ON FILE
MR. TAGE LILJA 1987                           ADDRESS ON FILE
MR. TAINE PECHET                              ADDRESS ON FILE
MR. TAKAKO LEWIS                              ADDRESS ON FILE
MR. TAMAR KISILEVITZ                          ADDRESS ON FILE
MR. TERRENCE L. SIMPSON                       ADDRESS ON FILE
MR. TERRY K. CARKNER                          ADDRESS ON FILE
MR. TERRY TERRUSO                             ADDRESS ON FILE
MR. TEVIS GOLDHAFT                            ADDRESS ON FILE
MR. THEODOR BLACK 1993                        ADDRESS ON FILE
MR. THEODORE A. COCUZZA 2012                  ADDRESS ON FILE
MR. THEODORE A. XARAS 1967                    ADDRESS ON FILE
MR. THEODORE CROSS                            ADDRESS ON FILE
MR. THEODORE R. ARONSON                       ADDRESS ON FILE
MR. THEODORE T. NEWBOLD                       ADDRESS ON FILE
MR. THOMAS A. DEENEY                          ADDRESS ON FILE
MR. THOMAS A. FERGUSON                        ADDRESS ON FILE
MR. THOMAS A. HAHN 1981                       ADDRESS ON FILE
MR. THOMAS A. KANE                            ADDRESS ON FILE
MR. THOMAS A. MACIAG 1985                     ADDRESS ON FILE
MR. THOMAS BRANNAN                            ADDRESS ON FILE
MR. THOMAS BURRITT                            ADDRESS ON FILE




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                Creditor Name    Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
MR. THOMAS BUTTER 1975                       ADDRESS ON FILE
MR. THOMAS CELLA                             ADDRESS ON FILE
MR. THOMAS D. PORETT                         ADDRESS ON FILE
MR. THOMAS E. HALPIN 1989                    ADDRESS ON FILE
MR. THOMAS E. ROMANO                         ADDRESS ON FILE
MR. THOMAS FETTERMAN 1968                    ADDRESS ON FILE
MR. THOMAS FORD                              ADDRESS ON FILE
MR. THOMAS G. FOLEY 2003                     ADDRESS ON FILE
MR. THOMAS G. SIECK                          ADDRESS ON FILE
MR. THOMAS GALLAGHER                         ADDRESS ON FILE
MR. THOMAS H. CARNWATH                       ADDRESS ON FILE
MR. THOMAS H. NICHOLAS 1965                  ADDRESS ON FILE
MR. THOMAS H. VICKERS, III                   ADDRESS ON FILE
MR. THOMAS J. LECHAIX                        ADDRESS ON FILE
MR. THOMAS J. PALMER 2005                    ADDRESS ON FILE
MR. THOMAS J. SPATA                          ADDRESS ON FILE
MR. THOMAS KACIN                             ADDRESS ON FILE
MR. THOMAS L. CULLEN                         ADDRESS ON FILE
MR. THOMAS M. JACKSON 1972                   ADDRESS ON FILE
MR. THOMAS M. MILES 1975                     ADDRESS ON FILE
MR. THOMAS M. QUAILE 1976                    ADDRESS ON FILE
MR. THOMAS MCGOVERN                          ADDRESS ON FILE
MR. THOMAS MCKINLEY                          ADDRESS ON FILE
MR. THOMAS MELLON                            ADDRESS ON FILE
MR. THOMAS MERRILL                           ADDRESS ON FILE
MR. THOMAS MILLS 2003                        ADDRESS ON FILE
MR. THOMAS MOLTER                            ADDRESS ON FILE
MR. THOMAS MORLEY                            ADDRESS ON FILE
MR. THOMAS R. HOOD 1953                      ADDRESS ON FILE
MR. THOMAS R. UHL, JR. 1987                  ADDRESS ON FILE
MR. THOMAS RUSSO                             ADDRESS ON FILE
MR. THOMAS S. DONAHUE 1973                   ADDRESS ON FILE
MR. THOMAS WEINKLE 1982                      ADDRESS ON FILE
MR. THOMAS WEISS                             ADDRESS ON FILE
MR. TIM ARNOLD                               ADDRESS ON FILE
MR. TIM FOSTER                               ADDRESS ON FILE
MR. TIM JACKSON                              ADDRESS ON FILE
MR. TIM L. POTTS 2017                        ADDRESS ON FILE
MR. TIM PILKUS                               ADDRESS ON FILE
MR. TIM POPP                                 ADDRESS ON FILE
MR. TIMOTHY BAKA                             ADDRESS ON FILE
MR. TIMOTHY CANNON                           ADDRESS ON FILE
MR. TIMOTHY F. BURKE 1990                    ADDRESS ON FILE
MR. TIMOTHY J. GARTON 1995                   ADDRESS ON FILE
MR. TIMOTHY J. PIXTON 2000                   ADDRESS ON FILE
MR. TIMOTHY J. SAMARA 1990                   ADDRESS ON FILE
MR. TIMOTHY J. WALSH, JR. 2007               ADDRESS ON FILE
MR. TIMOTHY KAASTAD                          ADDRESS ON FILE
MR. TIMOTHY P. DAY 1999                      ADDRESS ON FILE
MR. TIMOTHY P. OBRIEN                        ADDRESS ON FILE
MR. TIMOTHY QUINN                            ADDRESS ON FILE
MR. TIMOTHY S. MURPHY 2007                   ADDRESS ON FILE
MR. TOBY SNIDER                              ADDRESS ON FILE
MR. TODD M. LAMBRUGO 1991                    ADDRESS ON FILE
MR. TODD S. OMOHUNDRO 1990                   ADDRESS ON FILE
MR. TODD WALTERS                             ADDRESS ON FILE
MR. TOM D. LULEVITCH 1965                    ADDRESS ON FILE
MR. TOM HOUSTON                              ADDRESS ON FILE
MR. TOM PERKINS                              ADDRESS ON FILE
MR. TOM SNYDER                               ADDRESS ON FILE
MR. TOMMIE-WAHEED EVANS                      ADDRESS ON FILE
MR. TOWNSEND WENTZ 1963                      ADDRESS ON FILE
MR. TRAVIS GAYLORD                           ADDRESS ON FILE
MR. TREVOR M. YOUNG 2006                     ADDRESS ON FILE
MR. ULDIS ZEMITIS 1961                       ADDRESS ON FILE
MR. UYOATA UDI 2016                          ADDRESS ON FILE
MR. VICTOR A. APREA 1983                     ADDRESS ON FILE
MR. VICTOR C. INFORTUNA                      ADDRESS ON FILE




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                Creditor Name        Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
MR. VICTOR KEEN                                  ADDRESS ON FILE
MR. VINCENT CIAVARDINI                           ADDRESS ON FILE
MR. VINCENT DELUCCIA                             ADDRESS ON FILE
MR. VINCENT GALKO                                ADDRESS ON FILE
MR. VINCENT J. CUCINOTTA 1966                    ADDRESS ON FILE
MR. VINCENT J. LANZA                             ADDRESS ON FILE
MR. VINCENT J. LEUSNER                           ADDRESS ON FILE
MR. VINCENT J. MUSSOLINO, JR. 1988               ADDRESS ON FILE
MR. VITO MASSA                                   ADDRESS ON FILE
MR. VUONG H. TONG 2008                           ADDRESS ON FILE
MR. W. JEFF CULBERT                              ADDRESS ON FILE
MR. W. R. GAGNE                                  ADDRESS ON FILE
MR. WALTER B. DULAK                              ADDRESS ON FILE
MR. WALTER MAINOR                                ADDRESS ON FILE
MR. WARREN BAKLEY 1959                           ADDRESS ON FILE
MR. WARREN DAVIS                                 ADDRESS ON FILE
MR. WARREN E. HUFF 1969                          ADDRESS ON FILE
MR. WARREN SEELIG                                ADDRESS ON FILE
MR. WAYNE G. DAVID 2002                          ADDRESS ON FILE
MR. WAYNE J. EHRET                               ADDRESS ON FILE
MR. WENDELL A. HOWLETT, JR. 2001                 ADDRESS ON FILE
MR. WESLEY M. HEILMAN, III 1958                  ADDRESS ON FILE
MR. WILLARD L. BOYD                              ADDRESS ON FILE
MR. WILLI KUNZ                                   ADDRESS ON FILE
MR. WILLIAM A. BOTHELL 1964                      ADDRESS ON FILE
MR. WILLIAM A. GRAHAM, III                       ADDRESS ON FILE
MR. WILLIAM A. MASI 1979                         ADDRESS ON FILE
MR. WILLIAM A. RAWLEY 1971                       ADDRESS ON FILE
MR. WILLIAM ALBERT                               ADDRESS ON FILE
MR. WILLIAM B. SKLAROFF 1956                     ADDRESS ON FILE
MR. WILLIAM B. SURASKY 1949                      ADDRESS ON FILE
MR. WILLIAM BIRD 1963                            ADDRESS ON FILE
MR. WILLIAM CARABASI                             ADDRESS ON FILE
MR. WILLIAM D. GERHARD 1997                      ADDRESS ON FILE
MR. WILLIAM D. GETZOW 1953                       ADDRESS ON FILE
MR. WILLIAM D. GLANDEN                           ADDRESS ON FILE
MR. WILLIAM D. PARRY                             ADDRESS ON FILE
MR. WILLIAM DEBUONO                              ADDRESS ON FILE
MR. WILLIAM E. BOWEN                             ADDRESS ON FILE
MR. WILLIAM E. HOBLIN                            ADDRESS ON FILE
MR. WILLIAM F. CULLEN                            ADDRESS ON FILE
MR. WILLIAM F. JENNINGS 1968                     ADDRESS ON FILE
MR. WILLIAM F. NOVAK                             ADDRESS ON FILE
MR. WILLIAM F. ODONNELL                          ADDRESS ON FILE
MR. WILLIAM FENNELL                              ADDRESS ON FILE
MR. WILLIAM G. DORSEY                            ADDRESS ON FILE
MR. WILLIAM G. KEITH                             ADDRESS ON FILE
MR. WILLIAM G. KREBS 1966                        ADDRESS ON FILE
MR. WILLIAM G. WHITE 1967                        ADDRESS ON FILE
MR. WILLIAM GALGON                               ADDRESS ON FILE
MR. WILLIAM HOLLAND                              ADDRESS ON FILE
MR. WILLIAM J. CHERTOK                           ADDRESS ON FILE
MR. WILLIAM J. JORDAN, JR.                       ADDRESS ON FILE
MR. WILLIAM J. PUSEY 1974                        ADDRESS ON FILE
MR. WILLIAM K. PLUMMER 1941                      ADDRESS ON FILE
MR. WILLIAM KIRKLAND                             ADDRESS ON FILE
MR. WILLIAM KIRKPATRICK 2018                     ADDRESS ON FILE
MR. WILLIAM L. GAGLIARDI                         ADDRESS ON FILE
MR. WILLIAM L. WILKINSON 1987                    ADDRESS ON FILE
MR. WILLIAM LONGHAUSER                           ADDRESS ON FILE
MR. WILLIAM M. ERWIN 1979                        ADDRESS ON FILE
MR. WILLIAM M. WHETZEL                           ADDRESS ON FILE
MR. WILLIAM MALONEY                              ADDRESS ON FILE
MR. WILLIAM MCCOY                                ADDRESS ON FILE
MR. WILLIAM MCINTYRE                             ADDRESS ON FILE
MR. WILLIAM PIETRANGELO                          ADDRESS ON FILE
MR. WILLIAM POWER                                ADDRESS ON FILE
MR. WILLIAM R. GAST 1968                         ADDRESS ON FILE




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                Creditor Name       Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
MR. WILLIAM R. HAHN                             ADDRESS ON FILE
MR. WILLIAM S. WEIRMAN                          ADDRESS ON FILE
MR. WILLIAM STELLFOX                            ADDRESS ON FILE
MR. WILLIAM T. THOMPSON 1999                    ADDRESS ON FILE
MR. WILLIAM TERRY                               ADDRESS ON FILE
MR. WILLIAM W. GOADE                            ADDRESS ON FILE
MR. WILLIAM WHETZEL                             ADDRESS ON FILE
MR. WILLIAM Y. GILES                            ADDRESS ON FILE
MR. ZACH F. LANGFORD 2017                       ADDRESS ON FILE
MR. ZACHARY H. RUBIN 2010                       ADDRESS ON FILE
MRS. ADELAIDE M. MARTIN 1955                    ADDRESS ON FILE
MRS. ADRIENE FLYNN                              ADDRESS ON FILE
MRS. ADRIENNE BERKMAN                           ADDRESS ON FILE
MRS. ADRIENNE FISHER                            ADDRESS ON FILE
MRS. ALEXA G. HAWKINS                           ADDRESS ON FILE
MRS. ALEXANDRA NEWELL                           ADDRESS ON FILE
MRS. ALEXANDRA TAYLOR                           ADDRESS ON FILE
MRS. ALICE WALKER                               ADDRESS ON FILE
MRS. ALIKI L. BRANDENBERG 1951                  ADDRESS ON FILE
MRS. ALISON ROCHFORD                            ADDRESS ON FILE
MRS. ALMA O. COHEN                              ADDRESS ON FILE
MRS. AMANDA JARON 1993                          ADDRESS ON FILE
MRS. AMANDA MAIN                                ADDRESS ON FILE
MRS. AMY GIFFORD-KNAPP 1989                     ADDRESS ON FILE
MRS. AMY MERIN                                  ADDRESS ON FILE
MRS. AMY P. GROVE 1994                          ADDRESS ON FILE
MRS. ANDREA BUKAY 1978                          ADDRESS ON FILE
MRS. ANDREA C. FACCIOLO                         ADDRESS ON FILE
MRS. ANDREA GLIDDEN 1970                        ADDRESS ON FILE
MRS. ANGELA HAWKES BOONE                        ADDRESS ON FILE
MRS. ANGELA RADA                                ADDRESS ON FILE
MRS. ANGELINA GUEVARA                           ADDRESS ON FILE
MRS. ANGIE CIMATU                               ADDRESS ON FILE
MRS. ANI N. GEDICKIAN BARBER 1980               ADDRESS ON FILE
MRS. ANITA LERMAN                               ADDRESS ON FILE
MRS. ANITA READY                                ADDRESS ON FILE
MRS. ANN MARIE SITZMANN                         ADDRESS ON FILE
MRS. ANNA BERESIN                               ADDRESS ON FILE
MRS. ANNA HAVERILLA                             ADDRESS ON FILE
MRS. ANNAMARIE CATTIE                           ADDRESS ON FILE
MRS. ANNE K. WHITEHEAD, R.N.                    ADDRESS ON FILE
MRS. ANNE KAPLAN                                ADDRESS ON FILE
MRS. ANNE KYLE                                  ADDRESS ON FILE
MRS. ANNE M. WAYNE                              ADDRESS ON FILE
MRS. ANNE S. DORSEY                             ADDRESS ON FILE
MRS. ANNE SCHUSLER                              ADDRESS ON FILE
MRS. ANNETTE HENDRIX                            ADDRESS ON FILE
MRS. ANNETTE WOOLARD-PROVINE                    ADDRESS ON FILE
MRS. ANNIKA ABEL                                ADDRESS ON FILE
MRS. APRIL D. YEZZI                             ADDRESS ON FILE
MRS. APRIL INGRAM                               ADDRESS ON FILE
MRS. APRIL MCBRIDE                              ADDRESS ON FILE
MRS. ARLEEN COATES                              ADDRESS ON FILE
MRS. ARLEEN R. WOLF 1963                        ADDRESS ON FILE
MRS. ARLENE CAPLAN                              ADDRESS ON FILE
MRS. ARVELA O. COOPER 1965                      ADDRESS ON FILE
MRS. ASHLEY N. COENEN 2010                      ADDRESS ON FILE
MRS. AUDREY D. WALTERS 1951                     ADDRESS ON FILE
MRS. AUDREY KAPLAN                              ADDRESS ON FILE
MRS. AUDRIETTA IZLAR                            ADDRESS ON FILE
MRS. AURORA M. GOLD 1952                        ADDRESS ON FILE
MRS. BARBARA A. SYLK 1981                       ADDRESS ON FILE
MRS. BARBARA D. BROWN 1948                      ADDRESS ON FILE
MRS. BARBARA D. SCHWAB 1974                     ADDRESS ON FILE
MRS. BARBARA DUDEK                              ADDRESS ON FILE
MRS. BARBARA EBERLEIN                           ADDRESS ON FILE
MRS. BARBARA GLICKMAN 1963                      ADDRESS ON FILE
MRS. BARBARA H. BROWN 1961                      ADDRESS ON FILE




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               Creditor Name             Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
MRS. BARBARA I. HOROWITZ 1980                        ADDRESS ON FILE
MRS. BARBARA J. BARNES                               ADDRESS ON FILE
MRS. BARBARA J. GASPERINI                            ADDRESS ON FILE
MRS. BARBARA J. MATYBELL 1957                        ADDRESS ON FILE
MRS. BARBARA L. ROTHACKER 1967                       ADDRESS ON FILE
MRS. BARBARA LACHER                                  ADDRESS ON FILE
MRS. BARBARA M. SHREIBMAN 1980                       ADDRESS ON FILE
MRS. BARBARA PASSEN                                  ADDRESS ON FILE
MRS. BARBARA ROSEN 1953                              ADDRESS ON FILE
MRS. BARBARA S. MIMNAUGH 1958                        ADDRESS ON FILE
MRS. BARBARA S. WEISS 1947                           ADDRESS ON FILE
MRS. BARBARA STEINBERG                               ADDRESS ON FILE
MRS. BECK L. GUSLER 2008                             ADDRESS ON FILE
MRS. BERNARD M. BORISH                               ADDRESS ON FILE
MRS. BERNICE ANDERSON 1954                           ADDRESS ON FILE
MRS. BETH A. BENNER 1955                             ADDRESS ON FILE
MRS. BETH DAGLE                                      ADDRESS ON FILE
MRS. BETH I. BECKER 1999                             ADDRESS ON FILE
MRS. BETH JACOBY 1987                                ADDRESS ON FILE
MRS. BETH LEWIS                                      ADDRESS ON FILE
MRS. BETTIANNE P. PETTINATI-LONGINOTTI
1987                                                 ADDRESS ON FILE
MRS. BETTY A. LEX 1951                               ADDRESS ON FILE
MRS. BETTY CARLSON-JAMESON                           ADDRESS ON FILE
MRS. BETTY MOHRFELD 1933                             ADDRESS ON FILE
MRS. BEVERLY B. HATTERSLEY                           ADDRESS ON FILE
MRS. BEVERLY GERBERICH                               ADDRESS ON FILE
MRS. BEVERLY MOSKOWITZ                               ADDRESS ON FILE
MRS. BONNIE HORN                                     ADDRESS ON FILE
MRS. BONNIE L. COCHILL 1987                          ADDRESS ON FILE
MRS. BRENDA D. NEAL-LEE 1985                         ADDRESS ON FILE
MRS. BRIGITTE COOPERMAN                              ADDRESS ON FILE
MRS. BRITA P. GWINN                                  ADDRESS ON FILE
MRS. BRYNA S. SCOTT                                  ADDRESS ON FILE
MRS. CANDY SYSTRA                                    ADDRESS ON FILE
MRS. CARO ROCK                                       ADDRESS ON FILE
MRS. CAROL B. BLANK                                  ADDRESS ON FILE
MRS. CAROL M. BALDWIN 1953                           ADDRESS ON FILE
MRS. CAROL M. JACKSON                                ADDRESS ON FILE
MRS. CAROLE B. SHEFFIELD, ESQ. 1974                  ADDRESS ON FILE
MRS. CAROLINE B. CAESAR-LINN                         ADDRESS ON FILE
MRS. CAROLINE G. ZIEGLER                             ADDRESS ON FILE
MRS. CAROLINE S. HELMUTH                             ADDRESS ON FILE
MRS. CAROLINE S. ROSSY 2008                          ADDRESS ON FILE
MRS. CAROLYN J. BOXMEYER 1978                        ADDRESS ON FILE
MRS. CAROLYN WAGNER                                  ADDRESS ON FILE
MRS. CAROLYNN H. HONDO FEDOR 1975                    ADDRESS ON FILE
MRS. CARYN J. LEVITSKY 1971                          ADDRESS ON FILE
MRS. CATHARINE W. HARDING 1963                       ADDRESS ON FILE
MRS. CATHERINE F. CORRADO                            ADDRESS ON FILE
MRS. CATHERINE L. WRIGHT 1979                        ADDRESS ON FILE
MRS. CATHERINE MARICH                                ADDRESS ON FILE
MRS. CATHLEEN HOBSON                                 ADDRESS ON FILE
MRS. CATHY ATCHISON                                  ADDRESS ON FILE
MRS. CECELIA LANE                                    ADDRESS ON FILE
MRS. CHANTAL M. REITER-BURNS                         ADDRESS ON FILE
MRS. CHARLOTTE GIORDANO 1976                         ADDRESS ON FILE
MRS. CHERYL DONOVAN                                  ADDRESS ON FILE
MRS. CHERYL GOLDSLEGER 1973                          ADDRESS ON FILE
MRS. CHERYL HARDING                                  ADDRESS ON FILE
MRS. CHERYL KEIPER                                   ADDRESS ON FILE
MRS. CHERYL MITCHELL 1983                            ADDRESS ON FILE
MRS. CHERYL SARGENT                                  ADDRESS ON FILE
MRS. CHEYENNE L. PANZETER 2002                       ADDRESS ON FILE
MRS. CHRISTINA P. DAY 1999                           ADDRESS ON FILE
MRS. CHRISTINE GILHOOLEY                             ADDRESS ON FILE
MRS. CHRISTINE J. WASHINGTON                         ADDRESS ON FILE




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             Creditor Name               Attention                Address 1                          Address 2         Address 3    City   State   Zip   Country

MRS. CHRISTINE M. CATHERS DONOHUE 1993               ADDRESS ON FILE
MRS. CHRISTINE R. WETZEL 1982                        ADDRESS ON FILE
MRS. CHRISTINE RUNQUIST                              ADDRESS ON FILE
MRS. CINDY LAZOR                                     ADDRESS ON FILE
MRS. CLAIRE R. BELKOVSKY 1980                        ADDRESS ON FILE
MRS. CLARA HOLLANDER                                 ADDRESS ON FILE
MRS. CLAUDIA BAYONA-STRAUSS                          ADDRESS ON FILE
MRS. COLLEEN PATZER                                  ADDRESS ON FILE
MRS. CONIANN J. LOBRON 1985                          ADDRESS ON FILE
MRS. CONNIE PELTZ                                    ADDRESS ON FILE
MRS. CONSUELO G. RAMOS-DEYESSO                       ADDRESS ON FILE
MRS. CYNTHIA D. FRIEDMAN 1978                        ADDRESS ON FILE
MRS. CYNTHIA M. KRYSIAK 1996                         ADDRESS ON FILE
MRS. CYNTHIA STEIN                                   ADDRESS ON FILE
MRS. DALE PARENTI 1980                               ADDRESS ON FILE
MRS. DANETTE MCKINLEY                                ADDRESS ON FILE
MRS. DAWN KLARIN                                     ADDRESS ON FILE
MRS. DAWN WOODRUM                                    ADDRESS ON FILE

MRS. DEBBIE C. CAMPBELL GOODYEAR 1978                ADDRESS ON FILE
MRS. DEBORAH J. MCSORLEY-KERY 1988                   ADDRESS ON FILE
MRS. DEBORAH KEHOE 1981                              ADDRESS ON FILE
MRS. DEBORAH L. KAPLAN 1979                          ADDRESS ON FILE
MRS. DEBORAH SCHWARTZMAN                             ADDRESS ON FILE
MRS. DEBRA CORVALAN                                  ADDRESS ON FILE
MRS. DEBRA KINEAVY                                   ADDRESS ON FILE
MRS. DEBRA MCDERMOTT                                 ADDRESS ON FILE
MRS. DEBRA U. GUERRIERI-EVANS                        ADDRESS ON FILE
MRS. DEIDRE FERRELL                                  ADDRESS ON FILE
MRS. DENISE ERNST                                    ADDRESS ON FILE
MRS. DENISE M. HECKBERT 1976                         ADDRESS ON FILE
MRS. DERIDRA M. BURDEN 1990                          ADDRESS ON FILE
MRS. DIANA L. FOX 1965                               ADDRESS ON FILE
MRS. DIANA M. FANELLI-BRENNAN 1978                   ADDRESS ON FILE
MRS. DIANA T. SOORIKIAN 1950                         ADDRESS ON FILE
MRS. DIANE BENI                                      ADDRESS ON FILE
MRS. DIANE HORNER                                    ADDRESS ON FILE
MRS. DIANE L. FACTOR 1962                            ADDRESS ON FILE
MRS. DIANE STECKEL                                   ADDRESS ON FILE
MRS. DIANE T. FOXMAN 1953                            ADDRESS ON FILE
MRS. DIANNA POLIZANO                                 ADDRESS ON FILE
MRS. DIANNE A. MOORE                                 ADDRESS ON FILE
MRS. DOLORES A. ALTAMURO 1953                        ADDRESS ON FILE
MRS. DOLORES A. JONES 1957                           ADDRESS ON FILE
MRS. DOLORES ADRIANCE                                ADDRESS ON FILE
MRS. DONNA C. FOXEN                                  ADDRESS ON FILE
MRS. DONNA HARTMAN                                   ADDRESS ON FILE
MRS. DONNA HOFFMAN                                   ADDRESS ON FILE
MRS. DONNA KISH                                      ADDRESS ON FILE
MRS. DONNA PACIFICO                                  ADDRESS ON FILE
MRS. DONNA PILATO                                    ADDRESS ON FILE
MRS. DONNA SMITH                                     ADDRESS ON FILE
MRS. DOREEN ZION                                     ADDRESS ON FILE
MRS. DORIS H. REILLY 1951                            ADDRESS ON FILE
MRS. DOROTHEA PINTO                                  ADDRESS ON FILE
MRS. DOROTHEA R. URBAN 1956                          ADDRESS ON FILE
MRS. DOROTHY A. DAUB-GROSSMAN 1975                   ADDRESS ON FILE
MRS. DOROTHY B. BROWNING 1982                        ADDRESS ON FILE
MRS. DOROTHY L. FORSYTH 1949                         ADDRESS ON FILE
MRS. DOROTHY LASUCHIN 1970                           ADDRESS ON FILE
MRS. DOROTHY W. HAWKE 1952                           ADDRESS ON FILE
MRS. E. BEVERLY PURCELL 1960                         ADDRESS ON FILE
MRS. EDIE LEWIS                                      ADDRESS ON FILE
MRS. EDITH G. PARNUM                                 ADDRESS ON FILE
MRS. EDITH J. SIMPSON 1947                           ADDRESS ON FILE
MRS. EDITH KOHN                                      ADDRESS ON FILE
MRS. EILEEN A. LOUGHREY-LIPPL 1965                   ADDRESS ON FILE




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                Creditor Name      Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
MRS. EILEEN C. STREMBA 1970                    ADDRESS ON FILE
MRS. EILEEN E. MILLER 1977                     ADDRESS ON FILE
MRS. EILEEN M. GRABOSKY                        ADDRESS ON FILE
MRS. EILEEN P. WARD 1987                       ADDRESS ON FILE
MRS. EILEEN ROSENAU                            ADDRESS ON FILE
MRS. EILEEN VELEZ                              ADDRESS ON FILE
MRS. ELAINE DEDOMENICO                         ADDRESS ON FILE
MRS. ELAINE J. KLAWANS 1954                    ADDRESS ON FILE
MRS. ELAINE M. FRIEDLANDER 1972                ADDRESS ON FILE
MRS. ELAINE S. VREENEGOOR 1950                 ADDRESS ON FILE
MRS. ELEANOR C. PRIMIANO                       ADDRESS ON FILE
MRS. ELEANOR L. DAVIS                          ADDRESS ON FILE
MRS. ELINOR A. VEIT 1959                       ADDRESS ON FILE
MRS. ELISA SEEHERMAN                           ADDRESS ON FILE
MRS. ELIZABETH HOPEWELL                        ADDRESS ON FILE
MRS. ELIZABETH K. KNAPP                        ADDRESS ON FILE
MRS. ELIZABETH K. RADIGONDA 2007               ADDRESS ON FILE
MRS. ELIZABETH L. KEMPF 1956                   ADDRESS ON FILE
MRS. ELIZABETH R. HAMILTON 1988                ADDRESS ON FILE
MRS. ELIZABETH RENNEBAUM                       ADDRESS ON FILE
MRS. ELIZABETH Y. EABY 1965                    ADDRESS ON FILE
MRS. ELLEN BIRCKNER 1985                       ADDRESS ON FILE
MRS. ELLEN G. CLARK 1969                       ADDRESS ON FILE
MRS. ELLEN L. MOOMJY 1976                      ADDRESS ON FILE
MRS. ELLEN SIEGEL                              ADDRESS ON FILE
MRS. EMILY A. GUGLIELMI 1965                   ADDRESS ON FILE
MRS. EMILY A. SINGER 1985                      ADDRESS ON FILE
MRS. EMILY C. RILEY                            ADDRESS ON FILE
MRS. ESTELLE SNELLENBERG                       ADDRESS ON FILE
MRS. ESTHER K. SHATZ                           ADDRESS ON FILE
MRS. EVA PARISI                                ADDRESS ON FILE
MRS. FLORANCE KERBER                           ADDRESS ON FILE
MRS. FRAN STOW                                 ADDRESS ON FILE
MRS. FRANCES L. BACA 2005                      ADDRESS ON FILE
MRS. FRANCES R. FISH                           ADDRESS ON FILE
MRS. FRANCESCA GANS-PFISTER                    ADDRESS ON FILE
MRS. FRANCINE M. SHORE 1965                    ADDRESS ON FILE
MRS. FREDA GELLERSTEIN                         ADDRESS ON FILE
MRS. FREDA K. SACKS                            ADDRESS ON FILE
MRS. GAIL GATTO                                ADDRESS ON FILE
MRS. GAIL J. SIDEWATER 1966                    ADDRESS ON FILE
MRS. GAIL K. KUSHNER 1975                      ADDRESS ON FILE
MRS. GAIL M. BROWN 1965                        ADDRESS ON FILE
MRS. GEMMA FINDLAY                             ADDRESS ON FILE
MRS. GERALDINE C. BORS 1953                    ADDRESS ON FILE
MRS. GERALDINE M. WATSON                       ADDRESS ON FILE
MRS. GERI SEMEL                                ADDRESS ON FILE
MRS. GERTRUDE MCCORMICK                        ADDRESS ON FILE
MRS. GERTRUDE WEINBERG                         ADDRESS ON FILE
MRS. GIACINTA A. WALTON 1977                   ADDRESS ON FILE
MRS. GIANINE D. ROSENBLUM                      ADDRESS ON FILE
MRS. GINA GIACHERO                             ADDRESS ON FILE
MRS. GINIA D. WEXLER                           ADDRESS ON FILE
MRS. GLORIA WILLIAMS-INNISS                    ADDRESS ON FILE
MRS. GRACE C. CIOCCA 1963                      ADDRESS ON FILE
MRS. GRACE H. PARSONS                          ADDRESS ON FILE
MRS. GUNTA K. PLOSTNIEKS 1964                  ADDRESS ON FILE
MRS. HARRIET G. WEISS                          ADDRESS ON FILE
MRS. HEATHER BOVAT                             ADDRESS ON FILE
MRS. HEATHER BRADBURY                          ADDRESS ON FILE
MRS. HEATHER SALLIS                            ADDRESS ON FILE
MRS. HEATHER SCHREMPF-WHITE                    ADDRESS ON FILE
MRS. HEIDI HENDRICKSON 1996                    ADDRESS ON FILE
MRS. HEIDI R. FERNANDEZ                        ADDRESS ON FILE
MRS. HEIDI STILTNER                            ADDRESS ON FILE
MRS. HELEN BALL                                ADDRESS ON FILE
MRS. HELEN BONSAL                              ADDRESS ON FILE
MRS. HELENE B. VAN BEUREN                      ADDRESS ON FILE




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                Creditor Name             Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
MRS. HOLLIS H. REED 1947                              ADDRESS ON FILE
MRS. HOLLY TIMBERLINE                                 ADDRESS ON FILE
MRS. IDA CANTWELL                                     ADDRESS ON FILE
MRS. IDA M. HARDESTER                                 ADDRESS ON FILE
MRS. ILENE B. PRICE 1985                              ADDRESS ON FILE
MRS. INGRID ZABEL                                     ADDRESS ON FILE
MRS. IRENE B. KATZ                                    ADDRESS ON FILE
MRS. ISABEL E. SHERMAN 1964                           ADDRESS ON FILE
MRS. ISABELLA B. HIRSCH                               ADDRESS ON FILE
MRS. J.J. LAWSON                                      ADDRESS ON FILE
MRS. JACQUELINE FAULCON 1962                          ADDRESS ON FILE
MRS. JACQUELINE GARCIA                                ADDRESS ON FILE
MRS. JACQUELINE SMALDORE                              ADDRESS ON FILE
MRS. JACQUELYN GUALTIERI                              ADDRESS ON FILE
MRS. JAN BLOCK                                        ADDRESS ON FILE
MRS. JANE B. DOUGHERTY 1976                           ADDRESS ON FILE
MRS. JANE G. PEPPER                                   ADDRESS ON FILE
MRS. JANE H. TAMACCIO 1960                            ADDRESS ON FILE
MRS. JANE PILLER-WILSON 1983                          ADDRESS ON FILE
MRS. JANET B. DEVRIES                                 ADDRESS ON FILE
MRS. JANET H. BURGENTS 1964                           ADDRESS ON FILE
MRS. JANET KAWADA                                     ADDRESS ON FILE
MRS. JANET QUAILE                                     ADDRESS ON FILE
MRS. JANIE P. CAMARCA 1980                            ADDRESS ON FILE
MRS. JANINE CAPPELLO 1986                             ADDRESS ON FILE
MRS. JANNA ZAIDSPINER                                 ADDRESS ON FILE
MRS. JAYNE M. KRENSEL 1987                            ADDRESS ON FILE
MRS. JAYNE NORCROSS                                   ADDRESS ON FILE
MRS. JEAN GATEWOOD 1983                               ADDRESS ON FILE
MRS. JEAN JOHNSON 1944                                ADDRESS ON FILE
MRS. JEAN MUNDY                                       ADDRESS ON FILE
MRS. JEAN R. LOWENSTEIN 1950                          ADDRESS ON FILE
MRS. JEAN S. STEPHENSON 1947                          ADDRESS ON FILE
MRS. JEAN T. DE SAINT PHALLE 1970                     ADDRESS ON FILE
MRS. JEAN TURKOT 1946                                 ADDRESS ON FILE
MRS. JEANETTE PINKNEY 1974                            ADDRESS ON FILE
MRS. JEN CORRIGAN                                     ADDRESS ON FILE
MRS. JENNIE SORBELLO                                  ADDRESS ON FILE
MRS. JENNIFER A. KOZAK 1989                           ADDRESS ON FILE
MRS. JENNIFER A. MCINTIRE 1998                        ADDRESS ON FILE
MRS. JENNIFER BUTLER                                  ADDRESS ON FILE
MRS. JENNIFER DUNDON                                  ADDRESS ON FILE
MRS. JENNIFER GALLAGHER                               ADDRESS ON FILE
MRS. JENNIFER KRAUSE                                  ADDRESS ON FILE
MRS. JENNIFER L. BORISH                               ADDRESS ON FILE
MRS. JENNIFER LEONE VORDERMARK                        ADDRESS ON FILE
MRS. JENNIFER M. HOOPES 2002                          ADDRESS ON FILE
MRS. JENNIFER PETAGNO                                 ADDRESS ON FILE

MRS. JENNIFER R. WEIGAND-WATKINSON 1990               ADDRESS ON FILE
MRS. JENNIFER VOGEL                                   ADDRESS ON FILE
MRS. JENNIFER W. BRADLEY 1973                         ADDRESS ON FILE
MRS. JENNIFER Y. ALMEIDA                              ADDRESS ON FILE
MRS. JESSICA BEST                                     ADDRESS ON FILE
MRS. JESSICA HAMILTON                                 ADDRESS ON FILE
MRS. JILL BERKMAN                                     ADDRESS ON FILE
MRS. JILL MILLER                                      ADDRESS ON FILE
MRS. JOAN FORTE                                       ADDRESS ON FILE
MRS. JOAN JOHNSON                                     ADDRESS ON FILE
MRS. JOAN LINENBROKER 1972                            ADDRESS ON FILE
MRS. JOAN M. MELEGA                                   ADDRESS ON FILE
MRS. JOAN S. BEYER 1961                               ADDRESS ON FILE
MRS. JOANNA HENDRICKSON                               ADDRESS ON FILE
MRS. JOANNE N. FLYNN 2008                             ADDRESS ON FILE
MRS. JOANNE REAM 1987                                 ADDRESS ON FILE
MRS. JOANNE SCHWARTZ 1960                             ADDRESS ON FILE
MRS. JODI L. CALLAHAN 1987                            ADDRESS ON FILE
MRS. JOHANNE CRAWFORD                                 ADDRESS ON FILE




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                Creditor Name          Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
MRS. JOHN H. HOVSEPIAN                             ADDRESS ON FILE
MRS. JOLENE SCHWARTZ                               ADDRESS ON FILE
MRS. JOSEPHINE T. FRIEDMAN 1951                    ADDRESS ON FILE
MRS. JOSLYNE A. BRAUNFELD 2002                     ADDRESS ON FILE
MRS. JOY MC DONALD 1949                            ADDRESS ON FILE
MRS. JOY WEISSMAN                                  ADDRESS ON FILE
MRS. JOYCE C. BARRETT                              ADDRESS ON FILE
MRS. JOYCE MERMINI                                 ADDRESS ON FILE
MRS. JOYCE WERTHAUER                               ADDRESS ON FILE
MRS. JOYCELYN JOHNSON                              ADDRESS ON FILE
MRS. JUDITH A. BOWER                               ADDRESS ON FILE
MRS. JUDITH BUBAR 1962                             ADDRESS ON FILE
MRS. JUDITH K. GOLDEN 1988                         ADDRESS ON FILE
MRS. JUDITH KAPLAN 1967                            ADDRESS ON FILE
MRS. JUDITH M. XARAS 1967                          ADDRESS ON FILE
MRS. JUDITH S. SPORKIN 1955                        ADDRESS ON FILE
MRS. JUDITH SKOOGFORS-PRIP 1955                    ADDRESS ON FILE
MRS. JUDY POTE                                     ADDRESS ON FILE
MRS. JUDY SCOTT                                    ADDRESS ON FILE
MRS. JULIA A. UNGER 1980                           ADDRESS ON FILE
MRS. JULIA BUZZARD                                 ADDRESS ON FILE
MRS. JULIE HABERFELD                               ADDRESS ON FILE
MRS. JULIE J. BRYAN                                ADDRESS ON FILE
MRS. KAREN A. FISCO                                ADDRESS ON FILE
MRS. KAREN H. EUBANK                               ADDRESS ON FILE
MRS. KAREN LOTMAN                                  ADDRESS ON FILE
MRS. KAREN M. AYERS                                ADDRESS ON FILE
MRS. KAREN NEWMAN                                  ADDRESS ON FILE
MRS. KATHARINE D. NEMEC 1988                       ADDRESS ON FILE
MRS. KATHERINE H. HIGGINS 1991                     ADDRESS ON FILE
MRS. KATHIE JEFFRIES                               ADDRESS ON FILE
MRS. KATHLEEN CHIN                                 ADDRESS ON FILE
MRS. KATHLEEN F. CHAPMAN 1972                      ADDRESS ON FILE
MRS. KATHLEEN GRECO 1979                           ADDRESS ON FILE
MRS. KATHLEEN HOWLEY                               ADDRESS ON FILE
MRS. KATHLEEN J. MOORE 1988                        ADDRESS ON FILE
MRS. KATHLEEN PENDER                               ADDRESS ON FILE
MRS. KATHRYN C. WEBBER                             ADDRESS ON FILE
MRS. KATHRYN E. KRALL 1965                         ADDRESS ON FILE
MRS. KATHRYN RHODES                                ADDRESS ON FILE
MRS. KATHRYN SAMPSON                               ADDRESS ON FILE
MRS. KATHY GUERIN                                  ADDRESS ON FILE
MRS. KATHY SACHS                                   ADDRESS ON FILE
MRS. KATIE THURMAN                                 ADDRESS ON FILE
MRS. KELLEY BLAINE                                 ADDRESS ON FILE
MRS. KELLIE FARRELL                                ADDRESS ON FILE
MRS. KENDRA M. BEAVIS 2002                         ADDRESS ON FILE
MRS. KHARA FLINT                                   ADDRESS ON FILE
MRS. KIANA COWDERY 2013                            ADDRESS ON FILE
MRS. KIM LETOURNEAU                                ADDRESS ON FILE
MRS. KIM W. MEACHAM                                ADDRESS ON FILE
MRS. KIMBERLY A. BOWER 1988                        ADDRESS ON FILE
MRS. KIMBERLY AMBRUSO                              ADDRESS ON FILE
MRS. KIMBERLY ATTANASIO                            ADDRESS ON FILE
MRS. KRISTEN GALDIERI                              ADDRESS ON FILE
MRS. KRISTEN WESCOTT                               ADDRESS ON FILE
MRS. KRISTINA B. LAMOUR SANSONE 1991               ADDRESS ON FILE
MRS. KRISTINA MCSALIS                              ADDRESS ON FILE
MRS. KRISTINE DUKE                                 ADDRESS ON FILE
MRS. LAURA ANDRUSKI                                ADDRESS ON FILE
MRS. LAURA M. SAMPSON 1988                         ADDRESS ON FILE
MRS. LAURA YOUNG                                   ADDRESS ON FILE
MRS. LAUREN ALZAMORA                               ADDRESS ON FILE
MRS. LAUREN R. VILLANUEVA                          ADDRESS ON FILE
MRS. LAURIN TALESE 2004                            ADDRESS ON FILE
MRS. LEA MCDONALD                                  ADDRESS ON FILE
MRS. LEE M. BERG                                   ADDRESS ON FILE
MRS. LENORE STEIN                                  ADDRESS ON FILE




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                Creditor Name      Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
MRS. LEONE G. SCHOENBERG 1953                  ADDRESS ON FILE
MRS. LESLIE DOUCETTE                           ADDRESS ON FILE
MRS. LESLIE HAYES 1977                         ADDRESS ON FILE
MRS. LESLIE LEDERHANDLER                       ADDRESS ON FILE
MRS. LESLIE S. MATTHEWS                        ADDRESS ON FILE
MRS. LI CHIU YEH                               ADDRESS ON FILE
MRS. LILLIAN S. KOSLOFF                        ADDRESS ON FILE
MRS. LINDA CONNOLLY-SCHONER                    ADDRESS ON FILE
MRS. LINDA E. GIST 1966                        ADDRESS ON FILE
MRS. LINDA HALL                                ADDRESS ON FILE
MRS. LINDA P. STOUDT 1972                      ADDRESS ON FILE
MRS. LINDA S. HUGHES 1975                      ADDRESS ON FILE
MRS. LISA A. PATANE 1985                       ADDRESS ON FILE
MRS. LISA GLOSSON                              ADDRESS ON FILE
MRS. LISA HICKEY                               ADDRESS ON FILE
MRS. LISA RILEY                                ADDRESS ON FILE
MRS. LISA ROBERTS                              ADDRESS ON FILE
MRS. LISA YOUNG                                ADDRESS ON FILE
MRS. LISA YOUNG                                ADDRESS ON FILE
MRS. LIZETTE SENATORE 1991                     ADDRESS ON FILE
MRS. LOIS GROFF                                ADDRESS ON FILE
MRS. LORAINE TERRELL                           ADDRESS ON FILE
MRS. LORALEE WEST                              ADDRESS ON FILE
MRS. LORI WRIGHT                               ADDRESS ON FILE
MRS. LORIE HEARING                             ADDRESS ON FILE
MRS. LORNA BYERS                               ADDRESS ON FILE
MRS. LOUISE C. SIMPSON 1959                    ADDRESS ON FILE
MRS. LOUISE JOHNSTON                           ADDRESS ON FILE
MRS. LOUISE M. MCDONNEL 1964                   ADDRESS ON FILE
MRS. LOUISE W. WIENER                          ADDRESS ON FILE
MRS. LYDIA T. ARTYMIW 1973                     ADDRESS ON FILE
MRS. LYN ROSS                                  ADDRESS ON FILE
MRS. LYNDA F. ABRAHAM-BRAFF 1979               ADDRESS ON FILE
MRS. LYNN K. HITSCHLER 1963                    ADDRESS ON FILE
MRS. LYNNE C. CLIBANOFF 1967                   ADDRESS ON FILE
MRS. LYNNE M. INCIARDI 1987                    ADDRESS ON FILE
MRS. LYNNE P. ELLICK                           ADDRESS ON FILE
MRS. LYNNE SULLIVAN                            ADDRESS ON FILE
MRS. MABEL BROWN                               ADDRESS ON FILE
MRS. MADELINE P. DOUGHERTY 1972                ADDRESS ON FILE
MRS. MARA WANSONG                              ADDRESS ON FILE
MRS. MARCELLA L. DEYSHER                       ADDRESS ON FILE
MRS. MARGARET A. FITZGERALD                    ADDRESS ON FILE
MRS. MARGARET OCONNOR                          ADDRESS ON FILE
MRS. MARGARET SHORT                            ADDRESS ON FILE
MRS. MARGUERITE LENFEST                        ADDRESS ON FILE
MRS. MARI M. SHAW                              ADDRESS ON FILE
MRS. MARIA FORLENZA-OSTER                      ADDRESS ON FILE
MRS. MARIA HILL                                ADDRESS ON FILE
MRS. MARIA K. VANDERBILT                       ADDRESS ON FILE
MRS. MARIE C. LEVINE 1985                      ADDRESS ON FILE
MRS. MARIE CHIDIAC                             ADDRESS ON FILE
MRS. MARIE DECAPRIO                            ADDRESS ON FILE
MRS. MARIE LIBERTO                             ADDRESS ON FILE
MRS. MARIE POMPEANO                            ADDRESS ON FILE
MRS. MARIE ROBSON                              ADDRESS ON FILE
MRS. MARIE SMOYER                              ADDRESS ON FILE
MRS. MARILYN BARNETT 1968                      ADDRESS ON FILE
MRS. MARILYN K. KAUFF 1963                     ADDRESS ON FILE
MRS. MARILYN R. GINSBURG                       ADDRESS ON FILE
MRS. MARILYN SCHER                             ADDRESS ON FILE
MRS. MARJORIE DRENNAN 1948                     ADDRESS ON FILE
MRS. MARJORIE GARDNER                          ADDRESS ON FILE
MRS. MARJORIE L. GRAFF 1972                    ADDRESS ON FILE
MRS. MARSHA UPSHAW 2000                        ADDRESS ON FILE
MRS. MARTHA E. KERCH 1978                      ADDRESS ON FILE
MRS. MARTHA M. ERLEBACHER                      ADDRESS ON FILE
MRS. MARTHA MERTZ SCHAFER                      ADDRESS ON FILE




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                Creditor Name           Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
MRS. MARTHA MORRIS                                  ADDRESS ON FILE
MRS. MARY ANN G. STENGEL 1966                       ADDRESS ON FILE
MRS. MARY C. BANGS 1970                             ADDRESS ON FILE
MRS. MARY DENISE MORELL                             ADDRESS ON FILE
MRS. MARY E. ARROWOOD                               ADDRESS ON FILE
MRS. MARY E. BODE 1951                              ADDRESS ON FILE
MRS. MARY ELLEN URQUHART                            ADDRESS ON FILE
MRS. MARY L. YODER 1987                             ADDRESS ON FILE
MRS. MARY PALILONIS                                 ADDRESS ON FILE
MRS. MARY REGINA S. BORGIA 1982                     ADDRESS ON FILE
MRS. MARY S. DEMBO 1985                             ADDRESS ON FILE
MRS. MARY WILLIS BAKER                              ADDRESS ON FILE
MRS. MAUDIE C. FREEMAN                              ADDRESS ON FILE
MRS. MAVIS L. SCULLY 1987                           ADDRESS ON FILE
MRS. MAXINE I. SADOFF                               ADDRESS ON FILE
MRS. MELANIE PAYKOS 1979                            ADDRESS ON FILE
MRS. MICHELE C. BARNES 1984                         ADDRESS ON FILE
MRS. MICHELE CACCAVARO                              ADDRESS ON FILE
MRS. MICHELE SEENARINE                              ADDRESS ON FILE
MRS. MICHELLE A. MULLEN 2003                        ADDRESS ON FILE
MRS. MICHELLE D. DILLON 1980                        ADDRESS ON FILE
MRS. MICHELLE LADD                                  ADDRESS ON FILE
MRS. MICHELLE MCFARLAND                             ADDRESS ON FILE
MRS. MICHELLE PRICE                                 ADDRESS ON FILE
MRS. MICHELLE R. WURTZ 1990                         ADDRESS ON FILE
MRS. MICHELLE REEVES                                ADDRESS ON FILE
MRS. MICHELLE WATSON                                ADDRESS ON FILE
MRS. MILLIE BERG                                    ADDRESS ON FILE
MRS. MIRA ZERGANI                                   ADDRESS ON FILE
MRS. MIRIAM A. SCHNEIROV                            ADDRESS ON FILE
MRS. MIRIAM C. WAGNER 1948                          ADDRESS ON FILE
MRS. MIRIAM S. SPECTOR                              ADDRESS ON FILE
MRS. MOLLY WALLSCHLAEGER 1968                       ADDRESS ON FILE
MRS. MONIQUE WALBRIDGE                              ADDRESS ON FILE
MRS. MYRA KLARMAN 1987                              ADDRESS ON FILE
MRS. MYRL CATELLI                                   ADDRESS ON FILE
MRS. NANCY A. KIRSTEIN 1953                         ADDRESS ON FILE
MRS. NANCY A. PELHAM FOULKE 1967                    ADDRESS ON FILE
MRS. NANCY C. BARNES 1955                           ADDRESS ON FILE
MRS. NANCY HARRIS                                   ADDRESS ON FILE

MRS. NANCY J. HAMBLETON-TORRENTE 1981               ADDRESS ON FILE
MRS. NANCY MCGEE 1961                               ADDRESS ON FILE
MRS. NANCY SOUTHWORTH 1971                          ADDRESS ON FILE
MRS. NAOMI KESSLER                                  ADDRESS ON FILE
MRS. NATALIE J. BRENNAN 1970                        ADDRESS ON FILE
MRS. NATALIE THOMPSON 1960                          ADDRESS ON FILE
MRS. NATALIE WALEIK                                 ADDRESS ON FILE
MRS. NELLY SKULSKY                                  ADDRESS ON FILE
MRS. NICOLE A. MERKENS 1994                         ADDRESS ON FILE
MRS. NICOLE FUTORAN                                 ADDRESS ON FILE
MRS. NILA ARONOW                                    ADDRESS ON FILE
MRS. NINA S. RAKE 1964                              ADDRESS ON FILE
MRS. NISSAN BERNSTIEN 1955                          ADDRESS ON FILE
MRS. NORMA A. GRIFFITH 1967                         ADDRESS ON FILE
MRS. NORMA W. COUPE 1975                            ADDRESS ON FILE
MRS. NOVELDA H. FERGUSON 1952                       ADDRESS ON FILE
MRS. PAMELA HAMILTON                                ADDRESS ON FILE
MRS. PATRICIA A. JOHNSON 1978                       ADDRESS ON FILE
MRS. PATRICIA A. MASTER                             ADDRESS ON FILE
MRS. PATRICIA A. PLASMIER                           ADDRESS ON FILE
MRS. PATRICIA BEAHAN                                ADDRESS ON FILE
MRS. PATRICIA FINN                                  ADDRESS ON FILE
MRS. PATRICIA FOWLER                                ADDRESS ON FILE
MRS. PATRICIA KLARA                                 ADDRESS ON FILE
MRS. PATRICIA LESKI                                 ADDRESS ON FILE
MRS. PATRICIA S. WINTER                             ADDRESS ON FILE
MRS. PATRICIA SHER                                  ADDRESS ON FILE




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                Creditor Name         Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
MRS. PATRICIA V. GROOMS 1948                      ADDRESS ON FILE
MRS. PATRICK FORREST                              ADDRESS ON FILE
MRS. PAULA A. GIMBLETTE 1970                      ADDRESS ON FILE
MRS. PAULINE RICHMAN                              ADDRESS ON FILE
MRS. PAULINE TRIFARO                              ADDRESS ON FILE
MRS. PEGGY A. SCHNEEBELI                          ADDRESS ON FILE
MRS. PEGGY ZABLOTNY 1970                          ADDRESS ON FILE
MRS. PENELOPE E. MALISH 1977                      ADDRESS ON FILE
MRS. PHYLLIS H. NEWMAN 1962                       ADDRESS ON FILE
MRS. PHYLLIS RABINEAU                             ADDRESS ON FILE
MRS. PHYLLYS B. FLEMING 1984                      ADDRESS ON FILE
MRS. POLLY G. MCKENNA-CRESS 1995                  ADDRESS ON FILE
MRS. RACHEL SPENCE                                ADDRESS ON FILE
MRS. REBA F. LORRY                                ADDRESS ON FILE
MRS. REGINA M. LEDGERWOOD 2004                    ADDRESS ON FILE
MRS. REGINA PIRROCCO                              ADDRESS ON FILE
MRS. RENEE KLEIN                                  ADDRESS ON FILE
MRS. RICHARD KENDALL                              ADDRESS ON FILE
MRS. RITA KARPO 1960                              ADDRESS ON FILE
MRS. RITA M. DI RENZO                             ADDRESS ON FILE
MRS. ROBERTA OLSEN SIEGFRIEDT                     ADDRESS ON FILE
MRS. ROBIN DRECHEN                                ADDRESS ON FILE
MRS. ROBIN R. MCGEEVER 1979                       ADDRESS ON FILE
MRS. RONNIE J. SCHWAM                             ADDRESS ON FILE
MRS. ROSALIA J. NOCERINO 1995                     ADDRESS ON FILE
MRS. ROSALIE COHEN                                ADDRESS ON FILE
MRS. ROSALIE M. SHERMAN 1968                      ADDRESS ON FILE
MRS. ROSALYN WALLACH BAKER                        ADDRESS ON FILE
MRS. ROSEANN M. GATTO 1982                        ADDRESS ON FILE
MRS. ROSINA FELDMAN                               ADDRESS ON FILE
MRS. ROSLYN APPELL                                ADDRESS ON FILE
MRS. ROXANNE SPATOCCO 1963                        ADDRESS ON FILE
MRS. RUTH CHALFIN                                 ADDRESS ON FILE
MRS. RUTH GOLDBERG                                ADDRESS ON FILE
MRS. RUTH POMERANTZ                               ADDRESS ON FILE
MRS. SADIE M. BAGHURST 1951                       ADDRESS ON FILE
MRS. SALLY BIANK                                  ADDRESS ON FILE
MRS. SAMANTHA ORLEANS                             ADDRESS ON FILE
MRS. SANDRA F. TSANTILIS                          ADDRESS ON FILE
MRS. SANDRA M. RIDGELY 1958                       ADDRESS ON FILE
MRS. SARA NAGAI 1988                              ADDRESS ON FILE
MRS. SARAH E. DI GIOIA                            ADDRESS ON FILE
MRS. SAREVA NAOR 1969                             ADDRESS ON FILE
MRS. SHELIA TOUB                                  ADDRESS ON FILE
MRS. SHELLEY DELAURENTIS                          ADDRESS ON FILE
MRS. SHERI SHELDON                                ADDRESS ON FILE
MRS. SHIRLEE S. SCHACHTEL 1949                    ADDRESS ON FILE
MRS. SHIRLEY CONSTON                              ADDRESS ON FILE
MRS. SIGRID BOVENSIEPEN-GEISSBUHLER               ADDRESS ON FILE
MRS. SONDRA MYERS                                 ADDRESS ON FILE
MRS. STELLA J. ALLEN                              ADDRESS ON FILE
MRS. STEPHANIE C. MAGUIRE                         ADDRESS ON FILE
MRS. STEPHANIE CHRISTOPHER                        ADDRESS ON FILE
MRS. STEPHANIE JOYCE                              ADDRESS ON FILE
MRS. STEPHANIE KROK                               ADDRESS ON FILE
MRS. SUE KARR                                     ADDRESS ON FILE
MRS. SUEYUN LOCKS                                 ADDRESS ON FILE
MRS. SUSAN HYDE                                   ADDRESS ON FILE
MRS. SUSAN J. KWASNICK 1974                       ADDRESS ON FILE
MRS. SUSAN J. MELNIK 1992                         ADDRESS ON FILE
MRS. SUSAN JAFFE                                  ADDRESS ON FILE
MRS. SUSAN K. KLEHR 1992                          ADDRESS ON FILE
MRS. SUSAN LARSON                                 ADDRESS ON FILE
MRS. SUSAN N. QUINN 1991                          ADDRESS ON FILE
MRS. SUSAN SHAPIRO-KURCBART 1967                  ADDRESS ON FILE
MRS. SUSAN W. CATHERWOOD                          ADDRESS ON FILE
MRS. SUSAN YARRINGTON                             ADDRESS ON FILE
MRS. SUZANNE A. SCHRIVER 1986                     ADDRESS ON FILE




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                Creditor Name          Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
MRS. SUZANNE MARINELL                              ADDRESS ON FILE
MRS. SUZANNE S. GLOVER 1990                        ADDRESS ON FILE
MRS. SUZANNE SCOTT                                 ADDRESS ON FILE
MRS. SYLVIA L. COHEN                               ADDRESS ON FILE
MRS. TANYA A. PARETCHAN 1972                       ADDRESS ON FILE
MRS. TERESA B. POITRAS 1985                        ADDRESS ON FILE
MRS. TERESA COURAGE                                ADDRESS ON FILE
MRS. TERESA L. GRAGG 1985                          ADDRESS ON FILE
MRS. TERRYANN TURTOLA                              ADDRESS ON FILE
MRS. THERESA PHILLIPS 1956                         ADDRESS ON FILE
MRS. THERESA QUINN                                 ADDRESS ON FILE
MRS. THERESA ROLLINS                               ADDRESS ON FILE
MRS. THERESE B. GREENLAND                          ADDRESS ON FILE
MRS. TOBY A. SOFFER                                ADDRESS ON FILE
MRS. TOBY M. ROTMAN 1961                           ADDRESS ON FILE
MRS. TOBY MEYER 1965                               ADDRESS ON FILE
MRS. TONI GOLDBERG                                 ADDRESS ON FILE
MRS. TONYA SONSINI                                 ADDRESS ON FILE
MRS. TRACEY M. SOSLOW                              ADDRESS ON FILE
MRS. TRACY MIANULLI                                ADDRESS ON FILE
MRS. TRACY WANAMAKER                               ADDRESS ON FILE
MRS. TRICIA BELL                                   ADDRESS ON FILE
MRS. TRISHA SCHLACKMAN                             ADDRESS ON FILE
MRS. VALLA AMSTERDAM                               ADDRESS ON FILE
MRS. VERONICA I. LESNIAK                           ADDRESS ON FILE
MRS. VICKY KELLY                                   ADDRESS ON FILE
MRS. VICTORIA A. DUCLOS BARRETT 1984               ADDRESS ON FILE
MRS. VICTORIA A. STANBACH 1990                     ADDRESS ON FILE
MRS. VICTORIA H. FOX 1968                          ADDRESS ON FILE
MRS. VICTORIA HAIRSTON                             ADDRESS ON FILE
MRS. VICTORIA JOHNSON                              ADDRESS ON FILE
MRS. VICTORIA PENDRAGON 1968                       ADDRESS ON FILE
MRS. VILMA BURGOS-TORRES                           ADDRESS ON FILE
MRS. VIRGINIA B. PERRY 1940                        ADDRESS ON FILE
MRS. VIRGINIA L. LEVESQUE                          ADDRESS ON FILE
MRS. WENDY TURNER                                  ADDRESS ON FILE
MRS. WILLIAM BERNARD                               ADDRESS ON FILE
MS. A. CELESTE HARDESTER                           ADDRESS ON FILE
MS. ABIGAIL FOULK 2010                             ADDRESS ON FILE
MS. ADELE CRANE                                    ADDRESS ON FILE
MS. ADRIANA GARCIA HOARD                           ADDRESS ON FILE
MS. AGNES M. SPEIDEL                               ADDRESS ON FILE
MS. AILAUNA C. JOHNSON 1987                        ADDRESS ON FILE
MS. AIME D. KELLY 2009                             ADDRESS ON FILE
MS. AKIMI O. VALHOULI                              ADDRESS ON FILE
MS. AKIRA HEDRICK 2016                             ADDRESS ON FILE
MS. ALEX MOEDE                                     ADDRESS ON FILE
MS. ALEXA EGER 2017                                ADDRESS ON FILE
MS. ALEXA J. WILDER 2017                           ADDRESS ON FILE
MS. ALEXANDRA RIPP                                 ADDRESS ON FILE
MS. ALEXANDRA TORRES 2008                          ADDRESS ON FILE
MS. ALEXANDRA VITALE 2015                          ADDRESS ON FILE
MS. ALEXIS STATHIS 2017                            ADDRESS ON FILE
MS. ALICE E. STOCK 1990                            ADDRESS ON FILE
MS. ALICE SIMSAR                                   ADDRESS ON FILE
MS. ALICIA M. RICHMAN-BIELLO 2020                  ADDRESS ON FILE
MS. ALIDA L. FISH                                  ADDRESS ON FILE
MS. ALISHA B. CHERRY-DUBB 1996                     ADDRESS ON FILE
MS. ALISHA WASHINGTON                              ADDRESS ON FILE
MS. ALISON GULCZYNSKI                              ADDRESS ON FILE
MS. ALLEANNA C. HARRIS 2015                        ADDRESS ON FILE
MS. ALLEGRA E. BURNETTE 1995                       ADDRESS ON FILE
MS. ALLISON J. GEWERTZ 2002                        ADDRESS ON FILE
MS. ALLISON MILLARD                                ADDRESS ON FILE
MS. ALYSSA HARGROVE 2012                           ADDRESS ON FILE
MS. ALYSSA N. CLINKSCALES 2017                     ADDRESS ON FILE
MS. AMANDA DAVID 2002                              ADDRESS ON FILE
MS. AMANDA HESS                                    ADDRESS ON FILE




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               Creditor Name     Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
MS. AMANDA KARLIN                            ADDRESS ON FILE
MS. AMANDA L. COLLETT 2002                   ADDRESS ON FILE
MS. AMANDA L. MANDELL 2004                   ADDRESS ON FILE
MS. AMANDA MELCZER                           ADDRESS ON FILE
MS. AMANDA N. KMETTPENDRY 2013               ADDRESS ON FILE
MS. AMANDA S. MILZ 2012                      ADDRESS ON FILE
MS. AMANDA SMIT-PETERS                       ADDRESS ON FILE
MS. AMANDA T. BLACK                          ADDRESS ON FILE
MS. AMBER GAUL 2017                          ADDRESS ON FILE
MS. AMEE J. POLLACK 1994                     ADDRESS ON FILE
MS. AMY B. GOLDBAS                           ADDRESS ON FILE
MS. AMY B. WENSLOW 1987                      ADDRESS ON FILE
MS. AMY BROWN                                ADDRESS ON FILE
MS. AMY CORDAY                               ADDRESS ON FILE
MS. AMY H. GOLDMAN                           ADDRESS ON FILE
MS. AMY J. GARCIA 1985                       ADDRESS ON FILE
MS. AMY L. JARED 1986                        ADDRESS ON FILE
MS. ANAT ESHEL 2014                          ADDRESS ON FILE
MS. ANDREA BELL                              ADDRESS ON FILE
MS. ANDREA DONAHUE                           ADDRESS ON FILE
MS. ANDREA HARTLEY                           ADDRESS ON FILE
MS. ANDREA JONES-DAVIS                       ADDRESS ON FILE
MS. ANDREA L. SHUMSKY 1982                   ADDRESS ON FILE
MS. ANDREA M. SAVIDGE 2014                   ADDRESS ON FILE
MS. ANDREA S. EMMONS 1980                    ADDRESS ON FILE
MS. ANDREA S. MARKS 1983                     ADDRESS ON FILE
MS. ANGEL KELLEY                             ADDRESS ON FILE
MS. ANGELA JONES-OBRIEN                      ADDRESS ON FILE
MS. ANGELA SWEIGART                          ADDRESS ON FILE
MS. ANGELA T. JESELNICK 1984                 ADDRESS ON FILE
MS. ANGELA VENTUS                            ADDRESS ON FILE
MS. ANGELINA JULIANO                         ADDRESS ON FILE
MS. ANGIE MCCLOSKEY                          ADDRESS ON FILE
MS. ANISA HAIDARY                            ADDRESS ON FILE
MS. ANITA DART BODELL                        ADDRESS ON FILE
MS. ANITA KEYS                               ADDRESS ON FILE
MS. ANITA LOVITT 1970                        ADDRESS ON FILE
MS. ANITA P. SHETH 2012                      ADDRESS ON FILE
MS. ANITA R. CHANDLER 2005                   ADDRESS ON FILE
MS. ANN AKIF                                 ADDRESS ON FILE
MS. ANN B. ROSSILLI 1974                     ADDRESS ON FILE
MS. ANN JOZWIAK                              ADDRESS ON FILE
MS. ANN M. MITCHELL 1968                     ADDRESS ON FILE
MS. ANN MARIE BLACKWELL                      ADDRESS ON FILE
MS. ANN MARIE DOMINIK 1985                   ADDRESS ON FILE
MS. ANN P. WESSMAN                           ADDRESS ON FILE
MS. ANN S. HARTZELL                          ADDRESS ON FILE
MS. ANN TEGNELL                              ADDRESS ON FILE
MS. ANNA F. FINE FOER 1980                   ADDRESS ON FILE
MS. ANNA J. LADD 2016                        ADDRESS ON FILE
MS. ANNA K. MIDDLETON                        ADDRESS ON FILE
MS. ANNA L. WERT                             ADDRESS ON FILE
MS. ANNA M. COWAN                            ADDRESS ON FILE
MS. ANNA M. RISING 2015                      ADDRESS ON FILE
MS. ANNA R. CRIDER 2001                      ADDRESS ON FILE
MS. ANNA TORMA                               ADDRESS ON FILE
MS. ANNAMARIE E. PHILLIPS                    ADDRESS ON FILE
MS. ANNE BEIDLER                             ADDRESS ON FILE
MS. ANNE BRYSON                              ADDRESS ON FILE
MS. ANNE C. WREN 1986                        ADDRESS ON FILE
MS. ANNE D. BUTTERFIELD                      ADDRESS ON FILE
MS. ANNE D. SCHWARTZ                         ADDRESS ON FILE
MS. ANNE E. HENRY                            ADDRESS ON FILE
MS. ANNE GHORY-GOODMAN                       ADDRESS ON FILE
MS. ANNE H. VAN ARKEL                        ADDRESS ON FILE
MS. ANNE L. SCIOLLA 1986                     ADDRESS ON FILE
MS. ANNE MAE EGAN                            ADDRESS ON FILE
MS. ANNE MASSONI                             ADDRESS ON FILE




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                Creditor Name      Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
MS. ANNE S. BELOV 1977                         ADDRESS ON FILE
MS. ANNE STANDISH                              ADDRESS ON FILE
MS. ANNE T. LIGHTFOOT                          ADDRESS ON FILE
MS. ANNETTE LUPOLI                             ADDRESS ON FILE
MS. ANNETTE R. CARLO 1993                      ADDRESS ON FILE
MS. ANNIE WILLIAMS                             ADDRESS ON FILE
MS. ANNMARIE LOCKHART                          ADDRESS ON FILE
MS. ANTOINETTE N. STARR                        ADDRESS ON FILE
MS. APRIL GREIMAN                              ADDRESS ON FILE
MS. APRIL SMITH-WILKINS                        ADDRESS ON FILE
MS. ARIEL E. COLEMAN-TURNER 2004               ADDRESS ON FILE
MS. ARIEL WEISS                                ADDRESS ON FILE
MS. ARITTY J. NEWTON 1985                      ADDRESS ON FILE
MS. ARLENE C. HAYDEN 1970                      ADDRESS ON FILE
MS. ARLENE HWANG                               ADDRESS ON FILE
MS. ARLINE J. LOTMAN, ESQ.                     ADDRESS ON FILE
MS. ARMENA D. JEHANIAN 1992                    ADDRESS ON FILE
MS. ASHLEY F. JONES 2010                       ADDRESS ON FILE
MS. ASHLEY J. ALTMAN                           ADDRESS ON FILE
MS. ASHLEY PIGFORD                             ADDRESS ON FILE
MS. ASTRID BOWLBY                              ADDRESS ON FILE
MS. AUDREY B. SIMMONS 2017                     ADDRESS ON FILE
MS. AUDREY HARRELL                             ADDRESS ON FILE
MS. AUDREY QUICK                               ADDRESS ON FILE
MS. B. PROUD                                   ADDRESS ON FILE
MS. BANITA D. AMBROSE 1993                     ADDRESS ON FILE
MS. BAO-TRAN D. HUYNH 2007                     ADDRESS ON FILE
MS. BARBARA A. MCGEE                           ADDRESS ON FILE
MS. BARBARA A. TENENBAUM                       ADDRESS ON FILE
MS. BARBARA ATTIE                              ADDRESS ON FILE
MS. BARBARA BEAUMONT                           ADDRESS ON FILE
MS. BARBARA C. KIRK                            ADDRESS ON FILE
MS. BARBARA DORNAY                             ADDRESS ON FILE
MS. BARBARA E. HINDMAN                         ADDRESS ON FILE
MS. BARBARA E. SOFFER                          ADDRESS ON FILE
MS. BARBARA GESSHEL 1964                       ADDRESS ON FILE
MS. BARBARA H. LEMBER 1963                     ADDRESS ON FILE
MS. BARBARA I. NAGIN 1984                      ADDRESS ON FILE
MS. BARBARA JUDD                               ADDRESS ON FILE
MS. BARBARA L. RISHEL 1961                     ADDRESS ON FILE
MS. BARBARA L. SOSSON 1971                     ADDRESS ON FILE
MS. BARBARA ONEY                               ADDRESS ON FILE
MS. BARBARA P. DANIN                           ADDRESS ON FILE
MS. BARBARA ROESSNER                           ADDRESS ON FILE
MS. BARBARA RUSSELL                            ADDRESS ON FILE
MS. BARBARA S. KRETCHMAR                       ADDRESS ON FILE
MS. BARBARA S. ROSENBERG 1972                  ADDRESS ON FILE
MS. BARBARA T. COLLAUTT                        ADDRESS ON FILE
MS. BARBARA THOMAS                             ADDRESS ON FILE
MS. BARBARA WALLACE                            ADDRESS ON FILE
MS. BARBARA WERNER                             ADDRESS ON FILE
MS. BARBARA WILLIAMS                           ADDRESS ON FILE
MS. BARBARA WISNOFF                            ADDRESS ON FILE
MS. BARI PALLARINO 2021                        ADDRESS ON FILE
MS. BEATRICE SINGER                            ADDRESS ON FILE
MS. BEATRICE WEIDNER 1963                      ADDRESS ON FILE
MS. BECCA GUTWIRTH                             ADDRESS ON FILE
MS. BELINDA BREMNER                            ADDRESS ON FILE
MS. BELLA SCHAFER                              ADDRESS ON FILE
MS. BERNICE HALPERN                            ADDRESS ON FILE
MS. BESS BIELUCZYK                             ADDRESS ON FILE
MS. BESSIE R. BRIDGES 1948                     ADDRESS ON FILE
MS. BESSIE Y. GREEN                            ADDRESS ON FILE
MS. BETH A. TWISS-HOUTING                      ADDRESS ON FILE
MS. BETH A. YANCI                              ADDRESS ON FILE
MS. BETH E. FREDERICK                          ADDRESS ON FILE
MS. BETH HACKET                                ADDRESS ON FILE
MS. BETH HARE                                  ADDRESS ON FILE




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                Creditor Name        Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
MS. BETH I. VAN WHY 2006                         ADDRESS ON FILE
MS. BETHANY A. FRANZ 2004                        ADDRESS ON FILE
MS. BETHANY K. HARTSHORN 1996                    ADDRESS ON FILE
MS. BETSY G. WOLLENSACK 1985                     ADDRESS ON FILE
MS. BETSY MIRAGLIA                               ADDRESS ON FILE
MS. BETTE W. CAPLAN                              ADDRESS ON FILE
MS. BETTY FUSSELL                                ADDRESS ON FILE
MS. BETTY L. MARCHANT 1992                       ADDRESS ON FILE
MS. BETTY MUSSER                                 ADDRESS ON FILE
MS. BETTY S. GREENE 1979                         ADDRESS ON FILE
MS. BEVERLY A. WEHR 1986                         ADDRESS ON FILE
MS. BEVERLY P. AGARD 1973                        ADDRESS ON FILE
MS. BEVERLY POLIN                                ADDRESS ON FILE
MS. BIANCA C. CEVOLI 2008                        ADDRESS ON FILE
MS. BONNIE A. PECK                               ADDRESS ON FILE
MS. BONNIE C. RANDALL 1967                       ADDRESS ON FILE
MS. BRENDA A. RIDLEY                             ADDRESS ON FILE
MS. BRENDA ERICKSON                              ADDRESS ON FILE
MS. BRENDA Y. GARATE 2011                        ADDRESS ON FILE
MS. BRIE A. NEFF                                 ADDRESS ON FILE
MS. BRIEON M. LEVIN 2006                         ADDRESS ON FILE
MS. BRIGID MCCARTHY 1971                         ADDRESS ON FILE
MS. BRITTANY D. MEYER 2015                       ADDRESS ON FILE
MS. BRITTANY R. HOFLER 2009                      ADDRESS ON FILE
MS. CAITLIN GOLD                                 ADDRESS ON FILE
MS. CAITLIN RIGGSBEE 2017                        ADDRESS ON FILE
MS. CAMILLE SERAFINA                             ADDRESS ON FILE
MS. CAROL A. GRAMINSKI                           ADDRESS ON FILE
MS. CAROL A. MAGER, ESQ.                         ADDRESS ON FILE
MS. CAROL D. WESTFALL                            ADDRESS ON FILE
MS. CAROL H. GRANEY                              ADDRESS ON FILE
MS. CAROL J. STAFFORD                            ADDRESS ON FILE
MS. CAROL KIRK                                   ADDRESS ON FILE
MS. CAROL L. KEGLEY 1992                         ADDRESS ON FILE
MS. CAROL L. MOORE                               ADDRESS ON FILE
MS. CAROL L. SEXTON 1970                         ADDRESS ON FILE
MS. CAROL L. SMITH 1973                          ADDRESS ON FILE
MS. CAROL L. WRIGHT 1985                         ADDRESS ON FILE
MS. CAROL O. ALLEN 1992                          ADDRESS ON FILE
MS. CAROL R. ASHTON-HERGENHAN 1971               ADDRESS ON FILE
MS. CAROL RIDYARD                                ADDRESS ON FILE
MS. CAROL SAINDON                                ADDRESS ON FILE
MS. CAROL WOOLFORD                               ADDRESS ON FILE
MS. CAROLE A. DAVIS                              ADDRESS ON FILE
MS. CAROLE ABERCAUPH 1966                        ADDRESS ON FILE
MS. CAROLE H. GRAVAGNO                           ADDRESS ON FILE
MS. CAROLINE E. LEUSNER 2017                     ADDRESS ON FILE
MS. CAROLINE HASSLER                             ADDRESS ON FILE
MS. CAROLINE JACOBUS                             ADDRESS ON FILE
MS. CAROLYN C. TEDHOLM                           ADDRESS ON FILE
MS. CAROLYN HEATON                               ADDRESS ON FILE
MS. CAROLYN J. PATEK                             ADDRESS ON FILE
MS. CAROLYN L. DOLL-GEIGER 1972                  ADDRESS ON FILE
MS. CAROLYN MACLEISH                             ADDRESS ON FILE
MS. CAROLYN ROBINSON                             ADDRESS ON FILE
MS. CAROLYN SMITH                                ADDRESS ON FILE
MS. CARRIE L. SUSINO 2003                        ADDRESS ON FILE
MS. CARSON MISCHEL                               ADDRESS ON FILE
MS. CARYN M. HALL 1997                           ADDRESS ON FILE
MS. CARYN S. GUBIN                               ADDRESS ON FILE
MS. CASEY HAMBLETT                               ADDRESS ON FILE
MS. CASEY R. BIALEK 2014                         ADDRESS ON FILE
MS. CASSANDRA A. STAFFORD 2007                   ADDRESS ON FILE
MS. CASSANDRA J. COOPER 2014                     ADDRESS ON FILE
MS. CASSANDRA PEDERSEN 2003                      ADDRESS ON FILE
MS. CATHARINE F. ISHII                           ADDRESS ON FILE
MS. CATHERINE KODAT                              ADDRESS ON FILE
MS. CATHERINE LAMELA                             ADDRESS ON FILE




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                Creditor Name       Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
MS. CATHERINE LOGAN                             ADDRESS ON FILE
MS. CATHERINE MARTIN                            ADDRESS ON FILE
MS. CATHERINE MISSIMER                          ADDRESS ON FILE
MS. CATHERINE MURPHY BERARDINO                  ADDRESS ON FILE
MS. CATHERINE PETRINO 2014                      ADDRESS ON FILE
MS. CATHERINE V. CALDICOTT                      ADDRESS ON FILE
MS. CATHERINE WHITE                             ADDRESS ON FILE
MS. CATHEY M. KENNEDY                           ADDRESS ON FILE
MS. CATHY J. KYLE 1980                          ADDRESS ON FILE
MS. CECELIA ROBERTS                             ADDRESS ON FILE
MS. CECILIA GALLO                               ADDRESS ON FILE
MS. CELIA BOLDER                                ADDRESS ON FILE
MS. CELIC N. MELENDEZ 2010                      ADDRESS ON FILE
MS. CEMEATRIA BROWN                             ADDRESS ON FILE
MS. CHANDRA CAGGINS 1998                        ADDRESS ON FILE
MS. CHARLENE JOHNSON                            ADDRESS ON FILE
MS. CHARLENE M. NORRIS                          ADDRESS ON FILE
MS. CHARLOTTE L. MARTIN 1985                    ADDRESS ON FILE
MS. CHARLOTTE MYERS                             ADDRESS ON FILE
MS. CHARLOTTE S. RIGGS 2003                     ADDRESS ON FILE
MS. CHELSEA BIEMILLER                           ADDRESS ON FILE
MS. CHERAE GRIMES 2017                          ADDRESS ON FILE
MS. CHERYL BROCK 1970                           ADDRESS ON FILE
MS. CHERYL HAINES                               ADDRESS ON FILE
MS. CHERYL K. HINES 1981                        ADDRESS ON FILE
MS. CHERYL L. CARSON 1999                       ADDRESS ON FILE
MS. CHERYL M. HAZZARD 1972                      ADDRESS ON FILE
MS. CHRISTA R. DIMARCO 2001                     ADDRESS ON FILE
MS. CHRISTEL TURINGAN                           ADDRESS ON FILE
MS. CHRISTINA BRUNO                             ADDRESS ON FILE
MS. CHRISTINA C. MCGOVERN 1989                  ADDRESS ON FILE
MS. CHRISTINA F. ROBERTSON                      ADDRESS ON FILE
MS. CHRISTINA HENDRICKSON                       ADDRESS ON FILE
MS. CHRISTINA K. VAN EMBDEN 2002                ADDRESS ON FILE
MS. CHRISTINA LAROCCA                           ADDRESS ON FILE
MS. CHRISTINA M. CRIBB 2007                     ADDRESS ON FILE
MS. CHRISTINA M. LEWIS 2007                     ADDRESS ON FILE
MS. CHRISTINA M. WOLKEN 2013                    ADDRESS ON FILE
MS. CHRISTINE A. BUSHEY 1986                    ADDRESS ON FILE
MS. CHRISTINE D. OBRIEN-MASE 1994               ADDRESS ON FILE
MS. CHRISTINE FOX                               ADDRESS ON FILE
MS. CHRISTINE HADER                             ADDRESS ON FILE
MS. CHRISTINE HIEBERT 1982                      ADDRESS ON FILE
MS. CHRISTINE KRUEGER                           ADDRESS ON FILE
MS. CHRISTINE M. ZAPATA 2011                    ADDRESS ON FILE
MS. CHRISTINE N. CANTERA 1975                   ADDRESS ON FILE
MS. CHRISTINE P. REEVES                         ADDRESS ON FILE
MS. CHRISTINE R. BAILEY 2008                    ADDRESS ON FILE
MS. CHRISTINE RAD                               ADDRESS ON FILE
MS. CHRISTINE WRIGHT                            ADDRESS ON FILE
MS. CHRISTINE WRIGHT                            ADDRESS ON FILE
MS. CHRISTINE ZELINSKY                          ADDRESS ON FILE
MS. CHRISTY B. GONZALEZ 2001                    ADDRESS ON FILE
MS. CINDY MARTELL                               ADDRESS ON FILE
MS. CLAIRE DILULLO                              ADDRESS ON FILE
MS. CLAIRE HESS 1978                            ADDRESS ON FILE
MS. CLAIRE M. MARSCHAK 1979                     ADDRESS ON FILE
MS. CLAIRE V. VLIET                             ADDRESS ON FILE
MS. CLAIRE WILKES                               ADDRESS ON FILE
MS. CLAUDIA COHEN                               ADDRESS ON FILE
MS. CLAUDIA CONSOLATI                           ADDRESS ON FILE
MS. CLAUDIA MILLS                               ADDRESS ON FILE
MS. CLAUDIA RUTH LAWSON                         ADDRESS ON FILE
MS. CLETA HIGGINS                               ADDRESS ON FILE
MS. COLETTE M. LEFEVRE 1984                     ADDRESS ON FILE
MS. COLLEEN A. ROSCHER 2006                     ADDRESS ON FILE
MS. COLLEEN HAMMOND                             ADDRESS ON FILE
MS. COLLEEN M. REDWOOD                          ADDRESS ON FILE




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                Creditor Name          Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
MS. COLLEEN MCLAUGHLIN 2012                        ADDRESS ON FILE
MS. COLLEEN NUNEZ WHITMAN                          ADDRESS ON FILE
MS. CONNIE BLOOD                                   ADDRESS ON FILE
MS. CONNIE ISBELL                                  ADDRESS ON FILE
MS. CONSTANCE OBER                                 ADDRESS ON FILE
MS. CORINE BRADLEY                                 ADDRESS ON FILE
MS. CORINNE CALESSO 1975                           ADDRESS ON FILE
MS. COURTNEY R. LAW 2003                           ADDRESS ON FILE
MS. CRYSTAL ALBRIGHT                               ADDRESS ON FILE
MS. CRYSTAL E. LAMBERT 2007                        ADDRESS ON FILE
MS. CYNTHIA A. CROW 1993                           ADDRESS ON FILE
MS. CYNTHIA A. JAY                                 ADDRESS ON FILE
MS. CYNTHIA BOYER                                  ADDRESS ON FILE
MS. CYNTHIA BULLOCK                                ADDRESS ON FILE
MS. CYNTHIA DAVIES                                 ADDRESS ON FILE
MS. CYNTHIA E. KANE 2002                           ADDRESS ON FILE
MS. CYNTHIA FLETCHER                               ADDRESS ON FILE
MS. CYNTHIA HOLSTAD                                ADDRESS ON FILE
MS. CYNTHIA KEEGIN                                 ADDRESS ON FILE
MS. CYNTHIA M. DICKEY 1992                         ADDRESS ON FILE
MS. CYNTHIA M. GALLAGHER 1972                      ADDRESS ON FILE
MS. CYNTHIA MURRAY-HOLMES                          ADDRESS ON FILE
MS. CYNTHIA PULLEY                                 ADDRESS ON FILE
MS. CYNTHIA R. HELMSTETTER 2009                    ADDRESS ON FILE
MS. CYNTHIA SCHIRA                                 ADDRESS ON FILE
MS. CYNTHIA T. TAYLOR 1974                         ADDRESS ON FILE
MS. DANA A. KRESZSWICK 1994                        ADDRESS ON FILE
MS. DANASHA OBRIEN                                 ADDRESS ON FILE
MS. DANIELA GALDI 2008                             ADDRESS ON FILE
MS. DANIELA LIEN 2008                              ADDRESS ON FILE
MS. DANIELLE C. ACERRA 1998                        ADDRESS ON FILE
MS. DANIELLE DIMSTON 1979                          ADDRESS ON FILE
MS. DANIELLE M. ADAMS 2006                         ADDRESS ON FILE
MS. DANIELLE MAISEY 1997                           ADDRESS ON FILE
MS. DANIELLE PATTERSON                             ADDRESS ON FILE
MS. DANIELLE STEIN                                 ADDRESS ON FILE
MS. DANIELLE YOUNG 2005                            ADDRESS ON FILE
MS. DAPHNE FELTEN-GREEN                            ADDRESS ON FILE
MS. DARLENE M. BOSTON                              ADDRESS ON FILE
MS. DAWN A. CALZADA                                ADDRESS ON FILE
MS. DAWN BOWEN                                     ADDRESS ON FILE
MS. DAWN STEINFELD                                 ADDRESS ON FILE
MS. DEANGELA L. DUFF                               ADDRESS ON FILE
MS. DEANNA MCLAUGHLIN 1995                         ADDRESS ON FILE
MS. DEBORA SNOWDEN                                 ADDRESS ON FILE
MS. DEBORAH CURTISS, 3RD 1983                      ADDRESS ON FILE
MS. DEBORAH E. WILLIS 1975                         ADDRESS ON FILE
MS. DEBORAH EL-PLATT                               ADDRESS ON FILE
MS. DEBORAH EUSTICE                                ADDRESS ON FILE
MS. DEBORAH HASOU                                  ADDRESS ON FILE
MS. DEBORAH LARKIN KRAMER                          ADDRESS ON FILE
MS. DEBORAH WARNER                                 ADDRESS ON FILE
MS. DEBRA A. DADARIO                               ADDRESS ON FILE
MS. DEBRA A. FISCHER                               ADDRESS ON FILE
MS. DEBRA BERNIER                                  ADDRESS ON FILE
MS. DEBRA DRODVILLO                                ADDRESS ON FILE
MS. DEBRA L. VALENCIA 1981                         ADDRESS ON FILE
MS. DEBRA SPARK                                    ADDRESS ON FILE
MS. DEBRA VALENTI-EPSTEIN, ESQ. 1976               ADDRESS ON FILE
MS. DEIDRE MITCHELLI                               ADDRESS ON FILE
MS. DELORES KRAMER                                 ADDRESS ON FILE
MS. DENA NIHART                                    ADDRESS ON FILE
MS. DENA SUKOL                                     ADDRESS ON FILE
MS. DENA WOODALL                                   ADDRESS ON FILE
MS. DENEEN WASHINGTON                              ADDRESS ON FILE
MS. DENI ANDERSON                                  ADDRESS ON FILE
MS. DENISE JACKSON                                 ADDRESS ON FILE
MS. DENISE L. AMSES 1980                           ADDRESS ON FILE




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                Creditor Name     Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
MS. DENISE L. PHILIPBAR 2013                  ADDRESS ON FILE
MS. DENISE LOUALLO                            ADDRESS ON FILE
MS. DENISE M. CARBONE 1991                    ADDRESS ON FILE
MS. DENISE VOLK                               ADDRESS ON FILE
MS. DESIREE MITCHELL 1983                     ADDRESS ON FILE
MS. DIANA L. KAUZLARICH 1993                  ADDRESS ON FILE
MS. DIANA M. GERVASI 2007                     ADDRESS ON FILE
MS. DIANA M. KOBAR 1981                       ADDRESS ON FILE
MS. DIANE BURKO                               ADDRESS ON FILE
MS. DIANE C. JONES                            ADDRESS ON FILE
MS. DIANE E. SANDERS 2009                     ADDRESS ON FILE
MS. DIANE K. APFELBAUM                        ADDRESS ON FILE
MS. DIANE L. EMERSON 1990                     ADDRESS ON FILE
MS. DIANE L. PEPE 2012                        ADDRESS ON FILE
MS. DIANE M. DIGIACOMO 1980                   ADDRESS ON FILE
MS. DIANE M. KAE                              ADDRESS ON FILE
MS. DIANE MARIE ROSELLI 1970                  ADDRESS ON FILE
MS. DIANE SOVEL                               ADDRESS ON FILE
MS. DIANE VANDERSLICE                         ADDRESS ON FILE
MS. DIANE WALSH                               ADDRESS ON FILE
MS. DIANE WILIKOFSKY                          ADDRESS ON FILE
MS. DIANNA F. BANKS 1969                      ADDRESS ON FILE
MS. DINA M. DITARANTO 2011                    ADDRESS ON FILE
MS. DOLLIE J. MORGAN 1946                     ADDRESS ON FILE
MS. DONNA FAYE BURCHFIELD                     ADDRESS ON FILE
MS. DONNA J. DORN 1964                        ADDRESS ON FILE
MS. DONNA J. GLOBUS 2010                      ADDRESS ON FILE
MS. DONNA K. GILL                             ADDRESS ON FILE
MS. DONNA M. OWENS                            ADDRESS ON FILE
MS. DONNA ROSENTHAL                           ADDRESS ON FILE
MS. DORAY WALLA                               ADDRESS ON FILE
MS. DORIS BRENMAN                             ADDRESS ON FILE
MS. DORIS ELLINGTON                           ADDRESS ON FILE
MS. DOROTHY A. ATTIE 1959                     ADDRESS ON FILE
MS. DOROTHY A. BECKER                         ADDRESS ON FILE
MS. DOROTHY A. KIRSCHNER                      ADDRESS ON FILE
MS. DOROTHY E. FUNDERWHITE 1993               ADDRESS ON FILE
MS. DOROTHY G. BARNES                         ADDRESS ON FILE
MS. DOROTHY HUGHES                            ADDRESS ON FILE
MS. DOROTHY NERENBERG                         ADDRESS ON FILE
MS. DOROTHY VEREEN                            ADDRESS ON FILE
MS. DOSHANNA D. BELL 2008                     ADDRESS ON FILE
MS. EBONNE RUFFINS LEAPHART                   ADDRESS ON FILE
MS. EDITH BRODSKY 1973                        ADDRESS ON FILE
MS. EILEEN D. NEFF 1972                       ADDRESS ON FILE
MS. EILEEN EIDELSON                           ADDRESS ON FILE
MS. EILEEN ELLIOTT                            ADDRESS ON FILE
MS. EILEEN FLANAGAN                           ADDRESS ON FILE
MS. EILEEN G. WALDMAN                         ADDRESS ON FILE
MS. EILEEN MAROLLA                            ADDRESS ON FILE
MS. EILLEN J. BORETH                          ADDRESS ON FILE
MS. ELAINA S. SPILOVE                         ADDRESS ON FILE
MS. ELAINE C. LEVITT                          ADDRESS ON FILE
MS. ELAINE G. CHU 1985                        ADDRESS ON FILE
MS. ELAINE GROTHUSEN                          ADDRESS ON FILE
MS. ELAINE GURIAN                             ADDRESS ON FILE
MS. ELAINE IVKER 1962                         ADDRESS ON FILE
MS. ELAINE LAMANO                             ADDRESS ON FILE
MS. ELAINE LINDY                              ADDRESS ON FILE
MS. ELAINE MANGEL                             ADDRESS ON FILE
MS. ELEANOR D. THOMPSON                       ADDRESS ON FILE
MS. ELEANOR E. EVANS 1975                     ADDRESS ON FILE
MS. ELEANOR STAPLES                           ADDRESS ON FILE
MS. ELENA FELICIANO                           ADDRESS ON FILE
MS. ELENA KOEBEL                              ADDRESS ON FILE
MS. ELISA WEBER                               ADDRESS ON FILE
MS. ELISABETH AGRO                            ADDRESS ON FILE
MS. ELIZABETH A. GREBE 1989                   ADDRESS ON FILE




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                Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
MS. ELIZABETH A. ISAAC                      ADDRESS ON FILE
MS. ELIZABETH ANN BURNETT                   ADDRESS ON FILE
MS. ELIZABETH B. BOYD 2008                  ADDRESS ON FILE
MS. ELIZABETH BOGLE 1954                    ADDRESS ON FILE
MS. ELIZABETH BOURQUE                       ADDRESS ON FILE
MS. ELIZABETH CRONEY                        ADDRESS ON FILE
MS. ELIZABETH G. DAVISON 1963               ADDRESS ON FILE
MS. ELIZABETH G. ULMER                      ADDRESS ON FILE
MS. ELIZABETH HELLING 1976                  ADDRESS ON FILE
MS. ELIZABETH J. MEAD 1985                  ADDRESS ON FILE
MS. ELIZABETH LICHT                         ADDRESS ON FILE
MS. ELIZABETH M. BURKHAUSER                 ADDRESS ON FILE
MS. ELIZABETH MC KENNA 1984                 ADDRESS ON FILE
MS. ELIZABETH O. PORTER                     ADDRESS ON FILE
MS. ELIZABETH R. RADIGONDA                  ADDRESS ON FILE
MS. ELIZABETH RALEIGH                       ADDRESS ON FILE
MS. ELIZABETH SACCARDI                      ADDRESS ON FILE
MS. ELLE J. CHYUN 2007                      ADDRESS ON FILE
MS. ELLEN BAUM                              ADDRESS ON FILE
MS. ELLEN C. ELMAN 1995                     ADDRESS ON FILE
MS. ELLEN CHUSE 1967                        ADDRESS ON FILE
MS. ELLEN G. ROBERTS 1981                   ADDRESS ON FILE
MS. ELLEN J. BARBARA 1985                   ADDRESS ON FILE
MS. ELLEN M. SOFFER 1981                    ADDRESS ON FILE
MS. ELLEN MAGENHEIM                         ADDRESS ON FILE
MS. ELLEN N. FLOCCO                         ADDRESS ON FILE
MS. ELLEN ROGOFF                            ADDRESS ON FILE
MS. ELLEN ROSENBERG                         ADDRESS ON FILE
MS. ELLEN STEINER                           ADDRESS ON FILE
MS. ELODIE R. RAGAN                         ADDRESS ON FILE
MS. ELSA LEONARD                            ADDRESS ON FILE
MS. ELSIE KOGEL                             ADDRESS ON FILE
MS. ELSIE N. FREEMAN                        ADDRESS ON FILE
MS. EMILY A. ANGELUCCI 2017                 ADDRESS ON FILE
MS. EMILY M. KNIERIEM 2018                  ADDRESS ON FILE
MS. EMILY PRITCHARD                         ADDRESS ON FILE
MS. EMMA K. ANDRIATCH 2017                  ADDRESS ON FILE
MS. ERIKA L. GEHRINGER 2005                 ADDRESS ON FILE
MS. ERIN CALLOWAY                           ADDRESS ON FILE
MS. ERIN E. SELLNOW 2000                    ADDRESS ON FILE
MS. ERIN I. CONDRON 2000                    ADDRESS ON FILE
MS. ERIN P. PAGLIA 2001                     ADDRESS ON FILE
MS. ERINN L. HART 2003                      ADDRESS ON FILE
MS. ESTEFANIA GARCIA 2013                   ADDRESS ON FILE
MS. ESTHER COHEN                            ADDRESS ON FILE
MS. ESTHER S. HELINEK                       ADDRESS ON FILE
MS. ETHEL C. KESLER                         ADDRESS ON FILE
MS. EUGENIA B. GONZALEZ 1983                ADDRESS ON FILE
MS. EVA COHEN                               ADDRESS ON FILE
MS. EVA ENNIST                              ADDRESS ON FILE
MS. EVA NARDELLI                            ADDRESS ON FILE
MS. EVE M. CONWAY                           ADDRESS ON FILE
MS. EVELYN D. MC LAURIN 1963                ADDRESS ON FILE
MS. EVELYN HARVITZ                          ADDRESS ON FILE
MS. EVELYN HIRATA 1983                      ADDRESS ON FILE
MS. EVELYN J. JANSON                        ADDRESS ON FILE
MS. EVELYN PENZA                            ADDRESS ON FILE
MS. EVELYN ROSEN                            ADDRESS ON FILE
MS. F. K. HUEBNER                           ADDRESS ON FILE
MS. FAITH M. PATANE 2006                    ADDRESS ON FILE
MS. FARRAH BAROW                            ADDRESS ON FILE
MS. FAY G. LAWTON                           ADDRESS ON FILE
MS. FELICE TEBBE                            ADDRESS ON FILE
MS. FELICIA WITOMSKI 1979                   ADDRESS ON FILE
MS. FLEURY MACKIE                           ADDRESS ON FILE
MS. FLO B. PERKINS 1974                     ADDRESS ON FILE
MS. FLORA SCHNALL                           ADDRESS ON FILE
MS. FLORENCE A. SNYDER                      ADDRESS ON FILE




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                 Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
MS. FLORENCE REPPY                           ADDRESS ON FILE
MS. FRAN R. GIBSON 1973                      ADDRESS ON FILE
MS. FRAN REED                                ADDRESS ON FILE
MS. FRANCES A. MCELHILL                      ADDRESS ON FILE
MS. FRANCES A. ZAMISKIE                      ADDRESS ON FILE
MS. FRANCES J. FANELLI 1965                  ADDRESS ON FILE
MS. FRANCES M. COATES                        ADDRESS ON FILE
MS. FRANCES R. MAYS 1978                     ADDRESS ON FILE
MS. FRANCES W. GOLDMAN                       ADDRESS ON FILE
MS. FRANCESCA FADGEN                         ADDRESS ON FILE
MS. FRANCESCA L. SCHWAB 1969                 ADDRESS ON FILE
MS. GABRIELA NERI 1985                       ADDRESS ON FILE
MS. GABRIELLE M. GOZO 2009                   ADDRESS ON FILE
MS. GAIL FOX 1983                            ADDRESS ON FILE
MS. GAIL H. KIESTER 1981                     ADDRESS ON FILE
MS. GAIL KASS                                ADDRESS ON FILE
MS. GAIL P. LILLEBERG-SHEA                   ADDRESS ON FILE
MS. GEENA TEODECKI                           ADDRESS ON FILE
MS. GEHIA DAVENPORT 1994                     ADDRESS ON FILE
MS. GENNIFER BIRNBACH                        ADDRESS ON FILE
MS. GEORGEANN S. BLAHA                       ADDRESS ON FILE
MS. GEORGIA GUTHRIE 2011                     ADDRESS ON FILE
MS. GERALDINE MCTEAR                         ADDRESS ON FILE
MS. GERALEE WOOD                             ADDRESS ON FILE
MS. GERRIE SINATRA                           ADDRESS ON FILE
MS. GIGI A. MCGEE 1981                       ADDRESS ON FILE
MS. GINA KAMENTSKY 1981                      ADDRESS ON FILE
MS. GINA L. HICKS 1995                       ADDRESS ON FILE
MS. GINA M. GIUSTO 2017                      ADDRESS ON FILE
MS. GINA MOSCATELLI                          ADDRESS ON FILE
MS. GINGER TOMASETTI                         ADDRESS ON FILE
MS. GINNY VANDERSLICE                        ADDRESS ON FILE
MS. GLORIA CORREA                            ADDRESS ON FILE
MS. GLORIA DAVIS-DELANCY                     ADDRESS ON FILE
MS. GLORIA DISHER                            ADDRESS ON FILE
MS. GLORIA HAMPTON                           ADDRESS ON FILE
MS. GLORIA M. PENA 2005                      ADDRESS ON FILE
MS. GRACE M. SONGOLO                         ADDRESS ON FILE
MS. GRACE SZCZECH 2014                       ADDRESS ON FILE
MS. GRAYCE A. HESS                           ADDRESS ON FILE
MS. GRETA CARLTON                            ADDRESS ON FILE
MS. GRETCHEN DYKSTRA                         ADDRESS ON FILE
MS. GRETHE WITTROCK                          ADDRESS ON FILE
MS. GWEN M. HOUSTON                          ADDRESS ON FILE
MS. HAILEY HARRIGAN                          ADDRESS ON FILE
MS. HALEY A. MONSON 2017                     ADDRESS ON FILE
MS. HALEY MILLOWAY                           ADDRESS ON FILE
MS. HALEY PANKRATZ                           ADDRESS ON FILE
MS. HALEY R. MEUSHAW 1986                    ADDRESS ON FILE
MS. HANNAH BERLINER                          ADDRESS ON FILE
MS. HANNAH BURKE                             ADDRESS ON FILE
MS. HANNAH GROTHUSEN                         ADDRESS ON FILE
MS. HANNAH Y. AGOSTA 2014                    ADDRESS ON FILE
MS. HARRIET K. FEINSTEIN 1962                ADDRESS ON FILE
MS. HARRIET L. GUTERMUTH                     ADDRESS ON FILE
MS. HARRIET L. LERMAN                        ADDRESS ON FILE
MS. HARRIET S. ACKERMAN 1984                 ADDRESS ON FILE
MS. HARRIET S. RICKARDS                      ADDRESS ON FILE
MS. HARRIET SIMON                            ADDRESS ON FILE
MS. HEATHER BUCKLEY 1998                     ADDRESS ON FILE
MS. HEATHER EXLEY                            ADDRESS ON FILE
MS. HEATHER HAGELGANS                        ADDRESS ON FILE
MS. HEDI KYLE                                ADDRESS ON FILE
MS. HEDY R. PHILIBERT                        ADDRESS ON FILE
MS. HELEN CLARK                              ADDRESS ON FILE
MS. HELEN DANGELO                            ADDRESS ON FILE
MS. HELEN DRUTT ENGLISH                      ADDRESS ON FILE
MS. HELEN E. DIMEDIO                         ADDRESS ON FILE




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                Creditor Name         Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
MS. HELEN M. SHANNON                              ADDRESS ON FILE
MS. HELEN S. KIRSCHNER                            ADDRESS ON FILE
MS. HELEN W. MERCER                               ADDRESS ON FILE
MS. HELENA MCHALE                                 ADDRESS ON FILE
MS. HELENE KAFKA                                  ADDRESS ON FILE
MS. HENRIETTA M. MUSTOKOFF 1968                   ADDRESS ON FILE
MS. HILARY JAY                                    ADDRESS ON FILE
MS. HILDEGARD I. KRUEGER                          ADDRESS ON FILE
MS. HOLLI MILLMAN                                 ADDRESS ON FILE
MS. ILONA E. AHEARN 2000                          ADDRESS ON FILE
MS. IMMACULATA M. DIBENEDETTO                     ADDRESS ON FILE
MS. IMMI STORRS                                   ADDRESS ON FILE
MS. INESSA SKORODINSKY 1997                       ADDRESS ON FILE
MS. INGE H. DRUCKREY                              ADDRESS ON FILE
MS. INNIS H. SHOEMAKER                            ADDRESS ON FILE
MS. IRENE L. LICHON                               ADDRESS ON FILE
MS. IRENE M. KLEMAS 1980                          ADDRESS ON FILE
MS. IRIS M. HENRY-AIKEN                           ADDRESS ON FILE
MS. IVY SCHNOLL                                   ADDRESS ON FILE
MS. IVY SILVER                                    ADDRESS ON FILE
MS. JACKIE DELANEY                                ADDRESS ON FILE
MS. JACLYN B. BASHOFF 2000                        ADDRESS ON FILE
MS. JACQUELINE BURNS                              ADDRESS ON FILE
MS. JACQUELINE KAHN-TRAUBERMAN 1975               ADDRESS ON FILE
MS. JACQUELINE M. DAVENPORT                       ADDRESS ON FILE
MS. JACQUELINE SPINA                              ADDRESS ON FILE
MS. JACQUELINE VENNERI                            ADDRESS ON FILE
MS. JACQUELYN BENNETT                             ADDRESS ON FILE
MS. JACQUELYN L. GILLETTI                         ADDRESS ON FILE
MS. JAMIE K. STERN                                ADDRESS ON FILE
MS. JAMIE L. SIMONS 2006                          ADDRESS ON FILE
MS. JAN BERMAN                                    ADDRESS ON FILE
MS. JAN C. BALTZELL 1971                          ADDRESS ON FILE
MS. JAN H. BRESNICK                               ADDRESS ON FILE
MS. JANE F. BENNETT 1968                          ADDRESS ON FILE
MS. JANE HUGHES                                   ADDRESS ON FILE
MS. JANE MARTIN 1978                              ADDRESS ON FILE
MS. JANE R. KENT 1974                             ADDRESS ON FILE
MS. JANET FELSTEN 1973                            ADDRESS ON FILE
MS. JANET FROELICH                                ADDRESS ON FILE
MS. JANET GAMBLE                                  ADDRESS ON FILE
MS. JANET K. GRACE 1983                           ADDRESS ON FILE
MS. JANET L. HOOPES                               ADDRESS ON FILE
MS. JANET MOORE                                   ADDRESS ON FILE
MS. JANET SANTORO                                 ADDRESS ON FILE
MS. JANET U. EPSTEIN                              ADDRESS ON FILE
MS. JANICE E. MARKHAM 1989                        ADDRESS ON FILE
MS. JANICE FINN                                   ADDRESS ON FILE
MS. JANICE M. BAIADA 2007                         ADDRESS ON FILE
MS. JANICE M. ENGELKE 1982                        ADDRESS ON FILE
MS. JANICE MCLAURIN                               ADDRESS ON FILE
MS. JANICE ROTH 1949                              ADDRESS ON FILE
MS. JANINE M. WYSZYNSKI 2014                      ADDRESS ON FILE
MS. JAYME D. SMITH 2001                           ADDRESS ON FILE
MS. JAYNE VENEZIANO                               ADDRESS ON FILE
MS. JEAN BROOKS                                   ADDRESS ON FILE
MS. JEAN M. PLOUGH 1970                           ADDRESS ON FILE
MS. JEAN MURPHY                                   ADDRESS ON FILE
MS. JEAN R. GUZZI 2004                            ADDRESS ON FILE
MS. JEAN WALKER 1983                              ADDRESS ON FILE
MS. JEANETTE GUTIERREZ                            ADDRESS ON FILE
MS. JEANINE DITOMASSO 1995                        ADDRESS ON FILE
MS. JEANNE BRESCIANI                              ADDRESS ON FILE
MS. JEANNE F. JAFFE                               ADDRESS ON FILE
MS. JEANNE S. GAUGHAN                             ADDRESS ON FILE
MS. JEANNE STEINER                                ADDRESS ON FILE
MS. JEANNETTE D. HODGKINS 2009                    ADDRESS ON FILE
MS. JEANNIE E. PEARCE                             ADDRESS ON FILE




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                Creditor Name    Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
MS. JEANNIE M. INGIOSI 2016                  ADDRESS ON FILE
MS. JEN STROH                                ADDRESS ON FILE
MS. JENNA MANG                               ADDRESS ON FILE
MS. JENNA SAVAGE 2015                        ADDRESS ON FILE
MS. JENNIFER B. LONG 1993                    ADDRESS ON FILE
MS. JENNIFER BERNSTEIN                       ADDRESS ON FILE
MS. JENNIFER C. MACMILLAN 2006               ADDRESS ON FILE
MS. JENNIFER EDWARDS                         ADDRESS ON FILE
MS. JENNIFER GREENBURG                       ADDRESS ON FILE
MS. JENNIFER HARVEY                          ADDRESS ON FILE
MS. JENNIFER HIRSH                           ADDRESS ON FILE
MS. JENNIFER JANCZEWSKI                      ADDRESS ON FILE
MS. JENNIFER KAUFMAN 1990                    ADDRESS ON FILE
MS. JENNIFER L. CRAIG 2005                   ADDRESS ON FILE
MS. JENNIFER L. DETWILER 1994                ADDRESS ON FILE
MS. JENNIFER L. SCHICK 2002                  ADDRESS ON FILE
MS. JENNIFER M. DESNOUEE 1988                ADDRESS ON FILE
MS. JENNIFER STEWART-SMITH                   ADDRESS ON FILE
MS. JENNIFER W. ROSNER 1979                  ADDRESS ON FILE
MS. JENNIFER WELSH                           ADDRESS ON FILE
MS. JENNIFER ZAYLEA                          ADDRESS ON FILE
MS. JERI L. FROEHLICH 1980                   ADDRESS ON FILE
MS. JERI M. COATES                           ADDRESS ON FILE
MS. JERI PACKMAN                             ADDRESS ON FILE
MS. JERRICA BLANKENSHIP 2012                 ADDRESS ON FILE
MS. JESSICA APRILE                           ADDRESS ON FILE
MS. JESSICA CRESSMAN                         ADDRESS ON FILE
MS. JESSICA K. HRINIAK 2017                  ADDRESS ON FILE
MS. JESSICA KAHLE                            ADDRESS ON FILE
MS. JESSICA N. FIORE 2003                    ADDRESS ON FILE
MS. JESSICA R. VOGT 2008                     ADDRESS ON FILE
MS. JESSICA SHANDOR                          ADDRESS ON FILE
MS. JESSICA SMITH                            ADDRESS ON FILE
MS. JIAYIN YU 2012                           ADDRESS ON FILE
MS. JILL E. CUCCI SMITH 1994                 ADDRESS ON FILE
MS. JILL K. WIDRA                            ADDRESS ON FILE
MS. JILL M. GUSMAN 1987                      ADDRESS ON FILE
MS. JILL M. WILSON 2015                      ADDRESS ON FILE
MS. JILL MADERER                             ADDRESS ON FILE
MS. JILL MANNING                             ADDRESS ON FILE
MS. JILL ODEGAARD                            ADDRESS ON FILE
MS. JILL S. PEARSON 2001                     ADDRESS ON FILE
MS. JILL VALECCE                             ADDRESS ON FILE
MS. JIVA B. RANKINS 1986                     ADDRESS ON FILE
MS. JO ANNE D. ALEXANDER                     ADDRESS ON FILE
MS. JO STEALEY                               ADDRESS ON FILE
MS. JOAN A. BRUNO                            ADDRESS ON FILE
MS. JOAN F. JAFFE                            ADDRESS ON FILE
MS. JOAN GRIFF                               ADDRESS ON FILE
MS. JOAN J. CASSEL                           ADDRESS ON FILE
MS. JOAN L. GARBEIL 1965                     ADDRESS ON FILE
MS. JOAN LYONS                               ADDRESS ON FILE
MS. JOAN M. MOTTOLA                          ADDRESS ON FILE
MS. JOAN SWEENEY                             ADDRESS ON FILE
MS. JOAN T. CAMPBELL                         ADDRESS ON FILE
MS. JOAN TOPAZ                               ADDRESS ON FILE
MS. JOANN DURR                               ADDRESS ON FILE
MS. JOANN L. SMITH                           ADDRESS ON FILE
MS. JOANN MALANDRO                           ADDRESS ON FILE
MS. JOANN MC LAUGHLIN                        ADDRESS ON FILE
MS. JOANN VERDI                              ADDRESS ON FILE
MS. JOANNE BARTLETT                          ADDRESS ON FILE
MS. JOANNE C. OLSON 1951                     ADDRESS ON FILE
MS. JOANNE CRYSTLE 1972                      ADDRESS ON FILE
MS. JOANNE FALLON                            ADDRESS ON FILE
MS. JOANNE OBRIEN 1988                       ADDRESS ON FILE
MS. JOANNE TAYLOR                            ADDRESS ON FILE
MS. JODI BECKWITH                            ADDRESS ON FILE




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                Creditor Name    Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
MS. JODI L. FORLIZZI 1984                    ADDRESS ON FILE
MS. JODY L. SWEITZER 1995                    ADDRESS ON FILE
MS. JOHANNA THOMPSON                         ADDRESS ON FILE
MS. JOSEPHINE BURRI                          ADDRESS ON FILE
MS. JOSEPHINE C. MANDEVILLE                  ADDRESS ON FILE
MS. JOSEPHINE M. POTH                        ADDRESS ON FILE
MS. JOY BERMAN                               ADDRESS ON FILE
MS. JOY SAVILLE                              ADDRESS ON FILE
MS. JOYCE AVILA                              ADDRESS ON FILE
MS. JOYCE C. SMITH                           ADDRESS ON FILE
MS. JOYCE COHEN                              ADDRESS ON FILE
MS. JOYCE E. MANTYLA                         ADDRESS ON FILE
MS. JOYCE WALLACE                            ADDRESS ON FILE
MS. JUDITH A. SCHAECHTER                     ADDRESS ON FILE
MS. JUDITH AVERGON                           ADDRESS ON FILE
MS. JUDITH C. WOOD 1980                      ADDRESS ON FILE
MS. JUDITH GROSS                             ADDRESS ON FILE
MS. JUDITH LOVE                              ADDRESS ON FILE
MS. JUDITH M. SEIFFERT                       ADDRESS ON FILE
MS. JUDITH SCHULTZ                           ADDRESS ON FILE
MS. JUDITH SISKIND                           ADDRESS ON FILE
MS. JUDY BUCHANAN                            ADDRESS ON FILE
MS. JUDY H. RAND                             ADDRESS ON FILE
MS. JUDY MYERSON                             ADDRESS ON FILE
MS. JUDY WEISMAN                             ADDRESS ON FILE
MS. JULI N. JACKSON 2005                     ADDRESS ON FILE
MS. JULIA CROSSAN                            ADDRESS ON FILE
MS. JULIA E. BORST BRAZAS 1997               ADDRESS ON FILE
MS. JULIA E. KENT 1986                       ADDRESS ON FILE
MS. JULIA GOLDIN                             ADDRESS ON FILE
MS. JULIA L. CALHOUN                         ADDRESS ON FILE
MS. JULIA L. COLTON 1994                     ADDRESS ON FILE
MS. JULIA OLFF                               ADDRESS ON FILE
MS. JULIAN M. PRIMIANO 2014                  ADDRESS ON FILE
MS. JULIANNA FOSTER 2006                     ADDRESS ON FILE
MS. JULIE A. MICKIEWICZ                      ADDRESS ON FILE
MS. JULIE MAKOVSKY                           ADDRESS ON FILE
MS. JULIE MARIE SEIBERT 2008                 ADDRESS ON FILE
MS. JUNE B. TRENNER                          ADDRESS ON FILE
MS. JUNE KREBS 1954                          ADDRESS ON FILE
MS. JUSTINE M. DIRUBBO 2008                  ADDRESS ON FILE
MS. KAITLYN WALKER                           ADDRESS ON FILE
MS. KAMILAH S. BENJAMIN 2010                 ADDRESS ON FILE
MS. KANDYCE MCNEESE                          ADDRESS ON FILE
MS. KAREN A. OLEJARZ                         ADDRESS ON FILE
MS. KAREN BERMUDEZ                           ADDRESS ON FILE
MS. KAREN BROWN                              ADDRESS ON FILE
MS. KAREN DAROFF                             ADDRESS ON FILE
MS. KAREN L. POLLARD 2001                    ADDRESS ON FILE
MS. KAREN MAUCH                              ADDRESS ON FILE
MS. KAREN OLESON                             ADDRESS ON FILE
MS. KAREN S. NORRIS                          ADDRESS ON FILE
MS. KAREN SALER 1964                         ADDRESS ON FILE
MS. KAREN T. NUGENT 1988                     ADDRESS ON FILE
MS. KAREN T. STEWART                         ADDRESS ON FILE
MS. KAREN TOTON                              ADDRESS ON FILE
MS. KAREN ZIEMBA                             ADDRESS ON FILE
MS. KARIN KROCHMAL 1984                      ADDRESS ON FILE
MS. KARIN L. EISEN 1980                      ADDRESS ON FILE
MS. KARLY TUFENKJIAN 2013                    ADDRESS ON FILE
MS. KAROLYN OBRIEN                           ADDRESS ON FILE
MS. KARYN KAHN 1984                          ADDRESS ON FILE
MS. KAT MUSCIANESI                           ADDRESS ON FILE
MS. KATE KRAMER                              ADDRESS ON FILE
MS. KATE M. CARR 2002                        ADDRESS ON FILE
MS. KATELIN A. WALSKO 2008                   ADDRESS ON FILE
MS. KATHERINE BISONO 2011                    ADDRESS ON FILE
MS. KATHERINE D. CRONE                       ADDRESS ON FILE




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                 Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
MS. KATHERINE E. HAIRE 2010                  ADDRESS ON FILE
MS. KATHERINE FLANNERY 1987                  ADDRESS ON FILE
MS. KATHERINE GLOVER                         ADDRESS ON FILE
MS. KATHERINE HALL                           ADDRESS ON FILE
MS. KATHERINE MORROW                         ADDRESS ON FILE
MS. KATHERINE S. TERRY 2017                  ADDRESS ON FILE
MS. KATHERINE SKOPOWSKI                      ADDRESS ON FILE
MS. KATHI J. PATON                           ADDRESS ON FILE
MS. KATHIE A. KLINGLER                       ADDRESS ON FILE
MS. KATHLEEN A. BALDWIN 2004                 ADDRESS ON FILE
MS. KATHLEEN A. HILL 1982                    ADDRESS ON FILE
MS. KATHLEEN A. MAXWELL                      ADDRESS ON FILE
MS. KATHLEEN BURKE 1990                      ADDRESS ON FILE
MS. KATHLEEN BYRNE                           ADDRESS ON FILE
MS. KATHLEEN C. MARTIN 1969                  ADDRESS ON FILE
MS. KATHLEEN DAWSON                          ADDRESS ON FILE
MS. KATHLEEN DOLAN                           ADDRESS ON FILE
MS. KATHLEEN DUGGAN                          ADDRESS ON FILE
MS. KATHLEEN M. CARACCIOLO                   ADDRESS ON FILE
MS. KATHLEEN M. DIPAOLA 1985                 ADDRESS ON FILE
MS. KATHLEEN M. SHAY                         ADDRESS ON FILE
MS. KATHLEEN MANGAN                          ADDRESS ON FILE
MS. KATHLEEN MCDONNELL                       ADDRESS ON FILE
MS. KATHLEEN MCNULTY                         ADDRESS ON FILE
MS. KATHLEEN R. PERDICARO                    ADDRESS ON FILE
MS. KATHLEEN S. SELTZER 1969                 ADDRESS ON FILE
MS. KATHLEEN SCULLION                        ADDRESS ON FILE
MS. KATHLEEN SULLIVAN                        ADDRESS ON FILE
MS. KATHLEEN WOLK                            ADDRESS ON FILE
MS. KATHRYN A. ROGERS 1969                   ADDRESS ON FILE
MS. KATHRYN E. NARROW 1970                   ADDRESS ON FILE
MS. KATHRYN HILL                             ADDRESS ON FILE
MS. KATHRYN MCLANEY                          ADDRESS ON FILE
MS. KATHRYN MEDINA                           ADDRESS ON FILE
MS. KATHRYN PANNEPACKER                      ADDRESS ON FILE
MS. KATHRYN S. SHAGAS 1982                   ADDRESS ON FILE
MS. KATHRYN SCHMUECKER, 3RD                  ADDRESS ON FILE
MS. KATHY KUHL 1972                          ADDRESS ON FILE
MS. KATHY L. ROSE 1971                       ADDRESS ON FILE
MS. KATHY MELENDEZ                           ADDRESS ON FILE
MS. KATHY SALCHOW                            ADDRESS ON FILE
MS. KATHY WHITE                              ADDRESS ON FILE
MS. KATIE A. JACKSON 2002                    ADDRESS ON FILE
MS. KATIE CANGELOSI                          ADDRESS ON FILE
MS. KATIE M. DONOVAN 2006                    ADDRESS ON FILE
MS. KATIE S. COHEN                           ADDRESS ON FILE
MS. KATYA M. ROELSE 1997                     ADDRESS ON FILE
MS. KAY HARTUNG 1974                         ADDRESS ON FILE
MS. KAY MOON                                 ADDRESS ON FILE
MS. KAYLA N. MILLER 2013                     ADDRESS ON FILE
MS. KELIE MILEY                              ADDRESS ON FILE
MS. KELLIE CARLIN                            ADDRESS ON FILE
MS. KELLLIE A. LIND                          ADDRESS ON FILE
MS. KELLY CONNOR                             ADDRESS ON FILE
MS. KELLY DEASY                              ADDRESS ON FILE
MS. KELLY DEWEES                             ADDRESS ON FILE
MS. KELLY FERNANDEZ                          ADDRESS ON FILE
MS. KELLY K. SALCHOW                         ADDRESS ON FILE
MS. KELLY KLINZING                           ADDRESS ON FILE
MS. KELLY RICKERT                            ADDRESS ON FILE
MS. KELLYANN A. BURNS 1990                   ADDRESS ON FILE
MS. KENDRA SMITH                             ADDRESS ON FILE
MS. KERI FERLAND                             ADDRESS ON FILE
MS. KERRY FADER                              ADDRESS ON FILE
MS. KIM FINK                                 ADDRESS ON FILE
MS. KIM GLINKIN                              ADDRESS ON FILE
MS. KIM J. BROWN 2005                        ADDRESS ON FILE
MS. KIM Y. BEARS-BAILEY 1984                 ADDRESS ON FILE




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                Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
MS. KIMBERLY A. QUAILE                      ADDRESS ON FILE
MS. KIMBERLY K. WEILER 1986                 ADDRESS ON FILE
MS. KIMBERLY MCWILLIAMS                     ADDRESS ON FILE
MS. KIMBERLY R. PESCH 2006                  ADDRESS ON FILE
MS. KIMBERLY RESNECK                        ADDRESS ON FILE
MS. KIMBERLY WEINBERG                       ADDRESS ON FILE
MS. KIRA M. RIZZUTO 2014                    ADDRESS ON FILE
MS. KIRSTEN MEGGINSON                       ADDRESS ON FILE
MS. KOTOE K. TSUKIYAMA 2001                 ADDRESS ON FILE
MS. KRIS TROXELL                            ADDRESS ON FILE
MS. KRISTA APPLE                            ADDRESS ON FILE
MS. KRISTEN MADSEN                          ADDRESS ON FILE
MS. KRISTEN N. RAFFAELE 2015                ADDRESS ON FILE
MS. KRISTEN R. BOWER 1992                   ADDRESS ON FILE
MS. KRISTIN DUFRAIN                         ADDRESS ON FILE
MS. KRISTIN M. SCRENCI 2017                 ADDRESS ON FILE
MS. KRISTIN NOWAKOWSKI                      ADDRESS ON FILE
MS. KRISTINA A. FOX 2005                    ADDRESS ON FILE
MS. KRISTINA DUROCHER                       ADDRESS ON FILE
MS. KRISTINA SMITH                          ADDRESS ON FILE
MS. KRISTINE KESSLER COX                    ADDRESS ON FILE
MS. KRISTY GOTHAM                           ADDRESS ON FILE
MS. KRYSTAL P. GORMAN 2015                  ADDRESS ON FILE
MS. KRYSTYN SATKO 2011                      ADDRESS ON FILE
MS. KYMORA T. PRUITT 2021                   ADDRESS ON FILE
MS. L.S R. RENE 2009                        ADDRESS ON FILE
MS. LACY PITCHFORD                          ADDRESS ON FILE
MS. LANE BRENNER                            ADDRESS ON FILE
MS. LANNY BERGNER                           ADDRESS ON FILE
MS. LAURA A. BOONHAM                        ADDRESS ON FILE
MS. LAURA B. MULITZ 2001                    ADDRESS ON FILE
MS. LAURA DUPRE 1997                        ADDRESS ON FILE
MS. LAURA E. AYD 2005                       ADDRESS ON FILE
MS. LAURA E. ZIMMARO 2009                   ADDRESS ON FILE
MS. LAURA GOLDING                           ADDRESS ON FILE
MS. LAURA H. DAVIS 1974                     ADDRESS ON FILE
MS. LAURA J. EITZEN 1985                    ADDRESS ON FILE
MS. LAURA J. ZARROW 1988                    ADDRESS ON FILE
MS. LAURA SMITH                             ADDRESS ON FILE
MS. LAURA WILLIAMSON                        ADDRESS ON FILE
MS. LAUREN BLANCHARD 2002                   ADDRESS ON FILE
MS. LAUREN CATALANO                         ADDRESS ON FILE
MS. LAUREN CUOCO                            ADDRESS ON FILE
MS. LAUREN E. DUGUID 2010                   ADDRESS ON FILE
MS. LAUREN GREENFIELD                       ADDRESS ON FILE
MS. LAUREN J. CHAIKA 2010                   ADDRESS ON FILE
MS. LAUREN K. BECK 2008                     ADDRESS ON FILE
MS. LAUREN K. SMEDLEY 2010                  ADDRESS ON FILE
MS. LAUREN MCEWEN                           ADDRESS ON FILE
MS. LAUREN R. CRIST 2001                    ADDRESS ON FILE
MS. LAUREN TRACY                            ADDRESS ON FILE
MS. LAURIE A. CUCCO                         ADDRESS ON FILE
MS. LAURIE ERMENTROUT 1981                  ADDRESS ON FILE
MS. LAURIE L. SNYDER 1996                   ADDRESS ON FILE
MS. LAURIE WAGMAN                           ADDRESS ON FILE
MS. LEAH WALTON                             ADDRESS ON FILE
MS. LEEANN IELMINI                          ADDRESS ON FILE
MS. LEIGH DALE                              ADDRESS ON FILE
MS. LEILANI L. DUKE                         ADDRESS ON FILE
MS. LEONA FISHER                            ADDRESS ON FILE
MS. LEONDRIA COX                            ADDRESS ON FILE
MS. LESIA A. SOCHOR 1974                    ADDRESS ON FILE
MS. LESLIE A. MAIETTA 2002                  ADDRESS ON FILE
MS. LESLIE A. RESCORLA                      ADDRESS ON FILE
MS. LESLIE CRAWFORD                         ADDRESS ON FILE
MS. LESLIE GUITY                            ADDRESS ON FILE
MS. LESLIE KRAMER                           ADDRESS ON FILE
MS. LESLIE L. PONTZ                         ADDRESS ON FILE




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                Creditor Name        Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
MS. LESLIE MILK                                  ADDRESS ON FILE
MS. LESLIE R. SMOLAN 1975                        ADDRESS ON FILE
MS. LESLIE RITTER                                ADDRESS ON FILE
MS. LESLIE ZAVODNICK                             ADDRESS ON FILE
MS. LIA COOK                                     ADDRESS ON FILE
MS. LIBBY ROWE                                   ADDRESS ON FILE
MS. LILLIAN L. MARKLEY 1966                      ADDRESS ON FILE
MS. LILLIAN P. MULLIN                            ADDRESS ON FILE
MS. LINDA A. HARRISON                            ADDRESS ON FILE
MS. LINDA A. KEELS, ED.D 1991                    ADDRESS ON FILE
MS. LINDA A. PROCACCINO 1980                     ADDRESS ON FILE
MS. LINDA CICCOTELLI                             ADDRESS ON FILE
MS. LINDA DIETER                                 ADDRESS ON FILE
MS. LINDA HENDERSON                              ADDRESS ON FILE
MS. LINDA L. RILEY                               ADDRESS ON FILE
MS. LINDA MUSSER                                 ADDRESS ON FILE
MS. LINDA P. MONTAGUE                            ADDRESS ON FILE
MS. LINDA PENN                                   ADDRESS ON FILE
MS. LINDA PERDICARO                              ADDRESS ON FILE
MS. LINDA R. BAILEY                              ADDRESS ON FILE
MS. LINDA SCHATZ                                 ADDRESS ON FILE
MS. LINDA SMITH                                  ADDRESS ON FILE
MS. LINDSAY GALDI                                ADDRESS ON FILE
MS. LINDSAY N. MATTER                            ADDRESS ON FILE
MS. LINDSEY N. OSTAFY 2005                       ADDRESS ON FILE
MS. LINNAE DA SILVA 2000                         ADDRESS ON FILE
MS. LISA BROWNSTEIN                              ADDRESS ON FILE
MS. LISA C. HOLLEY 1992                          ADDRESS ON FILE
MS. LISA C. OROPALLO-MEKARZEL 1986               ADDRESS ON FILE
MS. LISA DI LODORICO                             ADDRESS ON FILE
MS. LISA DIRENZO-KOOB                            ADDRESS ON FILE
MS. LISA E. DERRICKSON                           ADDRESS ON FILE
MS. LISA FORTE                                   ADDRESS ON FILE
MS. LISA GODFREY                                 ADDRESS ON FILE
MS. LISA HALL                                    ADDRESS ON FILE
MS. LISA HALLAM                                  ADDRESS ON FILE
MS. LISA HATRAK                                  ADDRESS ON FILE
MS. LISA HECHT                                   ADDRESS ON FILE
MS. LISA HEYMAN                                  ADDRESS ON FILE
MS. LISA LARUSSO                                 ADDRESS ON FILE
MS. LISA M. BARDARSON                            ADDRESS ON FILE
MS. LISA M. CHAE 1987                            ADDRESS ON FILE
MS. LISA M. OSTER 1999                           ADDRESS ON FILE
MS. LISA MOUNT                                   ADDRESS ON FILE
MS. LISA ROGERS                                  ADDRESS ON FILE
MS. LISA SCHOFIELD                               ADDRESS ON FILE
MS. LISA SHACKMAN                                ADDRESS ON FILE
MS. LISA SHULOCK                                 ADDRESS ON FILE
MS. LISA SMALL                                   ADDRESS ON FILE
MS. LISA SZYKMAN                                 ADDRESS ON FILE
MS. LISBETH BUCCI                                ADDRESS ON FILE
MS. LISLE HUMMERSTON                             ADDRESS ON FILE
MS. LIZ K. WALDIE 2018                           ADDRESS ON FILE
MS. LOIS E. HABER                                ADDRESS ON FILE
MS. LOIS MCKENNA                                 ADDRESS ON FILE
MS. LOIS REINHART                                ADDRESS ON FILE
MS. LOIS SATALOF                                 ADDRESS ON FILE
MS. LORETTA A. THOMPSON 2003                     ADDRESS ON FILE
MS. LORETTA S. CORCORAN                          ADDRESS ON FILE
MS. LORI A. JOHNSON 1996                         ADDRESS ON FILE
MS. LORI B. SPENCER 1990                         ADDRESS ON FILE
MS. LORI HUNTER                                  ADDRESS ON FILE
MS. LORI KESLOWITZ                               ADDRESS ON FILE
MS. LORI MALIN                                   ADDRESS ON FILE
MS. LORI ROGERS                                  ADDRESS ON FILE
MS. LORI SMULL                                   ADDRESS ON FILE
MS. LORNA SHEPARD                                ADDRESS ON FILE
MS. LORRAINE A. MCGONIGLE                        ADDRESS ON FILE




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                Creditor Name    Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
MS. LORRAINE E. JARRELL 2003                 ADDRESS ON FILE
MS. LORRAINE M. TINDARO 1984                 ADDRESS ON FILE
MS. LORRAINE MONTGOMERY                      ADDRESS ON FILE
MS. LORRAINE P. ZACCAGNI                     ADDRESS ON FILE
MS. LORRAINE ROMANO                          ADDRESS ON FILE
MS. LOTTIE A. MORLEY                         ADDRESS ON FILE
MS. LOUISE ESPY                              ADDRESS ON FILE
MS. LOUISE M. REEVES 1951                    ADDRESS ON FILE
MS. LUCILLE MARCHISELLO                      ADDRESS ON FILE
MS. LUCY SUEVO                               ADDRESS ON FILE
MS. LUCY VENABLE                             ADDRESS ON FILE
MS. LUZETTE LEHMAN 1983                      ADDRESS ON FILE
MS. LYDIA J. PRACHER                         ADDRESS ON FILE
MS. LYN BOOCOCK-TAYLOR                       ADDRESS ON FILE
MS. LYNDALEA B. VANTINE 1984                 ADDRESS ON FILE
MS. LYNN A. FYLAK 1992                       ADDRESS ON FILE
MS. LYNN LEIBOWITZ                           ADDRESS ON FILE
MS. LYNN M. NACMIAS 1971                     ADDRESS ON FILE
MS. LYNN M. THOMPSON 1979                    ADDRESS ON FILE
MS. LYNNE ODONNELL                           ADDRESS ON FILE
MS. MABEL BALLARD                            ADDRESS ON FILE
MS. MADELAINE D. GOLD 1975                   ADDRESS ON FILE
MS. MADELINE NOBLE                           ADDRESS ON FILE
MS. MADISON C. CLAUS 2017                    ADDRESS ON FILE
MS. MAGDALENA KIPINIAK                       ADDRESS ON FILE
MS. MAGDALENA TRUCHAN                        ADDRESS ON FILE
MS. MAGGIE BOYD                              ADDRESS ON FILE
MS. MAGGIE LEININGER                         ADDRESS ON FILE
MS. MANDIE J. AYARS                          ADDRESS ON FILE
MS. MARA A. SCRUPE                           ADDRESS ON FILE
MS. MARA CIERVO                              ADDRESS ON FILE
MS. MARA FLAMM                               ADDRESS ON FILE
MS. MARA H. SKOV                             ADDRESS ON FILE
MS. MARA J. HERMAN 2007                      ADDRESS ON FILE
MS. MARCIA A. SCOTT                          ADDRESS ON FILE
MS. MARCIA SOFLEY                            ADDRESS ON FILE
MS. MARCIA WEISS                             ADDRESS ON FILE
MS. MARCY L. GORDON 2008                     ADDRESS ON FILE
MS. MARCY MERITZ                             ADDRESS ON FILE
MS. MARGARET BARNEY                          ADDRESS ON FILE
MS. MARGARET BOYD                            ADDRESS ON FILE
MS. MARGARET CUMMINS                         ADDRESS ON FILE
MS. MARGARET E. CASEY 2005                   ADDRESS ON FILE
MS. MARGARET GAVEN                           ADDRESS ON FILE
MS. MARGARET KNIGHT                          ADDRESS ON FILE
MS. MARGARET ROSS LINK                       ADDRESS ON FILE
MS. MARGE P. BULMER                          ADDRESS ON FILE
MS. MARGERY RUPERT                           ADDRESS ON FILE
MS. MARGIT NAHRA                             ADDRESS ON FILE
MS. MARGO BORTEN                             ADDRESS ON FILE
MS. MARGOT ZALKIND 1966                      ADDRESS ON FILE
MS. MARGUERITE L. BROWN                      ADDRESS ON FILE
MS. MARGUERITE V. RODGERS 1977               ADDRESS ON FILE
MS. MARIA HAMILTON                           ADDRESS ON FILE
MS. MARIA N. GOAS                            ADDRESS ON FILE
MS. MARIA NEVELSON                           ADDRESS ON FILE
MS. MARIA OVERETON                           ADDRESS ON FILE
MS. MARIA R. BALDERRAMA                      ADDRESS ON FILE
MS. MARIA WATSON                             ADDRESS ON FILE
MS. MARIA WIBLE                              ADDRESS ON FILE
MS. MARIAN MADARA-NEWMYER 1976               ADDRESS ON FILE
MS. MARIANA BETANCOURT 2008                  ADDRESS ON FILE
MS. MARIANN CARDONICK                        ADDRESS ON FILE
MS. MARIANNE C. EVANS 2011                   ADDRESS ON FILE
MS. MARIANNE F. IRVIN 1969                   ADDRESS ON FILE
MS. MARIANNE STOBER                          ADDRESS ON FILE
MS. MARIANNE WEATHERUP                       ADDRESS ON FILE
MS. MARIE A. AZCUETA 2009                    ADDRESS ON FILE




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               Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
MS. MARIE GARAFANO 1964                    ADDRESS ON FILE
MS. MARIE HUARD                            ADDRESS ON FILE
MS. MARILE MARSHALL                        ADDRESS ON FILE
MS. MARILUZ POLANCO                        ADDRESS ON FILE
MS. MARILYN BARRETT                        ADDRESS ON FILE
MS. MARILYN HENRION                        ADDRESS ON FILE
MS. MARILYN PAPPAS                         ADDRESS ON FILE
MS. MARILYN ROSEMAN                        ADDRESS ON FILE
MS. MARILYN Z. KUTLER                      ADDRESS ON FILE
MS. MARION RITACCO                         ADDRESS ON FILE
MS. MARISOL GONZALEZ                       ADDRESS ON FILE
MS. MARISSA EMMONS                         ADDRESS ON FILE
MS. MARISSA KRETZMER                       ADDRESS ON FILE
MS. MARJORIE A. CONGRAM                    ADDRESS ON FILE
MS. MARJORIE A. UDELL                      ADDRESS ON FILE
MS. MARJORIE B. LEVY 1969                  ADDRESS ON FILE
MS. MARJORIE D. PURYEAR                    ADDRESS ON FILE
MS. MARJORIE FLANAGAN                      ADDRESS ON FILE
MS. MARJORIE GORMAN                        ADDRESS ON FILE
MS. MARJORIE M. GOODMAN                    ADDRESS ON FILE
MS. MARJORIE N. RASKIN                     ADDRESS ON FILE
MS. MARJORIE RICHMAN                       ADDRESS ON FILE
MS. MARJORIE SHIEKMAN                      ADDRESS ON FILE
MS. MARLENE E. MILLER 1956                 ADDRESS ON FILE
MS. MARLENE MOSCOWITZ                      ADDRESS ON FILE
MS. MARLENE QUADROS                        ADDRESS ON FILE
MS. MARSHA EVERTON                         ADDRESS ON FILE
MS. MARSHA M. SCHAMBER 1990                ADDRESS ON FILE
MS. MARSHA RHEUBOTTOM                      ADDRESS ON FILE
MS. MARTA BOGDANOFF                        ADDRESS ON FILE
MS. MARTA WILLETT 1991                     ADDRESS ON FILE
MS. MARTHA CHAMBERLAIN                     ADDRESS ON FILE
MS. MARTHA GITTENS                         ADDRESS ON FILE
MS. MARTHA RONES                           ADDRESS ON FILE
MS. MARTHA SALEM-LEASCA                    ADDRESS ON FILE
MS. MARTHA Y. BENARI 2004                  ADDRESS ON FILE
MS. MARY A. TYSON                          ADDRESS ON FILE
MS. MARY ANN COX                           ADDRESS ON FILE
MS. MARY ANN GRUBER                        ADDRESS ON FILE
MS. MARY B. GALBRAITH 1967                 ADDRESS ON FILE
MS. MARY D. DODGE 2012                     ADDRESS ON FILE
MS. MARY DAILY                             ADDRESS ON FILE
MS. MARY DUDLEY                            ADDRESS ON FILE
MS. MARY E. FETTERMAN 1986                 ADDRESS ON FILE
MS. MARY E. MCGUIRE                        ADDRESS ON FILE
MS. MARY E. NELSON                         ADDRESS ON FILE
MS. MARY E. SMULL 1995                     ADDRESS ON FILE
MS. MARY ENO                               ADDRESS ON FILE
MS. MARY F. PHELAN                         ADDRESS ON FILE
MS. MARY FRANCES F. GIUNTA                 ADDRESS ON FILE
MS. MARY I. MCCARTAN                       ADDRESS ON FILE
MS. MARY K. MORRIS 1957                    ADDRESS ON FILE
MS. MARY L. CASTALDI                       ADDRESS ON FILE
MS. MARY L. MULLEN                         ADDRESS ON FILE
MS. MARY LOU HARROLD                       ADDRESS ON FILE
MS. MARY LYONS 2024                        ADDRESS ON FILE
MS. MARY MARTIN                            ADDRESS ON FILE
MS. MARY PAT COYLE 2008                    ADDRESS ON FILE
MS. MARY PATTEN                            ADDRESS ON FILE
MS. MARY POLSON                            ADDRESS ON FILE
MS. MARY SYCZ                              ADDRESS ON FILE
MS. MARY TORRIERI 1999                     ADDRESS ON FILE
MS. MARY TROOST                            ADDRESS ON FILE
MS. MARYA PARRAL                           ADDRESS ON FILE
MS. MARYANN C. THERANGER                   ADDRESS ON FILE
MS. MARYANN LEVESQUE 1979                  ADDRESS ON FILE
MS. MARYLOUISE MARINO 1990                 ADDRESS ON FILE
MS. MARYSUE FLICK                          ADDRESS ON FILE




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                Creditor Name          Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
MS. MAUREEN KING 1980                              ADDRESS ON FILE
MS. MAUREEN MCQUIGGAN                              ADDRESS ON FILE
MS. MAUREEN NEVILLE                                ADDRESS ON FILE
MS. MAUREEN POPP                                   ADDRESS ON FILE
MS. MAXINE GAIBER                                  ADDRESS ON FILE
MS. MAXINE MONTILUS 2004                           ADDRESS ON FILE
MS. MAXX PASSION 2005                              ADDRESS ON FILE
MS. MAYA ROCHE                                     ADDRESS ON FILE
MS. MAYA THOMPSON 1993                             ADDRESS ON FILE
MS. MECHELE V. ABRAHAM 2012                        ADDRESS ON FILE
MS. MEG NORTH 2001                                 ADDRESS ON FILE
MS. MEGAN M. DOHERTY 2015                          ADDRESS ON FILE
MS. MEGAN S. FRISCH 2008                           ADDRESS ON FILE
MS. MEGHAN C. PORTER 2008                          ADDRESS ON FILE
MS. MEGHAN J. CARTER 2001                          ADDRESS ON FILE
MS. MEL JON D. ANTLER BAYLEY 2013                  ADDRESS ON FILE
MS. MELANIE L. PULLEY 2008                         ADDRESS ON FILE
MS. MELANIE MATTHIEU                               ADDRESS ON FILE
MS. MELANIE MOWINSKI 2006                          ADDRESS ON FILE
MS. MELANIE R. EINBUND 1968                        ADDRESS ON FILE
MS. MELANIE ROMAY                                  ADDRESS ON FILE
MS. MELANIE W. HOPKINS                             ADDRESS ON FILE
MS. MELISSA A. JOHNSON 2008                        ADDRESS ON FILE
MS. MELISSA ASH                                    ADDRESS ON FILE
MS. MELISSA HEINLY                                 ADDRESS ON FILE
MS. MELISSA L. COLEY 2009                          ADDRESS ON FILE
MS. MELISSA MEADE                                  ADDRESS ON FILE

MS. MEREDITH A. MCGOVERN-COOPER 2001               ADDRESS ON FILE
MS. MERRY S. CONSTANTINO 1979                      ADDRESS ON FILE
MS. MIA R. BOHLEMAN 2007                           ADDRESS ON FILE
MS. MIA T. BOSNA 1996                              ADDRESS ON FILE
MS. MICHAELA SPELLMAN 2015                         ADDRESS ON FILE
MS. MICHELE D. HEE                                 ADDRESS ON FILE
MS. MICHELE M. HELIAS-WILLEM 1982                  ADDRESS ON FILE
MS. MICHELE RICCIUTI                               ADDRESS ON FILE
MS. MICHELE WILSON                                 ADDRESS ON FILE
MS. MICHELLE COBB                                  ADDRESS ON FILE
MS. MICHELLE CONLEY                                ADDRESS ON FILE
MS. MICHELLE J. LOVE                               ADDRESS ON FILE
MS. MICHELLE K. PENNINGTON                         ADDRESS ON FILE
MS. MICHELLE K. WALL                               ADDRESS ON FILE
MS. MICHELLE KAUFMAN                               ADDRESS ON FILE
MS. MICHELLE L. CINLEMIS                           ADDRESS ON FILE
MS. MICHELLE LA PERRIÈRE                           ADDRESS ON FILE
MS. MICHELLE MCCORD                                ADDRESS ON FILE
MS. MICHELLE N. KILLMER 2011                       ADDRESS ON FILE
MS. MICHELLE N. NICHOLS 2007                       ADDRESS ON FILE
MS. MICHELLE NUTINI                                ADDRESS ON FILE
MS. MICHELLE S. FISHKIN 2017                       ADDRESS ON FILE
MS. MICHELLE SAMOUR                                ADDRESS ON FILE
MS. MICHELLE SONSINO                               ADDRESS ON FILE
MS. MIK PHILLIPS 2021                              ADDRESS ON FILE
MS. MIKAELA M. FENTON 2017                         ADDRESS ON FILE
MS. MILDRED CHRUPCALA                              ADDRESS ON FILE
MS. MINA SMITH-SEGAL 1964                          ADDRESS ON FILE
MS. MINNA AAPARYTI 1990                            ADDRESS ON FILE
MS. MINNA RESNICK 1968                             ADDRESS ON FILE
MS. MIRA S. ADORNETTO 2000                         ADDRESS ON FILE
MS. MIRA WRIGHT                                    ADDRESS ON FILE
MS. MIRIAM BONNER                                  ADDRESS ON FILE
MS. MIRIAM E. SUSHMAN 1982                         ADDRESS ON FILE
MS. MISSY LEMONS                                   ADDRESS ON FILE
MS. MISU AN                                        ADDRESS ON FILE
MS. MOLLY E. GONZALEZ 1998                         ADDRESS ON FILE
MS. MOLLY HANNAN                                   ADDRESS ON FILE
MS. MONICA A. MAJOR 2011                           ADDRESS ON FILE
MS. MONICA D. HALEY                                ADDRESS ON FILE




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                 Creditor Name          Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
MS. MONICA HENNESSY 1989                            ADDRESS ON FILE
MS. MONICA MATHIEU                                  ADDRESS ON FILE
MS. MONICA R. MORRIS 2015                           ADDRESS ON FILE
MS. MONICA R. OCONNELL-EDWARDS 1998                 ADDRESS ON FILE
MS. MONIQUE CARROLL                                 ADDRESS ON FILE
MS. MURIEL WOLGIN                                   ADDRESS ON FILE
MS. MYRA ANN J. REICHEL 1971                        ADDRESS ON FILE
MS. MYRA MIMLITSCH-GRAY 1984                        ADDRESS ON FILE
MS. MYSZKA LEWIS                                    ADDRESS ON FILE
MS. NADIA HIRONAKA 1997                             ADDRESS ON FILE
MS. NAMRATA D. KALOLA 2004                          ADDRESS ON FILE
MS. NAN WOLLMAN 1986                                ADDRESS ON FILE
MS. NANCY A. PARRY                                  ADDRESS ON FILE
MS. NANCY B. KANTRA 1979                            ADDRESS ON FILE
MS. NANCY BAUM                                      ADDRESS ON FILE
MS. NANCY BURLAN                                    ADDRESS ON FILE
MS. NANCY C. ELLIOTT 1975                           ADDRESS ON FILE
MS. NANCY CIPOLLINI                                 ADDRESS ON FILE
MS. NANCY CITRINO 1992                              ADDRESS ON FILE
MS. NANCY E. PHILLIPS                               ADDRESS ON FILE
MS. NANCY E. SMITH 1975                             ADDRESS ON FILE
MS. NANCY F. OGDEN                                  ADDRESS ON FILE
MS. NANCY G. HELLER                                 ADDRESS ON FILE
MS. NANCY G. RING 2010                              ADDRESS ON FILE
MS. NANCY HAYS                                      ADDRESS ON FILE
MS. NANCY M. BESS                                   ADDRESS ON FILE
MS. NANCY M. HARTNER-DONNELLY 1989                  ADDRESS ON FILE
MS. NANCY MARIANI                                   ADDRESS ON FILE
MS. NANCY MAYER                                     ADDRESS ON FILE
MS. NANCY MIDDLEBROOK                               ADDRESS ON FILE
MS. NANCY NAHRGANG 1984                             ADDRESS ON FILE
MS. NANCY PAGLIA                                    ADDRESS ON FILE
MS. NANCY RUTHERFORD                                ADDRESS ON FILE
MS. NANCY S. ALLEN 1981                             ADDRESS ON FILE
MS. NANCY SHIFFRIN                                  ADDRESS ON FILE
MS. NANCY WOLCOTT                                   ADDRESS ON FILE
MS. NAOMI GOLDBERG                                  ADDRESS ON FILE
MS. NATALIE R. STRAUSS                              ADDRESS ON FILE
MS. NATALIE STECKEL                                 ADDRESS ON FILE
MS. NATASHA J. GOLDSTEIN-LEVITAS 2000               ADDRESS ON FILE
MS. NAZANIN DANA 1980                               ADDRESS ON FILE
MS. NICOLE C. FERRIOLA                              ADDRESS ON FILE
MS. NICOLE C. GIRROIR 2014                          ADDRESS ON FILE
MS. NICOLE G. TECCE 2008                            ADDRESS ON FILE
MS. NICOLE GRAY                                     ADDRESS ON FILE
MS. NICOLE LAPEYROLERIE                             ADDRESS ON FILE
MS. NICOLE M. KEATING                               ADDRESS ON FILE
MS. NICOLE R. HEWITT                                ADDRESS ON FILE
MS. NIKKI PATTERSON                                 ADDRESS ON FILE
MS. NIKOLLA DYSHNIKU 2008                           ADDRESS ON FILE
MS. NIMET HABACHY                                   ADDRESS ON FILE
MS. NINA MARIE HARTMAN 2018                         ADDRESS ON FILE
MS. NISHA J. DENT 2010                              ADDRESS ON FILE
MS. NORMA E. BERKE 1948                             ADDRESS ON FILE
MS. NORMA M. MEYER 1968                             ADDRESS ON FILE
MS. NURY MARCELINO                                  ADDRESS ON FILE
MS. ODARKA P. STOCKERT                              ADDRESS ON FILE
MS. OLAWA T. GIBSON 2005                            ADDRESS ON FILE
MS. OLIVIA A. DIEHL-REED 2012                       ADDRESS ON FILE
MS. OLIVIA C. JIA                                   ADDRESS ON FILE
MS. OLIVIA M. EDLUND 2010                           ADDRESS ON FILE
MS. OSCEOLA DAVIS-SMITH 1970                        ADDRESS ON FILE
MS. PAGE W. RIDGEWAY 2014                           ADDRESS ON FILE
MS. PAM PAULSON                                     ADDRESS ON FILE
MS. PAM REIT                                        ADDRESS ON FILE
MS. PAMELA BECKER                                   ADDRESS ON FILE
MS. PAMELA BUDZ 1975                                ADDRESS ON FILE
MS. PAMELA DESROSIERS                               ADDRESS ON FILE




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                Creditor Name      Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
MS. PAMELA E. BENNETT 1982                     ADDRESS ON FILE
MS. PAMELA KERR                                ADDRESS ON FILE
MS. PAMELA KLEMM                               ADDRESS ON FILE
MS. PAMELA NASH                                ADDRESS ON FILE
MS. PAMELA P. LAWS                             ADDRESS ON FILE
MS. PAMELA ROSADO                              ADDRESS ON FILE
MS. PAMELA SZELL 2009                          ADDRESS ON FILE
MS. PAMELA YORK                                ADDRESS ON FILE
MS. PAT DWYER                                  ADDRESS ON FILE
MS. PATRICE ARMSTEAD                           ADDRESS ON FILE
MS. PATRICIA A. CASCIO 1982                    ADDRESS ON FILE
MS. PATRICIA A. LANDES 1980                    ADDRESS ON FILE
MS. PATRICIA A. MAUNDER 2006                   ADDRESS ON FILE
MS. PATRICIA AUTENRIETH                        ADDRESS ON FILE
MS. PATRICIA B. ABLETT                         ADDRESS ON FILE
MS. PATRICIA B. MCGINN                         ADDRESS ON FILE
MS. PATRICIA C. KENT 1963                      ADDRESS ON FILE
MS. PATRICIA CASEY                             ADDRESS ON FILE
MS. PATRICIA E. WARD HARRIS 1997               ADDRESS ON FILE
MS. PATRICIA F. HARNER                         ADDRESS ON FILE
MS. PATRICIA HAYDEN                            ADDRESS ON FILE
MS. PATRICIA L. FRANCE 1978                    ADDRESS ON FILE
MS. PATRICIA L. KERR 1989                      ADDRESS ON FILE
MS. PATRICIA L. QUAILE                         ADDRESS ON FILE
MS. PATRICIA LIPMAN                            ADDRESS ON FILE
MS. PATRICIA MOSS-VREELAND 1972                ADDRESS ON FILE
MS. PATRICIA REGAN                             ADDRESS ON FILE
MS. PATRICIA SHEEHY                            ADDRESS ON FILE
MS. PATRICIA STEWART                           ADDRESS ON FILE
MS. PATRICIA WALDYGO 1973                      ADDRESS ON FILE
MS. PATRONYA SANKS                             ADDRESS ON FILE
MS. PATTI KING                                 ADDRESS ON FILE
MS. PATTY M. SMITH 1980                        ADDRESS ON FILE
MS. PAULA ADAMS                                ADDRESS ON FILE
MS. PAULA BECKER                               ADDRESS ON FILE
MS. PAULA WENGERD                              ADDRESS ON FILE
MS. PAULETTE OSKARSSON                         ADDRESS ON FILE
MS. PAULITA TREZEVANT                          ADDRESS ON FILE
MS. PEARL LEE 1974                             ADDRESS ON FILE
MS. PEGGY BEANE                                ADDRESS ON FILE
MS. PEGGY WACHS                                ADDRESS ON FILE
MS. PENELOPE ASHMAN                            ADDRESS ON FILE
MS. PENELOPE P. KRUGER                         ADDRESS ON FILE
MS. PENNY L. YOCUM 1996                        ADDRESS ON FILE
MS. PENNY SKOOG                                ADDRESS ON FILE
MS. PETER TOFT                                 ADDRESS ON FILE
MS. PHENON G. FINLEY-SMILEY 1981               ADDRESS ON FILE
MS. PHOEBE ADAMS 1976                          ADDRESS ON FILE
MS. PHYLLIS HALPERN                            ADDRESS ON FILE
MS. PHYLLIS P. KENNEDY                         ADDRESS ON FILE
MS. PHYLLIS PURVES-SMITH                       ADDRESS ON FILE
MS. RACHEL BLISS                               ADDRESS ON FILE
MS. RACHEL K. HAINES 2011                      ADDRESS ON FILE
MS. RACHEL KLEINMAN                            ADDRESS ON FILE
MS. RACHEL L. NEITZKE 2017                     ADDRESS ON FILE
MS. RACHEL ROBINSON                            ADDRESS ON FILE
MS. RACHEL ZIMMERMAN                           ADDRESS ON FILE
MS. RAINA STINSON                              ADDRESS ON FILE
MS. RANA A. SIEGEL 2001                        ADDRESS ON FILE
MS. RANDE BLANK                                ADDRESS ON FILE
MS. RAQUEL XAMANI-ICART                        ADDRESS ON FILE
MS. REBECCA A. GILBERT 2002                    ADDRESS ON FILE
MS. REBECCA C. HARVEY 1991                     ADDRESS ON FILE
MS. REBECCA ELMAN                              ADDRESS ON FILE
MS. REBECCA J. MAZEROSKI 2011                  ADDRESS ON FILE
MS. REBECCA J. SLOAN POTASH 1994               ADDRESS ON FILE
MS. REBECCA KAHLER-REIS                        ADDRESS ON FILE
MS. REBECCA MAYS                               ADDRESS ON FILE




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                Creditor Name       Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
MS. REBECCA SACK                                ADDRESS ON FILE
MS. REBECCA STEVENS                             ADDRESS ON FILE
MS. REGINA FOX                                  ADDRESS ON FILE
MS. REGINA FRIED                                ADDRESS ON FILE
MS. REGINA K. BARTHMAIER 1989                   ADDRESS ON FILE
MS. REGINA STEAD                                ADDRESS ON FILE
MS. RENEE ARTIGES                               ADDRESS ON FILE
MS. RENEE JONES                                 ADDRESS ON FILE
MS. RHEA D. PATTERSON 2001                      ADDRESS ON FILE
MS. RHEA FONTAINE                               ADDRESS ON FILE
MS. RHONDA B. ROSEN                             ADDRESS ON FILE
MS. RHONDA MOORE                                ADDRESS ON FILE
MS. RISA ERBES                                  ADDRESS ON FILE
MS. RITA BARKER                                 ADDRESS ON FILE
MS. RITA BROCKWAY                               ADDRESS ON FILE
MS. RITA S. MICHALENKO 1972                     ADDRESS ON FILE
MS. ROBBIE D. STILLERMAN 1969                   ADDRESS ON FILE
MS. ROBIN C. BREWER 2014                        ADDRESS ON FILE
MS. ROBIN G. ROTHMAN 2001                       ADDRESS ON FILE
MS. ROBIN L. ANDREWS 1979                       ADDRESS ON FILE
MS. ROBIN M. MCCLEA 1981                        ADDRESS ON FILE
MS. ROBIN MOORE                                 ADDRESS ON FILE
MS. ROBIN T. PLATTMAN 1986                      ADDRESS ON FILE
MS. ROBYN MEWSHAW                               ADDRESS ON FILE
MS. RONA SEBASTIAN                              ADDRESS ON FILE
MS. RONICA JOHNSON                              ADDRESS ON FILE
MS. ROSAE M. REEDER 1995                        ADDRESS ON FILE
MS. ROSALIE MATZKIN                             ADDRESS ON FILE
MS. ROSALIE WETZEL                              ADDRESS ON FILE
MS. ROSE A. DREW 1990                           ADDRESS ON FILE
MS. ROSE DISANTO                                ADDRESS ON FILE
MS. ROSE M. MANGANO GOLDBERG 1961               ADDRESS ON FILE
MS. ROSE MARIA KALOGERAKIS 2012                 ADDRESS ON FILE
MS. ROSE ROBERTSON                              ADDRESS ON FILE
MS. ROSE SEAMAN                                 ADDRESS ON FILE
MS. ROSEANN SIEGEL                              ADDRESS ON FILE
MS. ROSEMARIE CAREY                             ADDRESS ON FILE
MS. ROSEMARY BELLA 1968                         ADDRESS ON FILE
MS. ROSEMARY IULIANO                            ADDRESS ON FILE
MS. ROSEMARY M. CELLINI 1971                    ADDRESS ON FILE
MS. ROSEMARY MURPHY 1981                        ADDRESS ON FILE
MS. ROSEMARY R. MARINO                          ADDRESS ON FILE
MS. ROSI F. DISPENSA 2005                       ADDRESS ON FILE
MS. RUTH D. FIELDS                              ADDRESS ON FILE
MS. RUTH E. FINE 1962                           ADDRESS ON FILE
MS. RUTH F. KAPLAN 1969                         ADDRESS ON FILE
MS. RUTH G. RULE                                ADDRESS ON FILE
MS. RUTH L. HINE                                ADDRESS ON FILE
MS. RUTH LEITMAN 1984                           ADDRESS ON FILE
MS. RUTH WISE                                   ADDRESS ON FILE
MS. SALLY A. BISHOP 1981                        ADDRESS ON FILE
MS. SALLY BLEZNAK                               ADDRESS ON FILE
MS. SALLY GINSBERG                              ADDRESS ON FILE
MS. SALLY WILLIG                                ADDRESS ON FILE
MS. SAM R. SCHECHTER 2013                       ADDRESS ON FILE
MS. SAMANTHA AUDIA                              ADDRESS ON FILE
MS. SAMANTHA C. LAUB 2016                       ADDRESS ON FILE
MS. SAMANTHA COX                                ADDRESS ON FILE
MS. SAMANTHA J. BEDNAREK 2002                   ADDRESS ON FILE
MS. SAMANTHA J. ERICKSON                        ADDRESS ON FILE
MS. SAMANTHA M. MORRIS 2017                     ADDRESS ON FILE
MS. SAMANTHA PICCOLO                            ADDRESS ON FILE
MS. SANDRA BROWNLEE-RAMSDALE                    ADDRESS ON FILE
MS. SANDRA C. DAVIS 2008                        ADDRESS ON FILE
MS. SANDRA COLLETTE 1983                        ADDRESS ON FILE
MS. SANDRA HELD 1972                            ADDRESS ON FILE
MS. SANDRA J. TURNER 1987                       ADDRESS ON FILE
MS. SANDRA L. CADWALADER                        ADDRESS ON FILE




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                Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
MS. SANDRA P. JOSEPH                        ADDRESS ON FILE
MS. SANDRA P. MCLOUGHLIN 1979               ADDRESS ON FILE
MS. SANDRA STEINMEYTER                      ADDRESS ON FILE
MS. SANDRA WEINSTEIN                        ADDRESS ON FILE
MS. SANDY C. BAUER 1962                     ADDRESS ON FILE
MS. SANDY HALO                              ADDRESS ON FILE
MS. SANDY SORLIEN                           ADDRESS ON FILE
MS. SARA FISHER                             ADDRESS ON FILE
MS. SARA HIEBERT BURCH                      ADDRESS ON FILE
MS. SARA NERKEN                             ADDRESS ON FILE
MS. SARA PROCOPIO                           ADDRESS ON FILE
MS. SARA PYLE                               ADDRESS ON FILE
MS. SARA S. OLSEN 1986                      ADDRESS ON FILE
MS. SARAH A. GLIKO                          ADDRESS ON FILE
MS. SARAH BALLARD                           ADDRESS ON FILE
MS. SARAH D. ZAKARIA 2004                   ADDRESS ON FILE
MS. SARAH J. FRAZIER 2003                   ADDRESS ON FILE
MS. SARAH JOHNSON                           ADDRESS ON FILE
MS. SARAH L. ASPER-SMITH 2010               ADDRESS ON FILE
MS. SARAH L. MUELLER 2006                   ADDRESS ON FILE
MS. SARAH LOUIS                             ADDRESS ON FILE
MS. SARAH VAN KEUREN                        ADDRESS ON FILE
MS. SARANNE RONES                           ADDRESS ON FILE
MS. SCARLET HERNANDEZ 2016                  ADDRESS ON FILE
MS. SELINA MORRIS                           ADDRESS ON FILE
MS. SEREFINA MESA                           ADDRESS ON FILE
MS. SETSUKO A. PAGE                         ADDRESS ON FILE
MS. SHAN JU LIN 2006                        ADDRESS ON FILE
MS. SHANI D. HILSHEIMER 1991                ADDRESS ON FILE
MS. SHANNA WEISS                            ADDRESS ON FILE
MS. SHANNON D. MOORE 2005                   ADDRESS ON FILE
MS. SHANNON FIORAVANTI                      ADDRESS ON FILE
MS. SHARBARRA E. TAYLOR 2009                ADDRESS ON FILE
MS. SHARON HORVATH                          ADDRESS ON FILE
MS. SHARON L. SOROKIN                       ADDRESS ON FILE
MS. SHARON LAMB                             ADDRESS ON FILE
MS. SHARON LEFEVRE                          ADDRESS ON FILE
MS. SHARON MENARD                           ADDRESS ON FILE
MS. SHARRON FORREST                         ADDRESS ON FILE
MS. SHAWNTE G. CLAY 2007                    ADDRESS ON FILE
MS. SHAYNA LITVIN                           ADDRESS ON FILE
MS. SHAYNE JUDGE                            ADDRESS ON FILE
MS. SHEILA E. KATZ                          ADDRESS ON FILE
MS. SHEILA H. BANKS                         ADDRESS ON FILE
MS. SHEILA MCGRODDY                         ADDRESS ON FILE
MS. SHELBY R. TUCKER 2018                   ADDRESS ON FILE
MS. SHELLEY A. MULITZ                       ADDRESS ON FILE
MS. SHELTON WALKER                          ADDRESS ON FILE
MS. SHERLEY YOUNG                           ADDRESS ON FILE
MS. SHERRILL V. RITTENMEYER                 ADDRESS ON FILE
MS. SHERRILL WILSON-RAE 1971                ADDRESS ON FILE
MS. SHERRY E. LERMAN                        ADDRESS ON FILE
MS. SHERRY GAULDIN                          ADDRESS ON FILE
MS. SHERRY TAMERIUS                         ADDRESS ON FILE
MS. SHERYL FIEGEL                           ADDRESS ON FILE
MS. SHIRLEY A. BOUSELLI                     ADDRESS ON FILE
MS. SHIRLEY J. BERNSTEIN 1965               ADDRESS ON FILE
MS. SHIRLEY J. MOYER                        ADDRESS ON FILE
MS. SHIRLEY JACOBS                          ADDRESS ON FILE
MS. SHIRLEY RONES                           ADDRESS ON FILE
MS. SHOHA K. PAREKH 2002                    ADDRESS ON FILE
MS. SHUO MENG 2005                          ADDRESS ON FILE
MS. SHUSHI W. YOSHINAGA 1994                ADDRESS ON FILE
MS. SIANNA MCKINLEY 1998                    ADDRESS ON FILE
MS. SIBYLLE ZANZINGER                       ADDRESS ON FILE
MS. SILVA KALOUSTIAN                        ADDRESS ON FILE
MS. SKYLER P. BRADFORD                      ADDRESS ON FILE
MS. SONALI NANDE 1992                       ADDRESS ON FILE




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                Creditor Name           Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
MS. SONDRA E. ADAMS 1985                            ADDRESS ON FILE
MS. SONIA MERCADO 1997                              ADDRESS ON FILE
MS. SOPHIA CHITJIAN 1951                            ADDRESS ON FILE
MS. SOPHIA F. JACKSON 1991                          ADDRESS ON FILE
MS. SOPHIA N. BILYNSKY 1979                         ADDRESS ON FILE
MS. SOPHIA R. DALY 1992                             ADDRESS ON FILE
MS. SOPHIE G. TIBILETTI 2017                        ADDRESS ON FILE
MS. SORAYA T. EDWARDS 2016                          ADDRESS ON FILE
MS. STACEY N. MARTINO RIVERA 1991                   ADDRESS ON FILE
MS. STACEY VANCE                                    ADDRESS ON FILE
MS. STACI ARENSBERG                                 ADDRESS ON FILE
MS. STACY J. MARTIN                                 ADDRESS ON FILE
MS. STACY KING 1993                                 ADDRESS ON FILE
MS. STACY STEVENSON                                 ADDRESS ON FILE
MS. STARR F. SIEGELE                                ADDRESS ON FILE
MS. STARR MCCAFFERY                                 ADDRESS ON FILE
MS. STARR PAGE                                      ADDRESS ON FILE
MS. STARR SUMPTER                                   ADDRESS ON FILE
MS. STELLA WALKO                                    ADDRESS ON FILE
MS. STEPHANIE D. BARGAS 2012                        ADDRESS ON FILE
MS. STEPHANIE D. WEHMEYER 1968                      ADDRESS ON FILE
MS. STEPHANIE HIEBERT                               ADDRESS ON FILE
MS. STEPHANIE J. PETRO-MCCLELLAN 2008               ADDRESS ON FILE
MS. STEPHANIE MULLARKEY                             ADDRESS ON FILE
MS. STEPHANIE ROTONDO                               ADDRESS ON FILE
MS. STEPHANIE SPINDLER 1996                         ADDRESS ON FILE
MS. STEPHANIE TUJETSCH 2016                         ADDRESS ON FILE
MS. STEPHANIE V. WADEMAN 2015                       ADDRESS ON FILE
MS. STEPHANIE WHALEY 2016                           ADDRESS ON FILE
MS. SUE ELLEN FEUERSTEIN                            ADDRESS ON FILE
MS. SUMMER LANDIS                                   ADDRESS ON FILE
MS. SUN Y. KANG 2007                                ADDRESS ON FILE
MS. SUSAN BRUCE                                     ADDRESS ON FILE
MS. SUSAN C. CHAPLICK                               ADDRESS ON FILE
MS. SUSAN CHARLESTON                                ADDRESS ON FILE
MS. SUSAN DEUTSCH                                   ADDRESS ON FILE
MS. SUSAN E. MCANINLEY 1966                         ADDRESS ON FILE
MS. SUSAN FIELO                                     ADDRESS ON FILE
MS. SUSAN FRAZIER                                   ADDRESS ON FILE
MS. SUSAN G. TEDESCHI                               ADDRESS ON FILE
MS. SUSAN GOULD                                     ADDRESS ON FILE
MS. SUSAN H. BRAY                                   ADDRESS ON FILE
MS. SUSAN HORMUTH                                   ADDRESS ON FILE
MS. SUSAN I. JEWETT                                 ADDRESS ON FILE
MS. SUSAN IVERSON                                   ADDRESS ON FILE
MS. SUSAN J. GANZ                                   ADDRESS ON FILE
MS. SUSAN K. FRITZ 1995                             ADDRESS ON FILE
MS. SUSAN M. BRANDT 1984                            ADDRESS ON FILE
MS. SUSAN M. EMANUEL 2003                           ADDRESS ON FILE
MS. SUSAN M. SLAVINSKI 1978                         ADDRESS ON FILE
MS. SUSAN M. VITALE                                 ADDRESS ON FILE
MS. SUSAN N. WRIGHT 1994                            ADDRESS ON FILE
MS. SUSAN NAPACK 1977                               ADDRESS ON FILE
MS. SUSAN S. BLOOM                                  ADDRESS ON FILE
MS. SUSAN SCHEWEL                                   ADDRESS ON FILE
MS. SUSAN SCHNEIDER                                 ADDRESS ON FILE
MS. SUSAN STEPHAN                                   ADDRESS ON FILE
MS. SUSAN T. VIGUERS                                ADDRESS ON FILE
MS. SUSAN WEINZ                                     ADDRESS ON FILE
MS. SUSANAH HIGGINS                                 ADDRESS ON FILE
MS. SUSANNE MERBACH                                 ADDRESS ON FILE
MS. SUZANNE A. HILLNER 2005                         ADDRESS ON FILE
MS. SUZANNE C. NAUDIN 1978                          ADDRESS ON FILE
MS. SUZANNE D. COHEN                                ADDRESS ON FILE
MS. SUZANNE GUELLI 1995                             ADDRESS ON FILE
MS. SUZANNE M. GRECO                                ADDRESS ON FILE
MS. SUZANNE MAYO 1994                               ADDRESS ON FILE
MS. SUZANNE PUCKER                                  ADDRESS ON FILE




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                 Creditor Name         Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
MS. SUZANNE W. SPECTOR 1958                        ADDRESS ON FILE
MS. SUZANNE WALSH                                  ADDRESS ON FILE
MS. SUZANNE WATSON                                 ADDRESS ON FILE
MS. SUZANNE WOODROFFE 1966                         ADDRESS ON FILE
MS. SUZY ZUCKER                                    ADDRESS ON FILE
MS. SYBIL LAZOWICK                                 ADDRESS ON FILE
MS. SYDNEY R. ROCKEFELLER 1966                     ADDRESS ON FILE
MS. SYLVIA G. SALVAT 1983                          ADDRESS ON FILE
MS. SYLVIA MANN                                    ADDRESS ON FILE
MS. TALLIA L. BRINSON 2004                         ADDRESS ON FILE
MS. TAMARA KURTZ                                   ADDRESS ON FILE
MS. TAMMY MCCLATTIE                                ADDRESS ON FILE
MS. TANIA H. ODONNELL 2003                         ADDRESS ON FILE
MS. TARA DRISSEL                                   ADDRESS ON FILE
MS. TARA EAMES                                     ADDRESS ON FILE
MS. TERESA JAYNES                                  ADDRESS ON FILE
MS. TERESA PREUSS                                  ADDRESS ON FILE
MS. TERI KRASSEN                                   ADDRESS ON FILE
MS. TERRI DAVID                                    ADDRESS ON FILE
MS. TERRI L. EISENBERG                             ADDRESS ON FILE
MS. TERRI MCKENZIE                                 ADDRESS ON FILE
MS. TERRY L. SWACK 1981                            ADDRESS ON FILE
MS. THEA E. BECTON                                 ADDRESS ON FILE
MS. THELMA CRETCHFIELD                             ADDRESS ON FILE
MS. THERESE FRIEDMAN                               ADDRESS ON FILE
MS. THERESE WILLIS                                 ADDRESS ON FILE
MS. THORA JACOBSON                                 ADDRESS ON FILE
MS. TINA M. HEUGES 1997                            ADDRESS ON FILE
MS. TINA PONTARI                                   ADDRESS ON FILE
MS. TONI CRENSHAW                                  ADDRESS ON FILE
MS. TONI KAHN                                      ADDRESS ON FILE
MS. TONI PAPARONE                                  ADDRESS ON FILE
MS. TONI SILBER-DELERIVE 1969                      ADDRESS ON FILE
MS. TRACEY FINN                                    ADDRESS ON FILE
MS. TRACY A. BROOMALL                              ADDRESS ON FILE
MS. TRACY BARTHOLOMEW                              ADDRESS ON FILE
MS. TRACY F. LEVY                                  ADDRESS ON FILE
MS. TRACY MULLAHEY                                 ADDRESS ON FILE
MS. TRANDA S. FISCHELIS                            ADDRESS ON FILE
MS. TRICIA TREACY 2000                             ADDRESS ON FILE
MS. TRISH REICHFELD                                ADDRESS ON FILE
MS. TRUDY A. BORENSTEIN-SUGIURA 1977               ADDRESS ON FILE
MS. TRUDY LENTZ                                    ADDRESS ON FILE
MS. TWANISHA SIEJKOWSKI                            ADDRESS ON FILE
MS. VAISHALI A. NANDE 1992                         ADDRESS ON FILE
MS. VALERIE A. CARRIGAN 2004                       ADDRESS ON FILE
MS. VALERIE ANDERSON                               ADDRESS ON FILE
MS. VALERIE KENNER                                 ADDRESS ON FILE
MS. VALERIE LAFERRIERE                             ADDRESS ON FILE
MS. VALERIE PETTIS 1969                            ADDRESS ON FILE
MS. VANESSA HABERSHAW                              ADDRESS ON FILE
MS. VANILLA SINGLETARY                             ADDRESS ON FILE
MS. VENECIA WHITE                                  ADDRESS ON FILE
MS. VERA C. BOJKO 1986                             ADDRESS ON FILE
MS. VERONICA CUCINOTTA                             ADDRESS ON FILE
MS. VERONICA LINDH 1995                            ADDRESS ON FILE
MS. VICKY B. AQUINO 2014                           ADDRESS ON FILE
MS. VICOTRIA M. DONALDSON                          ADDRESS ON FILE
MS. VICTORIA A. PERNO 2002                         ADDRESS ON FILE
MS. VICTORIA B. LOEBELL 1975                       ADDRESS ON FILE
MS. VICTORIA CRISWELL                              ADDRESS ON FILE
MS. VICTORIA K. VOUTSAKIS 2006                     ADDRESS ON FILE
MS. VICTORIA L. MCCALLUM 2012                      ADDRESS ON FILE
MS. VIRGINIA BURNELL                               ADDRESS ON FILE
MS. VIRGINIA HAHN                                  ADDRESS ON FILE
MS. VIRGINIA L. BOWER                              ADDRESS ON FILE
MS. VIRGINIA PEPE                                  ADDRESS ON FILE
MS. WENDY A. WEISS                                 ADDRESS ON FILE




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                Creditor Name                        Attention                         Address 1                          Address 2         Address 3             City        State      Zip       Country
MS. WENDY GARFINKEL-GOLD 1994                                            ADDRESS ON FILE
MS. WENDY MATCHETT                                                       ADDRESS ON FILE
MS. WENDY MATSON                                                         ADDRESS ON FILE
MS. WENDY V. BLACKMAN                                                    ADDRESS ON FILE
MS. WENDY V. EDWARDS 1972                                                ADDRESS ON FILE
MS. WENDY WEINBERG                                                       ADDRESS ON FILE
MS. WHITNEY HOWZE                                                        ADDRESS ON FILE
MS. WINIFRED R. OWENS-HART 1971                                          ADDRESS ON FILE
MS. WYNTER SPEARS 2000                                                   ADDRESS ON FILE
MS. XIAODONG YUAN                                                        ADDRESS ON FILE
MS. XIN LU 2015                                                          ADDRESS ON FILE
MS. YADIRA M. CURET 2007                                                 ADDRESS ON FILE
MS. YAN KEI A. FUNG 2005                                                 ADDRESS ON FILE
MS. YOLANDA PENN                                                         ADDRESS ON FILE
MS. YONINA BLECH-HERMONI 1977                                            ADDRESS ON FILE
MS. YUN JUNG LEE                                                         ADDRESS ON FILE
MS. YVETTE L. LENHART 1991                                               ADDRESS ON FILE
MS. ZIA F. JAMISON-FRANK                                                 ADDRESS ON FILE
MS. ZIA F. JAMISON-FRANK 2015                                            ADDRESS ON FILE
MSIG SPECIALTY INSURANCE USA INC     RYAN TURNER SPECIALTY               1650 ARCH STREET                         26TH FLOOR                            PHILADELPHIA     PA           19103
MUCK RACK LLC                                                            PO BOX 21131                                                                   NEW YORK         NY           10087-1131
MUGALA, WABWILA                                                          ADDRESS ON FILE
MUHLENBERG COLLEGE                                                       2400 CHEW ST                                                                   ALLENTOWN        PA           18104
MULVIHILL, BRENDAN                                                       ADDRESS ON FILE
MUMFORD, OLIVIA                                                          ADDRESS ON FILE
MUNDHEIM, SEBASTIENNE                                                    ADDRESS ON FILE
MUNHALL, KEVIN                                                           ADDRESS ON FILE
MURCH, LISA M.                                                           ADDRESS ON FILE
MURNAME, CHAD                                                            ADDRESS ON FILE
MURPHY, CHELSEA                                                          ADDRESS ON FILE
MURPHY, CHELSEA E.                                                       ADDRESS ON FILE
MURPHY, GENNE                                                            ADDRESS ON FILE
MURPHY, MARGARET                                                         ADDRESS ON FILE
MURPHY, REBECCA                                                          ADDRESS ON FILE
MURPHY, REBECCA J.                                                       ADDRESS ON FILE
MURPHY, REBECCA JEAN                                                     ADDRESS ON FILE
MURTAUGH, ALEXANDRA                                                      ADDRESS ON FILE
MUSEUM COUNCIL OF GREATER            C/O GREATER PHILADELPHIA CULTURAL
PHILADELPHIA                         ALLIANCE                            1315 WALNUT ST STE 732                                                         PHILADELPHIA     PA           19107-4733
MUSEUM COUNCIL OF PHILADELPHIA AND
DELAWARE VALLEY                      C/O FLEISHER ART MEMORIAL           719 CATHARINE ST                                                               PHILADELPHIA     PA           19147-2811
MUSICAL THEATER SONGS LLC                                                45 OVERLOOK TERRACE #5E                                                        NEW YORK         NY           10033
MUSSON, JAYSON S.                                                        ADDRESS ON FILE
MUSTAFA SAKARYA                                                          ADDRESS ON FILE
MUSYNERGY                                                                PO BOX 685                                                                     GRAND HAVEN      MI           49417-0685
MYERS, CHRIS                                                             ADDRESS ON FILE
MYERS, MICHELLE                                                          ADDRESS ON FILE
MYERS, MICHELLE L.                                                       ADDRESS ON FILE
N.E HILL                                                                 ADDRESS ON FILE
NACUA                                                                    PO BOX 79118                                                                   BALTIMORE        MD           21279-1118
NACUBO                                                                   PO BOX 791331                                                                  BALTIMORE        MD           21279-1331
NAKAMURA, DON HIDEO                                                      ADDRESS ON FILE
NALLY, ROBERT                                                            ADDRESS ON FILE
NANCY DONOVAN                                                            ADDRESS ON FILE
NANCY EARNSHAW                                                           ADDRESS ON FILE
NANCY JONES                                                              ADDRESS ON FILE
NANCY MCDONALD                                                           ADDRESS ON FILE
NANCY MORSE                                                              ADDRESS ON FILE
NANCY REDDY                                                              ADDRESS ON FILE
NANCY SMITH                                                              ADDRESS ON FILE
NANCY WILLIAMS                                                           ADDRESS ON FILE
NAPLES, RONALD                                                           ADDRESS ON FILE
NARODITSKIY, ALEKSANDR                                                   ADDRESS ON FILE
NASH, HIBBARD L. JR.                                                     ADDRESS ON FILE
NASSAU COUNTY POLICE DEPARTMENT                                          1490 FRANKLIN AVE                                                              MINEOLA          NY           11501-4801
NASSNER, ALYSSA C.                                                       ADDRESS ON FILE
NATALIA FREANER                                                          ADDRESS ON FILE
NATALIA RUGGIERO                                                         ADDRESS ON FILE




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               Creditor Name                            Attention                      Address 1                            Address 2             Address 3              City          State      Zip       Country
NATALIE DUVALL                                                           ADDRESS ON FILE
NATALIE ROBIN                                                            ADDRESS ON FILE
NATHAN M. CLARK FOUNDATION              C/O GLENMEDE TRUST COMPANY       1650 MARKET ST STE 1200                                                              PHILADELPHIA        PA           19103-7311
NATHANIEL E. RA-HATT                                                     ADDRESS ON FILE
NATHANIEL LEVY                                                           ADDRESS ON FILE
NATIONAL ACADEMY OF RECORDING ARTS &
SCIENCES, INC                                                            3402 PICO BOULEVARD                                                                  SANTA MONICA        CA           90405-2118
NATIONAL ASSOCIATION                                                     11250 ROGER BACON DR.                    STE 21                                      RESTON              VA           20190
NATIONAL CARTOONISTS SOCIETY                                             341 N MAITLAND AVE STE 130                                                           MAITLAND            FL           32751-4761
                                                                         1100 PENNSYLVANIA AVENUE, NORTH
NATIONAL ENDOWMENT FOR THE ARTS                                          WEST                                                                                 WASHINGTON          DC           20506-0001
NATIONAL SOCIETY FOR EXPERIMENTAL
EDUCATION                                                                1703 N BEAUREGARD ST                                                                 ALEXANDRIA          VA           22311-1746
NATIONAL STUDENT CLEARINGHOUSE                                           PO BOX 826576                                                                        PHILADELPHIA        PA           19182-6576
NATIONAL STUDENT CLEARINGHOUSE
TRANSCRIPT SERVICES                                                      2300 DULLES STATION BLVD #220                                                        HERNDON             VA           20171
NATIONAL UNION FIRE INSURANCE COMPANY
OF PITTSBURGH, PA                       C/O AIG                          1271 AVE OF THE AMERICAS                 FL 37                                       NEW YORK            NY           10020-1304
NATIONAL UNION FIRE INSURANCE COMPANY
OF PITTSBURGH, PA.                                                       1271 AVE. OF THE AMERICAS                FL 37                                       NEW YORK            NY           10020-1304
NAUGLE, DAVID                                                            ADDRESS ON FILE
NAVEX GLOBAL, INC                                                        PO BOX 60941                                                                         CHARLOTTE           NC           28260-0941
NEIDORFLER, JEFFREY                                                      ADDRESS ON FILE
NEIGHBORING STATES                                                       1245 EAST COLONA STREET                                                              PHILADELPHIA        PA           19125
NEIHEISER, WILLIAM                                                       ADDRESS ON FILE
NELNET BUSINESS SERVICES                ATTN ACCOUNTS RECEIVABLE         PO BOX 82528                                                                         LINCOLN             NE           68501-2528
NELSON, KATHERINE                                                        ADDRESS ON FILE
NELSON, KATHERINE L.                                                     ADDRESS ON FILE
NELSON, TAMARA                                                           ADDRESS ON FILE
NERI DESIGN GROUP                                                        710 N ITHAN AVE                                                                      BRYN MAWR           PA           19010-1730
NERO, JOSEPH N. JR.                                                      ADDRESS ON FILE
NETWORK FOR NEW MUSIC, INC                                               6757 GREENE ST                           STE 400                                     PHILADELPHIA        PA           19119
NEW APPROACH INC                                                         335 W 38TH ST APT 4                                                                  NEW YORK            NY           10018-2928
NEW ENGLAND WOODCRAFT, INC                                               481 NORTH STREET                         PO BOX 165                                  FOREST DALE         VT           05745
NEW JERSEY SCHOOL OF MUSIC                                               19 KINGS HWY E                                                                       HADDONFIELD         NJ           08033-2001
NEW MEXICO TAXATION & REVENUE
DEPARTMENT                                                               PO BOX 2527                                                                          SANTA FE            NM           87504-2527
NEW WORLD SCHOOL OF THE ARTS                                             25 NE 2ND STREET                                                                     MIAMI               FL           33132
NEW YORK FILM ACADEMY                                                    17 BATTERY PL                                                                        NEW YORK            NY           10004
NEW YORK LIVE ARTS, INC                                                  219 WEST 19TH STREET                                                                 NEW YORK            NY           10011
NEW YORK UNIVERSITY                                                      721 BROADWAY                             5TH FL                                      NEW YORK            NY           10003
NEWBURY, MACKENZIE                                                       ADDRESS ON FILE
NEWBURY, MACKENZIE                                                       ADDRESS ON FILE
NEWELL, BRETT                                                            ADDRESS ON FILE
NEWLIN, CHRISTY                                                          ADDRESS ON FILE
NEWTON, CHLOE M.                                                         ADDRESS ON FILE
NEXTIRAONE, LLC                                                          PO BOX 4516                                                                          HOUSTON             TX           77210-4516
NEYSHA MARTINEZ                                                          ADDRESS ON FILE
NIAGRA UNIVERSITY                                                        5795 LEWISTON RD                                                                     NIAGRA UNIVERSITY   NY           14109
NICHOLLS, SARAH                                                          ADDRESS ON FILE
NICHOLS, RACHEL E.                                                       ADDRESS ON FILE
NICHOLS, THEA L.                                                         ADDRESS ON FILE
NICK COSTA MUSIC                                                         143 WINTER STREET                                                                    MEDIA               PA           19063
                                                                         ATTN: MARC H. EDELSON, SHOSHANA
NICK EMBREE                             C/O EDELSON LECHTZIN LLP         MICHELLE SAVETT, ERIC LECHTZIN           411 S. STATE STREET      SUITE N-300        NEWTOWN             PA           18940
                                                                         ATTN: RYAN ALLEN HANCOCK, JORDAN         1845 WALNUT STREET,
NICK EMBREE                             C/O WILLIG WILLIAMS & DAVIDSON   KONELL                                   24TH FLOOR                                  PHILADELPIA         PA           19103
                                                                         ATTN: RYAN ALLEN HANCOCK, JORDAN         1845 WALNUT STREET,
NICK EMBREE                             C/O WILLIG WILLIAMS & DAVIDSON   KONELL, SAMUEL H. DATLOF                 24TH FLOOR                                  PHILADELPIA         PA           19103
NICK JOSEPH                                                              ADDRESS ON FILE
NICK MARINO                                                              ADDRESS ON FILE
NICK SHUPINSKI                                                           ADDRESS ON FILE
NICOLE BATTESTILLI                                                       ADDRESS ON FILE
NICOLE D. DICHIARA                                                       ADDRESS ON FILE
NICOLE ORJI                                                              ADDRESS ON FILE
NICOLETTI-WALSH, MEGAN                                                   ADDRESS ON FILE
NICOLINI, CATHERINE                                                      ADDRESS ON FILE
NIKKI MIOCEVIC                                                           ADDRESS ON FILE




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               Creditor Name                         Attention                     Address 1                             Address 2            Address 3              City          State       Zip         Country
NILE GLOBAL, INC.                                                    3590 NORTH FIRST STREET                  STE. 300                                    SAN JOSE            CA           95134
NILS DAHLIN                                                          ADDRESS ON FILE
NISSAN JOSEPH                                                        ADDRESS ON FILE
NOBRIGA, GLADYS                                                      ADDRESS ON FILE
NOCNOC                                                               4 RUE COMMANDANT DUBOIS                                                              LYON 69003                                    FRANCE
NODADO CONTRACTING                                                   2851 S SHERIDAN ST                                                                   PHILADELPHIA        PA           19148-4826
NODADO CONTRACTING INC                                               605 BROAD ST.                                                                        NORTHFIELD          NJ           08225
NOGA NEWBERG                                                         ADDRESS ON FILE
NOGUERAS, PAOLA I.                                                   ADDRESS ON FILE
NOONAN, PATRICIA                                                     ADDRESS ON FILE
                                                                                                                                                          RESEARCH TRIANGLE
NORTEL NETWORKS                                                      4008 E. CHAPEL HILL-NELSON HIGHWAY                                                   PARK                NC           27709
NORTHERN ILLINOIS UNIVERSITY                                         231 N ANNIE GLIDDEN RD                                                               DEKALB              IL           60115
NORTHERN MACHINE WORKS INC                                           2817 NORTH CEDAR ST.                                                                 PHILADELPHIA        PA           19134
NOTARO, TINA                                                         ADDRESS ON FILE
NOWELL, JAMES                                                        ADDRESS ON FILE
NOWELL, JANICE                                                       ADDRESS ON FILE
NUNEZ, VICTOR                                                        ADDRESS ON FILE
NUNEZ, VICTOR L.                                                     ADDRESS ON FILE
NYSSMA SCHOOL MUSIC NEWS                                             ATT BILLING                              167 MIDDLEVILLE RD                          NORTHPORT           NY           11768-2365
OAK HALL INDUSTRIES, L.P.                                            840 UNION STREET                         PO BOX 1078                                 SALEM               VA           24153
OATTS, CHRISTIAN                                                     ADDRESS ON FILE

                                                                     DEPT. OF COMPOSITIONCONSERVATORY
OBERLIN COLLEGE                                                      OF MUSIC                                                                             OBERLIN             OH           44074
OBRIEN, SHANNON                                                      ADDRESS ON FILE
OBRIEN, THERESA                                                      ADDRESS ON FILE
OBRIEN, TIMOTHY                                                      ADDRESS ON FILE
OCASIO, KEREN                                                        ADDRESS ON FILE
OCCUPATIONAL SAFETY AND HEALTH
ADMINISTRATION                                                       200 CONSTITUTION AVENUE N.W.                                                         WASHINGTON          DC           20210
OCHERET, EVAN                                                        ADDRESS ON FILE
OCLC, INC                                                            PO BOX 714746                                                                        CINCINNATI          OH           45271-4746
OCONNOR, KEVIN                                                       ADDRESS ON FILE
ODP BUSINESS SOLUTIONS LLC                                           ATT BOX 633204                           5050 KINGSLEY DRIVE                         CINCINNATI          OH           45227
OFEMI HARRIS                                                         ADDRESS ON FILE
OFFICE BASICS                                                        22 CREEK PKWY                                                                        BOOTHWYN            PA           19061-3132
OFFICE OF FEDERAL STUDENT AID                                        830 FIRST STREET N.E.                    STE 300                                     WASHINGTON          DC           20202
OFFUTT, KATHERINE A.                                                 ADDRESS ON FILE
OGORMAN, THOMAS EDWARD                                               ADDRESS ON FILE
OGUZ, NEBILA                                                         ADDRESS ON FILE
OHARE, MEAGHAN CAMPBELL                                              ADDRESS ON FILE
OKETCH, FRANCIS O.                                                   ADDRESS ON FILE
OKOU, MITZI                                                          ADDRESS ON FILE
OLD CITY SPECIAL SERVICES DISTRICT                                   231 MARKET ST                                                                        PHILADELPHIA        PA           19106
OLDHAM & SELTZ                                                       21 DUPONT CIR NW                                                                     WASHINGTON          DC           20036-1109
OLESYA USTYUZHINA                                                    ADDRESS ON FILE
OLIVA, FRANK                                                         ADDRESS ON FILE
OLIVER BROOKS                                                        ADDRESS ON FILE
OLIVER FIRE PROTECTION & SECURITY                                    501 FEHELEY DR.                                                                      KING OF PRUSSIA     PA           19406
OLIVER SPRINKLER CO., INC                                            501 FEHELEY DR                                                                       KING OF PRUSSIA     PA           19406-2611
OLIVERI, SUSAN                                                       ADDRESS ON FILE
OLIVIERI, JULIET                                                     ADDRESS ON FILE
OLOWU, ROTIMI                                                        ADDRESS ON FILE
OMI--OLD MANUSCRIPTS &                                               PO BOX 6019                              FDR STATION                                 NEW YORK            NY           10150
OMNICOM GROUP, INC                                                   437 MADISON AVENUE                                                                   NEW YORK            NY           10022
ON DEMAND URGENT CARE GROUP PC                                       PO BOX 20165                                                                         BELFAST             ME           04915
ON DEMAND URGENT CARE GROUP, PC,                                     6060 RIDGE AVE, STE 100                  6060 RIDGE AVE, STE 100                     PHILADELPHIA        PA           19120-1659
ON THE BOARDS                                                        PO BOX 19515                                                                         SEATTLE             WA           98109-1515
ONE IDENTITY LLC                     ATTN: JOE KRAVITZ               20 ENTERPRISE                            20 ENTERPRISE             SUITE 100         ALISO VIEJO         CA           92656
ONE IDENTITY LLC                                                     PO BOX 733542                                                                        DALLAS              TX           75373-3542
ONE TAP STUDIO                                                       21 SOUTHWIND                                                                         IRVINE              CA           92614
ONEILL, BENJAMIN                                                     ADDRESS ON FILE
ONEILL, MEGHAN R.                                                    ADDRESS ON FILE
ONEY, MARINA                                                         ADDRESS ON FILE
ONO, LLC                                                             915 KIMBALL STREET                                                                   PHILADELPHIA        PA           19147
OPARA, ANUKAM EDWARD                                                 ADDRESS ON FILE
OPPENHEIM, SHERYL                                                    ADDRESS ON FILE




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             Creditor Name                            Attention                       Address 1                             Address 2             Address 3              City            State       Zip      Country
OPTO INTERNATIONAL, INC                                                 1325 NORTH MITTEL BLVD                                                                   WOOD DALE          IL           60191

ORA & JOSEPH MENDELS FAMILY FOUNDATION                                  ADDRESS ON FILE
OREDIPE, OLUDARE                                                        ADDRESS ON FILE
OREDIPE, OLUDARE O.                                                     ADDRESS ON FILE
OREILLY, LUKE                                                           ADDRESS ON FILE
OREILLY, LUKE C.                                                        ADDRESS ON FILE
OREN SMITH                                                              ADDRESS ON FILE
ORING, SHERYL                                                           ADDRESS ON FILE
ORING, SHERYL                                                           ADDRESS ON FILE
ORTEGA, TERESA                                                          ADDRESS ON FILE
ORTEGA-MURPHY, LAURIE E.                                                ADDRESS ON FILE
ORTIZ, ERLINA                                                           ADDRESS ON FILE
ORTIZ, JOSIAS                                                           ADDRESS ON FILE
ORTIZ-PAGAN, JOSE                                                       ADDRESS ON FILE
OSMOND HATKE                                                            ADDRESS ON FILE
OSULLIVAN, WENDY                                                        ADDRESS ON FILE
OSVALDO PARROTTA                                                        ADDRESS ON FILE
OTIS COLLEGE OF ART AND DESIGN                                          9045 LINCOLN BLVD                                                                        LOS ANGELES        CA           90045
OTIS ELEVATOR CO                                                        30 TWOSOME DR STE 4                                                                      MOORESTOWN         NJ           08057-1370
OUTING, SARA L.                                                         ADDRESS ON FILE
OWENS, JAYLENE C.                                                       ADDRESS ON FILE
OXENRIDER, MICHAEL                                                      ADDRESS ON FILE
OXFORD AREA FOUNDATION                                                  PO BOX 341                                                                               OXFORD             PA           19363-0341
OZSVATH, KEITH                                                          ADDRESS ON FILE
OZSVATH, KEITH A.                                                       ADDRESS ON FILE
P. AGNES                                                                ADDRESS ON FILE
PA 529 COLLEGE SAVINGS                                                  REFUND SMITH                             MADISON 1532              613 N. DR. RM. G-06   HARRISBURG         PA           17120
PA DEPT OF LABOR & INDUSTRY-B                                           651 BOAS STREET                                                                          HARRISBURG         PA           17121
PA UC FUND                                                              OFFICE OF UC TAX SERVICES                PO BOX 60848                                    HARRISBURG         PA           17106-0848
PACIFIC NORTHWEST COLLEGE OF ART                                        511 NW BROADWAY                                                                          PORTLAND           OR           97209
PACK, ANDREW                                                            ADDRESS ON FILE
PACK, ANDREW M.                                                         ADDRESS ON FILE
PADGETT, LOYD                                                           ADDRESS ON FILE
PADILA, MICHAEL                                                         ADDRESS ON FILE
PADILIONI, JEANETTE                                                     ADDRESS ON FILE
PADILIONI, JEANETTE L.                                                  ADDRESS ON FILE
PADLIUCCON                             DEPARTMENT OF LABOR & INDUSTRY   OFFICE OF UC TAX SERVICES                651 BOAS STREET                                 HARRISBURG         PA
PADULA, LILY                                                            ADDRESS ON FILE
PAGANOMATION                                                            4512 46TH STREET                         STE. 256                                        SUNNYSIDE          NY           11104-1702
PAGLIA, CAMILLE                                                         ADDRESS ON FILE
PAIGE KIMBLE                                                            ADDRESS ON FILE
PAISBOA                                                                 301 IVEN AVENUE                          301 IVEN AVENUE           SUITE 315-B           WAYNE              PA           19087
PAISBOA                                                                 301 IVEN AVENUE                          STE 315                                         WAYNE              PA           19087
PALLADINO, CHRISTOPHER J.                                               ADDRESS ON FILE
PALMER MASONRY RESTORATION                                              2175 BENNETT RD                                                                          PHILADELPHIA       PA           19116
PALOMBARO, KERSTIN                                                      ADDRESS ON FILE
PALOMBARO, KERSTIN                                                      ADDRESS ON FILE
PALU, LUIGINO                                                           ADDRESS ON FILE
PAM HENDERSON                                                           ADDRESS ON FILE
PAMELA G. HARRIS                                                        ADDRESS ON FILE
PAMELA MORGAN                                                           ADDRESS ON FILE
PAMELA STERNER BOYER                                                    ADDRESS ON FILE
PAMMIE JIMMAR                                                           ADDRESS ON FILE
PANTHEON SYSTEMS, INC                                                   PO BOX 80703                                                                             CITY OF INDUSTRY   CA           91716-8415
PANTHEON SYSTEMS, INC.                 ATTN: DARIN WOLTER               717 CALIFORNIA STREET                    717 CALIFORNIA STREET                           SAN FRANCISCO      CA           94108
PAONE, KATIE                                                            ADDRESS ON FILE
PARADA, JUAN                                                            ADDRESS ON FILE
PARADA, JUAN M.                                                         ADDRESS ON FILE
PARADIGM DIGITAL COLOR GRAPHICS                                         105 JAMES WAY                                                                            SOUTHAMPTON        PA           18966
PARADIGM GALLERY + STUDIO                                               746 S. 4TH STREET                                                                        PHILADELPHIA       PA           19147
PARADIGM, INC.                                                          2600 PERFORMANCE COURT                                                                   VIRGINIA BEACH     VA           23453
PARALLEL DESIGN, INC                                                    328 CALVERT RD                                                                           MERION STATION     PA           19066-1514
PARK CIRCUS, INC                                                        2060-D EAST AVENIDA DE LOS               AVBOLES                   STE. 369              THOUSAND OAKS      CA           91362
PARK PLACE TECHNOLOGIES LLC                                             PO BOX 78000                             DEPT 781156                                     DETROIT            MI           48278-1156
PARK, KEUN HO                                                           ADDRESS ON FILE
PARKER, EMILIE                                                          ADDRESS ON FILE
PARKER, HILLARY                                                         ADDRESS ON FILE




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PARKER, KIMIE                                                              ADDRESS ON FILE
PARKER, KIMIE J.                                                           ADDRESS ON FILE
PARKHURST DINING                                                           285 E WATERFRONT DR STE 200                                                          HOMESTEAD        PA           15120-5017
                                                                                                                    285 E WATERFRONT DR
PARKHURST DINING                                                           285 E WATERFRONT DR STE 200              STE 200                                     HOMSTREAD        PA           15120-5017
PARKHURST DINING SERVICES                                                  PO BOX 644091                                                                        PITTSBURGH       PA           15264-4091
PARKHUST DINING LLC                      C/O DENTONS, COHEN & GRIGSBY PC   ATTN: LAURA E. HILL                      625 LIBERTY AVE           5TH FLOOR         PITTSBURGH       PA           15222-3152
PARTNERS AND SON                                                           703 SOUTH 3RD STREET                                                                 PHILADELPHIA     PA           19147
PASQUA PRODUCTIONS, INC                                                    63 JOHN DYER WAY                                                                     DOYLESTOWN       PA           18902
PAT SPENCER                                                                ADDRESS ON FILE
PATCHELL, CHRISTIAN                                                        ADDRESS ON FILE
PATEL, BHUMI                                                               ADDRESS ON FILE
PATHS/PRISM                                                                7 BENJAMIN FRANKLIN PKWY                                                             PHILADELPHIA     PA           19103-1208
PATRICIA GABOR                                                             ADDRESS ON FILE
PATRICIA MAUNDER                                                           ADDRESS ON FILE
PATRICIA MCNAMARA                                                          ADDRESS ON FILE
PATRICIA NOVO                                                              ADDRESS ON FILE
PATRICIA PIROH                                                             ADDRESS ON FILE
PATRICK FLOOD                                                              ADDRESS ON FILE
PATRICK MANNING                                                            ADDRESS ON FILE
PATSELAS, LYDIA                                                            ADDRESS ON FILE
PATTERSON, MARY L.                                                         ADDRESS ON FILE
PATTERSON, NAEEMAH                                                         ADDRESS ON FILE
PATTI FONTAINE                                                             ADDRESS ON FILE
PATTI YEUNG                                                                ADDRESS ON FILE
PAUL ELLIOTT                                                               ADDRESS ON FILE
PAUL ESKENAZI                                                              ADDRESS ON FILE
PAUL JONES                                                                 ADDRESS ON FILE
PAUL MATTESON                                                              ADDRESS ON FILE
PAUL RABINOWITZ GLASS CO                                                   1401 NORTH AMERICAN STREET                                                           PHILADELPHIA     PA           19122
PAUL STUS                                                                  ADDRESS ON FILE
PAULA GLANZBERG-GLAZIER                                                    ADDRESS ON FILE
PAUP, ROSEMARY                                                             ADDRESS ON FILE
PAYNE MEADOWS                                                              ADDRESS ON FILE
PAYNE-PASSMORE, SUSANNA                                                    ADDRESS ON FILE
PAZ, MARIA JIMENA                                                          ADDRESS ON FILE
PC CONNECTION SALES CORPORATION                                            PO BOX 536472                                                                        PITTSBURGH       PA           15253-5906
PC CONNECTION SALES, CORP.                                                 PO BOX 536472                                                                        PITTSBURGH       PA           15253-5906
PDQ.COM                                                                    2200 SOUTH MAIN STREET                   STE. 200                                    S. SALT LAKE     UT           84115-2656
PEACOCK, JENNIFER                                                          ADDRESS ON FILE
PEARCE, RICHARD                                                            ADDRESS ON FILE
PEARSON, DIANA                                                             ADDRESS ON FILE
PECCHIO, GEORGE                                                            ADDRESS ON FILE
PECK, CHARLES                                                              ADDRESS ON FILE
PEDIATRIC DENTAL ASSOC                                                     6404 ROOSEVELT BLVD                                                                  PHILADELPHIA     PA           19149
PEGGY BURCHFIELD                                                           ADDRESS ON FILE
PEGGY CRAMER                                                               ADDRESS ON FILE
PENGUIN RANDOM HOUSE LLC                                                   PO BOX 223384                                                                        PITTSBURGH       PA           15251-2384
PENJI, INC                                                                 1312 17TH STREET                         #1054                                       DENVER           CO           80202
PENLAND SCHOOL OF CRAFTS                                                   67 DORAS TRAIL                           PO BOX 37                                   PENLAND          NC           28765
PENN EAST FEDERAL CREDIT UNION                                             441 N 7TH AVE                                                                        SCRANTON         PA           18503-2103
PENN, JONATHAN                                                             ADDRESS ON FILE
PENN, RYAN                                                                 ADDRESS ON FILE
PENNCORA PRODUCTIONS, INC                                                  PO BOX 581                                                                           OAKS             PA           19456-0581
PENNONI ASSOC, INC                                                         PO BOX 827328                                                                        PHILADELPHIA     PA           19182-7328
PENNROSE PROPERTIES, INC                                                   1301 N 31ST ST                                                                       PHILADELPHIA     PA           19121-4403
PENNSYLVANIA BALLET                                                        1819 JOHN F KENNEDY BLVD STE 210                                                     PHILADELPHIA     PA           19103-1728

PENNSYLVANIA COLLEGE OF ART AND DESIGN                                     204 NORTH PRINCE STREET                                                              LANCASTER        PA           17603
PENNSYLVANIA COUNCIL ON THE ARTS                                           216 FINANCE BUILDING                                                                 HARRISBURG       PA           17120-0018
PENNSYLVANIA DEPARTMENT OF COMMUNITY
& ECONOMIC DEVELOPMENT                                                     COMMONWEALTH KEYSTONE BLDG               400 N 4TH ST FL 4                           HARRISBURG       PA           17120-0001
PENNSYLVANIA DEPARTMENT OF LABOR &
INDUSTRY                                                                   1700 LABOR & INDUSTRY BUILDING                                                       HARRISBURG       PA           17120
PENNSYLVANIA DEPARTMENT OF REVENUE                                         1131 STRAWBERRY SQ                                                                   HARRISBURG       PA           17128
PENNSYLVANIA DEPT OF ED                                                    OFFICE OF POSTSECONDARY & HE             333 MARKET ST.            12TH FL           HARRISBURG       PA           17126-0333
PENNSYLVANIA EDUCATION DEPARTMENT                                          FORUM BUILDING                           607 SOUTH DRIVE                             HARRISBURG       PA           17120
PENNSYLVANIA GEOLOGICAL SURVEY                                             40 5TH ST                                                                            APALACHICOLA     FL           32320-1704




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               Creditor Name                            Attention                  Address 1                              Address 2         Address 3            City           State      Zip       Country
PENNSYLVANIA HIGHER EDUCATION
ASSISTANCE AGENCY                                                    1200 NORTH SEVENTH STREET                  HQ 5D                                   HARRISBURG         PA           17102
PENNSYLVANIA HIGHER EDUCATIONAL
FACILITIES AUTHORITY                                                 1935 MUMMA RD                                                                      WORMLEYSBURG       PA           17043
PENNSYLVANIA PROMOTIONS, INC                                         612 E BALTIMORE AVE                                                                LANSDOWNE          PA           19050-2602
PENNSYLVANIA SOCIETY OF GOLDSMITHS                                   1570 THE FAIRWAY                                                                   JENKINTOWN         PA           19046-1610
PENNSYLVANIA STATE SYSTEM OF HIGHER
EDUCATION                                                            2986 N 2ND ST                                                                      HARRISBURG         PA           17110-1201
PENTECOST-FARREN, AISLINN                                            ADDRESS ON FILE
PENTECOST-FARREN, AISLINN E.                                         ADDRESS ON FILE
PEOPLE 2.0 NORTH AMERICA                                             PO BOX 677905                                                                      DALLAS             TX           75267-7905
PEOPLES EMERGENCY CENTER                                             325 N 39TH ST                                                                      PHILADELPHIA       PA           19104-4656
PEOPLESYSTEMS                                                        PO BOX 4816                                                                        SYRACUSE           NY           13221-4816
PEOT, GILLIAN DEVI                                                   ADDRESS ON FILE
PEPE, DIANE                                                          ADDRESS ON FILE
PEPPER HOLLOW FUND                                                   2900 GRANT AVE                                                                     PHILADELPHIA       PA           19114-2310
PERAS, AMY                                                           ADDRESS ON FILE
PERCEPTIONS FILMS                                                    216 RIDGEWAY AVE                                                                   LOUISVILLE         KY           40207-5019
PERCIAVALLE, JULIANA M.                                              ADDRESS ON FILE
PEREZ, ERICA                                                         ADDRESS ON FILE
PERFECT COMM                                                         1533 GLEN AVENUE                                                                   MOORESTOWN         NJ           08057
PERFORMING ARTS FOUNDATION, INC                                      500 RIVERSIDE DRIVE                                                                NEW YORK           NY           10027
PERLMAN, JASON                                                       ADDRESS ON FILE
PERNELL, AUDREY                                                      ADDRESS ON FILE
PERRI, MEGAN N.                                                      ADDRESS ON FILE
PERRY HALL HIGH SCHOOL                                               4601 EBENEZER RD                                                                   BALTIMORE          MD           21236
PETER DAVIS                                                          ADDRESS ON FILE
PETER HOFFMANN                                                       ADDRESS ON FILE
PETER J. ETNOYER                                                     ADDRESS ON FILE
PETER KOLLER                                                         ADDRESS ON FILE
PETER LAWRENCE                                                       ADDRESS ON FILE
PETER NERO AND THE PHILLY POPS                                       260 S BROAD ST                                                                     PHILADELPHIA       PA           19102-5012
PETER O. FALLON                                                      ADDRESS ON FILE
PETERAF, RYAN                                                        ADDRESS ON FILE
PETERSON, JACQUELYNE                                                 ADDRESS ON FILE
PETERSON, MICHAELA                                                   ADDRESS ON FILE
PEZZANO, COLIN E.                                                    ADDRESS ON FILE
PHEAA                                                                STATE GRANT & SPECIAL PROG                 PO BOX 8157                             HARRISBURG         PA           17105-8157
PHIL CALABRO                                                         ADDRESS ON FILE
PHILADELPHIA ART HANDLING                                            6912 BOYER ST.                                                                     PHILADELPHIA       PA           19119
PHILADELPHIA AUTHORITY FOR IND                                       1500 MARKET ST                                                                     PHILADELPHIA       PA           19102
PHILADELPHIA AUTHORITY FOR INDUSTRIAL
DEVELOPMENT                                                          2600 CENTRE SQUARE WEST                    1500 MARKET STREET                      PHILADELPHIA       PA           17043
PHILADELPHIA CITY PAPER                                              30 SOUTH 15TH STREET, FL 14B                                                       PHILADELPHIA       PA           19102-4826
PHILADELPHIA CONTEMPORARY                                            1112 N BODINE ST                                                                   PHILADELPHIA       PA           19123-1555
PHILADELPHIA CONVENTION & VISITORS
BUREAU                                                               1601 MARKET ST STE 200                                                             PHILADELPHIA       PA           19103-2327

PHILADELPHIA EDUCATION FUND                                          1709 BENJAMIN FRANKLIN PKWY STE 700                                                PHILADELPHIA       PA           19103-1208
PHILADELPHIA FIGHT                                                   1233 LOCUST ST FL 3                                                                PHILADELPHIA       PA           19107-5400
PHILADELPHIA FILM SOCIETY                                            1412 CHESTNUT ST                                                                   PHILADELPHIA       PA           19102-2505
PHILADELPHIA FILM SOCIETY                                            1412 CHESTNUT STREET                                                               PHILADELPHIA       PA           19102
PHILADELPHIA FLYERS                                                  3601 S BROAD ST STE 2                                                              PHILADELPHIA       PA           19148-5250
PHILADELPHIA FLYERS ALUMNI ASSOCIATION,
INC.                                                                 3601 S BROAD ST                                                                    PHILADELPHIA       PA           19148
PHILADELPHIA FUND ALLIANCE                                           2005 MARKET STREET                                                                 PHILADELPHIA       PA           19103
PHILADELPHIA GAS WORKS                                               800 W. MONTGOMERY AVE                                                              PHILADELPHIA       PA           19122
PHILADELPHIA GAS WORKS                                               800 W. MONTGOMERY AVE                                                              PHILADELPHIA       PA           19122
PHILADELPHIA GAS WORKS                                               PO BOX 11700                                                                       NEWARK             NJ           07101-4700
PHILADELPHIA INDEMNITY INSURANCE
COMPANY                                                              ONE BALA PLAZA                             STE 100                                 BALA CYNWYD        PA           19004
PHILADELPHIA INDUSTRIAL DEVELOPMENT
CORPORATION                                                          1500 MARKET ST STE 2600 WEST                                                       PHILADELPHIA       PA           19102-2115
PHILADELPHIA INSURANCE COMPANI                                       PO BOX 70251                                                                       PHILADELPHIA       PA           19176-0251
PHILADELPHIA INSURANCE COMPANIES        ATTN: JOHN W. GLOMB JR.      ONE BALA PLAZA                             SUITE 100                               BALA CYNWYD        PA           19004
PHILADELPHIA INSURANCE COMPANIES                                     ONE BALA PLAZA                             STE 100                                 BALA CYNWYD        PA           19004
PHILADELPHIA MORTGAGE ADVISORS                                       600 W GERMANTOWN PIKE STE 270                                                      PLYMOUTH MEETING   PA           19462-2217
PHILADELPHIA MUSEUM OF ART                                           PO BOX 7646                                                                        PHILADELPHIA       PA           19101-7646




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                Creditor Name                          Attention                             Address 1                          Address 2            Address 3            City            State       Zip      Country
PHILADELPHIA MUSEUM OF ART                                                   TEACHER PROGRAM                            PO BOX 7646                              PHILADELPHIA        PA           19101-7646
PHILADELPHIA MUSIC ALLIANCE                                                  1601 MARKET STREET                         STE 2525                                 PHILADELPHIA        PA           19103
PHILADELPHIA MUSIC ALLIANCE                                                  475 N 5TH ST #2A                                                                    PHILADELPHIA        PA           19123
PHILADELPHIA ROCK GYMS                                                       3500 SCOTTS LANE                                                                    PHILADELPHIA        PA           19129
PHILADELPHIA SCENIC WORKS                                                    2855 EMERALD STREET                                                                 PHILADELPHIA        PA           19134
PHILADELPHIA THEATRE CO                                                      480 S BROAD ST                                                                      PHILADELPHIA        PA           19146-1617
PHILADELPHIA TROLLEY WORKS                                                   1350 SCHUYLKILL AVE.                                                                PHILADELPHIA        PA           19146
PHILADELPHIA WATER COLOR SOCIETY                                             1119 SANDRINGHAM RD                                                                 BALA CYNWYD         PA           19004-2022
PHILBERT, BRADLEY                                                            ADDRESS ON FILE
PHILBERT, BRADLEY                                                            ADDRESS ON FILE
PHILIP HINTZE                                                                ADDRESS ON FILE
PHILIP ROSENAU CO., INC                                                      750 JACKSONVILLE RD                                                                 WARMINSTER          PA           18974-4843
PHILIPS-ROBERTS, SOPHIE                                                      ADDRESS ON FILE
PHILLIP JOHNSON CONSTRUCTION                                                 1513 NAUDAIN ST                                                                     PHILADELPHIA        PA           19146-1626
PHILLIPS, EARL C.                                                            ADDRESS ON FILE
PHILLIPS, PATRICK                                                            ADDRESS ON FILE

PHILLY ASIAN FILM FESTIVAL/ARZHANG ZAFAR                                     1229 CHESTNUT ST #142                                                               PHILADELPHIA        PA           19107
PHILLY TRANSPORTATION, LLC                                                   600 BROOKE RD                                                                       GLENSIDE            PA           19038
PHIPPS, LAURA                                                                ADDRESS ON FILE
PHOENIX INSURANCE COMPANY                PHILADELPHIA INSURANCE COMPANIES    ATTN: JOHN W. GLOMB JR.                    ONE BALA PLAZA                           BALA CYNWYD         PA           19004
PHOENIX MECHANICAL, INC                                                      LANSDOWNE INDUSTRIAL CENTER                PO BOX 367                               LANSDOWNE           PA           19050-0367
PHOTOGRAPHY, GARETH SHAW                                                     ADDRESS ON FILE
PHUNG, DINH                                                                  ADDRESS ON FILE
PHUNG, DINH                                                                  ADDRESS ON FILE
PI GAMMA MU INTERNATIONAL/UMGC                                               1001 MILLINGTON ST., SUITE B                                                        WINFIELD            KS           67156
PICCARI PRESS, INC                                                           315 W STREET RD                                                                     WARMINSTER          PA           18974-3208
PIENING, GRETCHEN A.                                                         ADDRESS ON FILE
PIETRUSKO, MICHAEL                                                           ADDRESS ON FILE
PIG IRON THEATRE COMPANY                                                     1417 N 2ND ST                                                                       PHILADELPHIA        PA           19122
PILOBOLUS                                                                    6 KIRBY RD-PARISH HOUSE                                                             WASHINGTON          CT           06793
PIN POINT LIGHTING, LLC                                                      45A MILTON DR                                                                       ASTON               PA           19014
PINCHBECK, JENNA                                                             ADDRESS ON FILE
PINEAL FILMS INC                                                             100 MASPETH AVE                            7G                                       BROOKLYN            NY           11211
PIPERBERG, JASON R.                                                          ADDRESS ON FILE
PIRES, JESSE                                                                 ADDRESS ON FILE
PIRES, JESSE M.                                                              ADDRESS ON FILE
PISASALE, REGINA                                                             ADDRESS ON FILE
PISGAH UNITED METHODIST CHURCH                                               621 N EBENEZER RD                                                                   FLORENCE            SC           29501
PISTILLI, LUCY                                                               ADDRESS ON FILE
PITNEY BOWES INC                         JOSEPH DORAN                        3001 SUMMER ST                                                                      STAMFORD            CT           06905
PIXEL, ALLIED                                                                ADDRESS ON FILE
PJ BRACCO                                                                    ADDRESS ON FILE
PJD, INC                                                                     664 3RD AVE                                                                         CHERRY HILL         NJ           08002-2842
PLANET FITNESS CHESTNUT                                                      3911 HARTZDALE DRIVE                                                                CAMP HILL           PA           17011
PLANSOURCE                                                                   PO BOX 1313                                                                         ORLANDO             FL           32802
PLAY IN BETWEEN                                                              P.O. BOX 15                                5070 PARKSIDE AVENUE                     PHILADELPHIA        PA           19131
PLYMOVENT CORPORATION                                                        5 CORPORATE DRIVE                                                                   CRANBURY            NJ           08512
PMA GROUP                                                                    200 4 FALLS CORPORATE CTR STE 110                                                   WEST CONSHOHOCKEN   PA           19428-2958
PMC PROPERTY GROUP                                                           1608 WALNUT ST STE 1400                                                             PHILADELPHIA        PA           19103-5446
PMEA                                                                         56 S. THIRD STREET                                                                  HAMBURG             PA           19526
                                                                             THE TOWER AT PNC PLAZA 300 FIFTH
PNC BABK                                                                     AVENUE PITTSBURGH,                         300 FIFTH AVENUE                         PITTSBURH           PA           15222
PNC BANK                                                                     1600 MARKET ST FL 9                                                                 PHILADELPHIA        PA           19103-7243
PNC BANK, N.A.                                                               PO BOX 821523                                                                       PHILADELPHIA        PA           19182-1523
                                       TREASURY MANAGEMENT, ATTN: COMMERCIAL
PNC BANK, NATIONAL ASSOCIATION         CARD OPERATIONS                       FIRSTSIDE CENTER                           500 FIRST AVENUE                         PITTSBURGH          PA           15219
PODCHASER INC                                                                2326 SW 122ND STREET                                                                OKLAHOMA CITY       OK           73170
PODGURSKI, NEIL T.                                                           ADDRESS ON FILE
POINT PARK UNIVERSITY                                                        201 WOOD STREET                                                                     PITTSBURGH          PA           15222-1984
POLITE DESIGN                                                                1810 S 16TH ST                                                                      PHILADELPHIA        PA           19145-2203
POLITE, PHILIP                                                               ADDRESS ON FILE
POLLACK, STEVEN D.                                                           ADDRESS ON FILE
POLLARD, NICOLE D.                                                           ADDRESS ON FILE
PONDURANCE, LLC                                                              500 NORTH MERIDAN STREET                   STE. 500                                 INDIANAPOLIS        IN           46204
POOR RICHARDS CHARITABLE TRUST                                               614 S 8TH ST PMB 306                                                                PHILADELPHIA        PA           19147-2002
POOR YORICK ENTERTAINMENT                                                    2540 MASSACHUSETTS AVE.                    NW                     APT 404           WASHINGTON          DC           20008
POP SUNSHINE INC                                                             320 STOKES CREEK DRIVE                                                              SAINT AUGUSTINE     FL           32095




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POPE, ODEAN                                                          ADDRESS ON FILE
POPEBAMA, INC                                                        2138 CRESCENT STREET                     D3                                       ASTORIA            NY           11105
POPS, LIBERTY BELL                                                   ADDRESS ON FILE
PORTER, LEWIS R.                                                     ADDRESS ON FILE
PORTER, TAMIKA                                                       ADDRESS ON FILE
POSTLEWAITE, CHRISTOPHER                                             ADDRESS ON FILE
POTISHA POLITE                                                       ADDRESS ON FILE
POURSHARIATI, MINOU                                                  ADDRESS ON FILE
POWELL, MIRANDA                                                      ADDRESS ON FILE
POWELL, TRACHTMAN, LOGAN, CARRLE,
BOWMAN & LOMBARDO                                                    475 ALLENDALE RD STE 200                                                          KING OF PRUSSIA    PA           19406-1495
POWERS, ELISE                                                        ADDRESS ON FILE
POWERSCHOOL GROUP LLC                                                PO BOX 88408                                                                      LOS ANGELES        CA           90088-8408

POWERSCHOOL GROUP LLC (PEOPLE ADMIN)   ATTN: GENERAL COUNSEL         150 PARKSHORE DRIVE                      150 PARKSHORE DRIVE                      FOLSOM             CA           95630
PPL SERVICES CORPORATION                                             2 N 9TH ST                                                                        ALLENTOWN          PA           18101-1139
PRADER, LAURA                                                        ADDRESS ON FILE
PRANGER, BENJAMIN                                                    ADDRESS ON FILE
PRANGER, BENJAMIN C.                                                 ADDRESS ON FILE
PRATT INSTITUTE / PRATT MUNSON                                       200 WILLOUGHBY AVENUE                                                             BROOKLYN           NY           11205
PRECISION DOOR CO, INC                                               PO BOX 2006                                                                       BRISTOL            PA           19007-2912
PRELUDE SOLUTIONS, LLC                                               101 LINDENWOOD DR.                       #225                                     MALVERN            PA           19355
PRESENTATIONS SOUTH, INC.                                            167 RIVER PARK RD                                                                 MOORESVILLE        NC           28117
PRESIDENT EMERITUS DAVID YAGER                                       ADDRESS ON FILE
PRESS ROBINSON                                                       ADDRESS ON FILE
PRESSER FOUNDATION                                                   PO BOX 9982                                                                       PHILADELPHIA       PA           19118-0982
PRICE, ALAN                                                          ADDRESS ON FILE
PRICE, ALBERT                                                        ADDRESS ON FILE
PRICE, WALTER                                                        ADDRESS ON FILE
PRICEWATERHOUSECOOPERS LLP                                           TWO COMMERCE SQUARE, STE 1700            2001 MARKET STREET                       PHILADELPHIA       PA           19103-7042
PRIEST AND GRACE LLC                                                 45 MAIN ST                               STE. 1040                                BROOKLYN           NY           11201
PRINCE, ALEXANDRA C.                                                 ADDRESS ON FILE

PRINTCRAFTERS, INC                                                   PHILADELPHIA NAVAL BUSINESS CENTER       4901 S 11TH ST BLDG 538                  PHILADELPHIA       PA           19112-1308
PRISCILLA HOPKINS                                                    ADDRESS ON FILE
PRIVATE PHYSICIANS MEDICAL ASSOC                                     7677 CENTER AVE STE 300                                                           HUNTINGTON BEACH   CA           92647-9108
PRIVITERA, KAITLIN                                                   ADDRESS ON FILE
PROCOPIO, SARA                                                       ADDRESS ON FILE
PRODUCTION LAB LLC                                                   8432 PROSPECT AVE                                                                 PHILADELPHIA       PA           19118
PROF. ALLISON GREEN                                                  ADDRESS ON FILE
PROFESSOR ROBERT CROSTON                                             ADDRESS ON FILE
PROFESSOR SUSAN B. GLAZER                                            ADDRESS ON FILE
PROGRESSIVE                            WTW SOUTHEAST INC.            3407 W. DR. MLK JR.                      200                                      TAMPA              FL           33607
PRON, JOHN J.                                                        ADDRESS ON FILE
PROQUEST LLC                                                         6216 PAYSPHERE CIRCLE                                                             CHICAGO            IL           60674
PROUD, BARBARA                                                       ADDRESS ON FILE
PRUDENTIAL MATCHING GIFTS PROGRAM      MATCHING GIFTS PROGRAM        PO BOX 7184                                                                       PRINCETON          NJ           08543-7184
PRY, VALERIE                                                         ADDRESS ON FILE
PRZYBYLOWSKI, MICHELLE                                               ADDRESS ON FILE
PSORAS, VICTOR J.                                                    ADDRESS ON FILE
PSYCHOTHERAPY.NET LLC                                                201 NORTH KING OF PRUSSIA RD.            STE. 370                                 RADNOR             PA           19087
PUMA TELECOMM                          ATTN ACCOUNTING               PO BOX 278408                                                                     MIRAMAR            FL           33027
PUMPMAN PHILLY                                                       PO BOX 411030                                                                     BOSTON             MA           02241-1030
PUNK AVENUE LLC                                                      1168 E PASSYUNK AVE                                                               PHILADELPHIA       PA           19147-5133
PURCHASE POWER                                                       PO BOX 981026                                                                     BOSTON             MA           02298-1026
PURVES-SMITH, PHYLLIS                                                ADDRESS ON FILE
PYLE, SARA                                                           ADDRESS ON FILE
PYLE, SARA M.                                                        ADDRESS ON FILE
PYRAMED HEALTH SYSTEMS                                               850 CASSATT RD                           STE 105                                  BERWYN             PA           19312
QUAKER CHEMICAL CORPORATION                                          1 QUAKER PARK                            901 E HECTOR ST                          CONSHOHOCKEN       PA           19428-2380
QUAKER CITY STRING BAND                                              1943 S 3RD ST                                                                     PHILADELPHIA       PA           19148-2604
QUALISYS NORTH AMERICA, INC                                          1603 BARCLAY BLVD                                                                 BUFFALO GROVE      IL           60089
QUALTRICS, LLC                                                       DEPT #880102                             PO BOX 29650                             PHOENIX            AZ           85038-9650
QUATTLEBAUM, JEREMY                                                  ADDRESS ON FILE
QUESADA, ALBERT                                                      ADDRESS ON FILE
QUINSULON ISRAEL                                                     ADDRESS ON FILE
QURASHI, TANIA                                                       ADDRESS ON FILE
R. JANE SCHWAM INTERIOR DESIGN                                       8116 OLD YORK RD                                                                  ELKINS PARK        PA           19027




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R.L. MIDDLETON CO                                                PO BOX 2409                                                                       JENKINTOWN      PA           19046-8409
RABBAI, GEORGE                                                   ADDRESS ON FILE
RABINOWITZ, SIMON                                                ADDRESS ON FILE
RACHEL CAREY                                                     ADDRESS ON FILE
RACHEL GODDARD                                                   ADDRESS ON FILE
RACHEL RONDINELLI                                                ADDRESS ON FILE
RACHEL SANNEH                                                    ADDRESS ON FILE
RADIGONDA, ELIZABETH                                             ADDRESS ON FILE
RADWAY, ALLEN                                                    ADDRESS ON FILE
RAFTER, THOMAS B.                                                ADDRESS ON FILE
RAGONE, KEITH                                                    ADDRESS ON FILE
RAHA, MARIA                                                      ADDRESS ON FILE
RAIR, INC.                                                       7333 MILNOR ST                                                                    PHILADELPHIA    PA           19136
RAISH, JASON                                                     ADDRESS ON FILE
RAKKULCHON, RAVI                                                 ADDRESS ON FILE
RAKOWICZ, JILL C.                                                ADDRESS ON FILE
RALEY, JOHN                                                      ADDRESS ON FILE
RALPH SCHONER                                                    ADDRESS ON FILE
RAMIREZ, CATHERINE                                               ADDRESS ON FILE
RAMIREZ, FRANK CHRISTOPHER                                       ADDRESS ON FILE
RAMIREZ, JO VITO                                                 ADDRESS ON FILE
RANSIJN, LILLIAN                                                 ADDRESS ON FILE
RANSIJN, LILLIAN M.                                              ADDRESS ON FILE
RAPHAEL, INGRID                                                  ADDRESS ON FILE
RAPHAEL, INGRID                                                  ADDRESS ON FILE
RAPONE, JOSEPH                                                   ADDRESS ON FILE
RASCATI, MARK                                                    ADDRESS ON FILE
RASHEED, KAMEELAH J.                                             ADDRESS ON FILE
RAST, MADISON                                                    ADDRESS ON FILE
RAST, WESLEY                                                     ADDRESS ON FILE
RAUCH, TAJ                                                       ADDRESS ON FILE
RAY SCHNEIDER                                                    ADDRESS ON FILE
RAY, DARYN                                                       ADDRESS ON FILE
RAYMOND GADDIE                                                   ADDRESS ON FILE
REAGAN, GARY                                                     ADDRESS ON FILE
REAGAN, GARY P.                                                  ADDRESS ON FILE
REAMER, KEITH L.                                                 ADDRESS ON FILE
REAVES C. LUKENS CO                                              1626 SPRUCE ST                                                                    PHILADELPHIA    PA           19103-6733
REBECCA HUGHES                                                   ADDRESS ON FILE
                                                                 ATTN: MARC H. EDELSON, SHOSHANA
REBECCA JEAN MURPHY             C/O EDELSON LECHTZIN LLP         MICHELLE SAVETT, ERIC LECHTZIN          411 S. STATE STREET    SUITE N-300        NEWTOWN         PA           18940
                                                                 ATTN: RYAN ALLEN HANCOCK, JORDAN        1845 WALNUT STREET,
REBECCA JEAN MURPHY             C/O WILLIG WILLIAMS & DAVIDSON   KONELL                                  24TH FLOOR                                PHILADELPIA     PA           19103
                                                                 ATTN: RYAN ALLEN HANCOCK, JORDAN        1845 WALNUT STREET,
REBECCA JEAN MURPHY             C/O WILLIG WILLIAMS & DAVIDSON   KONELL, SAMUEL H. DATLOF                24TH FLOOR                                PHILADELPIA     PA           19103
REBEKKAH JACKSON                                                 ADDRESS ON FILE
RED DYNAMO, LLC                                                  1528 W. CULLOM AVENUE                                                             CHICAGO         IL           60613
REDACTED STUDENT 0001                                            ADDRESS ON FILE
REDACTED STUDENT 0002                                            ADDRESS ON FILE
REDACTED STUDENT 0003                                            ADDRESS ON FILE
REDACTED STUDENT 0004                                            ADDRESS ON FILE
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REDACTED STUDENT 0022                    ADDRESS ON FILE
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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 0090                    ADDRESS ON FILE
REDACTED STUDENT 0091                    ADDRESS ON FILE
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REDACTED STUDENT 0159                    ADDRESS ON FILE
REDACTED STUDENT 0160                    ADDRESS ON FILE
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REDACTED STUDENT 0228                    ADDRESS ON FILE
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REDACTED STUDENT 0250                    ADDRESS ON FILE
REDACTED STUDENT 0251                    ADDRESS ON FILE
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REDACTED STUDENT 0255                    ADDRESS ON FILE
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REDACTED STUDENT 0259                    ADDRESS ON FILE
REDACTED STUDENT 0260                    ADDRESS ON FILE
REDACTED STUDENT 0261                    ADDRESS ON FILE
REDACTED STUDENT 0262                    ADDRESS ON FILE
REDACTED STUDENT 0263                    ADDRESS ON FILE
REDACTED STUDENT 0264                    ADDRESS ON FILE
REDACTED STUDENT 0265                    ADDRESS ON FILE
REDACTED STUDENT 0266                    ADDRESS ON FILE
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REDACTED STUDENT 0279                    ADDRESS ON FILE
REDACTED STUDENT 0280                    ADDRESS ON FILE
REDACTED STUDENT 0281                    ADDRESS ON FILE
REDACTED STUDENT 0282                    ADDRESS ON FILE
REDACTED STUDENT 0283                    ADDRESS ON FILE
REDACTED STUDENT 0284                    ADDRESS ON FILE
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REDACTED STUDENT 0290                    ADDRESS ON FILE
REDACTED STUDENT 0291                    ADDRESS ON FILE
REDACTED STUDENT 0292                    ADDRESS ON FILE
REDACTED STUDENT 0293                    ADDRESS ON FILE
REDACTED STUDENT 0294                    ADDRESS ON FILE
REDACTED STUDENT 0295                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 0296                    ADDRESS ON FILE
REDACTED STUDENT 0297                    ADDRESS ON FILE
REDACTED STUDENT 0298                    ADDRESS ON FILE
REDACTED STUDENT 0299                    ADDRESS ON FILE
REDACTED STUDENT 0300                    ADDRESS ON FILE
REDACTED STUDENT 0301                    ADDRESS ON FILE
REDACTED STUDENT 0302                    ADDRESS ON FILE
REDACTED STUDENT 0303                    ADDRESS ON FILE
REDACTED STUDENT 0304                    ADDRESS ON FILE
REDACTED STUDENT 0305                    ADDRESS ON FILE
REDACTED STUDENT 0306                    ADDRESS ON FILE
REDACTED STUDENT 0307                    ADDRESS ON FILE
REDACTED STUDENT 0308                    ADDRESS ON FILE
REDACTED STUDENT 0309                    ADDRESS ON FILE
REDACTED STUDENT 0310                    ADDRESS ON FILE
REDACTED STUDENT 0311                    ADDRESS ON FILE
REDACTED STUDENT 0312                    ADDRESS ON FILE
REDACTED STUDENT 0313                    ADDRESS ON FILE
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REDACTED STUDENT 0315                    ADDRESS ON FILE
REDACTED STUDENT 0316                    ADDRESS ON FILE
REDACTED STUDENT 0317                    ADDRESS ON FILE
REDACTED STUDENT 0318                    ADDRESS ON FILE
REDACTED STUDENT 0319                    ADDRESS ON FILE
REDACTED STUDENT 0320                    ADDRESS ON FILE
REDACTED STUDENT 0321                    ADDRESS ON FILE
REDACTED STUDENT 0322                    ADDRESS ON FILE
REDACTED STUDENT 0323                    ADDRESS ON FILE
REDACTED STUDENT 0324                    ADDRESS ON FILE
REDACTED STUDENT 0325                    ADDRESS ON FILE
REDACTED STUDENT 0326                    ADDRESS ON FILE
REDACTED STUDENT 0327                    ADDRESS ON FILE
REDACTED STUDENT 0328                    ADDRESS ON FILE
REDACTED STUDENT 0329                    ADDRESS ON FILE
REDACTED STUDENT 0330                    ADDRESS ON FILE
REDACTED STUDENT 0331                    ADDRESS ON FILE
REDACTED STUDENT 0332                    ADDRESS ON FILE
REDACTED STUDENT 0333                    ADDRESS ON FILE
REDACTED STUDENT 0334                    ADDRESS ON FILE
REDACTED STUDENT 0335                    ADDRESS ON FILE
REDACTED STUDENT 0336                    ADDRESS ON FILE
REDACTED STUDENT 0337                    ADDRESS ON FILE
REDACTED STUDENT 0338                    ADDRESS ON FILE
REDACTED STUDENT 0339                    ADDRESS ON FILE
REDACTED STUDENT 0340                    ADDRESS ON FILE
REDACTED STUDENT 0341                    ADDRESS ON FILE
REDACTED STUDENT 0342                    ADDRESS ON FILE
REDACTED STUDENT 0343                    ADDRESS ON FILE
REDACTED STUDENT 0344                    ADDRESS ON FILE
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REDACTED STUDENT 0356                    ADDRESS ON FILE
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REDACTED STUDENT 0358                    ADDRESS ON FILE
REDACTED STUDENT 0359                    ADDRESS ON FILE
REDACTED STUDENT 0361                    ADDRESS ON FILE
REDACTED STUDENT 0362                    ADDRESS ON FILE
REDACTED STUDENT 0363                    ADDRESS ON FILE
REDACTED STUDENT 0364                    ADDRESS ON FILE
REDACTED STUDENT 0365                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 0366                    ADDRESS ON FILE
REDACTED STUDENT 0367                    ADDRESS ON FILE
REDACTED STUDENT 0368                    ADDRESS ON FILE
REDACTED STUDENT 0369                    ADDRESS ON FILE
REDACTED STUDENT 0370                    ADDRESS ON FILE
REDACTED STUDENT 0371                    ADDRESS ON FILE
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REDACTED STUDENT 0375                    ADDRESS ON FILE
REDACTED STUDENT 0376                    ADDRESS ON FILE
REDACTED STUDENT 0377                    ADDRESS ON FILE
REDACTED STUDENT 0378                    ADDRESS ON FILE
REDACTED STUDENT 0379                    ADDRESS ON FILE
REDACTED STUDENT 0380                    ADDRESS ON FILE
REDACTED STUDENT 0381                    ADDRESS ON FILE
REDACTED STUDENT 0382                    ADDRESS ON FILE
REDACTED STUDENT 0383                    ADDRESS ON FILE
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REDACTED STUDENT 0394                    ADDRESS ON FILE
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REDACTED STUDENT 0396                    ADDRESS ON FILE
REDACTED STUDENT 0397                    ADDRESS ON FILE
REDACTED STUDENT 0398                    ADDRESS ON FILE
REDACTED STUDENT 0399                    ADDRESS ON FILE
REDACTED STUDENT 0400                    ADDRESS ON FILE
REDACTED STUDENT 0401                    ADDRESS ON FILE
REDACTED STUDENT 0402                    ADDRESS ON FILE
REDACTED STUDENT 0403                    ADDRESS ON FILE
REDACTED STUDENT 0404                    ADDRESS ON FILE
REDACTED STUDENT 0405                    ADDRESS ON FILE
REDACTED STUDENT 0406                    ADDRESS ON FILE
REDACTED STUDENT 0407                    ADDRESS ON FILE
REDACTED STUDENT 0408                    ADDRESS ON FILE
REDACTED STUDENT 0409                    ADDRESS ON FILE
REDACTED STUDENT 0410                    ADDRESS ON FILE
REDACTED STUDENT 0411                    ADDRESS ON FILE
REDACTED STUDENT 0412                    ADDRESS ON FILE
REDACTED STUDENT 0413                    ADDRESS ON FILE
REDACTED STUDENT 0414                    ADDRESS ON FILE
REDACTED STUDENT 0415                    ADDRESS ON FILE
REDACTED STUDENT 0416                    ADDRESS ON FILE
REDACTED STUDENT 0417                    ADDRESS ON FILE
REDACTED STUDENT 0418                    ADDRESS ON FILE
REDACTED STUDENT 0419                    ADDRESS ON FILE
REDACTED STUDENT 0420                    ADDRESS ON FILE
REDACTED STUDENT 0421                    ADDRESS ON FILE
REDACTED STUDENT 0422                    ADDRESS ON FILE
REDACTED STUDENT 0423                    ADDRESS ON FILE
REDACTED STUDENT 0424                    ADDRESS ON FILE
REDACTED STUDENT 0425                    ADDRESS ON FILE
REDACTED STUDENT 0426                    ADDRESS ON FILE
REDACTED STUDENT 0427                    ADDRESS ON FILE
REDACTED STUDENT 0428                    ADDRESS ON FILE
REDACTED STUDENT 0429                    ADDRESS ON FILE
REDACTED STUDENT 0430                    ADDRESS ON FILE
REDACTED STUDENT 0431                    ADDRESS ON FILE
REDACTED STUDENT 0432                    ADDRESS ON FILE
REDACTED STUDENT 0433                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 0434                    ADDRESS ON FILE
REDACTED STUDENT 0435                    ADDRESS ON FILE
REDACTED STUDENT 0436                    ADDRESS ON FILE
REDACTED STUDENT 0437                    ADDRESS ON FILE
REDACTED STUDENT 0438                    ADDRESS ON FILE
REDACTED STUDENT 0439                    ADDRESS ON FILE
REDACTED STUDENT 0440                    ADDRESS ON FILE
REDACTED STUDENT 0441                    ADDRESS ON FILE
REDACTED STUDENT 0442                    ADDRESS ON FILE
REDACTED STUDENT 0443                    ADDRESS ON FILE
REDACTED STUDENT 0444                    ADDRESS ON FILE
REDACTED STUDENT 0445                    ADDRESS ON FILE
REDACTED STUDENT 0446                    ADDRESS ON FILE
REDACTED STUDENT 0447                    ADDRESS ON FILE
REDACTED STUDENT 0448                    ADDRESS ON FILE
REDACTED STUDENT 0449                    ADDRESS ON FILE
REDACTED STUDENT 0450                    ADDRESS ON FILE
REDACTED STUDENT 0451                    ADDRESS ON FILE
REDACTED STUDENT 0452                    ADDRESS ON FILE
REDACTED STUDENT 0453                    ADDRESS ON FILE
REDACTED STUDENT 0454                    ADDRESS ON FILE
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REDACTED STUDENT 0456                    ADDRESS ON FILE
REDACTED STUDENT 0457                    ADDRESS ON FILE
REDACTED STUDENT 0458                    ADDRESS ON FILE
REDACTED STUDENT 0459                    ADDRESS ON FILE
REDACTED STUDENT 0460                    ADDRESS ON FILE
REDACTED STUDENT 0461                    ADDRESS ON FILE
REDACTED STUDENT 0462                    ADDRESS ON FILE
REDACTED STUDENT 0463                    ADDRESS ON FILE
REDACTED STUDENT 0464                    ADDRESS ON FILE
REDACTED STUDENT 0465                    ADDRESS ON FILE
REDACTED STUDENT 0466                    ADDRESS ON FILE
REDACTED STUDENT 0467                    ADDRESS ON FILE
REDACTED STUDENT 0468                    ADDRESS ON FILE
REDACTED STUDENT 0469                    ADDRESS ON FILE
REDACTED STUDENT 0470                    ADDRESS ON FILE
REDACTED STUDENT 0471                    ADDRESS ON FILE
REDACTED STUDENT 0472                    ADDRESS ON FILE
REDACTED STUDENT 0473                    ADDRESS ON FILE
REDACTED STUDENT 0474                    ADDRESS ON FILE
REDACTED STUDENT 0475                    ADDRESS ON FILE
REDACTED STUDENT 0476                    ADDRESS ON FILE
REDACTED STUDENT 0477                    ADDRESS ON FILE
REDACTED STUDENT 0478                    ADDRESS ON FILE
REDACTED STUDENT 0479                    ADDRESS ON FILE
REDACTED STUDENT 0480                    ADDRESS ON FILE
REDACTED STUDENT 0481                    ADDRESS ON FILE
REDACTED STUDENT 0482                    ADDRESS ON FILE
REDACTED STUDENT 0483                    ADDRESS ON FILE
REDACTED STUDENT 0484                    ADDRESS ON FILE
REDACTED STUDENT 0485                    ADDRESS ON FILE
REDACTED STUDENT 0486                    ADDRESS ON FILE
REDACTED STUDENT 0487                    ADDRESS ON FILE
REDACTED STUDENT 0488                    ADDRESS ON FILE
REDACTED STUDENT 0489                    ADDRESS ON FILE
REDACTED STUDENT 0490                    ADDRESS ON FILE
REDACTED STUDENT 0491                    ADDRESS ON FILE
REDACTED STUDENT 0492                    ADDRESS ON FILE
REDACTED STUDENT 0493                    ADDRESS ON FILE
REDACTED STUDENT 0494                    ADDRESS ON FILE
REDACTED STUDENT 0495                    ADDRESS ON FILE
REDACTED STUDENT 0496                    ADDRESS ON FILE
REDACTED STUDENT 0497                    ADDRESS ON FILE
REDACTED STUDENT 0498                    ADDRESS ON FILE
REDACTED STUDENT 0499                    ADDRESS ON FILE
REDACTED STUDENT 0500                    ADDRESS ON FILE
REDACTED STUDENT 0501                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 0502                    ADDRESS ON FILE
REDACTED STUDENT 0503                    ADDRESS ON FILE
REDACTED STUDENT 0504                    ADDRESS ON FILE
REDACTED STUDENT 0505                    ADDRESS ON FILE
REDACTED STUDENT 0506                    ADDRESS ON FILE
REDACTED STUDENT 0507                    ADDRESS ON FILE
REDACTED STUDENT 0508                    ADDRESS ON FILE
REDACTED STUDENT 0509                    ADDRESS ON FILE
REDACTED STUDENT 0510                    ADDRESS ON FILE
REDACTED STUDENT 0511                    ADDRESS ON FILE
REDACTED STUDENT 0512                    ADDRESS ON FILE
REDACTED STUDENT 0513                    ADDRESS ON FILE
REDACTED STUDENT 0514                    ADDRESS ON FILE
REDACTED STUDENT 0515                    ADDRESS ON FILE
REDACTED STUDENT 0516                    ADDRESS ON FILE
REDACTED STUDENT 0517                    ADDRESS ON FILE
REDACTED STUDENT 0518                    ADDRESS ON FILE
REDACTED STUDENT 0519                    ADDRESS ON FILE
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REDACTED STUDENT 0521                    ADDRESS ON FILE
REDACTED STUDENT 0522                    ADDRESS ON FILE
REDACTED STUDENT 0523                    ADDRESS ON FILE
REDACTED STUDENT 0524                    ADDRESS ON FILE
REDACTED STUDENT 0525                    ADDRESS ON FILE
REDACTED STUDENT 0526                    ADDRESS ON FILE
REDACTED STUDENT 0527                    ADDRESS ON FILE
REDACTED STUDENT 0528                    ADDRESS ON FILE
REDACTED STUDENT 0529                    ADDRESS ON FILE
REDACTED STUDENT 0530                    ADDRESS ON FILE
REDACTED STUDENT 0531                    ADDRESS ON FILE
REDACTED STUDENT 0532                    ADDRESS ON FILE
REDACTED STUDENT 0533                    ADDRESS ON FILE
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REDACTED STUDENT 0535                    ADDRESS ON FILE
REDACTED STUDENT 0536                    ADDRESS ON FILE
REDACTED STUDENT 0537                    ADDRESS ON FILE
REDACTED STUDENT 0538                    ADDRESS ON FILE
REDACTED STUDENT 0539                    ADDRESS ON FILE
REDACTED STUDENT 0540                    ADDRESS ON FILE
REDACTED STUDENT 0541                    ADDRESS ON FILE
REDACTED STUDENT 0542                    ADDRESS ON FILE
REDACTED STUDENT 0543                    ADDRESS ON FILE
REDACTED STUDENT 0544                    ADDRESS ON FILE
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REDACTED STUDENT 0546                    ADDRESS ON FILE
REDACTED STUDENT 0547                    ADDRESS ON FILE
REDACTED STUDENT 0548                    ADDRESS ON FILE
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REDACTED STUDENT 0550                    ADDRESS ON FILE
REDACTED STUDENT 0551                    ADDRESS ON FILE
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REDACTED STUDENT 0553                    ADDRESS ON FILE
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REDACTED STUDENT 0555                    ADDRESS ON FILE
REDACTED STUDENT 0556                    ADDRESS ON FILE
REDACTED STUDENT 0557                    ADDRESS ON FILE
REDACTED STUDENT 0558                    ADDRESS ON FILE
REDACTED STUDENT 0559                    ADDRESS ON FILE
REDACTED STUDENT 0560                    ADDRESS ON FILE
REDACTED STUDENT 0561                    ADDRESS ON FILE
REDACTED STUDENT 0562                    ADDRESS ON FILE
REDACTED STUDENT 0563                    ADDRESS ON FILE
REDACTED STUDENT 0564                    ADDRESS ON FILE
REDACTED STUDENT 0565                    ADDRESS ON FILE
REDACTED STUDENT 0566                    ADDRESS ON FILE
REDACTED STUDENT 0567                    ADDRESS ON FILE
REDACTED STUDENT 0568                    ADDRESS ON FILE
REDACTED STUDENT 0569                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 0570                    ADDRESS ON FILE
REDACTED STUDENT 0571                    ADDRESS ON FILE
REDACTED STUDENT 0572                    ADDRESS ON FILE
REDACTED STUDENT 0573                    ADDRESS ON FILE
REDACTED STUDENT 0574                    ADDRESS ON FILE
REDACTED STUDENT 0575                    ADDRESS ON FILE
REDACTED STUDENT 0576                    ADDRESS ON FILE
REDACTED STUDENT 0577                    ADDRESS ON FILE
REDACTED STUDENT 0578                    ADDRESS ON FILE
REDACTED STUDENT 0579                    ADDRESS ON FILE
REDACTED STUDENT 0580                    ADDRESS ON FILE
REDACTED STUDENT 0581                    ADDRESS ON FILE
REDACTED STUDENT 0582                    ADDRESS ON FILE
REDACTED STUDENT 0583                    ADDRESS ON FILE
REDACTED STUDENT 0584                    ADDRESS ON FILE
REDACTED STUDENT 0585                    ADDRESS ON FILE
REDACTED STUDENT 0586                    ADDRESS ON FILE
REDACTED STUDENT 0587                    ADDRESS ON FILE
REDACTED STUDENT 0588                    ADDRESS ON FILE
REDACTED STUDENT 0589                    ADDRESS ON FILE
REDACTED STUDENT 0590                    ADDRESS ON FILE
REDACTED STUDENT 0591                    ADDRESS ON FILE
REDACTED STUDENT 0592                    ADDRESS ON FILE
REDACTED STUDENT 0593                    ADDRESS ON FILE
REDACTED STUDENT 0594                    ADDRESS ON FILE
REDACTED STUDENT 0595                    ADDRESS ON FILE
REDACTED STUDENT 0596                    ADDRESS ON FILE
REDACTED STUDENT 0597                    ADDRESS ON FILE
REDACTED STUDENT 0598                    ADDRESS ON FILE
REDACTED STUDENT 0599                    ADDRESS ON FILE
REDACTED STUDENT 0600                    ADDRESS ON FILE
REDACTED STUDENT 0601                    ADDRESS ON FILE
REDACTED STUDENT 0602                    ADDRESS ON FILE
REDACTED STUDENT 0603                    ADDRESS ON FILE
REDACTED STUDENT 0604                    ADDRESS ON FILE
REDACTED STUDENT 0605                    ADDRESS ON FILE
REDACTED STUDENT 0606                    ADDRESS ON FILE
REDACTED STUDENT 0607                    ADDRESS ON FILE
REDACTED STUDENT 0608                    ADDRESS ON FILE
REDACTED STUDENT 0609                    ADDRESS ON FILE
REDACTED STUDENT 0610                    ADDRESS ON FILE
REDACTED STUDENT 0611                    ADDRESS ON FILE
REDACTED STUDENT 0612                    ADDRESS ON FILE
REDACTED STUDENT 0613                    ADDRESS ON FILE
REDACTED STUDENT 0614                    ADDRESS ON FILE
REDACTED STUDENT 0615                    ADDRESS ON FILE
REDACTED STUDENT 0616                    ADDRESS ON FILE
REDACTED STUDENT 0617                    ADDRESS ON FILE
REDACTED STUDENT 0618                    ADDRESS ON FILE
REDACTED STUDENT 0619                    ADDRESS ON FILE
REDACTED STUDENT 0620                    ADDRESS ON FILE
REDACTED STUDENT 0621                    ADDRESS ON FILE
REDACTED STUDENT 0622                    ADDRESS ON FILE
REDACTED STUDENT 0623                    ADDRESS ON FILE
REDACTED STUDENT 0625                    ADDRESS ON FILE
REDACTED STUDENT 0626                    ADDRESS ON FILE
REDACTED STUDENT 0627                    ADDRESS ON FILE
REDACTED STUDENT 0628                    ADDRESS ON FILE
REDACTED STUDENT 0629                    ADDRESS ON FILE
REDACTED STUDENT 0630                    ADDRESS ON FILE
REDACTED STUDENT 0631                    ADDRESS ON FILE
REDACTED STUDENT 0632                    ADDRESS ON FILE
REDACTED STUDENT 0633                    ADDRESS ON FILE
REDACTED STUDENT 0634                    ADDRESS ON FILE
REDACTED STUDENT 0635                    ADDRESS ON FILE
REDACTED STUDENT 0636                    ADDRESS ON FILE
REDACTED STUDENT 0637                    ADDRESS ON FILE
REDACTED STUDENT 0638                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 0639                    ADDRESS ON FILE
REDACTED STUDENT 0640                    ADDRESS ON FILE
REDACTED STUDENT 0641                    ADDRESS ON FILE
REDACTED STUDENT 0642                    ADDRESS ON FILE
REDACTED STUDENT 0643                    ADDRESS ON FILE
REDACTED STUDENT 0644                    ADDRESS ON FILE
REDACTED STUDENT 0645                    ADDRESS ON FILE
REDACTED STUDENT 0646                    ADDRESS ON FILE
REDACTED STUDENT 0647                    ADDRESS ON FILE
REDACTED STUDENT 0648                    ADDRESS ON FILE
REDACTED STUDENT 0649                    ADDRESS ON FILE
REDACTED STUDENT 0650                    ADDRESS ON FILE
REDACTED STUDENT 0651                    ADDRESS ON FILE
REDACTED STUDENT 0652                    ADDRESS ON FILE
REDACTED STUDENT 0653                    ADDRESS ON FILE
REDACTED STUDENT 0654                    ADDRESS ON FILE
REDACTED STUDENT 0655                    ADDRESS ON FILE
REDACTED STUDENT 0656                    ADDRESS ON FILE
REDACTED STUDENT 0657                    ADDRESS ON FILE
REDACTED STUDENT 0658                    ADDRESS ON FILE
REDACTED STUDENT 0659                    ADDRESS ON FILE
REDACTED STUDENT 0660                    ADDRESS ON FILE
REDACTED STUDENT 0661                    ADDRESS ON FILE
REDACTED STUDENT 0662                    ADDRESS ON FILE
REDACTED STUDENT 0663                    ADDRESS ON FILE
REDACTED STUDENT 0664                    ADDRESS ON FILE
REDACTED STUDENT 0665                    ADDRESS ON FILE
REDACTED STUDENT 0666                    ADDRESS ON FILE
REDACTED STUDENT 0667                    ADDRESS ON FILE
REDACTED STUDENT 0668                    ADDRESS ON FILE
REDACTED STUDENT 0669                    ADDRESS ON FILE
REDACTED STUDENT 0670                    ADDRESS ON FILE
REDACTED STUDENT 0671                    ADDRESS ON FILE
REDACTED STUDENT 0672                    ADDRESS ON FILE
REDACTED STUDENT 0674                    ADDRESS ON FILE
REDACTED STUDENT 0675                    ADDRESS ON FILE
REDACTED STUDENT 0676                    ADDRESS ON FILE
REDACTED STUDENT 0677                    ADDRESS ON FILE
REDACTED STUDENT 0678                    ADDRESS ON FILE
REDACTED STUDENT 0679                    ADDRESS ON FILE
REDACTED STUDENT 0680                    ADDRESS ON FILE
REDACTED STUDENT 0681                    ADDRESS ON FILE
REDACTED STUDENT 0682                    ADDRESS ON FILE
REDACTED STUDENT 0683                    ADDRESS ON FILE
REDACTED STUDENT 0684                    ADDRESS ON FILE
REDACTED STUDENT 0685                    ADDRESS ON FILE
REDACTED STUDENT 0686                    ADDRESS ON FILE
REDACTED STUDENT 0687                    ADDRESS ON FILE
REDACTED STUDENT 0688                    ADDRESS ON FILE
REDACTED STUDENT 0689                    ADDRESS ON FILE
REDACTED STUDENT 0690                    ADDRESS ON FILE
REDACTED STUDENT 0691                    ADDRESS ON FILE
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REDACTED STUDENT 0693                    ADDRESS ON FILE
REDACTED STUDENT 0694                    ADDRESS ON FILE
REDACTED STUDENT 0695                    ADDRESS ON FILE
REDACTED STUDENT 0696                    ADDRESS ON FILE
REDACTED STUDENT 0697                    ADDRESS ON FILE
REDACTED STUDENT 0698                    ADDRESS ON FILE
REDACTED STUDENT 0699                    ADDRESS ON FILE
REDACTED STUDENT 0700                    ADDRESS ON FILE
REDACTED STUDENT 0701                    ADDRESS ON FILE
REDACTED STUDENT 0702                    ADDRESS ON FILE
REDACTED STUDENT 0703                    ADDRESS ON FILE
REDACTED STUDENT 0704                    ADDRESS ON FILE
REDACTED STUDENT 0705                    ADDRESS ON FILE
REDACTED STUDENT 0706                    ADDRESS ON FILE
REDACTED STUDENT 0707                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 0708                    ADDRESS ON FILE
REDACTED STUDENT 0709                    ADDRESS ON FILE
REDACTED STUDENT 0710                    ADDRESS ON FILE
REDACTED STUDENT 0711                    ADDRESS ON FILE
REDACTED STUDENT 0712                    ADDRESS ON FILE
REDACTED STUDENT 0713                    ADDRESS ON FILE
REDACTED STUDENT 0714                    ADDRESS ON FILE
REDACTED STUDENT 0715                    ADDRESS ON FILE
REDACTED STUDENT 0716                    ADDRESS ON FILE
REDACTED STUDENT 0717                    ADDRESS ON FILE
REDACTED STUDENT 0718                    ADDRESS ON FILE
REDACTED STUDENT 0719                    ADDRESS ON FILE
REDACTED STUDENT 0720                    ADDRESS ON FILE
REDACTED STUDENT 0721                    ADDRESS ON FILE
REDACTED STUDENT 0722                    ADDRESS ON FILE
REDACTED STUDENT 0723                    ADDRESS ON FILE
REDACTED STUDENT 0724                    ADDRESS ON FILE
REDACTED STUDENT 0725                    ADDRESS ON FILE
REDACTED STUDENT 0726                    ADDRESS ON FILE
REDACTED STUDENT 0727                    ADDRESS ON FILE
REDACTED STUDENT 0728                    ADDRESS ON FILE
REDACTED STUDENT 0729                    ADDRESS ON FILE
REDACTED STUDENT 0730                    ADDRESS ON FILE
REDACTED STUDENT 0731                    ADDRESS ON FILE
REDACTED STUDENT 0732                    ADDRESS ON FILE
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REDACTED STUDENT 0734                    ADDRESS ON FILE
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REDACTED STUDENT 0736                    ADDRESS ON FILE
REDACTED STUDENT 0737                    ADDRESS ON FILE
REDACTED STUDENT 0738                    ADDRESS ON FILE
REDACTED STUDENT 0739                    ADDRESS ON FILE
REDACTED STUDENT 0740                    ADDRESS ON FILE
REDACTED STUDENT 0741                    ADDRESS ON FILE
REDACTED STUDENT 0742                    ADDRESS ON FILE
REDACTED STUDENT 0743                    ADDRESS ON FILE
REDACTED STUDENT 0744                    ADDRESS ON FILE
REDACTED STUDENT 0745                    ADDRESS ON FILE
REDACTED STUDENT 0746                    ADDRESS ON FILE
REDACTED STUDENT 0747                    ADDRESS ON FILE
REDACTED STUDENT 0748                    ADDRESS ON FILE
REDACTED STUDENT 0749                    ADDRESS ON FILE
REDACTED STUDENT 0750                    ADDRESS ON FILE
REDACTED STUDENT 0751                    ADDRESS ON FILE
REDACTED STUDENT 0752                    ADDRESS ON FILE
REDACTED STUDENT 0753                    ADDRESS ON FILE
REDACTED STUDENT 0754                    ADDRESS ON FILE
REDACTED STUDENT 0755                    ADDRESS ON FILE
REDACTED STUDENT 0756                    ADDRESS ON FILE
REDACTED STUDENT 0757                    ADDRESS ON FILE
REDACTED STUDENT 0758                    ADDRESS ON FILE
REDACTED STUDENT 0759                    ADDRESS ON FILE
REDACTED STUDENT 0760                    ADDRESS ON FILE
REDACTED STUDENT 0761                    ADDRESS ON FILE
REDACTED STUDENT 0762                    ADDRESS ON FILE
REDACTED STUDENT 0763                    ADDRESS ON FILE
REDACTED STUDENT 0764                    ADDRESS ON FILE
REDACTED STUDENT 0765                    ADDRESS ON FILE
REDACTED STUDENT 0766                    ADDRESS ON FILE
REDACTED STUDENT 0767                    ADDRESS ON FILE
REDACTED STUDENT 0768                    ADDRESS ON FILE
REDACTED STUDENT 0769                    ADDRESS ON FILE
REDACTED STUDENT 0770                    ADDRESS ON FILE
REDACTED STUDENT 0771                    ADDRESS ON FILE
REDACTED STUDENT 0772                    ADDRESS ON FILE
REDACTED STUDENT 0773                    ADDRESS ON FILE
REDACTED STUDENT 0774                    ADDRESS ON FILE
REDACTED STUDENT 0775                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 0776                    ADDRESS ON FILE
REDACTED STUDENT 0777                    ADDRESS ON FILE
REDACTED STUDENT 0778                    ADDRESS ON FILE
REDACTED STUDENT 0779                    ADDRESS ON FILE
REDACTED STUDENT 0780                    ADDRESS ON FILE
REDACTED STUDENT 0781                    ADDRESS ON FILE
REDACTED STUDENT 0782                    ADDRESS ON FILE
REDACTED STUDENT 0783                    ADDRESS ON FILE
REDACTED STUDENT 0784                    ADDRESS ON FILE
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REDACTED STUDENT 0791                    ADDRESS ON FILE
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REDACTED STUDENT 0800                    ADDRESS ON FILE
REDACTED STUDENT 0801                    ADDRESS ON FILE
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REDACTED STUDENT 0809                    ADDRESS ON FILE
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REDACTED STUDENT 0838                    ADDRESS ON FILE
REDACTED STUDENT 0839                    ADDRESS ON FILE
REDACTED STUDENT 0840                    ADDRESS ON FILE
REDACTED STUDENT 0841                    ADDRESS ON FILE
REDACTED STUDENT 0842                    ADDRESS ON FILE
REDACTED STUDENT 0843                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 0844                    ADDRESS ON FILE
REDACTED STUDENT 0845                    ADDRESS ON FILE
REDACTED STUDENT 0846                    ADDRESS ON FILE
REDACTED STUDENT 0847                    ADDRESS ON FILE
REDACTED STUDENT 0848                    ADDRESS ON FILE
REDACTED STUDENT 0849                    ADDRESS ON FILE
REDACTED STUDENT 0850                    ADDRESS ON FILE
REDACTED STUDENT 0851                    ADDRESS ON FILE
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REDACTED STUDENT 0855                    ADDRESS ON FILE
REDACTED STUDENT 0856                    ADDRESS ON FILE
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REDACTED STUDENT 0860                    ADDRESS ON FILE
REDACTED STUDENT 0861                    ADDRESS ON FILE
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REDACTED STUDENT 0863                    ADDRESS ON FILE
REDACTED STUDENT 0864                    ADDRESS ON FILE
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REDACTED STUDENT 0867                    ADDRESS ON FILE
REDACTED STUDENT 0868                    ADDRESS ON FILE
REDACTED STUDENT 0869                    ADDRESS ON FILE
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REDACTED STUDENT 0871                    ADDRESS ON FILE
REDACTED STUDENT 0872                    ADDRESS ON FILE
REDACTED STUDENT 0873                    ADDRESS ON FILE
REDACTED STUDENT 0874                    ADDRESS ON FILE
REDACTED STUDENT 0875                    ADDRESS ON FILE
REDACTED STUDENT 0876                    ADDRESS ON FILE
REDACTED STUDENT 0877                    ADDRESS ON FILE
REDACTED STUDENT 0878                    ADDRESS ON FILE
REDACTED STUDENT 0879                    ADDRESS ON FILE
REDACTED STUDENT 0880                    ADDRESS ON FILE
REDACTED STUDENT 0881                    ADDRESS ON FILE
REDACTED STUDENT 0882                    ADDRESS ON FILE
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REDACTED STUDENT 0897                    ADDRESS ON FILE
REDACTED STUDENT 0898                    ADDRESS ON FILE
REDACTED STUDENT 0899                    ADDRESS ON FILE
REDACTED STUDENT 0900                    ADDRESS ON FILE
REDACTED STUDENT 0901                    ADDRESS ON FILE
REDACTED STUDENT 0902                    ADDRESS ON FILE
REDACTED STUDENT 0903                    ADDRESS ON FILE
REDACTED STUDENT 0904                    ADDRESS ON FILE
REDACTED STUDENT 0905                    ADDRESS ON FILE
REDACTED STUDENT 0906                    ADDRESS ON FILE
REDACTED STUDENT 0907                    ADDRESS ON FILE
REDACTED STUDENT 0908                    ADDRESS ON FILE
REDACTED STUDENT 0909                    ADDRESS ON FILE
REDACTED STUDENT 0910                    ADDRESS ON FILE
REDACTED STUDENT 0911                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 0912                    ADDRESS ON FILE
REDACTED STUDENT 0913                    ADDRESS ON FILE
REDACTED STUDENT 0914                    ADDRESS ON FILE
REDACTED STUDENT 0915                    ADDRESS ON FILE
REDACTED STUDENT 0916                    ADDRESS ON FILE
REDACTED STUDENT 0917                    ADDRESS ON FILE
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REDACTED STUDENT 0922                    ADDRESS ON FILE
REDACTED STUDENT 0923                    ADDRESS ON FILE
REDACTED STUDENT 0924                    ADDRESS ON FILE
REDACTED STUDENT 0925                    ADDRESS ON FILE
REDACTED STUDENT 0926                    ADDRESS ON FILE
REDACTED STUDENT 0927                    ADDRESS ON FILE
REDACTED STUDENT 0928                    ADDRESS ON FILE
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REDACTED STUDENT 0965                    ADDRESS ON FILE
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REDACTED STUDENT 0968                    ADDRESS ON FILE
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REDACTED STUDENT 0978                    ADDRESS ON FILE
REDACTED STUDENT 0979                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 0980                    ADDRESS ON FILE
REDACTED STUDENT 0981                    ADDRESS ON FILE
REDACTED STUDENT 0982                    ADDRESS ON FILE
REDACTED STUDENT 0983                    ADDRESS ON FILE
REDACTED STUDENT 0984                    ADDRESS ON FILE
REDACTED STUDENT 0985                    ADDRESS ON FILE
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REDACTED STUDENT 0988                    ADDRESS ON FILE
REDACTED STUDENT 0989                    ADDRESS ON FILE
REDACTED STUDENT 0990                    ADDRESS ON FILE
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REDACTED STUDENT 0994                    ADDRESS ON FILE
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REDACTED STUDENT 0999                    ADDRESS ON FILE
REDACTED STUDENT 1000                    ADDRESS ON FILE
REDACTED STUDENT 10000                   ADDRESS ON FILE
REDACTED STUDENT 10001                   ADDRESS ON FILE
REDACTED STUDENT 10002                   ADDRESS ON FILE
REDACTED STUDENT 1001                    ADDRESS ON FILE
REDACTED STUDENT 1002                    ADDRESS ON FILE
REDACTED STUDENT 1003                    ADDRESS ON FILE
REDACTED STUDENT 1004                    ADDRESS ON FILE
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REDACTED STUDENT 1007                    ADDRESS ON FILE
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REDACTED STUDENT 1009                    ADDRESS ON FILE
REDACTED STUDENT 1010                    ADDRESS ON FILE
REDACTED STUDENT 1011                    ADDRESS ON FILE
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REDACTED STUDENT 1013                    ADDRESS ON FILE
REDACTED STUDENT 1014                    ADDRESS ON FILE
REDACTED STUDENT 1015                    ADDRESS ON FILE
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REDACTED STUDENT 1019                    ADDRESS ON FILE
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REDACTED STUDENT 1041                    ADDRESS ON FILE
REDACTED STUDENT 1042                    ADDRESS ON FILE
REDACTED STUDENT 1043                    ADDRESS ON FILE
REDACTED STUDENT 1044                    ADDRESS ON FILE
REDACTED STUDENT 1045                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 1046                    ADDRESS ON FILE
REDACTED STUDENT 1047                    ADDRESS ON FILE
REDACTED STUDENT 1048                    ADDRESS ON FILE
REDACTED STUDENT 1049                    ADDRESS ON FILE
REDACTED STUDENT 1050                    ADDRESS ON FILE
REDACTED STUDENT 1051                    ADDRESS ON FILE
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REDACTED STUDENT 1055                    ADDRESS ON FILE
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REDACTED STUDENT 1062                    ADDRESS ON FILE
REDACTED STUDENT 1063                    ADDRESS ON FILE
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REDACTED STUDENT 1066                    ADDRESS ON FILE
REDACTED STUDENT 1067                    ADDRESS ON FILE
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REDACTED STUDENT 1069                    ADDRESS ON FILE
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REDACTED STUDENT 1073                    ADDRESS ON FILE
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REDACTED STUDENT 1075                    ADDRESS ON FILE
REDACTED STUDENT 1076                    ADDRESS ON FILE
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REDACTED STUDENT 1078                    ADDRESS ON FILE
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REDACTED STUDENT 1080                    ADDRESS ON FILE
REDACTED STUDENT 1081                    ADDRESS ON FILE
REDACTED STUDENT 1082                    ADDRESS ON FILE
REDACTED STUDENT 1083                    ADDRESS ON FILE
REDACTED STUDENT 1084                    ADDRESS ON FILE
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REDACTED STUDENT 1088                    ADDRESS ON FILE
REDACTED STUDENT 1089                    ADDRESS ON FILE
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REDACTED STUDENT 1091                    ADDRESS ON FILE
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REDACTED STUDENT 1093                    ADDRESS ON FILE
REDACTED STUDENT 1094                    ADDRESS ON FILE
REDACTED STUDENT 1095                    ADDRESS ON FILE
REDACTED STUDENT 1096                    ADDRESS ON FILE
REDACTED STUDENT 1097                    ADDRESS ON FILE
REDACTED STUDENT 1098                    ADDRESS ON FILE
REDACTED STUDENT 1099                    ADDRESS ON FILE
REDACTED STUDENT 1100                    ADDRESS ON FILE
REDACTED STUDENT 1101                    ADDRESS ON FILE
REDACTED STUDENT 1102                    ADDRESS ON FILE
REDACTED STUDENT 1103                    ADDRESS ON FILE
REDACTED STUDENT 1104                    ADDRESS ON FILE
REDACTED STUDENT 1105                    ADDRESS ON FILE
REDACTED STUDENT 1106                    ADDRESS ON FILE
REDACTED STUDENT 1107                    ADDRESS ON FILE
REDACTED STUDENT 1108                    ADDRESS ON FILE
REDACTED STUDENT 1109                    ADDRESS ON FILE
REDACTED STUDENT 1110                    ADDRESS ON FILE
REDACTED STUDENT 1111                    ADDRESS ON FILE
REDACTED STUDENT 1112                    ADDRESS ON FILE
REDACTED STUDENT 1113                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 1114                    ADDRESS ON FILE
REDACTED STUDENT 1115                    ADDRESS ON FILE
REDACTED STUDENT 1116                    ADDRESS ON FILE
REDACTED STUDENT 1117                    ADDRESS ON FILE
REDACTED STUDENT 1118                    ADDRESS ON FILE
REDACTED STUDENT 1119                    ADDRESS ON FILE
REDACTED STUDENT 1120                    ADDRESS ON FILE
REDACTED STUDENT 1121                    ADDRESS ON FILE
REDACTED STUDENT 1122                    ADDRESS ON FILE
REDACTED STUDENT 1123                    ADDRESS ON FILE
REDACTED STUDENT 1124                    ADDRESS ON FILE
REDACTED STUDENT 1125                    ADDRESS ON FILE
REDACTED STUDENT 1126                    ADDRESS ON FILE
REDACTED STUDENT 1127                    ADDRESS ON FILE
REDACTED STUDENT 1128                    ADDRESS ON FILE
REDACTED STUDENT 1129                    ADDRESS ON FILE
REDACTED STUDENT 1130                    ADDRESS ON FILE
REDACTED STUDENT 1131                    ADDRESS ON FILE
REDACTED STUDENT 1132                    ADDRESS ON FILE
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REDACTED STUDENT 1134                    ADDRESS ON FILE
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REDACTED STUDENT 1137                    ADDRESS ON FILE
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REDACTED STUDENT 1147                    ADDRESS ON FILE
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REDACTED STUDENT 1149                    ADDRESS ON FILE
REDACTED STUDENT 1150                    ADDRESS ON FILE
REDACTED STUDENT 1151                    ADDRESS ON FILE
REDACTED STUDENT 1152                    ADDRESS ON FILE
REDACTED STUDENT 1153                    ADDRESS ON FILE
REDACTED STUDENT 1154                    ADDRESS ON FILE
REDACTED STUDENT 1155                    ADDRESS ON FILE
REDACTED STUDENT 1156                    ADDRESS ON FILE
REDACTED STUDENT 1157                    ADDRESS ON FILE
REDACTED STUDENT 1158                    ADDRESS ON FILE
REDACTED STUDENT 1159                    ADDRESS ON FILE
REDACTED STUDENT 1160                    ADDRESS ON FILE
REDACTED STUDENT 1161                    ADDRESS ON FILE
REDACTED STUDENT 1162                    ADDRESS ON FILE
REDACTED STUDENT 1163                    ADDRESS ON FILE
REDACTED STUDENT 1164                    ADDRESS ON FILE
REDACTED STUDENT 1165                    ADDRESS ON FILE
REDACTED STUDENT 1166                    ADDRESS ON FILE
REDACTED STUDENT 1167                    ADDRESS ON FILE
REDACTED STUDENT 1168                    ADDRESS ON FILE
REDACTED STUDENT 1169                    ADDRESS ON FILE
REDACTED STUDENT 1170                    ADDRESS ON FILE
REDACTED STUDENT 1171                    ADDRESS ON FILE
REDACTED STUDENT 1172                    ADDRESS ON FILE
REDACTED STUDENT 1173                    ADDRESS ON FILE
REDACTED STUDENT 1174                    ADDRESS ON FILE
REDACTED STUDENT 1175                    ADDRESS ON FILE
REDACTED STUDENT 1176                    ADDRESS ON FILE
REDACTED STUDENT 1177                    ADDRESS ON FILE
REDACTED STUDENT 1178                    ADDRESS ON FILE
REDACTED STUDENT 1179                    ADDRESS ON FILE
REDACTED STUDENT 1180                    ADDRESS ON FILE
REDACTED STUDENT 1181                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 1182                    ADDRESS ON FILE
REDACTED STUDENT 1183                    ADDRESS ON FILE
REDACTED STUDENT 1184                    ADDRESS ON FILE
REDACTED STUDENT 1185                    ADDRESS ON FILE
REDACTED STUDENT 1186                    ADDRESS ON FILE
REDACTED STUDENT 1187                    ADDRESS ON FILE
REDACTED STUDENT 1188                    ADDRESS ON FILE
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REDACTED STUDENT 1191                    ADDRESS ON FILE
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REDACTED STUDENT 1199                    ADDRESS ON FILE
REDACTED STUDENT 1200                    ADDRESS ON FILE
REDACTED STUDENT 1201                    ADDRESS ON FILE
REDACTED STUDENT 1202                    ADDRESS ON FILE
REDACTED STUDENT 1203                    ADDRESS ON FILE
REDACTED STUDENT 1204                    ADDRESS ON FILE
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REDACTED STUDENT 1243                    ADDRESS ON FILE
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REDACTED STUDENT 1246                    ADDRESS ON FILE
REDACTED STUDENT 1247                    ADDRESS ON FILE
REDACTED STUDENT 1248                    ADDRESS ON FILE
REDACTED STUDENT 1249                    ADDRESS ON FILE
REDACTED STUDENT 1250                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 1251                    ADDRESS ON FILE
REDACTED STUDENT 1252                    ADDRESS ON FILE
REDACTED STUDENT 1253                    ADDRESS ON FILE
REDACTED STUDENT 1254                    ADDRESS ON FILE
REDACTED STUDENT 1255                    ADDRESS ON FILE
REDACTED STUDENT 1256                    ADDRESS ON FILE
REDACTED STUDENT 1257                    ADDRESS ON FILE
REDACTED STUDENT 1258                    ADDRESS ON FILE
REDACTED STUDENT 1259                    ADDRESS ON FILE
REDACTED STUDENT 1260                    ADDRESS ON FILE
REDACTED STUDENT 1261                    ADDRESS ON FILE
REDACTED STUDENT 1262                    ADDRESS ON FILE
REDACTED STUDENT 1263                    ADDRESS ON FILE
REDACTED STUDENT 1264                    ADDRESS ON FILE
REDACTED STUDENT 1265                    ADDRESS ON FILE
REDACTED STUDENT 1266                    ADDRESS ON FILE
REDACTED STUDENT 1267                    ADDRESS ON FILE
REDACTED STUDENT 1268                    ADDRESS ON FILE
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REDACTED STUDENT 1270                    ADDRESS ON FILE
REDACTED STUDENT 1271                    ADDRESS ON FILE
REDACTED STUDENT 1272                    ADDRESS ON FILE
REDACTED STUDENT 1273                    ADDRESS ON FILE
REDACTED STUDENT 1274                    ADDRESS ON FILE
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REDACTED STUDENT 1293                    ADDRESS ON FILE
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REDACTED STUDENT 1296                    ADDRESS ON FILE
REDACTED STUDENT 1297                    ADDRESS ON FILE
REDACTED STUDENT 1298                    ADDRESS ON FILE
REDACTED STUDENT 1299                    ADDRESS ON FILE
REDACTED STUDENT 1300                    ADDRESS ON FILE
REDACTED STUDENT 1301                    ADDRESS ON FILE
REDACTED STUDENT 1302                    ADDRESS ON FILE
REDACTED STUDENT 1303                    ADDRESS ON FILE
REDACTED STUDENT 1304                    ADDRESS ON FILE
REDACTED STUDENT 1305                    ADDRESS ON FILE
REDACTED STUDENT 1306                    ADDRESS ON FILE
REDACTED STUDENT 1307                    ADDRESS ON FILE
REDACTED STUDENT 1308                    ADDRESS ON FILE
REDACTED STUDENT 1309                    ADDRESS ON FILE
REDACTED STUDENT 1310                    ADDRESS ON FILE
REDACTED STUDENT 1311                    ADDRESS ON FILE
REDACTED STUDENT 1312                    ADDRESS ON FILE
REDACTED STUDENT 1313                    ADDRESS ON FILE
REDACTED STUDENT 1314                    ADDRESS ON FILE
REDACTED STUDENT 1315                    ADDRESS ON FILE
REDACTED STUDENT 1316                    ADDRESS ON FILE
REDACTED STUDENT 1317                    ADDRESS ON FILE
REDACTED STUDENT 1318                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 1319                    ADDRESS ON FILE
REDACTED STUDENT 1320                    ADDRESS ON FILE
REDACTED STUDENT 1321                    ADDRESS ON FILE
REDACTED STUDENT 1322                    ADDRESS ON FILE
REDACTED STUDENT 1323                    ADDRESS ON FILE
REDACTED STUDENT 1324                    ADDRESS ON FILE
REDACTED STUDENT 1325                    ADDRESS ON FILE
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REDACTED STUDENT 1327                    ADDRESS ON FILE
REDACTED STUDENT 1328                    ADDRESS ON FILE
REDACTED STUDENT 1329                    ADDRESS ON FILE
REDACTED STUDENT 1330                    ADDRESS ON FILE
REDACTED STUDENT 1331                    ADDRESS ON FILE
REDACTED STUDENT 1332                    ADDRESS ON FILE
REDACTED STUDENT 1333                    ADDRESS ON FILE
REDACTED STUDENT 1334                    ADDRESS ON FILE
REDACTED STUDENT 1335                    ADDRESS ON FILE
REDACTED STUDENT 1336                    ADDRESS ON FILE
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REDACTED STUDENT 1338                    ADDRESS ON FILE
REDACTED STUDENT 1339                    ADDRESS ON FILE
REDACTED STUDENT 1340                    ADDRESS ON FILE
REDACTED STUDENT 1341                    ADDRESS ON FILE
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REDACTED STUDENT 1343                    ADDRESS ON FILE
REDACTED STUDENT 1344                    ADDRESS ON FILE
REDACTED STUDENT 1345                    ADDRESS ON FILE
REDACTED STUDENT 1346                    ADDRESS ON FILE
REDACTED STUDENT 1347                    ADDRESS ON FILE
REDACTED STUDENT 1348                    ADDRESS ON FILE
REDACTED STUDENT 1349                    ADDRESS ON FILE
REDACTED STUDENT 1350                    ADDRESS ON FILE
REDACTED STUDENT 1351                    ADDRESS ON FILE
REDACTED STUDENT 1352                    ADDRESS ON FILE
REDACTED STUDENT 1353                    ADDRESS ON FILE
REDACTED STUDENT 1354                    ADDRESS ON FILE
REDACTED STUDENT 1355                    ADDRESS ON FILE
REDACTED STUDENT 1356                    ADDRESS ON FILE
REDACTED STUDENT 1357                    ADDRESS ON FILE
REDACTED STUDENT 1358                    ADDRESS ON FILE
REDACTED STUDENT 1359                    ADDRESS ON FILE
REDACTED STUDENT 1360                    ADDRESS ON FILE
REDACTED STUDENT 1361                    ADDRESS ON FILE
REDACTED STUDENT 1362                    ADDRESS ON FILE
REDACTED STUDENT 1363                    ADDRESS ON FILE
REDACTED STUDENT 1364                    ADDRESS ON FILE
REDACTED STUDENT 1365                    ADDRESS ON FILE
REDACTED STUDENT 1366                    ADDRESS ON FILE
REDACTED STUDENT 1367                    ADDRESS ON FILE
REDACTED STUDENT 1368                    ADDRESS ON FILE
REDACTED STUDENT 1369                    ADDRESS ON FILE
REDACTED STUDENT 1370                    ADDRESS ON FILE
REDACTED STUDENT 1371                    ADDRESS ON FILE
REDACTED STUDENT 1372                    ADDRESS ON FILE
REDACTED STUDENT 1373                    ADDRESS ON FILE
REDACTED STUDENT 1374                    ADDRESS ON FILE
REDACTED STUDENT 1375                    ADDRESS ON FILE
REDACTED STUDENT 1376                    ADDRESS ON FILE
REDACTED STUDENT 1377                    ADDRESS ON FILE
REDACTED STUDENT 1378                    ADDRESS ON FILE
REDACTED STUDENT 1379                    ADDRESS ON FILE
REDACTED STUDENT 1380                    ADDRESS ON FILE
REDACTED STUDENT 1381                    ADDRESS ON FILE
REDACTED STUDENT 1382                    ADDRESS ON FILE
REDACTED STUDENT 1383                    ADDRESS ON FILE
REDACTED STUDENT 1384                    ADDRESS ON FILE
REDACTED STUDENT 1385                    ADDRESS ON FILE
REDACTED STUDENT 1386                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 1387                    ADDRESS ON FILE
REDACTED STUDENT 1388                    ADDRESS ON FILE
REDACTED STUDENT 1389                    ADDRESS ON FILE
REDACTED STUDENT 1390                    ADDRESS ON FILE
REDACTED STUDENT 1391                    ADDRESS ON FILE
REDACTED STUDENT 1392                    ADDRESS ON FILE
REDACTED STUDENT 1393                    ADDRESS ON FILE
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REDACTED STUDENT 1395                    ADDRESS ON FILE
REDACTED STUDENT 1396                    ADDRESS ON FILE
REDACTED STUDENT 1397                    ADDRESS ON FILE
REDACTED STUDENT 1398                    ADDRESS ON FILE
REDACTED STUDENT 1399                    ADDRESS ON FILE
REDACTED STUDENT 1400                    ADDRESS ON FILE
REDACTED STUDENT 1401                    ADDRESS ON FILE
REDACTED STUDENT 1402                    ADDRESS ON FILE
REDACTED STUDENT 1403                    ADDRESS ON FILE
REDACTED STUDENT 1404                    ADDRESS ON FILE
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REDACTED STUDENT 1450                    ADDRESS ON FILE
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REDACTED STUDENT 1452                    ADDRESS ON FILE
REDACTED STUDENT 1453                    ADDRESS ON FILE
REDACTED STUDENT 1454                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 1455                    ADDRESS ON FILE
REDACTED STUDENT 1456                    ADDRESS ON FILE
REDACTED STUDENT 1457                    ADDRESS ON FILE
REDACTED STUDENT 1458                    ADDRESS ON FILE
REDACTED STUDENT 1459                    ADDRESS ON FILE
REDACTED STUDENT 1460                    ADDRESS ON FILE
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REDACTED STUDENT 1469                    ADDRESS ON FILE
REDACTED STUDENT 1470                    ADDRESS ON FILE
REDACTED STUDENT 1471                    ADDRESS ON FILE
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REDACTED STUDENT 1474                    ADDRESS ON FILE
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REDACTED STUDENT 1499                    ADDRESS ON FILE
REDACTED STUDENT 1500                    ADDRESS ON FILE
REDACTED STUDENT 1501                    ADDRESS ON FILE
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REDACTED STUDENT 1510                    ADDRESS ON FILE
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REDACTED STUDENT 1515                    ADDRESS ON FILE
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REDACTED STUDENT 1518                    ADDRESS ON FILE
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REDACTED STUDENT 1521                    ADDRESS ON FILE
REDACTED STUDENT 1522                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 1523                    ADDRESS ON FILE
REDACTED STUDENT 1524                    ADDRESS ON FILE
REDACTED STUDENT 1525                    ADDRESS ON FILE
REDACTED STUDENT 1526                    ADDRESS ON FILE
REDACTED STUDENT 1527                    ADDRESS ON FILE
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REDACTED STUDENT 1590                    ADDRESS ON FILE
REDACTED STUDENT 1591                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 1592                    ADDRESS ON FILE
REDACTED STUDENT 1593                    ADDRESS ON FILE
REDACTED STUDENT 1594                    ADDRESS ON FILE
REDACTED STUDENT 1595                    ADDRESS ON FILE
REDACTED STUDENT 1596                    ADDRESS ON FILE
REDACTED STUDENT 1597                    ADDRESS ON FILE
REDACTED STUDENT 1598                    ADDRESS ON FILE
REDACTED STUDENT 1599                    ADDRESS ON FILE
REDACTED STUDENT 1600                    ADDRESS ON FILE
REDACTED STUDENT 1601                    ADDRESS ON FILE
REDACTED STUDENT 1602                    ADDRESS ON FILE
REDACTED STUDENT 1603                    ADDRESS ON FILE
REDACTED STUDENT 1604                    ADDRESS ON FILE
REDACTED STUDENT 1605                    ADDRESS ON FILE
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REDACTED STUDENT 1613                    ADDRESS ON FILE
REDACTED STUDENT 1614                    ADDRESS ON FILE
REDACTED STUDENT 1615                    ADDRESS ON FILE
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REDACTED STUDENT 1622                    ADDRESS ON FILE
REDACTED STUDENT 1623                    ADDRESS ON FILE
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REDACTED STUDENT 1639                    ADDRESS ON FILE
REDACTED STUDENT 1640                    ADDRESS ON FILE
REDACTED STUDENT 1641                    ADDRESS ON FILE
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REDACTED STUDENT 1645                    ADDRESS ON FILE
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REDACTED STUDENT 1656                    ADDRESS ON FILE
REDACTED STUDENT 1657                    ADDRESS ON FILE
REDACTED STUDENT 1658                    ADDRESS ON FILE
REDACTED STUDENT 1659                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 1660                    ADDRESS ON FILE
REDACTED STUDENT 1661                    ADDRESS ON FILE
REDACTED STUDENT 1662                    ADDRESS ON FILE
REDACTED STUDENT 1663                    ADDRESS ON FILE
REDACTED STUDENT 1664                    ADDRESS ON FILE
REDACTED STUDENT 1665                    ADDRESS ON FILE
REDACTED STUDENT 1666                    ADDRESS ON FILE
REDACTED STUDENT 1667                    ADDRESS ON FILE
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REDACTED STUDENT 1669                    ADDRESS ON FILE
REDACTED STUDENT 1670                    ADDRESS ON FILE
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REDACTED STUDENT 1673                    ADDRESS ON FILE
REDACTED STUDENT 1674                    ADDRESS ON FILE
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REDACTED STUDENT 1676                    ADDRESS ON FILE
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REDACTED STUDENT 1697                    ADDRESS ON FILE
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REDACTED STUDENT 1700                    ADDRESS ON FILE
REDACTED STUDENT 1701                    ADDRESS ON FILE
REDACTED STUDENT 1702                    ADDRESS ON FILE
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REDACTED STUDENT 1713                    ADDRESS ON FILE
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REDACTED STUDENT 1726                    ADDRESS ON FILE
REDACTED STUDENT 1727                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 1728                    ADDRESS ON FILE
REDACTED STUDENT 1729                    ADDRESS ON FILE
REDACTED STUDENT 1730                    ADDRESS ON FILE
REDACTED STUDENT 1731                    ADDRESS ON FILE
REDACTED STUDENT 1732                    ADDRESS ON FILE
REDACTED STUDENT 1733                    ADDRESS ON FILE
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REDACTED STUDENT 1736                    ADDRESS ON FILE
REDACTED STUDENT 1737                    ADDRESS ON FILE
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REDACTED STUDENT 1781                    ADDRESS ON FILE
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REDACTED STUDENT 1794                    ADDRESS ON FILE
REDACTED STUDENT 1795                    ADDRESS ON FILE
REDACTED STUDENT 1796                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 1797                    ADDRESS ON FILE
REDACTED STUDENT 1798                    ADDRESS ON FILE
REDACTED STUDENT 1799                    ADDRESS ON FILE
REDACTED STUDENT 1800                    ADDRESS ON FILE
REDACTED STUDENT 1801                    ADDRESS ON FILE
REDACTED STUDENT 1802                    ADDRESS ON FILE
REDACTED STUDENT 1803                    ADDRESS ON FILE
REDACTED STUDENT 1804                    ADDRESS ON FILE
REDACTED STUDENT 1805                    ADDRESS ON FILE
REDACTED STUDENT 1806                    ADDRESS ON FILE
REDACTED STUDENT 1807                    ADDRESS ON FILE
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REDACTED STUDENT 1833                    ADDRESS ON FILE
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REDACTED STUDENT 1836                    ADDRESS ON FILE
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REDACTED STUDENT 1838                    ADDRESS ON FILE
REDACTED STUDENT 1839                    ADDRESS ON FILE
REDACTED STUDENT 1840                    ADDRESS ON FILE
REDACTED STUDENT 1841                    ADDRESS ON FILE
REDACTED STUDENT 1842                    ADDRESS ON FILE
REDACTED STUDENT 1843                    ADDRESS ON FILE
REDACTED STUDENT 1844                    ADDRESS ON FILE
REDACTED STUDENT 1845                    ADDRESS ON FILE
REDACTED STUDENT 1846                    ADDRESS ON FILE
REDACTED STUDENT 1847                    ADDRESS ON FILE
REDACTED STUDENT 1848                    ADDRESS ON FILE
REDACTED STUDENT 1849                    ADDRESS ON FILE
REDACTED STUDENT 1850                    ADDRESS ON FILE
REDACTED STUDENT 1851                    ADDRESS ON FILE
REDACTED STUDENT 1852                    ADDRESS ON FILE
REDACTED STUDENT 1853                    ADDRESS ON FILE
REDACTED STUDENT 1854                    ADDRESS ON FILE
REDACTED STUDENT 1855                    ADDRESS ON FILE
REDACTED STUDENT 1856                    ADDRESS ON FILE
REDACTED STUDENT 1857                    ADDRESS ON FILE
REDACTED STUDENT 1858                    ADDRESS ON FILE
REDACTED STUDENT 1859                    ADDRESS ON FILE
REDACTED STUDENT 1860                    ADDRESS ON FILE
REDACTED STUDENT 1861                    ADDRESS ON FILE
REDACTED STUDENT 1862                    ADDRESS ON FILE
REDACTED STUDENT 1863                    ADDRESS ON FILE
REDACTED STUDENT 1864                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 1865                    ADDRESS ON FILE
REDACTED STUDENT 1866                    ADDRESS ON FILE
REDACTED STUDENT 1867                    ADDRESS ON FILE
REDACTED STUDENT 1868                    ADDRESS ON FILE
REDACTED STUDENT 1869                    ADDRESS ON FILE
REDACTED STUDENT 1870                    ADDRESS ON FILE
REDACTED STUDENT 1871                    ADDRESS ON FILE
REDACTED STUDENT 1872                    ADDRESS ON FILE
REDACTED STUDENT 1873                    ADDRESS ON FILE
REDACTED STUDENT 1874                    ADDRESS ON FILE
REDACTED STUDENT 1875                    ADDRESS ON FILE
REDACTED STUDENT 1876                    ADDRESS ON FILE
REDACTED STUDENT 1877                    ADDRESS ON FILE
REDACTED STUDENT 1878                    ADDRESS ON FILE
REDACTED STUDENT 1879                    ADDRESS ON FILE
REDACTED STUDENT 1880                    ADDRESS ON FILE
REDACTED STUDENT 1881                    ADDRESS ON FILE
REDACTED STUDENT 1882                    ADDRESS ON FILE
REDACTED STUDENT 1883                    ADDRESS ON FILE
REDACTED STUDENT 1884                    ADDRESS ON FILE
REDACTED STUDENT 1885                    ADDRESS ON FILE
REDACTED STUDENT 1886                    ADDRESS ON FILE
REDACTED STUDENT 1887                    ADDRESS ON FILE
REDACTED STUDENT 1888                    ADDRESS ON FILE
REDACTED STUDENT 1889                    ADDRESS ON FILE
REDACTED STUDENT 1890                    ADDRESS ON FILE
REDACTED STUDENT 1891                    ADDRESS ON FILE
REDACTED STUDENT 1892                    ADDRESS ON FILE
REDACTED STUDENT 1893                    ADDRESS ON FILE
REDACTED STUDENT 1894                    ADDRESS ON FILE
REDACTED STUDENT 1895                    ADDRESS ON FILE
REDACTED STUDENT 1896                    ADDRESS ON FILE
REDACTED STUDENT 1897                    ADDRESS ON FILE
REDACTED STUDENT 1898                    ADDRESS ON FILE
REDACTED STUDENT 1899                    ADDRESS ON FILE
REDACTED STUDENT 1900                    ADDRESS ON FILE
REDACTED STUDENT 1901                    ADDRESS ON FILE
REDACTED STUDENT 1902                    ADDRESS ON FILE
REDACTED STUDENT 1903                    ADDRESS ON FILE
REDACTED STUDENT 1904                    ADDRESS ON FILE
REDACTED STUDENT 1905                    ADDRESS ON FILE
REDACTED STUDENT 1906                    ADDRESS ON FILE
REDACTED STUDENT 1907                    ADDRESS ON FILE
REDACTED STUDENT 1908                    ADDRESS ON FILE
REDACTED STUDENT 1909                    ADDRESS ON FILE
REDACTED STUDENT 1910                    ADDRESS ON FILE
REDACTED STUDENT 1911                    ADDRESS ON FILE
REDACTED STUDENT 1912                    ADDRESS ON FILE
REDACTED STUDENT 1913                    ADDRESS ON FILE
REDACTED STUDENT 1914                    ADDRESS ON FILE
REDACTED STUDENT 1915                    ADDRESS ON FILE
REDACTED STUDENT 1916                    ADDRESS ON FILE
REDACTED STUDENT 1917                    ADDRESS ON FILE
REDACTED STUDENT 1918                    ADDRESS ON FILE
REDACTED STUDENT 1919                    ADDRESS ON FILE
REDACTED STUDENT 1920                    ADDRESS ON FILE
REDACTED STUDENT 1921                    ADDRESS ON FILE
REDACTED STUDENT 1922                    ADDRESS ON FILE
REDACTED STUDENT 1923                    ADDRESS ON FILE
REDACTED STUDENT 1924                    ADDRESS ON FILE
REDACTED STUDENT 1925                    ADDRESS ON FILE
REDACTED STUDENT 1926                    ADDRESS ON FILE
REDACTED STUDENT 1927                    ADDRESS ON FILE
REDACTED STUDENT 1928                    ADDRESS ON FILE
REDACTED STUDENT 1929                    ADDRESS ON FILE
REDACTED STUDENT 1930                    ADDRESS ON FILE
REDACTED STUDENT 1931                    ADDRESS ON FILE
REDACTED STUDENT 1932                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 1933                    ADDRESS ON FILE
REDACTED STUDENT 1934                    ADDRESS ON FILE
REDACTED STUDENT 1935                    ADDRESS ON FILE
REDACTED STUDENT 1936                    ADDRESS ON FILE
REDACTED STUDENT 1937                    ADDRESS ON FILE
REDACTED STUDENT 1938                    ADDRESS ON FILE
REDACTED STUDENT 1939                    ADDRESS ON FILE
REDACTED STUDENT 1940                    ADDRESS ON FILE
REDACTED STUDENT 1941                    ADDRESS ON FILE
REDACTED STUDENT 1942                    ADDRESS ON FILE
REDACTED STUDENT 1943                    ADDRESS ON FILE
REDACTED STUDENT 1944                    ADDRESS ON FILE
REDACTED STUDENT 1945                    ADDRESS ON FILE
REDACTED STUDENT 1946                    ADDRESS ON FILE
REDACTED STUDENT 1947                    ADDRESS ON FILE
REDACTED STUDENT 1948                    ADDRESS ON FILE
REDACTED STUDENT 1949                    ADDRESS ON FILE
REDACTED STUDENT 1950                    ADDRESS ON FILE
REDACTED STUDENT 1951                    ADDRESS ON FILE
REDACTED STUDENT 1952                    ADDRESS ON FILE
REDACTED STUDENT 1953                    ADDRESS ON FILE
REDACTED STUDENT 1954                    ADDRESS ON FILE
REDACTED STUDENT 1955                    ADDRESS ON FILE
REDACTED STUDENT 1956                    ADDRESS ON FILE
REDACTED STUDENT 1957                    ADDRESS ON FILE
REDACTED STUDENT 1958                    ADDRESS ON FILE
REDACTED STUDENT 1959                    ADDRESS ON FILE
REDACTED STUDENT 1960                    ADDRESS ON FILE
REDACTED STUDENT 1961                    ADDRESS ON FILE
REDACTED STUDENT 1962                    ADDRESS ON FILE
REDACTED STUDENT 1963                    ADDRESS ON FILE
REDACTED STUDENT 1964                    ADDRESS ON FILE
REDACTED STUDENT 1965                    ADDRESS ON FILE
REDACTED STUDENT 1966                    ADDRESS ON FILE
REDACTED STUDENT 1967                    ADDRESS ON FILE
REDACTED STUDENT 1968                    ADDRESS ON FILE
REDACTED STUDENT 1969                    ADDRESS ON FILE
REDACTED STUDENT 1970                    ADDRESS ON FILE
REDACTED STUDENT 1971                    ADDRESS ON FILE
REDACTED STUDENT 1972                    ADDRESS ON FILE
REDACTED STUDENT 1973                    ADDRESS ON FILE
REDACTED STUDENT 1974                    ADDRESS ON FILE
REDACTED STUDENT 1975                    ADDRESS ON FILE
REDACTED STUDENT 1976                    ADDRESS ON FILE
REDACTED STUDENT 1977                    ADDRESS ON FILE
REDACTED STUDENT 1978                    ADDRESS ON FILE
REDACTED STUDENT 1979                    ADDRESS ON FILE
REDACTED STUDENT 1980                    ADDRESS ON FILE
REDACTED STUDENT 1981                    ADDRESS ON FILE
REDACTED STUDENT 1982                    ADDRESS ON FILE
REDACTED STUDENT 1983                    ADDRESS ON FILE
REDACTED STUDENT 1984                    ADDRESS ON FILE
REDACTED STUDENT 1985                    ADDRESS ON FILE
REDACTED STUDENT 1986                    ADDRESS ON FILE
REDACTED STUDENT 1987                    ADDRESS ON FILE
REDACTED STUDENT 1988                    ADDRESS ON FILE
REDACTED STUDENT 1989                    ADDRESS ON FILE
REDACTED STUDENT 1990                    ADDRESS ON FILE
REDACTED STUDENT 1991                    ADDRESS ON FILE
REDACTED STUDENT 1992                    ADDRESS ON FILE
REDACTED STUDENT 1993                    ADDRESS ON FILE
REDACTED STUDENT 1994                    ADDRESS ON FILE
REDACTED STUDENT 1995                    ADDRESS ON FILE
REDACTED STUDENT 1996                    ADDRESS ON FILE
REDACTED STUDENT 1997                    ADDRESS ON FILE
REDACTED STUDENT 1998                    ADDRESS ON FILE
REDACTED STUDENT 1999                    ADDRESS ON FILE
REDACTED STUDENT 2000                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 2001                    ADDRESS ON FILE
REDACTED STUDENT 2002                    ADDRESS ON FILE
REDACTED STUDENT 2003                    ADDRESS ON FILE
REDACTED STUDENT 2004                    ADDRESS ON FILE
REDACTED STUDENT 2005                    ADDRESS ON FILE
REDACTED STUDENT 2006                    ADDRESS ON FILE
REDACTED STUDENT 2007                    ADDRESS ON FILE
REDACTED STUDENT 2008                    ADDRESS ON FILE
REDACTED STUDENT 2009                    ADDRESS ON FILE
REDACTED STUDENT 2010                    ADDRESS ON FILE
REDACTED STUDENT 2011                    ADDRESS ON FILE
REDACTED STUDENT 2012                    ADDRESS ON FILE
REDACTED STUDENT 2013                    ADDRESS ON FILE
REDACTED STUDENT 2014                    ADDRESS ON FILE
REDACTED STUDENT 2015                    ADDRESS ON FILE
REDACTED STUDENT 2016                    ADDRESS ON FILE
REDACTED STUDENT 2017                    ADDRESS ON FILE
REDACTED STUDENT 2018                    ADDRESS ON FILE
REDACTED STUDENT 2019                    ADDRESS ON FILE
REDACTED STUDENT 2020                    ADDRESS ON FILE
REDACTED STUDENT 2021                    ADDRESS ON FILE
REDACTED STUDENT 2022                    ADDRESS ON FILE
REDACTED STUDENT 2023                    ADDRESS ON FILE
REDACTED STUDENT 2024                    ADDRESS ON FILE
REDACTED STUDENT 2025                    ADDRESS ON FILE
REDACTED STUDENT 2026                    ADDRESS ON FILE
REDACTED STUDENT 2027                    ADDRESS ON FILE
REDACTED STUDENT 2028                    ADDRESS ON FILE
REDACTED STUDENT 2029                    ADDRESS ON FILE
REDACTED STUDENT 2030                    ADDRESS ON FILE
REDACTED STUDENT 2031                    ADDRESS ON FILE
REDACTED STUDENT 2032                    ADDRESS ON FILE
REDACTED STUDENT 2033                    ADDRESS ON FILE
REDACTED STUDENT 2034                    ADDRESS ON FILE
REDACTED STUDENT 2035                    ADDRESS ON FILE
REDACTED STUDENT 2036                    ADDRESS ON FILE
REDACTED STUDENT 2037                    ADDRESS ON FILE
REDACTED STUDENT 2038                    ADDRESS ON FILE
REDACTED STUDENT 2039                    ADDRESS ON FILE
REDACTED STUDENT 2040                    ADDRESS ON FILE
REDACTED STUDENT 2041                    ADDRESS ON FILE
REDACTED STUDENT 2043                    ADDRESS ON FILE
REDACTED STUDENT 2044                    ADDRESS ON FILE
REDACTED STUDENT 2045                    ADDRESS ON FILE
REDACTED STUDENT 2046                    ADDRESS ON FILE
REDACTED STUDENT 2047                    ADDRESS ON FILE
REDACTED STUDENT 2048                    ADDRESS ON FILE
REDACTED STUDENT 2049                    ADDRESS ON FILE
REDACTED STUDENT 2050                    ADDRESS ON FILE
REDACTED STUDENT 2051                    ADDRESS ON FILE
REDACTED STUDENT 2052                    ADDRESS ON FILE
REDACTED STUDENT 2053                    ADDRESS ON FILE
REDACTED STUDENT 2054                    ADDRESS ON FILE
REDACTED STUDENT 2055                    ADDRESS ON FILE
REDACTED STUDENT 2056                    ADDRESS ON FILE
REDACTED STUDENT 2057                    ADDRESS ON FILE
REDACTED STUDENT 2058                    ADDRESS ON FILE
REDACTED STUDENT 2059                    ADDRESS ON FILE
REDACTED STUDENT 2060                    ADDRESS ON FILE
REDACTED STUDENT 2061                    ADDRESS ON FILE
REDACTED STUDENT 2062                    ADDRESS ON FILE
REDACTED STUDENT 2063                    ADDRESS ON FILE
REDACTED STUDENT 2064                    ADDRESS ON FILE
REDACTED STUDENT 2065                    ADDRESS ON FILE
REDACTED STUDENT 2066                    ADDRESS ON FILE
REDACTED STUDENT 2067                    ADDRESS ON FILE
REDACTED STUDENT 2068                    ADDRESS ON FILE
REDACTED STUDENT 2069                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 2070                    ADDRESS ON FILE
REDACTED STUDENT 2071                    ADDRESS ON FILE
REDACTED STUDENT 2072                    ADDRESS ON FILE
REDACTED STUDENT 2073                    ADDRESS ON FILE
REDACTED STUDENT 2074                    ADDRESS ON FILE
REDACTED STUDENT 2075                    ADDRESS ON FILE
REDACTED STUDENT 2076                    ADDRESS ON FILE
REDACTED STUDENT 2077                    ADDRESS ON FILE
REDACTED STUDENT 2078                    ADDRESS ON FILE
REDACTED STUDENT 2079                    ADDRESS ON FILE
REDACTED STUDENT 2080                    ADDRESS ON FILE
REDACTED STUDENT 2081                    ADDRESS ON FILE
REDACTED STUDENT 2082                    ADDRESS ON FILE
REDACTED STUDENT 2083                    ADDRESS ON FILE
REDACTED STUDENT 2084                    ADDRESS ON FILE
REDACTED STUDENT 2085                    ADDRESS ON FILE
REDACTED STUDENT 2086                    ADDRESS ON FILE
REDACTED STUDENT 2087                    ADDRESS ON FILE
REDACTED STUDENT 2088                    ADDRESS ON FILE
REDACTED STUDENT 2089                    ADDRESS ON FILE
REDACTED STUDENT 2090                    ADDRESS ON FILE
REDACTED STUDENT 2091                    ADDRESS ON FILE
REDACTED STUDENT 2092                    ADDRESS ON FILE
REDACTED STUDENT 2093                    ADDRESS ON FILE
REDACTED STUDENT 2094                    ADDRESS ON FILE
REDACTED STUDENT 2095                    ADDRESS ON FILE
REDACTED STUDENT 2096                    ADDRESS ON FILE
REDACTED STUDENT 2097                    ADDRESS ON FILE
REDACTED STUDENT 2098                    ADDRESS ON FILE
REDACTED STUDENT 2099                    ADDRESS ON FILE
REDACTED STUDENT 2100                    ADDRESS ON FILE
REDACTED STUDENT 2101                    ADDRESS ON FILE
REDACTED STUDENT 2102                    ADDRESS ON FILE
REDACTED STUDENT 2103                    ADDRESS ON FILE
REDACTED STUDENT 2104                    ADDRESS ON FILE
REDACTED STUDENT 2105                    ADDRESS ON FILE
REDACTED STUDENT 2106                    ADDRESS ON FILE
REDACTED STUDENT 2107                    ADDRESS ON FILE
REDACTED STUDENT 2108                    ADDRESS ON FILE
REDACTED STUDENT 2109                    ADDRESS ON FILE
REDACTED STUDENT 2110                    ADDRESS ON FILE
REDACTED STUDENT 2111                    ADDRESS ON FILE
REDACTED STUDENT 2112                    ADDRESS ON FILE
REDACTED STUDENT 2113                    ADDRESS ON FILE
REDACTED STUDENT 2114                    ADDRESS ON FILE
REDACTED STUDENT 2115                    ADDRESS ON FILE
REDACTED STUDENT 2116                    ADDRESS ON FILE
REDACTED STUDENT 2117                    ADDRESS ON FILE
REDACTED STUDENT 2118                    ADDRESS ON FILE
REDACTED STUDENT 2119                    ADDRESS ON FILE
REDACTED STUDENT 2120                    ADDRESS ON FILE
REDACTED STUDENT 2121                    ADDRESS ON FILE
REDACTED STUDENT 2122                    ADDRESS ON FILE
REDACTED STUDENT 2123                    ADDRESS ON FILE
REDACTED STUDENT 2124                    ADDRESS ON FILE
REDACTED STUDENT 2125                    ADDRESS ON FILE
REDACTED STUDENT 2126                    ADDRESS ON FILE
REDACTED STUDENT 2127                    ADDRESS ON FILE
REDACTED STUDENT 2128                    ADDRESS ON FILE
REDACTED STUDENT 2129                    ADDRESS ON FILE
REDACTED STUDENT 2130                    ADDRESS ON FILE
REDACTED STUDENT 2131                    ADDRESS ON FILE
REDACTED STUDENT 2132                    ADDRESS ON FILE
REDACTED STUDENT 2133                    ADDRESS ON FILE
REDACTED STUDENT 2134                    ADDRESS ON FILE
REDACTED STUDENT 2135                    ADDRESS ON FILE
REDACTED STUDENT 2136                    ADDRESS ON FILE
REDACTED STUDENT 2137                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 2138                    ADDRESS ON FILE
REDACTED STUDENT 2139                    ADDRESS ON FILE
REDACTED STUDENT 2140                    ADDRESS ON FILE
REDACTED STUDENT 2141                    ADDRESS ON FILE
REDACTED STUDENT 2142                    ADDRESS ON FILE
REDACTED STUDENT 2143                    ADDRESS ON FILE
REDACTED STUDENT 2144                    ADDRESS ON FILE
REDACTED STUDENT 2145                    ADDRESS ON FILE
REDACTED STUDENT 2146                    ADDRESS ON FILE
REDACTED STUDENT 2147                    ADDRESS ON FILE
REDACTED STUDENT 2148                    ADDRESS ON FILE
REDACTED STUDENT 2149                    ADDRESS ON FILE
REDACTED STUDENT 2150                    ADDRESS ON FILE
REDACTED STUDENT 2151                    ADDRESS ON FILE
REDACTED STUDENT 2152                    ADDRESS ON FILE
REDACTED STUDENT 2153                    ADDRESS ON FILE
REDACTED STUDENT 2154                    ADDRESS ON FILE
REDACTED STUDENT 2155                    ADDRESS ON FILE
REDACTED STUDENT 2156                    ADDRESS ON FILE
REDACTED STUDENT 2157                    ADDRESS ON FILE
REDACTED STUDENT 2158                    ADDRESS ON FILE
REDACTED STUDENT 2159                    ADDRESS ON FILE
REDACTED STUDENT 2160                    ADDRESS ON FILE
REDACTED STUDENT 2161                    ADDRESS ON FILE
REDACTED STUDENT 2162                    ADDRESS ON FILE
REDACTED STUDENT 2163                    ADDRESS ON FILE
REDACTED STUDENT 2164                    ADDRESS ON FILE
REDACTED STUDENT 2165                    ADDRESS ON FILE
REDACTED STUDENT 2166                    ADDRESS ON FILE
REDACTED STUDENT 2167                    ADDRESS ON FILE
REDACTED STUDENT 2168                    ADDRESS ON FILE
REDACTED STUDENT 2169                    ADDRESS ON FILE
REDACTED STUDENT 2170                    ADDRESS ON FILE
REDACTED STUDENT 2171                    ADDRESS ON FILE
REDACTED STUDENT 2172                    ADDRESS ON FILE
REDACTED STUDENT 2173                    ADDRESS ON FILE
REDACTED STUDENT 2174                    ADDRESS ON FILE
REDACTED STUDENT 2175                    ADDRESS ON FILE
REDACTED STUDENT 2176                    ADDRESS ON FILE
REDACTED STUDENT 2177                    ADDRESS ON FILE
REDACTED STUDENT 2178                    ADDRESS ON FILE
REDACTED STUDENT 2179                    ADDRESS ON FILE
REDACTED STUDENT 2180                    ADDRESS ON FILE
REDACTED STUDENT 2181                    ADDRESS ON FILE
REDACTED STUDENT 2182                    ADDRESS ON FILE
REDACTED STUDENT 2183                    ADDRESS ON FILE
REDACTED STUDENT 2184                    ADDRESS ON FILE
REDACTED STUDENT 2185                    ADDRESS ON FILE
REDACTED STUDENT 2186                    ADDRESS ON FILE
REDACTED STUDENT 2187                    ADDRESS ON FILE
REDACTED STUDENT 2188                    ADDRESS ON FILE
REDACTED STUDENT 2189                    ADDRESS ON FILE
REDACTED STUDENT 2190                    ADDRESS ON FILE
REDACTED STUDENT 2191                    ADDRESS ON FILE
REDACTED STUDENT 2192                    ADDRESS ON FILE
REDACTED STUDENT 2193                    ADDRESS ON FILE
REDACTED STUDENT 2194                    ADDRESS ON FILE
REDACTED STUDENT 2195                    ADDRESS ON FILE
REDACTED STUDENT 2196                    ADDRESS ON FILE
REDACTED STUDENT 2197                    ADDRESS ON FILE
REDACTED STUDENT 2198                    ADDRESS ON FILE
REDACTED STUDENT 2199                    ADDRESS ON FILE
REDACTED STUDENT 2200                    ADDRESS ON FILE
REDACTED STUDENT 2201                    ADDRESS ON FILE
REDACTED STUDENT 2202                    ADDRESS ON FILE
REDACTED STUDENT 2203                    ADDRESS ON FILE
REDACTED STUDENT 2204                    ADDRESS ON FILE
REDACTED STUDENT 2205                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 2206                    ADDRESS ON FILE
REDACTED STUDENT 2207                    ADDRESS ON FILE
REDACTED STUDENT 2208                    ADDRESS ON FILE
REDACTED STUDENT 2209                    ADDRESS ON FILE
REDACTED STUDENT 2210                    ADDRESS ON FILE
REDACTED STUDENT 2211                    ADDRESS ON FILE
REDACTED STUDENT 2212                    ADDRESS ON FILE
REDACTED STUDENT 2213                    ADDRESS ON FILE
REDACTED STUDENT 2214                    ADDRESS ON FILE
REDACTED STUDENT 2215                    ADDRESS ON FILE
REDACTED STUDENT 2216                    ADDRESS ON FILE
REDACTED STUDENT 2217                    ADDRESS ON FILE
REDACTED STUDENT 2218                    ADDRESS ON FILE
REDACTED STUDENT 2219                    ADDRESS ON FILE
REDACTED STUDENT 2220                    ADDRESS ON FILE
REDACTED STUDENT 2221                    ADDRESS ON FILE
REDACTED STUDENT 2222                    ADDRESS ON FILE
REDACTED STUDENT 2223                    ADDRESS ON FILE
REDACTED STUDENT 2224                    ADDRESS ON FILE
REDACTED STUDENT 2225                    ADDRESS ON FILE
REDACTED STUDENT 2226                    ADDRESS ON FILE
REDACTED STUDENT 2227                    ADDRESS ON FILE
REDACTED STUDENT 2228                    ADDRESS ON FILE
REDACTED STUDENT 2229                    ADDRESS ON FILE
REDACTED STUDENT 2230                    ADDRESS ON FILE
REDACTED STUDENT 2231                    ADDRESS ON FILE
REDACTED STUDENT 2232                    ADDRESS ON FILE
REDACTED STUDENT 2233                    ADDRESS ON FILE
REDACTED STUDENT 2234                    ADDRESS ON FILE
REDACTED STUDENT 2235                    ADDRESS ON FILE
REDACTED STUDENT 2236                    ADDRESS ON FILE
REDACTED STUDENT 2237                    ADDRESS ON FILE
REDACTED STUDENT 2238                    ADDRESS ON FILE
REDACTED STUDENT 2239                    ADDRESS ON FILE
REDACTED STUDENT 2240                    ADDRESS ON FILE
REDACTED STUDENT 2241                    ADDRESS ON FILE
REDACTED STUDENT 2242                    ADDRESS ON FILE
REDACTED STUDENT 2243                    ADDRESS ON FILE
REDACTED STUDENT 2244                    ADDRESS ON FILE
REDACTED STUDENT 2245                    ADDRESS ON FILE
REDACTED STUDENT 2246                    ADDRESS ON FILE
REDACTED STUDENT 2247                    ADDRESS ON FILE
REDACTED STUDENT 2248                    ADDRESS ON FILE
REDACTED STUDENT 2249                    ADDRESS ON FILE
REDACTED STUDENT 2250                    ADDRESS ON FILE
REDACTED STUDENT 2251                    ADDRESS ON FILE
REDACTED STUDENT 2252                    ADDRESS ON FILE
REDACTED STUDENT 2253                    ADDRESS ON FILE
REDACTED STUDENT 2254                    ADDRESS ON FILE
REDACTED STUDENT 2255                    ADDRESS ON FILE
REDACTED STUDENT 2256                    ADDRESS ON FILE
REDACTED STUDENT 2257                    ADDRESS ON FILE
REDACTED STUDENT 2258                    ADDRESS ON FILE
REDACTED STUDENT 2259                    ADDRESS ON FILE
REDACTED STUDENT 2260                    ADDRESS ON FILE
REDACTED STUDENT 2261                    ADDRESS ON FILE
REDACTED STUDENT 2262                    ADDRESS ON FILE
REDACTED STUDENT 2263                    ADDRESS ON FILE
REDACTED STUDENT 2264                    ADDRESS ON FILE
REDACTED STUDENT 2265                    ADDRESS ON FILE
REDACTED STUDENT 2266                    ADDRESS ON FILE
REDACTED STUDENT 2267                    ADDRESS ON FILE
REDACTED STUDENT 2268                    ADDRESS ON FILE
REDACTED STUDENT 2269                    ADDRESS ON FILE
REDACTED STUDENT 2270                    ADDRESS ON FILE
REDACTED STUDENT 2271                    ADDRESS ON FILE
REDACTED STUDENT 2272                    ADDRESS ON FILE
REDACTED STUDENT 2273                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 2274                    ADDRESS ON FILE
REDACTED STUDENT 2275                    ADDRESS ON FILE
REDACTED STUDENT 2276                    ADDRESS ON FILE
REDACTED STUDENT 2277                    ADDRESS ON FILE
REDACTED STUDENT 2278                    ADDRESS ON FILE
REDACTED STUDENT 2279                    ADDRESS ON FILE
REDACTED STUDENT 2280                    ADDRESS ON FILE
REDACTED STUDENT 2281                    ADDRESS ON FILE
REDACTED STUDENT 2282                    ADDRESS ON FILE
REDACTED STUDENT 2283                    ADDRESS ON FILE
REDACTED STUDENT 2284                    ADDRESS ON FILE
REDACTED STUDENT 2285                    ADDRESS ON FILE
REDACTED STUDENT 2286                    ADDRESS ON FILE
REDACTED STUDENT 2287                    ADDRESS ON FILE
REDACTED STUDENT 2288                    ADDRESS ON FILE
REDACTED STUDENT 2289                    ADDRESS ON FILE
REDACTED STUDENT 2290                    ADDRESS ON FILE
REDACTED STUDENT 2291                    ADDRESS ON FILE
REDACTED STUDENT 2292                    ADDRESS ON FILE
REDACTED STUDENT 2293                    ADDRESS ON FILE
REDACTED STUDENT 2294                    ADDRESS ON FILE
REDACTED STUDENT 2295                    ADDRESS ON FILE
REDACTED STUDENT 2296                    ADDRESS ON FILE
REDACTED STUDENT 2297                    ADDRESS ON FILE
REDACTED STUDENT 2298                    ADDRESS ON FILE
REDACTED STUDENT 2299                    ADDRESS ON FILE
REDACTED STUDENT 2300                    ADDRESS ON FILE
REDACTED STUDENT 2301                    ADDRESS ON FILE
REDACTED STUDENT 2302                    ADDRESS ON FILE
REDACTED STUDENT 2303                    ADDRESS ON FILE
REDACTED STUDENT 2304                    ADDRESS ON FILE
REDACTED STUDENT 2305                    ADDRESS ON FILE
REDACTED STUDENT 2306                    ADDRESS ON FILE
REDACTED STUDENT 2307                    ADDRESS ON FILE
REDACTED STUDENT 2308                    ADDRESS ON FILE
REDACTED STUDENT 2309                    ADDRESS ON FILE
REDACTED STUDENT 2310                    ADDRESS ON FILE
REDACTED STUDENT 2311                    ADDRESS ON FILE
REDACTED STUDENT 2312                    ADDRESS ON FILE
REDACTED STUDENT 2313                    ADDRESS ON FILE
REDACTED STUDENT 2314                    ADDRESS ON FILE
REDACTED STUDENT 2315                    ADDRESS ON FILE
REDACTED STUDENT 2316                    ADDRESS ON FILE
REDACTED STUDENT 2317                    ADDRESS ON FILE
REDACTED STUDENT 2318                    ADDRESS ON FILE
REDACTED STUDENT 2319                    ADDRESS ON FILE
REDACTED STUDENT 2320                    ADDRESS ON FILE
REDACTED STUDENT 2321                    ADDRESS ON FILE
REDACTED STUDENT 2322                    ADDRESS ON FILE
REDACTED STUDENT 2323                    ADDRESS ON FILE
REDACTED STUDENT 2324                    ADDRESS ON FILE
REDACTED STUDENT 2325                    ADDRESS ON FILE
REDACTED STUDENT 2326                    ADDRESS ON FILE
REDACTED STUDENT 2327                    ADDRESS ON FILE
REDACTED STUDENT 2328                    ADDRESS ON FILE
REDACTED STUDENT 2329                    ADDRESS ON FILE
REDACTED STUDENT 2330                    ADDRESS ON FILE
REDACTED STUDENT 2331                    ADDRESS ON FILE
REDACTED STUDENT 2332                    ADDRESS ON FILE
REDACTED STUDENT 2333                    ADDRESS ON FILE
REDACTED STUDENT 2334                    ADDRESS ON FILE
REDACTED STUDENT 2335                    ADDRESS ON FILE
REDACTED STUDENT 2336                    ADDRESS ON FILE
REDACTED STUDENT 2337                    ADDRESS ON FILE
REDACTED STUDENT 2338                    ADDRESS ON FILE
REDACTED STUDENT 2339                    ADDRESS ON FILE
REDACTED STUDENT 2340                    ADDRESS ON FILE
REDACTED STUDENT 2341                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 2342                    ADDRESS ON FILE
REDACTED STUDENT 2343                    ADDRESS ON FILE
REDACTED STUDENT 2344                    ADDRESS ON FILE
REDACTED STUDENT 2345                    ADDRESS ON FILE
REDACTED STUDENT 2346                    ADDRESS ON FILE
REDACTED STUDENT 2347                    ADDRESS ON FILE
REDACTED STUDENT 2348                    ADDRESS ON FILE
REDACTED STUDENT 2349                    ADDRESS ON FILE
REDACTED STUDENT 2350                    ADDRESS ON FILE
REDACTED STUDENT 2351                    ADDRESS ON FILE
REDACTED STUDENT 2352                    ADDRESS ON FILE
REDACTED STUDENT 2353                    ADDRESS ON FILE
REDACTED STUDENT 2354                    ADDRESS ON FILE
REDACTED STUDENT 2355                    ADDRESS ON FILE
REDACTED STUDENT 2356                    ADDRESS ON FILE
REDACTED STUDENT 2357                    ADDRESS ON FILE
REDACTED STUDENT 2358                    ADDRESS ON FILE
REDACTED STUDENT 2359                    ADDRESS ON FILE
REDACTED STUDENT 2360                    ADDRESS ON FILE
REDACTED STUDENT 2361                    ADDRESS ON FILE
REDACTED STUDENT 2363                    ADDRESS ON FILE
REDACTED STUDENT 2364                    ADDRESS ON FILE
REDACTED STUDENT 2365                    ADDRESS ON FILE
REDACTED STUDENT 2366                    ADDRESS ON FILE
REDACTED STUDENT 2367                    ADDRESS ON FILE
REDACTED STUDENT 2368                    ADDRESS ON FILE
REDACTED STUDENT 2369                    ADDRESS ON FILE
REDACTED STUDENT 2370                    ADDRESS ON FILE
REDACTED STUDENT 2371                    ADDRESS ON FILE
REDACTED STUDENT 2372                    ADDRESS ON FILE
REDACTED STUDENT 2373                    ADDRESS ON FILE
REDACTED STUDENT 2374                    ADDRESS ON FILE
REDACTED STUDENT 2375                    ADDRESS ON FILE
REDACTED STUDENT 2376                    ADDRESS ON FILE
REDACTED STUDENT 2377                    ADDRESS ON FILE
REDACTED STUDENT 2378                    ADDRESS ON FILE
REDACTED STUDENT 2379                    ADDRESS ON FILE
REDACTED STUDENT 2380                    ADDRESS ON FILE
REDACTED STUDENT 2381                    ADDRESS ON FILE
REDACTED STUDENT 2382                    ADDRESS ON FILE
REDACTED STUDENT 2383                    ADDRESS ON FILE
REDACTED STUDENT 2384                    ADDRESS ON FILE
REDACTED STUDENT 2385                    ADDRESS ON FILE
REDACTED STUDENT 2386                    ADDRESS ON FILE
REDACTED STUDENT 2387                    ADDRESS ON FILE
REDACTED STUDENT 2388                    ADDRESS ON FILE
REDACTED STUDENT 2389                    ADDRESS ON FILE
REDACTED STUDENT 2390                    ADDRESS ON FILE
REDACTED STUDENT 2391                    ADDRESS ON FILE
REDACTED STUDENT 2392                    ADDRESS ON FILE
REDACTED STUDENT 2393                    ADDRESS ON FILE
REDACTED STUDENT 2394                    ADDRESS ON FILE
REDACTED STUDENT 2395                    ADDRESS ON FILE
REDACTED STUDENT 2396                    ADDRESS ON FILE
REDACTED STUDENT 2397                    ADDRESS ON FILE
REDACTED STUDENT 2398                    ADDRESS ON FILE
REDACTED STUDENT 2399                    ADDRESS ON FILE
REDACTED STUDENT 2400                    ADDRESS ON FILE
REDACTED STUDENT 2401                    ADDRESS ON FILE
REDACTED STUDENT 2403                    ADDRESS ON FILE
REDACTED STUDENT 2404                    ADDRESS ON FILE
REDACTED STUDENT 2405                    ADDRESS ON FILE
REDACTED STUDENT 2406                    ADDRESS ON FILE
REDACTED STUDENT 2407                    ADDRESS ON FILE
REDACTED STUDENT 2408                    ADDRESS ON FILE
REDACTED STUDENT 2409                    ADDRESS ON FILE
REDACTED STUDENT 2410                    ADDRESS ON FILE
REDACTED STUDENT 2411                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 2412                    ADDRESS ON FILE
REDACTED STUDENT 2413                    ADDRESS ON FILE
REDACTED STUDENT 2414                    ADDRESS ON FILE
REDACTED STUDENT 2415                    ADDRESS ON FILE
REDACTED STUDENT 2416                    ADDRESS ON FILE
REDACTED STUDENT 2417                    ADDRESS ON FILE
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REDACTED STUDENT 2422                    ADDRESS ON FILE
REDACTED STUDENT 2423                    ADDRESS ON FILE
REDACTED STUDENT 2424                    ADDRESS ON FILE
REDACTED STUDENT 2425                    ADDRESS ON FILE
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REDACTED STUDENT 2435                    ADDRESS ON FILE
REDACTED STUDENT 2436                    ADDRESS ON FILE
REDACTED STUDENT 2437                    ADDRESS ON FILE
REDACTED STUDENT 2438                    ADDRESS ON FILE
REDACTED STUDENT 2439                    ADDRESS ON FILE
REDACTED STUDENT 2440                    ADDRESS ON FILE
REDACTED STUDENT 2441                    ADDRESS ON FILE
REDACTED STUDENT 2442                    ADDRESS ON FILE
REDACTED STUDENT 2443                    ADDRESS ON FILE
REDACTED STUDENT 2444                    ADDRESS ON FILE
REDACTED STUDENT 2445                    ADDRESS ON FILE
REDACTED STUDENT 2446                    ADDRESS ON FILE
REDACTED STUDENT 2447                    ADDRESS ON FILE
REDACTED STUDENT 2448                    ADDRESS ON FILE
REDACTED STUDENT 2449                    ADDRESS ON FILE
REDACTED STUDENT 2450                    ADDRESS ON FILE
REDACTED STUDENT 2451                    ADDRESS ON FILE
REDACTED STUDENT 2452                    ADDRESS ON FILE
REDACTED STUDENT 2453                    ADDRESS ON FILE
REDACTED STUDENT 2454                    ADDRESS ON FILE
REDACTED STUDENT 2455                    ADDRESS ON FILE
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REDACTED STUDENT 2457                    ADDRESS ON FILE
REDACTED STUDENT 2458                    ADDRESS ON FILE
REDACTED STUDENT 2459                    ADDRESS ON FILE
REDACTED STUDENT 2460                    ADDRESS ON FILE
REDACTED STUDENT 2461                    ADDRESS ON FILE
REDACTED STUDENT 2462                    ADDRESS ON FILE
REDACTED STUDENT 2463                    ADDRESS ON FILE
REDACTED STUDENT 2464                    ADDRESS ON FILE
REDACTED STUDENT 2465                    ADDRESS ON FILE
REDACTED STUDENT 2466                    ADDRESS ON FILE
REDACTED STUDENT 2467                    ADDRESS ON FILE
REDACTED STUDENT 2468                    ADDRESS ON FILE
REDACTED STUDENT 2469                    ADDRESS ON FILE
REDACTED STUDENT 2470                    ADDRESS ON FILE
REDACTED STUDENT 2471                    ADDRESS ON FILE
REDACTED STUDENT 2472                    ADDRESS ON FILE
REDACTED STUDENT 2473                    ADDRESS ON FILE
REDACTED STUDENT 2474                    ADDRESS ON FILE
REDACTED STUDENT 2475                    ADDRESS ON FILE
REDACTED STUDENT 2476                    ADDRESS ON FILE
REDACTED STUDENT 2477                    ADDRESS ON FILE
REDACTED STUDENT 2478                    ADDRESS ON FILE
REDACTED STUDENT 2479                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 2480                    ADDRESS ON FILE
REDACTED STUDENT 2481                    ADDRESS ON FILE
REDACTED STUDENT 2482                    ADDRESS ON FILE
REDACTED STUDENT 2483                    ADDRESS ON FILE
REDACTED STUDENT 2484                    ADDRESS ON FILE
REDACTED STUDENT 2485                    ADDRESS ON FILE
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REDACTED STUDENT 2491                    ADDRESS ON FILE
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REDACTED STUDENT 2493                    ADDRESS ON FILE
REDACTED STUDENT 2494                    ADDRESS ON FILE
REDACTED STUDENT 2495                    ADDRESS ON FILE
REDACTED STUDENT 2496                    ADDRESS ON FILE
REDACTED STUDENT 2497                    ADDRESS ON FILE
REDACTED STUDENT 2498                    ADDRESS ON FILE
REDACTED STUDENT 2499                    ADDRESS ON FILE
REDACTED STUDENT 2500                    ADDRESS ON FILE
REDACTED STUDENT 2501                    ADDRESS ON FILE
REDACTED STUDENT 2502                    ADDRESS ON FILE
REDACTED STUDENT 2503                    ADDRESS ON FILE
REDACTED STUDENT 2504                    ADDRESS ON FILE
REDACTED STUDENT 2505                    ADDRESS ON FILE
REDACTED STUDENT 2506                    ADDRESS ON FILE
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REDACTED STUDENT 2508                    ADDRESS ON FILE
REDACTED STUDENT 2509                    ADDRESS ON FILE
REDACTED STUDENT 2510                    ADDRESS ON FILE
REDACTED STUDENT 2511                    ADDRESS ON FILE
REDACTED STUDENT 2512                    ADDRESS ON FILE
REDACTED STUDENT 2513                    ADDRESS ON FILE
REDACTED STUDENT 2514                    ADDRESS ON FILE
REDACTED STUDENT 2516                    ADDRESS ON FILE
REDACTED STUDENT 2517                    ADDRESS ON FILE
REDACTED STUDENT 2518                    ADDRESS ON FILE
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REDACTED STUDENT 2522                    ADDRESS ON FILE
REDACTED STUDENT 2523                    ADDRESS ON FILE
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REDACTED STUDENT 2527                    ADDRESS ON FILE
REDACTED STUDENT 2528                    ADDRESS ON FILE
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REDACTED STUDENT 2531                    ADDRESS ON FILE
REDACTED STUDENT 2532                    ADDRESS ON FILE
REDACTED STUDENT 2533                    ADDRESS ON FILE
REDACTED STUDENT 2534                    ADDRESS ON FILE
REDACTED STUDENT 2535                    ADDRESS ON FILE
REDACTED STUDENT 2536                    ADDRESS ON FILE
REDACTED STUDENT 2537                    ADDRESS ON FILE
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REDACTED STUDENT 2539                    ADDRESS ON FILE
REDACTED STUDENT 2540                    ADDRESS ON FILE
REDACTED STUDENT 2541                    ADDRESS ON FILE
REDACTED STUDENT 2542                    ADDRESS ON FILE
REDACTED STUDENT 2543                    ADDRESS ON FILE
REDACTED STUDENT 2544                    ADDRESS ON FILE
REDACTED STUDENT 2545                    ADDRESS ON FILE
REDACTED STUDENT 2546                    ADDRESS ON FILE
REDACTED STUDENT 2547                    ADDRESS ON FILE
REDACTED STUDENT 2548                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 2549                    ADDRESS ON FILE
REDACTED STUDENT 2550                    ADDRESS ON FILE
REDACTED STUDENT 2551                    ADDRESS ON FILE
REDACTED STUDENT 2552                    ADDRESS ON FILE
REDACTED STUDENT 2553                    ADDRESS ON FILE
REDACTED STUDENT 2554                    ADDRESS ON FILE
REDACTED STUDENT 2555                    ADDRESS ON FILE
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REDACTED STUDENT 2558                    ADDRESS ON FILE
REDACTED STUDENT 2559                    ADDRESS ON FILE
REDACTED STUDENT 2560                    ADDRESS ON FILE
REDACTED STUDENT 2561                    ADDRESS ON FILE
REDACTED STUDENT 2562                    ADDRESS ON FILE
REDACTED STUDENT 2563                    ADDRESS ON FILE
REDACTED STUDENT 2564                    ADDRESS ON FILE
REDACTED STUDENT 2565                    ADDRESS ON FILE
REDACTED STUDENT 2566                    ADDRESS ON FILE
REDACTED STUDENT 2567                    ADDRESS ON FILE
REDACTED STUDENT 2568                    ADDRESS ON FILE
REDACTED STUDENT 2569                    ADDRESS ON FILE
REDACTED STUDENT 2570                    ADDRESS ON FILE
REDACTED STUDENT 2571                    ADDRESS ON FILE
REDACTED STUDENT 2572                    ADDRESS ON FILE
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REDACTED STUDENT 2579                    ADDRESS ON FILE
REDACTED STUDENT 2580                    ADDRESS ON FILE
REDACTED STUDENT 2581                    ADDRESS ON FILE
REDACTED STUDENT 2582                    ADDRESS ON FILE
REDACTED STUDENT 2583                    ADDRESS ON FILE
REDACTED STUDENT 2584                    ADDRESS ON FILE
REDACTED STUDENT 2585                    ADDRESS ON FILE
REDACTED STUDENT 2586                    ADDRESS ON FILE
REDACTED STUDENT 2587                    ADDRESS ON FILE
REDACTED STUDENT 2588                    ADDRESS ON FILE
REDACTED STUDENT 2589                    ADDRESS ON FILE
REDACTED STUDENT 2590                    ADDRESS ON FILE
REDACTED STUDENT 2591                    ADDRESS ON FILE
REDACTED STUDENT 2592                    ADDRESS ON FILE
REDACTED STUDENT 2593                    ADDRESS ON FILE
REDACTED STUDENT 2594                    ADDRESS ON FILE
REDACTED STUDENT 2595                    ADDRESS ON FILE
REDACTED STUDENT 2596                    ADDRESS ON FILE
REDACTED STUDENT 2597                    ADDRESS ON FILE
REDACTED STUDENT 2598                    ADDRESS ON FILE
REDACTED STUDENT 2599                    ADDRESS ON FILE
REDACTED STUDENT 2600                    ADDRESS ON FILE
REDACTED STUDENT 2601                    ADDRESS ON FILE
REDACTED STUDENT 2602                    ADDRESS ON FILE
REDACTED STUDENT 2603                    ADDRESS ON FILE
REDACTED STUDENT 2604                    ADDRESS ON FILE
REDACTED STUDENT 2605                    ADDRESS ON FILE
REDACTED STUDENT 2606                    ADDRESS ON FILE
REDACTED STUDENT 2607                    ADDRESS ON FILE
REDACTED STUDENT 2608                    ADDRESS ON FILE
REDACTED STUDENT 2609                    ADDRESS ON FILE
REDACTED STUDENT 2610                    ADDRESS ON FILE
REDACTED STUDENT 2611                    ADDRESS ON FILE
REDACTED STUDENT 2612                    ADDRESS ON FILE
REDACTED STUDENT 2613                    ADDRESS ON FILE
REDACTED STUDENT 2614                    ADDRESS ON FILE
REDACTED STUDENT 2615                    ADDRESS ON FILE
REDACTED STUDENT 2616                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 2617                    ADDRESS ON FILE
REDACTED STUDENT 2618                    ADDRESS ON FILE
REDACTED STUDENT 2619                    ADDRESS ON FILE
REDACTED STUDENT 2620                    ADDRESS ON FILE
REDACTED STUDENT 2621                    ADDRESS ON FILE
REDACTED STUDENT 2622                    ADDRESS ON FILE
REDACTED STUDENT 2623                    ADDRESS ON FILE
REDACTED STUDENT 2624                    ADDRESS ON FILE
REDACTED STUDENT 2625                    ADDRESS ON FILE
REDACTED STUDENT 2626                    ADDRESS ON FILE
REDACTED STUDENT 2627                    ADDRESS ON FILE
REDACTED STUDENT 2628                    ADDRESS ON FILE
REDACTED STUDENT 2629                    ADDRESS ON FILE
REDACTED STUDENT 2630                    ADDRESS ON FILE
REDACTED STUDENT 2631                    ADDRESS ON FILE
REDACTED STUDENT 2632                    ADDRESS ON FILE
REDACTED STUDENT 2633                    ADDRESS ON FILE
REDACTED STUDENT 2634                    ADDRESS ON FILE
REDACTED STUDENT 2635                    ADDRESS ON FILE
REDACTED STUDENT 2636                    ADDRESS ON FILE
REDACTED STUDENT 2637                    ADDRESS ON FILE
REDACTED STUDENT 2638                    ADDRESS ON FILE
REDACTED STUDENT 2639                    ADDRESS ON FILE
REDACTED STUDENT 2640                    ADDRESS ON FILE
REDACTED STUDENT 2641                    ADDRESS ON FILE
REDACTED STUDENT 2642                    ADDRESS ON FILE
REDACTED STUDENT 2643                    ADDRESS ON FILE
REDACTED STUDENT 2644                    ADDRESS ON FILE
REDACTED STUDENT 2645                    ADDRESS ON FILE
REDACTED STUDENT 2646                    ADDRESS ON FILE
REDACTED STUDENT 2647                    ADDRESS ON FILE
REDACTED STUDENT 2648                    ADDRESS ON FILE
REDACTED STUDENT 2649                    ADDRESS ON FILE
REDACTED STUDENT 2650                    ADDRESS ON FILE
REDACTED STUDENT 2651                    ADDRESS ON FILE
REDACTED STUDENT 2652                    ADDRESS ON FILE
REDACTED STUDENT 2653                    ADDRESS ON FILE
REDACTED STUDENT 2654                    ADDRESS ON FILE
REDACTED STUDENT 2655                    ADDRESS ON FILE
REDACTED STUDENT 2656                    ADDRESS ON FILE
REDACTED STUDENT 2657                    ADDRESS ON FILE
REDACTED STUDENT 2658                    ADDRESS ON FILE
REDACTED STUDENT 2659                    ADDRESS ON FILE
REDACTED STUDENT 2660                    ADDRESS ON FILE
REDACTED STUDENT 2661                    ADDRESS ON FILE
REDACTED STUDENT 2662                    ADDRESS ON FILE
REDACTED STUDENT 2663                    ADDRESS ON FILE
REDACTED STUDENT 2664                    ADDRESS ON FILE
REDACTED STUDENT 2665                    ADDRESS ON FILE
REDACTED STUDENT 2666                    ADDRESS ON FILE
REDACTED STUDENT 2667                    ADDRESS ON FILE
REDACTED STUDENT 2668                    ADDRESS ON FILE
REDACTED STUDENT 2669                    ADDRESS ON FILE
REDACTED STUDENT 2671                    ADDRESS ON FILE
REDACTED STUDENT 2672                    ADDRESS ON FILE
REDACTED STUDENT 2673                    ADDRESS ON FILE
REDACTED STUDENT 2674                    ADDRESS ON FILE
REDACTED STUDENT 2675                    ADDRESS ON FILE
REDACTED STUDENT 2676                    ADDRESS ON FILE
REDACTED STUDENT 2677                    ADDRESS ON FILE
REDACTED STUDENT 2678                    ADDRESS ON FILE
REDACTED STUDENT 2679                    ADDRESS ON FILE
REDACTED STUDENT 2680                    ADDRESS ON FILE
REDACTED STUDENT 2681                    ADDRESS ON FILE
REDACTED STUDENT 2682                    ADDRESS ON FILE
REDACTED STUDENT 2683                    ADDRESS ON FILE
REDACTED STUDENT 2684                    ADDRESS ON FILE
REDACTED STUDENT 2685                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 2686                    ADDRESS ON FILE
REDACTED STUDENT 2687                    ADDRESS ON FILE
REDACTED STUDENT 2688                    ADDRESS ON FILE
REDACTED STUDENT 2689                    ADDRESS ON FILE
REDACTED STUDENT 2690                    ADDRESS ON FILE
REDACTED STUDENT 2691                    ADDRESS ON FILE
REDACTED STUDENT 2692                    ADDRESS ON FILE
REDACTED STUDENT 2693                    ADDRESS ON FILE
REDACTED STUDENT 2694                    ADDRESS ON FILE
REDACTED STUDENT 2695                    ADDRESS ON FILE
REDACTED STUDENT 2696                    ADDRESS ON FILE
REDACTED STUDENT 2697                    ADDRESS ON FILE
REDACTED STUDENT 2698                    ADDRESS ON FILE
REDACTED STUDENT 2699                    ADDRESS ON FILE
REDACTED STUDENT 2700                    ADDRESS ON FILE
REDACTED STUDENT 2701                    ADDRESS ON FILE
REDACTED STUDENT 2702                    ADDRESS ON FILE
REDACTED STUDENT 2703                    ADDRESS ON FILE
REDACTED STUDENT 2704                    ADDRESS ON FILE
REDACTED STUDENT 2705                    ADDRESS ON FILE
REDACTED STUDENT 2706                    ADDRESS ON FILE
REDACTED STUDENT 2707                    ADDRESS ON FILE
REDACTED STUDENT 2708                    ADDRESS ON FILE
REDACTED STUDENT 2709                    ADDRESS ON FILE
REDACTED STUDENT 2710                    ADDRESS ON FILE
REDACTED STUDENT 2711                    ADDRESS ON FILE
REDACTED STUDENT 2712                    ADDRESS ON FILE
REDACTED STUDENT 2713                    ADDRESS ON FILE
REDACTED STUDENT 2714                    ADDRESS ON FILE
REDACTED STUDENT 2715                    ADDRESS ON FILE
REDACTED STUDENT 2716                    ADDRESS ON FILE
REDACTED STUDENT 2717                    ADDRESS ON FILE
REDACTED STUDENT 2718                    ADDRESS ON FILE
REDACTED STUDENT 2719                    ADDRESS ON FILE
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REDACTED STUDENT 2721                    ADDRESS ON FILE
REDACTED STUDENT 2722                    ADDRESS ON FILE
REDACTED STUDENT 2723                    ADDRESS ON FILE
REDACTED STUDENT 2724                    ADDRESS ON FILE
REDACTED STUDENT 2725                    ADDRESS ON FILE
REDACTED STUDENT 2726                    ADDRESS ON FILE
REDACTED STUDENT 2727                    ADDRESS ON FILE
REDACTED STUDENT 2728                    ADDRESS ON FILE
REDACTED STUDENT 2729                    ADDRESS ON FILE
REDACTED STUDENT 2730                    ADDRESS ON FILE
REDACTED STUDENT 2731                    ADDRESS ON FILE
REDACTED STUDENT 2732                    ADDRESS ON FILE
REDACTED STUDENT 2733                    ADDRESS ON FILE
REDACTED STUDENT 2734                    ADDRESS ON FILE
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REDACTED STUDENT 2736                    ADDRESS ON FILE
REDACTED STUDENT 2737                    ADDRESS ON FILE
REDACTED STUDENT 2738                    ADDRESS ON FILE
REDACTED STUDENT 2739                    ADDRESS ON FILE
REDACTED STUDENT 2740                    ADDRESS ON FILE
REDACTED STUDENT 2741                    ADDRESS ON FILE
REDACTED STUDENT 2742                    ADDRESS ON FILE
REDACTED STUDENT 2743                    ADDRESS ON FILE
REDACTED STUDENT 2744                    ADDRESS ON FILE
REDACTED STUDENT 2745                    ADDRESS ON FILE
REDACTED STUDENT 2746                    ADDRESS ON FILE
REDACTED STUDENT 2747                    ADDRESS ON FILE
REDACTED STUDENT 2748                    ADDRESS ON FILE
REDACTED STUDENT 2749                    ADDRESS ON FILE
REDACTED STUDENT 2750                    ADDRESS ON FILE
REDACTED STUDENT 2751                    ADDRESS ON FILE
REDACTED STUDENT 2752                    ADDRESS ON FILE
REDACTED STUDENT 2753                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 2754                    ADDRESS ON FILE
REDACTED STUDENT 2755                    ADDRESS ON FILE
REDACTED STUDENT 2756                    ADDRESS ON FILE
REDACTED STUDENT 2757                    ADDRESS ON FILE
REDACTED STUDENT 2758                    ADDRESS ON FILE
REDACTED STUDENT 2759                    ADDRESS ON FILE
REDACTED STUDENT 2760                    ADDRESS ON FILE
REDACTED STUDENT 2761                    ADDRESS ON FILE
REDACTED STUDENT 2762                    ADDRESS ON FILE
REDACTED STUDENT 2763                    ADDRESS ON FILE
REDACTED STUDENT 2764                    ADDRESS ON FILE
REDACTED STUDENT 2765                    ADDRESS ON FILE
REDACTED STUDENT 2766                    ADDRESS ON FILE
REDACTED STUDENT 2767                    ADDRESS ON FILE
REDACTED STUDENT 2768                    ADDRESS ON FILE
REDACTED STUDENT 2769                    ADDRESS ON FILE
REDACTED STUDENT 2770                    ADDRESS ON FILE
REDACTED STUDENT 2771                    ADDRESS ON FILE
REDACTED STUDENT 2772                    ADDRESS ON FILE
REDACTED STUDENT 2773                    ADDRESS ON FILE
REDACTED STUDENT 2774                    ADDRESS ON FILE
REDACTED STUDENT 2775                    ADDRESS ON FILE
REDACTED STUDENT 2776                    ADDRESS ON FILE
REDACTED STUDENT 2777                    ADDRESS ON FILE
REDACTED STUDENT 2778                    ADDRESS ON FILE
REDACTED STUDENT 2779                    ADDRESS ON FILE
REDACTED STUDENT 2780                    ADDRESS ON FILE
REDACTED STUDENT 2781                    ADDRESS ON FILE
REDACTED STUDENT 2782                    ADDRESS ON FILE
REDACTED STUDENT 2783                    ADDRESS ON FILE
REDACTED STUDENT 2784                    ADDRESS ON FILE
REDACTED STUDENT 2785                    ADDRESS ON FILE
REDACTED STUDENT 2786                    ADDRESS ON FILE
REDACTED STUDENT 2787                    ADDRESS ON FILE
REDACTED STUDENT 2788                    ADDRESS ON FILE
REDACTED STUDENT 2789                    ADDRESS ON FILE
REDACTED STUDENT 2790                    ADDRESS ON FILE
REDACTED STUDENT 2791                    ADDRESS ON FILE
REDACTED STUDENT 2792                    ADDRESS ON FILE
REDACTED STUDENT 2793                    ADDRESS ON FILE
REDACTED STUDENT 2794                    ADDRESS ON FILE
REDACTED STUDENT 2795                    ADDRESS ON FILE
REDACTED STUDENT 2796                    ADDRESS ON FILE
REDACTED STUDENT 2797                    ADDRESS ON FILE
REDACTED STUDENT 2798                    ADDRESS ON FILE
REDACTED STUDENT 2799                    ADDRESS ON FILE
REDACTED STUDENT 2800                    ADDRESS ON FILE
REDACTED STUDENT 2801                    ADDRESS ON FILE
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REDACTED STUDENT 2806                    ADDRESS ON FILE
REDACTED STUDENT 2807                    ADDRESS ON FILE
REDACTED STUDENT 2808                    ADDRESS ON FILE
REDACTED STUDENT 2809                    ADDRESS ON FILE
REDACTED STUDENT 2810                    ADDRESS ON FILE
REDACTED STUDENT 2811                    ADDRESS ON FILE
REDACTED STUDENT 2812                    ADDRESS ON FILE
REDACTED STUDENT 2813                    ADDRESS ON FILE
REDACTED STUDENT 2814                    ADDRESS ON FILE
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REDACTED STUDENT 2817                    ADDRESS ON FILE
REDACTED STUDENT 2818                    ADDRESS ON FILE
REDACTED STUDENT 2819                    ADDRESS ON FILE
REDACTED STUDENT 2820                    ADDRESS ON FILE
REDACTED STUDENT 2821                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 2822                    ADDRESS ON FILE
REDACTED STUDENT 2823                    ADDRESS ON FILE
REDACTED STUDENT 2824                    ADDRESS ON FILE
REDACTED STUDENT 2825                    ADDRESS ON FILE
REDACTED STUDENT 2826                    ADDRESS ON FILE
REDACTED STUDENT 2827                    ADDRESS ON FILE
REDACTED STUDENT 2828                    ADDRESS ON FILE
REDACTED STUDENT 2829                    ADDRESS ON FILE
REDACTED STUDENT 2830                    ADDRESS ON FILE
REDACTED STUDENT 2831                    ADDRESS ON FILE
REDACTED STUDENT 2832                    ADDRESS ON FILE
REDACTED STUDENT 2833                    ADDRESS ON FILE
REDACTED STUDENT 2834                    ADDRESS ON FILE
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REDACTED STUDENT 2836                    ADDRESS ON FILE
REDACTED STUDENT 2837                    ADDRESS ON FILE
REDACTED STUDENT 2838                    ADDRESS ON FILE
REDACTED STUDENT 2839                    ADDRESS ON FILE
REDACTED STUDENT 2840                    ADDRESS ON FILE
REDACTED STUDENT 2841                    ADDRESS ON FILE
REDACTED STUDENT 2842                    ADDRESS ON FILE
REDACTED STUDENT 2843                    ADDRESS ON FILE
REDACTED STUDENT 2844                    ADDRESS ON FILE
REDACTED STUDENT 2845                    ADDRESS ON FILE
REDACTED STUDENT 2846                    ADDRESS ON FILE
REDACTED STUDENT 2847                    ADDRESS ON FILE
REDACTED STUDENT 2848                    ADDRESS ON FILE
REDACTED STUDENT 2849                    ADDRESS ON FILE
REDACTED STUDENT 2850                    ADDRESS ON FILE
REDACTED STUDENT 2851                    ADDRESS ON FILE
REDACTED STUDENT 2852                    ADDRESS ON FILE
REDACTED STUDENT 2853                    ADDRESS ON FILE
REDACTED STUDENT 2854                    ADDRESS ON FILE
REDACTED STUDENT 2855                    ADDRESS ON FILE
REDACTED STUDENT 2856                    ADDRESS ON FILE
REDACTED STUDENT 2857                    ADDRESS ON FILE
REDACTED STUDENT 2858                    ADDRESS ON FILE
REDACTED STUDENT 2859                    ADDRESS ON FILE
REDACTED STUDENT 2860                    ADDRESS ON FILE
REDACTED STUDENT 2861                    ADDRESS ON FILE
REDACTED STUDENT 2862                    ADDRESS ON FILE
REDACTED STUDENT 2863                    ADDRESS ON FILE
REDACTED STUDENT 2864                    ADDRESS ON FILE
REDACTED STUDENT 2865                    ADDRESS ON FILE
REDACTED STUDENT 2866                    ADDRESS ON FILE
REDACTED STUDENT 2867                    ADDRESS ON FILE
REDACTED STUDENT 2868                    ADDRESS ON FILE
REDACTED STUDENT 2869                    ADDRESS ON FILE
REDACTED STUDENT 2870                    ADDRESS ON FILE
REDACTED STUDENT 2871                    ADDRESS ON FILE
REDACTED STUDENT 2872                    ADDRESS ON FILE
REDACTED STUDENT 2873                    ADDRESS ON FILE
REDACTED STUDENT 2874                    ADDRESS ON FILE
REDACTED STUDENT 2875                    ADDRESS ON FILE
REDACTED STUDENT 2876                    ADDRESS ON FILE
REDACTED STUDENT 2877                    ADDRESS ON FILE
REDACTED STUDENT 2878                    ADDRESS ON FILE
REDACTED STUDENT 2879                    ADDRESS ON FILE
REDACTED STUDENT 2880                    ADDRESS ON FILE
REDACTED STUDENT 2881                    ADDRESS ON FILE
REDACTED STUDENT 2882                    ADDRESS ON FILE
REDACTED STUDENT 2883                    ADDRESS ON FILE
REDACTED STUDENT 2884                    ADDRESS ON FILE
REDACTED STUDENT 2885                    ADDRESS ON FILE
REDACTED STUDENT 2886                    ADDRESS ON FILE
REDACTED STUDENT 2887                    ADDRESS ON FILE
REDACTED STUDENT 2888                    ADDRESS ON FILE
REDACTED STUDENT 2889                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 2890                    ADDRESS ON FILE
REDACTED STUDENT 2891                    ADDRESS ON FILE
REDACTED STUDENT 2892                    ADDRESS ON FILE
REDACTED STUDENT 2893                    ADDRESS ON FILE
REDACTED STUDENT 2894                    ADDRESS ON FILE
REDACTED STUDENT 2895                    ADDRESS ON FILE
REDACTED STUDENT 2896                    ADDRESS ON FILE
REDACTED STUDENT 2897                    ADDRESS ON FILE
REDACTED STUDENT 2898                    ADDRESS ON FILE
REDACTED STUDENT 2899                    ADDRESS ON FILE
REDACTED STUDENT 2900                    ADDRESS ON FILE
REDACTED STUDENT 2901                    ADDRESS ON FILE
REDACTED STUDENT 2902                    ADDRESS ON FILE
REDACTED STUDENT 2903                    ADDRESS ON FILE
REDACTED STUDENT 2904                    ADDRESS ON FILE
REDACTED STUDENT 2906                    ADDRESS ON FILE
REDACTED STUDENT 2907                    ADDRESS ON FILE
REDACTED STUDENT 2908                    ADDRESS ON FILE
REDACTED STUDENT 2909                    ADDRESS ON FILE
REDACTED STUDENT 2910                    ADDRESS ON FILE
REDACTED STUDENT 2911                    ADDRESS ON FILE
REDACTED STUDENT 2912                    ADDRESS ON FILE
REDACTED STUDENT 2913                    ADDRESS ON FILE
REDACTED STUDENT 2914                    ADDRESS ON FILE
REDACTED STUDENT 2915                    ADDRESS ON FILE
REDACTED STUDENT 2916                    ADDRESS ON FILE
REDACTED STUDENT 2917                    ADDRESS ON FILE
REDACTED STUDENT 2918                    ADDRESS ON FILE
REDACTED STUDENT 2919                    ADDRESS ON FILE
REDACTED STUDENT 2920                    ADDRESS ON FILE
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REDACTED STUDENT 2950                    ADDRESS ON FILE
REDACTED STUDENT 2951                    ADDRESS ON FILE
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REDACTED STUDENT 2953                    ADDRESS ON FILE
REDACTED STUDENT 2954                    ADDRESS ON FILE
REDACTED STUDENT 2955                    ADDRESS ON FILE
REDACTED STUDENT 2956                    ADDRESS ON FILE
REDACTED STUDENT 2957                    ADDRESS ON FILE
REDACTED STUDENT 2958                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 2959                    ADDRESS ON FILE
REDACTED STUDENT 2960                    ADDRESS ON FILE
REDACTED STUDENT 2961                    ADDRESS ON FILE
REDACTED STUDENT 2962                    ADDRESS ON FILE
REDACTED STUDENT 2963                    ADDRESS ON FILE
REDACTED STUDENT 2964                    ADDRESS ON FILE
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REDACTED STUDENT 2989                    ADDRESS ON FILE
REDACTED STUDENT 2990                    ADDRESS ON FILE
REDACTED STUDENT 2991                    ADDRESS ON FILE
REDACTED STUDENT 2992                    ADDRESS ON FILE
REDACTED STUDENT 2993                    ADDRESS ON FILE
REDACTED STUDENT 2994                    ADDRESS ON FILE
REDACTED STUDENT 2995                    ADDRESS ON FILE
REDACTED STUDENT 2996                    ADDRESS ON FILE
REDACTED STUDENT 2997                    ADDRESS ON FILE
REDACTED STUDENT 2998                    ADDRESS ON FILE
REDACTED STUDENT 2999                    ADDRESS ON FILE
REDACTED STUDENT 3000                    ADDRESS ON FILE
REDACTED STUDENT 3001                    ADDRESS ON FILE
REDACTED STUDENT 3002                    ADDRESS ON FILE
REDACTED STUDENT 3003                    ADDRESS ON FILE
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REDACTED STUDENT 3009                    ADDRESS ON FILE
REDACTED STUDENT 3010                    ADDRESS ON FILE
REDACTED STUDENT 3011                    ADDRESS ON FILE
REDACTED STUDENT 3012                    ADDRESS ON FILE
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REDACTED STUDENT 3020                    ADDRESS ON FILE
REDACTED STUDENT 3021                    ADDRESS ON FILE
REDACTED STUDENT 3022                    ADDRESS ON FILE
REDACTED STUDENT 3023                    ADDRESS ON FILE
REDACTED STUDENT 3024                    ADDRESS ON FILE
REDACTED STUDENT 3025                    ADDRESS ON FILE
REDACTED STUDENT 3026                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 3027                    ADDRESS ON FILE
REDACTED STUDENT 3028                    ADDRESS ON FILE
REDACTED STUDENT 3029                    ADDRESS ON FILE
REDACTED STUDENT 3030                    ADDRESS ON FILE
REDACTED STUDENT 3031                    ADDRESS ON FILE
REDACTED STUDENT 3032                    ADDRESS ON FILE
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REDACTED STUDENT 3051                    ADDRESS ON FILE
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REDACTED STUDENT 3055                    ADDRESS ON FILE
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REDACTED STUDENT 3059                    ADDRESS ON FILE
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REDACTED STUDENT 3064                    ADDRESS ON FILE
REDACTED STUDENT 3065                    ADDRESS ON FILE
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REDACTED STUDENT 3082                    ADDRESS ON FILE
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REDACTED STUDENT 3093                    ADDRESS ON FILE
REDACTED STUDENT 3094                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 3095                    ADDRESS ON FILE
REDACTED STUDENT 3096                    ADDRESS ON FILE
REDACTED STUDENT 3097                    ADDRESS ON FILE
REDACTED STUDENT 3098                    ADDRESS ON FILE
REDACTED STUDENT 3099                    ADDRESS ON FILE
REDACTED STUDENT 3100                    ADDRESS ON FILE
REDACTED STUDENT 3101                    ADDRESS ON FILE
REDACTED STUDENT 3102                    ADDRESS ON FILE
REDACTED STUDENT 3103                    ADDRESS ON FILE
REDACTED STUDENT 3104                    ADDRESS ON FILE
REDACTED STUDENT 3105                    ADDRESS ON FILE
REDACTED STUDENT 3106                    ADDRESS ON FILE
REDACTED STUDENT 3107                    ADDRESS ON FILE
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REDACTED STUDENT 3109                    ADDRESS ON FILE
REDACTED STUDENT 3110                    ADDRESS ON FILE
REDACTED STUDENT 3111                    ADDRESS ON FILE
REDACTED STUDENT 3112                    ADDRESS ON FILE
REDACTED STUDENT 3113                    ADDRESS ON FILE
REDACTED STUDENT 3114                    ADDRESS ON FILE
REDACTED STUDENT 3115                    ADDRESS ON FILE
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REDACTED STUDENT 3118                    ADDRESS ON FILE
REDACTED STUDENT 3119                    ADDRESS ON FILE
REDACTED STUDENT 3120                    ADDRESS ON FILE
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REDACTED STUDENT 3160                    ADDRESS ON FILE
REDACTED STUDENT 3161                    ADDRESS ON FILE
REDACTED STUDENT 3162                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 3163                    ADDRESS ON FILE
REDACTED STUDENT 3164                    ADDRESS ON FILE
REDACTED STUDENT 3165                    ADDRESS ON FILE
REDACTED STUDENT 3166                    ADDRESS ON FILE
REDACTED STUDENT 3167                    ADDRESS ON FILE
REDACTED STUDENT 3168                    ADDRESS ON FILE
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REDACTED STUDENT 3170                    ADDRESS ON FILE
REDACTED STUDENT 3171                    ADDRESS ON FILE
REDACTED STUDENT 3172                    ADDRESS ON FILE
REDACTED STUDENT 3173                    ADDRESS ON FILE
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REDACTED STUDENT 3179                    ADDRESS ON FILE
REDACTED STUDENT 3180                    ADDRESS ON FILE
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REDACTED STUDENT 3210                    ADDRESS ON FILE
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REDACTED STUDENT 3219                    ADDRESS ON FILE
REDACTED STUDENT 3220                    ADDRESS ON FILE
REDACTED STUDENT 3221                    ADDRESS ON FILE
REDACTED STUDENT 3222                    ADDRESS ON FILE
REDACTED STUDENT 3223                    ADDRESS ON FILE
REDACTED STUDENT 3224                    ADDRESS ON FILE
REDACTED STUDENT 3225                    ADDRESS ON FILE
REDACTED STUDENT 3226                    ADDRESS ON FILE
REDACTED STUDENT 3227                    ADDRESS ON FILE
REDACTED STUDENT 3228                    ADDRESS ON FILE
REDACTED STUDENT 3229                    ADDRESS ON FILE
REDACTED STUDENT 3230                    ADDRESS ON FILE
REDACTED STUDENT 3231                    ADDRESS ON FILE
REDACTED STUDENT 3232                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 3233                    ADDRESS ON FILE
REDACTED STUDENT 3234                    ADDRESS ON FILE
REDACTED STUDENT 3235                    ADDRESS ON FILE
REDACTED STUDENT 3236                    ADDRESS ON FILE
REDACTED STUDENT 3237                    ADDRESS ON FILE
REDACTED STUDENT 3238                    ADDRESS ON FILE
REDACTED STUDENT 3239                    ADDRESS ON FILE
REDACTED STUDENT 3240                    ADDRESS ON FILE
REDACTED STUDENT 3241                    ADDRESS ON FILE
REDACTED STUDENT 3242                    ADDRESS ON FILE
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REDACTED STUDENT 3250                    ADDRESS ON FILE
REDACTED STUDENT 3251                    ADDRESS ON FILE
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REDACTED STUDENT 3257                    ADDRESS ON FILE
REDACTED STUDENT 3258                    ADDRESS ON FILE
REDACTED STUDENT 3259                    ADDRESS ON FILE
REDACTED STUDENT 3260                    ADDRESS ON FILE
REDACTED STUDENT 3261                    ADDRESS ON FILE
REDACTED STUDENT 3262                    ADDRESS ON FILE
REDACTED STUDENT 3263                    ADDRESS ON FILE
REDACTED STUDENT 3264                    ADDRESS ON FILE
REDACTED STUDENT 3265                    ADDRESS ON FILE
REDACTED STUDENT 3266                    ADDRESS ON FILE
REDACTED STUDENT 3267                    ADDRESS ON FILE
REDACTED STUDENT 3268                    ADDRESS ON FILE
REDACTED STUDENT 3269                    ADDRESS ON FILE
REDACTED STUDENT 3270                    ADDRESS ON FILE
REDACTED STUDENT 3271                    ADDRESS ON FILE
REDACTED STUDENT 3272                    ADDRESS ON FILE
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REDACTED STUDENT 3274                    ADDRESS ON FILE
REDACTED STUDENT 3275                    ADDRESS ON FILE
REDACTED STUDENT 3276                    ADDRESS ON FILE
REDACTED STUDENT 3277                    ADDRESS ON FILE
REDACTED STUDENT 3278                    ADDRESS ON FILE
REDACTED STUDENT 3279                    ADDRESS ON FILE
REDACTED STUDENT 3280                    ADDRESS ON FILE
REDACTED STUDENT 3281                    ADDRESS ON FILE
REDACTED STUDENT 3282                    ADDRESS ON FILE
REDACTED STUDENT 3283                    ADDRESS ON FILE
REDACTED STUDENT 3284                    ADDRESS ON FILE
REDACTED STUDENT 3285                    ADDRESS ON FILE
REDACTED STUDENT 3286                    ADDRESS ON FILE
REDACTED STUDENT 3287                    ADDRESS ON FILE
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REDACTED STUDENT 3296                    ADDRESS ON FILE
REDACTED STUDENT 3297                    ADDRESS ON FILE
REDACTED STUDENT 3298                    ADDRESS ON FILE
REDACTED STUDENT 3299                    ADDRESS ON FILE
REDACTED STUDENT 3300                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 3301                    ADDRESS ON FILE
REDACTED STUDENT 3302                    ADDRESS ON FILE
REDACTED STUDENT 3303                    ADDRESS ON FILE
REDACTED STUDENT 3304                    ADDRESS ON FILE
REDACTED STUDENT 3305                    ADDRESS ON FILE
REDACTED STUDENT 3306                    ADDRESS ON FILE
REDACTED STUDENT 3307                    ADDRESS ON FILE
REDACTED STUDENT 3308                    ADDRESS ON FILE
REDACTED STUDENT 3309                    ADDRESS ON FILE
REDACTED STUDENT 3310                    ADDRESS ON FILE
REDACTED STUDENT 3311                    ADDRESS ON FILE
REDACTED STUDENT 3312                    ADDRESS ON FILE
REDACTED STUDENT 3313                    ADDRESS ON FILE
REDACTED STUDENT 3314                    ADDRESS ON FILE
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REDACTED STUDENT 3316                    ADDRESS ON FILE
REDACTED STUDENT 3317                    ADDRESS ON FILE
REDACTED STUDENT 3318                    ADDRESS ON FILE
REDACTED STUDENT 3319                    ADDRESS ON FILE
REDACTED STUDENT 3320                    ADDRESS ON FILE
REDACTED STUDENT 3321                    ADDRESS ON FILE
REDACTED STUDENT 3322                    ADDRESS ON FILE
REDACTED STUDENT 3323                    ADDRESS ON FILE
REDACTED STUDENT 3324                    ADDRESS ON FILE
REDACTED STUDENT 3325                    ADDRESS ON FILE
REDACTED STUDENT 3326                    ADDRESS ON FILE
REDACTED STUDENT 3327                    ADDRESS ON FILE
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REDACTED STUDENT 3330                    ADDRESS ON FILE
REDACTED STUDENT 3331                    ADDRESS ON FILE
REDACTED STUDENT 3332                    ADDRESS ON FILE
REDACTED STUDENT 3333                    ADDRESS ON FILE
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REDACTED STUDENT 3341                    ADDRESS ON FILE
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REDACTED STUDENT 3349                    ADDRESS ON FILE
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REDACTED STUDENT 3357                    ADDRESS ON FILE
REDACTED STUDENT 3358                    ADDRESS ON FILE
REDACTED STUDENT 3359                    ADDRESS ON FILE
REDACTED STUDENT 3360                    ADDRESS ON FILE
REDACTED STUDENT 3361                    ADDRESS ON FILE
REDACTED STUDENT 3362                    ADDRESS ON FILE
REDACTED STUDENT 3363                    ADDRESS ON FILE
REDACTED STUDENT 3364                    ADDRESS ON FILE
REDACTED STUDENT 3365                    ADDRESS ON FILE
REDACTED STUDENT 3366                    ADDRESS ON FILE
REDACTED STUDENT 3367                    ADDRESS ON FILE
REDACTED STUDENT 3368                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 3369                    ADDRESS ON FILE
REDACTED STUDENT 3370                    ADDRESS ON FILE
REDACTED STUDENT 3371                    ADDRESS ON FILE
REDACTED STUDENT 3372                    ADDRESS ON FILE
REDACTED STUDENT 3373                    ADDRESS ON FILE
REDACTED STUDENT 3374                    ADDRESS ON FILE
REDACTED STUDENT 3375                    ADDRESS ON FILE
REDACTED STUDENT 3376                    ADDRESS ON FILE
REDACTED STUDENT 3377                    ADDRESS ON FILE
REDACTED STUDENT 3378                    ADDRESS ON FILE
REDACTED STUDENT 3379                    ADDRESS ON FILE
REDACTED STUDENT 3380                    ADDRESS ON FILE
REDACTED STUDENT 3381                    ADDRESS ON FILE
REDACTED STUDENT 3382                    ADDRESS ON FILE
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REDACTED STUDENT 3384                    ADDRESS ON FILE
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REDACTED STUDENT 3389                    ADDRESS ON FILE
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REDACTED STUDENT 3399                    ADDRESS ON FILE
REDACTED STUDENT 3400                    ADDRESS ON FILE
REDACTED STUDENT 3401                    ADDRESS ON FILE
REDACTED STUDENT 3402                    ADDRESS ON FILE
REDACTED STUDENT 3403                    ADDRESS ON FILE
REDACTED STUDENT 3404                    ADDRESS ON FILE
REDACTED STUDENT 3405                    ADDRESS ON FILE
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REDACTED STUDENT 3408                    ADDRESS ON FILE
REDACTED STUDENT 3409                    ADDRESS ON FILE
REDACTED STUDENT 3410                    ADDRESS ON FILE
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REDACTED STUDENT 3420                    ADDRESS ON FILE
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REDACTED STUDENT 3426                    ADDRESS ON FILE
REDACTED STUDENT 3427                    ADDRESS ON FILE
REDACTED STUDENT 3428                    ADDRESS ON FILE
REDACTED STUDENT 3429                    ADDRESS ON FILE
REDACTED STUDENT 3430                    ADDRESS ON FILE
REDACTED STUDENT 3431                    ADDRESS ON FILE
REDACTED STUDENT 3432                    ADDRESS ON FILE
REDACTED STUDENT 3433                    ADDRESS ON FILE
REDACTED STUDENT 3434                    ADDRESS ON FILE
REDACTED STUDENT 3435                    ADDRESS ON FILE
REDACTED STUDENT 3436                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 3437                    ADDRESS ON FILE
REDACTED STUDENT 3438                    ADDRESS ON FILE
REDACTED STUDENT 3439                    ADDRESS ON FILE
REDACTED STUDENT 3440                    ADDRESS ON FILE
REDACTED STUDENT 3441                    ADDRESS ON FILE
REDACTED STUDENT 3442                    ADDRESS ON FILE
REDACTED STUDENT 3443                    ADDRESS ON FILE
REDACTED STUDENT 3444                    ADDRESS ON FILE
REDACTED STUDENT 3445                    ADDRESS ON FILE
REDACTED STUDENT 3446                    ADDRESS ON FILE
REDACTED STUDENT 3447                    ADDRESS ON FILE
REDACTED STUDENT 3448                    ADDRESS ON FILE
REDACTED STUDENT 3449                    ADDRESS ON FILE
REDACTED STUDENT 3450                    ADDRESS ON FILE
REDACTED STUDENT 3451                    ADDRESS ON FILE
REDACTED STUDENT 3452                    ADDRESS ON FILE
REDACTED STUDENT 3453                    ADDRESS ON FILE
REDACTED STUDENT 3454                    ADDRESS ON FILE
REDACTED STUDENT 3455                    ADDRESS ON FILE
REDACTED STUDENT 3456                    ADDRESS ON FILE
REDACTED STUDENT 3457                    ADDRESS ON FILE
REDACTED STUDENT 3458                    ADDRESS ON FILE
REDACTED STUDENT 3459                    ADDRESS ON FILE
REDACTED STUDENT 3460                    ADDRESS ON FILE
REDACTED STUDENT 3461                    ADDRESS ON FILE
REDACTED STUDENT 3462                    ADDRESS ON FILE
REDACTED STUDENT 3463                    ADDRESS ON FILE
REDACTED STUDENT 3464                    ADDRESS ON FILE
REDACTED STUDENT 3465                    ADDRESS ON FILE
REDACTED STUDENT 3466                    ADDRESS ON FILE
REDACTED STUDENT 3467                    ADDRESS ON FILE
REDACTED STUDENT 3468                    ADDRESS ON FILE
REDACTED STUDENT 3469                    ADDRESS ON FILE
REDACTED STUDENT 3470                    ADDRESS ON FILE
REDACTED STUDENT 3471                    ADDRESS ON FILE
REDACTED STUDENT 3472                    ADDRESS ON FILE
REDACTED STUDENT 3473                    ADDRESS ON FILE
REDACTED STUDENT 3474                    ADDRESS ON FILE
REDACTED STUDENT 3475                    ADDRESS ON FILE
REDACTED STUDENT 3476                    ADDRESS ON FILE
REDACTED STUDENT 3477                    ADDRESS ON FILE
REDACTED STUDENT 3478                    ADDRESS ON FILE
REDACTED STUDENT 3479                    ADDRESS ON FILE
REDACTED STUDENT 3480                    ADDRESS ON FILE
REDACTED STUDENT 3481                    ADDRESS ON FILE
REDACTED STUDENT 3482                    ADDRESS ON FILE
REDACTED STUDENT 3483                    ADDRESS ON FILE
REDACTED STUDENT 3484                    ADDRESS ON FILE
REDACTED STUDENT 3485                    ADDRESS ON FILE
REDACTED STUDENT 3486                    ADDRESS ON FILE
REDACTED STUDENT 3487                    ADDRESS ON FILE
REDACTED STUDENT 3488                    ADDRESS ON FILE
REDACTED STUDENT 3489                    ADDRESS ON FILE
REDACTED STUDENT 3490                    ADDRESS ON FILE
REDACTED STUDENT 3491                    ADDRESS ON FILE
REDACTED STUDENT 3492                    ADDRESS ON FILE
REDACTED STUDENT 3493                    ADDRESS ON FILE
REDACTED STUDENT 3494                    ADDRESS ON FILE
REDACTED STUDENT 3495                    ADDRESS ON FILE
REDACTED STUDENT 3496                    ADDRESS ON FILE
REDACTED STUDENT 3497                    ADDRESS ON FILE
REDACTED STUDENT 3498                    ADDRESS ON FILE
REDACTED STUDENT 3499                    ADDRESS ON FILE
REDACTED STUDENT 3500                    ADDRESS ON FILE
REDACTED STUDENT 3501                    ADDRESS ON FILE
REDACTED STUDENT 3502                    ADDRESS ON FILE
REDACTED STUDENT 3503                    ADDRESS ON FILE
REDACTED STUDENT 3504                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 3505                    ADDRESS ON FILE
REDACTED STUDENT 3506                    ADDRESS ON FILE
REDACTED STUDENT 3507                    ADDRESS ON FILE
REDACTED STUDENT 3508                    ADDRESS ON FILE
REDACTED STUDENT 3509                    ADDRESS ON FILE
REDACTED STUDENT 3510                    ADDRESS ON FILE
REDACTED STUDENT 3511                    ADDRESS ON FILE
REDACTED STUDENT 3512                    ADDRESS ON FILE
REDACTED STUDENT 3513                    ADDRESS ON FILE
REDACTED STUDENT 3514                    ADDRESS ON FILE
REDACTED STUDENT 3515                    ADDRESS ON FILE
REDACTED STUDENT 3516                    ADDRESS ON FILE
REDACTED STUDENT 3517                    ADDRESS ON FILE
REDACTED STUDENT 3518                    ADDRESS ON FILE
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REDACTED STUDENT 3521                    ADDRESS ON FILE
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REDACTED STUDENT 3526                    ADDRESS ON FILE
REDACTED STUDENT 3527                    ADDRESS ON FILE
REDACTED STUDENT 3528                    ADDRESS ON FILE
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REDACTED STUDENT 3530                    ADDRESS ON FILE
REDACTED STUDENT 3531                    ADDRESS ON FILE
REDACTED STUDENT 3532                    ADDRESS ON FILE
REDACTED STUDENT 3533                    ADDRESS ON FILE
REDACTED STUDENT 3534                    ADDRESS ON FILE
REDACTED STUDENT 3535                    ADDRESS ON FILE
REDACTED STUDENT 3536                    ADDRESS ON FILE
REDACTED STUDENT 3537                    ADDRESS ON FILE
REDACTED STUDENT 3538                    ADDRESS ON FILE
REDACTED STUDENT 3539                    ADDRESS ON FILE
REDACTED STUDENT 3540                    ADDRESS ON FILE
REDACTED STUDENT 3541                    ADDRESS ON FILE
REDACTED STUDENT 3542                    ADDRESS ON FILE
REDACTED STUDENT 3543                    ADDRESS ON FILE
REDACTED STUDENT 3544                    ADDRESS ON FILE
REDACTED STUDENT 3545                    ADDRESS ON FILE
REDACTED STUDENT 3546                    ADDRESS ON FILE
REDACTED STUDENT 3547                    ADDRESS ON FILE
REDACTED STUDENT 3548                    ADDRESS ON FILE
REDACTED STUDENT 3549                    ADDRESS ON FILE
REDACTED STUDENT 3550                    ADDRESS ON FILE
REDACTED STUDENT 3551                    ADDRESS ON FILE
REDACTED STUDENT 3552                    ADDRESS ON FILE
REDACTED STUDENT 3553                    ADDRESS ON FILE
REDACTED STUDENT 3554                    ADDRESS ON FILE
REDACTED STUDENT 3555                    ADDRESS ON FILE
REDACTED STUDENT 3556                    ADDRESS ON FILE
REDACTED STUDENT 3557                    ADDRESS ON FILE
REDACTED STUDENT 3558                    ADDRESS ON FILE
REDACTED STUDENT 3559                    ADDRESS ON FILE
REDACTED STUDENT 3560                    ADDRESS ON FILE
REDACTED STUDENT 3561                    ADDRESS ON FILE
REDACTED STUDENT 3562                    ADDRESS ON FILE
REDACTED STUDENT 3563                    ADDRESS ON FILE
REDACTED STUDENT 3564                    ADDRESS ON FILE
REDACTED STUDENT 3565                    ADDRESS ON FILE
REDACTED STUDENT 3566                    ADDRESS ON FILE
REDACTED STUDENT 3567                    ADDRESS ON FILE
REDACTED STUDENT 3568                    ADDRESS ON FILE
REDACTED STUDENT 3569                    ADDRESS ON FILE
REDACTED STUDENT 3570                    ADDRESS ON FILE
REDACTED STUDENT 3571                    ADDRESS ON FILE
REDACTED STUDENT 3572                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 3573                    ADDRESS ON FILE
REDACTED STUDENT 3574                    ADDRESS ON FILE
REDACTED STUDENT 3575                    ADDRESS ON FILE
REDACTED STUDENT 3576                    ADDRESS ON FILE
REDACTED STUDENT 3577                    ADDRESS ON FILE
REDACTED STUDENT 3578                    ADDRESS ON FILE
REDACTED STUDENT 3579                    ADDRESS ON FILE
REDACTED STUDENT 3580                    ADDRESS ON FILE
REDACTED STUDENT 3581                    ADDRESS ON FILE
REDACTED STUDENT 3582                    ADDRESS ON FILE
REDACTED STUDENT 3583                    ADDRESS ON FILE
REDACTED STUDENT 3584                    ADDRESS ON FILE
REDACTED STUDENT 3585                    ADDRESS ON FILE
REDACTED STUDENT 3586                    ADDRESS ON FILE
REDACTED STUDENT 3587                    ADDRESS ON FILE
REDACTED STUDENT 3588                    ADDRESS ON FILE
REDACTED STUDENT 3589                    ADDRESS ON FILE
REDACTED STUDENT 3590                    ADDRESS ON FILE
REDACTED STUDENT 3591                    ADDRESS ON FILE
REDACTED STUDENT 3592                    ADDRESS ON FILE
REDACTED STUDENT 3593                    ADDRESS ON FILE
REDACTED STUDENT 3594                    ADDRESS ON FILE
REDACTED STUDENT 3595                    ADDRESS ON FILE
REDACTED STUDENT 3596                    ADDRESS ON FILE
REDACTED STUDENT 3597                    ADDRESS ON FILE
REDACTED STUDENT 3598                    ADDRESS ON FILE
REDACTED STUDENT 3599                    ADDRESS ON FILE
REDACTED STUDENT 3600                    ADDRESS ON FILE
REDACTED STUDENT 3601                    ADDRESS ON FILE
REDACTED STUDENT 3602                    ADDRESS ON FILE
REDACTED STUDENT 3603                    ADDRESS ON FILE
REDACTED STUDENT 3604                    ADDRESS ON FILE
REDACTED STUDENT 3605                    ADDRESS ON FILE
REDACTED STUDENT 3606                    ADDRESS ON FILE
REDACTED STUDENT 3607                    ADDRESS ON FILE
REDACTED STUDENT 3608                    ADDRESS ON FILE
REDACTED STUDENT 3609                    ADDRESS ON FILE
REDACTED STUDENT 3610                    ADDRESS ON FILE
REDACTED STUDENT 3611                    ADDRESS ON FILE
REDACTED STUDENT 3612                    ADDRESS ON FILE
REDACTED STUDENT 3613                    ADDRESS ON FILE
REDACTED STUDENT 3614                    ADDRESS ON FILE
REDACTED STUDENT 3615                    ADDRESS ON FILE
REDACTED STUDENT 3616                    ADDRESS ON FILE
REDACTED STUDENT 3617                    ADDRESS ON FILE
REDACTED STUDENT 3618                    ADDRESS ON FILE
REDACTED STUDENT 3619                    ADDRESS ON FILE
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REDACTED STUDENT 3621                    ADDRESS ON FILE
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REDACTED STUDENT 3623                    ADDRESS ON FILE
REDACTED STUDENT 3624                    ADDRESS ON FILE
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REDACTED STUDENT 3626                    ADDRESS ON FILE
REDACTED STUDENT 3627                    ADDRESS ON FILE
REDACTED STUDENT 3628                    ADDRESS ON FILE
REDACTED STUDENT 3629                    ADDRESS ON FILE
REDACTED STUDENT 3630                    ADDRESS ON FILE
REDACTED STUDENT 3631                    ADDRESS ON FILE
REDACTED STUDENT 3632                    ADDRESS ON FILE
REDACTED STUDENT 3633                    ADDRESS ON FILE
REDACTED STUDENT 3634                    ADDRESS ON FILE
REDACTED STUDENT 3635                    ADDRESS ON FILE
REDACTED STUDENT 3636                    ADDRESS ON FILE
REDACTED STUDENT 3637                    ADDRESS ON FILE
REDACTED STUDENT 3638                    ADDRESS ON FILE
REDACTED STUDENT 3639                    ADDRESS ON FILE
REDACTED STUDENT 3640                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 3641                    ADDRESS ON FILE
REDACTED STUDENT 3642                    ADDRESS ON FILE
REDACTED STUDENT 3643                    ADDRESS ON FILE
REDACTED STUDENT 3644                    ADDRESS ON FILE
REDACTED STUDENT 3645                    ADDRESS ON FILE
REDACTED STUDENT 3646                    ADDRESS ON FILE
REDACTED STUDENT 3647                    ADDRESS ON FILE
REDACTED STUDENT 3648                    ADDRESS ON FILE
REDACTED STUDENT 3649                    ADDRESS ON FILE
REDACTED STUDENT 3650                    ADDRESS ON FILE
REDACTED STUDENT 3651                    ADDRESS ON FILE
REDACTED STUDENT 3652                    ADDRESS ON FILE
REDACTED STUDENT 3653                    ADDRESS ON FILE
REDACTED STUDENT 3654                    ADDRESS ON FILE
REDACTED STUDENT 3655                    ADDRESS ON FILE
REDACTED STUDENT 3656                    ADDRESS ON FILE
REDACTED STUDENT 3657                    ADDRESS ON FILE
REDACTED STUDENT 3658                    ADDRESS ON FILE
REDACTED STUDENT 3659                    ADDRESS ON FILE
REDACTED STUDENT 3660                    ADDRESS ON FILE
REDACTED STUDENT 3661                    ADDRESS ON FILE
REDACTED STUDENT 3662                    ADDRESS ON FILE
REDACTED STUDENT 3663                    ADDRESS ON FILE
REDACTED STUDENT 3664                    ADDRESS ON FILE
REDACTED STUDENT 3665                    ADDRESS ON FILE
REDACTED STUDENT 3666                    ADDRESS ON FILE
REDACTED STUDENT 3667                    ADDRESS ON FILE
REDACTED STUDENT 3668                    ADDRESS ON FILE
REDACTED STUDENT 3669                    ADDRESS ON FILE
REDACTED STUDENT 3670                    ADDRESS ON FILE
REDACTED STUDENT 3671                    ADDRESS ON FILE
REDACTED STUDENT 3672                    ADDRESS ON FILE
REDACTED STUDENT 3673                    ADDRESS ON FILE
REDACTED STUDENT 3674                    ADDRESS ON FILE
REDACTED STUDENT 3675                    ADDRESS ON FILE
REDACTED STUDENT 3676                    ADDRESS ON FILE
REDACTED STUDENT 3677                    ADDRESS ON FILE
REDACTED STUDENT 3678                    ADDRESS ON FILE
REDACTED STUDENT 3679                    ADDRESS ON FILE
REDACTED STUDENT 3680                    ADDRESS ON FILE
REDACTED STUDENT 3681                    ADDRESS ON FILE
REDACTED STUDENT 3682                    ADDRESS ON FILE
REDACTED STUDENT 3683                    ADDRESS ON FILE
REDACTED STUDENT 3684                    ADDRESS ON FILE
REDACTED STUDENT 3685                    ADDRESS ON FILE
REDACTED STUDENT 3686                    ADDRESS ON FILE
REDACTED STUDENT 3687                    ADDRESS ON FILE
REDACTED STUDENT 3688                    ADDRESS ON FILE
REDACTED STUDENT 3689                    ADDRESS ON FILE
REDACTED STUDENT 3690                    ADDRESS ON FILE
REDACTED STUDENT 3691                    ADDRESS ON FILE
REDACTED STUDENT 3692                    ADDRESS ON FILE
REDACTED STUDENT 3693                    ADDRESS ON FILE
REDACTED STUDENT 3694                    ADDRESS ON FILE
REDACTED STUDENT 3695                    ADDRESS ON FILE
REDACTED STUDENT 3696                    ADDRESS ON FILE
REDACTED STUDENT 3697                    ADDRESS ON FILE
REDACTED STUDENT 3698                    ADDRESS ON FILE
REDACTED STUDENT 3699                    ADDRESS ON FILE
REDACTED STUDENT 3700                    ADDRESS ON FILE
REDACTED STUDENT 3701                    ADDRESS ON FILE
REDACTED STUDENT 3702                    ADDRESS ON FILE
REDACTED STUDENT 3703                    ADDRESS ON FILE
REDACTED STUDENT 3704                    ADDRESS ON FILE
REDACTED STUDENT 3705                    ADDRESS ON FILE
REDACTED STUDENT 3706                    ADDRESS ON FILE
REDACTED STUDENT 3707                    ADDRESS ON FILE
REDACTED STUDENT 3708                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 3709                    ADDRESS ON FILE
REDACTED STUDENT 3710                    ADDRESS ON FILE
REDACTED STUDENT 3711                    ADDRESS ON FILE
REDACTED STUDENT 3712                    ADDRESS ON FILE
REDACTED STUDENT 3713                    ADDRESS ON FILE
REDACTED STUDENT 3714                    ADDRESS ON FILE
REDACTED STUDENT 3715                    ADDRESS ON FILE
REDACTED STUDENT 3716                    ADDRESS ON FILE
REDACTED STUDENT 3717                    ADDRESS ON FILE
REDACTED STUDENT 3718                    ADDRESS ON FILE
REDACTED STUDENT 3719                    ADDRESS ON FILE
REDACTED STUDENT 3720                    ADDRESS ON FILE
REDACTED STUDENT 3721                    ADDRESS ON FILE
REDACTED STUDENT 3722                    ADDRESS ON FILE
REDACTED STUDENT 3723                    ADDRESS ON FILE
REDACTED STUDENT 3724                    ADDRESS ON FILE
REDACTED STUDENT 3725                    ADDRESS ON FILE
REDACTED STUDENT 3726                    ADDRESS ON FILE
REDACTED STUDENT 3727                    ADDRESS ON FILE
REDACTED STUDENT 3728                    ADDRESS ON FILE
REDACTED STUDENT 3729                    ADDRESS ON FILE
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REDACTED STUDENT 3731                    ADDRESS ON FILE
REDACTED STUDENT 3732                    ADDRESS ON FILE
REDACTED STUDENT 3733                    ADDRESS ON FILE
REDACTED STUDENT 3734                    ADDRESS ON FILE
REDACTED STUDENT 3735                    ADDRESS ON FILE
REDACTED STUDENT 3736                    ADDRESS ON FILE
REDACTED STUDENT 3737                    ADDRESS ON FILE
REDACTED STUDENT 3738                    ADDRESS ON FILE
REDACTED STUDENT 3739                    ADDRESS ON FILE
REDACTED STUDENT 3740                    ADDRESS ON FILE
REDACTED STUDENT 3741                    ADDRESS ON FILE
REDACTED STUDENT 3742                    ADDRESS ON FILE
REDACTED STUDENT 3743                    ADDRESS ON FILE
REDACTED STUDENT 3744                    ADDRESS ON FILE
REDACTED STUDENT 3745                    ADDRESS ON FILE
REDACTED STUDENT 3746                    ADDRESS ON FILE
REDACTED STUDENT 3747                    ADDRESS ON FILE
REDACTED STUDENT 3748                    ADDRESS ON FILE
REDACTED STUDENT 3749                    ADDRESS ON FILE
REDACTED STUDENT 3750                    ADDRESS ON FILE
REDACTED STUDENT 3751                    ADDRESS ON FILE
REDACTED STUDENT 3752                    ADDRESS ON FILE
REDACTED STUDENT 3753                    ADDRESS ON FILE
REDACTED STUDENT 3754                    ADDRESS ON FILE
REDACTED STUDENT 3755                    ADDRESS ON FILE
REDACTED STUDENT 3756                    ADDRESS ON FILE
REDACTED STUDENT 3757                    ADDRESS ON FILE
REDACTED STUDENT 3758                    ADDRESS ON FILE
REDACTED STUDENT 3759                    ADDRESS ON FILE
REDACTED STUDENT 3760                    ADDRESS ON FILE
REDACTED STUDENT 3761                    ADDRESS ON FILE
REDACTED STUDENT 3762                    ADDRESS ON FILE
REDACTED STUDENT 3763                    ADDRESS ON FILE
REDACTED STUDENT 3764                    ADDRESS ON FILE
REDACTED STUDENT 3765                    ADDRESS ON FILE
REDACTED STUDENT 3766                    ADDRESS ON FILE
REDACTED STUDENT 3767                    ADDRESS ON FILE
REDACTED STUDENT 3768                    ADDRESS ON FILE
REDACTED STUDENT 3769                    ADDRESS ON FILE
REDACTED STUDENT 3770                    ADDRESS ON FILE
REDACTED STUDENT 3771                    ADDRESS ON FILE
REDACTED STUDENT 3772                    ADDRESS ON FILE
REDACTED STUDENT 3773                    ADDRESS ON FILE
REDACTED STUDENT 3774                    ADDRESS ON FILE
REDACTED STUDENT 3775                    ADDRESS ON FILE
REDACTED STUDENT 3776                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 3777                    ADDRESS ON FILE
REDACTED STUDENT 3778                    ADDRESS ON FILE
REDACTED STUDENT 3779                    ADDRESS ON FILE
REDACTED STUDENT 3780                    ADDRESS ON FILE
REDACTED STUDENT 3781                    ADDRESS ON FILE
REDACTED STUDENT 3782                    ADDRESS ON FILE
REDACTED STUDENT 3783                    ADDRESS ON FILE
REDACTED STUDENT 3784                    ADDRESS ON FILE
REDACTED STUDENT 3785                    ADDRESS ON FILE
REDACTED STUDENT 3786                    ADDRESS ON FILE
REDACTED STUDENT 3787                    ADDRESS ON FILE
REDACTED STUDENT 3788                    ADDRESS ON FILE
REDACTED STUDENT 3789                    ADDRESS ON FILE
REDACTED STUDENT 3790                    ADDRESS ON FILE
REDACTED STUDENT 3791                    ADDRESS ON FILE
REDACTED STUDENT 3792                    ADDRESS ON FILE
REDACTED STUDENT 3793                    ADDRESS ON FILE
REDACTED STUDENT 3794                    ADDRESS ON FILE
REDACTED STUDENT 3795                    ADDRESS ON FILE
REDACTED STUDENT 3796                    ADDRESS ON FILE
REDACTED STUDENT 3797                    ADDRESS ON FILE
REDACTED STUDENT 3798                    ADDRESS ON FILE
REDACTED STUDENT 3799                    ADDRESS ON FILE
REDACTED STUDENT 3800                    ADDRESS ON FILE
REDACTED STUDENT 3801                    ADDRESS ON FILE
REDACTED STUDENT 3802                    ADDRESS ON FILE
REDACTED STUDENT 3803                    ADDRESS ON FILE
REDACTED STUDENT 3804                    ADDRESS ON FILE
REDACTED STUDENT 3805                    ADDRESS ON FILE
REDACTED STUDENT 3806                    ADDRESS ON FILE
REDACTED STUDENT 3807                    ADDRESS ON FILE
REDACTED STUDENT 3808                    ADDRESS ON FILE
REDACTED STUDENT 3809                    ADDRESS ON FILE
REDACTED STUDENT 3810                    ADDRESS ON FILE
REDACTED STUDENT 3811                    ADDRESS ON FILE
REDACTED STUDENT 3812                    ADDRESS ON FILE
REDACTED STUDENT 3813                    ADDRESS ON FILE
REDACTED STUDENT 3814                    ADDRESS ON FILE
REDACTED STUDENT 3815                    ADDRESS ON FILE
REDACTED STUDENT 3816                    ADDRESS ON FILE
REDACTED STUDENT 3817                    ADDRESS ON FILE
REDACTED STUDENT 3818                    ADDRESS ON FILE
REDACTED STUDENT 3819                    ADDRESS ON FILE
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REDACTED STUDENT 3821                    ADDRESS ON FILE
REDACTED STUDENT 3822                    ADDRESS ON FILE
REDACTED STUDENT 3823                    ADDRESS ON FILE
REDACTED STUDENT 3824                    ADDRESS ON FILE
REDACTED STUDENT 3825                    ADDRESS ON FILE
REDACTED STUDENT 3826                    ADDRESS ON FILE
REDACTED STUDENT 3827                    ADDRESS ON FILE
REDACTED STUDENT 3828                    ADDRESS ON FILE
REDACTED STUDENT 3829                    ADDRESS ON FILE
REDACTED STUDENT 3830                    ADDRESS ON FILE
REDACTED STUDENT 3831                    ADDRESS ON FILE
REDACTED STUDENT 3832                    ADDRESS ON FILE
REDACTED STUDENT 3833                    ADDRESS ON FILE
REDACTED STUDENT 3834                    ADDRESS ON FILE
REDACTED STUDENT 3835                    ADDRESS ON FILE
REDACTED STUDENT 3836                    ADDRESS ON FILE
REDACTED STUDENT 3837                    ADDRESS ON FILE
REDACTED STUDENT 3838                    ADDRESS ON FILE
REDACTED STUDENT 3839                    ADDRESS ON FILE
REDACTED STUDENT 3840                    ADDRESS ON FILE
REDACTED STUDENT 3841                    ADDRESS ON FILE
REDACTED STUDENT 3842                    ADDRESS ON FILE
REDACTED STUDENT 3843                    ADDRESS ON FILE
REDACTED STUDENT 3844                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 3845                    ADDRESS ON FILE
REDACTED STUDENT 3846                    ADDRESS ON FILE
REDACTED STUDENT 3847                    ADDRESS ON FILE
REDACTED STUDENT 3848                    ADDRESS ON FILE
REDACTED STUDENT 3849                    ADDRESS ON FILE
REDACTED STUDENT 3850                    ADDRESS ON FILE
REDACTED STUDENT 3851                    ADDRESS ON FILE
REDACTED STUDENT 3852                    ADDRESS ON FILE
REDACTED STUDENT 3853                    ADDRESS ON FILE
REDACTED STUDENT 3854                    ADDRESS ON FILE
REDACTED STUDENT 3855                    ADDRESS ON FILE
REDACTED STUDENT 3856                    ADDRESS ON FILE
REDACTED STUDENT 3857                    ADDRESS ON FILE
REDACTED STUDENT 3858                    ADDRESS ON FILE
REDACTED STUDENT 3859                    ADDRESS ON FILE
REDACTED STUDENT 3860                    ADDRESS ON FILE
REDACTED STUDENT 3861                    ADDRESS ON FILE
REDACTED STUDENT 3862                    ADDRESS ON FILE
REDACTED STUDENT 3863                    ADDRESS ON FILE
REDACTED STUDENT 3864                    ADDRESS ON FILE
REDACTED STUDENT 3865                    ADDRESS ON FILE
REDACTED STUDENT 3866                    ADDRESS ON FILE
REDACTED STUDENT 3867                    ADDRESS ON FILE
REDACTED STUDENT 3868                    ADDRESS ON FILE
REDACTED STUDENT 3869                    ADDRESS ON FILE
REDACTED STUDENT 3870                    ADDRESS ON FILE
REDACTED STUDENT 3871                    ADDRESS ON FILE
REDACTED STUDENT 3872                    ADDRESS ON FILE
REDACTED STUDENT 3873                    ADDRESS ON FILE
REDACTED STUDENT 3874                    ADDRESS ON FILE
REDACTED STUDENT 3875                    ADDRESS ON FILE
REDACTED STUDENT 3876                    ADDRESS ON FILE
REDACTED STUDENT 3877                    ADDRESS ON FILE
REDACTED STUDENT 3878                    ADDRESS ON FILE
REDACTED STUDENT 3879                    ADDRESS ON FILE
REDACTED STUDENT 3880                    ADDRESS ON FILE
REDACTED STUDENT 3881                    ADDRESS ON FILE
REDACTED STUDENT 3882                    ADDRESS ON FILE
REDACTED STUDENT 3883                    ADDRESS ON FILE
REDACTED STUDENT 3884                    ADDRESS ON FILE
REDACTED STUDENT 3885                    ADDRESS ON FILE
REDACTED STUDENT 3886                    ADDRESS ON FILE
REDACTED STUDENT 3887                    ADDRESS ON FILE
REDACTED STUDENT 3888                    ADDRESS ON FILE
REDACTED STUDENT 3889                    ADDRESS ON FILE
REDACTED STUDENT 3890                    ADDRESS ON FILE
REDACTED STUDENT 3891                    ADDRESS ON FILE
REDACTED STUDENT 3892                    ADDRESS ON FILE
REDACTED STUDENT 3893                    ADDRESS ON FILE
REDACTED STUDENT 3894                    ADDRESS ON FILE
REDACTED STUDENT 3895                    ADDRESS ON FILE
REDACTED STUDENT 3896                    ADDRESS ON FILE
REDACTED STUDENT 3897                    ADDRESS ON FILE
REDACTED STUDENT 3898                    ADDRESS ON FILE
REDACTED STUDENT 3899                    ADDRESS ON FILE
REDACTED STUDENT 3900                    ADDRESS ON FILE
REDACTED STUDENT 3901                    ADDRESS ON FILE
REDACTED STUDENT 3902                    ADDRESS ON FILE
REDACTED STUDENT 3903                    ADDRESS ON FILE
REDACTED STUDENT 3904                    ADDRESS ON FILE
REDACTED STUDENT 3905                    ADDRESS ON FILE
REDACTED STUDENT 3906                    ADDRESS ON FILE
REDACTED STUDENT 3907                    ADDRESS ON FILE
REDACTED STUDENT 3908                    ADDRESS ON FILE
REDACTED STUDENT 3909                    ADDRESS ON FILE
REDACTED STUDENT 3910                    ADDRESS ON FILE
REDACTED STUDENT 3911                    ADDRESS ON FILE
REDACTED STUDENT 3912                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 3913                    ADDRESS ON FILE
REDACTED STUDENT 3914                    ADDRESS ON FILE
REDACTED STUDENT 3915                    ADDRESS ON FILE
REDACTED STUDENT 3916                    ADDRESS ON FILE
REDACTED STUDENT 3917                    ADDRESS ON FILE
REDACTED STUDENT 3918                    ADDRESS ON FILE
REDACTED STUDENT 3919                    ADDRESS ON FILE
REDACTED STUDENT 3920                    ADDRESS ON FILE
REDACTED STUDENT 3921                    ADDRESS ON FILE
REDACTED STUDENT 3922                    ADDRESS ON FILE
REDACTED STUDENT 3923                    ADDRESS ON FILE
REDACTED STUDENT 3924                    ADDRESS ON FILE
REDACTED STUDENT 3925                    ADDRESS ON FILE
REDACTED STUDENT 3926                    ADDRESS ON FILE
REDACTED STUDENT 3927                    ADDRESS ON FILE
REDACTED STUDENT 3928                    ADDRESS ON FILE
REDACTED STUDENT 3929                    ADDRESS ON FILE
REDACTED STUDENT 3930                    ADDRESS ON FILE
REDACTED STUDENT 3931                    ADDRESS ON FILE
REDACTED STUDENT 3932                    ADDRESS ON FILE
REDACTED STUDENT 3933                    ADDRESS ON FILE
REDACTED STUDENT 3934                    ADDRESS ON FILE
REDACTED STUDENT 3935                    ADDRESS ON FILE
REDACTED STUDENT 3936                    ADDRESS ON FILE
REDACTED STUDENT 3937                    ADDRESS ON FILE
REDACTED STUDENT 3938                    ADDRESS ON FILE
REDACTED STUDENT 3939                    ADDRESS ON FILE
REDACTED STUDENT 3940                    ADDRESS ON FILE
REDACTED STUDENT 3941                    ADDRESS ON FILE
REDACTED STUDENT 3942                    ADDRESS ON FILE
REDACTED STUDENT 3943                    ADDRESS ON FILE
REDACTED STUDENT 3944                    ADDRESS ON FILE
REDACTED STUDENT 3945                    ADDRESS ON FILE
REDACTED STUDENT 3946                    ADDRESS ON FILE
REDACTED STUDENT 3947                    ADDRESS ON FILE
REDACTED STUDENT 3948                    ADDRESS ON FILE
REDACTED STUDENT 3949                    ADDRESS ON FILE
REDACTED STUDENT 3950                    ADDRESS ON FILE
REDACTED STUDENT 3951                    ADDRESS ON FILE
REDACTED STUDENT 3952                    ADDRESS ON FILE
REDACTED STUDENT 3953                    ADDRESS ON FILE
REDACTED STUDENT 3954                    ADDRESS ON FILE
REDACTED STUDENT 3955                    ADDRESS ON FILE
REDACTED STUDENT 3956                    ADDRESS ON FILE
REDACTED STUDENT 3957                    ADDRESS ON FILE
REDACTED STUDENT 3958                    ADDRESS ON FILE
REDACTED STUDENT 3959                    ADDRESS ON FILE
REDACTED STUDENT 3960                    ADDRESS ON FILE
REDACTED STUDENT 3961                    ADDRESS ON FILE
REDACTED STUDENT 3962                    ADDRESS ON FILE
REDACTED STUDENT 3963                    ADDRESS ON FILE
REDACTED STUDENT 3964                    ADDRESS ON FILE
REDACTED STUDENT 3965                    ADDRESS ON FILE
REDACTED STUDENT 3966                    ADDRESS ON FILE
REDACTED STUDENT 3967                    ADDRESS ON FILE
REDACTED STUDENT 3968                    ADDRESS ON FILE
REDACTED STUDENT 3969                    ADDRESS ON FILE
REDACTED STUDENT 3970                    ADDRESS ON FILE
REDACTED STUDENT 3971                    ADDRESS ON FILE
REDACTED STUDENT 3972                    ADDRESS ON FILE
REDACTED STUDENT 3973                    ADDRESS ON FILE
REDACTED STUDENT 3974                    ADDRESS ON FILE
REDACTED STUDENT 3975                    ADDRESS ON FILE
REDACTED STUDENT 3976                    ADDRESS ON FILE
REDACTED STUDENT 3977                    ADDRESS ON FILE
REDACTED STUDENT 3978                    ADDRESS ON FILE
REDACTED STUDENT 3979                    ADDRESS ON FILE
REDACTED STUDENT 3980                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 3981                    ADDRESS ON FILE
REDACTED STUDENT 3982                    ADDRESS ON FILE
REDACTED STUDENT 3983                    ADDRESS ON FILE
REDACTED STUDENT 3984                    ADDRESS ON FILE
REDACTED STUDENT 3985                    ADDRESS ON FILE
REDACTED STUDENT 3986                    ADDRESS ON FILE
REDACTED STUDENT 3987                    ADDRESS ON FILE
REDACTED STUDENT 3988                    ADDRESS ON FILE
REDACTED STUDENT 3989                    ADDRESS ON FILE
REDACTED STUDENT 3990                    ADDRESS ON FILE
REDACTED STUDENT 3991                    ADDRESS ON FILE
REDACTED STUDENT 3992                    ADDRESS ON FILE
REDACTED STUDENT 3993                    ADDRESS ON FILE
REDACTED STUDENT 3994                    ADDRESS ON FILE
REDACTED STUDENT 3995                    ADDRESS ON FILE
REDACTED STUDENT 3996                    ADDRESS ON FILE
REDACTED STUDENT 3997                    ADDRESS ON FILE
REDACTED STUDENT 3998                    ADDRESS ON FILE
REDACTED STUDENT 3999                    ADDRESS ON FILE
REDACTED STUDENT 4000                    ADDRESS ON FILE
REDACTED STUDENT 4001                    ADDRESS ON FILE
REDACTED STUDENT 4002                    ADDRESS ON FILE
REDACTED STUDENT 4003                    ADDRESS ON FILE
REDACTED STUDENT 4004                    ADDRESS ON FILE
REDACTED STUDENT 4005                    ADDRESS ON FILE
REDACTED STUDENT 4006                    ADDRESS ON FILE
REDACTED STUDENT 4007                    ADDRESS ON FILE
REDACTED STUDENT 4008                    ADDRESS ON FILE
REDACTED STUDENT 4009                    ADDRESS ON FILE
REDACTED STUDENT 4010                    ADDRESS ON FILE
REDACTED STUDENT 4011                    ADDRESS ON FILE
REDACTED STUDENT 4012                    ADDRESS ON FILE
REDACTED STUDENT 4013                    ADDRESS ON FILE
REDACTED STUDENT 4014                    ADDRESS ON FILE
REDACTED STUDENT 4015                    ADDRESS ON FILE
REDACTED STUDENT 4016                    ADDRESS ON FILE
REDACTED STUDENT 4017                    ADDRESS ON FILE
REDACTED STUDENT 4018                    ADDRESS ON FILE
REDACTED STUDENT 4019                    ADDRESS ON FILE
REDACTED STUDENT 4020                    ADDRESS ON FILE
REDACTED STUDENT 4021                    ADDRESS ON FILE
REDACTED STUDENT 4022                    ADDRESS ON FILE
REDACTED STUDENT 4023                    ADDRESS ON FILE
REDACTED STUDENT 4024                    ADDRESS ON FILE
REDACTED STUDENT 4025                    ADDRESS ON FILE
REDACTED STUDENT 4026                    ADDRESS ON FILE
REDACTED STUDENT 4027                    ADDRESS ON FILE
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REDACTED STUDENT 4032                    ADDRESS ON FILE
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REDACTED STUDENT 4034                    ADDRESS ON FILE
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REDACTED STUDENT 4036                    ADDRESS ON FILE
REDACTED STUDENT 4037                    ADDRESS ON FILE
REDACTED STUDENT 4038                    ADDRESS ON FILE
REDACTED STUDENT 4039                    ADDRESS ON FILE
REDACTED STUDENT 4040                    ADDRESS ON FILE
REDACTED STUDENT 4041                    ADDRESS ON FILE
REDACTED STUDENT 4042                    ADDRESS ON FILE
REDACTED STUDENT 4043                    ADDRESS ON FILE
REDACTED STUDENT 4044                    ADDRESS ON FILE
REDACTED STUDENT 4045                    ADDRESS ON FILE
REDACTED STUDENT 4046                    ADDRESS ON FILE
REDACTED STUDENT 4047                    ADDRESS ON FILE
REDACTED STUDENT 4048                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 4049                    ADDRESS ON FILE
REDACTED STUDENT 4050                    ADDRESS ON FILE
REDACTED STUDENT 4051                    ADDRESS ON FILE
REDACTED STUDENT 4052                    ADDRESS ON FILE
REDACTED STUDENT 4053                    ADDRESS ON FILE
REDACTED STUDENT 4054                    ADDRESS ON FILE
REDACTED STUDENT 4055                    ADDRESS ON FILE
REDACTED STUDENT 4056                    ADDRESS ON FILE
REDACTED STUDENT 4057                    ADDRESS ON FILE
REDACTED STUDENT 4058                    ADDRESS ON FILE
REDACTED STUDENT 4059                    ADDRESS ON FILE
REDACTED STUDENT 4060                    ADDRESS ON FILE
REDACTED STUDENT 4061                    ADDRESS ON FILE
REDACTED STUDENT 4062                    ADDRESS ON FILE
REDACTED STUDENT 4063                    ADDRESS ON FILE
REDACTED STUDENT 4064                    ADDRESS ON FILE
REDACTED STUDENT 4065                    ADDRESS ON FILE
REDACTED STUDENT 4066                    ADDRESS ON FILE
REDACTED STUDENT 4067                    ADDRESS ON FILE
REDACTED STUDENT 4068                    ADDRESS ON FILE
REDACTED STUDENT 4069                    ADDRESS ON FILE
REDACTED STUDENT 4070                    ADDRESS ON FILE
REDACTED STUDENT 4071                    ADDRESS ON FILE
REDACTED STUDENT 4072                    ADDRESS ON FILE
REDACTED STUDENT 4073                    ADDRESS ON FILE
REDACTED STUDENT 4074                    ADDRESS ON FILE
REDACTED STUDENT 4075                    ADDRESS ON FILE
REDACTED STUDENT 4076                    ADDRESS ON FILE
REDACTED STUDENT 4077                    ADDRESS ON FILE
REDACTED STUDENT 4078                    ADDRESS ON FILE
REDACTED STUDENT 4079                    ADDRESS ON FILE
REDACTED STUDENT 4080                    ADDRESS ON FILE
REDACTED STUDENT 4081                    ADDRESS ON FILE
REDACTED STUDENT 4082                    ADDRESS ON FILE
REDACTED STUDENT 4083                    ADDRESS ON FILE
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REDACTED STUDENT 4089                    ADDRESS ON FILE
REDACTED STUDENT 4090                    ADDRESS ON FILE
REDACTED STUDENT 4092                    ADDRESS ON FILE
REDACTED STUDENT 4093                    ADDRESS ON FILE
REDACTED STUDENT 4094                    ADDRESS ON FILE
REDACTED STUDENT 4095                    ADDRESS ON FILE
REDACTED STUDENT 4096                    ADDRESS ON FILE
REDACTED STUDENT 4097                    ADDRESS ON FILE
REDACTED STUDENT 4098                    ADDRESS ON FILE
REDACTED STUDENT 4099                    ADDRESS ON FILE
REDACTED STUDENT 4100                    ADDRESS ON FILE
REDACTED STUDENT 4101                    ADDRESS ON FILE
REDACTED STUDENT 4102                    ADDRESS ON FILE
REDACTED STUDENT 4103                    ADDRESS ON FILE
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REDACTED STUDENT 4105                    ADDRESS ON FILE
REDACTED STUDENT 4106                    ADDRESS ON FILE
REDACTED STUDENT 4107                    ADDRESS ON FILE
REDACTED STUDENT 4108                    ADDRESS ON FILE
REDACTED STUDENT 4109                    ADDRESS ON FILE
REDACTED STUDENT 4110                    ADDRESS ON FILE
REDACTED STUDENT 4111                    ADDRESS ON FILE
REDACTED STUDENT 4112                    ADDRESS ON FILE
REDACTED STUDENT 4113                    ADDRESS ON FILE
REDACTED STUDENT 4114                    ADDRESS ON FILE
REDACTED STUDENT 4115                    ADDRESS ON FILE
REDACTED STUDENT 4116                    ADDRESS ON FILE
REDACTED STUDENT 4117                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 4118                    ADDRESS ON FILE
REDACTED STUDENT 4119                    ADDRESS ON FILE
REDACTED STUDENT 4120                    ADDRESS ON FILE
REDACTED STUDENT 4121                    ADDRESS ON FILE
REDACTED STUDENT 4122                    ADDRESS ON FILE
REDACTED STUDENT 4123                    ADDRESS ON FILE
REDACTED STUDENT 4124                    ADDRESS ON FILE
REDACTED STUDENT 4125                    ADDRESS ON FILE
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REDACTED STUDENT 4130                    ADDRESS ON FILE
REDACTED STUDENT 4131                    ADDRESS ON FILE
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REDACTED STUDENT 4134                    ADDRESS ON FILE
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REDACTED STUDENT 4137                    ADDRESS ON FILE
REDACTED STUDENT 4138                    ADDRESS ON FILE
REDACTED STUDENT 4139                    ADDRESS ON FILE
REDACTED STUDENT 4140                    ADDRESS ON FILE
REDACTED STUDENT 4141                    ADDRESS ON FILE
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REDACTED STUDENT 4171                    ADDRESS ON FILE
REDACTED STUDENT 4172                    ADDRESS ON FILE
REDACTED STUDENT 4173                    ADDRESS ON FILE
REDACTED STUDENT 4174                    ADDRESS ON FILE
REDACTED STUDENT 4175                    ADDRESS ON FILE
REDACTED STUDENT 4176                    ADDRESS ON FILE
REDACTED STUDENT 4177                    ADDRESS ON FILE
REDACTED STUDENT 4178                    ADDRESS ON FILE
REDACTED STUDENT 4179                    ADDRESS ON FILE
REDACTED STUDENT 4180                    ADDRESS ON FILE
REDACTED STUDENT 4181                    ADDRESS ON FILE
REDACTED STUDENT 4182                    ADDRESS ON FILE
REDACTED STUDENT 4183                    ADDRESS ON FILE
REDACTED STUDENT 4184                    ADDRESS ON FILE
REDACTED STUDENT 4185                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 4186                    ADDRESS ON FILE
REDACTED STUDENT 4187                    ADDRESS ON FILE
REDACTED STUDENT 4188                    ADDRESS ON FILE
REDACTED STUDENT 4189                    ADDRESS ON FILE
REDACTED STUDENT 4190                    ADDRESS ON FILE
REDACTED STUDENT 4191                    ADDRESS ON FILE
REDACTED STUDENT 4192                    ADDRESS ON FILE
REDACTED STUDENT 4193                    ADDRESS ON FILE
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REDACTED STUDENT 4202                    ADDRESS ON FILE
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REDACTED STUDENT 4206                    ADDRESS ON FILE
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REDACTED STUDENT 4208                    ADDRESS ON FILE
REDACTED STUDENT 4209                    ADDRESS ON FILE
REDACTED STUDENT 4210                    ADDRESS ON FILE
REDACTED STUDENT 4211                    ADDRESS ON FILE
REDACTED STUDENT 4212                    ADDRESS ON FILE
REDACTED STUDENT 4213                    ADDRESS ON FILE
REDACTED STUDENT 4214                    ADDRESS ON FILE
REDACTED STUDENT 4215                    ADDRESS ON FILE
REDACTED STUDENT 4216                    ADDRESS ON FILE
REDACTED STUDENT 4217                    ADDRESS ON FILE
REDACTED STUDENT 4218                    ADDRESS ON FILE
REDACTED STUDENT 4219                    ADDRESS ON FILE
REDACTED STUDENT 4220                    ADDRESS ON FILE
REDACTED STUDENT 4221                    ADDRESS ON FILE
REDACTED STUDENT 4222                    ADDRESS ON FILE
REDACTED STUDENT 4223                    ADDRESS ON FILE
REDACTED STUDENT 4224                    ADDRESS ON FILE
REDACTED STUDENT 4225                    ADDRESS ON FILE
REDACTED STUDENT 4226                    ADDRESS ON FILE
REDACTED STUDENT 4227                    ADDRESS ON FILE
REDACTED STUDENT 4228                    ADDRESS ON FILE
REDACTED STUDENT 4229                    ADDRESS ON FILE
REDACTED STUDENT 4230                    ADDRESS ON FILE
REDACTED STUDENT 4231                    ADDRESS ON FILE
REDACTED STUDENT 4232                    ADDRESS ON FILE
REDACTED STUDENT 4233                    ADDRESS ON FILE
REDACTED STUDENT 4234                    ADDRESS ON FILE
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REDACTED STUDENT 4238                    ADDRESS ON FILE
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REDACTED STUDENT 4250                    ADDRESS ON FILE
REDACTED STUDENT 4251                    ADDRESS ON FILE
REDACTED STUDENT 4252                    ADDRESS ON FILE
REDACTED STUDENT 4253                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 4254                    ADDRESS ON FILE
REDACTED STUDENT 4255                    ADDRESS ON FILE
REDACTED STUDENT 4256                    ADDRESS ON FILE
REDACTED STUDENT 4257                    ADDRESS ON FILE
REDACTED STUDENT 4258                    ADDRESS ON FILE
REDACTED STUDENT 4259                    ADDRESS ON FILE
REDACTED STUDENT 4260                    ADDRESS ON FILE
REDACTED STUDENT 4261                    ADDRESS ON FILE
REDACTED STUDENT 4262                    ADDRESS ON FILE
REDACTED STUDENT 4263                    ADDRESS ON FILE
REDACTED STUDENT 4264                    ADDRESS ON FILE
REDACTED STUDENT 4266                    ADDRESS ON FILE
REDACTED STUDENT 4267                    ADDRESS ON FILE
REDACTED STUDENT 4268                    ADDRESS ON FILE
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REDACTED STUDENT 4270                    ADDRESS ON FILE
REDACTED STUDENT 4271                    ADDRESS ON FILE
REDACTED STUDENT 4272                    ADDRESS ON FILE
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REDACTED STUDENT 4277                    ADDRESS ON FILE
REDACTED STUDENT 4278                    ADDRESS ON FILE
REDACTED STUDENT 4279                    ADDRESS ON FILE
REDACTED STUDENT 4280                    ADDRESS ON FILE
REDACTED STUDENT 4281                    ADDRESS ON FILE
REDACTED STUDENT 4283                    ADDRESS ON FILE
REDACTED STUDENT 4284                    ADDRESS ON FILE
REDACTED STUDENT 4285                    ADDRESS ON FILE
REDACTED STUDENT 4286                    ADDRESS ON FILE
REDACTED STUDENT 4287                    ADDRESS ON FILE
REDACTED STUDENT 4288                    ADDRESS ON FILE
REDACTED STUDENT 4289                    ADDRESS ON FILE
REDACTED STUDENT 4290                    ADDRESS ON FILE
REDACTED STUDENT 4291                    ADDRESS ON FILE
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REDACTED STUDENT 4293                    ADDRESS ON FILE
REDACTED STUDENT 4294                    ADDRESS ON FILE
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REDACTED STUDENT 4296                    ADDRESS ON FILE
REDACTED STUDENT 4297                    ADDRESS ON FILE
REDACTED STUDENT 4298                    ADDRESS ON FILE
REDACTED STUDENT 4299                    ADDRESS ON FILE
REDACTED STUDENT 4300                    ADDRESS ON FILE
REDACTED STUDENT 4301                    ADDRESS ON FILE
REDACTED STUDENT 4302                    ADDRESS ON FILE
REDACTED STUDENT 4303                    ADDRESS ON FILE
REDACTED STUDENT 4304                    ADDRESS ON FILE
REDACTED STUDENT 4305                    ADDRESS ON FILE
REDACTED STUDENT 4306                    ADDRESS ON FILE
REDACTED STUDENT 4307                    ADDRESS ON FILE
REDACTED STUDENT 4308                    ADDRESS ON FILE
REDACTED STUDENT 4309                    ADDRESS ON FILE
REDACTED STUDENT 4310                    ADDRESS ON FILE
REDACTED STUDENT 4311                    ADDRESS ON FILE
REDACTED STUDENT 4312                    ADDRESS ON FILE
REDACTED STUDENT 4313                    ADDRESS ON FILE
REDACTED STUDENT 4314                    ADDRESS ON FILE
REDACTED STUDENT 4315                    ADDRESS ON FILE
REDACTED STUDENT 4316                    ADDRESS ON FILE
REDACTED STUDENT 4317                    ADDRESS ON FILE
REDACTED STUDENT 4318                    ADDRESS ON FILE
REDACTED STUDENT 4319                    ADDRESS ON FILE
REDACTED STUDENT 4320                    ADDRESS ON FILE
REDACTED STUDENT 4321                    ADDRESS ON FILE
REDACTED STUDENT 4322                    ADDRESS ON FILE
REDACTED STUDENT 4323                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 4324                    ADDRESS ON FILE
REDACTED STUDENT 4325                    ADDRESS ON FILE
REDACTED STUDENT 4326                    ADDRESS ON FILE
REDACTED STUDENT 4327                    ADDRESS ON FILE
REDACTED STUDENT 4328                    ADDRESS ON FILE
REDACTED STUDENT 4329                    ADDRESS ON FILE
REDACTED STUDENT 4330                    ADDRESS ON FILE
REDACTED STUDENT 4331                    ADDRESS ON FILE
REDACTED STUDENT 4332                    ADDRESS ON FILE
REDACTED STUDENT 4333                    ADDRESS ON FILE
REDACTED STUDENT 4334                    ADDRESS ON FILE
REDACTED STUDENT 4335                    ADDRESS ON FILE
REDACTED STUDENT 4336                    ADDRESS ON FILE
REDACTED STUDENT 4337                    ADDRESS ON FILE
REDACTED STUDENT 4338                    ADDRESS ON FILE
REDACTED STUDENT 4339                    ADDRESS ON FILE
REDACTED STUDENT 4340                    ADDRESS ON FILE
REDACTED STUDENT 4341                    ADDRESS ON FILE
REDACTED STUDENT 4342                    ADDRESS ON FILE
REDACTED STUDENT 4343                    ADDRESS ON FILE
REDACTED STUDENT 4344                    ADDRESS ON FILE
REDACTED STUDENT 4345                    ADDRESS ON FILE
REDACTED STUDENT 4346                    ADDRESS ON FILE
REDACTED STUDENT 4347                    ADDRESS ON FILE
REDACTED STUDENT 4348                    ADDRESS ON FILE
REDACTED STUDENT 4349                    ADDRESS ON FILE
REDACTED STUDENT 4350                    ADDRESS ON FILE
REDACTED STUDENT 4351                    ADDRESS ON FILE
REDACTED STUDENT 4352                    ADDRESS ON FILE
REDACTED STUDENT 4353                    ADDRESS ON FILE
REDACTED STUDENT 4354                    ADDRESS ON FILE
REDACTED STUDENT 4355                    ADDRESS ON FILE
REDACTED STUDENT 4356                    ADDRESS ON FILE
REDACTED STUDENT 4357                    ADDRESS ON FILE
REDACTED STUDENT 4358                    ADDRESS ON FILE
REDACTED STUDENT 4359                    ADDRESS ON FILE
REDACTED STUDENT 4360                    ADDRESS ON FILE
REDACTED STUDENT 4361                    ADDRESS ON FILE
REDACTED STUDENT 4362                    ADDRESS ON FILE
REDACTED STUDENT 4363                    ADDRESS ON FILE
REDACTED STUDENT 4364                    ADDRESS ON FILE
REDACTED STUDENT 4365                    ADDRESS ON FILE
REDACTED STUDENT 4366                    ADDRESS ON FILE
REDACTED STUDENT 4367                    ADDRESS ON FILE
REDACTED STUDENT 4368                    ADDRESS ON FILE
REDACTED STUDENT 4369                    ADDRESS ON FILE
REDACTED STUDENT 4370                    ADDRESS ON FILE
REDACTED STUDENT 4371                    ADDRESS ON FILE
REDACTED STUDENT 4372                    ADDRESS ON FILE
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REDACTED STUDENT 4374                    ADDRESS ON FILE
REDACTED STUDENT 4375                    ADDRESS ON FILE
REDACTED STUDENT 4376                    ADDRESS ON FILE
REDACTED STUDENT 4377                    ADDRESS ON FILE
REDACTED STUDENT 4378                    ADDRESS ON FILE
REDACTED STUDENT 4379                    ADDRESS ON FILE
REDACTED STUDENT 4380                    ADDRESS ON FILE
REDACTED STUDENT 4381                    ADDRESS ON FILE
REDACTED STUDENT 4382                    ADDRESS ON FILE
REDACTED STUDENT 4383                    ADDRESS ON FILE
REDACTED STUDENT 4384                    ADDRESS ON FILE
REDACTED STUDENT 4385                    ADDRESS ON FILE
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REDACTED STUDENT 4387                    ADDRESS ON FILE
REDACTED STUDENT 4388                    ADDRESS ON FILE
REDACTED STUDENT 4389                    ADDRESS ON FILE
REDACTED STUDENT 4390                    ADDRESS ON FILE
REDACTED STUDENT 4391                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 4392                    ADDRESS ON FILE
REDACTED STUDENT 4393                    ADDRESS ON FILE
REDACTED STUDENT 4394                    ADDRESS ON FILE
REDACTED STUDENT 4395                    ADDRESS ON FILE
REDACTED STUDENT 4396                    ADDRESS ON FILE
REDACTED STUDENT 4397                    ADDRESS ON FILE
REDACTED STUDENT 4398                    ADDRESS ON FILE
REDACTED STUDENT 4399                    ADDRESS ON FILE
REDACTED STUDENT 4400                    ADDRESS ON FILE
REDACTED STUDENT 4401                    ADDRESS ON FILE
REDACTED STUDENT 4402                    ADDRESS ON FILE
REDACTED STUDENT 4403                    ADDRESS ON FILE
REDACTED STUDENT 4404                    ADDRESS ON FILE
REDACTED STUDENT 4405                    ADDRESS ON FILE
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REDACTED STUDENT 4407                    ADDRESS ON FILE
REDACTED STUDENT 4408                    ADDRESS ON FILE
REDACTED STUDENT 4409                    ADDRESS ON FILE
REDACTED STUDENT 4410                    ADDRESS ON FILE
REDACTED STUDENT 4411                    ADDRESS ON FILE
REDACTED STUDENT 4412                    ADDRESS ON FILE
REDACTED STUDENT 4413                    ADDRESS ON FILE
REDACTED STUDENT 4414                    ADDRESS ON FILE
REDACTED STUDENT 4415                    ADDRESS ON FILE
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REDACTED STUDENT 4428                    ADDRESS ON FILE
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REDACTED STUDENT 4431                    ADDRESS ON FILE
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REDACTED STUDENT 4433                    ADDRESS ON FILE
REDACTED STUDENT 4434                    ADDRESS ON FILE
REDACTED STUDENT 4435                    ADDRESS ON FILE
REDACTED STUDENT 4436                    ADDRESS ON FILE
REDACTED STUDENT 4437                    ADDRESS ON FILE
REDACTED STUDENT 4438                    ADDRESS ON FILE
REDACTED STUDENT 4439                    ADDRESS ON FILE
REDACTED STUDENT 4440                    ADDRESS ON FILE
REDACTED STUDENT 4441                    ADDRESS ON FILE
REDACTED STUDENT 4442                    ADDRESS ON FILE
REDACTED STUDENT 4443                    ADDRESS ON FILE
REDACTED STUDENT 4444                    ADDRESS ON FILE
REDACTED STUDENT 4445                    ADDRESS ON FILE
REDACTED STUDENT 4446                    ADDRESS ON FILE
REDACTED STUDENT 4447                    ADDRESS ON FILE
REDACTED STUDENT 4448                    ADDRESS ON FILE
REDACTED STUDENT 4449                    ADDRESS ON FILE
REDACTED STUDENT 4450                    ADDRESS ON FILE
REDACTED STUDENT 4451                    ADDRESS ON FILE
REDACTED STUDENT 4452                    ADDRESS ON FILE
REDACTED STUDENT 4453                    ADDRESS ON FILE
REDACTED STUDENT 4454                    ADDRESS ON FILE
REDACTED STUDENT 4455                    ADDRESS ON FILE
REDACTED STUDENT 4456                    ADDRESS ON FILE
REDACTED STUDENT 4457                    ADDRESS ON FILE
REDACTED STUDENT 4458                    ADDRESS ON FILE
REDACTED STUDENT 4459                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 4460                    ADDRESS ON FILE
REDACTED STUDENT 4461                    ADDRESS ON FILE
REDACTED STUDENT 4462                    ADDRESS ON FILE
REDACTED STUDENT 4463                    ADDRESS ON FILE
REDACTED STUDENT 4464                    ADDRESS ON FILE
REDACTED STUDENT 4465                    ADDRESS ON FILE
REDACTED STUDENT 4466                    ADDRESS ON FILE
REDACTED STUDENT 4467                    ADDRESS ON FILE
REDACTED STUDENT 4468                    ADDRESS ON FILE
REDACTED STUDENT 4469                    ADDRESS ON FILE
REDACTED STUDENT 4470                    ADDRESS ON FILE
REDACTED STUDENT 4471                    ADDRESS ON FILE
REDACTED STUDENT 4472                    ADDRESS ON FILE
REDACTED STUDENT 4473                    ADDRESS ON FILE
REDACTED STUDENT 4474                    ADDRESS ON FILE
REDACTED STUDENT 4475                    ADDRESS ON FILE
REDACTED STUDENT 4476                    ADDRESS ON FILE
REDACTED STUDENT 4477                    ADDRESS ON FILE
REDACTED STUDENT 4478                    ADDRESS ON FILE
REDACTED STUDENT 4479                    ADDRESS ON FILE
REDACTED STUDENT 4480                    ADDRESS ON FILE
REDACTED STUDENT 4481                    ADDRESS ON FILE
REDACTED STUDENT 4482                    ADDRESS ON FILE
REDACTED STUDENT 4483                    ADDRESS ON FILE
REDACTED STUDENT 4484                    ADDRESS ON FILE
REDACTED STUDENT 4485                    ADDRESS ON FILE
REDACTED STUDENT 4486                    ADDRESS ON FILE
REDACTED STUDENT 4487                    ADDRESS ON FILE
REDACTED STUDENT 4488                    ADDRESS ON FILE
REDACTED STUDENT 4489                    ADDRESS ON FILE
REDACTED STUDENT 4490                    ADDRESS ON FILE
REDACTED STUDENT 4491                    ADDRESS ON FILE
REDACTED STUDENT 4492                    ADDRESS ON FILE
REDACTED STUDENT 4493                    ADDRESS ON FILE
REDACTED STUDENT 4494                    ADDRESS ON FILE
REDACTED STUDENT 4495                    ADDRESS ON FILE
REDACTED STUDENT 4496                    ADDRESS ON FILE
REDACTED STUDENT 4497                    ADDRESS ON FILE
REDACTED STUDENT 4498                    ADDRESS ON FILE
REDACTED STUDENT 4499                    ADDRESS ON FILE
REDACTED STUDENT 4500                    ADDRESS ON FILE
REDACTED STUDENT 4501                    ADDRESS ON FILE
REDACTED STUDENT 4502                    ADDRESS ON FILE
REDACTED STUDENT 4503                    ADDRESS ON FILE
REDACTED STUDENT 4504                    ADDRESS ON FILE
REDACTED STUDENT 4505                    ADDRESS ON FILE
REDACTED STUDENT 4506                    ADDRESS ON FILE
REDACTED STUDENT 4507                    ADDRESS ON FILE
REDACTED STUDENT 4508                    ADDRESS ON FILE
REDACTED STUDENT 4509                    ADDRESS ON FILE
REDACTED STUDENT 4510                    ADDRESS ON FILE
REDACTED STUDENT 4511                    ADDRESS ON FILE
REDACTED STUDENT 4512                    ADDRESS ON FILE
REDACTED STUDENT 4513                    ADDRESS ON FILE
REDACTED STUDENT 4514                    ADDRESS ON FILE
REDACTED STUDENT 4515                    ADDRESS ON FILE
REDACTED STUDENT 4516                    ADDRESS ON FILE
REDACTED STUDENT 4517                    ADDRESS ON FILE
REDACTED STUDENT 4518                    ADDRESS ON FILE
REDACTED STUDENT 4519                    ADDRESS ON FILE
REDACTED STUDENT 4520                    ADDRESS ON FILE
REDACTED STUDENT 4521                    ADDRESS ON FILE
REDACTED STUDENT 4522                    ADDRESS ON FILE
REDACTED STUDENT 4523                    ADDRESS ON FILE
REDACTED STUDENT 4524                    ADDRESS ON FILE
REDACTED STUDENT 4525                    ADDRESS ON FILE
REDACTED STUDENT 4526                    ADDRESS ON FILE
REDACTED STUDENT 4527                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 4528                    ADDRESS ON FILE
REDACTED STUDENT 4529                    ADDRESS ON FILE
REDACTED STUDENT 4530                    ADDRESS ON FILE
REDACTED STUDENT 4531                    ADDRESS ON FILE
REDACTED STUDENT 4532                    ADDRESS ON FILE
REDACTED STUDENT 4533                    ADDRESS ON FILE
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REDACTED STUDENT 4536                    ADDRESS ON FILE
REDACTED STUDENT 4537                    ADDRESS ON FILE
REDACTED STUDENT 4538                    ADDRESS ON FILE
REDACTED STUDENT 4539                    ADDRESS ON FILE
REDACTED STUDENT 4540                    ADDRESS ON FILE
REDACTED STUDENT 4541                    ADDRESS ON FILE
REDACTED STUDENT 4542                    ADDRESS ON FILE
REDACTED STUDENT 4543                    ADDRESS ON FILE
REDACTED STUDENT 4544                    ADDRESS ON FILE
REDACTED STUDENT 4545                    ADDRESS ON FILE
REDACTED STUDENT 4546                    ADDRESS ON FILE
REDACTED STUDENT 4547                    ADDRESS ON FILE
REDACTED STUDENT 4548                    ADDRESS ON FILE
REDACTED STUDENT 4549                    ADDRESS ON FILE
REDACTED STUDENT 4550                    ADDRESS ON FILE
REDACTED STUDENT 4551                    ADDRESS ON FILE
REDACTED STUDENT 4552                    ADDRESS ON FILE
REDACTED STUDENT 4553                    ADDRESS ON FILE
REDACTED STUDENT 4554                    ADDRESS ON FILE
REDACTED STUDENT 4555                    ADDRESS ON FILE
REDACTED STUDENT 4556                    ADDRESS ON FILE
REDACTED STUDENT 4557                    ADDRESS ON FILE
REDACTED STUDENT 4558                    ADDRESS ON FILE
REDACTED STUDENT 4559                    ADDRESS ON FILE
REDACTED STUDENT 4560                    ADDRESS ON FILE
REDACTED STUDENT 4561                    ADDRESS ON FILE
REDACTED STUDENT 4562                    ADDRESS ON FILE
REDACTED STUDENT 4563                    ADDRESS ON FILE
REDACTED STUDENT 4564                    ADDRESS ON FILE
REDACTED STUDENT 4565                    ADDRESS ON FILE
REDACTED STUDENT 4566                    ADDRESS ON FILE
REDACTED STUDENT 4567                    ADDRESS ON FILE
REDACTED STUDENT 4568                    ADDRESS ON FILE
REDACTED STUDENT 4569                    ADDRESS ON FILE
REDACTED STUDENT 4570                    ADDRESS ON FILE
REDACTED STUDENT 4571                    ADDRESS ON FILE
REDACTED STUDENT 4572                    ADDRESS ON FILE
REDACTED STUDENT 4573                    ADDRESS ON FILE
REDACTED STUDENT 4574                    ADDRESS ON FILE
REDACTED STUDENT 4575                    ADDRESS ON FILE
REDACTED STUDENT 4576                    ADDRESS ON FILE
REDACTED STUDENT 4577                    ADDRESS ON FILE
REDACTED STUDENT 4578                    ADDRESS ON FILE
REDACTED STUDENT 4579                    ADDRESS ON FILE
REDACTED STUDENT 4580                    ADDRESS ON FILE
REDACTED STUDENT 4581                    ADDRESS ON FILE
REDACTED STUDENT 4582                    ADDRESS ON FILE
REDACTED STUDENT 4583                    ADDRESS ON FILE
REDACTED STUDENT 4584                    ADDRESS ON FILE
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REDACTED STUDENT 4586                    ADDRESS ON FILE
REDACTED STUDENT 4587                    ADDRESS ON FILE
REDACTED STUDENT 4588                    ADDRESS ON FILE
REDACTED STUDENT 4589                    ADDRESS ON FILE
REDACTED STUDENT 4590                    ADDRESS ON FILE
REDACTED STUDENT 4591                    ADDRESS ON FILE
REDACTED STUDENT 4592                    ADDRESS ON FILE
REDACTED STUDENT 4593                    ADDRESS ON FILE
REDACTED STUDENT 4594                    ADDRESS ON FILE
REDACTED STUDENT 4595                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 4596                    ADDRESS ON FILE
REDACTED STUDENT 4597                    ADDRESS ON FILE
REDACTED STUDENT 4598                    ADDRESS ON FILE
REDACTED STUDENT 4599                    ADDRESS ON FILE
REDACTED STUDENT 4600                    ADDRESS ON FILE
REDACTED STUDENT 4601                    ADDRESS ON FILE
REDACTED STUDENT 4602                    ADDRESS ON FILE
REDACTED STUDENT 4603                    ADDRESS ON FILE
REDACTED STUDENT 4604                    ADDRESS ON FILE
REDACTED STUDENT 4605                    ADDRESS ON FILE
REDACTED STUDENT 4606                    ADDRESS ON FILE
REDACTED STUDENT 4607                    ADDRESS ON FILE
REDACTED STUDENT 4608                    ADDRESS ON FILE
REDACTED STUDENT 4609                    ADDRESS ON FILE
REDACTED STUDENT 4610                    ADDRESS ON FILE
REDACTED STUDENT 4611                    ADDRESS ON FILE
REDACTED STUDENT 4612                    ADDRESS ON FILE
REDACTED STUDENT 4613                    ADDRESS ON FILE
REDACTED STUDENT 4614                    ADDRESS ON FILE
REDACTED STUDENT 4615                    ADDRESS ON FILE
REDACTED STUDENT 4616                    ADDRESS ON FILE
REDACTED STUDENT 4617                    ADDRESS ON FILE
REDACTED STUDENT 4618                    ADDRESS ON FILE
REDACTED STUDENT 4619                    ADDRESS ON FILE
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REDACTED STUDENT 4621                    ADDRESS ON FILE
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REDACTED STUDENT 4623                    ADDRESS ON FILE
REDACTED STUDENT 4624                    ADDRESS ON FILE
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REDACTED STUDENT 4627                    ADDRESS ON FILE
REDACTED STUDENT 4628                    ADDRESS ON FILE
REDACTED STUDENT 4629                    ADDRESS ON FILE
REDACTED STUDENT 4630                    ADDRESS ON FILE
REDACTED STUDENT 4631                    ADDRESS ON FILE
REDACTED STUDENT 4632                    ADDRESS ON FILE
REDACTED STUDENT 4633                    ADDRESS ON FILE
REDACTED STUDENT 4634                    ADDRESS ON FILE
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REDACTED STUDENT 4636                    ADDRESS ON FILE
REDACTED STUDENT 4637                    ADDRESS ON FILE
REDACTED STUDENT 4638                    ADDRESS ON FILE
REDACTED STUDENT 4639                    ADDRESS ON FILE
REDACTED STUDENT 4640                    ADDRESS ON FILE
REDACTED STUDENT 4641                    ADDRESS ON FILE
REDACTED STUDENT 4642                    ADDRESS ON FILE
REDACTED STUDENT 4643                    ADDRESS ON FILE
REDACTED STUDENT 4644                    ADDRESS ON FILE
REDACTED STUDENT 4645                    ADDRESS ON FILE
REDACTED STUDENT 4646                    ADDRESS ON FILE
REDACTED STUDENT 4647                    ADDRESS ON FILE
REDACTED STUDENT 4648                    ADDRESS ON FILE
REDACTED STUDENT 4649                    ADDRESS ON FILE
REDACTED STUDENT 4650                    ADDRESS ON FILE
REDACTED STUDENT 4651                    ADDRESS ON FILE
REDACTED STUDENT 4652                    ADDRESS ON FILE
REDACTED STUDENT 4653                    ADDRESS ON FILE
REDACTED STUDENT 4654                    ADDRESS ON FILE
REDACTED STUDENT 4655                    ADDRESS ON FILE
REDACTED STUDENT 4656                    ADDRESS ON FILE
REDACTED STUDENT 4657                    ADDRESS ON FILE
REDACTED STUDENT 4658                    ADDRESS ON FILE
REDACTED STUDENT 4659                    ADDRESS ON FILE
REDACTED STUDENT 4660                    ADDRESS ON FILE
REDACTED STUDENT 4661                    ADDRESS ON FILE
REDACTED STUDENT 4662                    ADDRESS ON FILE
REDACTED STUDENT 4663                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 4664                    ADDRESS ON FILE
REDACTED STUDENT 4665                    ADDRESS ON FILE
REDACTED STUDENT 4666                    ADDRESS ON FILE
REDACTED STUDENT 4667                    ADDRESS ON FILE
REDACTED STUDENT 4668                    ADDRESS ON FILE
REDACTED STUDENT 4669                    ADDRESS ON FILE
REDACTED STUDENT 4670                    ADDRESS ON FILE
REDACTED STUDENT 4671                    ADDRESS ON FILE
REDACTED STUDENT 4672                    ADDRESS ON FILE
REDACTED STUDENT 4673                    ADDRESS ON FILE
REDACTED STUDENT 4674                    ADDRESS ON FILE
REDACTED STUDENT 4675                    ADDRESS ON FILE
REDACTED STUDENT 4676                    ADDRESS ON FILE
REDACTED STUDENT 4677                    ADDRESS ON FILE
REDACTED STUDENT 4678                    ADDRESS ON FILE
REDACTED STUDENT 4679                    ADDRESS ON FILE
REDACTED STUDENT 4680                    ADDRESS ON FILE
REDACTED STUDENT 4681                    ADDRESS ON FILE
REDACTED STUDENT 4682                    ADDRESS ON FILE
REDACTED STUDENT 4683                    ADDRESS ON FILE
REDACTED STUDENT 4684                    ADDRESS ON FILE
REDACTED STUDENT 4685                    ADDRESS ON FILE
REDACTED STUDENT 4686                    ADDRESS ON FILE
REDACTED STUDENT 4687                    ADDRESS ON FILE
REDACTED STUDENT 4688                    ADDRESS ON FILE
REDACTED STUDENT 4689                    ADDRESS ON FILE
REDACTED STUDENT 4690                    ADDRESS ON FILE
REDACTED STUDENT 4691                    ADDRESS ON FILE
REDACTED STUDENT 4692                    ADDRESS ON FILE
REDACTED STUDENT 4693                    ADDRESS ON FILE
REDACTED STUDENT 4694                    ADDRESS ON FILE
REDACTED STUDENT 4695                    ADDRESS ON FILE
REDACTED STUDENT 4696                    ADDRESS ON FILE
REDACTED STUDENT 4697                    ADDRESS ON FILE
REDACTED STUDENT 4698                    ADDRESS ON FILE
REDACTED STUDENT 4699                    ADDRESS ON FILE
REDACTED STUDENT 4700                    ADDRESS ON FILE
REDACTED STUDENT 4701                    ADDRESS ON FILE
REDACTED STUDENT 4702                    ADDRESS ON FILE
REDACTED STUDENT 4703                    ADDRESS ON FILE
REDACTED STUDENT 4704                    ADDRESS ON FILE
REDACTED STUDENT 4705                    ADDRESS ON FILE
REDACTED STUDENT 4706                    ADDRESS ON FILE
REDACTED STUDENT 4707                    ADDRESS ON FILE
REDACTED STUDENT 4708                    ADDRESS ON FILE
REDACTED STUDENT 4709                    ADDRESS ON FILE
REDACTED STUDENT 4710                    ADDRESS ON FILE
REDACTED STUDENT 4711                    ADDRESS ON FILE
REDACTED STUDENT 4712                    ADDRESS ON FILE
REDACTED STUDENT 4713                    ADDRESS ON FILE
REDACTED STUDENT 4714                    ADDRESS ON FILE
REDACTED STUDENT 4715                    ADDRESS ON FILE
REDACTED STUDENT 4716                    ADDRESS ON FILE
REDACTED STUDENT 4717                    ADDRESS ON FILE
REDACTED STUDENT 4718                    ADDRESS ON FILE
REDACTED STUDENT 4719                    ADDRESS ON FILE
REDACTED STUDENT 4720                    ADDRESS ON FILE
REDACTED STUDENT 4721                    ADDRESS ON FILE
REDACTED STUDENT 4722                    ADDRESS ON FILE
REDACTED STUDENT 4723                    ADDRESS ON FILE
REDACTED STUDENT 4724                    ADDRESS ON FILE
REDACTED STUDENT 4725                    ADDRESS ON FILE
REDACTED STUDENT 4726                    ADDRESS ON FILE
REDACTED STUDENT 4727                    ADDRESS ON FILE
REDACTED STUDENT 4728                    ADDRESS ON FILE
REDACTED STUDENT 4729                    ADDRESS ON FILE
REDACTED STUDENT 4730                    ADDRESS ON FILE
REDACTED STUDENT 4731                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 4732                    ADDRESS ON FILE
REDACTED STUDENT 4733                    ADDRESS ON FILE
REDACTED STUDENT 4734                    ADDRESS ON FILE
REDACTED STUDENT 4735                    ADDRESS ON FILE
REDACTED STUDENT 4736                    ADDRESS ON FILE
REDACTED STUDENT 4737                    ADDRESS ON FILE
REDACTED STUDENT 4738                    ADDRESS ON FILE
REDACTED STUDENT 4739                    ADDRESS ON FILE
REDACTED STUDENT 4740                    ADDRESS ON FILE
REDACTED STUDENT 4741                    ADDRESS ON FILE
REDACTED STUDENT 4742                    ADDRESS ON FILE
REDACTED STUDENT 4743                    ADDRESS ON FILE
REDACTED STUDENT 4744                    ADDRESS ON FILE
REDACTED STUDENT 4745                    ADDRESS ON FILE
REDACTED STUDENT 4746                    ADDRESS ON FILE
REDACTED STUDENT 4747                    ADDRESS ON FILE
REDACTED STUDENT 4748                    ADDRESS ON FILE
REDACTED STUDENT 4749                    ADDRESS ON FILE
REDACTED STUDENT 4750                    ADDRESS ON FILE
REDACTED STUDENT 4751                    ADDRESS ON FILE
REDACTED STUDENT 4752                    ADDRESS ON FILE
REDACTED STUDENT 4753                    ADDRESS ON FILE
REDACTED STUDENT 4754                    ADDRESS ON FILE
REDACTED STUDENT 4755                    ADDRESS ON FILE
REDACTED STUDENT 4756                    ADDRESS ON FILE
REDACTED STUDENT 4757                    ADDRESS ON FILE
REDACTED STUDENT 4758                    ADDRESS ON FILE
REDACTED STUDENT 4759                    ADDRESS ON FILE
REDACTED STUDENT 4760                    ADDRESS ON FILE
REDACTED STUDENT 4761                    ADDRESS ON FILE
REDACTED STUDENT 4762                    ADDRESS ON FILE
REDACTED STUDENT 4763                    ADDRESS ON FILE
REDACTED STUDENT 4764                    ADDRESS ON FILE
REDACTED STUDENT 4765                    ADDRESS ON FILE
REDACTED STUDENT 4766                    ADDRESS ON FILE
REDACTED STUDENT 4767                    ADDRESS ON FILE
REDACTED STUDENT 4768                    ADDRESS ON FILE
REDACTED STUDENT 4769                    ADDRESS ON FILE
REDACTED STUDENT 4770                    ADDRESS ON FILE
REDACTED STUDENT 4771                    ADDRESS ON FILE
REDACTED STUDENT 4772                    ADDRESS ON FILE
REDACTED STUDENT 4773                    ADDRESS ON FILE
REDACTED STUDENT 4774                    ADDRESS ON FILE
REDACTED STUDENT 4775                    ADDRESS ON FILE
REDACTED STUDENT 4776                    ADDRESS ON FILE
REDACTED STUDENT 4777                    ADDRESS ON FILE
REDACTED STUDENT 4778                    ADDRESS ON FILE
REDACTED STUDENT 4779                    ADDRESS ON FILE
REDACTED STUDENT 4780                    ADDRESS ON FILE
REDACTED STUDENT 4781                    ADDRESS ON FILE
REDACTED STUDENT 4782                    ADDRESS ON FILE
REDACTED STUDENT 4783                    ADDRESS ON FILE
REDACTED STUDENT 4784                    ADDRESS ON FILE
REDACTED STUDENT 4785                    ADDRESS ON FILE
REDACTED STUDENT 4786                    ADDRESS ON FILE
REDACTED STUDENT 4787                    ADDRESS ON FILE
REDACTED STUDENT 4788                    ADDRESS ON FILE
REDACTED STUDENT 4789                    ADDRESS ON FILE
REDACTED STUDENT 4790                    ADDRESS ON FILE
REDACTED STUDENT 4791                    ADDRESS ON FILE
REDACTED STUDENT 4792                    ADDRESS ON FILE
REDACTED STUDENT 4793                    ADDRESS ON FILE
REDACTED STUDENT 4794                    ADDRESS ON FILE
REDACTED STUDENT 4795                    ADDRESS ON FILE
REDACTED STUDENT 4796                    ADDRESS ON FILE
REDACTED STUDENT 4797                    ADDRESS ON FILE
REDACTED STUDENT 4798                    ADDRESS ON FILE
REDACTED STUDENT 4799                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 4800                    ADDRESS ON FILE
REDACTED STUDENT 4801                    ADDRESS ON FILE
REDACTED STUDENT 4802                    ADDRESS ON FILE
REDACTED STUDENT 4803                    ADDRESS ON FILE
REDACTED STUDENT 4804                    ADDRESS ON FILE
REDACTED STUDENT 4805                    ADDRESS ON FILE
REDACTED STUDENT 4806                    ADDRESS ON FILE
REDACTED STUDENT 4807                    ADDRESS ON FILE
REDACTED STUDENT 4808                    ADDRESS ON FILE
REDACTED STUDENT 4809                    ADDRESS ON FILE
REDACTED STUDENT 4810                    ADDRESS ON FILE
REDACTED STUDENT 4811                    ADDRESS ON FILE
REDACTED STUDENT 4812                    ADDRESS ON FILE
REDACTED STUDENT 4813                    ADDRESS ON FILE
REDACTED STUDENT 4814                    ADDRESS ON FILE
REDACTED STUDENT 4815                    ADDRESS ON FILE
REDACTED STUDENT 4816                    ADDRESS ON FILE
REDACTED STUDENT 4817                    ADDRESS ON FILE
REDACTED STUDENT 4818                    ADDRESS ON FILE
REDACTED STUDENT 4819                    ADDRESS ON FILE
REDACTED STUDENT 4821                    ADDRESS ON FILE
REDACTED STUDENT 4822                    ADDRESS ON FILE
REDACTED STUDENT 4823                    ADDRESS ON FILE
REDACTED STUDENT 4824                    ADDRESS ON FILE
REDACTED STUDENT 4825                    ADDRESS ON FILE
REDACTED STUDENT 4826                    ADDRESS ON FILE
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REDACTED STUDENT 4828                    ADDRESS ON FILE
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REDACTED STUDENT 4830                    ADDRESS ON FILE
REDACTED STUDENT 4831                    ADDRESS ON FILE
REDACTED STUDENT 4832                    ADDRESS ON FILE
REDACTED STUDENT 4833                    ADDRESS ON FILE
REDACTED STUDENT 4834                    ADDRESS ON FILE
REDACTED STUDENT 4835                    ADDRESS ON FILE
REDACTED STUDENT 4836                    ADDRESS ON FILE
REDACTED STUDENT 4837                    ADDRESS ON FILE
REDACTED STUDENT 4838                    ADDRESS ON FILE
REDACTED STUDENT 4839                    ADDRESS ON FILE
REDACTED STUDENT 4840                    ADDRESS ON FILE
REDACTED STUDENT 4841                    ADDRESS ON FILE
REDACTED STUDENT 4842                    ADDRESS ON FILE
REDACTED STUDENT 4843                    ADDRESS ON FILE
REDACTED STUDENT 4844                    ADDRESS ON FILE
REDACTED STUDENT 4845                    ADDRESS ON FILE
REDACTED STUDENT 4846                    ADDRESS ON FILE
REDACTED STUDENT 4847                    ADDRESS ON FILE
REDACTED STUDENT 4848                    ADDRESS ON FILE
REDACTED STUDENT 4849                    ADDRESS ON FILE
REDACTED STUDENT 4850                    ADDRESS ON FILE
REDACTED STUDENT 4851                    ADDRESS ON FILE
REDACTED STUDENT 4852                    ADDRESS ON FILE
REDACTED STUDENT 4853                    ADDRESS ON FILE
REDACTED STUDENT 4854                    ADDRESS ON FILE
REDACTED STUDENT 4855                    ADDRESS ON FILE
REDACTED STUDENT 4856                    ADDRESS ON FILE
REDACTED STUDENT 4857                    ADDRESS ON FILE
REDACTED STUDENT 4858                    ADDRESS ON FILE
REDACTED STUDENT 4859                    ADDRESS ON FILE
REDACTED STUDENT 4860                    ADDRESS ON FILE
REDACTED STUDENT 4861                    ADDRESS ON FILE
REDACTED STUDENT 4862                    ADDRESS ON FILE
REDACTED STUDENT 4863                    ADDRESS ON FILE
REDACTED STUDENT 4864                    ADDRESS ON FILE
REDACTED STUDENT 4865                    ADDRESS ON FILE
REDACTED STUDENT 4866                    ADDRESS ON FILE
REDACTED STUDENT 4867                    ADDRESS ON FILE
REDACTED STUDENT 4868                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 4869                    ADDRESS ON FILE
REDACTED STUDENT 4870                    ADDRESS ON FILE
REDACTED STUDENT 4871                    ADDRESS ON FILE
REDACTED STUDENT 4872                    ADDRESS ON FILE
REDACTED STUDENT 4873                    ADDRESS ON FILE
REDACTED STUDENT 4874                    ADDRESS ON FILE
REDACTED STUDENT 4875                    ADDRESS ON FILE
REDACTED STUDENT 4876                    ADDRESS ON FILE
REDACTED STUDENT 4877                    ADDRESS ON FILE
REDACTED STUDENT 4878                    ADDRESS ON FILE
REDACTED STUDENT 4879                    ADDRESS ON FILE
REDACTED STUDENT 4880                    ADDRESS ON FILE
REDACTED STUDENT 4881                    ADDRESS ON FILE
REDACTED STUDENT 4882                    ADDRESS ON FILE
REDACTED STUDENT 4883                    ADDRESS ON FILE
REDACTED STUDENT 4884                    ADDRESS ON FILE
REDACTED STUDENT 4885                    ADDRESS ON FILE
REDACTED STUDENT 4886                    ADDRESS ON FILE
REDACTED STUDENT 4887                    ADDRESS ON FILE
REDACTED STUDENT 4888                    ADDRESS ON FILE
REDACTED STUDENT 4889                    ADDRESS ON FILE
REDACTED STUDENT 4890                    ADDRESS ON FILE
REDACTED STUDENT 4891                    ADDRESS ON FILE
REDACTED STUDENT 4892                    ADDRESS ON FILE
REDACTED STUDENT 4893                    ADDRESS ON FILE
REDACTED STUDENT 4894                    ADDRESS ON FILE
REDACTED STUDENT 4895                    ADDRESS ON FILE
REDACTED STUDENT 4896                    ADDRESS ON FILE
REDACTED STUDENT 4897                    ADDRESS ON FILE
REDACTED STUDENT 4898                    ADDRESS ON FILE
REDACTED STUDENT 4899                    ADDRESS ON FILE
REDACTED STUDENT 4900                    ADDRESS ON FILE
REDACTED STUDENT 4901                    ADDRESS ON FILE
REDACTED STUDENT 4902                    ADDRESS ON FILE
REDACTED STUDENT 4903                    ADDRESS ON FILE
REDACTED STUDENT 4904                    ADDRESS ON FILE
REDACTED STUDENT 4905                    ADDRESS ON FILE
REDACTED STUDENT 4906                    ADDRESS ON FILE
REDACTED STUDENT 4907                    ADDRESS ON FILE
REDACTED STUDENT 4908                    ADDRESS ON FILE
REDACTED STUDENT 4909                    ADDRESS ON FILE
REDACTED STUDENT 4910                    ADDRESS ON FILE
REDACTED STUDENT 4911                    ADDRESS ON FILE
REDACTED STUDENT 4912                    ADDRESS ON FILE
REDACTED STUDENT 4913                    ADDRESS ON FILE
REDACTED STUDENT 4914                    ADDRESS ON FILE
REDACTED STUDENT 4915                    ADDRESS ON FILE
REDACTED STUDENT 4916                    ADDRESS ON FILE
REDACTED STUDENT 4917                    ADDRESS ON FILE
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REDACTED STUDENT 4924                    ADDRESS ON FILE
REDACTED STUDENT 4925                    ADDRESS ON FILE
REDACTED STUDENT 4926                    ADDRESS ON FILE
REDACTED STUDENT 4927                    ADDRESS ON FILE
REDACTED STUDENT 4928                    ADDRESS ON FILE
REDACTED STUDENT 4929                    ADDRESS ON FILE
REDACTED STUDENT 4930                    ADDRESS ON FILE
REDACTED STUDENT 4931                    ADDRESS ON FILE
REDACTED STUDENT 4932                    ADDRESS ON FILE
REDACTED STUDENT 4933                    ADDRESS ON FILE
REDACTED STUDENT 4934                    ADDRESS ON FILE
REDACTED STUDENT 4935                    ADDRESS ON FILE
REDACTED STUDENT 4936                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 4937                    ADDRESS ON FILE
REDACTED STUDENT 4938                    ADDRESS ON FILE
REDACTED STUDENT 4939                    ADDRESS ON FILE
REDACTED STUDENT 4940                    ADDRESS ON FILE
REDACTED STUDENT 4941                    ADDRESS ON FILE
REDACTED STUDENT 4942                    ADDRESS ON FILE
REDACTED STUDENT 4943                    ADDRESS ON FILE
REDACTED STUDENT 4944                    ADDRESS ON FILE
REDACTED STUDENT 4945                    ADDRESS ON FILE
REDACTED STUDENT 4946                    ADDRESS ON FILE
REDACTED STUDENT 4947                    ADDRESS ON FILE
REDACTED STUDENT 4948                    ADDRESS ON FILE
REDACTED STUDENT 4949                    ADDRESS ON FILE
REDACTED STUDENT 4950                    ADDRESS ON FILE
REDACTED STUDENT 4951                    ADDRESS ON FILE
REDACTED STUDENT 4952                    ADDRESS ON FILE
REDACTED STUDENT 4953                    ADDRESS ON FILE
REDACTED STUDENT 4954                    ADDRESS ON FILE
REDACTED STUDENT 4955                    ADDRESS ON FILE
REDACTED STUDENT 4956                    ADDRESS ON FILE
REDACTED STUDENT 4957                    ADDRESS ON FILE
REDACTED STUDENT 4958                    ADDRESS ON FILE
REDACTED STUDENT 4959                    ADDRESS ON FILE
REDACTED STUDENT 4960                    ADDRESS ON FILE
REDACTED STUDENT 4961                    ADDRESS ON FILE
REDACTED STUDENT 4962                    ADDRESS ON FILE
REDACTED STUDENT 4963                    ADDRESS ON FILE
REDACTED STUDENT 4964                    ADDRESS ON FILE
REDACTED STUDENT 4965                    ADDRESS ON FILE
REDACTED STUDENT 4966                    ADDRESS ON FILE
REDACTED STUDENT 4967                    ADDRESS ON FILE
REDACTED STUDENT 4968                    ADDRESS ON FILE
REDACTED STUDENT 4969                    ADDRESS ON FILE
REDACTED STUDENT 4970                    ADDRESS ON FILE
REDACTED STUDENT 4971                    ADDRESS ON FILE
REDACTED STUDENT 4972                    ADDRESS ON FILE
REDACTED STUDENT 4973                    ADDRESS ON FILE
REDACTED STUDENT 4974                    ADDRESS ON FILE
REDACTED STUDENT 4975                    ADDRESS ON FILE
REDACTED STUDENT 4976                    ADDRESS ON FILE
REDACTED STUDENT 4977                    ADDRESS ON FILE
REDACTED STUDENT 4978                    ADDRESS ON FILE
REDACTED STUDENT 4979                    ADDRESS ON FILE
REDACTED STUDENT 4980                    ADDRESS ON FILE
REDACTED STUDENT 4981                    ADDRESS ON FILE
REDACTED STUDENT 4982                    ADDRESS ON FILE
REDACTED STUDENT 4983                    ADDRESS ON FILE
REDACTED STUDENT 4984                    ADDRESS ON FILE
REDACTED STUDENT 4985                    ADDRESS ON FILE
REDACTED STUDENT 4986                    ADDRESS ON FILE
REDACTED STUDENT 4987                    ADDRESS ON FILE
REDACTED STUDENT 4989                    ADDRESS ON FILE
REDACTED STUDENT 4990                    ADDRESS ON FILE
REDACTED STUDENT 4991                    ADDRESS ON FILE
REDACTED STUDENT 4992                    ADDRESS ON FILE
REDACTED STUDENT 4993                    ADDRESS ON FILE
REDACTED STUDENT 4994                    ADDRESS ON FILE
REDACTED STUDENT 4995                    ADDRESS ON FILE
REDACTED STUDENT 4996                    ADDRESS ON FILE
REDACTED STUDENT 4997                    ADDRESS ON FILE
REDACTED STUDENT 4998                    ADDRESS ON FILE
REDACTED STUDENT 4999                    ADDRESS ON FILE
REDACTED STUDENT 5000                    ADDRESS ON FILE
REDACTED STUDENT 5001                    ADDRESS ON FILE
REDACTED STUDENT 5002                    ADDRESS ON FILE
REDACTED STUDENT 5003                    ADDRESS ON FILE
REDACTED STUDENT 5004                    ADDRESS ON FILE
REDACTED STUDENT 5005                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 5006                    ADDRESS ON FILE
REDACTED STUDENT 5007                    ADDRESS ON FILE
REDACTED STUDENT 5008                    ADDRESS ON FILE
REDACTED STUDENT 5009                    ADDRESS ON FILE
REDACTED STUDENT 5010                    ADDRESS ON FILE
REDACTED STUDENT 5011                    ADDRESS ON FILE
REDACTED STUDENT 5012                    ADDRESS ON FILE
REDACTED STUDENT 5013                    ADDRESS ON FILE
REDACTED STUDENT 5014                    ADDRESS ON FILE
REDACTED STUDENT 5015                    ADDRESS ON FILE
REDACTED STUDENT 5016                    ADDRESS ON FILE
REDACTED STUDENT 5017                    ADDRESS ON FILE
REDACTED STUDENT 5018                    ADDRESS ON FILE
REDACTED STUDENT 5019                    ADDRESS ON FILE
REDACTED STUDENT 5020                    ADDRESS ON FILE
REDACTED STUDENT 5021                    ADDRESS ON FILE
REDACTED STUDENT 5022                    ADDRESS ON FILE
REDACTED STUDENT 5023                    ADDRESS ON FILE
REDACTED STUDENT 5024                    ADDRESS ON FILE
REDACTED STUDENT 5026                    ADDRESS ON FILE
REDACTED STUDENT 5027                    ADDRESS ON FILE
REDACTED STUDENT 5028                    ADDRESS ON FILE
REDACTED STUDENT 5029                    ADDRESS ON FILE
REDACTED STUDENT 5030                    ADDRESS ON FILE
REDACTED STUDENT 5031                    ADDRESS ON FILE
REDACTED STUDENT 5032                    ADDRESS ON FILE
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REDACTED STUDENT 5035                    ADDRESS ON FILE
REDACTED STUDENT 5036                    ADDRESS ON FILE
REDACTED STUDENT 5037                    ADDRESS ON FILE
REDACTED STUDENT 5038                    ADDRESS ON FILE
REDACTED STUDENT 5039                    ADDRESS ON FILE
REDACTED STUDENT 5040                    ADDRESS ON FILE
REDACTED STUDENT 5041                    ADDRESS ON FILE
REDACTED STUDENT 5042                    ADDRESS ON FILE
REDACTED STUDENT 5043                    ADDRESS ON FILE
REDACTED STUDENT 5044                    ADDRESS ON FILE
REDACTED STUDENT 5045                    ADDRESS ON FILE
REDACTED STUDENT 5046                    ADDRESS ON FILE
REDACTED STUDENT 5047                    ADDRESS ON FILE
REDACTED STUDENT 5048                    ADDRESS ON FILE
REDACTED STUDENT 5049                    ADDRESS ON FILE
REDACTED STUDENT 5050                    ADDRESS ON FILE
REDACTED STUDENT 5051                    ADDRESS ON FILE
REDACTED STUDENT 5052                    ADDRESS ON FILE
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REDACTED STUDENT 5058                    ADDRESS ON FILE
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REDACTED STUDENT 5061                    ADDRESS ON FILE
REDACTED STUDENT 5062                    ADDRESS ON FILE
REDACTED STUDENT 5063                    ADDRESS ON FILE
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REDACTED STUDENT 5066                    ADDRESS ON FILE
REDACTED STUDENT 5067                    ADDRESS ON FILE
REDACTED STUDENT 5068                    ADDRESS ON FILE
REDACTED STUDENT 5069                    ADDRESS ON FILE
REDACTED STUDENT 5070                    ADDRESS ON FILE
REDACTED STUDENT 5071                    ADDRESS ON FILE
REDACTED STUDENT 5072                    ADDRESS ON FILE
REDACTED STUDENT 5073                    ADDRESS ON FILE
REDACTED STUDENT 5074                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 5075                    ADDRESS ON FILE
REDACTED STUDENT 5076                    ADDRESS ON FILE
REDACTED STUDENT 5077                    ADDRESS ON FILE
REDACTED STUDENT 5078                    ADDRESS ON FILE
REDACTED STUDENT 5079                    ADDRESS ON FILE
REDACTED STUDENT 5080                    ADDRESS ON FILE
REDACTED STUDENT 5081                    ADDRESS ON FILE
REDACTED STUDENT 5082                    ADDRESS ON FILE
REDACTED STUDENT 5083                    ADDRESS ON FILE
REDACTED STUDENT 5084                    ADDRESS ON FILE
REDACTED STUDENT 5085                    ADDRESS ON FILE
REDACTED STUDENT 5086                    ADDRESS ON FILE
REDACTED STUDENT 5087                    ADDRESS ON FILE
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REDACTED STUDENT 5110                    ADDRESS ON FILE
REDACTED STUDENT 5111                    ADDRESS ON FILE
REDACTED STUDENT 5112                    ADDRESS ON FILE
REDACTED STUDENT 5113                    ADDRESS ON FILE
REDACTED STUDENT 5114                    ADDRESS ON FILE
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REDACTED STUDENT 5116                    ADDRESS ON FILE
REDACTED STUDENT 5117                    ADDRESS ON FILE
REDACTED STUDENT 5118                    ADDRESS ON FILE
REDACTED STUDENT 5119                    ADDRESS ON FILE
REDACTED STUDENT 5120                    ADDRESS ON FILE
REDACTED STUDENT 5121                    ADDRESS ON FILE
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REDACTED STUDENT 5131                    ADDRESS ON FILE
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REDACTED STUDENT 5134                    ADDRESS ON FILE
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REDACTED STUDENT 5136                    ADDRESS ON FILE
REDACTED STUDENT 5137                    ADDRESS ON FILE
REDACTED STUDENT 5138                    ADDRESS ON FILE
REDACTED STUDENT 5139                    ADDRESS ON FILE
REDACTED STUDENT 5140                    ADDRESS ON FILE
REDACTED STUDENT 5141                    ADDRESS ON FILE
REDACTED STUDENT 5142                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 5143                    ADDRESS ON FILE
REDACTED STUDENT 5144                    ADDRESS ON FILE
REDACTED STUDENT 5145                    ADDRESS ON FILE
REDACTED STUDENT 5146                    ADDRESS ON FILE
REDACTED STUDENT 5147                    ADDRESS ON FILE
REDACTED STUDENT 5148                    ADDRESS ON FILE
REDACTED STUDENT 5149                    ADDRESS ON FILE
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REDACTED STUDENT 5151                    ADDRESS ON FILE
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REDACTED STUDENT 5163                    ADDRESS ON FILE
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REDACTED STUDENT 5170                    ADDRESS ON FILE
REDACTED STUDENT 5171                    ADDRESS ON FILE
REDACTED STUDENT 5172                    ADDRESS ON FILE
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REDACTED STUDENT 5197                    ADDRESS ON FILE
REDACTED STUDENT 5198                    ADDRESS ON FILE
REDACTED STUDENT 5199                    ADDRESS ON FILE
REDACTED STUDENT 5200                    ADDRESS ON FILE
REDACTED STUDENT 5201                    ADDRESS ON FILE
REDACTED STUDENT 5202                    ADDRESS ON FILE
REDACTED STUDENT 5203                    ADDRESS ON FILE
REDACTED STUDENT 5204                    ADDRESS ON FILE
REDACTED STUDENT 5205                    ADDRESS ON FILE
REDACTED STUDENT 5206                    ADDRESS ON FILE
REDACTED STUDENT 5207                    ADDRESS ON FILE
REDACTED STUDENT 5208                    ADDRESS ON FILE
REDACTED STUDENT 5209                    ADDRESS ON FILE
REDACTED STUDENT 5210                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 5211                    ADDRESS ON FILE
REDACTED STUDENT 5212                    ADDRESS ON FILE
REDACTED STUDENT 5213                    ADDRESS ON FILE
REDACTED STUDENT 5214                    ADDRESS ON FILE
REDACTED STUDENT 5215                    ADDRESS ON FILE
REDACTED STUDENT 5216                    ADDRESS ON FILE
REDACTED STUDENT 5217                    ADDRESS ON FILE
REDACTED STUDENT 5218                    ADDRESS ON FILE
REDACTED STUDENT 5219                    ADDRESS ON FILE
REDACTED STUDENT 5220                    ADDRESS ON FILE
REDACTED STUDENT 5221                    ADDRESS ON FILE
REDACTED STUDENT 5222                    ADDRESS ON FILE
REDACTED STUDENT 5223                    ADDRESS ON FILE
REDACTED STUDENT 5224                    ADDRESS ON FILE
REDACTED STUDENT 5225                    ADDRESS ON FILE
REDACTED STUDENT 5226                    ADDRESS ON FILE
REDACTED STUDENT 5227                    ADDRESS ON FILE
REDACTED STUDENT 5228                    ADDRESS ON FILE
REDACTED STUDENT 5229                    ADDRESS ON FILE
REDACTED STUDENT 5230                    ADDRESS ON FILE
REDACTED STUDENT 5231                    ADDRESS ON FILE
REDACTED STUDENT 5232                    ADDRESS ON FILE
REDACTED STUDENT 5233                    ADDRESS ON FILE
REDACTED STUDENT 5234                    ADDRESS ON FILE
REDACTED STUDENT 5235                    ADDRESS ON FILE
REDACTED STUDENT 5236                    ADDRESS ON FILE
REDACTED STUDENT 5237                    ADDRESS ON FILE
REDACTED STUDENT 5238                    ADDRESS ON FILE
REDACTED STUDENT 5239                    ADDRESS ON FILE
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REDACTED STUDENT 5247                    ADDRESS ON FILE
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REDACTED STUDENT 5251                    ADDRESS ON FILE
REDACTED STUDENT 5252                    ADDRESS ON FILE
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REDACTED STUDENT 5259                    ADDRESS ON FILE
REDACTED STUDENT 5260                    ADDRESS ON FILE
REDACTED STUDENT 5261                    ADDRESS ON FILE
REDACTED STUDENT 5262                    ADDRESS ON FILE
REDACTED STUDENT 5263                    ADDRESS ON FILE
REDACTED STUDENT 5264                    ADDRESS ON FILE
REDACTED STUDENT 5265                    ADDRESS ON FILE
REDACTED STUDENT 5266                    ADDRESS ON FILE
REDACTED STUDENT 5267                    ADDRESS ON FILE
REDACTED STUDENT 5268                    ADDRESS ON FILE
REDACTED STUDENT 5269                    ADDRESS ON FILE
REDACTED STUDENT 5270                    ADDRESS ON FILE
REDACTED STUDENT 5271                    ADDRESS ON FILE
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REDACTED STUDENT 5274                    ADDRESS ON FILE
REDACTED STUDENT 5275                    ADDRESS ON FILE
REDACTED STUDENT 5276                    ADDRESS ON FILE
REDACTED STUDENT 5277                    ADDRESS ON FILE
REDACTED STUDENT 5278                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 5279                    ADDRESS ON FILE
REDACTED STUDENT 5280                    ADDRESS ON FILE
REDACTED STUDENT 5281                    ADDRESS ON FILE
REDACTED STUDENT 5282                    ADDRESS ON FILE
REDACTED STUDENT 5283                    ADDRESS ON FILE
REDACTED STUDENT 5284                    ADDRESS ON FILE
REDACTED STUDENT 5285                    ADDRESS ON FILE
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REDACTED STUDENT 5290                    ADDRESS ON FILE
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REDACTED STUDENT 5294                    ADDRESS ON FILE
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REDACTED STUDENT 5298                    ADDRESS ON FILE
REDACTED STUDENT 5299                    ADDRESS ON FILE
REDACTED STUDENT 5300                    ADDRESS ON FILE
REDACTED STUDENT 5301                    ADDRESS ON FILE
REDACTED STUDENT 5302                    ADDRESS ON FILE
REDACTED STUDENT 5303                    ADDRESS ON FILE
REDACTED STUDENT 5304                    ADDRESS ON FILE
REDACTED STUDENT 5305                    ADDRESS ON FILE
REDACTED STUDENT 5306                    ADDRESS ON FILE
REDACTED STUDENT 5307                    ADDRESS ON FILE
REDACTED STUDENT 5308                    ADDRESS ON FILE
REDACTED STUDENT 5309                    ADDRESS ON FILE
REDACTED STUDENT 5310                    ADDRESS ON FILE
REDACTED STUDENT 5311                    ADDRESS ON FILE
REDACTED STUDENT 5312                    ADDRESS ON FILE
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REDACTED STUDENT 5314                    ADDRESS ON FILE
REDACTED STUDENT 5315                    ADDRESS ON FILE
REDACTED STUDENT 5316                    ADDRESS ON FILE
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REDACTED STUDENT 5318                    ADDRESS ON FILE
REDACTED STUDENT 5319                    ADDRESS ON FILE
REDACTED STUDENT 5320                    ADDRESS ON FILE
REDACTED STUDENT 5321                    ADDRESS ON FILE
REDACTED STUDENT 5322                    ADDRESS ON FILE
REDACTED STUDENT 5323                    ADDRESS ON FILE
REDACTED STUDENT 5324                    ADDRESS ON FILE
REDACTED STUDENT 5325                    ADDRESS ON FILE
REDACTED STUDENT 5326                    ADDRESS ON FILE
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REDACTED STUDENT 5328                    ADDRESS ON FILE
REDACTED STUDENT 5329                    ADDRESS ON FILE
REDACTED STUDENT 5330                    ADDRESS ON FILE
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REDACTED STUDENT 5332                    ADDRESS ON FILE
REDACTED STUDENT 5333                    ADDRESS ON FILE
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REDACTED STUDENT 5340                    ADDRESS ON FILE
REDACTED STUDENT 5341                    ADDRESS ON FILE
REDACTED STUDENT 5342                    ADDRESS ON FILE
REDACTED STUDENT 5343                    ADDRESS ON FILE
REDACTED STUDENT 5344                    ADDRESS ON FILE
REDACTED STUDENT 5345                    ADDRESS ON FILE
REDACTED STUDENT 5346                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 5347                    ADDRESS ON FILE
REDACTED STUDENT 5348                    ADDRESS ON FILE
REDACTED STUDENT 5349                    ADDRESS ON FILE
REDACTED STUDENT 5350                    ADDRESS ON FILE
REDACTED STUDENT 5351                    ADDRESS ON FILE
REDACTED STUDENT 5352                    ADDRESS ON FILE
REDACTED STUDENT 5353                    ADDRESS ON FILE
REDACTED STUDENT 5354                    ADDRESS ON FILE
REDACTED STUDENT 5355                    ADDRESS ON FILE
REDACTED STUDENT 5356                    ADDRESS ON FILE
REDACTED STUDENT 5357                    ADDRESS ON FILE
REDACTED STUDENT 5358                    ADDRESS ON FILE
REDACTED STUDENT 5359                    ADDRESS ON FILE
REDACTED STUDENT 5360                    ADDRESS ON FILE
REDACTED STUDENT 5361                    ADDRESS ON FILE
REDACTED STUDENT 5362                    ADDRESS ON FILE
REDACTED STUDENT 5363                    ADDRESS ON FILE
REDACTED STUDENT 5364                    ADDRESS ON FILE
REDACTED STUDENT 5365                    ADDRESS ON FILE
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REDACTED STUDENT 5372                    ADDRESS ON FILE
REDACTED STUDENT 5373                    ADDRESS ON FILE
REDACTED STUDENT 5374                    ADDRESS ON FILE
REDACTED STUDENT 5375                    ADDRESS ON FILE
REDACTED STUDENT 5378                    ADDRESS ON FILE
REDACTED STUDENT 5379                    ADDRESS ON FILE
REDACTED STUDENT 5380                    ADDRESS ON FILE
REDACTED STUDENT 5381                    ADDRESS ON FILE
REDACTED STUDENT 5382                    ADDRESS ON FILE
REDACTED STUDENT 5383                    ADDRESS ON FILE
REDACTED STUDENT 5384                    ADDRESS ON FILE
REDACTED STUDENT 5385                    ADDRESS ON FILE
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REDACTED STUDENT 5391                    ADDRESS ON FILE
REDACTED STUDENT 5392                    ADDRESS ON FILE
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REDACTED STUDENT 5397                    ADDRESS ON FILE
REDACTED STUDENT 5398                    ADDRESS ON FILE
REDACTED STUDENT 5399                    ADDRESS ON FILE
REDACTED STUDENT 5400                    ADDRESS ON FILE
REDACTED STUDENT 5401                    ADDRESS ON FILE
REDACTED STUDENT 5402                    ADDRESS ON FILE
REDACTED STUDENT 5403                    ADDRESS ON FILE
REDACTED STUDENT 5404                    ADDRESS ON FILE
REDACTED STUDENT 5405                    ADDRESS ON FILE
REDACTED STUDENT 5406                    ADDRESS ON FILE
REDACTED STUDENT 5407                    ADDRESS ON FILE
REDACTED STUDENT 5408                    ADDRESS ON FILE
REDACTED STUDENT 5409                    ADDRESS ON FILE
REDACTED STUDENT 5410                    ADDRESS ON FILE
REDACTED STUDENT 5411                    ADDRESS ON FILE
REDACTED STUDENT 5412                    ADDRESS ON FILE
REDACTED STUDENT 5413                    ADDRESS ON FILE
REDACTED STUDENT 5414                    ADDRESS ON FILE
REDACTED STUDENT 5415                    ADDRESS ON FILE
REDACTED STUDENT 5416                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 5417                    ADDRESS ON FILE
REDACTED STUDENT 5418                    ADDRESS ON FILE
REDACTED STUDENT 5419                    ADDRESS ON FILE
REDACTED STUDENT 5420                    ADDRESS ON FILE
REDACTED STUDENT 5421                    ADDRESS ON FILE
REDACTED STUDENT 5422                    ADDRESS ON FILE
REDACTED STUDENT 5423                    ADDRESS ON FILE
REDACTED STUDENT 5424                    ADDRESS ON FILE
REDACTED STUDENT 5425                    ADDRESS ON FILE
REDACTED STUDENT 5426                    ADDRESS ON FILE
REDACTED STUDENT 5427                    ADDRESS ON FILE
REDACTED STUDENT 5428                    ADDRESS ON FILE
REDACTED STUDENT 5429                    ADDRESS ON FILE
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REDACTED STUDENT 5431                    ADDRESS ON FILE
REDACTED STUDENT 5432                    ADDRESS ON FILE
REDACTED STUDENT 5433                    ADDRESS ON FILE
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REDACTED STUDENT 5437                    ADDRESS ON FILE
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REDACTED STUDENT 5439                    ADDRESS ON FILE
REDACTED STUDENT 5440                    ADDRESS ON FILE
REDACTED STUDENT 5441                    ADDRESS ON FILE
REDACTED STUDENT 5442                    ADDRESS ON FILE
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REDACTED STUDENT 5444                    ADDRESS ON FILE
REDACTED STUDENT 5445                    ADDRESS ON FILE
REDACTED STUDENT 5446                    ADDRESS ON FILE
REDACTED STUDENT 5447                    ADDRESS ON FILE
REDACTED STUDENT 5448                    ADDRESS ON FILE
REDACTED STUDENT 5449                    ADDRESS ON FILE
REDACTED STUDENT 5450                    ADDRESS ON FILE
REDACTED STUDENT 5451                    ADDRESS ON FILE
REDACTED STUDENT 5452                    ADDRESS ON FILE
REDACTED STUDENT 5453                    ADDRESS ON FILE
REDACTED STUDENT 5454                    ADDRESS ON FILE
REDACTED STUDENT 5455                    ADDRESS ON FILE
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REDACTED STUDENT 5458                    ADDRESS ON FILE
REDACTED STUDENT 5459                    ADDRESS ON FILE
REDACTED STUDENT 5460                    ADDRESS ON FILE
REDACTED STUDENT 5461                    ADDRESS ON FILE
REDACTED STUDENT 5462                    ADDRESS ON FILE
REDACTED STUDENT 5463                    ADDRESS ON FILE
REDACTED STUDENT 5464                    ADDRESS ON FILE
REDACTED STUDENT 5465                    ADDRESS ON FILE
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REDACTED STUDENT 5467                    ADDRESS ON FILE
REDACTED STUDENT 5468                    ADDRESS ON FILE
REDACTED STUDENT 5469                    ADDRESS ON FILE
REDACTED STUDENT 5470                    ADDRESS ON FILE
REDACTED STUDENT 5471                    ADDRESS ON FILE
REDACTED STUDENT 5472                    ADDRESS ON FILE
REDACTED STUDENT 5473                    ADDRESS ON FILE
REDACTED STUDENT 5474                    ADDRESS ON FILE
REDACTED STUDENT 5475                    ADDRESS ON FILE
REDACTED STUDENT 5476                    ADDRESS ON FILE
REDACTED STUDENT 5477                    ADDRESS ON FILE
REDACTED STUDENT 5478                    ADDRESS ON FILE
REDACTED STUDENT 5479                    ADDRESS ON FILE
REDACTED STUDENT 5480                    ADDRESS ON FILE
REDACTED STUDENT 5481                    ADDRESS ON FILE
REDACTED STUDENT 5482                    ADDRESS ON FILE
REDACTED STUDENT 5483                    ADDRESS ON FILE
REDACTED STUDENT 5484                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 5485                    ADDRESS ON FILE
REDACTED STUDENT 5486                    ADDRESS ON FILE
REDACTED STUDENT 5487                    ADDRESS ON FILE
REDACTED STUDENT 5488                    ADDRESS ON FILE
REDACTED STUDENT 5489                    ADDRESS ON FILE
REDACTED STUDENT 5490                    ADDRESS ON FILE
REDACTED STUDENT 5491                    ADDRESS ON FILE
REDACTED STUDENT 5492                    ADDRESS ON FILE
REDACTED STUDENT 5493                    ADDRESS ON FILE
REDACTED STUDENT 5494                    ADDRESS ON FILE
REDACTED STUDENT 5495                    ADDRESS ON FILE
REDACTED STUDENT 5496                    ADDRESS ON FILE
REDACTED STUDENT 5497                    ADDRESS ON FILE
REDACTED STUDENT 5498                    ADDRESS ON FILE
REDACTED STUDENT 5499                    ADDRESS ON FILE
REDACTED STUDENT 5500                    ADDRESS ON FILE
REDACTED STUDENT 5501                    ADDRESS ON FILE
REDACTED STUDENT 5502                    ADDRESS ON FILE
REDACTED STUDENT 5503                    ADDRESS ON FILE
REDACTED STUDENT 5504                    ADDRESS ON FILE
REDACTED STUDENT 5505                    ADDRESS ON FILE
REDACTED STUDENT 5506                    ADDRESS ON FILE
REDACTED STUDENT 5507                    ADDRESS ON FILE
REDACTED STUDENT 5508                    ADDRESS ON FILE
REDACTED STUDENT 5509                    ADDRESS ON FILE
REDACTED STUDENT 5510                    ADDRESS ON FILE
REDACTED STUDENT 5511                    ADDRESS ON FILE
REDACTED STUDENT 5512                    ADDRESS ON FILE
REDACTED STUDENT 5513                    ADDRESS ON FILE
REDACTED STUDENT 5514                    ADDRESS ON FILE
REDACTED STUDENT 5515                    ADDRESS ON FILE
REDACTED STUDENT 5516                    ADDRESS ON FILE
REDACTED STUDENT 5517                    ADDRESS ON FILE
REDACTED STUDENT 5518                    ADDRESS ON FILE
REDACTED STUDENT 5519                    ADDRESS ON FILE
REDACTED STUDENT 5520                    ADDRESS ON FILE
REDACTED STUDENT 5521                    ADDRESS ON FILE
REDACTED STUDENT 5522                    ADDRESS ON FILE
REDACTED STUDENT 5523                    ADDRESS ON FILE
REDACTED STUDENT 5524                    ADDRESS ON FILE
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REDACTED STUDENT 5531                    ADDRESS ON FILE
REDACTED STUDENT 5532                    ADDRESS ON FILE
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REDACTED STUDENT 5536                    ADDRESS ON FILE
REDACTED STUDENT 5537                    ADDRESS ON FILE
REDACTED STUDENT 5538                    ADDRESS ON FILE
REDACTED STUDENT 5539                    ADDRESS ON FILE
REDACTED STUDENT 5540                    ADDRESS ON FILE
REDACTED STUDENT 5541                    ADDRESS ON FILE
REDACTED STUDENT 5542                    ADDRESS ON FILE
REDACTED STUDENT 5543                    ADDRESS ON FILE
REDACTED STUDENT 5544                    ADDRESS ON FILE
REDACTED STUDENT 5545                    ADDRESS ON FILE
REDACTED STUDENT 5546                    ADDRESS ON FILE
REDACTED STUDENT 5547                    ADDRESS ON FILE
REDACTED STUDENT 5548                    ADDRESS ON FILE
REDACTED STUDENT 5549                    ADDRESS ON FILE
REDACTED STUDENT 5550                    ADDRESS ON FILE
REDACTED STUDENT 5551                    ADDRESS ON FILE
REDACTED STUDENT 5552                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 5553                    ADDRESS ON FILE
REDACTED STUDENT 5554                    ADDRESS ON FILE
REDACTED STUDENT 5555                    ADDRESS ON FILE
REDACTED STUDENT 5556                    ADDRESS ON FILE
REDACTED STUDENT 5557                    ADDRESS ON FILE
REDACTED STUDENT 5558                    ADDRESS ON FILE
REDACTED STUDENT 5559                    ADDRESS ON FILE
REDACTED STUDENT 5560                    ADDRESS ON FILE
REDACTED STUDENT 5561                    ADDRESS ON FILE
REDACTED STUDENT 5562                    ADDRESS ON FILE
REDACTED STUDENT 5563                    ADDRESS ON FILE
REDACTED STUDENT 5564                    ADDRESS ON FILE
REDACTED STUDENT 5565                    ADDRESS ON FILE
REDACTED STUDENT 5566                    ADDRESS ON FILE
REDACTED STUDENT 5567                    ADDRESS ON FILE
REDACTED STUDENT 5568                    ADDRESS ON FILE
REDACTED STUDENT 5569                    ADDRESS ON FILE
REDACTED STUDENT 5570                    ADDRESS ON FILE
REDACTED STUDENT 5571                    ADDRESS ON FILE
REDACTED STUDENT 5572                    ADDRESS ON FILE
REDACTED STUDENT 5573                    ADDRESS ON FILE
REDACTED STUDENT 5574                    ADDRESS ON FILE
REDACTED STUDENT 5575                    ADDRESS ON FILE
REDACTED STUDENT 5576                    ADDRESS ON FILE
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REDACTED STUDENT 5580                    ADDRESS ON FILE
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REDACTED STUDENT 5591                    ADDRESS ON FILE
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REDACTED STUDENT 5598                    ADDRESS ON FILE
REDACTED STUDENT 5599                    ADDRESS ON FILE
REDACTED STUDENT 5600                    ADDRESS ON FILE
REDACTED STUDENT 5601                    ADDRESS ON FILE
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REDACTED STUDENT 5604                    ADDRESS ON FILE
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REDACTED STUDENT 5609                    ADDRESS ON FILE
REDACTED STUDENT 5610                    ADDRESS ON FILE
REDACTED STUDENT 5611                    ADDRESS ON FILE
REDACTED STUDENT 5612                    ADDRESS ON FILE
REDACTED STUDENT 5613                    ADDRESS ON FILE
REDACTED STUDENT 5614                    ADDRESS ON FILE
REDACTED STUDENT 5615                    ADDRESS ON FILE
REDACTED STUDENT 5616                    ADDRESS ON FILE
REDACTED STUDENT 5617                    ADDRESS ON FILE
REDACTED STUDENT 5618                    ADDRESS ON FILE
REDACTED STUDENT 5619                    ADDRESS ON FILE
REDACTED STUDENT 5620                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 5621                    ADDRESS ON FILE
REDACTED STUDENT 5622                    ADDRESS ON FILE
REDACTED STUDENT 5623                    ADDRESS ON FILE
REDACTED STUDENT 5624                    ADDRESS ON FILE
REDACTED STUDENT 5625                    ADDRESS ON FILE
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REDACTED STUDENT 5641                    ADDRESS ON FILE
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REDACTED STUDENT 5661                    ADDRESS ON FILE
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REDACTED STUDENT 5674                    ADDRESS ON FILE
REDACTED STUDENT 5675                    ADDRESS ON FILE
REDACTED STUDENT 5676                    ADDRESS ON FILE
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REDACTED STUDENT 5678                    ADDRESS ON FILE
REDACTED STUDENT 5679                    ADDRESS ON FILE
REDACTED STUDENT 5680                    ADDRESS ON FILE
REDACTED STUDENT 5681                    ADDRESS ON FILE
REDACTED STUDENT 5682                    ADDRESS ON FILE
REDACTED STUDENT 5683                    ADDRESS ON FILE
REDACTED STUDENT 5684                    ADDRESS ON FILE
REDACTED STUDENT 5685                    ADDRESS ON FILE
REDACTED STUDENT 5686                    ADDRESS ON FILE
REDACTED STUDENT 5687                    ADDRESS ON FILE
REDACTED STUDENT 5688                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 5689                    ADDRESS ON FILE
REDACTED STUDENT 5690                    ADDRESS ON FILE
REDACTED STUDENT 5691                    ADDRESS ON FILE
REDACTED STUDENT 5692                    ADDRESS ON FILE
REDACTED STUDENT 5693                    ADDRESS ON FILE
REDACTED STUDENT 5694                    ADDRESS ON FILE
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REDACTED STUDENT 5701                    ADDRESS ON FILE
REDACTED STUDENT 5702                    ADDRESS ON FILE
REDACTED STUDENT 5703                    ADDRESS ON FILE
REDACTED STUDENT 5704                    ADDRESS ON FILE
REDACTED STUDENT 5705                    ADDRESS ON FILE
REDACTED STUDENT 5706                    ADDRESS ON FILE
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REDACTED STUDENT 5708                    ADDRESS ON FILE
REDACTED STUDENT 5709                    ADDRESS ON FILE
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REDACTED STUDENT 5750                    ADDRESS ON FILE
REDACTED STUDENT 5751                    ADDRESS ON FILE
REDACTED STUDENT 5752                    ADDRESS ON FILE
REDACTED STUDENT 5753                    ADDRESS ON FILE
REDACTED STUDENT 5754                    ADDRESS ON FILE
REDACTED STUDENT 5755                    ADDRESS ON FILE
REDACTED STUDENT 5756                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 5757                    ADDRESS ON FILE
REDACTED STUDENT 5758                    ADDRESS ON FILE
REDACTED STUDENT 5759                    ADDRESS ON FILE
REDACTED STUDENT 5760                    ADDRESS ON FILE
REDACTED STUDENT 5761                    ADDRESS ON FILE
REDACTED STUDENT 5762                    ADDRESS ON FILE
REDACTED STUDENT 5763                    ADDRESS ON FILE
REDACTED STUDENT 5764                    ADDRESS ON FILE
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REDACTED STUDENT 5766                    ADDRESS ON FILE
REDACTED STUDENT 5767                    ADDRESS ON FILE
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REDACTED STUDENT 5769                    ADDRESS ON FILE
REDACTED STUDENT 5770                    ADDRESS ON FILE
REDACTED STUDENT 5771                    ADDRESS ON FILE
REDACTED STUDENT 5772                    ADDRESS ON FILE
REDACTED STUDENT 5773                    ADDRESS ON FILE
REDACTED STUDENT 5774                    ADDRESS ON FILE
REDACTED STUDENT 5775                    ADDRESS ON FILE
REDACTED STUDENT 5776                    ADDRESS ON FILE
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REDACTED STUDENT 5780                    ADDRESS ON FILE
REDACTED STUDENT 5781                    ADDRESS ON FILE
REDACTED STUDENT 5782                    ADDRESS ON FILE
REDACTED STUDENT 5783                    ADDRESS ON FILE
REDACTED STUDENT 5784                    ADDRESS ON FILE
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REDACTED STUDENT 5799                    ADDRESS ON FILE
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REDACTED STUDENT 5801                    ADDRESS ON FILE
REDACTED STUDENT 5802                    ADDRESS ON FILE
REDACTED STUDENT 5803                    ADDRESS ON FILE
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REDACTED STUDENT 5810                    ADDRESS ON FILE
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REDACTED STUDENT 5813                    ADDRESS ON FILE
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REDACTED STUDENT 5818                    ADDRESS ON FILE
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REDACTED STUDENT 5820                    ADDRESS ON FILE
REDACTED STUDENT 5821                    ADDRESS ON FILE
REDACTED STUDENT 5822                    ADDRESS ON FILE
REDACTED STUDENT 5823                    ADDRESS ON FILE
REDACTED STUDENT 5824                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 5825                    ADDRESS ON FILE
REDACTED STUDENT 5826                    ADDRESS ON FILE
REDACTED STUDENT 5827                    ADDRESS ON FILE
REDACTED STUDENT 5828                    ADDRESS ON FILE
REDACTED STUDENT 5829                    ADDRESS ON FILE
REDACTED STUDENT 5830                    ADDRESS ON FILE
REDACTED STUDENT 5831                    ADDRESS ON FILE
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REDACTED STUDENT 5834                    ADDRESS ON FILE
REDACTED STUDENT 5835                    ADDRESS ON FILE
REDACTED STUDENT 5836                    ADDRESS ON FILE
REDACTED STUDENT 5837                    ADDRESS ON FILE
REDACTED STUDENT 5838                    ADDRESS ON FILE
REDACTED STUDENT 5839                    ADDRESS ON FILE
REDACTED STUDENT 5840                    ADDRESS ON FILE
REDACTED STUDENT 5841                    ADDRESS ON FILE
REDACTED STUDENT 5842                    ADDRESS ON FILE
REDACTED STUDENT 5843                    ADDRESS ON FILE
REDACTED STUDENT 5844                    ADDRESS ON FILE
REDACTED STUDENT 5845                    ADDRESS ON FILE
REDACTED STUDENT 5846                    ADDRESS ON FILE
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REDACTED STUDENT 5848                    ADDRESS ON FILE
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REDACTED STUDENT 5850                    ADDRESS ON FILE
REDACTED STUDENT 5851                    ADDRESS ON FILE
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REDACTED STUDENT 5856                    ADDRESS ON FILE
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REDACTED STUDENT 5860                    ADDRESS ON FILE
REDACTED STUDENT 5861                    ADDRESS ON FILE
REDACTED STUDENT 5862                    ADDRESS ON FILE
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REDACTED STUDENT 5871                    ADDRESS ON FILE
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REDACTED STUDENT 5879                    ADDRESS ON FILE
REDACTED STUDENT 5880                    ADDRESS ON FILE
REDACTED STUDENT 5881                    ADDRESS ON FILE
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REDACTED STUDENT 5888                    ADDRESS ON FILE
REDACTED STUDENT 5889                    ADDRESS ON FILE
REDACTED STUDENT 5890                    ADDRESS ON FILE
REDACTED STUDENT 5891                    ADDRESS ON FILE
REDACTED STUDENT 5892                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 5893                    ADDRESS ON FILE
REDACTED STUDENT 5894                    ADDRESS ON FILE
REDACTED STUDENT 5895                    ADDRESS ON FILE
REDACTED STUDENT 5896                    ADDRESS ON FILE
REDACTED STUDENT 5897                    ADDRESS ON FILE
REDACTED STUDENT 5898                    ADDRESS ON FILE
REDACTED STUDENT 5899                    ADDRESS ON FILE
REDACTED STUDENT 5900                    ADDRESS ON FILE
REDACTED STUDENT 5901                    ADDRESS ON FILE
REDACTED STUDENT 5902                    ADDRESS ON FILE
REDACTED STUDENT 5903                    ADDRESS ON FILE
REDACTED STUDENT 5904                    ADDRESS ON FILE
REDACTED STUDENT 5905                    ADDRESS ON FILE
REDACTED STUDENT 5906                    ADDRESS ON FILE
REDACTED STUDENT 5907                    ADDRESS ON FILE
REDACTED STUDENT 5908                    ADDRESS ON FILE
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REDACTED STUDENT 5910                    ADDRESS ON FILE
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REDACTED STUDENT 5934                    ADDRESS ON FILE
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REDACTED STUDENT 5936                    ADDRESS ON FILE
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REDACTED STUDENT 5939                    ADDRESS ON FILE
REDACTED STUDENT 5940                    ADDRESS ON FILE
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REDACTED STUDENT 5958                    ADDRESS ON FILE
REDACTED STUDENT 5959                    ADDRESS ON FILE
REDACTED STUDENT 5960                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 5961                    ADDRESS ON FILE
REDACTED STUDENT 5962                    ADDRESS ON FILE
REDACTED STUDENT 5963                    ADDRESS ON FILE
REDACTED STUDENT 5964                    ADDRESS ON FILE
REDACTED STUDENT 5965                    ADDRESS ON FILE
REDACTED STUDENT 5966                    ADDRESS ON FILE
REDACTED STUDENT 5967                    ADDRESS ON FILE
REDACTED STUDENT 5968                    ADDRESS ON FILE
REDACTED STUDENT 5969                    ADDRESS ON FILE
REDACTED STUDENT 5970                    ADDRESS ON FILE
REDACTED STUDENT 5971                    ADDRESS ON FILE
REDACTED STUDENT 5972                    ADDRESS ON FILE
REDACTED STUDENT 5973                    ADDRESS ON FILE
REDACTED STUDENT 5974                    ADDRESS ON FILE
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REDACTED STUDENT 5976                    ADDRESS ON FILE
REDACTED STUDENT 5977                    ADDRESS ON FILE
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REDACTED STUDENT 5981                    ADDRESS ON FILE
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REDACTED STUDENT 6002                    ADDRESS ON FILE
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REDACTED STUDENT 6009                    ADDRESS ON FILE
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REDACTED STUDENT 6018                    ADDRESS ON FILE
REDACTED STUDENT 6019                    ADDRESS ON FILE
REDACTED STUDENT 6020                    ADDRESS ON FILE
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REDACTED STUDENT 6022                    ADDRESS ON FILE
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REDACTED STUDENT 6025                    ADDRESS ON FILE
REDACTED STUDENT 6026                    ADDRESS ON FILE
REDACTED STUDENT 6027                    ADDRESS ON FILE
REDACTED STUDENT 6028                    ADDRESS ON FILE
REDACTED STUDENT 6029                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 6030                    ADDRESS ON FILE
REDACTED STUDENT 6031                    ADDRESS ON FILE
REDACTED STUDENT 6032                    ADDRESS ON FILE
REDACTED STUDENT 6033                    ADDRESS ON FILE
REDACTED STUDENT 6034                    ADDRESS ON FILE
REDACTED STUDENT 6035                    ADDRESS ON FILE
REDACTED STUDENT 6036                    ADDRESS ON FILE
REDACTED STUDENT 6037                    ADDRESS ON FILE
REDACTED STUDENT 6038                    ADDRESS ON FILE
REDACTED STUDENT 6039                    ADDRESS ON FILE
REDACTED STUDENT 6040                    ADDRESS ON FILE
REDACTED STUDENT 6041                    ADDRESS ON FILE
REDACTED STUDENT 6042                    ADDRESS ON FILE
REDACTED STUDENT 6043                    ADDRESS ON FILE
REDACTED STUDENT 6044                    ADDRESS ON FILE
REDACTED STUDENT 6045                    ADDRESS ON FILE
REDACTED STUDENT 6046                    ADDRESS ON FILE
REDACTED STUDENT 6047                    ADDRESS ON FILE
REDACTED STUDENT 6048                    ADDRESS ON FILE
REDACTED STUDENT 6049                    ADDRESS ON FILE
REDACTED STUDENT 6050                    ADDRESS ON FILE
REDACTED STUDENT 6051                    ADDRESS ON FILE
REDACTED STUDENT 6052                    ADDRESS ON FILE
REDACTED STUDENT 6053                    ADDRESS ON FILE
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REDACTED STUDENT 6061                    ADDRESS ON FILE
REDACTED STUDENT 6062                    ADDRESS ON FILE
REDACTED STUDENT 6063                    ADDRESS ON FILE
REDACTED STUDENT 6064                    ADDRESS ON FILE
REDACTED STUDENT 6065                    ADDRESS ON FILE
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REDACTED STUDENT 6067                    ADDRESS ON FILE
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REDACTED STUDENT 6069                    ADDRESS ON FILE
REDACTED STUDENT 6070                    ADDRESS ON FILE
REDACTED STUDENT 6071                    ADDRESS ON FILE
REDACTED STUDENT 6072                    ADDRESS ON FILE
REDACTED STUDENT 6073                    ADDRESS ON FILE
REDACTED STUDENT 6074                    ADDRESS ON FILE
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REDACTED STUDENT 6077                    ADDRESS ON FILE
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REDACTED STUDENT 6080                    ADDRESS ON FILE
REDACTED STUDENT 6082                    ADDRESS ON FILE
REDACTED STUDENT 6083                    ADDRESS ON FILE
REDACTED STUDENT 6084                    ADDRESS ON FILE
REDACTED STUDENT 6085                    ADDRESS ON FILE
REDACTED STUDENT 6086                    ADDRESS ON FILE
REDACTED STUDENT 6087                    ADDRESS ON FILE
REDACTED STUDENT 6088                    ADDRESS ON FILE
REDACTED STUDENT 6089                    ADDRESS ON FILE
REDACTED STUDENT 6090                    ADDRESS ON FILE
REDACTED STUDENT 6091                    ADDRESS ON FILE
REDACTED STUDENT 6092                    ADDRESS ON FILE
REDACTED STUDENT 6093                    ADDRESS ON FILE
REDACTED STUDENT 6094                    ADDRESS ON FILE
REDACTED STUDENT 6095                    ADDRESS ON FILE
REDACTED STUDENT 6096                    ADDRESS ON FILE
REDACTED STUDENT 6097                    ADDRESS ON FILE
REDACTED STUDENT 6098                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 6099                    ADDRESS ON FILE
REDACTED STUDENT 6100                    ADDRESS ON FILE
REDACTED STUDENT 6101                    ADDRESS ON FILE
REDACTED STUDENT 6102                    ADDRESS ON FILE
REDACTED STUDENT 6103                    ADDRESS ON FILE
REDACTED STUDENT 6104                    ADDRESS ON FILE
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REDACTED STUDENT 6163                    ADDRESS ON FILE
REDACTED STUDENT 6164                    ADDRESS ON FILE
REDACTED STUDENT 6165                    ADDRESS ON FILE
REDACTED STUDENT 6166                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 6167                    ADDRESS ON FILE
REDACTED STUDENT 6168                    ADDRESS ON FILE
REDACTED STUDENT 6169                    ADDRESS ON FILE
REDACTED STUDENT 6170                    ADDRESS ON FILE
REDACTED STUDENT 6171                    ADDRESS ON FILE
REDACTED STUDENT 6172                    ADDRESS ON FILE
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REDACTED STUDENT 6221                    ADDRESS ON FILE
REDACTED STUDENT 6222                    ADDRESS ON FILE
REDACTED STUDENT 6223                    ADDRESS ON FILE
REDACTED STUDENT 6224                    ADDRESS ON FILE
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REDACTED STUDENT 6226                    ADDRESS ON FILE
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REDACTED STUDENT 6230                    ADDRESS ON FILE
REDACTED STUDENT 6231                    ADDRESS ON FILE
REDACTED STUDENT 6232                    ADDRESS ON FILE
REDACTED STUDENT 6233                    ADDRESS ON FILE
REDACTED STUDENT 6234                    ADDRESS ON FILE
REDACTED STUDENT 6235                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 6236                    ADDRESS ON FILE
REDACTED STUDENT 6237                    ADDRESS ON FILE
REDACTED STUDENT 6238                    ADDRESS ON FILE
REDACTED STUDENT 6239                    ADDRESS ON FILE
REDACTED STUDENT 6240                    ADDRESS ON FILE
REDACTED STUDENT 6241                    ADDRESS ON FILE
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REDACTED STUDENT 6263                    ADDRESS ON FILE
REDACTED STUDENT 6264                    ADDRESS ON FILE
REDACTED STUDENT 6265                    ADDRESS ON FILE
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REDACTED STUDENT 6299                    ADDRESS ON FILE
REDACTED STUDENT 6300                    ADDRESS ON FILE
REDACTED STUDENT 6301                    ADDRESS ON FILE
REDACTED STUDENT 6302                    ADDRESS ON FILE
REDACTED STUDENT 6303                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 6304                    ADDRESS ON FILE
REDACTED STUDENT 6305                    ADDRESS ON FILE
REDACTED STUDENT 6306                    ADDRESS ON FILE
REDACTED STUDENT 6307                    ADDRESS ON FILE
REDACTED STUDENT 6308                    ADDRESS ON FILE
REDACTED STUDENT 6309                    ADDRESS ON FILE
REDACTED STUDENT 6310                    ADDRESS ON FILE
REDACTED STUDENT 6311                    ADDRESS ON FILE
REDACTED STUDENT 6312                    ADDRESS ON FILE
REDACTED STUDENT 6313                    ADDRESS ON FILE
REDACTED STUDENT 6314                    ADDRESS ON FILE
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REDACTED STUDENT 6316                    ADDRESS ON FILE
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REDACTED STUDENT 6318                    ADDRESS ON FILE
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REDACTED STUDENT 6320                    ADDRESS ON FILE
REDACTED STUDENT 6321                    ADDRESS ON FILE
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REDACTED STUDENT 6324                    ADDRESS ON FILE
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REDACTED STUDENT 6326                    ADDRESS ON FILE
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REDACTED STUDENT 6340                    ADDRESS ON FILE
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REDACTED STUDENT 6360                    ADDRESS ON FILE
REDACTED STUDENT 6361                    ADDRESS ON FILE
REDACTED STUDENT 6362                    ADDRESS ON FILE
REDACTED STUDENT 6363                    ADDRESS ON FILE
REDACTED STUDENT 6364                    ADDRESS ON FILE
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REDACTED STUDENT 6370                    ADDRESS ON FILE
REDACTED STUDENT 6371                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 6372                    ADDRESS ON FILE
REDACTED STUDENT 6373                    ADDRESS ON FILE
REDACTED STUDENT 6374                    ADDRESS ON FILE
REDACTED STUDENT 6375                    ADDRESS ON FILE
REDACTED STUDENT 6376                    ADDRESS ON FILE
REDACTED STUDENT 6377                    ADDRESS ON FILE
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REDACTED STUDENT 6380                    ADDRESS ON FILE
REDACTED STUDENT 6381                    ADDRESS ON FILE
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REDACTED STUDENT 6383                    ADDRESS ON FILE
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REDACTED STUDENT 6403                    ADDRESS ON FILE
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REDACTED STUDENT 6432                    ADDRESS ON FILE
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REDACTED STUDENT 6436                    ADDRESS ON FILE
REDACTED STUDENT 6437                    ADDRESS ON FILE
REDACTED STUDENT 6438                    ADDRESS ON FILE
REDACTED STUDENT 6439                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 6440                    ADDRESS ON FILE
REDACTED STUDENT 6441                    ADDRESS ON FILE
REDACTED STUDENT 6442                    ADDRESS ON FILE
REDACTED STUDENT 6443                    ADDRESS ON FILE
REDACTED STUDENT 6444                    ADDRESS ON FILE
REDACTED STUDENT 6445                    ADDRESS ON FILE
REDACTED STUDENT 6446                    ADDRESS ON FILE
REDACTED STUDENT 6447                    ADDRESS ON FILE
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REDACTED STUDENT 6450                    ADDRESS ON FILE
REDACTED STUDENT 6451                    ADDRESS ON FILE
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REDACTED STUDENT 6460                    ADDRESS ON FILE
REDACTED STUDENT 6461                    ADDRESS ON FILE
REDACTED STUDENT 6462                    ADDRESS ON FILE
REDACTED STUDENT 6463                    ADDRESS ON FILE
REDACTED STUDENT 6464                    ADDRESS ON FILE
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REDACTED STUDENT 6467                    ADDRESS ON FILE
REDACTED STUDENT 6468                    ADDRESS ON FILE
REDACTED STUDENT 6469                    ADDRESS ON FILE
REDACTED STUDENT 6472                    ADDRESS ON FILE
REDACTED STUDENT 6473                    ADDRESS ON FILE
REDACTED STUDENT 6474                    ADDRESS ON FILE
REDACTED STUDENT 6475                    ADDRESS ON FILE
REDACTED STUDENT 6476                    ADDRESS ON FILE
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REDACTED STUDENT 6497                    ADDRESS ON FILE
REDACTED STUDENT 6498                    ADDRESS ON FILE
REDACTED STUDENT 6499                    ADDRESS ON FILE
REDACTED STUDENT 6500                    ADDRESS ON FILE
REDACTED STUDENT 6501                    ADDRESS ON FILE
REDACTED STUDENT 6502                    ADDRESS ON FILE
REDACTED STUDENT 6503                    ADDRESS ON FILE
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REDACTED STUDENT 6505                    ADDRESS ON FILE
REDACTED STUDENT 6506                    ADDRESS ON FILE
REDACTED STUDENT 6507                    ADDRESS ON FILE
REDACTED STUDENT 6508                    ADDRESS ON FILE
REDACTED STUDENT 6509                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 6510                    ADDRESS ON FILE
REDACTED STUDENT 6511                    ADDRESS ON FILE
REDACTED STUDENT 6512                    ADDRESS ON FILE
REDACTED STUDENT 6513                    ADDRESS ON FILE
REDACTED STUDENT 6514                    ADDRESS ON FILE
REDACTED STUDENT 6515                    ADDRESS ON FILE
REDACTED STUDENT 6516                    ADDRESS ON FILE
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REDACTED STUDENT 6521                    ADDRESS ON FILE
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REDACTED STUDENT 6551                    ADDRESS ON FILE
REDACTED STUDENT 6552                    ADDRESS ON FILE
REDACTED STUDENT 6553                    ADDRESS ON FILE
REDACTED STUDENT 6554                    ADDRESS ON FILE
REDACTED STUDENT 6555                    ADDRESS ON FILE
REDACTED STUDENT 6556                    ADDRESS ON FILE
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REDACTED STUDENT 6559                    ADDRESS ON FILE
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REDACTED STUDENT 6561                    ADDRESS ON FILE
REDACTED STUDENT 6562                    ADDRESS ON FILE
REDACTED STUDENT 6563                    ADDRESS ON FILE
REDACTED STUDENT 6564                    ADDRESS ON FILE
REDACTED STUDENT 6565                    ADDRESS ON FILE
REDACTED STUDENT 6566                    ADDRESS ON FILE
REDACTED STUDENT 6567                    ADDRESS ON FILE
REDACTED STUDENT 6568                    ADDRESS ON FILE
REDACTED STUDENT 6569                    ADDRESS ON FILE
REDACTED STUDENT 6570                    ADDRESS ON FILE
REDACTED STUDENT 6571                    ADDRESS ON FILE
REDACTED STUDENT 6572                    ADDRESS ON FILE
REDACTED STUDENT 6573                    ADDRESS ON FILE
REDACTED STUDENT 6574                    ADDRESS ON FILE
REDACTED STUDENT 6575                    ADDRESS ON FILE
REDACTED STUDENT 6576                    ADDRESS ON FILE
REDACTED STUDENT 6577                    ADDRESS ON FILE
REDACTED STUDENT 6578                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 6579                    ADDRESS ON FILE
REDACTED STUDENT 6580                    ADDRESS ON FILE
REDACTED STUDENT 6581                    ADDRESS ON FILE
REDACTED STUDENT 6582                    ADDRESS ON FILE
REDACTED STUDENT 6583                    ADDRESS ON FILE
REDACTED STUDENT 6584                    ADDRESS ON FILE
REDACTED STUDENT 6585                    ADDRESS ON FILE
REDACTED STUDENT 6586                    ADDRESS ON FILE
REDACTED STUDENT 6587                    ADDRESS ON FILE
REDACTED STUDENT 6588                    ADDRESS ON FILE
REDACTED STUDENT 6589                    ADDRESS ON FILE
REDACTED STUDENT 6590                    ADDRESS ON FILE
REDACTED STUDENT 6591                    ADDRESS ON FILE
REDACTED STUDENT 6592                    ADDRESS ON FILE
REDACTED STUDENT 6593                    ADDRESS ON FILE
REDACTED STUDENT 6594                    ADDRESS ON FILE
REDACTED STUDENT 6595                    ADDRESS ON FILE
REDACTED STUDENT 6596                    ADDRESS ON FILE
REDACTED STUDENT 6597                    ADDRESS ON FILE
REDACTED STUDENT 6598                    ADDRESS ON FILE
REDACTED STUDENT 6599                    ADDRESS ON FILE
REDACTED STUDENT 6600                    ADDRESS ON FILE
REDACTED STUDENT 6601                    ADDRESS ON FILE
REDACTED STUDENT 6602                    ADDRESS ON FILE
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REDACTED STUDENT 6636                    ADDRESS ON FILE
REDACTED STUDENT 6637                    ADDRESS ON FILE
REDACTED STUDENT 6638                    ADDRESS ON FILE
REDACTED STUDENT 6639                    ADDRESS ON FILE
REDACTED STUDENT 6640                    ADDRESS ON FILE
REDACTED STUDENT 6641                    ADDRESS ON FILE
REDACTED STUDENT 6642                    ADDRESS ON FILE
REDACTED STUDENT 6643                    ADDRESS ON FILE
REDACTED STUDENT 6644                    ADDRESS ON FILE
REDACTED STUDENT 6645                    ADDRESS ON FILE
REDACTED STUDENT 6646                    ADDRESS ON FILE
REDACTED STUDENT 6647                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 6648                    ADDRESS ON FILE
REDACTED STUDENT 6649                    ADDRESS ON FILE
REDACTED STUDENT 6650                    ADDRESS ON FILE
REDACTED STUDENT 6651                    ADDRESS ON FILE
REDACTED STUDENT 6652                    ADDRESS ON FILE
REDACTED STUDENT 6653                    ADDRESS ON FILE
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REDACTED STUDENT 6660                    ADDRESS ON FILE
REDACTED STUDENT 6661                    ADDRESS ON FILE
REDACTED STUDENT 6662                    ADDRESS ON FILE
REDACTED STUDENT 6663                    ADDRESS ON FILE
REDACTED STUDENT 6664                    ADDRESS ON FILE
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REDACTED STUDENT 6667                    ADDRESS ON FILE
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REDACTED STUDENT 6674                    ADDRESS ON FILE
REDACTED STUDENT 6675                    ADDRESS ON FILE
REDACTED STUDENT 6676                    ADDRESS ON FILE
REDACTED STUDENT 6677                    ADDRESS ON FILE
REDACTED STUDENT 6678                    ADDRESS ON FILE
REDACTED STUDENT 6679                    ADDRESS ON FILE
REDACTED STUDENT 6680                    ADDRESS ON FILE
REDACTED STUDENT 6681                    ADDRESS ON FILE
REDACTED STUDENT 6682                    ADDRESS ON FILE
REDACTED STUDENT 6683                    ADDRESS ON FILE
REDACTED STUDENT 6684                    ADDRESS ON FILE
REDACTED STUDENT 6685                    ADDRESS ON FILE
REDACTED STUDENT 6686                    ADDRESS ON FILE
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REDACTED STUDENT 6698                    ADDRESS ON FILE
REDACTED STUDENT 6699                    ADDRESS ON FILE
REDACTED STUDENT 6700                    ADDRESS ON FILE
REDACTED STUDENT 6701                    ADDRESS ON FILE
REDACTED STUDENT 6702                    ADDRESS ON FILE
REDACTED STUDENT 6703                    ADDRESS ON FILE
REDACTED STUDENT 6704                    ADDRESS ON FILE
REDACTED STUDENT 6705                    ADDRESS ON FILE
REDACTED STUDENT 6706                    ADDRESS ON FILE
REDACTED STUDENT 6707                    ADDRESS ON FILE
REDACTED STUDENT 6708                    ADDRESS ON FILE
REDACTED STUDENT 6709                    ADDRESS ON FILE
REDACTED STUDENT 6710                    ADDRESS ON FILE
REDACTED STUDENT 6711                    ADDRESS ON FILE
REDACTED STUDENT 6712                    ADDRESS ON FILE
REDACTED STUDENT 6713                    ADDRESS ON FILE
REDACTED STUDENT 6714                    ADDRESS ON FILE
REDACTED STUDENT 6715                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 6716                    ADDRESS ON FILE
REDACTED STUDENT 6717                    ADDRESS ON FILE
REDACTED STUDENT 6718                    ADDRESS ON FILE
REDACTED STUDENT 6719                    ADDRESS ON FILE
REDACTED STUDENT 6720                    ADDRESS ON FILE
REDACTED STUDENT 6721                    ADDRESS ON FILE
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REDACTED STUDENT 6751                    ADDRESS ON FILE
REDACTED STUDENT 6752                    ADDRESS ON FILE
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REDACTED STUDENT 6758                    ADDRESS ON FILE
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REDACTED STUDENT 6760                    ADDRESS ON FILE
REDACTED STUDENT 6761                    ADDRESS ON FILE
REDACTED STUDENT 6762                    ADDRESS ON FILE
REDACTED STUDENT 6763                    ADDRESS ON FILE
REDACTED STUDENT 6764                    ADDRESS ON FILE
REDACTED STUDENT 6765                    ADDRESS ON FILE
REDACTED STUDENT 6766                    ADDRESS ON FILE
REDACTED STUDENT 6767                    ADDRESS ON FILE
REDACTED STUDENT 6768                    ADDRESS ON FILE
REDACTED STUDENT 6769                    ADDRESS ON FILE
REDACTED STUDENT 6770                    ADDRESS ON FILE
REDACTED STUDENT 6771                    ADDRESS ON FILE
REDACTED STUDENT 6772                    ADDRESS ON FILE
REDACTED STUDENT 6773                    ADDRESS ON FILE
REDACTED STUDENT 6774                    ADDRESS ON FILE
REDACTED STUDENT 6775                    ADDRESS ON FILE
REDACTED STUDENT 6776                    ADDRESS ON FILE
REDACTED STUDENT 6777                    ADDRESS ON FILE
REDACTED STUDENT 6778                    ADDRESS ON FILE
REDACTED STUDENT 6779                    ADDRESS ON FILE
REDACTED STUDENT 6780                    ADDRESS ON FILE
REDACTED STUDENT 6781                    ADDRESS ON FILE
REDACTED STUDENT 6782                    ADDRESS ON FILE
REDACTED STUDENT 6783                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 6784                    ADDRESS ON FILE
REDACTED STUDENT 6785                    ADDRESS ON FILE
REDACTED STUDENT 6786                    ADDRESS ON FILE
REDACTED STUDENT 6787                    ADDRESS ON FILE
REDACTED STUDENT 6788                    ADDRESS ON FILE
REDACTED STUDENT 6789                    ADDRESS ON FILE
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REDACTED STUDENT 6791                    ADDRESS ON FILE
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REDACTED STUDENT 6793                    ADDRESS ON FILE
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REDACTED STUDENT 6795                    ADDRESS ON FILE
REDACTED STUDENT 6796                    ADDRESS ON FILE
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REDACTED STUDENT 6798                    ADDRESS ON FILE
REDACTED STUDENT 6799                    ADDRESS ON FILE
REDACTED STUDENT 6800                    ADDRESS ON FILE
REDACTED STUDENT 6801                    ADDRESS ON FILE
REDACTED STUDENT 6802                    ADDRESS ON FILE
REDACTED STUDENT 6803                    ADDRESS ON FILE
REDACTED STUDENT 6804                    ADDRESS ON FILE
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REDACTED STUDENT 6839                    ADDRESS ON FILE
REDACTED STUDENT 6840                    ADDRESS ON FILE
REDACTED STUDENT 6841                    ADDRESS ON FILE
REDACTED STUDENT 6842                    ADDRESS ON FILE
REDACTED STUDENT 6843                    ADDRESS ON FILE
REDACTED STUDENT 6844                    ADDRESS ON FILE
REDACTED STUDENT 6845                    ADDRESS ON FILE
REDACTED STUDENT 6846                    ADDRESS ON FILE
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REDACTED STUDENT 6850                    ADDRESS ON FILE
REDACTED STUDENT 6851                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 6852                    ADDRESS ON FILE
REDACTED STUDENT 6853                    ADDRESS ON FILE
REDACTED STUDENT 6854                    ADDRESS ON FILE
REDACTED STUDENT 6855                    ADDRESS ON FILE
REDACTED STUDENT 6856                    ADDRESS ON FILE
REDACTED STUDENT 6857                    ADDRESS ON FILE
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REDACTED STUDENT 6860                    ADDRESS ON FILE
REDACTED STUDENT 6861                    ADDRESS ON FILE
REDACTED STUDENT 6862                    ADDRESS ON FILE
REDACTED STUDENT 6863                    ADDRESS ON FILE
REDACTED STUDENT 6864                    ADDRESS ON FILE
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REDACTED STUDENT 6867                    ADDRESS ON FILE
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REDACTED STUDENT 6871                    ADDRESS ON FILE
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REDACTED STUDENT 6881                    ADDRESS ON FILE
REDACTED STUDENT 6882                    ADDRESS ON FILE
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REDACTED STUDENT 6890                    ADDRESS ON FILE
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REDACTED STUDENT 6895                    ADDRESS ON FILE
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REDACTED STUDENT 6906                    ADDRESS ON FILE
REDACTED STUDENT 6907                    ADDRESS ON FILE
REDACTED STUDENT 6908                    ADDRESS ON FILE
REDACTED STUDENT 6909                    ADDRESS ON FILE
REDACTED STUDENT 6910                    ADDRESS ON FILE
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REDACTED STUDENT 6912                    ADDRESS ON FILE
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REDACTED STUDENT 6916                    ADDRESS ON FILE
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REDACTED STUDENT 6919                    ADDRESS ON FILE
REDACTED STUDENT 6920                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 6921                    ADDRESS ON FILE
REDACTED STUDENT 6922                    ADDRESS ON FILE
REDACTED STUDENT 6923                    ADDRESS ON FILE
REDACTED STUDENT 6924                    ADDRESS ON FILE
REDACTED STUDENT 6925                    ADDRESS ON FILE
REDACTED STUDENT 6926                    ADDRESS ON FILE
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REDACTED STUDENT 6950                    ADDRESS ON FILE
REDACTED STUDENT 6951                    ADDRESS ON FILE
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REDACTED STUDENT 6956                    ADDRESS ON FILE
REDACTED STUDENT 6957                    ADDRESS ON FILE
REDACTED STUDENT 6958                    ADDRESS ON FILE
REDACTED STUDENT 6959                    ADDRESS ON FILE
REDACTED STUDENT 6960                    ADDRESS ON FILE
REDACTED STUDENT 6961                    ADDRESS ON FILE
REDACTED STUDENT 6962                    ADDRESS ON FILE
REDACTED STUDENT 6963                    ADDRESS ON FILE
REDACTED STUDENT 6964                    ADDRESS ON FILE
REDACTED STUDENT 6965                    ADDRESS ON FILE
REDACTED STUDENT 6966                    ADDRESS ON FILE
REDACTED STUDENT 6967                    ADDRESS ON FILE
REDACTED STUDENT 6968                    ADDRESS ON FILE
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REDACTED STUDENT 6972                    ADDRESS ON FILE
REDACTED STUDENT 6973                    ADDRESS ON FILE
REDACTED STUDENT 6974                    ADDRESS ON FILE
REDACTED STUDENT 6975                    ADDRESS ON FILE
REDACTED STUDENT 6976                    ADDRESS ON FILE
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REDACTED STUDENT 6979                    ADDRESS ON FILE
REDACTED STUDENT 6980                    ADDRESS ON FILE
REDACTED STUDENT 6981                    ADDRESS ON FILE
REDACTED STUDENT 6982                    ADDRESS ON FILE
REDACTED STUDENT 6983                    ADDRESS ON FILE
REDACTED STUDENT 6984                    ADDRESS ON FILE
REDACTED STUDENT 6985                    ADDRESS ON FILE
REDACTED STUDENT 6986                    ADDRESS ON FILE
REDACTED STUDENT 6987                    ADDRESS ON FILE
REDACTED STUDENT 6988                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 6989                    ADDRESS ON FILE
REDACTED STUDENT 6990                    ADDRESS ON FILE
REDACTED STUDENT 6991                    ADDRESS ON FILE
REDACTED STUDENT 6992                    ADDRESS ON FILE
REDACTED STUDENT 6993                    ADDRESS ON FILE
REDACTED STUDENT 6994                    ADDRESS ON FILE
REDACTED STUDENT 6995                    ADDRESS ON FILE
REDACTED STUDENT 6996                    ADDRESS ON FILE
REDACTED STUDENT 6997                    ADDRESS ON FILE
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REDACTED STUDENT 7000                    ADDRESS ON FILE
REDACTED STUDENT 7001                    ADDRESS ON FILE
REDACTED STUDENT 7002                    ADDRESS ON FILE
REDACTED STUDENT 7003                    ADDRESS ON FILE
REDACTED STUDENT 7004                    ADDRESS ON FILE
REDACTED STUDENT 7005                    ADDRESS ON FILE
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REDACTED STUDENT 7011                    ADDRESS ON FILE
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REDACTED STUDENT 7019                    ADDRESS ON FILE
REDACTED STUDENT 7020                    ADDRESS ON FILE
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REDACTED STUDENT 7041                    ADDRESS ON FILE
REDACTED STUDENT 7042                    ADDRESS ON FILE
REDACTED STUDENT 7043                    ADDRESS ON FILE
REDACTED STUDENT 7044                    ADDRESS ON FILE
REDACTED STUDENT 7045                    ADDRESS ON FILE
REDACTED STUDENT 7046                    ADDRESS ON FILE
REDACTED STUDENT 7047                    ADDRESS ON FILE
REDACTED STUDENT 7048                    ADDRESS ON FILE
REDACTED STUDENT 7049                    ADDRESS ON FILE
REDACTED STUDENT 7050                    ADDRESS ON FILE
REDACTED STUDENT 7051                    ADDRESS ON FILE
REDACTED STUDENT 7052                    ADDRESS ON FILE
REDACTED STUDENT 7053                    ADDRESS ON FILE
REDACTED STUDENT 7054                    ADDRESS ON FILE
REDACTED STUDENT 7055                    ADDRESS ON FILE
REDACTED STUDENT 7056                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 7057                    ADDRESS ON FILE
REDACTED STUDENT 7058                    ADDRESS ON FILE
REDACTED STUDENT 7059                    ADDRESS ON FILE
REDACTED STUDENT 7060                    ADDRESS ON FILE
REDACTED STUDENT 7061                    ADDRESS ON FILE
REDACTED STUDENT 7062                    ADDRESS ON FILE
REDACTED STUDENT 7063                    ADDRESS ON FILE
REDACTED STUDENT 7064                    ADDRESS ON FILE
REDACTED STUDENT 7065                    ADDRESS ON FILE
REDACTED STUDENT 7066                    ADDRESS ON FILE
REDACTED STUDENT 7067                    ADDRESS ON FILE
REDACTED STUDENT 7068                    ADDRESS ON FILE
REDACTED STUDENT 7069                    ADDRESS ON FILE
REDACTED STUDENT 7070                    ADDRESS ON FILE
REDACTED STUDENT 7071                    ADDRESS ON FILE
REDACTED STUDENT 7072                    ADDRESS ON FILE
REDACTED STUDENT 7073                    ADDRESS ON FILE
REDACTED STUDENT 7074                    ADDRESS ON FILE
REDACTED STUDENT 7075                    ADDRESS ON FILE
REDACTED STUDENT 7076                    ADDRESS ON FILE
REDACTED STUDENT 7077                    ADDRESS ON FILE
REDACTED STUDENT 7078                    ADDRESS ON FILE
REDACTED STUDENT 7079                    ADDRESS ON FILE
REDACTED STUDENT 7080                    ADDRESS ON FILE
REDACTED STUDENT 7081                    ADDRESS ON FILE
REDACTED STUDENT 7082                    ADDRESS ON FILE
REDACTED STUDENT 7083                    ADDRESS ON FILE
REDACTED STUDENT 7084                    ADDRESS ON FILE
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REDACTED STUDENT 7089                    ADDRESS ON FILE
REDACTED STUDENT 7090                    ADDRESS ON FILE
REDACTED STUDENT 7092                    ADDRESS ON FILE
REDACTED STUDENT 7093                    ADDRESS ON FILE
REDACTED STUDENT 7094                    ADDRESS ON FILE
REDACTED STUDENT 7095                    ADDRESS ON FILE
REDACTED STUDENT 7096                    ADDRESS ON FILE
REDACTED STUDENT 7097                    ADDRESS ON FILE
REDACTED STUDENT 7098                    ADDRESS ON FILE
REDACTED STUDENT 7099                    ADDRESS ON FILE
REDACTED STUDENT 7100                    ADDRESS ON FILE
REDACTED STUDENT 7101                    ADDRESS ON FILE
REDACTED STUDENT 7102                    ADDRESS ON FILE
REDACTED STUDENT 7103                    ADDRESS ON FILE
REDACTED STUDENT 7104                    ADDRESS ON FILE
REDACTED STUDENT 7105                    ADDRESS ON FILE
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REDACTED STUDENT 7109                    ADDRESS ON FILE
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REDACTED STUDENT 7111                    ADDRESS ON FILE
REDACTED STUDENT 7112                    ADDRESS ON FILE
REDACTED STUDENT 7113                    ADDRESS ON FILE
REDACTED STUDENT 7114                    ADDRESS ON FILE
REDACTED STUDENT 7115                    ADDRESS ON FILE
REDACTED STUDENT 7116                    ADDRESS ON FILE
REDACTED STUDENT 7117                    ADDRESS ON FILE
REDACTED STUDENT 7118                    ADDRESS ON FILE
REDACTED STUDENT 7119                    ADDRESS ON FILE
REDACTED STUDENT 7120                    ADDRESS ON FILE
REDACTED STUDENT 7121                    ADDRESS ON FILE
REDACTED STUDENT 7122                    ADDRESS ON FILE
REDACTED STUDENT 7123                    ADDRESS ON FILE
REDACTED STUDENT 7124                    ADDRESS ON FILE
REDACTED STUDENT 7125                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 7126                    ADDRESS ON FILE
REDACTED STUDENT 7127                    ADDRESS ON FILE
REDACTED STUDENT 7128                    ADDRESS ON FILE
REDACTED STUDENT 7129                    ADDRESS ON FILE
REDACTED STUDENT 7130                    ADDRESS ON FILE
REDACTED STUDENT 7131                    ADDRESS ON FILE
REDACTED STUDENT 7132                    ADDRESS ON FILE
REDACTED STUDENT 7133                    ADDRESS ON FILE
REDACTED STUDENT 7134                    ADDRESS ON FILE
REDACTED STUDENT 7135                    ADDRESS ON FILE
REDACTED STUDENT 7136                    ADDRESS ON FILE
REDACTED STUDENT 7137                    ADDRESS ON FILE
REDACTED STUDENT 7138                    ADDRESS ON FILE
REDACTED STUDENT 7139                    ADDRESS ON FILE
REDACTED STUDENT 7140                    ADDRESS ON FILE
REDACTED STUDENT 7141                    ADDRESS ON FILE
REDACTED STUDENT 7142                    ADDRESS ON FILE
REDACTED STUDENT 7143                    ADDRESS ON FILE
REDACTED STUDENT 7144                    ADDRESS ON FILE
REDACTED STUDENT 7145                    ADDRESS ON FILE
REDACTED STUDENT 7146                    ADDRESS ON FILE
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REDACTED STUDENT 7157                    ADDRESS ON FILE
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REDACTED STUDENT 7159                    ADDRESS ON FILE
REDACTED STUDENT 7160                    ADDRESS ON FILE
REDACTED STUDENT 7161                    ADDRESS ON FILE
REDACTED STUDENT 7162                    ADDRESS ON FILE
REDACTED STUDENT 7163                    ADDRESS ON FILE
REDACTED STUDENT 7164                    ADDRESS ON FILE
REDACTED STUDENT 7165                    ADDRESS ON FILE
REDACTED STUDENT 7166                    ADDRESS ON FILE
REDACTED STUDENT 7167                    ADDRESS ON FILE
REDACTED STUDENT 7168                    ADDRESS ON FILE
REDACTED STUDENT 7169                    ADDRESS ON FILE
REDACTED STUDENT 7170                    ADDRESS ON FILE
REDACTED STUDENT 7171                    ADDRESS ON FILE
REDACTED STUDENT 7172                    ADDRESS ON FILE
REDACTED STUDENT 7173                    ADDRESS ON FILE
REDACTED STUDENT 7174                    ADDRESS ON FILE
REDACTED STUDENT 7175                    ADDRESS ON FILE
REDACTED STUDENT 7176                    ADDRESS ON FILE
REDACTED STUDENT 7177                    ADDRESS ON FILE
REDACTED STUDENT 7178                    ADDRESS ON FILE
REDACTED STUDENT 7179                    ADDRESS ON FILE
REDACTED STUDENT 7180                    ADDRESS ON FILE
REDACTED STUDENT 7181                    ADDRESS ON FILE
REDACTED STUDENT 7182                    ADDRESS ON FILE
REDACTED STUDENT 7183                    ADDRESS ON FILE
REDACTED STUDENT 7184                    ADDRESS ON FILE
REDACTED STUDENT 7185                    ADDRESS ON FILE
REDACTED STUDENT 7186                    ADDRESS ON FILE
REDACTED STUDENT 7187                    ADDRESS ON FILE
REDACTED STUDENT 7188                    ADDRESS ON FILE
REDACTED STUDENT 7189                    ADDRESS ON FILE
REDACTED STUDENT 7190                    ADDRESS ON FILE
REDACTED STUDENT 7191                    ADDRESS ON FILE
REDACTED STUDENT 7192                    ADDRESS ON FILE
REDACTED STUDENT 7193                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 7194                    ADDRESS ON FILE
REDACTED STUDENT 7195                    ADDRESS ON FILE
REDACTED STUDENT 7196                    ADDRESS ON FILE
REDACTED STUDENT 7197                    ADDRESS ON FILE
REDACTED STUDENT 7198                    ADDRESS ON FILE
REDACTED STUDENT 7199                    ADDRESS ON FILE
REDACTED STUDENT 7200                    ADDRESS ON FILE
REDACTED STUDENT 7201                    ADDRESS ON FILE
REDACTED STUDENT 7202                    ADDRESS ON FILE
REDACTED STUDENT 7203                    ADDRESS ON FILE
REDACTED STUDENT 7204                    ADDRESS ON FILE
REDACTED STUDENT 7205                    ADDRESS ON FILE
REDACTED STUDENT 7206                    ADDRESS ON FILE
REDACTED STUDENT 7207                    ADDRESS ON FILE
REDACTED STUDENT 7208                    ADDRESS ON FILE
REDACTED STUDENT 7209                    ADDRESS ON FILE
REDACTED STUDENT 7210                    ADDRESS ON FILE
REDACTED STUDENT 7211                    ADDRESS ON FILE
REDACTED STUDENT 7212                    ADDRESS ON FILE
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REDACTED STUDENT 7214                    ADDRESS ON FILE
REDACTED STUDENT 7215                    ADDRESS ON FILE
REDACTED STUDENT 7216                    ADDRESS ON FILE
REDACTED STUDENT 7217                    ADDRESS ON FILE
REDACTED STUDENT 7218                    ADDRESS ON FILE
REDACTED STUDENT 7219                    ADDRESS ON FILE
REDACTED STUDENT 7220                    ADDRESS ON FILE
REDACTED STUDENT 7221                    ADDRESS ON FILE
REDACTED STUDENT 7222                    ADDRESS ON FILE
REDACTED STUDENT 7223                    ADDRESS ON FILE
REDACTED STUDENT 7224                    ADDRESS ON FILE
REDACTED STUDENT 7225                    ADDRESS ON FILE
REDACTED STUDENT 7226                    ADDRESS ON FILE
REDACTED STUDENT 7227                    ADDRESS ON FILE
REDACTED STUDENT 7228                    ADDRESS ON FILE
REDACTED STUDENT 7229                    ADDRESS ON FILE
REDACTED STUDENT 7230                    ADDRESS ON FILE
REDACTED STUDENT 7231                    ADDRESS ON FILE
REDACTED STUDENT 7232                    ADDRESS ON FILE
REDACTED STUDENT 7233                    ADDRESS ON FILE
REDACTED STUDENT 7234                    ADDRESS ON FILE
REDACTED STUDENT 7235                    ADDRESS ON FILE
REDACTED STUDENT 7236                    ADDRESS ON FILE
REDACTED STUDENT 7237                    ADDRESS ON FILE
REDACTED STUDENT 7238                    ADDRESS ON FILE
REDACTED STUDENT 7239                    ADDRESS ON FILE
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REDACTED STUDENT 7247                    ADDRESS ON FILE
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REDACTED STUDENT 7249                    ADDRESS ON FILE
REDACTED STUDENT 7250                    ADDRESS ON FILE
REDACTED STUDENT 7251                    ADDRESS ON FILE
REDACTED STUDENT 7252                    ADDRESS ON FILE
REDACTED STUDENT 7253                    ADDRESS ON FILE
REDACTED STUDENT 7254                    ADDRESS ON FILE
REDACTED STUDENT 7255                    ADDRESS ON FILE
REDACTED STUDENT 7256                    ADDRESS ON FILE
REDACTED STUDENT 7257                    ADDRESS ON FILE
REDACTED STUDENT 7258                    ADDRESS ON FILE
REDACTED STUDENT 7259                    ADDRESS ON FILE
REDACTED STUDENT 7260                    ADDRESS ON FILE
REDACTED STUDENT 7261                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 7262                    ADDRESS ON FILE
REDACTED STUDENT 7263                    ADDRESS ON FILE
REDACTED STUDENT 7264                    ADDRESS ON FILE
REDACTED STUDENT 7265                    ADDRESS ON FILE
REDACTED STUDENT 7266                    ADDRESS ON FILE
REDACTED STUDENT 7267                    ADDRESS ON FILE
REDACTED STUDENT 7268                    ADDRESS ON FILE
REDACTED STUDENT 7269                    ADDRESS ON FILE
REDACTED STUDENT 7270                    ADDRESS ON FILE
REDACTED STUDENT 7271                    ADDRESS ON FILE
REDACTED STUDENT 7272                    ADDRESS ON FILE
REDACTED STUDENT 7273                    ADDRESS ON FILE
REDACTED STUDENT 7274                    ADDRESS ON FILE
REDACTED STUDENT 7275                    ADDRESS ON FILE
REDACTED STUDENT 7276                    ADDRESS ON FILE
REDACTED STUDENT 7277                    ADDRESS ON FILE
REDACTED STUDENT 7278                    ADDRESS ON FILE
REDACTED STUDENT 7279                    ADDRESS ON FILE
REDACTED STUDENT 7280                    ADDRESS ON FILE
REDACTED STUDENT 7281                    ADDRESS ON FILE
REDACTED STUDENT 7282                    ADDRESS ON FILE
REDACTED STUDENT 7283                    ADDRESS ON FILE
REDACTED STUDENT 7284                    ADDRESS ON FILE
REDACTED STUDENT 7285                    ADDRESS ON FILE
REDACTED STUDENT 7286                    ADDRESS ON FILE
REDACTED STUDENT 7287                    ADDRESS ON FILE
REDACTED STUDENT 7288                    ADDRESS ON FILE
REDACTED STUDENT 7289                    ADDRESS ON FILE
REDACTED STUDENT 7290                    ADDRESS ON FILE
REDACTED STUDENT 7291                    ADDRESS ON FILE
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REDACTED STUDENT 7293                    ADDRESS ON FILE
REDACTED STUDENT 7294                    ADDRESS ON FILE
REDACTED STUDENT 7295                    ADDRESS ON FILE
REDACTED STUDENT 7296                    ADDRESS ON FILE
REDACTED STUDENT 7297                    ADDRESS ON FILE
REDACTED STUDENT 7298                    ADDRESS ON FILE
REDACTED STUDENT 7299                    ADDRESS ON FILE
REDACTED STUDENT 7300                    ADDRESS ON FILE
REDACTED STUDENT 7301                    ADDRESS ON FILE
REDACTED STUDENT 7302                    ADDRESS ON FILE
REDACTED STUDENT 7303                    ADDRESS ON FILE
REDACTED STUDENT 7304                    ADDRESS ON FILE
REDACTED STUDENT 7305                    ADDRESS ON FILE
REDACTED STUDENT 7306                    ADDRESS ON FILE
REDACTED STUDENT 7307                    ADDRESS ON FILE
REDACTED STUDENT 7308                    ADDRESS ON FILE
REDACTED STUDENT 7309                    ADDRESS ON FILE
REDACTED STUDENT 7310                    ADDRESS ON FILE
REDACTED STUDENT 7311                    ADDRESS ON FILE
REDACTED STUDENT 7312                    ADDRESS ON FILE
REDACTED STUDENT 7313                    ADDRESS ON FILE
REDACTED STUDENT 7314                    ADDRESS ON FILE
REDACTED STUDENT 7315                    ADDRESS ON FILE
REDACTED STUDENT 7316                    ADDRESS ON FILE
REDACTED STUDENT 7317                    ADDRESS ON FILE
REDACTED STUDENT 7318                    ADDRESS ON FILE
REDACTED STUDENT 7319                    ADDRESS ON FILE
REDACTED STUDENT 7320                    ADDRESS ON FILE
REDACTED STUDENT 7321                    ADDRESS ON FILE
REDACTED STUDENT 7322                    ADDRESS ON FILE
REDACTED STUDENT 7323                    ADDRESS ON FILE
REDACTED STUDENT 7324                    ADDRESS ON FILE
REDACTED STUDENT 7325                    ADDRESS ON FILE
REDACTED STUDENT 7326                    ADDRESS ON FILE
REDACTED STUDENT 7327                    ADDRESS ON FILE
REDACTED STUDENT 7328                    ADDRESS ON FILE
REDACTED STUDENT 7329                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 7330                    ADDRESS ON FILE
REDACTED STUDENT 7331                    ADDRESS ON FILE
REDACTED STUDENT 7332                    ADDRESS ON FILE
REDACTED STUDENT 7333                    ADDRESS ON FILE
REDACTED STUDENT 7334                    ADDRESS ON FILE
REDACTED STUDENT 7335                    ADDRESS ON FILE
REDACTED STUDENT 7336                    ADDRESS ON FILE
REDACTED STUDENT 7337                    ADDRESS ON FILE
REDACTED STUDENT 7338                    ADDRESS ON FILE
REDACTED STUDENT 7339                    ADDRESS ON FILE
REDACTED STUDENT 7340                    ADDRESS ON FILE
REDACTED STUDENT 7341                    ADDRESS ON FILE
REDACTED STUDENT 7342                    ADDRESS ON FILE
REDACTED STUDENT 7343                    ADDRESS ON FILE
REDACTED STUDENT 7344                    ADDRESS ON FILE
REDACTED STUDENT 7345                    ADDRESS ON FILE
REDACTED STUDENT 7346                    ADDRESS ON FILE
REDACTED STUDENT 7347                    ADDRESS ON FILE
REDACTED STUDENT 7348                    ADDRESS ON FILE
REDACTED STUDENT 7349                    ADDRESS ON FILE
REDACTED STUDENT 7350                    ADDRESS ON FILE
REDACTED STUDENT 7351                    ADDRESS ON FILE
REDACTED STUDENT 7352                    ADDRESS ON FILE
REDACTED STUDENT 7353                    ADDRESS ON FILE
REDACTED STUDENT 7354                    ADDRESS ON FILE
REDACTED STUDENT 7355                    ADDRESS ON FILE
REDACTED STUDENT 7356                    ADDRESS ON FILE
REDACTED STUDENT 7357                    ADDRESS ON FILE
REDACTED STUDENT 7358                    ADDRESS ON FILE
REDACTED STUDENT 7359                    ADDRESS ON FILE
REDACTED STUDENT 7360                    ADDRESS ON FILE
REDACTED STUDENT 7361                    ADDRESS ON FILE
REDACTED STUDENT 7362                    ADDRESS ON FILE
REDACTED STUDENT 7363                    ADDRESS ON FILE
REDACTED STUDENT 7364                    ADDRESS ON FILE
REDACTED STUDENT 7365                    ADDRESS ON FILE
REDACTED STUDENT 7366                    ADDRESS ON FILE
REDACTED STUDENT 7367                    ADDRESS ON FILE
REDACTED STUDENT 7368                    ADDRESS ON FILE
REDACTED STUDENT 7369                    ADDRESS ON FILE
REDACTED STUDENT 7370                    ADDRESS ON FILE
REDACTED STUDENT 7371                    ADDRESS ON FILE
REDACTED STUDENT 7372                    ADDRESS ON FILE
REDACTED STUDENT 7373                    ADDRESS ON FILE
REDACTED STUDENT 7374                    ADDRESS ON FILE
REDACTED STUDENT 7375                    ADDRESS ON FILE
REDACTED STUDENT 7376                    ADDRESS ON FILE
REDACTED STUDENT 7377                    ADDRESS ON FILE
REDACTED STUDENT 7378                    ADDRESS ON FILE
REDACTED STUDENT 7379                    ADDRESS ON FILE
REDACTED STUDENT 7380                    ADDRESS ON FILE
REDACTED STUDENT 7381                    ADDRESS ON FILE
REDACTED STUDENT 7382                    ADDRESS ON FILE
REDACTED STUDENT 7383                    ADDRESS ON FILE
REDACTED STUDENT 7384                    ADDRESS ON FILE
REDACTED STUDENT 7385                    ADDRESS ON FILE
REDACTED STUDENT 7386                    ADDRESS ON FILE
REDACTED STUDENT 7387                    ADDRESS ON FILE
REDACTED STUDENT 7388                    ADDRESS ON FILE
REDACTED STUDENT 7389                    ADDRESS ON FILE
REDACTED STUDENT 7390                    ADDRESS ON FILE
REDACTED STUDENT 7391                    ADDRESS ON FILE
REDACTED STUDENT 7392                    ADDRESS ON FILE
REDACTED STUDENT 7393                    ADDRESS ON FILE
REDACTED STUDENT 7394                    ADDRESS ON FILE
REDACTED STUDENT 7395                    ADDRESS ON FILE
REDACTED STUDENT 7396                    ADDRESS ON FILE
REDACTED STUDENT 7397                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 7398                    ADDRESS ON FILE
REDACTED STUDENT 7399                    ADDRESS ON FILE
REDACTED STUDENT 7400                    ADDRESS ON FILE
REDACTED STUDENT 7401                    ADDRESS ON FILE
REDACTED STUDENT 7402                    ADDRESS ON FILE
REDACTED STUDENT 7403                    ADDRESS ON FILE
REDACTED STUDENT 7404                    ADDRESS ON FILE
REDACTED STUDENT 7405                    ADDRESS ON FILE
REDACTED STUDENT 7406                    ADDRESS ON FILE
REDACTED STUDENT 7407                    ADDRESS ON FILE
REDACTED STUDENT 7408                    ADDRESS ON FILE
REDACTED STUDENT 7409                    ADDRESS ON FILE
REDACTED STUDENT 7410                    ADDRESS ON FILE
REDACTED STUDENT 7411                    ADDRESS ON FILE
REDACTED STUDENT 7412                    ADDRESS ON FILE
REDACTED STUDENT 7413                    ADDRESS ON FILE
REDACTED STUDENT 7414                    ADDRESS ON FILE
REDACTED STUDENT 7415                    ADDRESS ON FILE
REDACTED STUDENT 7416                    ADDRESS ON FILE
REDACTED STUDENT 7417                    ADDRESS ON FILE
REDACTED STUDENT 7418                    ADDRESS ON FILE
REDACTED STUDENT 7419                    ADDRESS ON FILE
REDACTED STUDENT 7420                    ADDRESS ON FILE
REDACTED STUDENT 7421                    ADDRESS ON FILE
REDACTED STUDENT 7422                    ADDRESS ON FILE
REDACTED STUDENT 7423                    ADDRESS ON FILE
REDACTED STUDENT 7424                    ADDRESS ON FILE
REDACTED STUDENT 7425                    ADDRESS ON FILE
REDACTED STUDENT 7426                    ADDRESS ON FILE
REDACTED STUDENT 7427                    ADDRESS ON FILE
REDACTED STUDENT 7428                    ADDRESS ON FILE
REDACTED STUDENT 7429                    ADDRESS ON FILE
REDACTED STUDENT 7430                    ADDRESS ON FILE
REDACTED STUDENT 7431                    ADDRESS ON FILE
REDACTED STUDENT 7432                    ADDRESS ON FILE
REDACTED STUDENT 7433                    ADDRESS ON FILE
REDACTED STUDENT 7434                    ADDRESS ON FILE
REDACTED STUDENT 7435                    ADDRESS ON FILE
REDACTED STUDENT 7436                    ADDRESS ON FILE
REDACTED STUDENT 7437                    ADDRESS ON FILE
REDACTED STUDENT 7438                    ADDRESS ON FILE
REDACTED STUDENT 7439                    ADDRESS ON FILE
REDACTED STUDENT 7440                    ADDRESS ON FILE
REDACTED STUDENT 7441                    ADDRESS ON FILE
REDACTED STUDENT 7442                    ADDRESS ON FILE
REDACTED STUDENT 7443                    ADDRESS ON FILE
REDACTED STUDENT 7444                    ADDRESS ON FILE
REDACTED STUDENT 7445                    ADDRESS ON FILE
REDACTED STUDENT 7446                    ADDRESS ON FILE
REDACTED STUDENT 7447                    ADDRESS ON FILE
REDACTED STUDENT 7448                    ADDRESS ON FILE
REDACTED STUDENT 7449                    ADDRESS ON FILE
REDACTED STUDENT 7450                    ADDRESS ON FILE
REDACTED STUDENT 7451                    ADDRESS ON FILE
REDACTED STUDENT 7452                    ADDRESS ON FILE
REDACTED STUDENT 7453                    ADDRESS ON FILE
REDACTED STUDENT 7454                    ADDRESS ON FILE
REDACTED STUDENT 7455                    ADDRESS ON FILE
REDACTED STUDENT 7456                    ADDRESS ON FILE
REDACTED STUDENT 7458                    ADDRESS ON FILE
REDACTED STUDENT 7459                    ADDRESS ON FILE
REDACTED STUDENT 7460                    ADDRESS ON FILE
REDACTED STUDENT 7461                    ADDRESS ON FILE
REDACTED STUDENT 7462                    ADDRESS ON FILE
REDACTED STUDENT 7463                    ADDRESS ON FILE
REDACTED STUDENT 7464                    ADDRESS ON FILE
REDACTED STUDENT 7465                    ADDRESS ON FILE
REDACTED STUDENT 7466                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 7467                    ADDRESS ON FILE
REDACTED STUDENT 7468                    ADDRESS ON FILE
REDACTED STUDENT 7469                    ADDRESS ON FILE
REDACTED STUDENT 7470                    ADDRESS ON FILE
REDACTED STUDENT 7471                    ADDRESS ON FILE
REDACTED STUDENT 7472                    ADDRESS ON FILE
REDACTED STUDENT 7473                    ADDRESS ON FILE
REDACTED STUDENT 7474                    ADDRESS ON FILE
REDACTED STUDENT 7475                    ADDRESS ON FILE
REDACTED STUDENT 7476                    ADDRESS ON FILE
REDACTED STUDENT 7477                    ADDRESS ON FILE
REDACTED STUDENT 7478                    ADDRESS ON FILE
REDACTED STUDENT 7479                    ADDRESS ON FILE
REDACTED STUDENT 7480                    ADDRESS ON FILE
REDACTED STUDENT 7481                    ADDRESS ON FILE
REDACTED STUDENT 7482                    ADDRESS ON FILE
REDACTED STUDENT 7483                    ADDRESS ON FILE
REDACTED STUDENT 7484                    ADDRESS ON FILE
REDACTED STUDENT 7485                    ADDRESS ON FILE
REDACTED STUDENT 7486                    ADDRESS ON FILE
REDACTED STUDENT 7487                    ADDRESS ON FILE
REDACTED STUDENT 7488                    ADDRESS ON FILE
REDACTED STUDENT 7489                    ADDRESS ON FILE
REDACTED STUDENT 7490                    ADDRESS ON FILE
REDACTED STUDENT 7491                    ADDRESS ON FILE
REDACTED STUDENT 7492                    ADDRESS ON FILE
REDACTED STUDENT 7493                    ADDRESS ON FILE
REDACTED STUDENT 7494                    ADDRESS ON FILE
REDACTED STUDENT 7495                    ADDRESS ON FILE
REDACTED STUDENT 7496                    ADDRESS ON FILE
REDACTED STUDENT 7497                    ADDRESS ON FILE
REDACTED STUDENT 7498                    ADDRESS ON FILE
REDACTED STUDENT 7499                    ADDRESS ON FILE
REDACTED STUDENT 7500                    ADDRESS ON FILE
REDACTED STUDENT 7501                    ADDRESS ON FILE
REDACTED STUDENT 7502                    ADDRESS ON FILE
REDACTED STUDENT 7503                    ADDRESS ON FILE
REDACTED STUDENT 7504                    ADDRESS ON FILE
REDACTED STUDENT 7505                    ADDRESS ON FILE
REDACTED STUDENT 7506                    ADDRESS ON FILE
REDACTED STUDENT 7507                    ADDRESS ON FILE
REDACTED STUDENT 7508                    ADDRESS ON FILE
REDACTED STUDENT 7509                    ADDRESS ON FILE
REDACTED STUDENT 7510                    ADDRESS ON FILE
REDACTED STUDENT 7511                    ADDRESS ON FILE
REDACTED STUDENT 7512                    ADDRESS ON FILE
REDACTED STUDENT 7513                    ADDRESS ON FILE
REDACTED STUDENT 7514                    ADDRESS ON FILE
REDACTED STUDENT 7515                    ADDRESS ON FILE
REDACTED STUDENT 7516                    ADDRESS ON FILE
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REDACTED STUDENT 7518                    ADDRESS ON FILE
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REDACTED STUDENT 7520                    ADDRESS ON FILE
REDACTED STUDENT 7521                    ADDRESS ON FILE
REDACTED STUDENT 7522                    ADDRESS ON FILE
REDACTED STUDENT 7524                    ADDRESS ON FILE
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REDACTED STUDENT 7527                    ADDRESS ON FILE
REDACTED STUDENT 7528                    ADDRESS ON FILE
REDACTED STUDENT 7529                    ADDRESS ON FILE
REDACTED STUDENT 7530                    ADDRESS ON FILE
REDACTED STUDENT 7531                    ADDRESS ON FILE
REDACTED STUDENT 7532                    ADDRESS ON FILE
REDACTED STUDENT 7533                    ADDRESS ON FILE
REDACTED STUDENT 7534                    ADDRESS ON FILE
REDACTED STUDENT 7535                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 7536                    ADDRESS ON FILE
REDACTED STUDENT 7537                    ADDRESS ON FILE
REDACTED STUDENT 7538                    ADDRESS ON FILE
REDACTED STUDENT 7539                    ADDRESS ON FILE
REDACTED STUDENT 7540                    ADDRESS ON FILE
REDACTED STUDENT 7541                    ADDRESS ON FILE
REDACTED STUDENT 7542                    ADDRESS ON FILE
REDACTED STUDENT 7543                    ADDRESS ON FILE
REDACTED STUDENT 7544                    ADDRESS ON FILE
REDACTED STUDENT 7545                    ADDRESS ON FILE
REDACTED STUDENT 7546                    ADDRESS ON FILE
REDACTED STUDENT 7547                    ADDRESS ON FILE
REDACTED STUDENT 7548                    ADDRESS ON FILE
REDACTED STUDENT 7549                    ADDRESS ON FILE
REDACTED STUDENT 7550                    ADDRESS ON FILE
REDACTED STUDENT 7551                    ADDRESS ON FILE
REDACTED STUDENT 7552                    ADDRESS ON FILE
REDACTED STUDENT 7553                    ADDRESS ON FILE
REDACTED STUDENT 7554                    ADDRESS ON FILE
REDACTED STUDENT 7555                    ADDRESS ON FILE
REDACTED STUDENT 7556                    ADDRESS ON FILE
REDACTED STUDENT 7557                    ADDRESS ON FILE
REDACTED STUDENT 7558                    ADDRESS ON FILE
REDACTED STUDENT 7559                    ADDRESS ON FILE
REDACTED STUDENT 7560                    ADDRESS ON FILE
REDACTED STUDENT 7561                    ADDRESS ON FILE
REDACTED STUDENT 7562                    ADDRESS ON FILE
REDACTED STUDENT 7563                    ADDRESS ON FILE
REDACTED STUDENT 7564                    ADDRESS ON FILE
REDACTED STUDENT 7565                    ADDRESS ON FILE
REDACTED STUDENT 7566                    ADDRESS ON FILE
REDACTED STUDENT 7567                    ADDRESS ON FILE
REDACTED STUDENT 7568                    ADDRESS ON FILE
REDACTED STUDENT 7569                    ADDRESS ON FILE
REDACTED STUDENT 7570                    ADDRESS ON FILE
REDACTED STUDENT 7571                    ADDRESS ON FILE
REDACTED STUDENT 7572                    ADDRESS ON FILE
REDACTED STUDENT 7573                    ADDRESS ON FILE
REDACTED STUDENT 7574                    ADDRESS ON FILE
REDACTED STUDENT 7575                    ADDRESS ON FILE
REDACTED STUDENT 7576                    ADDRESS ON FILE
REDACTED STUDENT 7577                    ADDRESS ON FILE
REDACTED STUDENT 7578                    ADDRESS ON FILE
REDACTED STUDENT 7579                    ADDRESS ON FILE
REDACTED STUDENT 7580                    ADDRESS ON FILE
REDACTED STUDENT 7581                    ADDRESS ON FILE
REDACTED STUDENT 7582                    ADDRESS ON FILE
REDACTED STUDENT 7583                    ADDRESS ON FILE
REDACTED STUDENT 7584                    ADDRESS ON FILE
REDACTED STUDENT 7585                    ADDRESS ON FILE
REDACTED STUDENT 7586                    ADDRESS ON FILE
REDACTED STUDENT 7587                    ADDRESS ON FILE
REDACTED STUDENT 7588                    ADDRESS ON FILE
REDACTED STUDENT 7589                    ADDRESS ON FILE
REDACTED STUDENT 7590                    ADDRESS ON FILE
REDACTED STUDENT 7591                    ADDRESS ON FILE
REDACTED STUDENT 7592                    ADDRESS ON FILE
REDACTED STUDENT 7593                    ADDRESS ON FILE
REDACTED STUDENT 7594                    ADDRESS ON FILE
REDACTED STUDENT 7595                    ADDRESS ON FILE
REDACTED STUDENT 7596                    ADDRESS ON FILE
REDACTED STUDENT 7597                    ADDRESS ON FILE
REDACTED STUDENT 7598                    ADDRESS ON FILE
REDACTED STUDENT 7599                    ADDRESS ON FILE
REDACTED STUDENT 7600                    ADDRESS ON FILE
REDACTED STUDENT 7601                    ADDRESS ON FILE
REDACTED STUDENT 7602                    ADDRESS ON FILE
REDACTED STUDENT 7603                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 7604                    ADDRESS ON FILE
REDACTED STUDENT 7605                    ADDRESS ON FILE
REDACTED STUDENT 7606                    ADDRESS ON FILE
REDACTED STUDENT 7607                    ADDRESS ON FILE
REDACTED STUDENT 7608                    ADDRESS ON FILE
REDACTED STUDENT 7609                    ADDRESS ON FILE
REDACTED STUDENT 7610                    ADDRESS ON FILE
REDACTED STUDENT 7611                    ADDRESS ON FILE
REDACTED STUDENT 7612                    ADDRESS ON FILE
REDACTED STUDENT 7613                    ADDRESS ON FILE
REDACTED STUDENT 7614                    ADDRESS ON FILE
REDACTED STUDENT 7615                    ADDRESS ON FILE
REDACTED STUDENT 7616                    ADDRESS ON FILE
REDACTED STUDENT 7617                    ADDRESS ON FILE
REDACTED STUDENT 7618                    ADDRESS ON FILE
REDACTED STUDENT 7619                    ADDRESS ON FILE
REDACTED STUDENT 7620                    ADDRESS ON FILE
REDACTED STUDENT 7621                    ADDRESS ON FILE
REDACTED STUDENT 7622                    ADDRESS ON FILE
REDACTED STUDENT 7623                    ADDRESS ON FILE
REDACTED STUDENT 7624                    ADDRESS ON FILE
REDACTED STUDENT 7625                    ADDRESS ON FILE
REDACTED STUDENT 7626                    ADDRESS ON FILE
REDACTED STUDENT 7627                    ADDRESS ON FILE
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REDACTED STUDENT 7630                    ADDRESS ON FILE
REDACTED STUDENT 7631                    ADDRESS ON FILE
REDACTED STUDENT 7632                    ADDRESS ON FILE
REDACTED STUDENT 7633                    ADDRESS ON FILE
REDACTED STUDENT 7634                    ADDRESS ON FILE
REDACTED STUDENT 7635                    ADDRESS ON FILE
REDACTED STUDENT 7636                    ADDRESS ON FILE
REDACTED STUDENT 7637                    ADDRESS ON FILE
REDACTED STUDENT 7638                    ADDRESS ON FILE
REDACTED STUDENT 7639                    ADDRESS ON FILE
REDACTED STUDENT 7640                    ADDRESS ON FILE
REDACTED STUDENT 7641                    ADDRESS ON FILE
REDACTED STUDENT 7642                    ADDRESS ON FILE
REDACTED STUDENT 7643                    ADDRESS ON FILE
REDACTED STUDENT 7644                    ADDRESS ON FILE
REDACTED STUDENT 7645                    ADDRESS ON FILE
REDACTED STUDENT 7646                    ADDRESS ON FILE
REDACTED STUDENT 7647                    ADDRESS ON FILE
REDACTED STUDENT 7648                    ADDRESS ON FILE
REDACTED STUDENT 7649                    ADDRESS ON FILE
REDACTED STUDENT 7650                    ADDRESS ON FILE
REDACTED STUDENT 7651                    ADDRESS ON FILE
REDACTED STUDENT 7652                    ADDRESS ON FILE
REDACTED STUDENT 7653                    ADDRESS ON FILE
REDACTED STUDENT 7654                    ADDRESS ON FILE
REDACTED STUDENT 7655                    ADDRESS ON FILE
REDACTED STUDENT 7656                    ADDRESS ON FILE
REDACTED STUDENT 7657                    ADDRESS ON FILE
REDACTED STUDENT 7658                    ADDRESS ON FILE
REDACTED STUDENT 7659                    ADDRESS ON FILE
REDACTED STUDENT 7660                    ADDRESS ON FILE
REDACTED STUDENT 7661                    ADDRESS ON FILE
REDACTED STUDENT 7662                    ADDRESS ON FILE
REDACTED STUDENT 7663                    ADDRESS ON FILE
REDACTED STUDENT 7664                    ADDRESS ON FILE
REDACTED STUDENT 7665                    ADDRESS ON FILE
REDACTED STUDENT 7666                    ADDRESS ON FILE
REDACTED STUDENT 7667                    ADDRESS ON FILE
REDACTED STUDENT 7668                    ADDRESS ON FILE
REDACTED STUDENT 7669                    ADDRESS ON FILE
REDACTED STUDENT 7670                    ADDRESS ON FILE
REDACTED STUDENT 7671                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 7672                    ADDRESS ON FILE
REDACTED STUDENT 7673                    ADDRESS ON FILE
REDACTED STUDENT 7674                    ADDRESS ON FILE
REDACTED STUDENT 7675                    ADDRESS ON FILE
REDACTED STUDENT 7676                    ADDRESS ON FILE
REDACTED STUDENT 7677                    ADDRESS ON FILE
REDACTED STUDENT 7678                    ADDRESS ON FILE
REDACTED STUDENT 7679                    ADDRESS ON FILE
REDACTED STUDENT 7680                    ADDRESS ON FILE
REDACTED STUDENT 7681                    ADDRESS ON FILE
REDACTED STUDENT 7682                    ADDRESS ON FILE
REDACTED STUDENT 7683                    ADDRESS ON FILE
REDACTED STUDENT 7684                    ADDRESS ON FILE
REDACTED STUDENT 7685                    ADDRESS ON FILE
REDACTED STUDENT 7686                    ADDRESS ON FILE
REDACTED STUDENT 7687                    ADDRESS ON FILE
REDACTED STUDENT 7688                    ADDRESS ON FILE
REDACTED STUDENT 7689                    ADDRESS ON FILE
REDACTED STUDENT 7690                    ADDRESS ON FILE
REDACTED STUDENT 7691                    ADDRESS ON FILE
REDACTED STUDENT 7692                    ADDRESS ON FILE
REDACTED STUDENT 7693                    ADDRESS ON FILE
REDACTED STUDENT 7694                    ADDRESS ON FILE
REDACTED STUDENT 7695                    ADDRESS ON FILE
REDACTED STUDENT 7696                    ADDRESS ON FILE
REDACTED STUDENT 7697                    ADDRESS ON FILE
REDACTED STUDENT 7698                    ADDRESS ON FILE
REDACTED STUDENT 7699                    ADDRESS ON FILE
REDACTED STUDENT 7700                    ADDRESS ON FILE
REDACTED STUDENT 7701                    ADDRESS ON FILE
REDACTED STUDENT 7702                    ADDRESS ON FILE
REDACTED STUDENT 7703                    ADDRESS ON FILE
REDACTED STUDENT 7704                    ADDRESS ON FILE
REDACTED STUDENT 7705                    ADDRESS ON FILE
REDACTED STUDENT 7706                    ADDRESS ON FILE
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REDACTED STUDENT 7731                    ADDRESS ON FILE
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REDACTED STUDENT 7736                    ADDRESS ON FILE
REDACTED STUDENT 7737                    ADDRESS ON FILE
REDACTED STUDENT 7738                    ADDRESS ON FILE
REDACTED STUDENT 7739                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 7740                    ADDRESS ON FILE
REDACTED STUDENT 7741                    ADDRESS ON FILE
REDACTED STUDENT 7742                    ADDRESS ON FILE
REDACTED STUDENT 7743                    ADDRESS ON FILE
REDACTED STUDENT 7744                    ADDRESS ON FILE
REDACTED STUDENT 7745                    ADDRESS ON FILE
REDACTED STUDENT 7746                    ADDRESS ON FILE
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REDACTED STUDENT 7751                    ADDRESS ON FILE
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REDACTED STUDENT 7761                    ADDRESS ON FILE
REDACTED STUDENT 7762                    ADDRESS ON FILE
REDACTED STUDENT 7763                    ADDRESS ON FILE
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REDACTED STUDENT 7781                    ADDRESS ON FILE
REDACTED STUDENT 7782                    ADDRESS ON FILE
REDACTED STUDENT 7783                    ADDRESS ON FILE
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REDACTED STUDENT 7799                    ADDRESS ON FILE
REDACTED STUDENT 7800                    ADDRESS ON FILE
REDACTED STUDENT 7801                    ADDRESS ON FILE
REDACTED STUDENT 7802                    ADDRESS ON FILE
REDACTED STUDENT 7803                    ADDRESS ON FILE
REDACTED STUDENT 7804                    ADDRESS ON FILE
REDACTED STUDENT 7805                    ADDRESS ON FILE
REDACTED STUDENT 7806                    ADDRESS ON FILE
REDACTED STUDENT 7807                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 7808                    ADDRESS ON FILE
REDACTED STUDENT 7809                    ADDRESS ON FILE
REDACTED STUDENT 7810                    ADDRESS ON FILE
REDACTED STUDENT 7811                    ADDRESS ON FILE
REDACTED STUDENT 7812                    ADDRESS ON FILE
REDACTED STUDENT 7813                    ADDRESS ON FILE
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REDACTED STUDENT 7840                    ADDRESS ON FILE
REDACTED STUDENT 7841                    ADDRESS ON FILE
REDACTED STUDENT 7842                    ADDRESS ON FILE
REDACTED STUDENT 7843                    ADDRESS ON FILE
REDACTED STUDENT 7844                    ADDRESS ON FILE
REDACTED STUDENT 7845                    ADDRESS ON FILE
REDACTED STUDENT 7846                    ADDRESS ON FILE
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REDACTED STUDENT 7851                    ADDRESS ON FILE
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REDACTED STUDENT 7860                    ADDRESS ON FILE
REDACTED STUDENT 7861                    ADDRESS ON FILE
REDACTED STUDENT 7862                    ADDRESS ON FILE
REDACTED STUDENT 7863                    ADDRESS ON FILE
REDACTED STUDENT 7864                    ADDRESS ON FILE
REDACTED STUDENT 7865                    ADDRESS ON FILE
REDACTED STUDENT 7866                    ADDRESS ON FILE
REDACTED STUDENT 7867                    ADDRESS ON FILE
REDACTED STUDENT 7868                    ADDRESS ON FILE
REDACTED STUDENT 7869                    ADDRESS ON FILE
REDACTED STUDENT 7870                    ADDRESS ON FILE
REDACTED STUDENT 7871                    ADDRESS ON FILE
REDACTED STUDENT 7872                    ADDRESS ON FILE
REDACTED STUDENT 7873                    ADDRESS ON FILE
REDACTED STUDENT 7874                    ADDRESS ON FILE
REDACTED STUDENT 7875                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 7876                    ADDRESS ON FILE
REDACTED STUDENT 7877                    ADDRESS ON FILE
REDACTED STUDENT 7878                    ADDRESS ON FILE
REDACTED STUDENT 7879                    ADDRESS ON FILE
REDACTED STUDENT 7880                    ADDRESS ON FILE
REDACTED STUDENT 7881                    ADDRESS ON FILE
REDACTED STUDENT 7882                    ADDRESS ON FILE
REDACTED STUDENT 7883                    ADDRESS ON FILE
REDACTED STUDENT 7884                    ADDRESS ON FILE
REDACTED STUDENT 7885                    ADDRESS ON FILE
REDACTED STUDENT 7886                    ADDRESS ON FILE
REDACTED STUDENT 7887                    ADDRESS ON FILE
REDACTED STUDENT 7888                    ADDRESS ON FILE
REDACTED STUDENT 7889                    ADDRESS ON FILE
REDACTED STUDENT 7890                    ADDRESS ON FILE
REDACTED STUDENT 7891                    ADDRESS ON FILE
REDACTED STUDENT 7892                    ADDRESS ON FILE
REDACTED STUDENT 7893                    ADDRESS ON FILE
REDACTED STUDENT 7894                    ADDRESS ON FILE
REDACTED STUDENT 7895                    ADDRESS ON FILE
REDACTED STUDENT 7896                    ADDRESS ON FILE
REDACTED STUDENT 7897                    ADDRESS ON FILE
REDACTED STUDENT 7898                    ADDRESS ON FILE
REDACTED STUDENT 7899                    ADDRESS ON FILE
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REDACTED STUDENT 7901                    ADDRESS ON FILE
REDACTED STUDENT 7902                    ADDRESS ON FILE
REDACTED STUDENT 7903                    ADDRESS ON FILE
REDACTED STUDENT 7904                    ADDRESS ON FILE
REDACTED STUDENT 7905                    ADDRESS ON FILE
REDACTED STUDENT 7906                    ADDRESS ON FILE
REDACTED STUDENT 7907                    ADDRESS ON FILE
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REDACTED STUDENT 7909                    ADDRESS ON FILE
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REDACTED STUDENT 7912                    ADDRESS ON FILE
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REDACTED STUDENT 7931                    ADDRESS ON FILE
REDACTED STUDENT 7932                    ADDRESS ON FILE
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REDACTED STUDENT 7935                    ADDRESS ON FILE
REDACTED STUDENT 7936                    ADDRESS ON FILE
REDACTED STUDENT 7937                    ADDRESS ON FILE
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REDACTED STUDENT 7939                    ADDRESS ON FILE
REDACTED STUDENT 7940                    ADDRESS ON FILE
REDACTED STUDENT 7941                    ADDRESS ON FILE
REDACTED STUDENT 7942                    ADDRESS ON FILE
REDACTED STUDENT 7943                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 7944                    ADDRESS ON FILE
REDACTED STUDENT 7945                    ADDRESS ON FILE
REDACTED STUDENT 7946                    ADDRESS ON FILE
REDACTED STUDENT 7947                    ADDRESS ON FILE
REDACTED STUDENT 7948                    ADDRESS ON FILE
REDACTED STUDENT 7949                    ADDRESS ON FILE
REDACTED STUDENT 7950                    ADDRESS ON FILE
REDACTED STUDENT 7951                    ADDRESS ON FILE
REDACTED STUDENT 7952                    ADDRESS ON FILE
REDACTED STUDENT 7953                    ADDRESS ON FILE
REDACTED STUDENT 7954                    ADDRESS ON FILE
REDACTED STUDENT 7955                    ADDRESS ON FILE
REDACTED STUDENT 7956                    ADDRESS ON FILE
REDACTED STUDENT 7957                    ADDRESS ON FILE
REDACTED STUDENT 7958                    ADDRESS ON FILE
REDACTED STUDENT 7959                    ADDRESS ON FILE
REDACTED STUDENT 7960                    ADDRESS ON FILE
REDACTED STUDENT 7961                    ADDRESS ON FILE
REDACTED STUDENT 7962                    ADDRESS ON FILE
REDACTED STUDENT 7963                    ADDRESS ON FILE
REDACTED STUDENT 7964                    ADDRESS ON FILE
REDACTED STUDENT 7965                    ADDRESS ON FILE
REDACTED STUDENT 7966                    ADDRESS ON FILE
REDACTED STUDENT 7967                    ADDRESS ON FILE
REDACTED STUDENT 7968                    ADDRESS ON FILE
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REDACTED STUDENT 7970                    ADDRESS ON FILE
REDACTED STUDENT 7971                    ADDRESS ON FILE
REDACTED STUDENT 7972                    ADDRESS ON FILE
REDACTED STUDENT 7973                    ADDRESS ON FILE
REDACTED STUDENT 7974                    ADDRESS ON FILE
REDACTED STUDENT 7975                    ADDRESS ON FILE
REDACTED STUDENT 7976                    ADDRESS ON FILE
REDACTED STUDENT 7977                    ADDRESS ON FILE
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REDACTED STUDENT 7979                    ADDRESS ON FILE
REDACTED STUDENT 7980                    ADDRESS ON FILE
REDACTED STUDENT 7981                    ADDRESS ON FILE
REDACTED STUDENT 7982                    ADDRESS ON FILE
REDACTED STUDENT 7983                    ADDRESS ON FILE
REDACTED STUDENT 7984                    ADDRESS ON FILE
REDACTED STUDENT 7985                    ADDRESS ON FILE
REDACTED STUDENT 7986                    ADDRESS ON FILE
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REDACTED STUDENT 7989                    ADDRESS ON FILE
REDACTED STUDENT 7990                    ADDRESS ON FILE
REDACTED STUDENT 7991                    ADDRESS ON FILE
REDACTED STUDENT 7992                    ADDRESS ON FILE
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REDACTED STUDENT 7999                    ADDRESS ON FILE
REDACTED STUDENT 8000                    ADDRESS ON FILE
REDACTED STUDENT 8001                    ADDRESS ON FILE
REDACTED STUDENT 8002                    ADDRESS ON FILE
REDACTED STUDENT 8003                    ADDRESS ON FILE
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REDACTED STUDENT 8005                    ADDRESS ON FILE
REDACTED STUDENT 8006                    ADDRESS ON FILE
REDACTED STUDENT 8007                    ADDRESS ON FILE
REDACTED STUDENT 8008                    ADDRESS ON FILE
REDACTED STUDENT 8009                    ADDRESS ON FILE
REDACTED STUDENT 8010                    ADDRESS ON FILE
REDACTED STUDENT 8011                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 8012                    ADDRESS ON FILE
REDACTED STUDENT 8013                    ADDRESS ON FILE
REDACTED STUDENT 8014                    ADDRESS ON FILE
REDACTED STUDENT 8015                    ADDRESS ON FILE
REDACTED STUDENT 8016                    ADDRESS ON FILE
REDACTED STUDENT 8017                    ADDRESS ON FILE
REDACTED STUDENT 8018                    ADDRESS ON FILE
REDACTED STUDENT 8019                    ADDRESS ON FILE
REDACTED STUDENT 8020                    ADDRESS ON FILE
REDACTED STUDENT 8021                    ADDRESS ON FILE
REDACTED STUDENT 8022                    ADDRESS ON FILE
REDACTED STUDENT 8023                    ADDRESS ON FILE
REDACTED STUDENT 8024                    ADDRESS ON FILE
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REDACTED STUDENT 8031                    ADDRESS ON FILE
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REDACTED STUDENT 8040                    ADDRESS ON FILE
REDACTED STUDENT 8041                    ADDRESS ON FILE
REDACTED STUDENT 8042                    ADDRESS ON FILE
REDACTED STUDENT 8043                    ADDRESS ON FILE
REDACTED STUDENT 8044                    ADDRESS ON FILE
REDACTED STUDENT 8045                    ADDRESS ON FILE
REDACTED STUDENT 8046                    ADDRESS ON FILE
REDACTED STUDENT 8047                    ADDRESS ON FILE
REDACTED STUDENT 8048                    ADDRESS ON FILE
REDACTED STUDENT 8049                    ADDRESS ON FILE
REDACTED STUDENT 8050                    ADDRESS ON FILE
REDACTED STUDENT 8051                    ADDRESS ON FILE
REDACTED STUDENT 8052                    ADDRESS ON FILE
REDACTED STUDENT 8053                    ADDRESS ON FILE
REDACTED STUDENT 8054                    ADDRESS ON FILE
REDACTED STUDENT 8055                    ADDRESS ON FILE
REDACTED STUDENT 8056                    ADDRESS ON FILE
REDACTED STUDENT 8057                    ADDRESS ON FILE
REDACTED STUDENT 8058                    ADDRESS ON FILE
REDACTED STUDENT 8059                    ADDRESS ON FILE
REDACTED STUDENT 8060                    ADDRESS ON FILE
REDACTED STUDENT 8061                    ADDRESS ON FILE
REDACTED STUDENT 8062                    ADDRESS ON FILE
REDACTED STUDENT 8063                    ADDRESS ON FILE
REDACTED STUDENT 8064                    ADDRESS ON FILE
REDACTED STUDENT 8065                    ADDRESS ON FILE
REDACTED STUDENT 8066                    ADDRESS ON FILE
REDACTED STUDENT 8067                    ADDRESS ON FILE
REDACTED STUDENT 8068                    ADDRESS ON FILE
REDACTED STUDENT 8069                    ADDRESS ON FILE
REDACTED STUDENT 8070                    ADDRESS ON FILE
REDACTED STUDENT 8071                    ADDRESS ON FILE
REDACTED STUDENT 8072                    ADDRESS ON FILE
REDACTED STUDENT 8073                    ADDRESS ON FILE
REDACTED STUDENT 8074                    ADDRESS ON FILE
REDACTED STUDENT 8075                    ADDRESS ON FILE
REDACTED STUDENT 8076                    ADDRESS ON FILE
REDACTED STUDENT 8077                    ADDRESS ON FILE
REDACTED STUDENT 8078                    ADDRESS ON FILE
REDACTED STUDENT 8079                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 8080                    ADDRESS ON FILE
REDACTED STUDENT 8081                    ADDRESS ON FILE
REDACTED STUDENT 8082                    ADDRESS ON FILE
REDACTED STUDENT 8083                    ADDRESS ON FILE
REDACTED STUDENT 8084                    ADDRESS ON FILE
REDACTED STUDENT 8085                    ADDRESS ON FILE
REDACTED STUDENT 8086                    ADDRESS ON FILE
REDACTED STUDENT 8087                    ADDRESS ON FILE
REDACTED STUDENT 8088                    ADDRESS ON FILE
REDACTED STUDENT 8089                    ADDRESS ON FILE
REDACTED STUDENT 8090                    ADDRESS ON FILE
REDACTED STUDENT 8091                    ADDRESS ON FILE
REDACTED STUDENT 8092                    ADDRESS ON FILE
REDACTED STUDENT 8093                    ADDRESS ON FILE
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REDACTED STUDENT 8095                    ADDRESS ON FILE
REDACTED STUDENT 8096                    ADDRESS ON FILE
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REDACTED STUDENT 8100                    ADDRESS ON FILE
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REDACTED STUDENT 8118                    ADDRESS ON FILE
REDACTED STUDENT 8119                    ADDRESS ON FILE
REDACTED STUDENT 8120                    ADDRESS ON FILE
REDACTED STUDENT 8121                    ADDRESS ON FILE
REDACTED STUDENT 8122                    ADDRESS ON FILE
REDACTED STUDENT 8123                    ADDRESS ON FILE
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REDACTED STUDENT 8139                    ADDRESS ON FILE
REDACTED STUDENT 8140                    ADDRESS ON FILE
REDACTED STUDENT 8141                    ADDRESS ON FILE
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REDACTED STUDENT 8145                    ADDRESS ON FILE
REDACTED STUDENT 8146                    ADDRESS ON FILE
REDACTED STUDENT 8147                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 8148                    ADDRESS ON FILE
REDACTED STUDENT 8149                    ADDRESS ON FILE
REDACTED STUDENT 8150                    ADDRESS ON FILE
REDACTED STUDENT 8151                    ADDRESS ON FILE
REDACTED STUDENT 8152                    ADDRESS ON FILE
REDACTED STUDENT 8153                    ADDRESS ON FILE
REDACTED STUDENT 8154                    ADDRESS ON FILE
REDACTED STUDENT 8155                    ADDRESS ON FILE
REDACTED STUDENT 8156                    ADDRESS ON FILE
REDACTED STUDENT 8157                    ADDRESS ON FILE
REDACTED STUDENT 8158                    ADDRESS ON FILE
REDACTED STUDENT 8159                    ADDRESS ON FILE
REDACTED STUDENT 8160                    ADDRESS ON FILE
REDACTED STUDENT 8161                    ADDRESS ON FILE
REDACTED STUDENT 8162                    ADDRESS ON FILE
REDACTED STUDENT 8164                    ADDRESS ON FILE
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REDACTED STUDENT 8166                    ADDRESS ON FILE
REDACTED STUDENT 8167                    ADDRESS ON FILE
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REDACTED STUDENT 8169                    ADDRESS ON FILE
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REDACTED STUDENT 8171                    ADDRESS ON FILE
REDACTED STUDENT 8172                    ADDRESS ON FILE
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REDACTED STUDENT 8177                    ADDRESS ON FILE
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REDACTED STUDENT 8179                    ADDRESS ON FILE
REDACTED STUDENT 8180                    ADDRESS ON FILE
REDACTED STUDENT 8181                    ADDRESS ON FILE
REDACTED STUDENT 8182                    ADDRESS ON FILE
REDACTED STUDENT 8183                    ADDRESS ON FILE
REDACTED STUDENT 8184                    ADDRESS ON FILE
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REDACTED STUDENT 8196                    ADDRESS ON FILE
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REDACTED STUDENT 8199                    ADDRESS ON FILE
REDACTED STUDENT 8200                    ADDRESS ON FILE
REDACTED STUDENT 8201                    ADDRESS ON FILE
REDACTED STUDENT 8202                    ADDRESS ON FILE
REDACTED STUDENT 8203                    ADDRESS ON FILE
REDACTED STUDENT 8204                    ADDRESS ON FILE
REDACTED STUDENT 8205                    ADDRESS ON FILE
REDACTED STUDENT 8206                    ADDRESS ON FILE
REDACTED STUDENT 8207                    ADDRESS ON FILE
REDACTED STUDENT 8208                    ADDRESS ON FILE
REDACTED STUDENT 8209                    ADDRESS ON FILE
REDACTED STUDENT 8210                    ADDRESS ON FILE
REDACTED STUDENT 8211                    ADDRESS ON FILE
REDACTED STUDENT 8212                    ADDRESS ON FILE
REDACTED STUDENT 8213                    ADDRESS ON FILE
REDACTED STUDENT 8214                    ADDRESS ON FILE
REDACTED STUDENT 8215                    ADDRESS ON FILE
REDACTED STUDENT 8216                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 8217                    ADDRESS ON FILE
REDACTED STUDENT 8218                    ADDRESS ON FILE
REDACTED STUDENT 8219                    ADDRESS ON FILE
REDACTED STUDENT 8220                    ADDRESS ON FILE
REDACTED STUDENT 8221                    ADDRESS ON FILE
REDACTED STUDENT 8222                    ADDRESS ON FILE
REDACTED STUDENT 8223                    ADDRESS ON FILE
REDACTED STUDENT 8224                    ADDRESS ON FILE
REDACTED STUDENT 8225                    ADDRESS ON FILE
REDACTED STUDENT 8226                    ADDRESS ON FILE
REDACTED STUDENT 8227                    ADDRESS ON FILE
REDACTED STUDENT 8228                    ADDRESS ON FILE
REDACTED STUDENT 8229                    ADDRESS ON FILE
REDACTED STUDENT 8230                    ADDRESS ON FILE
REDACTED STUDENT 8231                    ADDRESS ON FILE
REDACTED STUDENT 8232                    ADDRESS ON FILE
REDACTED STUDENT 8233                    ADDRESS ON FILE
REDACTED STUDENT 8234                    ADDRESS ON FILE
REDACTED STUDENT 8235                    ADDRESS ON FILE
REDACTED STUDENT 8236                    ADDRESS ON FILE
REDACTED STUDENT 8237                    ADDRESS ON FILE
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REDACTED STUDENT 8239                    ADDRESS ON FILE
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REDACTED STUDENT 8242                    ADDRESS ON FILE
REDACTED STUDENT 8243                    ADDRESS ON FILE
REDACTED STUDENT 8244                    ADDRESS ON FILE
REDACTED STUDENT 8245                    ADDRESS ON FILE
REDACTED STUDENT 8246                    ADDRESS ON FILE
REDACTED STUDENT 8247                    ADDRESS ON FILE
REDACTED STUDENT 8248                    ADDRESS ON FILE
REDACTED STUDENT 8249                    ADDRESS ON FILE
REDACTED STUDENT 8250                    ADDRESS ON FILE
REDACTED STUDENT 8251                    ADDRESS ON FILE
REDACTED STUDENT 8252                    ADDRESS ON FILE
REDACTED STUDENT 8253                    ADDRESS ON FILE
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REDACTED STUDENT 8255                    ADDRESS ON FILE
REDACTED STUDENT 8256                    ADDRESS ON FILE
REDACTED STUDENT 8257                    ADDRESS ON FILE
REDACTED STUDENT 8258                    ADDRESS ON FILE
REDACTED STUDENT 8259                    ADDRESS ON FILE
REDACTED STUDENT 8260                    ADDRESS ON FILE
REDACTED STUDENT 8261                    ADDRESS ON FILE
REDACTED STUDENT 8262                    ADDRESS ON FILE
REDACTED STUDENT 8263                    ADDRESS ON FILE
REDACTED STUDENT 8264                    ADDRESS ON FILE
REDACTED STUDENT 8265                    ADDRESS ON FILE
REDACTED STUDENT 8266                    ADDRESS ON FILE
REDACTED STUDENT 8267                    ADDRESS ON FILE
REDACTED STUDENT 8268                    ADDRESS ON FILE
REDACTED STUDENT 8269                    ADDRESS ON FILE
REDACTED STUDENT 8270                    ADDRESS ON FILE
REDACTED STUDENT 8271                    ADDRESS ON FILE
REDACTED STUDENT 8272                    ADDRESS ON FILE
REDACTED STUDENT 8273                    ADDRESS ON FILE
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REDACTED STUDENT 8275                    ADDRESS ON FILE
REDACTED STUDENT 8276                    ADDRESS ON FILE
REDACTED STUDENT 8277                    ADDRESS ON FILE
REDACTED STUDENT 8278                    ADDRESS ON FILE
REDACTED STUDENT 8279                    ADDRESS ON FILE
REDACTED STUDENT 8280                    ADDRESS ON FILE
REDACTED STUDENT 8281                    ADDRESS ON FILE
REDACTED STUDENT 8282                    ADDRESS ON FILE
REDACTED STUDENT 8283                    ADDRESS ON FILE
REDACTED STUDENT 8284                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2         Address 3    City   State   Zip   Country
REDACTED STUDENT 8285                    ADDRESS ON FILE
REDACTED STUDENT 8286                    ADDRESS ON FILE
REDACTED STUDENT 8287                    ADDRESS ON FILE
REDACTED STUDENT 8288                    ADDRESS ON FILE
REDACTED STUDENT 8289                    ADDRESS ON FILE
REDACTED STUDENT 8290                    ADDRESS ON FILE
REDACTED STUDENT 8291                    ADDRESS ON FILE
REDACTED STUDENT 8292                    ADDRESS ON FILE
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REDACTED STUDENT 8295                    ADDRESS ON FILE
REDACTED STUDENT 8296                    ADDRESS ON FILE
REDACTED STUDENT 8297                    ADDRESS ON FILE
REDACTED STUDENT 8298                    ADDRESS ON FILE
REDACTED STUDENT 8299                    ADDRESS ON FILE
REDACTED STUDENT 8300                    ADDRESS ON FILE
REDACTED STUDENT 8301                    ADDRESS ON FILE
REDACTED STUDENT 8302                    ADDRESS ON FILE
REDACTED STUDENT 8303                    ADDRESS ON FILE
REDACTED STUDENT 8304                    ADDRESS ON FILE
REDACTED STUDENT 8306                    ADDRESS ON FILE
REDACTED STUDENT 8307                    ADDRESS ON FILE
REDACTED STUDENT 8308                    ADDRESS ON FILE
REDACTED STUDENT 8309                    ADDRESS ON FILE
REDACTED STUDENT 8310                    ADDRESS ON FILE
REDACTED STUDENT 8311                    ADDRESS ON FILE
REDACTED STUDENT 8312                    ADDRESS ON FILE
REDACTED STUDENT 8313                    ADDRESS ON FILE
REDACTED STUDENT 8314                    ADDRESS ON FILE
REDACTED STUDENT 8315                    ADDRESS ON FILE
REDACTED STUDENT 8316                    ADDRESS ON FILE
REDACTED STUDENT 8317                    ADDRESS ON FILE
REDACTED STUDENT 8318                    ADDRESS ON FILE
REDACTED STUDENT 8319                    ADDRESS ON FILE
REDACTED STUDENT 8320                    ADDRESS ON FILE
REDACTED STUDENT 8321                    ADDRESS ON FILE
REDACTED STUDENT 8322                    ADDRESS ON FILE
REDACTED STUDENT 8323                    ADDRESS ON FILE
REDACTED STUDENT 8324                    ADDRESS ON FILE
REDACTED STUDENT 8325                    ADDRESS ON FILE
REDACTED STUDENT 8326                    ADDRESS ON FILE
REDACTED STUDENT 8327                    ADDRESS ON FILE
REDACTED STUDENT 8328                    ADDRESS ON FILE
REDACTED STUDENT 8329                    ADDRESS ON FILE
REDACTED STUDENT 8330                    ADDRESS ON FILE
REDACTED STUDENT 8331                    ADDRESS ON FILE
REDACTED STUDENT 8332                    ADDRESS ON FILE
REDACTED STUDENT 8333                    ADDRESS ON FILE
REDACTED STUDENT 8334                    ADDRESS ON FILE
REDACTED STUDENT 8335                    ADDRESS ON FILE
REDACTED STUDENT 8336                    ADDRESS ON FILE
REDACTED STUDENT 8337                    ADDRESS ON FILE
REDACTED STUDENT 8338                    ADDRESS ON FILE
REDACTED STUDENT 8339                    ADDRESS ON FILE
REDACTED STUDENT 8340                    ADDRESS ON FILE
REDACTED STUDENT 8341                    ADDRESS ON FILE
REDACTED STUDENT 8342                    ADDRESS ON FILE
REDACTED STUDENT 8343                    ADDRESS ON FILE
REDACTED STUDENT 8344                    ADDRESS ON FILE
REDACTED STUDENT 8345                    ADDRESS ON FILE
REDACTED STUDENT 8346                    ADDRESS ON FILE
REDACTED STUDENT 8347                    ADDRESS ON FILE
REDACTED STUDENT 8348                    ADDRESS ON FILE
REDACTED STUDENT 8349                    ADDRESS ON FILE
REDACTED STUDENT 8350                    ADDRESS ON FILE
REDACTED STUDENT 8351                    ADDRESS ON FILE
REDACTED STUDENT 8352                    ADDRESS ON FILE
REDACTED STUDENT 8353                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2          Address 3    City   State   Zip   Country
REDACTED STUDENT 8354                    ADDRESS ON FILE
REDACTED STUDENT 8355                    ADDRESS ON FILE
REDACTED STUDENT 8356                    ADDRESS ON FILE
REDACTED STUDENT 8357                    ADDRESS ON FILE
REDACTED STUDENT 8358                    ADDRESS ON FILE
REDACTED STUDENT 8359                    ADDRESS ON FILE
REDACTED STUDENT 8360                    ADDRESS ON FILE
REDACTED STUDENT 8361                    ADDRESS ON FILE
REDACTED STUDENT 8362                    ADDRESS ON FILE
REDACTED STUDENT 8363                    ADDRESS ON FILE
REDACTED STUDENT 8364                    ADDRESS ON FILE
REDACTED STUDENT 8365                    ADDRESS ON FILE
REDACTED STUDENT 8367                    ADDRESS ON FILE
REDACTED STUDENT 8368                    ADDRESS ON FILE
REDACTED STUDENT 8369                    ADDRESS ON FILE
REDACTED STUDENT 8370                    ADDRESS ON FILE
REDACTED STUDENT 8372                    ADDRESS ON FILE
REDACTED STUDENT 8373                    ADDRESS ON FILE
REDACTED STUDENT 8374                    ADDRESS ON FILE
REDACTED STUDENT 8375                    ADDRESS ON FILE
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REDACTED STUDENT 8377                    ADDRESS ON FILE
REDACTED STUDENT 8378                    ADDRESS ON FILE
REDACTED STUDENT 8379                    ADDRESS ON FILE
REDACTED STUDENT 8380                    ADDRESS ON FILE
REDACTED STUDENT 8381                    ADDRESS ON FILE
REDACTED STUDENT 8382                    ADDRESS ON FILE
REDACTED STUDENT 8383                    ADDRESS ON FILE
REDACTED STUDENT 8384                    ADDRESS ON FILE
REDACTED STUDENT 8385                    ADDRESS ON FILE
REDACTED STUDENT 8386                    ADDRESS ON FILE
REDACTED STUDENT 8387                    ADDRESS ON FILE
REDACTED STUDENT 8388                    ADDRESS ON FILE
REDACTED STUDENT 8389                    ADDRESS ON FILE
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REDACTED STUDENT 8396                    ADDRESS ON FILE
REDACTED STUDENT 8397                    ADDRESS ON FILE
REDACTED STUDENT 8398                    ADDRESS ON FILE
REDACTED STUDENT 8399                    ADDRESS ON FILE
REDACTED STUDENT 8400                    ADDRESS ON FILE
REDACTED STUDENT 8401                    ADDRESS ON FILE
REDACTED STUDENT 8402                    ADDRESS ON FILE
REDACTED STUDENT 8403                    ADDRESS ON FILE
REDACTED STUDENT 8404                    ADDRESS ON FILE
REDACTED STUDENT 8405                    ADDRESS ON FILE
REDACTED STUDENT 8406                    ADDRESS ON FILE
REDACTED STUDENT 8407                    ADDRESS ON FILE
REDACTED STUDENT 8408                    ADDRESS ON FILE
REDACTED STUDENT 8409                    ADDRESS ON FILE
REDACTED STUDENT 8410                    ADDRESS ON FILE
REDACTED STUDENT 8411                    ADDRESS ON FILE
REDACTED STUDENT 8412                    ADDRESS ON FILE
REDACTED STUDENT 8413                    ADDRESS ON FILE
REDACTED STUDENT 8414                    ADDRESS ON FILE
REDACTED STUDENT 8415                    ADDRESS ON FILE
REDACTED STUDENT 8416                    ADDRESS ON FILE
REDACTED STUDENT 8417                    ADDRESS ON FILE
REDACTED STUDENT 8418                    ADDRESS ON FILE
REDACTED STUDENT 8419                    ADDRESS ON FILE
REDACTED STUDENT 8420                    ADDRESS ON FILE
REDACTED STUDENT 8421                    ADDRESS ON FILE
REDACTED STUDENT 8422                    ADDRESS ON FILE
REDACTED STUDENT 8423                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2          Address 3    City   State   Zip   Country
REDACTED STUDENT 8424                    ADDRESS ON FILE
REDACTED STUDENT 8425                    ADDRESS ON FILE
REDACTED STUDENT 8426                    ADDRESS ON FILE
REDACTED STUDENT 8427                    ADDRESS ON FILE
REDACTED STUDENT 8428                    ADDRESS ON FILE
REDACTED STUDENT 8429                    ADDRESS ON FILE
REDACTED STUDENT 8430                    ADDRESS ON FILE
REDACTED STUDENT 8431                    ADDRESS ON FILE
REDACTED STUDENT 8432                    ADDRESS ON FILE
REDACTED STUDENT 8433                    ADDRESS ON FILE
REDACTED STUDENT 8434                    ADDRESS ON FILE
REDACTED STUDENT 8435                    ADDRESS ON FILE
REDACTED STUDENT 8436                    ADDRESS ON FILE
REDACTED STUDENT 8437                    ADDRESS ON FILE
REDACTED STUDENT 8438                    ADDRESS ON FILE
REDACTED STUDENT 8439                    ADDRESS ON FILE
REDACTED STUDENT 8440                    ADDRESS ON FILE
REDACTED STUDENT 8441                    ADDRESS ON FILE
REDACTED STUDENT 8442                    ADDRESS ON FILE
REDACTED STUDENT 8443                    ADDRESS ON FILE
REDACTED STUDENT 8444                    ADDRESS ON FILE
REDACTED STUDENT 8445                    ADDRESS ON FILE
REDACTED STUDENT 8446                    ADDRESS ON FILE
REDACTED STUDENT 8447                    ADDRESS ON FILE
REDACTED STUDENT 8448                    ADDRESS ON FILE
REDACTED STUDENT 8449                    ADDRESS ON FILE
REDACTED STUDENT 8450                    ADDRESS ON FILE
REDACTED STUDENT 8451                    ADDRESS ON FILE
REDACTED STUDENT 8452                    ADDRESS ON FILE
REDACTED STUDENT 8453                    ADDRESS ON FILE
REDACTED STUDENT 8454                    ADDRESS ON FILE
REDACTED STUDENT 8455                    ADDRESS ON FILE
REDACTED STUDENT 8456                    ADDRESS ON FILE
REDACTED STUDENT 8457                    ADDRESS ON FILE
REDACTED STUDENT 8458                    ADDRESS ON FILE
REDACTED STUDENT 8459                    ADDRESS ON FILE
REDACTED STUDENT 8460                    ADDRESS ON FILE
REDACTED STUDENT 8461                    ADDRESS ON FILE
REDACTED STUDENT 8462                    ADDRESS ON FILE
REDACTED STUDENT 8463                    ADDRESS ON FILE
REDACTED STUDENT 8464                    ADDRESS ON FILE
REDACTED STUDENT 8465                    ADDRESS ON FILE
REDACTED STUDENT 8466                    ADDRESS ON FILE
REDACTED STUDENT 8467                    ADDRESS ON FILE
REDACTED STUDENT 8468                    ADDRESS ON FILE
REDACTED STUDENT 8469                    ADDRESS ON FILE
REDACTED STUDENT 8470                    ADDRESS ON FILE
REDACTED STUDENT 8471                    ADDRESS ON FILE
REDACTED STUDENT 8472                    ADDRESS ON FILE
REDACTED STUDENT 8473                    ADDRESS ON FILE
REDACTED STUDENT 8474                    ADDRESS ON FILE
REDACTED STUDENT 8475                    ADDRESS ON FILE
REDACTED STUDENT 8476                    ADDRESS ON FILE
REDACTED STUDENT 8477                    ADDRESS ON FILE
REDACTED STUDENT 8478                    ADDRESS ON FILE
REDACTED STUDENT 8479                    ADDRESS ON FILE
REDACTED STUDENT 8480                    ADDRESS ON FILE
REDACTED STUDENT 8481                    ADDRESS ON FILE
REDACTED STUDENT 8482                    ADDRESS ON FILE
REDACTED STUDENT 8483                    ADDRESS ON FILE
REDACTED STUDENT 8484                    ADDRESS ON FILE
REDACTED STUDENT 8485                    ADDRESS ON FILE
REDACTED STUDENT 8486                    ADDRESS ON FILE
REDACTED STUDENT 8487                    ADDRESS ON FILE
REDACTED STUDENT 8488                    ADDRESS ON FILE
REDACTED STUDENT 8489                    ADDRESS ON FILE
REDACTED STUDENT 8490                    ADDRESS ON FILE
REDACTED STUDENT 8491                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2          Address 3    City   State   Zip   Country
REDACTED STUDENT 8492                    ADDRESS ON FILE
REDACTED STUDENT 8493                    ADDRESS ON FILE
REDACTED STUDENT 8494                    ADDRESS ON FILE
REDACTED STUDENT 8495                    ADDRESS ON FILE
REDACTED STUDENT 8496                    ADDRESS ON FILE
REDACTED STUDENT 8497                    ADDRESS ON FILE
REDACTED STUDENT 8498                    ADDRESS ON FILE
REDACTED STUDENT 8499                    ADDRESS ON FILE
REDACTED STUDENT 8500                    ADDRESS ON FILE
REDACTED STUDENT 8501                    ADDRESS ON FILE
REDACTED STUDENT 8502                    ADDRESS ON FILE
REDACTED STUDENT 8503                    ADDRESS ON FILE
REDACTED STUDENT 8504                    ADDRESS ON FILE
REDACTED STUDENT 8505                    ADDRESS ON FILE
REDACTED STUDENT 8506                    ADDRESS ON FILE
REDACTED STUDENT 8507                    ADDRESS ON FILE
REDACTED STUDENT 8508                    ADDRESS ON FILE
REDACTED STUDENT 8509                    ADDRESS ON FILE
REDACTED STUDENT 8511                    ADDRESS ON FILE
REDACTED STUDENT 8512                    ADDRESS ON FILE
REDACTED STUDENT 8513                    ADDRESS ON FILE
REDACTED STUDENT 8514                    ADDRESS ON FILE
REDACTED STUDENT 8515                    ADDRESS ON FILE
REDACTED STUDENT 8516                    ADDRESS ON FILE
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REDACTED STUDENT 8524                    ADDRESS ON FILE
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REDACTED STUDENT 8526                    ADDRESS ON FILE
REDACTED STUDENT 8527                    ADDRESS ON FILE
REDACTED STUDENT 8528                    ADDRESS ON FILE
REDACTED STUDENT 8529                    ADDRESS ON FILE
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REDACTED STUDENT 8532                    ADDRESS ON FILE
REDACTED STUDENT 8533                    ADDRESS ON FILE
REDACTED STUDENT 8534                    ADDRESS ON FILE
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REDACTED STUDENT 8536                    ADDRESS ON FILE
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REDACTED STUDENT 8545                    ADDRESS ON FILE
REDACTED STUDENT 8546                    ADDRESS ON FILE
REDACTED STUDENT 8547                    ADDRESS ON FILE
REDACTED STUDENT 8548                    ADDRESS ON FILE
REDACTED STUDENT 8549                    ADDRESS ON FILE
REDACTED STUDENT 8550                    ADDRESS ON FILE
REDACTED STUDENT 8551                    ADDRESS ON FILE
REDACTED STUDENT 8552                    ADDRESS ON FILE
REDACTED STUDENT 8553                    ADDRESS ON FILE
REDACTED STUDENT 8554                    ADDRESS ON FILE
REDACTED STUDENT 8555                    ADDRESS ON FILE
REDACTED STUDENT 8556                    ADDRESS ON FILE
REDACTED STUDENT 8557                    ADDRESS ON FILE
REDACTED STUDENT 8558                    ADDRESS ON FILE
REDACTED STUDENT 8559                    ADDRESS ON FILE
REDACTED STUDENT 8560                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2          Address 3    City   State   Zip   Country
REDACTED STUDENT 8561                    ADDRESS ON FILE
REDACTED STUDENT 8562                    ADDRESS ON FILE
REDACTED STUDENT 8563                    ADDRESS ON FILE
REDACTED STUDENT 8564                    ADDRESS ON FILE
REDACTED STUDENT 8565                    ADDRESS ON FILE
REDACTED STUDENT 8566                    ADDRESS ON FILE
REDACTED STUDENT 8567                    ADDRESS ON FILE
REDACTED STUDENT 8568                    ADDRESS ON FILE
REDACTED STUDENT 8569                    ADDRESS ON FILE
REDACTED STUDENT 8570                    ADDRESS ON FILE
REDACTED STUDENT 8572                    ADDRESS ON FILE
REDACTED STUDENT 8573                    ADDRESS ON FILE
REDACTED STUDENT 8574                    ADDRESS ON FILE
REDACTED STUDENT 8575                    ADDRESS ON FILE
REDACTED STUDENT 8576                    ADDRESS ON FILE
REDACTED STUDENT 8577                    ADDRESS ON FILE
REDACTED STUDENT 8578                    ADDRESS ON FILE
REDACTED STUDENT 8579                    ADDRESS ON FILE
REDACTED STUDENT 8580                    ADDRESS ON FILE
REDACTED STUDENT 8581                    ADDRESS ON FILE
REDACTED STUDENT 8582                    ADDRESS ON FILE
REDACTED STUDENT 8583                    ADDRESS ON FILE
REDACTED STUDENT 8584                    ADDRESS ON FILE
REDACTED STUDENT 8585                    ADDRESS ON FILE
REDACTED STUDENT 8586                    ADDRESS ON FILE
REDACTED STUDENT 8587                    ADDRESS ON FILE
REDACTED STUDENT 8588                    ADDRESS ON FILE
REDACTED STUDENT 8589                    ADDRESS ON FILE
REDACTED STUDENT 8590                    ADDRESS ON FILE
REDACTED STUDENT 8591                    ADDRESS ON FILE
REDACTED STUDENT 8592                    ADDRESS ON FILE
REDACTED STUDENT 8593                    ADDRESS ON FILE
REDACTED STUDENT 8594                    ADDRESS ON FILE
REDACTED STUDENT 8595                    ADDRESS ON FILE
REDACTED STUDENT 8596                    ADDRESS ON FILE
REDACTED STUDENT 8597                    ADDRESS ON FILE
REDACTED STUDENT 8598                    ADDRESS ON FILE
REDACTED STUDENT 8599                    ADDRESS ON FILE
REDACTED STUDENT 8600                    ADDRESS ON FILE
REDACTED STUDENT 8601                    ADDRESS ON FILE
REDACTED STUDENT 8602                    ADDRESS ON FILE
REDACTED STUDENT 8603                    ADDRESS ON FILE
REDACTED STUDENT 8604                    ADDRESS ON FILE
REDACTED STUDENT 8605                    ADDRESS ON FILE
REDACTED STUDENT 8606                    ADDRESS ON FILE
REDACTED STUDENT 8607                    ADDRESS ON FILE
REDACTED STUDENT 8608                    ADDRESS ON FILE
REDACTED STUDENT 8609                    ADDRESS ON FILE
REDACTED STUDENT 8610                    ADDRESS ON FILE
REDACTED STUDENT 8611                    ADDRESS ON FILE
REDACTED STUDENT 8612                    ADDRESS ON FILE
REDACTED STUDENT 8613                    ADDRESS ON FILE
REDACTED STUDENT 8614                    ADDRESS ON FILE
REDACTED STUDENT 8615                    ADDRESS ON FILE
REDACTED STUDENT 8616                    ADDRESS ON FILE
REDACTED STUDENT 8617                    ADDRESS ON FILE
REDACTED STUDENT 8618                    ADDRESS ON FILE
REDACTED STUDENT 8619                    ADDRESS ON FILE
REDACTED STUDENT 8620                    ADDRESS ON FILE
REDACTED STUDENT 8621                    ADDRESS ON FILE
REDACTED STUDENT 8622                    ADDRESS ON FILE
REDACTED STUDENT 8623                    ADDRESS ON FILE
REDACTED STUDENT 8624                    ADDRESS ON FILE
REDACTED STUDENT 8625                    ADDRESS ON FILE
REDACTED STUDENT 8626                    ADDRESS ON FILE
REDACTED STUDENT 8627                    ADDRESS ON FILE
REDACTED STUDENT 8628                    ADDRESS ON FILE
REDACTED STUDENT 8629                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2          Address 3    City   State   Zip   Country
REDACTED STUDENT 8630                    ADDRESS ON FILE
REDACTED STUDENT 8631                    ADDRESS ON FILE
REDACTED STUDENT 8632                    ADDRESS ON FILE
REDACTED STUDENT 8633                    ADDRESS ON FILE
REDACTED STUDENT 8634                    ADDRESS ON FILE
REDACTED STUDENT 8635                    ADDRESS ON FILE
REDACTED STUDENT 8636                    ADDRESS ON FILE
REDACTED STUDENT 8637                    ADDRESS ON FILE
REDACTED STUDENT 8638                    ADDRESS ON FILE
REDACTED STUDENT 8639                    ADDRESS ON FILE
REDACTED STUDENT 8640                    ADDRESS ON FILE
REDACTED STUDENT 8641                    ADDRESS ON FILE
REDACTED STUDENT 8642                    ADDRESS ON FILE
REDACTED STUDENT 8643                    ADDRESS ON FILE
REDACTED STUDENT 8644                    ADDRESS ON FILE
REDACTED STUDENT 8645                    ADDRESS ON FILE
REDACTED STUDENT 8646                    ADDRESS ON FILE
REDACTED STUDENT 8647                    ADDRESS ON FILE
REDACTED STUDENT 8648                    ADDRESS ON FILE
REDACTED STUDENT 8649                    ADDRESS ON FILE
REDACTED STUDENT 8650                    ADDRESS ON FILE
REDACTED STUDENT 8651                    ADDRESS ON FILE
REDACTED STUDENT 8652                    ADDRESS ON FILE
REDACTED STUDENT 8653                    ADDRESS ON FILE
REDACTED STUDENT 8654                    ADDRESS ON FILE
REDACTED STUDENT 8655                    ADDRESS ON FILE
REDACTED STUDENT 8656                    ADDRESS ON FILE
REDACTED STUDENT 8657                    ADDRESS ON FILE
REDACTED STUDENT 8658                    ADDRESS ON FILE
REDACTED STUDENT 8659                    ADDRESS ON FILE
REDACTED STUDENT 8660                    ADDRESS ON FILE
REDACTED STUDENT 8661                    ADDRESS ON FILE
REDACTED STUDENT 8662                    ADDRESS ON FILE
REDACTED STUDENT 8663                    ADDRESS ON FILE
REDACTED STUDENT 8664                    ADDRESS ON FILE
REDACTED STUDENT 8665                    ADDRESS ON FILE
REDACTED STUDENT 8666                    ADDRESS ON FILE
REDACTED STUDENT 8667                    ADDRESS ON FILE
REDACTED STUDENT 8668                    ADDRESS ON FILE
REDACTED STUDENT 8669                    ADDRESS ON FILE
REDACTED STUDENT 8670                    ADDRESS ON FILE
REDACTED STUDENT 8671                    ADDRESS ON FILE
REDACTED STUDENT 8672                    ADDRESS ON FILE
REDACTED STUDENT 8674                    ADDRESS ON FILE
REDACTED STUDENT 8675                    ADDRESS ON FILE
REDACTED STUDENT 8676                    ADDRESS ON FILE
REDACTED STUDENT 8677                    ADDRESS ON FILE
REDACTED STUDENT 8678                    ADDRESS ON FILE
REDACTED STUDENT 8679                    ADDRESS ON FILE
REDACTED STUDENT 8680                    ADDRESS ON FILE
REDACTED STUDENT 8681                    ADDRESS ON FILE
REDACTED STUDENT 8682                    ADDRESS ON FILE
REDACTED STUDENT 8683                    ADDRESS ON FILE
REDACTED STUDENT 8684                    ADDRESS ON FILE
REDACTED STUDENT 8685                    ADDRESS ON FILE
REDACTED STUDENT 8686                    ADDRESS ON FILE
REDACTED STUDENT 8687                    ADDRESS ON FILE
REDACTED STUDENT 8688                    ADDRESS ON FILE
REDACTED STUDENT 8689                    ADDRESS ON FILE
REDACTED STUDENT 8690                    ADDRESS ON FILE
REDACTED STUDENT 8691                    ADDRESS ON FILE
REDACTED STUDENT 8692                    ADDRESS ON FILE
REDACTED STUDENT 8693                    ADDRESS ON FILE
REDACTED STUDENT 8694                    ADDRESS ON FILE
REDACTED STUDENT 8695                    ADDRESS ON FILE
REDACTED STUDENT 8696                    ADDRESS ON FILE
REDACTED STUDENT 8697                    ADDRESS ON FILE
REDACTED STUDENT 8698                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2          Address 3    City   State   Zip   Country
REDACTED STUDENT 8699                    ADDRESS ON FILE
REDACTED STUDENT 8700                    ADDRESS ON FILE
REDACTED STUDENT 8701                    ADDRESS ON FILE
REDACTED STUDENT 8702                    ADDRESS ON FILE
REDACTED STUDENT 8703                    ADDRESS ON FILE
REDACTED STUDENT 8704                    ADDRESS ON FILE
REDACTED STUDENT 8705                    ADDRESS ON FILE
REDACTED STUDENT 8706                    ADDRESS ON FILE
REDACTED STUDENT 8707                    ADDRESS ON FILE
REDACTED STUDENT 8708                    ADDRESS ON FILE
REDACTED STUDENT 8709                    ADDRESS ON FILE
REDACTED STUDENT 8710                    ADDRESS ON FILE
REDACTED STUDENT 8711                    ADDRESS ON FILE
REDACTED STUDENT 8712                    ADDRESS ON FILE
REDACTED STUDENT 8713                    ADDRESS ON FILE
REDACTED STUDENT 8715                    ADDRESS ON FILE
REDACTED STUDENT 8716                    ADDRESS ON FILE
REDACTED STUDENT 8717                    ADDRESS ON FILE
REDACTED STUDENT 8718                    ADDRESS ON FILE
REDACTED STUDENT 8719                    ADDRESS ON FILE
REDACTED STUDENT 8720                    ADDRESS ON FILE
REDACTED STUDENT 8721                    ADDRESS ON FILE
REDACTED STUDENT 8722                    ADDRESS ON FILE
REDACTED STUDENT 8723                    ADDRESS ON FILE
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REDACTED STUDENT 8725                    ADDRESS ON FILE
REDACTED STUDENT 8726                    ADDRESS ON FILE
REDACTED STUDENT 8727                    ADDRESS ON FILE
REDACTED STUDENT 8728                    ADDRESS ON FILE
REDACTED STUDENT 8729                    ADDRESS ON FILE
REDACTED STUDENT 8730                    ADDRESS ON FILE
REDACTED STUDENT 8731                    ADDRESS ON FILE
REDACTED STUDENT 8732                    ADDRESS ON FILE
REDACTED STUDENT 8733                    ADDRESS ON FILE
REDACTED STUDENT 8734                    ADDRESS ON FILE
REDACTED STUDENT 8735                    ADDRESS ON FILE
REDACTED STUDENT 8736                    ADDRESS ON FILE
REDACTED STUDENT 8737                    ADDRESS ON FILE
REDACTED STUDENT 8738                    ADDRESS ON FILE
REDACTED STUDENT 8739                    ADDRESS ON FILE
REDACTED STUDENT 8740                    ADDRESS ON FILE
REDACTED STUDENT 8741                    ADDRESS ON FILE
REDACTED STUDENT 8742                    ADDRESS ON FILE
REDACTED STUDENT 8743                    ADDRESS ON FILE
REDACTED STUDENT 8744                    ADDRESS ON FILE
REDACTED STUDENT 8745                    ADDRESS ON FILE
REDACTED STUDENT 8746                    ADDRESS ON FILE
REDACTED STUDENT 8747                    ADDRESS ON FILE
REDACTED STUDENT 8748                    ADDRESS ON FILE
REDACTED STUDENT 8749                    ADDRESS ON FILE
REDACTED STUDENT 8750                    ADDRESS ON FILE
REDACTED STUDENT 8751                    ADDRESS ON FILE
REDACTED STUDENT 8753                    ADDRESS ON FILE
REDACTED STUDENT 8754                    ADDRESS ON FILE
REDACTED STUDENT 8756                    ADDRESS ON FILE
REDACTED STUDENT 8757                    ADDRESS ON FILE
REDACTED STUDENT 8758                    ADDRESS ON FILE
REDACTED STUDENT 8759                    ADDRESS ON FILE
REDACTED STUDENT 8760                    ADDRESS ON FILE
REDACTED STUDENT 8761                    ADDRESS ON FILE
REDACTED STUDENT 8762                    ADDRESS ON FILE
REDACTED STUDENT 8763                    ADDRESS ON FILE
REDACTED STUDENT 8764                    ADDRESS ON FILE
REDACTED STUDENT 8765                    ADDRESS ON FILE
REDACTED STUDENT 8766                    ADDRESS ON FILE
REDACTED STUDENT 8767                    ADDRESS ON FILE
REDACTED STUDENT 8768                    ADDRESS ON FILE
REDACTED STUDENT 8769                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2          Address 3    City   State   Zip   Country
REDACTED STUDENT 8770                    ADDRESS ON FILE
REDACTED STUDENT 8771                    ADDRESS ON FILE
REDACTED STUDENT 8772                    ADDRESS ON FILE
REDACTED STUDENT 8773                    ADDRESS ON FILE
REDACTED STUDENT 8774                    ADDRESS ON FILE
REDACTED STUDENT 8775                    ADDRESS ON FILE
REDACTED STUDENT 8776                    ADDRESS ON FILE
REDACTED STUDENT 8777                    ADDRESS ON FILE
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REDACTED STUDENT 8779                    ADDRESS ON FILE
REDACTED STUDENT 8780                    ADDRESS ON FILE
REDACTED STUDENT 8781                    ADDRESS ON FILE
REDACTED STUDENT 8782                    ADDRESS ON FILE
REDACTED STUDENT 8783                    ADDRESS ON FILE
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REDACTED STUDENT 8801                    ADDRESS ON FILE
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REDACTED STUDENT 8835                    ADDRESS ON FILE
REDACTED STUDENT 8836                    ADDRESS ON FILE
REDACTED STUDENT 8837                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2          Address 3    City   State   Zip   Country
REDACTED STUDENT 8838                    ADDRESS ON FILE
REDACTED STUDENT 8839                    ADDRESS ON FILE
REDACTED STUDENT 8840                    ADDRESS ON FILE
REDACTED STUDENT 8841                    ADDRESS ON FILE
REDACTED STUDENT 8842                    ADDRESS ON FILE
REDACTED STUDENT 8843                    ADDRESS ON FILE
REDACTED STUDENT 8844                    ADDRESS ON FILE
REDACTED STUDENT 8845                    ADDRESS ON FILE
REDACTED STUDENT 8846                    ADDRESS ON FILE
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REDACTED STUDENT 8852                    ADDRESS ON FILE
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REDACTED STUDENT 8904                    ADDRESS ON FILE
REDACTED STUDENT 8905                    ADDRESS ON FILE
REDACTED STUDENT 8906                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2          Address 3    City   State   Zip   Country
REDACTED STUDENT 8907                    ADDRESS ON FILE
REDACTED STUDENT 8908                    ADDRESS ON FILE
REDACTED STUDENT 8909                    ADDRESS ON FILE
REDACTED STUDENT 8911                    ADDRESS ON FILE
REDACTED STUDENT 8912                    ADDRESS ON FILE
REDACTED STUDENT 8913                    ADDRESS ON FILE
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REDACTED STUDENT 8973                    ADDRESS ON FILE
REDACTED STUDENT 8974                    ADDRESS ON FILE
REDACTED STUDENT 8975                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2          Address 3    City   State   Zip   Country
REDACTED STUDENT 8976                    ADDRESS ON FILE
REDACTED STUDENT 8977                    ADDRESS ON FILE
REDACTED STUDENT 8978                    ADDRESS ON FILE
REDACTED STUDENT 8979                    ADDRESS ON FILE
REDACTED STUDENT 8980                    ADDRESS ON FILE
REDACTED STUDENT 8981                    ADDRESS ON FILE
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REDACTED STUDENT 9041                    ADDRESS ON FILE
REDACTED STUDENT 9042                    ADDRESS ON FILE
REDACTED STUDENT 9043                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2          Address 3    City   State   Zip   Country
REDACTED STUDENT 9044                    ADDRESS ON FILE
REDACTED STUDENT 9045                    ADDRESS ON FILE
REDACTED STUDENT 9046                    ADDRESS ON FILE
REDACTED STUDENT 9047                    ADDRESS ON FILE
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REDACTED STUDENT 9111                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2          Address 3    City   State   Zip   Country
REDACTED STUDENT 9112                    ADDRESS ON FILE
REDACTED STUDENT 9113                    ADDRESS ON FILE
REDACTED STUDENT 9114                    ADDRESS ON FILE
REDACTED STUDENT 9115                    ADDRESS ON FILE
REDACTED STUDENT 9116                    ADDRESS ON FILE
REDACTED STUDENT 9117                    ADDRESS ON FILE
REDACTED STUDENT 9118                    ADDRESS ON FILE
REDACTED STUDENT 9119                    ADDRESS ON FILE
REDACTED STUDENT 9120                    ADDRESS ON FILE
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REDACTED STUDENT 9179                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2          Address 3    City   State   Zip   Country
REDACTED STUDENT 9180                    ADDRESS ON FILE
REDACTED STUDENT 9181                    ADDRESS ON FILE
REDACTED STUDENT 9182                    ADDRESS ON FILE
REDACTED STUDENT 9183                    ADDRESS ON FILE
REDACTED STUDENT 9184                    ADDRESS ON FILE
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REDACTED STUDENT 9221                    ADDRESS ON FILE
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REDACTED STUDENT 9226                    ADDRESS ON FILE
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REDACTED STUDENT 9231                    ADDRESS ON FILE
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REDACTED STUDENT 9247                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2          Address 3    City   State   Zip   Country
REDACTED STUDENT 9248                    ADDRESS ON FILE
REDACTED STUDENT 9249                    ADDRESS ON FILE
REDACTED STUDENT 9250                    ADDRESS ON FILE
REDACTED STUDENT 9251                    ADDRESS ON FILE
REDACTED STUDENT 9252                    ADDRESS ON FILE
REDACTED STUDENT 9253                    ADDRESS ON FILE
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REDACTED STUDENT 9255                    ADDRESS ON FILE
REDACTED STUDENT 9256                    ADDRESS ON FILE
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REDACTED STUDENT 9258                    ADDRESS ON FILE
REDACTED STUDENT 9259                    ADDRESS ON FILE
REDACTED STUDENT 9260                    ADDRESS ON FILE
REDACTED STUDENT 9261                    ADDRESS ON FILE
REDACTED STUDENT 9262                    ADDRESS ON FILE
REDACTED STUDENT 9263                    ADDRESS ON FILE
REDACTED STUDENT 9264                    ADDRESS ON FILE
REDACTED STUDENT 9265                    ADDRESS ON FILE
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REDACTED STUDENT 9298                    ADDRESS ON FILE
REDACTED STUDENT 9299                    ADDRESS ON FILE
REDACTED STUDENT 9300                    ADDRESS ON FILE
REDACTED STUDENT 9301                    ADDRESS ON FILE
REDACTED STUDENT 9302                    ADDRESS ON FILE
REDACTED STUDENT 9303                    ADDRESS ON FILE
REDACTED STUDENT 9304                    ADDRESS ON FILE
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REDACTED STUDENT 9314                    ADDRESS ON FILE
REDACTED STUDENT 9315                    ADDRESS ON FILE
REDACTED STUDENT 9316                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2          Address 3    City   State   Zip   Country
REDACTED STUDENT 9317                    ADDRESS ON FILE
REDACTED STUDENT 9318                    ADDRESS ON FILE
REDACTED STUDENT 9319                    ADDRESS ON FILE
REDACTED STUDENT 9320                    ADDRESS ON FILE
REDACTED STUDENT 9321                    ADDRESS ON FILE
REDACTED STUDENT 9322                    ADDRESS ON FILE
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REDACTED STUDENT 9331                    ADDRESS ON FILE
REDACTED STUDENT 9332                    ADDRESS ON FILE
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REDACTED STUDENT 9361                    ADDRESS ON FILE
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REDACTED STUDENT 9364                    ADDRESS ON FILE
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REDACTED STUDENT 9380                    ADDRESS ON FILE
REDACTED STUDENT 9381                    ADDRESS ON FILE
REDACTED STUDENT 9382                    ADDRESS ON FILE
REDACTED STUDENT 9383                    ADDRESS ON FILE
REDACTED STUDENT 9384                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2          Address 3    City   State   Zip   Country
REDACTED STUDENT 9385                    ADDRESS ON FILE
REDACTED STUDENT 9386                    ADDRESS ON FILE
REDACTED STUDENT 9387                    ADDRESS ON FILE
REDACTED STUDENT 9388                    ADDRESS ON FILE
REDACTED STUDENT 9389                    ADDRESS ON FILE
REDACTED STUDENT 9390                    ADDRESS ON FILE
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REDACTED STUDENT 9399                    ADDRESS ON FILE
REDACTED STUDENT 9400                    ADDRESS ON FILE
REDACTED STUDENT 9401                    ADDRESS ON FILE
REDACTED STUDENT 9402                    ADDRESS ON FILE
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REDACTED STUDENT 9441                    ADDRESS ON FILE
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REDACTED STUDENT 9446                    ADDRESS ON FILE
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REDACTED STUDENT 9450                    ADDRESS ON FILE
REDACTED STUDENT 9451                    ADDRESS ON FILE
REDACTED STUDENT 9452                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2          Address 3    City   State   Zip   Country
REDACTED STUDENT 9453                    ADDRESS ON FILE
REDACTED STUDENT 9454                    ADDRESS ON FILE
REDACTED STUDENT 9455                    ADDRESS ON FILE
REDACTED STUDENT 9456                    ADDRESS ON FILE
REDACTED STUDENT 9457                    ADDRESS ON FILE
REDACTED STUDENT 9458                    ADDRESS ON FILE
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REDACTED STUDENT 9460                    ADDRESS ON FILE
REDACTED STUDENT 9461                    ADDRESS ON FILE
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REDACTED STUDENT 9463                    ADDRESS ON FILE
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REDACTED STUDENT 9466                    ADDRESS ON FILE
REDACTED STUDENT 9467                    ADDRESS ON FILE
REDACTED STUDENT 9468                    ADDRESS ON FILE
REDACTED STUDENT 9469                    ADDRESS ON FILE
REDACTED STUDENT 9470                    ADDRESS ON FILE
REDACTED STUDENT 9471                    ADDRESS ON FILE
REDACTED STUDENT 9472                    ADDRESS ON FILE
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REDACTED STUDENT 9502                    ADDRESS ON FILE
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REDACTED STUDENT 9518                    ADDRESS ON FILE
REDACTED STUDENT 9519                    ADDRESS ON FILE
REDACTED STUDENT 9520                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2          Address 3    City   State   Zip   Country
REDACTED STUDENT 9521                    ADDRESS ON FILE
REDACTED STUDENT 9522                    ADDRESS ON FILE
REDACTED STUDENT 9523                    ADDRESS ON FILE
REDACTED STUDENT 9524                    ADDRESS ON FILE
REDACTED STUDENT 9525                    ADDRESS ON FILE
REDACTED STUDENT 9526                    ADDRESS ON FILE
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REDACTED STUDENT 9551                    ADDRESS ON FILE
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REDACTED STUDENT 9556                    ADDRESS ON FILE
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REDACTED STUDENT 9561                    ADDRESS ON FILE
REDACTED STUDENT 9562                    ADDRESS ON FILE
REDACTED STUDENT 9563                    ADDRESS ON FILE
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REDACTED STUDENT 9570                    ADDRESS ON FILE
REDACTED STUDENT 9571                    ADDRESS ON FILE
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REDACTED STUDENT 9587                    ADDRESS ON FILE
REDACTED STUDENT 9588                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2          Address 3    City   State   Zip   Country
REDACTED STUDENT 9589                    ADDRESS ON FILE
REDACTED STUDENT 9590                    ADDRESS ON FILE
REDACTED STUDENT 9591                    ADDRESS ON FILE
REDACTED STUDENT 9592                    ADDRESS ON FILE
REDACTED STUDENT 9593                    ADDRESS ON FILE
REDACTED STUDENT 9594                    ADDRESS ON FILE
REDACTED STUDENT 9595                    ADDRESS ON FILE
REDACTED STUDENT 9596                    ADDRESS ON FILE
REDACTED STUDENT 9597                    ADDRESS ON FILE
REDACTED STUDENT 9598                    ADDRESS ON FILE
REDACTED STUDENT 9599                    ADDRESS ON FILE
REDACTED STUDENT 9600                    ADDRESS ON FILE
REDACTED STUDENT 9601                    ADDRESS ON FILE
REDACTED STUDENT 9602                    ADDRESS ON FILE
REDACTED STUDENT 9603                    ADDRESS ON FILE
REDACTED STUDENT 9604                    ADDRESS ON FILE
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REDACTED STUDENT 9606                    ADDRESS ON FILE
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REDACTED STUDENT 9610                    ADDRESS ON FILE
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REDACTED STUDENT 9622                    ADDRESS ON FILE
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REDACTED STUDENT 9641                    ADDRESS ON FILE
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REDACTED STUDENT 9655                    ADDRESS ON FILE
REDACTED STUDENT 9656                    ADDRESS ON FILE
REDACTED STUDENT 9657                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2          Address 3    City   State   Zip   Country
REDACTED STUDENT 9658                    ADDRESS ON FILE
REDACTED STUDENT 9659                    ADDRESS ON FILE
REDACTED STUDENT 9660                    ADDRESS ON FILE
REDACTED STUDENT 9661                    ADDRESS ON FILE
REDACTED STUDENT 9662                    ADDRESS ON FILE
REDACTED STUDENT 9663                    ADDRESS ON FILE
REDACTED STUDENT 9664                    ADDRESS ON FILE
REDACTED STUDENT 9665                    ADDRESS ON FILE
REDACTED STUDENT 9666                    ADDRESS ON FILE
REDACTED STUDENT 9667                    ADDRESS ON FILE
REDACTED STUDENT 9668                    ADDRESS ON FILE
REDACTED STUDENT 9669                    ADDRESS ON FILE
REDACTED STUDENT 9670                    ADDRESS ON FILE
REDACTED STUDENT 9671                    ADDRESS ON FILE
REDACTED STUDENT 9672                    ADDRESS ON FILE
REDACTED STUDENT 9673                    ADDRESS ON FILE
REDACTED STUDENT 9674                    ADDRESS ON FILE
REDACTED STUDENT 9675                    ADDRESS ON FILE
REDACTED STUDENT 9676                    ADDRESS ON FILE
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REDACTED STUDENT 9679                    ADDRESS ON FILE
REDACTED STUDENT 9680                    ADDRESS ON FILE
REDACTED STUDENT 9681                    ADDRESS ON FILE
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REDACTED STUDENT 9685                    ADDRESS ON FILE
REDACTED STUDENT 9686                    ADDRESS ON FILE
REDACTED STUDENT 9687                    ADDRESS ON FILE
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REDACTED STUDENT 9699                    ADDRESS ON FILE
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REDACTED STUDENT 9702                    ADDRESS ON FILE
REDACTED STUDENT 9703                    ADDRESS ON FILE
REDACTED STUDENT 9704                    ADDRESS ON FILE
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REDACTED STUDENT 9709                    ADDRESS ON FILE
REDACTED STUDENT 9710                    ADDRESS ON FILE
REDACTED STUDENT 9711                    ADDRESS ON FILE
REDACTED STUDENT 9712                    ADDRESS ON FILE
REDACTED STUDENT 9713                    ADDRESS ON FILE
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REDACTED STUDENT 9723                    ADDRESS ON FILE
REDACTED STUDENT 9724                    ADDRESS ON FILE
REDACTED STUDENT 9725                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2          Address 3    City   State   Zip   Country
REDACTED STUDENT 9726                    ADDRESS ON FILE
REDACTED STUDENT 9727                    ADDRESS ON FILE
REDACTED STUDENT 9728                    ADDRESS ON FILE
REDACTED STUDENT 9729                    ADDRESS ON FILE
REDACTED STUDENT 9730                    ADDRESS ON FILE
REDACTED STUDENT 9731                    ADDRESS ON FILE
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REDACTED STUDENT 9733                    ADDRESS ON FILE
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REDACTED STUDENT 9742                    ADDRESS ON FILE
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REDACTED STUDENT 9751                    ADDRESS ON FILE
REDACTED STUDENT 9752                    ADDRESS ON FILE
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REDACTED STUDENT 9755                    ADDRESS ON FILE
REDACTED STUDENT 9756                    ADDRESS ON FILE
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REDACTED STUDENT 9759                    ADDRESS ON FILE
REDACTED STUDENT 9760                    ADDRESS ON FILE
REDACTED STUDENT 9761                    ADDRESS ON FILE
REDACTED STUDENT 9762                    ADDRESS ON FILE
REDACTED STUDENT 9763                    ADDRESS ON FILE
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REDACTED STUDENT 9765                    ADDRESS ON FILE
REDACTED STUDENT 9766                    ADDRESS ON FILE
REDACTED STUDENT 9767                    ADDRESS ON FILE
REDACTED STUDENT 9768                    ADDRESS ON FILE
REDACTED STUDENT 9769                    ADDRESS ON FILE
REDACTED STUDENT 9771                    ADDRESS ON FILE
REDACTED STUDENT 9772                    ADDRESS ON FILE
REDACTED STUDENT 9773                    ADDRESS ON FILE
REDACTED STUDENT 9774                    ADDRESS ON FILE
REDACTED STUDENT 9775                    ADDRESS ON FILE
REDACTED STUDENT 9776                    ADDRESS ON FILE
REDACTED STUDENT 9777                    ADDRESS ON FILE
REDACTED STUDENT 9778                    ADDRESS ON FILE
REDACTED STUDENT 9779                    ADDRESS ON FILE
REDACTED STUDENT 9780                    ADDRESS ON FILE
REDACTED STUDENT 9781                    ADDRESS ON FILE
REDACTED STUDENT 9782                    ADDRESS ON FILE
REDACTED STUDENT 9783                    ADDRESS ON FILE
REDACTED STUDENT 9784                    ADDRESS ON FILE
REDACTED STUDENT 9785                    ADDRESS ON FILE
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REDACTED STUDENT 9793                    ADDRESS ON FILE
REDACTED STUDENT 9794                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2          Address 3    City   State   Zip   Country
REDACTED STUDENT 9795                    ADDRESS ON FILE
REDACTED STUDENT 9796                    ADDRESS ON FILE
REDACTED STUDENT 9797                    ADDRESS ON FILE
REDACTED STUDENT 9798                    ADDRESS ON FILE
REDACTED STUDENT 9799                    ADDRESS ON FILE
REDACTED STUDENT 9800                    ADDRESS ON FILE
REDACTED STUDENT 9801                    ADDRESS ON FILE
REDACTED STUDENT 9802                    ADDRESS ON FILE
REDACTED STUDENT 9803                    ADDRESS ON FILE
REDACTED STUDENT 9804                    ADDRESS ON FILE
REDACTED STUDENT 9805                    ADDRESS ON FILE
REDACTED STUDENT 9806                    ADDRESS ON FILE
REDACTED STUDENT 9807                    ADDRESS ON FILE
REDACTED STUDENT 9808                    ADDRESS ON FILE
REDACTED STUDENT 9809                    ADDRESS ON FILE
REDACTED STUDENT 9810                    ADDRESS ON FILE
REDACTED STUDENT 9811                    ADDRESS ON FILE
REDACTED STUDENT 9812                    ADDRESS ON FILE
REDACTED STUDENT 9813                    ADDRESS ON FILE
REDACTED STUDENT 9814                    ADDRESS ON FILE
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REDACTED STUDENT 9816                    ADDRESS ON FILE
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REDACTED STUDENT 9824                    ADDRESS ON FILE
REDACTED STUDENT 9825                    ADDRESS ON FILE
REDACTED STUDENT 9826                    ADDRESS ON FILE
REDACTED STUDENT 9827                    ADDRESS ON FILE
REDACTED STUDENT 9828                    ADDRESS ON FILE
REDACTED STUDENT 9829                    ADDRESS ON FILE
REDACTED STUDENT 9830                    ADDRESS ON FILE
REDACTED STUDENT 9831                    ADDRESS ON FILE
REDACTED STUDENT 9832                    ADDRESS ON FILE
REDACTED STUDENT 9833                    ADDRESS ON FILE
REDACTED STUDENT 9834                    ADDRESS ON FILE
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REDACTED STUDENT 9838                    ADDRESS ON FILE
REDACTED STUDENT 9839                    ADDRESS ON FILE
REDACTED STUDENT 9841                    ADDRESS ON FILE
REDACTED STUDENT 9842                    ADDRESS ON FILE
REDACTED STUDENT 9843                    ADDRESS ON FILE
REDACTED STUDENT 9844                    ADDRESS ON FILE
REDACTED STUDENT 9845                    ADDRESS ON FILE
REDACTED STUDENT 9846                    ADDRESS ON FILE
REDACTED STUDENT 9847                    ADDRESS ON FILE
REDACTED STUDENT 9848                    ADDRESS ON FILE
REDACTED STUDENT 9849                    ADDRESS ON FILE
REDACTED STUDENT 9850                    ADDRESS ON FILE
REDACTED STUDENT 9851                    ADDRESS ON FILE
REDACTED STUDENT 9852                    ADDRESS ON FILE
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REDACTED STUDENT 9859                    ADDRESS ON FILE
REDACTED STUDENT 9860                    ADDRESS ON FILE
REDACTED STUDENT 9861                    ADDRESS ON FILE
REDACTED STUDENT 9862                    ADDRESS ON FILE
REDACTED STUDENT 9863                    ADDRESS ON FILE




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             Creditor Name   Attention                 Address 1                          Address 2          Address 3    City   State   Zip   Country
REDACTED STUDENT 9864                    ADDRESS ON FILE
REDACTED STUDENT 9865                    ADDRESS ON FILE
REDACTED STUDENT 9866                    ADDRESS ON FILE
REDACTED STUDENT 9867                    ADDRESS ON FILE
REDACTED STUDENT 9868                    ADDRESS ON FILE
REDACTED STUDENT 9869                    ADDRESS ON FILE
REDACTED STUDENT 9870                    ADDRESS ON FILE
REDACTED STUDENT 9871                    ADDRESS ON FILE
REDACTED STUDENT 9872                    ADDRESS ON FILE
REDACTED STUDENT 9873                    ADDRESS ON FILE
REDACTED STUDENT 9875                    ADDRESS ON FILE
REDACTED STUDENT 9876                    ADDRESS ON FILE
REDACTED STUDENT 9877                    ADDRESS ON FILE
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REDACTED STUDENT 9879                    ADDRESS ON FILE
REDACTED STUDENT 9880                    ADDRESS ON FILE
REDACTED STUDENT 9881                    ADDRESS ON FILE
REDACTED STUDENT 9882                    ADDRESS ON FILE
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REDACTED STUDENT 9885                    ADDRESS ON FILE
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REDACTED STUDENT 9890                    ADDRESS ON FILE
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REDACTED STUDENT 9892                    ADDRESS ON FILE
REDACTED STUDENT 9893                    ADDRESS ON FILE
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REDACTED STUDENT 9895                    ADDRESS ON FILE
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REDACTED STUDENT 9897                    ADDRESS ON FILE
REDACTED STUDENT 9898                    ADDRESS ON FILE
REDACTED STUDENT 9899                    ADDRESS ON FILE
REDACTED STUDENT 9900                    ADDRESS ON FILE
REDACTED STUDENT 9901                    ADDRESS ON FILE
REDACTED STUDENT 9902                    ADDRESS ON FILE
REDACTED STUDENT 9904                    ADDRESS ON FILE
REDACTED STUDENT 9905                    ADDRESS ON FILE
REDACTED STUDENT 9906                    ADDRESS ON FILE
REDACTED STUDENT 9907                    ADDRESS ON FILE
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REDACTED STUDENT 9910                    ADDRESS ON FILE
REDACTED STUDENT 9911                    ADDRESS ON FILE
REDACTED STUDENT 9912                    ADDRESS ON FILE
REDACTED STUDENT 9913                    ADDRESS ON FILE
REDACTED STUDENT 9914                    ADDRESS ON FILE
REDACTED STUDENT 9915                    ADDRESS ON FILE
REDACTED STUDENT 9916                    ADDRESS ON FILE
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REDACTED STUDENT 9918                    ADDRESS ON FILE
REDACTED STUDENT 9919                    ADDRESS ON FILE
REDACTED STUDENT 9920                    ADDRESS ON FILE
REDACTED STUDENT 9921                    ADDRESS ON FILE
REDACTED STUDENT 9922                    ADDRESS ON FILE
REDACTED STUDENT 9923                    ADDRESS ON FILE
REDACTED STUDENT 9924                    ADDRESS ON FILE
REDACTED STUDENT 9925                    ADDRESS ON FILE
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REDACTED STUDENT 9933                    ADDRESS ON FILE




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REDACTED STUDENT 9934                                      ADDRESS ON FILE
REDACTED STUDENT 9935                                      ADDRESS ON FILE
REDACTED STUDENT 9936                                      ADDRESS ON FILE
REDACTED STUDENT 9937                                      ADDRESS ON FILE
REDACTED STUDENT 9938                                      ADDRESS ON FILE
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REDACTED STUDENT 9940                                      ADDRESS ON FILE
REDACTED STUDENT 9941                                      ADDRESS ON FILE
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REDACTED STUDENT 9943                                      ADDRESS ON FILE
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REDACTED STUDENT 9951                                      ADDRESS ON FILE
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REDACTED STUDENT 9961                                      ADDRESS ON FILE
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REDACTED STUDENT 9982                                      ADDRESS ON FILE
REDACTED STUDENT 9983                                      ADDRESS ON FILE
REDACTED STUDENT 9984                                      ADDRESS ON FILE
REDACTED STUDENT 9985                                      ADDRESS ON FILE
REDACTED STUDENT 9986                                      ADDRESS ON FILE
REDACTED STUDENT 9987                                      ADDRESS ON FILE
REDACTED STUDENT 9988                                      ADDRESS ON FILE
REDFORD, J.A.C.                                            ADDRESS ON FILE
REED SMITH                                                 ADDRESS ON FILE
REED, LAURA                                                ADDRESS ON FILE
REEDER, BROOKE                                             ADDRESS ON FILE
REEDER, BROOKE D.                                          ADDRESS ON FILE
REEDER, ROSAE                                              ADDRESS ON FILE
REES, AMY                                                  ADDRESS ON FILE
REES, THOMAS                                               ADDRESS ON FILE
REES, THOMAS D.                                            ADDRESS ON FILE
REESE, PETER                                               ADDRESS ON FILE
REGINA FLATH                                               ADDRESS ON FILE
REGIONAL MUSIC SERVICE                                     PO BOX 59                                                                       MILLVILLE       NJ           08332-0059
REGROUP                        ATTN: MARIA FIGUEROA        709 NOE ST.                              709 NOE ST.                            SAN FRANCISCO   CA           94114
REGROUP                                                    709 NOE STREET                                                                  SAN FRANCISCO   CA           94114




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               Creditor Name                         Attention                       Address 1                        Address 2             Address 3              City        State      Zip       Country
REICHE, JARRETT                                                       ADDRESS ON FILE
REICHL, LORI SCHWARTZ                                                 ADDRESS ON FILE
REICHLIN, LARRY                                                       ADDRESS ON FILE
REID, DAWN                                                            ADDRESS ON FILE
REID, MICHAEL D.                                                      ADDRESS ON FILE
REIDENAUER, MARK                                                      ADDRESS ON FILE
REILLY, CHRISTINE                                                     ADDRESS ON FILE
REIN, RICHARD                                                         ADDRESS ON FILE
REIN, RICHARD                                                         ADDRESS ON FILE
REINA, MARCELA D.                                                     ADDRESS ON FILE
REINFURT, JONATHAN                                                    ADDRESS ON FILE
REINHARDT, JENNIFER                                                   ADDRESS ON FILE
REINKE, IRENE                                                         ADDRESS ON FILE
RELACHE, INC                                                          715 S. 3RD ST.                          STUDIO 208                                PHILA             PA           19147
RELX INC.                                                             DBA LEXISNEXIS                          PO BOX 9584                               NEW YORK          NY           10087-4584
RENDE, KATELYN                                                        ADDRESS ON FILE
RENEE CARR                                                            ADDRESS ON FILE
RENEE FERRY                                                           ADDRESS ON FILE
RENEE GATLIN                                                          ADDRESS ON FILE
RENEE MALONE                                                          ADDRESS ON FILE
RENEE PELED                                                           ADDRESS ON FILE
RENEE SHAWVER                                                         ADDRESS ON FILE
RENEE VARA                                                            ADDRESS ON FILE
RENEE VELORIC                                                         ADDRESS ON FILE
RESERO RETAIL TECHNOLOGIES LLC                                        38318 KINGSTON DRIVE                                                              N. RIDGEVILLE     OH           44039
RESO, LOIS                                                            ADDRESS ON FILE
RESTAURANT ASSOC                                                      5105 KENNETT PIKE                                                                 WINTERTHUR        DE           19735
REUNING, KEVIN                                                        ADDRESS ON FILE
REVOLUTION RECOVERY LLC                                               7333 MILNOR ST                                                                    PHILADELPHIA      PA           19136
REYER, STEPHANIE                                                      ADDRESS ON FILE
REYNOLDS, ELLEN                                                       ADDRESS ON FILE
REYNOLDS, ELLEN W.                                                    ADDRESS ON FILE
REYNOLDS, EMILY                                                       ADDRESS ON FILE
RHATIGAN, DANIEL                                                      ADDRESS ON FILE
RHIANNA GELLENTHIN-SMITH                                              ADDRESS ON FILE
RHOADES, MATTHEW                                                      ADDRESS ON FILE
RHOMBERG-REICH, SAVANNAH                                              ADDRESS ON FILE
RHONDA FIORESI                                                        ADDRESS ON FILE
RHONDA L. KENDLE                                                      ADDRESS ON FILE
RIALTO PICTURES LLC                                                   45 EAST 72ND ST.                        #16A                                      NEW YORK          NY           10021
RICCARDI, DOUGLAS                                                     ADDRESS ON FILE
RICCI, LYDIA                                                          ADDRESS ON FILE
RICE, JULIANNA                                                        ADDRESS ON FILE
RICE, JULIANNA E.                                                     ADDRESS ON FILE
RICH COURT                                                            ADDRESS ON FILE
RICH CUTLER SOUND MIX & DESIGN INC                                    2275 LINCOLN STREET                                                               BELLMORE          NY           11710
RICHARD C. MOYER, LLC                                                 3669 WYOLA DRIVE                                                                  NEWTOWN SQUARE    PA           19073
RICHARD CALDWELL                                                      ADDRESS ON FILE
RICHARD GLEJZER                                                       ADDRESS ON FILE
RICHARD L. FRANKEL                                                    ADDRESS ON FILE
RICHARD NORMAN                                                        ADDRESS ON FILE
                                                                      ATTN: MARC H. EDELSON, SHOSHANA
RICHARD REIN                         C/O EDELSON LECHTZIN LLP         MICHELLE SAVETT, ERIC LECHTZIN          411 S. STATE STREET    SUITE N-300        NEWTOWN           PA           18940
                                                                      ATTN: RYAN ALLEN HANCOCK, JORDAN        1845 WALNUT STREET,
RICHARD REIN                         C/O WILLIG WILLIAMS & DAVIDSON   KONELL                                  24TH FLOOR                                PHILADELPIA       PA           19103
                                                                      ATTN: RYAN ALLEN HANCOCK, JORDAN        1845 WALNUT STREET,
RICHARD REIN                         C/O WILLIG WILLIAMS & DAVIDSON   KONELL, SAMUEL H. DATLOF                24TH FLOOR                                PHILADELPIA       PA           19103
RICHARD WILLINGER                                                     ADDRESS ON FILE
RICHARD WOODWARD                                                      ADDRESS ON FILE
RICHARDSON, BRITTANIE M.                                              ADDRESS ON FILE
RICKY PALLADINO                                                       ADDRESS ON FILE
RICOH BUSINESS SYSTEMS                                                300 EAGLEVIEW BOULEVARD                                                           EXTON             PA           19341
RIDER UNIVERSITY                                                      2083 LAWRENCEVILLE RD                                                             LAWRENCEVILLE     NJ           08648
RIDER, PAUL                                                           ADDRESS ON FILE
RIDER, PAUL J.                                                        ADDRESS ON FILE
RIDGWAYS                                                              PO BOX 16883                                                                      PHILADELPHIA      PA           19142-0883
RIDLEY, CRYSTAL                                                       ADDRESS ON FILE
RIECHERS, ANGELA                                                      ADDRESS ON FILE




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RIGGSBEE, CAITLIN                                    ADDRESS ON FILE
RILEY DAUBER                                         ADDRESS ON FILE
RILEY, GREGORY                                       ADDRESS ON FILE
RINDISBACHER, ALEXANDER                              ADDRESS ON FILE
RINGLING COLLEGE                                     2700 N TAMIAMI TRAIL                                                             SARASOTA          FL           34234
RIVERA, ELIZABETH                                    ADDRESS ON FILE
RIVERA, LISSA                                        ADDRESS ON FILE
ROARING SPRING PAPER PRODUCTS                        740 SPANG ST.                             P. O. BOX 35                           ROARING SPRING    PA           16673-1924
ROARK, JO-DEAN                                       ADDRESS ON FILE
ROB FEINBERG                                         ADDRESS ON FILE
ROBBIE OMAHABOY                                      ADDRESS ON FILE
ROBBINS, OWEN                                        ADDRESS ON FILE
ROBERSON, SAMANTHA RISE                              ADDRESS ON FILE
ROBERT AHLERS                                        ADDRESS ON FILE

ROBERT AND BEATRICE HOMPE FOUNDATION                 PO BOX 439                                                                       MONTCHANIN        DE           19710-0439

ROBERT E. MUGGE MUG-SHOT PRODUCTIONS                 ADDRESS ON FILE
ROBERT FELTY                                         ADDRESS ON FILE
ROBERT HERSHBERGER                                   ADDRESS ON FILE
ROBERT NEWMAN                                        ADDRESS ON FILE
ROBERT WYMBS                                         ADDRESS ON FILE
ROBERTO ARAUJO                                       ADDRESS ON FILE
ROBERTS, JOSHUA                                      ADDRESS ON FILE
ROBERTS, NATALIE I                                   ADDRESS ON FILE
ROBERTSON, CHRISTOPHER                               ADDRESS ON FILE
ROBIN A. FUJITA                                      ADDRESS ON FILE
ROBIN APARTMENTS                                     2003 CHESTNUT ST                                                                 PHILADELPHIA      PA           19103
ROBIN LYBOLT-WAGNER                                  ADDRESS ON FILE
ROBIN MILES-MCLEAN                                   ADDRESS ON FILE
ROBIN, NATALIE                                       ADDRESS ON FILE
ROBIN, NATALIE REBECCA                               ADDRESS ON FILE
ROBINSON, ANDREW                                     ADDRESS ON FILE
ROBINSON, SUSAN                                      ADDRESS ON FILE
ROBINSON, TAYLOR                                     ADDRESS ON FILE
ROBYN NEEDELMAN                                      ADDRESS ON FILE
ROCHELLE ROCCHI                                      ADDRESS ON FILE
ROCHESTER INSTITUTE OF TECHNOLOGY                    ONE LOMB MEMORIAL DRIVE                                                          ROCHESTER         NY           14623
ROCIO CABELLO                                        ADDRESS ON FILE
ROCKFORD, JORDAN                                     ADDRESS ON FILE
ROCKOFF, CYLE L.                                     ADDRESS ON FILE
RODRIGUEZ, LUZ                                       ADDRESS ON FILE
RODRIGUEZ, WILFREDO III                              ADDRESS ON FILE
ROGER HULL                                           ADDRESS ON FILE
ROGERS, LAEL                                         ADDRESS ON FILE

ROHM & HAAS CO                                       100 INDEPENDENCE MALL WEST, STE 1A                                               PHILADELPHIA      PA           19106-2320
ROLANDO HERNANDEZ                                    ADDRESS ON FILE
ROLLS-ROYCE OWNERS CLUB - KEYSTONE                   4027 TINKER HILL RD                                                              PHOENIXVILLE      PA           19460-2840
ROLON, CHASITY                                       ADDRESS ON FILE
ROMAY, MELANIE                                       ADDRESS ON FILE
ROMBERGER, KAYLA                                     ADDRESS ON FILE
ROMERO, FRANCHESCA                                   ADDRESS ON FILE
ROMETT, ROSEMARY                                     ADDRESS ON FILE
RON WOODMAN                                          ADDRESS ON FILE
RONDA BROWN                                          ADDRESS ON FILE
RONIQUE ROBINSON                                     ADDRESS ON FILE

RONNA & STANLEY FOSTER CHARITABLE FUND               ADDRESS ON FILE
ROONEY, WILLIAM                                      ADDRESS ON FILE
ROOSEVELT PAPER CO                                   1 ROOSEVELT DR                                                                   MOUNT LAUREL      NJ           08054-6307
ROPER, ALICIA                                        ADDRESS ON FILE
ROSANE MUNIZ ROCHA                                   ADDRESS ON FILE
ROSE, JENNIFER                                       ADDRESS ON FILE
ROSE, ROBERT S.                                      ADDRESS ON FILE
ROSEMONT COLLEGE                                     1400 MONTGOMERY AVE                                                              BRYN MAWR         PA           19010-1631
ROSENBACH MUSEUM & LIBRARY                           2008-2010 DELANCEY PLACE                                                         PHILADELPHIA      PA           19103
ROSENBERG, ADINA J.                                  ADDRESS ON FILE




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ROSENTHAL, MASON                                 ADDRESS ON FILE
ROSS, SHARON                                     ADDRESS ON FILE
ROTHFIELD, PHILIPA M.                            ADDRESS ON FILE
ROTHMAN-ZECHER, MORIEL                           ADDRESS ON FILE
ROTHMAN-ZECHER, MORIEL Z.                        ADDRESS ON FILE
ROTINDO, NICHOLAS A.                             ADDRESS ON FILE
ROTONDO, JOHN                                    ADDRESS ON FILE
ROTTMAN, BRIGITTE N.                             ADDRESS ON FILE
ROULHAC, GABRIELLE L.                            ADDRESS ON FILE
ROUSE, MIKEL                                     ADDRESS ON FILE
ROWAN UNIVERSITY                                 201 MULLICA HILL RD                                                              GLASSBORO       NJ           08028
ROWELL, K CYNTHIA                                ADDRESS ON FILE
ROWLAND, HOBART                                  ADDRESS ON FILE
ROY FARFEL                                       ADDRESS ON FILE
ROYAL BANK AMERICA                               732 MONTGOMERY AVE                                                               NARBERTH        PA           19072-2012
ROYAL FITNESS                                    50 E GLOUCESTER PIKE                                                             BARRINGTON      NJ           08007-1323
RPA ADVISORS, LLC                                311 S. WACKER DRIVE,                      SUITE 510                              CHICAGO         IL           60606
RUDOLF, COLLEEN                                  ADDRESS ON FILE
RUDY CALLEGARI                                   ADDRESS ON FILE
RUTGERS UNIVERSITY - CAMDEN                      303 COOPER STREET                                                                CAMDEN          NJ           08102
RUTGERS UNIVERSITY - NEW BRUNSWICK               33 LIVINGSTON AVENUE                                                             NEW BRUNSWICK   NJ           08901
RUTH SACHS                                       ADDRESS ON FILE
RUTHANN PYLE                                     ADDRESS ON FILE
RYAN FRIEL                                       ADDRESS ON FILE
RYAN J. HAMMER                                   ADDRESS ON FILE
RYAN P. CALABRO                                  ADDRESS ON FILE
RYNKEWICZ, SEAN                                  ADDRESS ON FILE
SAADIA LAWTON                                    ADDRESS ON FILE
SABRA, JODI                                      ADDRESS ON FILE
SABRINA WETZEL                                   ADDRESS ON FILE
SACHS, SIDNEY                                    ADDRESS ON FILE
SACK, REBECCA                                    ADDRESS ON FILE
SACK, REBECCA                                    ADDRESS ON FILE
SADUESTE, JEFF                                   ADDRESS ON FILE
SAINT JOSEPHS UNIVERSITY                         5600 CITY AVE                                                                    PHILADELPHIA    PA           19131
SAINT JOSEPHS UNIVERSITY                         STE 160 DREXEL LIBRARY                    5600 CITY AVENUE                       PHILADELPHIA    PA           19131-1935
SALERNO, MELISSA                                 ADDRESS ON FILE
SALERNO, MELISSA A.                              ADDRESS ON FILE
SALICANDRO, ANTHONY                              ADDRESS ON FILE
SALLY MAZUR                                      ADDRESS ON FILE
SALLY MESSIER                                    ADDRESS ON FILE
SALTERS, SHARESE                                 ADDRESS ON FILE
SALTZER, CONNER                                  ADDRESS ON FILE
SALVAGGIO, AMIEE                                 ADDRESS ON FILE
SAM ASH MUSIC                                    PO BOX 9047                                                                      HICKSVILLE      NY           11802-9047
SAM ASHUROV                                      ADDRESS ON FILE
SAM DANTONIO                                     ADDRESS ON FILE
SAMANTHA HEUWAGEN                                ADDRESS ON FILE
SAMARSKAYA, KSENYA                               ADDRESS ON FILE
SAMPSON, KATHRYN                                 ADDRESS ON FILE
SAMPSON, MICHELLE                                ADDRESS ON FILE
SAMSON, CATHERINE WILLETT                        ADDRESS ON FILE
SAMUEL ADLER                                     ADDRESS ON FILE
SAMUEL P. MANDELL FOUNDATION                     ADDRESS ON FILE
SAMUEL S. FELS FUND                              ADDRESS ON FILE
SAMUEL TABAS FAMILY FOUNDATION                   ADDRESS ON FILE
SANCHEZ, RACHEL L.                               ADDRESS ON FILE
SANDE WEBSTER GALLERY                            2018 LOCUST ST                                                                   PHILADELPHIA    PA           19103-5614
SANDERS, LAKIESHA                                ADDRESS ON FILE
SANDERS, MALIK I.                                ADDRESS ON FILE
SANDERS-SCHMIDT, RHEIN L.                        ADDRESS ON FILE
SANDOVAL, ADRIAN                                 ADDRESS ON FILE
SANDOVAL, ISABEL FERNANDEZ                       ADDRESS ON FILE
SANDRA I. CORSINO                                6272 CEIBA                                                                                                    00735
SANDRA SCONFIENZA                                ADDRESS ON FILE
SANDY SORLIEN                                    ADDRESS ON FILE
SANFORD, SARAH                                   ADDRESS ON FILE
SANFORD, SARAH L.                                ADDRESS ON FILE




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                Creditor Name                           Attention                       Address 1                            Address 2             Address 3              City        State      Zip       Country
SANNEH, RACHEL                                                          ADDRESS ON FILE
SANNINO, CHRIS                                                          ADDRESS ON FILE
SANSONE, KIRA                                                           ADDRESS ON FILE
SANTA REPARATA INTL SCHOOL OF                                           921 S. ST. MARYS ST.                                                                   SAN ANTONIO       TX           78205-3452
SANTILLI, ALEXANDER                                                     ADDRESS ON FILE
SANTORO, JONATHAN                                                       ADDRESS ON FILE
SANYAL, TRINA                                                           ADDRESS ON FILE
SAPPHIRE FUND                           C/O WILLIAM WAY CENTER          1315 SPRUCE ST                                                                         PHILADELPHIA      PA           19107-5601
SARA STIERITZ                                                           ADDRESS ON FILE
SARAH ACCHIONE                                                          ADDRESS ON FILE
SARAH LAWRENCE COLLEGE                  STUDENT ACCOUNTS                PO BOX 8000                                DEPARTMENT 120                              BUFFALO           NY           14267
SARAH MILLER                                                            ADDRESS ON FILE
SARAPIK, LIINA MELANIE                                                  ADDRESS ON FILE
SARFO, JIM                                                              ADDRESS ON FILE
SARIOGLU, ADEM                                                          ADDRESS ON FILE
SARIOGLU, ADEM K.                                                       ADDRESS ON FILE
SASHA TSYRLIN                                                           ADDRESS ON FILE
SASSAFRAS SOFTWARE, INC                                                 PO BOX 150                                                                             HANOVER           NH           03755
SAVANNAH COLLEGE OF ART AND DESIGN                                      516 DRAYTON ST                                                                         SAVANNAH          GA           31401
SAVANNAH COLLEGE OF ART AND DESIGN                                      PO BOX 3146                                                                            SAVANNAH          GA           31402-3146
SAVICH, ZACHARY                                                         ADDRESS ON FILE
SAVOCA, NANCY                                                           ADDRESS ON FILE
SAVON, THOMAS M.                                                        ADDRESS ON FILE
SAXBYS                                                                  2005 MARKET ST                             STE 810                                     PHILADELPHIA      PA           19103
SB SOUDER DESIGNS LLC                                                   1025 8TH AVE N                                                                         NAPLES            FL           34102-8116
SCANNX INC                                                              838 GRAY FOX CIRCLE                                                                    PLEASANTON        CA           94566
SCARFO, JACQUELINE JACOBSON                                             ADDRESS ON FILE
SCARLET STREETS PRODUCTIONS                                             105 SOUTH 18TH ST.                         APT 4C                                      PHILADELPHIA      PA           19103
SCENARIO LEARNING, LLC                                                  PO BOX 736512                                                                          DALLAS            TX           75373-6512
SCHAECHTER, JUDITH                                                      ADDRESS ON FILE
SCHAEFER, CHRISTINE                                                     ADDRESS ON FILE
SCHAEFER, CHRISTINE M.                                                  ADDRESS ON FILE
SCHECHTMAN, HOWARD                                                      ADDRESS ON FILE
SCHEINER, JACKIE M.                                                     ADDRESS ON FILE
SCHEINER, JACLYN                                                        ADDRESS ON FILE
SCHELL, ALLISON                                                         ADDRESS ON FILE
SCHERMERHORN, GRETCHEN                                                  ADDRESS ON FILE
SCHMIDT, BRIAN                                                          ADDRESS ON FILE

SCHNADER HARRISON GOLDSTEIN & MANELLO                                   1600 MARKET ST STE 3600                                                                PHILADELPHIA      PA           19103-7212
SCHNADER HARRISON SEGAL & LEWIS LLP                                     1600 MARKET ST STE 3600                                                                PHILADELPHIA      PA           19103-7212
SCHNAIDT, MICHAEL                                                       ADDRESS ON FILE
SCHNEIDER, REBECCA                                                      ADDRESS ON FILE
SCHOOL OF VISUAL ARTS                                                   209 EAST 23RD STREET                                                                   NEW YORK          NY           10010
SCHROEPPEL, AMY                                                         ADDRESS ON FILE
SCHUETTE, PAUL                                                          ADDRESS ON FILE
SCHUETTE, PAUL W.                                                       ADDRESS ON FILE
SCHULMAN, JOSHUA L.                                                     ADDRESS ON FILE
SCHULTZ & WILLIAMS, INC.                                                ONE PENN CENTER @ SUB STATION              1617 JFK BLVD.           STE 1700           PHILADELPHIA      PA           19103
SCHULTZ, JUDITH                                                         ADDRESS ON FILE
SCHULTZ, TODD                                                           ADDRESS ON FILE
SCHUTTS ET AL V. THE UNIVERSITY OF THE                                  ATTN: MARC H. EDELSON, SHOSHANA
ARTS                                   C/O EDELSON LECHTZIN LLP         MICHELLE SAVETT, ERIC LECHTZIN             411 S. STATE STREET      SUITE N-300        NEWTOWN           PA           18940
SCHUTTS ET AL V. THE UNIVERSITY OF THE                                  ATTN: RYAN ALLEN HANCOCK, JORDAN           1845 WALNUT STREET,
ARTS                                   C/O WILLIG WILLIAMS & DAVIDSON   KONELL                                     24TH FLOOR                                  PHILADELPIA       PA           19103
SCHUTTS, BRAD                                                           ADDRESS ON FILE
SCHUTTS, BRAD M.                                                        ADDRESS ON FILE
SCHWAB CHARITABLE FUND                                                  211 MAIN STREET                                                                        SAN FRANCISCO     CA           94106
SCHWARTZ, DAVID                                                         ADDRESS ON FILE
SCHWARTZ, DAVID A.                                                      ADDRESS ON FILE
SCHWARTZ, JAY R.                                                        ADDRESS ON FILE
SCONIERS, NATAJIA F.                                                    ADDRESS ON FILE
SCOTT COOPER                                                            ADDRESS ON FILE
SCOTT NAPOLITANO                                                        ADDRESS ON FILE
SCOTT PATROHAY                                                          ADDRESS ON FILE
SCOTT, MARC A.                                                          ADDRESS ON FILE
SCOTT, MICHAEL                                                          ADDRESS ON FILE
SCOTT, SUZANNE                                                          ADDRESS ON FILE




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               Creditor Name    Attention                   Address 1                         Address 2          Address 3           City            State       Zip      Country
SDC - LEAGUE HEALTH FUND                    140 SYLVAN AVE.                         STE 303                                  ENGLEWOOD CLIFFS   NJ           07632
SDC - LEAGUE PENSION FUND                   140 SYLVAN AVE.                         STE 303                                  ENGLEWOOD CLIFFS   NJ           07632
SEALE, SLOAN                                ADDRESS ON FILE
SEAN BELL                                   ADDRESS ON FILE
SEAN LEDBETTER                              ADDRESS ON FILE
SEAN LEE                                    ADDRESS ON FILE
SEAN M. ARNOLD                              ADDRESS ON FILE
SEARS, CLAYTON                              ADDRESS ON FILE
SEARS-RIVERA, SHANNON                       ADDRESS ON FILE
SEBRINA LAMBERT                             ADDRESS ON FILE
SECURED METHOD INVESTING, INC               314 CONESTOGA WAY                                                                PHILADELPHIA       PA           19139-2019
SEEHERMAN, ELISA                            ADDRESS ON FILE
SEEHERMAN, ELISA M.                         ADDRESS ON FILE
SEEHERMAN, ELISA M.                         ADDRESS ON FILE
SEETHALER, KATHRYN                          ADDRESS ON FILE
SEI INVESTMENTS CO                          1 FREEDOM VALLEY DRPO BOX 1100                                                   OAKS               PA           19456-1100
SEI PRIVATE TRUST CO                        100 CIDER MILL RD                                                                COLLEGEVILLE       PA           19146
SEILER, JONATHAN E.                         ADDRESS ON FILE
SELECT TRAVEL SERVICE, INC                  WEST 115 CENTRY RD                      STE 330                                  PARAMUS            NJ           07652
SELEMANI, CHISOMO                           ADDRESS ON FILE
SELIGSOHN SOENS HESS                        ADDRESS ON FILE
SELIN, HANNAH                               ADDRESS ON FILE
SELINA CELEBRE                              ADDRESS ON FILE
SELLERS, MEREDITH                           ADDRESS ON FILE
SELLEY, CYNTHIA                             ADDRESS ON FILE
SEMANSKI, JAMES                             ADDRESS ON FILE
SEN, PRIYANJALI                             ADDRESS ON FILE
SEPTA                                       1234 MARKET ST                          9TH FL                                   PHILADELPHIA       PA           19107
SERGEEV, MIKHAIL                            ADDRESS ON FILE
SERGEEV, MIKHAIL                            ADDRESS ON FILE
SERIESFEST, INC                             1550 WEWATTA STREET                     STE 820                                  DENVER             CO           80202
SETRAKIAN, EDWARD                           ADDRESS ON FILE
SEVE, KAREN DE                              ADDRESS ON FILE
SEVEN02DESIGN LLC                           15345 VIA LOS TULARES                                                            CARMEL VALLEY      CA           93924
SEVENTY-SEVEN                               PO BOX 678                                                                       SHARON             CT           06069
SHACOCHIS, KRISTOPHER                       ADDRESS ON FILE
SHADLE, NICHOLAS J.                         ADDRESS ON FILE
SHADOW DANCE MEDIA, LLC                     1500 CHESTNUT STREET                    STE 2 #3117                              PHILADELPHIA       PA           19102
SHAHANARA RAHMAN                            ADDRESS ON FILE
SHAILESH LULLA                              ADDRESS ON FILE
SHAMAIENGAR, PIERSON                        ADDRESS ON FILE
SHANDOR, JESSICA                            ADDRESS ON FILE
SHANI FERGUSON                              ADDRESS ON FILE
SHANNON BERNING                             ADDRESS ON FILE
SHANNON ISAACS                              ADDRESS ON FILE
SHANNON WIXTED                              ADDRESS ON FILE
SHANNON, UMA                                ADDRESS ON FILE
SHANNON, UMA S.                             ADDRESS ON FILE
SHARON FRIEDBERG                            ADDRESS ON FILE
SHARON MULLALLY                             ADDRESS ON FILE
SHARON STEWART                              ADDRESS ON FILE
SHAUNTE POLK                                ADDRESS ON FILE
SHAWNA LEMELMAN                             ADDRESS ON FILE
SHAYLA-VIE JENKINS                          ADDRESS ON FILE
SHEBLY DONNELLY                             ADDRESS ON FILE
SHEETAL KHANNA-RAVICH                       ADDRESS ON FILE
SHEILA MARINO-THOMAS                        ADDRESS ON FILE
SHEILAGH MYLOTT                             ADDRESS ON FILE
SHELL, LILY                                 ADDRESS ON FILE
SHELLEH SMITH                               ADDRESS ON FILE
SHEPPARD, SCOTT R.                          ADDRESS ON FILE
SHEREE JACKSON                              ADDRESS ON FILE
SHERI HELLER                                ADDRESS ON FILE
SHERMAN, RACHEL                             ADDRESS ON FILE
SHERRI ELLIS                                ADDRESS ON FILE
SHERRI HUNT                                 ADDRESS ON FILE
SHERRIE BITTERMAN                           ADDRESS ON FILE
SHERRY DYE                                  ADDRESS ON FILE




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                Creditor Name      Attention                  Address 1                         Address 2          Address 3              City        State      Zip          Country
SHERRY WARNER                                  ADDRESS ON FILE
SHERY PRINCIPE                                 ADDRESS ON FILE
SHERYL BRAUN                                   ADDRESS ON FILE
SHERYL ORING                                   ADDRESS ON FILE
SHETTY, PRIYANKA                               ADDRESS ON FILE
SHIAU, CONNIE                                  ADDRESS ON FILE
SHIELDS, SOPHIE                                ADDRESS ON FILE
SHIN, SEUNGBUM                                 ADDRESS ON FILE
SHIRLEY M. ATCHISON                            ADDRESS ON FILE
SHOOTING STARS NEW YEARS BRIGADE               1934 S 2ND ST                                                                   PHILADELPHIA      PA           19148-2602
SHOSHANAH ZARITT                               ADDRESS ON FILE
SHOWALTER, KRISTIN                             ADDRESS ON FILE
SHOWALTER, KRISTIN L.                          ADDRESS ON FILE
SHOWORKS AUDIO - VISUAL, INC                   730 PHILADELPHIA PIKE                                                           WILMINGTON        DE           19809
SHURTECH BRANDS                                ADDRESS ON FILE
SICINSKA, MARTA                                ADDRESS ON FILE
SIDDIQUIE, ESTHER                              ADDRESS ON FILE
SIDLOW, STEPHANIE                              ADDRESS ON FILE
SIDLOW, STEPHANIE P.                           ADDRESS ON FILE
SIDNEY R. ROSENAU FOUNDATION                   ADDRESS ON FILE
SIEMASKO, CHRISTOPHER                          ADDRESS ON FILE
SIGAL, MR. ALEX                                ADDRESS ON FILE
SIGNATURE THEATRE CO                           480 WEST 42ND STREET                                                            NEW YORK          NY           10036
SIMMONS, AARON                                 ADDRESS ON FILE
SIMMONS, TRACY                                 ADDRESS ON FILE
SIMON & SCHUSTER INC                           PO BOX 70660                                                                    CHICAGO           IL           60673-0660
SIMON-KENNEDY, ANI                             ADDRESS ON FILE
SIMONS, KELLI                                  ADDRESS ON FILE
SIMONS, MARISHA                                ADDRESS ON FILE
SINGER MD LLC                                  1324 BRASS MILL RD.                                                             BELCAMP           MD           21017
SINUTOKE, TIDTAYA                              ADDRESS ON FILE
SIX STAIR INC                                  517 NORTH FAIRFAX AVENUE                                                        LOS ANGELES       CA           90036
SKEIKER, FADI                                  ADDRESS ON FILE
SKILLSURVEY, INC                               PO BOX 737313                                                                   DALLAS            TX           75373-7313
SKOOG, SUSAN                                   ADDRESS ON FILE
SKOOG, SUSAN R.                                ADDRESS ON FILE
SLATE BELT HERITAGE CENTER                     30 NORTH FIRST STREET                                                           BANGER            PA           18013
SLOAN SEALE                                    ADDRESS ON FILE
SLUTSKY, VALENTINA                             ADDRESS ON FILE
SMACZYLO, MICHAEL                              ADDRESS ON FILE
SMART, JOSEPH                                  ADDRESS ON FILE
SMITH & DICTION LLC                            1901 SOUTH 9TH STREET                   SPACE 510                               PHILADELPHIA      PA           19148
SMITH, ASHLEY                                  ADDRESS ON FILE
SMITH, CHRISTOPHER E. JR.                      ADDRESS ON FILE
SMITH, CODY                                    ADDRESS ON FILE
SMITH, CORNELIA                                ADDRESS ON FILE
SMITH, DARRYL                                  ADDRESS ON FILE
SMITH, GERARD X.                               ADDRESS ON FILE
SMITH, JESSE                                   ADDRESS ON FILE
SMITH, JONATHAN L.                             ADDRESS ON FILE
SMITH, KRISTA                                  ADDRESS ON FILE
SMITH, KRISTA E.                               ADDRESS ON FILE
SMITH, LEE W.                                  ADDRESS ON FILE
SMITH, MARK T.                                 ADDRESS ON FILE
SMITH, RANDAL                                  ADDRESS ON FILE
SMITH, RHONDA                                  ADDRESS ON FILE
SNACKTIME PHILLY, LLC                          2331 SOUTH CARLISLE STREET                                                      PHILADELPHIA      PA           19145
SNAVELY, MIRANDA                               ADDRESS ON FILE
SNAVELY, MIRANDA E.                            ADDRESS ON FILE
SNIPES, KEVIN                                  ADDRESS ON FILE
SNODGRASS, NICOLE                              ADDRESS ON FILE
SNOWHYDRA , LLC                                53 BRIDGE STREET                        #301                                    BROOKLYN          NY           11201
SNYDER, JENNIFER                               ADDRESS ON FILE
SOBOL, MARK                                    ADDRESS ON FILE
SOCK CLUB ENTERPRISES, LLC                     2200 TILLERY ST.                        UNIT B                                  AUSTIN            TX           78723
SOCKHOLM GALERIE NORDHAKE AB                   HUDIKSVALLSGATAN 8                                                              STOCKHOLM                                   SWEDEN
SODERLUND, KERSTIN M.                          ADDRESS ON FILE
SOFI LENDING                                   P.O.BOX 654158                                                                  DALLAS            TX           75265-4150




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                Creditor Name                        Attention                       Address 1                          Address 2             Address 3              City        State       Zip      Country
SOFTDOCS SC, LLC                                                      PO BOX 121999                                                                       DALLAS            TX           75312-1999
SOFTDOCS SC, LLC                                                      PO BOX 121999                                                                       DALLAS            TX           75312-1999
SOLEIL, BARAK A.                                                      ADDRESS ON FILE
SOLOT, ALYSON                                                         ADDRESS ON FILE
SOMMERFELDT, JEROD P.                                                 ADDRESS ON FILE
SON OF BARETZ PICTURES, INC                                           46 CHRISTOPHER ST.                                                                  MONTCLAIR         NJ           07042
SONDRA BAIRD MABRY                                                    ADDRESS ON FILE
SONG HEO                                                              ADDRESS ON FILE
SONSINO, MICHELLE                                                     ADDRESS ON FILE
SOOKNANAN, SHIVANNA                                                   ADDRESS ON FILE
SOTHEBYS NORTH AMERICA                                                1334 YORK AVE                                                                       NEW YORK          NY           10021-4806
SOULEYE FALL                                                          ADDRESS ON FILE
SOULO GROUP, LLC                                                      281 LINDEN ST.                                                                      MOORESTOWN        NJ           08057
SOURCE4                                                               3473 BRANDON AVE                          SW                                        ROANOKE           VA           24018
SOUTHWORTH, GILLIAN                                                   ADDRESS ON FILE
SOUZA, SAVANNAH H.                                                    ADDRESS ON FILE
SOVEREIGN BANK                                                        1130 BERKSHIRE BLVD                                                                 WYOMISSING        PA           19610
SPARAGANA, LINDSAY                                                    ADDRESS ON FILE
SPARAGANA, LINDSAY M.                                                 ADDRESS ON FILE
SPAULDING, MARC                                                       ADDRESS ON FILE
SPECTOR, FRANKLIN M.                                                  ADDRESS ON FILE
SPECTOR, ROCHELLE                                                     ADDRESS ON FILE
SPENCER, LORI                                                         ADDRESS ON FILE
SPENCER, SUZANNE L.                                                   ADDRESS ON FILE
SPICER INC                                                            11 TENBY RD                                                                         HAVERTOWN         PA           19083-5312
SPIEGEL, REBECCA                                                      ADDRESS ON FILE
SPIKER, WILLIAM                                                       ADDRESS ON FILE
SPIKES TROPHIES LIMITED                                               2701 GRANT AVENUE                                                                   PHILADELPHIA      PA           19114
SPIRAL Q LLC                                                          1315 WALNUT STREET                                                                  PHILADELPHIA      PA           19107
SPRING POINT PARTNERS LLC MATCHING
GIFTS PROGRAM                                                         2929 WALNUT ST STE 1150                                                             PHILADELPHIA      PA           19104-5910
SPRINGER, DAWN                                                        ADDRESS ON FILE
SPRINGSHARE LLC                                                       801 BRICKELL AVE.                         FL 8                                      MIAMI             FL           33131-2951
SPYTRONICS                                                            PO BOX 299                                                                          POCONO LAKE       PA           18347-0070
SQUADRITO, JAMES                                                      ADDRESS ON FILE
ST. IVES BURRUPS                                                      ADDRESS ON FILE
STACEY ASHER                                                          ADDRESS ON FILE
STACEY EAGER                                                          ADDRESS ON FILE
STACEY PEDERSEN                                                       ADDRESS ON FILE
STACEY WALKER                                                         ADDRESS ON FILE
STACY STACKHOUSE                                                      ADDRESS ON FILE
STAMPER, JOSHUA                                                       ADDRESS ON FILE
STANDRIDGE, RANDALL                                                   ADDRESS ON FILE
STANLEY TOOLS                                                         600 MYRTLE ST                                                                       NEW BRITAIN       CT           06053-3976
STAPLES, KAITLIN                                                      ADDRESS ON FILE
STARR TRANSIT CO, INC                                                 2531 EAST STATE STREET                                                              TRENTON           NJ           08619
STARS STUDIO                                                          7535 ARUNDEL WOODS DR                                                               JESSUP            MD           20794-3257
STATE UNIVERSITY OF NEW YORK                                          353 BROADWAY                                                                        ALBANY            NY           12246
STAUFFER, ANNE                                                        ADDRESS ON FILE
STAVEN, KARL                                                          ADDRESS ON FILE
STAVEN, KARL                                                          ADDRESS ON FILE
STEELE, CARL L.                                                       ADDRESS ON FILE
STEELE, LUCAS D.                                                      ADDRESS ON FILE
STEFAN, CHRISTINA H.                                                  ADDRESS ON FILE
STEFANIE ELFSTROM                                                     ADDRESS ON FILE
STEFANIE LAU                                                          ADDRESS ON FILE
STEFANIE LI                                                           ADDRESS ON FILE
STELLA B                                                              ADDRESS ON FILE
STEPANIC, COLLEEN M.                                                  ADDRESS ON FILE
STEPHANIE BAGLEY                                                      ADDRESS ON FILE
STEPHANIE BERGER PHOTOGRAPHY                                          ADDRESS ON FILE
                                                                      ATTN: MARC H. EDELSON, SHOSHANA
STEPHANIE CAWLEY                     C/O EDELSON LECHTZIN LLP         MICHELLE SAVETT, ERIC LECHTZIN            411 S. STATE STREET    SUITE N-300        NEWTOWN           PA           18940
                                                                      ATTN: RYAN ALLEN HANCOCK, JORDAN          1845 WALNUT STREET,
STEPHANIE CAWLEY                     C/O WILLIG WILLIAMS & DAVIDSON   KONELL                                    24TH FLOOR                                PHILADELPIA       PA           19103
                                                                      ATTN: RYAN ALLEN HANCOCK, JORDAN          1845 WALNUT STREET,
STEPHANIE CAWLEY                     C/O WILLIG WILLIAMS & DAVIDSON   KONELL, SAMUEL H. DATLOF                  24TH FLOOR                                PHILADELPIA       PA           19103
STEPHANIE CAWLEY                                                      ADDRESS ON FILE




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               Creditor Name         Attention                  Address 1                         Address 2          Address 3              City          State      Zip       Country
STEPHANIE MCCORMICK                              ADDRESS ON FILE
STEPHANIE REYER                                  ADDRESS ON FILE
STEPHEN CIRINO                                   ADDRESS ON FILE
STEPHEN JONES                                    ADDRESS ON FILE
STEPHEN LINDER                                   ADDRESS ON FILE
STEPHEN OCONNOR                                  ADDRESS ON FILE
STEPHEN OHARA                                    ADDRESS ON FILE
STEPHEN VARENHORST ARCHITECTS, PC                230 N 21ST ST UNIT B2                                                           PHILADELPHIA        PA           19103-1144
STEPHENS, COURTNEY                               ADDRESS ON FILE
STERNER-PORRECA, ANNE                            ADDRESS ON FILE
STEVE BLEYER                                     ADDRESS ON FILE
STEVE ERICKSON                                   ADDRESS ON FILE
STEVE J. SUL                                     ADDRESS ON FILE
STEVE KAUFMAN                                    ADDRESS ON FILE
STEVE WEISS MUSIC, INC                           2324 WYANDOTTE RD                                                               WILLOW GROVE        PA           19090
STEVEN BRUBAKER                                  ADDRESS ON FILE
STEVENS, STRADLEY RONON                          ADDRESS ON FILE
STEWART BUSINESS SYSTEMS, LLC                    PO BOX 936763                                                                   ATLANTA             GA           31193-6763
STEWART GREEN                                    ADDRESS ON FILE
STEWART, CHRISTINA A.                            ADDRESS ON FILE
STEWART, LEON                                    ADDRESS ON FILE
STONEWALL COMMUNITY FOUNDATION                   231 W 29TH ST RM 205                                                            NEW YORK            NY           10001-5555
STONEY, SENFUAB                                  ADDRESS ON FILE
STORBECK SEARCH LLC                              1400 NORTH PROVIDENCE RD               STE. 3500                                MEDIA               PA           19063
STORY, BOMANI                                    ADDRESS ON FILE
STOUTS TRANSPORTATION SVCS                       20 IRVEN STREET                                                                 TRENTON             NJ           08638
STRADLEY RONON STEVENS & YOUNG LLP               2005 MARKET STREET                     SUITE 2600                               PHILADELPHIA        PA           19103-7018
STRATEGIC, JACOBSON                              ADDRESS ON FILE
STRATIX SYSTEMS INC                              1011 NORTH PARK RD.                                                             WYOMISSING          PA           19610-1339
STRATTON MANAGEMENT CO                           610 W GERMANTOWN PIKE STE 300                                                   PLYMOUTH MEETING    PA           19462-1050
STRATUS COMM                                     17 WILMONT MEWS STE 302                                                         WEST CHESTER        PA           19382-1017
STRAUSS ENGINEERING CO.                          80 TRACEY RD                                                                    HUNTINGDON VALLEY   PA           19006-4222
STRAYHORN, TERRELL L.                            ADDRESS ON FILE
STREB, JENNIFER                                  ADDRESS ON FILE
STRONG, JAMES W.                                 ADDRESS ON FILE
STRONG, MELISSA                                  ADDRESS ON FILE
STRONG, MELISSA C.                               ADDRESS ON FILE
STRONGBOX WEALTH FOUNDATION                      3470 NE RALPH POWELL ROAD              SUITE A                                  SUMMIT              MO           64064
STROUSE, JAMES                                   ADDRESS ON FILE
STUART MILLER                                    ADDRESS ON FILE
STUDENT DATA WAREHOUSE, INC                      PO BOX 4238                                                                     HOUSESHOE BAY       TX           78657
STUDIO, DEIRDRE MURPHY                           ADDRESS ON FILE
STUHMER, MARCELINO                               ADDRESS ON FILE
STUMP, ANDREW D.                                 ADDRESS ON FILE
SU, ELLEN                                        ADDRESS ON FILE
SUBARU OF AMERICA, INC                           PO BOX 6000                                                                     CHERRY HILL         NJ           08034-6000
SUBRAMANIAN, AMRITA V.                           ADDRESS ON FILE
SUBRIN, ELISABETH A.                             ADDRESS ON FILE
SUCHET, MYRIAM                                   ADDRESS ON FILE
SUDLER ENTERTAINMENT                             13 LONGFORD ST                                                                  PHILADELPHIA        PA           19136-2028
SUE ODONNELL                                     ADDRESS ON FILE
SUE SLEEMAN                                      ADDRESS ON FILE
SUE WOODMAN                                      ADDRESS ON FILE
SULLIVAN, DENNIS K. II                           ADDRESS ON FILE
                                                 194, CHANGDONG-RO,GEOCHANG-EUP,
SUNGRIM PARK                                     GEOCHANG-GUN                                                                    GYEONGSANGNAM-DO                 50135      SOUTH KOREA
SUNY BUFFALO STATE                               1300 ELMWOOD AVENUE                    MOOT HALL 110                            BUFFALO             NY           14222
SUNY CANTON                                      WICKS HALL 021                         34 CORNELL DRIVE                         CANTON              NY           13617
SUNY FREDONIA                                    280 CENTRAL AVENUE                                                              FREDONIA            NY           14063
SUPER EXTRA GOOD, LLC                            125 LEFFERTS PLACE                     #4                                       BROOKLYN            NY           11238
SURDNA FOUNDATION                                330 MADISON AVE FL 30                                                           NEW YORK            NY           10017-5016
SUSAN BIRNBAUM                                   ADDRESS ON FILE
SUSAN BUCKLEY                                    ADDRESS ON FILE
SUSAN HAIDAR                                     ADDRESS ON FILE
SUSAN K. APPLE                                   ADDRESS ON FILE
SUSAN MAXMAN                                     ADDRESS ON FILE
SUSAN MCGHEE                                     ADDRESS ON FILE
SUSAN ROSENBERG                                  ADDRESS ON FILE




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               Creditor Name                             Attention                        Address 1                           Address 2                Address 3              City        State      Zip       Country
SUSAN SCHWARTZ                                                             ADDRESS ON FILE
SUSAN SIMON                                                                ADDRESS ON FILE
SUSAN SKOOG                                                                ADDRESS ON FILE
SUSAN TWEDDALE                                                             ADDRESS ON FILE
SUSANN UNDI                                                                ADDRESS ON FILE
SUSN PARENT                                                                ADDRESS ON FILE
SUZANA PETANCESKA                                                          ADDRESS ON FILE
SUZANNE COYLE                                                              ADDRESS ON FILE
SVALBONAS, KRISTA                                                          ADDRESS ON FILE
SWANA, JOHN                                                                ADDRESS ON FILE
SWANA, JOHN                                                                ADDRESS ON FILE
SWANK MOTION PICTURES, INC                                                 2844 PAYSPHERE CIRCLE                                                                   CHICAGO           IL           60674
SWEENEY, ERIN E.                                                           ADDRESS ON FILE
SWEETWATER SOUND HOLDINGS                                                  5501 U.S. HIGHWAY 30 WEST                                                               FORT WAYNE        IN           46818
SWEETWATER SOUND INC                                                       5501 US HIGHWAY 30 W                                                                    FORT WAYNE        IN           46818
SWIFT, JESSICA L.                                                          ADDRESS ON FILE
SWINEHART, JACKIE J.                                                       ADDRESS ON FILE
SWISS RE CORPORATE SOLUTIONS AMERICA
INSURANCE CORPORATION                   ATTN: CORPORATE SOLUTIONS CLAIMS   1200 MAIN STREET                         STE 800                                        KANSAS CITY       MO           64105
SYBIL COHEN                                                                ADDRESS ON FILE
SYDNEY LEVY                                                                ADDRESS ON FILE
SYLVESTER, GINA                                                            ADDRESS ON FILE

SYLVIA G. & MORRIS M. WEXLER FOUNDATION                                    ADDRESS ON FILE
SYLWIA ZARZYCKA                                                            ADDRESS ON FILE
SYMPLICITY CORPORATION                                                     3003 WASHINGTON BLVD                     STE 900                                        ARLINGTON         VA           22201
SYNERGETIC SOUNDS, INC                                                     776 HAUNTED LANE                                                                        BENSALEM          PA           19020
SYNERTECH INCORPORATED                                                     2208 S BROAD ST                                                                         PHILADELPHIA      PA           19145-3922
SYPHERD, STEPHEN                                                           ADDRESS ON FILE
SYRACUSE, REBECCA N.                                                       ADDRESS ON FILE
SZWED, JOHN                                                                ADDRESS ON FILE
TABOADA, LILIA ROCIO                                                       ADDRESS ON FILE
TAC GRAPHICS                                                               ADDRESS ON FILE
TAGUE LUMBER                                                               325 MEDIA STATION RD                                                                    MEDIA             PA           19063
TALESE FRIERSON, LAURIN                                                    ADDRESS ON FILE
TALESE, LAURIN                                                             ADDRESS ON FILE
TALITA MAYO                                                                ADDRESS ON FILE
TAMARS MOVING COMAPNY LLC                                                  419 CARLTON AVE.                         APT F                                          BROOKLYN          NY           11238
TAMASHA DIXON                                                              ADDRESS ON FILE
TAMI WORMAN                                                                ADDRESS ON FILE
TAMICA TAYLOR                                                              ADDRESS ON FILE
TAMMY NELSON                                                               ADDRESS ON FILE
TANEY, JOY                                                                 ADDRESS ON FILE
TANIKA FREEMAN-PARKS                                                       ADDRESS ON FILE
TANKOKAI, CHADO URASENKE                                                   ADDRESS ON FILE
TARA ECK                                                                   ADDRESS ON FILE
TARA MCMAHON                                                               ADDRESS ON FILE
TARCIA EDMUNDS-JEHU                                                        ADDRESS ON FILE
TARYN THURMAN                                                              ADDRESS ON FILE
TATE, CAROLINE                                                             ADDRESS ON FILE
TATE, CAROLINE M.                                                          ADDRESS ON FILE
TATE, FRANCES L.                                                           ADDRESS ON FILE
TATTOOED MOM                                                               530 SOUTH ST                                                                            PHILADELPHIA      PA           19147-2219
TAYLOR SWEETEN                                                             ADDRESS ON FILE
TAYLOR, ERIN M.                                                            ADDRESS ON FILE
TAYLOR, LEILA                                                              ADDRESS ON FILE
TD BANK                                                                    ONE COMMERCE SQUARE                      2005 MARKET ST 2ND FL                          PHILADELPHIA      PA           19103-7042
TD BANK                                                                    ONE COMMERCE SQUARE                      2005 MARKET ST., 2ND FL                        PHILADELPHIA      PA           19103
TD BANK, N.A                            ATTN: MICHAEL J. GERS              2005 MARKET STREET                       2ND FLOOR                                      PHILADELPHIA      PA           19103
TD BANK, N.A                            BALLARD SPAHR                      PO BOX 825465                                                                           PHILADELPHIA      PA           19182-5465
                                                                                                                    ATTENTION BRENTON C.
TD BANK, N.A.                                                              100 IRONLAKE BOULEVARD                   RAHN                                           EXTON             PA           19341
TD BANK, N.A.                                                              2005 MARKET STREET                       2ND FL                                         PHILADELPHIA      PA           19103
TD BANK, N.A.                                                              ONE COMMERCE SQUARE                      2005 MARKET ST.           2ND FL               PHILADELPHIA      PA           19103
TD CHARITABLE FOUNDATION                                                   12000 HORIZON WAY                                                                       MOUNT LAUREL      NJ           08054-4316
TEARE, BRIAN                                                               ADDRESS ON FILE
TECHNOLUTIONS, INC.                                                        234 CHURCH STREET                        15TH FL                   15TH FL              NEW HAVEN         CT           06510
TECHNOLUTIONS, INC.                                                        157 CHURCH STREET                        22ND FL                                        NEW HAVEN         CT           06510




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              Creditor Name                           Attention                           Address 1                            Address 2            Address 3            City          State      Zip       Country
TEDHOLM, EDWARD C.                                                          ADDRESS ON FILE
TEES, PAMELA                                                                ADDRESS ON FILE
TEIGE DOUGHERTY                                                             ADDRESS ON FILE
TEITELBAUM, EZRA                                                            ADDRESS ON FILE
TELESYSTEM                                                                  PO BOX 60410                                                                        ROSSFORD          OH           43460-9998
TEMPLE UNIV BURSAR OFFICE                                                   1803 N BROAD ST                          216 CARNELL HALL                           PHILADELPHIA      PA           19122

TEMPLE UNIVERSITY                                                           OFFICE OF UNDERGRADUATE ADMISSIONS CONWELL HALL 103               1801 N BROAD ST   PHILADELPHIA      PA           19122-6096
TEMPLE WORTH                                                                ADDRESS ON FILE
TEMPONE, BRUCE                                                              ADDRESS ON FILE
TERESA IATRIDIS                                                             ADDRESS ON FILE
TERESA SHOLES                                                               ADDRESS ON FILE
TERRA GIZMO STUDIOS                                                         3503 BARING ST.                                                                     PHILADELPHIA      PA           19104
TERRACINO, GARY                                                             ADDRESS ON FILE
TERRI BOHRER                                                                ADDRESS ON FILE
TERRI HOLLEY                                                                ADDRESS ON FILE
TERRI L. HYNES                                                              ADDRESS ON FILE
TERRY KAPLAN                                                                ADDRESS ON FILE
TERRY MEEHAN                                                                ADDRESS ON FILE
TEWARI, RAJ                                                                 ADDRESS ON FILE
THE ABAY GROUP, LLC                                                         212 NORWOOD AVE                                                                     HADDON TOWNSHIP   NJ           08108-3533
THE ACADEMY OF AMERICAN POETS                                               584 BROADWAY RM 1208                                                                NEW YORK          NY           10012-5237
THE ACADEMY OF MOTION PICTURE ARTS AND PICKFORD CENTER FOR MOTION PICTURE
SCIENCES                               STUDY                                1313 VINE ST                                                                        HOLLYWOOD         CA           90028-8107
THE AFRICAN AMERICAN MUSEUM IN
PHILADELPHIA                                                                701 ARCH ST                                                                         PHILADELPHIA      PA           19106
THE ALBERT M. GREENFIELD FOUNDATION                                         PO BOX 30267                                                                        PHILADELPHIA      PA           19103-8267
THE ANIMATION SHOW                                                          3347 MOTOR AVE                           STE 100                                    LOS ANGELES       CA           90034
THE ANNENBERG FOUNDATION                                                    150 N RADNOR CHESTER RD STE A200                                                    SAINT DAVIDS      PA           19087-5272
THE APPLESEEDS FOUNDATION                                                   15 SOUTHGATE CT                                                                     HARRISONBURG      VA           22801-9663
THE BALVENIE FUND                      WILLIAM GRANT & SONS                 300 PARK AVE S #600                                                                 NEW YORK          NY           10010
THE BANK OF NEW YORK MELLON            CORPORATE TRUST DEPARTMENT           PO BOX 392013                                                                       PITTSBURGH        PA           15251-9013
THE BANK OF NEW YORK MELLON TRUST CO,
N.A.                                   ATTENTION GLOBAL CORPORATE TRUST     500 ROSS STREET                          12TH FL                                    PITTSBURGH        PA           15262
THE BANK OF NEW YORK MELLON TRUST CO,
N.A.                                                                        500 ROSS STREET                          12TH FL                                    PITTSBURGH        PA           15262
THE BARRA FOUNDATION                                                        200 W LANCASTER AVE STE 202                                                         WAYNE             PA           19087-4046
THE BAXTER INTERNATIONAL FOUNDATION                                         1 BAXTER PKWY                                                                       DEERFIELD         IL           60015-4625
THE BELLEVUE HOTEL                                                          200 SOUTH BROAD STREET                                                              PHILADELPHIA      PA           19102
THE BENEVITY COMMUNITY IMPACT FUND                                          1521 GEORGETOWN RD                                                                  HUDSON            OH           19102
THE BINSWANGER FOUNDATION                                                   2 LOGAN SQ STE 400                                                                  PHILADELPHIA      PA           19103-2759
THE BOBO FOUNDATION                                                         970 NW ELFORD DR                                                                    SEATTLE           WA           98177-4125
THE BOROWSKY FAMILY FOUNDATION                                              ADDRESS ON FILE
THE BREAKERS PALM BEACH                                                     1 S COUNTY RD                                                                       PALM BEACH        FL           33480-4023
THE BRIND FOUNDATION                                                        1608 WALNUT ST STE 1400                                                             PHILADELPHIA      PA           19103-5446
THE BROOK J. LENFEST FOUNDATION        C/O THE PHILADELPHIA FOUNDATION      1835 MARKET ST                                                                      PHILADELPHIA      PA           19103
THE BROOKLYN RAIL, INC,                                                     253 36TH ST UNIT 20                                                                 BROOKLYN          NY           11232-2428
THE BROWNSTEIN GROUP                                                        215 S BROAD ST STE 900                                                              PHILADELPHIA      PA           19107-5312

THE CENTER FOR EMERGING VISUAL ARTISTS                                      237 SOUTH 18TH STREET, 3RD FL                                                       PHILADELPHIA      PA           19103-6112
THE CERAMIC SHOP                                                            1200 MARKLEY ST                                                                     NORRISTOWN        PA           19401
THE CHARLOTTE CUSHMAN FOUNDATION                                            PO BOX 40027                                                                        PHILADELPHIA      PA           19106-0027
THE CHICAGO COMMUNITY FOUNDATION                                            225 N MICHIGAN AVE STE 2200                                                         CHICAGO           IL           60601-7672
THE CHICKEN, LLC                                                            614 SOUTH 4TH STREET                     #196                                       PHILADELPHIA      PA           19147
THE CHILD STUDY TEAM OF GLOUCESTER CITY                                     SPECIAL SERVICES DEPARTMENT520
SCHOOLS                                                                     CUMBERLAND ST                                                                       GLOUCESTER CITY   NJ           08030-1923
THE CHRONICLE OF HIGHER EDUCATION                                           PO BOX 791122                                                                       BALTIMORE         MD           21279-1122
THE CINEMA GUILD INC                                                        2803 OCEAN AVE                                                                      BROOKLYN          NY           11229
THE COLLEGE BOARD                                                           PO BOX 30171                                                                        NEW YORK          NY           10087-0171
THE COLLEGE OF NEW JERSEY                                                   2000 PENNINGTON RD                                                                  EWING             NJ           08618
THE COLLEGE OF PHYSICIANS OF
PHILADELPHIA                                                                19 SOUTH 22ND STREET                                                                PHILADELPHIA      PA           19103
THE CURTIS W. MCGRAW FOUNDATION                                             PO BOX 627                                                                          PRINCETON         NJ           08542-0627
THE DRUCKER/JORDAN CHARITABLE FUND AT C/O JEAN-PIERRE JORDAN AND MYRA R.
VANGUARD CHARITABLE                     DRUCKER                             24 WOLFPITS RD                                                                      BETHEL            CT           06801-2921

THE EVOLUER HOUSE/CHERYL WADLINGTON                                         104 CHURCH ST                                                                       PHILADELPHIA      PA           19106-2201
THE FABRIC WORKSHOP & MUSEUM                                                1214 ARCH STREET                                                                    PHILADELPHIA      PA           19107




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THE FILM DESK, LLC                                                  35 MOUNT MORRIS PARK                        WEST #5D                              NEW YORK           NY           10027
THE FORD FAMILY FOUNDATION                                          ADDRESS ON FILE
THE FOUNDATION FOR INDEPENDENT                                      75 BROAD ST.                                STE. 304                              NEW YORK           NY           10004
THE FURNITURE SOCIETY                                               111 GROVEWOOD RD                                                                  ASHEVILLE          NC           28804-2858
THE GEORGE BEACH FOUNDATION                                         ADDRESS ON FILE
THE GEORGE I. ALDEN TRUST                                           ADDRESS ON FILE
THE GILLETTE CO                                                     GILLETTE PARK                                                                     BOSTON             MA           02106
THE GLENMEDE TRUST CO                                               1650 MARKET ST STE 1200                                                           PHILADELPHIA       PA           19103-7311
                                                                    350 SENTRY PARKWAYBUILDING 630, STE
THE GOLDENBERG GROUP                                                300                                                                               BLUE BELL          PA           19422
THE GRAHAM CO                                                       30 S 15TH ST STE 1                                                                PHILADELPHIA       PA           19102-4826
THE HAL LEWIS GROUP, INC                                            1700 MARKET ST FL 6                                                               PHILADELPHIA       PA           19103-3909
THE HAMILTON FAMILY CHARITABLE TRUST                                ADDRESS ON FILE
THE HANOVER RESEARCH COUNCIL                                        PO BOX 38070                                                                      BALTIMORE          MD           21297-8070
THE HARRY CHAPIN FOUNDATION                                         ADDRESS ON FILE
THE HASSEL FOUNDATION                                               30 S 17TH ST STE 1800                                                             PHILADELPHIA       PA           19103-4005
THE HEBREW UNIVERSITY                                               199 WATER STREET                            11TH FL                               NEW YORK           NY           10038
THE HENRY LUCE FOUNDATION, INC                                      ADDRESS ON FILE
THE HONICKMAN FOUNDATION                                            210 W RITTENHOUSE SQ APT 3303                                                     PHILADELPHIA       PA           19103-5780

THE HONORABLE AND MRS. ALBERT MOMJIAN                               ADDRESS ON FILE
THE HONORABLE AND MRS. ARLIN ADAMS                                  ADDRESS ON FILE
THE HONORABLE BILL GREEN                                            ADDRESS ON FILE
THE HONORABLE F. JOSEPH LOEPER                                      ADDRESS ON FILE

THE HONORABLE GEORGIA ATHANASOPULOS                                 ADDRESS ON FILE
THE HONORABLE JAMES B. KENNEY                                       ADDRESS ON FILE
THE HONORABLE JAMES TREADWAY                                        ADDRESS ON FILE
THE HONORABLE MARJORIE O. RENDELL                                   ADDRESS ON FILE
THE HOWARD A. WOLF FUND                                             ADDRESS ON FILE
THE HR SAGE                                                         800 25TH ST NW STE 605                                                            WASHINGTON         DC           20037-2208
THE INSTRUMENT DOC, LLC                                             502 WANDO PARK BLVD                         UNIT 106                              MT. PLEASANT       SC           29464
THE JED FOUNDATION                                                  530 SEVENTH AVENUE                          #801                                  NEW YORK           NY           10018
THE JOEL AND ELAINE GERSHMAN
FOUNDATION                                                          ADDRESS ON FILE

THE JOHN S. & JAMES L. KNIGHT FOUNDATION                            ADDRESS ON FILE
THE JOKERS N.Y.A.                                                   1602 S 2ND ST                                                                     PHILADELPHIA       PA           19148-1302
THE JUDITH ROTHSCHILD FOUNDATION                                    PO BOX 3818                                                                       MINNEAPOLIS        MN           55403-0818
THE KATZ FAMILY CHARITABLE TRUST                                    ADDRESS ON FILE
THE KULICKE FUND                                                    537 ROLLING GLEN DR                                                               HORSHAM            PA           19044-1171
THE LENAPE NATION, INC                                              169 NORTHAMPTON STREET                                                            EASTON             PA           18402
THE LILLIAN & ALBERT NOREN FOUNDATION    C/O COHEN & KOTLER         54 SW BOCA RATON BLVD                                                             BOCA RATON         FL           33432-4725
THE MCNICHOLS PLAZA SOCIAL COMMITTEE                                1111 S IRVING AVE                                                                 SCRANTON           PA           18505-2487
THE MILL SPRING FOUNDATION                                          PO BOX 270                                                                        AMBLER             PA           19002-0270
THE MILTON AND JUDITH I. RISEMAN FAMILY
FOUNDATION TRUST                                                    ADDRESS ON FILE
THE MITCHELL ALLEN GROUP, LLC                                       10066 WYECLIFF DRIVE                                                              HIGHLANDS RANCH    CO           80126
THE MURDER MYSTERY CO                                               4550 AIRWEST DRIVE                          SE                                    KENTWOOD           MI           49512
THE NCHERM GROUP, LLC                                               475 ALLENDALE RD.                           STE 200                               KING OF PRUSSIA    PA           19406
THE NEW SCHOOL                                                      66 WEST 12TH STREET                                                               NEW YORK           NY           10011
THE NIGHT KITCHEN                                                   411 S 2ND ST # 200                                                                PHILADELPHIA       PA           19147-1607
THE OXBOW SCHOOL                                                    530 THIRD STREET                                                                  NAPA               CA           94559
THE PENNSYLVANIA DEPARTMENT OF
ENVIRONMENTAL PROTECTION                                            RACHEL CARSON STATE OFFICE BUILDING 400 MARKET ST                                 HARRISBURG         PA           17101
THE PENNSYLVANIA STATE UNIVERSITY -
ABINGTON                                                            1600 WOODLAND RD                                                                  ABINGTON           PA           19001

THE PEW CENTER FOR ARTS AND HERITAGE                                1608 WALNUT ST FL 18                                                              PHILADELPHIA       PA           19103-5443

THE PEW CHARITABLE TRUSTS                                           ONE COMMERCE SQUARE                         2005 MARKET ST STE 2800               PHILADELPHIA       PA           19103-7017
THE PHILADELPHIA ART ALLIANCE                                       251 S. 18TH STREET                                                                PHILADELPHIA       PA           19103
THE PHILADELPHIA CONTRIBUTIONSHIP                                   212 S 4TH ST                                                                      PHILADELPHIA       PA           19106-3704
THE PHILADELPHIA FOUNDATION                                         1835 MARKET ST STE 2410                                                           PHILADELPHIA       PA           19103-2909
THE PHILADELPHIA MUSICAL SOCIETY                                    PO BOX 22464                                                                      PHILADELPHIA       PA           19110
THE PREMSELAAR FOUNDATION                                           14 KINGSWOOD WAY                                                                  MANALAPAN          NJ           07726-8422
THE PRINT CENTER                                                    1614 LATIMER STREET                                                               PHILADELPHIA       PA           19103




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THE RALPH AND SUZANNE ROBERTS
FOUNDATION                                                                        ADDRESS ON FILE
THE REALIZE LEADERSHIP GROUP,                                                     302 WEST STREET                                                                      WILMINGTON      DE           19801
THE REGENTS OF UC                                                                 PO BOX 951575                                                                        LOS ANGELES     CA           90095-1575
THE REICHLIN FAMILY FOUNDATION                                                    ADDRESS ON FILE
THE RESOURCE FOUNDATION                                                           50 VISTA DR                                                                          GREENWICH       CT           06830-7128
THE RICHARD C. VON HESS FOUNDATION       C/O THE GLENMEDE TRUST CO.               1650 MARKET ST STE 1200                                                              PHILADELPHIA    PA           19103-7311
THE RITTENHOUSE FOUNDATION                                                        1601 WALNUT ST UNIT 1010                                                             PHILADELPHIA    PA           19102-2906
THE RITTENHOUSE TRUST CO                                                          3 RADNOR CORPORATE CTR STE 450                                                       WAYNE           PA           19087-4580
THE SAMUEL H. SCRIPPS FOUNDATION                                                  ADDRESS ON FILE

THE SCHOLLER FOUNDATION                  C/O HEPBURN, WILCOX, HAMITLON & PUTNAM   1100 ONE PENN CENTER PLAZA                                                           PHILADELPHIA    PA           19103
                                                                                  ADMINISTRATION BUILDING, ROOM
                                                                                  20221ST STREET SOUTH OF THE
THE SCHOOL DISTRICT OF PHILADELPHIA                                               PARKWAY                                                                              PHILADELPHIA    PA           19103
THE SCHULTZ FAMILY FOUNDATION                                                     ADDRESS ON FILE
THE STEVE SABOL FOUNDATION                                                        ADDRESS ON FILE
THE TRAVELERS INDEMNITY COMPANY                                                   ONE TOWER SQUARE                                                                     HARTFORD        CT           06183
THE U.S. DEPARTMENT OF STATE                                                      2201 C ST NW                                                                         WASHINGTON      DC           20451
THE UNION LEAGUE OF PHILADELPHIA                                                  140 S BROAD ST                                                                       PHILADELPHIA    PA           19102-3003
THE VELORIC FOUNDATION                                                            130 PRESIDENTIAL BLVD STE 210                                                        BALA CYNWYD     PA           19004
THE WASHINGTONIAN                                                                 1828 L ST NW STE 200                                                                 WASHINGTON      DC           20036-5104
THE WESTBURY                                                                      271 S 15TH ST                                                                        PHILADELPHIA    PA           19102
THE WILMA THEATER                                                                 265 S BROAD ST                                                                       PHILADELPHIA    PA           19107
THE WIND FOUNDATION                                                               1834 DELANCEY PL                                                                     PHILADELPHIA    PA           19103-6607
THE WISTAR INSTITUTE                                                              3601 SPRUCE ST                                                                       PHILADELPHIA    PA           19104-4205
THE WYLIE AGENCY LLC                                                              250 W. 57TH ST.                             STE. 2114                                NEW YORK        NY           10107
THEATER LEAGUE OF PHILADELPHIA INC T/A
MERRIAM THEATER                                                                   250 S BROAD ST                                                                       PHILADELPHIA    PA           19102-5022
THEATRE ALLIANCE OF GREATER
PHILADELPHIA                                                                      1616 WALNUT STREETSTE 1800                                                           PHILADELPHIA    PA           19103
THEATRE LEAGUE OF PHILADELPHIA                                                    250 S BROAD ST                                                                       PHILADELPHIA    PA           19102-5022
THEIS, JARED                                                                      ADDRESS ON FILE
THEODORE BERINGER                                                                 ADDRESS ON FILE
THERMAL NORTH AMERICA                                                             99 SUMMER ST                                SUITE 900                                BOSTON          MA           02110
THO NGUYEN                                                                        ADDRESS ON FILE
THOAMS ROLAND                                                                     ADDRESS ON FILE
THOMAS CARDOSI                                                                    ADDRESS ON FILE
THOMAS J. BENTEY                                                                  ADDRESS ON FILE
THOMAS JEFFERSON UNIVERSITY                                                       4201 HENRY AVE                                                                       PHILADELPHIA    PA           19144
THOMAS MAROULAKOS                                                                 ADDRESS ON FILE
THOMAS R. FLINT                                                                   ADDRESS ON FILE
THOMAS ROGERS                                                                     ADDRESS ON FILE
THOMAS WALKER                                                                     ADDRESS ON FILE
THOMAS, MORGAN                                                                    ADDRESS ON FILE
THOMAS, PATRICIA                                                                  ADDRESS ON FILE
THOMPSON, JULIA                                                                   ADDRESS ON FILE
THOMPSON, JULIA K.                                                                ADDRESS ON FILE
THOMPSON, JUSTIN RANDOLPH                                                         ADDRESS ON FILE
THOMPSON, ORLANDO                                                                 ADDRESS ON FILE
THOMPSON, STANFORD                                                                ADDRESS ON FILE
THOMSON, NICHOLAS ALEXANDER                                                       ADDRESS ON FILE
THORNTON, LESLIE A.                                                               ADDRESS ON FILE
THORPS, JOSHUA                                                                    ADDRESS ON FILE
THORPS, JOSHUA A.                                                                 ADDRESS ON FILE
THORSTENSEN, SHELLEY                                                              ADDRESS ON FILE
THREADGILL, HENRY                                                                 ADDRESS ON FILE
THURMAN, KATHRYN                                                                  ADDRESS ON FILE
THURMAN, KATHRYN SWORDS                                                           ADDRESS ON FILE
THYSSEN KRUPP ELEVATOR                                                            250 KING MANOR DR STE 200                                                            KNG OF PRUSSA   PA           19406-2562
TIANA PAQUETTE                                                                    ADDRESS ON FILE
TIBILETTI, SOPHIA G.                                                              ADDRESS ON FILE
TIERNEY AND WOOD LLC                                                              1012 HOPEWELL RD                                                                     OXFORD          PA           19363
TIFFINEE GENTRY                                                                   ADDRESS ON FILE
TIGHE, AMY                                                                        ADDRESS ON FILE
TILT INSTITUTE FOR THE CONTEMPORARY
IMAGE                                                                             1400 N AMERICAN ST                          STE 103                                  PHILADELPHIA    PA           19122
TIM LIU                                                                           ADDRESS ON FILE




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TIM MOTZER CREATIVE LLC                                                     1362 CREASE STREET                                                                 PHILADELPHIA        PA           19125
TIMES MIRROR FOUNDATION                                                     202 WEST FIRST ST                                                                  LOS ANGELES         CA           90012
TIMOTHY GERALD                                                              ADDRESS ON FILE
TIMOTHY ROMIG                                                               ADDRESS ON FILE
TINA CLINE                                                                  ADDRESS ON FILE
TINA CRERAND                                                                ADDRESS ON FILE
TINA DICKERSON                                                              ADDRESS ON FILE
TINA ELLIS                                                                  ADDRESS ON FILE
TINA FALCIONE DAWTON                                                        ADDRESS ON FILE
TJ WALSH COACHING &                                                         ADDRESS ON FILE
TK ELEVATOR CORPORATION                                                     PO BOX 3796                                                                        CAROL STREAM        IL           60132-3796
TOBY, KAMEELAH                                                              ADDRESS ON FILE
TOCCHET, CHRISTOPHER A.                                                     ADDRESS ON FILE
TOCCHET, MARK                                                               ADDRESS ON FILE
TODAYS DANCE CENTER, INC                                                    52 CONSTITUTION DR                                                                 SOUTHAMPTON         NJ           08088-9054
TODAYS GRAPHICS                                                             4848 ISLAND AVE                                                                    PHILADELPHIA        PA           19153-3703
TOM MCQUAID                                                                 ADDRESS ON FILE
TOM WENTZEL CO., INC                                                        240 WELSH POOL RD                                                                  EXTON               PA           19341-1313
TOMMY SOUTH                                                                 ADDRESS ON FILE
TOMOHIRO OSHIKIRI                                                           ADDRESS ON FILE
TONI AQUILONE                                                               ADDRESS ON FILE
TONIKO ROCHE                                                                ADDRESS ON FILE
TONOOKA, SUMI                                                               ADDRESS ON FILE
TOON BOOM ANIMATION INC                                                     4200 BOUL ST-LAURENT                      STE 1020                                 MONTREAL, QC                     H2W 2R2      CANADA
TORAK, CHRISTOPHER                                                          ADDRESS ON FILE
TORO, ARLENE                                                                ADDRESS ON FILE
TORRES, CLARISSA                                                            ADDRESS ON FILE
TORRES, JOELY                                                               ADDRESS ON FILE
TORRES, JOELY L.                                                            ADDRESS ON FILE
TORTUM, HALIL                                                               ADDRESS ON FILE
TOSCANO, MARK                                                               ADDRESS ON FILE
TOSHA TILLMAN                                                               ADDRESS ON FILE
TOWNSEND, SEAN                                                              ADDRESS ON FILE
TRACI EMBRACK                                                               ADDRESS ON FILE
TRACY RODRIGUEZ                                                             ADDRESS ON FILE
TRANSACT CAMPUS INC                                                         18700 NORTH HAYDEN RD                     #230                                     SCOTTSDALE          AZ           85255
TRANSPORT CONSULTANTS                                                       30 UNION AVE S                            2ND FL                                   CRANFORD            NJ           07016
TRAVELERS CASUALTY & SURETY CO OF
AMERICA                                                                     PO BOX 2989                                                                        HARTFORD            CT           06104-2989
TRAVELERS PROPERTY CASUALTY COMPANY   C/O WILLIS TOWERS WATSON NORTHEAST,
OF AMERICA                            INC.                                  METRO DC OFFICE                           12505 PARK POTOMAC AVE STE 225           POTOMAC             MD           20854
TRAVELERS PROPERTY CASUALTY COMPANY
OF AMERICA                                                                  ONE TOWER SQUARE                                                                   HARTFORD            CT           06183
TRAVERS, MAUREEN                                                            ADDRESS ON FILE
TREDINNICK-KIRBY, ZENA                                                      ADDRESS ON FILE
TREDINNICK-KIRBY, ZENA M.                                                   ADDRESS ON FILE
TREVDAN                                                                     PO BOX 28                                 1031 POTTSTOWN PIKE                      CHESTER SPRINGS     PA           19425-3512
TREWELLA, KELLY A.                                                          ADDRESS ON FILE
TREY LYFORD                                                                 ADDRESS ON FILE
TRIBAL BLUES INC                                                            PO BOX 610                                                                         BEARSVILLE          NY           12409
TRIGEN-PHILADELPHIA ENERGY
CORPORATION                                                                 2600 CHRISTIAN ST                                                                  PHILADELPHIA        PA           19146-2316
TRIGIANI & ENGLE                                                            123 S BROAD ST STE 1812                                                            PHILADELPHIA        PA           19109
TRILLO, MS ADA                                                              ADDRESS ON FILE
TRINITY PICTURE FRAMING                                                     701 S. 3RD STREET                                                                  PHILADELPHIA        PA           19147
TRINITY UNITED METHODIST CHURCH                                             7 N MELBOURNE AVE                                                                  VENTNOR CITY        NJ           08406-1912
TRISTATE HVAC EQUIPMENT                                                     ONE RESOURCE DRIVE                                                                 WEST CONSHOHOCKEN   PA           19428
TROY MCHENRY                                                                ADDRESS ON FILE
TRUSTEES OF PRINCETON UNIVERSITY                                            100 OVERLOOK STE 401                                                               PRINCETON           NJ           08540
TRUSTEES OF THE UNIVERSITY                                                  3680 WALNUT ST.                                                                    PHILADELPHIA        PA           19104-6219
TUBMAN, MAXWELL                                                             ADDRESS ON FILE
TUCCI, EMILY M.                                                             ADDRESS ON FILE
TUCKER, DANIEL                                                              ADDRESS ON FILE
TUCKER, DANIEL O.                                                           ADDRESS ON FILE
TUCKER, DANIEL O.                                                           ADDRESS ON FILE
TUCKER, ROBERT                                                              ADDRESS ON FILE
TUDDY FILM                                                                  ADDRESS ON FILE
TUMMALA-NARRA, PRATYUSHA                                                    ADDRESS ON FILE




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TUNO, JESSIE                                                                   ADDRESS ON FILE
TUOMANEN, MARY                                                                 ADDRESS ON FILE
TUPPERWARE MANUFACTURING CO.                                                   PO BOX D                                                                               WOONSOCKET        RI           02895-0987
TURNER INSTALLATION & SAFETY                                                   5035 RAVENWOOD RD                                                                      MECHANICSBURG     PA           17055
                                                                                                                                                   100 NORTH 18TH
TURNER LAW, P.C.                                                               TWO LOGAN SQUARE                          STE. 300                  STREET             PHILADELPHIA      PA           19103
TURNER, WENDY                                                                  ADDRESS ON FILE
TWINGLEY, JONATHAN                                                             ADDRESS ON FILE
TWINING, SUZANNE                                                               ADDRESS ON FILE
TYCO TOYS, INC                                                                 6000 MIDLANTIC DR STE 1                                                                MOUNT LAUREL      NJ           08054-1519
TYLER MATNEY                                                                   ADDRESS ON FILE
TYMESON, PERRY                                                                 ADDRESS ON FILE
TYMEYA THOMPSON/MONAE'S MODERN
DANCE                                                                          7594A HAVEFORD AVE                                                                     PHILADELPHIA      PA           19151
TYRA ALLEN                                                                     ADDRESS ON FILE
U.S. ART CO, INC                                                               78 PACELLA PARK DRIVE                                                                  RANDOLPH          MA           02368
U.S. DEPT. OF VETERANS AFFAIR                                                  BISHOP HENRY FEDERAL BUILDING             PO BOX 11930                                 ST. PAUL          MN           55111-0930
UA AGENCY, LLC                         HOGAN LOVELLS US LLP                    555 THIRTEENTH ST.                                                                     WASHINGTON        WA           20004
UARTS BOOKSTORE                                                                401 SOUTH BROAD ST                                                                     PHILADELPHIA      PA           19147
UBS INVESTMENT BANK                                                            1735 MARKET ST GL 35                                                                   PHILADELPHIA      PA           19103
UGI ENERGY SERVICES, LLC                                                       835 KNITTING MILLS WAY                                                                 WYOMISSING        PA           19610
UGI ENERGY SERVICES, LLC                                                       PO BOX 827032                                                                          PHILADELPHIA      PA           19182
UHTER, KASEY                                                                   ADDRESS ON FILE
UMASS CONFERENCE SERVICES                                                      819 CAMPUS CENTER CS23199                 1 CAMPUS CENTER WAY                          AMHERST           MA           01003
UMB AS COLLATERAL AGENT                ATTN: GLOBAL CORPORATE TRUST            500 ROSS STREET                           12TH FLOOR                                   PITTSBURGH        PA           15262
UMB BANK N.A., AS REPRESENTATIVE FOR
NOTEHOLDERS                            ATTN: GORDON GENDLER                     120 SOUTH SIXTH STREET                   SUITE 1400                                   MINNEAPOLIS       MN           55402
UMB BANK, N.A.                         C/O KRAMER LEVIN NAFTALIS & FRANKEL, LLP 1177 AVENUE OF THE AMERICAS                                                           NEW YORK          NY
                                                                                                                                                                                                     10036
UN, AIDAN                                                                      ADDRESS ON FILE
UNCSA SCHOOL OF DANCE                                                          1533 SOUTH MAIN STREET                                                                 WINSTON-SALEM     NC           27127
UNDEFINED CREATIVE INC                                                         111 LAWRENCE ST APT 31G                                                                BROOKLYN          NY           11201-3887
UNDERWOOD MEMORIAL HOSPITAL                                                    509 N BROAD ST                                                                         WOODBURY          NJ           08096-1617
UNIFYED (CAMPUS CONSORTIUM)              UNIFYED                               125 SOUTH CLARK STREET                    17TH FLOOR                17TH FLOOR         CHICAGO           IL           60603
UNION BENEVOLENT ASSOCIATION                                                   PO BOX 27296                                                                           PHILADELPHIA      PA           19118-9998
UNISA INC.                                                                     7400 E. ARAPAHOE RD.                      STE 10                                       ENGLEWOOD         CO           80112
UNITED ACADEMICS OF PHILADELPHIA                                               601 N 12TH ST                                                                          PHILADELPHIA      PA           19123-3310
UNITED ACADEMICS OF PHILADELPHIA - AFT
LOCAL 9608                                                                     601 N 12TH ST                                                                          PHILADELPHIA      PA           19123
UNITED ACADEMICS OF PHILADELPHIA AFT-PA,
AFL-CIO, LOCAL 9608                                                            601 N 12TH ST                             601 N 12TH ST                                PHILADELPHIA      PA           19123
UNITED CONCORDIA                                                               1000 FIRST AVENUE                                                                      KING OF PRUSSIA   PA           19406
UNITED CONCORDIA                                                               PO BOX 827366                                                                          PHILADEPHIA       PA           19182-7366
UNITED CONCORDIA DENTAL PLANS OF
PENNSYLVANIA, INC.                                                             1800 CENTER STREET                        1800 CENTER STREET        SUITE 2B 220       CAMP HILL         PA           17011
UNITED CONCORDIA INSURANCE COMPANY                                             1800 CENTER STREET                        1800 CENTER STREET        SUITE 2B 220       CAMP HILL         PA           17011
UNITED EDUCATORS                                                               7700 WISCONSIN AVE                        #500                                         BETHESDA          MD           20814
UNITED EDUCATORS INSURANCE               UNITED EDUCATORS INSURANCE            ATTN: LAUREN YEDLIN                       7700 WISCONSIN AVE.       #500               BETHESDA          MD           20814
UNITED EDUCATORS INSURANCE                                                     PO BOX 791543                                                                          BALTIMORE         MD           21279-1543
UNITED EDUCATORS MANAGEMENT                                                    PO BOX 791543                                                                          BALTIMORE         MD           21279-1543
UNITED SCENIC ARTISTS                                                          PENSION FUND                              29 WEST 38TH ST.          15TH FL            NEW YORK          NY           10018
UNITED STATES DEPARTMENT EDUCATION                                             400 MARYLAND AVENUE, SW                                                                WASHINGTON        DC           20202
UNITED STATES NATIONAL LABOR RELATIONS
BOARD, REGION 4                          ATTN: KIMBERLY E, EDWARDS             100 E. PENN SQUARE, SUITE 403                                                          PHILADELPIA       PA           19107
UNITED STATES ROOFING CORP                                                     910 EAST MAIN ST                          STE 300                                      NORRISTOWN        PA           19401
UNIVERSITY CITY DISTRICT                                                       3940 CHESTNUT ST # 42                                                                  PHILADELPHIA      PA           19104-3111
UNIVERSITY CITY HOUSING ASSOC                                                  PO BOX 1524                                                                            BRYN MAWR         PA           19010-5124
UNIVERSITY OF DELAWARE                                                         210 S COLLEGE AVE                                                                      NEWARK            DE           19716
UNIVERSITY OF EVANSVILLE                 C/O ACCOUNTS RECEIVABLE               1800 LINCOLN AVE                                                                       EVANSVILLE        IN           47722
UNIVERSITY OF HARTFORD                                                         200 BLOOMFIELD AVENUE                                                                  WEST HARTFORD     CT           06117
UNIVERSITY OF NEW HAMPSHIRE                                                    PREVENTION INNOVATIONS R. CTR             9 MADBURY RD              STE. 405           DURHAM            NH           03824
UNIVERSITY OF TAMPA                                                            401 W KENNEDY BLVD                                                                     TAMPA             FL           33606
                                                                                                                         211 SOUTH BROAD
UNIVERSITY OF THE ARTS (CPA)                                                   TERRA HALL                                STREET                                       PHILADELPHIA      PA           19107
                                                                                                                                                                                                                  UNITED
UNIVERSITY OF THE ARTS LONDON                                                  272 HIGH HOLBORN                                                                       LONDON                         WC1V7EY      KINGDOM
UNKOVIC, ALEXANDER JUDGE                                                       ADDRESS ON FILE
UNUM LIFE INSURANCE CO                                                         PO BOX 406955                                                                          ATLANTA           GA           30384-6955




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UPPER DARBY SCHOOL DISTRICT                 601 N LANSDOWNE AVE.                                                           DREXEL HILL      PA           19026
UPS                                         55 GLENLAKE PARKWAY, NE                                                        ATLANTA          GA           30328
URMIA                                       PO BOX 1027                                                                    BLOOMINGTON      IN           47402-1027
US DEPT. OF VETERANS AFFAIRS                PO BOX 11930                                                                   ST. PAUL         MN           55111-0930
USPS                                        30TH & MARKET STREETS                                                          PHILADELPHIA     PA           19104
USRINUS COLLEGE                             601 EAST MAIN STREET                                                           COLLEGEVILLE     PA           19426
UTRECHT ART SUPPLY                          PO BOX 1267                                                                    GALESBURG        IL           61402-1267
VADERS-COLLINS, AARON                       ADDRESS ON FILE
VAGLICA, AMY                                ADDRESS ON FILE
VALDE-CURLESS, KIMBERLY                     ADDRESS ON FILE
VALENTIN-TORRES, GINA                       ADDRESS ON FILE
VALERIE M. JONES ASSOC                      1640 N RIDLEY CREEK RD                                                         MEDIA            PA           19063-4527
VALLENTINE, JENNIFER                        ADDRESS ON FILE
VALS SERVICE INC                            526 SW 98CT                                                                    MIAMI            FL           33174
VAN WHY, BETH                               ADDRESS ON FILE
VANCE, JANIE                                ADDRESS ON FILE
VANCE, JANIE L.                             ADDRESS ON FILE
VANDYKE, JONATHAN                           ADDRESS ON FILE
VANGUARD CHARITABLE ENDOWMENT               PO BOX 3075                                                                    SOUTHEASTERN     PA           19398-3075
VANGUARD GROUP INC                          100 VANGUARD BLVD                                                              MALVERN          PA           19355-2331
VANHORN, KB                                 ADDRESS ON FILE
VARLEY, TESS                                ADDRESS ON FILE
VARTANIAN, NINA M.                          ADDRESS ON FILE
VEGA-OLDS, EVA                              ADDRESS ON FILE
VELASQUEZ, DERRICK                          ADDRESS ON FILE
VELIMIROVIC, MIRKO                          ADDRESS ON FILE
VENDEL, EDWARD                              ADDRESS ON FILE
VERA, SANDRA                                ADDRESS ON FILE
VERDE, DANA                                 ADDRESS ON FILE
VERGARA, CAMILO J.                          ADDRESS ON FILE
VERMONT STUDENT ASSISTANCE                  LOAN ORIGINATION ACCOUNT                PO BOX 999                             WINOSKI          VT           05404
VERONICA GREENFIELD                         ADDRESS ON FILE
VERONICA MIMS                               ADDRESS ON FILE
VESEY CAPITAL LLC                           24 N BRYN MAWR AVE PMB 286                                                     BRYN MAWR        PA           19010-3304
VETTORI, JOSEPH                             ADDRESS ON FILE
VEVE, ARMANDO                               ADDRESS ON FILE
VICINITY ENERGY PHILADELPHIA                2600 CHRISTIAN ST                                                              PHILADELPHIA     PA           19146
VICINITY ENERGY PHILADELPHIA                PO BOX 5018                                                                    NEW YORK         NY           10087-5018
VICINITY ENERGY PHILADELPHIA,               2600 CHRISTIAN ST                                                              PHILADELPHIA     PA           19146
VICKIE IZQUIERDO                            ADDRESS ON FILE
VICKY AQUINO                                ADDRESS ON FILE
VICTORIA STANBACH                           ADDRESS ON FILE
VIEIRA DA CUNHA, ELIZABETH                  ADDRESS ON FILE
VIGUERS, SUSAN                              ADDRESS ON FILE
VILLAGE OF ARTS & HUMANITIES                2544 GERMANTOWN AVE                                                            PHILADELPHIA     PA           19133-1642
VILLANOVA UNIVERSITY                        OFFICE OF CONFERENCE SERVICES           800 LANCASTER AVENUE                   VILLANOVA        PA           19085
VINYL FOOTE PRODUCTIONS LLC                 242 ADELPHI STREET                      APT #3                                 BROOKLYN         NY           11205
VIOLA RICHBERG GRAY                         ADDRESS ON FILE
VIRGINIA EARL                               ADDRESS ON FILE
VIRGINIA TANTRAL                            ADDRESS ON FILE
VIVIANI, JOSEPHINE                          ADDRESS ON FILE
VIVIANI, JOSEPHINE G.                       ADDRESS ON FILE
VIVONA, JEANINE M.                          ADDRESS ON FILE
VK PRESTON                                  714-295 RUE DE LA MONTAGNE                                                     MONTREAL QC                   H3C 0W7      CANADA
VOLPICELLI, NICOLE                          ADDRESS ON FILE
VUCIC, MATTHEW                              ADDRESS ON FILE
VYNCENZO SAN FILIPPO                        ADDRESS ON FILE
W. B. MASON                                 151 HELLER PL                                                                  BELLMAWR         NJ           08031-2503
W.B. MASON CO., INC                         PO BOX 981101                                                                  BOSTON           MA           02298-1101
                                            1001 CONSHOHOCKEN STATE RD STE 2-
W.W. SMITH CHARITABLE TRUST                 300                                                                            W CNSHOHOCKEN    PA           19428-2956
WADDINGTON, MEGAN                           ADDRESS ON FILE
WADDINGTON, MEGAN H.                        ADDRESS ON FILE
WADE, MARK                                  ADDRESS ON FILE
WADE, MARK A.                               ADDRESS ON FILE
WADSWORTH, ALISON                           ADDRESS ON FILE
WAGMAN, LAURIE                              ADDRESS ON FILE
WAGNER, JENNIFER                            ADDRESS ON FILE




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WAGNER, KATHY A.                           ADDRESS ON FILE
WAGNER-PACIFICI, ROBIN                     ADDRESS ON FILE
WAHLGREN, JAMEELA                          ADDRESS ON FILE
WALDRON PRIVATE WEALTH                     44 ABELE RD STE 400                                                              BRIDGEVILLE      PA           15017-3487
WALK, KERRY                                ADDRESS ON FILE
WALK, KERRY PH.D                           ADDRESS ON FILE
WALKER, ALISSA                             ADDRESS ON FILE
WALKER, ALISSA K.                          ADDRESS ON FILE
WALKER, CORY                               ADDRESS ON FILE
WALKER, KAITLYN                            ADDRESS ON FILE
WALL, MICHELLE                             ADDRESS ON FILE
WALL, MICHELLE K.                          ADDRESS ON FILE
WALLACE, CATHARINE                         ADDRESS ON FILE
WALLACE, HANNAH L.                         ADDRESS ON FILE
WALSH, DAVID                               ADDRESS ON FILE
WALSH, TIMOTHY J. JR.                      ADDRESS ON FILE
WALTERS, STEPHANIE                         ADDRESS ON FILE
WALTON, LEAH                               ADDRESS ON FILE
WANDA BERRIOS                              ADDRESS ON FILE
WANDA SHELDON                              ADDRESS ON FILE
WANG, XIAOFENG                             ADDRESS ON FILE
WANNER, BUCK                               ADDRESS ON FILE
WARD, CHRISTOPHER                          ADDRESS ON FILE
WARNER, SHERRY                             ADDRESS ON FILE
WASHINGTON, RHONDA                         ADDRESS ON FILE
WATERS, DALEASHA                           ADDRESS ON FILE
WATSON, ANTHONY                            ADDRESS ON FILE
WATSON, SCOTT                              ADDRESS ON FILE
WATSON, SHERI                              ADDRESS ON FILE
WATTS, JEFFREY LYNN                        ADDRESS ON FILE
WATTS, PHILLIP                             ADDRESS ON FILE
WATZ, BRANDON                              ADDRESS ON FILE
WAWA, INC                                  260 W BALTIMORE PIKE                                                             MEDIA            PA           19063-5620
WAXMAN, TOBARON                            ADDRESS ON FILE
WAYNE ART CENTER                           413 MAPLEWOOD AVE                                                                WAYNE            PA           19087
WEALTHENGINE, INC                          PO BOX 775981                                                                    CHICAGO          IL           60677-5981
WEAVER, DAVID                              ADDRESS ON FILE
WEAVER, THOMAS                             ADDRESS ON FILE
WEAVER, THOMAS R.                          ADDRESS ON FILE
WEBB CAM                                   241 N 12TH ST                                                                    PHILADELPHIA     PA           19107-1722
WEBB, BRITTANY L.                          ADDRESS ON FILE
WEBB, DARCY C.                             ADDRESS ON FILE
WEBB, ROBERT                               ADDRESS ON FILE
WEBB, WESLENETTE                           ADDRESS ON FILE
WEBBER DISPLAY                             3500 RICHMOND ST                                                                 PHILADELPHIA     PA           19134-6102
WEBBER, ERIC JOHN                          ADDRESS ON FILE
WEBER, ANDREA                              ADDRESS ON FILE
WEBER, JAMES                               ADDRESS ON FILE
WEDAA, JAMES D.                            ADDRESS ON FILE
WEI, JEAN                                  ADDRESS ON FILE
WEINTZWEIG, AVA                            ADDRESS ON FILE
WEISS, DAN                                 ADDRESS ON FILE
WEISS, HARRIET                             ADDRESS ON FILE
WELLS FARGO                                ADDRESS ON FILE
WELTE, JOHN                                ADDRESS ON FILE
WENDEL, TIMOTHY                            ADDRESS ON FILE
WENDLING, JOHN J.                          ADDRESS ON FILE
WENDY MATSUMURA                            ADDRESS ON FILE
WENDY SLAWSKY                              ADDRESS ON FILE
WENDY SNOKE                                ADDRESS ON FILE
WENDY SOOD                                 ADDRESS ON FILE
WENDY SPENCER                              ADDRESS ON FILE
WENDY WATERS                               ADDRESS ON FILE
WENGER CORPORATION                         NW 7896                                   PO BOX 1450                            MINNEAPOLIS      MN           55485-6370
WERNER, JULIE                              ADDRESS ON FILE
WERT BOOKBINDING, INC.                     9975 ALLENTOWN BLVD.                                                             GRANTVILLE       PA           17028
WESLEY, GEE                                ADDRESS ON FILE
WEST PHILADELPHIA ORCHESTRA                202 WEST MAPLE AVE.                                                              LANGHORNE        PA           19042




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WESTCHESTER (CHUBB)                     WESTCHESTER PROFESSIONAL RISK   ATTN: NATALIE KANDUL                      11575 GREAT OAKS WAY   SUITE 200               ALPHARETTA        GA           30022
WESTCHESTER UNIVERSITY                                                  700 SOUTH HIGH STREET                                                                    WEST CHESTER      PA           19383
WESTERN INDUSTRIES                                                      2170 PIEDMONT RD NE                                                                      ATLANTA           GA           30324-4135
WESTERN PEST SERVICES                                                   PO BOX 367                                                                               PARSIPPANY        NJ           07054-0367
WETZEL, REBECCA E.                                                      ADDRESS ON FILE
WEXLER PETERSON LUZI                                                    ADDRESS ON FILE
WEXLER, EMILY                                                           ADDRESS ON FILE
WEXLER, JENNIFER C.                                                     ADDRESS ON FILE
WHALEY, STEPHANIE                                                       ADDRESS ON FILE
WHEARTY, LAUREN                                                         ADDRESS ON FILE
WHEARTY, LAUREN A.                                                      ADDRESS ON FILE
WHEELER, KIRSTEN                                                        ADDRESS ON FILE
WHEELER, MARK                                                           ADDRESS ON FILE
WHITBECK, CAROLINE                                                      ADDRESS ON FILE
WHITE, LISA D. JONES                                                    ADDRESS ON FILE
WHITE, MARK A.                                                          ADDRESS ON FILE
WHITE, MIRIAM                                                           ADDRESS ON FILE
WHITE, SOPHIE COOPER                                                    ADDRESS ON FILE
WHITE, TOBY                                                             ADDRESS ON FILE
WHITE-MCGUIRE, BLAKELEY                                                 ADDRESS ON FILE
WHITE-MCGUIRE, BLAKELEY A.                                              ADDRESS ON FILE
WHITNEY CLINE-MEBANE                                                    ADDRESS ON FILE
WHITNEY GROGAN                                                          ADDRESS ON FILE
WHITT, JANINE                                                           ADDRESS ON FILE
WIDENER CONSTRUCTION MANAGEMENT                                         2475 BIG OAK RD                                                                          LANGHORNE         PA           19047
WIGGINS, AMELIA                                                         ADDRESS ON FILE
                                                                                                                                         LUSIGETTI OFF KIKUYU,
WILD SECRET VENTURES                                                    CHARIS CLOSE                              JAMBU TV RD            PO BOX 15654-00502      KAREN NAIROBI                               KENYA
WILHELM, DONNA                                                          ADDRESS ON FILE
WILKERSON, ARIEN E.                                                     ADDRESS ON FILE
WILL CORRDIN                                                            ADDRESS ON FILE
WILL MEADOWS                                                            ADDRESS ON FILE
WILLARD, KRISTINE                                                       ADDRESS ON FILE

WILLIAM B. DIETRICH FOUNDATION, INC                                     1811 CHESTNUT ST APT 304PO BOX 58177                                                     PHILADELPHIA      PA           19102-8177
WILLIAM C. FINNEGAN                                                     ADDRESS ON FILE
WILLIAM CAMPBELL, II                                                    ADDRESS ON FILE
WILLIAM G KREBS CONSULTING                                              ADDRESS ON FILE
WILLIAM GARRETT                                                         ADDRESS ON FILE
WILLIAM KELLY                                                           ADDRESS ON FILE
WILLIAM KNAPTON                                                         ADDRESS ON FILE
WILLIAM M. KING CHARITABLE FOUNDATION                                   ADDRESS ON FILE
WILLIAM MELENEY                                                         ADDRESS ON FILE
WILLIAM PENN FOUNDATION                                                 ADDRESS ON FILE
WILLIAM PENN REALTY GROUP                                               19 S 21ST ST                                                                             PHILADELPHIA      PA           19103
WILLIAM, DIDIER                                                         ADDRESS ON FILE
WILLIAMS, DANIEL L. JR.                                                 ADDRESS ON FILE
WILLIAMS, DARNELL                                                       ADDRESS ON FILE
WILLIAMS, INGRID                                                        ADDRESS ON FILE
WILLIAMS, JAYCE                                                         ADDRESS ON FILE
WILLIAMS, MACKENZIE                                                     ADDRESS ON FILE
WILLIAMS, MARIAM                                                        ADDRESS ON FILE
WILLIAMS, RACHEL                                                        ADDRESS ON FILE
WILLIAMS, ROBIN                                                         ADDRESS ON FILE
WILLIAMS, SARAH E.                                                      ADDRESS ON FILE
WILLIAMS, TSHAY                                                         ADDRESS ON FILE
WILLIAMS, TYDELL RICHARD                                                ADDRESS ON FILE
WILLIARD, INC                                                           175 TITUS AVE STE 100                                                                    WARRINGTON        PA           18976-2467
WILLIS TOWERS WATSON NORTHEAST INC                                      PO BOX 32090                                                                             NEW YORK          NY           10087-2090
WILLIS TOWERS WATSON NORTHEAST, INC                                     200 N WARNER RD STE 300                                                                  KING OF PRUSSIA   PA           19406
WILLIS TOWERS WATSON PLC                                                ADDRESS ON FILE
WILLITS, CYNTHIA                                                        ADDRESS ON FILE
WILMINGTON TRUST                                                        285 DELAWARE AVE. 2ND FL                                                                 BUFFALO           NY           14202
WILSON, DAWN A.                                                         ADDRESS ON FILE
WILSON, LYNDSIE                                                         ADDRESS ON FILE
WILSON-DUNCAN, RHONDA                                                   ADDRESS ON FILE
WIMBROW, JEREMIE ROSE                                                   ADDRESS ON FILE
WINDGATE CHARITABLE FOUNDATION                                          6323 RANCH DR STE B                                                                      LITTLE ROCK       AR           72223-4646




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WINDISH, MICHAEL                           ADDRESS ON FILE
WIRELESS ELECTRONICS, INC                  153 COOPER RD                                                                           W. BERLIN          NJ           08091
WISNESKIE, CAITLIN                         ADDRESS ON FILE
WITHERSPOON, FRANK                         ADDRESS ON FILE
WITHERSPOON, FRANK T. III                  ADDRESS ON FILE
WITHERSPOON, NIA O.                        ADDRESS ON FILE
WITTWER, PATRICK                           ADDRESS ON FILE
WOEHRMANN, JILL                            ADDRESS ON FILE
WOHLER, DORIA                              ADDRESS ON FILE
WOLF, BENJAMIN                             ADDRESS ON FILE
WOLF, BENJAMIN S.                          ADDRESS ON FILE
WOLF, DEBBIE                               ADDRESS ON FILE
WOLF, DEBBIE L.                            ADDRESS ON FILE
WOLF, MARIA                                ADDRESS ON FILE
WOLF, STUART J.                            ADDRESS ON FILE
WOLINSKY, REBECCA                          ADDRESS ON FILE
WOLLMAN, NANCY                             ADDRESS ON FILE
WONG, KENNETH                              ADDRESS ON FILE
WONG, MELODY                               ADDRESS ON FILE
WONG, YU WEN                               ADDRESS ON FILE
WOOD TURNING CENTER, INC                   501 VINE ST                                                                             PHILADELPHIA       PA           19106-1002
WOOD, JULIE TOLENTINO                      ADDRESS ON FILE
WOODARD, JULIANA                           ADDRESS ON FILE
WOODIN, JOHN R.                            ADDRESS ON FILE
WOODS, DANIEL                              ADDRESS ON FILE
WOOLFORD, CONNIE                           ADDRESS ON FILE
WORLDSTRIDES                               218 WEST WATER ST                         STE 400                                       CHARLOTTESVILLE    VA           22902
WORLDWIDE BOOKS CORPORATION                8406 MAIN STREET                                                                        INTERLAKEN         NY           14847-9802
WORLDWIDE INSURANCE                        PO BOX 536417                                                                           PITTSBURGH         PA           15253-5906
WRIGHT, ALLISON                            ADDRESS ON FILE
WRIGHT, MIKEL                              ADDRESS ON FILE
WRIGHT, STEVEN                             ADDRESS ON FILE
WUNDER, MARGARET                           ADDRESS ON FILE
WYATT ELEVATOR CO                          701 ASHLAND AVE                           ASHLAND CENTER TWO       STE 11               FOLCROFT           PA           19032
WYNCOTE FOUNDATION                         1717 ARCH ST FL 14 STE 1430                                                             PHILADELPHIA       PA           19103-2740
WYNN, KEATON                               ADDRESS ON FILE
XEROX FINANCIAL SERVICES                   201 MERRITT 7                                                                           NORWALK            CT           06856
XEROX FINANCIAL SERVICES LLC               201 MERRITT 7                                                                           NORWALK            CT           06851
XEROX FINANCIAL SERVICES LLC               PO BOX 202882                                                                           DALLAS             TX           75320-2882
XIAO, JENNIFER                             ADDRESS ON FILE
XU, EMILY GARDNER HALL                     ADDRESS ON FILE
YADIRA VONGS                               ADDRESS ON FILE
YAGER, DAVID                               ADDRESS ON FILE
YAGER, DAVID E.                            ADDRESS ON FILE
YAMAHA MUSICAL PRODUCTS, INC               PO BOX 899                                                                              GRAND RAPIDS       MI           49518-0899
YAMAMOTO, ASAMI ROBLEDO                    ADDRESS ON FILE
YANAS, RICHARD                             ADDRESS ON FILE
YANEZ MARQUINA, JUAN M.                    ADDRESS ON FILE
YANG, CHRISTINA                            ADDRESS ON FILE
YANG, JERRY H.                             ADDRESS ON FILE
YANG, VERONICA                             ADDRESS ON FILE
YARDS BREWING CO                           901 N DELAWARE AVE                                                                      PHILADELPHIA       PA           19123-3262
YARDS BREWING CO, LLC                      500 SPRING GARDEN STREET                                                                PHILADELPHIA       PA           19123-2833
YEAKLEY, ANNA MARIA                        ADDRESS ON FILE
YEH, CHE                                   ADDRESS ON FILE
YEH, LI-CHIU                               ADDRESS ON FILE
YEH, MORIAH                                ADDRESS ON FILE
YELLOWBIRD BUS CO INC                      7700 STATE RD.                                                                          PHILADELPHIA       PA           19136
YERUSHALMY, NETTA                          ADDRESS ON FILE
YERUSHALMY, NETTA C.                       ADDRESS ON FILE
YERXA, RON                                 ADDRESS ON FILE
YES& NEW PUNK LLC                          1168 EAST PASSYUNK AVE                                                                  PHILADELPHIA       PA           19147
YES, EPPCHEZ                               ADDRESS ON FILE
YETZER, BRIAN                              ADDRESS ON FILE
YETZER, BRIAN R.                           ADDRESS ON FILE
YODER, JOANNA                              ADDRESS ON FILE
YOKO OSHIKIRI                              ADDRESS ON FILE
YOLANDA ROBINSON                           ADDRESS ON FILE




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YORITA, ANDREA                                  ADDRESS ON FILE
YORKE, ALICE                                    ADDRESS ON FILE
YOUNES, LINA                                    ADDRESS ON FILE
YOUNG, GREG                                     ADDRESS ON FILE
YOUNG, MORRIAH A.                               ADDRESS ON FILE
YOUNG, SUN KANG                                 ADDRESS ON FILE
YOUNG, WALTER                                   ADDRESS ON FILE
YUKA, CHRISTINE LEILANI PETZ                    ADDRESS ON FILE
YURKANIN, MARK                                  ADDRESS ON FILE
ZABOROWSKI, NICHOLAS                            ADDRESS ON FILE
ZACH FRIED                                      ADDRESS ON FILE
ZACHARY CALHOUN                                 ADDRESS ON FILE
ZAJACK, MARC                                    ADDRESS ON FILE
ZAKAT, RASHID                                   ADDRESS ON FILE
ZANI, CHRISTINA                                 ADDRESS ON FILE
ZAPFS MUSIC STORE, INC                          1205 WARREN AVE                                                                     CHERRY HILL        NJ           08002-3252
ZARLI, ZAIRA                                    ADDRESS ON FILE
ZAYLEA, JENNIFER                                ADDRESS ON FILE
ZDENO KRAJC                                     ADDRESS ON FILE
ZECHA, ROBERT ZACHARIAH                         ADDRESS ON FILE
ZECK, EMILY                                     ADDRESS ON FILE
ZECK, EMILY                                     ADDRESS ON FILE
ZEGLINSKI, HELEN                                ADDRESS ON FILE
ZEITGEIST FILMS LTD                             333 WEST 39TH ST.                         STE 503                                   NEW YORK           NY           10018
ZELDIN FAMILY FOUNDATION                        ADDRESS ON FILE
ZERANCE, EUGENE                                 ADDRESS ON FILE
ZIMMERMAN, BRANDON                              ADDRESS ON FILE
ZIMMERMAN, BRANDON L.                           ADDRESS ON FILE
ZIMMERMAN, MICHAEL L.                           ADDRESS ON FILE
ZIMMERMAN, MONICA L.                            ADDRESS ON FILE
ZOEY OROL                                       ADDRESS ON FILE
ZOHO CORPORATION                                PO BOX 894926                                                                       LOS ANGELES        CA           90189-4926
ZOOM DRAIN PHILADELPHIA, LLC                    500 DAVIS DRIVE                           STE. 200                                  PLYMOUTH MEETING   PA           19462
ZOOM VIDEO COMM, INC                            55 ALMADEN BLVD.                          6TH FL                                    SAN JOSE           CA           95113
ZORAN BLAZEVIC                                  ADDRESS ON FILE
ZUMBO, MATTHEW J.                               ADDRESS ON FILE
ZURICH AMERICAN INSURANCE COMPANY               PRIVACY OFFICE                            1299 ZURICH WAY                           SCHAUMBURG         IL           60196
ZWEIFLER, DAVID                                 ADDRESS ON FILE




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